                        Case 1:23-cv-01223-RP Document 1 Filed 10/10/23 Page 1 of 944
                                              SIDOHAR'lH    KODE    V.          WILLlAl-!SON    COUUT'i   ,   ET   AL.                       1696901690

                                                 UNITED STATES DISTRICT COURT
                                                  WESTERN DISTRICT OF TEXAS
                                                        AUSTIN DIVISION
CIVIL ACTION NUMBER:                          FIRST COMPLAINT FOR DECLARATORY & INJUNCTIVE REL~M 16i1kGES <+ -...;..i                                     u
                            = = = = = = = = I AND ALL FEES/COSTS (#) DUE TO ALLEGED VIOLZOZ3(tc ¥F, QTH\ M '), Q J"'-r
                                                       •United States Fair Housing Act [FHA] .                            42 U.S. Cod   chapbe'r   a.
SIDDHARTH KODE
      ("Plaintiff")                                    •United States Racketeer Influenced and f rlfr\i:\~v e~q_£ ni~ € ~ig~ ~ l
 p1ivate citizen; cml"C:nt resident of                  Act [RiaCOAJ . (t)                            '-- ·•1 D!.:,~f1'1CT Or TEXA--
 788 Kingfisher Lane, Leander Texas 78641               18 U.S. Code Part I Chapter 96. 18 U.S. Code Part I Chapter 95.
                                                        18 U.S. Code Part I Chapter 73. 18 u.s. n ~ode fart I _ ~~apte~ 3 .
           r PLAINTIFF J
                                                       • United States Ku Klux Klan Act [KKKA]. Constitutional Rights:
                                                         Fourteenth, Fifth, First, Fourth, Eighth, Sixth Amendments. (t )
                                                         §1983.      Conspiracy to Interfere with Civil Rights . §1985.
                      v.                                 42 U.S. Code Chapter 21 Subchapter I.
                                                       • United States Civil Rights Act of 1866 [CRAo1866] .
                                                         42 U.S. Code Chapter 21 Subchapter I. §1982. §1981.
WILLIAMSON COUNTY
     ("[WC]") (S)                                      • United States Civil Rights Act of 1964 [CRAo1964].
 municipal corporation located in the                    42 U.S. Code Chapter 21 Subchapter V. §2000d .
 Westcm Dishict of Texas
                                                       •United States Civil Rights Act of 1968 [CRAo1968].
JOSEPH PARGIN & KIMBERLY PARGIN                         18 U.S. Code Part I Chapter 13. §242 . §241. §245. (t)
      ("[JSP&KAP]") (S )
 hushand & \\UC private cilizcns ; fonncr residents of •United States Hate Crimes Prevention Act [HCPA) .
 784 Kingfisher Lme , Lcauder Texas 78641               18 U.S. Code Part I Chapter 13. §249. (t)

REBECCA SUE ROBERTSON                                  •United States COVID-19 Hate Crimes Act [CHCA].
      ("(RSR]") (S)                                     135 U.S . Stat. 265. 34 U.S. Code Subtitle III Chapter 305. (t )
 p1ivatc ciliz.cn; fomrr resident of
 789 Kingfisher L111c , Leander Texas 78641            • United States Civil Rights Restoration Act of 1987 [CRRAol987).
                                                         102 U.S. Stat. 28 . ( t )
[WC]    CONSTABLE'S OFFICE
      (" [WCCO) ") (S) (0)                             • United States Crime Victims' Rights Act (CVRA].
 law enforcement agency of defendant IWCJ                18 U.S. Code Part II Chapter 237 .
                                                       • Texas Property Code [TPrC); Title 15. Fair Housing Practices.
[WC]    SHERIFF'S OFFICE                                 Chapter 301. Texas Fair Housing Act [TFHA].
      ("(WCSOJ") (8) (8)
 law enforcement agency of defendant [\\'C)            • Texas Civil Practice and Remedies Code [TCPaRC); Title 5.
                                                         Governmental Liability. Chapter 106. Discrimination
                                                         Because of Race, Religion, Color, Sex, or National Origin. (t)
[WC)    AND CITIES HEALTH DISTRICT
      ("[WCCHDJ") (S) (0)                              • Texas Penal Code [TPeC]: Title 8. Chapter 37. Perjury & Other
 law cnfon:enrnt agency of defendant [WCI                Falsification. Chapter 36. Bribery & Corrupt Influence. (t)

                                                       • Texas Penal Code [TPeC]: Title 8. Chapter 39. Abuse of Office.
 (WC)   COUNTY ATTORNEY'S OFFICE                         39.02 Abuse of Official Capacity.   39.03 Official Oppression.
      (" [WCCAO) ") (ff) (0)                             39.06 Misuse of Official Information. (t)
 law enforcement agency of tlel'cndant \WCI
                                                           • Texas Code of Criminal Procedure [TCoCP) ; Title 1. Chapter 2.
                                                             General Duties of Officers - Art. 2.131 Racial Profiling
 [WC) DISTRICT ATTORNEY'S OFFICE                             Prohibited. ( t)
     - ("(WCDAO]") (ff)(0)
  law cnforccnrnt agency of defendant rwq                  • Texas Penal Code [TPeC]: Title 7. Chapter 32. Fraud .
                                                             Chapter 28. Arson, Criminal Mischief, and Other Property
                                                             Damage or Destruction . Sec. 28.03 . Criminal Mischief . (t)
                                                           • Texas Code of Criminal Procedure [TCoCP): Title 1. Chapter 2.
                                                             General Duties of Officers - Art. 2.01 Duties of District
                                                             Attorneys. ( t)
                                                           • Texas Disciplinary Rules of Professional Conduct [TDRoPC]:
                                                             III . Advocate. 3.09 Special Responsibilities of a Prosecutor.
                                                             VIII. Maintaining the Integrity of the Profession.
                                                             8.03 Reporting Professional Misconduct.   8.04 Misconduct (t)
            r DEFENDANTS J
                                                           • Texas Code of Criminal Procedure [TCoCP): Title 1. Chapter 56A.
                                                             Rights of Crime Victims
                                                       FEDERAL QUESTION                           Original Juriadiction      [ 28-USC-PIV-C85-§1331 ]
                                                       STATE LAW CLAIMS                           ~anental Jurisdiction      l28-USC-PIV-C85-§1361)
                                                       JURY TRIAL DEMAND                          JUl Issues so Triable      [FRoCP-R38]

                                                           (+)     only where applicable and auth orized by l aw
                                                           (#)     all reasonable attorney fees, expert fees and costs
                                                           (t)     only against applicable defendant ( s )
                                                           (ff)    secondary defendants: only declaratory, injunctive relief
                                                           (S)     primary defendants
                                                           (0)     " [WCLE)"; [WCCO) , [WCSO) , (WCCHD ), (WCCAO J , (WCDAO )
                                                                         PAGE    1   OF   956
                        Case 1:23-cv-01223-RP Document 1 Filed 10/10/23 Page 2 of 944
                                                 SlDDHARTH   KODE   V.      \'l'ILLlAf-!SOH   COUHTY   ,   ET   AL.                        1696907690




Plaintiff, Siddharth Kode, alleges as follows:




                                                                            §I

                                             JURISDICTION AND VENUE


c_[l

ln this complaint, the term "this Court" shall, unless otherwise specified, refer to: •united States District court, Western

District of Texas , Austin Division ➔ .




12
This Court has original jurisdiction pursuant to:



®      [28-USC-PfV-C85-§l 33 l] "Federal Question", as the plaintiff:

asserts federal law claims against the applicable defendants under the [FHA], the [RlaCOA], the [KKKA], the [CRAol 866], and the

[CRAo 1964].



@      (28-USC-PIV-C85-§ 133 1] "Federal Question", as the plaintiff:

asserts c01mnon law claims against the applicable defendants under the [FHA], the [KKKA], the [CRAo 1866], and the [CRAo 1964].



©      [28-USC-PIV-C85-§ 1343] "Civil Rights and Elective Franchise", as the plaintiff:

seeks to secure any-and-all applicable-and-appropriate relief under federal civil rights laws: the [FHA], the [KKKA], the [CRAol 866], and the

[CRAo l964].



@      [28-USC-PIV-C85-§1357] "Injuries under Federal laws", as the plaintiff:

a 1j1erson" suffering injury to "(pfai11tijfs) p erson (and) property", seeks to secure any-and-all applicable-and-appropriate relief under the

[FHA], the [RlaCOA], the [KKKA], the [CRAo1 866], and the [CRAol964].



®      [42-USC-C45-SI-§3613] "Enforcement by Private Persons", as the plaintiff:

a 'j1rivate pe,:\'011 11 and an "aggrieved person", seeks any-and-all applicable-and-appropriate relief for any-and-all of the applicable defendants'

violations of the [FHA] against the plaintiff.

                                                                    PACiE   2    OF    9!>6
                               Case 1:23-cv-01223-RP Document 1 Filed 10/10/23 Page 3 of 944
                                                                 S l DOHART H   KOOE      v.       WlL LlAHSOU      COU HTY   •   ET   AL .                                       1 69 69 07690




®     [42-USC-C2 I-SI-§ 1983],[42-USC-C2 l -SI-§1988] "Proceedings in Vindication of Civil Rights", as the plaintiff:

a 'j;arly injured", seeks any-and-all applicable-and-appropriate relief for any-and-all of the applicable defendants' Deprivation-Of-Rigbts-

Under-Color-Of-Law against the plaintiff under the [KKKA]:§1983.



@     [42-USC-C2 1-SI-§ 1985],[42-USC-C2 1-Sl-§ 1988] "Proceedings in Vindication of Civil Rights", as the plaintiff:

a ''party so injured (and) deprived", seeks any-and-all applicable-and-appropriate relief for any-and-all of the applicable defendants'

Conspiracy-To-Interfere-With-Civil-Rights/Obstruction-of-Justice/Witness-Intimidation actions against the plaintiff under the [KKKA]:§ 1985.



®      [42-USC-C2 1-SI-§1982],[42-USC-C2 1-SI-§1988] "Proceedings in Vindication of Civil Rights", as the plaintiff:

seeks any-and-all applicable-and-appropriate relief for any-and-all of the applicable defendants' violation of property-rights-of-citizens against

the plaintiff under the [CRAo 1866]:§ 1982.



(D    [42-USC-C2 1-SI-§ 1981 ],[42-USC-C2 l-Sl-§l 988] "Proceedings in Vindication of C ivil Rights", as the plaintiff:

seeks any-and-all applicable-and-appropriate re lief for any-and-all of the applicable defendants' violation of equal-rights-under-the-law against

the plaintiff under the [CRAo 1866] :§ 1981.



Q)     [42-USC-C2 1-SY-§2000d],[42-USC-C21-SV-§2000d-7] "Civil Rights Remedies Equalization", as the plaintiff:

seeks any-and-all applicable-and-appropriate relief for any-and-all of the applicable defendants' violation of discrimination-under-federally-

assisted-programs against the plaintiff under the [CRAo l 964]:§2000d.



®      [ 18-USC-P I-C96-§ 1964] "Civil Remedies", as the plaintiff:

a 'j;erson injured in (plaint{ff's) business (and) property", seeks any-and-a ll applicable-and-appropriate relief for any-and-all of the

applicable defendants' violations of the [RlaCOA] against the plaintiff.
 •    28 U. S . Coda•   Part IV - J\1r1adiction and - •             a,,,ptac 85 - Diatrict courta; .JUrUcliction•         S 1331 - Faderal - t i o n
 •    http,, ://www.l.&w.oornell . edLl/uaooda/t.><t/28/1331

 The disllicl co1111.1· shall have arigi11at jurisdiclio11 of all civil actions a1isi11g under the Co11slillltio11, fall's. or treaties of the United Stales.


 •    28 U.S. Oocle•    Part IV - J\lriadiction a n d -•           O>apter 85 - Diatriet Oourta; J\lrllldiction•          S 1343 - Civil ri9f,ta and el.active franchi.ee
 •    http,, :/ / -. l.&w . oornell .ni/uaaxla/t.kt/28/1343

 (a) 1'l1e di.1·tricl co1111s shall have origi11aljurisdictio11 of any civil action authorized by law ta be ca111111e11ced by any pei:m11:
     (/) Ta recvver damages/or i1y111y lo /,is person or pmpe11y, or becau.m of the deprivation of 0/()' right or privilege of a citizen of the United States, by a1u1 act done i11
 furtherance of any conspiracy 111e11tio11ed in section 1985 of Title 42;
     (2) To recol'er damages/mm any person who fails to preve/11 or to aid i11 preventing any ll'IV11gs 111e11lia11ed in section /985 of Title 42 1111ich he had k11oil'ledge u-ere ahou/ lo
 occur and JJOll'er to pn,i1ent;
     (J) To redre.,f the dep1ivatio11. 1111der color of any State law, statute. 01r/i11a11ce, regulatio11, cmtom or mage. of any right, privilege or immunity seemed by the Co11stitutio11 of

 the United States or by any Act of Congress pmvidi11gfar equal rights ,if citizens or of oil pei:m11s within the jurisdiction af the United States;
     (4) To recover damages or to secure equitable or other relief under any Act of Congress pmvidi11gfor the pivtectio11 of civil rights, i11cludi11g the right to vote ...


 •    28 U.S. Code •    Part IV - Juriadiction -        y_,,_,      o...pt:ar 85 • District Courts; Jllr.l.tdiction•      S 1357 - InjuriM undar Faderal i..w.
 •    httpa ://www. l.&w.oornell.ni/uaaxla/t,ut/28/1357

  The district cowts shall have original jurisdiction of <my civil aclio11 ca111111e11ced by any pei,·011 to recover damages/or any ilywy to his person or property 011 account of any act
                                                                                           P AGE   3   O t~   956
                                    Case 1:23-cv-01223-RP Document 1 Filed 10/10/23 Page 4 of 944
                                                                          S l DDHARTH     KOO£      v.      Wl LLlAHSON        COUflTY ,   ET   AL.                                            1 696901690


 done by /rim, under any Act of Congress, for tire p1vtectio11 or collection of any of tire reve1111cs, or lo e11lorce tire rig/rt of citizens of tire United States to vote in any State.




S[3
Additionally, this Court has supplementaljurisdiction pursuant to [28-USC-PfV-C85-§1367], for any-and-all of the plaintiff's State-of-Texas

law claims related-to, analogous-to, appending-to, pendent-to, or ancillary-to the aforementioned federal law claims.
 •       28 U. S . Qxla ,   Part N - Juriadiction and -               ·     o..ptar 85 - District Clourt.o; Juriadiction•           S 1367 - SI.W1-tal jud9Cliction
 •       http,,: / / , -. law. conw.J..l . ecil/uscoda/taxt/28/1367

 (a) Except as pivvided in subseclio11s (b) and (c) or as exprersly pivvided otlre1wise by Federal statute, in any civil action of ll'lriclr tire district courts /rave original j 11risdictio11,
 tire district co1111s slrall have supplemental jurisdiclio11 over all otlrer claims tlral are so related lo claims in the actiou ll'ithi11 such original jurisdiction lira/ they form part of the
 same case o,· cm11rove1:vy under Article Ill of the United Stales Co11stit11tio11. Suclr supplemental j11risdiclio11 slra/1 include claims //rat involve tlrejoinder or i111e1vention of
 additional parties ...


 (e) As used in this section, tire term "State" includes tire District of Columbia, tire Commomrealtlr of P11e110 Rico, and any territo1y or po.rsessio11 of tire Uuited States.


 •       ~tad Stat.ea Oonatitution•          l\rticle UI. n.. .J\ldicl..ary•            section 2 . Socpe of Judi.cl.al _ , ,
 •       httpoo: / / -. law. 00nw.J..l .edu/00Ntitution/artl.cla1il

 The judicial poll'er slrall extend to all case,. in law and equity, ari.,ing under !Iris Constit11tio11, tire fall's of tire Unite;/ State,, and lreatie, made, or wlrich slrall be made, 1111der
 their autlrority;--to all cases offecling ambmsadm:v, otlrer public 111i11iste1~· and co11su/s;--to all cases of admimlty and maritimej11ri.l'dictio11;--10· co111mve1:,ies to wlriclr tire United
 States .,Ira/I be a party;--to co11tivvei,·ie.1· bet11-ee11111v or 1110,-e states;--bet11-ee11 a state and citizens of anotlrer state;--betwee11 citizens ofdifferent states;--hct,ree11 cilize11s of the
 same stale claiming land, under gm11/s ofdiffe1-ent states, and betll'ee11 a state, or tire citizens tlrereof. am/foreign states, citizens or subjects. ...




S[4

Under [28-USC-PlV-C87-§l 39 I (b)(2)], "a civil action may be brought in ... a j udicial district in which a substantial part of the events or

omissions giving rise lo the claim occurred, or a substantial part ofproperty that is the subject of!he action is situated ... 11 T he plaintiff

asserts that all of the applicable defendants' violations of federal laws, state laws and the common-law against the plaintiff (as substantially

documented in this complaint) were suffered by the plaintiff within the Western-District-of-Texas. Therefore, venue is lodged in this Court

under [28-USC-P IV-C87-§139 l (b)(2)].



S[S
Under [28-USC-PIV-C87-§ 139 l(b)( J )], "a civil action may be broughl in ... a judicial district in which any defendant resides, if all

defendants are residents ofthe State in which the dislrict is located ... 11 The plaintiff asserts that, to the best of the plaintiffs limited

knowledge and understanding, one-or-more of the defendants resides within the Western-District-of-Texas and a ll defendants are residents of

the State-of-Texas in which the Western-District-of-Texas is located. Therefore, venue is additionally lodged in this Court under [28-USC-P IV-

C87-§ l 391(b)( I)].
     •    28 U . S. Code•    Part N - .Juri.edl.ction and v-- •              Olirptiar 87 - Datrict Clourt.o; -        ·      S 1391 - v - _.uy
     •    httpoo ://www . law. oouwll. edu/wooode/text/28/l391

     (a) Applicability of Sectio11.-Except a, othe,wise providetl by /au~
         ( I) thi., section slro/1 govcm tire venue of all civil actions bmuglrt in disllict cow1s of tire United State,; and
         (2) the proper veuuefor a civil action slra/1 be dete1111i11ed willrou/ regard lo ll'lrellrer the aclio11 is local m· /ra11sito1y i11 11at111-e.

                                                                                                     PAG£    '1   or   9!J6
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                                                                    SLO OHA RTH     KODE        v.       Wl LLI AMSO"     COU!ITY ,      ET    AL .                                                       1696901690




(b) Venue i11 Geueml.-A civil actio11 may be brougl,t i11-
    ( I) "jmlld11I districJ i11 11f1ic/1 ,my 1le[e111I""' resit/es, if111/ tle[e111/c111ts "re residents ofthe St"le i11 11f1ic/1 the di.,ttict is loaJ/{!,(I:
    (2) "judicfol district i11 11f1ic/1 " M1bst(l11tfo/ pm1 of the em11/.wr 0111i.'1.\io11s gfri11g tise to the c/(lim occ11ire1I, or" .mb,q11111ial P" t1 ofpropet1y that is the .m bje1:t ofthe
11ctio11 is l111/(l/e1I; or
    (3) if thelY! is 110 districl i11 11'1,icl, au aclio11 may otl,e111'ise be bm11g/1t as pmvided i11 this sectio11. a11J1judicial district i11 ll'hich a11J1 defe11dm1t is subject 10 the court's personal

jurisdictio11 wit/, respec/ lo sue/, aclio11.


 (c) Reside11cy.- For all ve1111e p111poses-
    (J) a 11at11ral pe1:so11, iuc/udiug m, alien la11fully admilledfor pen11a11e11/ residence i11 //,e Uuile<I States, shall be deemed to reside i11 1/,e judicial district i11 ,.,hic/1 that person is

 domiciled;
    (2) 011 e111ity wilh 1he capacily to sue aud be sue;/ in its co11111w11 name under applicable law, whelher or 1101 i11co171orated, shall be deemed lo reside, if a defe11da111, i11 auy
j11didal district i11 ll'hicl, such d<j'e11da11t is subject lo the co1111 's personal jurisdiction 11•il/1 respect lo the civil <1ctio11 i11 question and, if a p/aiutijf. 011/y i11 tl,e judicial districl i11
 which it 11wi111ai11s its principal place of bu.viuess; aud
    ( J) a defe1uk1111110/ resident i11 //,e Uuited States 111ay be sued i11 auy judicial district. aud 1l,ejoi11der of suc/1 a defe11da111 shall be disregarded in deten11i11i11g where tl,e actia11

 may be bmugl,t wit/, respect to otl,er defe11dc111ts.


 (d) Resideucy of Coq,omtion.,· i11 Slates Wit/, Mullipfe Districts.-
 For p111po.ms of venue under /his cl,apler, i11 a State wl,icl, /,as more 1h01, 011e judicial district a11d in 11'/,ich a defe11da11t 1h01 is a c1J17,omtio11 is subject to pei,;o11al j urisdiction al
 the time 011 aclio11 is co111111e11ced. such co17,oratio11 shall be deemed to re.vide i11 auy district i11 1!,a1 Stale within ll'hich its co11tacts 11vmld be s1if.ficielll to subject ii to personal
 j11risdiclio11 if //,at districl \\'l!l'l! a separate State. 011(/, if //,ere is 110 suc/1 district. the co17wratio11 sl,a/1 be deemed to l'l!side i11 tl,e district wilhi11 ll'hich it /,as the most sig11i.fico11/
 co11lac/s.




                                                                                                       § II

                                                                                       DEFINITI ONS




Unless otherwise specified, ce11ain tem1s/phrases highlighted in bold that are used in this complaint shall be defined as follows:




T he term Lawsuit when referring to this document (and/or any amended version of this document), shall be used interchangeably with

Complaint - in such case, the terms Lawsuit and Complaint shall have the exact same meaning. The term shall also include any supplements

added to this document as evidence and/or motion(s), especially if this document is incomplete at the time of initial filing (see below).
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                                               SJDDHARTH   KODE    V.       WILLIAHSOJI      COU tl TY   ,   ET   AL ,                       1 696907690



<_[8

The term multiple shall mean two-or-more. The term numerous shall mean three-or-more. The term countless shall mean too

burdensome/time-consuming to count due to being extremely-numerous.




<_[9

The term Petitioner shall be distinb'l.lished from the term Plaintiff. The term Plaintiff shall be used to refer only to: Siddharth Kode. The term

Petitioner shall be used to refer to any other person/entity that initiates-legal-action (sues) by filing a lawsuit against another party(s). These

terms will be distinguished in this manner only to avoid confusion, even though, in any context outside of this lawsuit, they mean the same

thing.




<_[10
The term Petitionee(s)/Respondent(s) shall be distinguished from the term Defendant(s). The term Defendant(s) shall be used to refer only

to one-or-more of: [WC],[RSR},[JSP&KAP},(WCCO},[WCCHD},[WCSO},[WCCAO},[WCDAO}. The term Petitionee(s) or Respondent(s)

shall be used to refer to any other person(s)/entity(s) that is sued in any other lawsuit (that is, not this lawsuit). These terms will be

distinguished in this manner only to avoid confusion, even though, in any context outside of th is lawsuit, they mean the same thing.




ill
The term federal-law-enforcement shal~ unless othe1wise specified, refer to the iUnited States Federal Bureau of

Investigations ► ("[US-FBI]"), iUnited States Marshals ► {"[US-M]"), and the iUnited States Attorneys Office ► ("[US-

AO]"). The term law-enforcement shall, unless otherwise specified, refer any agency(s) of law-enforcement, at the local, state or federal level.




<_[12
The term Constitutional Rights shall refer to the rights guaranteed to every citizen of T exas under both the United States Constitution and the

Texas Constitution.




<_[13
The term Statutory Rights shall refer to the rights guaranteed to eve1y citizen of Texas by the Statutes/Laws/Ordinances/Codes of the

iUnited States ► - in essence, [ United States Code) ("-USC-")("U.S. Code"), and the [ United States Statutes at

Large)    ("-USSaL-")("U.S. Stat.") - the iState of Texas ► and Local Governments (County and/or City).




                                                                   PACI::   6   or   9!> 6
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                                               SlDl>HARTH   KOO£      V.      WILLIAHSOU      COUUTY ,   ET   AL .                          1 696901690



114
The term Common Law Rights shall refer to the rights guaranteed to every citizen of Texas by the judges, courts, and agency adjudicatory

tribunals, through their decisions and opinions (also called case-law).




115
T he term Civil Rights or simply Rights shall collectively refer to Constitutional-Rights, Statuto1y-Rights and Common-Law-Rights.




i16
The terms clearly violate (and clearly conspire to violate) or simply violate (and conspfre to violate), when used to describe the

behavior(s)/action(s) of law-enforcement employee(s)/agency(s) and/or other govenm1ent employee(s)/agency(s) and/or government(s) and/or

non-governmental co-conspirator(s)/co-actor(s)/agent(s)-of-the-government, shall mean any behavior(s)/action(s) (or pattern thereot) that are in

violation of clearly established Civil-Rights of which a reasonable person would have known - in this lawsuit, abbreviated as clearly

established law [CELI.




117
T he terms Unconstitutional Search, Unlawful Search or Fomt h Amendment Violation shall refer to any inspection/search/seizure

conducted by any government-employee(s), and/or any non-governmental agent(s)-of-the-government that is deemed to be Unconstitutional

(under the Fourth-Amendment to the United States Constitution) by the ~Supreme Court of the United States ➔ [SCOTUS] rulings -

particularly ((FLORIDA V. JARDINES», ((COLLINS V. VIRGINIA) and/or any other precedential lower-court ruling on this matter.

Additionally, if the initial part of an inspection/search/seizure is Unconstitutional (warrantless-and-nonconsensual), then any evidence gathered

from any part of that inspection/search/seizure cannot be admitted into any Court proceeding even if the latter parts of the

inspection/search/seizure were otherwise lawful. In other words, the initial Unconstitutional (warrantless-and-nonconsensual) part of the

inspection/search/seizure inva lidates, taints and makes-defective the entire inspection/search/seizure. A nonconsensua l, warrantless search of

private-property is also an Unconstitutional deprivation of privacy guaranteed by the Due-Process clauses of the United States Constitution. lf

the government is not inspecting/searching/seizing eve1y persons' property equally, then a warrantless inspection/search/seizure would also be

Unconstitutional in violation of the Fourtcenth-Alnendment         <*) of the United States Constitution guaranteeing "equal protection ofthe laws"
(sometimes referred to as the Constitutional "Freedom fiwn Discrimination'} Similarly, a warrantless inspection/search/seizure may also be

unlawful in violation of Statutes/Laws/Ordinances/Codes barring discrimination (such as the [FHA]/[TFHA] and [TCPaRC-T 5-C I 06] - see

below) and/or racial-profiling (for example, [TCoCP-T l -C2-A2. I 3 l]). Unless otherwise specified, in this lawsuit, the term unlawful (and its

other forms), when used to describe such inspection/search/seizure, shall primarily refer to the statuto1y-discri.mination aspect of such

inspection/search/seizure - specifically, the violation of [FHA], [TFHA], [TCPaRC-T5-C I 06] and [TCoCP-TI-C2-A2. 13 I ]. Even in cases

where a search-warrant was obtained and executed against person(s) property, those person(s) can still challenge the validity of the search-

wan-ant - through filing a motion-to-quash the search-watrnnt and/or suppress the evidence as:

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® insufficient on its face ; AND/OR
@ lacks probable cause ; AND/OR

© resulted in the seizure of evidence that was not authorized by the search-warrant.
Moreover, those person(s) can also further-scrutinize the process (for example, using the legal processes of freedom-of-information-requests

and/or Discovery), and if, during such scrutiny, it is determined that law-enforcement did not fo\low proper µrncedure and/or misrepresented-

the-facts/provided-misleading-infonnation/made-faulty-assumptions/relied-upon-questionable-witnesses (under Oath) to the Judge authorizing

the search-wanant, then those person(s) can still file a motion-to-quash the search-warrant and/or suppress the evidence. A motion-to-quash a

search-warrant can be filed even prior to the execution of that search-warrant. Additionally, if it can be shown that at least some members of

law-enforcement have-acted/are-acting maliciously (or not in good faith) towards certain person(s), then those person(s) can, at the very least,

also seek pennanent injunctive relief or a protective order, permanently barring at least such members of law-enforcement (if not the entire

police dcpaitment) from ever obtaining and/or executing search-warrant(s) on those person(s)/person(s)-property. Finally, if after pcrson(s)'

private-property has been searched and evidence has been seized as a result of that search:

® no criminal charge(s) were filed; OR
@ criminal charge(s) were filed but were later dropped/dismissed; OR

© the person(s) were prosecuted but acquitted at trial
- then in all such cases, such person(s) can rightfully file a lawsuit (or motion) to, at a minimum, order the government to either return the

evidence to such person(s) OR destroy the evidence (for example, if the evidence consisted of photographs, videos, audio-recordings, etc.) -

whether or not the search/seizure was lawful or unlawful.




c_[18
The terms Curtilage or Homestall shall refer to the area "immediately surrounding and associated with the home 11 and that is considered

part of the home for Fourth-Amendment purposes. ln other words, the curtilage or homestall has the same level of Fourth-Amendment

protection from inspection(s)/search(es)/seizure(s) as the interior-of-the house itself(see «FLORIDA V. JARDINES))). For the house and

curtilage, the prope11y owner has the tight to determine who is allowed upon the property and to grant or withhold consent to those the owner

wishes to exclude, including Government '1intruders. "Thus, the curtilage protection ( "No man may set his foot upon his neighbor's close

without his permission") has permeated Comt decisions in England from at least 1765 to [SCOTUS] case law as of May 29, 2018. See

«ENTlCK V. CARRINGTON)), 19 Howell's State Trials (1765), discussed in «SILVERMAN V. U.S)), 81 S.Ct. 679 (1961); and see,

«COLLINS V. VIRGINIA)), Case No. 16-1027, 584 U.S. _ _ (2018). The identity of home and what Blackstone called the curtilage or

homestall, thereby "protects and privileges all its branches and appurtenants.'' (Sec 4 W. Blackstone, Commentaries on the Laws of England

223, 225 (1769)). This area around the home is "intimately linked to the home, both physically and psychologically," and is where "privacy

expectations are most heightened." (See ((CALIFORNIA V. CIRAOLO)), 476 U.S. 207,213 (1986)). Areas that have been deemed by the

[SCOTUS] and/or lower-cornts to be curtilage include (but are not limited to): "area "outside the.front window"", "side garden'', "porches,

garages, cm1J01·ts, car patios, back yards~and even a drive-way next to a house".




c_[l 9

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The term Unconstitutional when used to describe a law (or portion of law), shall refer to any such law (or portion of such law) that violates

the Constitution of the United States and/or the Constitution of the State of Texas.



120
The term Unconstitutionally Vague shall refer to any law or any portion of such law - the language of which is alleged to be: vague,

ambiguous, open-to diverging/subjective interpretations, and/or prone to

arbitrary/capricious/discriminatory/retaliatmy/predatory/hypocriticaVabusive/oppressive/selective/biased enforcement - so as to violate the Due-

Process clause of the United States Constitution. A person accused of violating a law that is deemed to be Unconstitutionally-Vague - despite

knowledge of the law:

® may not have known that he/she was violating the law due to the vagueness/ambiguity of the law ; AND/OR
@ disputes that he/she was violating the law due to the vagueness/ambiguity of the law.




121
The term Due Process violation shall refer to any citizen(s)' deprivation of 11!,:fC, liberty or property, without due process of law" (Fifth and

Fourteenth-Amendments to the United States Constitution), including but not limited to:

01.    Mis-interpreting and abusively/oppressively enforcing any law that is Unconstitutionally-Vague.

02.    Failing to follow proper legal procedure prior to initiating a legal action (civil or criminal proceeding) against the accused - a general type

       of procedural-due-process violation.

03.    Depriving the right to "an unbiased tribuna/' 1 - a specific type of procedural-due-process violation.

04.    Failing to provide "notice of the proposed action and the ground,; assertedfor it 11 - a specific type of procedural-due-process violation.

05.    Depriving the right to "present reasons why the proposed action should not be taken" - a specific type of procedural-due-process

       violation.

06.    Depriving the right to ''present evidence, including the right to call witnesses" - a specific type of procedural-due-process violation.

07.    Depriving the right to "know the opposing evidence" - a specific type of procedural-due-process violation.

08.    Depriving the right to "cross-examine adverse witnesses" - a specific type of procedural-due-process violation.

09.    Failing to render "a decision based exclusively on the evidence presented" - a specific type of procedural-due-process violation.

10.    Depriving the right "to be represented by counsel" - a specific type of procedural-due-process violation.

11 .   Failing to ensure "that the tribunal prepare a record of the evidence presented" - a specific type of procedural-due-process violation.

12.    Failing to ensure ''that the tribunal prepare wn·ttenfindings offact and the reasons/or its decision" - a specific type of procedural-

       due-process violation.

13.    Failing to tum over any-and-all exculpat01y/miti!:,,atinglimpeachment evidence to the accused prior to the accused cnte1ing a plea - a

       specific type of procedural-due-process violation secured by the [SCOTUS] ruling in «BRADY V. MARYLAND» (and its progeny).

14.    Depriving and/or restricting the right to privacy - a specific type of substantive-due-process violation.

15.    Depriving and/or restricting the right to engage/paiticipate in ''political processes which can ordinarily be expected to bring about

       repeal of undesirable legislation" such as deprivations/restrictions on the "right to vote'\ "restraint.,; upon the dissemination of

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      information", "inte1ferences with political organizations" (freedom-to-organize/freedom-of-association), "prohibition ofpeaceable

      assembly" - a specific type of substantive-due-process violation.

16.    Interpreting and/or enforcing any law in a manner that discriminates against "discrete and insular minorities" - especially "racial",

       "national", "religious", and/or immigrant minorities - and, in general, those minorities who lack sufficient numbers or political-power to

       seek redress through the political process - a specific type of substantive-due-process violation.




122
The terms predatory (and adverb predato1ily) shall refer to any harmful, abusive, oppressive and malicious behavior/action/conduct that not

only exploits and victimizes the intended vulnerable targets, but that is also sadistic in nature - in other words,

harmfuVabusive/oppressive/violative/humiliative behavior(s)/action(s) that are performed in-order-to derive pleasure/joy (q>) . This definition is

used to distinguish the term predatory from the other moderate definitions: "living by preying on other animals" and "exploiting or

victimizing others for personal gain". For example, the animals wolves, lions and sharks prey on other animals and are thus considered to be

predatory according to the fast moderate definition - but in such case, such action s are only performed for the survival of those carnivorous

animals. There is no evidence that such carnivorous animals kill their prey for any sadistic reasons - in other words, for deriving pleasure/joy

out of such acts. According to the second moderate definition, the term predatory is used to describe, for example, perpetrators (persons,

institutions, businesses/industries, etc.) that exploit or victimize their vulnerable targets for financial gain at the expense of those vu ~1erable

targets. Even in this second moderate definition, it would be difficult to prove that such actions were performed for sadistic reasons, if there

was only a fmancial motive involved. Tims, as used in this lawsuit, the term predatory shall refer to the more extreme and egregious definition

that involves sadism. However, all three defmitions share the common aspect that they usually involve a larger group of perpeh·ators and/or a

larger institution ganging-up on their victim(s) that might be either a single vulnerable individual or a smaller number of vulnerable individuals or

even a large number of 1JJOWer!ess" individuals (   e ).


123
The terms Predominantly White Neighborhood or simply White Neighborhood shall refer to any residential-property

subdivision/neighborhood/suburb whose racial demographics is over 70% White/Caucasian/American (color/race/nationality), and thus under

30% people-of-color.




124
The term social justice shall be an abbreviation for one-or-more of the following: economic-justice, racial-justice, gender-j ustice,

environmental-justice/climate-justice.




125

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The terms political activist(s), social-justice activist(s) or simply activist(s) shall be an abbreviation for one-or-more of the following: anti-

racism-protester(s), civil-rights-demonstrator(s), political-dissident(s), democratic-socialist(s), libertarian-socialist(s), citizen-jow-nalist(s), lcgal-

observer(s), archivist(s).




126
The term ILGBTQIA+I shall refer to any person(s) that identify-as or that are-perceived-to-be lesbian, gay, bisexual, transgender, queer,

intersex, asexual and/or related communities. The term Homophobic Animus shall refer to any animus against any person who is a member

of [LGBTQIA+] or is perceived-to-be a member of [LGBTQIA+], where the animus is clear to be due to that ("actual or perceived'~ "gender

identity, sexual orientation". It is also important to note that on {2020-06-15}, the [SCOTUS] ruled that laws that refer to discrimination

based on ''.rex" a lso includes discrimination based on: "gender identity, sexual orientation" ("actual or perceived'~ - see «BOSTOCK V.

CLAYTON COUNTY», «ALTITUDE EXPRESS, INC. V. ZARDA», «R.G. & G.R. HARRIS FUNERAL HOMES INC. V. EQUAL

EM PLOYMENT OPPORTUNITY COMMISSION» referenced below.




127
The term fair housing laws shall refer to both the federal law codified in [42-USC-C45] ("[FHA]"), and the Texas law codified in [TPrC-T l 5-

C30 1] ("[TFH A]"). The [FHA], codified within [42-USC-C45], is a combination of multiple enactments of federal legislation including "Title

Vl/J"ofthe original (Civil Rights Act of 1968) , ("[CRAol 968]"), later amended by the [Fair Housing Amendme nts Act of

1988] . By its very definition, the fair-housing-laws created certain protected classes for which it is illegal for person(s) to perform any

discriminatory housing practice upon, due to the fact that member(s) of such classes have historically faced systemic-oppression and/or

deprivation-of-rights and/or conspiracy-against-rights - by virtue of being member(s) of such classes. For example, the ( Connecticut Fair

Housing Center] describes a member of a protected class's fair-housing right as the freedom from discrin1ination in housing and housing related

                             .?f"discrimi11ation, segregation & divestment ... mainfested through the [FHA]."
services, "born.from decades <



128
T he terms fair housing violation or IFHAI violation or ITFHA] violation shall refer to any

arbitrary/capricious/discrirniuatory/reta liatory/predatory/hypocriticaVabusive/oppressive/selective/biased action(s) or practice(s) by any

person(s) or institution(s) against any member(s) of a protected minority class - based on "actual or perceived" race/religion/national-

origin/color/sexual-orientation/gender-identity - that would be considered to be a violation of the [FHA], at the Federal level, and/or the [TFHA]

at the State level. Any [FHA] violation is also, by definition, a violation of the fourteenth-amendment <* ) of the United States Constitution

that guarantees "equal protection of the laws":
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 •   http : //.,,,.,. law. cxu:r•ll .u.i/usooda/i:-t/( 2/3602

 As used in thi.~subchopte1~ ...


 (/,) "Dwelling" mean< any lmildi11g, stmcture, m· portion thereof which is occupied af, or designed 01· intended f or occupancy as, o residence by one-or-more families, and c111y
  vacant land which is <iffered for sole or lease / 01· the co11stmctio11 or location thereon of any such building, structure, or par/ion !hereof

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(c) "Family" i11cl11des c, si11gle i11divid11al.


(d) "Pemm" i11c/11des 011e-or-111ore i11divid11als, co171oralio11s, pw111erships, associalio11s, labor orga11iw lio11s, legal representatives. 1111111/a/ companies, joi11l-slock co111pa11ies,
1111sts, 1111i11cm71om1ed orga11iw1io11.1·, t111stees, tmstees in cases u11der title//, receive,:r. a11djtd11ciaries. ...


(I) "Discri111i11a/01y homing practice" 111ea11s an act that is 1111/anful under sectia11 3604, 3605, 3606, or 3617 of this title. ...


(h) "Handicap" means. ll'ilh re.,pect to a pe,~·011-
      ( J) a physical or 111e111a/ impai1111e111 ll'hich subs1a111ially limils one-or-more of such person 's major life aclivities,

      (2) a record of hovi11g such <111 i111pairme11I, or

      (3) being regarded as having sue/, 011 i111pair111e111, ...


(i) "Aggrieved person" i11clt1des any pe1:m11 ll'ha-
      ( I) claims to have hee11 ilyured hy a discri111i11a101y homing pmctice; or
      (2) believes 1ha1 sue/, pe1l·o11 will be i1y11red by a discri111i11at01y ho11si11g practice Iha/ is abo111 lo acc111: ...


(o) "Prevaili11g pw1y" has !he same 111ea11i11g as such /em, has i11 seclio11 / 988 of //,is litle.


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       httpe: / /ww. aw.oomeU .ew/usaxla/t.xt/'2/3604

A.,· made applicable by sec/ion 3603 of !his lille 011d excepl as exempled by sec/ions 3603(b) 011d 3607 of /his tille. ii shall be 1111/011f11/- ...


      (b) To discri111i11a/e agoi11sl a11y person i11 /he lem,s, co11dilio11s, or privileges of sale or renlal of a d11-elli11g, or i11 /he provision of se,,,ice.v orfacililies i11 co1111eclio11
//,e1-ewi1/,, because of mce. colm; religion, se.r, familial s/a/11s. or 11alio11al 01igh1. ...


      (e) For profll, lo induce or al/empl lo induce auy pe1l·o11 lo sell or 1-e11/ any dwelli11g by represe11101io11s reganli11g /he e11/1y or prospec/ive e11/1J1info !he 11eighborlwod of a
pe,~'011 or persons of a pa11ic11/ar mce, colm; 1-eligio11, se.r, handicap, familial s/aln1·, or 11atio11al origin. ...


      (I) ...
         (2) To disc1imi11a1e agai11s1 any person in //,e /em,s, co11dilio11s, or privileges of sole or 1-e111a/ of a d11-elli11g. or in !he pl'Ovisio11 of se1vice.1· orfaci/ilies in co1111eclio11 wi/1,
such d11-elli11g, because of a handicap of-
                (A) 1h01 pe1l·o11; ...


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•       httpe : / / - .la• .oomell .edu/usaxla/t.xt/42/3605

(a) /11 general
// shall be 1111/a11f11/ for any pe1w11 or olher entity ll'hose lmsi11e.tv i11c/11des engaging in 1-eside11lial 1-eal eslale-mlaled lramacliom lo discri111i11a1e agai11sl any person in making
availab/e such a /ra11.mclio11, or in 1/,e te1111.1· or co11dilio11s of such a /ram·aclio11, because of race, color, religion, se.,·, handicap, familial sla/11.,, or 11alio11a/ origin.


{h) "Reside111ia/ 1-eal esla/e-re/01ed /ra11saclio11" defined
As used in !his seclio11, lhe /e1111 "1-eside111ial 1-eal es/ale-1-elale<I /ra11saclio11 " 111ea11s any of /he following: ...


      (2) Tlw selling, /Jrokeri11g, or appraisi11g i!f reside111ial real prope>1y ...



        42 U.S . Coda•        O\aptar 45. Fair 11oua.1ng,   Sllbchol)tar I . - - . U y•     S 3617 - mt.an_,.., coa=ion, or inti&idation
        htq,e: / / -.aw.oomaU.ew/uaoode/t.xt/42/3617

    // shall be 1111/011:(11/ to coerce, i11limidale, lhreale11, or i11te1fem with a11y pe1:w111 in !he e.rercise or e1yoy111e11/ of. or 011 acc01m1 of his having exercised or e1yoyed, or 011 acco1111/


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of his having aided or e11co11mged any other pe,~·011 i11 the exercise or e11joy111e11/ of. any right gmnted or protected by sec/ion 3603, 3604, 3605, or 3606 of this title.


•      42 U.S . Coda •     O,apter 45. Fair Housing •      SUbchlpter I . - . U y•         S 3613 - E n ! ~ t by prlvat:ot ~
•      httpe: / / -.law. oomal.l .eal/uaooda/taat/ 42/3613

(a) Civil action
      (I)

            (A) An aggrieved person may com111e11ce a civil action in a11 appropriate United States district co1111 or State court 1101 later tho11 2 )'<!OJ:-r after the occ111re11ce or the
 ter111i11atio11 of 011 alleged discri111i11ato1y housing practice, or the breach ofo co11ciliatio11 agreeme11t e11tered i11to 1111der this .rnbchapter, whichever occurs last, to obtai11
 appropriate relief ll'ilh 1'f!.171ect to such discri111i11ato1y ho11si11g practice or breach. ...
      (2) A11 aggrieved perso11 may com111e11ce a civil action 1111der this .wibsectio11 whether or 1101 a co111plai111 ha.,· bee11 filed 1111der seclio11 36/0(a) of this title 011d without regard to
 the status of a11y such co111plai11t, but if the Secreta,y or a State or local agency has obtained a co11ciliatio11 agrr:e111e111 with the co11se111 of an aggrieved pe1:1"011, 110 actio11111<(1' be
filed under this subsection by such aggrieved pe1:-1011 with m,pect lo the alleged discri111i11oto1y housing practice which Jo1111s the ba.,is for .mch complai111 except.for the pmpose
 of e11fmei11g the te1111s of such 011 ogree111e111. ...


 (c) Relief which may be gra111e,I
      {I) In a civil octio11 1111der s11bsecti1111 (a), if the co1111 find, t/,at o discri111i11oto1y ho11si11g practice h<LI"occmred or i., about to occ111; the court m<(I' mmrd to the ploi11tijf

 actual 011d punitive damages, 011d subject to s11bsectio11 (d), may gm111 as relief. m the court deems oppropriate, 011y per111011e111 or tempmwy i11j1111ctio11, tempora1y restrai11i11g
 01der, or other 01der (i11c/11di11g 011 order e11joi11i11g the defe11da11tfro111 e11gagi11g i11 such practice or 01rleri11g such affi1111ative action as may be appropriate).
      (2) In a civil actio111111der s11bsectio11 (a), the co1111, i11 its discretio11, may allow the pre11aili11g party, other than the U11ited States, a reaso11able allomey'sfee 011d costs. The
 United States shall be liable/or such fees and costs to the same ertent as a private pe1:m11. ...




129
The •united States Department of Housing and Urban Development ► ("[US-HUD]") more clearly outlines what is considered

to be "Housing Discrimination Under the Fair Housing Act", and also provides some "Examples of Housing Discrimination" and also

provides some "Examples of LGBTQ Discri111inatio11 11:
        "Houaing Diocrimination Undar tho Fair Houaing Ac~ ,               United Stataa ~ t of 11oua1i>q and Uman llalllll_,t
        httpe ://.,_ , lu:l _gov/__,_offioea/f&ir_boua~equal_ q,p/f&ir_houainq_act_011VYUW

 Housing discri111i11alio11 is illegal i11 11early oil /musing. including private housing, public ho11si11g, and ho11si11g that receivesfedeml funding.



    The Fair Housing Act


    The Fair Housing A ct protects people from discrimination 11-/,e11 they ore rel/ling or buying a home, gelli11g a 1110,tgage, seek i11g housing ossista11ce, or engogi11g in other ho11si11g•
    related activities. Additio11a/ protectio11s apply to federally-assisted housing.


 leam about the l·listmy of the Fair Ho11si11g Act, and read Examples ofthe 111011y/onus of ho11si11g discrimi11otio11.



    Who ls Protected?


    The Fair Housing Act prohibits di.l'crimination in ho11si11g because of-
 (•) Race
    (•) Color
    (•) National Origin
    (•) Religion
    (•) Sex
    (•) Familial Status
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What ls Prohibited?


/11 !he Sale a11d Ren/a/ ofHousing:


II i., illegal discrimination to take any of 1l,efolloll'i11g actions beco11se ofrace, co/01; religion, sex, disability, familial status, or 11alio11al a1igi11:
( •) Reji,.rn to rent or sell l,011si11g
(•) Refuse Jo negotiate f or l,ousing
(*) OJl,em ise make housing 1111amilable

(*) Set different te1111.1·, co11ditions or privileges/or sale o,· 1Y!11ta/ of a dll'elling
(•) Prnvide a pe1w11 1/iffe/Y!/11 ho11si11g sen •i ce.~orfadlities

( •) Fal.l"ely deny tl,at /,011si11g is available/or i11.1pectio11, .wle or 1Y!11/a/
( •) /Hake, print or pub/isl, a11y 110/ice, slateme11/ or adve11iseme11t ll'i//, IY!.l"pec/ Jo tl,e sale or 1Y!11/a/ of" d11"clli11g tlwt i11dica/es 011y p1Y!ferc11ce, limitatio11 or discrimi1mlio11
(•) Impose dijferelll sales prices or 1Y!11f(I/ charges/or tl,e .mle or rc:ntal of" d11Y!lli11g
(•) Use different qualijlcatio11 cliteria or applications, or sale or Tl!lltal .11,mdards ar proced111Y!s, .111cl1LIS income .,1a11dards, application req11i1Y!me,1ts, applicalion f ees, credit
a11a/yses, sale or IY!ll/a/ approvo/ proced111Y!s ar otl,er req11ireme11/s
(•) Ei•i,1 a temmt or a temmt's guest
(•) Ham.~-.; a person
(•) Fail or delay pe1fo1111a11cc of m" intc,wnce or mpairs
(•) Limit p111'i/eges, sen •ic~ · or fi1cilitie.~ of" ,brel/i11g
(•) Discournge the purclw rc or 1Y!11ta / of o dwelling
(*) /h1·ig11 a pe1~v 11 to " pt1rlic11la r /J11ildi11g or 11eighborl10od or section of" /mi/ding or 11eighbor/10otl

r•) For profit, persuade, or II)' to persu"de. homeow11ers to sell their homes by suggesting that people of" parlicular protected chamcterislic a1Y! abo/11 to move in/a !he
11eighbmftood (blockbusting)
(•) Re/i1se to pm vide or discriminate i11 the tem1s or co11ditio11.1· of homeo11'1/e1~· insurance because of the race, color, 1Y!ligio11, se r, disability, familial stalm, or nalimwl origin of
the 011'11er aud/or occupa111s ofa d11Y!lling
(•) De11y access to or membership i11 any mulliple lisli11g .,e,v ice or 1MI estate bmkers' mga11izolio11


For mom il/{01111mion and e.ramp/e.1·, visit Examples of Housi11g Discrimi11ation.




Harassment:


Tl,e Fair Ho11.1-ing Act makes it illegal lo /111mss persons because of race, colo,; 1Y!ligio11. se.,·, di.w bilily, Jamili"/ statm , or natio1w/ origin. Among other things, Jhisforbids
sexual hara.twneut. l earn 11101Y! about sexual hmm.,ment l,e1Y!.


O/her Prohibilio11s:


Ill t1dditio,1, it is illegal tliscrimi1111tio11 10:

Thre{fteu, coerce, iutimit/11te or i11te1fere 11ith anyone e.rerci.l"ing a f"ir homi11g right or <misting others who e.,·ercise the rig/,/
Relali11te {fgai11.11 a pe1:m11 ,rlw has filed" f"ir l,ousing complai11t or assisted in a f"ir housing iuve,·t igatio11


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Additional Protections For Pe1:w11s With Disabilities:


Housing provide1:r must make reasonable accommodations and allow reamnable modifications that may be 11ece.~w1y to allow pe1:m11.1· 11•ith disabilities to enjoy Iheir ltousi11g...


        "Eullplea of llouaing Diacrimi.nation" '       llnitad StAtu Dllpartant of llouaing and U.d>on Or.191-t
•      bttpe: / /ww. hud.cp,/pxograa_offica/f'air_ Houaing_ecpal._oWl-1.._bouaing_diacriaination


I-lousing discrimi11alio11 can Jake manyfomis. 1-fet·e are some examples of housing discrimi11alio11.



Discrimination Jsn 't Always Obvious - Example#/ :


Jolm. ll'ho is a Black 11u111, speaks Jo a pro;11ective la11d/01yf 011 the phone about leasing a11 apartment. 0 11 /he phone, the landlord seems eager to rent lo John, btll when John
mee/s witlt tlte /a11d/ord in pet~"Ott to fill mt/ an applicalio11, the ltmdloir/'s allitude is entirely differe111. A few days later, John receives a feller saying 1hat his application 11m
denied because of a negative reference from his cmre11t landlord. John is swprised because he never hod problems 11·ith hi.<lamllo1rl, a11d his la11dl01rl s11-ea1J· she 11·a.1· never
c;o11tac1edfora refere11c'e. John suspects Jltat the real reason he was denied /he apartment 11m beca11se he i.<Black, so Jolmfiles a comploi11t wit/, I-IUD. I-IUD i11vestiga1es mu/ it
/tuns out John is tight - the la11dlord'sfiles show a pal/em of discrimi11atio11 beca11se of race and co/01;



Discrimination Jsn 't Always Obvious - Example #2:


.Jane is a Muslim 1mma11 wlto 11-ears a hijab. Jane 11-alks i1110 the leasing office for a large apm1me11t building because she sow a .<ig11 in the building's window ad1•erlisi11g
several available units. Jane i111roduces he,3·elf to the leasing office,; ll'ho immedialely says there are 110 units availahle. Jane asks to be p11t 011 the ll'aiti11g list, but site never
receives a call. Jane files a complai11t with HUD bec:ause she suspects thal the leasing officer does 110/ 11rmt to rent ro her because she is Mmlim. HUD investigates and if 1t1111s
0111Jane is light - other employees <if /he building give HUD i1iformalio11 rhal .mbsrantiofes Jone's claim qf religious discrimi11a/io1t.



Steeri11g ls A Form Of Discrimination:


./oltn, ll'ho i., a11 Asian ma11, meer., ll'ifh a real es/ale bmker to disc11.~r purchasing a house for his family. When John names /he neighborhood rhar he is i11reresred in, rhe bivker
asks John if he is sure rhar his family ll'ill feel co11ifo11able the1-e. The bmker fells John 1hat she has a 11rmde1f11/ listing in 0110/her neighborhood ll'here there are more "people
like rhem. " When tlte broker take.< John lo see the house, John notices that /he residents of the 11eighborhood appear to be mostly 1lsia11. John Jiles a co11111lailll with I-IUD
because .,leering someone to {J ce11ai1111eighborhood because of his race is afo1111 of race discrimi11ario11.



    Harassment ls A Form Of Discrimination:


.Jane has a Housing Choice Vo11cher (Section 8). but one mouth she falls behind 011 herp(}/1io11 of the rent. When Jane asks her landlord if he will give her a fell' more doys. her
la11dlmrl s<!)<f yes but 011/y if she will go 011/ with him. Feeling she lmr 110 choice. Jane sap yes. O11er the 11ert few daJ~; Jane ',1· landlord se11ds her semally ewlicit Jeri me.tmges
e1•e11 though Jane fells him to slop. .Jane's la11dloirl tells her J/101 if she does 110/ go 0111 ll'ifh him again he is going to e1•icl her 011d she ll'ill lose lter voucher. .lane files a

    complaint ll'ifh HUD because se.mal lwms.w11e11/ i.< afo1111 ofse.r discrimi11afio11.



    Many Housing Units Have Accessibility Requirements:


John, c1pet-SOit wi1/1 a disability wlto uses a wl,eelclmir, vie11\'/ a cmrc/ominirnn /re is !,oping lo pure/rose in a new mullislmy bui/cling. IV/ten Jo/rn oni ve.s, /reji11cls 1/rere ewe 110
    acce.1:1·ible pa1*i11g spaces i11 the /J11ildi11g 's pa1*i11g lot. When John fries lo e111er the ,mil, his wheelchair can /Jm-elyfit rhrrmgh rhe door and he bangs hi.< onm 011 the IIY!J' in.
    Inside the 1111it, the 1/iermo.1·/at a11d light s11•ifche., are all too high for him to reach. The /mi/ding has a fi1tws., room, but he ca111101 /oak al it became tlte 011/y way to gel to rhe
fitness 1rwm is ro go up steps. .Jolmfi/es a complaint wirh I-IUD because failing to comply 111ilh {JCCe.tribilily 1-equireme11ts is a form of disahili~)• discrimi11ario11.



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Reasonable Accommodations Are Requiredfor Persons With Disabilities


Jane ha.1· a deve/opme111al di.mbilily Iha! tif]'ecls her capacily to manage her 011•11 fi11a11ces. Jane le/1.v her building 111a1,ager Iha! her mo/her will be paying her IY!III for this 1Y!aso11
and asks !fall notices 1Y!lali11g lo her IY!III <·an be sent to her mother. The b11ildi11g 11umager tells Jane Iha/ !he 111a11ageme11/ company has a policy of 011/y sending notices lo
reside111s, 110 exceplio11s. Seveml 111011/h.1' /a/er, Jane receives an eviclio11 rrolice because her 11101/,er had 1101 k1101111 //,at Jane's ren/ had been increased. Jane files a co111plai111
will, HUD beccmse clcmyi11g a reasonable <1ccommodatio11 is oform of disability cliscrimination.



Rules Against Children Are Discriminato1r


John hru thlY!e teenage child1Y!11. Jahn 's b11ildi11g hru a polio will, picnic fables. and one day John 's children decide to have l1111d1 there with some of theirji-ie11d\'. The 11exl day,
John receives a 11oticej1Vm the ho111eow11e1l· association i,ifo1111i11g him thal the b11ildi11g 111/es say !hat the patio is for adult-use 011()1 and thal he 11eed1· to make swe his children
do 1101 1•io/a1e !he building 111/cs. Jol,11 Jillir a complain/ 11·ilh HUD bemuse building 111/es that di.1·cli111ina/e agai11.1'/ children are afom, offamilial .1·tallls discrimination.



Mortgage Lending Discrimination Is Jllegal:


Jane and John are filling 0111 011 applicatio11for a 111011gage al their local bank. Their /0011 officer notices that Jane i.l' visib(ppreg11a111 and tt\'ks whelher she will he taking
11,a/emily leave. ll11e11 Jane says yes, the /0011 officer i11fo1111s the couple 1h01 !hey eilher have lo apply willmul Jane's income or 1mil until she IY!/ltms j1V111 leave. "/ '111 sony, "
the loan officer says, "but I 've seen too many women change their mind ahm1/ going back to wol'k." Jane am/ John file ll comp/oint wit/, HUD bew11se the bank's polk'y
di.w:ri111i11ales based 011 sex (i11cludi11g gender idelllily alld serual orielllatio11) a,ulfamilial .1·/alm.



Discrimination in the Conditions ofHousing ls Illegal:


Johll rece111/y moved lo !he U11iled S!alevfmm Merica. One day, Jol,11 sees Iha! their! is a 11eiv /e11a11/ ill the 0J/{l/1me111 lle,·/ to !,i.1; so he l\Y!lcomes her lo the b11ildi11g. John 's
neighbor co111111e111s 011 how nice e11e13·011e i11 t/1e building see,m, especially !he building manager who offered lo 1mil'e her security deposit because she seems like a good person.
John is s11q1rised because the b11ildi11g manager was shor/-/empered 1l'i//, him and said Iha/ Jol,11 '.1· acce/11 made him hard lo 1mdersla11d. Jol,11 /a/er asks {11v1111d a11dfi11ds 0111 Iha!
the b11ildi11g mwwger has ll'aive,lfees and deposits for a1/1er te11a111s he likes, but 1101/or him or other pe1w11sf,v111 Merica. ./0/111/iles a co111plai111 with f/UD because providillg
dif(e1Y!11/ te1111.\' alld co11dilio11.1· lo lemmts hecame of 11atio11al origill is illegal discrimillatioll.


      •11oua1ng Diacr!.m.lnation and h.raona Idllntifying u          I.aoban, Gay, IU.Nxual , ~                  - and/or ~/C--tioninq (um'Q)• ,
     ~tied stat.ea ~ t of llouaing and Oman ~ t
•    httpa: / /www. lu:I . gov/pi:ogxa,_of!iON/fair_ houain<!....-1_opp/houainq__diacrlmination_and_pencna_idontU'yinr,l_lgj>tq

Re.1·0111~·es 0ll housing discrimi11atio11 and pe1:m11.1· ide111/fyi11g as Lesbian, Gay, Bi.1·erual, Tra11sge11der, a11dlor Q11eer/Quel'lio11i11g (LGBTQ)




 Persons 11'i10 idelllijy as LGBTQ alld believe !hey have erpeliellced housing discri111i11alio11 because of their ac/1/al or perceived senml orie11/alio11 or gellder idelllily can a.tver/
!heir 1ig/11s 11llder !he Fair Ho11sillg Ac/ by filillg a complaillt ivilh f/UD.


(•) HUD will accept and i11l'estiga1e all legally .wifficielll ca111plai11t.l' of ser discrimi11lllio11, i11cllldi11g discrimi11atio11 because of ac/1/al or perceived ge11der idelllily m· senwl
arie111a1ioll, alld e1iforce the Fair Housi11g Act ll'he1Y! ii finds such discli111i11atio11 occwred or is a!J011/ lo occw:


 (•) Ill additio11, some LGBTQ pe1wlls may have claims arising 1111der olher provi.1·io11s of the Ac/, e.g.. mce, 11a1io11a/ origin, color, 1Y!ligio11, disability andfamilial status.


 (*) HUD 's Equal Acee.ti' Rule also requires lhal e/igibilily delem1i11atio11sfor homing a.t,·i.l'ted by f/UD or sulyecl lo a mortgage insured by HUD be made regmdless of ac/ual or

perceived gellder ide111i1y. sexual olie11/atio11, or marital s/a/1/s.




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 Fair Housing Act Protectionsji'Dln Sex Discrimination include Sexual Orientation and Gender identity


 (*) The Fair Hou.l'iug Act wohibits ho11si11g and housi11g-related discrimi11ation because of mce, color, 11olio11al origi11, religio11, sc-x (i11cluding ge11der ide11tity a11d sexual
 orientt1tinn), .fcrmiliol .,tatu.t, and (/j:mbUity. A JJCl':'fon wlro Ito., C.'<pericncetl (or i., abou, lo e.'<pericnce) di3c1·imina1io11 in l,ou,ing bccnu:Jc of :'IC'<, including Iheir ochml or

perceived sexual orie11/atio11 or gender itlellfity, mayfile a complaint with HUD. HUD ll'ill i111'esligate complai11t.1·al/egi11g violotio11s of the Fair Ho11si11g Act 011 this bosi.l'.


 (*) On Juue 15. 2020, the Supreme Court issue;/ a decisio11 i11 Bostock v. Clayton Cty., 140 S. Ct. 1731 (20211), 11·hic/1 held that Title V/1 's prohibition against sex discrimination
 i11cludes serno/ 01ientatio11 and gender ide11tity. Fol/01l'i11g that decisio11 011.la11u01)• 20, 2021, Pre.l'ident Riden issued Execllfive Order 13988 011 Preventing and Combati11g
 Discrimi11atio11 011 the Basis of Gender lde11tity or Serna/ Orientatio11. P11rs11a11t lo that Executive Oirler, HUD 's Office of Fair liousi11g a11d Equal Opportu11ity issued a
 memora11d11m 011 Febma,_)' / I, 202 / , "lmplemellfatio11 of Executive Oir/er 13988 011 the E11forceme11t of the Fair /io11si11g Act, " ll'hich addresses discrimi11atio11 because of ac/110/
 or perceived .l'er11al orie111ation and gender ide11tity 1111der /he Fair Housi11g Act. Where reaso11able cause erist.1· to believe 1h01 discrimi11atiou become of se.r (i11cludi11g actual or
 perr:eived .\'ex11a/ orie11/atio11 or gender identity) has occ111red, Fl·/EO will make a detem1i11ation of reaso11ab/e cause and refer the case to HUD 's Office of Geneml Co1111sel for
 charge. If the discriminatio11 occurs i11 c01yu11clio11 ll'ilh discriminatio11 because qf a11other pmtected clmracteri.l'tic, all .\'11ch bases ll'ill be im•e.l'tigoted and charged 111,ere
 reasonable cause exists. Similarly, HUD ll'ill co11duc/ all activities i11volvi11g the applicotio11, i11te17Jretation, a11d e11force111e111 of the Fair Ho11si11g Act's pmhibitio11 011 ser
 discrimi11atio11 co11si.l'te11t with the Bo.l'tock decisio11.




 Examples of housi11g discri111i11alio11 agai11st pe,~·011.1· ide11tifyi11g a.\' LGBTQ may also occur becm,.m of, or i11 additio11 to, other characteristics prolecled by 1/,e Fair liou.l'i11g Act,
 e.g., race, 11alio110/ origi11, color, religion, di.l'ability a11dfamilial .l'tat11s ...




<][30
T he term indigenous peoples shall not be limited to person(s)-of-color that are indigenous to a geographical area that live a traditional

cultural/religious lifestyle, but instead, shall also include any person(s)-of-color whose immediate ancestry traces to indigenous

culture(s)/religion(s) and who fo llow (or try-to-follow) the cultural/religious lifestyle/practices of such indigenous culture(s)/religion(s). As such,

the term also includes at least some immigrant(s)-of-color in the United States who meet the aforementioned criteria, and also a ll person(s)-of-

color who genuinely identify as "indigenous". A person that identifies as "indigenous" is identifying in such manner to indicate a combination

of both racial-identity and re ligious-identity.




<][31
The terms combined racial profile or simply racial profile shall collectively refer to the combination of all of the following four

characteristics for a person - race, religion, colo r, and national-origin - and any other applicable characteristics that are directly or intricately-

tied-to such combination of race-religion-color-and-nationa l-origin including ethnicity/culture and any applicable physical characteristics

including, but not limited to, grooming-style, hair-style, other-facial-hair (such as beard), height/weight (only to the extent that height/weight are

the direct result of such combination of race-religion-color-and-national-origin). The term racial animus shall refer to any animus that is at

least substantially, if not exclusively, based on any aspect(s) of a person's race, color, national-origin, or combined-racial-profile - "actual or

perceived" - and shall also include: anti-immigrant-animus (xenophobic-animus), anti-indigenous-peoples-animus, anti-Muslim-animus

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(Islamophobic-animus), anti-semitic-animus.




~32
The term racist shall refer to any behavior(s), action(s), and/or conduct of a person (and/or institution) that demonstrates one-or-more of the

following:



® racial-animus: (as defined above); AND/OR


@racial-superiority: the idea that those of the majority race/color/national-origin are superior (in appearance, intelligence, etc.) to those not of

the majority race/color/national-origin ; AND/OR



© racial-hierarchy: the idea that those of the majority race/color/national-origin ought to occupy the top-level of power-and-wealth within
society/neighborhood/workplace, or a relatively higher-level of power-and-wealth to those not of the majority race/color/national-origin ;

AND/OR



@ racial-hypocrisy: heavy-handedly targeting one-or-more person(s) of minority race(s)/color(s)/national-origin(s) on relatively
trivial/harmless/petty/spiteful issue(s) (for example, purely-aesthetic/cosmetic issues of property-maintenance), while at the same time,

completely ignoring (or deliberately turning a blind-eye to) the major crime(s)/violation(s) (such as, violent crimes, hate-crimes, eivil-rights-

violations, racketeering-acts, felony crimes, retaliatory crimes) committed by one-or-more person(s) of the majority race/color/national-origin;

AND/OR



® racial-bias: treating one-or-more person(s) of the majority race/color/national-origin, in one-or-more manner(s), favorably or preferentially,
over one-or-more person(s) of minority raee(s)/color(s)/national-origin(s); AND/OR



® ethnocentricity and/or racial/cultural insensitivity: having one-or-more expectation(s) and/or making one-or-more statement(s)-of-hostility-
disappointment-or-disapproval indicating that one-or-more person(s) of minority race(s)/color(s)/national-origin(s) are not conforming their

lifestyle and/or appearance/grooming/clothing and/or property-maintenance to the supposed norms/standards/conventions prescribed by those

of the majority race/color/national-origin.



133
The term far right wing extremist shall refer to any behavim{s), action(s), and/or conduct of a person (and/or institution) that demonstrates

one~or-more of the following:



® hatred and/or intolerance based upon the ideals of White-supremacy and/or White-nationalism and/or Christian-Identity; AND/OR


® hatred and/or intolerance against one-or-more religious person(s)/group(s) whose religion is not of the dominant-majority Chtistian religion ;
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AND/OR



© hatred and/or intolerance against one-or-more immigrant person(s)/group(s) whose color/race is not of the dominant-majority
White/Caucasian ; AND/OR



@ hatred and/or intolerance against one-or-more political activist(s)/group(s) whose politics does not perfectly align with the dominant-

majority, White-Christian-conservative values; AND/OR



® hatred and/or intolerance against one-or-more person(s)/group(s) who do not conform to dominant-majority White-American standards (of
lifestyle, and/or of appearance/grooming/clothing, and/or of properly-maintenance, etc.) ; AND/OR



® hatred and/or intolerance against one-or-more person(s) that are [LGBTQ[A+] or that they perceive to be [LGBTQIA+] ; AND/OR


@ hatred and/or intolerance against govenunent ancl/or taxation, at the ve1y least, whenever and wherever they perceive (accurately or
inaccurately) that government/tax programs/policy are, in any manner, benefiting those aforementioned person(s)/group(s) that they hate ( l>) .



Every person is extremely unique and nuanced (even as aforelisted), and thus, without making overly generalized statements about all those

persons who exhibit far-right-wing-extremism, a common theme that seems to appropriately characterize all such persons is a strong

combination of "group narcissism and misanthropy". Such persons are, generally speaking and under most circumstances:



® ve1y loving and affectionate towards all of those persons of their own race/color/religion/nationality and/or political-persuasion ancl/or
sexual-orientation - their "in group " - (''group narcissism'), while at the same time,



@ extremely hateful-of ancl/or intolerant-of and/or bitter-against and/or resentful-of all those people who arc outside of their

race/color/religion/nationality ancl/or political-persuasion ancl/or sexual-orientation - their "out group" - ("misanthropy').



i34
The terms hate ctime(s) - including, but not limited to racial/ethnic intimidation/interference (or simp ly racial-intimidation) and

homophobic intimidation/intetferencc (or sin1ply homophobic-intimidation) - shall refer to any crime(s) that are motivated by one-or-

more of the following: racial-animus, religious-animus, anti-immigrant-animus (or animus-due-to-foreign-nationality), anti-indigenous-peoples-

animus, anti-Muslim-animus (lslamophobic-animus), anti-semitic-animus, animus-due-to-skin-color, animus-due-to-ethnicity (or any

characteristic associated with such ethnicity such as hair-style, grooming ancl/or dressing), animus-to-person(s)-with-disabilities (ableist-animus),

a nti-[LGBTQIA+]-aninrns. Under federal law, the definition of hate-crime is most-generally specified in (100 u . s . stat . ,          2096 .

Violen t Crime Control a n d Law Enforcement Act of 1994 :                              § 280003 . Direction to United States

Sentencing Commission Regarding Sentencing Enh ancements for Hate Crimes) , while the defmition of crime-of-violence

being defined in [18 u . s . Code,        Part I . Crimes :         Ch ap ter 1 - General Provisio ns•                § 16 - Cri me of

violence defined) . T he prohibition of hate-crimes and the enforcement of the hate-crime laws - along with other related criminal civil-
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rights-laws barring deprivation-of-rights/conspiracy-against-rights - originally enacted by the [KKKA],[FI-IA],[CRAo 1968] and then

subsequently appended-to by the [HCPA],[CHCA] - arc codified under the United States Codes:

01.        [18 U . S . Code•               Part I. Crimea :                       Chapter 13 . Civil Rights) , ("[1 8-USC-PI-C 13]"),

02.        (42 U . S . Code•               Chapter 45. Fair Housing •                               Subchapter II . Prevention of Intimidation) , ("[42-USC-

         C45-SII]"),

03.        [loe u . s . stat . ,                2096 . Violent Cri- Control and La• Enforc-ent Act of 1994 :                                                                   § 280003.

         Direction to United States Sentencing Collllllission Regarding Sentencing Enhancements for Hate

         Crimea) , ("[ I08-USSaL-2096-§280003]"),

04 .       (34 U.S. Code•                  Subtitle III - Prevention of Particular Crimes•                                                      Ch apter 305 - Hate Crimes) , ("

         [34-USC-Slll-C305]"),

05 .       [135 U.S . Stat. :                   265 . COVID- 19 Hate Crimes Act) , ("[l35-USSaL-265]"),



 - mxl uooer the State ofTexas's Codes:
06.        (Texas Property Code:                          Title 15 . Fair Housing Practices:                                        Chapter 301 . Texas Fair Rousing Act :

         Subchapter I . Criminal Penalty) , ("[TPrC-TIS-C301-Sl]"),

07.        (Texas Penal Code :                      Title 3 . Punishments :                         Chapter 12 . Punishments:                             Subchapter D. Exceptional

         Sentences:               Sec . 12 . 47 . Penalty if Offense Comaitted Because of Bias or Prejudice . ) ,("[TPeC-T3-C 12-

          SD-§ 12. 4 7]"),

08.        (Texas Code of Criminal Procedure:                                        Title 1 . Code of Criminal Procedure:                                         Chapter 42 . Judgment

          and Sentence :                Sec. 42 . 014 . Finding that Offense was Committed because of Bias or Prejudice . ) , ("

          [TCoC P-T I-C42-A42.0 14]").

       '2 U. S . Coda•   Olaptar 45 . Fair Houaing •       Subc:Nptar I I . Prevw\t.lan of Int.lal.dat.lan•      S 3631 - Viol.ati.ons; pm>altiu
 •     httpl : / / -. law. oomell . edu/uaoodo/boxt/ 42/3631


  IVl10eve1: ll'hether or 110I acting under color of la11•, by force or threat offmr:e 1l'illf11/ly i1y11ries. /11ti111idates or i11te1feres ll'ith. or attempts ta i1y11re, intimidate or i11te1fere ll'ith--


 (a) any person becau.l'e of his race, color. re/igio11, sex, handicap (as such term is defined in sec/ion 3602 of this Jitle). familial s/a/us (as such term is defined in section 3602 of
 this title). or 11atio11al origin and become he is or hos been selling, p11rc:lmsi11g. rrmling. fi11a11ci11g. occupying. 01· co11trac1i11g or 11egoliati11gfor /he sale. p11rd1are, rental.
 .fi11a11ci11g or occ11patio11 of any d11·elli11g. or applying for or pm1icipoli11g in any se111ice, o,ga11izalio11. orfacility relating to !he busilte.~\' of .\"elliug or re11/i11g dll'elli11g.1·: m·


 (b) any person because he is or has been. or i11 order lo i11ti111ida1e such person or any other pe,~·011 or any class ofpe1:m11sfro111-
      (I) pmticipating. ll'ilhou/ discrimination 011 acco11111 of race, color, religion, sex. handicap (as such le1111 is defined in sec/ion 3602 of this title). familial s/allls (a.1· s11ch te1111
 is defined in section 3602 of !his Jille), or national origin. i11 any~/ !he activilies, se1vices, orga11izatio11s orfacililies descrihed in .wb.1·e,·Jio11 (a); or
      (2) a}jtJnli11g cmotl,er person or cla<\' of pe,~·om opporl1111ily or pmleclion so lo parlicipate; or


 (c} <111y citizen beca11.1·e he is or has been. or in mrler to discourage such citizen or any other citizen from la11f11/ly aiding or e11co11ragi11g other persons lo pm1icipate, 11'itho11/
 discrimi11atio11 011 account of m ce, colo1; religion, ser, handicap (as such tem, is defined i11 sec/ion 3602 of !his litle). familial status (as such /e1111 is defined i11 sec/ion 3602 of
 this title). or 11alio11al origin, i11 any of the activilies, .re,vices, o,ga11iwtiom orfacilities de.mibed i11 s11bseclio11 (a), or pm1icipati11g la11f11/ly in speed, or peaceful assembly
 opposing any denial of !he opport1111i~11lo so pmticipate-
 sha/1 be.fined 1111der title 18 or imp1iso11ed 1101more Ihm, one ye(II; or bolh; and if bodily hif111y resul!sf,vm the acls commilled in viola1io11 of Jhi.r sec/ion or if such ac/s i11c/11de
 !he use, ol/empted use, or thrca/e11ed use af o da11gemus 11·eapo11, explosives. orjire shall be fined 1111der title 18 or imprisoned 1111/ more lha11 Jen yea,,;, or both; and if death
 resul!sj,v m !he ac/s commilled i11 violalio11 of this sec1io11 or if such ac/s i11c/11de kidnapping or <Ill attempl to kidnap, oggrnvaled .,·ernal abuse or <ma/tempi lo commit


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aggravaled sexual abuse, or m1 a/lempl lo kill, shall he fined uuder tille 18 or i111priso11ed.for any te1111 ofyea,~· or.for life, or both.


•      18 U. S . Code •    Part 1 . Cru.a•      Olaptar 13. Civil Rights •         S 2'2 - lloprivatian of rights..-.: oo1or of law
       httpe : //.,.,.,.aw. oomell .edu/usooda/text/18/2'2

Whoever, 1111der color of any law, .1w1t1te. ordi11a11ce, reg11/atio11, or custom, wil/[111/y .mhject.1· any person i11 any Slate, Terri/my, Cm1111101111'ealth, Po.tmt,io11, or District to !he
dep1ivatio11 ofa11y rights. privileges, or i1111111111itie.1· secured or protected by the Comtitulio11 or laws of the United States, or to different pu11ish111e11ts, pai11.1; or penalties, 011
11cco1111t a/such pemm being m1 alien, or by rerL1·an af his color, or mce. thou are prescribed for the p1111ish111e11t of citize11.1; shall be.fined 1111der this title or imprisoned 1101

more tha11 011e year, or both; aud if hodily i11j111y results from the act.1· co111111i1ted i11 violation of this section or if such acts include the use, a/lempled use, or threatened use ofa
dangerous 11'eapo11. explosives, orfire, shall be j111ed 1111der this title or imprisoned 1101 more lha11 te11 years, or /10//,; aud if death results.f,0111 the acts co111111illed in violation of
this section or if such ac1., include kidnapping or a11 a/tempt to kidnap, aggravaled sexual abuse, or an al/empt lo co111111il aggrava/ed sexual abuse. or m1 a/lempl lo kill, shall be
fined 1111der this !ille, or i111priso11ed.fo1· a11y te1111 ofyellls orfor life, or both, or may be se11/e11ced to death.


       18 U. S . Coda •    Part 1 . Cr1- •      Olaptar 13, Civil Rights •         S 241 - Ccnapincy agaiN,t rights
•      httpe : / /www, aw.oomell. edu/uaocde/ boxt/18/241

~f /lm or more persons conspire to i1y11re. oppress. threaten. or i11ti111idate any pe1:m11 i11 a11y State, Tenitmy, Co11111101111Y!alth, Possession, or Dislrict i11 the fi·ee exercise or
e1yoy111e11t of a11y righl or p1ivilege secured to him by the Co11Stit11tio11 or fall's of the U11i1ed State.1·. a,· because of his having so exerci.w:d the .mme; or


if /11-0 or more pe1~·011s go i11 disguise 011 the highll'ay, or 011 1/,e p1Y!111ises of a11othe1; ll'il/, i11le11/ to p1Y!ve11t or hinder his.{,Y!e exercise or e1yoy111e111 of a11y rig/II or privilege so
secured-


They shall be fined 1111der tl,is litle or i111priso11ed 1101 more tha11 te11 years, or both; and if deaf/, results f,11111 tl,e acts commilled i11 violatio11 <if tl,is section or if such acls include
kidnapping or 011 al/empt to kidnap, aggmvated sex11al abuse or <Ill a/tempi to commit aggravated sernal abuse, or 011 alle111pl to kill, they shall be fined under this title or
imprisonedfor a11y te1111ofyears orfor life, or both, or may be se11te11ced to death


       18 U. S . Coda•     Part I .   en- ,     a.apter 13, Civil Ri9>ts•          S 245 - - . . U y proact:ad activit:iu
•      httpe : / / -.aw .oomell .edu/uaocde/boxt/18/2'5




(b) IV/10eve1; 11'1,etl,er or 110/ acting 1111der color ,if law, by force or threat offarce wil/fully i1y1m:s, i11ti111idate~or i11le1feres wit/,, or al/empls lo ilymY!, i11ti111ida1e or i11te1fe1Y!
ll'ith- ...
      ( I) a11y per:.011 because l,e is or ha, bee11, or in order to intimidate such perxo11 or a11y other pe1-so11 or <my class ofpersons fl-0111- ...

           (8) pa11icipati11g in or e1!ioyi11g <my benefit, se,,,ice, privilege, progmm, facility, or aclivity provided or ad111i11i.,tered by the United States; ...

           {E) participati11g in or e1yoyi11g the benefits of any pmgm111 or aclivity receiving Fedeml fi11a11cial assisto11ce: or



      (2) a11y pe1so11 because of his mce, co/01; religion or 11atio11al 01igil1 a11d because he is or has been- ...

           (B) pmticipati11g in or e,yoying a11y be11eji1, sen•ice, privilege. pmgmm, facility or activity provided or administered by a11y Stale or subdivision !hereof; .. .

           (E) traveli11g i11 or using a11yfacility of i11te1:,tate commerce, or using <my vehicle, te1111i11al, or facility of any co111111011 can'ier by 1110101: rail. water, or air; .. .
           (F) e1yoyi11g the goods, se,,,ices. facilities. privileges, adva11/ages, or acco111111odatio11s of a11y i1111, hole/, motel, or other evtablish111e11t 111,ich provides lodging to lramienl

guests, or ofauy res/a11ralll, cafeteria, l1111cl1100111, lunch co1111te1; sodafo1111toi11, or otherfacility which se,ves the public and ll'hic!, is pri11cipa/ly engaged i11 selli11gfood or
beverages for com11111plio11 011 !he premises, or of a11y gasoline slatio11, or ofany 11101io11 picture ho11se, lheate1: co11cel'/ hall, .1ports arena, s1adi11111, or a11y other place of
exhibition or ente11ai11111e111 ll'hicl, se1ves /he public, or of a11y other establishme/11 ll'hich se1ve.1· the public and (i) 11i1ic/1 is located ll'ithi11 the pre111i.1·es of any of the aforesaid
es1ab/isl,111e11ts or within the premises of ll'hich is physically localed 011y a.f the <iforesaid establish111e11ts, and (ii) ll'hicl, holds itself 011/ as se1vi11g pa1to11s of s11ch estab/isl,111e11/s;
01' .. ,


      (4) a11y person because he is 01· fros been, ar i11 order to intimidate such fJerso11 or a11y or/rer person or any cla,s of11e1sons j,'Olll-
           (A) participati11g. ll'itl,0111 discri111i11atio11 011 acco1111/ ofrace, color, religion or 11atio11al origin. i11 a11y of the be11efits or aclivities described in .wbparagraph.1· ( /}(A)
    t/11v11gh (l){E) or subpomgmphs (2)(A) lhrough (2)(F); or
           (B) affonli11g a11olher pe1so11 or cla.t, af pe1l-otl.l' opportunity or proteclio11 to so pmticipate; or




                                                                                              PACE    21   OF    9 ~6
                                Case 1:23-cv-01223-RP Document 1 Filed 10/10/23 Page 22 of 944
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      (5) all)' citizeu because lte is or /,as heen, or iu order to i11ti111idale .rnc/1 citizeu or ouy other citizen fmm /a11f 11lly ai<liug or e11co11ragi11g other pe1,·011s to pt11ticipate, wilhout
discri111i11atio11 011 acco11111 of mc:e. color, religion or 11atio11al origiu, i11 any of the benefits or activities descrihed i11 suhpamgmpl,s ( /)(A) //,rough (l)(E) or .mbpamgraphs (2)
(A) t/11v11gl, (2){F), or par1icipati11g /anfully i11 speech or peaceful a.,w:mhly opposiug m,y de11ial of the opporllmily to so pm1icipate- ...


•      18 U.S . Code•     Part I . Cr1-•       O\apt.er 13. Civil IUcJhta•         S 249 - Kata c:ria act.
•      http,:/ / -. aw.comell. .....,,...-/boxt/18/249

(a) /11 Ge11eral.-
      (I) Offeuses i11volvi11g actual or perceived mce, color, religion, or 11alio11al arigi11.- W/10eve1; ll'hether or 1101 actiug 1111der color of law, wil(f11/ly causes bodily i11j111y lo rmy
person or, 1/11vugl, the use offire. afirean11, a da11gero11s 11"eapo11, or 011 e.,plosive or i11ce11dimy device, attempts to cause bodily i1if111J>to auy persou, because of the ac/110/ or
perceived mce, color, religion, or 11atio110/ origin of any pe,,m,-
         {A) shall be i111priso11ed 1101 mare them /0 yec11s, fined i11 accoirkmce will, this ti/le, or bot/,; and
         (B) shall be imprisonedfor any term <!fyea,:, orfor life, fined in accordance will, this ti/le, or both, if-
            {i) death re.wltsjivm tl,e o.ffi!11se; or
            (ii) the offense i11c/udes kid11appi11g or 011 al/empt lo kiduap, aggrm•ated se.mal abuse or au allempl to commit aggravated se.rual ahuse, or au attempt to kill.


      (2) Q/fenses i11valvi11g actual or perceived religion, 11atio11al aligi11, ge11de1; se.mal orie11tatio11, gender identity, ordisability.-
         (A) /11 ge11eml.- Whoeve1; 111,ether or 1101 acting under color of law, in any circumstance described in subpamgmpl, (B) or paragraph (3), willfully causes bodily i1if111y lo
auy pe1so11 m; thmug!, the use offire, a fireon11, a da11gernus weapon, or 011 e.,plosive or i11ce11dimy device, al/empts to ca11se bodily i1y·111y lo any pe1:m11, because of the actual
or perceived religio11, 11atio11a/ origin, ge11de1; se.111al orie11tatio11, ge11der identity, or disability of cmy person-
             {i) shall be imprisoned 1101 more limn JO yea,~·. fined in acc01tlm1ce ll'if/, //,is title, or boll,; a11d
             (ii) shall be imprisoned for a11y term ofyea,:v orfor life, fined i11 accordance ll'itl, this ti/le, or both, if-
                (/) death res11/tsfrom the offense; or
                {II) the offense i11c/11de.r kid11appi11g or m, a/tempi to kidnap, aggravated se.rual abuse or 011 attempt to commit aggmvated se.rnal abuse, or 011 al/empt to kill.

          (B) Circ11msta11ces described - For pmpo.\'es <?f subpamgrap!, (A), the circu111sta11ces described i11 this subparagraph are thal-
             (i) //,e co11d11ct de.\'cribed i11 subpamgrap!, (A) occ111s during tl,e course of. or as the res11/t of. !he hovel of the deJe11da11/ or //,e viclim-
                (I) ac,u.rs a Stale line or 11atio11al border; or
                (II) using a cha1111el, facility, or i11st111111e11tality of i11ters/ale arforeig11 commerce;

             (ii) the deje11da111 uses a c/101111el, facilily, or iust111111e111a/ity of i11tersta/e orforeig11 commerce i11 cmmec/1011 wilh the co11d11ct described i11 subpamgmpl, {A):
             (iii) in cm111ectio11 will, the conduct dercribed in .wtbpamgrapl, (A), the defe11da111 employs a firearm, daugemus ll'eapo11, e.rplosive or i11ce11dimy device, or other 11eapo11
tltal has //m•e/ed in inlerstale orforeign commerce; or
             (iv) //,e conduc/ described in .rnbparagmpl, (A) -
                (/) inte,feres wit!, co11mw1t:ial or other economic aclivily in which the viclim is engaged at tl,e lime of //,e co11d11ct; or
                (II) othe,wise affects i11te1:v101e orfo1eig11 commen-e.



       (3) Offenses occurring in tl,e special mmitime or /erri/orial jurisdiclion of //,e united s/ates.-
          Wl10eve1; within the special maritime or territorial j urisdiction of the United Stales, engager in couduc/ de.l'cribed in pamgrap!, ( /) or in paragraph (2)(A) (ll'illmut reganl
    to whelher /hat co11duc1 occmred i11 a circu111sta11ce desc,ibed in paragraph (2)(8)) shall be s11bject to //,e same peualties as prescribed i11 //,o.1·e paragraphs.


      (4) Guideliues.-
          AII pmsec11/io11s conducted by the Uuited Slates under this section shall be 1111derlake11 p111s11m1/ to guidelines iss11ed by the Attorney General, or !he desig11ee of the Attomey
    General, to be included in the United States Attorneys' Ma1111al that shall establish neutral a11d ol,jective criteria for detem1i11i11g whether a crime ll'as co111111i11ed because of the
    actual or pe1ceived s/at11s of any person.




    (b) Ce11i/1calio11 Requile111e11/.-
       ( /) /11 genera/.- No pm.\'ecution of auy offense de.l'cribed in this subseclio11 may be 1111de11ake11 by the United Slates, e.rcept under //,e certij1catiou in writiug of //,e Allamey
    General. or a desig11ee, that-
          (A) the State does 1101 have jurisdiction;

                                                                                             PAGE    22   or    9~6
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       (BJ the State ltas reque.1'/ed thar lite Federal Gnve111111e11/ as.w111ej111isdiclio11;
       (CJ 1/te ve11/icl ar se11re11ce o/1/ai11ed p111·s11cml ro Srare clwrge.l' le.fr demomrratively 1111vi11dicaled the Federal i11/ere.,r in eradicating bias-morivared violence; 01·
       (DJ a pm.~el·111io11 hy rhe United Stales i.l' i11 rim public iureresr m11/ 11eces.1WJ' to secure subsla11tial j ustice.


    (2J Rule ofco11structio11.-
       Nollti11g in tltis subsection .l'hall be co11s/111ed to limit the 0111/wl'ity of Federal officers, or a Federal gm11d jwy, to investigate possible violaJio11s of //tis section.




(c) Defi11itio11s. -ln this sectio11-
    (IJ the te1111 "bodily i11j111y" ltas tlte meaning given suclt term in sec/ion / 365{h)(4) ofthis title, b111 does 1101 i11c/11de solely emolional or psycltolngirnl ltarm In lite victim;
    (2) the te1111 "erplosive or i11ce11dimy device" ltas the meaning given s11ch Jenn in section 232 of tltis title;
    (3J /he /e1111 ''firea1111" has lite mea11ing given such Jenn in sel'lio11 92l(a) of this title;
    (4) the 1e1111 "gender ide11rity" 111ea11s actual or pen·eived ge11der-related characlelislics; and
    (5J the ten11 "State" i11c/11des the Di.l'lrict ,if Columbia, Puerto Rico, and any ollter te11"i/01y or possession of the U11ilecl Slates.




{d) Statute of limilatio11s.-
    ( I) Offenses 1101 re.wiring i11 death.-
       Except as pmvided in paragraph (2J, 110 pe1:m11 .~hall be prosecuted, tried, or p1111i.l'hedfor cmy offe11.l'e 1111der rhis sectio11 1111/ess the i11dicl111e11/ for s11clt offense i.~Jo1111d, or
the i11fon11atio11 for such offense is i11slil11/ed, 110/ later tha11 7 yea1:v after the dare 011 wltich the offense 1m., commilled.
    (2) Death res11/ri11g offenses.-
       An i11dict111e111 or iliformalia11 alleging that 011 offense 1111der thi.~ section res11/ted i11 death may befo1111d or i11slit11/ed al any time without limitalio11.




(e) S11pe1vised Release.-
    If a co1111 i11c/11des, as a pm1 of a se11te11ce of i111priso11111e111 imposedfor a vio/atiou of s11bseclio11 {a), a req11ire111e11r that the defe11da11/ be placed 011 a te1111 of .wpe1vised
release after i111priso11111e11r 1111der section 3583, the ca1111 may on/er, as 011 e.\plicil co11ditio11 of.mpe1vised release, thar the defe11da1111111de11ake ed11mtio11a/ classes or co1111111111ity
se,vice direclly related lo the co1111111111ily ham1ed by lite defe11da111 's offense.


     108 U. S. Stat.•      2096. Vioant Cru. C<lnt:rol and 1 - llnfo.-.--.t Act of 1994 •
•    S 280003. Dinction to lk\l.l:ad Stat.u s.ntancing- Ocmal..uion ~ sent:ancing - - t a for H a t e ~
     htt:pe : / / -. govinLo . ,p,/cant..t/plrq/SJMUTfl-108/pdf/SJMUTfl-108- Pgl796. pdflpagaal


(aJ DEFINITION - 111 this seclio11, "hale crime" metms a crime iu ll'hiclt the defe11da111 i11te11/io11ally selecls a vil'lim, or iu the case of a properly crime, the prope11y that is lite
object of the crime, beca11se of the actual or perceived race, co/01; religiou, 11alio11a/ origin, eth11icity, gender, disability, ar sex11al orie11talio11 of a11y pei:wm.


(b) SENTENCING ENHANCEMENT. - P11rs11a111 to section 994 of title 28. Uuiled Stales Code, the United Stales Se11/e11ci11g Commission shall pm11111/ga1e guidelines or amend

e\-i.l'liug g11ideli11es lo pmvide se11/e11ci11g e11ha11ce111e11rs of 110/ less 1ha11 3 offense levels far offenses tltat lhefi11der offact al trial determiues beyo11d a reasonable do11bl are hale
crimes. 111 rnnying 0111 tltis section, tl,e United States Se11/e11ci11g Co111111is.rio11 sl,all ensure that there is rea.mnab/e consistency wit/, otlter guidelines, avoid duplicative
p1111is/1111e111.~for s11bs1a11tially the same offense, 011d take into acco11111 any 111itigali11g circ11msta11ces that might justify e\·ceptio11s.


     J, U. S . Coda•    SUbtitle I I[ - Parwntion of Particular crlau ,              Chapter 305 - Hate en-,            S 30502 - Definit:iona
•    htt:pe: / / -.law. oomall. n,/uacoda/taxt/34/30502

/11 tl,is division-
(/) the term "crime of violence" htl\' the 111ea11i11g given that /em, in section 16 oftitle /8;
(2) the /en11 "!tale crime" has the meaning given that le1111 in section 280003(a) of the Violent Crime Control and La111 E1iforceme111 Act of /994 (Public la111 103- 322; 108 Stal.
2096), as amended by this Act;
(3) the fem, "local" means a co11nly, city, town, lounship, parish, village, or other general pwpo.\'e political s11bdivisio11 f!f a State; and
(4) the term "State" includes the District of Columbia, P11e110 Rico, and any other te11"i101y or posse.1·.1·io11 f!f the United Stales. ...


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•       18 U. S. Code •    Put I . ~ •          O\optar 1 - Genaral Plvvui.ana •           S 16 - Criaa of violenoa dafined
       htt:pe: / /ww. aw . oomell .UJ/uaooda/taxt/18/16

The term "crime of violence" means-
(a) 011 oJJe11se thot has as tm e/e111e11t the 11.\'e, attempted me, or threatened 11se ofphysical force against the person or prope1~11 of a11alhe1; ar
(b) any other offense tltat is a felony and that, by its 11at11re, involves a s11bsta11tial risk tltat pltysical forc:e against tlte pe1~-o,1 or pmpe11y of another may be med i11 the co11rse of
commilling the offeme. ...


•       34 U.S. COda •     Subtit!A III - Pnwntion of Particul.aJ: en-,                  O>aptar 305 - Hate en-,             S 30501 - Finding•
        httpe: / /www. law . oon,ell . ldl/uaoodlt/text/34/30501

Congress makes the folloll'i11g fi11di11gs:
( I) Tlte i11cide11ce of violence motivated by tlte act11al or perceived race, colm; religion, 11atio11al origin, ge11de1; sex11al orie111atio11, gender ide11tily, or disability of tlte victim
poses a seriom national pmblem.
(2) S11clt vio/e11ce dismpts tlte tm11q11ility and safety of cmmmmities and is deeply divisive.

(3) State and local 0111/mrities am 110w and will co11ti1111e to be respo11sil1/e fo1· pmsec11ti11g tlte ovenl'ltelmi11g majority of vio/e11/ crimes in tlte United States, i11cl11di11g violent
crimes motivate,/ by bias. Tltese a11tltorities can ca11y 0111 tlteir respomibilities more effectively ll'ith greater Federal m sistance.
(4) Existing Federal law is i11adeq11ate lo address /his problem.
(5) A pivmi11e11t c/mracteristic ofa violent crime molivaled by bia\' is tltat it tlevas/a/es noljml lite actual victim and the family a11dfrie11clr of tlte victim, b11t freq11ently savages
tlte comm1mity sltaring tlte traits tltat ca11sed tlte victim lo he ,\'elected
(6) S11clt violence s11bstalllially affects i11ters/ate commerce in many \\'ays, i11c/11di11g t/1efollowi11g:
       (A) The movement of 111e111he1" qf targeted givups is impeded, tmd 111embe1:1· of.\'llch giv11ps are forced ta move across State lines to escape tlte incidence or risk ofsuc/1
    violence.
       (B) Members of targeted giv11ps are prevented fivm purchasing goods and sen >ices, abtai11i11g or s11.l'tai11ing employme111, or participating in otlter commercial acti1•ity.

       (C) Pe,pelra/ors cros.1· Stale lines to commit s11ch violence.

       (D) Cha1111e/s, facilities, and i11st111111e11talities of inteJ~·tale commerce are 11sed lo facilitate the commission of s11clt viole11ce.

       (£; Suclt violence is commilled ming articles tltat ltave traveled i11 i11terstale commerce.

(7) For ge11emtio11s, the instit11/io11s 11fslave1y and i11volt111ta1y se1vit11de 11-ere defined by lite race, ca/or, and a11ce.1·11y of tltose lteld in bondage. S/ave,y and i11vahmta1y

se1vit11de 11-e1-e enfonw/, botlt prior to and after tlte adoption of the / 3tlt amendment lo the Comtilulion af tlte United Stale.1; tltiv11glt ll'idesp1-ead public and private violence
directed at persom because of tlteir mce, color, or a11ceslly, or perceived race, color, or a11ce.l'/1y. Acconli11gly, elimi11ati11g racially motivated violence is tm impm1a11I means af
    e/imi11ati11g, to the extent po.~1·ible, tlte badges, i11cide11ts, and relics of s/ave,y and i1111a/1111ta1y se1vit11de.
    (8) Both at the time 11'lte11 the / 3tlt, 141/t, and I 5tlt a111e11dme11ts to tlte Co11stit11tio11 of lite United States ll'l'l'C adopted. mu/ co11ti1111i11g to date, 111e111be1~· of ce11ai11 mligio11s and

    11atio11al origin giv11ps \\'en, and are perceive,/ to be distinct "races". Tims, in order to eliminate, lo lite e.Ytent po.t vible, tlte badges, i11cide11ts, and 1-elics of slave,y, ii is necessmy
    ta pmltibit assa11/ts 011 the bmis of real or percei1•ed religions or 11atio11al origins, at least to tlte e.rte11/ s11clt religions o,· 11atio11a/ origins 11-ere rega,r/ed as races at lite lime of the
    adoption of tlte / 3//t, l4tlt, and I5tlt ame11dme11ts to lite Constit11/io11 of tlte United Stater.
    (9) Federal j11risdictio11 aver ce11ai11 viole11t crimes motivated by bias enables Fedeml, State, and local a11thori1ies to 11v1k together as par/11e1~· in the i11vestigatio11 and

    pivsecutio11 ofsuclt crimes.
    ( /0) The pivblem af crime.v motivated by bias is s1ifficie11tly serio11s, widespreacl. and i11te1:vtale i11 11at111-e as to \l't111VIII Fedeml a.~\'islance lo Stale.1·, local j 11risdictia11s, and
    Indian 11ibes.


        34 u . s . Coda•    Subt.lt!A IU: - Pral/9nt.lon of Part.\.cul.ar Cr1-•          O\optar 305 - B a t e ~ •            S 30506 - Rule of oonauuct.lon
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    (2) VIOLENT ACTS

    This division applies to violent acts 1110/ivaled by actual or perceived mce, co/01; religion, national origin, gender, sexual orie11tatio11, gender identity, or disability of a victim.




        135 U. S. Stat.•      265 . CXllllD-19 Hate Cr1- Act •
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{J lltl, Co11gre.1·., Public law /3]

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P11blic law J 17- 13
J Jltl, Congress



An Act




To facilitate the e.1pedited review of COVJD- 19 hate crimes, andfor other pwpases. <KNOT£: May 20, 2021 - {S. 937] :»


Be it enacted by the Senate and House qf Representatives of tl,e United States of America in Congre.~, assembled, <KNOT£: COV/D- /9 Hate
C,imes Act. :»




SECTION J. <KNOT£: 34 USC JOJO/ note.:» SHORT TITLE.


This Ac/ may be cited as //,e ..COV/D- /9 Hate Crimes Act".




SEC 2. <KNOT£: 34 USC 30501 note.:» FINDINGS.


Ccmg1l's.1·J711d, tl,efollowing:
(J) Folloll'ing tl,e ,pread of COVID-19 in 2020, //,ere /,as been a dmmatic i11c1t'me in hate crimes and violence against Asian- Ameticans and Pacific /sla11de1:1·.

(2) Accoirling to a recent report, //,ere were nearly 3,800 reported cases of a11ti-Asia11 discrimi11atian and i11cide11/s related to COVID-19 be/u'een Marci, 19, 2020, and Febma,y
28, 2021. in all 50 States and tl,e District of Columbia.
(3) During this timefmme, race /,as been cited as the primmy ret,1·011 far discrimination, making up over 90 percent of i11cide11/s, and the United States condemns and de1101111ces

any 011d all a11ti-Asim1 and Pacific Islander se111ime11t in any fom,.
(4) Roughly 36 percent of tl,ese incidents took place at a b11si11ess and more tl,011 2,000.000 A.,ia11-Ametico11 businesses hove co111ributed to the dil'ersefabric of American 1/fe.
(5) More them I, 900,000 Asia11-Americw1 and Pacific Islander older adults. pw1icularly those older adults 11110 are recent immigrants or hol'e limited English pr<ificiency, may
face even greater challenges in dealing 11•ith the COVID-19 pandemic, i11cludi11g discri111i11otio11, economic insecurity, and language isolotion.
(6) /11 the mids/ of !his ola1111i11g surge it, cmli-Asion hole crimes 011d incidenls, a shoo/er murdered !he folloll'i11g 8 people in !he Alla11/o, Gemgio region, 7 of whom ll'ere 11YJ11ien
and 6 of whom ll'ere 11YJmen of Asian tfesce/11: <KNOT£: Xiaojie To11. DaoJYJII Feng. Deloina Ashley Yaun Gonzalez. Poul Andre Michels. Soon Clumg Pm*. Hyun .Jung Gran/.
Su11cha Kim. Yang Ae Yue.:»
(A) Xiaojie Ton.
(8) Daoyou Feng.
(C) Delaiuo A.l'hley Yau11 Gouzalez.

(D) Po11I Audre Michels.

(E) Soon Ch1111g Park.
(F) /1y11u .Juug Gmnt.
(G) Suncho Kim.
(/1) Yong Ae Yue.


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(7) Tire people of the United States ,.-ill ahmys remember the victi,m of these shootings and stand in solidarity with those affected by this sensele.tr tragedy and i11cide111s of hate
that have <iffected the Asian and Pacific lsl<mder co1111111111ities.




SEC. 3. <!:NOTE: 34 USC 30501 note. ~ REVIEW OF HATE C/UMES.


(a) <t:NOTE: Deadline. Desig11otio11. ~ In General.--Not later than 7 days after the date of e11actme11t ofthis Act, the Allomey General shall designate an officer or employee of
the Depo1tme111 of.Justice whose responvibility during the applicable period shall be to facilitate the expedited review of hate crimes (as described in section 249 of title /8,
United States Code) and reports ofany such crime Jo Federal. State, local, or Tribal law e1iforc:eme11t agencies.


(b) Applicable Period Defl11ed.--/11 this section, the term "applicable period" means the period begi1111i11g 011 the date 011 111,ic/1 the officer or employee is designated under
subsection (a), and ending 011 the date that is I year after the date 011 which the emergency period described in .wbparagraph (B) of section l I 35(g)(I) of the Social Security Act
(42 U.S.C. I320b-5(g)(I)) ends, except that the Allomey General may extend s11cl1period as appropriate.




SEC. 4. <KNOT£: 34 use 30501 110/e. ~ GUIDANCE.


{a) G11ida11ce.for law E1iforce111e11t Age11cie.1·.--The Allomey General shall issue guidance for State, lace,/, and Tribal law e1iforr:e111e11t agencies, p111:ma11/ Jo this Act and other
app/ic,,b/e 1(/\v, 011 how to--
(/) establish 011li11e mp011i11g qfhate crimes or incidents, and to have 011/i11e reporting that is equally effective/or people wit/, disabilities as for people without disabilities
available in multiple /011g11ages as determined by the Attomey General;
(2) collect data disaggregated by the pmtected characteristics described i11 section 249 of title /8, United States Code; and
(3) e.1pm1d public ed11catio11 campaigns aimed at raising (/\1'(//Y!l/ess ofhate crimes a11d reaching victims, that are equally effeclivefor people ll'ilh disabilities as for people
without disabilities.


(b) <KNOT£: Comdi11atio11. :P Guidance Relati11g to COV/lJ../9 Pa11demic.--The Allomey Ge11eral and the Sec1Y?lmy of Health and Human Se1vice.1·, in coo11/i11ation with the
COVID-19 Healrh Equity Task Fo,~·e and commtmity-based organiwtions, shall issue guidance aimed at raising m1'mY!ncss of lmte crimes during the COV/lJ.. I 9 pandemic.




SEC. 5. <KNOT£: Khalid .Jabam and Heather Heyer National Opposition to Hate, A.mmlt, and Threats lo Equality Act of 2021. 34 USC 30507. :» ./A BARA- HEl'ER NO HATE
ACT.



{a) 511ort Title. --This section may be cited as the '"Khalid .Jabam a11d Heather Heyer National Oppositio11 to Hate, Assault, and Threats to Equality Act of 2021" or !he ':Jabara-
Heyer NO HATE Act".
(b) Fi11dings.--Co11gressfl11dc thefolloll'ing:
(I) The incidence of violence k11ow11 as hate crimes, or crimes motivated by bias, poses a serious 11atio11al problem.
(2) Acc01di11g to data obtained by the Federal 8111Y!a11 of /11vestigalio11, !he incidence <if such violence i11c1Y!ased in 20/9, !he most 1Y!ce11t yearfor 111,ich data is available.
(3) /11 1990, Co11gm<s e11acted the Hate Crime Statistic, Act (Public law 101-275; 28 U.S.C. 534 110/e) to pivvide the Federal Govemme11/, law e1iforceme11/ age11cies, and the

public ll'ith data regmrli11g the i11cide11ce of hate c,ime. The Hate Crime Statistics Act aud the Ma/thew Sl,epmd and James Byrd, ./1: Hate Crimes Prevention Act (divisio11 E of
Public Lall' I I l-84; 123 Stat. 2835) have enabled Federal authorities to understand and, ,.-here appropriate, investigate a11d pmsecute hate crimes.
(4) A more complete 111ulersta11ding of the 11atio11al problem posed by hate crime is iu the public i11temv/ and .wppo11s the Federal i11te1Y?sl in eradicating bias-motivated violence
referenced in section 249(h)(l)(C) of title 18, U11ited States Code.
(5) Holl'ever, a complete 1111de,~·ta11di11g of the 11atio110/ pmblem posed by hate crimes is hindered by incomplete data from Federal, State, and /ocaljurisdictiom through the
U11ifon11 Crime Repmts pmgram t111thorized 1111der section 534 of title 28, United State.< Code, and admi11istered by the Fedcml Bureau of /11vestigatio11.
(6) ll'/11/tiplefactm:, co111rib11te to the provision of inaccurate and i11complete data regm~li11g the incidence qf hate c,ime through the Unifo1111 Crime Reports program. A
sig11iflca111 co11trib11ti11gfactor is the quality and q11a11tily of training that State and local law e1/{orceme11t agencies receive 011 the ide11tiflcatim1 and r<'po11i11g qf.wspected bias-
molivated crimes.
(7) The pmblem of crimes mativated by bias is .wifflcie11tly serious, widespread, and i11terstate in nature as to 1mnw1/ Fedem/_fl11011cial assistance lo Stales and local

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j11risdictio11s.
(8) Federa/Jina11cial assistance wirl, regard ro cerrain violellf cdmes morivared by bias enables Federal, Srare, and local auf/,orities ro 11'0/* togetl,er as partners in f/,e
i11vesrigotio11 and p1VSl'Cllfio11 ofsuc/1 crimes.


(c) Defl11itio11s.--/11 tl,is section:
(I) Hate crime.--Tl,e te1111 "/,ate crime" means a11 act desc1ibed i11 section 245, 247, or 249 of title /8, United States Code, or i11 section 901 of tl,e Civil Rigl,ts Act of 1968 (42
u.s.c. 363/).
(2) Priority age11cy.--Tl,e te1111 'i1riority agency" mca11s--
(A) o lmv e11forceme11t agency of a unit of local gove111me11t that sen>es a popularion of 1101 less rlum 100,000, as computed by the Federal 811rea11 of lnvestigatio11; or
(8) a law e11force111e11t agency of a 1111it of local govemment tl,at--
(i) se111es a pop11/ario11 of 1101 le.,, than 50,000 and less than 100,000, a., co111p11f(I(/ by the Federal Bureau of fllvestigotio11; and
(ii) has rep011ed 110 hate crimes througl, the Uni/01111 Crime Reports program in eacl, of the 3 most recellf cale11dar yea1:1'for which such dara is available.
(3) State.--The te1111 "Sratc" has the meaning given the te1111 in section 90/ of title I of rhe Om11ih11s Clime Co11tm/ a11d Scife Streets Acr of /968 (34 U.S.C. 10251).
(4) U11[f01111 crime reports.--The rem, "U11ifom1 C1ime Repm1s" means //,e repm1s authorized under section 534 qf title 28, United States Code, and adminisrered by rhe F(l(/eml
B11reo11 of /1111estigo1io11 rl1ar compile natio11ll'ide criminal sratisticsfor 11.<e--
(A) in fall' e11forcemenf admi11isrmrion, operation, a11d 111a11ageme11t; and
(B) to a.,,c.,, rhe nature and l)'l1e of crime in tl,e U11i1ed States.
(5) Unit qf local govemme11t.--The te1111 "1111it of local gove111111e111" h<,, rl,e mea11i11g given 1/,e term i11 sectio11 901 of title I qf tl,e Om11ib11s Crime Co11tml and Safe Streets Ac/
of / 968 (34 U.S.C. /0251).


 (d) 1:NOTE: Srate 011d local gove111meu1.1·. ~ Reporting of Hate
 C,imes.--
 {I) lmpleme11tario11 gra11ts.--

 (A) In ge11era/.--The Arto111ey General may make gm11ts to St{lfer and units of local govemme11t to assist the State or 1111il of local govemmenr i11 implementing tl,e National
 !11cide111-Based Reporting Sys/em, i11c/11di11g to train emp!oJ·ees in ide111ifj1i11g and da~1·ifj1i11g /tale climes in //te National /11cide11I-Based Repo11i11g System.
 (B) Pliority.--/,1 making grants 1111der subparagraph (A}, tlte Allomey General shall give primiry to States 011d units qf local govem111e111 that develop and i111p/eme11/ the
prog1r111i~ and acfivities described i11 s11bsectiou (/)(2)(A).
 (2) Reporring.--
 (A) Comp/ia11ce.--
 (i) 1:NOTE: Time period. F;ffective dale. ;p /11 ge11eml.--Except as provided in clause (ii), i11 eachflscal year beginning <ifter the date that is 3 yea,:-. after the date 011 which a
 Srate or1111i1 of local govemme11t fl1:rt r(l(:eives a grallf 1111der pamgraph (/), the Srare or 1111it <?J'iocal govemme11t shall provide to rhe Allomey Ge11eml. through 1/,e U11ifa1111
 Crime Reporting system, i,ifonnalion pe11ai11i11g lo hate crimes commilfed in that j11risdictio11 during the precedi11gflsca/ year.
 (ii) Extemiom; ll'aive1: --The A /fomey Ge11era/--

 (I) may provide a /20-day c.\'te11sio11 to a State or ,mil of local gove111111e11t thal is making goodfairh efforts to comply ll'ith clause (i); and
 (II) sl,a/1 ll'aive the req11ireme11ts of danse (i) if compliance with that subparagraph by a State or unit ,!f local govem111e11t mm/d be 11nco11stit11tional under the constitutio11 qf
 rhe Srate or of the State i11 1111ic/1 the unit of local gove111111e11t is located. re.ipectively.
 (8) Failure lo co111p/y.--~f a State or 1111it of local gove111111e11t tl,at receives a grant 1111der paragraph (I) fails to substanrially comply ll'ifh .l'llbparogroph (A) of //,is paragraph,
 the Slate or 1111it of local gover11111ent shall repay the grant i11full, plm reasonable interest and penalty charges allo\\'ab/e by /011101· c.rtahlished by the Allomey General.


 (e) Grants/or State-ru11 Hate Crime Hotli11es.--
 ( I) Granr.1· authorized. --
 (A) /11 geneml.--The Allomey Ge11eml shall make grants to States to create State-run hate crime rep011i11g /10t/i11es.
 (8) Gm111 period.--A gra111 made 1111der subparagrapl, (A) shall be/or a pedod of 1101 more 1h011 5 yea,:-..
 (2) Hotli11e require111e11ts.--A State slwll e11s11re, ll'ith re.ipecr to a hot/i11e f 1111ded by a grant 1111der paragraph (/), thar--
 (A) tl,e hotli11e directs i11divid110/s ro--
 (i) lmv e1!force111e111if appropriare; and
 (ii) local support .1·e111ices;

 (8) any pe1:-.011ally ide11tifiable i11fom1atio11 /hat an individual provides 10 an agency of the State through the hotline is 1101 directly or i11directly disclosed, ll'ithout lhe conse11t of

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the i11divid1,a/, 10--
(i) any other agency of tltor Stale;
(ii) w1y other Stale;
(iii) lite Fedeml Govemme11t; or
(iv) any other pemm or entity;
(G the stajf membe1-s ll'ho operate the hotline a,-e //'(li11ed lo be k11011"/edgeable al,011/--
(i) applical,le Federal, State. and local hare crime laws; and

(ii) local law e11fmr:eme11/ resources and applicable local .rnppmt se1vices; and
(D) the hotline is accessible to--
(i) individuals ll'ilh limited English proficiency, ll'hel't! appropriate; and
(ii) individuals with disabilities.
(3) Best practices.--The A1tor11ey General shall iss11e g11ida11ce to States 011 best practices for impleme111i11g the 1-eq11ireme11ts ofparagraph (2).


0) /i!fonnalion Colle~:lio11 by Stales and Units af local Govemme11/.--

(I) Dej111iliom.--lll thi.r s11bsectio11:

(A) Covered agcucy.--The term "covered agency" meam--
(i) a Stare law e1!fmr:eme11/ agency; and
(ii) a priority agency.
(8) Eligihle enlity.-Tlte ter111 "eligible e11tity " mea11s--
(i) a Su,re; or
(ii) a unit of local govemmenr that has a priority agen9 •.
(2) Graurs.--
(A) /11 general.--The Allomey General may make gm11/s lo eligible el/lilies lo assist cavered ageucies within !he j 11risdiclio11 of the eligible e11tily in cond11c1i11g fall' e1!force111e111
activilies or crime reduclion programs lo prevent, add1-ess, or othe1wise respond to ltare crime, pmticularly as those aclivilie.1· or programs re/ale to reporting hale crimes !ltrouglt
lire U11ifom1Ctime Repmts progmm, including-
(i) adopting a pa/icy 011 identifying, i11vestigaling. and 1-eportiug hale c,imes;
(ii) developing a .~ta11dardized system of ,·allecti11g. mwlyzi11g, and 1-eporti11g the i11cide11ce of hare cri111e;
(iii) establishing a u11il specialized i11 ide111ijj,ing, i11vesligati11g, and 1-epo11i11g hale c1imes;

(iv) engaging i11 camm1111ity 1-elalio11sf1111clions related la hale crime pmve11/ia11 and education such as-•
(I) eslablishi11g a liaison ll'ilh formal com1111mily-hased orga11izatio11s or leaders; and
(II) co11d11cti11g public mee/i11gs or ed11catio11a/fomms 011 the impacl of hare crimes, se1vices available to hare crime victi1m, and lite releva111 Federal, S/ale, and local fall's
pe11ai11i11g to hare crimes; and
(11) providing hate crime lrai11i11gs for agency pen'Olme/.
(8) Subgm111s. --A Stare that receives o gm111 under s11bpamgmph (A) may a11"01d a .mbgm111 lo a unit of local govemme11/ ll'ithi11 the State for the p111poses under that
subpamgmph, except thal a 1mi1 qf local gove111me111 may providef1mding.from such a s11bgra111 to any law e1!forceme111 age1191r!f the 1111il of local government.
(3) b!fo1111atio11 req11i1-ed of stales and ,mils af local gove111me111.--

(A) In geneml.--Fo1· each ji.1·cal year in which a Stare or ,mil of local govemme1111-eceives a gm11/ or subgnml under pamgroph (2), the Stale or 1111it of local gove111me11/ sha/1--

(i) col/eel il!fmualio11 ji'Ol11 each law e1!/<J1r:emen1 agency that receivesjimdi11gfmm the grant or subgmnr .1w11marizi11g the law e1!forceme11/ aclivilies or clime red11clio11
p1vgmms co11d11cred by the agency lo prwe111, addm,;s, or 01he1wise rmpo11d to hare crime, pmtic11/arly as !hose acliviries or progmms ,-elate to 1-ep011ing hate crimes 1/uvugh the
Un!fo1111 Ctime Repo11s progmm; and
(ii) ~NOTE: lleporls. :t> submit lo !he Allomey Ge11eml a ffJJOl1 co11tai11i11g the il!f'o11110/ion collected under clause (i).

(8) Semia1111ua/ law e1!fo1r:eme111 agency 1-epo,1...
(i) ~NOTE: Req11ireme111. :t> In ge11eral.--J11 cal/ecti11g the il!formalio11 required under subpamgmph (A)(i), a Stare or unit of local govemme11/ shall require each law
e1!forceme111agency 1/wr 1-eceivesfu11di11gjivm a gm11/ or subgra111a11Y11ded ta the Stale ar ,mil of local govemme/11 under pamgmph (2) to submit a se111iam111al repmt to the
State or 1111it of local go11e111me111 rltar includes a .1w11mmy ,~{ !he law e1!force111e11/ activities or crime reduction pmgmms conducted by !he agency during /he reporting period to
prevent, address, or orhe1wise respond to hate crime. pa11ic11/arly as /hose activilies or progm1m 1-dare lo rep011i11g hale crimes through the U11!fo1111 Crime llepmts 111vgram.
(ii) Co11te111s. --Ill a repmt submilled under clause (i), a law e1!fo1r:emcmr age11cy shall. al a minimum, disclose--

(/) ,rhether the agency has adopted a policy 011 identifying, i11vesligati11g, and l't!porti11g hare crimes;

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(II) 1111ether the agency has developed a sta11dc11dized system of collecting, a110/yzi11g, and reporting the incidence qf hate clime:
(Ill) ll'hetlter the agency ha,- established a 1111it specialized i11 ide11tify i11g, i11vesligati11g, a11d reporti11g hate crime.I';
(IV) 11-ltetlter the age11cy e11gages i11 lYJ1m111111ily relatio11sf1111ctio11s related to hate crime. s11clt as--
(aa) establishi11g a liaiso11 11'itlt f omwl comm1111ilJ>-based orga11izatio11s or leade1s; and
(bb) ca11d11cti11g p11l1lic meeti11gs or ed11catio11alfon1111s 011 the impact of hate crime, se111ices available to hate crime victims, a11d the releva111 Federal, State, 011d local lam\'
pertai11i11g /o hate crime: a11d
(V) the 1111mher of hate aime trai11i11gs for agency pe1l·o1111e/, i11c/11di11g the d11ratio11 af lite trai11i11gs, co11d11cted by the agency d11ri11g the rep011i11g period
(4) Compliance 011d redireclion off1111ds.--
(A) <!:NOTE: Deadline.~ /11 general.--Excepl as provided in ,l'llbparagraplt (B), begi1111i11g 1101later tha11 I year after the date of this Act, a State or 1111it qf local govemment
receiving a gm11t or s11/Jgm11t 1111der pamgraplt (2) shall comply ll'itlt paragraph (3).
(B) Exte11sio11.I'; 1raiver.--Tlte Allomey General--
(i) may provide a 120-day exte11sio11 to a State or 1111i1 of local govemment tho/ i.l' 111aki11g goodfailh efforls lo col/eel the i11formatio11 req11ired 1mder pamgraplt (3): a11d

(ii) shall ll'0ive the req11ireme11t.1· <
                                        if paragraph (3) for a State or 1111it if local govemmenl if camplia11ce with !hat .mbsection by the State or 1111it of local govemme11t nrmld be
1111co11.l'tit11tio11al 1111der the co11stil11tio11 of the State or of the State in ll'hiclt the 1111il of local gove111me111 is located, respectively.


(g) Req11ireme11t.1· qf the Allomey General.--
( I) /J!fon11atio11 collection a11d a11alysis: mp011.--/11 otrler to improve the acc11racy of do/a regmdi11g the incidence of hate crime provided thro11glt the U11/fom1 Crime Reports
pmgram, 011d pmmote a more complete 1111dersla11di11g of the natio11a/ pm blem posed by hate clime, lite A1/omey Ge11eml shall--
(A) collect a11d a11alyze the i11fo1111atim1 pmvided by States a11d 1mils of local govemme11t 1111der subsection (I) for lite p111710.1·e of developing policies related to lite provisio11 of
accurate data obtai11ed 1111der the Hate Crime S!atistics Act (Public Law /01-275; 28 U.S C. 534 110/e) by the Federal Bureau of lnvestigatio11; 011d
(B) <!:NOTE: Time period. Ejfeclive date. :» for each cale11dar year begi1111i11g after the date af enactment of !his Act, publish 011d s11bmil to Congress a report based 011 lite
i1!formatio11 col/ec/ed and 0110/yzed 1111der subparagraph (A).
(2) «NOTE: Analysis.~ Co11/ents ofrepo11.--A repo11 submilled 1111der pamgmplt {I) shall i11c/11de--
(A) a q11alitative a11a/ysis of lite relatio11s/Jip belll'een--
(i) the 1111111ber r!f hale crimes rep(Jl1ed hy State law e1ifon-eme11/ agencies or other km•e1iforce111e111 agenciel' tho/ receivedflmdi11gjivm a granl or s11bgm11/ awanled 1111der
paragraph (2) t/11v11glt the U11ifo1111Crime Reports program; a11d
(ii) the 11at11re a11d ewe11t of law e1!forceme11/ activilies or crime red11ctio11 programs l'011d11cted by
those age11cies to preve11/, addre.~1·. or atlte1wise respo11cl to hate crime: 011d
(B) a q11a11titative a11alysis of lite 1111111ber of State law e11fon:eme11t agencies 011d other law e1!force111e11/ age11cies that receivedft111di11gfmm a gm11t or s11bgra11t mm,rled 1111der
pamgraph (2) that ltave--
(i) adopte,/ a policy 011 ide11tifyi11g, i11vestigati11g, 011d reporting hate crimes;
(ii) developed a standardized .l'y.item of collecti11g, a11a(yzi11g, 011d repo11i11g the i11cide11ce of hate crime;
(iii) establi.l'hed a 1111it specializeLI i11 ide11tifyi11g. i11ve1tigati11g, a11d reporting hate crimes;
(iv) engaged i11 co1m111111ity relatio11sf1111cliom related to hate crime, such as--
(/) establislti11g a liaisou with formal cam1111milJ>-hased orga11izali011s or leaders; a11d
(II) co11d11cli11g public meetings or ed11catio11al fornm1· 011 the impact of hate crime, ,\'e111ices available to hate crime victims, 011d the releva11t Federal, State, a11d local laws
pertai11i11g to hate crime; a11d
(v) co11c/11c1ed hate crime trai11i11gsfor agency pe1>'0/111el d111i11g lite rep0t1i11g period, i11c/11di11g--
{I) the total 1111111ber of traini11gs cm1d11cted by each agency; a11d
(II) 1he d11mtio11 of the tmi11i11gs described i11 .1·11bc/a11se (/).


(It} Allemative Sentencing.--Sectio11 249 of title 18, U11i1ed States Code, is ame11ded hy addi11g at !he e11d tltefol/owi11g:
"(e) <t;NOTE: Courts. Req11ireme11t. ~ Supen >ised Release.--// a court i11cl11des, as a part ,if a se111e11ce of impri.mnme11t imposedfor a violatio11 <?[ s11bsection (a), a req11ire111e111
that the defe11drmt be pk,ced 011 a /em, ofs11pe111isetl rele,Lse qfter impri.so11ment 11nder sec/ion 3583. lite co11rt may 01der, a.1· 011 el'plicit co11ditio11 of.mpe1vised release, that !he
defe1uk111t 1111der1ake ed11catia11a/ classes or comm1111ily sen •ice directly related la the co11m11111i1y lwmwd by the defenda111'.1· offe11se. ".


Approved May 20, 2021.



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                                Case 1:23-cv-01223-RP Document 1 Filed 10/10/23 Page 30 of 944
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LEGISLATIVE HISTORY--S. 937:




 CONGRESSIONAL RECORD, Vol. 167 (2021):
 Apr. 19, 20, 22, co11.1-idered 011d po.~,·ed Senate.
 May III, considered and pa.t,ed House.
 DAILY COMPILATION OF PRESIDENTIAL DOCUMENTS (2021):
 May 20, Presidellfial 1-emw*·'·


 •    Texas Pxq>ert:y Coda•       Tita 15. hi.r uou.ing PractiCN •             Olaptar 301 . Texu hi.r llouaing Act•          SUbchapter I . Criminal Pon&l.ty
 •    httpe: / /atatutN.oapitnl. - .. gov/boca/PR/hlD/1'11. 301.h!Jo

 Sec. 301. 17/. INTIMIDATION OR INTERFERENCE.
 (a) A person commit.,· 011 offense if the pe1:mn, without rngwd to whelher /he person is acli11g under color of law, by force or threat offorce i11/e11ti1111al/y i11ti111idotes or i11te1.fe1-es
 with a person:
     ( I) because of the person's race, co/01; rrdigio11, sex, disabilily, familial sto//ls, or 11otio11of origin and become the person is or has been selling, purchasing, renting,
J/11a11ci11g. oct:upyi11g, or co11/rocti11g or 11egotioti11gfor the sale, pwdwse, 1-e11tal, fi11a11ci11g. or accupatio11 of any d11-elli11g or applying for or parlicipatiug i11 a se111ice,
 orga11izotio11, orfacility 1-elating to the lmsi11ess of selling or 1-e11ti11g d11-elli11gs: or
     (2) because the pe1xo11 is or has been or to inlimidate the person from:
        (A) pa11lcipati11g. witlto111 discri111inatio11 because <if mce, color, 1-eligion, sex, di.w/,i/ity. familial status, or national origin, /11 m1 activity, .,·e111ice, orga11izatio11, orfacility
 described by Subdivision(/); or
        (B) affording a11a1her pe1xon oppmt1111ity or proteclio11 to so parlicipate; or
        (C) /a11f ully aiding or e11coumgiug other persons to pmticipate, without discri111i11alio11 because of race, color, religion, ser, disability, familial status, or 11atio11al origin, i11

 011 aclivity, sen•ice, mga11izotio11, orfacilily described by Subdivision(/).


 (b) An offense under this sec/ion is a Class A misdemeanor.



      Tu&a Pon&l. Coda•        Title 3 . ~ t a •           °"l't:ar 12 . Punia-ta•         SUbc:hllpter 0 . E>laoptional Seni:.nc.a
 •    httpe: / /a ta tut-... .capitol. taxu .gov/Ooca/Pf!./hlD/Pl!..12 .h!Jo

 Sec. 12.47. PENALTI' IF OFFENSE COMMITTED BECAUSE OF BIAS OR PREJUDICE.
 (a) If 011 aff imwtivefi11di11g under Article 42.014, Code of Criminal Pmcec/111-e, is made i111he trial of <m offense other than a.l71st degreefefo11y or a Cftm A 111isde111em1m; /he
 pu11ishme11I for the offense is increased to the p1111ishme111 prescribed.for /he ner/ ftighe.f/ catego1y of q[fe11se. (f /he offense is a Cfa.t, A misdemeanor, the minimum te1111of
 co11fl11eme111 for the offense is i11c1-eased to I 80 days. ...


 •    Tuu Coda of Criminal Prooeclma•             Title 1 . Coda of Cdmnal Prooeclma•              a..ptar fl . ~ t and s.ntanca
 •    httpe: / /atatut:.M. oapi tol . -    . gov/boca/CR/h!Jo/CA. f2 . hta

 Ari. 42.014. FINDING THAT OFFENSE WAS COMMITTED BEGA USE OF BIAS OR PREJUDICE.
 (a) /11 the trial of 011 offense under Tille 5, Penal Code, or Sec/ion 28.02, 28.03, 28.08, or 42.060/, Penal Code, !hej udge shall make 011 q[fin11ativefi11di11g offoci and en/er
 Jhe affimmlivefl11di11g in !hejudgme11/ of /he cam if at the g11ill or i1111oce11ce phase of !he /rial, Jfte judge or the jwy, ll'fticftever is the /lier ofJae/, de/ermines beyond a
 reasonable doubt tlwt the defendant i11te11tio11ally ~·elected the pe1:m11 against ll'hom tfte offense ll'as commi//ed, or i11te11tio11al/y selected the pe1so11'.1· properly that u-os damaged
 01· ajfected as a result of the offense, beca11se of tfte defe11da11t's bias or prejudice against a gro11p ideutified by race, color, disability, 1-eligio11, 11alio11al origin or a11ces11y, age,

 gender, 01· sernal prefe1-ence or by status as a peace officer orjudge.
 (b) The se11/e11ci11gj11dge may, as a co11dilio11 of p1111isftme111, requil¥! a11cnda11ce in 011 ed11cati1111a/ progmm lo f1111/1er tolera11ce and accepto11ce of othe1:s.
 (c) /11 this mtic/e, "sernal p1-efemnce" has thefollowi11g mea11i11g only: a p1-efere11ce for heterosernality, lwmose.rnality, or bisernofily.




i35
The terms Obstruction-Of-Justice and Omnibus-Clause shall refer to the specific portion of (la u. s . code ,                                                              Part I . Crimes•

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Chapter 73 . Obstruction of Justice:                                    § 1503 - Influencing or injuring officer or juror generally) [18-

USC-PI-C73-§1503] that is highlighted in bold in the excerpt below. The Omnibus-Clause is an all-encompassing and general Obstruction-Of-

Justice clause that, by its very definition, subsumes most, if not all, other Sections of (18 u. s . Code ,                                             Part I . Crimes:                  Chapter

73 . Obstruction of Justice) [18-USC-PI-C73]:

 •   18 U.S . Clodo•   Part I . Crlaaa •    O>apter 73 . Cllatructicn o! Jwiti011 •     S 1503 - Influancing or injuring officer or juror gonaral.ly
 •   httpa:/ / -.lav.oomall .o,/US00cla/text/18/1503

 (a) IJ11oe1-er co1rnptly, or by threats orforce, or by a11y 1/wea1e11i11g feller or co1111111111icatio11, e11deavo1:, to i1iflue11ce. intimidate, or impede any gra11d or pelil juror, or officer i11
 or of a11y co1111 of the United States, or ofjrcer who may be se1villg at any examination or 01her pmceedi11g before any United States magistmte judge or otl1er co111milli11g
 magislm/e, in the discharge of his duty. or ilyures any such grand or pelil juror in his pe1~·011 or properly 011 acco11111 of any verdict or i11dictme11/ a.~ve11ted lo by him, or 011
 account of his bei11g or having bee11 s11chj111v1; or ilyures OIi)' such officer, magistrate judge, or other commilling magistrate in his pe,~·011 or property 011 acco1111/ of the
 pe1fo1111a11ce of his official duties, or c11m1ptly or by threat., orfarce, or by any tlm!11te11i11g letter or co1111111111imti1m, i11j/11e11ce.1; ohstmc:t.,;, or impede.,;, or emletnvm, to
 i11j111e11ce, obitmct, or impede, the tlue atf111i11istmfi{J11 ofjw;tice, shall be p1111ishetl as provided in subsection (b). If 1he offense under this section occurs in co1111eclio11 ll'ith a

 I rial of a criminal case, and /he acl in violation of this secli<m involves 1/1e 1/weat of physical force or physical force. 1he moxiwum term of impriso11111e111 which moy be imposed

 for the qffense shall be the higher of tho/ othe1wise pmvided by Ian> or lhe 111a~i11111111 ten11 that could hm•e been imposedji1r any offense charged in such case. ...




136
The terms aggregate and aggregately, when used to describe the action(s) of multiple persons (with the meaning of ''person" including any

corporation or any of such corporation's agencies), here referred to as a conspiracy, shall refer to the combined efforts of those persons

working as a conspiracy to achieve the commonly-shared, long-tenn goals of the enterprise. Therefore, each individual action itself need not

be performed by every single person of that conspiracy but only that they acted together in a conspiratorial manner (with the "meeting oftheir

minds') in furtherance of such conspimcy in-order-to achieve the commonly-shared, long-term goals of the enterp1ise. Similarly, it is not

 necessary for each person of the conspiracy to know about every other person's (of that conspiracy) actions, as long as the person was part

of the overall conspiracy to achieve the commonly-shared, long-term goals of the enterprise. Finally, new person(s) can be added to the

 conspiracy just like, to use a spo11s analogy, free agents can be added onto a team - and therefore, it is rnmecessary to prove that such new

 person(s) knew about the prior/initial action(s) of the conspiracy, advancing the commonly-shared, long-term goals of the enterprise.




 137
 The term racketeer(s) shall refer to any person(s) that either individually and/or aggregate ly (as part of a conspiracy), and through a pattem-

 of-racketee1ing-activity, performed two-or-more of the following racketeerin g-acts (also known as predicate-offense(s)), with no more than

 IO years passing between any two consecutive racketeering-acts ([I 8-USC-Pl-C96-§l 96 l]):
 01 .     issued threat(s)-of-murder ([ l 8-USC-Pl-C96-§ 1961 ],[ I 8-USC-PI-C96-§ 1959]) against their targeted-victim(s);

 02.      issued threat(s)-of-physical-violence against their targeted-victim(s) and/or the private-property of such targeted-victim(s) - in

          furtherance of a plan/purpose/conspiracy to "obstruct, delay or affect commerce" ([ 18-USC-PI-C95-§ 1951 ],[ 18-USC-PI-C96-§ 1959]);

 03.      attempted/conspired to commit physical-violence against their targeted-victim(s) - in furtherance of a plan/purpose/conspiracy to

          "obstruct, delay or a.ffect commerce" ([18-USC-Pl-C95-§ 195 1],[18-USC-Pl-C96-§l 959]);

 04.      obstructed, delayed or affected commerce - or attempted/conspired to do so - by extortion ([18-USC-Pl-C95-§ 195 1]) against their


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       targeted-victim(s);
05 .   engaged in the racketeeting-act(s) of blackmail/extortion ([18-USC-Pl-C96-§ 196 1],[l 8-USC-PI-C4 1],[18-USC-PI-C95-§195l],[TPeC-

       T7-C3 1]) against their targe ted-victim(s);

06.    engaged in the racketeering-act(s) of wire-fraud ([18-USC-Pl-C63-§ 1343]) via any online communications/submissions/postings

       (including social-media-postings and/or private-messaging and/or form-submissions), against their targeted-victirn(s);

07.    engaged in the racketeering-act(s) of mail-fraud ([18-USC-PI-C63-§ 1341]) via any interstate mail/package delivery-service, against

       their targeted-victim(s);
08.    threatened/intimidated/conuptly-persuaded their targeted-victim(s) and/or other witness(s) (or attempted-to-do-so) from repo11ing

       crime(s)/civil-rights-violation(s) and/or for acting-as-witness to the reported crime(s)/civil-rights-violation(s) - in essence, committing the

       racketeering-act(s)/felony-crirne(s) of witness/victim-intimidation ([ I 8-USC-PI-C73-§ I 512],[TPeC-T8-C36-§36.05]) aga inst such

       victim(s)/witness(s).

09.    threatened/ intimidated/corruptly-persuaded other witness(s) (or attempted-to-do-so) in-order-to corruptly influence such witness(s) to

       testify unfavorably against their targeted-victim(s) - in essence, committing the racketee1ing-act(s)/felony-crime(s) of witness-tampering

       ([ I 8-USC-PI-C73-§ I512],[TPeC-T8-C36-§36.0S]) against such targeted-victim(s).

10.    retaliated against such victim(s)/wih1ess(s) (or attempted-to-do-so) for such victim(s)'/witness(s)' reporting/serving-as-witness-to

       crime(s)/civil-rights-violation(s) - in essence, committing the racketee1ing-act(s)/felony-crime(s) obstruction/retaliation ([I 8-USC-PI-

       C73-§ l 5 13],[TPeC-T8-C36-§36.06]) against such victim(s)/witness(s).

11 .   destroyed evidence (or attempted-to-do-so) of crime(s)/civil-rights-violation(s) - in essence, committing the racketeering-act(s)/felony-

       crime(s) of evidence-tampering ([18-USC-PI-C73-§1512],[18-USC-PI-C73-§ l 5 l 9],[TPeC-T8-C37-§37.09]) against their targeted-

       victirn(s).

12.    fabricated/planted evidence in-order-to frame their targeted-victim(s) - in essence, committing the racketeeting-act(s)/felony-crime(s) of

       fabricated-evidence ([ l 8-USC-PI-C73-§ 1503],[ I 8-USC-Pl-C73-§ IS l 9],[TPeC-T8-C37-§37.09]) against their targeted-victim(s).

13.     othe1wise corruptly, or by threat of force or otherwise threatening communication:

        ® covered-up/obstructed/influenced/impeded any-investigation-of any crimes(s)/civil-rights-violation(s) ; AND/OR
        ® covered-up/obstructed/influenced/impeded the "due administration ofjustice"; AND/OR
        © endeavored to cover-up/obstruct/influence/in1pede the "due administration ofjuslice"
         - in essence, committing the racketee1ing-act(s) of obsh·uction-of-justice ([ I 8-USC-PI-C73-§ 1503]), "Omni bus Clause", against their

         targeted-victim(s).




 91:38
 The racketeer(s) that engage in the aforementioned pattern-of-racketeering-activity have violated the [RiaCOA], codified under (18 u . s .

 Code,      Part I . Crimes ,         Chapter 96] [ l 8-USC-Pl-C96], if there exists a (legal or extralegal) racketeering-enterprise that is

 "engaged in, or the activities of which a.fjecl, interstate or foreign commerce", and at least one of the following can be proved ([18-USC-PI-

 C96-§ 1962]):
 01.     that such racketeer(s) conducted or participated in the affairs of the racketeering-enterprise through such pattern-of-racketeering-activity.


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02 .      that such racketeer(s) acquired or maintained an interest in, or control of, the racketeering-enterprise through such pattern-of-

          racketeering-activity.

03.       that such racketeer(s) invested the proceeds of such pattern-of-racketeering-activity into the racketeering-enterprise.

04.       that such racketcer(s) conspired to do one of the above.

       18 U.S. Coda•     Part I . en- ,        a..ptar 96. RM:tatau Infl.......i m>d ~ Organ.uationa •                 S 1961 - Definitions
       httpa : //.,_. law. coxnall .eci.J/ ll800m/taxt/18/1961


 (I) "mcketee1i11g activity" means



     (A) any act or threat i11volvi11g 11111rder, ... exlortio11 ... ll'hich is chargeable under Stale law and punishable by impriso11me11/ for more than one year;


     (BJ a11y act ll'hicl, is indictable muler any of1/,efollowi11g pmvisions of title 18, United Stales Code: ...

         section 134 I (relating lo mail fmucO • ...
         section 1343 (relating to wircfraucQ, ...
         section 1503 (relating to obstmction <ifjustice), ...
         section 1512 (relating to /a111peri11g with a witness, victim, or 011 iiifomwnt),
         section 1513 (relating to retaliati11g against a witness, victim, or m, ilif'o1111m11), ...
         section /95/ (relating lo i11te1fere11ce wit/, commerce, robbe1J•, orex/orlio11), ...


 (2) "Stale" 111ea11s a11y Stale of the U11ited States, the District af Columhia, the Co111111om1"C?alth of Pueno Rico, any teirilo1y or po.tvessio11 of the United States, any political
 subdivisio11, or a11J1 departmen/, agency. or i11strn111e11tality thereof;


 (3) "pemm •• inc:ludes any individual or enlily cc1pable of holding a legal or he11eficia/ interest in prope11y; ...



 (4) "e11/e17Jrise" includes ml)• individual, pa1111ership, c017Joratio11, association, or otl,erlegal {!Jl/ily, and any 1mio11 or group of individuals associated in fact although 110/ a
 legal entity;


 (5) "pat/em of racketeering activity" l"C?quires al least 111v acts <if racketeering activity, one <if which occ1m"C?d after the t;/feclive date of this chapter and the last of 11hic/1
 occ111red wi1hi11 ten yea,~ (excluding any period of impriso11111e11t) cifler //,e com111i.,.,io11 of a prior acl of mckeleering aclivily; ...


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 (a)// shall he 1mla11ful for any pe,~m, ,r/,o has received any income derived, directly or i11direclly. fmm a pal/em of mcke1eeri11g ac/ivily or through colle1:1io11 of a11 1111/a11f11/
 debt i1111hic/, s11c/1 person /,as pai1icipated as a pri11cipal 1rilhi11 /he mea11i11g of sectio11 2, tille /8, U11iled States Code, to 11.l'e or invest, direclly or i11directly, any part of.we/,
 i11co111e, or the pmceed• of such income, i11 acq11isilio11 of a11y inleresl i11, or !he e•tabli.l'hme/11 or operatio11 of. any e11te17Jrise which is engaged in, or the activilies of which
 affecl, infers/ale orforeig11 commerce ...


 (b) II shall be 1111/a11ji,i j(Jr a11y pemm thmugh a pal/em of mcke1eeri11g aclivily or lhroug/, collel'lio11 of cm 1111/a11f11/ deb/ lo acquire or mai11tai11, direclly or i11direc1/y , <my
 i111erest i11 or co11trol of a11y e11teq1rise which is engaged in, or !he aclivilies of which <!!Jee/, i11te1:.tate orforeign commerce.


 (c) // shall be 111,la11ful for any pe1w11 employed by or <mocialed wilh any e11le1711ise e11gaged i11, or 1/,e acfi,,ifies of ll'hicl, affect, i11tersta/e orforeign co11u11effe, lo co11duc/ or
 participale, directly or i11diiec1/y, in !he co11d11cl of .wc/1 e11/e1p1ise 's affairs lhmugh a pal/em of racketeering aclivily or collec1io11 of 1111/m,ful deb/,


  (d) // shall be 1111/a11f11/ for any pe13·011 lo co11spi1-e lo violate a11y of //,e provisions of.wbseclio11 (a), (b), or (c) of !his seclio11.


 •     18 u.s . Coda•     Part I . cnau ,      C>aptar 96. Raclaoteer Intl-,oad and ~ Organizationa•                    S 1963 - crimin&l penaltiu
       httpe : / /,,_. law. oornel.l . e<iJ/ll800m/tlaxt/18/ 1963



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{a) Whoever violates (Ill)' pmvision of secti<m 1962 of //,is chapter shall he fined under this title or i111priso11ed 110/ 111ore than 20 JY!(II,· (or/or life if the violation is bmed an a
racketeeling activity f or which the 111mi11111111 penally includes life i111pri.m 11111e111). 01· both, ...


•       18 U.S. c.oda •     Pa.rt I . en-,, ,      Oiaptar 96. l\acloat.Nr In.fl...:,ed -    ~ Org,uti&&tiona •            5 196• - Civil .-!las
•      httpe: /✓-. law . oomall . edu/uaaom/taxt./18/lfft

(a) The district co1111s of the Un/led Srmes shall havejur/sdlc//01110 pre11e111 and res1111/11 vlo/a//011s of sec//011 I 962 of //1/s chapter /Jy Issuing opproprlare order,;, l11c/11d/11g. 1>111
1101 limited to: 01tleri11g any pe,~-0,1to divest himself of any interest. direct or indirect. in any e11te171rise; imposing reaso11ab/e restrictions 011 the /11/mY! activities or i11vestme11ts
of any pe1~-o,1, i11c/11di11g. b1111101 limited lo, prohibiting any pe,~011/rom engaging in the sa111e 1;11e of endeavor as the e11te1prise engaged in. the activities of which affect
interstate orfotY!ign commerce; or ottleri11g disso/11tio11 or reorga11izatio11 of any e11te1prise. making due provision for the rights of i1111oce111pe1:1-011s. ...


{c) Any person injured in his business or property by reason of a vio/atio11 of .,ectio11 1962 of this chapter may sue rherefor in any appropriate United States district court and
shall recover threqfold the damages he sustains and the cost qf the suit, including a reasonable allomey 's fee ...


        18 U. S . c.oda •     Pa.rt I. eri-. ,     O\aptar 96. Racloot.ar In.fl_,.,.i -      COff\f>t Org,utl.utiona •      S 1965 - v.nue and proouo
•       httpe: / /ww . aw.oomall . edu/uoooda/ taxt,/18/1965

(a) Any civil action or pmceeding under this chapter agaiusl any pe1,w1may be iustituted in the district cowt of the United States for (Ill)' district in 1rhich such pe1,-o,1 resides, is
found. has 011 agent, or tranwcts his affairs.


(h) Ju any action under section 1964 of this chapter in any district court of the United States in which it is sho11n that the e11dl" ofj ustice tY!quire that other parties 1Y!sidi11g in any
other district be brought before the court, the court may cause such pm1ies ta he s11111111011ed, and pmcessfor that p1117,ose may be se111ed in anyj udicial district of the United
Stales by the marshal thereof ...


    (cl) All other proce.~v in a11y action or pmceeding 1111der this chapter lll(IJ' be se111ed 011 any person in cmy j udicial district in which s11ch person resides, isfo1111d, has an age/II, or
    tra11.wcts his affairs.


        18 U.S . c.oda •      Port I . Crl.oao •   Olaptar 95. Racl<atearing•      S 1951 - I ntarf.....,. with 0CIIIIIIU<l9 by tl...-to or violm
•       bttpe :/ / -. law.oo....U.edu/uaaom/-t/18/19S1

{a) Wl10e1'er i11 a11y 11ro1or tlegree obstructs, ,tetays, or affl!l..1s commerce or tfte 1111n'e11ie11t of ,my arlide or commodity i11 commerce, by robhe,y or extortion or al/empts or

    conspires so to do, or commits or tftre(ltens pfrysiCllt vioteJ1ce to 1111y person or properly i11 firrlfremm:e of" pt1111 or 111117w.w lo ,to m1ytfti11g i11 viot11tio11 of this section .rhall be
fined 1111tfer this title or imprisoned 11at 11101Y! titan twe11ty JY!m:., or bath


    {b) As 11sed in this section-
       (2) The te1111 "extortion" meam the obtaining ,if p1vpe11yfro111 another. with his come/II, im/11ced by 11ra11gful use of ac/1/al or threatened.farce, violence, or.fear, or under
    colur of official right.
       (3) The te1111 "commerce" moons commerce ll'ithi11 the District of Columbia, or any Ten"iloty ar Po.~se.~sion of the United States: all co111111e1w between (Ill)' point in a State,
    Te11-ito1y, Posse..~rio11, or the District of Co/11111bia and any point outside the1Y!Of; all commerce belll'een points within the same Stale thmngh any place outside such State; and all
    other commerce over ll'ltid1 the U11ited States hasj11risdictio11.


•       18 U.S . c.oda•       Port I . eri-. ,     Olaptar 95 . Racloot.Nring •    S 1959 - Violant cr1- in aid of ucltet.ering activity
        httpe: //""". aw .oomall .edu/uaaom/t:.xt/18/1959

    (a) l'110e1'er, as co11sidemtio11 for the tY!Ceipt of. or as ca11sideratio11 for a promise or agreement to pay, anything of pec1111ia1y va/11efro111 an e11te1prise engaged in mcketeeri,ig

    activity. 1Jrfor the p11q10se 1Jfgai11i11g e11tn111ce t1J or 11wi11tai11i11g /Jr i11crmsi11g po.iti1J11 i11 tm e11teq1ri.w engaged i11 rocketeeri11g c,ctil-if)\ 111111rle1:., kidnaps, maims, a.w mlts
    11;tt, a 1ta11gero11s ll'CllJIOII, commits a~w11/J res11/Ji11g in serious bodily i11j111y 11po11, or tftl't!fltem to commit lt crime <!I vioteJ1ce agaim,t tmy i111/i11itf11al i11 1•iolatio11 oftfte /a,vs of

    a11y Stale or the U11ite1l State.1; or flllempts or conspire.~ so lo ,to. shall be punished- ...


       (4) for threa/e11i11g /IJ commit a crime qf violence, by i111priso11111e11t far 110/ more th011 five JY!m:. or a fine under this title, or hot/,; ...


       (6) for al/e111pti11g or conspiring ta commit a crime involving 111ai111i11g, assault with a da11gemus 11Y!apo11, or assault resulting in serio11s bodily i1if111y, by i111priso11111e11/ for 110/

                                                                                               PAG E   34    OF   956
                                  Case 1:23-cv-01223-RP Document 1 Filed 10/10/23 Page 35 of 944
                                                                    S 1 DOH AltTH    KO OE      v.       W1 L L IAHSON      COUtl TY   ,   ET   AL .                                                 1696901690

 more tl,a11 three years or a fine of 1111der this title, or both ...


 (h) As used i11 this sectio11-
     (I) "mcketeeri11g activily" /,as tl,e mea11i11g setfm1/, in section 196/ of tl,is title; 011d

     (2) "e11te171rise" i11cludes 011y pa1111e1:vl,ip, coq1oratio11, a.\mciatio11, or other legal entity, and a11y union or group of i11dividual.1· as.wciated i11 fact a/tl,011gl, 110I a legal entity,

 wl,ic/1 is engaged in, or tl,e activitie.1· of wl,icl, a/feet, i11te1~/ate orforeig11 co111111err:e.




c_n:3 9
The term Felony/Racketeering-Act Obstruction/Retaliation shall refer to either the Felony under Texas law [Texas Pen al Code,
Titl e 8 . Offe nses Against Publ ic Admi n istration:                                                    Chapter 36 . Bribery a nd Corrupt Infl ue nce:                                            § 36 . 0 6 .

Obstruction or Retaliation) [TPeC-T8-C36-§36.06] or the analogous Racketeering-Act under Federal Law (18                                                                                  u . s . Code,
Part I. Crimes :                    Ch apter 73. Obstruction of Justice:                                             § 1513 - Retaliating against a witness, victim,

or an informant) [18-USC-PI-C73-§!5 13]:

      Taxu PaN.l. Coda•       Titi. 8 . OffenMa l\gainlt Public llda!.niatzat.lon •             a..ptar 36 . Bribuy and ~ t i:nn_,.,.,                   S 36. 06. Qletzuction or Aatal..l.at.lon
      httpe: I /atatutu . capitol. -        .CJOV/Doca/PS/ht:a/1'11:. 36.hta

 Sec. 36.06. OBSTIWCTION OR HETALIATION.
 (a) A person co111111its an ojfe11.1·e if //,e pe1~·011 i11te11lio11ally or k11owi11gly /,arms or t/11eate11.1· to /,arm 0110//,er /~1• 0111111la11:f11/ act:
     (1) in re/a/iation Jo,· m· 011 acco1111/ of tl,e .1·e11'ice or sta/11s of mwtl,er as a:
        (A) public se1va11t. wi/11es.r, pmspeclive 1ril11ess, or i1!f01111a11/; or
        (B) person ll'ho /,as reported or wl,o //,e actor knows intends lo report tl,e occ1111'e11ce of a crime; or
     (2) to prevent or delay the .1¥?111ice of a11otlter ai· a:
        (A) public se1w1111, wit11ess, p1vspective wilne.vs, or i1!fomw11t; or
        (B) perso11 who 1,a.v reported or who tl,e actor k1u111:v i11te11dv to report the occ111re11ce of a crime. ...



 •    18 U.S . Coda•      Part I . eru..,       a..ptar 73. <l>et:zuction of .Juatice•           S 1513 - Aatal..l.atinq -1nat a wimaaa, vict:ia, or an in!omm:it
 •    httpe :/ / - . 1.aw.oomell.edu/uaoodll/taxt/18/1513




 {b) Whoever k11owi11gly engages i11 a11y co11d11ct a11d thereby ca11se.1· bodily injwy to a11other pe,~·011 or damages tl,e tangible property of a11otl,er person, or tl,reate11s to do so, ll'i/1,
 i11te111 to retaliate agai11st cmy person Jo,~
     (1) tl,e a1te11da11ce of a ll'ituess or party at cm official pmceediug, or any testi111011y given or 011y recant. doc11111e111, or other olyecl produced by a witness i11 011 official
 pmceediug; or
     (2) a11y il!fo111Wio111Y?lati11g to the com111issio11 or po.\fible co111111issio11 of a Fedeml offense or o vio/alio11 of conditions <if probatiou, .1·11pe111ised release, parole, or release
 pe11di11gj11diciol pmceedi11gs given by a pe1~·011 to a law e11forceme111 officer;
 or otte111pts to do so, shall be fi11ed 1111der //,is title or i111priso11ed 1101 more them 20 yem~. or both ...


 (e) Whoever k11011'i11gly, 11·itl, the iutenl to retaliate, take.v any action ltan11jitl to a11y pe1xo11, inc/11di11g i11te1fere11ce ll'itl, tl,e la11f11/ e111p/oyme111 or livelil,ood of 0111• pe1wn, for
 providing to a law e1!forcc111e111 officerauy t111tl,f11I i1!fo1111otion 1-c/ati11g to the co111111is.,io11 orpo.tvible commission ofa11y Fedeml offe11se, shall befiued 1111der this title or
 i111priso11ed 1101 more tl,a11 JO years, or both.


  (I) JV/we1•er co11spires lo co111111il a11y <iffeme 1111der this section shall he subject to tl,e same penalties as those prescribed far /he offeme 1l1e co111111issio11 <if wl,icl, 1ms the object

 of the conspiracy. ...




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i40
While the law referenced in the previous paragraph concerns any criminal act of retaliation, the general legal concept of retaliation also falls

under the category of civil law, and when the act of retaliation is itself not any type of criminal act, then such retaliatory act may still be a

actionable/sueable act under civil law. To provide a concrete example relevant to this lawsuit, a landlord that is accused, whether truthfully or

untrnthfully, of racial-discrimination by one of such landlord's accuser-tenant(s), may act retaliatorily against such accuser-tenant(s) by raising

the rent on such accuser-tenant(s), by placing other undue burden(s) on such accuser-tenant(s), or by causing other harm onto such accuser-

tenant(s). Under federal and/or state laws, such retaliatory action may not be criminal in nature, but would still qualify as a retaliatory action

under civil law - for example, civil violation of the [FHA]/[TFHA] - even if the original accusation of racial-discrimination was

untruthful/meritless. In this pa11icular lawsuit, the plaintiff uses the word retaliation primarily, although not exclusively, to refer to the criminal-

act of retaliation, and the specific context in which this word is used will determine whether such use fa lls under criminal-law or civil-law.



i41
The term Felony/Racketeering-Act Evidence-Tampering/Evidence-Fab1ication shall refer to either the Felony under Texas law [Texas
Penal Code :               Title 8 . Offen ses Against Public Administration•                                                     Chapter 37 . Perjury and Other

Falsification•                  §   37 . 09 . Tampering with or Fabricating Physical Evide~ce] [TPcC-T8-C37-§37.09] or the

analogous Racketeering-Act under Federal Law (la u . s. Code,                                          Part I . Crimes•                   Chapter 73 . Obstruction of
Justice:             S 1519 - Destruction, alteration, or falsification of records in Federal investigations and

bankruptcy) [I 8-USC-PI-C73-§ 15 19]:


 •
 •
       Tuu lw\&l. Oodlt•     Title 8 .   Of-      llgainat Public ~ t n t i o n •
       S 37. 09. T_,-1.ng with or Fabricating l'hyaical Evidonce
                                                                                         a.apter 37 . hrjuzy and Other haific.ation•


 •     httpe ://atatut:u .capitol. t:axu.gov/Doca/PE/h'al/PE. 37 .htm

 Sec. 37.09. TAMPERING IV/TN OR FABIUCATING PHYS/O il EVIDENCE.
 (a) A person commits {Ill offense if. knowing that on i1111esligotion or official pmceeding is pending or in pmgre.tr, he:
      (I) oilers, destroys, or conceal., {Ill)' record. document, or thing with in/ell/ lo impair its velily, legibility, or availability m evidence in the i11vesligalio11 or official pmcee<li11g:

 or
      (2) makes, presents, or uses 011y 1Y!co1d, doc11me111. or thing with knowledge of itsfalsity 011d with i11le111 lo affect the caurse or outcome of the i11vesligo1io11 or official
 pmceeding. ...


 •     18 U. S . Oodlt•   Part I . en-,      a.apter 13 . Clletructiffl of Juatioa•
 •     S 1519 - Dutructiffl, altentiffl, or faleification of :nocoxda in ~ i.n...tigationa and bankruptcy
 •     htq,a: //,,_ . .Law. comell . acll/uoooda/taxt/18/1519


  IYl1oe1•er knowingly afle,~·. des/mys, 11111/i/ates, co11ceol.r. cove1l· up, falsifies. or makes a false e1111y in 011y record. doc11111enl, or /a11gible object wilh the i11le11/ lo impede,
 obstruct. or i11f/11e11ce the iuvesligaliou or pmper adminislmlio11 ofany maller wilhiu the j11risdictio11 ofany depm1111e11I or agency of the United Stales or any case filed under
 title I I , or i11 1Y!la li<111 lo or co11/e111p/01io11 of any such mol/er or care, shall be fined under this tille, imprisoned 1101 more than 20 years, or both.




i42
The term Felony/Racketeering-Act Witness-Intimidation/Witness-Tampeting shall refer to either the Felony under T exas law [Texas
Penal Code :               Title 8 . Offenses Against Public Adllliniatration :                                                   Chapter 36 . Bribery and Corrupt

Influence :               S 36 . 05 . Tampering with Wi tneas) [TPeC-T8-C36-§36.05] or the analogous Racketeering-Act under Federal Law
                                                                                          PAC£    36    or   9~6
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[18 U . S . Code:                  Part I . Crimes •                  Chapter 73. Obstruction of Justice:                                        § 1512 - Tampering with a

witness, victim , or an informant] [ 18-USC-Pl-C73-§15 12):


     Tu&& Plon&l. Coda•        'l'lUe 8 . Ofr.n... llgal.nat l'IJbllc -.tratlan•           O>lptar 36. lid.buy And Cornf)t rnn_,,,.,             S 36 . 05 . 'l'-lnq with Ill.~•
     http,, : //atAtutu . caplbol. texAa ,<JCN/r:,o,a/pg/h'm/PP.. 36. htm

 Sec. 36.05. TA MPERING IV/TN WITNESS.

    (a) A pei>v11 commits 0 11 offense if. with intent to itif/uence the 11·it11ess, he offers, c01ifers, or agrees lo c01ifer any benefit 011 a ll'itne.t, or prospective witness in 011 official
 p,vceeding. or he coe,r:es a witness or a pm.111ective ll'itness in 011 official pmcee,ling:
       ( I) to leslifyfalsely:
       (2) to withhold <my testi111011y, i1ifon11a/io11, documenl, or thing:
       (3) to elude legal process .1·11111111011i11g him lo testify or supply e1•idem:c;
       (4) to absent hitmelj.from an official pmcecding to which he has been legally s11111mo11ed; or
       (5) to abstain from, disca11ti1111e, or delay the p,vsec11tio11 of a11othe1: ...


     18 U. S. Coda•        Part I . Cd.au•      O>aptar 13. <l>etxuctlon ot .1\Jstloe•      S 1512 - T_,:ing with a w i -, victla, or an lntoi:mant
     http,, :/ / - , la.,. comel.l. .edu/uacode/text/18/1512

 (a) ...



    (2) Whoever 11se.1· physicn/ force or the threat ofphysical force agai11st a11y perso11, or attempts to do so, ll'ith intent to-
           (A) i1if/11e11ce, delay, or prevell/ the tcslima11y of <my person i11 011 ojjicial proceedi11g;
           (BJ COi/SC or i11d11ce OIi)' perso/1 /o-
              (i) withhold tes/imo11y, or 11'ithhold a record. doc11me11/, or other objecl, f1vm 011 official pmceedi11g;
              (ii) alter, des/my, mutilate, or co11ceal 011 olyect with i111e11t to impair !he integrily or availability of the olyect for 11se i11 011 offlciol proceeding:
              (iii) evade legal pmce.1:, s11mmo11i11g that perso11 to appear os a ll'ilness, or to produce a record, docume11/, or other objecl, in 011 official p,vceeding: or
              (ii') be absen/ j,vm 011 official p,vceedi11g to 111tic/1 that person has been s11111111011ed by legal p1vce.t,; or
           (CJ hi11de1; delay, or prevent !he co111111u11ication to a law e1ifo1r:e111ent o,Oicer orjudge of !he United Slates of i1ifo1111alio11 rela1i11g Jo the cm11111i.t,io11 or possible
 com111issio11 q{ a Fedeml qffense or a violatio11 of conditions of prolwtio11, s11pe11•ised release, pamle. or releme pe11di11gjudicial proceedi11gs; ...


 (/J) Whoever k11owi11gly uses i11timidatio11, threa1e11s, or cmmptly persuades a11otl,er person, or al/empts to do so, or e11gages i11 111isleadi11g conduct toll'ard a11otl,er petl'OII, ll'ith
 i11te111 to-
    (/) i11flue11ce, delay, or preve111 the tesli111011y ofany perso11 in 011 official proceeding;
    (2) cause or induce a11y pe1:1·011 to-
           (A) ,rithhold 1esti111011y, or wilhlwld a rec01r/, docume11t, or otlter object, fmm 011 official proceedi11g:
           (BJ alter, de.itmy, mutilate, or co11cea/ 011 object 11'it/1 i11te11t to impair the objec/ 's integrity or availability for use i11 011 official proceeding;

           (Q evade legal process .m111111011iug that perso11 to appear as a ll'it11ess, or to produce a record. docu111e111, or other object, i11 011 official pmceedi11g; or ...


 (c) IVl,oever comtptly--
    (1) alters, destmys, m11/ilates, or conceals a reco,d, doc11111e11t, m· other object, or attempts to do so, 11·itl1 tl,e i11te11t to impair tl,e ol1iecl ',1· i111egrily or availability for use in 011

 official proceediug: or
    (2) othe,wise obst111cts, i1if/ue11ces, or impedes a11y ,ifflcial proceedi11g, or al/empt.1· to do so, ...


 (d) Whoever intenlio11ally haras1·es 01101/,er perso11 and J/,ereby l,i11detl", delays, prevents, or dissuades a11y perxo11 from--
    ( I) al/ending or te.1tifyi11g i11 011 official pmceedi11g: ...


 (k) 1Vhoe11er co11spires to commit any offense under this sectio11 slta/1 be subject to tl,e same pe11alties a.,· tltose pre.1c1ibedfor the offe11se the commission of ll'hich ll'OS the ohject

 of //,e conspiracy.




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                                                                    S10 0HAHTH   KODE       V.       WJLL1AHSON      COUtlTY ,   ET   AL .                                                  1 696901690




i43
The terms Mail-Fraud and Wire-Fraud, including attempt/conspiracy thereof, shall refer to the Racketeering-Acts under Federal Law (18
U . S . Code:             Part I . Crimes:                   Chapter 63 . Mail Fraud and Other Fraud Offenses:                                               § 1341 - Frauds and

swi ndles] ( 18-USC-PI-C63-§1341) and                               (la u . s . Code,               Part I. Crimes :              Chapter 63 . Mail Fraud and Other

Fraud Offen11e11 1                  § 1343 - Fraud by wire, radio, or television] (1 8-USC-P I-C63-§1343] respectively, with the

meaning of the words dcfraud,fraud,fraudulent also defined as follows (including in (1 a u . s . Code,                                                     Part I. Crimes•
Chapter 47 . Fraud and False Stat-enta                                           S 1001             Stat-enta or entries generally]                                [18- USC PI-C47 -
§1001)) :

     18 U. S . O>de•       Part I . en-,        O>aptar 63. Nllil Fraud and other Fraud O U - •            S 1341 - Frauda and awir>claa
 •   httpe: //WIN. l.aw. oornall .edu/WIOOCl:t/mxt/18/1341

 /Vhoever, hm•i11g devised or i11te11di11g lo devise cmy .l'cheme or artifice to defmud, orfor obtai11i11g 111011ey or pmperty by 111ea11s offalse orfm11d11/e11/ prete11ses, represe11/aliom,
 or promi.l'es, or lo sell, di.l'pose of. /om,. exc/,auge, alte1; give away. distribute, supp()', orfumish or proc111r: for 1111/a11:f11/ 11se a11y co1111/e1feil or spurious coiu, obligatiou,
 security, or other article, or 011ythi11g represeuted to be or illlimoted or held 0111 to be such cm111te1feit or .~p111fo11s article, for the p1117,ose of executing such scheme or artifice or
 alle111pti11g .l'O to do. places i11 any post office or authorized depositmy for moil 11101/er, any mailer or thing whatever to be sell/ 01· delivered by the Postal Se1vice, or deposits or
 causes to be deposited any mailer or thing whatever to be .1·e11/ or delivered by ouy private or commercial i11ters/ate ca11·ier, or takes or receives therejivm, any .mc/1 mailer or
 t/1i11g, or k11owi11gly cause., to be clelh•ered by mail or such cmTic1· accortling to the clircctio11 1hereo11, 01· al Ilic pince al which ii is direclcil lo be dclh•crec/ by lhe person It> whom
 ii is addressed, 011y such mailer or thing, shall be fined 1111der this title or impriso11ed 1101 more than 20 ;r:m:I', or both If the violation ocmrs i11 relation lo, or involving cmy

 benefit authorized. lm11spo11ed, lmnsmilled, tra11.ife11"ed. di.,/mrsed, or paid i11 ca11nectio11 ll'ilh, a presidentially declaretl 111ajor di.,as/er or emergency (as those 1e1111.1· am defined
 in section /02 of the Robe11 T. Stafford Disaster Reliefand Emergency Assi.l'ta11ce Act (42 U.S. C. 5122)), or affects afi11a11cial i11slit111io11, s11ch pe,:mn shall be fined 1101 more
 than Sl ,000,000 or imprisoned 1101 more than JO years, or both.


      18 U. S . O>de•      Part I . c:n.-,, ,   <l>aptar 63. Mail Fraud and other lnud Mf.,... ,           S 1343 - Fraud by wire, radio, or talavaion
 •    httpe : //WIN. l.aw. oornall . edu/WIOOCl:t/ taxt/18/1343


 /Vhoeve1; having devised or i11te11di11g to devise any sche111e or m1ifice to defmud, orfor oblai11i11g 111011ey or pmperty by means ojfa/se orfmudule11t pretenses, 1r:prese11/atio11s,
 or promises, //'(111.l'mits or causes lo be lmnsmilled by 111ea11s of wire, mdio, or television com1111mimtio11 i11 i11/ers/a/e orforeig11 commerce, any 11rili11gs, .,ig11s, sig11al.1·, pictures,
 or .mmulsfor the pmpose of executing such scheme or m1ijke, shall be fined 1111der this Iitie or imprisoned 1101 more than 20 yem~·. or both. If /he violation occ11rs in 1r:lotio11 to,
 or involving <Ill)' benefit authorized, tmmpm1ed, tmmmilled, ll¥m.ifen'l!d, dis/1111se,I, or paid i11 co1111eclio11 ll'ilh. a presicle111ially dec/01¥!d mq;or disaster or e111erge11cy (as those
 tenm air: defined in sectio11 102 ofthe Robert 7'. Stajfonl Dismter Relief and E111erge11cy Assisl<mce Act (42 U.S. C. 5122)). or affec/.1· a fi11a11cial instil11tio11, such pe1w11 shall
 befi11ed 1101 more than Sl,000,000 or impriso11ed not more than 30 years; or botlt.


      18 U.S . O>de•       Part I . c::n-,      O>aptar 63. Nail Fraud and Othu: fraud O!f. , _ ,          S 1349 - A«-t and conopincy
      http,, : / / - . l.aw . oornall .ecil/usaxlo/i-t/18/1349

 Any person who ol/e111pts or compires to commit any offense 1111der tltis chapter shall be subject to lite same penalties as those prescribed for tlte of/en\'e, lite com111i.'>'io11 of ll'hich
 1m.1· the objecl of tltc al/empt or co11spimcy.




 •    18 U. S . O>de•      Part I . Cd.ms •     a.apter 47 . Fraud and Fal.ae Sta-ta             S 1001 - Sta-ta or ontria generally
      httpe : / /wwt1 . l.aw . oomell . edu/WIOOCl:t/text/18/1001

 (a) Except m otltenvise pmvided i11 I/tis sectio11, ll'hoever, i11 any maller 11~thi11 tltejurisdktio11 ~f the executive, legislative, orj11dicial Immel, of the Gol'emme/11 of the United
 Stales, k11owi11g/y and wil(fully -
     ( I) fal.l'ifies, conceals, or cave1:1 11/J by any trick, scheme, or device a mote,ialfact:
     (2) makes <my moleriolly false, fictitious, orjim1d11/e111 sto1eme111or 1¥!p1¥!se11t(l/io11; or
     (3) makes or 11ses anyfalse m'ili11g or doc11111e111 knoll'ing the same to contain any materially false, fic1ilio11.1; orfm11d11/e11I slatemenl m· e1111y: ...



 •
      "Defnud, ••
      httpe : //_   __
                         M i r r - t a r , CCD Oic:tionaxy•
                                     tar, oca/dic:tionaxy/~raud
                                                                    --tar•              (2023-01-30) •




                                                                                             PACE    38   OF   9~6
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                                                                 S .l DDHARTH   KODE      v.        Wl LLl AMSO tt     COU?I TY ,   ET   AL .                                               1696907690


 transitive verb


 : "lo deprive of something by deceplio11 orfraud"


      "Fraud. " •   Marr1--llobatar.can Dlctionuy•         -        -- t a r•     (2023-07- 30) •
 •    ht.tpa: / / -.- t a r. ota/dict.icna,y/&aud

 1101111




 a
 : DECEIT. TRICKERY
 specifically: "i11te11tio11al pe1ve1:,·io11 af 1111th in on/er lo i11d11ce another to part ll'ilh something of value or lo .,wre11der a legal right"


 b

 : "011 act of deceiving or mi.ffeprese111i11g" : TRICK




 2
 ll


 : "a person 1rho is 1101 what he or she pretend,· lo be": IMPOSTOR
 also : ··one 1rha defrauds ": CHEAT
 I,

 : "one that is 1101 11,Jwt ii seem.~ or is represented lo be"


       "Fraudulant. • •   Man-1---tar . 00111 Dictlonaey •        - t a r•              (2023- 07- 30) •
 •     httpe:/ / - .- t a r.aa/d.lctlonaey/ ~ t

 ac/jective


 : "characlerized by. based 011, or do11e byjim,d" : DECEITFUL




14 4
T he definition of fraud (see above) under federal law is distinct from the definition of fraud under the laws of the State of Texas, as it is

defined in (Texas Penal Code ,                           Title 7 . Offenses Against Property •                                       Chapter 32 . Fraud)               [TPeC-T7-C32]. ln-

order-to distinguish between fraud as it is defmed in federal law (see Wire-Fraud, Mail-Fraud, Fraud-and-False-Statements above) and the

State-of-Texas law (as follows), the plaintiff will refer to the specific text of the State-of-Texas law (codified within [TPeC-T7-C32]) that are

relevant to this lawsuit as Texas-Fraud:

 •     Tuaa l'lor>al Codol•   Title 7 . O f - l\galnat Prq,arty•          Owptar 32. Fraud•
 •     httpe://atlltlltu.c.oplllol . tuu .,pv/Doca/ w./hbl4/PB.32 .ht:a

 Sec. 32.32. FALSE STATEMENT TO OBTAIN Pl/OPEi/Ti' OIi Cl/EDIT OR IN THE PROVISION OF CERTAIN SERVICES ...
 (b) A pe1w11 commils 011 off ense if he i111e11Jio11al/y or knowingly makes a maleriallyfalse or misleading wrille11slale111e11110 oblai11 properly or credit ...


 Sec. 32.46. Fl/A UDULENT SECU/1.ING OF DOCUMENT EXECUTION
 (a) A person commits an offense if Jhe peno11, wilh lhe i11te111lo defraud or ham, a11y person:
      ( I) causes 0110/her pe1:w11, 11•i1hou1that person'.,· effective co11se111, lo sig11 or e¥ec111e any document affecting property or .,·e,vice or /he pec1111ia1y i111eres1 of any pe1w11; or ...
                                                                                          PACE      39     OF   9 56
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 Sec. 32.47. Fl/A UDULENT DESTIWCl'lON. REMOVAL, OR CONCEA lMENT OF WRITING.

 (a) A perso11 co111111i1s <m offe11se !f. 11·i l/1 i11le11/ lo defmud or ha1111 a1101/,e1; he des/roys, remove.1·, co11ceals, alien;, .m bsti/11/es, oro1he1wise impai,,· /he verily, legibilily, or

 availabilily of a 111ili11g, o//,er 1lu111 a gove111111e11tal reco,rl.
 (b) For p111poses of Ihis seclim,. "writi11g" i11c/11des:
     (I) pri11//11g or m,y olher me/hod of reconling i1ifomwlio11;



 Sec. 32.51. FRAUDULENT USE OR POSSESSION OF IDENTIFYING INFORMATION.

 (a) /11 //,is section:
     (I) "lde11tifyi11g ilifommtion" mea11s iiifo111mlio111/,a1 alo11e or in co1tj1mctio11 wit/, other i11fo111,atio11 identifies a perso11, i11c/11di11g a pe1;m11's:

        (A) 11ame a11d date of birtl,; ...
 (b) A perso11 co111111ils a11 o.ffe11se if J/,e perso11, will, the i11Je111 lo l,n,111 or defm11d m101/,e1; obJains, po.tmrses, 1m11sfers, or uses an ilem of
     (I) ide111ijj,i11g i1ifo1111atio11 of a110J/,er person 11•itho111 11,e o//,er pe13·011 '.1· consent or ciffeclive co11se11I; ...




9145
The term Extortion, which includes Blackmail, shall refer to the Racketeering-Act as defined in Federal Law [le u . s . Code,                                                                         Part

I . Cri111e111            Chapter 41 . Extortion and Threats] [18-USC-PI-C41) and shall also refer to the commerce-related Racketeering-

Act under Federal Law (18 u . s . c o de ,                                Part I. Crimes ,                       Chapter 95 . Racketeering •                     § 1951 - Interference

with co-erce by threats or violence] [18-USC-Pl-C95-§195 1] (see above):


      18 U.S . c.oda •     Part I . en-,          Olaptar n . E>rt.ortico and -ta•                S 873 - ~
      http://tftfW. l&>t . oomall.adu/uaooda/t.ext/18/873

 Whoe1•e1; mu/er a threat of i1if01111i11g, or as a camidemlion for 1101 ilifo1111i11g, agai11sl any violatio11 of a11y law of 1/,e U11ited Stales, dema11<l~ or receives a11y 111011ey or olher
 valuable thi11g. shall be fi11ed um/er this title or imprisoned 1101 more 1lw11 011e year, or both


      18 U.S . c.oda •     I/art I . Cr1- •       O>aptar U . 11/rtortion and - t a •             S 875 - Intar.tata ccma,nic,ationa
 •    http :/ /tftfW . l&>t . oomall . UJ/uaooda/ t.ext/18/875




 (b) Wl,oever, ll'ilh i11/e11/ lo exlm1 from any person, Jinn, associalio11, or coq1omtion. any money or 01/,er lhing of value, /rammils i11 i11terslale orforeig11 con1111erce any
 co1111m111icalio11 co11tai11i11g <Ill)' 1/weat lo kidnap tmy person or any threat to injure 1/,e perso11 of 0110//,er, sl,all befi11ed 1111der tl,is ti/le or imprisoned 1101more 1ha11 lll'elll)' J'<'O l:-1,
 or both


 (c) ll11oeve1· /ra11smils i11 illlersla/e orforeig11 commerce any co1mm111icalio11 co111ai11i11g any tlu'eal lo kid11ap any pe1:wm or any //,real lo iujum Jl,e pe1:m11 of <molhe1; shall be
 fined under //,is Ji/le or imprisoned 1101 more than.five yea1:v, or both.


 (d) Whoeve1; ll'ilh i11te111 lo e.r/011 from any pe1w11, fi1111, association, or c01pornlio11. <Ill)' money or other 1hi11g of value. hv11smils i11 i11/ersla/e orfo1'eig11 commen·e any
 com1111111icalio11 co11/ai11i11g any threat to i1tj111'e the pmperly or repu/atio11 of tl,e addressee or of m101her or the l'epulalio11 of a deceased pe1so11 or any lhmal lo accuse /he
 addre.rsee or any otl,er pe1:w11 of a clime, shall be fined under /!,is title or impri.w 11ed 110I mo1'e 1ha11 /111? yew,·. or both.


      18 U. S. c.oda•      Part I . en-. ,        O>aptar 41. Extortion and - t a•                S 876 - Nail.ing th.--t:a\J.ng <Xmalllicatiaoa
 •    http :/ / - . la>t. oomall .dJ/uacoda/taxt/18/876




 (b) 111,oever, with in/e/11 lo ex/011.fmm any pe1,·011 any money or o//,er tl,i11g of value, so deposits, or cm,.,·es to be delivered, as aforesaid, any com1111111icalio11 co11tai11i11g a11y

 t/,reaJ lo kidnap <my perso11 or any //,real to i1tjure the pe1,·011 of //,e addressee or of a1101he1; shall be fined 1111der this Ji/le or imprisoned 1101 mom //,011 /11e111y yea1:1·. or bot/,.



                                                                                                   PACE     40    or    95 6
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 (c) Wltoel'er k11oll'i11gly so deposits or causes to be delil'ered a.1· afore.will. cmy co1111111111icatio11 1.-ith or without a name or desiguatiug mark subscribed thereto, addressed to any
 other perxo11 and co11tai11i11g any threat to kidnap 011y pe1~-o,1 or any threat to ilyure the pe1-,;rm of the oddres.,ee or of 0110/her, shall be fiued 1111der this title or impri.wmed 1101
 more 1ho11./7l'e JW//'S, or both. lf.mch a co1111111111icotio11 is addressed to a Uuited Statesjudge, a Federal loll' e1iforceme111 <,jjicer, or 011 officio/ ll'ho is covered by secliou I/ 14,
 the individual shall be fined under this Iitie, i111priso11C'd 110/ more than tn yea,~·. or both.


 (d) Wlmeve1; 11•i1h i111e11/ to ex/011 fmm auy pe1~·011 any money or other thing of value, k11oll'i11gly so deposits or causes 10 be delivered. as aforesaitf. any com1111111icario11, with or
 witholll a name or desig11oti11g mark subscribed thereto, addre.,;.sed to any other person and co11tai11i11g any threat to ilyure the prope11y or rep11ta/io11 of the addressee or of
 011othe1; or the rep11tatio11 of a deceased person, or any threat to accuse the addressee or <my other person of a crime, shall be fined under this title or imprisoned 1101 more than
 l11v yews. or both Ifsuch a co1111111111icatio11 is addressed to a United Stotesjudge. a Fedeml low e1iforce111elll office,; or 011 official who is covered by .w!l'tio11 1114, the
 i11divid11al .,/1011 be fined 1111der this title, imprisoned 1101 mm·e 1ho11 /0 year.1; or both.




Sl:46
Under the State-of-Texas's laws, the crimes of Exto11ion and Blackmail have been consolidated into the Theft law (Theft-of-Property, Theft-

of-Service) codified within [Texas Penal Code,                                    Title 7. Offenses Against Property:                                 Chapter 31. Theft] [TPeC-

T7-C3 l]:

     -r.xu Ponal OOde •      Title 7 . ot'C.,.... llgainat P<q>erty•        Oiapt:ar 31. 'ft>eft•
     httpe: / /■ta tutu . capitol. taxu . gov/Doce/PE/hao/1111. 31 . hta


 Sec. JI.Of. DEFINITIONS.
 /11 this chap/er:

    (I) "Deceptiou" 111ea11.I':



       (A) creating or co1ifi,111i11g by word, or co11d11cl a false i111pre.,;.,io11 of law orfact that is likely to affect thej11dgme111 ofauother in the tra11saclio11, and that the aclor does
 1101 believe to be tme;


       (8) failiug lo con-ecl a false impressiou of law orfact that is likely to affect thej11dgme11/ of 0110/her iu the lm11sacti1111, that the acror previously created or cmifi1111ed by
 11·01rls or co11d11ct, and that the actor does 1101 11011• believe to be tme;


       (C) pre1•mti11g a1101herfivm acr111iri11g i1ifo1111olio11 likely 10 affect /,is j11dg111e11t i11· the /ra11.mctio11;



       (D) selling or 01he1wise tra11sfe11'i11g or e11c11111beri11g pmpe11y ll'ilhout disclosing a lien, security i11teres1, adverse claim, or other legal impedimeut to the e1yoyme11/ of the
 pmpc11y, 1l'hether the lieu, security interest, claim, or impediment i.1· or is 1101 valid. or is or is 1101 a mailer of official record: or


       (£) promising pe1forma11ce that is likely to offect 1hej11dgme11t of 0110/her in the tm11soctio11 and 1h01 the actor does 1101 i11te11d lo pe1for111 or kuoll's will 1101 he pe1fm111ed,

 excepl 1h01 failure to pe1fm111 the promise i11 i.tme ll'ilhout other evidence of i11/e111 or knowledge is 1101 .1'1ifficie11/ pmof that the actor did 1101 i11te11d to pe1fo1111or knew the
 promise 11'011/d 1101 be pe1fo1111ed.


    (2) "Deprive" means:


       (A) lo ll'it/1hold prope11y fmm the 0111,er pe1111011e11tly orfor so ex/euded a pe1iod of time that a mcyor p011io11 of the value or e1yoyme111 of the pmpe11y is lost to the 011'11er;


       (8) to rc.,torc prope11y 011/y upon paymelll of reward or olher compc11satio11: or


       (C) to dispose of properly in a mamier that makes reco1•e1y of the property by the 011"11er 1111likely.




                                                                                             PAG£    ◄ l   OF     9~6
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  (3) "Effective consent" includes consent by a pe,:wn legally authorized to act for the 011ue1: Come11t i.1· 1101 effeclive if:


      (A) induced by deception 01· coercion;


      (B) given by a person the aclor knoll's is not legally authorized lo act for the 0ll'ner;


      (C) give11 by a person ll'ho by 1't!asm1 of)YJ//th, 111e11tal disease or defect, or intoxicotio11 is knmm by 1he actor to be unable to make 1't!a.mnable property dispo.l'ilio11s;



      (D) given solely to de/eel /he co111111issio11 of a11 offense; or


      (E) give11 by a pe1:m11 who by reason of advanced age is knou·n by /he aclor lo have a diminished capacily lo make ilyo1111ed and rntio11nl decisions about lhe reaso11oble
disposilio11 of properly.


   (4) "App1vp1iote" meam:


      (A) to bring n/)()11/ a trn11.efer or p11171m1ed lrn11:fer of ti/le lo or other nm1pos.\'e.tm1y interest in prope11y, 11#1elher to the actor or 0110/her; or


      (B) to acquire or olhe1wi.1·e exercise co11tro/ over prope11y other thn11 real pmpe11y.


   (5) "Prope11y" means:


      (A) real pmpe11y;


      (B) 1a11gib/e or i11ta11gible perso11a/ properly i11cludi11g any1hi11g severe</ from laud; or


      (C) a doc11111e11t, i11c/udi11g money, Iha/ represent.1· or emhodie.1· anything of value.



   (6) "Se1vice" includes:


      (A) labor and pmfessional se1vice:


      (B) lelecommunication, puhlic lllilily, or llvnspol'lation se1vice:


      (C) lodgi11g, res/numnl ,\'e1vice, and e11/erlai11111e11/; and



      (D) lhe supply of a mo/or vehicle or other pmpe11y for use.


   (7) "Sten/" means to acquire prope11y or ,\'e111ice by theft. ...




Sec. 31.02. CONSOLIDATION OF THEFT OFFENSES.
Theft as de.fined in Section 31. 03 co11stit11tes a single offense superseding /he sepamte off'c11se1· previously known as theft, theft by fitlse pretext, co11vcrsio11 by a bailee, Iheft
Jivm the person, s/1op/if1i11g, nc1111i.~itio11 ofproperty 1,y tl11Y!<tt, swi111/li11g, .mimlling by 11vrthle.~1· check, embezzlement, e.rtortirm, receiving or concealing embezzled property,

and receiving or co11cca/ing stolen pmpe11y.




Sec. 3 /.03. THEFT.

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 (a) A persa11 commits 011 offense if he 1mla11.f11/ly appmpriates pmpe11y with i11te11t to tfepriioe the 011t1er ofpmperly.


 (b) Appmp1iatio11 of pmpe11y is 1mla11f11/ if:


     (1) it is without the m1t1er'.1· ejfecJfre cmm!llt; ...




 Sec. 31.04. Tf/EFTOFSERVICE.
 (a) A person commits theft of se1vice if. with i111e11/ lo avoid payment for se1vice that the actor knows is provided 011lyfor compe11.mtio11:


     (I) the actor i11te11tiom1/ly or k11011i11gly secures pe,fomumce ofthe sen•ice by tleceptio11, threat, orfalse token;


     (2) having co111ml over the disposition of sen•ices of another lo ll'hich the actor is 1101 e11lilled, the actor i111e11tio11ally or k11mri11gly divens the orher'.v se1vices lo the actor's
 mm benefit or to the be11efl1 of another 1101 entitled to the se1vices; ...




SI47
For the sake of simplicity and abbreviation, the general term intimidation/interference, unless otherwise specified, shall refer to:

@ Racial-Intimidation (see above: [42-USC-C45-Sil-§363 I],[42-USC-C45-SI-§3617],[TPrC-T 15-C301 -SI-§301 . 17 1]) ; AND/OR
@ Homopho hie-Intimidation (see above: [42-USC-C45-SII-§363 1],[42-USC-C45-SI-§36 17],[TPrC-T 15-C30I-SI-§301.1 7 1]) ; AND/OR
© Interference-with-Commerce-by-Threats-or-Violence (see above: [I 8-USC-PJ-C95-§ 1951),[18-USC-Pl-C95-§l 959)) ; AND/OR
@ Interference-with-Federally-Protected-Activities (see above: [ 18-USC-P 1-C 13-§245)) (0) .



SI48
T he terms C1iminal-Mischief and Vandalism shall refer to violation of the Texas law specified in under [Texas Penal Coda ,                                                                  Title

7 . Offenses Against Property •                                Chapter 28 . Arson , Criminal Mischief , and Other Property Damage or

Destruction :                Sec . 2 8 . 03 . Criminal Mischief] [TPeC-T7-C28-§28.03). In almost all, if not all, cases documented in this

lawsuit, acts of Criminal-Mischief also constitute the federal crimes of Interference-with-Commerce-by-Threats-or-Violence (see above:

[ 18-USC-PI-C95-§l 95 1]):

 •    Tuu Pllnal O:,da •      Title 7 . O U - llgainat l'rqlarty •          O>aptar 28. Anon, Criain&l Ml.achie!, and Other Proparty ~ or out.ruction•
 •    sec. 28. 03. CriJllinal ICl.8chiaf
 •    htq,e: / /ot:Atutu.apitol. texu .gov/Doca/PS/h!Jll/l'E.28.hbo

 Sec. 28.03. CIUMINAL MJSCfllEF.
 (a) A person commits an offe11.1"e if. ll'ilho11/ the effective co11se11t of the Oll'l/er:
     ( I) he i11te11tio11al/y or k1101l'i11gly damages or des1roys the 1011gible pmperly of the mmer;
     (2) he i111e11tio110/ly or k11owi11gly tampers ll'ilh the langible property of the oll'ner a11d causes pec1mi<11y /0.1:1· or substaurial i11co11ve11ie11ce to the owner or a third person; or
     (3) he i111e111io11ally or k11owi11g(11 make.I' ma1*i11gs, i11c/11di11g i11scriplio11.1·, slogan.,, drawings. or pai11li11gs, 011 the 1011gihle pmpe11y of the 01111er.


 (b) Except m pmvided by Subsections (I) and (h), an offense 1111der this section is:
     ( I) a Class C misdemeanor !f-
        (A) the 011101111/ of pec1mi<11y lo.t, is less tha11 $100: or
        (B) ercepl m· provided i11 Subdivision (3)(A) or (3)(8), ii causes .rnbsta111ial i11co11ve11ie11ce lo otherx:

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     (2) a Cla.~1· B 111isde111e<111or !f the a11101111t of pecu11ia1y /o.tv is$/(/() or more but le.~, tha11 $750;
     (3) a Cla.~, A 111isde111ea11or if'
        (A) the <111101111/ of pec1111imy loss is $750 01· more /ml less than S2,500; or
        (8) the actor causes i11 111,o/e or in pt111 i111pai1111e11t or i11te1111ptio11 of any public ll'ater supply, or causes to be diverte,I in whole, in part, or in any manner, i11c/11di11g
 imtal/ation or removal of any device for <my such p1117mse. any public water supply, regar<lle.~, of the ,1111011111 ,if the pec1111imy loss;
     (4) a stale jail felony if the m1101111t of pec1111ia1y loss is:
        (A) $2,500 or more but le.-,s tha11 $30,000;
        (B) less tha11 $2,500, if the prope11y damaged 01· de.1·fl'O)'f!ll is a habita1io11 a11d if the damage or dest111ctio11 is caused by afiream, 01· explosive 11'eapo11;
        (C) le.ti· than $2,500, if !he pmpe11y ll'as afcmce usedfar the pmduclio11 or co111ai11111e/ll of:

           (i) cattle. bison, /,o,~·es, sheep, .1wi11e, goats, exotic live.,tock, or exotic poullly; or
           (ii) game animal., as that fem, is defined by Sec/ion 63.001, Parks and Wildl/fe C()(/e; or ...




i49
A crime that is related to Criminal-Mischief, Illegal-Dumping shall refer to violation of the Texas law specified in under ( Texas Heal th
and Safety Code •                    Title 5 . Sanitation and Environmental Quality:                                                        Subtitle B . Solid Waste , Toxi c
Chemicals, Sewage , Litter, And Water . Chapter 365 . Litter •                                                              Subchapter B . Certain Actions Prohibited•

 Sec . 365 . 012 . Illegal Dumping; Discarding Lighted Materials ; Criminal Penalties] , ("[THaSC-T5-SB-C365-

§365.0 12)"). It is crucial to note that, while it is illegal to dump any material(s) onto land or prope1ty that a person does not own, it is not illegal

to dump "filter or other solid waste" onto land or property that a person does own - with both of these facts coming into play in a substantial

manner in this lawsuit:
      Texu IM&l.th and SALety Coda•          Title 5 . Sanl.taUm and ~ t a l ~ t y•                        SUbtitle B. SOlld Nute, Toxic a-1.e&ls, 5 - , Litter, And Mater•
      0>opter 365 . IJ.tter•      Sl.ibc:hapter B. 0ortatln Actions Prohibited:
 •    http : / /atabltes . cepitDl . texu .90"/Doca/llS/ht:m/llS. 365. him

 Sec. 365.011. DEFINITIONS.
 Ju this su/Jclwpter: ...


 (5) "Dispose" and "dump" mean to discharge. deposit, injecl, spill, leak, or place filter 011 or i1110 land or 11Y1fer. ...


 (6) "Litter" mea11.1·:

     (A) decayablc 1mstefm111 a ])llblic or pril•ale e.,1ol,/i.,l1111e111, resiclcncc, or rc.slmll'ant, i11cl11cli11g c111i111al and 1•cgctablc 11·aslc 111ClleriC1I from Cl nmrkel or sloroge facilily
 handling or storing pmduce or olherfood pmd11c1s, or the ha11d/i11g. prepamtion, cooking, or co11.w,111ptio11 offood, but 1101 including se,mge. botb• 11r1stes, or i11dus1rial by-
 pmd11cls:
     (B) 11011decaJY1ble solid 1msfe, except ashes, /hat consists of:
        (i) combuslible nm le material, i11cludi11g papei; rags. car/011.1·, ll'Ood. e.rceMor, fumiture, mbber. plastics. yard tri111111i11g.1·, leaves, or similar malerials;
        (ii) 11011co111bm1ible ll'aste malerial, including gla.,1·, cmckeiy, tin or al11111i11u111 cans, me/a/ fumilure, and similar ma/erials tho! do 110/ bum al 01rli11a1y i11ci11erator

 tempem/111'l!s of 1800 degrees Fahre11heil or less; and
        (iii) discarded or 1m111- 011/ mamifacfm'l!d 11w1erial., and machi11e1y. including molar vehicles and parls of motor vehicle.•. fires, ainnift, /01111 imple111e11/s, building or
 co11s1mctio11 materials, appliance.r, and scrop metal. ...




 Sec. 365.0/2. ILLEGAL DUMPING; DISCARDING l/GHTED MATERIALS; CRIMINAL PENALTIES'.
 (a) A person commits <Ill offense if the pe,~·011 disposes or allows or pe1111ifs the disposal of filler or other .m/id 11mle al a place rim! is 110/ <m appmved solid imste sile, including
 a place 011 or wilhin 300 f eel of a pnhlic /1ig/11my, 011 a right-of-11Y1)', 011 olher public or private property. or info i11/a11d or coos/a/ 11r1fer af /he slate. ...


 (e) An offense under S11bseclia11 (a). (b), or (c) is a Cla.,1· B 111isdemea1101· !l the filler or other solid 11·asfe to ll'hich the offe11.1·e applil',\' 1reighs more than five po11111/s but less than

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                                                                    S ! DOHAR'i"H    K ODE       V.       WtLLlAMSON        COUUTY     ,       ET   AL.                                             1 696901690

 500 po1111dv or /ras a 1•0/11111e of 111ore 1/umfive gallons /1111 less I/rem {(}0 cubic f eel. ...



 (I) Tlris seclio11 does 1101 apply lo <m i11dil'id11al'.v disposal of filler or ollrer solid ll'<Ll"le if:

     ( I) lire filler or ,msle is geJ1emle<I 011 land lire i11dil'id11al owns;

     (2) !Ire filler or ll'llsle is 1101ge11emled as a re.ml/ of <m ac1i11ily relaled lo a co111mercial p11171ose;
     (3) !Ire disposal occw-,; 011 land //re individual 01111s; and

     (4) !Ire disposal is 110/ for a com111ercial /J1ll71ose ...


 (11) Au offense 1111der !Iris seclio11 111ay be proseculed wi1/ro11/ ollegi11g or p1Vl'i11g any c11/pable me1110/ slale, 1111/es.1· lire offense is a s101ejoilfelo11y. ...




The term Abuse of Office shall refer to any of the crimes defined in [ Texas Penal Code ,                                                                 Titl e 8 . Offenses Against Public

Administration:                     Ch apter 39 . Abuse of Office] , including but not limited to:

 •    Tuaa hnal Coda•          Tit.la 8 . Of!wlaM Againat P\lbllc Adainiotnt.lon •              O\apllar 39 . -        ot Oftioa•          S 39. 02. llbuM ot Offioia1 ~ t y
      httpe: / /otab.ltu . capitcl. texaa .<pv/Doco/PE/ht:a/PE. 39. htm

 Sec. 39.02. ABUSE OF OFFICIAL CA PACITY.

 (a) A public se1va111 commils au offense if, wi1lr in/ell/ lo ob1ai11 a be11efil or 1rillr i11/e111 lo lram, or defmud a1101/re1; Ire i111e111io11ally or k11owi11gly:
     (I) viola/es a law rela1i11g lo lire p11hlic se1vo11t'.r office or e111ployme11/; or

     (2) 111isuses gol'em111e111 properly, se,vices, perso1111el, or t111y ollrer lhi11g of l'al11e belo11gi11g lo lire govemme11/ lira/ lras come info lire public serl'all/'.1· c11slody or po.~l"e.~1"io11 by

 vi1111e of lire public se1va111's office or employment. ...


      Tuaa l'9nal Coda•        Tit.la 8 . Oft.n-■ Againat P\lbllc AdainiotnUon•                 Qwptiar 39 . -          ot Office•         S 39 . 03 . Offical Off,naSion
 ►    httpe:/ / otab.ltu . ""f)itcl. t>oxu .<pv/Doco/PE/h!D/PE. 39. hta

 Sec. 39.03. OFFIOAL OPPRESSION.

     (a) A public se1va11/ acli11g 1111der color qf /1i.l" <if.free or e111p/oyme11/ co111mils 011 offense if Ire:
        ( I) i111e111io11al/y .mbjecls 01101!,er to 111is1rea1111e111 or to a,res/, de1e111i011, seorclr, seizure, dispo.'iSe.'iSio11, a.'iSess111e111, or lien 1lrat Ire knows is 1111/meful;

        (2) i111e11/io11al/y de11ie1· or impedes 0110/lrer iu lire erercise or e11joy111e111 of any riglrl, p1ivilege, poll'er, or i1111111111ily, k11011·i11g his co11d11c1 is 1111la11f11l; or

        (3) inte111iona/ly s11bjecl.~anoll1er to sewal /10ms.m1en1. ...


      Tu&■   Panal Coda•       Title 8 . O!!--■ Againot Public AdainiotnUon•                    a.apter 39. Abuse ot Office•               §   39. 06. MiouM of Offical Infonnot.lon
      httpe: / /otab.ltu . copi tel. texaa .<pv/Doco/PS/h!D/PE. 39. hao

 Sec. 39.06. MISUSE OF OFFICIAL INFORMATION.

     (a) A public se1w1111 co111111i/s 011 offeuse if, iu reliance 011 i1ifo111,a/io11 lo 111,ich lire public se,11011/ lras access by viltue of lire pemm'.r office or employmenl and 1lra1 has 1101
 been made public, lire person:
        ( I) acquires or aid.I" 0110/her lo acquire a pec1111imy i111ere.1·1 i11 tmy pmpe11y, 11m1sac1io11, or e111eqJrise Iha/ may be <iffecled by !he iiifom1alio11;
        (2) specu/a/es or aids tmo//rer lo speculale 011 lire basis of !he i1ifomm1io11; or

        (3) a.I" a public se1va11/, i11d11di11g tt1· a sclrool ad111i11is1ra1or, coe1t·es ,mo/her i1110 s11ppret fi11g orfailing lo repm1 1lral iiifon11alio11 lo a law e1ifo1t:e111e11/ agency.



     (71) A public se111a11/ co111111ils a11 offense if wilh i11le11/ lo o/J1ai11 a be11efil or wilh i11/e11/ lo harm or d<4im1d <1110/lre1; he discloses or uses ilifor111alio11 for a 11011gove111111e111al

 p11171ose Iha/:
        {I) he has access 10 by means ,if his <iffice or e111ployme111; and
        (2) hm 1101 been made public.


     (c) A pc1:m11 commils a,1offense if. wit/, i111e111 lo ob1ai11 a be11efi1or ll'ilh i111e111lo /ram, or defraud 01101/rer, Ire solicits or receives/ram a public se111anl ilifo1111alio11 I/rat:
        (I) fire public se11•a11/ lras access lo by means of his office or e111ployme111; 011d

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~               ,as 1101 bee11 made public. ...




i 51
The term Discrimination when used, outside of the context of the [FHA]/[TFHA], to describe the Texas criminal violation committed by a

government and/or government-employee(s)/official(s), sha Urefer to the Texas law specified in (Texas Civil Practice and
Remedies Code,                      Title 5. Governmental Liability :                                       Chapter 106 . Discrimination Because of Race ,

Religion , Color, Sex, or National Origin . )                                                   [TCPaRC-T 5-C106]:

    •    Tuu Civil Practioa and-.. Coda •                    Title 5 . ~ t a l Lubility•                  Chaptar 106. Diacxiaination ilecaUN of R&oe , Rallgicn , COlor,           sex, or National Origin.
         httpa: / /atatut>u ·""Pllx>l . t:mwo .,pv/Docll/CR/ht:a/CR .106. bta

    Sec. 106.001. PROHIBITED ACTS.
    (a) A11 officer or employee of tl,e state or of a political s11bdivisio11 oftl,e stale wl,o is acti11g or p111porti11g lo act i11 a11 official capacity may 1101, because of a per:1011's mce,
    religio11, color, ser, or 1111tio11al 01igi11:
        (/) refuse to i.~me to tl,e pe1:w11 a lice11.1·e, permit, orce11ijicate;
        (2) reiYJke 11r sus[Jeml tlte pe,~·011 '.1· license, pen11it, or cerlijic{lfe;
        (3) refuse to pen11it tlte perw11 to usef11dlities open t,, 1/te public 111111 IIIIYll!tl, opemte,I, or 111111111gl!ll by or 011 bel1111f of //te st11te or II politiml s11bi/i11isio11 of tlte state;

        (4) refuse to permit tlte perw11 to p11rlicip11te i1111 pmgmm mme,I, opemtetl, or mmwged by 11r 011 beltalfof tlte st{lfe or a political s11btlil'isio11 of tlte .1tllte;

        (5) refuse w gmm" benefit to tlte perso11;

        (6) impose 1111 1111rell.1·mwble b1mle11 011 tlte perso11; or

        (7) refuse /11 mm,il a co11tract to the pe1:vo11. ...


    Sec. 106.002. REMEDIES
    (a) If II per:1011 /111s viol11ted or there are reasonable gm1111ds to believe a person is about to viol11te Sectio11 106.00/, the pe1>·rm agg,ieved by the viol11tio11 or threatened violatio11
    may sue for preve11tive relief. i11c/11di11g a pe1111011e11/ or tempormy ily1111ctio11, a reslrai11iug airier, or auy other 01rler.
    (b) Ill 011 actio11 under this sectio11, 1111less the s/11/e is the prevailing pmty, the co1111111r()I auwrl the prevaili11g pmty rea.wmable al/omey'.~fees as a part of the costs. The state'.\'
    liability for costs is the same as 11111/ of a privllle perxo11.


    Sec. 106.003. PENALTIES.
    (a) A perso11 commits rm offense if the pe1:m11 k11owi11gly violates Se,·tio11 106.001.
    (b) An offense 1111der this sectio11 is a 111isde111er111orp1111ishable by:
        (I) a fi11e of 1101 more tha11 SI, 000;

        (2) co11fi11e111e11t i11 the co1111ty jail for 1101 more tha11 011e year; or
        (3) both thefi11e a11d c01ifi11e111e11t. ...




i 52
Under Texas law, racial-profiling, a specific type of racial-discrimi.nation committed by law-enforcement official(s)/officer(s)/employee(s), is

also prohibited under KTexas Code of Criminal Procedure:                                          Title I. Code Of Criminal Procedure:                        Chapter 2. General Duties of Officers:

        Art. 2. 13 1 Racial Profiling P rohibited] [TCoCP-T 1-C2-A2. I 3 I ] :

    •    Tuu Coda of Criainal l'Xocla<t.lra •          Titl• l . Coda~ Criainal -                  ·   O>aptar 2 . Goneral Dutiu         oL OffiOUB •     Art. 2 . 131 Racial ProLiling Prohibited
    •    htq,e : / /atatutea. cap1 lx>l . tuu . ,pv/Doca/Cll/hbo/CR. 2 . hba

    A peace officer 11111y 1101 e11gage i11 racial pro/1/iug.

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i53
The term Disorderly Conduct and Harnssmcnt shall refer to the criminal law specified in (Texas Penal Code,                                                                     Title 9 .

Offen••• Against Public Order and Decency :                                                    Chapter 42 . Disorderly Conduct and Related Offenses] [TPeC-

T9-C42]:

          Texae Plona1 Oodlt•      'ti.ti. 9 . OffenMs Againat Public OJ:du and -.cy,                O>lptar '2 . DillOrdarly Oon<lx:t and ~tad OffenMa
 •        htt:pe: I/autu tee . copi tol . -    . CJOV/Doca/PB/bbo/PS. '2. hta


 Sec. 42.01. DISORDERLY CONDUCI'.
 (a) A pe1~·011 co111111i1.1· a11 offe11se if he i11/e11/io11ally or k11oll'i11gly:
         ( I) uses al111sive, i11decent, f11Vfa11e, or vulgar la11g11age in a flllblic place, and the language by its ve1y 11/lera11ce tends to i11cite 011 immediate breach of the peace;
         (2) makes 011 offensive gesture or display in a public place, and the gesture or di.171/ay tend, to incite 011 immediate breach of the peace;
         (3) creates, by chemical means, a 11oxia11.1· and 1111111a.1·011able odor in a p11blic place;
         (4) abuses or threatens a f1erso11 i11 a public place iu <m obviously offensive mmmer;
         (5) makes 1111ma.w11ab/e noise in a public place other than a sp011 shooting range, as defined by Section 250,00 I, Local Gove111111e11t Code, or in or near <1 privare residence

 that l,e has 110 right to occupy;
         (6) fights wit/, another in a flllblic place; ...


 Sec. 42.07. HARASSMENT.
 (a) A person commits 011 offense if. with i11te11t to harass, a1111oy, alarm, abuse, 101111e11t, or embmmss <mother, the person:
         {I) initiates co1111111111icatio11 and in the course qf the co1111111111icatio11 makes a comment, request, s11ggevti011, or proposal that is obscene;

         (2) threatens, in a mmmer reasonably likely to ala,111 the person receiving the threat, to i11flict bodily i11j111y 011 the perso11 or to commit a f elony against the person, a member
 of the pe1~·011'., family or household, 01· the pe1:m11'.r p1Vpe11y;
         (3) conv~vs, i11 a mmmer 1easo11ab/y likely tu alan11 the perso11 receiving the 1epo11, a false l't!port, 11-hich is k1101m by tl,e c:o1111~ror to be fal.l'e, that a11other person has
 .wjfe,ed death or serious bodily i11j111y;


         (7) send\' l'l!Jleated elecJro11ic co1111111micatious in a 11101111er 1110.m11ably likely to harass, c11111oy, a/am,, abuse, torme11t, embmm.»·, or offend another; or
         (8) publishes 011 an lutemet 11-ebsite, i11c/11di11g a social media platform, repeated e/ectm11ic co111111u11icatio11.1· in a 111a1111er 111aso11ably likely to cause e111atio11al distress, abuse,
     or torment to mmrher person, 1111/e.~\' tl,e c:o1111111111icatio11.\' me made in co1111ectia11 with a 11101/er of public co11ce111. ...




154
The term Stalking shall refer to the higher-level Felony specified in T exas Law (Texas Penal Code•                                                             Title 9 . Offenses
Against Public Order and Decency•                                            Chapter 42 . Disorderly Conduc t and Related Offenses:                                                   S 42 . 072 .

Stalking] [TPcC-T9-C42-§42.072]:

          'luu Plona1 Coda •       Titi. 9 . Offenau 1\qainat Public OJ:du llncl Deoancy •           Oiaptar 42 . Dao<darly Ccrlduct and ~tad Off_.,              S '2 .012 . Stallu.ng
     •    bttpa : //a tatut.a . ""f>ltlol. _ , , .<pV/DocA/PP./bta/1'1:. '2 . bta


     Sec. 42.072. STA LKJNG.
     (a) A f)erson commits <m offense if the pe,~·011. 011 mol't! tl,a11 one occcLeio11 and p111:1ua11t to the same scheme or course of conduct tlwt is directed specifically at another 11e1~·011,
     knowingly engage,· in conduct that:
         {/) constitutes 011 q{feme 1111der Section 42.07, or that the actor knows or 1easo11ably should know /he other pe1~·011 1rill 1egard as thl't!ate11i11g:
            {A) bodily i1,j111y or death for tl,e olher pe1:m11;
            (B) bodily h,j111y or death for a member of the other pei:mn'sfamily or household orfor 011 individual wit!, 1rho111 the other J1e1:m11 has a dating relatiomhip; or

                                                                                                 PAGE     47   OF    9~ 6
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       (Q that 011 offense will be commilled against the other pe1l·o11's pmperty;



     (2) ca11ses tl,e other pe1w11, a member of the other pe1w11\ family m· l1011seholcl, or 011 individual ll'ith whom the other person has a dating relationship lo he placed in f ear of
bodily i11j111y or deal/, or in fear Iha/ an offense ll'ill he mmmil/ed against the other perso11'.r pmpe11y, or to.feel ham.tred, a11110J'f!</, ala1111ed, ab11sed, 101111e111ed, emba,ra.~red, or
offended; and


     (3) 11"011ld cnu.m a reasonable pe1:\'011 to:
        (A) fear bodily i1y111y or death for himself or herself;
        (B) fear bodily i1y111y or death .for a member of the perso11'sfa111ily or household orfor an individual ll'ilh whom the pe1:ro11 has a dating relationship;
        (C) fear that 011 offense ll'ill be commilled against the pe1:so11's property; or

        (D) .feel hamssed, a11110yecl, ala1111ed, ab11sed, lorme11ted, embarmssed, or offended.


 (b) An ojJe11se under this section is a felony of the thin/ degree, except that the offense is a felony of the second degree if the actor has previo11sly been convicted of 011 ofJen\"e
 under this section or of an offense 1111der <my of thefol/01Vi11g lamr that co11tai11s elements that are .mbsta111ially similar to the ele111e11ts of an qflense 1111der this sec1io11:
     ( I) the laws of another state;
     (2) the laws of a federally recognized /11dia11 tribe;
     (3) the laws of a ten-ito1y of the United States; or
     (4) fedeml fall'. ...




c_[SS
The term False Repo11 shall refer to one-or-more of the crimes specified in Texas Law (Texas Penal Code,                                                            Title 8. Offenses
Against Public Administration:                                 Chapter 37. Perjury a n d Other Falsification:                                            S 37.08. False Report to
Peace Officer , Federal Special Investigator, Law Enforcement Employee, Corrections Officer, or

Jailer.) [TPeC-T8-C37-§37.08], (Texas Penal Code:                                              Title 9. Offenses Against Public Order and Decency:

Chapter 42. Disorderly Conduct and Related Offenses •                                                      § 42 . 06. False Alarm or Report.) [TPeC-T9-C42-

§42.06], [Texas Penal Code,                            Title 9 . Offenses Against Public Order and Decency•                                                  Chapter 42 . Disorderly

Conduct and Related Offenses•                                 § 42 .0601 . False Report to Induce Emergency Response.) [TP eC-T9-C42-

§42.060 I], or under federal law (18 u. s. Code,                                Part I . Crimes:                  Chapter 47. Fraud and False Statements                                       §

1001 - State-nts or entries generally)                                           (18 - USC-PI - C47- §1001 ] :

      Taxu Pana! Coda•       Title 8 . O f - Againat Pllbllc ~t:Rt..lon •               Oy,pter 37 . Parjury and Other h.l..aUi catioo
      S 31. 08. l'ILlN Raport to Puoe Offioar,        ~ llpecW           InvuU9&tor, Law ~ t l!nlpioy.., Correctiona Off.ioar, or J&ilar
 •    http,,:/ /atat:utu . copitx>J. . taxu . ga,,/Doa,/P&/hm/Pfl. 31.hba

 Sec. 37.08. FALSE REPORT TO PEACE OFFICER, FEDERAL SPEGAL INVESTIGATOR, LAW ENFORCEMENT EMPLOYEE, CORRECTIONS OFFICER, OR JAILER.
 (a) A perso11 cm11111its <Ill oj]ense if. with i11te111 to deceive, he k11mvi11gly makes a fal.fe slllteme11/ that is material to a criminal i11vesligatio11 and makes the state111e111 to:
     (I) a peace officer orjedeml special i11vestigatm· co11d11cti11g the i11vestigatio11;

     (2) any employee of a fall' e1!forceme11/ agency that is authorized by the agency lo co11d11cl the i11vertigatio11 and that the actor k11om1· is co11d11cli11g the i11vestigatio11: or...


      Texaa Pana! Coda•       Title 9 . O f - Against Public Oxdar and Dacwlcy •             O\apter 42 . 01-oJ:darly Clcnm>ct and Raallod OffenNa
      S 42 .06 . l'aJ.M Al.um or Rop,rt              S 42 . 0601 . l'alM l'lllport to :im- !argar,cy ~
      httpa : //a tatut.a . a.pit:ol . buu. gav/00<:a/Pfl/hm/PE. 42 . htm

 Sec. 42.06. FALSE ALARM OR REPORT.
 (a) A pc1~-m1commits an offcnse if he k11owi11gly i11itiate1·, co1111111111icates or circulates a repo11 of a present, past, orf11t11re bombing, .fire, ojJe11se, or other emergency that he
 knows isfalse or basele.~ and tha1 ll'011/d mrli11arily:
     (/) cause action by 011 of/kial or vohmteer agency organized lo deal wilh emergencies;
                                                                                        PACE     48   OF    9~6
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         (2) place a person in fear <if i111111i11e11t se1io11s bodily i11jwy; or
         (3) prevent or i11te1111pt 1/,e occupation <if a building, mom, place of assembly, place ta 11-hicl, tl,e public l,a.s acc£•s.1·, or ain-raft, automobile, or otl,er mode of co11vey<111ce.


Sec. 42.0601. FALSE REPORT TO INDUCE EMERGENCY RESPONSE.
(a) A pe,~·011 commiI.I' au offe11se if:
         (/) tl,c pe1:ro11 111ake.s a report of a cri111i11al offense or an enreigency or causes a l'e/JOl1 of a cri111i11al offense or 011 c111e1gc11cy lo l,e mllcle loll pellCC ojficcr, low c1iforcc111e11I
age11cy, 9-1-1 se111ice as defi11ed by Sectio11 771. 00/, Health 011d Safely Code, official or vol1111teer age11cy orga11ized to deal 11•il/1 emerge11cies, m· a11y otl,er govemme11tal
 employee or co11/raclor wl,o i.l' au//wrized to receil-e repm1s of a crimi11al offe11.l'e or emerge11cy;
         (2) tl,e person k11011'.I' tl,ot //,e reporl is false;
         (3) tl,e report causes £111 eme1ge11cy respo11sefmm a loll' e11forceme111 oge11cy or otl,er eme1ge11cy respo11der; a11d
         (4) i11 moki11g the 1-epmt or ca11.l'i11g //,e repor/ lo be mode, //,e perso11 is reckle.ts wit/, regard to 11'/,e//,er the eme1ge11cy 1-e.111011se by a law e1ifrm:e111e11/ age11cy or otl,er
 eme1ge11cy respo11der may dil-eclly res11/I i11 bodily i11jwy lo 01101/,er pe1;m11. ...


 •        18 U.S . ccc»•      Part I. Cr1- •         O\epter n . Fraud and Falae S t a - t a         S 1001 - S t a - t a or anb:1- -ally
 •        httpa : / /www. law. ooxnell . adu/UIOO<le/ taxt/18/ 1001

 (a) Excepl a.I' otl,e1wise pmvided ill //,is sectio11, ll'hoever, i11 a11y mal/er ll'i//,in //,e jwisdiclion of tl,e executive. legis/otive, orjudiciol bm11d1of !he Govemwen/ of the Uuited
 Stales, k11oll'i11gly a11d ll'il!fulfJ~
         (/) falsifies, conceal.~. or cove1:'I up by cmy trick, scheme, or device a material ft1ct;
         (2) makes a11y materit1/ly false, fictitiou.l', orfm11d11/e111 s/ateme111 or reprr:se11totio11; or
         (3) makes or uses m1y false 11riti11g or docume11t k11oll'i11g tl,e some lo co11tai11 a11y materially false, flctitiou.l', orfm11d11le11t stateme111 or e11hy; ...




91: 5 6
The terms Impersonator Making Arrest or Search and Impersonating Public Servant shall refer to the crimes specified under Federal law
 (18 U. S . Code =                      Part I . Crimes •                 Chapter 43 . False Peraonation                                  § 913 - Impersonator making arrest or

search] [1 8-USC-P I-C43-§913] and                                (le u. s . Code:                Part I . Crimes=                      Chapter 43 . False Personation                               § 912 -

Officer or employee of the United States) [18-USC-PI-C43-§9 12] and the felony crime under Texas law, (Texas Penal
Code:              Title 8 . Offenses Against Public Administration•                                                        Chapter 37 . Perjury and Other Falsification•

     §     37 .11 . Impersonating Public Servant] , [TPcC-T8-C37-§37.1 l ), respectively:

 •         18 U.S . COda•      Part I . ~        •   Olaptu 43. Fal• l'Olrllonation       S 913 - Dq,u,lonator ..ting anMt or ..atth•
 •         httpa: / / -. law. cornall . ea,/UIOO<le/taxt/18/913

     Wl,oeverfolsely l'Cprese11/s 1,imself to be t111 officer, age111, or employee of tl,e U11ited Stt1tes, aud i11 .l'11cl, assumed cl,amcter arrests or detains a11y pe1:'lo11 or i11 m,y mmmer
 semr:l,e.1· the pe1;m11, lmildi11gs, or otl,er prope11y of 011y perso11, sl,al/ be fined 1111der tl,is title or impriso11ed 110/ more 1/,a11 t/11-ee yea1s, or both.


           18 U.S . ccc» •     Part I. Crimu•         O\epter 43 . Fala i.acnation        S 912 - Of'fiou or -lo:.- or the l.lnilled Stataa •
           httpa : / 1 -. law. comall . e&,/UIOO<le/i-t:/18/912

     IYl,oeverfal.l'ely assumes or p1-,:te11d, lo be a11 officer or employee acti11g under //,e autl,mity of tl,e U11ited Stales or a11y depanme11/, age11cy or officer //,ereof. a11d ac/.1· as sue/,,
 or i11 such prete11ded cl,aracter demand, or obtains m1y money, paper, doc11111e11t, or 11,i11g <if value, sl,alf be fl11ed 1111der thi.1' title or imprisoned 110/ mm-e 1ha11 three yeo1:v, or
 both


 •         T a u ~ <lode•           Title 8 . O f - Againat l'Ubllc -..U.tration•               O>optar 37. 1'orjury er,d Other Fal.eUioation•           S 37 . ll . Iq>anonating Public s.rvant
           httpa : //atAb.ltaa .oapitx,l. - .. gov/Doce/Pll/htm/PE, 37 .htm

 Sec. 37./ /. IMPERSONATING PUBLIC SERVANT.
 (a) A perso11 commits 011 off'e11se if the perso11:
          (I) impe1so11a/es a public se111011/ 11•itl, inte/11 to i11d11ce a11other to submit to //,e perso11'., pretendetl ojjicial 0111/,ority or to rely 011 tl,e perso11'.1· pretended official acts; or

                                                                                                 PACE     49   OF    9 56
                                Case 1:23-cv-01223-RP Document 1 Filed 10/10/23 Page 50 of 944
                                                                    S J OOH AR7H    KODE    V.     WJ LLIAHSOU      COUflTY ,    ET     AL.                                                   1 696901690

     (2) knoll'ingly p11171011s lo exercise. ll'i/hout legal authority, anyjimction of a public se1va11t or of a public office, including that <?fa judge and court.
 (b) A11 offense 1111der this .1·ectio11 is afelm1y of the thin/ degree.




i57
The term Criminal Conspiracy shall refer to the crime specified in Texas Law (Texas Penal Code 1                                                         Title 4 . Inchoate

Offen••• •             Chapter 15 . Preparatory Offen••••                                    S 15 . 02 . Criminal Con spiracy .] [TPeC-T4-C I 5-§15.02]. Person(s)

that commit the crime of Criminal-Conspiracy are also liable under Civil Conspiracy. However, even when a Criminal-Conspiracy does not

exist, Civil-Conspiracy can still exist when there exists a conspiracy of action(s) that caused harm/damages. It is crncial to emphasize that the

"agreement" ("meeting of the mi11d5') of such conspiracy need not be recorded in any evidence, but instead "may be i1iferredfro111 acts of the

parties".

      Tuu l'lonal. Coda•       TiU. 4 . Inchoata Off•--•            Qwpt>ar 15. ~ t o , : y O f f - •      S 15 .02 . Cdal.nal 0lNplncy
 •    httpa : //■tAbJbu . eapitx>l. . lllDc&■ .CJOV/Doal/l'E/hi.'l'E. 15 . hta


 Sec. 15.02. CIUMINAL CONSPIRACY.

 (a) A person commits criminal conspiracy if. ll'ith i11/e11/ that a f elony be commilled:
     { I) he agrees ll'ith 011e-oic,1101¥! persons that !hey or m1e-oic,1101¥! of !hem engage in conducl Iha! 11Ymld co11stit11te !he offense; and

     (2) he or one-or-more <if them pe1fom1s an ove11 acl in p111:wm1ce of !he agreeme/11.

 {b) A11 agree111e11t c,mstilllliug " compirocy 11/(I)' be ill/em?.</from "els ofthe pm1ies.
 (c) It is 110 defense lo pro.1¥!c11/io11 for criminal conspiracy that:
     (I) one-or-more of the cocom11iral01:, is 1101 crimi11al6• respo11.1·ible for the object <iffe11se;

     (2) 011e-01°more of !he coco11spimto1:, has been acquilled, so long as /11-0 or more coco11spira/01:, hove 110/ been acq11i1ted;

     (3) one-or-more of the wco11spirato1:, has 1101been prosecuted or convicted, has been co11vicled of a different offense, or is imm11nefm111 prosec11tio11;

     (4) the actor belongs to a cla.~1· rif pe,:wms that /Jy defl11itio11 of the object offense is legally incapable of co111milli11g the object offense i11 an i11dii•i<l11al capacity; m·

     (5) the object offense 11-a.r actually commilled. ...




i58
The terms Assault and Teno1istic Threat shall refer to the violent crimes specified in Texas Law (Texas Penal Code :                                                                 Title 5 .

Offenses Against the Person :                                   Ch pter 22. Assaultive Offenses]                                [TPeC-T5-C22-§22.0l],[TPcC-T5-C22-§22.07]:
 •    '1'exu l'lanal Coda •    TiU. 5 . Of-■ llgain■t the hnon•                    Oiapt>ar 22. -ulUvw Off--■
 •    httpa: / /■t■tut-■ . capitol . -■ .ga,,/Doal/PB/hi.'PB. 22 . hba


 Sec. 22.01. ASSAULT.
 (a) A person commits 011 offense if !he pe1w11: ...
     (2) i11/e11tionally or knoll'i11gly tl11r!alens another wilh imminent bodily i1if111y, inc/11di11g the pe1~011'.1· spome; or ...


 Sec. 22.07. T£RIIOR1STtC THIIEA T.
 (a) A pe,~·on commits an offense if he llm:alens to commit any offense i11volvi11g violence lo a11y pe,~·011 or pmpe11y with intent to:
     ( I) cau.w: a reaction of any IJ'l}e to his threat by w1 official or volunteer agency organized to deal 11'ith emergencies;

     (2) place m()' person in fear of imminenl seliom bodily ilifwy; ...




                                                                                            PAGE   50    or   956
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159
The term anti-SLAPP shall refer to any law (federal, state, or local) that protects against Strategic Lawsuit Against Public Pa1t icipation -

specifically the right to Constitutional speech that is "matter ofpublic co11cem", the right of association towards "maf/er ofpublic concern",

and the right to petition - such as the law originally from the [Texas Citizen s Participation Act] ([TCPA]) that is codified within
 [Texas Civil Practice and Remedies Code ,                                              Title 2 . Trial , Judgment, a nd Appeal:                                    Subtitle B . Trial

Matters •            Chapter 27 . Action ■ Involving the Exercise of Certain Constitutional Rights . ]                                                                          [TCPaRC-T2-SB-

C27):

     'l'uu Civil Pr.ct.ice and -                 Code •   Tit.i. 2 . Trial, Jlxt,.nt, a n d ~•          SUbtitle B. n:J.al. Nattaro •
     Chapter 27 . Actiona Invo1ving the Eurciae of out&in Clonatitutional. Ri9hto •
 •    http : / /ot&tut:es .capitx>1. ta,au . gc,v/Doa/CP/hta/CP. 27 . hta


 Sec. 27.00/. DEFINITIONS.

 /11 !his chap/er:
 (I) "Comm1111icalio11" i11d11de.1· lhe making or s11bmilli11g of a .1·/aleme11t or doc11me11/ i11 a11y/01111 o,· medium, i11clutli11g oral, 11isual, mitten, a11dio11isual. or elec/rrmic.
 (2) "Exerci.l'e of 1he rig/,/ of as.vocialio11" mean.I' lo joi11 toge//,er lo collecli1•ely express. pmmote, pm-sue. or defend common i11terest.1· n!lati11g to a go11emme111a/ proce<!fli11g or a
 ma/fer ofpublic concern.
 (3) "Jfrercise of tl,e rig/,/ off,V!e speecl," means a co1111111mica1ion made in co1111eclio11 wit/, a ma/fer of public co11cem.
 (4) "Exercise of //,e rig/,/ lo pelilion" means a11y of tl,e Jolloll'i11g:
     (A) a co1111111111icatio11 i11 or pe1tai11i11g to:
        (i) a judicial proceeding;
        (ii) an official proceetling. otl,er //um a judicial proce<!iling. lo administer //,e loll';

        (iii) 011 executi11e or otl,er proceeding before a depa1tme111 of 1/,e state orfederal govemme11/ or a subdivision of tl,e stale orfederal govemment;

        (i1') a legislatil'e proceeding, including a proceeding ofa legisla1i11e co111111i11ee;
        (v) a proceeding hef01¥! <111 enlily tl,m requires by 111/e Iha/ public notice be gi11e11 before proceeding.~ of that entity;
        (vi) a proceeding in or bejo1¥! a managing boanl of ,111 ed11catio11al or elee1110.l'y11my i11stit11tio11 supported di1¥!ctly or i11di1¥!clly fmm p11blic mve1111e;
        (vii) a proceeding of the govemi11g botlj><if a11y political sulxlillision of /!,is slate;
        (viii) a 1¥!port of or debale and s/aleme11ts made i11 a pmceedi11g described by Subparagraph (iii). (iv), (11), (11i). or (vii); or
        (ix) a public meeting dealing with a public p11171ose, including .rlalements and discussions at lhe 111ee1i11g or other mailers ofpublic co11cem occurring at the meeting;
     (BJ a co1111111111icatio11 i11 co1111ectio11 with a11 issue under co11sideratio11 or re11iew by a legislati11e, executi11e, judicial, or other govem111e111a/ hoc61 or i11 another gove/'11111e11tal or
 official proceeding;
     (C) a com1111111icalio11 1ha1 i.1· rea.w11ahly likely to e11coumge consideration or review~( a11 issue by a legislative, ereculi11e, judicial, or otl,er govemmcmta/ body or in another
 govemmenlal or oJlicial proceeding;
     (DJ a co1111111111icalio11 reaso11at,/y likely 10 en/isl public pa,ticipalia11 in 011 effm1 to effecl consideration of 011 issue hy a legis/a1i11e, erecutive, judicial, or other govem111e11tal
 bo<6• or in 0110/her gove111111e11/a/ or official pmceeding; and
     (E) any o//,er co1111111111icatio11 1ha1 falls within /he pmlectio11 of the right to petition go11em111e11/ under lhe Co11.1·1itulio11 oflhe United Simes ar the comtit111io11 of this state.
 (5) "Gove/'11111e11tal pmceeding" means a pmceedi11g, other 1/1011 a judicial proceeding, by an office,; official, or botlj•of this slate or a political subdivi.,·ion of tl,is slate,
 including a board or co111111issirm. or by <Ill officer, official, or ho<lj>of the federal go11e111111e11t.
 (6) "legal aclion" means a lawsuit, cause ofactio11. pelition, co111plai11I, cmss-claim, or ca1111terclai111 or a11y otherjudicia/ pleading orfili11g 1hat 1w1uests legal, declaralmy, or

 equitable relief. The tem1 does 1101 include:
     (A) a procedural aclion taken or motion made i11 a11 action thal does 1101 amend or add a claimjor legal, equilab/e, or declarato1y relief;
     (BJ altemati11e dispule resolutia11 proceedings; or
     (CJ posl-judg111e111 e1,force111e11t al'lio11s.
  (7) "Matier ofp11blic co11cem" means a sta/e111e11I or ac1i,1ity 1¥!gardi11g:
     (A) a public official. public figure, or other person ll'ho has dm1111 subs/011/ial public al/e11tio11 due to the person'.~ official acts, Jame, notorie~1•, or celeblily;
     (BJ a ma/fer ofpolitical, social, or other interest to /he co1111111111ity; or
     (CJ a subject of co11ce111 to the public.

                                                                                           PAG£    51    Of     9~6
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 (II) "Q[ficial proceeding" mem,., any type of administrative, executive, legislative, orjudicial proceeding that may be conducted before o public se111a11t.
 (9) "Public se111a11t" meam a perso11 elected. selected, appai11ted, employed, or othe,wise desig11ated as 011e of thefol/owi11g, even if the pci,•011 /,as 1101 yet qualified far office or
 a.tmmed the perso11'.f duties:
   (A) <m officer, employee, or agent of govcmme11t;
    (BJ ajwvr;
    (C) 011 arbitrator, referee, or other pe,~011 who is a11th01iz~I by law or private mille11 ogreeme11t to hear or detem1i11e a cause or co11tmve1~y;
    (D) 011 ol/omey or 110/my public ll'he11 pwticipoti11g i11 the pe1fon11a11ce of a govemme11ta/ f1111ctio11; or
    (E) a pe,~·011 ll'ho is pe1fm111i11g a gove111111e11to/ f1111ctio11 1111der a claim of right but is 1101 legally qualified lo do so.


 Sec. 27.002. PURPOSE.
 The p11171ose of this chapter is ta e11crmroge and safeguard the comtitutin11al rights of pe1~·011s to petitio11, speak freely, associate freely, and olhe1wise pm1icipate i11 govemmeut
 to the 111ririm11111 erte11t pem,illed by lmv and, al the same lime, protect the rights of a person to file 111erilorio11s lm,~·uits for de111011stroble i11j111y. ...




The terms Prope,ty Owners Association or Homeowners Association (HOA] shall refer to the institution-of-power that is formally defined

in the [TP rC] and that, in addition to be ing subject to the other applicable State/Federal laws mentioned in this lawsuit, is also prohibited by the

[T PrC] from acting in an "arbitrmy, capricious, or discri111inato1y" manner. Additionally, a [HOA] cannot prohibit/restrict property-owncr(s)

from certain activities/improvements including, but not limited to: "solid-waste composting", "rain barrels or a rainwater harvesting :,ystem",

"drought-resistant landscaping or water-conserving natural t111_f' (,j,) , "t111f or landscaping design that promotes water conservation" (,j,) ,

"security camera, motion detector, or perimeter fence":
     Tuu Property Coda•           Title 11. Reat:rlctiw co-ianta . OW'l'l!R 202. CloNluuction and llinfo,:,-,t of - i c t i w co-ianta.
     httpa: / / atat::ut:o .capitol. - . .<JOV/r,oca/W,/ht;a/PP.. 202. hta

 Sec. 202.00/. DEFINITIONS.
 /11 this chapter: ...

 (2) "Pmperly owners' associalio11" means <m i11c017101·t1ted or 1111i11cmporoted <1.tmciotio11 mmed by or whose members consist primarily of the owners of the pmperty co1•ered by
 the dedica101y imlrumen/ and tl11v11g/1 1rl,ich the 011-,,e,~·. or tl,e boairl of direclors or similar governing bot(Y, manage or regu/a/e the residential subdivision, pla1111ed unit
 developme11/, co11domi11i11m or tow11/ro11se regime, or similar pla1111ecl developme11t ...




 Sec. 202.004. ENFORCEMENT OF RESTRICTIVE COVENANTS.
 {a) A11 ererdse of discretio11a1y authority l,y a pmperty 011-,,e,~·• association or other representative designated by 011 mmer of real pmperty co11cemi11g a restrictive cove110111 is
 presumed reasonable unless tl,e court de1e1111i11es by a prepo11dem11ce of the e11ide11ce that the exercise of discre1io11a,,, authority 1ms m·bitm13•, a1p1icio11.~ or rliscri111i11ato,y ...


 Sec. 202.007. CERTAIN RESTRICTIVE COVENANTS PROHIBITED.
 (o) A pmperty Oll'//ers' ossocialio11 may 110/ i11clude or e11fmr:e a pmvisio11 i11 a dedicalmy i11s1n1111e11t 1h01 pmhibils or restricts a pmpe11y onnerfivm:
    ( I) impleme111i11g 111e<1s111rts l"v11wti11g .w1/id-11riste m111po.11i11g of vegetatio11, i11cl11di11g gross clippings, leaves. 01· b111s/1, or leaving grass clippings 1111collected 011 gross;
    (2) i11stalli11g mi11 band, or a 1r1immler Ium'esfing system;

    ( J) impleme11ti11g efficie11I inigalio11 SJ'!llems, i11cl11di11g 1111derg,v1111d drip or other ,/rip systems; or

    (4) using dm11gI1t-resi.11a11f lamlm 1pi11g or llftfl!l'-co11sen1ing 11at11ml turf


 (b) A pmvisio11 that violates S11bsectio11 (a) is void ...


 (<0 This section does 1101: ...

    (5) reslricl a p1vpe11y o,merx' associatio11 fmm 1rtg11/ati11g yard 011d lm,d,cope mai11te11a11ce !f the re,trictio11s or req11ilrtme11ts tlo 1101 1mttict or p1vhibif tm:for l111ul,mpi11g
                                                                                           PAGE    52    OF    956
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 desig11 tl,111 pmmotes nu/er co11se1mtio11; ...




 Sec. 202.023. SECURITY MEASURES ...

 (b) Except m· pmvided by Subsection (c), a 111vpe11y m,ne,~·• association may 1101 adopt m· e1iforr:e a restrictive co1'eua11t that preve11ts a property mmerjivm buildi11g or
 i11s1al/i11g security meruures, i11c/11di11g b11t 1101 limited ta a secm11y camero, 111otio11 tle/ector, or /11!171111!/er feJ1ce ...




9161
The terms Texas-Public-Nuisance-Law or simply Public-Nuisance-Law or simply Public-Nuisance shall collectively refer to the law

specified in:



® (Texas Health and Safety Code :                                      Title 5 . Sanitation and Environmental Quality :                                Subtitle A .

Sanitation :              Chapter 343 . Abatement of Public Nuisances) , ("[THaSC-T5-SA-C343)"); and

@ (Texas Health and Safety Code :                                      Title 5. Sanitation and Environmental Quality •                                 Subtitle A .

Sanitation•               Chapter 341 . Minimum Standards of Sanitation and Heal th Protection Measures] , ("[THaSC-T5-

SA-C34 1]")



- but with some of the key terms used in [THaSC-T5-SA-C343],[THaSC-T5-SA-C341] also defmed in:

© (Texas Health and Safety Code•                                       Title 5 . Sanitation and Environmental Quality•                                 Subtitle B . Solid

Waste , Toxic Chemicals , Sewage, Litter, And Water •                                                     Chapter 365 . Litter) , ("[THaSC-T5-SB-C365)").




9162
T he terms Private Property Maintenance Laws or simply Prope11y Maintenance Laws shall collectively refer to both the Public-Nuisance-

Law and the restrictive-covenants (if any) of a neighborhood/subdivision.




9163
The term pesticide shall include any herbicide, insecticide, fungicide, bactericide, rodenticide and/or other chemical poison used to kill intended

pest(s). According to the plaintiff's limited knowledge and understanding, some synthetic/chemical fertilizers also serve the dual-purpose of

being a pesticide and chemically-induced fertilizer. According to the plaintiffs limited knowledge and understanding, the use of pesticides and

synthetic/chemical fertilizers tends to sterilize the landscape/soil, even killing beneficial species such as beneficial soil bacteria/microbes/ fu ngi,

beneficial insects, beneficial vegetation, and beneficial animals (such as lizards, frogs) - all of which contribute to beneficial bio-diversity and/or

mitigate the damage caused by floods and/or deter soil-erosion and/or retard fires and/or detoxify the environment and/or organically-improve

soil fertility and/or consume unwanted pests and/or provide other benefits to the overall health of the environment. One-or-more courts of the

United States have ruled that certa in widely-used pesticides are a probable cause of cancer and/or Parkinson's disease and/or organ-failure

and/or other debilitating/crippling/terminal disease(s). T he statistics of the Unites States show that approximately one-out-of-two American
                                                                                            PAC£     53   OF    9 S6
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                                               SIDllrlARTll   KODE           IHLLJAHSON      COU!l1"i   ,   £1'   AL.                        1696907690



males and approximately one-out-of-three American females contracts some form of cancer at some stage in their life, with extremely-large

exposure to chemicals including, but not limited to pesticides, being a significant cause of such debilitating/crippling/terminal disease. Even in

cases were some pesticides have not been detennined to be a known cause of such debilitatlllglcrippling/tenninal disease, such pesticides may

cause serious injury or death to humans; for example, cyanide - a common ingredient in some pesticides used to kill insects and rodents - is

also extremely poisonous to humans. Such Courts have even awarded/approved large monetary judgments/settlements to some plaintiffs

injured by exposure to such pesticides. A person1 s use of such pesticides where others and/or the property-of-others are inadvertently exposed

to such pesticides is thus, indisputably and at a minimum, a violation of Texas-Public-Nuisance-Law [THaSC-T5-SA-C341-SB-§341.0l 1(12)].

(For example, some person(s) may be growing vegetables meant for human-consumption on such person(s)' property; neighboring resident(s)

who use such pesticides on their property may be greatly exposing the humans who consume such vegetables to extremely-poisonous and/or

disease-causing pesticides.) The use of pesticides and synthetic/chemical fertilizers not only causes toxic chemical-pollution to the land on

which such pesticides are applied and the surrounding land, but also the runoff from such chemicals causes unmitigated chemical-pollution and

toxification of low-lying bodies of water (lakes, ponds, rivers, streams, seas, oceans), which in turn results in great harm (poisoning, diseases,

deformities, death) to aquatic life. Finally, it is well known that there is a racial divide in the use of pesticides, with the overwhelming majority

of indigenous peoples around the world not only never using any pesticide(s), but also strongly-opposed to all use(s) of pesticide(s) as a

common-sense, public health-and-safety policy and environmental-protection policy. While the human body has at least hundreds-of-

thousands-of-years ofevolutionaiy defense mechanisms and/or immunity (particularly, the human immune-system) substantially-protecting

both the human body from ordinary biological nuisances, the human body has little-to-no defense mechanisms and/or immunity, from the

artificial, extremely-toxic, manufactured chemicals that are used in such pesticidc(s). ln most, if not ahnost-all, cases when there exists

biological pest(s) that are an alleged "threat" to the overall environmental-health, there also exist predators of such pest(s) that naturally

consume and/or kill such pest(s), thus eventually mitigating, if not eliminating the alleged "threat" posed to the environment by such biological

pest(s). For these reasons, the plaintiff, like most environmentalists and indigenous-peoples, asserts that any-and-all use of such pesticides is

clearly a case where the so-called ''solution" is exponentially-worse than the original 'Problem 11.




':[64
The term grcenwashing shall refer to the fraudulent practice by people, organizations and/or governments of presenting themselves as

environmentally-friendly and progressive to downplay their actual wasteful and destructive behavior(s)/action(s).




<[65
The terms vegetation and vegetable grnwth or matter shall only include any-and-all vegetable/plant matter that is not narcotics related. The

plaintiff i,; fully aware that there are anti-narcotics laws that prohibit, restrict and/or regulate the growth of plants used to generate narcotics and

other controlled substances, and that there may ve1y-well be a legitimate and compelling-state-interest to prevent citizen(s) from growing such

narcotics in-order-to prevent harm to society. So, any refercnce(s) in this lawsuit to Constitutional freedom(s) to grow vegetation (for example,

as a Constitutionally protected religious-practice and/or other fast-amendment-right) shall only refer to the freedom to grow vegetable/plant

matter that is not narcotics related. The plaintiff will only reluctantly use the term weeds in this lawsuit because this term is very vaguely

defined in Texas public-nuisance-law (see below), but more importantly, because the usage of this term - along with related terms
                                                                     PAGic   S4   OF   9~0
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overgrown/overgrowth - do not represent a world-view - especially the cultural/religious views/values/practices of at least some, if not most,

Eastern religions and most people-of-color (especially indigenous-peoples) around the world (see section below).




<.[66
The term off-grid lifestyle shall mean a person's minimalist lifestyle of living without one-or-more of the fo llowing: electric-utility-service,

water-utility-service, garbage/recycling-collection-utility-service, internet-utility-service, housing/shelter, purchased-food, purchased-drinking-

water. It is well-known by all parties involved in this case that the overwhehning majority of indigenous-peoples around the world live an off-

grid lifestyle. It is well-known by all parties involved in this case that at least some (non-zero) fraction of residents of the State of Texas

(including, but ce1tainly not limited to, homeless people) live an off-grid lifestyle. Living an off-grid lifestyle is thus, indisputably, a

constitutionally protected religious practice and/or other first-amendment-protected right. The government cannot force a person to live any

li festyle that such person is religiously/politically opposed to, and fmihermore, the government obviously ca1mot force a person to pw·chase

product(s) and/or service(s) that such person cannot afford to pay for, because suc h conduct would a lso infringe on such person's other

Constitutionally-protected rights such as the fundamental due-process right to privacy, the fundamental fourteenth-amendment ( 'A" ) right to be

free from discrimination and the fundamental eighth-amendment right to be free from cruel-and-unusual-punishment. No part of the laws of the

United States and no part of the laws of the State of Texas (including the Public-Nuisance-law) in any way criminalizes or penalizes a person's

fundamental right to live an off-grid lifestyle, and furthermore, any attempt made, whether-or-not "under color of law", to deprive a person of

such off-grid lifestyle is, thus, a clear violation of such person' s civil-rights.




«.II 67

The term zero-waste lifestyle shall mean a person's minimalist lifestyle of living by consuming as-little-resources-as-possible, and generating

as-little-waste-as-possible. It is well-known by all parties involved in this case that the overwhehning majority of indigenous-peoples around the

world live a zero-waste lifestyle. It is well-known by all parties involved in this case that at least some (non-zero) fraction of res idents of the

State of T exas live a zero-waste lifestyle. Living a zero-waste lifestyle is thus, indisputably, a constitutionally protected religious practice and/or

other first-amendment-protected right. The government cannot force a person to live any lifestyle that such person is religiously/politically

opposed to, and furthermore, the government obviously cannot force a person to purchase product(s) and/or service(s) that such person cannot

afford to pay for, because such conduct would also infringe on such person's other Constitutionally-protected rights such as the fundamental

due-process right to privacy, the fundamental fourteenth-amendment ('A" ) right to be free from discrimination and the fundamental eighth-

amendment right to be free from cruel-and-unusual-punishment. No pai1 of the laws of the United States and no part of the laws of the State

of Texas (including the Public-Nuisance-law) in any way criminalizes or pena lizes a person's fundamental right to live a zero-waste lifestyle,

and furthermore, any attempt made, whether-or-not 111111der color of law", to deprive a person of such zero-waste lifestyle is, thus, a clear

violation of such person's civil-rights.




«.[68
The term anti-consume1ist lifestyle shall mean a person' s minimalist lifes ty le of living by consuming as-little-resources-as-possible for political

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and/or religious reasons. For example, a person may have strong moral and/or religious opposition to the economic-system and/or consumerism

and/or consumer-capitalism ( .$ ) , and as such, may desire to boycott the purchasing of product(s) and/or service(s) as a way to refrain from

participating in those immoral and unjust system(s). It is well-known by all parties involved in this case that some (non-zero) fraction of people

around the world, including some (non-zero) fraction ofresidents of the State of Texas, live an anti-consumerist-lifestyle. Living an anti-

consumerist-lifestyle is thus, indisputably, a constitutionally protected religious practice and/or other fu·st-amendment-protectecl right. The

government cannot force a person to live any lifesty le that such person is religiously/politically opposed to, and furthermore, the government

obviously cannot force a person to purchase product(s) and/or service(s) that such person cannot afford to pay for, because such conduct

would also infringe on such person's other Constitutionally-protected rights such as the fundamental due-process right to privacy, the

fundamental fourteenth-amendment <* ) right to be free from discrimination and the fundamental eighth-amendment right to be free from

cruel-and-unusual-punishment. No part of the laws of the United States and no part of the laws of the State of Texas (including the Public-

Nuisance-law) in any way criminalizes or penalizes a person's fundamental right to live an anti-consumerist-lifestyle, and furthermore, any

attempt made, whether-or-not "under color qf law", to deprive a person of such anti-consumerist-lifestyle is, thus, a clear violation of such

person's civil-rights.




169
T he term subsistence lifestyle shall mean a person' s minimalist lifestyle of living by consuming as-little-resources-as-possible - including, and

in particu lar, food and water - as a racial, religious and/or cultural value and/or practice. It is well-known by all parties involved in this case that

a majority of indigenous-peoples around the world live a subsistence-lifestyle. Living a subsistence-lifestyle is thus, indisputably, a

constitutionally protected religious practice and/or other first-amendment-protected right. T he government cannot force a person to live any

Lifestyle that such person is religiously/politically opposed to, and fu rthermore, the government obviously cannot force a person to purchase

product(s) and/or service(s) that such person cannot afford to pay for, because such conduct would also infringe on such person's other

Constitutionally-protected rights such as the fundamental due-process right to privacy, the fundamental fourteenth-amendment <* ) right to be

free from discrin1ination and the fundamental eighth-amendment right to be free from cruel-and-unusual-punishment. No part of the laws of the

United States and no part of the laws of the State of Texas (including the Public-Nuisance-law) in any way crin1inalizes or penalizes a person's

fundamental right to live a subsistence-lifestyle, and furthermore, any attempt made, whether-or-not "under color qf law", to deprive a person

of such subsistence-lifestyle is, thus, a clear violation of such person's civil-rights.




170
T he terms defamation (noun) and defame (verb) and defamatory (adjective) and defamatorily (adverb) shall also include within its

de finition, any types of libel and/or slander and/or false-light.




171
The term blue wall of silence shall refer to any government employee(s)/official(s)/officer(s)/agent(s) or larger group of such person(s)

remaining-silent-about and/or failing-to-acknowledge/admit and/or failing-to-report misconduct of other government
                                                                       PAGE   S6    OF    9~6
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employee(s)/official(s)/officer(s) despite their knowledge of such misconduct. The term is not limited to police officer(s) and can also include

entire offices/departments/agencies/divisions/districts of governments such as the Prosecutor's Office, Constable's Office, Sheriffs Office, the

Health Deparhnent/Dish·ict, etc. When such government employee(s)/official(s)/officer(s) are involved in a criminal conspiracy or racketeering-

enterprise which could also include other non-govenunental private-citizen(s), then, at least under these limited circumstances, the Blue-Wall-

Of-Silence should be considered similar-to, analogous-to, or synonymous-with "Omerta" - the code of silence usell by the mafia and/or otl1er

organized-crime. However, the Blue-Wall-Of-Silence also includes the silence of well-meaning government-employees that, despite of their

good intentions, are still unwilling to report their co-workers'/superiors' misconduct due to:

® fear of retaliation ; AND
® fear of being deemed a "rat" - Internal-Affairs-Department often being derogatorily referred to as "rat squad"; AND
© the str ict military hierarchy of government organizations that inferiors/rookies can never question/challenge the authority of their
superiors/seniority.



In-order-to reduce or eliminate the possibility ofa Blue-Wall-Of-Silence, police deparhnents and other government agencies need to implement

and enforce a strict, Zero-Tolerance, Duty-To-Report policy such that government employee(s)/official(s)/officer(s) that knowingly remain

silent about their colleague(s)'/superior(s)' misconduct will also face negative consequences due to their silence. Such agencies also need to

implement and enforce strong whistleblower protections and incentives so that such government e mployee(s)/official(s)/officer(s) that do report

such misconduct can do so safely and without any fear of retaliation.




172
T he term Property Rights of Citizens or (42-USC-C21-SI-§ 19821, Section 1982, or ICRAo18661:§1982 sha ll refer to any civil lawsuit

brought against any person(s) (with any municipal-corporation or agency-of-municipal-corporation considered a ''person '1 for violations of

property-rights-of-citizens as enacted by the (Civil Rights Act of 1866] , ("[CRAol866]"):
 •    42 O. S. Coda •   Oloptar 21 . Civil Righto •    SUbchlptar I . Glonerally•       S 1982 - Pn,perty rlghto of cit.l.AN
 •    httpe: / / -. law. oornell . edu/uaoode/ ta,ct/'2/1982


 All citizens of the United States shall have the same right, in eve1y Stale and Ten-ito,y, as is enjoyed by while citizens thereof lo inherit, purchase, leare, sell, hol<I. and cam•ey
 real and personal proper(y.




173
The term Equal 1ights under the law or f42-USC-C21 -SI-§1981 I, Section 1981, or ICRAo 1866):§1981 shall refer to any civil lawsuit

brought against any person(s) (with any municipal-corporation or agency-of-municipal-corporation considered a ''person') for violations of

equal-rights-under-the-law as enacted by the (civil Rights Act of 1866] , ("[CRAo l 866]"):
 •    42 U. S . Coda•   O\aptar 21 . Civil Righta•     SubcNptar I. Gonarally•          S 1981 - Equal righta unmr t:ha aw
 •    httpe: //www .law. oomall .edu/uaoode/ta,ct/42/1981

  (a} Stale111e111 nfequal rights
     All persons within the jurisdiction of the United Stales shall have the same right i11 e11e1y State and Ten-i101y In make and c11forr:e co11tracts, to sue, be parties, give evidence,
  and to the full 011d equal be11ej)I of all 101111· and pmceedi11gsfnr the security ofpe1:m11s and prnpe11y as is enjoyed by white citizens, 011d shall be subject In like pu11ishme111.
  pains, penalties, /cires, licenses, 011d e.racli<ms of eve1y kind, and In no other.


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 (b) "Make and enforce contmets" defined
     Forp11171oses of thi,1· ,\'ectim1, the term "make and enforce contmcl.\'" inclucles the making, pe1fm111cmce, modification, and le11ninatim1 of contmcts, and the e1yoy111enl ,if all
 benefits, privileges, tenns, and conditions of the controcll/ol relationship.


 (c) Protection against impaim,enl
     The rights pmlected by thi., section are pmtected against impai1111en/ by nongovemmental discrimination and impairment under color of Stole low.




<_[7 4
The term Civil action for deprivation of rights or f42-USC-C2 l-SI-§1983), Section 1983, or IKKKAl:§1983 - the civil analog to criminal

law specified in [1 8-USC-PI-C l3-§242] (see above) - shall refer to any civil lawsuit brought against any person(s) (with any municipal-

corporation or agency-of-municipal-corporation considered a 'jJerson '1 for violations of Constitutional-Rights and/or Statutory-Rights and/or

Common-Law-Rights under [ 42 u. s , Code:                                 Chapter 21. Civil Rights :                           Subchapter I . Generally:                      § 1983 -

Civil action for deprivation of rights) . Both [42-USC-C2 1-SI-§ 1983] and [42-USC-C2 1-SI-§ 1985] (see below) were

originally codified under the [Ku IClux !Clan Act) , ("[KKKA]") - originally enacted (along w ith multiple other Civil Rights Acts) to

address civil rights violations against racial minorities, making it particularly-relevant and directly-applicable to this lawsuit. As it pertains to this

lawsuit, Constitutional rights violations shall include, but not be limited to:

01 .      Fo urteenth-Amendment <* ) violations - including violations of the "Equal Protection Clause" and/or "Privileges or Immunities Clause".

02 .      Fifth-Amendment violations - including any violations of "due-process" rights to "life" or "Ii berty" or ''property".

03 .      First-Amendment violations - including violation/deprivation of "freedom-of-religion" and/or "freedom-of-speech" and/or "political-

          speech" and/or "art" and/or o ther First-Amendment rights such as the right of private citizens to record Law-Enforcement and

          crimes/civil-rights-violations/abuses.

04.       Fo urth-Amendment violations - including unconstitutionaVunlawful: search(s) and/or seizure(s) and/or interrogation(s) and/or

          detention(s).

05 .      Eighth-Amendment violations - including "cruel and unusual punishment" that causes suffering, pain and/or humiliation to a victim -

          especially in cases where the vicitm is not a suspect in any crime.

06.       Sixth-Amendment violations - including violations of the "Right to Counsel", the "Right to Confrontation (of accuser(s) a nd o ther

          witness(s))" and/or the "Right to Notice of Accusation".

 ►     ,2 U. S . COdo •   a.apter 21. Civil RiQhta •    SUbc:hlptar x. - . U y•        S 1!183 - Civil action for daprlvation of rlghta
 •     httpe : / /www . law. cornal.l .adu/uaooda/but/42/1983

 E1•e1y pe1:w111 ll'ho, under color of any statute, 01rliua11ce, reg11latio11, custom, or usage, of any Stale or Te1Ti101y 01· the District of Columbia, subjects, or causes lo be sulyecte,l
 any citizen of the United States or other person within the j urisdiction thereof to the deprivation of any rights, /Jlivileges, or immunities secured by the Co11slilulion and !all's,
 shall be liable lo the party ilyured i11 an action at la11\ suit i11 equity, or other proper proceeding/or redress, except that in any action brought againl'I a judicial officer/or an
 act or omission taken i11 such officer's judicial capacity, i1ynnclive l'(:/iefslw/1110/ be granted unless a t!eclaralmy decree 11·a.1· violated ordeclaratmy reliqf 11'0.\' 1mavoilahle. For
 the puq1oses ~f this se,·tion, flll)' Act lif Congress applical,/e exclusively to the District ,if Co/11ml1ia shall l,e camidered to be a s/a/11/e of the District of Columl,ia.


 ►     42 U. S . COdo•    Ow,ptar 21. Civil RiQhta •    SUbchoptar I . - . U y•        S 1!188 - Pro<-1in<p in vindication of civil righta
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 (a) Applicability ofs1a111101y aud commou law
     The j11risdictio11 i11 civil and criminal mallers co11Je11¥!d 011 the district courts by the pnwisio11s of titles 13, 24, 011d 70 of the Revised Statutes/or the protection of oil persons
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i11 the U11ited Sia/es i11 their civil rights, mu/for their vi11dicalio11, shall be exercised 011d e11forced i11 co1ifo1111ity ll'itl, the law.\" of the U11ited Slates, so far as such la11~· are
suitable to cony the same info effect; bu/ /11 all cases ll'here they are 1101 adapled to the object, or are deficie11t i11 !he pmvisiom 11ece.tm1y l0Ji1111/sl, suilable remedies a11d punish
offe11ses agai11.l"I law, the co111111011 law, as modified a11d changed by the co11stil11tio11 aud sta/11/e.1· of the State ll'herei11 !he co111t hm1i11gj11risdictio11 of.melt civil or crimiual co11se
is held. so form- the same is 1101 i11co11sisle11t with 1he Co11stit111io11 011d laws of the U11ited States, shall be exle11ded lo a11d govem //,e said coum· iu the trial a11d disposilio11 of
!he cause, a11d, if if is of a crimi110/ 11a111re, i11 the i1if/ictio11 of p1mishme11t 011 the patty fauud guilty.


 (b) A 1/amey ·.,fees
     /11 a11y acria11 or proceedi11g ta e1ifarce a provisia11 ofsectio11s 1981, 198/a, 1982. / 983, /985, 011d 1986 of !his title, title IX of Public lmv 92- 318 /20 U.S.C. /681 et seq.},
 tl,e Religious Freedom Restorotia11 Act of /993 /42 U.S.C. 20001,b et seq.}, /he Religious land U.,e and /11stit11ti<111alized Pmw,s Ac/ of 2000 {42 U.S.C. 2000cc et seq.}. title
 VI of the Civil Rights Act of 1964 {42 U.S. C. 2000d el seq.}, or section 12361 of title 34, !he court, i11 ifs discrelio11, may allow !he prevailing party, other 1/,011 the United
 Slates, a reoso11able ol/omey'sfee as 11orl of !he cos/.\", excepl 1/,af i11 011y ac1io11 brought agai11.1·/ a j udicial officer/or <111 ocl or omissio11 lake11 i11 .wch officer'., judicial capacity
 s11ch officer sha/11101be held liable far atl)' cosls. i11cludi11g allomey 'sfees, 1mle.~1· such octia11 was dearly i11 excess of .we/, officer's jurisdictio11.


 (c) Expert fee.,·
     111 011rntli11g an allomey'sfee 1111der .rnbsectio11 (b) i11 011y oclio11 or pmceedi11g la e1ifarce a provision afsectia11 /9,Y/ or 198/a of !his Ii/le, /1,e co11rt, i11 its discrelio11, may
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fined 1111der this title, or impriso11edfar any /em, ofyears orfor life, or both, or may be se11/e11ced lo death.




S[75
The term Conspiracy to interfere with civil rights or 142-USC-C21-SI-§1985), Section 1985, or IKKKAl:§1985 - the civil analog to

criminal law specified in [ 18-USC-P I-C 13-§241] (see above) - shall refer to any civil lawsuit brought against two-or-more persons (with any

municipal-corporation or agency-of-municipal-corporation considered a "person'1 for violations of the Conspiracy-To-Interfere-With-Civil-

Rights/Obstruction-of-Justice/Witness-Intimidation law specified in [42 u . s . Code ,                                             Chapter 21 . Civil Rights :                           Subchapter

I . Generally •                 §   1 98 5) :
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 (3) Depriving pe,~w,s of rights or privileges
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 If /11'0 or more persons conspire to i1if11re, oppre.~r. threaten, or i11li111ida1e any pe1~-o,1 in any Stale, Te1ri101y, Commomreallh, Po.~ression, or Dislricl i11 the free e.re1'Cise or
 e1ifoy111en1 of any right or privilege secured lo him by the Conslilution or lall'S of the United Stales. or bec1111se of /,is having so e.rercised the same; or


 If /Im or 11wre pe,~·011.1· go i11 di.,guise mi the highway, or 1111 the premise., of another, with i11/e11/ lo prevent or hinder his free exercise or e1ifoy111e11/ of any righl or privilege so
 sec11red-


 Thlj' shall beji11ed 1111der this title or imprisoned no/ more than te11 yem:r, or both; 111ul if tleo/h l'<!.1'11l!sfm111 !he ocls committed in violation of this section or if.mc/1 ac/s i11c/11de

 kid11appi11g or a11111/empl to kidnap, aggmvated sex11al ab11se m· a11 al/empt to commit aggm vated sexual ab11se, or 011 al/empt lo kill, they sholl be fined 1111der tl,is title or
 i111priso11edfor any Jenn ofye111:v orfor life, or both. or may be senlencetl lo dealh.




S[76
The term Discrimination under Federally Assisted Programs or [42-USC-C21-SV-§2000d] or [CRAo1964J :§2000d - shall refer to any

civil lawsuit brought against any person (with any municipal-corporation or agency-of-municipal-corporation considered a "person'? for

violations of the anti-discrimination provisions of "TITLE VJ" of the [civil Right. Act of 1964) , ("[CRAol964]") - codified in [42

U.S . Code:                 Chapter 21. Civil Rights•                             Subchapter V . Federally Auisted Programs) ("[42-USC-C21-SV]"):
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      S 2000d - Prd\ibitJ.on -1Nt uclu■ion rraa participation in, doni.al of - i t a or, and cli9c:ria1nation undar redarally u■i■ t.1 -                                        on ground or race, color,
lor Nltion&l origin
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 No 11111~·011 in the United Sia/es shall, 011 the gmtmd af mce, lYJl01; or 11alio11al origin, be erdudedfrom pw1icipalio11 i11, be denied the be11efits of. or be .wl~iected lo
 discri111i11alio11 1111der 1111y pmgram or ac/ivily receiving Fe,leral fl11a11cial assistance.


 •    42 U.S . Cod■ •       °'"(>bu: 21. Civil Righta •          SUbchlptiu v . ~ Y Ani■t.l Progr- •                S 2000d-7 - Civil right■ nadi-■ -1ization
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 (a) GENERAL PROVISION




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 (/) A State slta/11101 be immune under the Eleventh Ame11dme11t of the Co11stit11tio11 of the United States from suit in Federal court f or a violation ofse£•fio11 504 of the
 Relta/Jilitati<m Act of 1973 {29 U.S.C. 794], title IX of the Educatiou Ame11dme11/s of / 972 {ZO U.S.C. /68/ et seq.], the Age Discri111i11atio11 Act of 1975 {42 U.S.C. 6/01 et
 seq.], title VI qf" the Civil Rights Act of 1964 {42 U.S.C. 2000d el seq./, or the provisions of any other Federal stotule prol,ibiti11g discrimi11atio11 by recipients of Federal
 j111a11cial assista11ce.


 (2) Ill a .wit against a State/or a violation ofa .vtatute reje11-ed to in paragraph (/), remedie~ (i11c/11di11g remedies both at law and i11 equit)~ are available for .welt a violatio11 to
 the same e\"teut as such remedies arc available for sud , a violation in the .mil against any public or private entity other than a State. ...




The term racial oppression shall be an abbreviation for one-or-more of the following committed against one-or-more person(s)-of-color:



® racially-motivated hate-crime(s) ; AND/OR
® racially-motivated civil-rights-violation(s) ; AND/OR
© racially-motivated abuse (of any type/shape/ form) - including, but not limited to, any racially-motivated abuse-of-office ; AND/OR
@racially-motivated misconduct (of any type, shape or form) ; AND/OR

® racially-motivated coercion (of any type, shape or form) ; AND/OR
® racially-motivated intimidation (of any type, shape or form); AND/OR
@ racially-motivated interference (of any type, shape or form) ; AND/OR
(i:D racial-profiling (of any type, shape or form) ; AND/OR
CD any deliberate/ intentional/malicious/reckless/negligent and racially-motivated harm caused by one-or-more White-American person(s) and/or
majority-Wh ite organization(s)/institution(s) onto such person(s)-of-color.




~78
The term modem-day-Jim-Crow shall refer to any current-day (existing) law and/or interpretation/enforcement of such law that either

disproportionately, invasively, predatorily, oppressively or directly targets at least some person(s)-of-color (on the basis of race and/or religion

and/or color and/or national-origin) - especially those person(s)-of-color that do not conform to White-American standards - at least slightly

reminiscent of the previous (and original) "Jim Crow" laws of the I 9th and 20th centuries that did the same. The term shall also refer to either

the relative-lack-of-enforcement or the complete-lack-of-enforcement of hate-crime laws and/or abuse-of-office laws and/or civil-rights laws by

one-or-more government(s) that deliberately/maliciously do not enforce such laws in-order-to protect predatory White-American private-

c itizens and/or government employees/agencies with racial-animus from the hate-crimes/civil-rights-violations/racketeering-acts/abuses that they

commit against at least some person(s)-of-color. The term is paraphrased and borrowed from internationally-renowned, fom1er-director of the

"Racial Justice Project" at the (American Civil Liberties Union) ("[ACLU]") of Northern California, former-law-clerk at the [SCOTUS], and
now-Law- Professor, Michelle Alexander's bestselling book, ti.The New Jim Crow: Mass Incarceration in the Age of Colorblindness~-




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                                                                        §III

                                                                   PARTIES


179
Primary-Defendant WtWil.l.iamson County ►J, ("[WC]"), is a municipal corporation located in the Western-District-of-Texas. Although

[WC] is named as a municipal-corporation primmy-defendant in this lawsuit, this lawsuit is filed almost-exclusively (with a few significant

exceptions) in response to the action(s)/inaction(s) of Williamson-County-Law-Enforcement ("[WCLE]") for which prima1y-defendant [WC]

bears liability, specifically: the tWilliamson County Constable's Office ► , ("(WCCO]"), the tWilliamson County Sheriff's

Office ► , ("(WCSO]"), the tWilliamson County and Ci ties Health District► , ("[WCCHD]"), and to a lesser (or secondary)

extent, the ~Wil.l.iamson County District Attorneys Office ► , ("[WCDAO]"), and the ~Williamson County County

Attorneys Office ► , ("[WCCAO]"). [WC] is also named as a municipal-corporation primary-defendant in this lawsuit because numerous

offices/departments/agencies/divisions/districts of the defendant [WC] - specifically those aforementioned agencies of [WCLE] - corruptly-

maliciously-predatorily-and-retaliatorily conspired (along with private-citizen racketeer co-defendants [JSP&KAP],[RSR]) against the plaintiff

and acted-in-furtherance-of such corrupt-malicious-predato1y-and-retaliatory conspiracy against the plaintiff in-order-to violate all of the federal

laws, state laws and common-law that the plaintiff has asserted against such defendants in this lawsuit. In this lawsuit, this primmy-defendant

shall be abbreviated as "[WC]" or "[WCLEJ". In this lawsuit, the term "Williamson County" and acronyms beginning with "[WC" shall refer to

this municipal-corporation primary-defendant and/or its office(s)/department(s)/agency(s)/division(s)/district(s)/official(s)/employee(s) while the

term "County~( Wilfiamson" shall refer to any non-governmental aspect of this geographical region. The plaintiff shall use these terms in this

manner only in-order-to distinguish between the municipal-corporation prin111ry-defendant [WC] which is being sued by the plaintiff in this

lawsuit from any other non-governmental aspect of this geographical region (including the private citizens/residents of this region). In this

lawsuit, the term "the county" shall, unless otherwise specified, refer to the non-government "County~( Wilfiamson" and the terms

"taxpayer", "citizen" shall, unless otherwise specified, refer to the civilian/non-governmental (non-defendant) private-citizens/residents of the

county. According to {20 I 9} estin1ates from the United States Census Bureau, the racial demographics of the county is approximately 80.6%

White and thus, approximately 19.4% people-of-color. The exact racial demographics of the [Summerlyn] residential-property

subdivision/neighborhood in which the Plaintiff owns property and resides could not be accurately determined by the plaintiff, but based upon

the public-infonnation about the {2019} demographics of [Liberty Hill, Texas] , is approximately 87.61 % White and thus approxin1ately

12.29% people-of-color. To the best of the plaintiff's knowledge, during the initial period of years covered by this lawsuit - {2009} through

{2018} - the racial demographics of both the county and the [Summerlyn] subdivision/neighborhood was greater than 80.6%, 87.61 %

White respectively, and thus, lesser than 19.4%, 12.29% people-of-color respectively - with the relative percentage of White gradually

decreasing as time passed. To the best of the plaintiff's knowledge, all of the plaintiff's immediate neighbors of the plaintiff's primary-residence

private-property, [788KLLTX7864 I] (see below) - both past and present - were/are of the White/Caucasian/American color/race/nationality.

(Despite t1!1"n-over in all of the plaintifrs immediate neighbors since {2009}, to the best of the plaintiff's knowledge, this fact has remained true


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throughout the plaintifrs ownership/residence of [788KLLTX7864 l ].) All of these racial-demographics are crucial facts to this lawsuit, because

a ll of the defendants corruptly-maliciously-predatorily-and-retaliatorily capitalized-on and fully-exploited these racial-demographics, extremely

unfavorable to the plaintiff, in-order-to freely engage in racial-oppression and racketeering-activity against the plaintiff, fully counting on the

fact that such racial-demographics (and even the resultingjury pool) would, either substantially or completely, protect them from the legal

consequences of over-a-decade of racially-motivated hate-crimesfcivil-righls-violations(rncketeering-acts/abuses that they aggregately

committed - through a pattern of racketeering-activity, and as part of a racketeering-enterprise - against the plaintiff. Primary-Defendant [WC]

is being sued by the plaintiff in this lawsuit for declaratory relief, injunctive relief, all applicable fees/costs ( #) and all applicable damages. The

mailing-address of primary-defendant [WC] is:



Williamson County

Williamson County Courthouse

7 10 Main Street

Georgetown, TX 78626




P rimary-Defendants WJoseph S. Pargin & Kimberly A Pargint ("[JSP&KAP]"), a lso known by short form WJoseph Pargin & Kimberly

Pargint husband-and-wife private-citizens, are fonner residents of residential property (house-and-smrnunding-land real-property), "784

Kingfisher Lane, Leander Texas 78641 ", ("[784KLLTX78641)"), and former next-door-neighbors of the plaintiff from approximately the

month of {2009-03} through the end of the month of {2022-07} (according to public-information and/or the plaintifrs evidence) - see "LOT

39","#784" in the modified survey diagram below. Primary-Defendant WJoseph S. Pargint ("[JSP]"), (short form WJoseph ParginB), sometimes

referred to by one-or-more person(s) as "Joe" or "Joey", is of the White/Caucasian/American/Christian color/race/nationality/religion, and

according to outdated public-records and the plaintifrs best estimates from the month of {2022-07}, prima1y -defendant [JSP] weighed

approximately 240 pounds, and is approximate ly 6-feet-l-inches tall ( ',) . Primary-Defendant WKimberly A Pargint ("[KAP]"), (sho1t fonn

fKimberly ParginB), sometimes referred to by one-or-more person(s) as "Kim", is of the White/Caucasian/American/Christian

color/race/nationality/religion, and according to the plaintifrs best estimates from the month of {2022-07}, prima1y-defendant [KAP] weighs

approximately 160 pounds, and is approx.in1ately 5-feet-9-inches tall ( ',) . Prirnaiy-Defendants [JSP &KAP] are being sued by the plaintiff in

this lawsuit for declaratory relief, injunctive relief, all applicable fees/costs (#) and all applicable damages. Primary-defendants [JSP&KAP]

moved out of the [ Summerlyn] residential-property subdivision/neighborhood (located within the County of Williamson) approximately on-

or-about the date of {2022-07-3 1}. Any references made to prinrnry-defendants (JSP &KAP]'s property in this lawsuit shall refer to primary-

defendant (JSP&KAP)'s now-former private-property (784KLLTX7864 l). T he only ma iling-address of [JSP&KAP] that is known to the

p laintiff (as documented by current publ.ic records) is:



Joseph Pargin & Kimberly Pargin

2659 Belle Hubbard T ri

Belton, TX 765 13



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<j[81
Primary-Defendant WRebecca Sue Robertsont ("[RSR]"), private-citizen, is a Fonner resident of residential property (bouse-and-surrounding-

land rcal-prope1ty) "789 Kingfisher Lane, Leander Texas 78641 ", ("[789KLLTX7864 I]"), residing at that location from approximately the

month of {2009-03} through the month of {2021-03} (according to public records and/or the plaintiffs evidence). Primary-Defendant (R.SR1,

sometimes referred to by one-or-more person(s) as "Becky", is of the White/Caucasian/American/Christian color/race/ nationality/religion, and

according to outdated public records and the plaintifrs best estimates from the month of {2021-03}, primmy-defendant [RSR] weighs

approximately 225 pounds, and is approximately 5-feet-8-inches tall ( ',) . Primary-Defendant [RSR] is being sued by the plaintiff in this lawsuit

for declaratory relief, injunctive relief, all applicable fees/costs ( #) and all applicable damages. Primary-defendant [RSR] moved out of the

 [Summerlyn) residential-property subdivision/neighborhood approximately on-or-about month of {2021-03}. One-or-more social-rnedia-

posting(s) by [RSR] indicate that since moving out of the [Summerlyn] residential-property subdivision/neighborhood, [RSR] moved to a

location in-or-around Houston, Texas on-or-about the month of {2021-03}. However, the plaintiff is not able to obtain any public property-

records for tax-years {2022}, {2023} from •Harris County Appraisal District ➔ or any County adjacent to the County-of-Harris

indicating [RSR]'s current mailing-address. The plaintiff does not know and, despite of the plaintiffs best efforts to research such information,

the plaintiff is unable to determine primary-defendant [RSR]'s current mailing-address. Therefore, pursuant to [18-USC-PI-C96-§ 1965(b)],

which slates in part, "In any action under section 1964 o.f this chapter in any district court o.f the United States in which if is shown that the

e11d1· ofjustice require that other parties residing in any other district be brought be.fore the court, the court may cause such parties to be

summoned, and process.for that pwpose may be served in any judicial district of the United States by the marshal thereof', the plaintiff

seeks the assistance of federal-law-enforcement, and specifically, the ~United States Marshals ➔ , to determine primary-defendant

[RSR]'s current mailing-address in-order-for the plaintiff to serve primaiy-defendant [RSR] with this lawsuit. Any references made to primmy-

defendant [RSR]'s property in this lawsuit shall refer to primmy-defendant [RSR]'s now-former private-property [789KLLTX78641]. Due to

the absence of information, the most-recent (but still obsolete) mailing-address of primmy-defendant [RSR] that is known to the plaintiff is:



Rebecca Sue Robertson

789 Kingfisher Lane

Leander, TX 78641




<j[82

Primmy-Defendant W•Williamson County Constable's Office➔ t ("[WCCO]"), is a law enforcement agency of defendant [WC].

Primmy-Defendant [WCCO] is being sued by the plaintiff in this lawsuit for declaratory relief, injunctive relief, all applicable fees/costs ( # )

and all applicable damages. All of Prima1y-Defendant [WCCO]'s violations of federal and state laws against the plaintiff were suffered by the

plaintiff within the geographical area of Precinct 2 of the [WCCO]. However, the plaintiff also has evidence to prove that Precinct 3 of the

[WCCO] not only discriminated against tbe plaintiff on the basis of the plaintiffs racial-profile - committing at least some acts of racial-

oppression and racketeering-activity against the plaintiff - but was a lso actively involved in such corrnpt-malicious-predatory-and-retaliatory

conspiracy and associated racketeering-enterprise against the plaintiff - as substantially documented in this lawsuit. The mailing-address of

[WCCO] Precinct 2 is:
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WilLiamson County Constable Precinct 2

350 Discovery Blvd, Suite 205

Cedar Park, TX 786 13




i83
                     r
Primary-Defendant ~Williamson County and Ci ties Heal th District ► .!l, ("[WCCHD]"), is, at least in part, a law enforcement

agency of defendant [WC] - with the legal designation of "local health authority" or "local health department". Primary-Defendant [WCCHD)

is being sued by the plaintiff in this lawsuit for declaratory relief, injunctive relief, all applicable fees/costs ( #) and all applicable damages. The

mailing-address of [WCCHD] is:



Williamson County and Cities Health District

355 Texas Ave

Round Rock, TX 78664




i84
                     r
Primary-Defendant ~Williamson County Sheriff's Office ► .!l, ("[WCSO]"), is a law enforcement agency of defendant [WC].

Primary-Defendant [WCSO] is being sued by the plaintiff in this lawsuit for declaratory re lief, injunctive relief, all applicable fees/costs ( #) and

all applicable damages. The mailing-address of [WCSO] is:



Williamson County Sheriff's Office

508 S Rock Street

Georgetown, TX 78626




4]185
                         r
Secondary-Defendant ~Williamson County County Attorney ' s Office ► .!l, ("[WCCAO]"), is a law enforcement agency of

defendant [WC]. Secondary-Defendant (WCCAO] is being sued by the plaintiff in this lawsuit for declaratory relief, injunctive relief and all

applicable fees/costs ( #) . The mailing-address of [WC CAO] is:



Williamson County County Attorney's Office

Williamson County Justice Center

405 M.L.K. Street, Suite 229

Georgetown, TX 78626


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i86
Secondary-Defendant W,fWilliamson County District Attorney ' s Office ►]. ("[WCDAO]"), is a law enforcement agency of

defendant [WC]. Secondary-Defendant [WCDAO] is being sued by the plaintiff in this lawsuit for declaratory relief, injunctive relief and all

applicable fees/costs (#) . The mailing-address of[WCDAO] is:



Williamson County District Attorney's Office

Williamson County Justice Center

405 M.L.K. StTeet, Suite 265

Georgetown, TX 78626




i87
ln the following text, the general term "defenda111s" shall, unless otherwise specified, refer to the primary-defendants [WCCO],[WCSO],

[WCCHD],[JSP&KAP],[RSR), with the law-enforcement agencies of [WCCO),[WCSO],[WCCHD],[WCCAO),[WCDAO] abbreviated as

[WCLE].




i88
The Plaintiff fSiddharth Kodet

01.    is the owner and resident of residential property (house-and-surrounding-land real-property), "788 Kingfisher Lane, Leander Texas

       7864 1" ("[788KLLTX7864 l ]") - with the legal-description, "S9718 - SUMMERLYN PH P-3B, BLOCK N, Loi 40" - located within the

        [Summerlyn] residential neighborhood/subdivision, which in turn is located within the County of Williamson - see "Lot 40","#788" in

       the modified survey diagram below. Although the address of property [788KLLTX7864 l] includes the term "Leander", it should be

       noted that property [788KLLTX7864 l] is outside of the City-of-Leander, leaving most, if not all, of State-and-Local Law-Enfo rcement

       within the jurisdiction of defendant [WC]'s law-enforcement agencies, [WCLE]. ln this lawsuit,



       ® "[788KLLTX78641]" shall refer to the plaintiffs primary-residence. The plaintiff has owned [788KLLTX7864 l] since the month of
       {2009-03}, and has resided at [788KLLTX78641] for over 90% of the time since the month of {2009-03}.



       ® "The subdivision" and "!he neighborhood" shall, unless otherwise specified, refer to the [ Summerlyn]        residential

       neighborhood/subdivision within the County of Williamson.



       © "Plainl!/f's residenlial-privale-properly", "p/ainlij]'s privale-property", "plaintiff's property", when used in such singular form,
       shall, unless otherwise specified, refer to the plaintiffs primary-residence (real-property) private-property, [788KLLTX7864 l].



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@ "P/aintfffs agricu/tural-p1'ivate-property   11
                                                 ,   'i1laintUJ'sfarm", shall, unless otherwise specified, refer to a different (real-property)

private-property (located on FM-112)- separate and distinct from [788KLLTX78641].



® "Kingfisher", "the street'\ and "the road" shall, unless otherwise specified, refer to "Kingfisher Lane, Leander Texas 78641" (public-
property), abbreviated with the acronyms "KLLTX78641", or simply "KL".



® "The sidewalk" shall, unless otherwise specified, refer to the concrete-sidewalk (public-property) directly in front of the plaintiffs
private-property [788KLLTX7864 l ], and the adjacent private-properties [784KLLTX7864 I ],[792KLLTX7864 l ].



@ "The opposUe-sidewalk" shall, unless othe1wise specified, refer to the concrete-sidewalk (public-prope1ty) across the street and

directly in front of the private-properties [789KLLTX7864 I], [785KLLTX7864 l ], and (781 KLLTX7864 l ].



(8) "Hummingbird" shall, unless othe1wise specified, refer to "Hummingbird Lane, Leander Texas 78641 "(public-property),

perpendicular-to Kingfisher that makes the closest (stop-sign) intersection with Kingfisher relative to the plaintiff's private-property.



CD "Lark" shall, unless otherwise specified, refer to ''Lark Street, Leander Texas 78641" {public-prope11y), that is the closest non-
Kingfisher street to [788KLLTX78641], (at-least-partially) parallel-to Kingfisher, abbreviated with the acronyms "LSLTX78641", or

simply 11 LS 11 •



Q) "The two properties"shall, unless otherwise specified, refer to the two adjacent private-properties [788KLLTX78641] and
[784KLLTX7864 l] which share an approximately 110-feet straight-line border, approximately 60 feet of which includes a 6-feet-tall,

solid, opaque-privacy-fence, which in tum encloses the two respective private-properties' backyards.



® The entire "time period" shall span {2009-03) to {PRESENT-DAY}, and any words used to describe time or time-period, unless
othe1wise specified, shall be confined to this pai1icular time-period. (So, for example, if the word "always" is used to specify a time-

period, unless otherwise specified, such time and/or time-period shall be confined to, "always" within this particular time-period.)



(b) Any reference made to any part(s) of the plaintiffs residcntial-prope1iy's shall refer directly to such part(s) of private-property,
[788KLLTX7864 l ], as more-comprehensively listed as follows.



11,l) "[BACKYARD]" shall refer to the private/concealed curtilage-area, within the private-prope1ty (788KLLTX7864 l], which is
completely concealed by a 6-feet-tall opaque privacy-fence within and also at some of the borders of the private-property

[788KLLTX7864 l ].



® "[HOUSE]" shall refer to the building owned and occupied by the plaintiff, located cenn·ally within the private-property
[788KLLTX78641].


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@ "[GARA GE]" shall refer to the private/curtilage interior of the embedded garage of [HOUSE] - that is closeable (and thus fully-

concealable) with the garage-door.



® "[DRIVEWAY]" shall refer to the outdoor curtilagc-area concrete-aggregdte driveway, within the private-property
[788KLLTX7864 l ], directly in front of [GARAGE] (facing the street).



@ "[FRONTDOOR]" shall refer to the front-door of [HOUSE].



® "[FRONTHALLWAYJ "shall refer to the private/concealed curtilage-area that is directly in front of [FRONTDOOR], that has been
made private/concealed by fully-grown, trees/bushes in [FRONTYARD], along with a vehicle parked in the [DRlVEWAY], and that is

also covered by the roof of the [HOUSE].



® "[FRONTPORCH]" shall refer to the private/concealed cmtilage-area that is directly in front of [FRONTHALLW AY], that has been
made private/concealed by fully-grown, trees/bushes in [FRONTY ARD], along with a vehicle parked in the [DRlVEW AY], and that is

also covered by the roof of the [HOUSE].



(j) "[BACKDOORJ" shall refer to the door at the back-side of the [HOUSE] (facing the street). @ "[BACKPORCH]" shall refer to the
private/concealed curtilage-area at the back-side of [HOUSE] (facing the street), behind the [BACK.DOOR], and that is also covered by

the roofof the [HOUSE].



(y) "[FRONTYARDJ" shall refer to all of the curtilagc-area - except the [DRIVEWAY] and [FRONTPORCH] - within the private-
propeity [788KLLTX78641] - that exists in front of[HOUSE] (facing the street).



@) "[SJDEYARD]s" shall refer to all of the curtilage-areas to the left-and-right-sides of the [HOUSE] but only in front of the plaintiffs 6-
feet-tall-privacy-fence (facing the street).



® "[YARD]" shall refer to all of the curtilage-area - except the [DRIVEWAY], [FRONT PORCH], [BACK.PORCH] and [GARAGE] -
within the private-property [788KLLTX7864 l] - including the [FRONTYARD], [SIDEYARD]s and [BACKYARD].



© "Curbside-Grass-Area" shall, unless otherwise specified, refer to the grass-and-concrete-landscape (public-property) directly in-
between the sidewalk and the street.



@ "Curbside" and "Opposite-Curbside" shall refer to the 8-feet-wide-part of the street closest to those respective edges of the street

(see modified survey diagram).
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02 .   is an immigrant-of-color of South-East-Asian origin - specifically South Indian origin - with very-dark-brown skin color, long-uncut

       ha ir/beard, and a strong middle-eastern/Indian accent. The plaintiff's religious views and associated cultural practices are of Eastern-

       indigenous religions/cultures, specifically of South Indian origin. The plaintiff weighs approximately I 05 pounds and is approximately 5-

       feet-7-inches tall ( '7) . It should also be noted that the plaintiff has a significantly-darker skin-color than both of plaintiff's senior-citizen

       parents [PARENTS] - who are also of the same national origin - a genet ic trait that the plaintiff is presumed to have inherited from the

       plaintiff's maternal grandmother. The plaintiff lives a minimalist, subsistence, anti-consumerist, and chemical-free lifestyle, very-much

       in-line-with and consistent-with the plaintiff's religious (indigenous) values and political values (sec below). For example, as part of this

       subsistence lifestyle, the plaintiff lives on less than $2 per day (less than 1600 calories, on average, per day) in terms of food-and-drink

       expenditures, which is particularly remarkable because the plaintiff uses almost exclusively the-more-expensive USDA-ce11ified-organic

       ingredients in the food that the plaintiff prepares from scratch. The plaintiff lives this minimalist, subsistence, anti-consumerist and

       chemical-free lifestyle not as a matter of financial-necessity, but rather, as an intentional religious practice, and also as a lifestyle in-

       solidarity-with all of the indigent peoples of the world who do not even have the financial means to live a consumerist lifestyle (see

       below for political-profile). At one point in time, while still an adult, the plaintiff weighed as little as 70 pounds (back in {2012} ), due to

       strict adherence to this minimalist, subsistence, anti-consumerist, re ligious lifestyle. Throughout the time period documented in this

       lawsuit, the plaintiff has had a body-mass-index of as low as 11 ("severe-thinness') to as much as 18 ("mild-thinness'). Although the

       plaintiff is technically an i1m11igrant-of-color, the plaintiff identifies as an "indigenous person" as such term more accurately describes

       the plaintiff's combined race and religion. These race/religion/national-origin/color and associated physical-characteristics w ill collectively

       be referred to as part of the plaintiff's combined racial-profile. The plaintiff's racial-profile is entirely relevant to this lawsuit due to the

       extreme racial-animus, hate-crimes, racketeering-acts, c ivil-rights-violations, and other abuses suffered by the plaintiff, at the hands of

       the defendants, as substantially documented in this lawsuit (µ) .

03.    is a democratic-socialist (a) , libertarian-socialist (sometimes referred to as left-libertarian), social-justice-activist, political-dissident,

       citizen-journalist, legal-observer, archivist and part-time-permaculture-farmer that volunteered approximately 500 hours for the United-

       States-Senator Bernie Sanders' {20 16} United States Presidential campaign. Additionally, as public records do show and have, since

       {2016}, shown, the plaintiff donated a total of more than $800 to the United-States-Senator Bernie Sanders' {20 16} and {2020} United

       States Presidential campaigns (with some of these funds also being distributed for down-ballot democratic-socialist political-campaigns)

       in small monthly donations during the years of {20 I 6}, {2019} and {2020}. Since the month of {2019-0 I }, the plaintiff has bad

       political yard signs posted in the [FRONTYARD] that read: "Alexandria Ocasio-Cortez [AOC} for President", "Tax the Rich", "Make

       Racism Wrong Again" and "Green New Deal" (original exhibit(s) available), along w ith some other message(s) of social justice. It is

       important to note that the plaintiff originally installed the [AOC] yard-sign on the plaintiff's property well before United-States-

       Congresswoman [AOC] became a target of extreme racial and political hatred by far-right-wing-extremists/ White-supremacists and by

       some members of law-enforcement throughout the United States ( r.,) . During the {2016} United States Presidential election in {20 I 6-

       11}, the plaintiff also had a United-States-Green-Party "Stein/Baraka" political yard sign that read "People, Planet and Peace over

       Profit" posted at approximately the same location in [FRONTYARD] (original exhibit available). As public records do show and have,

       since {2016}, shown, the plaintiff donated a smaller amount of money to the {2016} Stein/ Baraka U11ited-States-Green-Party

       Presidential campaign. The plaintiff is not a registered member of any political party and does not identify/affiliate with any political

       party, but did vote in the {2016} and {2020} Texas Democratic Party Primary elections. The plaintiff is a member of the (nationally-

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       based) political organization (Democratic Socialists of America) [DSA], which is not affiliated with any of the major political parties in

       the United States. The plaintiff is also a member of the (Electronic Frontier Foundation) [EFF] and the ( Free Software Foundation)

       [FSF] - two non-profit, public-interest, civil-rights, c ivil-liberties (nationally-based and/or internationally-based) organizations that are

       substantially focused on fighting for institutional (governmental and corporate) transparency and the freedoms/rights (including privacy

       rights (") )of people in the digital world. During the years {201O} through {2013}, the plaintiff would routinely (on almost every day)

       wear a ((Democracy Now!)) t-shirt ( ~) with ((Democracy Now!)) being a (nationally-based and/or internationally-based) grassroots-

       democracy, non-profit independent-media organization ; therefore, all of the primary defendants, and especially primary-defendant

       [WCLE], knew that the plaintiff was a political-activist since as early as the month of {20 11 -08} (see "SEQUENCE OF RELEVANT

       INCIDENTS" section below). These political characteristics will collectively be referred to as part of the plaintiff's combined political-

       profile. The plaintiff's political-profile is entirely relevant to this lawsuit due to the far-right-wing-extremist political-animus ( c.>) , hate-

       crimes, racketeering-acts, civil-rights-violations and other abuses suffered by the plaintiff, at the hands of the defendants, as substantially

       documented in this lawsuit (µ) . The plaintiffs political-profile is at least one component (of numerous components) of the plaintiff's

       [RiaCOA] clain1 against the defendants, necessary to prove that the defendants' pattern-of-racketeering-activity against the plaintiff,

       conducted as part of the defendants' decade-long racketeering-enterprise against the plaintiff, did affect (and/or was intended to affect)

       interstate or foreign commerce (see section below).

04 .   was a National-Merit commended student that. scored a combined 1430 out of 1600 on the plaintiffs first attempt of the Scholastic-

       Aptitude-Test ("[SAT]") - a score that ranked in the top 2.5% of test-takers during the year that the plaintiff took the test, and a score

       that is the equivalent of approxin1ately 1480 out of I 600 in today's ( {post-20 16}) [SAT] ( = ) . This score was certainly not the ideal

       score of the plaintiff, as the plaintiff underperfomed significantly in the Mathematics portion of the test - an underperformance that the

       plaintiff attributes to both, a cumulative/chronic lack-of-sleep prior to taking the test, and the plaintiff's cognitive disability (which was

       only diagnosed as a cognitive disability well-after such test). The plaintiff was admitted into the highly-selective T uring-Scholars Honors

       Program (and Deans-Scholars Honors Program) at the (University of Texas at Austin) ("[UT-Austin]") where the mean combined

       [SAT] score (1600-point-scale) of the incoming freshman consistently ranges from the high-1400s ({pre-2016}) to the mid-1500s

       ( {post-2016}) out of 1600 ( = ) . For example, the {2025} c lass of incoming freshman of Turing-Scholars had a mean [SAT] score of

       I 560 out of 1600 - comparable-to, if not higher than, the mean [SAT] score of the incoming freslmrnn of most so-called "Ivy-league"

       Universities - and it is the plaintiffs understanding that the Turing-Scholars Honors program primarily, if not almost-exclusively, admits

       candidates from within the top- I 0% of incoming [UT-Austin] Computer-Sciences majors. Although the plaintiff completed almost-a ll (all

       but one) of the required, very-rigorous honors courses, the plaintiff will fully-admit that the plaintiff was not smart-enough, or perhaps

       not disciplined-enough, to maintain the very-high GP A requirements to graduate with those very-prestigious and very-rigorous Honors

       degrees, but instead, graduated with a regular Bachelor-of-Science degree in Computer-Sciences from [UT-Austin] - a so-called "Public

       Ivy", major research University that consistently ranks within the top-25 of the national engineering and computer-sciences research

       university rankings. The plaintiff was registered as a student with (cognitive) disabilities for at least some of the plaintiffs semesters at

       [UT-Austin]. These education characteristics will collectively be referred to as part of the plaintiff's combined education-profile. The

       plaintiff's education-profile not only provides credentials relevant to this lawsuit, but also puts-into-perspective the extremely predatory

       abuse and extreme-ma liciousness motivated by racial-animus (and far-right-wing-extremist political-animus) - driven by a strong sense of

       racial-superiority over the plaintiff that the plaintiff has suffered from the primary-defendants for over a decade (µ) . At no point in time


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      did the plaintiff reveal the full extent of the plaintiff's education profile to any of the defendants, and in fact, the plaintiff deliberately

      concealed most, if not all, of the plaintiffs education profile from the defendants for the ve1y simple reason that the plaintiff wanted to

      document how abusively the plaintiff would be treated by the defendants - with the defendants (and all other implicated parties)

      '.Judging a book by its cover" rather than its true character - if the defendants were truly unaware of the plaintiff's actual education-
      profile. For over a decade, the plaintiff has unwittingly played the roles of undercover-researcher, citizen-journalist and legal-observer,

      involuntarily forced into these positions of documenting institutional-racism/government-misconduct and perfonning a unique case-study

      on such institutional-racism/government-misconduct occurring within one-or-more White neighborhood(s)/subdivision(s), while during

      that same time period, suffering the full-wrath of such institutional-racism/government-misconduct. Crucially, all of the abuse that the

      plaintiff has suffered from the defendants not only continued, but even escalated to higher levels, when the defendants became aware of

      the fact that the plaintiff was formerly registered as a student with cognitive disabilities, further indicating to the plaintiff, that the

      defendants' abuse against the plaintiff was not only motivated by extreme-racial-animus, far-right-wing-extremist political-animus,

      homophobic-animus (see below), but also animus against person(s) with cognitive disability(s) - since people with such disability(s) are

      easier and more-vulnerable targets of such abuse, and the perpetrators derive more pleasure/joy ( q,) out of such victimization. The

      plaintiff has no choice but to reveal the plaintiff's education profile as at least some of the defendants, due to their extreme racial-animus

      against the plaintiff, have described the plaintiff as ' .1·tupid", "uneducated", "idiot", 'Joo/", "retard", 11111oro11", "dumbass" - in essence,
      11
       /0111-JQ" and "third-111or/d-ig11orant 11• The plaintiff has no choice but to reveal the plaintifrs education profile because one-or-more of

      the defendants have even fraudulently accused the plaintiff of being a beneficiary of so-called "reverse-discrimination" and/or

      "ajjirmative-action", when in actuality, the plaintiff has never been such beneficiary, and instead, all of the plaintiff's academic
      credentials were obtained by the plaintiff, solely by plaintiffs actual merit. The plaintiff asserts that the plaintiff did not earn a relatively

      elite education only to have to suffer over a decade of racial-oppression and racketeering-activity from the defendants, as substantially

      documented in this lawsuit. The plaintiffs education profile is thus a substantial component of the plaintiff's fraud (racketeering-act)

      claim and the plaintiffs racial-discrimination claim against the defendants.

05.   was born outside of the United States in a position of extreme-poverty relative to the average American family - especially, the average

      White-American family. Unlike the average White-American family, the plaintiffs family - particularly [PARENTS] - after immigrating

      to the United States through the lengthy, waitlisted-process of legal immigration - having to wait on the waitlist approxin1ately 12 years

      before even being allowed to legally enter into the United States - had to struggle and toil to make it in the United States, and in the

      plaintiffs own humble opinion, managed to achieve through a combination of their own hard-work, advanced-degrees, skills, and

      sacrifices, their current positions/statuses in American society. The plaintifrs education was only made possible through the patience,

      skills, diligence and sacrifices of [PARENTS], and additionally, those other extended family-members that assisted [PARENTS] in the

      legal-immigration process. These facts will collectively be referred to as part of the plaintifrs immigrant-background. T he plaintifrs

      in1migrant-background is fully relevant to this lawsuit as it further puts-into-perspective the extremely predatory abuse and extreme-

      maliciousness motivated by racial-animus, racial-superiority and far-right-wing-extremist political-animus that the plaintiff has suffered

      from the primary-defendants for over a decade. The plaintiff's immii,JTant-background is also relevant particularly in-regards-to the

      [FHA]/[TFHA] w ltich, at least in part, was enacted to address historically prevalent discrimination, disparities, disadvantages and denials

      - including, but not limited-to, socioeconomic-status, opportunities and services - when comparing racial-minorities (especially

      immigrant-minorities) (1'1.) to the dominant majority, White-American. The plaintiffs immigrant-background is at least one component


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       (of numerous components) of the plaintiff's [RlaCOA] claim against the defendants, necessary to prove that the defendants' pattern-of-

       racketeering-activity against the plaintiff, conducted as part of the defendants' decade-long racketeering-enterprise against the plaintiff,

       did affect (and/or was intended to affect) interstate or foreign commerce (see section below).


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                                                                            §IV

                                             IMPLICATED NON-PARTIES


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Although not named as defendants, the following "non-parties" (listed in no particular order) are, at least in some small part, implicated in this

lawsuit, and at a minimum, the plaintiff seeks to subpoena and/or conduct Discove1y/Depositions on these non-parties in-order-to

provide/produce crucial evidence/testimony re levant to proving the plaintiff's claims. The following list of non-parties is also incomplete, as, for

example, the plaintiff has suffered abuse from one-or-more additional members of [WC LE] that are not currently listed in this list:

01.    [WCCO] CONSTABLE DEPUTY (FIRST-NAME-UNKNOWN) Harrell, ("[WCCD-Harrell]"), is a current or former [WCCO]

       employee that is/was a Constable Deputy of the [WCCO] Precinct 2. [WCCD-Harrell] is of the White/Caucasian/ American

       color/race/nationality, and according to the plaintiff's best and last-known estimates, [WCCD-HatTeU] weighs approximately 140 pounds,

       and is approximately 5-fcet-6-inches tall ( '7) . The plaintiff has indisputable evidence to prove that [WCCD-Harrell] clearly, repeatedly

       and egregiously violated numerous rights of the plaintiff via numerous acts of racial-oppression, discrimination and racketeering-activity

       against the plaintiff, and that [WCCD-Harrell) was very-directly involved as a co-conspirator racketeer in the racketeering-enterprise

       against the plaintiff involving [JSP&KAP),[RSR) and [WCLE].

02 .   [WCCHD] SANITARIAN Vincent Delisi, ("[WCCHDS-VD)") is a current or former [WCCHD] employee that, according to public-

       records and/or media-reports, formerly worked as an employee for the ~Austin-Travis-County Heal th-and-Human-

       Services-Department ► . [WCCHDS-VD] is of the White/Caucasian/American color/race/nationality, and according to the plaintiff's

       best and last-known estimates, [WCCHDS-VD] weighs approximately 200 pounds, and is approximately 5-feet-11-inches tall ( '7) . The

       plaintiff has indisputable evidence to prove that [WCCHDS-VD] clearly and egregiously violated numerous rights of the plaintiff via

       multiple acts of racial-oppression, discrimination and racketeering-activity against the plaintiff.

03.    [WCCO] CONSTABLE DEPUTY (FIRST-NAME-UNKNOWN) Fowler, ("[WCCD-F]"), is a cunent or former [WCCO] employee

       that is/was a Constable Deputy of the [WCCO] Precinct 2. [WCCD-F) is of the White/Caucasian/American color/race/nationality, and

       according to the plaintift's best and last-known estimates, [WCCD-F) weighs approximate ly 190 pounds, and is approximately 6-feet

       ta ll ( '7) . The plaintiff has indisputable evidence to prove that [WCCD-F] clearly violated numerous rights of the plaintiff via multiple

       acts of racial-oppression, discrimination and racketeering-activity against the plaintiff.

04 .   [WCSO) Sheriff Deputy JOHN-DOE-8, ("[WCSD-JD-8)") is a current or former White/Caucasian/ American Sheriff Deputy of the

       [WCSO) that trespassed onto the plaintiff's property and performed a clearly unconstitutional-and-unlawful

       search/seizure/interrogation/detention of the plaintiff and plaintift's property [788KLLTX7864 l) at nighttime on or about the date of

       {2020-02-06} . According to the plaintiffs best estimates, [WCSD-JD-8], at the tin1e of tl1is unconstitutional-and-unlawful

       search/seizure/ interrogation/ detention of [792KLLTX7864 I), was approximately 180 pounds, approximately 5-feet-9-inches tall ( '7) .

       T he plaintiff has indisputable evidence to prove that [WCSD-JD-8) clearly violated numerous rights of the plaintiff via multiple acts of

       racial-oppression and discrimination against the plaintiff.

05 .   [WCSO) Sheriff Deputy JOHN-DOE-9, ("[WCSD-JD-9)"), is a current or former White/Caucasian/American Sheriff Deputy of the
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       [WCSO] that trespassed onto the plaintiffs property and performed a clearly unconstitutional-and-unlawful search/seizure/interrogation

       of the plaintiff and plaintiffs property [788KLLTX7864 l] at approximately midnight on or about the date of {2021 -08- 14}. According

       to the plaintiff s best estimates, [WCSD-JD-9], at the time of this unconstitutional-and-unlawful search/seizure/interrogation/detention of

       [792KLLTX7864 I], was approxin1ately 180 pounds, approximately 6-feet tall ( ',) . The plaintiff has indisputable evidence to prove that

       [WCSD-JD-9] clearly violated numerous rights of the plaintiff via multiple acts of racial-oppression and discrimination against the

       plaintiff.

06 .   [NP] is a White/Caucasian/American son of defendants [JSP&KAP] who rema ins unnamed in this lawsuit due to the substantial

       possibility that he was still a minor during most of the incidents documented in this lawsuit. According to the plaintiff's best estimates,

       [NP] is approximately 6-feet-2-inches tall and, according to the most recent infonnation available to the plaintiff, weighed approximately

       170 pounds. Despite of the fac t that [NP] has committed at least some of the documented hate-crimes/racketeering-acts/civil-rights-

       violations/abuses against the plaintiff, and due to the fact that [NP] was still a minor when he engaged in such criminal activity against

       the plaintiff, all civil-liability of [NP]'s unlawful actions against the plaintiff while [NP] was a minor falls upon [NP]'s parents, defendants

       [JSP&KAP].

07.    [JJB] is a former White/Caucasian/American next-door neighbor of the Plaintiff - fonnerly residing at [ 792 KINGFISHER LANE,

       Leander, TX 7864 1)     [792KLLTX7864 l ], that according to the plaintiffs limited knowledge and/or public-records and/or public-

       media-reports, resided at [792KLLTX7864 1] from approximately {2009-03} to approximately {mid-20 12}. According to current

       public-records and/or public-media-reports, [JJB] has a substantial criminal record, having served significantly more than one year in a

       Texas jail and/or T exas prison. According to the plaintiffs best estimates, [JJB], at the time of her residence at [792KLLTX7864 I], was

       approximately 150 pounds, approxin1ately 5-feet-7-inches tall.

08 .   [BR] is the (formerly-minor, now-adult) son of defendant [RSR]. According to the plaintiff's best estimates and most recent information

       known to the p laintiff, [BR] is of the White/Caucasian/American color/race/nationality, approximately 6-feet-2-inchcs tall and weighs

       approximately 240 pounds.

09.    "Summerlyn Property Owners Association" ("[SPOA]") is the private-corporation [HOA] of the [Summerlyn) subdivision. Unless

       othe1wise specified, in this lawsuit, the tenn "the [HOA]" and any acronym containing (singular-form) "HOA" shall refer to [SPOA].

       [SPOA] - most of its current/former Board-of-Directors, at least some of its current/former attorneys/paralegals, all of its current/former

       property-management-companies (and associated current/former property-management-company-employees) - are all either direct

       wih1esses or potential witnesses to at least some of the incidents documented in this lawsuit.

10.    "RealManage" [RealManage] is the Lin1ited-Liability-Company, property-management-company representing [SPOA] during the initial

       years of {2009} through {mid-2016}.

11 .   "Spechum Association Management" ("[SAM]") is the Limited-Liability-Company, property-management-company representing

       [SPOA] during the latter years of {mid-2016} tlu·ough {PRESENT-DAY} .

12 .   [DMP] is a former White/Caucasian/American neighbor resident of the [Summerlyn) subdivision, formerly residing-at and/or owning

       the property [785 KINGFISHER LANE, Leander, TX 78641) ("[785KLLTX7864 l ]"), that was a Board-Member of the [SPOA]

       Board-of-Directors for a ve1y short period of time (,s) . [DMP] acted as a crony/co-conspirator and/or extra-legal agent/front/proxy of

       [JSP&KAP],[RSR] in-order-to protect and insulate both [JSP&KAP],[RSR] and the [HOA] from all liability involved from

       [JSP&KAP]'s, [RSR]'s racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses committed against the plaintiff.

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       According to the plaintifrs limited knowledge and/or public records, [DMP] resided at [785KLLTX7864 I] from approximately {201 1-

       09} to approximately {2018}, and served as a [SPOA] Board-Member from approximately {2017-11} to approximately {2018-04}.

       According to the plaintiffs best estimates, [DMP], at the time of his residence at [785KLLTX7864 I], was approximately 190 pounds,

       approximately 6-fcet tall.

13.    [TH) is a former White/Caucasian/American neighbor resident of the (S11mmerlyn) subdivision, formerly residing-at and/or owning

       the property [785KLLTX78641] from approximately {2009-03} to approximately {201 1-08}.

14.    [JH] and [SH], [JH&SH], husband and wife, are former White/Caucasian/American neighbor residents of the [Summerlyn]

       subdivision - formerly residing-at and/or owning the property [780 KfNGFISHER LANE, Leander, TX 78641] , ("

       [780KLLTX7864 I]") - that according to the plaintiff's limited knowledge and/or public records, resided at [780KLLTX7864 I] from

       approximately {2009-03} to approximately {2016}. According to the plaintiff's best estimates, [JH] - not to be confused with [SPOA-

       CM-JH] - at the time of his residence at [780KLLTX7864 I], was approximately 190 pounds, approximately 6-feet-1-inches tall.

15.    [GR] is a current or former White/ Hispanic/American neighbor resident of the [Summerlyn] subdivision - residing-at and/or owning

       the property [780KLLTX7864 I] - that according to the plaintiff's limited knowledge and/or public records, has been residing-at (or at

       least owning) [780KLLTX7864 I] since the year {2016}. According to the plaintiffs best estimates, [GR], at the time of the {2017}

       incidents documented in this lawsuit, was approximately 190 pounds and approximately 6-feet tall.

16.    [SPOA-P-BC], not to be confused with former [SPOA-CM-BC] (see below), is a current or former White/Caucasian/American resident

       the [Summerlyn] subdivision that is a former President of the [SPOA] Board-of-Directors. According to the plaintiffs limited

       knowledge and/or public records, [SPOA-P-BC] served as a [SPOA] Board-of-Director from approximately {2009} (or a year prior to

       {2009}) until his resignation as the [SPOA] President on-or-about the month of {2019-09}.

1 7.   [SPOA-VP-AH] is a current or former White/Caucasian/American resident the [Summerlyn] subdivision that is a former Vice-

       President of the [SPOA] Board-of-Directors. According to the plaintifrs limited knowledge and/or public records, [SPOA-VP-AH]

       served as a [SPOA] Board-of-Director from approximately {2009} (or a year prior to {2009}) until she lost her re-election campaign on

       or about the month of {2019- 11 }.

18.    [SPOA-MaL-ML] is a current or former White/Caucasian/American resident the (Summerlyn] subdivision that is a former Board-

       Member of the [SPOA] Board-of-Directors. According to the plaintiffs limited knowledge and/or public records, [SPOA-MaL-ML]

       served as a [SPOA] Board-of-Director (Member-at-Large) from approximately {2018} until she lost her re-election campaign on or

       about the month of {2019-11}. According to the plaintiff's limited knowledge and/or recollection, [SPOA-MaL-ML] had once stated

       that she was either a current or former employee of the State of Texas, specifically, the ~Texas Department of Public Safety~

       [TDoPS].

19.    [SPOA-CM-BC] is a former Community-Manager (or Assistant-Community-Manager) of the [SPOA]. According to the plaintiffs

       limited knowledge and/or public records, [SPOA-CM-BC] served as a [SPOA] Community-Manager (or Assistant-Community-

       Manager) from approximately {2009} to approximately {2011}.

20.    [SPOA-CM-MA] is a former White/Caucasian/American Community- Manager of the [SPOA]. According to the plaintiffs limited

       knowledge and/or public records, [SPOA-CM-MA] served as a [SPOA] Community-Manager from approximately {2011} to

       approximately {2014} .

21 .   [SPOA-CM-MWJ is a former Community-Manager of the [SPOA]. According to the plaintiffs limited knowledge and/or public records,


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       [SPOA-CM-MW] served as a [SPOA) Community-Manager from approximately {2015} to approximately {mid-2016}.

22.    [SPOA-CM-CD] is a former White/Caucasian/American Community-Manager of the [SPOA). According to the plaintiff's limited

       knowledge and/or public records, (SPOA-CM-CD] served as a [SPOA] Community-Manager from approximately {mid-20 16} to the

       month of {201 9-09}.

23.    [SPOA-CM-JH) is a former White/Caucasian/American Community-Manager of the [SPOA). According to the plaintiff' s limited

       knowledge and/or public records, [SPOA-CM-JH] served as a [SPOA] Community-Manager from approximately {20 19-09} to

       approximately {mid-2021} .

24.    [MP] is a former White/Caucasian/American resident the [Summerlyn) subdivision that was a Board-Member of the [SPOA] Board-

       of-Directors from a period of time spanning approxiniately {2014} (or a year prior to {2014}) through (approximately) the end of

       {2015} . According to the plaintiff's limited knowledge and/or public-records and/or public-media-reports, [MP] may still be a current or

       former Board-Member of another Property-Owners-Association located within Central-Texas.

25 .   [CLC] and [RAC), [CLC&RAC], husband and wife, are former White/Caucasian/American next-door-neighbor residents of the

        [SummerlynD subdivision, formerly residing at (792 KINGFISHER LANE, Leander, TX 78641] [792KLLTX7864 l). According

       to the plaintiff's limited knowledge and/or public records, [CLC&RAC] resided-at and/or owned-property-at [792KLLTX7864 l ] from

       approximately {2012- 1O} to approximately {2016-04}.

26 .   [CB] and [KB], [CB&KB], husband and wife, are former White/Caucasian/American next-door-neighbor residents of the

        [Summerlyn] subdivision, formerly residing at (792 KINGFISHER LANE, Leander, TX 78641] [792KLLTX7864I]. According

       to the plaintiff's limited know ledge and/or public records, [CB] resided-at and/or owned-property-at [792K.LLTX78641] from

       approximately {2016-04} to approximately {2019-09} . According to the plaintiff's best estimates, [CB], at the time of his residence at

       [792KLLTX7864 l ], was approximately 200 pounds, approximately 5-feet-9-inchcs tall.

27.    "[TCEQ] James Lancaster" [TCEQ-JL] is a current or former White/Caucasian/American employee of the iTexas-Commission-

       for-Environmen tal-Quali ty➔ [TCEQ). At the time of his unconstitutional-and-unlawful search/interrogation of the plaintiff and

       plaintiff's property on-or-about the date of {2017-05-28}, [TCEQ-JL] was approximately 225 pounds, 6-feet- 1-inches-tall.

28.    "[WCSO] Sheriff Deputy Peter Parks" ("[WCSD-PP]") is a current or former White/Caucasian/American Sheriff Deputy of the

       [WCSO] that clearly, repeatedly and egregiously violated numerous of the plaintiff's rights via numerous acts of racial-oppression,

       discrimination and racketeering-activity against the plaintiff, and committed several retaliatory (thus felonious) and racially-motivated

       hate-crimes and racketeering-acts against the plaintiff, during the month of {2011-08}. According to the plaintiff's best estimates,

       [WCSD-P P], at the time of the documented incidents in {20 11 }, was approximately 200 pounds, approximately 6-feet tall.

29.    "[WCSO] Sheriff Deputy JOHN-DOE-24" ("[WCSD-JD-24]") is a current or former White/Caucasian/American Sheriff Deputy of the

       [WCSO] that was dispatched to the scene of the plaintiff's prope1iy on-or-about the date of {20 11 -08-30}, due to a 9-1- 1 call made by

       the plaintiff's brother [PK].

30.    "[WCSO] Sheriff Deputy JANE-DOE-25" ("[WCSD-JD-25)") is a current or former White/Caucasian/American Sheriff Deputy of the

       [WCSO] that was dispatched to the scene of the plaintiff's property on-or-about the date of {20 I 1-08-30}, due to a 9-1-1 call made by

       the plaintiffs brother [PK].

31.    "[WCSO] Sheriff Deputy Stacy Pryor" ("[WCSD-SP]") is a cmTent or former White/Caucasian/American Sheriff Deputy of the

       [WCSO] that clearly and repeatedly violated multiple of the plaintiffs rights via multiple acts of racial-oppression and discrimination


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       against the plaintiff, in the month of {2011-08} and {2012-03). According to the plaintiffs best estimates, [WCSD-SP], at the time of

       the documented incidents in {2011}, was approximately 200 pounds, approximately 5-feet-8-inches tall.

32.    "[WCLE] Police Officer JOHN-DOE-21" ("[WCPO-JD-2 I]") is a current or former [WCLE] White/Caucasian/American Police officer

       (most likely, either Sheriff-Deputy or Constable-Deputy) that the plaintiff encountered in the [Summerlyn)        {2011} "National Night

       Out" event.

33.    "[WCSO] Sheriff Sergeant Travis" ("[WCSS-T)") is a current or fonner Sheriff Sergeant of the [WCSOJ who was the Sergeant superior

       to [WCSD-PP) and [WCSD-SP) during the incidents in {2011 }/ {2012).

34.    "[WCSO) Sheriff Administrator Shannon Sandell" ("[WCSA-SS]") is a current or former Sheriff Administrator of the [WCSO) who

       provided information/contacts to the plaintiff for incidents in {2011 }/ {2012}.

35.    "[WCSO] Sheriff Detective Newell" ("[WCSDet-N]") is a cutTent or former Sheriff Detective of the [WCSO) that refused to charge

       [JJB) even from [JJB]'s most-basic crimes of criminal-mischief/illegal-dumping against the plaintiff.

36.    "[WCSO] Sheriff Deputy Doan Cesar" ("[WCSD-DC)") is a current or former African-American Sheriff Deputy of the [WCSO] that

       took in a crhne-report along with evidence from the plaintiff at the plaintiffs property [788KLLTX7864 l] on or about the date of

       {2019-07-30}. According to the plaintiffs best estimates, [WCSD-DC), at the time of the documented h1cidents in {2019}, was

       approximately 6-feet-tall, approximately 190 pounds.

37.    "[WCSO] Sheriff Deputy JOHN-DOE-6" ("[WCSD-JD-6]") is a current or former White/Caucasian/American Sheriff Deputy of the

       [WCSO], who accompanied [WCSD-DC), and thus, took h1 a crime-report along with evidence from the plah1tiff duru1g the same

       u1cident dated {2019-07-30).

38.    "[WCSO] Sheriff Deputy JOHN-DOE-13" ("[WCSD-JD-13]") is a current or fom1er White/Caucasian/American Sheriff Deputy of the

       [WCSO), who was summoned onto the plaintiffs private-property in-order-to interrogate the plaintiff due to a malicious complaint by

       defendant [RSR) made at nighttime duru1g the month of {2017-04).

39 .   "[WCSO] Sheriff Deputy (FIRST -NAME-UNKNOWN) Conner" ("[WCSD-CJ") is a current or fonner Sheriff Deputy of the [WCSO)

       that took in a report of criminal-trespass onto the plaintiffs private-property, and despite of the fact that there was already a warning

       citation issued to the perpetrator, [RSR), refused to charge, [RSR).

40.    "[WCSO) Sheriff Deputy Matthew Decker" ("[WCSD-MD]") is a current or former White/Caucasian/American Sheriff Deputy of the

       [WCSOJ that trespassed onto the plaintilfs property and perfonned an unconstitutional-and-unlawful search/interrogation of the plaintiff

       and plaintiffs property [788KLLTX78641] on or about the date of {2020-02-09}. Accordu1g lo the plaintiff's best estimates, [WCSD-

       MD], at that moment in time, was approximately 190 pounds, approximately 6-feet-1-inches-tall.

41.    "[WCSO] Sheriff Deputy JOHN-DOE-22" ("[WCSD-JD-22]") is a current or former White/Caucasian/American Sheriff Deputy of the

       [WCSO) that accompanied [WCSD-MD) during another brief search of the plaintiffs property on or about the approximate date of

       {2020-02-24). According to the plaintiffs best estimates, [WCSD-JD-22), at that moment in tune, was approximately 200 pounds,

       approxhnately 6-feet tall.

42.    "[WCCHD] Sanitarian Sam Thomas" ("[WCCHDS-ST)") is a current or fonner White/Caucasian/American employee of the [WCCHDJ

       that trespassed and performed an unconstitutional-and-unl1wful search/seizure of the plaintiffs property on or about a day in the month

       of {2013-06). According to the plah1liffs best esthnates and/or recollection, [WCCHDS-ST), at that moment in time, was

       approximately 190 pounds, approxhnately 6-fcet tall.
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43.    "[WCCHD] Team-Lead Steve Gihner" ("[WCCHDTL-SG]") is a current or fo1mer employee (Team-Lead) of the [WCCHD] that

       provided information to the plaintiff over the phone on or about the month of {2013-06}.

44.    "[WCSO] Sheriff Deputy JOHN-DOE-20" ("[WCSD-JD-20]") is a current or former White/Caucasian/American Sheriff Deputy of the

       [WCSO] that accompanied [WCSD-JD-8] during the final moments of the unconstitutional-and-unlawful search of the plaintifrs

       property on or about the date of {2020-02-06}. According to the plaintiffs best estimates, [WCSD-JD-20], at that moment in time, was

       approximately 200 pounds, approximately 6-feet tall.

45 .   "[WCSO] Sheriff Deputy Chris Pena" ("[WCSD-CP]") is a current or former White/Hispanic/American Sheriff Deputy of the [WCSO]

       that accompanied (WCSD-MD] in the unconstitutional-and-unlawful search/interrogation of the plaintiff al the plaintiffs property

       [788KLLTX7864 I] on or about the date of {2020-02-09}. According to the plaintiffs best estimates, [WCSD-CPJ, at that moment in

       time, was approximately 210 pounds, approximately 5-feet-11-inches tall.

46.    "[WCSO] Sheriff Detective Wayne Passailaigue" ("[WCSDet-WP)") is a cum:nt or former Sheriff Detective of the [WCSO].

47.    "[WCSOJ Sheriff Detective JOHN-DOE-23" ("[WCSDet-JD-23)") is a current or former Sheriff Detective of the [WCSOJ that made a

       phonecall to the plaintiff on-or-about the date of {2021-01-22} regarding the plaintiffs reporting of racially-motivated hate-crimes by

       [JSPJ and [RSR).

48.    "[WCCOJ Constable Deputy Robert Tijerina" ("[WCCD-RT)") is a current or former White/Hispanic/American Constable Deputy of

       the [WCCO] that pe1forrned one-or-more unconstitutional-and-unlawful search(s) of the plaintiffs property during the years of {2017)

       and {2019}. According to the plaintiffs best estinmtes, [WCCD-RT], at the moments in time that he entered the plaintiffs property,

       was approximately 200 pounds, approximately 5-feet-8-inches tall.

4 9.   "[WCCOJ Constable Deputy David Moore" ("[WCCD-DM)") i.s a current or former White/Caucasian/American Constable Deputy of

       the [WCCO] that perfonned one-or-more unconstitutional-and-unlawful search(s)lseizure(s) of the plaintiffs property during the year of

       {2015). According to the plaintiffs best estimates, [WCCD-DM], at the moments in time that he entered the plaintiffs property, was

       approximately 200 pounds, approximately 5-feet-11-inehes tall.

50 .   "[WCCOJ Constable Deputy JOHN-DOE-4" ("[WCCD-JD-4)") is a current or forrner White/Caucasian/American Constable Deputy of

       the [WCCO] that made multiple racist and abusive statements while the plaintiff was on the plaintiffs parents property,

       [******LTX7864 l ], on or about the date of {2020-02-03}. According to the plah1tiff s best estimates, [WCCD-JD-4], at that moment

       in tune, was approximately 180 pounds, approximately 5-feet-10-h1ches tall.

51.    "[WCCO] Constable Deputy (FIRST-NAME-UNKNOWN) Holt" ("[WCCD-Holt]") is a current or former African-American Constable

       Deputy of the [WCCOJ that unlawfully interrogated and blackmailed/threatened the plaintiff at the plaintiffs prope1ty on issues related

       to property-maintenance durh1g the date of {20 I7-08-16}, despite of the fact that the plah1tiff had already retained an attorney

       ([ATTORNEY-PS]) to represent the plaintiff on all matters related to property-maintenance on-or-about the previous month of {2017-

       04}.

52.    "[WCCO) Constable Deputy (FIRST-NAME-UNKNOWN) Stinsoil" ("[WCCD-Stinsoil]") is a current or former African-American

       Constable Deputy of the [WCCO] who accompanied [WCCD-Holt] in aforementioned unlawful inte1Togation of the plaintiff at the

       plaintiffs property during the date of {2017-08-16}.

53.    "[WCSO) Sheriff Deputy JANE-DOE-12" ("[WCSD-JD-12)") is a current or fonner Sheriff Deputy of the [WCSO] that later identified

       herself as "[WCSOJ Sheriff Deputy Brandi Moore" ("[WCSD-BMJ").
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54 .     "[WCSO] Sheriff Deputy Don Zachary" ("[WCSD-DZ]") is a current or former Sheriff Deputy of the [WCSO] who updated crime-

         reports for crimes reported by the plaintiff in the month of {20 11-09}.

55.      "[WCSO] Sheriff Deputy Kiernan" ("[WCSD-K]") is a current or former Sheriff Deputy of the [WCSO] who updated crime-reports for

         crin1es reported by the plaintiff in the month of {2011-09} .

5 6.     "[WCSO] Sheriff Deputy Schaefer" ("[WCSD-S]") is a current or fo1mer Sheriff Deputy of the [WCSO] who updated crime-reports for

         crimes reported by the plaintiff in the month of {2011 -09} .

57 .      "[WCSO] Sheriff Deputy Prez" ("[WCSD-Prez]") (Badge-Number-4778) is a current or former Sheriff Deputy of the [WCSO] who

          provided further information to the plaintiff regarding crime-procedure on-or-about the month of {2012-04}.

58.       "[WCSO] Sheriff Deputy O'Neil" ("[WCSD-O-Neil]") is a current or fonner White/Caucasian/American Sheriff Deputy of the [WCSO]

         who stopped-his-police-vehicle-to-question the plaintiff while the plaintiff was walking within the public-property of the neighborhood

         on-or-about the morning of {2021-07-05} and the same Deputy who also visited the plaintiff on the plaintifl's property on-or-about the

         date of {2022-10-1 5} due to an alleged complaint made by a package-delive1y-person.

59.       "[WCCAO] Prosecutor Carson Walker" ("[WCCAOP-CW]") is a current or former Prosecutor employed by the [WCCAO] and/or the

          [WCDAO]. According to public records, [WCCAOP-CW] served in this Prosecutorial position since approximately {2020} or an earlier

          year.




                                                                                        §V

                                             CAUSES OF ACTION (COUNT-4):

                  DEFENDANTS' VIOLATIONS OF THE [RiaCOA] AGAINST

                                                                           PLAINTIFF

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The plaintiff asserts that the plaintiff has sufficient evidence to indisputably prove the plaintiff's [RlaCOA] claim ("COUNT-4") against all of

the defendants.




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191
Through a pattern of corrupt-malicious-predatory-and-retaliatory racketeering-activity conducted as part of a more-than-a-decade-long,

obstructive-and-reta liatory, blackmailing-and-defrauding, racketeering-enterprise against the plaintiff - the racketeering-activities of which did

affect and/or were intended to affect interstate or foreign commerce (see below) - the defendants did knowingly conspire against the plaintiff,

and did knowingly act-in-furtherance-of such corrupt-malicious-predatory-and-retaliatory conspiracy against the plaintiff to abusively

weaponize (both as "a sword and shield'1 the property-ma intenance-laws and/or other property-laws as modern-day-Jim-Crow law, in-order-

to directly engage in racial-oppression and racketeering-activity against the plaintiff, with the ultimate goal of the defendants' criminally-abusive

actions against the plaintiff being to drive the plaintiff - an immigrant-of-color/ indigenous-person - out of one-or-more White-neighborhood(s)

(also in egregious violation of the [FHA]), thus ultimately in a conspiracy and scheme to defraud the plaintiff out of both the plaintiffs money

and the plaintiffs (relatively-profitable) private-property-ownership, including, but not lin1ited to, (relatively-profit_able) private-property-

ownership in one-or-more such White-neighborhood(s).



192
As part of this decade-long-racketeering-enterprise - the organization/hierarchy of which is depicted below (see diagram) - the defendants

conspired against the plaintiff and acted-in-furtherance-of such conspiracy against the plaintiff, "under color of law", abusively weaponizing

(both as "a sword and shield'1 the property-maintenance-laws and/or other property-laws as modern-day-Jin1-Crow law to deprive and/or

attempt-to-deprive the plaintiff of the plaintiffs rights - most notably, the pla intiffs right to private-property within one-or-more Whitc-

neighborhood(s) - directly engaging in such corrupt-malicious-predatory-and-retaliatory pattern-of-racketeering-activity against the plaintiff in-

order-to achieve the defendants' ultimate goa l of de frauding the plaintiff out of both the plaintiffs money and the plaintiff s (relatively-

profitable) private-property-ownership within one-or-more such White neighborhood(s). Although [RSR] and [JSP&K.AP] are accurate ly

depicted in such diagram as the top-level-leadership of this extra-legal corrupt-malicious-predat01y-and-retaliatory racketeering-enterprise

against the plaintiff, [RSR] and [JSP&KAP] enlisted the help of otherwise legal organ izations such as the agenc ies of [WCLE] (named as co-

defendants in this lawsuit), the (SPOA] ("the [HOA]"), and otherwise seemingly law-abiding private-citizens (such as [DMP] and/or [CB]) to

act either as their enforcers/muscle/cronies and/or agents/proxies, at least in circumstances of legal actions - such as the [HOA]'s predato1y

lawsuit against the plaintiff (in the years {201 7,20 18}), and [WCLE]'s purely-reta liat01y Class-C-Misdemeanor-Public-Nuisance charge against

the plaintiff (in the years {2020,202 l }) - in-order-to insulate (and thus protect) themselves and the entire racketeering-enterprise from fac ing

the legal-consequences of their directly criminally-abusive actions of rac ial-oppression and racketeering-activity against the plaintiff.
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i93
ln particular, the defendants conspired against the plaintiff and acted-in-futtherance-of such conspiracy against the plaintiff as part of the

aforedescribed decade-long-racketeering-enterprise, performing the following racketeering-acts, through a pattern of cormpt-malicious-

predatory-and-reta liato1y racketeering-activity against the plaintiff - either individually or aggregately - but a lways in furtherance of the

defendants' overall conspiracy/scheme and associated racketeering-enterprise aimed at defrauding the plaintiff (listed in no particular order of

in1portance):

01 .   viciously retaliate ([ I 8-USC-PI-C73-§ 15 l 3],[TPeC-T8-C36-§36.06]) against the plaintiff (by committing numerous retaliato1y crimes

       against the plaintiff) for,



       ® the plaintifrs reporting of racially-motivated hate-crimes (including, but not limited to, Intimidation/Interference, Blackmail, Criminal-
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       Mischief, Illegal-Dumping, False-Report, Texas-Fraud, Terroristic-Threat, Assault, Disorderly-Conduct, Harassment) committed against

       the plaintiff by chief-racketeers [RSR],[JSP&KAP], and/or the plaintiffs initial neighbor [JJB]; AND

       @ the plaintiff's recording-of and/or reporting-of clearly unlawful racially-motivated civil-rights-violations committed against the plaintiff

       by individual members of the [WCLE] and [WCLE], as an entire institution, acting in furtherance of such corrupt-malicious-predatory-

       and-rctaliatory conspiracy against the plaintiff



       - specifically, under Texas law, the crimes of Abuse-Of-Official-Capacity ([TPeC-T8-C39-§39.02]), Official-Oppression ([TPeC-T8-

       C39-§39.03]), Criminal-Conspiracy ([TPeC-T4-C 15-§ 15.02]), Discrimination ([TCPaRC-T5-Cl 06-§106.00 I]), and in some cases,

       Misuse-Of-Official-Information ([TPeC-T8-C39-§39.06]), while under federa l law, the crimes of Deprivation-of-Rights-Under-Color-of-

       Law ([ 18-USC-PI-C 13-§242]), Conspiracy-Against-Rights ([ 18-USC-P 1-C 13-§24 1]), Intimidation/Interference ([42-USC-C45-Sll-

       §363 I],[ I8-USC-Pl-C95-§l 951],[ 18-USC-Pl-C 13-§245]).

02 .   engage in numerous and retaliatory acts of witness-intimidation ([ I 8-USC-PI-C73-§l 512],[TPeC-T8-C36-§36.05]) against the plaintiff

       and/or other witnesses in-order-to coerce the plaintiff and/or other witnesses to refrain from reporting crimes committed against the

       plaintiff and/or threaten the plaintiff with adverse consequences for reporting such crimes committed against the plaintiff.

03 .   engage in numerous and retaliatory acts of witness-tampering ([ I 8-USC-PI-C73-§ J512],[TPeC-T8-C36-§36.05]) of third-party-

       witnesses in-order-to corruptly-persuade such third-party-witnesses to testify unfavorably against the plaintiff.

04 .   threaten the plaintiff with numerous, retaliat01y and racially-motivated threats-of-murder ([ 18-USC-Pl-C96-§ 1961 ],[ 18-USC-P 1-C96-

       §1959]).

05.    attempt (and/or conspire) to use a dangerous weapon to retaliatorily assault ( '7 ) the plaintiff ([ 18-USC-P I-C96-§ 1959],[42-USC-C45-

       SII-§363 I],(18-USC-P I-C 13-§249],[18-USC-PI-C 13-§242],[18-USC-PI-C 13-§245]) during multiple incidents.

06.    engage in numerous and retaliatory acts of interference-with-commerce-by-threats-or-violence ([ I 8-USC-P I-C95-§ 1951 ],[18-USC-PI-

       C95-§l 959]) against the plaintiff(and/or one-or-more of the plaintiffs family members) and the plaintiffs private-property.

07 .   engage in numerous and retaliato1y acts of Interference-with-Federally- Protected-Activities ([ 18-USC-P1-C 13-§245]) against the plaintiff

       (and/or one-or-more of the plaintiffs family members) ( 0 ) .

08.    engage in numerous and retaliato1y acts of felonious stalking ([TPeC-T9-C42-§42.072],[I 8-USC-PI-C95-§l 95 I]) - including both in-

       person stalking and online stalking - against the plaintiff.

09.    engage in numerous and retaliatory acts of vandalism of the plaintiffs private-property, the sum damages of which, resulted in a

       felonious dollar-amount of criminal-mischief ([TPeC-T7-C28-§28.03],[ I 8-USC-PI-C95-§ 1951]) against the plaintiff.

10.    retaliatorily destroy/conceal (and/or conspire-to/attempt-to destroy/conceal) at least some of the evidence-of the defendants' crimes ([ 18-

       USC-PI-C73-§ 1512],[ I 8-USC-PI-C73-§I 519],[TPeC-T8-C37-§37.09]) committed a!:,,ainst the plaintiff, and in at least some cases,

       retaliatorily destroy/disable at least some of the plaintiffs recording-equipment and associated infrash·ucture ([J 8-USC-PI-C95-§ 1951]),

       including but not limited to, the plaintiffs security-cameras/security-camera-cables/security-camera-infrastructure (such as the physical

       part(s) of a building onto which such security-cameras have been installed), and the plaintiffs body-worn-camera - all of such recording-

       equipment that was del.iberately and lawfully insta lled and/or used by the plaintiff to capture the defendants' virtually-limitless and

       seemingly-endless-stream-of hate-crimes/racketeering-acts/civil-rights-violations/abuses conunitted against the plaintiff.

11 .   retaliatorily fabricate evidence and/or conspire-to/attempt-to fabricate evidence ([ I 8-USC-PI-C73-§ 1503],[ I 8-USC-PI-C73-§ 1519],

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       [TPeC-T8-C37-§37.09]), to be used in a purely-retaliatory Class-C-Misdemeanor-Public-Nuisance prosecution of the plaintiff- again, in

       the defendants' abusive weaponization of the property-maintenance-laws as modern-day-Jim-Crow law against the plaintiff.

12.    retaliatorily abuse power, authority and the legal process by providing and using fraudulent and/or deliberately-misleading statements

       ([18- USC-PI-C47-§ I00 I]) in-order-to deliberately thwart-and-impede the "due administration ofjustice" ([ l 8-USC-PI-C73-§l 503]) at

       least in some case(s), including the aforementioned fabricated evidence as part of multiple fraudulent, racially-motivated, criminal

       complaints against the plaintiff (dating back to {2011}) and as part of at least one civil complaint against the plaintiff - none of which,

       ultimately succeeded.

13.    engage in multiple acts of retaliatory mail-fraud- via the ~United States Postal Service ➔ , [USPS) ([18-USC-P I-C63-§1341]) -

       against the plaintiff - all in furtherance of the defendants' overall conspiracy and scheme to defraud the plaintiff.

14.    engage in numerous acts ofretaliatory wire-fraud - via online (private-messaging, social-media-posting, form-submission)

       communications ([18-USC-PI-C63-§1343)) - against the plaintiff - all in furtherance of the defendants' overall conspiracy and scheme to

       defraud the plaintiff.

15 . engage in numerous acts of retaliatory blackmail ([ 18-USC-Pl-C41-§873),[TPeC-T7-C31)) against the plaintiff - abusively weaponizing

       the property-maintenance-laws, of all things:

       ® in-order-to keep the plaintiff silent about the aforelisted hate-crimes/racketeering-acts/civil-rights-violations/felony-crimes ; AND/OR
       ® in-order-to coerce the plaintiff to perfonn certain actions/services which they considered to be valuable; AN D/OR
       © in-order-to coerce, via racial-intin1idation, the plaintiff to move o ut of "their" (exclusive-and-pure) White-neighborhood
       - all of the goals of which were valuable to the defendants.

16.    engage in numerous other and retaliatory acts of obstruction-of-justice ([ J8-USC-PI-C73-§ 1503)) against the plaintiff, not only by

       performing the above, but by deliberately covering-up/concealing the above crin1es ([1 8-USC-PI-C73-§ 15 19)), and in the process, even

       predatorily railroading the plaintiff in a fraudulent and purely-retaliatory Class-C-Misdemeanor-P ublic-N uisance prosecution of the

       plaintiff ([ I 8-USC-PI-C73-§ 15 13]) - the prosecution of which did not succeed.

1 7.   with each-and-every one of the the aforedescribed retaliatory actions also being a separate violation of the [FHA) (see below), which

       strictly prohibits any retaliatory action(s) taken against those "aggrieved person(.\)" (such as the plaintiff) who have made fair-housing-

       complaiut(s) and/or taken part in fair-housing-investigation(s).

18.    with the ultimate goal of all of the above pattern-of-racketeering-activity (and [FHA] violations) not only to cause both immense,

       ilTeparable and pennanent/long-tern1 harm onto the plaintiff, damages to the plaintiff's private-properly and injury to the plai11tiff's

       businesses, but much more importantly - m furtherance of the defendants' overall corrupt-malicious-predatory-and-retaliatory conspiracy

       and scheme to defraud the plaintiff out of both of the plamtiffs money and the plamtiffs (relatively-profitable) private-property-

       ownership - particularly private-property-ownership withilt one-or-more White neighborhood(s).




SI94
Although the plaintiff has amassed a very-large amount of il1crimmating evidence against the defendants, sufficient il1-order-to prove the

plaintiffs [RlaCOA] clailn against the defendants, the plamtiffasserts that the plaintiffs claims of "conspiracy", retaliatory "111itness-

ta111pering", "wire-fraud" (and even "mai/7(raud'1 agai11st the defendants is not lilnited solely to the evidence that the plail1tiff currently has in


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the plaintiffs possession. Instead, the plaintiff asserts that:



® at least some (if not most) of[WCLE]'s recorded interactions with racketeer co-defendants [RSR],[JSP&KAP] will further corroborate the
plaintiffs claim, assuming that [WCLE] did not engage in evidence-destruction (felony-crime and racketeering-act) of such recorded

interactions; AND

@ one-or-more of the defendants have admitted to using multiple social-media-platforms and/or private-messaging platfo1ms to engage in such
"conspiracy", retaliatory "witness-tampering", and/or "wire-:fi·aud" against the plaintiff.



A,; such, the plaintiff will only be able to determine the full range and scope of the defendants' conspiracy to violate the plaintiffs rights along

with the defendants' scheme to defraud the plaintiff - and all of the defendants' actions in furtherance of such conspiracy against the plaintiff-

if-and-when the plaintiff is granted the capability and opportunity by this Court to conduct Discove1y and/or Depositions from:



® the defendants; AND
@ the defendants' other co-conspirators, proxies, and agents; AND
© the other implicated non-parties (see section above); AND
@ those particular social-media-platfom1S and moderators/administt·ators thereof; AND
® those particular private-mcssaging-platfonns


- the latter two of which will most likely be necessary especially in cases where one-or-more of the defendants may have engaged in additional

(and unlawful) evidence-destruction against the plaintiff.



195
In addition to all of plaintiffs asse1tions about the aforedescribed pattern-of-racketeering-activity performed as pa1t of such racketeering-

enterprise involving a\\ of the defendants, the plaintiff also has sufficient evidence to prove that al\ three private-citizens named as racketeer co-

defendants in this lawsuit- [RSR],[JSP],[KAP]- additionally violated [18-USC-PI-C43-§9l3] and/or [l8-USC-PI-C43-§912] and/or [TPeC-

T8-C37-§37.ll] against the plaintiff, fraudulently operating "under color of law", with the fraudulent authority of law-enforcement, and that all

three of these private-citizens, while acting "under color <?[ law":



® executed (or attempted to execute) unconstitutional-and-unlawful search(s)/seizure(s) of the plaintiffs private-property; AND/OR
® executed (or attempted to execute) unconstitutional-and-unlawful arrest(s)/detention(s) of the plaintiff (and/or one-or-more of the plaintiffs
family-member(s)) ; AND/OR

© demanded "money, paper, document, 01· thing of value" of the plaintiff (and/or one-or-more of the plaintiffs family-member(s)).


- with all three of these actions considered to be felony crimes under Texas law, [TPeC-T8-C37-§37. l l]. The plaintiff further asserts that, on

one-or-more occasions, [WCLE] did unlawfully deputize private-citizen racketeer co-defendants [KAP] and/or [JSP] in-order-to provide

fraudulent authority to private-citizen racketeer co-defendants [KAP] and/or [JSP], so that [KAP] and/or [JSP] could act "under color of law"

to execute one-or-more of the aforementioned unlawful search(s)/seizure(s) of the plaintiffs private-property.
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196
Although no part of the plaintiffs [RlaCOA) claim against the defendants relies-upon, rests-upon or hinges-upon this particular assertion, the

plaintiff additionally asserts that the defendants not only obstructed justice by directly engaging in the aforedescribed pattern of corrupt-

malicious-predatory-and-retaliatory racketeering-activity against the plaintiff, but also indirectly, by preventinglhindering/deten-ing the plaintiff

fro m approaching federal-law-enforcement - the [US-FBI) and the [US-AO) - and presenting the plaintiffs evidence to such federal-law-

enforcement, because such federal-law-enforcement would have seen that the defendants:



® got the [HOA) to s ue the plaintiff (albeit, via blackmail, and based upon fraudulent-motivations); AND
@ charged and prosecuted, although unsuccessfully, the plaintiff for Class-C-Misdemeanor-Public-Nuisance


- and as a result of these facts, such federal-law-enforcement would not have taken the plaintiffs complaint against the defendants seriously.

T herefore, the plaintiff asserts that the defendants repeatedly and egregiously abused power, authority and legal-process over the plaintiff,

engaging in the aforedescribed pattern of c01Tupt-malicious-predatory-and-retaliatory racketeering-activity against tlie plaintiff ultimately in

order to maliciously and fraudulently discredit and character-assassinate (@ ) the pla intiff, while protecting-and-shielding themselves from

liability for the decade of hate-crimes/racketeering-acts/civil-rights-violations/abuses that they aggregately committed against the plaintiff as a

result of the decade of their conspiracy/scheme and associated racketeering-enterprise to defraud the plaintiff.




197
Again, the plaintiff asserts that the defendants acted with absolute impunity as part of the aforedescribed conspiracy/scheme and associated

decade-long-racketeering-enterprise against the plaintiff, because they believed the plaintiff to be powerless (especially due to the plaintiff

racial-profile) and of too-low-intelligence ("low-IQ') to do anything to stop it or expose it ( e) .




198
The defendants criminally-abusive decade-long-racketeering-enterprise against the plaintiff was ultimately motivated by the defendants' strong

racial-animus against the plaintiff, arising from their strong sense of racial-superiority over the plaintiff, leading them to believe that the plaintiff

is a low-IQ, subhuman animal, unworthy of even the most basic human rights, let alone the right to private-property-ownership.



199
The plaintiff also asserts that [WCLE) made a crucial decision in {20 11 }/ {20 12} when it maliciously and predatorily conspired-with and acted-

in-furtherance-of-such-conspiracy-with [RSR],[JJB) and [JSP) to egregiously violate the rights of the plaintiff - in those doc umented incidents

of {2009-2012}.



1100

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After this crucial decision to predatorily violate the rights of the plaintiff that [WCLE] made in {201 l }/ {2012), it then became virtually

impossible for [WCLE] to charge and prosecute any existing and future crin1es (of which there were several dozen counts) committed by these

individuals - or for that matter, any of its own employees - because, if these individuals were to be charged and prosecuted for any of these
crimes against the plaintiff, then it would have been revealed during the criminal trial(s) of these individuals that [WCLE] - an ove,whelmingly

majmity-White govei-nment located in the ove1whchningly majority-White County of Williamson - repeatedly and consistently conspired-with

and acted-with malicious individuals of the White-American race-and-nationality ([RSR],[JSP&KAP],[JJB],[WCSD-PP],[WCCD-Harrcll] and

their co-conspirators) to egregiously violate the rights of an immigrant-of-color/indigenous-person (the plaintiff) - a very incriminating and

extremely damaging fact that defendant [WC] would never have wanted the public to know about.



i101
Thus, [WCLE] did only do what it could do to avoid or, at least, postpone liability against itself and such co-defendants by repeatedly covering

up the crimes committed by these co-defendants and some of its own employees against the plaintiff, while in the process, also repeatedly

retaliating against the plaintiff, especially whenever the plaintiff made it clear that the plaintiff intended to press charges against the perpetrators.



i102
In other words, after [WCLE] made that crncial decision in {201 l} /{2012) to conspire with racketeer co-defendants [RSR],[JSP] to

egregiously violate the rigl1ts of the plaintiff, [WCLE] had essentially dug itself into a hole - a hole that [WCLE] continued to deepen in the

decade that followed - an increasingly-deep hole that it became increasingly difficult, if not impossible, for [WCLE] to get-out-of - ultimately

and inevitably, leading to this plaintiffs [RlaCOA] lawsuit against defendants [WC], [WCLE], [JSP&KAP], [RSR].



i103
The plaintiff asserts that the aforedescribed logic, is by far, the most innocent interpretation that explains [WCLE]'s shockingly and criminally

abusive behavior/actions/conduct against the plaintiff - but even the most innocent interpretation of [WCLE]'s criminally abusive

behavior/actions/conduct against the plaintiff would be more than enough to justify and substantiate the plaintiffs [RlaCOA] claim agah1st

defendant [WC] (and one-of-more of its employees).



i104
Furthermore, even the most innocent interpretation of [WCLE]'s decade of criminally abusive actions against the plaintiff provides a cautionmy

talc of what happens after a government (or at the very least, some of its malicious employees/agencies) initially conspire-against and act-in-

furtherance-of such conspiracy with malicious private citizens in-order-to violate the rights of another private citizen - regardless ofwhether-or-

not racial-animus was a motivating factor.



i105
Althougl1 no part of the plaintiffs [RlaCOA] claim (or [FHA] clahn or [KKKA]:§1983 or [KKKA]:§1985 clahn) - as already substantially
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described above - against defendant [WC]/[WCLE] relies-upon, rests-upon or hinges-upon this additional assertion, the plaintiff also has

strong-reason-to-believe, based on the evidence and fact-pattern accumulated by the plaintiff, that [WCLE] was prepared to offer [RSR],

[JSP&KAP] with immunity (or at least substantial immunity/mitigation) from prosecution for their over-a-dozen count of felony-

crimes/racketcering-acts and/or racially-motivated-hate-crimes aggregately committed against the plaintiff as part of their conspiracy/scheme

and racketeering-enterprise against the plaintiff, if [RSR),[JSP&KAP) followed through (by providing fraudulent-testimony, fabricated-

evidence, etc.) on a successful, but purely-retaliatory and fraudulent, Class-C-Misdemeanor-Public-Nuisance prosecution against the pla intiff -

one of the more final parts/plans of the defendants' conspiracy/scheme and racketeering-enterprise against the plaintiff that ultimately did not

succeed to fruition - since [WC] prosecutors dismissed the Class-C-Misdemeanor-Public-Nuisance charge against the plaintiff after the plaintiff

retained [ATTORNEY-TK], pied "not guilty", demanded a jury trial, and requested discovery for approximately 4 months without being

provided with any discove1y (or any evidence) at any point in time.



i106
The plaintiff further asserts that the defendants predatory weaponization (both as a ''sword and shield'1 of the property-maintenance- laws

a nd/or other property-laws as modem-day-Jim-Crow law against the plaintiff was not only, a fraudulent legal cover and pretext under which

the defendants could abuse the legal process and justify their crimes/civil-rights-violations (including racketeering-acts) against the plaintiff, but

also, that much of this predatory weaponization actually relied upon the defendants' abusive gaslighting against the plaintiff: the defendants'

repeated (although ultimately unsuccessful) attempts to paint the fraudulent narrative, again, for no other reason than their racia l-animus arising

from their strong sense of racial-superiority over the plaintiff, that there was something wrong with the plaintiff, while at the same time, the

defendants were indisputably engaging in felony-crimes/racketeering-acts against the plaintiff - ove11 acts of the defendants' fraud and

gas lighting against the plaintiff that the plaintiff seeks to fully expose by litigating this lawsuit.



i107
As part of their decade-long predatory conspiracy against the plaintiff and their predatory actions taken against the plaintiff in furtherance of

such conspiracy, the defendants expertly - not much unlike extremely skilled-and-intelligent con-artists - weaponized the property-maintenance-

laws and/or other prope11y-laws both as modern-day-Jim-Crow law and as fraudulent pretext under which they could not o nly freely,

collaboratively and rejoice fully engage in the 'Jim sport" ( cp) of the virtually endless stream of hate-crimes/civil-rights-violations/racketeering-

acts/abuses against the plaintiff, but more importantly, with the ultimate goal of such conspiracy being to deprive and defraud the plaintiff out

of the plaintif f s money and (relatively-profitable) private-property-ownership within one-or-more White neighborhood(s).



i108
The plaintiff asserts that, if a police-department or any other law-enforcement-agency hires even one malicious/abusive person into the ir ranks,

that even the hiring of that one malicious/abusive police-officer/ law-enforcement-official is enough to allow the entire organization of law-

enforcement to be operating as a co1Tupt organization against at least some victim(s) - the reason being that when even that one

malicious/abusive police-officer/ law-enforcement-official engages in civil-rights-violation(s) and/or racketeering-activity, the rest of the police-

department and law-enforcement, more-often-than-not, remains silent about it - a well known and documented phenomenon known as the

"Blue Wall of Si le nee".
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1109
At least in this particular context, the "Blue Wall ofSi fence" should be considered to be the functional-equivalent of the "Omer/a" - the code of

silence used by members of crin1inal organizations - as in both cases, the silence is intended to protect both those members and the entire

organization from liability - not only civil liability but a lso criminal liability.



1110
As the plaintiff intends to prove, [WCLE] did not simply hire one malicious/abusive police-officer/law-enforcement-official into their ranks, but

especially under the former Sheriff [WCS-RC], if even some of the reputable media report(s) are even partially accurate, [WCS-RC] made it a

policy of hiring malicious/abusive police-officers/law-enforcement-officials into the ranks of the (WCLE] (see below) and there are even

allegations that [WCS-RC] (and/or the leadership directly underneath [WCS-RC]) rewarded [WCLE] police-officers that engaged in at least

one-or-more types of misconduct (see below).



1111
The plaintiff asserts that even defendant [WC]'s hiring of [WCS-RC] as a [WCC] approximately 2 decades ago is extremely scandalous (to

state the least) because [WCS-RC] was hired by defendant [WC] as a [WCCD] after he was either fired or forced to resign from the ~Austin

Police Department ► , (APO], following an alleged police-brutality incident involving him in which he and/or the ~City- of-Austin ► ,

[CoA], were sued in federal court for civil-rights-violation(s) against one-or-more person(s)-of-color - a federal lawsuit that was not dismissed,

but instead, settled out-of-court prior to trial (see below).



1112
The plaintiff asserts that the same logic applies to the issue of racial-biases or racial-animus within a police-depmtment or other law-

enforcement-agency - that, if a police-department or other law-enforcement-agency hires even one malicious/abusive person with racial animus

into their ranks, then the entire organization will be likely to operate with such racial-bias or racial-animus when that one malicious/abusive

person engages in civil-rights-violation(s) and/or racketeering-activity against person(s)-of-color - again, due to the well known and documented

phenomenon known as the "Blue Wall ofSilence".



1113
For example, Jim Newton, a current or former journalist of the ((Los Angeles Times)), has stated about the tLos Angeles Police

Department ► ("[LAPD]"):


     "The [LAPDJ in the 1990s /,ad reacl,ed a point in its l,ist01y , where racism, if not openly acceptecl, at least was quietly tolerated. It was

     not something that would get you i11 trouble, lo be see11 as sort-of cavalierly racist - and that's where it's not 'a.few bad apples'. That's

     an organization that is genuinely corrupt."



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il14
There is only one, extremely-limited, scenario under which police-officer(s) and/or other law-enforcement-employee(s) are lawfully allowed to:



® lie to a private-citizen: only when such law-enforcement-official(s) already have sufficient probable-cause to suspect that such private-citizen
has committed a crime, or has been otherwise involved in a crime - and even in such case, such law-enforcement-official(s)' lying is only

permitted to help elicit other incriminating information about the suspected crime(s). Even more importantly, such law-enforcement-official(s)

never have the authmity to lie to p1ivate-citizen(s) that are victim(s) of any crime(s).



® execute a search/seizure without consent and without a search-warrant on a private-citizen's private-property: only when such law-
enforcement-official(s) already have sufficient probable-cause to suspect that such private-citizen has committed a ctime, or has been otherwise

involved in a crime AND there are ce1tain exigent/urgent circumstances (see below) that require the law-enforcement-official(s) to execute a

search/seizure without such lawfully-obtained search-warrant.



© detain a private-citizen: only when such law-enforcement-official(s) already have sufficient probable-cause to suspect that such private-
citizen has committed a crime, or has been otherwise involved in a crime.



In every single instance documented in this lawsuit when official(s)/employee(s) of the [WCLE] have:



® directly (either in person, or by phone) lied to the plaintiff, a private-citizen, the plaintiff has never been a suspect in any crime nor been
othmwise involved in any crime, and instead, the plaintiff has abnost always been a victim of crime.



@executed clearly unconstitutional-and-unlawful search(s}/seizure(s) of the plaintiff's private-properly, the plaintiff has never been a suspect

in any crime nor been otherwise involved in any crime.



© detained the plaintiff, the plaintiff has never been a suspect in any crime nor been otherwise involved in any crime.


For example, even when the plaintiff's predatory neighbors with extreme-racial-animus against the plaintiff - [JSP&KAP],[RSR) - and/or their

cronies/co-conspirators had, acting repeatedly and fraudulently in-concert-with [WCLE], accused the plaintiff of any privale-property-

maintenance-violation, such alleged private-property-maintenance-violation does not constitute a crime because [WCLE) first has to issue a

warning-citation to the plaintiff allowing the plaintiff 30 days (or l O days based on the circumstances) to cure/abate the alleged private-

property-maintenance-violation. The plaintiff intends lo prove that the only reasons for the official(s)/employee(s)/agency(s) of [WCLE] to:

® unlawfully lie to the plaintiff; AND
@conduct such brazenly unconstitutional-and-unlawful search(s)/seizure(s) of the plaintiff's private-property; AND

© unlawfully detain the plaintiff -
- were to:

® (unlawfully) punish the plaintiff, as the defendants derived great pleasure/joy out of punishing the plaintiff; AND/OR
@ conceal/cover-up crimes that they committed against the plaintiff; AND/OR
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© retaliate against the plaintiff for the plaintiffs reporting of crime(s) and/or recording of crime(s) ; AND/OR
@ otherwise obstmct-juslice against the plaintiff, for the decade of racially-motivated hate-crimes/racketeering-acts/civil-rights-
violations/abuses - committed by [JSP&KAP],[RSR] and some of [WCLE]'s own employee(s)/official(s) who directly acted h1 furtherance of

such predat01y conspiracy/scheme with these malicious neighbors (with extreme-racial-animus) against the plaintiff - that the plaintiff had the

"audacity" to report and/or record.



<.!{115
For more than a decade, the plaintiff provided government defendant [WC], and specifically [WCLE], with more-than-sufficient, if not ample,

information, primarily through the plaintiffs reporting of racially-motivated hate-crimes (including retaliatory, thus felonious, hate-crimes), that
defendants [RSR], [JSP] (and h1itially, also the plaintiffs initial neighbor [JJB]) not only harbored extreme-racial-animus against the plah1tiff,

but were/are also of the far-right-wing-extremist persuasion - even if such individuals did not formally belong to one-or-more far-tight-wing-

exlremist group(s)/cell(s) (see section eoneeming far-right-wing-extremism below) - that harbored extreme far-right-wing-extremist political-

anhnus against the plaintiff, a political-activist. While government defendant [WC], and specifically [WCLE], is not allowed lo cm1ail any type

of political expression by far-right-wing-extremist(s) that would be considered to be first-amendment-protected activity, \WCLE) does,

however, have the governmental responsibility, for the safety of all residents - and in particular, the most vulnerable minority-residents of the
County of Williamson - at the very least, to minimally monitor the activities of such far-right-wing-extremist(s) and, whenever the activities

cross the line into criminal te1Tito1y, prosecute those crhninal offenses to the fullest extent of the law. For example, the [US-FBI], other federal

h1telligence agencies (along with some non-profit watchdogs such as the [SPLC] and the [ADL]) have repeatedly- for many decades - rep011ed

that the far-right-wing-extremist threat is, by far, the greatest threat to both domestic and international security, especially due to the

overwhelmingly larger volume of crhninal activity committed by the relatively larger group(s)/cell(s) of such far-right-wing-extremists, at least

some of which even cross into the territory of domestic and/or international terrorism (see section below). Government defendant [WC], and
specifically [WCLE], due to then· own right-wing leanings, not only did not take on this responsibility as part of the sworn official duties of law-

enforcement with respect to the far-right-wing-extremist crimhml activities of racketeer co-defendants [RSR],[JSP&KAP] (and h1itially, the

plaintiffs initial neighbor [JJB]l against the plaintiff, but instead, actually repeatedly consph·ed-with and acted-with those same far-right-wing-

extremists named as racketeer co-defendants in this lawsuit - [JSP&KAP],[RSR] - that had repeatedly and aggregately committed several

dozen counts of hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff, in-order-to:



® further violate the plaintiffs 1ights ; AND
@ fully deprive the plaintiff of the plaintiffs rights - most notably the plaintitfs rights to private-property; AND

© fully obstruct-justice against the plaintiff; AND
@ drive the plaintiff, not only an immigrant-of-color/indigenous-person but also a (national-based) political-activist, out of an "ultra-
conservative" White neighborhood; THUS ULTIMATELY

® in a conspiracy/scheme to defraud the plaintiff out of both the plaintiffs money and the plaintiffs (relatively-profitable) private-property-
ownership withh1 such White neighborhood.



Ar;; a more-than-a-decade-long, part-time political-activist, citizen-journalist, legal-observer and archivist, the plaintiff also studies United-States-


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politics (and to a much lesser extent, international-politics) along with media-coverage of such politics, and as such student, the plaintiff is tmly
unaware of any case in recent American-history - the last 3 decades - where any governmental organization (at the local level, state level or

federal level) has actively and directly conspired, in such a brazenly-open and unabashed manner, with far-right-wing-extremist(s) to violate the

rights of the targeted-victim(s) of such far-right-wing-extremist(s). The closest recent high-profile case that comes to the plaintiffs mind is the

vicious hunting and brutal murder of African-American young-man Ahmaud Arbery at the hands of far-right-wing-extremists (and formeY-\..'\w-

enforcement/fmmer-anned-forces private-citizens) Travis McMichael and Gregory McMichael. However, even in such case, it cannot be

stated that [GCLE] actively conspired with those far-1ight-wing-extremists to commit the actua~ isolated, one-off crime of murder, and instead,

all the evidence known to the plaintiff shows that [GCLE] tried to cover-up that isolated, one-off crime because the McMichaels were former-

law-enforcement/former-armed-forces, and thus, not because they were far-right-wing-extremists. Furthermore, to the best of the plaintiffs

limited knowledge and underntanding, there was no recognizable pattern-of-racketeering-activity involving [GCLE] acting in furtherance of any

conspiracy with those far-right-wing-extremists (see section concerning national high-profile cases below). The plaintiff asserts that not only did

[WCLE]'s predatoty actions, in a more-than-a-decade-long conupt-malicious-predat01y-and-retaliatory conspiracy with racketeer co-

defendants [JSP&KAP],[RSR], against the plaintiff encourage, legitimize, foster and nurture, vile, uncouth, barbaric and generally-uncivilized

behaviors/actions/conduct against the plaintiff - not only from far-right-wing-extremist co-conspirator racketeer defendants [JSP&KAP],[RSR],

but from some of its own officials/employees - but also, [WCLE]'s predat01y actions against the plaintiff, in furtherance of such conspiracy

actually rewarded and incentivized all of these individuals for the hate-crimes/civil-rights-violations/racketeering-acts/abuses that they

aggregately committed against the plaintiff as part of such conspiracy - thus, creating a modern-day-Jim-Crow, obstructive-and-retaliato1y,

blackmailing-and-defrauding, toxic environment of racist lawlessness around the plaintiff. The plaintiff asserts that [WCLE] was, h1 actuality,

not enforcing the laws of the State of Texas (nor the restrictive-covenants of the neighborhood) when it came to the plah1tiffand the plaintiffs

far-right-wing-extremist neighbors [JSP&KAP],[RSR],[JJB], but h1stead, by:



® predatorily targeting the plaintiff in conspiracy with far-right-wing-extremist co-conspirator racketeer defendants [JSP&KAP],[RSR] for the
plaintiffs alleged (and innocent) failure and/or "inability,, to maintain the plaintiffs private-property according to White-American standards ;

AND



@ protecth1g the plaintiffs far-right-wing-extremist co-conspirator racketeer defendants [JSP&KAP],[RSR] (and initial neighbor [JJB]) and
some of its own employees from facing the consequences for the racially-motivated hate-crimes/racketeering-acts/civil-lights-violations/abuses

that such far-right-wing-extremist neighbors and [WCLE] employees had aggregately committed against the plaintiff; AND



© protecting the plaintiffs far-right-wing-extremist neighbors from facing the consequences for their numerous, constant - and in some cases,
far-more-egregious - restrictive-covenant violations -



- [WCLE] was truly, and in actuality, enforcing a modern-day-Jim-Crow version of "White Supremacy" against the plaintiff - retaliating a!:,,ainst

the plaintiff, obstructing-justice against the plaintiff, blackmailing the plaintiff, publicly-humiliating the plaintiff, and gaslighthlg the plah1tiff - all

in a conspiracy and scheme to defraud the plaintiff, an immigrant-of-color/indigenous-person, out of both the plaintiffs money and the

plaintiffs (relatively-profitable) private-property-ownership within one-or-more of such White neighborhood(s). The plaintiff asserts that all of

these particular set of facts are strongly indicative (as the plaintiffs evidence strongly demonstrates) that municipal-corporation government
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defendant [WC]'s, and specifically [WCLE]'s, predatory conspiracy and actions taken, in-concei1-with far-right-wing-extremist co-conspirator

racketeer defendants [JSP&KAP],[RSR], in furtherance of such conspiracy - through a pattern of corrupt-malicious-predatory-and-retaliatory

racketeering-activity - truly constitutes a "corrupt organization" and racketeering-enterprise (as defined by [RlaCOA]) against the plaintiff

(even lasting for a period of over ten years)- thus prosecutable, at least in Federal Civil Court, under the plaintiffs [RlaCOA] claim against the

defendants.



1116
The plaintiff asserts that, for almost-all, if not all, of the time-period documented in this lawsuit, defendant [WC] - as a municipal-corporation

local-government - has, more-likely-than-not, been receiving Federal funds (from the iUni ted States ► ) allocated for combating hate-crimes

- covering all aspects involved in such combating of hate-crimes - including, but not limited to, the reporting of hate-crimes to federal-law-

enforcement and recording of hate-crime incidents (accurately and thoroughly) onto federal-database(s) - especially since multiple federal hate-

crin1e laws enacted over the many decades ([HCP A],[CHCA],ctc.) have allocated such Federal funds for State and Local governments. Jf it is

true that defendant [WC] has been receiving such Federal funds, then the plaintiff additionally asserts that despite of defendant [WC] receiving

such Federal funds, defendant (WC] has deliberately failed to properly and/or adequately use such Federal funds for all aspect(s) of combating

hate-crimes, including, but not limited to - the chargin~prosecution of hate-crimes and/or reporting of hate-crimes to federal-law-enforcement

and/or recording of hate-crime incidents onto fcderal-database(s) - at the very least, in cases where the vicitms of such hate-crimes are

perceived-to-be "powerless" (such as the plaintiff). If these two particular asse11ions are true, then these assertions fu11her corroborate the

plaintiffs claim that defendant [WC]'s law-enforcement, [WCLE], has truly been operating as a "corrupt organization" - by virtue of the fact

that defendant [WC] is:

® accepting such Federal funds while deliberately failing to properly and/or adequately use such Federal funds for the intended purpose of
such Federal funds ; AND

® retaliating and/or otherwise obstructing-justice against such ''powerless" private-citizen victim(s) (such as the plaintiff) that do report hate-
crimes.



If these two particular assertions are true, then by acting in such corrupt manner, defendant [WC] has not only only been defrauding the

plaintiff but also the iUni ted States ➔ •



1117
For all of, but not limited to, the reasons specified as follows, it is indisputable that the defendants' decade-long, corrupt-malicious-predatory-

and-retaliatory conspiracy to obstruct-j ustice-against the plaintiff and scheme to defraud the plaintiff - conducted as part of such decade-long

racketeering-enterprise against the plaintiff did affect and/or was-intended-to-affect interstate or foreign commerce, through such pattern of

aforespecifted corrupt-malicious-predato1y-and-retaliatory racketeering-activity:

01.    Eve1y hate-crime ''substantiaf/y affects interstate commerce in many ways, including", but not limited to, all the ways specified by the

       ~United States Congress• findings in [34-USC-SUI-C305-§30501] (see above). For over a decade, the defendants

       conspiratorially and aggregately engaged in a seemingly-endless-stream-of hate-crimes against the plaintiff as part of such corrupt-

       malicious-predatory-and-retaliatory racketeering-enterprise against the plaintiff.

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02.    The plaintiff is an immigrant-of-color, a (nationally-based) political-activist, a (real-property) private-property-owner, an engineer, an

       entrepreneur, a farmer, an archivist and a consumer. In evc1y one of those capacities, but not limited to those capacities, the plaintiff is a

       person directly involved in interstate or fo reign commerce - and with the plaintiff suffering all of the aforedescribed pattern-of-

       racketeering-activity from the defendants, acting in such corrupt-malicious-predato1y-and-retaliato1y conspiracy against the plaintiff.

03 .   During the entire time-period specified in this lawsuit, the plaintiff owned and continues-to-own one-or-more piece(s) of (real-property)

       private-property and the plaintiff is also an heir and/or beneficiary of one-or-more additional piece(s) of (real-property) private-property -

       including, but not limited to, such (real-property) private-property located outside of the United States - all of which are, by their very

       nature, involved in interstate or foreign commerce. For example, it is estimated that up-to or approximately forty-percent of (real-

       property) private-property purchases in the Central-Texas area are from out-of-state investors, while at least some percentage of private-

       property purchases and/or foreclosures are from out-of-state fmancial institutions. Two-or-more of the defendants repeatedly, co1rnptly

       and fraudulently blackmailed the [HOA] to fo reclose on one of the plaintiffs (real-property) private-properties - thus, in a conspiracy

       and scheme to defraud the plaintiff out of the plaintifPs (real-property) private-property-ownership within such White neighborhood.

04 .   The plaintiffs (real-propetty) private-property [788K.LLTX78641] (and in-particular, the plaintifPs [HOUSE]) is a private-propetty (and

       building) involved in interstate or fore ign commerce. In particular, transactions of interstate or foreign commerce are executed from

       within [788KLLTX7864 I], with delivery of products and/or services involved in interstate or foreign commerce to-and-from

       [788KLLTX7864 l]. The defendants' pattern-of-racketeering-activity caused substantial damages to the plaintifPs private-property

       [788KLLTX7864 I] - a felonious amount in damages was done to at least one of the plaintiffs private-properties, a private-propetty

       involved in interstate or foreign commerce, as part of the aforedescribed racketeering-enterprise.

05 .   Two-or-more of the defendants' racketeering-acts against the plaintiff were also either suffered by (and/or directly witnessed by) the

       plaintiffs senior-citizen [MOTHER] and/or the plaintiff's senior-citizen [FATHER] - both immigrants-of-color who, and whose private-

       properties of which, are also indisputably involved in interstate or foreign commerce ( 6) .

06.    The defendants' pattern-of-racketeering-activity caused a substantial amount in damages to three-or-more of the plaintifPs businesses -

       with each of these businesses involved in interstate or foreign commerce.

07 .   A pri.maiy (although not exclusive) goal of the aforedescribcd racketeering-enterprise was to defraud the plaintiff out of both of the

       plaintiffs money and one-of-more of the plaintiffs private-properties, with such private-property(s) being involved in interstate or

       foreign commerce.

08 .   Two-or-more of the defendants conspired to stop one-or-more of the plaintiff's (national-based) political activities - the activities of

       which, are not only first-amendment-protected, but also involve interstate or foreign commerce.

09.    At least one defendant threatened to cut the plaintiffs internet-service-cable - with both the internet-service and the plaintifPs use of

       such internet-service being involved in interstate or foreign commerce.

10.    At least one defendant demanded the plaintiff, an immigrant-of-color, to return back to the country of the plaintiffs national-origin - a

       demand clearly intended to affect interstate or foreign commerce.

11.    One-or-more of the defendants engaged in one-or-more racketeering-acts of "wire-fraud" against the plaintiff, which were transmitted

       by wire (online social-media communications and/or private-messaging communications) in interstate or foreign commerce. Furthennore,

       the plaintiff asserts that, even to this day, one-or-more of the defendants' communications (particularly social-media communications

       and/or private-messaging communications) in furtherance of the conspiracy/scheme to defraud the plaintiff are, more-likely-than-not, still

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       stored in out-of-state computer-servers that are involved in interstate or foreign commerce.

12 .   One-or-more of the defendants engaged in one-or-more racketeering-acts of "mai I-fraud" against the plaintiff, which were transmitted

       via the [USPS], an agency of the •united states ➔ involved in interstate or foreign commerce.

13 .   Three-or-more of the defendants engaged in one-or-more acts of 11/nte1ference-wi th-commerce-by-threats-or-violence" ([ 18-USC-Pl-

       C95-§l 951 ],[ l 8-USC-Pl-C95-§ 1959]) against the plaintiff, the plaintiffs private-property (and/or one-or-more of the plaintiffs family-

       member(s)).

14.    all of the defendants engaged in one-or-more acts of "/11te1fere11ce-with-Federaffy-Protected-Activities" ([I 8-USC-PI-C 13-§245])

       against the plaintiff - with such "Federally-Protected-Activities" being involved in interstate or foreign commerce (0) .

15.    The plaintiff has had to hi.re multiple attorneys - each of whom are involved in interstate or foreign commerce - to defend the plaintiff's

       rights from the direct and indirect criminally-abusive actions of the aforedescribed racketeering-enterprise.

16 .   The defendants' criminally-abusive decade-long-racketeering-enterprise against the plaintiff coerced the plaintiff, through no choice of

       the plaintiff's own, to take multiple, directly protective measures such as, but not lin1ited to:

       ® wearing a body-worn-camera almost-always recording whenever the plaintiff goes outdoors ; AND
       ® installing fence lock(s); AND
       © attending and recording [SPOA] meetings for further indications of the defendants' fraud against the plaintiff; AND
       @ monitoring,recording publicly-visible onli.ne communications (social-media-postings) for defendants' on line

       harassment/stalking/witness-tampering/wire-fraud against plaintiff ; AND

       ® installing increasing numbers of security-cameras (and associated security-camera-system infrastructure and recording-medium) on
       the plaintiffs private-property and even private-property owned by the plaintiffs senior-citizen [PARENTS] -

       - with much of this recording equipment and/or security-devices being purchased as part of interstate or foreign commerce.




91118
To simplify and shorten the terms used in this lawsuit, the term "racketeering-ellle1prise", as it is used in the rest of this lawsuit, shall be short-

form for the defendants' more-than-a-decade-long obstructive-and-retaliatory, blackmailing-and-defrauding racketeering-enterprise against the

plaintiff as summarized above, and as further detailed in this lawsuit. Additionally, a lthough the plaintiff repeatedly uses the time-period short-

form "decade" to describe the defendants violations of both federal and state laws against the plaintiff, in actuality, most of such violations of

law spanned over a decade, as the period of time documented in this lawsuit is the month of {2009-03} through {PRESENT-DAY}.



91119
In this lawsuit, the plaintiff reveals over a decade of the defendants' numerous violations of both Texas criminal law (especially T exas felony

law) and federal criminal law against the plaintiff. Although the plaintiff reveals over a decade of the defendants numerous violations of the

Texas criminal law (especially Texas felony law) against the plaintiff, the plaintiff asserts that since all of these Texas crimes - beyond any-and-

all reasonable doubt - are racially-motivated, such crimes are also federal crimes under the:

@ [FHA) (see section below): [42- USC-C45-SIJ-§3631] ; AND/OR
@ [CRAo l968]: [18-USC-Pl-C l3-§242), [1 8-USC-PI-C l 3-§241], (18-USC- PI-C l 3-§245); AND/OR

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© [HCPA] - [18-USC-PI-Cl3-§249].


Thus, for the pw-poses of this lawsuit, any-and-all of such federal crimes:
® committed in retaliation against witness-victim (plaintiff or third-party-wi111ess(s) to crimes committed against plaintiff) ; AND/OR
@ committed in-order-to otherwise obstruct-justice against plaintiff ; AND/OR

© committed as part of a scheme to defraud the plaintiff ; AND/OR
@ committed as part of a scheme to deprive the plaintiff of private-property ; AND/OR

® committed as part of a scheme to deprive the plaintiff of the plaintiffs equal-rights ; AND/OR
® conunitted as part of a conspiracy in furtherance of any of the above -
- are fully-actionable under the plaintiffs:

@ [RiaCOA) claim ; AND/OR

@ [FHA] claim (see relevant section below); AND/OR
© [KKKA):§1985 claim (see relevant section below) ; AND/OR
@ [KKKA]:§1983 clain1 (see relevant section below); AND/OR

® [CRAol 866]:§1982 claim (see relevant section below); AND/OR
® [CRAo 1866):§ 1981 claim (see relevant section below) ; AND/OR
@ [CRAol 964):§2000d (see relevant section below) claim -

 - against the defendants.



 9[120
 The plaintiff has also suffered other crimes by other unnamed residents and/or guests of the neighborhood, but not only because the plaintiff

 was tied up in researching, compiling and formulating this lawsuit, but also far more importantly, because the plaintiff has repeatedly been

 retaliated against by [WCLE], the plaintiff has deliberately failed to report these other crimes, because the plaintiff has-considered and

 continues-to-consider [WCLE] to be an organization that is purely-malicious and retaliatory towards the plaintiff and an organization that has

 acted with extreme racial-bias, if not overt racial-animus, against the plaintiff. Thus, the plaintiff has, for over a decade, been in a fully-

 vulnerable position to any-and-all crimes by any person(s) due to the decade of criminally-abusive, obstructive-and-retaliatory, blackmailing-

 and-defrauding pattern-of-racketeering-activity by the defendants that has effectively silenced the plaintiff by placing the plaintiff into an

 extremely dangerous position of powerlessness, or at the very least, "leam ed helplessness" - a crippling condition suffered by victims of human

 experimentation (   e ).

 9[121
 Due to their relative lack of power, private citizens (including the plaintiff) and the general public place an enormous amount of trust on

 powerful law-enforcement-agencies to enforce the laws of the land. The plaintiff asserts that defendant [WC)'s malicious and predatory actions

 of obstruction-of-justice for the crimes committed against the plaintiff (including crin1es committed by some employees of [WCLE]) for over a

 decade is the most extreme violation of the trust that any private-citizen and the public reasonably places on government ( "abuse ofposi lion <J(

 trnst'').

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1122
Although the plaintiff makes many additional assertions to bolster the plaintiffs [RlaCOA] clain1 against the plaintiff, per the [RlaCOA], the

plaintiff only needs to prove that the defendants conspired with each-other and acted with each-other to commit racketeering-acts against the
plaintiff, through a pattern of racketeering-activity conducted as part of a racketeering-enterprise against the plaintiff, the racketeering-activities

of which did affect and/or was-intended-to-affect interstate or foreign commerce. Furthermore, per the [RlaCOA], although the plaintiff has an

abundance of evidence of the defendants' racketeering-acts against the plaintiff, the plaintiff only needs to prove a pattern of such racketeering-

activity consisting of two or more racketeering-acts within an open-ended period of time, with the additional requirement that no more than ten

years pass between two consecutive racketeering-acts.



1123
Additionally, per the [RlaCOA], the plaintiff only needs to prove that the defendants engaged in such racketeering-enterprise against the

plaintiff. Thus, in order to succeed in the plaintiffs [RlaCOA] claim against the defendants, the plaintiff does not need to prove that the

defendants engaged in any type of racketeering-enterprise against any other person(s).



1124
The plaintiff asserts that federal-lawmakers wrote the [RlaCOA] as a long-ranging and open-ended law that was meant to target pattern-ot0

racketeering-activity conducted as pmt of a racketeering-enterprise over an extended (or open-ended) period of time. Thus, the plaintiff asserts

 that the [RlaCOA] is directly applicable to the extended time period - spanning over IO years - of pattern-of-racketeering-activity committed by

 the defendants against the plaintiff - as substantially documented in this lawsuit.



 1125
 Although the [RlaCOA] was originally written as part of federal criminal law, there is both a civil component ([l 8-USC-Pl-C96-§1964]) and

 criminal component to the [RlaCOA], and the plaintiffs filing of COUNT-4 of this civil lawsuit against the defendants only enforces the civil

 component of the plaintiffs [RlaCOA] claims against the defendants - as the plaintiff, who is a private citizen, clearly has no enforcement-

 authority to enforce the criminal component of the plaintiffs [RlaCOA] claims against any of the defendants.



 1126
 Pursuant to [l 8-USC-PI-C96-§1964(c)], which states in pai1, ''Any person injured in his business or property by reason ~fa violation of

 section 1962 of this chapter may sue therefor in any appropriate United States district court ... ", the plaintiff asserts that the defendants'

 numerous acts in violation of the [RlaCOA] against the plaintiff not only contributed to the plaintift's significant iitjuries sustained within such

 (real-property) private-prope1iy (and place of business), but also caused:



 ® significant (and felonious) amounts of damages to the plaintiffs private-property (and place of business); AND

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® significant economic damages to the plaintiffs multiple businesses - involved in interstate and/or foreign commerce, and which are run
primarily, if not almost-exclusively, from within such private-property (and place of business); AND



© while most importantly, having the ultimate goal of (fully) defrauding the plaintiff out of all of the plaintiffs money and the plaintiffs
(relatively-profitable) private-property-ownership, as summarized above.




                                                                           §VI

                         CAUSES OF ACTION (COUNT-2 ,. COUNT-3)

       DEFENDANTS' VIOLATIONS OF THE [KKKA] :§1983 AGAINST

                                                                      PLAINTIFF

       DEFENDANTS' VIOLATIONS OF THE [KKKA]:§1985 AGAINST

                                                                      PLAINTIFF


 <[127
 The plaintiff asserts that this lawsuit is, in pa1t, a deprivation-of-rights-under-color-of-law ([KKKA]:§1983) lawsuit and a conspiracy-against-

 rights ([KKKA]:§1985) lawsuit - in the most classic and quintessential form:



 Herc, the plaintiff, asserts that at least three private citizens - defendants [JSP],[KAP],[RSR] (initially four private citizens including [JJB]) - all

 of the White/Caucasian/American/Christian color/race/nationality/religion - did knowingly, repeatedly, corruptly, maliciously, predatorily, and

 retaliatorily conspire against the plaintiff, and did act in furtherance of such corrupt-malicious-predatory-and-retaliatory conspiracy against the

 plaintiff - along with other White-American private citizen co-conspirators/agents/proxies/cronies and an ove1whchningly majority-White-

 American municipal-corporation government (located within the overwhehningly majority-White-American County of Williamson) - defendant

 [WC] - and specifically defendant [WC]'s law-enforcement-agencies - [WCLE] - to repeatedly - over the course of over a decade - violate and

 deprive the rights of the plaintiff, an immigrant-of-color/indigenous-person.



 <[128
 Pursuant to the plaintiffs [KKKA]:§1983 Deprivation-of-Rights-Under-Color-of-Law claims ("COUNT-2.1 ") against the defendants, the

 plaintiff seeks to present evidence to indisputably prove that the defendants did kl10wingly act both individually and in-conceit-with each

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other, for over a decade, in-order-to clearly-violate and deprive - in many cases, either repeatedly or constantly - the plaintiff's Constitutional

r1ghts and common-law rights under federal law, including, but not limited to the following Constitutional rights, listed in the order of greatest

importance (or level-of-violation) to least importance (or level-of-violation):

01.    Fourteenth-Amendme nt <* ) : the plaintiff's right to freedom-from-discrin1ination - or the pla intiff's right to equal-protection-of-the-laws

       ;AND

02.    Fifth-Amendment: the plaintiff's due-process rights to "life", "liberty", and ''property" - both procedural due-process and substantive

       due-process; AND

03 .   First-Amendment: the plaintiff's right to freedom-of-religion, freedom-of-expression, political-speech and art ; AND

04.    Fourth-Amendment: the plaintiff's rights to freedo m-from-unreasonable-searches/seizures, freedom-from-unlawful-detainment, freedom-

       from-unlawful-interrogation ; AND

05 .   Eighth-Amendment: the plaintiff's rigbt to freedom-from-cruel-and-unusual-pw1islm1ent ; AND

06.    Sixth-Amendment: the plaintiff's right to confrontation (of the plaintiff's accusers), the plaintiff's right to counsel, and the plaintiff's right

       to notice-of-accusation.




1129
Pursuant to the plaintiff's [KK.KA] :§1983 Deprivation-of-Rights-Under-Color-of-Law clain1s ("COUNT-2.2") against the defendants, the

plaintiff also seeks to present evidence to indisputably prove that the defendants did knowingly act both individually and in-concert-with each

other, for over a decade, in-order-to clearly-violate and deprive - in many cases, either repeatedly or constantly - the plaintiff's Statutory rigl1ts

and common-law rights under Texas law, including but not limited to, the plaintiff's:

01.    Texas fair-housing-rights as defined by the [TFHA] ([TPrC-TI5-C30 1]) - see next section; AND

02.    Texas crime victims' rights as codified in the [TCoCP-T I-C56A] - all of those rights afforded {by law) to victims of crime in the State of

       Texas; AND

03 .   Texas private-property rights as codified in the [TPrC-T I I-C202] - including, but not limited to, the non-discriminatory and fair

       enforcement of restrictive-covenants; along with numerous rights afforded to Texas private-property-owners living within (HOA)

       subdivisions ; AND

04.    Texas private-property rights as codified in the [TPrC-TI I-C209] - including, but not limited to, the fair procedure for enforcement of

       restrictive-covenants as they apply equally to all Texas private-property-owners (not just Texas White-American private-property-

       owners); AND

05.    Texas private-property rights as codified in [THaSC-T5-SA-C343] - concerning the unlawful entry into Texas private-property-owner's

       ''premises"; along with the Texas private-property-owner's lawful enjoyment/usage of his/her Texas private-properly ; AND

06 .   Texas private-property rigl1ts as codified in [THaSC-T5-SB-C365] - concerning the T exas private-property-owner's lawful

       enjoyment/usage of his/her Texas private-property ; AND

07 .   Texas private-property rights as codified in [TCoCP-T 1-C 18) - concerning the unlawful search/seizure occurring within a Texas private-

       property-owner's ''premises" ; AND

08 .   Texas "Protection of Property" rights as codified in [TPeC-T2-C9-SD] - commonly referred to as the Texas private-property-owner's


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       "Castle Doctrine" rights ; AND

0 9.   Texas "Protection of Persons" rights as codified in [TPeC-T2-C9-SC] - commonly referred to as the Texas private-property-owner's

       "Stand Your Ground" rights ; AND

10.




1130
Pursuant to the plaintiff's [KKKA]:§1985 "Conspiracy to inte1fere with civil rights:                Depriving (plaint!ff) of rights (and ) privileges" claim

("COUNT-3.1 ") against the defendants, the plaintiff seeks to present evidence to indisputably prove that the defendants did knowingly conspire

against the plaintiff and did knowingly act-in-furtherance-of-such-conspiracy against the plaintiff, for over a decade, in-order-to:



® "deprive" the plaintiff of "the equal protection of the laws" (1t ) ; AND


@ 'iJrevent by force, intimidation, or threat", the plaintiff, "who is lav.ji1/ly entitled to vote, ji-om giving" the plaintiffs "support or advocacy

in a legal manner, toward" and "in .favor of the election ofany la11f11/ly qualified person as an elector.for President or Vice President, or as

a Member of Congress of the United States"; AND



© "i,?iure" the plaintiff in the plaintiff's 'iierson or prop erty on account ofsuch support or advocacy"; AND


@ "deprive" the plaintiff, a citizen of the United States, "of having and exercising" the "rights and privileges" of such c itizenship - inc luding,

but not limited to, the plaintiffs Constitutional, Statutory and common-law rights listed in the [KKKA]:§ I 983 sub-section above.



i131
As already substantially o utlined in the previous section (concerning [RlaCOA]), pursuant to the plaintiffs [KKKA]:§ 1985 "Conspiracy to

inte1fere with civil rights:   Obstructing j ustice; intimidating (plaint(ff as) party, witness" claim ("COUNT-3.2") against the defendants,

the plaintiff seeks to present evidence to indisputably prove that the defendants did knowingly conspire against the plaintiff and did knowingly

act- in- furtherance-of-such-conspiracy against the plaintiff, for over a decade, in-order-to:



® "deter, by force, intimidation, or threat", the pla intiff, a party/witness, and one-or-more third-party-w itness(s) of crimes committed against
plaintiff, in "court of the Uni led States from attending such court, (and) from testijj1ing to ... matter pending therei11, fi'eely, f ully, and

truthf ully" ; AND



@ "impede, hinder, obstruct, or defeat ... the due course ofj ustice in" the State of Texas "with intent to deny" the plaintiff "the equal

protection of the laws"; AND



© "injure" plaintiff and the plaintiff's property ':for la11f11/ly enforcing, or attempting to enforce, the right o.f' the plaintiff "to the equal
protection of the laws. "
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1132
The [KKK.A], codified under [42-USC-C2 I], was originally written as part of federal civil law, and as such, the plaintiffs filing of this civil

lawsuit against the defendants only seeks to enforce such federal civil [KKK.A) claims against the defendants. However, the plaintiff, who is a

private citizen, clearly has no enforcement-authority to enforce the criminal analog of the (KKKA] against the defendants, codified under [ 18-

USC-P 1-C 13] - a substantial fraction of the defendants' civil-rights crimes committed against the plaintiff falling under the categories of [ I 8-

USC-PI-Cl 3-§242] ("Deprivation ofRights under Color oflaw'') and/or [1 8-USC-PI-C l3-§241] ("Conspiracy against Rights'') and/or (18-

USC-Pl-C 13-§245] ("lnte,ference with Federally Protected Activities'').



1133
The plaintiff asserts that defendant [WC] - and in particular, the law-enforcement-agencies of defendant [WC], (WCLE] - have policies and

procedures and practices that fully allowed for such clear, deliberate, malicious and predato1y violations-of, deprivations-of and conspiracy-

against the plaintiffs rights as substantially documented in this lawsuit.



1134
Although the plaintiff fully asserts that the defendants' egregiously discriminato1y housing practice(s) against the plaintiff (see next section

concerning [FHA],[TFHA]) were precisely due to the plaintiffs racial-profile, under the plaintiffs fourteenth-amendment ( *) right to

freedom-from-discrimination, the plaintiff also additionally asserts the "class ofone" theo1y of "equal protection" under which, the plaintiff

does not have to be a member of any such protected-class, but instead, that the defendants singled-out the plaintiff for discriminato1y treatment

on an "irrational and wholly arbitra,JI" basis, and that the defendants' conduct was motivated by a ''.1pite.f11I effort to get (the plaintiff).for

reasons wholly unrelated to any legitimate state objective. "



1135
The plaintiff asserts that the defendants' numerous acts in violation of both the [KKKA]:§1983 (COUNT-2) and the [KKKA]:§1985 (COUNT-

3) against the plaintiff (as summarized above) caused the plaintiffs injuries.




                                                                           §VII

                                       CAUSES OF ACTION (COUNT-1):

       DEFENDANTS' VIOLATIONS OF THE [FHA],[TFHA] AGAINST

                                                                    PLAINTIFF
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1136
According to the ~United States Department of Housing and Urban Development ► ("[US-HUD]"), "Housing Discrimination

under the [FHA}" is "illegal in nearly all housing ... including private housing ... and housing that receives.federal.fimding". The plaintiff

asserts that the plaintiffs housing, [788KLLTX7864 l ], is protected under the [FHA]'s definition of "Housing Discrimination" by virtue of

being both "private housing" and "housing that received.federal funding".




1137
Pursuant to the plaintiffs [FHA] claim and the plaintiffs [TFHA] claim against the defendants, the plaintiff is an "aggrieved person", with the

plaintiff, an "aggrieved person", having cumulatively and aggregately suffered numerous [FHA] and [TFHA] violations from the defendants -

acting individually and in-concert-with-each-other and in-conspiracy-with-each-other against the plaintiff from the years of {2009} through

{2023}.



1138
Pursuant to the plaintifrs (FHA] claim against the defendants, the plaintiff is also a person with "handicap", with the plaintiff, a person with

"handicap", having cumulatively and aggregately suffered numerous [FHA] violations from the defendants - acting individually and in-concert-

with-each-other and in-conspiracy-with-each-other against the plaintiff from the years of {2009} through {2023}.




 1139
Pursuant to the plaintiffs [TFHA] claim against the defendants, the plaintiff is also a person with "Disability", with the plaintiff, a person with

 "disability", having cumulatively and aggregately suffered numerous [TFHA] violations from the defendants - acting individually and in-

 concert-with-each-other and in-conspiracy-with-each-other against the plaintiff from the years of {2009} through {2023}.




 1140
 The plaintiff asserts that the defendants - both individually and collectively - both in-conspiracy-with-each-other and in-concert-with-each-

 other - acted to "coerce, intimidate, threaten" and "inte1fere-111ith" the plaintifrs "exercise or e,?joyment o.f' and "on account of (plaintiffs)

 having exercised or enjoyed" and 11011 account of (numerous persons') having aided or encouraged" the plaintiff "in the exercise or

 et/joyment of' one-or-more rights guaranteed under the [FHA), including but not limited to, the plaintiffs ownership and residence of a

 "dwelling", [788KLLTX78641), located within a predominantly White neighborhood of the County of Williamson - because ofa combination

 of the plaintiffs race and the plaintiff's color and the plaintiffs religion and the plaintiffs national-origin - such combination hereby referred to

 as the plaintiffs racial-profile.



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The plaintiff additionally asse11s that the defendants - both individually and collectively - both in-conspiracy-with-each-other and in-concert-

with-each-other - acted to "coerce, intimidate, threaten" and 11inte1.fere-with 11 the plaintiffs "exercise or e1?joyment of" and "on account of

(plaint(fj's) having exercised or e1?joyed" and "on account of (numerous persons') having aided or encouraged" the plaintiff "in the

exercise or e,ijoyrnent of' one-or-more rights guaranteed under the [FHA], including but not limited to, the plaintiffs ownership and residence

of a "dwelling", [788KLLTX7864 I], located within the County of Williamson - because of the plaintiffs "handicap" and "disability".




1142
The plaintiff additionally asserts that the defendants - both individually and collectively - both in-conspiracy-with-each-other and in-concert-

with-each-other - acted to "coerce, intimidate, threaten" and "inte1fere-with" the plaintiffs "exercise or enjoyment o..f' and "on account of

(plaint(fJ1s) having exercised or enjoyed'' and "on account ~l (numerous persons') having aided or encouraged" the plaintiff "in the

exercise or e,?joyment of' one-or-more rights guaranteed under the [FHA], including but not limited to, the plaintiffs ownership and residence

ofa "dwelling", [788KLLTX78641], located within the County of Williamson - because of the plaintiffs "actual or perceived'' "gender

identity" and/or "actual or perceived" "sexual orientation" - a specific type of sexual discrimination barred under all federal civil-rights law.



1143
The plaintiff asserts that the defendants - both individually and collectively - both in-conspiracy-with-each-other and in-concert-with-each-

other - acted to ''discriminate against" the plaintiff "in the terms, conditions, or privileges ~f sale or rental of a dwelling",

[788KLLTX7864l], "or in the provision qfservices orfacilities in connection therewith" - because of the plaintiffs racial-profile.




1144
The plaintiff additionally asserts that the defendants - both individually and collectively - both in-conspiracy-with-each-other and in-concert-

with-each-other - acted to "discriminate against" the plaintiff "in the terms, conditions, or privileges of sale or rental ofa dwelling",

 [788KLLTX78641], "or in the provision qf services orfilcilities in connection therewith" - because of a the plaintiffs "handicap" and

 "disability".



 1145
 The plaintiff additionally asse11s that the defendants - both individually and collectively - both in-conspiracy-with-each-other and in-concert-

 with-each-other - acted to "discriminate against" the plaintiff "in the terms, conditions, or privileges ofsale or rental of a dwelling",

 [788KLLTX78641], "or in the provision ofservices orfacilities in connection therewith" - because of a the plaintiffs ("actual or

 perceived') "gender identity" and/or '~'iexual orientation" - a specific type of sexual discrimination barred under federal law.



 1146
 The plaintiff asserts that the defendants - both individually and collectively - both in-conspiracy-with-each-other and in-conce11-with-each-

 other - additionally acted against the plaintiff to "make housing unavailable" to the plaintiff- primarily on the basis of the plaintiffs racial-


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profile, but also on the basis of the plaintiffs handicap/disability and the plaintiffs "actual or percdved11 gender-identity/sexual-orientation.



~147
The plaintiff asserts that the defendants - both individually and collectively - both in-conspiracy-with-each-other and in-concert-with-each-

other - additionally acted against the plaintiff to deny "housing services or facilities" to the plaintiff - primarily on the basis of the plaintiffs

racial-profile, but also on the basis of the plaintiffs handicap/disability and the plaintiffs "actual or perceived" gender-identity/sexual-

orientation.



~148
The plaintiff asserts that the defendants - both individually and collectively - both in-conspiracy-with-each-other and in-concert-with-each-

other - additionally acted against the plaintiff in-order-to "evict" the plaintiff - primarily on the basis of the plaintiffs racial-profile, but also on

the basis of the plaintiffs handicap/disability and the plaintiffs "actual or perceived" gender-identity/sexual-orientation.



 ~149

The plaintiff asserts that defendants - both individually and collectively - both in-conspiracy-with-each-other and in-concert-with-each-other -

additionally acted against the plaintiff to constantly "harass" the plaintiff - primarily on the basis of the plaintiffs racial-proftle, but also on the

 basis of the plaintiffs handicap/disability and the plaintiffs "actual or perceived'' gender-identity/sexual-orientation.



 ~150
 The plaintiff asserts that defendants - both individually and collectively - both in-conspiracy-with-each-other and in-concert-with-each-other -

 additionally acted against the plaintiff to "limit privileges, services orfadlities" of the plaintiff's "dwelling" - primarily on the basis of the
 plaintiffs racial-profile, but also on the basis of the plaintiffs handicap/disability and the plaintiffs "actual or perceived" gendcr-identity/sexual-

 orientation.



 ~151
 The plaintiff asserts that defendants - both individually and collectively - both in-conspiracy-with-each-other and in-concert-with-each-other -

 additionally acted against the plaintiff to "assign (the plaintiff) to (another) neighborhood" instead of the White neighborhood in which the

 plaintiff purchased private-property - primarily on the basis of the plaintiffs racial-profile, but also on the basis of the plaintiffs

 handicap/disability and the plaintiffs "actual or perceived" gender-identity/sexual-orientation.



 il52
 The plaintiff seeks to present evidence to indisputably prove that the defendants - either individually or collectively (in-conspiracy-with-each-
 other or in-conce11-with-each-other) - aggregately engaged in numerous and egregious Fair-Housing violations against the plaintiff, including but


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not limited to:



® multiple-dozen-count crimes of Racial-Intimidation against the plaintiff;


@ multiple-dozen-count crimes of racially-motivated Harassment/Disorderly-Conduct against the plaintiff;



© over-a-dozen-count crimes of racially-motivated (and felonious) Stalking against the plaintiff;


@ over-a-dozen-count crimes of racially-motivated Assault/ferroristic-Threats against the plaintiff including approximately-a-half-dozen-count

of Threats-Of-Murder against the plaintiff;



® multiple-dozen-count crimes of racially-motivated Vandalism (Criminal-Mischief) agai11st the plaintiff - the sum total of which resulted in a
felonious dollar-amount of damages to the plaintiff ;



® over-a-dozen-count crimes of racially-motivated Fraud (including, but not limited-to, Wire-Fraud, Mail-Fraud, and Texas-Fraud) against the
plaintiff;



@ numerous-count crimes of racially-motivated (and felonious) Evidence-Tampering/Fabricated-Evidence against the plaintiff;


 (8) over-a-dozen-count crimes of racially-motivated (and felonious) Witness-Intimidation against the plaintiff, and/or other witnesses assisting

 the plaintiff, and/or other witnesses that witnessed crimes conunitted against the plaintiff;



 (D multiple-dozen-count crimes of racially-motivated (and felonious) Witness-Tampering against the plaintiff, in-order-to corruptly

 persuade/influence other witnesses to testify unfavorably against the plaintiff ;



 Q) over-a-dozen-count crimes of racially-motivated Blackmail/Extortion against the plaintiff;


 ® multiple-dozen-count crimes of racially-motivated Interference-with-Commerce-by-Tlueats-or-Violence against the plaintiff, the plai11tiff's
 private-property (and/or one-or-more of the plaintiff's family members) ;



 (!) multiple-dozen-count crimes of racially-motivated Interference-with-Federally-Protected-Activities against the plaintiff (Cl ) (and/or one-or-

 more of the plaintiff's family members) ;



 @ multiple-dozen-count crimes of racially-motivated Deprivation-of-rights-under-color-of-law against the plaintiff;



 ® multiple-dozen-count crimes of racially-motivated Conspiracy-against-rights/Criminal-Conspiracy against the plaintiff ;


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@ multiple-dozen-count crimes of racially-motivated (and felonious) Obstruction/Retaliation against the plaintiff;


® multiple-dozen-count crimes of racially-motivated Obstruction-Of-Justice against the plaintiff;




'3[153
The plaintiff seeks to present evidence to indisputably prove that defendants [WCCO], [WCCHD], and the [WCSO] - either individually or

collectively (as part of the aforedcscribed conspiracy and associated racketeering-enterprise)- aggregately engaged in numerous crimes and/or

abuses-of-office ag-dinst the plaintiff, including but not limited to:



® multiple-dozen-count crimes of racially-motivated Official-Oppression against the plaintiff;


@ multiple-dozen-count crimes of racially-motivated Abuse-Of-Official-Capacity against the plaintiff;


© numerous-count crimes of racially-motivated Misuse-Of-Official-Information against the plaintiff;


 @ multiple-dozen-count crimes of racially-motivated Discrimination against the plaintiff;



 (J;) multiple-dozen-count acts of racial-profiling against the plaintiff;




 '3[154
 Furthermore, in addition to the extreme and irreparable injmy caused by the crimes perpetrated by the defendants agdit1st the plaintiff,

 (WCLE]'s deliberate failure to prosecute any of the multiple-dozen-count of crimes - including felony-crimes/racketeering-acts and racially-

 motivated-hate-crin1es - aggregately committed by the defendants (including some employees of [WCLE]) against the plaintiff during a period

 spanning over a decade is an egregious act of "redlining" - one of the most fundamental types of racial-discrimination - that is, a majority-

 White-American government's denial of taxpayer-funded services to an immigrant-of-color/indigenous-person - in clear violation of the [FHA]

 and the [TFHA].



 '3[155
 By deliberately failing-to and/or refusing-to prosecute any-and-all crimes committed against the plaintiff, [WCLEJ continued to send a powerful

  message, loud-and-clear, to all of these individuals (include its own employees/agencies), that the plaintiff - due to the plaintiffs minority-of-

 one racial-profile - has no rights, that all are free to continue to violate the plaintiffs rights with absolute impunity - as there will never be any

  prosecution of any crimes committed against the plaintiff. Indeed, [WCLE]'s deliberate failure and/or refusal to prosecute the initial and

  subsequent racially-motivated hate-crimes committed against the plaintiff by defendants [RSR],[JSP],[JJB], and the initial racially-motivated

  civil-rights-violations committed by some of [WCLE]'s own employees (that acted in conspiracy with [RSR],[JSP]) only served to embolden
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[RSR],(JSP&KAP],[JJB) and their other White-American cronies/co-conspirators that they were free to continue-to-commit crimes against the

plaintiff with absolute impunity.




~156
Hearing [WCLE]'s powerful and loud message, the plaintiffs predatory neighbors - [RSR], [JSP&KAP] (and initial neighbor [JJB]) - and some

of [WCLE]'s own employees/agencies have, for over a decade, engaged in overt crimes including numerous retaliatory crimes as part of the

aforedescribcd racketeering-enterprise against the plaintiff - many of the felonious ty pe, many of the racketeering-activity type, all of w hich are

racially-motivated hate-crimes/civil-rights-violations - and have faced absolute ly no consequences for those crimes whatsoever (other than

being rewarded for doing so), while during that same period of time, those same defendants conspired-with each other and acted-with each

other to abusively weaponize (both as a "sword and shield'1 the property-maintenance-laws as modern-day-Jim-Crow law, in an unsuccessful

attempt to criminalize the plaintiff for the plaintiffs (innocent) failure and "inability" to:

® maintain the plaintiffs private-property according to their (hypocritically-enfo rced) White-American standards ; AND
@ live a lifestyle - in direct conflict with the plaintiffs indigenous (religious) lifestyle - that confo1ms to their (hypocritically-enforced) White-
.American standards; AND

© each individual action of which, and the combination of which, are clear violations of the plaintiffs civil-rights and the plaintiffs fa ir-
housing-rights under the [FHA],[TFHA].



~157
Any action to threaten, coerce, intimidate-or-interfere-with anyone exercising a fair-housing rig},t or assisting others who exercise the rig},t is a

clear violation of the [FHA). The plaintiff asserts that for over a decade, in response to the plaintiffs exercising of the plaintiffs fair-housing-

rights and in response to numerous persons assisting the plaintiff's exercising of the plaintiffs fair-housing-rights, the defendants have

repeatedly committed actions of threats, coercion and intimidation/interference against the plaintiff and/or those assisting the plaintiff in the

exercise of the plaintiffs fair-housing-rights - thus in the process, clearly and repeatedly violating the [FHA] against the plaintiff.



~158
Any action to retaliate against a person who bas filed any fair housing complaint or assisted in any fair housing investigation is a clear violation

of the [FHA]. The plaintiff asserts that, as early as {20 11 } and as early as late as {2022}, in response to the plaintiffs repeated reporting of

racially-motivated hate-crimes (many of which are codified within the [FHA] and the [TFHA]) and racially-motivated civil-rights-violations

committed by the defendants against the plaintiff, the defendants have repeatedly retaliated against the plaintiff, inc luding, but not limited to,

further counts of retaliatory crimes against the plaintiff. The plaintiff a lso further asserts that the plaintiff had reported information about such

racially-motivated hate-crimes/civil-rights-violations to be used in an official fair-housing-investigation and/or official fair-housing-complaint,

coordinated by a local non-profit agency, the ( Austin Tenants Council) ("[ATC]"), which coordinates official fair-hous ing-investigations and

fair-housing-complaints w ith the [US-HUD] and/or ~Texas Workforce Commission ➔ ("[TWC)") - the federal and state agencies

(respectively) that lrnndle official housing discrimination complaints.




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'1[159
Any action to harass a person because of race, color, religion, sex (including gender-identity - "actual or perceived'~, handicap, familial status,

national origin, or any combination thereof, is a clear violation of the [FHA]. The plaintiff asserts that for over a decade, the plaintiff has faced

the most egregious forms of racially-motivated harassment from the defendants, with the defendants targeting the plaintiff precisely due to the

plaintiffs minority-of-one combined-racial-profile (a combination of the plaintiffs race, color, religion, and national origin). The plaintiff

additionally asserts that for over a decade, the plaintiff has faced the most egregious forms of harassment from the defendants, with the

defendants targeting the plaintiff precisely due to the plaintiffs handicap/disability. The plaintiff additionally asserts that for over a decade, the

plah1tiff has faced the most egregious forms of harassment from the defendants, with the defendants targeth1g the plaintiff precisely due to the

plaintiffs ("actual or perceived') "gender identity" and/or '~\·exual orientation".



'1[160
Even ignoring the decade of racially-motivated, crimhrnlly-abusive actions committed by the defendants agah1St the plaintiff - for which the

defendants have faced absolutely no le6,al consequences whatsoever - the plah1tiff asserts that the defendants have maliciously (thus

deliberately) mis-interpreted the property-mah1tenance-laws (and other properly-laws), and that the defendants maliciously (thus deliberately)

enforced the property-maintenance-laws (and other property laws) both in an egregiously racially-discriminatory manner but also as modcrn-

day-Jim-Crow law, predatorily targeting the plah1tiff - an hnmigrant-of-colotih1digenous-person:

® for eviction from a White neighborhood (which the plaintiff asserts is, by far, the most egregious violation of the [FHA]); AND
@ for deprivation oflhe plaintiffs right to private-properly and other rights of private-property-ownership within such White neighborhood.



 '1[161
                                                                                                                                     1
 The plaintiff also asserts that the defendants abusively weaponized (both as a "sword and shield") the restrictive covenants (' civil contract

 law") as modem-day-Jun-Crow law against the plaintiff. Accordu1g to Texas law, both [HOA](s) and property-owner(s) are prohibited from

 enforcing any restrictive covenant(s) in any manner that is uarbitra,y, capricious, or discriminat01y 11• The plaintiff asserts that defendant
 [WC], and specifically the employees/agencies of [WCLE], are liable for their own clearly unlawful actions, and even if they were instructed to

 act h1 certain unlawful manner(s) by a [HOA] and/or other property-owner(s) agah1st the plaintiff, then that fact does not, in any way, lessen

 defendant [WC]'s or its' relevant employees'/agencies' liability for such clearly unlawful actions, especially if defendant [WC] (or its' relevant

 employees/agencies) knew or reasonably-should-have-known the complaining parties to have malicious-intent, discriminatory-intent and/or

 anhnus (of any kind) agah1st the plaintiff.



 '1[162
 For example, the plaintiff asserts that for ahnost a decade, the employees/agencies of [WCLE] repeatedly engaged not only in numerous clearly

 Unconstitutional-and-Unlawful searches/seizures of the plaintiffs property, but also numerous racially-discriminat01y inspections of the
 plaintiffs property. The plaintiff additionally asserts that for almost a decade, the employees/agencies of [WCLE] repeatedly engaged not only

 in numerous clearly Unconstitutional-and-Unlawful detentions/interrogations of the plaintiff, but al'io numerous racially-discriminatmy

 detentions/h1terrogations of the plaintiff.

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':[163
Even more egregiously, in their repeated attempts to unlawfully and/or discriminatorily enforce certain property-maintenance-laws against the

plaintiff, the employees/agencies of [WCLE] repeatedly engaged in clearly Unconstitutional-and-Unlawful searches/seizures of the plaintiffs

property, while at the same time the plaintiff rep011ed certain property-maintenance-law violations to [WCLE] that [WCLE] never did need to

violate anyone1 s right to enforce - as all of those violations were (or are) clearly visible from the public street. In particular, the plaintiff asserts

that, at least within the White neighborhood and/or street in which the plaintiff resides, defendant [WC] deliberately has-not-been and is-not

enforcing (or at the ve1y least, not-consistently-enforcing) several property-maintenance-laws that primarily (if not exclusively) White-American

(or non-immigrant) residents of the neighborhood (or a relatively greater fraction of such White-American/non-immigrant residents) have

violated and are continuing-to-violate.



'Jil 64
The plaintiff has evidence to prove that at least some of these violations were committed by neighboring-resident defendants [JSP &KAP],

[RSR]. However, to the best of the plaintiffs knowledge and available evidence, these defendants also faced no consequences for such harmful

violations, and by sharp contrast, it was only the plaintiff that faced the wrath of the [HOA] due to the predatory actions of the defendants.



':[165
The plah1tiff strongly asserts that no corporation (including municipal-corporation government), let alone an overwhelmingly majority-White-

government (such as defendant [WC]) located within an overwhehnh1gly majority-White-County (such as the County of Williamson}, can

 "chenJ1-pick" which property-maintenance-laws it gets to enforce and/or how it interprets/enforces such law in any manner that - in any way,

 shape or fonn - favors (or gives a free pass to) residents of the dominant race/color/religion/nationality - White-Americans (and/or non-

 immigrants) - without such "chen)'-picking" being considered a racially-discriminatmy housing practice - thus, a clear violation of the [FHA]

 and the [TFHA].



 ':[166
 The plaintiff strongly asserts that such racially-discriminatoty "cherry-picking", while clearly illegaL is also particularly egregious if the actual or
 potential harm (health-and-safety hazards) caused by the relative lack-of-enforcement of certain property-maintenance-restrictive-covenants

 committed by residents of the dominant race/color/religion/nationality- White-Americans (and/or non-immigrants) - is relatively much-greater

 than the heavy-handed enforcement of certain property-maintenance-restrictive-covenants disproportionately directed towards racial-minorities

 that are trnly harmless and purely aesthetic/cosmetic. During the period of time documented in this lawsuit, the plaintiff strongly asserted (and

 continues-to-assert) that many of the violations of property-maintenance-laws primarily by White-Americans (or non-immigrants), for example

 - the illegal (and dangerous) lighting of fireworks, the illegal (and dangerous) unleashing of large dogs and cats to roam freely (even into others'

 backyards), and illegal (and dangerous) routinely speedh1g vehicles - in such deed-restricted neigl1borhoods posed and continues-to-pose an

 exponentially-worse threat to health-and-safety than any alleged property-maintenance-violation that the defendants (fraudulently) alleged

 against the plaintiff (during that same period of time), especially since the plaintiff was affnmatively asserting the plaintiffs Constitutional rights

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(see section below) in innocently, but yet deliberately, maintaining the plaintiffs own private-property in such manner - all entirely (and

exclusively) within the confmes of the plaintiffs private-property. In particular, while the plaintiff has for ahnost a decade, brought attention to

legitimate and serious health-and-safety hazards created by numerous White-American residents of such White neighborhood, the defendants

have targettcd the plaintiff - in a purely retaliato1y manner - for purely aesthetic/cosmetic issues on the plaintiffs private-property - including

the plaintiffs private/concealed [BACKYARD] - ahnost-always executing egregiously Unconstitutional-and-Unlawful searches/seizures of the

plaintiffs private/concealed [BACKYARD] in such purely retaliatory and predatory actions undertaken as party of their predatmy conspiracy

to defraud the plaintiff.



'][167
The plaintiff also has substantial evidence to prove that [WCLE] even enforced some of the restrictive-covenants or other prope11y-

maintenance-laws regarding vegetation for which it repeatedly and predatorily targeted the plaintiff (in clear violation of the plaintiffs

Constitutional rights) in a brazenly racially-discriminatory manner.



'][168
Despite of the decade of the defendants' predatory actions ostensibly (but fraudulently) meant to coerce the plaintiff to live-according-to and

maintain the plaintiffs private-property according to their (hypocritically-enforced) White-American standards (in direct violation of the

plaintift's right to freedom-of-religion, freedom-of-expression, and freedom-from-discrimination), ignoring any temporary conditions on the

plaintiffs private-property, and ignoring the fact that the plaintiff has installed a "no-mow" grass in the plaintiffs [FRONTY ARD] - which was

a compromise that the plaintiff unwillingly made in order to best preserve the plaintiffs Constitutionally-protected religious (indigenous)

practices - there has been no substantive change in the manner in which the plaintiff lives, and there has been no substantive change in the

manner in which the plaintiff maintains the plaintiffs private-property. In other words, the defendants have been largely unsuccessful in their
coercive gaslightin!efindoctrination attempts against the plaintiff, and the plaintiff still lives according to the plaintiffs indigenous (religious)

values/practices and the plaintiff still maintains the plaintiffs private-property according to the plaintiffs indigenous (religious) values/practices,

while defendants [JSP&KAP],[RSR], initial neighboring-resident (JJB] and at least some of the defendants' other White-American cronies/co-

conspirators against the plaintiff have all moved out of the neighborhood.



 '][169
For these reasons, if the plaintiff was "guilty" of the Class-C-Misdemeanor-Public-Nuisance charge that the defendants fraudulently, but

unsuccessfully, tried-to-prosecute and did-prosecute and against the plaintiff in a purely-retaliatory manner for over a decade - continuing to

obstruct justice and blackmail the plaintiff in the process of doing so - then, the plaintiff is just as "guilty" of that alleged Class-C-

 Misdemeanor-Public-Nuisance today. However, the plaintiff is unaware of any public-nuisance complaint made against the plaintiff by any

 neighbor since racketeer co-defendants [JSP&KAP],[RSR], the plaintiffs initial-neighbor [JJB], and at least some of their White-American

 cronies/co-conspirators/proxies/agents have moved out of the neighborhood - especially including the period of time (to the {PRESENT-

 DAY}) even after new tenants have moved into the private-property [784KLLTX7864 l] that was the fonner primary-residence of

 [JSP&KAP]. Despite of the fact that there has been no substantive change made by the plaintiff to the manner in which the plaintiff lives nor

 the manner in which the plaintiff maintains the plaintiffs private-property, the plaintiff has noticed a diametrically-opposite, night-and-day
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difference from the co1Tupt-malicious-predatory-and-retaliatory treatment - over a decade of racial-oppression and racketeering-activity - that

the plaintiff had suffered from racketeer co-de fendants [JSP &KAP],[RSR] (and their former co-conspirators/agents/proxies/cronies) compared

to the civilized treatment of the plaintiff by the plaintiffs new neighbors. The plaintiff asserts that all of these set of facts firmly establish that

the decade of racial-oppression and racketeering-activity that the plaintiff suffered by the defendants were purely motivated by racketeer co-

defendants [JSP&KAP]'s,[RSR]'s extreme-racial-animus against the plaintiff, and the municipal-corporation local-government, [WC]'s -

specifically its law-enforcement-agencies, [WCLE]'s - active participation in such racially-motivated conspiracy and associated racketeering-

enterprise to drive the plaintiff out of what they considered to be "their" (exclusive-and-pure) White neighborhood.



1170
The plaintiff further asserts that there are a few crucial motivating factors, beyond simple racism, driving not only the aforedescribed racially

discriminatmy application of law, but also, far more importantly, the defendants' predatmy, criminally-abusive behaviors/actions/conduct

against the plaintiff - including, but not limited to, the decade of the defendants' racial-oppression and racketeering-activity against the plaintiff -

that is not only both very beneficial/favorable to White-American private citizens (or at least those with racial-aninrns and/or racial-bias) and the

majority-White govenm1ent of [WC], or at least, the current and recent-past political leadership of defendant [WC], but at same time, that is

also completely violative of the rights of peoples-of-color, including, but not limited to, the plaintiff. Since the plaintiff is filing this [FHA] and

[TFHA] complaint against the defendants based primarily on racial discrimination, these additional assertions must also be pied:

01.    Firstly, White-Americans with racial-animus and/or racial-bias do not want to live-in and raise-their-children-in what they perceive to be

       "their" (exclusive-and-pure) White neighborhoods, living next to person(s)-of-color or at least those person(s)-of-color that do not

       conform to White-American standards. So, it is in the interest of such White-Americans with racial-animus and/or racial-bias to, by any

       means necessary, conspire with institutions of power such as local-government and/or [HOA] to evict (or deprive-of-private-property-or-

       other-rights) person(s)-of-color from what they perceive to be "their" (exclusive-and-pure) White neighborhoods - resorting to any type

       of "redlining" tactics/strategies.

02 .    Secondly, it is indisputable that the government of [WC] - or at least the cmTent and recent-past leadership of [WC] - is dominated by

        the Republican Party <• ) . The plaintiff asserts that the Republican Party leadership of [WC] wants to maintain the County of

        Williamson - and especially the suburban/exurban White neighborhoods of the County of Williamson - as White-American as possible,

        for clearly-obvious political reasons: so, that the Republican Party can continue to win re-election, and maintain their political power

        within the County of Williamson. Within the last few decades, as time has passed, the general-election results have become increasingly

        tighter - with the Republican Party now winning elections by sometimes razor-thin margins within the County of Williamson. Therefore,

        every person-of-color, such as the plaintiff, that is adversarial to the Republican Party is potentially '.' fair-game" for such evictions, in-

        order-to make sure that the Republican Party maintains control over the County of Williamson.

 03.    Thirdly, aside from the ''po/i ti cal power" reason specified above, at least some majority-White governments have long known that

        beneficial (for political reasons) and/or convenient racial divisions within society are best-achieved (or at least more-easily-achieved) by

        keeping the population segregated by race, and perhaps the easiest way to segregate the population by race is to, by any means

        necessary, evict person(s)-of-color residing within White neighborhoods. Racial divisions within society contribute to beneficial and/or

        convenient differences in political-ideology and culture between differing racial groups, and it is at least sometimes stated or asserted,

        that one of the best ways for a government to control a population is to divide (or atomize or polarize) the population - for example,

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      along racial/political lines - and keep the population divided (or atomized or polarized) under such racial/political lines. So, at least some

      such majority-White-governments view racial segregation not only as a beneficial tool for maintaining "political power", but also as an

      easy way to control the population - as one of the more pernicious means/methods of social control.

04.   Fourthly, and perhaps most importantly, it is indisputable that eve1y real-estate private-property is an investment with the value (thus

      profit) of such investment typically rising in most years. The real-estate in the Central-Texas area of the United States has been a

      particularly profitable type of real-estate investment - amongst the most profitable regions in the United States - with relatively-larger

      numbers of out-of-state investors investing in real-estate in the Central-Texas area - primarily due to huge demand for such real-estate

      located in this highly-favorable (for multiple reasons) region of the United States and not enough supply to meet that demand - leading to

      relatively rapid increases in property appraisal/valuation from year-to-year, compared to other parts of the United States. It is

      indisputable that the defendants' criminal-abusive, predat01y actions against the plaintiff were always intended to drive the plaintiff - an

      immigrant-of-color/indigenous-person - out of relatively-profitable private-property-ownership within the County of Williamson, thus

      defrauding the plaintiff out of such highly-profitable private-property-ownership and investment, so that, such right and privilege of the

       most profitable regions - in essence, the best investments - of private-property-ownership can be placed into the hands of the most

       privileged class of people - indisputably, White-Americans. By placing greater wealth into the hands of such privileged class of people,

       majority-White-governments such as defendant [WC] are also, indisputably, placing more financial power, more legal power and more

       political power into the hands of this privileged class of people - at least in part, so that they can maintain political power over the region

       - while at the same time, maliciously depriving and defrauding at least some people-of-color, including, but not limited to, the plaintiff,

       from such wealth and power.




1171
For all of, but not limited to, the reasons specified above, the plaintiff asserts that the plaintiff represented a similar, if not the same, type of

"demographical problem" to the defendants that is alleged by the Petitioner, ~United States, , against the respondents in ((UNITED

ST ATES V. CITY OF HESPERIA, COUNTY OF SAN BERNARDINO, AND SAN BERNARDINO COUNTY SHERIFF'S

DEPARTMENT)) (see section below).



1172
Despite the fact that the plaintiff is filing this [FHA] and [TFHA] complaint against the defendants primarily over the issue of racial-

discrimination, a common theme that is documented in this lawsuit is better expressed as follows: For the plaintiff to describe the defendants'

conduct (including [WCLE]'s conduct) against the plaintiff as "racial discri111inatio11" would be a gross understatement, as the plu·ase "racial

discrimination" does not begin to capture the egregious racially-motivated civil-rights-violations that the defendants have continually

perpetrated against the plaintiff for over a decade. The defendants' conduct against the plaintiff far exceeds what would normally be considered

 "racial discri111inatio11 11, and instead, falls under the more egregious categories of "racial-oppression" and/or racially-motivated "racketeering-

activity" (including retaliation-against-witness, retaliato1y witness-tampering, retaliatory fabrication-of-evidence/evidence-tampering, retaliato1y

threats-of-murder, retaliatory blackmail, retaliatory fraud, retaliatory conspiracy and general obstruction-of-justice).




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1173
Although the plaintiff makes all of these additional assertions about the defendants, per the [FHA], the plaintiff only needs to prove that the

defendants engaged in illegal housing discrimination (or such diserimhrntory housing practice(s)) agah1st the plaintiff, and the plaintiff has an

abundance of evidence to prove that claim.



1174
The plaintiff asserts that federal-lawmakers wrote the [FHA] as a long-ranging and open-ended law that was meant to target illegal housing

discrimination (or such discriminato1y housing practice(s)) committed over an extended (or open-ended) period of time. Thus, the plaintiff

asserts that the [FHA] is directly applicable to the extended time period of illegal housing discrimination (or such discrhninatory housing

practice(s)) that the defendants committed and/or continue-to-commit against the plaintiff.



1175
Although the [FHA] was orighially written as part of both federal crhnhml law and federal civil law, the plaintiffs filing of COUNT -l of this

civil lawsuit against the defendants only seeks to enforce the civil component of the plaintiffs [FHA] claims against the defendants - as the

plaintiff, who is a private citizen, clearly has no enforcement-authority to enforce the crhninal component of the plaintiffs [FHA] claims agdinst

the defendants.



 1176
 The plaintiff asserts that the defendants' numerous acts in violation of the [FHA] and [TFHA] against the plah1tiff(as summarized above)

 caused the plaintiffs injuries.



 1177
 The plah1tiffasserts that while the plah1tiffhas filed this lawsuit against the defendants with seven core-claims (seven counts) agah1st the

 defendants under five separate and distinct federal laws -the [FHA]; the [RiaCOA]; the [KKKA] ([KKKA]:§1983, [KKKA]:§1985); the

 [CRAol866] ([CRAol866]:§l982, [CRAol866]:§l98l); and the [CRAol964] - the plaintiff further asserts that the plaintiffs primary claim

 against the defendants h1 this lawsuit is under the [FHA]. In particular, the plaintiff asserts that this lawsuit has been modeled, at least in a ve1y

 small part, based upon the [FHA] lawsuits, «UNITED STATES V. CITY OF HESPERIA, COUNTY OF SAN BERNARDINO, AND SAN

 BERNARDINO COUNTY SHERIFF'S DEPARTMENT» and «GILEAD COMMUNITY SERVICES V. TOWN OF CROMWELL» (see

 sections below).




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                                     CAUSES OF ACTION (COUNT-5)

           DEFENDANTS' VIOLATIONS OF THE [CRAo1866] :§1982

                                                   AGAINST PLAINTIFF


1178
As already substantially outlined in the previous section (concerning [FHAJ/[TFHA]), pursuant to the plair1tiffs [CRAol866]:§1982 clairn

against the defendants, the plair1tiff seeks to present evidence to indisputably prove that the defendants did knowir1gly conspir·e together and act

in-concert-with each other, in furtherance of such conspiracy - both individually and collectively - for over a decade - in-order-to deprive the

plaintiff, an immigrant-of-color/indigenous-person, of all of the plaintiffs rights to private-property - both "real and pe,:rnnal properly" -

specifically, the rights 11l0 inherit, purchase, lease, sell, hold. and convey" such private-property - as was enjoyed and is (continues-to-be)

enjoyed by "White citizens",



1179
The plaintiff asserts that the defendants' numerous acts in violation of the [CRAol866):§1982 (COUNT-5) against the plaintiff(as summarized

above) caused the plaintiffs injuries.




                                                                         §IX

                                         CAUSES OF ACTION (COUNT-6):

            DEFENDANTS' VIOLATIONS OF THE [CRAo1866] :§1981

                                                    AGAINST PLAINTIFF


1180
As already substantially outlined in the previous section (coucerning [FHAJ/[TFHA]), pursuant to the plair1tiffs [CRAol866]:§1981 claim

against the defendants, the plaintiff seeks to present evidence to mdisputably prove that the defendants did knowingly conspire together and act

in-concert-with each other, in furtherance of such conspiracy - both individually and collectively - for over a decade, in-order-to deprive the

plaintiff, an immigrant-of-color/indigenous-person, of the plaintiffs equal rights "to make and e,?force conlracls, to sue, be parties, give

evidence, and lo the full and equal benefit (~{ all laws and proceedings .fOr the security (Jfpersons and properly as is enjoyed by White
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citizens".



1181
The plaintiff asserts that the defendants' numerous acts in violation of the [CRAo 1866]:§ 198 1 (COUNT-6) against the plaintiff (as summarized

above) caused the plaintifrs injuries.




                                                                         §X

                                         CAUSES OF ACTION (COUNT-7):

             DEFENDANTS' VIOLATIONS OF THE [CRAo1964] :§2000d

                                                   AGAINST PLAINTIFF


 1182
 The plaintiff, an immigrant-of-color/indigenous-person, did "receive federal financial assistance" to help finance the plaintiffs private-housing,

 [788KLLTX78641] (0) .




 1183
 According to the plaintifrs limited knowledge and understanding, [JSP &KAP], both persons of the White/Caucasian/American

 color/race/national-origin, did "receive federal financial assistance" to help finance [JSP &KAP]'s former private-housing,

 [784KLLTX7864 l].



 1184
 According to the plaintiffs limited knowledge and understanding, [RSR], a person of the White/ Caucasian/American color/race/national-origin,

 did "receive federal financial assistance" to help fmance [RSR]'s former private-housing, [789KLLTX7864 I].




 1185
 According to the plaintifrs limited knowledge and understanding, Defendant [WC] - and in particular, defendant [WC]'s law-enforcement-

 agencies, [WCLE] - did and continue-to "receive federal financial assistance" - for multiple purposes, including, but not limited to, defendant

 [WC]'s and/or [WCLE]'s:

  ® operation and/or administration of housing/property-related services ; AND
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@ enforcement of housin~property-related laws ; AND

© enforcement of the hate-crime laws (as defined in the previous section) ; AND
@ construction and/or maintenance of infrastructure for the equal benefit of all citizens of the County of Williamson.



i186
Therefore, each-and-every-violation of the defendants' numerous violations of plaintiffs:


® fair-housing rights under the [FHA]/[TFHA] ([ 42-USC-C45]/[TPrC-T l 5-C301]) to be free from any-and-all forms of housing-
discrimination ; AND


® equal rights to "private-property" - specifically, the equal rights "to inherit, purchase, lease, sell, hold, and convey" both "real and
personal property", "as is enjoyed by While citizens" ([CRAo 1866]:§ 1982) ; AND



© equal rights to ' to make and e1?force contracts, to sue, be parties, give evidence, and to thefi11/ and equal benefit of all laws and
                   1




proceedings for the security ofpersons and property as is en;oyed by White citizens" ([CRAol 866]:§1981) ; AND



@ rights to "equal protection of the laws" - the plaintiffs fourteenth-amendment rights under the [KKKA]:§1983 ; AND



® rights to be free from any conspiracy against the plaintiffs rights to "equal protection of the laws" under the [KKKA]:§1985 -


- as already summarized in the previous sections, is also a separate-and-distinct-violation of the defendants' numerous violations of

 [CRAol964]:§2000d against the plaintiff - which states:

      No person in the United States shall, on the ground of race, color, or national origin, be excluded.from participatfon in, be denied the
     11




     benefits o.J; or be sulHected to discrimination under any program or activity receiving Federal financial assistance.,,



 i187
 The plaintiff asserts that the defendants' numerous acts in violation of the [CRAo1964]:§2000d (COUNT-7) against the plaintiff(as

 summarized above) caused the plaintiff's injuries.




                                                                        §XI

                                   CAUSES OF ACTION (NON-COUNT)

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      DEFENDANTS' VIOLATIONS OF THE [CRAo1964] ,[CRRAo1987]

                                             AGAINST THE ~United States~


i188
The plaintiff asserts that both defendant [WC] and its law-enforcement-agencies, [WCLE], receive multiple forms of federal financial

assistance from the ~United states ► - including, but not limited to, the forms specified in the previous section.




1189
As a condition for receiving any-and-all of such federal financial assistance from the • u nited states ➔ , both defendant [WC] and its law-

enforcement-agencics, [WCLE], are required by "TITLE VJ" of the [CRAol964] - later strengthened, broadened, and clarified by the

[CRR.Aol987] - to comply with all of the terms-and-conditions of "TITLE VJ", which means that both Defendant [WC], and [WCLE], are

further forbidden under federal law from engaging in any discrimination against any member of any protected-class in any-and-all of their

operations - as each-and-eve1y-act of such discrimination is a separate-and-distinct-violation against the •united S tates ➔ -




i190
By engaging in over a decade of egregiously discriminatory practices against the plaintiff, an immigrant-of-color/indigenous-person, as

substantially documented in this lawsuit, defendant [WC] and its law-enforcement-agencies, [WCLE], have thus repeatedly - and for over a

decade -violated the [CRAol964] and the [CRRAol987] against the • United States ➔ •




                                                                                       §XII

                                                                     (UNITED STATES

                                                                                          V.

      CITY OF HESPERIA, COUNTY OF SAN BERNARDINO, AND SAN

                           BERNARDINO COUNTY SHERIFF'S DEPARTMENT)
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CJ[l 91
This {2020} [FHA] lawsuit filed in Federal District Court by the Petitioner i Uni ted States ➔ alleged that the respondents "CITY OF

HESPERIA, COUNTY OF SAN BERNAIWINO, AND SAN BERNARDINO COUNTY SHERIFF'S DEPARTMENT" systematically engaged in

a pattern of egregious fair-housing-violations against Black and Latino renters. The plaintiff asserts that the plaintiff represented a similar type

of "demographical problem" to the defendants that is alleged by the iUni ted States ► against the respondents of that pat1icular federal

lawsuit. However, as alleged in that particular federal lawsuit, unlike the municipal-corporation government (and government agency)

respondents "CITY OF HESPERIA, COUNTY OF SAN BERNARDINO, AND SAN BERNARDINO COUNTY SHERIFF'S DEPARTMENT"

who:



® acted alone, or out of their own volition, to fix such "demographical problem", defendant [WCLE] instead, and even more egregiously,
acted in conspiracy with private-citizen far-right-wing-extremist, racketeer co-defendants [RSR],[JSP&KAP] (as part of the aforedescribed

racketeering-enterprise) who they knew, not only harbored extreme-racial-aninms and far-right-wing-extremist political-animus against the

plaintiff, but actually committed and continued-to-commit several racially-motivated (and retaliatory) hate-crimes/civil-rights-

violations/racketeering-acts/abuses against the plaintiff that defendant [WCLE] deliberately turned a blind-eye to, as part of their efforts to drive

the plaintiff, an immigrant-of-color/indigenous-person, out of such White neighborhood;



@ acted to cause significant hann to a ve1y-large number of Black and Latino renters, the defendants, instead, predatorily focused an

overwhelming amount of their attention, time, manpower and (unmatched, virtually-unlimited) resources, for over a decade, primarily on

targeting the plaintiff and/or the plaintiffs property(s) - aggregately engaging in a huge number of hate-crimes/civil-rights-

violations/racketeering-acts/abuses against the plaintiff as part of their obstructive-and-retaliatory, blackmailing-and-defrauding racketeering-

enterprise against the plaintiff - in-order-to drive the plaintiff, an immigrant-of-color/indigenous-person, out of "their" (exclusive-and-pure)

White neighborhood - thus, in a conspiracy and scheme to defraud the plaintiff out of such private-property-ownership.




                                                                                        §XIII

                          (GILEAD COMMUNITY SERVICES, INC., et al.

                                                                                             V.

                                                     TOWN OF CROMWELL, et al.»

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 1192
In this recent ( {202 1}) precedent-setting [FHA] lawsuit resulting favorably for the Petitioners "GILEAD COMMUNITY SERVICES, INC. et

 al.", against the municipal-corporation Respondent "TOWN OF CROMWELL", United States District Judge Victor A Bolden:



 @ rnled that, since the [SCOTUS] ruling in «CITY OF CLEBURNE, TEXAS, ET AL. V. CLEBURNE LIVING CENTER, ET AL.))

 established "that it is a violation of equal protectionjor government officials to take action against people with disabilities based on

 11rej11dice that the citizenry may harbor against them", it is also a violation of the [FHA] for the same reason .


. @ ruled that Punitive-Damages are an available remedy upon finding of liability against municipal-corporations under the [FHA], especially

 since federal-lawmakers fully and explicitly authorized Punitive-Damages in the text of the [FHA], codified in [42-USC-C45-SI-§36 13(c)].



 © affirmed one-or-more [SCOTUS] ruling(s) that established that "co,porations are liable under traditional vicarious liability principles
 for their employees' conduct which violates the [FHA]."


 @ affirmed all of the case-law that established that, "in multi-defendant [FHA] cases involving vicarious liability.joint liability a11aches to

 co-defendants. "




 1193

 The plaintiff asserts that, for plainly obvious reasons, the exact same aforelisted rulings a nd affinnations that apply to people-with-disabilities

 also applies to people-of-racial-minorities - although the plaintiff was (and still is) a member of both of those aforementioned protected-classes.




 1194
 The plaintiff asserts that the plaintiff has a mountain of incriminating evidence to indisputably prove that defendant [WC] - and, in particular,

 defendant [WC)'s law-enforcement-agencies, [WCLE] - acted corruptly-maliciously-predatorily-and-retaliatorily against the plaintiff, for over a

 decade, "based on (extreme-racial-animus) prejudice that (White/Caucasian/American/Christian private-citizen racketeer co-defendants

 [JSP&KAP],[RSR] and their non-immigrant, private-citizen co-conspirators/agents/proxies/cronies) harbored against" the plaintiff, an

 immigrant-of-color/indigenous-person.



  1195
 T he plaintiff additionally asserts that the plaintiff has sufficient incriminating evidence to indisputably prove that defendant [WC] - and, in

  particular, defendant [WC]'s law-enforcement-agencies, [WCLE] - acted corruptly-maliciously-predatorily-and-reta liatorily against the plaintiff,

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for over a decade, "based on (anti-[LGBTQJA +]-animus) prejudice that (heterosexual private-citizen racketeer co-defendants [JSP&KAP],

[RSR] and their heterosexual, private-citizen co-conspirators/agents/proxies/cronies) harbored against" the plaintiff, a person that such

racketeer co-defendants perceived to be [LGBTQlA+].



c_[l96
The plaintiff additionally asserts that the plaintiff has sufficient incriminating evidence to indisputably prove that defendant [WC] - and, in

particular, defendant (WC]'s law-enforcement-agencies, [WCLE] - acted corruptly-maliciously-predatorily-and-retaliatorily against the plaintiff,

for over a decade, "based on (ableist-a11i11111s) prejudice that (non-cognitive-disabled private-citizen racketeer co-defendants [JSP&KAP],

[RSR] and their non-cognitive-disabled, private-citizen co-co11.1piratorslagentslproxies/cronies) harbored against" the plaintiff, a person

that such racketeer co-defendants knew to have a cognitive disability and handicap.



c_[l 97
To the best of the plaintiffs limited knowledge and understanding, unlike the aforementioned Petitioners "GILEAD COMMUNITY SERVICES,

INC., et al." who did not allege s uch conduct by the Respondents "TOWN OF CROMWELL, et al.", the plaintiff suffered over a decade of

racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses ( "raci al-oppressi011 and pattern-of-racketeeri ng-acti vity '1 from

the defendants acting in-conspiracy-with-each-other and in-concert-with-each-other as part of s uch corrupt-malicious-predatory-and-retaliatory

racketeeriIJg-enterprise engaged in obstmcting-justice-against and defrauding the plaintiff.




                                                                                           §XIV

      FAR-RIGHT-WING-EXTREMISM: BY FAR, THE GREATEST THREAT

        OF DOMESTIC TERRORISM AND ORGANIZED-CRIME ACTIVITY

                        THAT IS BASED UPON HATRED AND INTOLERANCE
  •    "FIVE Yl!ARS u.n:R: PRlGllESS SI.DII BUT S'1EllllY AlalNST VIOU'.NT ElmU!MISM SINCB mADLY ' IM'IE nlE RIGHI"    RALLY IN aillRIDl'1'ESVI     <•) •
  •   ('l!>e SOUthu:n Poverty Law 0.-,tar)   ("[SPLCJ"l •   Hichaal ~         . senior POlicy c:oun-1 , H a t e , - . ,,       (2022- 08- 12)•
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  Far-right extremism has been mainstreamed


  The al/empt to bring white 11atio11a/ist ideas into the mainstream that manifested i11 Charlottes,•il/e has co11ti1111ed 1111abated- and has perhaps accelerated. An alarming 1111111/Jer

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of leading elected q/ficials now embrace the movement 'sfalse conspiracy theories ,md pm111otefo1111er President Donald Tmmp 's lie that he lost the 2020 election onf)' because
of 11wssive voterfl'(md engineered hy Democrats.


Though the mainstreaming offar-right extremism certainly did not begin with T11tmp's presidency, there is 110 doubt that hi.~ racist, antisemitic and xenophobic 1ro1rh and actions
helped create a pe1111issfl,e climate.for hate. For example, \\'e saw a tlramalic spike ill ,,iofe11ce againff /1,eA'iian American am/ Pal.'ific Isltmtler (AAPI) com1111111ity following
Trump's vilifying language at rallies and at nelt's conferences about the spread of COVIIJ.. J9, ca fling it "Wulum Jiu" and "Chinese virus. " Earlier, soon after the 2016 election,
the So11them Poverty law Center documented what we called the "T11tmp £..ffect" acmss the cowllly- a surge of incidents i11volvi11g mcia/ .\·Jurs and .\ymho/s, bigoflJ' and the
ha1"C1,•,sme111 of Black and Brown children in the nation's schools dwing and after Tmmp 's campaign.



Increased threat ofpolitical violence

The SPLC's amutal Year in Hate and Extremism repo11, released in March documented a third straight year of declines in the number of hate and a11tigowmme11t extremist
groups operating across the U.S. We concluded, howe1•er, that the threat.from these groups ll'OS not actually diminishing; rathe1; extremist ideas ll'l'lt! now embraced more ope116'
in the mainstream, h1c1t!asi11g the threat qf politically motivated violence.


We saw this play 0111 staikly 011 Jan. 6, 2021. Dozens of members of hate gmups have been (llrested in association with the Capitol attack. The ms/ majority ofpeople wlto took

pmt i11 the i11.w11rectio11i,\t violen,-e, hmtV?l'elj H~/l? IUJI as.wd{ltetl nith tl specific e.\tremist group, demonstrati11gj11st how deeply hate and a11tigovem111e11t narratil•es have

penetrated the political right.


A recent poll jointly conducted by the SPLC and Tu/chin Research provided more evidence. Wefmmd that the white nationalist "great replacement" nmmtive, which appanmtly
motivated the alleged white .mpremacist who murdered JO people at a supermarket in Buffalo, New York - as well as numerous other domestic termrists ~ ha\· become thoro11ghf1'
absorbed into mainstream politics. In fact, /lwJ-thinl<.· ,if Republican re17J011de111s i11 011r swvey agreed with the statement that the co111111y 's demographic changes are being
orchestrated by "liberal leaders actil'ely t1yi11g to leverage political power by lt!placing more comervatil'e white voters."


/11 addition, mom than a third t?f re.\pondents said the cowmy's changing demographic~ are a threat to white Americans and their culture and \'td11es. Twenty percent think
threate11i11g a politician is acceptable, and nearly a quarter qf re.1po11de11ts appmve of assassinating ''a politician who is ha1111i11g 011rcounhJ' or democracy."




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Increased awareness of the threat of white s11pre111acy and expanded govem111e11t actio11 to co,ifi-ont it


111 recent years, the director,?{ National l11tel/ige11ce, the FBI, the Justice Depm1ment and the Depmtment qf Homeland Security hal'e taken aclions to address what they
 repeatedly identify as the most lethal domestic tenmi,\'111 threats: (I) racially or ethnically motivated violent extremists who advocate.for the "superiority" qf the white race and
 (2) a11ti-govem111elll ora11ti-a11lhori()• violent exht!111ists, i11cl11di11g militia gmups such as the Oath Keepern. Also, a m1111ber of congre.t1·io11al committees have held hearings
highlighting the threat, 011 topic1· like extremism i11 the milita1y, .fi11a11ci11g ,~{domestic extremist gmups, bomb tl11rnts against historically Blal'k colleges and universities and
 improved hate crime prevenlion, data col/ectio11 and re.171011se.



Expanded tools and tactics to co11fro11t violent extremism


 In November 202 J, nine 11ictims <?f the Clwdotte.1ville violence won a histmic courl vict01y against a number qf white supremacist group.\· and leade1;1·. Twelve individual
 defendants amlf11•e organizations we1t! ordered to pay $26 million in damages. Thi.1· innovative lawsuit, brought 1111der the leadership of /11/egn'ty First for America, resulted i11
 necessaiy accmmtability and sig11i.fica11tfl11a11cial, legal and operational conseq11e11ces/0r the planners and peqJe(rators of the violence and mayhem.



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White .mpremacists u-ere drawn to C/,ar/of/esville in A 11gmt 2017 over the city's plans to dis111a11Jle s/alues qf Co1ifedera/e leaders. Tire deadly riol sparked increased eff011s lo
remove Confederate memorial., i11 o//rer cilies, and the police m1mler of George Floyd in May 2020 ignited sig11!fica11/ 11ew comm1mily aclivism. las/ mo111/r, J/re statue of a
C01,fedemte general i11 the U.S. Capitol was replaced by a statue of civil rights pioneer Mai)' Mcleod Bethune - the first Black pe1~-m1 to have a state-commissioned st<Jt11e

there.


The U.S. militai)' has also made progress i11 addre.~1·i11g extremism in the ranks and is 1m1king toll'ard c/ra11gi11g the names of 11i11e Anny hoses named cifter Cmifederates.



The Jan. 6 select committee


Tire hipartisa11 House select committee i11vestigati11g the Ja11. 6, 2021, i11s111rection has presented co111pelli11g evidence that the i11.w11rectio11 ,ms the c11/111inotion of a months-long

strategy coonlinoted by Tmmp 0J1d his allies to 011el1/m1 the 2020 electioJI they knew he had lost.


/Ve 110w know that this strategy i11c/11des efforts to 1111dennine the 2024 elections. Tmmp allies in slate legislatures /,ave enacted dozens qf mcially discrimi11a101y voter
.1·11ppressio11 laws and continue to ,mge a disiiifomwtion campaign designed to .mhotage jilfure elections.


The commilfee '.1· hearings and the Justice Deporlment 's 011goi11g criminal i11vestigatio11s are essential steps tou-ard transparency, accou11tability and real co11seque11cesfor the
pla1111e1~· and pe171etrat01:v of the Capitol i11surrec1io11, o/011g with those 11110 impired 011dji111ded their ac/ivities.



Hate crime prevention and response


 The FBI docume11ted almost 8,300 hate crimes in 2020- tire mos/ cwrent national data m1ailob/e - Jl,e hig/resl number since 2001. Tire data sl,on-ed a 32% increase i11 race-
based crimes, a 42% increase i11 crimes targeting tire Black community and a 64% i11cre"se i11 crimes directe1l "C"im1 the MP/ co1111111111ity.


B111 over tire past t11-o )'ems, t/1ere have been sig11ifica11t advances in cmifro11ti11g hate violence.


 Ill Moy 2021, Congress enacted the COVID-/9 Hate CHmes Ac/, 11•/ric/1 i11c/11ded the provisions of the Khalid Jahara and Heather Heyer NO HATE Act. 11,e new loll' -.l7mrketl
 by tftousmufs ofi11cide11/s of riole11ce, /111m....,-me11/ mu/ i11limidalio11 directed again.11 member.; of /he MP/ co111m1111i1y - auJ/wrize., i11ce11tive grams to build cmmmmity

 resilience and Irate crime prevention, tmining and data col/ectio11 initiatives, i11c/udi11g stale hate crime ho/lines to help addre.t~ incomplete reporting 11ationll'ide.


 Also, tl,e FBI has de.,ig11ated hate crimes as a "11atio11al threat priority, " a rare c/a.t1-ijication. Ill testimony before tire Senate J11dicia1)' CommitJee last \\'eek, FBI Direcror
 Christopher IY,·ay said that "[t}/re investigation of /,ate crimes is the 1111111/Jer one priority wilhi11 tl,e FBI 's civil rights program. ··



 Moving forward


 Five yem:v after Charlottesville, ll'e can identify lessons /eomed and a path fo1ward to face the threat of racially motivated violence and the ll'hite 11alio110/ist threat lo ow·

 democracy.


 Todt()', there is muc/1 better mmrene.<i· about the nature and magnitude <if this threat. And, as ll'e move fon.-anl, we hm•e tire great advantage of a much more active and ll'illi11g
 f ederal pa,111er and better tools and Jactics Jo C01!fi-011t tl,e evolving challenges.


 /Ve know tire political landscape co11 change ab111ptly, hmi-eve1; so \\'e must all co11ti11ue 11-orking toge/her to co11ji-011t the threat of 111,ite 11atio11alism and violent extremism. Our
 democracy abso/11te(11depends on ii.




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In this lawsuit, the plaintiff seeks to present evidence of the conspiracy and pattern-of-racketeering-activity in-furtherance-of-such-conspiracy,

conducted as part of a decade long racketeering-enterprise to obstmct-justice ag.1inst the plaintiff and defraud the plaintiff, consisting of far-

right-wing-cxtremist racketeer co-defendants [JSP&KAP],[RSR], and their municipal-corporation, government co-conspirator defendant [WC]

- specifically, the agencies of [WCLE] named as co-defendants in this lawsuit. Although most types of organized-crime in the United States are

purely profit-driven enterprises, the only two major types of organized-crime in the United States that are based almost-exc1usive1y, if not

exclusively, upon extremist hatred and intolerance arc from far-right-wing-extremism and, to a much lesser extent (sec below), from Islamic
extremism. The plaintiff asserts that the defendants 1 decade-long conspiracy and racketeering-enterprise against the plaintiff did, indisputably,

have the economic motive of defrauding the plaintiff out of both the plaintiffs money and the plaintiffs (relatively-profitable) private-property-

ownership within one-or-more White neighborhood(s), while at the same time, profiting from such defrauding of the plaintiff. Therefore, as a

small part of proving the plaintiffs numerous claims against the defendants (see COUNT-I through COUNT-7 above), the plaintiff must put

the defendants' predatmy behaviors/actions/conduct against the plaintiff into context of the larger, hatred-based far-right-wing-extremism that

exists within the United States.



1199
Additionally, the plaintiff has at least some evidence to prove that the defendants, at least in some small part, tried to justify their predatory

behaviors/actions/conduct ab,ainst the plaintiff, by fraudulently accusing (via insinuation) the plaintiff - not only without having any evidence,

but, to the contrary, based upon purely-racist fraud - of being either a left-wing extremist and/or Islamic extremist - again, due to the purely-

racist reason of the plaintiffs physical-appearance and overall racial-profile. Although such unsubstantiated insinuation(s) were based upon

purely-racist fraud, at the very least, and for the sake of argument, the plaintiff must still highlight the exponentially-greater threat posed by far-

right-wing-extremism in the United States, when compared to the alleged threat(s) posed by other fonns of extremism such as left-wing

extremism and/or Islamic extremism.



1200
According to the (Anti-Defamation League) ("[ADL]") - one of the prominent, international civil-rights non-governmental-organizations("

[NGO)") which collects and/or monitors such statistics, during the years {2007} through {2016), approximately 74% of all deaths resulting

from extremism were from far-right-wing-extremists, compared to only a minute 2% of deaths allegedly resulting from left-wing extremists, and

24% of deaths allegedly resulting from Islamic extremists. It should be noted that such relatively-outdated statistics do not reflect the relatively

huge increase in far-right-wing-extremist violence (resulting in deaths) in the years since {2016}, which would surely skew such statistics

documenting far-right-wing-extremist violence for the longer-tenn, far more in excess of the aforementioned 74%.



 1201
 Accordn1g to the [ADL], during the years {1993} through part of {2017), approximately:



 ® 43% of all reported incidents of far-right-wing-extremist violence were deemed to be under the general umbrella-category of White-
 Supremacist;


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@ 2% of all reported incidents of far-right-wing-extremist violence were deemed to be under the specific subcateg01y of Anti-Muslim;
© I% of all reported incidents of far-right-wing-extremist violence were deemed to be under the specific subcategory of Anti-Immigrant;
@ I% of all reported incidents of far-right-wing-extremist violence were deemed to be under the miscellaneous category of "Other".


The plaintiff asserts that the aforelisted percentages representing both Anti-Muslim far-right-wing-extremist violence and Anti-lmmigrnnt far-

right-wing-extre mist violence are undercounts due to at least two reasons:



® At least some of the violence deemed under the general umbrella-categ01y of White-Supremacist should have instead been subcategorized
as Anti-Muslim and/or Anti-Immigrant.

@ A relatively-greater fraction of Muslims, those that look like Muslims (such as, but not limited to, those of the Sikh religion), and in1migrants

(especially undocumented immigrants) are scared to report hate-crimes committed against them to law-enforcement-agencies due to their deep-

distrust of law-enforcement and/or due to their fear of retaliation.



The plaintiff asserts that the plaintiff suffered not only all of the aforementioned types of far-right-wing-extremist violence from the aggreate

actions of racketeer co-defendants [JSP&KAP],[RSR] against the plaintiff, but also numerous, brazen-acts of racketeering-activity by the

defendants acting in-concert-with and in-conspiracy-with each other in-order-to conceal/obstruct-justice for such major crimes committed

against the plaintiff, and/or retaliate against the plaintiff for the plaintiff's "audacity" to report and/or record such major crimes (via security-

cameras, body-worn-camera, audio-recorder).



120 2
Although relatively outdated, a reputable and well-cited study of far-right-wing-extremist violence, conducted by the •comb a ting

Terrorism Center ► at •west Point► (•united States Military Academy► ("[USMA]")) documented the following findings, in a

 {20 13} publication tiled       "Challengers fimn the Sidelines: Understanding America's Violent Far-Right" , that are re levant to this lawsuit.
      ' Olallangera from tha Sidal.inu: Undaretandl.ng - o a•s v1o1. .t Far-Right" ,       1usw.J ,     •combating Terrorism Center ► ,   12ou-01- is1,

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 1203
 According to such study, w hich categorized the types of violent crime committed by far-right-wing-extremists within the United States during

 the years {1990} through {201 2}:



 ® 34% of far-right-wing-extremist violence were acts of vandalism;
 @ 9% of far-right-wing-extremist violence resulted in heavy dam age to property;

 © 42% of far-right-wing-extremist violence were deliberately targeted at specific human target(s) - see below for types of human targets;
 @ 6% of far-right-wing-extremist violence were acts of intimidation/interference;

 ® 3% of far-right-wing-extremist violence were foiled in some manner, shape or form.
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Within these particular statistics, the plaintiff asserts that intimidation/interference accounts for only 6% of reported far-right-wing-extremist

violence for at least two reasons:


® A significant fraction of protected-minority victim(s) of intimidation/interference do not know that intimidation/interference is actually a
serious crime and a (civil) violation of anti-discrimination law(s).

® The act(s) of intimidation/interference are actually successful, by way of "chilling-effect", in silencing the protected-minority victim(s) from
reporting such crime(s).



The plaintiff asserts that, as a result of these two reasons, the crime of far-right-wing-extremist intimidation/interference is relatively under-

reported and/or under-counted in the United States, especially when compared to other types of far-right-wing-extremist violence. The plaintiff

asserts that the plaintiff suffered not only all of the aforementioned types of far-right-wing-extremist violence from one-or-more of the

defendants, but also numerous, brazen-acts of racketeering-activity by the defendants in-order-to conceal/obstruct-justice for such crimes

committed against the plaintiff, and/or retaliate against the plaintiff for the plaintiff's "audacity" to record and report such crimes.



1204
According to such study, which documented the number of violent crime(s) committed by far-right-wing-extremists within the United States,

on a year-by-year basis, during the years {1990} through {2012}, there has been a more than 400% increase in violent crimes from the

beginning of the decade of the { 1990s} to the end of the decade of the {2000s}. In particular, when considering all ty pes of far-right-wing-

extremist violence during this period of time, there has been a sharp increase in the number of acts of vandalism, and the number of acts

deliberately targeted at specific human target(s) - see below for types of human targets. The general idea behind this increase is that, as

American society, over the many decades, has become increasingly tolerant of racial-minorities, [LGBTQIA+], women's rights, etc. - with

some of this increasing tolerance even demonstrated by local, state and federal electoral victories - far-right-wing-extremists have lashed out

against such progress, as they deem such progress to be a fundamental threat to their dominant status within society via White-supremacy (as

 noted above) ( ~) .



 1205
 According to such study, various civil-rights milestones/accomplishments in United States history - including legislation (such as the original

 legislative enactment of the [FHA] in the year {1964} ), [SCOTUS] decisions, and executive-orders - have triggered ''.~ignijlcant rise" in the

 level of far-right-wing-extremist violence - the general idea being that far-right-wing-extremists deem such civil-rights

 milestones/accomplishments as fundamental threats to their dominant status within society via White-supremacy ( ~) .



 1206
 According to such study, far-right-wing-extremists are very deliberate and purposeful in whom they target/v ictimize, and the statistics reflect

 such fact:


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® 55% of far-right-wing-extremist violence are targeted towards racial minorities;
@ 14% of far-right-wing-extremist violence are targeted towards [LGBTQIA+] (including those perceived to be [LGBTQJA+]);
© 2% of far-right-wing-extremist violence are targeted towards government and/or political targets (including political-activist(s)).


The plaintiff asserts that the plaintiff suffered not only all of the aforementioned types of far-right-wing-extremist violence from one-or-more of

the defendants, but also numerous, brazen-acts of racketeering-activity by the defendants in-order-to conceal/obstruct-justice for such crimes

committed against the plaintiff, and/or retaliate against the plaintiff for the plaintiffs "audacity" to report such crimes.



<][207
According to such study, far-right-wing-exh·emist violence, classified by the number of perpetrators, has roughly the following break-down:



® 54% of far-right-wing-extremist violence were committed by a single-perpetrator ("single-eel/'');
@ 20% of far-right-wing-extremist violence were committed by two-perpetrators ( "dual-cell'');
© 26% of far-right-wing-extremist violence were committed by a group of more than two-perpetrators ("multi-cell'').


<][208
According to such study, the overwhelmingly majority - or almost 80% - of far-right-wing-extremist violence resulted from perpetrators that

 were not affiliated with any larger extremist group/movement such as, but not limited to, the long-lasting extremist group(s)/movement(s): the

 Ku-Klux-Klan, the Neo-Nazis, the Skinheads, the Militia-Movement(s), the Christian-Identity-Movement(s), the Anti-Abortion group(s) - or

 the numerous recently-started far-right-wing-extremist group(s)/movement(s) such as: the "Proud Boys", the "Boogaloo Movement", the

 "Sovereign Citizen Movement", the "QAnon Movement", the "Oath Keepers Movement". Therefore, for this ve1y reason, although the plaintiff

 does not currently have any direct evidence linking far-right-wing-extremist racketeer co-defendants [RSR],[JSP&KAP] to any of the

 aforementioned far-right-wing-extremist groups/movements, the plaintiff asserts that the plaintiff does not need to have any direct evidence

 proving any such linkage in-order-to succeed in establishing at least some small parts of the plaintiffs numerous claims against the defendants

 (see COUNT-l through COUNT-7 above).



 <][2 0 9
 The plaintiff seeks to present evidence to prove that far-right-wing-extremist racketeer co-defendants [RSR],[JSP&KAP] not only engaged in

 the most brazen forms of egregious fraud against the plaintiff, but that they did so in-order-to obstrnct justice against the plaintiff while acting,

 in-concert-with with their government co-conspirators at [WCLE], in furtherance of their corrupt-malicious-predat01y-and-retaliatory

 conspiracy to defraud the plaintiff - with the same brazen combination of group-narcissism-and-misanthropy that is not uncommon amongst

 far-right-wing-extremists - for example, the far-right-wing-exh·emists that engaged in the {2021-01-06} United-States-Capitol-Insurrection (see

 below) ( ~ ) .




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'1[210
The plaintiff asserts that not only did [WCLE]'s predatory actions, in a more-than-a-decade-long conspiracy with racketeer co-defendants

[JSP&KAP],[RSR], against the plaintiff encourage, legitimize, foster and nurture, vile, uncouth, barbaric and generally-uncivilized

behaviors/actions/conduct against the plaintiff - not only from far-right-wing-extremist co-conspirator racketeer defendants [JSP&KAP],[RSR],

but from some of its own employees - but also, such predatory actions actually rewarded all of these individuals for the hate-crimes/civil-rights-

violatious/racketeering-acts/abuses that they aggregately committed against the plaintiff as part of such conspiracy - thus, creating a modern-

day-Jim-Crow, obstructive-and-retaliatory, blackmailing-and-defrauding, toxic environment of racist lawlessness around the plaintiff. In so

creating such toxic environment of racist lawlessness around the plaintiff, [WCLE] has fully enabled, and even encouraged, far-right-wing-

extremist co-conspirator racketeer defendants (JSP&KAP]'s,[RSR]'s government-sanctioned hate-crimes/civil-rights-violations/racketeering-

acts/abuses against the plaintiff.



'1[211
While federal-law-enforcement (along with some of the aforementioned civil-rights [NGO]s) has repeatedly warned, for many decades, about

the threat of far-right-wing-extremism as the biggest threat of domestic terrorism in the United States, in sharp contrast and for over a decade,

[WCLE]'s predatoty actions (in conspiracy with far-right-wing-extremist racketeer co-defendants [JSP&KAP],[RSR]) against the plaintiff has

done nothing other than "fan the flames" of such far-right-wing-extremist tel1'or committed against the plaintiff.




                                                                            §XV

   COMPLAINT ALSO FILED, DESPITE OVERWHELMING BURDEN, AS

               A MATTER OF SOCIAL JUSTICE AND PURE SURVIVAL


 '1[212
 This lawsuit, like most legitimate civil rights lawsuits, has been filed due to the plaintiffs strong need for justice - for the numerous injustices

 that the defendants perpetrated onto the plaintiff, and for the justice that the defendants maliciously and predatorily deprived the plaintiff of for

 over a decade.



 '1[213
 However, this lawsuit has also been filed as a matter of pure survival for the plaintiff.




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1214
The plaintiff seeks to prove that the defendants repeatedly-and-prcdatorily, blackmailed, gaslighted, defrauded, publicly-humiliated (numerous

violations of the plaintiffs right to be free from "cruel and unusual punishment'~, retaliated-against and obstructed-justice-against the plaintiff,
and that the pmpose of this blackmail, gaslighting, fraud, public-humiliation, retaliation and obstmction-of-justice was to silence the plaintiff -

especially from making any of the plaintiffs claims as substantially presented in this lawsuit.



1215
At least a few of the crimes - including racially-motivated hate-crimes, felonious crimes and racketeering-acts - that the defendants predatorily

perpetrated against the plaintiff were also witnessed by a number of the plaintiffs other neighbors.



1216
Those neighbor witnesses may rightfully be wondering: Why it is the case that none of the defendants have faced any legal consequences for

their crimes committed against the plaintiff - in other words, whether or not the defendants have "dirt" on the plaintiff to keep the plaintiff

silent.



1217
Furthermore, the plaintiff was publicly charged with Class-C-Misdemeanor-Public-Nuisance by the defendants, but over a year after that

charge including approximately four months of the plaintiffs attorney, [ATTORNEY-TKJ, requesting discovery from [WCLEJ, that charge

was dismissed by [WC] prosecutors without any explanation or apology provided to the plaintiff or to the public.



1218
The public - or at least those that are aware that the plaintiff was publicly charged with Class-C-Misdemeanor-Public-Nuisance - may rightfully

be wondering: Why it is the case that neither defendant [WC] nor any of its officials/agencies have faced any legal consequences, at the very

 least, for their unjust and unexplained charge and prosecution of the plaintiff - in other words, whether or not defendant [WC] and/or its co-

conspirators (racketeer co-defendants (JSP&KAP],[RSR]) have "dirt" on the plaintiff to keep the plaintiff silent.



 1219
The plaintiff must prove - by filing and litigating this lawsuit - that the defendants have absolutely no "dirt" on the plaintiff to silence the

 plaintiff - that instead, the defendants abusively weaponized (both as a "sword and shield'? the property-maintenance-laws as modern-day-Jim-

 Crow law for over a decade in order to engage in racial-oppression and racketeering-activity against the plaintiff - with the ultimate aim of such

 criminally-abusive actions, being not only to intentionally inflict untold amounts of injmy (especially long-term/pennanent psychological-

 trauma, mental-anguish and emotional-distress) onto the plaintiff but also to drive the plaintiff - an immigrant-of-color/indigenous-person - out

 of a White neighborhood - in egregious violation of the [FHA], thus defrauding the plaintiff out of (relatively-profitable) private-property-

 ownership, also in egregious violation of the [RlaCOA].
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i220
The plaintiffs failure to file this lawsuit and prove these claims would open the door wide-open to any resident of the neighborhood, or even

any person of the world to, similarly, engage not only in blackmail, gaslighting, fraud and/or public-humiliation against the plaintiff, but even

worse crimes against the plaintiff, without facing any legal consequences for such criminally-abusive actions.




i221
The plaintiffs failure to file this lawsuit and prove these claims would open the door wide-open to any government (not limited to defendant

[WCJ) or any other institution-of-power to, similarly, engage in racial-oppression, racketeering-activity and/or civil-rights-violation(s) against the

plaintiff without facing any legal consequences for such criminally-abusive actions.



i222
Thus, the plaintiff asserts that the plaintiff's failure to file this lawsuit would send an extremely dangerous message that would threaten the

plaintiffs survival in this world - an extremely dangerous message that the plaintiff simply cannot afford to send - again, out of the plaintiff's

pure survival.



 i223
At the very least, the plaintiff files this lawsuit and pleads to litigate this case, in-order-to fumly establish that the plaintiff is not, figuratively-

speaking, a "doormat" to be walked-all-over-on - that no person(s), institution(s), corporation(s) and/or government(s) that violate the plaintiffs

rights will be able to get-away with such criminally-abusive actions without facing the appropriate legal consequences.




 i224
 Finally, the plaintiff seeks many crucial pieces of injunctive relief from the Court (see below), at least some of which, ® seeks to ensure that

 defendant [WC) is, from this point forward, not allowed to engage in any forms of racial-oppression or racketeering-activity against any

 person(s)-of-color by, for example but not limited to, abusively weaponizing any law as modern-day-Jim~Crow law, and® seeks to legally

 bind defendant [WC) to fully and consistently enforce the "Hate-Crimes" laws and the "Almse-ofq[fice" laws of the State of Texas - because

 as the plaintiff asserts in this lawsuit, these laws are maliciously not being enforced by defendant [WC] at least in cases where the victims of

 such crimes are perceived to be powerless - such as the plaintiff ( e ). The plaintiff fm1her alleges that defendant [WC]'s failure to fully and

 consistently enforce the basic ''Abuse-of Office" laws of the State of Texas - at least in cases where the victim(s) of such crin1es are perceived

 to be powerless (such as the plaintiff) - has even allowed or emboldened at least some employees/agencies of [WCLE] to engage in some of

 the more serious felony/racketeering-activity crin1es specified in "Title 8. 9/fenses-Against-Public-Administration" of the [TPC] (Chapter 36:

 Bribe1y and Corrupt Influence, and Chapter 37: Pe1jury and Other Falsification) - further encouraging and fostering a culture of absolute-

 impunity and/or overt-corruption that the plaintiff asserts that at least some (if not all) of [WCLE] operates under at least in cases where the

 victim(s) of such crimes are perceived to be powerless (such as the plaintiff).


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<_[225
The plaintiffs failure to file this lawsuit would thus also send an extremely dangerous message that government defendant [WC] and private-

citizen defendants [JSP&KAP],[RSR] (and their co-conspirators) can continue to predatorily engage in racial-oppression and racketeering-

activity against other members of society that they perceive to be powerless - including but not limited to, other person(s)-of-color and/or other

person(s) that are otherwise similarly situated to the plaintiff. The plaintiffs failure to file this lawsuit would thus be an exb·eme injustice not

only to the plaintiff, but also to other such person(s) perceived by the defendants to be powerless within society ( ~ ) .



c_[2 2 6
Most importantly, since the plaintiff asserts that the defendants repeatedly engaged in racial-oppression and racketeering-activity against the

plaintiff for clearly racially-motivated reasons, the plaintiff further asserts that the plaintiffs failure to expose the defendants' criminally-abusive

actions against the plaintiff would be an extreme injustice to all people-of-color. Thus, the plaintiff strongly asserts that, in the interest of

justice, the plaintiff has a moral duty, responsibility and obligation to expose the defendants' criminally-abusive actions against the plaintiff, in

the hopes that, doing so will help to make sure that no person(s)-of-color suffer the same (or similar) injustices at any point in the future.



<_[227
So, by engaging in over a decade of racial-oppression and racketeering-activity against the plaintiff, the defendants have also unjustly imposed

onto the plaintiff, the extreme burden of having to research, compile, file and litigate this lawsuit - an extreme burden that no single private

citizen, let alone the plaintiff - an exh·emely marginalized immigrant-of-color/indigenous-person (and person with handicap) - should have to

bear.



<_[228
The plaintiff asserts that many potential lawsuits of racial-discrimination and/or racketeering-activity are not filed (and thus not litigated)

because many person(s)-of-color do not have the necessmy resources (time, effort, money, legal-knowledge, etc.) lo document the civil-rights-

violations, racial-discrimination and/or racketeering-activity, and the necessary courage to expose such civil-rights-violations, racial-

discrimination and/or racketeering-activity in civil-rights-lawsuit(s).



 CJI22 9
The plaintiff, having accumulated over a decade of evidence of the defendants' racial-oppression and racketeering-activity against the plaintiff,

 has felt (for over a decade) and continues-to-feel an incredible-and-overwhelming burden to expose the defendants' criminally-abusive actions

 against the plaintiff - not only for the benefit of the plaintiff but also for all those person(s)-of-color who suffer racial-oppression and/or

 racketeering-activity from a government predatorily acting in conspiracy with malicious private citizens.



 c_[2 3 0
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While the plaintiff has filed this lawsuit independently, solely and individually, the plaintiff still feels an incredible-and-ove1whelming burden to

preserve and maintain the good reputation ( @ ) not only of the plaintiff, but also of all person(s)-of-color who may have suffered racial-

oppression and/or racketeering-activity - whose voices may never be heard due to, but not limited to, the reasons specified above.



'][2 31
lt is also abundantly clear from the plaintiffs evidence, that in conducting their decade of racial-oppression and racketeering-activity against the

plaintiff, the defendants employed the cruel-and-unusual strategy of 'Jlooding": That is, the defendants inundated the plaintiff with as many

incidents of racial-oppression and racketeering-activity as possible, so that even if the plaintiff summoned the necessary resources and courage

to sue the defendants, it would take the plaintiff an ove1whelming amount of time, effort, money and mental-strength in-order-to do so - again,

placing all of this incredible-and-overwhehning burden solely onto the shoulders and heart of the plaintiff.



'][2 32
The plaintiff will refrain from making comment regarding the alleged misconduct of Texas Attorney General Warren Kenneth Paxton Jr.

[T AG-WKPJ), but w ill instead, refer to the extra-judicial statement of high-profile crin1inal-defense attorney, Di.ck DeGuerin - one of the

attorneys responsible for handling impeachment proceedings against [T AG-WKPJ] - issued to the broadcast-media, and thus broadcasted to the

people of the world:

"The people of the State of Texas are entitled to know whether their lop cop is a crook."



'][233
In light of Attorney DeGuerin's highly-publicized extra-judicial statement about the formerly impeached [T AG-WKP J], the plaintiff likewise

asserts that, the general public, but in particular, the people of the County of Williamson are entitled to know whether-or-not any of defendant

[WC]'s agencies, but especially the agencies of [WCLE], act like untouchable racketeers to a certain segment, however small, of the population

(including the plaintiff) that they consider to be powerless ( e ) .



'][2 3 4
Therefore, the plaintiff also files this lawsuit, with incredible-and-overwhelming burden, on fundamental first amendment grounds (under the

[TCP A] and the right to petition), to expose egregious government-misconduct that eve1y person of the world is entitled to know about.




                                                                          §XVI

                  THE PLAINTIFF'S "POWERLESSNESS" VERSUS THE

       DEFENDANTS ' EXTREME, UNCHECKED, ABUSIVE, PREDATORY
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                                                  POWER AND INFLUENCE


CJ[235
Based on the plaintiff's racial-profile which includes the plaintiff's physical-stature/visual-appearance/grooming/clothing (see above), the

defendants have always assumed, or taken for granted, that the plaintiff is not only of very-low intelligence ("fow-!Q'1, but also, a powerless,

subhuman animal ( i    ).


<JI2 3 6
The plaintiff does not need to elaborate on the fact that police-officers and government-employees belong to an infonnal/unofficial,

untouchable 'iJrotected-cfass" that are protected by various aspects of the justice system including, but not limited to: the racia l-demographics

(and thus political-demograpl1ics) of a geographical area; the enormously powerful and intimidating police-union(s) and/or other government-

employee-union(s); the "bfue-waff-o_fsifence"; prosecutors' offices (at least in some areas of the United States) that all-too-often deliberately

turn a blind-eye to police-misconduct (and other government-misconduct); and most importantly, the unmatched, virtually-unlimited, taxpayer-

funded resources of the government.



Cj[2 3 7
As part of all of the plaintiff's claims, in general, but as part of the plaintiff's [RiaCOA] claim (COUNT-4), in particular, the plaintiff does,

however, need to prove that racketeer co-defendants [RSR), [JSP&KAP] wielded enormous amount of abusive power - even kingpin-

 like/mafia-godfather-like/mob-boss-like power - over the plaintiff, and that this power was not only attributed to their

White/Caucasian/American/Clu-istian color/race/nationality/religion, but also, due to their positions within society.



 Cj[2 3 8
 For example, [RSR] advertises in her social-media-profile(s) and/or one-or-more of her retaliatory, fraudulent and witness-tampering social-

 media-postings against the plaintiff (see below) that she is/was a registered-nurse [RN] for a reputable organization during most, if not all, of

 the time-period documented in this lawsuit - even fraudulently flaunting such position as if she was speaking from a position of innocence,

 righteousness and intellectual-superiority over the plaintiff.



 <JI2 3 9
 P ublicly-available information and/or social-media information posted-by [KAP] indicate that [KAP] is/was a

 member/employee/manager/executive of a relatively powerful and reputable fmancial-institution during most, if not all, of the time-period

 documented in this lawsuit.




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1240
[JSP] has boasted in one-or-more incidents (see below) that he is/was a construction superintendent, even flaunting and/or bragging-about such

position of power/authority.



1241
Based upon the plaintiff's perceived powerlessness (as substantially described above), and defendants [JSP&KAP]'s,[RSR]'s (actual or

perceived) relatively-powerful statuses within society not only due to their racial-profiles (and thus, their dominant racial-status within society),

[WCLE] has for over a decade, repeatedly and predatorily conspired-with and acted-in-furtherance-of-such-conspiracy-with [JSP&KAP],

[RSR], tlu-ough a pattern of corrupt-malicious-predatory-and-retaliatory racketeering-activity, to both, egregiously violate the rights of the

(lowly, powerless) plaintiff, and defraud the plaintiff of both money and private-property-ownership within one-or-more White

neighborhood(s).



1242
[WCLEJ are the named law enforcement agencies of defendant [WC] - an extremely-powerfu~ multi-billion-dollar municipal-co1poration with

the unmatched, virtually-unlimited, taxpayer-funded resources of such municipal government. The plaintiffs evidence indisputably proves that,

for over a decade, [WCLE] fully-protected and shielded racketeer co-defendants [JSP&KAP],[RSR] (along with their other co-conspirators

such as [JIB]) from facing the legal consequences of such racketeer co-defendants' decade of hate-crimes/civil-rights-violations/racketeering-

acts/abuses committed against the plaintiff.



 1243
 In the State of Texas, [HOA]s are institutions-of-power that are, generally-speaking, feared by most homeowners due to the financial-power

 that they wield over homeowners, along with the enormous, some would argue extremely-disproportionate, legal-power and political-power that

 they wield over the ~Texas Legislature ➔ - with the [Community A~sociations Institute) ("[CAI]") representing the [HOA] industry

 before the ~Texas Legislature ➔ • The plaintiff assserts that [SPOA] - the [HOA] of the [Summerlyn] subdivision - substantially

 protected and shielded racketeer co-defendants [JSP&KAP],[RSR] from facing the legal consequences of such racketeer co-defendants'

 decade of hate-crimes/civil-rights-violations/racketeering-acts/abuses committed against the plaintiff.



 1244
 To put all of these power-dynamics into context by providingjust one simple example that made the national news, Amy Cooper was a then-

 e mployee of an extreme ly-powerful and reputable financial-institution when she committed just one, very-brief, video-recorded hate-crime

 against her person-of-color victim whom she did not even know - not even at the victim's residence, but on what appeared to be public-

 property. But because such video-recording was posted onto social-media and went "viral" on social-media within a relatively short period-of-

 time, that fmancial-institution promptly fired Ms. Cooper over such hate-crime and publicly defended its action of firing Ms. Cooper.

 Furthermore, Ms. Cooper's othe1wise reputable and relatively-powerful status within society did not stop the local-law-enforcement of that


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particular jurisdiction to charge her for that single hate-crime.



<_[245
The plaintiff asse11s that defendants [JSP&KAP],[RSR] inflicted exponentially-worse and irreparable harm onto the plaintiff during over a

decade of (and numerous dozens of) far-more-egregious and direct acts of racial-oppression and racketeering-activity against the plaintiff

primarily (although not exclusively) at the plaintiffs own place-of-residence, the plaintiffs private-property (or "castle') - normally where all

rights (such as the those rights provided for by the "castle doctrine'1 of such private citizens are at their absolute greatest/highest - and that

they were only able to do so in conspiracy with the local-law-enforcement of defendant [WC], [WCLE], that has repeatedly and viciously

punished and retaliated-against the plaintiff, for the plaintiffs "audacity" to record extremely-incriminating information of such conspiracy and

associated racketeering-enterprise, along with the plaintiffs intentions to press-charge(s) against two-or-more of the defendants - [JSP],[RSR] -

along with the plaintiffs initial malicious neighbor, [JJB]. NJ a result of the defendants' outrageously-brazen conspiracy and associated

obstructive-and-retaliatory, blackmailing-and-defrauding, racketeering-enterprise against the plaintiff, none of the defendants (including the

relevant individual employees/agencies of [WCLE]) have faced any consequences (other than being rewarded) for their decade of racial-

oppression and racketeering-activity against the plaintiff.




                                                                           §XVII

                                                                      SYNOPSIS


 <_[2 4 6
 The plaintiff suffered numerous hate-crimes/racketeering-acts/abuses committed aggregately by then-neighbors [JJB] and defendant [RSR]

 from the period of the years {2009} through {2011}.



 <[247
 The plaintiff started to report these hate-crimes/racketeering-acts to [WCLE] in the beginning of the month of {2011-08}, at a time when all of

 these hate-crimes/racketeering-acts/abuses that the plaintiffs neighbors [RSR] and [JJB] had (aggregately) committed against the plaintiff could

 have been charged and prosecuted within the Statute-of-Limitations.



 '312 4 8

 Despite of the plaintiffs reporting of such crimes to [WCLE], [WCLE] disregarded the plaintiffs multiple crime-reports, and did not charge the

 perpetrators of these initial hate-crimes/racketeering-acts committed against the plaintiff by neighbors [RSR] and [JJB].


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Sl:249
As a direct result of [WCLE]'s deliberate dereliction-of-sworn-official-duties, the pla intiff continued to notice an escalation of some hate-

crimes/racketeering-acts in the same month ( {2011-08}) - which the plaintiff could-only (at that moment in time) conclude to be further

(felonious) crimes of retaliation by neighbors [RSR],[JIB] for the plaintiffs "audacity" to rep011 their previous hate-crimes/racketeering-acts to

[WCLE].




1250
When the plaintiff continued to report the escalation of hate-crimes/racketeering-acts to [WCLE] in the same month ( {2011-08} ), the plaintiff

was brazenly retaliated against by [WCLE] acting, with racial-animus against the plaintiff, in conspiracy with [RSR],[JJB],[JSP], clearly

demonstrating [WCLE]'s predat01y-maliciousness towards the plaintiff, in an audio-recorded ( ~) incident culminating in {2011-08-30} , ® that

was driven by the demonstrably-false, fraudulent accusations and the predatmy demands (motivated by racial-animus) of [RSR],[JSP],[JIB]

and, @ that was extreme ly-violative of the plaintiffs rights, and© that was also witnessed by many witnesses including (but not limited to) the

plaintiffs neighbors [JSP&KAP],[RSR],[JIB] - some of whom are also named as defendants in this lawsuit, but also 2 other good-samaritan

neighbor witnesses, [AJC] and his wife [773KL-2009-2], who spoke ve1y-favorably of the plaintiff to all of the [WCLE] police-officers at the

scene and who also reported crirne(s)/abuse(s) committed against themselves by [RSR].




1251
This audio-recorded incident was extremely revealing and informative not only regarding the predato1y-maliciousness, motivated by racial-

animus, exhibited by [RSR],[JIB],[JSP] against the plaintiff, but also, much more importantly, the predat01y-maliciousness, also motivated by

racial-animus, exhibited by [WCLE] acting in conspiracy with [RSR],[JIB],[JSP] against the plaintiff.




1252
Amongst the many important revelations in this audio-recorded incident, the White-American [WCLE] police-officer, [WCSD-PP], that

completely violated the plaintiff's rights by acting in such predatory conspiracy with [RSR],[JJB],[JSP] made some ve1y-important,

incriminating and damaging admissions that he knew that [JIB] was committing at least some of the hate-crimes (including retaliatory hate-

crimes) committed against the plaintiff, and even admitted that [RSR] committed multiple hate-crimes (inc luding retaliato1y hate-crin1es) in his

presence - as was fully-revealed/directly-conveyed to [RSR]'s terroristic-threat phonecall (made to the [WCSO]) against the plaintiff.




 Sl:253
Despite of these admissions - witnessed by multiple witnesses and fully-captured on the plaintiffs audio-recordings - [WCLE] declined to

charge and prosecute either [JIB] or [RSR] in {20 11 }/{20 12} for such hate-crimes/racketeering-acts that [JJB],[RSR] had committed against

the plaintiff, even though the plaintiff repeatedly requested [WCLE] to, at the very least, charge and prosecute [JJB], if not [RSR], for all of

the many hate-crimes/racketeering-acts that the plaintiff had already suffered from both [RSR] and [JIB] at that moment in time.


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c_[2 5 4
Unbeknownst to the plaintiff until the following month, {2011-09}, [JJB] had already been charged by [WCLE] several months prior in {2011-

03} and had started to be prosecuted by [WCLE] for the felony crime of "credit card abuse" (for allegedly stealing and using another person's

credit-card), which defendants [JSP],[RSR] ,[WCLE] knew about during the same period of time that the plaintiff had suffered these predatory

and retaliatory acts of [JJB],[RSR],[JSP],[WCLE].



«_[255
Therefore, [WCLE],[JSP],[RSR] deliberately deprived the plaintiff of their knowledge that [JJB] acted maliciously and in a criminal manner to

other victims, and thus, not coincidentally, that [JJB] was also committing several hate-crimes (including retaliatory hate-crimes) against the

plaintiff.



c_[2 5 6
Most importantly, [WCLE] sent a powerful message, loud-and-clear, to both the plaintiff and to the plaintiff's predatory neighbors

[JSP&KAP],[RSR],[JJB], that if [JJB],[RSR],[JSP&KAP] conmlitted crimes against any person in society that matters - for example, any

other White-American person - then [JJB],[JSP&KAP],[RSR] will be prosecuted to the fullest extent of the law, but on the other hand, if

[JJB],[RSR],[JSP&KAP] committed even hate-crimes/civil-lights-violations/racketeering-acts and retaliatory (thus felonious) crimes against a

person that [WCLE] completely disregarded as ''powerless" - for example, the plaintiff (due to the plaintiff's racial-profile) - then, [JJB],

[JSP&KAP],[RSR] wonld be able to do so, and indefinitely continue to do so, with absolute impunity ce ).



 «_[25 7
Furthermore, [WCLE]'s predatory retaliation against the plaintiff and [WCLE]'s deliberate failure to fully-investigate, charge and prosecute any

of the initial hate-crimes/civil-rights-violations/racketeering-acts committed against the plaintiff (in the years {2009} thrnugh {20 \ \}) also sent a

powerful message, loud-and-clear, to the plaintiff's neighbors [RSR],[JSP&KAP],[JJB], not only that they could feel free to commit hate-

crimes/civil-rights-violations/racketeering-acts and other abuses against the plaintiff with absolute impunity, but also, even more egregiously,

 that these neighbors would even be rewarded - with [WCLE]'s further acts of malicious retaliation against the plaintiff - if the plaintiff dared to

 report their hate-crimes/civil-rights-violations/racketeering-acts to [WCLE] - essentially setting-the-stage for more than ten years of fu11her

 obstmctive-and-retaliatory, hate-crimes/racketeering-acts/civil-rights-violations/abuses that the plaintiff would continue to suffer from three of

 these same neighbors [RSR],[JSP&KAP] and government defendant [WCLE].



 c_[2 5 8
 (The only reason that the plaintiff did not continue to suffer many more hate-crimes/civil-rights-violations/racketeering-acts from [JJB} was

 because [JJB] had lost her [Summerlyn] property to foreclosure in {2012} as a direct result of the loss of her job stemming from her

 aforementioned criminal charge(s) and conviction(s), ultimately resulting in [JJB] having to move out of the subdivision in that year.)


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']J:259
Additionally, the [WCLE] police-officer, [WCSD-PP], that egregiously-violated the plaintiffs rights and that had committed several "Abuse of

Office" (and related federal civil-rights-violations/racketeering-acts) crimes (Official-Oppression, Abuse-of-Official-Capacity, Misuse-of-

Official-Information, Discrimination, Intimidation/Interference, Disorderly-Conduct, Harassment, Obstruction/Retaliation, Witness-Tampering,

Witness-Intimidation, Criminal-Conspiracy) against the plaintiff in that {2011-08-30} incident, was never charged nor prosecuted for those

crimes, despite the fact that the plaintiff did report and protest [WCSD-PP]'s egregious misconduct to [WCSD-PP]'s colleagues and superiors

at the [WCSO].



']J:260
The plaintiff did not even have to report [WCSD-PP]'s egregious civil-rights-violations/racketeering-acts against the plaintiff to his superiors, as

during the events that took place during that {2011-08-30) incident, [WCSD-PP] was fully communicatil1g (via police-radio) his abusive

actions against the plaintiff back to [WCSO] headquai1crs - while fully coordinatil1g such abusive actions undertaken agail1st the plaintiff with

the [WCSO] - and with the [WCSO] also being a dh'ect witness to, at the very least, [RSR]'s racially-motivated and retaliatory terroristic-

threat(s) and retaliatmy false-report(s) against the plail1tiff.



']12 61
When the plaintiff reported [WCSD-PP]'s egregious civil-rights-violations/racketeeril1g-acts against the plaintiff, both [WCSD-PP]'s colleague,

[WCSD-SP], and [WCSO] Sergeant Travis [WCSS-T], the Sergeant superior to [WCSD-PP], rudely hung-up the phone on the plaintiff,

showing their racial-anmus towards the plaintiff and their total disregard for the plaintiffs police-misconduct complaint.



 ']12 62
The plaintiff made a crucial mistake of revealing to [WCSD-SP], and thus the [WCSO], that the plaintiff had audio-recorded all of the

plail1tiffs illteractions with the [WCSO] and its employees. The plaintiff asserts that the plaintiffs revelation of these extrcmely-incrminating

audio-recordings to the [WCSO], inadvertently made the plaintiff an enemy of the defendant [WC], which as this lawsuit documents, is an

 extremely retaliatmy organization, setting the stage for a decade of retaliation that [WCLE] would continue to engage in against the plail1tiff -

 again, acting ill such corrupt-malicious-predatory-and-retaliatory conspiracy with [JSP&KAP],[RSR].



 ']12 63
 [WCLE]'s deliberate failure to charge and prosecute [WCSD-PP] for [WCSD-PP]'s {2011} "Abuse of Office" crilncs and retaliatmy crilnes

 against the plail1tiff also sent a powerful message, loud-and-clear, to future employees of [WCLE] that would interact with the plaintiff, that

 they could feel free to commit racially-motivated civil-rights-violations/racketeering-acts/abuses against the plaintiff with absolute impunity -

 essentially setting-the-stage for more than ten years of further civil-rights-violations/racketeering-acts/abuses that the plaintiff continued-to-

 suffer at the hands of other employees/agencies of [WCLE], again, almost always acting ill such corrupt-malicious-predatmy-and-rctaliatory


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conspiracy with [JSP&KAP),[RSR], along with any other White-American neighbors (herein referred to as co-conspirators/agents/proxies) that

[RSR],[JSP&KAP) fraudulently engendered and indoctrinated with racial-animus against the plaintiff.



i264
In particular, [WCLE] executed numerous unconstitutional-and-unlawful searches/seizures on the plaintiffs-property and unconstitutional-and-

unlawful detentions/interrogations of the plaintiff from the years {2013} through {2019} - all due to the malicious, retaliat01y, abusive,

violative, oppressive, humiliative and predatory demands of the plaintiffs neighbors [RSR],[JSP&KAP) (along with their co-

conspirators/agents/proxies) - and in at least some of these cases, [WCLE) unlawfully forced the plaintiff to sign a warning citation and/or

[WCLE] unlawfully threatened to file a criminal-charge of 11Class-C-Misdemeanor-Public-Nuisance" against the plaintiff, either for temporary

conditions on the plaintiffs property (which arc never a violation of the law), and/or for the plaintiffls failurel"inabilil)'"to live-according-to

White-American standards (in direct violation of the plaintiffs Constitutional rights), and/or the plaintiffs failure/"inability 11 to maintain the

plaintiffs private-property according to White-American standards (in direct violation of the plaintiffs Constitutional rights) - in effect,

maliciously mis-interpreting, abusively-enforcing and predatorily-weaponizing Texas's Public-Nuisance-Law as a modem-day-Jim-Crow law

against the plaintiff.



i265
Meanwhile, the plaintiff had also gathered many additional dozens of pieces of evidence of hate-crimes/civil-rights-violations/racketeering-acts

that the plaintiff suffered from [RSR],[JSP&KAP) from the subsequent months (late-{2011} through {2021} ), informed [WCLE] on several

occasions (in the years of {2017}, {2019}, {2020} and {2021} ), of such hate-crimes/civil-rights-violations/racketeering-acts that the plaintiff

had suffered from [JSP&KAP],[RSR] in the months following the initial aforementioned incidents of {201 I }/{2012}. Additionally, on several

occasions (in the years of {2017}, {2019}, {2020} and {202 l}) following the initial incidents of {2011} / {2012}, the plaintiff made it clear to

[WCLE) that the plaintiff intended to press charges against these perpetrators - again, at a time when the ove1whehning majority of the crimes

committed against the plaintiff by these pattieular defendants could have been prosecuted under the Statute-of-Limitations (especially since

many, if not most, of such crimes where felonious crimes, and ahnost-all, if not all, of such crimes were retaliatory crimes).



 i266
On multiple occasions since the initial aforementioned incidents of {2011 }/ {2012}, the plaintiff had also protested to [WCLE] about the clearly

 discriminatmy, retaliatory, abusive, and oppressive treatment that the plaintiff has suffered not only by [JSP&KAP],[RSR], but also from

 several employees/agencies of [WCLE].



 i267
 Despite of the plaintiffs numerous, legitimate protests, [WCLE] has always not only brazenly ignored/disregarded the plaintiffs protests, but

 also instead, [WCLE] again brazenly-retaliated in an extremely predato1y and malicious manner against the plaintiff by executing several

 unconstitutional-and-unlawful searches/seizures of the plaintiffs prope1ty (along with unconstitutional-and-unlawful detentions/interrogations of

 the plaintiff) in the years {2020}, {2021} - and, based on a combination of fabricated-evidence, misleading (and illegally-seized) evidence,

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fraudulent testimony, and misleading testimony (possibly included in sworn-statements) of the plaintiff's predato1y neighbors [JSP&KAP],

[RSR] - [WCLE] fraudulently and retaliatorily charged the plaintiff with "Class-C-Misdemeanor-Public-Nuisance".



i268
To be clear, in a showing of extreme hypocrisy (motivated by racial-animus) and extreme racial-discrimination, the plaintiffs predatory

neighbors [RSR],[JSP&KAP] have, on numerous occasions, demanded [WCLE] to execute several unconstitutional-and-unlawful

searches/seizures of the plaintiffs private-property and several unconstitutional-and-unlawful detentions/interrogations of the plaintiff, that they

never have tolerated on their own private-property - simply because [RSR],[JSP&KAP] and [WCLE) believed that the plaintiff, due to the

plaintiff's racial-profile, is a powerless, subhuman, low-IQ anima~ not deserving of even the most basic human rights (     e ).


i269
rn the process, [WCLE] - acting in-conspiracy-with and in-concert-with racketeer co-defendants [JSP&KAP),[RSR] - also egregiously

violated, conspired-to-violate and further attempted-to-violate the plaintiff's due-process rights to "life", "liberty", and 'j1roperty" in several

manners detailed in this lawsuit.



i270
In response to the fraudulent "Class-C-Misdemeanor-Public-Nuisance" charge against the plaintiff, the plaintiff hired [ATTORNEY-TK],

requested a jwy trial with [ATTORNEY-TK] requesting Discovery - including all exculpatory/mitigating/impeachment evidence such as (but

not limited to) all of[WCLE]'s recorded interactions (Body-Worn-Camera, Dash-Camera, emails, phone-calls, voice-mails, sworn-statements,

interviews, verbal-statements, social-media-messages, online-form-submissions, physical/electronic documents/images/forms, etc.) concerning

the plaintiff and/or plaintiffs private-prope1ty, with all of the plaintiffs neighbors from the years {2009} through {202 I}.



 i271
The case dragged on for another 4 months after the initial Discovery request with [WCLE] refusing to provide any bit of infom1ation (let alone

 exculpatory/mitigating/impeaclunent evidence) to the plaintiff.



 i272
 Instead, the [WCDAO]/[WCCAO), and in particular [WCCAOP-CW), demanded to the plaintiffs then-Attorney [ATTORNEY-TK] that the

 plaintiff should plead guilty to the charge (and pay the approximately $131 fine/costs) without receiving any evidence, and without proceeding

 to trial.



 i273
 The plaintiff's then-Attorney [ATTORNEY-TK] refused and again, requested Discovery.



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1274
On or about {2021-11-0 I} - more than a year after the charge - the case was finally dismissed with [WCLE] (including [WC] prosecutors)

failing to provide any evidence, explanation or apology to the plaintiff.



1275
These extremely-revealing sequence-of-events can only be interpreted as, at best, prosecutorial cover-up of over a decade of police-misconduct

and health-district misconduct - racial-oppression and pattern-of-racketeering-activity c01mnitted against the plaintiff - with [WCLE]

prosecutors attempting to shield [WCLE] police and health-district-employee(s) from liability for that misconduct (which is in itself an egregious

act of prosecutorial misconduct given that the prosecutor's primaty duty is to see that "Justice is Done'), and at worst, a decade-long

combination of police misconduct, health-district-employee misconduct and prosecutorial misconduct - wherein the [WCLE] prosecutors were

at least partially-culpable, if not almost-as-culpable, along with [WCLE] police departments and the [WCCHD] in the decade of predat01y-

conspiracy, and associated racially-motivated, obstructive-and-retaliatory, blackmailing-and-defrauding racketeering-enterprise against the

plaintiff.



1276
Additionally, [WCLE]'s brazenly-fraudulent, malicious, retaliat01y, abusive, oppressive, violative, humiliative, character-assassinating (@)

"Class-C-Misdemeanor-Public-Nuisance" criminal-charge against the plaintiff was a direct result of [WCLE] acting predatorily and retaliatorily
against the plaintiff based exclusively on the extreme-racial-animus of racketeer co-defendants [JSP&KAP],[RSR] - the same neighbor

defendants that had aggregately committed multiple-dozen counts of hate-crimes/civil-rights-violations/racketeering-acts (including felony

crimes) against the plaintiff from the years {2009} through {2022} (a few of which were even witnessed/video-recorded by other

current/former neighbors, and a few of which were even suffered by the plaintiffs senior-citizen [PARENTS]) - but none of which were fully-

investigated (almost-all of which were completely-uninvestigated), charged nor prosecuted by [WCLE], despite of the fact that the plaintiff did

report almost all of these crimes to the [WCLE].



1277
The plaintiff bad to suffer through almost three years of the racial-oppression and pattern-of-racketeering-activity of the plaintiffs initial

predat01y neighbor [JJB], approximately twelve years of the racial-oppression and pattern-of-racketeering-activity of the plaintiffs predatory

neighbor [RSR] (and her son [BR]), approximately twelve years of the racial-oppression and pattern-of-racketeering-activity of the plaintiffs

predatory neighbors [JSP&KAP] (and their son [NP]), the hatred/aninrns of at least some other neighborhood residents that these predatory

neighbors successfully indoctrinated (with racial-animus) and conspired-with, numerous abusive-and-oppressive actions (including racketeering-

acts) by official~/agencies of [WCLE], numerous abusive-and-oppressive actions by the former [HOA] Board-of-Directors ("[f-HOA-BoD]s")

led by [SPOA-P-BC],[SPOA-VP-AH],[DMP] - all of whom are White-American and all of whom were very receptive to the these racketeer

defendants' predatory demands against the plaintiff and most-of-whom had resigned and/or lost-their-re-election-campaigns due to abuse-of-

office - thanks entirely, to the Otwellian nightmare of the modern-day-Jim-Crow police-state around the plaintiff and the toxic environment of

racist-lawlessness around the plaintiff - both maliciously created, fostered, and nurtured by the predatory actions and deliberate inactions of the

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(WCLE] (and, to a lesser extent, the former [HOA] under those [f-HOA-BoD]s).




12 7 8
Indeed, the defendants egregious, predatory/abusive/oppressive actions against the plaintiff have made the plaintiff suffer as if the plaintiff -

who the defendants deemed to be a powerless, "low-IQ" and/or "third world ignorant", subhuman animal - has no rights, and as if the plaintiff

was/is trapped in a pre-civil-rights-era (or Jim-Crow-era) bubble for over a decade - in other words, as if the plaintiff lives in an alternate world

in which none of the civil-rights legislation and anti-racketeering-activity legislation existed - and all of the limited gains towards

freedom/independence/justice made by the many civil-rights-movements/racial-justice-movements in the United States meant nothing in-

regards-to the plaintiff and were all null-and-void in-regards-to the plaintiff ( ~ ) .




12 7 9
For over a decade, the primary-defendants [JSP&KAP], [RSR] and [WCLE] have fully and abusively exploited the racial-demographics and

political-demographics of the [Summerlyn] subdivision and the County of Williamson, and by virtue of the racial-demographics and

political-demographics of the [Summerlyn] subdivision, the County of Williamson, and thus the resulting jury pool in the County of

Williamson, which are all extremely unfavorable to the plaintiff (a crucial-component of modem-day-Jim-Crow), the defendants have been

given free-reign to completely abuse the legal/justice system in-order-to fully deprive the plaintiff of tbe plaintiff's rights, while at the same time,

totally deny the plaintiff the opportunity from setting the record straight by dismantling their fraudulent, institutionally-racist narratives against

the plaintiff and seeking justice for the huge number of substantial hate-crimes/racketeering-acts/civil-rights-violations/abuses that they

aggregately committed against the plaintiff.




                                                                      §XVIII

         LAWSUIT COULD HAVE BEEN AVOIDED IF DEFENDANT [WC]

    ACTED EARLY BY TAKING APPROPRIATE CORRECTIVE-ACTIONS

                                                        IN {2011}/{2012}


 12 8 0
 As the plaintiff has already sununarized, the plaintiff has suffered a huge number of racially-motivated hate-crirnes/racketeering-acts/civil-

 rights-violations/abuses, especially from predatory, far-right-wing-extremist, co-conspirator, racketeer defendants (JSP&KAP],[RSR], but also

 a large number of racially-motivated bate-crimes/racketeering-acts/civil-rights-violations/abuses from some members of [WCLE]. However, if

 [WCLE] had acted early in {201 I}/{2012} by performing all of the following corrective-actions after the {2011-08-30} traumatizing incident
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suffered by the plaintiff, then predatory, far-right-wing-extremist, co-conspirator, racketeer defendants [JSP&KAP], [RSR] and the subsequent

members of [WCLE] would not have operated with a sense of absolute impunity and racist lawlessness against the plaintiff, by aggregately

committing the huge number of subsequent, racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff

(over the course of the following decade), and the plaintiff would, thus, not have suffered the extreme, permanent irreparable injury/harm

caused by these huge number of racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses (including abuse from the IHOA]

under the [f-HOA-BoD]s[SPOA-P-BC],[SPOA-VP-AH]), and therefore, the damages suffered by the plaintiff would have been minhnized, h1

tenns of liability for defendant [WC], and its law-enforcement-agencies, [WCLE]:

01.    Charged and prosecuted [JJB] in {2011)/{2012} for all of[JJB]'s Obstruction/Retaliation, Harassment/Stalking,

       Intimidation/Interference, Blackmail, Criminal-Mischief, Illegal-Dumping racially-motivated hate-crimes/racketeering-acts/civil-rights-

       violations/abuses against the plaintiff from {2009} through the end of this particular period of time.

02.    Charged and prosecuted [RSR] in {2011 }/{2012) for all of [RSR]'s Obstruction/Retaliation, Criminal-Conspiracy, Witness-Intimidation,

       Witness-Tampering, Harassment/Stalking, Terroristic-Threat, Assault, Intimidation/Interference, False-Report, Texas-Fraud, Disorderly-

       Conduct, Blackmail racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff from {2009)

       through the end of this particular period of thne.

03.    Charged and prosecuted [JSP] in {2011 }/ {2012) for all of [JSP]'s Obstruction/Retaliation, Crhninal-Conspiracy, Witness-lnthnidation,

       Harassment, Terroristic-Threat, Assault, Intimidation/Interference, Texas-Fraud, Disorderly-Conduct, Blackmail racially-motivated hate-

       crhnes/racketeering-acts/civil-rights-violations/abuses against the plaintiff from {20 IO} through the end of this particular period of time.

04.    Charged and prosecuted [WCSD-PP] in {201 I}/ {2012} for Obstruction/Retaliation, Criminal-Conspiracy, Witness-Inthnidation,

       Wih1ess-Tamperh1g, Official-Oppression, Abuse-Of-Official-Capacity, Misuse-Of-Official-Information, Intimidation/Interference, Texas-

       Fraud, Disorderly-Conduct, Harassment, Discrimination racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses

       against the plah1tifffrom {2011} through the end of this particular period of time.

05 .   Charged and prosecuted [WCSD-SP] in {20II}/{2012} for Obshuction/Retaliation, Witness-Intimidation, Official-Oppression, Abuse-

       Of-Official-Capacity, Misuse-Of-Official-Information, Discrimination racially-motivated hate-crimes/racketeering-acts/civil-rights-

       violations/abuses against the plaintiff from {2011} through the end of this particular period of tune.

 06.    Issued, in {2011} / {2012}, a Public-Letter-of-Apology to the plah1tiff for egregiously violating the plahlliff s rights.




 i281
 However, since [WCLE] did not perfonn all - and, in fact, any- of the aforementioned conective-actions in {2011 }/{2012}, the plah1tiff

 conthmed to suffer needlessly and miserably for over a decade more ( {2013} through {2022) ), after already having suffered the initial years of

 racially-motivated hate-crimes/racketeerh1g-acts/civil-rights-violations/abuses from {mid-2009) through {mid-2012}. Instead, [WCLE] took the

 exact-opposite course-of-actions by continuing to conspire and act, in furtherance of such conspiracy - c01ruptly-rnaliciously-predatorily-and-

 retaliatorily against the plaintiff along-with and on-behalf-of predatory, far-right-wh1g-extremist, co-conspirator, racketeer defendants

 [JSP&KAP],[RSR] - as part of their obstrnctive-and-retaliatmy, blaclonailh1g-and-defraudh1g racketeering-enterprise against the plah1tiff - for

 ahnost a decade after those h1itial {mid-2009) through {mid-2012} incidents - as substantially documented h1 this lawsuit.




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                                                                         §XIX

                 PRIVACY LAW, COPYRIGHT LAW AND OTHER LEGAL

                                                              DISCLAIMERS


1282
To the best of the plaintiffs knowledge, any (online/print) publication, newspaper/journalist article, blog-posting and/or social-media-posting

cited/posted by the plaintiff in this lawsuit is either already within the "public domain" OR is not privacy-protected under the "third-party

doctrine" OR has been millimally cited/posted under the '.'fair-use doctrine" solely for the non-commercial purpose of proving the plaintiffs

claims, and as such, such citing/postillg is not intended to violate anyone's (or any entity's) privacy-right(s) or copyright(s). All credit(s) and

attribution(s) for those items go to the respective author(s) and/or copyright-holder(s) of those items. As is already evident in the text of this

lawsuit, the plaintiff has taken great care and diligence including, but not limited to - the redaction of names/phone-numbers, the

blurring/slu·itiking/cropping of images - to elitnillate any potential unauthorized posting of any privacy-protected and/or copyrighted-materials in

this lawsuit, including, but not litnited to: social-security-numbers, names-of-minor-children, dates-of-bit-th, financial-account-numbers, driver-

license-numbers (and other identification-numbers), medical-records, employment-history, individual-financial-information, proprietary/trade-

secret-it1formation. Whenever and wherever the plait1tiff has provided any address of any current-resident-witnesses, the plaintiff has ensured

not to identify the current-resident-witness(s) at such address, and as such, these addresses are only used to indicate the relative location of

such address to the plaintiff's residence. Furthe1more, since the plaintiff's own residence address, as used abundantly in this lawsuit, is not

subjected to any privacy protections (since the plailltiff's name and address are visible it1 publicly-visible property/appraisal records), the use of

these other addresses located directly-around the plailltiffs residence does not, ill any way, compromise any person(s) privacy. Most

importantly, since this lawsuit involves, ill substantial part, a housillg-discrit'nination complaint, the use of such addresses, without any other

personally-identifying information, is unavoidable and crucial to the performance of this lawsuit. The plaintiff has redacted any-and-all

potentially sensitive/private illformation, not only by blurrit1g/shrinking/croppillg images, but also by using the asterisk character, "*", to mask

any potentially-sensitive textual it1fonnation, and by using only non-identifying initials (rather than full names) of certain thit'd-party

witnesses/parties even though, almost-all, if not aU, of these persons' full-names and addresses are already public-information - publicly-

accessible via the property/appraisal records, local Court records and/or other public records. Wherever a current/former resident is not listed in

the publicly-accessible property/appraisal records, the plait1tiff has tried to avoid using such resident's initials, and has tried instead to only refer

to such resident by the non-identifyillg string of characters, [STREETNUMBER-INITIALYEAROFRESlDENCE-SINGLEDIGlT]. In the

illterest of privacy, the plaintiff has also not posted any live-litlks to the video/audio recorded evidence of illCidents described ill this lawsuit,

and will only submit this information directly (and privately) to the defendants through the legal processes of discove1y/depositions. The

plaintiff has thus, out of an abundance of caution, made eve1y reasonable effort to fully-comply with all of the privacy-terms of the ( E-

Government Act of 20 02) , [Federal Rules of Civil Pro cedure:                                   Rul e 5 . 2. Privacy Protection For Fi l ings

Made with the Court) , other applicable privacy-law(s) and copyright-law(s).


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1283
The views expressed in this lawsuit are exclusively the plaintiffs views and, thus, do not necessarily represent the views of any other party.




1284
No part/aspect of this lawsuit seeks to defame any-one, any-group, any-institution or any-entity:

01.     This lawsuit seeks to present the truth - with truth being a valid defense to invalid/illegitimate claims of defamation.

02 .    In-Order-To prove defamation, the accuser must prove that the accused knowingly made false/fraudulent statements about the accuser

        and that the accused did so with malice against the accuser. As this lawsuit regarding the plaintiff and the defendants reveals, only the

        defendants knowingly made false/misleading/fraudulent public statements about the plaintiff (sometin1es in extremely public-settings such

        as social-media), only the defendants harbored extreme animus against the plaintiff, and only the defendants acted with extreme malice

        against the plaintiff. The plaintiff has taken great care and diligence to carefully and truthfully word this lawsuit as-conservatively-as and

        as-reasonably-as the plaintiff could, with the plaintiff's own limitations (for example, intellectual limitations and limited breadth-of-

        know\edge), perspectives and cumulative life-experiences, and without making any extra-judicial (out-of-court) public-statements (see

        below).

03.     The standard for proving defamation against public figures including, but not limited to, governments, government officials, government

        agencies and other public-authorities - "clear-and-convincing-evidence" - is much higher than the standard for proving defamation

        against private citizens ('iJreponderance-o.f-evidence", sometimes referred to as "more-likely-than-not').

04.     Generally speaking, defamation only applies to extra-judicial (out-of-comt) statements.

05.     Private-citizen litigants in a lawsuit are substantially protected by "q11asi-i111m11nity 11 of "litigation privilege" from claims of defamation

        resulting from any litigation action.

06.     Private-citizen litigants in a lawsuit are substantially protected by 11quasi-i11111111nity 11 of the fundamental first-amendment-rigl1t-to-petition

        from claims of defamation resulting from any litigation action.

 07 .   Private-citizen litigants in a lawsuit are substantially protected by "quasi-immunity" of the equal-rigl1t-to-sue ([42-USC-C21-Sl-§ 1981])

        from claims of defamation resulting from any litigation action.

 08.    All parts/aspects of this lawsuit are fully-protected by anti-SLAPP laws (for example, the [Texas Citizens Participation

        Act) codified within [TCPaRC-T2-SB-C27]) that fully-protect Constitutional speech, especially Constitutional speech that is a "maller

        ofpublic concern" and ''general public importance" - as specified in the [FHA] ([42-USC-C45-SI-§3614]). The general topic of

        government-misconduct is the most extreme "mal/er ofpublic concern" and ''general public importance " as are the sub-topics of

        institutional-racis111/ White-Supremacy/racial-oppression/ racial-tyranny/modern-day-Jim-Crow/far-rigl1t-wing-extremism/racketeering-

        activity. The plaintiff asserts that there is no Constitutional-speech of greater "public concem" and ''general public importance" than

        such speech regarding government-misconduct - the primary topic of this lawsuit.

 09.     ''Absolute Power Corrupts Absolutely." "Power remains strong when ii remains in the dark; exposed lo the sunlight, it begins lo

         evaporate. 11 "Power concedes nothing without a demand. 11: The primary purpose of this lawsuit is to expose egregious government-

         misconduct and egregious government abuse-of-power, and despite of the fact that the plaintiff - a citizen-journalist - has not made any

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       extra-judicial statements about this case, all parts/aspects of this lawsuit are protected by the same first-amendment protections afforded

       to the media/press (including citizen-journalists) and whistleblowers - with a primaiy goal of both media/press and whistleblowers to

       expose government-misconduct and government abuse-of-power.

10.    Enforcement of the [FHA]/[TFHA] requires all parties involved to have open, honest and uncensored dialogue about legitimate

       grievances of homophobic-animus, lslamophobic-animus, anti-semitic-animus, anti-immigrant-animus, anti-indigenous-pcop\es-animus,

       and all other forms of racial-animus including but not limited to: institutional-racism/White-Supremacy/racial-oppression/racial-

       tyranny/modern-day-Jim-Crow/far-right-wing-extremism. Prospective petitioner(s) in [FHA]/[TFHA] lawsuits cannot reasonably be

       expected to present their legitimate grievances to Court if they could easily be retaliated-against, censored or otherwise-punished for

       doing so.

11.    Similarly, if the underlying sub-claims to a prospective petitioncr(s)' [RlaCOA] lawsuit involves retaliation, retaliatory threats-of-murder,

       retaliatmy blackmail/extortion, witness-intimidation, retaliatory witness-tampering, retaliatory evidence-tampering, retaliatmy fabrication-

       of-evidencc, mail-fraud, wire-fraud, obstruction-of-justice, etc., then the same logic also applies to such [RJaCOA] lawsuit. Victin1s of

       retaliation, retaliatory threats-of-murder, blackmail/extortion, witness-intimidation, witness-tampering, evidence-tampering, fabricated-

       evidence, mail-fraud/wire-fraud, obstruction-of-justice, etc, - in particular - need to be provided with an open and uncensored space to

       voice their legitimate grievances in Court, without any fear of retaliation, censorship or other punishment. If the prospective petitioner(s)

       of such [Ria COA] lawsuit failed to file such [Ria COA] lawsuit due to fear of retaliation/censorship/punishment, then such prospective

       petitioner(s) would, in effect, be allowing long-term pattern of criminal racketeering-activity conducted as part of a racketeering-

       enterprise to go completely undetected and unpunished.

12 .   Victims of abuse ( especially, abuse for the purpose of humiliation) need to be provided an open and uncensored space to voice their

       legitimate grievances in Court, without any fear of retaliation/censorship/punishment. If such victims are, in any way, punished for

       exercising such Constitutional rights, then such punishment would not only cause fm1her irreparable-hann/emotional-

       distress/psychological-trauma/mental-anguish onto such victims, but would also, by way of chilling-effect, send a strong message to

       other victims of abuse to remain silent about such abuse.

13.    If the plaintiff failed to file this lawsuit - and thus, if the plaintiff failed to expose all of the government/government-agency misconduct

        substantially documented in this lawsuit - the plaintiff would have committed an extreme injustice not only onto the plaintiff, but much

        more importantly, to all other persons-of-color and/or political-activists who have suffered institutional-racisrn/White-Suprcmacy/racial-

        oppression/racial-tyranny/modern-day-Jim-Crow/far-right-wing-extremis1n/political-repression/racketeering-activity from their local

        government acting maliciously in conspiracy with malicious private citizens that "harborbed prejudice". Fut1hermore, as a social-justice-

        activist, the plaintiff would not have been able to live with the extreme regret of failing to file this lawsuit - which would have meant that

        all of the more-than-a-decade-worth-of egregious government-misconduct that the plaintiff has suffered and documented being,

        figuratively-speaking, '~<;wept under the rug", Thus, the plaintiff has filed this lawsuit solely in the interest-of-justice.




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                                          SEQUENCE OF RELEVANT INCIDENTS

"... if you ll"ere lo trim tlrese bushes 011d make em look good - eve1ybody 11"011ld leave you alone!"
                                                - [WCSD- PP]       speaking to     PLAINTIFF, [JSP]         on the date of {2011-08-30}



"... SHE SAID THAT SHE WAS GOING TO COME HOME AND WHOOP WHOEVER'S ASS WAS OVER HERE!"
                                                - [WCSD- PP]       speaking lo     PLAINTIFF, [ JSP]         on the date of {2011-08-30)



"THE BEST SOLUTION SID, IS TO MOW YOUR GRASS! AND THEN YOU WON'T HAVE THIS PROBLEM!"
                                                - [WCSD- SP)       speaking lo     PLAINTIFF         on-or-about the date of {2012-03-??}



"People call us all tire time for b.s. stuJJ; and.for genuine slliff It's 011rjob to detemrine whet/rer it'.v b.s. or genuine, rig/rt?"
                                                - [WCSD- MD]       speaking to     PLAINTIFF         on the dale of {2020-02-09)




"IF YOU DON'T TAKE CARE OF YOUR YARD, l'M GOING TO GET THE STRICTEST RULES APPLIED TO YOU BY THE {HOA/, AND IF YOU STILL DON'T SEE TO
IT-I'MGOING TOGETTHE/TIOA/ TOK/CK YOUOUTOFTHEHOUSE! SO, YOU BETTER TAKE CARE OF IT! LOOK AT !'OU! YOU'RE NOT EVEN TAKING
CARE OF YOURSELF! ... WHAT DO YOU DO IN THERE, ANYWAYS?!"
                                                 - [RSRJ     speaking to     PLAINTIFF        on the date of {2010-06-05}



"I KNOCKED ON YOUR DOOR! ... I TOLD YOU l lVOULDCALL THE [HOA} AND THE [HOA] WOULD TAKE CARE OF IT! ... /WILL GET YOU OUT OF THIS
NEIGHIJORHOOD IJY VIOLATING THE /HOA/ LAI~ - IF I HAVE TO! BECAUSE THAT IS MY RIGHT, BUT HERE'S THE THING: I NEVER WOULD RACE ACROSS
 THE STREET AND DUMP KITTY-LITTER INTO YOUR !'ARD! ... I HAVE EVIDENCE! S*"* AND I SAT THERE, WHILE THAT DRUNK IVOMANOVER HERE
LA UGHED ABOUT - NUMBER ONE - LA UGHED ABOUT - THROWING LITTER IN YOUR BACKYARD! ... BECAUSE IT DOESN'T MATTER ANYWAYS - HE DOESN'T
LOOK AT HIS YARD ANYWAYS! AND ALSO, SHE LAUGHED ABOUT. WHEN SHE WOULD COME IN IN THE MIDDLE OF THE NIGHT. AND KNOCK ON YOUR
DOOR - THOSE ARE THE THINGS SHE SAID!"
                                                 - [RSR]     speaking to      PLAINTIFF       on the date of {2016- 10-1 1)



 "... I JUST KNOCKED ON YOUR DOOR AND ... I SAID I WILL CALL THE /HOA/ AND HA VE YOU FORECLOSED ON IF YOU CONTINUE TO BREAK THE

 RULES!"
                                                 - [ RSRJ     speaking to     PLAINTIFF       on the date of {2017-02-06}



 "... OK, WELL - WHERE YOU'RE FROM- GO BACK THERE AND LIVE THERE!"
                                                 - [RSRJ      speaking to     PLAINTIFF       on the date of (20 17-02-06}



 "... I'M SO TIRED OF HEARING /THAT/ ll'S flLEGAL! ... THE YARD IS A MESS. THE BACKYARD - HE HAD CABLES - IV/TH CA MERAS ALL OVER THE PLACE.
 OVERGROWTH IN ATTACHED PORCH -All OF THAT- AND FOR 9 YEARS, /'VE ASKED YOU GUYS TO DO SOMETHING.... BECAUSE. IF I SHOW, AND MY
 NEIGHBOR CAN SHOW - THAT HE LOST A SALE - THAT IS A 'CAPITAL LOSS' - THAT YOU, THEN WOULD BE RESPONSIBLE - AND IN TURN, THAT
 HOMEOWNER WOULD BE RESPONSIBLE. /'VE DONE MY HOMEWORK, AND I'M DANGEROUS ENOUGH TO KNOW JUST A LflTLE AND TO MAKE ff WORSE

 ... ! JUST WANT HIM TO MOW HIS GRASS! / JUST WANT HIM TO CLEAN UP THE PIG-PEN IN HIS BACKYARD! I WANT HIM TO BE A NEIGHBOR! /DON'T WANT
 TO BE CALLED A RACIST! AND IN FACT, I THINK THAT IT'S LIKE llEVERS&DISCRIMINATION! IJECAUSE YOU'RE SO CAREFUL BECAUSE OF
 SOME/JODY'S RACE- RACE IS AN ISSUE WHEN THE- WHEN THEY DON'T HAVE A /JETTER ARGUMENf! ... NO! I JUST WANT - I JUST WANT THAT
 HOUSE TAKEN CARE OF! ... "

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                                      - [RSR]    speaking lo      [HOA], PLArNTIFF      on the dale of {2019-08-1 9}



"... BUT WHAT I'M SAYING JS THAT THE BOARD HAS THE RESPONS/Bll/TY TO ACT IN THE HOMEOJVNER'S BEST INTEREST. AND MY INTERESTS ARE NOT
BEING PROTECTED!- I'M NOT ASKING FOR YOU KNOii~ FOR YOU TO STOP THE FIREWORKS! I'M ASKING l'OU TO GET THE GUY TO MOW HIS GRASS AND
TAKEOFFTHOSESTUPOJSIGNS, AND CLEAN OUT 1-JJS BACKYARD. I ASKED YOU THIS FOR 9 YEARS-AND /'VE PAID MY $88 {???} SOMETIMES,
SOMETIMES NOT... AND I STILL DON'T GET ANYTHING BACK OTHER THAN{???]. AND I - YOU HAVE THAT FIDUCIARY RESPONSIBILITY -AND JUST IN THE
LAST YEAR - I NEED TO KNOW! I WANT TO SELL MY HOUSE - I DON'T WANT TO LWE ACROSS THAT GUY/ I DON'T! HE'S BAD NEWS! HE'S INCONSIDERATE!
HE DOESN'T CARE ABOUT- IF HE WANTS TO LWE LIKE THAT - THAT'S FINE/ LET HIM BUY A PIECE OF LANDI BUT WHEN YOU COME INTO OUR
NEIGHBORHOOD, YOU SIGNED THE COVENANTS-AND YOU ARE CONTRACTUALLY OBLIGATED TO THAT! SO, AS AN EXAMPLE.. {???} BUT THAT'S NOT
SO... BUT I NEED YOU TO LET HIM KNOii~ IN NO UNCERTAIN TERMS, THAT HE HAS TO ABIDE BY THEM/ ... [???} 9 YEARS!-AND I'M NOT PATIENT ... "
                                      - [RSRJ     speaking lo     [BOA] , PLAINTIFF      on the date of {2019-08-19}



"... WHY DON'T YOU JUST MOVE! ... "
                                      - [RSRJ     speaking to     PLArNTIFF      011 the date of {2020-05-05)




"   WHAT IS HIS PROPERTY?/ ARE YOU SURE THAT THAT'S HIS PROPERTY? ... I MEAN, WHO KNOWS IF THAT'S EVEN /-/IS PROPERTY?! ... "
                                      - [RSRJ     speaking to     [JSP]    on the date of {2020-06-22}




"YOUR YA RD LOOKING THE WAY IT DOES, BRINGS DOJVN THE VALUE OF OUR HOUSES/ BEING NEXT DOOR AND ACROSS THE STREET DE- VA LUA TES OUR
HOUSES! ... IT LOOKS GHETTO, YOU KNOii~ THAT'S WHAT IT LOOKS LIKE/ ... WE DON'T WANT GHETTO NEXT-DOOR BRINGING OUR PROPERTY-VALUE
DOWN! ... All WE ASK YOU TODO !STRIM YOUR DAMN BUSHES- HOWFRICKINGHARDIS THAT?/ GODDAMN - WE DON'T ASK MUCH OF YA / ... IT'S JUST
TO LOOK DECENT ... WE'LL LIVE THE FACT THAT YOUR GRASS LOOKS LIKE SHIT ... BUT ATLEASTCLIP YOUR BUSHES, LOOKS LIKE- I DON'T EVEN KNOW
WHATTHAT IS/ ... IT LOOKS TERRIBLE ... MINE WOULD BE ALL OVER MY HOUSE IF I LET IT GROW LIKE THAT. MINE GROWS LIKE CRAZY. YOU KNOW WHY
- CAUSE I TRIM IT - IT GROWS FASTER WHEN YOU TRIM IT- JUST l/KE HAIR!"
                                      - [JSP)     speaking 10     PLArNTIFF      on-or-about the dale of {2011 -09-??}




                                      - [JSPJ     speaking to     PLArNTIFF      on-or-about the date of (20 11 -09-??}



 "IN EVERY OTHER COMMUNITY. THEY WOULD /-IA VE HUNG YOUR ASS BY NOW! YOU WOULD BE GONE!"
                                       - [JSPJ    speaking to      PLAINTIFF     on the date of {20 17-05-27)



 "MOVE! ... GO SOMEWHERE ELSE!"
                                       - [JSP)    s peaking to     PLArNTIFF     on the date of {2017-05-27}



 "I TALK TO YOU- I'M THE ONLY ONE HERE, IN THIS NEIGHBORHOOD, THAT'S NICE TO YOU! ... WHY WOULD I DO IT! ... LET ME TELL YOU WHO DJD IT-
 THE /HOA/ HAS DONE IT/ ... I MEAN, I'M NOT GOING TO LIE/ - I WANT J:.'M TO DO IT! - I WANT EM TO GET RID OF YOU/ - I WANT THIS PLACE TO LOOK
 NICE, BECAUSE WHEN IT COMES TIME FOR ME TO SELL MY HOUSE, I DON'T WANT THIS PIECE-OF-SHIT NEXT TO ME! - l'M SORRY, I DON'T!- l'M JUST
 BEING HONEST!"
                                       - [JSP)     speaking to     PLArNTIFF     on the dale of {2017-05-27}



 "YOU'RE DAMN LUCKY - THAT YOU CAN HIDE BEHIND THAT LITTLE RACE CARD OVER THERE - BECAUSE, I WOULD COME OVER THERE AND WHOOP

 YOUR ASS!"
                                       - [JSP]     speaking to     PLAINTIFF      on the date of {2017- 10-29}




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"BAM! I'D KNOCK YOU SENSELESS- YOU SICK SON OF A BITCH! YOU KNOW WHAT- YOU'RE SUCH A{???] - YOU'RE A FAGGOT! YOU'RE A LITTLE BITCH!
All OF THESE PEOPLE THAT[???] - THEY COULD LOOK AT YOUR PIECE-OF-SHIT HOUSE AND YOUR PERVERTED ASS! AND GET THOSE CAMERAS OFF
MY BACKl'ARD - QUIT BEING A LITTLE PERVERT. YA FREAK! ... I WILL KNOCK YOU OUT/ YOU WON'T NEVER SEE TOMORROW, BOY. I TELL YOU WHAT!

YOU'RE SUCH A PUNK-ASS LITTLE BITCH!"
                                    - [JSP]      speaking lo      PLAINTIFF     on the date of {2019-01-22}



"!'VE GOT THE HEALTH DEPARTMENT COMJNG UP HERE! ... GOD WE WERE All PRAYING, [THAT] YOU WERE MOVING! ... WHY DON'T YOU TAKE All THIS
SHIT. ANO GO SOMEWHERE ELSE! ... IT'S DISGUSTING! THERE'S NO REASON WHY WE All HAVE TO DEAL WITH IT! ... "
                                    - [JSP]       speaking lo     PLAINTIFF     on the date of {2020-03- 16}



"... SID. YOU ARE A FUCKING WORTHLESS PIECE OF DOGSHIT! YOU STINK LIKE ASS! ... "
                                    - [JSP]       speaking lo     PLAINTIFF     on the dale of {2020-04-18}



"... I IV/LL HAVE THE HEALTH DEPARTMENT RIGHT UP THE MIDDLE OF YOUR ASS-HOLE! OR WILLIAMSON COUNTY OR SOMEONE ELSE YOU DON'T WANT
TO TALK TO! ... SID- YOU CAN'T TAKE CARE OF THIS PLACE! WHY DON'T YOU JUST MOVE! GET AN APARTMENT OR SOMETHING! ... YOU CAN'T HANDLE
IT!- IT'S OBVIOUS! All YOU'RE DOING JS COSTING YOUR PARENTS MONEY! ... AND THEN YOU HAVE ALL THESE SIGNS OUT THERE- TALKING ABOUT
"RACJSM" ANO "TAX THE WEALTHY", AND All THAT KIND OF BUllSHrTI ... l'OU DON'T EVEN WORK! - WHO ARE YOU TO SAY ANYTHING ABOUT
ANYTHING! YOU PIECE OF SHIT! ... YOU'RE A NOBODY!- YOU SHOULD HAVE NO SAY! YOU DO HAVE NOSAY, THANK GOD! ... YOU RIDICULOUS SON OF A

BITCH! YOU SHOULD HAVE NO SAY! ... "
                                       - [JSP]    speaking to     PLAINTIFF     on the date of {2020-06-17}



"WHAT ARE YOU CALLING {THE POLICE} ON BECKY FOR, THE OTHER DAY?! WHAT A RIDICULOUS DICKLESS MOVE THAT WAS?!! ... ARE YOU KIDDING
ME?!! YOU LITTLE CHICKEN-SHIT! BECAUSE SHE WALKED ACROSS THE FRONT OF YOUR YARD! ... YOU KNOW HOW PISSED OFF n!E COPS WERE ABOUT
THAT?! YOU KNOW IVHAT'S GOING TO HAPPEN IF YOU KEEP DOING THAT?! ... YOU KNOW WHEN THAT COP HAD YOU BACKED VP AGAINST THE WALL
THAT DAY!- THAT'S GOING TO HAPPEN AGAIN, SOON! PREPARE YOURSELF! AND IT A/NT GOING TO BE NO 'RODNEY KING' OR ANY OF THAT KIND OF
JACK SHIT! THEY.JUST DON'T CARE ABOUT YOU!"
                                       - (JSP]    speaking to      PLAINTIFF     on the date of {2020-06-17}



"... SID- YOUR HEAD! YOUR HAlll JS RIDICULOUS!{???] ARE YOU KIDDING ME?! WHAT IS THAT ABOUT?! YOU CAN'T CUT YOUR HAIR?! THAT IS
RIDICULOUS!- THAT MUST SMELL LIKE SOMEBODY'S ASS HOLE! MY GOD-ARE YOU KIDDING ME?! PROBABLY WHAT I SMELL ALL THE TIME! ... [???]
WHAT'S UP IV/TH THAT- CAN YOU DO SOMETHING ABOUT THE SMELL! ... I DON'T WANT TO HAVE TO CALL THE HEALTH DEPARTMENT OUT HERE AGAIN!
- THEY'VE' GOT MORE IMPORTANT THINGS TODD THAN TO DICK WITH YOU! ... BUT YOU KNOii~ I DON'T HAVE A CHO/Cl:.', BI:.'CAUSE YOU'RE SUCH A
DISGUSTING SON OF A BITCH! ... "
                                       - [JSP]     speaking to     PLAINTIFF     on the date of {2020-06- 17)



 "HEY SID- COPS CAME BY[???] LOOKING FOR YOU! ... I KNOW YOU WERE' HOME! WHY DIDN'T YOU ANSWER THE DOOR?! ... l'M GOING TO CALL EM NEXT
 TIME' - AND NEXT TIME.[???] I'M GOING TO TELL THEM! I'M BOUT TO CALL EM RIGHT NOii' AND LET EM KNOW YOU'RE HERE'! ... TAKE CARE OF YOUR
BUSINESS! ... 'NATURE BOI"! ... I'll TELLING EM SID! - I'M TELLING EM YOU'RE HERE!"
                                       - [JSP]     speaking to     PLAINTIFF     on the date of {2020- 10-20}



 "WHAT?! BECAUSE I DON'T LIKE HIS CAMERA ON MY YARD! ... I CAN 00 WHATEVER l WANNA DO! ... HEY, /'VE LIVED NEXT TO THIS GUI' FOR /0 YEARS!
 OK?! ... TRUST ME. YOU DON'T HAVE TOLIVE BY HIM! HAVE YOU SEEN HIS BACKYARD?! ... YEAH. I'M SURE THEY HAVE MUCH MORE SERIOUS PROBLEMS
 THAN ME THROWING SNOWBALLS {AT THEIR HOUSE]!"
                                       - [JSPJ     speaking to     [785KL- 2018- 1] , [785KL- 2018- CHILDREN] , PLAINTIFF   on the date of {2021-02-17}



 "SO l:.'XACTLY, WHAT MAKES YOU THINK THAT'S ACCEPTABLE?! ... HAVE YOU DECIDED WITH THE {HOA] THAT THAT'S ACCEPTABLE, SID?! ... HAVE

 YOUUU?!!!"


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                                                    - [KAP)       speaking to      PLAINTIFF         on the date of (202 1-04-26}



"I MEAN. I'll HAVE Tl-/£ f-lEALTf-1 DEPARTMENT OVER HERE REAL QUICK IF YOU DON'T HANDLE THAT SOON! ... THEY'LL BE UP YOUR BUTT/ ... I'LL HAVE
THE POUCE UP YOUR BUTT! ... I'll HAVE EVERl'BODY UP YOUR BUIT! ... AND I KNOW l'OU DON'T l!KE PEOPLE UP YOUR BUIT! ... SO. YOU BEITER GET
A HANDLE! ... I'VE TAKEN PICl'URES OF ALL OF THIS!- !'VE TOOK PICTURES OF YOUR BACKYARD WITH THE WEEDS UP TO HERE!"
                                                     - [JSP)      speaking to      PLAINTIFF         on the date of {2021-06-18)



"AND WHY ARE YOU EVEN ALLOWED TO l!VE BY YOURSELF, BLOWS MY MIND!''
                                                     - [JSPJ      speaking lo      PLAINTIFF          on the date of (202 1-06- 18)



"WHEN I GET THE f-lEALTf-1 DEPARTMENT IN HERE, THEY'RE GOING TO BE SO FAR UP YOUR BUTT! ... THAT YOU'RE GOING TO BE VERY
UNCOMFORTABLE/ ... AND I KNOW YOU DON'T l!KE TO BE UNCOMFORTABLE!"
                                                     - [JSP)       speaking lo     PLAINTIFF          on the dale of {202 1-06-18)



"... !'MA TAKE A PICTURE OF ALL OF IT. CALL YOU IN TO ALL YOUR BUDDIES, THAT THINK YOU'RE 'GREEN'! YOU'RE ACTUALLY 'BLACK'! .. . "
                                                     - [JSP)       speaking lo      PLAINTIFF         Oil the date of {2021-06-30}




"FREAK-Of ... YOU'RE A Fl{EAK! [???] DAMN{???]! YOU ARE A FREAK TO B£ ABLE TO LIVE BY YOURSELF! FUCKING IVEIRDO! ... "
                                                     - [JSP)       speaking lo      PLAINTIFF         on lhednteof {2021-07-09}



 "... WHY DON'T YOU JUST WEAR A RAG! THAT WOULD BE MORE APROPOS! ... l!KE TARZAN! ... " [ MIMICS THE SOUND OF THE TARZAN

YELL , AND THEN LAUGHS OUT LOUD D "WHYDON'TYOUGETTHOSECAMERASOFFMYPROPERTY! ... " [                                                                               [JSP) PICKS UP A

LARGE ROCK FROM [784KLLTX78641) AND THROWS IT TOWARDS ONE OF THE PLAI NT IFF ' S CORNER

SECURITY CAMERAS . THE LARGE ROCK LANDS ON THE PLAINTIFF ' S [ YARD) UNDERNEATH THOSE SECURITY

CAMERAS .            D
                                                      - [JSP)      speaking 10      PLAINT:lFF         on the dale of {202 1-10-10}




 "sii; it's 11111- i11 tolalilaria11 societies, they U.l'ed lo put people i11 prison for things that are '111111.<ual'!"
                                                      - PLAINTIFF         speaking lo       ['WCCHDS-VD)           on the date of {2020-04-28}



 "Indigenous c11//11res. EIY!IJ' /Julige11om c11lt111Y!. I'm 1101 doing anything out of the 01rli11{11y 11111?11 it comes to indigenous c11//11re s. ok. so- 1m'1e talking about the people that used
 lil'e 011 tl,is laud- I mean. but still do to ve,y 111im1/e erte11I. and also, indigenom cultures i11 Africa, South-America a11,I, yo11 know, Asia as well. And. I happen to hef1v111 the
 Asian c11/t111es. B11t what I 111ean to say is, i11digeno11s cultures hm•e a distinct. I 111ea11 veiy traditional way of livi11g. that yo11 111ight consider lo 1,e )1ri111itive'. "
                                                      - PLAINTIFF         speaking to       [WCCHDS- VD)           on the date of {2020-04-28}




1285
On or about the date of {2009-03-06} the plaintiff becomes owner of the residential property [788KLLTX7864 I], and within one week or two

weeks after {2009-03-06}, the plaintiff moved into [788KLLTX78641] located in the [Summerlyn] residential-property subdivision.

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1286
On or about an afternoon in the beginning of the month of {2009-06}, while inside of the [HOUSE], the plaintiff heard knock(s) on the

plaintiffs [FRONT DOOR] and/or the door bell rung. The plaintiff opened the front-door of the [HOUSE] to find then-next-door-neighbor

from [792 KINGFISHER LANE, Leander, TX 78641] [792KLLTX78641], [JJB], standing in front of the [FRONTDOOR]. [JJB] inquired

about what she claimed to be unmowed or uncut grass on the plaintiffs property. She called the plaintiff to follow her to look at the plaintiffs

sideyard - the areas of the plaintiffs property nearest to the sideyard of her property. When she and the plaintiff were at the plaintiffs sideyard,

she pointed at the grass, and told the plaintiff that grass needs to be cut on a regular basis, even saying, in an almost-threatening, yet-calm

manner, "You !mow, we do !tave an [HOA/!... " (~) (.>..) . She then started to talk about what she claimed to be insects on the plaintiffs yard

and inquired about whether the plaintiff is using pesticide(s). The plaintiff informed [JJB] that, as an environmentalist, the plaintiff is strongly-

opposed to the use of such chemical(s). (At that moment in time, being far more timid about talking about the plaintiffs religion/culture/race,

the plaintiff did not mention that it was also strongly against the plaintiffs indigenous religious/cultural values/practices to use such c hemical(s).)

[JJB] responded with words that included "homestead" which the plaintiff did not really understand (as the plaintiff did know know what

"homestead" had to do with pesticides), but pretended to acknowledge. As a way to amicably resolve the situation, the plaintiff said that the

plaintiff had just recently received an electric lawn-mower as an on line package delivery and that the plaintiff would be mowing the grass using

this lawn-mower. This initial incident (unlike most incidents documented in this lawsuit), ended relatively-civilly with the plaintiff entering back

into the [HOUSE] and [JJ B] walk.ing back onto her property. This incident was likely to be one of only two incidents in which [JJB], while still

intruding into the private affairs of the plaintiff and while still making a somewhat threatening statement towards the plaintiff, acted in a

re latively calm and a relatively civilized mam1er towards the plaintiff. At some point during this incident, [JJB] even reveals to the plaintiff that

she had planted two shrubs around the electric-box and telephone/cable-Iv pedestals - both at the border of the plaintiffs property - and with

both of these shrubs actually extending into the plaintiffs property - and with both of these shrubs fully-visible (and easily-visible) from the

street. While [JJB] explains to the plaintiff that she planted these shrubs in-order-to hide what she alleged to be the "unsightly" e lectric-box and

telephone/cable-tv pedestals, [JJB] did not consult with the plaintiff prior to planting these shrubs, nor did [JJB] seek approval from the plaintiff

prior to planting these shrubs. Also, since [JJB] moved into her property, [792KLLTX7864 I], very-recently - on-or-about the month of

{2009-03} - it appeared ve1y-unlikely that [JJB] submitted architectural-approval documents to the [HOA] seeking the [HOA]'s approval, prior

to planting such shrubs. These, now-fully-grown, unapproved shmbs exist at those same locations to this ve1y day. On numerous occasions in

the following decade, during the plaintiffs residence at [788KLLTX7864 I], the plaintiffs malicious-and-predato1y neighbors with extreme-

racial-animus against the plaintiff - [RSR],[JSP&KAP] - would complain about the plaintiff to the [HOA] and/or [WCLE] for the plaintiffs

failure to get approval from the [HOA]:



® even for vegetation in the plaintiffs private/concealed [BACKYARD] that were not even in the least bit visible from the street.


@ even for minor-additions to the plaintiffs private/concealed [BACKYARD] that were not even in the least bit visible from the street.


© even for the plaintiffs replacement of the grass in the plaintiffs [FRONTY ARD] - which numerous homeowners including [JSP&KAP]
would also do without ever obtaining [HOA] approval.


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[JSP&KAP] would even plant a medium-sized tree very close to the border of the plaintiff's private-property, without seeking approval of the

plaintiff (since the branches of such fully-grown tree extend into the plaintiff's private-prope1ty) and, more-likely-than-not, without seeking

approval from the [HOA] - especially since such tree was in very close proximity to the (public-prope1ty) sidewalk - eventually growing into

such sidewalk, obstructing at least half of such sidewalk - with such tree fully-visible (and easily-visible) from the street. (Such unapproved,

wide tree with dense branches extending near ground-level also directly obstructed and continues-to-directly-obstruct the watering path of one

of the automatic-sprinklers on [784KLLTX78641] - leading to such sprinkler wasting large amounts of irrigation-water on every week that it is

nm - with much of such wasted irrigation-water flowing in the opposite direction onto the sidewalk.) Thus, all of the fraudulent and racially-

discriminatory complaints made by [JSP&KAP],[RSR] against the plaintiff - regarding so-called "unapproved changes" - was driven purely by

their extreme-racial-animus against the plaintiff, because they never believed that the plaintiff - an immigrant-of-color/indigenous-person -

deserved to own private-property within what they always considered to be "their" (exclusive-and-pure) White neighborhood.




1287
On or about a late-afternoon in the month of {2009-08} , the plaintiff walked out of the [HOUSE] and was in the process of entering into

plaintiffs vehicle parked in the plaintiffs [DRlVEWAY]. Before the plaintiff could enter into the plaintiffs vehicle, defendant [RSRJ - then a

resident of [792 KINGFISHER LANE, Leander, TX 7864 I] [789KLLTX7864 I] (property-across-the-street and diagonal-to the plaintiff's

property) - driving either a sports-utility-vehicle or a minivan, approached the plaintiff inside of such vehicle, pulled down her driver-side

window, and yelled at the plaintiff: "EXCUSE ME! ... I WAS WONDERING WHEN YOU WERE GOING TO START TA/UNG CARE

OF YOUR YAIW? ! " The plaintiff was taken aback by the rather intrusive nature of [RSR]'s statement, but nonetheless, acted in a very-timid

manner, saying: "Rig!,{, there are seveml patcltes ofgmss that are not gr0111i11g properly over there, and I'm 111aiting for them to grmv

bacl, before I 11ww it." [RSR] responded with a menacingly-angiy look on her face, "WELL, YOU NEED TO WATER IT!". The plaintiff

res ponded that the plaintiff is watering the grass, but that the plaintiff was only allowed to water on certain days of the week. (During the

plaintiff's initial years residing at this property, the ~Texas Legislature ► had not yet passed any "drought-resistant- fand1·caping"

provisions into the [TPrC]; such provisions prohibiting [HOA]s from requiring the watering of landscaping were only enacted into law in the

subsequent year of {2013}. The plaintiff was also only watering such grass because it was still an unestablished grass, newly-installed in

 {2009-02} by the builder of the subdivision, and such turfgrass usually takes at least two full years - or two full growing seasons - to fully-

establish.) With that same menacingly-angiy look on her face, she continued her intrusive, hateful and threatening s peech, "AND YOUR

 GRASS IS GROWING WILD TN YOUR BACKYAJW, CAUSING All SORTS OF PROBLEMS FOR YOUR NEIGHBORS! SO, MOW

IT! - GET A YARDMAN TO MOW IT! - OR, I'M CALLING THE [HOA} NOW!                            ff SLAMS HER FIST DOWN INTO THE PALM
OF HER OTHER HAND            D " The plaintiff did not know how [RSR] obtained any such alleged information about the plaintiff's
[BACKYARD], because [BACKYARD] was not even in the least bit visible from the street (due to the 6-feet-tall-privacy-fence). It became

 increasingly clear to the plaintiff, that either (JJB] and/or [JSP&KAP] - the plaintiffs then nextdoor neighbors - had inappropriately provided

[RSR] with such information (in violation of the plaintiff's right to privacy) - with all of these individuals being of the

White/Caucasian/American color-race-and-nationality. The plaintiff again timidly responded that there were plenty of properties within the

 subdivision that regularly have and continue-to-have unmowed grass, and to this, [RSR] responded, "WELL, YOU LIVE ON MY STREET,

 AND LTSTEN TO ME!: WE KNOW YOUR PARENTS PURCHASED THIS HOME, BUT WE All WORJ(ED VERY-HARD FOR OUR

HOMES, AND THIS IS JUST UNACCEPTABLE! " [RSR] then proceeded to reverse her SUV/minivan vehicle back into her driveway at

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[789KLLTX78641] with that same menacingly-angiy look on her face, shaking her head in hostile disapproval towards the plaintiff. The

plaintiff, while internally shell-shocked by such brazen acts of intimidation/ interference, pretended not be offended by such statements and

entered into the plaintiff's vehicle, leaving the plaintiff's property in such vehicle. These initial criminal acts of

harassment/intimidation/interference/disorderly-conduct were also [RSR]'s first acts of blackmail against the plaintiff (ti.) (:>..) . [RSR]'s hateful

and threatening statements to the plaintiff also reflect [RSR)'s outrageous sense-of-entitlement-and-powe\': that she clea\'ly believed that she

owned (or at least exercised power-and-control over) the entire street, caUing it "MY STREET" - an outrageous sense-of-entitlement-and-power

that she also shared with her soon-to-be co-conspirator [JSP] (see numerous incidents below). Up until this incident, the plaintiff was almost-

always leaving the plaintiffs vehicle parked in the [DRIVEWAY] - with such vehicle thus visible from the street. However, after these initial

incidents involving the maliciousness of at least two of the plaintiff's White-American neighbors, the plaintiff began to park the plaintiffs

vehicle inside of the plaintiff's (closed) [GARAGE] - so that every time the plaintiff needed to drive such vehicle out of the plaintiffs private-

property, the plaintiff would not have to deal with such malicious neighbors. (The plaintiff would also inunediately close the [GARAGE]-door

after parking such vehicle inside the [GARAGE] in-order-to avoid any possibility of such malicious neighbors accosting the plaintiff - but as

future incidents would prove, such strategy would not help.)



i288
On or about a late-afternoon in the middle of the month of {2009-09}, as the plaintiff was in the [DRIVEWAY], [RSR], while on the oppositc-

sidewalk, across the street, yelled-out at the plaintiff: "YOU GOING TO START TAKING CARE OF YOUR YARD?!" The plaintiff having

spent over an hour mowing and edging the plaintiffs [FRONTYARD], responded with total surprise/shock, "/ already did!". In response,

[RSR] shook her hands downwards, as if to show disbelief or dissatisfaction. The plaintiff indignantly continued, "Ma'am, what do you waut

/i·om me?! I spent over au !tour the other day mowing and edging the yard! So, what is it that you want ji·om me?!". [RSR] , with a

menacing look on her face, angrily shouted to the plaintiff with the usual racist and fraudulent narrative, "l WANT YOU TO START

RESPECTING YOUR NEIGHBORS AND TO START TAKING CARE OF YOUR YARD!" The plaintiff, as timid as the plaintiff was at

that stage in the plaintiffs life, decided to let the issue go, and returned to continue whatever the plaintiff was doing in [DRIVEWAY]. This

were the second criminal acts of harassment/intimidation/interference by lRSR) against the plaintiff (ti.) (:>..) .




i289
It was only after these 3 initial incidents with neighbors [JJB] and [RSR], did the plaintiff begin to realize that the multiple notices that the

plaintiff had received in the mail during the previous months from the then [HOA] regarding unmowed grass and/or so-called "weeds" were

instigated by, to a substantial-degree, complaints from (at least) these two neighbors. To be clear, the plaintiff was mowing the plaintiffs

[FRONTYARD] using the plaintiffs corded-electric mower (and corded-electric edger and corded-electric string-trimmer), but probably not-as-

frequently as the plaintiff's neighbors. Since the plaintiff was using these relatively-heavy corded-electric tools, it would take the plaintiff

significantly greater amount of time and effort - due to the plaintiffs relatively-small stature (compared to the plaintiff's much-larger neighbors

who were all using gasoline-powered tools or hiring yardman to do this relatively-labor-intensive work) - handling the heavy equipment,

dragging the ve1y-bulky extra-heavy-duty extension cord around and carefully moving such cord so as to ensure that such cord did not get run-

over by sharp blades of the equipment. When the plaintiff did mow, the plaintiff was setting the electric-mower to the tallest height setting, thus

 minimizing the length of grass cut in-order-to minimize the damage/shock to the grass - again following plaintiffs indigenous religious/cultural

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values. Since the plaintiff had mowed the plaintiffs [FRONTYARD], the plaintiff was truly clueless as to what the subsequent notice required

the plaintiff to do. The plaintiff thus hired a yardman on or about an afternoon early in the month of {2009-1 O} to do whatever else was

required, as the plaintiff was truly not-aware of what the plaintiff's [FRONTY ARD] was in violation of. The yardman performed the usual

mowing/edging but then, the yardman also started to remove additional vegetation that were growing in the 'Joundation plants" section of the

plaintiffs [FRONTY ARD], directly in front of the [FRONTPORCH]. Up until that point in time, the plaint,ff simply assumed that such

vegetation was just part of the bushes/trees planted in that area, and did not even know that those were apparently so-called "weeds". Before

moving into the subdivision, the plaintiff did not even know the meaning of the word "weeds" and did not know there was even a specific

category of plants that White-Americans considered to be undesirable - as this was completely alien-to and against the plaintiffs indigenous

religious, cultural and environmentalist views. Both the meaning of the words "weeds '1/"lawn" and the practice of "lcnvnmowi ng" are, as history

reveals, uniquely White-American and prior to being White-American, were uniquely White-European. But since the plaintiff had not yet

completed the plaintiff's University education at that moment in time, the plaintiff did not want to question these culturally-insensitive,

ethnocentric rules, let alone, fight such culturally-insensitive, ethnocentric rules, but instead, simply continued to mow - again, probably not-as-

frequently as the plaintiffs immediate neighbors, and with the plaintiff always using the highest height-setting on the electric-mower. The

plaintiffs malicious neighbors - [JIB], [RSR] and, unbeknownst to the plaintiff at that moment in time, the plaintiff's other nextdoor neighbors,

[JSP &KAP] - were all predatorily conspiring against the plaintiff, painting a racist, egregiously-fraudulent-narrative about the plaintiff behind

the plaintiffs back - about how the plaintiff was being "inconsiderate'1/"disrespec(f11!11 to the plaintiff's White-American neighbors by not

mowing the plaintiffs yard frequently-enough (and/or low-enough), and demanding that the [HOA] take predatory actions against the plaintiff,

fully-exploiting and capitalizing-upon the plaintiffs initial lack of knowledge of these culturally-insensitive, ethnocentric rules that were clearly

alien-to the plaintiff, and ''sowing the seeds" or ''preparing the stage" for a large number of subsequent incidents/actions (including legal action)

by manipulatively driving a wedge between the plaintiff and the then [HOA].



'][2 9 0
On or about the morning of {20I0-01- 18}, a White-American male door-to-door salesman approached the front-door of the plaintiffs

residence and rung the [FRONTDOOR]-bell. When the plaintiff answered the (FRONTDOOR], the salesman greeted the plaintiff, pointed at

(RSR]'s residence and told the plaintiff, "She sent me over here." The salesman asked some rather private and rather intrusive questions

about the plaintiff and the plaintiff's property - questions that the plaintiff felt very uncomfortable about answering. After the plaintiff kindly

rejected the product(s) and/or service(s) which the salesman was trying to sell to the plaintiff (answering at the end, "No, Thaul,s. "), the

 salesman then walked back to [RSR]'s residence so as if to report back to (RSR], the private details of the answers that the plaintiff had

 provided to the salesman. This was yet another indication to the plaintiff that [RSR] was willing to employ underhanded tactics/techniques and

 go to great lengths to intrnde into the private life of the plaintiff. Needless to state, the plaintiff felt ve1y violated by this experience (2'.) .




 '][2 91
 On or about a late-morning in the month of {2010-05} , as the plaintiff was picking so-called "weeds" from the (FRONTYARD], [JSP], right

 before leaving in his truck parked at the driveway of his residence, [784KLLTX7864 l ], told the plaintiff that he had placed, what the plaintiff

 observed to be a substantial amount of yard-trimmings (cut branches from bushes and leaves detached from the cut branches), on the plaintiffs

 sideyard but that he would pick it up after he mTived back from work. As timid as the plaintiff was at that early moment in time, the plaintiff

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timidly responded to [JSP] that it is not a problem. Technically, in this particular instance, [JSP] committed the Class-B-Misdemeanor crime of

Illegal-Dumping ([THaSC-T5-SB-C365-SB-§365.0 12]) against the plaintiff and if this Illegal-Dumping caused any damage to the plaintiffs

grass and/or private-property, then also the additional Class-B-Misdemeanor crime of Criminal-Mischief ([TPeC-T7-C28-§28.03]) against the

plaintiff, but the plaintiff did not know these facts at this particular moment in time, and even if the plaintiff had known these facts, the plaintiff

would most-probably not have reported it to (WCLE1, because it did not seem to be a malicious act to the plaintiff at such early moment in

time. However, [JSP]'s action did indicate, even at this early moment in time and at the very least, [JSP]'s brazen disregard of the plaintiffs

private-property rights - as any good neighbor would not have used his/her neighbor's property as if it were his/her own prope11y (1) . It is

important to note that, according to the Texas law, this act by [JSP] would not have been considered an Illegal-Dumping crime if [JSP] had

placed those same yard-trimmings on his own property's side-yard.



91292
On or about the Saturday morning of {2010-06-05} , the plaintiff had arrived back to [788KLLTX7864 l] in the plaintiffs vehicle and parked

the vehicle inside of the [GARAGE], immediately closing the [GARAGE] right after the vehicle was fully inside of the [GARAGE]. The

plaintiff entered into [HOUSE] via the internal-door and approximately 30 seconds later, the plaintiff heard loud banging on the

[FRONTDOOR] and multiple rings of the [FRONTDOOR]-bell. The plaintiff took more than 30 seconds to answer the [FRONTDOOR], and

upon opening the [FRONTDOOR], the plaintiff saw [RSR] on the plaintiffs property ([DRIVEWAY]) walking back to the sidewalk, and then

once on the sidewalk, [RSR] yelled at the plaintiff, "HEY, YOU NEED TO CUT YOUR GRASS! WHY DON'T YOU TAI(E CARE OF IT!

OR WHY DON'T YOU GET YOUR MOM TO TAKE CARE OF IT!" The plaintiff ignored the insult, and responded that the plaintiff is

cutting the grass, but not at the frequency that [RSR] was demanding and not to the low height to which [RSR] was demanding it to be cut.

[RSR] continued to yell at the plaintiff, "IF YOU DON'T TAKE CARE OF YOUR YARD, l'M GOING TO GET THE STRICTEST

RULES APPLIED TO YOU BY THE /HOA/, AND IF YOU STILL DON'T SEE TO IT- l'M GOING TO GET THE [HOA} TO IUCI(
 YOU OUT OF THE HOUSE! SO, YOU BETTER TAKE CARE OF IT! LOOK AT YOU! YOU'RE NOT EVEN TAKING CARE OF

 YOURSELF! ... WI/AT DO YOU DO IN THERE, ANYWAYS?!" The plaintiff immediately realized that [RSR] was referring to the

 plaintiffs long, uncut hair/beard and it was the first solid indication to the plaintiff that [RSR]'s animus towards the plaintiff was racially-

 motivated - although the plaintiff had ah'eady suspected, based on lRSR]'s prior behaviors/actions against the plaintiff that she did harbor

 substantial racial-aninrns against the plaintiff. The plaintiff was also ve1y-distressed that [RSR] questioned the plaintiff about what the plaintiff

 does inside the privacy of the plaintiffs own [HOUSE] - as if, due to plaintiffs appearance/racial-profile, it was somehow sinister - and as if

 [RSR] was somehow entitled to that extremely private information. The plaintiff ignored the racial-insult and the extremely

 rude/invasive/intrusive comment, and reiterated to [RSR], that there are plenty of properties in the neighborhood that have consistently

 unmowed grass - and the plaintiff even noted examples where grass was actually taller than on the plaintiffs property. [RSR] yelled in

 response, "OH, SO IF THEY JUMP OFF A CLIFF, YOU'RE GOING TO DO THAT TOO?! YOU'RE SUCH A PUNK!" This was also

 the first time, the plaintiff heard a homophobic slur directed at the plaintiff by [RSR]. [RSR] continued yelling, cutting the plaintiff's response

 short, "NO! - I'M NOT GOTNG TO GET INTO THIS ARGUMENT WITH YOU! GET IT TAKEN CARE OF, OR I 'M CALLING THE

 [HOA}, AND I 'LL HAVE THEM TAKE ACTION AGAINST YOU!" [RSR] then turned around, walked back across the street and started

 unloading items from the back of her SUV/minivan parked in her driveway. There was at least one other witness to this incident (see below).

 These were the third criminal acts of harassment/stalking/intimidatio.n/interference/disorderly-conduct/blackmaiVcriminal-trespass against the

 plaintiff. This incident which involved [RSR] yelling loudly at the plaintiff (from a distance of approximately 30 feet) was also the first
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indication to the plaintiff that, not only did [RSR] intend to inflict harm onto the plaintiff, but also that she was so-easily-willing-to and even

enjoyed publicly humiliating the plaintiff by loudly using such abusive/oppressive language in an open/public setting - and on a sunny Saturday

summer morning, where a substantial amount of neighboring property owner(s)/occupant(s) and their children could easily hear (t.) (>..) .



i293
The plaintiff was finishing the plaintiffs education at the University and thus taking some required on-campus classes during the summer

month of {2010-06} - requiring the plaintiff to be on-campus almost every weekday in the month of {2010-06}, {2010-07} and the majority

of weekdays in the month of {20 I 0-08}. Also, the plaintiffs place ofresidence was very far away from the University, requiring the plaintiff to

drive plaintiffs vehicle to the nearest Capitol-Metro-Park-and-Ride and make use of the Park-and-Ride buses spending more than 3 hours

eve1y day round-trip in commutation time. The plaintiff was also registered as a Student with Disabilities. So, given these circumstances/time-

constraints and given the harassment/intimidation/interference/blackmail tactics that the plaintiff suffered from [RSR], the plaintiff once again

caved-into [RSR]'s predatmy demands, hiring the same yardman to perform the work on the morning of Monday {20 I 0-06-07}. After the

yardman left the plaintiffs property, and while the plaintiff was in the [DRIVEWAY], [781KL-2009-3], the son of then-owners of the

residence across the street [78 l KrNGFlSHER LANE, Leander, TX 7864 l) (78 l KLLTX7864 l 1, approached the plaintiff saying to the

plaintiff in a friendly manner, "You going to back to scl,ool or... ?" The plaintiff briefly discussed with [78 1KL-2009-3] each of the hvo

individual's respective plans for the future, since both the plaintiff and [78 lKL-2009-3] were relatively young at that moment in tin1e. At one

point in the conversation, the plaintiff changed the topic and asked [78 l KL-2009-3]: "Hey, let me ask y ou something, do you guys mind the

way I maintain my yard?" [781 KL-2009-3] responded: "Not as long as tlte grass gets cut e11e1y now mu/ then. We're not lawn t{ficionados

om·se/lles... " The plaintiff replied, " Yeah, tlwt's 1vlwt I was thinking. But apparently, some people just won't leave m e alone about it... "

[781 KL-2009-3] asked, "ls it just one person, or... ? "The plaintiff responded that it is just one person. [78 lKL-2009-3] continued, as he

was pointing to the [HOUSE], "You ctmjust tell them that t/,is /,ouse is paid for. So, you t/011'1 need to answer to tltem. They don 't need to

get i11110!11ed in your property, a11d tltey ca11 j mt 111i11d their ow11 busiues~·... " The conversation ended soon after this short dialogue, as both

the plaintiff was preparing to leave the [HOUSE], and [781 KL-2009-3] had work to resume at his house across the street. But at that moment

 in time, it was clear to the plaintiff that [781KL-2009-3] was a witness to at least one of[RSR]'s prior

 harassment/stalking/intimidation/interference/disorderly-conduct/blackmail/criminal-trespass acts against the plaintiff - including the most

 important of such abusive actions that took place only two days before.



 i294
 Unbeknownst to the plaintiff until later on that year (in the month of {2011-09} - see below), in the month of {2011-03}, [JJB] had resigned

 as a teacher from ~Leander Independent School District➔, [LISD], after she was arrested by [WCLE] during that month on a

 felony charge of "credit card abuse", with the following news-report posting her mugshot along with a brief description/circumstances

 surrounding the charge(s), and a brief histmy of her prior criminal conviction(s):
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91295
On or about a day in the month of {2011-04}, the plaintiff noticed a heap of multi-colored granular material - that was identified only many

months later (see below) by a [WCSD] ([WCSD-SP]) as cat-litter - dumped at the ground-level inside [BACKYARD] very-close-to (almost-

touching) the fence bordering the plaintiffs property and [JJB]'s property, [792KLLTX78641] - in an area that was approximately 12-feet

away from the [BACKPORCH], and approximately 20-feet away from the pla intifCs [BACKDOOR]. When the plaintiff initially consulted

[PARENTS] about this issue, [PARENTS] advised plaintiff that the material was probably left-over concrete-mix from when the fence was

constructed which the plaintiff must not have noticed before, and further advised the plaintiff to just ignore it. The plaintiff still had suspicions

since the amount of material was rather large - approximately I -feet-long by I 0-inches-wide by 4 inches tall (at the tallest part of the heap) -

and such material was located approximately in the middle of 2 fence posts. Having never dealt with concrete-mix (nor cat-litter) at that point in

time, the plaintiff could not immediately verify, by the appearance, whether or not it was concrete-mix, cat-litter o r any other substance. The

plaintiff feared that the material was dumped there by a malicious person (well after the fence was built), and if so, that the material was likely

to be something harmful like pesticide (see below). (1'i.)




91296
On numerous (smmy, cloudless) days during the months of {20 I 1-04} and {201 1-05}, the plaintiff heard very- loud noises coming from the

plaintiffs roof - the same type of very-loud noises that the plaintiff would later experience during large-hail-storms, when such large hail would

directly strike (at high impact) the roof of [HOUSE]. Given the brief-histmy of racial-animus that the plaintiff already had experienced in the

neighborhood, the plaintiff immediate ly suspected some malicious neighbor(s) were violently throwing large stones onto the plaintiffs roof. It

should be noted that the roofing-shingles and/or other roofmg-materials installed by the original builder of the subdivision were of ve1y-low-

quality (and durability) to begin with; thus, any such acts of vandalism would very effectively deteriorate such a lready poor-quality building

materials. The plaintiff reported such apparent acts of vandalism to the plaintiffs [PARENTS], who having never experienced this type of

malicious racism before, did not take the plaintiffs complaint seriously, most likely because they did not believe such very-lo ud-noises to be the

result of vandalism.




 91297
 On or about a day at the end of the month of {20 11-05}, the plaintiff noticed a second heap of multi-colored granular material - that was

 identified only many months later (see below) by a [WCSD] ([WCSD-SP]) as cat-litter - dumped at the ground-level inside [BACKYARD]

 ve1y-close-to (almost-touching) the fence bordering the plaintiffs property and [JJB]'s prnpe1ty, [792KLLTX7864 I] - in an area that was also

 approximately 12-feet away from the [BACKPORCH], but this time, in the other direction - parallel to the side of the [HOUSE]. The plaintiff

 immediately realized that these were definitely-not heaps of concrete-mix as the plaintifCs senior-citizen [FATHER] had previously re-assured

 the plaintiff. Upon speaking to the plaintiffs [FATHER] about such issue again, the plaintiffs [FATHER] finally, but reluctantly, admitted to

 the plaintiff that such heaps were probably the result of vandalism. The plaintiffs [FATHER] further advised the plaintiff not to report the

 crimes because unless the plaintiff had defmitive-proof of who was committing such acts of vandalis m against the plaintiff, the plaintiff could

 not make blind accusations against the plaintiffs malicious neighbors, as such blind accusations could result in legal problems.




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1298
On or about the Saturday evening of {2011-07-30}, while the plaintiff was tending to the plaintiffs vegetable-garden in [BACKYARD], the

plaintiff heard a loud noise originating from behind the plaintiff. When the plaintiff turned around to determine the source/cause of the noise,

and then approached the fence area, the plaintiff noticed another large heap of the same material dumped along the same side of fence, but this

time, further down the fence-line closer to the fence's comer post. Only at this point it time, did it immediately occur to the plaintiff that a

person from the other side of the fence had been dumping such materials on two-or-more separate, prior occasions (that the plaintiff knew

about) - making this at least the third such act of Criminal-Mischief/Illegal-Dumping against the plaintiff. Having never experienced this type of

brazen criminal conduct before, the plaintiff was shell-shocked. The plaintiff did not know what would motivate someone to commit such

brazen crimes against the plaintiff, when the plaintiff had done absolutely nothing wrong. The plaintiff also was shell-shocked that someone

would commit this crime in a such a brazen manner while the plaintiff was outdoors in [BACKYARD] at the moment the crime took place, not

more than thirty feet away from where the crime took place. Since the plaintiff did not experience any overt animus from [JJB] at that early

moment in time, and since the plaintiff noticed that [JJB] would routinely hang-around and engage-in-conversations-with [RSR], and since the

plaintiff had already-suffered the aforementioned incidents of racial-animus from [RSR], the plaintiff suspected that it was more likely to be the

case that [RSR] was the perpetrator of these additional crimes against the plaintiff (and thus, not [JJB]) ( A) (A) .




1299
On or about the Monday following the late-Saturday incident, the plaintiff called the [WCSO], around noontime, to report at least the most-

recent incident ( ~) . When the police dispatch handled the call, the operator instructed the plaintiff not to touch the dumped material and

dispatched it to then-[WCSD] Stacy Pryor [WCSD-SP] ( *) ( '7) . [WCSD-SP] called the plaintiff on the phone:
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 •     ( PRIVATE URL LINK TO BE SOIIMITl'liD IN   o= )
     ~ OVER TIIE: PHONE: D

     [WCSD- SP)           !'111 with the {IVCSOJ, what ca11 I help yo11 with?


  PLAINTIFF               Oh, so basically 1rhe11 I called the {IVCSO], I told them that I 11'011/d like to repo,1 011 activi(y that I believe is most-likely a crime, and if it is, then to seek
                          the sen•ices of the [ IVCSO].


     [WCSD- SPJ           Ok, so ll'hat happe11ed?


  PLAINTIFF               Ok, so i11 this case, someo11e seems to have been dumping large amounts of some material onto my backyard, and. ..


     [WCSD- SPJ           like, 111/at type ofmaterial?


  PLAINTIFF               It looks like it'.~ pesticide, but I'm 1101 sure, it might be something ,m,,.e...


     [WCSD-SP]            Pesticide?


  PLAINTIFF               Yes, it might be something 1m1:fe, though. I have 110 idea. Whe11 /..


     [WCSD- SP]           Ok, w/101 does ii look like?

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PLAINTIFF     8111 ll"lreu I go close lo ii. Aud /l I'm I feel flll'<O' from ii, aud I iulrale [ INDECIPHERABLE), / ccm gel a strong clremical odorfrom it. Aud /Iris is tire

              secoud time..


["WCSD- SP]   Aud this is iu your backyarcl?


PLAINTIFF     Aud actually, I should mention tlral /Iris is tire seco11d time t/ris lras lrappe11et/, yes. Bui 1/ris lime, tlris particular episode lrappe11ed 011 a Sa/unlay 11ig/r/
              am1111d 8:45PM, ll'hen tire s1111 11m basically selling and I heard it - l 11Y1s in the backyard al the lime - a11d my back ll'as /urned loll'ard1· tire iucideur itself
              A11d so, ...


["WCSD- SP]   You saw some1/ri11g do /Iris... ?


PLAINTIFF     l'msony.. ?


[WCSD- SP]    You SOIi' sometlring do this... ?


PLAINTIFF     I did11't get a glimpse al tire i11divid11al because the iudividual ,ms belri11d afeuce a11d I couldn't see a11d seco11d-of-all, my back wa.l" fumed loll'anll", I ll'as
              basically 1mteri11g some p/011/s, a11d this i11divid11al, I mea11, so my back \\'as /umed lmmrclr this i11cide11/ - so, I could 1101 see...


[WCSD- SP]    So, did this lrappe11ed behi11d your /rouse, so, in like a gree11he/1 area or ll'hat... ?


PLAINTIFF     I'm sony could you repeal tlral 011e more time...


['WCSD- SP)   So, did this /rappel/ he/rind your backyard i11 a gree11belt area or ll'irat... ?


PLAINTIFF     Na, 1/ris lrappe11ed, I mea11 tire material was dumped 01110 my backyard - if I/rat's ll'iral you're aski11g... ?


[WCSD-SP]     A11d they lt'ere back there, a11d you did11'1 see 1/rem there then?


PLAINTIFF      Fi1:1"t of all, my hack was t11111ed. They're be/1i11d afeuce and I did11't eve11 k11ow that someone lt'as //,ere while thi.l" was happe11i11g. So, basically I \\'Os
               watering some pla11ts. A11d I lieard a 11uise 011d a/Jout ll 111i1111te later when I checked, I can sec that t/1is molcriol was c/11111ped...


 [WCSD- SP)    Ok, a11d whot does t/ri.l" material /oak like...


PLAINTIFF      fl looks like ro1111d gra1111/es, like white gra1111/es, 011d i11terspersed wit/, like blue oud greeu gra1111/es. So, like ll'hile, grey, gree11 011d ligl,t~1~colared blue

               gmm,!es. A11d yen!,, so it's basically, covering a regio11 of grass right now...


 [WCSD- SPJ    like holl' big of 011 area?


PLAINTIFF      It'., about I-fool by I-foot. And I s/1011/d alw say //,at 011 the previous occasion, ,rhicl, happened aboll/ a couple of monlh.1· ago, it 11·as like maybe /0 or 5
               yard1· 111my, and about the same area - I-feel by I-feel. And yeah, I co11sider that to be quite a large <111101111/, I 111ea11...


 [WCSD- SP)    Do you !,ave a neighbor behind you?


PLAINTIFF      I have a 11eighbor lo the side of me 011d 2 11eighboi,· lo the back qf me...


 [WCSD- SP)    Ok... a11d when you talk to your neighbors, lo see if they dumped somelhi11g over?


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PLArNTIFF     Oh, 110! I menu, I absolu!ely ... I don'! 11·anl /0 confronl cri111i11a/s.


[WCSD- SP]    Well, we don'! know!/' !his ll'as a criminal ac/ lhat'.v happened.


PLAINTIFF     Um ok, but I 1111de1~·1n11d ... I'm //re one thal said I do11'1 k11oiv if !his is a crime or 1101, /1111 I consider ii to be, al least <m qffense. I don'! know. Ok, but
              cmywoys - 1ml, basically, " \Y point is (( this imlivid11<1/ is /10s1ile enough to d11111p t/1is mc,teric,/ onto l/1e IJC1cky<1rd while I wos 1/wre. I mean, I don't /mow if
              this i11divid11nl k11e111 !/' I 11v.1· !here or 1101, bnt if this individual \\'OS bold-e11011glr lo do that, 1/re11 I'm 110/ goi11g to c01ifrv111 !his individual. I 111ea11, I'm
              looking 011I for my 011111 sq/'ely here...


[WCSD- SP]    Ok., 111/ml'.v your address?


PLAINTIFF     It's 788 KINGFISHER.


[WCSD-SP]     I'm sorry, say tlrnt agni11?


PLAINTIFF     7-8-8 - KINGFISHER.



[WCSD- SP]    788 KINGFISHER - Ok, are you c111re11lly home?



PLAINTIFF      Yes, I'm c111re11tly home.


[WCSD- SP]    Ok. ond those gra1111/es slill 011 your property?


PLArNTIFF      Yes, n11d I've 1101 interfered with ii... and ac/unlly, I wou/c/11'1. I'm hyi11g 110/ lo, I gue.(s, leave //re residence so liurl ,\'Ometlring miglrl be altered over there.

              So. yeah. I'm basically 11yi11g lo stick home.


[WCSD- SP]     Ok, give a few mi1111/es. I'm comi11gfrv111 George/mm a11d I'll /read that ,ray. So...


PLAINTIFF      I 1111de1:(ta11d.


 [WCSD-SP]     Ok.


PLAINTIFF      Ok, so could repeal, would you be able to a lime... ?


 [WCSD- SP]    l'msony?


PLAINTIFF      Would you be able lo tell me a rough lime period of .. ?


 [WCSD-SP]     About JO minutes or so...


PLAINTIFF      JO minutes, Ok, I rmderstand. Tlra11k )'OIi.


 [WCSD- SP]    Ulr-lruh. Bye.


PLAINTIFF      Sony, I'm sony- who am I .1peaki11g to?


 [WCSD- SP]    Deputy P1yor.


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PLAINTIFF       Ok. Thanks.


[WCSD- SP)      Ok.


PLAINTIFF        Bye.


[WCSO- SP]       Bye Bye.


 K PHONECI\LL ENDS . D
 K ABOU1' 30 MINUTES LATER,         [~lCSD-SP] VISITS PLAINTiff IN PERSON AT PLAINTIE'F ' S RESIDENCE ( [FRONTDOOR]) .                        iJ


[WCSO- SP]       Hello, Sid?


PLAINTIFF        Yes, Hello.


[WCSO- SP]       ll11ere'.1· !he s/11/f al?


PLAINTIFF        It's in the backyanl. Mind if I show up, I mean. meet you in the backyan/.


[WCSO- SP]       011 !his side?


PLAINTIFF        Yes, il'.I' 0111/,i., side. The fence is 011 !his side.


 ~ PLAINTIFF ENTERS BACK INTO [ FRONTDOOR] OF [HOUSE] AND ENTERS [BACKYARD] THROUGH THE [BACKDOOR] .                                     iJ
 ~ [WCSD-SP] WALKS AROUND [HOUSE] THROUGH FENCE-GATE AND INTO BACKYARD .                                       iJ
 K PLAINTIFF SHOWS [WCSD-SP) THE LOCATIONS OF THE T\·lO ILLEGAL DUMPINGS ( [TllaSC-T5 -SB-C365-SB-§ 365 . 012]) . iJ


PLAINTIFF        Them'., /11 '0 d11mpi11g.1·... First [INAUDIBLE] is...


 [WCSO-SP]       Tlmt'.I· Killy-lifter.


PLAINTIFF        Oh. Alright. Actllally..


 [WCSO- SP]       Someone dumped their killy-liller in yollr yard.


PLAINTIFF         Oh ok. So, llh, ,rel/...


 [WCSO-SP]        Who has a cat?       ~ POINTS AT [ JJB] ' S PROPERTY iJ                Do you know if !hey have a cal?


 PLAINTIFF        I have 110 idea. [INAUDIBLE] ... but this is something dijfere11I.              ~ POINTS AT FIRST DUMPING THAT OCCURRED MANY MONTHS EARLIER

                  S ITUATED CWSER TO THE BACKDOOR iJ I 111ea11, !his 11m a couple of 111011/hs ago.



 [WCSD- SP]       Thm'.I' killy-lille1; [INDECIPHERABLE] .


 PLAINTIFF        Aclllally, No ma'am - !his smells like a chemical, [INAUDIBLE] .


 [WCSO- SP]       [ INAUDIBLE] / gllara11/ee )'Oil, it'.v killy-liller ... I can go talk lo your neighbo1: [ INAUDIBLE I


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PLAINTIFF       {INAUDIBLE] .         it INDICATES TO [WCSD] PRYOR THAT PLAINTIFF l'/OULD Lil<E TO SPEAK l\BOUT THIS MATTER INSIDE [HOUSE],
               BECAUSE PLAINTIFF DID NOT WANT MALICIOUS NEIGHBOR (S) TO OVERHEAR CONVERSATION - SO, PLAINTIFF,                                                   [WCSD-SP] WALK

               TO'tlARDS BACKDOOR D .



[WCSD- SPJ      [INAUDIBLE]



PLAINTIFF       Um, so how c011fide11/ are you that this is the material? I'm 110/ sure if J/,ey /,ave cats, but how... ?


[WCSD- SP]      Ve1y Canfldent. That'.v kill)'-liller.


PLAINTIFF


[WCSD-SPJ       I'm 110/ going to sniff nasty kitty-filler.


PLAINTIFF       Well, killy-liller is not going to kill you, but 11111, pesticide, you knoll'... ll'ill


[WCSD-SP]       Yeat it will, but 1/,at'.1· killy filler.... [ INAUDIBLE] because it /,av poop in it. lei me go 11ertdoor and talk to them real quick.


PLAINTIFF       Um before you do that, can I [INAUDIBLE] ...


[WCSD- SP]      Jlllty didn't you [INAUDIBLE] ...


PLAINTIFF       Oh, actually I co11/d11't. Fit~·t of all, [INAUDIBLE] . Well, first of all...


 [ THE PLAINTIFF DID NOT \'/ANT TO SPEAK FURTHER ON THIS MATTER OUTDOORS WHERE MALICIOUS NEIGHBORS MAY OVERHEAR .                                                 D
 rr SO, FOR THIS REASON ALONE, THE PLAINTIFF INVITES [ViCSD-SP) INTO [HOUSE]                                       (THROUGH BACl<-DOOR) TO SPEAK FUR1'HER . ~

 [ PLAINTiff OPENS B/\CKDOOR AND THEY BOTH ENTER THE [HOUSE] . D



PLAINTIFF        [INAUDIBLE] ... and 11111.•• a11y1mys, before you go there... Essentially, tl,ere'.r sort of a histmy here. First of all, e.s,·emially, about, act11ally /his was last

                year - one individual knocked m1 my door - and they ll'ere upset that I'm 1101 111ai11tai11i11g the frontyard, .front-lall'/1 or something. And then, this i11divid11al,
                basically, essentially, l,11111iliated me in jiv11t of ... 11111, she 11r1s talki11gjim11 the curb area, and1 ll'as near /he.fmntdoor. Um, so basically she said "ok, if'

                )'OIi don't gel this ... "




 [WCSD- SP]      Is this a Ha111em111e1:1· Association person?


PLAINTIFF        Oh. 110 110 110... This ,ms ill !he 11'eeke11d. lhis ,ms- Jhis 1m.1· lhe 11eighborover          « POINTS TO (789KLLTX78641 J - THEN-OWNED AND OCCUPIED
                 BY [RSRJ      D diagonally here...


 [WCSD-SP)       Ok.


 PLAINTIFF       And, l'111j11sl telling you, that there'.< sort 1if a hist01y here.


 [WCSD-SP]       I 1111dersta11d that there'.< l,ista1y with that, so...


 PLAINTIFF



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              8111 the i11divid11a/. Well, first ofall, I should .my that I'm 1101 accusing 0ll)YJ/le here.. All I'm saying, lhere'.r bee11 some strong words, animosity, /,asti/e
              nrnd\' directed at me. Aud basically, 11111, tl,e i11divid11al said, "lfyo11 don't get your yard, I'm going to get the /011gl,est, strictest 111/es applied to you wit/,
              //,e (HOA] and if yo11 still c/011'/ see to ii, I'm going to see lo ii //,a/ )YJll're basically //,rmm 011/ <if //,e l,ouse!" So, this ,ms...


(WCSD- SP)    Ok, 1/,e11 more 1/,a11 likely, tl,ey're probably a part <if 1/,e [HOA], and that'.,· ll'hy tl,ey're probably telling you Iha!.


PLAINTIFF     Oh, I 1111de1:\'la11d, bu/ this is also, l,111...


[WCSD- SP)    8111 my co11ce111 /,ere, is today...


PLAINTIFF     I 1111de1:r/a11d, this is also tl,e neighbor - //,is the 11eigl,bor //,a/ told me, so..


[WCSD- SP)    8111 tl,e 11eighborl10od is ... au [HOA}, they all ... //,ey 're part of it.


PLAINTIFF     I 1111dersta11d...


[WCSD- SP)    Aud if they ht111e complaillls, they ca11 make co111plai11/s to the [HOA], and //,is person maybe a member of tl,e (HOA].


PLAINTIFF     I'm a member of the (HOA} os \\'ell.. 811/ I'm 1101 a ...


[WCSD-SP)      l'ou pay each 1110111/, - Carree!?


PLAINTIFF     Exac//y. So..


[WCSD- SP)    8111 I'm saying, this person is probably 011 the boa,d, or so111ethi11g lo //,a/ effect, pmbably, a11d that's probably 111,y //,ey're having, saying 111,at they're

              saying...


PLAINTIFF     8111 _mu can't...


[WCSD- SP)     My co11ce111 is today. Its the kitty- filler i11 J YJIII" backya,d


PLAINTIFF      01, 110 doubt, 110 doubt. A11d actually.



[WCSD- SP)     Um...


PLAINTIFF      This 11eigl,bor - 1/,e 11eigl,bor here, approacl,ed me 2 yea,:\' ago, about 4 1110111/,s qfter I moved i11, a11d 11111, about regordi11g the, this was regllldi11g 1/,e,

               basically, the/act //,at ...


 (WCSD-SP]     The properly line.


PLAINTIFF      Oh. 110, 110, 110. The Jiw,tylllrl It ,ra.\' jll.\'I, again, this 11eighbar \\'DIiied me to apply insecticide to kill ,1piders or sa111ethi11g, that she said, and otl,er slliff
               11-ere 011 my lml'II... 8111;,,~-, of all, I don't... I told her, I'm actually against 11si11g peslicide... 1 don'! personally use... I 111ea11 insecticide. I don't 11se those




 [WCSD- SP)    Ok, a11d that\ your rigl,t a.I' a /10111eo1mer.


PLAI.NTIFF     01, 110, I 1111dm;/a11d, I 1111de1~·/a11d, I 1111de1:r/a,I(/, ma'am, bu! 11111... I should say //,at, 11111, //,is material - is ii rig/,/ for kitty-filler lo ,\'111e// like a chemical?



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[WCSO- SP]    It probably has, // probably daes smell like a111111011ia because cats peed in it. And ii does have Iha/ tinge lo it, and it will give off an odor of <1111111011io,
              lfwl's probably what you're smelling... I can guarantee you, pmbably JO/% Iha/ that's killy-liller because !here's poop in ii.


PLAINTIFF     Ok, I under.. [INDECIPHERABLE] .


[WCSD- SPJ    So, they're pml,ably ticked ojf at you for so111c reason, rn1d they're d11111pi11g their kitt)~lilter i11to yo11r yard. Now, for yn11 wl,at I ca11 do is, I ccu, go tell

              !hem lo slop. and if it pei:1-i.,ts, lhe11 you can call back and say, "/Is persisting". You k11m1\ yo11 had me talk lo em /oday ta ask.for /hem stop and if they
              don'/ stop beyand that poi111, then you ca,1 maybe /1y_fili11g charges...


PLAINTIFF     Right.


[WCSO- SP]    Now, it'., going to be... the 011/y 1hi11g I co,1 say maybe will be "criminal mischief'', because lhey're i111e11tio11ally 1hrowi11g ii in/o )<111ryanl As.far as
              lillering, there'., certain poundage and 11-eighl for it to be considered lillering. and thal'd'be afar stretch.


PLAINTIFF     Ok, Ok...


(WCSO- SP]    Because it~· a rody material. /1'., some1hi11g /hat will di.tmlve with lime, or ga into your yanl with time.


PLAINTIFF     I 1111dersta11d. I 1111dersta11d. My initial concem, I should just tell you where /'111 comi11gfro111. My i11itial co11ce111 is Iha/ ii \l'as peslicide, and. ..



[WCSD- SP]    And if'.\· 1101. I can g11ara11/ee you ii'., 1w1. /1'., killy-lille1:


PLAINTIFF      Righi, because it smelled like ammonia or ll'hatever you said. .. And, you mighl be righl. And mos/ likely- I hope you're righl.


[WCSO- SP]    Even 1111en you and I, if we go to the restroom, and it sits /here.for a while, it'., going lo have Iha/ a111111011ia smell lo it. T/101'., just !he 11a111ra/ bodily.fluid

               where ii 111111s into ammonia.


PLAINTIFF      But just jr,r reference, is !here m1Jn1•here I can gel it /ested?


[WCSO-SP]      We don'/ do Ol()'lhing like that ...


PLAINTIFF      I 1111de1~·taml. 1101 )Y>U guys, bu/ do you happened lo know anJ~l'here where I can gel ii tested?


               I /rave 110 idea, but I'm going lo !ell you right 11011• - you're 11mli11g your time, because it's killy-liller.


PLAINTIFF      It'., kitly-liller. Ok, I 1111dersta11d.


['HCSO- SP]    Bui like I .micl. I can go /a/k lo lhese i11divid11a/s today and ask them lo stop. If it persists, call us back and then, ,m'/1 lake a report fivm )VII.


PLAINTIFF      I see, Ok.


 [WCSO-SP]     Fair enough?


PLAINTIFF      B111 before you do - //rat does so1111dfair, bu/ before you do that, I'm 110/ accusing allJY>lle /rere.


 [WCSD- SP]    Well, it's p1-e11y obvious, it'., coming from t/ris yard... Beca11se of. 1/re one - !he one side right there, and 1he11. in the comer.


PLAINTIFF      0/r Ok, Righi, !hat'., what I lhought - thal's what I thought.

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[WCSD-SP]     So, obviously - it'., comiugfrom these people here - 1 g11ara11tee if I go kuock 011 the door, and they ope11 the door, they're going to have cats ... Ok?


PLAINTIFF     Right, I w1dersta11d, I 111ulerstc111d. Um 8111, my concern was that it might 110/ lwve been this i11divid11al ~ POINTS l\T [JJBJ ' S PROPERTY Il - it

              might hm•e beeu .mmebndy else e11teri11g into the yard. ..


[WCSD- SP]    I doubt it. I doubt it . . . Ve1y highly doubt ii.


PLAINTIFF     I 1111de1~·ta11d, it ll'O.I" 011 a Sa111rday 11igh1. so...


[WCSD- SP]    Ve1y highly doubt it. It'., close to dark.


PLAINTIFF     l'eah, /1'.1· close to dark. Yeah.


[WCSD-SP)     l'ou said it \\'as at 8:45.



PLAINTIFF     This is the second incident.


[WCSD- SP)    lt'.I· slarling to gel elm*. they probably did that            ~ POINTS AT THE FIRST DUMPING THAT OCCURRED MANY l'l,ONTHS El\RLIER SITUATED

              CLOSER TO THE BACKDOOR Il another time... It could be kid that'., doing it... It could he doing ii because they may have au issue wilh you. I don't

              know.


PLAINTIFF     Righi ... Right.


[WCSD-SP ]    8111 /'111 goiug lo go /alk /0 them, and see ll'hat's going 011, ok? So, if you can bear with me..


PLAINTIFF      Right. And I appreciate, 1 also appreciate it there's 110, 11111... personal. any iiifo1111atio11 - you know, any i1ifo1111atio11 that I di.1·c11.,,ed with J'OII ..•


[WCSD-SP]      Ok. And !hi., is the thing. If, once I go talk to em, and tell tl,em to stop. And ii keeps 011, and some odd 1!,i11gs stmt happening lo )'0111" prope11y, that's
              called retaliation. They can't retaliate against you - because tlmt'.v a whole different offense... Ok?


PLAINTIFF      Right... Alright, Ok.


[WCSD- SP]     So. ifyou s/011 having odd things happening beyond the ki11;~li11e1; like I c/011'1 know, they're throwing over big pieces of logs or - you know. just
               unreasonable slliff If you see something that '.1· different. call us.


PLAINTIFF      Alright, sure. And Just for my reference, if ii is something like insecticide rhat's th1mm over - I know you're saying.


 [WCSD- SP]    /11secticide is 110/ going lo harm you.


PLAINTIFF      I 11nde1~·ta,uf, ma'am. 8111 i'm gmwi11g vegetables in my garden. And I don't 11·0111.


 [WCSD-SP]     I 11nde1:1·/cmd that. And insecticides are 1101 going lo ham, your vegetables either.


PLAINTIFF      Ma'am, I'm 011 o,gcmic gardener - I don't wan/ - I do11'1 like.


 [WCSD- SP]    And thot'sj,ne ifyou don't. It's 110/ inseclicide, so ;~m don't have to \\'011)' aboul it. Yo11're j11111ping lo a co11c/11sion !hat's 110/ there.


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PLAINTIFF     ok. ok.


[WCSD- SP)    It's poop - and mcks - a11d pee.


PLAINTIFF     ok. ok. I 1111de1~·1a11d. 8111 jus1 forf111ure r'{/ere11ce, if !here 11·a.1· some insecticide or so111elhi11g 1m1se - somelhing also, which I consider to be toxic, for my

              yard - wo11/c/ I ...



[WCSD- SP)    We'd need lo look up lo see if !here's a11ylhi11g that has to do with pesticides - that I do11'! of petcwnally - I wou/d11'1 look thal up for you if ii 11•as. I do11'!
              know a11y//,i11g off the top ofmy head. 8111 being, !hat'.,· why I wallled lo come out here !oday and see for myself, whal ii 1ras...



PLAINTIFF     Righi, I 1mde1~/<111d.


[WCSD- SP)    Cause, ve1y ire/I, if ii 11v1s i11seclicide, ii could have bee11 !hat /ftese people could have golle11 their house treate,l their yard trealed - a11d !he pei:w11 Iha/
              trea/ed ii, dumped some//1i11g over- conld have bee11 - bnt that'., 1101 !he case today. It'., killy-liller.


PLAINTIFF     Aud the reason I'm, fil~·t ofall, co11ce111ed that its insecticide is because of the smell.


[WCSD-SP)      The smell - a11d thal's !he ammonia you're s111elli11g i11 ii.


PLAINTIFF      I thonghl ii was gra1111/e.1· qf inseclicide.


 [WCSD- SP)    Well, !here are some gra1111/e.1·, but an imeclicide gra1111/e is 1101 a rock - ii'., 110/ rock - it's an ac/ual gra1111/e - ii'., somelhi11g that, !/you look it in your

               hand a11d you conld do this - it 1.-011/d blow out [INDECIPHERABLE] ... Its 1101 a rock-based.


PLAINTIFF      I see. I 1mde1sta11d. /'111 SOil)' to keep you here so long.


 [WCSD- SP)    It's ok. Do you live hern by JYJ111~·elf?


 PLAINTIFF     Um... Yes, I live here by myse(f c111re111/y. Um and yeah, a11d I you k11ow... I've had ma11y hostile 11vnlv directed al me. /'111110/ going lo 1mste J'OIII" lime
               with ii. I 11vmld jus/ like to say that I've had ma11y ltoslile 1mrd1· direc!ed al me, ac//wlly !here was one hack - the fi1:,1 i11cide11/ was, you k11ow... \\'as in...



 [WCSD- SP)    Right, I 1111dersta11d Iha!. And !he deal is - 1his is a fairly new neighborhood - !his is a 11ice neighborhood. People 11'0111 there home and their co1111mmity to

               look 11ice.


 PLAINTIFF      Oh, I 1111de1:,ta11d.


 [WCSD- SP)     Ami I do11 't blame them ifyo11 '•>e got 11>ee1lv that are this Ill/I...


 PLAINTIFF      Oh, 110 110 110...


 [WCSD- SP)     And J'Ou're 1101... I'm just saying...


 PLAINTIFF      No. 110 110... There'., 110 ... Fi1:,1 of all, I did ,wt have \l'eed.1· that fall. I do mai111ai11 myfro111ymYI /es.,· regularly tha11 !he average pe1>·011 - 1 ll'ill cmifess
                that. 8111 they have eve,y right to go and complain lo the [HOA] and board.


 [WCSD- SP)     8111 if they do give yon that pmblem. They stm1 saying. "Hey, yon need lo do !his... " Tell them to make the complaint ll'ilh the [HOA]. So, !he [HOA}
                board can reach 011/ - to come talk lo you and tell you - ok? - and you have the right as a resident of this co1111mmily lo also voice your opinion to the
                [HOA} - that these people are giving )'OIi a hard lime, ll'hich is 110/ their place - a11d they're 110/ a par/ af the board.

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PLAINTIFF     Right I did. I did tell them that - and they told me to get a restraining order placed against them. Essentially, that'.v what they said.


[WCSD- SP]    Ok, 11-ell, A restmi11i11g order is a civil doc11111ell/. It really holcl5 110 value to you, whatsoever, other than them 110/ talki11g lo you.


PLAINTIFF     I u11de1:\'la11d. )'eah, I mean. I jw;t don't H'aut a11ythi11g to get wo,:re. I'm zmcomforlah/e aud I just don't want the situalio11 to get a11y \\'01':\·e.



[WCSD- SP]    Right. Let me go talk to them and see if I can gel i11 touch ll'ilh em, and talk to em.


PLAINTIFF     Right.


[WCSD- SP]    Um. And if I ca11110/... I ll'ill come back and I will lei yo11 know 11111, if I can, I'll come back and Jet )'OIi know. like, if I ca11. Either 1my, I will come back

              and talk lo you.


PLAINTIFF     Right.


(WCSD- SP]    Aud like I said, if ii pei>·ists, if there's 111111.rnal activity that co11/i1111es lo happen after if I'm able lo talk lo them [INDECIPHERABLE] . The11 call m back,

              saying )'OIi know the problem is pe1~·isti11g after)'OII mked me to go talk to them.


PLAINTIFF      Right ... Right... Aud the last 1hi11g I'd like to say about that, is basically, I ll'asfii:1·1 ofall, I \l'as in shock that this pe1:m11 1m11/d do something like that in

               my presence. I 111ea11, I ,ms basically 1mteri11g in the yard [ INAUDIBLE J...


 [WCSD- SP]    Well, they may 110/ have el'e/1 realized that you were there.. And like I said, ii could hal'e been a kid. .. That's ll'hy I'd like to go lo talk lo them.


PLAINTIFF      And I also co11tacted my mother - who is also joilll-mmer of this house - a11d basically, she said that, yeah. ..


 (WCSD- SP]    111,ere's all yo11rji1mit11re?


PLAINTIFF      No, Actually - lt'.1-j11st. First of all, lt'.vjusl me t/,at'.v living here for right now. I mean, Ill)' 1110111 is temporarily i11 Houston.


 [WCSD- SP]    Whal do you do wil/1 nil the co111p11lers?


PLAINTIFF      Oh, I'm a st11de11I. I, and actually, that's the reason I had a deadline to meet• and 110I 011/y that, thefi1:5/ time this happened, I ,ms so busy that•/ 11'011/d
               have called thefi,~·t time this happened, a couple of mo11th.v ago, the other incide/11 over he,-e          rr POHffS AT THE FIRST ILLEGAL- DUMPING
               CLOSER TO THE BACKDCXJR ARE/\ TI • This happened 011 Satunlay - the i11cide11t ~ POINTS AT SECOND ILLEGAL-DUMPING                                        » over there. In
               fact, I let my parellls k110111 about it, a11d my parents saw it - a11d they ,mid, if ii happens again, the11 contact the authorities. That's ll'hat they told me - a11d
               that's basically what I'm doing right now. Aud so, !'111j11st explai11i11g why it wasn't 011 Saturday night - / 1ms co11tacti11g my pare11ts. 1 ll'as a/so, fil~"I of all,

               i11 .,hock - I didn't know who to co11tacl i11 thefi1:~I place. So, that'., ll'hy [INAUDIBLE] .


 [WCSD- SP]    A St11de11I ... Righi ... Alright. ca11 I go out that way? f INAUDIBLE]


 PLAINTIFF      f INAUDIBLE]


 [WCSD- SPJ     You sleep right he1-e ~ POINTS TO PLAINTIFF ' S DORM-STYLE BED TI ?!


 PLAINTIFF      Yeah, [1NAUDil3LEJ .


 [WCSD- SP]
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                You don't hal'e 1111 AC?


PLAINTIFF       Oh, I do, but I do11't use it to sal'e 011 the bills.


[WCSD- SP]      Oh Ok. [ [1-X::SD-SP] exits the plaintiff' s residence through the front-door D Alright, let111esee/flca11gotalktothe111. I'll

                /Je right back... [INAUDIBLE]



PLAINTIFF       Ok, appreciate it.


 ~ (WCSD-SP] WALKS TOWARDS [JJBJ ' S RESIDENCE FRONT-DOOR. PLAINTIFF CLOSES THE FRONT DOOR. D
 ~ APPROXIMATELY 5 MINUTES LATER, [WCSD-SP] APPROACHES THE PLAINTIFF ' S FRONT DOOR AND KNOCKS ON THE FRONT COOR . D



PLAINTIFF       Ok, so... ?


[WCSD- SP]      Um, they're 1101 m1.nreri11g.


PLAINTIFF       Oft. They're 1101 there.


['WCSD- SPJ     l et me go ahead a11d get your info and I'll do a short Iii/le repmt 0,1 ii - so, [INDECIPHERABLE] <Illy other issues.


PLAINTIFF        I 1111de1:tta11d ... Would you be able to?


[WCSD- SP]       No, let's just do it right here. That's fine.


PLAINTIFF        Actually, I prefer that ,re do it inside. I'm really 110/... I k110,v it [ INDECIPHERABLE] .


 (WCSD- SP]      It's hot. Aud /'1111101 [INDECIPHERABLE].


PLAINTIFF        I 1111ders/a11d.


 [WCSD- SP]      It \\Ym't take, all I 11eed to do is get your i1iformatio11, and the11 I'm going to be 0111 of here.


PLAINTIFF        I 1111dersta11d. I 1111de1:1·ta11d.


 [WCSD- SP]      Righi here i.~ fine. Sid - S - I - D ?


PLAINTIFF        Right.


 (WCSD-SP]       AnditsKodd-K- 0-D- D.


 PLAINTIFF       Ma'am I real~••don't.


 [WCSD-SP]       Do you hal'e a 111iddle 11a111e?


 PLAINTIFF        Um No.


 (WCSD-SP]        IJll,aJ'.1· your date of birth?


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PLAINTIFF     Aclual~v. my middle i11ilial is C, .wmy.


(WCSD- SP]    Cforwlwl?


PLAINTIFF     Um, C}<,rC/w11dlw1y. Um, [INAUDIBLE] .


[WCSD- SP]    /J's ho/ i11 !here. And [INAUDIBLE] .


PLAINTIFF     I 1111dersta11d. /just don't [INAUDIBLE) .


[WCSD- SP]    It's just going to take a couple of111i1111/es to get your i11formatio11 - then I'm going to be gone!


PLAINTIFF     I 1111dersto11d. 8111, I'm 1mco11![011able...


(WCSD - SP]    111tat'., your date-qf-birth?


PLAINTIFF     I really don't 11'011/ to reveal this i1ifomwtio11 0111 there.


(WCSD-SP]      Tl,ere's 1101, people aro1111d.


PLAINTIFF      Ok, I can write it down for J'OII. I can write it doun for yo11.


[WCSD-SP]      /V/,y are you 1101 going to... ? I'm aski11gfor your ilifor111atio11, .w I ca11 write a repmt for you.


PLAINTIFF      I 1111de1:l'ta11d.


 (WCSD- SP)    You and I are /,ere. I'm a police office,: You called me /,ere to get your ilifon11atio11 to take a report foryo11 - did you 1101?


PLAINTIFF      I 111ule1:,w11d. ... Yes, ma'am.


 (WCSD- SP]    Ok, I'm aski11gfor your i1iformation. Are you going to give me your iliformation?


PLAINTIFF        rr HESITATES D / 1rill.


 (WCSD- SP]    What is your date-of-bi,tl,?


 PLAINTIFF       g tvHISPERS D ...... ·-·••, ......_••••


 (WCSD- SP]    I cnn't hear you.



 PLAINTIFF       ~ t·lHISPERS D ***- ••••••••••
                                       '    - '


 (WCSD- SP]     111,y are yo,, wl,ispering?


 PLAINTIFF      Ma'am, I told you [ INAUDIBLE)


 (WCSD- SP]     No 011e'., going to hear you hut you and I... Tl,ere'., 110-011e within ea,:vltot ofJYJII and I.


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PLAINTIFF         I do11'111rml lo lake any risk. 71,al's all. /1'sj11sl me. /1'.,j11sl my perxonal preference...


[WCSD- SP]        What's your - [ INDECIPHERABLE) the last four?


PLAINTIFF         ;I/I I'm w:iking i.'i tlrat ym, 1-cs11ecl my priwwy. Tlial's (1U. *** •••• •••••• ****.



[WCSD- SP]



PLAINTIFF         ............. ··••.
(WCSD- SP]        Alright. And you're a st11de11t?


PLAINTIFF          l INAUDIBLE] ... Right.


[WCSD- SP]        Ami the 1111111ber I called you 011 is your cell-phone?


PLAINTIFF         It'.,...   ff HESITATES ~ yes.


[WCSD- SP]        Ok, so this happened 2 mcmths ago also?


PLAINTIFF         Um 110, actually ii ll'as, 11111 - April, April is 1rhe11 I discovered ii. [ INAUDIBLE)


[WCSD- SP]        Ok. Whal I'm going lo do is I'm going lo 11rite a s11.171icious i11cide11I, ok? Cause, like I said, it could be thal the kid, are being lazy and did it? Or, it c:011/d
                  be that they personally wan led to dump ii over here. because they're pissed al you. One of the lll'o reasons. ok?


PLAINTIFF         / wrderstcmtl.


[WCSD-SPJ         Alright... So, lilce lsai<I, I 111ea11, this i,1· a 11ice 11eigh!JOl110{](l People 11/l! goi11g to gi1-e J'OII " har<I time - ifJV/11 do11 't lceep up 11,th )'0111' .vtuff.


PLAINTIFF         O/r, 110 doubt.


[WCSD- SPJ        Ami I t/011 't blame them,


PLAINTIFF          Oh, 110 do11b1, 110 doubt. I mean, Basically, they can complain all they ll'ant to the [HOA}. Believe me - I have 110 problem with thal.


[WCSD- SP]        Lei me get a case m1111berforyo11, ff TALKS I NTO POLICE RADIO jJ Eleven - Fourteen - Twenty- Six - Nine. Can I hove a reporl 1111111ber?


PLAINTIFF          Ok... T/,at'., 1wl the ;,,;sue at all.


 [POLICE RADIO]    Zem Zera [INAUDIBLE) Zem Zero. Zero Tll'o Four.


 [WCSD- SP]        Ok. let write this down for you ... Do )'Oil ever come 0111 your house, other lhan when someone comes and knocks 011 your door?


PLAINTIFF          Um, Actually not ve1y often... But yeah, I am a student.


 [WCSD- SP]        Ok, do you have paranoia, Ii/lie bit ofparanoia?


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PLAINTIFF     I 11'011/cl say, yea!,. Probably.


[WCSD- SP]    Ok. are you diagnosed with a11y1hi11g?... Any paranoia, Schizophrenia - a11y1hi11g like //,a/... I jus/ mm/ you lo be l,011est. I'm /lying to be l,011esl ll'itl, you...

              Or Anxiety?


PLAINTIFF     No. Oh, 110 c/011b1. 110 do11b1. Ami I ac111ally confess tliat I probably do, bur <'Ven if I did, ma'am... l'l'e11 if I die/, I 11'011ld11'11ra11t 1111• ll'eakne.~ves revealed to
              the entire 11eighbarl,aod Tl,al's all.


[WCSD- SP]    A11d I'm not givi11g it to the entire 11eighborhood. It's bell\'ee11 you a11d I.


PLAINTIFF     That's all. I understa11d. I 1111ders/a11d.


[WCSD- SP]    Ok... l'our repm1 is a maller qf public recmd. So, if a11yboco, in this 11eig!,borhood 11'a11ts lo gel a copy of ii, they con, i11c/11di11g yo111~·e(f


PLAINTIFF     Oh, I u11de1:,ta11d that. I 1111de1~·raml. I 1111de1:i-ta11d.


[WCSD- SP]    Tl,ar'., t/1e ca.ve 1111111/Jer 011 the back. (f'ya11 have any future incidences, )'Oil can call the dispatcl, 1111mber ll'hich is the one I'm 111-ili11g 011 here. Yoll do 1101
              have Jo ask for me, because I don't 11-ork 24/7. You can speak to a11y Deput;1, if )'Oil /,ave a11y_fi1111re problems.


PLAINTIFF      Got ir. ... Go/ it.


[WCSD- SP]     Ok, if' ifs - remembe,; if ifs rock, its kiu;~liller. If ii., a gm11ule that you can take in you ha11d and squish up, and ii goes, blows in the wind, that's going lo

               be maybe a pesticide or i11seclicide.


PLAINTIFF      Ok.... Ok.


[WC:SD- SP]    If il's go/ poop in ii, killy-liller.


PLAINTIFF      And if I do find .\'0111ethi11g 11-01:Ye, I can...


 [WCSD- SP]    And I don't... I hope you don'/ find ,myt/1ing wm:i-e. b111 like I said... it co11/d be ve1y ll'ell that their kid is lazy mu/ dumping ii ove1· here im1ead of /1,e
               tmsh. .. 01; it could be titat tltey'J'e pi.\-..ed off11t )'OIi for some Te(L~//1, 11fiic/1 ~-e,y ll'ell could be - w11I they 're trying to semi" 111esw1ge to JYJII, .my ltey:

               "Oe1111 up your sltit!"


PLAINTIFF      Right... Right... Right. I 1111de1:1·ta11d. I 1111de1:1·tt111d.


 [WCSD-SP]     They have an i.1:me already because of //,e insecticide thing, right? ... Aud you said //,is hoppe11ed how long ago?


PLAINTIFF      Um... Oh. this ll'l1s like - like 2 yea,~· ago


 [WCSD- SP]    2 yem:, ago? B11111othi11g since then?


PLAINTIFF      No - well, besides that, well actually-           OC   POINTS AT [JJBJ ' s RESIDENCE          n, she co11/acled me about the fence - thefeuce situation.

 [WCSD- SP]    Ok. what'.~ 11ro11g with thefe11ce?


PLAINTIFF       Well the fence.. My dad 1m.1· also here, al the lime. And thefeuce - you saw the stilts, right? The stills that I hal'e 11p there? For temporarily?


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[WCSD- SP]    Holding it tip.


PLAINTIFF     My dad helped. My dad aclual/y 1re11I to lu:r yairl, and helped her.


[WCSD- SP]    Right... [ HANDS THE PIAINTIFF A BUSINESS CARD WITH THE CASE NUMBER WRITTEN ON THE BACK . D . Thal'., )'Olll·s.


PLAINTIFF     Aud site ll'as actually ve1y cooperative, and ve1y friendly at that point.


(WCSD- SP]    Its a JVl,itefemalc?


PLAINTIFF     Um.. Yes it is.


[WCSD- SP]    About how old is site?


PLAINTIFF     Um... oh, I don't know, 11111...


[WCSD-SP]     Do yo11 k110111 her name?


PLAINTIFF      Yes, I believe ils   .1••••.

[WCSD- SP]    Do you know her last name?


PLAINTIFF      Um.. Actually, I'm 1101. 110.


[WCSD-SP ]    Abo111 !toll' old?


PLAINTIFF     l'msony?


[WCSD- SP]     /-10111 old do J'DII think she is?


PLAINTIFF      Um probably, maybe /ale 20.,. early 30s. ""(l•be... I don'I know. I wo11/dn'l l1Y1nl lo..


[WCSD- SPJ     20 to 30.



PLAINTIFF      Yeah, I 11'011ld11't 11r111t to, you k110111, upset a11yo11e.


 [WCSD- SPJ    and Thal'sfi11e - da11'/ 11rmy abo111 ii. You have a hair color and eye color/or her?


PLAINTIFF      Oh, it.1· o, blonde hair. Aud eye color ... Um, I don't know - bl11e I guess, I don't know.


 [WCSD- SP]    Maybe blue. Haw tall is site?


PLAINTIFF      Ult, site'., about my height, maybe a lillle sltorte1:


 (WCSD- SP)    What are you - aba111. 5'7"?


PLAINTIFF      5'7-and-a-ltalf. Yes.


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[WCSD- SP)    About how much 1muld you say she ll'eighs?


PLAINTIFF     Um, ... Weighs ... maybe about ... thirty po11mlv more tha11 me. I do11'1 know.


[WCSD- SP)    Aud you weigh ll'hat?


PLAINTIFF     I don't 11"{111/ to, I don't wall/ to... upset a11yone.


[WCSD-SP)     Its ok. We're 1101 ojfe11ding anybody.


PLAINTIFF     Right.


[WCSD- SP)    What do J-Vll weigh - about I 30? 120?


PLAINTIFF     I ,migh 115.


[WCSD- SP)    So, she 1reighs about 135.


PLAINTIFF     llight.


[WCSD- SP)    Aud she has kid,·? I sall' a scooter over there - so, I'm assuming she probably has kid,-?


PLAINTIFF      Yeah, she has kid,.


[WCSD-SP)     How may kid,?


PLAINTIFF     I rhink its ... 2. Thi11k its 2. Believe its 2.



[WCSD- SP)    2 male ? f emale?


PLAINTIFF      01, ... Female.



[WCSD- SP]     801/,females?


PLAINTIFF      I believe, yes.


 [WCSD- SP)    No boys?


PLAINTIFF      No... boys. I do11'1. I'm 110/ ml'Ore of ii, .wmy.


 [WCSD- SP)    Ok, that'., the case 1111mber. like I said, I'm goi11g to ll'rite up a shm1-li1tle MOR - 11'1,ich is a mi-l"cellane011.1· report.


PLAINTIFF      Rig/,/ ... I 1111derstand.


 [WCSD-SP)     If you ca11ti1111e to have issues, call us back, refer to that cme 1111mber. Tell em. that you're co11lim1i11g to have problems - that you had called once beJ<1re
               a11d //,a/ these people keep d11mpi11g kit1J~li11er i11l0 your backJ-Yrnl. That II"{/)' ire ca11 fmwanl, II)' to fo11\'01d. As far as loday, 11111, a report is goi11g lo
               shall' that I came here and spoke ll'ith you today and sa11• that ii ll'as killJ~liller. Aud rhat I al/empted to make contact with them, but ,m 011e was there al

               rhis time to figure 0111 what u•as going-on with the whole incident. ok?

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PLAINTIFF           Righi... Righi... Got it. Um, l'eah. I gttess, the 011ly lhi11g J wa111ed to add was that, I'm sony if I g{lve yott {I hard lime, with bei11g i11side, {//Id also, you

                    know.. .



 [WCSD- SP]         I'm ~wealing 011/ hem, bttl I'm goi11g to be s1reali11g i11 there, C{l11.1·e il'.1· ho/ either 11'{1)',


PLAINTIFF           I 1111dersta11d, /'111 extremely sony.


 ["WC:SD- SP]       Cause I've got {I vest 011 that keeps me ve1y ho/.


PLAINTIFF           Oh, I 1111den/{111d .. I 1111dersta11d. Yeah, /'111 ertremely sorry for keepi11g


 [WC:SD- SP]        No, that'., yottr deal - //,at'., how yo11 live, a11d tlwt'sfi11e, 1lw1'sfl11e. So, ifyott 11eed a11ythi11g ehe, co11ti1111e lo have problems, call - refer to /h{I/ case
                    1111mber. like I said. yo11 do 110/ hm•e folk lo me, yo11 C{III /{Ilk 10 a11y Depttly. 8111 if I'm here, sure - I'll lalk to yo11 ag{lin.


 PLAINTIFF          A11d I'm sorry/or [INAUDIBLE] .


 [WC:SD- SP]        No, it'.,fi11e. it's.fi11e. Th{lt'., ,drat ll'e're here/or - to take reports... mid II)' lo help you 011/. like I sai(/, ii co11ld be 11othi11g, or it co11ld be somethi11g. A11d
                    that'., what we're goi11g lo write a report today, Ok?


 PLAINTIFF          Right. And I'm sony lo i11co11ve11ie11ce [INAUDIBLE] .


 [WC:SD- SP]         Alrigh!. Ok.


 PLAINTIFF           Got it. Tha11ks.


  ~ PLAINTIFF CLOSES THE [FRONTCOOR] .                  D




<JJ:300
After this initial incident with [WCSD-SP], the plaintiff was very-alarmed (and even more so, a decade later, after reviewing the audio) about

the manner in which [WCSD-SP] handled this incident ( A ) (                          <) (M :
01.     [WCSD-SP] asked if the plaintiff talked to the neighbor about the crime - when, as the plaintiff rightly answered - no one that is

        reasonable and in their right mind would approach and confront a hostile neighbor about a crime conunitted by that hostile neighbor -

        and this is especially true if the victim is a historically-oppressed racial minority and the perpeh·ator was patt of the dominant racial

        majority - even more so, if the crime is suspected to be a racially-motivated hate-crime.

02.     When speaking to the plaintiff over the phone, [WCSD-SP] refused to initially acknowledge that a crime even occurred - when the

        Texas law concerning "Illegal Dumping" ([THaSC-TS-SB-C365-SB-§365.012]) is absolutely clear that, in this particular case and at that

        particular moment in time, a "Class B Misdemeanor" crime did in fact occur twice (based on the approximate weight of the materials

        dumped on the two separate occasions).

03.     [WCSD-SP) even after investigating this incident of2 illegal-dumpings (which had occutTed on 2 different dates), was not willing to

        charge the perpetrator with either of the crimes (or rather, 2 counts of the same crime), and only advised the plaintiff to call back if it

        happens again.

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04.    [WCSD-SP] admits that the perpetrator is committing this crime 11 intentionally", but explains that it would be "criminal mischief' and not

       "littering" - because it did not meet the poundage for littering, even though [THaSC-T5-SB-C365-SB-§365.0l2] is pretty clear that any
       11
            illegal dumping11 above "five pounds 11 (as was the case here) is an automatic "Class B Misdemcanor'1. Additionally, the multiple counts

       of "criminal mischief', which [WCSD-SP] correctly referred to, would have all been charged as racially-motivated hate-crimes under

       [TPeC-T3-Cl2-SD-§12.47] with enhanced sentencing.

05.    [WCSD-SP] says that because the material is 11rocky11 and will "dissolve with time 11 , that it was "a far stretch 11 to consider it 11 1ittering11 -

       even though [THaSC-T5-SB-C365-SB-§365.012] makes absolutely no disth1ction whether the "illegal-dumph1g" material LS

       "rocky"/"granules" or any other texture/shape/type. [WCSD-SP] compares the illegal-dumping of "kitty-litter" to illegal-dumping of other

       potential objects like 11 logs" - only the latter of which [WCSD] P1yor considered to be 11unreasonable 11 • Again, the plaintiff is still

       befuddled by [WCSD-SP]'s logic because, firstly, the act of illegal-dumping is not 11 unreasonable" - but rather 11malicious 11 and "hostile" -

       and secondly, the object(s) being dumped LS not as hnportant (besides the weight of the object(s)) as the malicious/hostile act itself.

06.    [WCSD-SP] even admitted that the litter had "poop 11 in it, which is even more egregious/brazen ofa crime - and which increases the

       severity of the malicious intent of the perpetrator.

07.    [WCSD-SP] brazenly suggests to the plah1tiffthat if[RSR] was a board member of the [HOA], that it somehow justifies her egregiously

       trespassh1g onto the plaintiffs prope11y, and engagh1g h1 acts of h1timidation/interference/disordcrly-

       conduct/harassment/threat/discrimination/blackmail against the plaintiff, ostensibly to force the plah1tiffto "take care of(plaintiffs)

       yard". Today, in retrospect, the plaintiff finds [WCSD-SP]'s suggestion to be even-more-absurd, because by the plaintiffs estimation -

        no [HOA] board member in their right mind would engage in such acts against a property-owner, unless they did not mind the potential

        crhnh1al charges filed agah1st them and unless they also did not mh1d the [HOA] being sued by the property-owner. The plaintiff did not

       know it at the tinrn - although the plahltiff suspected - that [RSR] was not a board member of the [HOA], but rather - just like the

        plaintiff - was just a regular member of the [HOA] - and as the plaintiff later found out, the plaintiffs suspicions were true for the entire

        tune period that [RSR] resided within the neighborhood.

08.     [WCSD-SP] mentions 11 retaliation" - a felony offense - which, in retrospect, the plaintiff considers to be eerily prescient, since a

        substantial focus of this lawsuit is the huge amount of retaliation (including many dozen counts of retaliatory crimes) that the plaintiff has

        suffered from the defendants.

09 .    [WCSD-SP] claims multiple times that it may be a "kid" that's doing the dumph1g - so as if to somehow justify the criminal action. If a

        "kid" did do it, then the parents would still be liable. But also, it would have had to be a tall/strong "kid" that was capable of lifting a

        heavy-weight (of kitty-litter and container) over the 6-feet-tall-privacy-fence to dump over the fence, and the plaintiff failed to disclose

        to [WCSD-SP] that the plaintiff did not believe [JJB] to have any tall/strong kids living at her residence.

10 .    [WCSD-SP] says to the plah1tiff, "insecticide is not goh1g to harm you." The plah1tiff disagreed, and in retrospect, the plaintiff sh·ongly

        disagrees as, since that time, Court(s) in the United States have already awarded substantial amounts of money in damages to some

        people who have suffered cancer, "Parkinson's Disease'', organ failure and/or other serious long-term, debilitating and potentially life-

        threatenh1g injuries/diseases caused by at least some pesticides. (But from a purely logical standpoint, if certain chemical(s) are

        dangerous/potent enough to kill insects - especially in mass - then one should only logically assume that such chemical(s) also arc of

        substantial harm to humans.)

11.     [WCSD-SP] asks if the plaintiff lived alone at this residence. The plaintiff felt very-uncomfortable answering this question (and feels

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       even more uncomfortable about this question today) - as the plaintiff believed, and continues to believe that the substantial

       crimes/abuses that the plaintiff has suffered - not only from the plaintiffs neighbors but also from [WCLE] - was in substantial part,

       caused by the fact that the plaintiff lived alone at [788KLLTX78641] for the ove1whelming majority of the years {2009} through

       {2022}.

12 .   [WCSD-SP) brazenly suggests in multiple statements to the plaintiff that if the plaintiff has alleged, so-called "weeds" in lY AIU)), then

       this allegation alone somehow justifies any racially-motivated hate-crimes committed against the plaintiff by the plaintiff's predat01y

       White-American neighbors. According to Texas law, "weeds" are limited to certain undesirable/uncultivated vegetation that are over 3

       feet in height - and the plaintiff did not have any such vegetation reaching that height during this pmticular incident - especially due to the

       fact that that the plaintiff had not watered any part of the plaintiff's [YARD] at any point during that most-extreme, record-setting

       sununer-heat-and-drought of {Summer-2011} - with even so-called "weeds" needing water to grow. Despite of the Texas law

       concerning "weed~", the plaintiff could have also easily been intentionally growing all of such vegetation in the plaintiff's

       private/concealed/curtilage [BACKYARD] as a Constitutionally-protected religious-practice or other first-amendment-right - meaning

       that none of such vegetation in the plaintiff's [BACKYARD] were actually "weeds". Therefore, the employees/officials of [WCLE] were

       abusively/oppressively exploiting such ethnocentric property-maintenance laws, jumping to fraudulent conclusions and/or making wildly-

       inaccurate assumptions about the plaintiff's maintenance of the plaintiff's private-property. Most importantly, this outrageous conduct by

       [WCLE] is simply the ve1y beginnin~ of [WCLE]'s modern-day-Jim-Crow racial-oppression against the plaintiff that the plaintiff

       describes in this lawsuit - that if a person-of-color (or worse: immigrant-of-color/indigenous-person) like the plaintiff, living within such

       White neighborhood innocently fails to maintain his/her private-property according to White-American standards, then such person

       automatically loses all rights, and any crimes, including racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses, that

       are committed against him/her especially by White-American person(s) (including police-officers) are automatically justified. The

       plaintiff asserts that such outrageous conduct and justification by a [WCLE] employee/official ranks ve1y high in terms of "abuse qf

       office" and "abuse qfposition qf trust".

13.    [WCSD-SP] peddles the same racist, extremely-fraudulent-narrative peddled by the other neighbor defendants, some of the other

       government-employee defendants, and by White-Nationalists ( 1 ) that this is a "nice" neighborhood. By "nice", [WCSD-SP], the other

       neighbor defendants ([JSP&KAP],[RSR]), some of the other government-employee defendants, and White-Nationalists ( 1 ) - all really-

       mean that this is a "White" neighborhood, and so, they demand that the neighborhood and each individual property within the

       neighborhood looks according to their hypocritically-enforced White-American standards, and they deliberately ignore all of the racially-

       motivated abuses and/or crimes committed by such individuals against their racial-minority victim(s) - none of which, of course, can be

       described as "nice". Furthennore, the plaintiff totally-rejects the racist, extremely-fraudulent-narrative argument that has been repeatedly

       peddled, and to the contrmy, even if people decide to grow wild-vegetation/tallgrass in their yard, they may ve1y-well be doing so as a

       Constitutionally protected religious practice, with the best of intentions, for the benefit of humanity and the environment (    * ).[WCSD-
       SP]'s absurd use of the word "nice" is, thus, not only hypocritical and Orwe llian - diametrically-opposite to reality - but also nothing

       other than a euphemistic, racist dog-whistle.

14.    [WCSD-SP] asked many intrusive questions regarding the plaintiff's private home and lifestyle that the plaintiff felt very uncomfortable

       answering - such as questions about the plaintiffs many computers, fans, bed, lack-of-furniture, etc. Due to this line of questioning, the

       plaintiff even felt the need to reveal that the plaintiff was a student - information that the plaintiff did not have to disclose either. Again,


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       the only reason that the plaintiff invited [WCSD-SP] into [HOUSE] is because the plaintiff wanted to communicate in private to

       [WCSD-SP] about the racially-motivated hate-crimes that the plaintiff had already suffered (at that point in time), without such

       malicious neighbors overhearing the conversation - but this does not mean that [WCSD-SP] can exploit the plaintiff's need-for-privacy to

       ask the plaintiff rather-intrusive questions about [HOUSE] and lifestyle. In other words, [WCSD-SP] was questioning the plaintiff as if

       the plaintiff were a criminal suspect, when in fact, the plaintiff was reporting several racially-motivated hate-crimes committed against

       the plaintiff.

15 .   [WCSD-SP] asked many questions - rather loudly - concerning the plaintiff's private information - such as date-of-birth, full name, how

       often the plaintiff leaves the house, etc. - which the plaintiff did not feel comfortable providing in front of [FRONTDOOR] where

       anybody around could overhear. The plaintiff would have rather provided those private details inside of [HOUSE], where nobody could

       overhear.

16 .   [WCSD-SP] was even brazen enough to ask if the plaintiff had any issues with paranoia, or had been diagnosed with paranoia - so as if

       to blame, shame and dehumanize a vulnerable victim of racially-motivated hate-crimes. The plaintiff confessed that the plaintiff is

       probably a little paranoid, but to the plaintiff's defense - any person with the plaintiff's "racial profile" and "political profile" living around

       predatory White people that had already suffered racially-motivated hate-crimes by those predators would be paranoid, and would have

       eve1y reason to be paranoid. Paranoia is a vulnerable victim's psychological defense-mechanism that tries to protect a vulnerable victim

       from predators. And even ignoring the plaintiff's own h·aumati.zing experiences with the plaintiff's predat01y neighbors, given the histo1y

       of racial oppression in the United States, at least some of which continues to this very day, it should not surprise any reasonable person

       that at least some person(s)-of-color (such as the plaintiff) would be extremely-dish·ustful, if not paranoid, about both: White police

       officers and predatory White neighbors.

17 .   The plaintiff mistakenly tells [WCSD-SP] that the plaintiff weighed 115 pounds at this moment in time. The plaintiff stated this false

       approximation of the plaintiff's weight because the plaintiff weighed approximately 110 pounds during the year {2008} - the last time

       that the plaintiff checked the plaintiff's we ight. lt was only when the plaintiff checked the plaintiff's weight a month after this incident in

       the following month of {2011-09}, did the plaintiff realize that the plaintiff actually weighed approximately 85 pounds. (The plaintiff was

       wearing either an extra-large T-shirt; so, it would have been difficult for [WCSD-SP] to accurately estimate the plaintiff's weight.) The

       plaintiff raises this issue to further-illustrate the substantial difference in size/weight between the plaintiff and the perpetrators of the

       racially-motivated hate-crimes against the plaintiff ( '-,) .

18.    In crin1es of"illegal dumping" ([THaSC-T5-SB-C365-SB-§365.012]), the statute explicitly states that it is not necessa1y for law-

       enforcement to prove any "culpable mental state" - such as "malicious intent" or "recklessness" or "criminal negligence". [WCSD-SP]

       speaks (on multiple occasions) about "why" the perpetrator(s) might have committed the crime; however, these facts are clearly

       irrelevant for the charging and prosecution of "illegal dumping" ( except that racial bias/prejudice would be considered an aggravating

       factor to increase the level and/or sentencing of the charge).

19 .   In her racist justifications of racially-motivated crimes committed against the plaintiff by the plaintiff's predatory White-Anlerican

       neighbors, [WCSD-SP] abusively uses the "abusive, indecent, profane or vulgar" (and/or "obscene'? word "shit" one-or-more times.

       Police officers use of profanity is only reasonable and justifiable during "exigent circumstances" - for example, when ordering suspect(s)

       evading arrest to stop and submit to the arrest. When police officers use profanity during interactions with private citizens outside of

        "exigent circumstances" - especially when unprovoked and during normal conversation - it is, at best, considered to be ve1y


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       unprofessional by any reasonable person, and at worst, considered to be Disorderly-Conduct and/or Harassment by any reasonable

       person.
20.    The plaintiff made a false estimation of [JJB]'s age - saying she was "late 20.1· ... early 30s", when in fact, at that moment in time·

       (according to public records), [JJB] was in her early 40s - almost 20 years older than the plaintiff. Additionally, according to public

       records, [JJB) weighed approximately l 50 pounds. So, at that moment in time, there was likely-to-be more of an approximately 60-

       pound difference in weight between the plaintiff and [JJB], instead of the 30 pound estimated difference that the plaintiff had mistakenly

       reported to [WCSD-SP] ( '7 ) .

21.    During [WCSD-SP]'s questioning of the plaintiff, the plaintiff describes [JJB] as a "White.female" having "blonde hair" and "blue eyes".

       Given the diametrically-opposite racial-profiles of [JJB] versus the plaintiff, and the controversially-preferential treatment (to state the

       least) that such people of [JJB]'s racial-characteristics receive from American society and European society, it would be, at a minimum,

       extremely-inappropriate for [WCLE] to provide [JJB] with any preferential treatment based upon those racial-characteristics especially if

       [JJB] is known and/or suspected to have committed racially-motivated hate-crime(s) against the plaintiff - but as the full record of

       {2011} and {2012} would show, this is precisely how [WCLE] did preferentially treat [JIB] versus the plaintiff - even protecting [JJB]

       from the numerous racially-motivated hate-crimes that they knew she had committed against the plaintiff.

22.    The plaintiff was not aware at this moment of time that [JJB] had been charged several months earlier with "credit card abuse"

       (allegedly for stealing and using another's credit-card) and was forced-to-resign her position as [LISD] teacher for this reason (see

       above). The plaintiff is fully-aware that all charged defendants are "presumed innocent until proven gu ilty", but since [JJB] was charged

       publicly (by [WCLE]), and her mugshot posted online onto local-news-media, the plaintiff finds it highly unlikely that [WCSD-SP] did

       not know about [JJB]'s criminal charge - especially since she was booked into a [WC] jail (and it would obviously be [WCLE] that

       would be responsible for her pending prosecution). In other words, [WCSD-SP], in all likelihood, knew of this crucial information, but

       failed to disclose it to the plaintiff, and obviously, failed to take this fact into account while processing the plaintift's crime report.

23 .   The plaintiff disputes the implicit allegation that the vegetation on [YARD] was in any way non-compliant with the restrictive covenants

        of the subdivision. In fact, in the same month of this incident, the plaintiff had contacted the Property-Management Company (at that

        time, [RealManage]) about the issue, and had received a (recorded) voice-mail (see below) in response saying that the plaintift's

        [YARD] was in compliance (in other words, not exceeding 6-inches in height - at least, in the frontyard). Furthermore, this incident

        happened during the extreme drought of {20 11} - and the plaintiff (due to the plaintiff's religious/cultural beliefs/values of conservation)

        was not watering the grass (both [FRONTYARD] and [BACKYARD]) even during those extreme-drought summer months - meaning

        that the grass on the plaintift's property was almost I 00% yellow and not even growing due to the extreme lack-of-water. In other

        words, the blades of grass on the plaintift's property were completely parched and brittle at this moment in time, and it would have

        caused even further damage to the grass for the plaintiff to cut it to any lower height at its weakest and most-vulnerable point (      * )(Q) .
        Again, the restrictive covenants of the subdivision stated that grass could not exceed 6 inches in height - but the malicious neighbors

        living around the plaintiff had consistently insisted that the plaintiff's grass be cut to 1-2 inches in height, which the plaintiff, due to the

        plaintiff's religious/cultural beliefs/values, has consistently refosed to do throughout eve1y year of the plaintiff's residence - {2009}

        through {PRESENT-DAY}. As would also be revealed in subsequent incidents, the plaintiff's malicious neighbors were also insisting

        that the plaintiff water the plaintiff's already-established grass ( * ) (Q) , which is not only against the plaintiffs religious/cultural

        beliefs/values, but since {2013-09-0 I} (ljl) , is also a violation of the [TPrC-Tl 1-C202-§202.007(a:4),(d:5)] that prohibits a [HOA] from


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         requiring a homeowner to water/irrigate vegetation within their private-property.

24.      Despite the fact that the plaintiff alerted [WCSD-SP] of several of the aforementioned hate-crimes committed by [RSR] against the

         plaintiff, and despite the fact that the plaintiff also alerted [WCSD-SP] about the fact that the [HOA] had advised the plaintiff to get a

         restraining order against [RSR), and despite of the fact that at least some of these hate-crimes were even w itnessed by other neighboring

         resident(s), [WCSD-SP) did not bother (or show any concern) to further investigate these hate-crimes (for example, by interviewing the

         other witnesses), or at the very least, issuing a criminal-trespass-warning [CTW] to [RSR] against the plaintiff's property, if not charge

         [RSR] for those hate-crimes. The plaintiff considers this complete-disregard and complete-dereliction-of-duty to be, at the very least, a

         severe case of racial-discrimination - which is also crime as per [TCPaRC-T5-CI06], especially as future incidents would reveal.

25.      [WCSD-SP] makes a crncial admission in one of her statements to the plaintiff, fully acknowledging that the plaintiff lives an off-grid

         (and/or zero-waste) lifestyle, stating, "No, that's your deal - that's how you live, and that's .fine, that's fine. 11 [WCSD-SP]'s statement

         shows that, not only is the plaintiff's off-grid (and/or zero-waste) lifestyle ''fine" - that is, not a problem to the plaintiff or to any other

         person, but more importantly, that such lifestyle is a substantial part of the plaintiff's fundamental rights, particularly the plaintiff's first-

         amendment-rights to freedom-of-religion and freedom-of-expression. This statement of admission by [WCSD-SP] directly conh·adicts

          much of the predatory actions committed by the defendants against the plaintiff in the decade that followed - predatory actions that not

         only both directly and maliciously infringed upon the plaintiff's first-amendment-protected lifestyle, but also fully-exploited such lifestyle

          (that was/is non-confmmant to the White-American lifestyle) in-order-for the defendants to engage in racketeering-acts (particularly

          blackmail, retaliation, intimidation/interference) and other civil-rights-violations (particularly fourth-amendment violations, general

          invasion-of-privacy and public-humiliation) against the plaintiff.




1301
On or about the day of {2011-08-08} - approximately one week after after the initial reported incident - the plaintiff called the [WCSO] to

update them on further evidence of illegal dumpings on the plaintifrs property, which now also included several illegal-dumpings of what-

appeared-to-be dog-faeces. As expected, the dispatch picked up the call, the plaintiff provided the case number and the call was dispatched to

then-[WCSD] Breef ( * ) [WCSD-B] since the dispatch let the plaintiff know that [WCSD-SP] was not on duty on this day:
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     ~ OVER THE     PHONE~


 PLAINTIFF               Hello, this is Sid.



     [WCSD-B]            Hey Sic/, this is Deputy Bree[. ll'ith the [IVCSOJ.



 PLAINTIFF               Ok.


     [WCSD- B]            What ca11 I do for you?


 PLAINTIFF               Could you repeal that 011e more time?


     [WCSD- B]            What ca11 I do for you, today?


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PLAINTIFF   01,, Ok. So, I 1ro11/djmt like to, 11111, folloucup Oil a case or a repo11 //,at 11m opelled 11p last ll'eek oil my belta!J: So, I 1ro11/d like, ii was basically
            regmrling someolle dumping material 011/0 my backyanl. And 1tow...


[WCSO-B]    Wail, 1V/,at i.1· ii, 11'/,at 11011'?


PLAINTIFF   Um. somebody dumping material 011/0 my backyairl - I mean. I'm 1101 sure if yo11've go/ tl,e case opened wit!, you, bu/ 11111, or lite report or ll'lta/ever. BIii
            //,ere are .. I /,ad basically repo11ed last 11"eek tl,at somebody was dumping some material into Ill)' backyanl and 11111 .. .


            What kind of material ,ms ii?


PLAINTIFF   Um, well, Depuly Slacy P1yor /,ad /old me //,a/ it ll'as, 11111, ii .,eems lo be cal-litter. Um... 11011' o/so l'mj)ndillg... 11111, dog-poop.


[WCSO-B]    Ul,-/111/,.


PLAINTIFF   So, I just wanted tofollo11c11p alldsay 1/,a/ I'm co11/i1111i11g 1ofi11d I gue.~1-- 11"/,at lfo1111d most recently isju.w dog-poop. Um... so - yea/,, I j ust ll'allled to
            so11-of report t/,a/ ii seems to be co11fillui11g.


(WCSO- B]   Ok.


PLAINTIFF   Alld I'm 110/ sure, I'm 110/ sure iff1111/,er action needs la be taken... Um, or !f"so, wl,at tl,e/1111/,er action sl,011/d be... So...


[WCSO-B]    Well, wl,at you're going 10 is .,peak to S1acy. 51,e'II be back 011 Wednesday..


PLAINTIFF   Ok.


[WCSO- B]   Yea/,, sl,e'.r available 011 Wednesday. Just give her a call, ok? I'm 1101 real sure 011 tl,e case. I don't kilo\\' a11ytl,i11g aboul the case. I can't find a11y1!,i11g 011
            1/,e case.


PLAINTIFF   Qt,, Ok.



            Um... So, I ll'OU!d give /,er a call and see 11'/,a/. Did sl,e trace it? Did she do a report? Or wl,at'd sl,e do?


PLAINTIFF    Um... I //,ink sl,e said //,at, yea/,. sl,e took do11'11 the i11fo111mlio11, I mean, sl,e took down all the ii!f"ommtioll, so. I //,ink //,at tl,e idea 11·as //,at she would
            create a report - or I'm 110/ sure. 8111 sl,e gave a card ll'itl, tl,e m1111ber 011, 1Vif/, //,e... ll'i//, 1/,e case number 011 tl,e back, ll'hat seems lo be a case number 011
            tl,e back of ii.


[WCSO- B]   Ok. I don't knoll'. Well. give /,era call. S1,e'II be back 011 duty 011 Wednesday, ok?


PLAINTIFF   A/rig!,/_ Would you be able to give me 11111, so, if I'm to call !,er 011 Wednesday, /,ow am I supposed Jo reach, 11-011/d I just call back tl,e main number


[WCSO-B]     Yeah, j ust call back the same 1111111ber - ok?


PLAINTIFF   Ok.just to cmifi1111- tl,at's 943-1389?


[WCSO- B]    Yes sir.


PLAINTIFF    Ok, I guess I'll call back 011 Wednesday //,en.

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 [WCSD-B]                Alrighl, thank you sir.


PLAINTIFF                Um. is Wednesday the 011~11 day Iha/ she's available or?


 [WCSD- B]               Wednesday and TlmrsdaJ,.


 PLAINTIFF               Wed11esdays and Thursdays. Got ii, ok I guess that's 11111, /hat'.\' Wednesdays a11d Thw:l'days eve,y 11-eek?


 [WCSD- B]               Say Iha/ one 11101-e lime?


 PLAINTIFF               ll's Wed11esdays and Thursdays eve,y 11-eek? I mea11, / ...


 [WCSD-B]                No, Wednesday and Thumlay Ihis 11-eek. and [INDECIPHERABLE] . and ils Wednesday and Thursday Ihis ,reek, and /hen Monday and Tuesday ne.rl ll"eek.


 PLAINTIFF               Oh. Ok. Go/ it. Yeah, 1 guess !hat'.\' all /he i1ifo111,a/ion I needed. Thank you, sh:


 [WCSD-B)                Alrighl. .. Alrighl, !hank you.


 PLAINTIFF               Bye.


 [WCSD-B]                Bye-Bye.


     a 'l'HE PHONECALL ENDS.~



'1[30 2
After this call with (WCSD-B], the plaintiff was very disappointed and disheartened by [WCSD-B]'s lack-of-concern over the racially-

motivated crin1es committed agai11st the plaintiff, and by his shirking of official duties to other [WCSD](s).



'.![303
On or about the approximate date of {2011-08-1 5}, approximately 2 weeks after after the initial reported incident - the plaintiff called the

[WCSO] to update them on further evidence of illegal dumpings on the plaintiff's property. As expected, the dispatch picked up the call, the

plaintiff provided the case number and the call was dispatched first to the (WCSO] "Criminal lnvestigations" Division, and then to then-

Sergeant Jeremy Brinkman's ( * ) [WCSS-JB] voicemail, at which point, the plaintiff left a message, letting [WCSS-JB] know that the plaintiff

needed to update case-number C20l l-08-00024 (initially created [WCSD-SP]) with new infonnation. By the end of the day approxiniately

4PM, the plaintiff received the a voicemail from then-Detective Newell ( * ) [WCSDet-N] of the [WCSO] providing the plaintiff with his phone

number. The plaintiff called [WCSDet-N] back most likely on the same day:
 •     RECXRlED IK>ICDIIUL(e) SENr BY PIJUNTIFF TO [IICSS-JBJ •      (2011- 08- 15)

 •     [ PRIVA'l'E URL Ln« TO BE SIJIIMI'ITD) IN DISCCM!Rr )


     a OVER 'l'IIE PHONE ~

 [WCSS-JBJ


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                          K AUTOMATED VOI CEMAIL MESSAGE ~ : Hello. this Sergeant Jeremy Bri11kma11 of the Williamso11 Co1111/y Sherif.fs Office Criminal l11vestigalio11s
                         Division. Please leave your name and 1111111ber and I'll re/11111 your call as soo,1 as possil,le. .. K VOICEVtl\I L BEI::PS D


PLAINTIFF                Yes, Hello, My 110111e i.1· Sid - and I just 11w1ted to Jo/loll' up 011 o case or a report that ll'0S ope11ed up /11-0 weeks ago 011 my behalf Um, I guess I con
                         provide ;-011 ,.,ilh the case 1111111ber so /Ital you can !,ave more i1iformolio11 - Cl0 JJ-08-00024. Agai11 tltat is - Cl0J J-08-00024. Um, my 11ame is Sid a11d
                         you cw, call 111c lwck a l 826-2436. T/ial'> 8-2-6 2-4-3-6. Um, yeali, I gue.1' that', all Ilic i1ifon11alio11 I 11ccdcd lo com•cy, thanks.



•     IU!XXJD!D ctN\1£RSM'Ictl(I<) Blml!DI THZ PLAINTllT AN> ('IICSDet-N) •         (2011- 08- 15) (-)
•     [ PRlVATII ORL LINlll TO BB SUBHITmD IN DIS0:1,/2RY J


    ~ OVER THE PHONE D



    [WCSDet- N]           Newell speoki11g.


PLAINTIFF                 Um, Yes, Hello, TM., is Sid.


    [WCSDet-N]            Hey!


PLAINTIFF                 Yeah, I got )'0111" message, but I'm sw·1y, I didn't gel your 110111e again? What ll'as it?


    [WCSDet- NJ           I'm Detective Newell wlticlt is N-E-IV-E-L-l.


PLAINTIFF                 O11e more time, !tall' do you .,pell ii?


    [WCSDet-N ]           N as in Nancy. Eis in Edwa1~/. IV as i11 William. Eis i11 Edll'ard. L as in Li11co/11. L as i11 Lincoln.


    PLAINTIFF              0C MISPRONOUNCED D          Newell?


    [WCSDet-N]            Newell.


    PLAINTIFF             Oh. SOil)',


    (WCSDet- N]           That's alrigltl, 11•/,o/ ca11 I do for you Sid?


    PLAINTIFF             So, basically - I just wanted to update a case tltal ll'llS ope11ed 011 my behalf - I gue.t,, 2 ,reeks ago...


    [WCSDet-N]            ok.


    PLAINTIFF             Um, ii ll'as Depu(l' P,yor that was al/ended to !he case i11ilially. So, I guess the thing ll'hich I called in 2 11Y!eks ago \\'as lo IY!porl 011 activity that I thought
                          maybe a crime basically dumping material 01110 my backya1d.


    [WCSDet- NJ           Right, yeah I 11-e11/ thro11glt ii. ll1wl - 11111? You said you fwd a11 update? 111wt'.I· up?


    PLAINTIFF             Righi, Right, Righi. So now /'mjusl, so - ii seems lo be co11ti1111i11g. So I just ll'llllled lo keep )'OIi - keep the case update. Um so, yeolt, bmico/ly /loll' I'm
                          110/icing tlto/ I guess, dog-poop, has been dumpe,/ recenl~)I - I'm 1101 sure exactly when, but 11111, since I did 110/ detecled ll'he11 ii happe11ed. Bui 11111, yeah I
                          guess. there's at least I or 2 /ocalio11s, ac/1101/y...


    [WCSDet-N]            Ok, so 1111ere do you \I'll/II to go ll'ilh this? Do you want to octually charge, file charges against tltem, or 01Y! yo11j11.1·1 felling 11s knoll' about ii agai11?



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PLAINTIFF       Yeah again, just for right now. Jus/ lelli11g you knoll'. Um, las/ lime, / 11Y111led lo let you guys know as soon as pos.fible, so - in case any, lhere'.1· llll)'./itrlher
                action Iha/ need, to be taken. Again, I'll lei you guys decide.


[WCSDet- N]     Ok ... Ok.


PLlUNTiiT       So, Yeali, and ngni11, 1·egnl'di11g also, l'egal'di11g Ifie previous 1/1i11g rlwt I 1'epo11ecl which was clog, cat-littcl' - ol' at least tllCII wos w/101 Depury Pt)'OI'
                identified it as. Um, mu/ ii seems to be the "Be11/011ile" lype of cat Iii/er.


[WCSDet-N]      It's What now?


PLAINTIFF       it's a particular type of cal-Iii/er made out of "Be11/011ite" - one of the subsla11ces is co/led "Be111011ile".


[WCSDet- N]     Oh, Ok.


PLAINTIFF       And ac/11ally, so, and upon jill'ther reading, l'm 110/ actually complelely with the chemical., in "Be11/011ite" and other carcinogens that arefouud in
                "Be11/011ite" - I'm 1101 complelely co11if011ab/e ll'ilh Jhefact that 1ha1'., 011 my- 011 the backya,d So, especial~)•, became when ii mi11.1; the chemicals are
                going to leach illlo the soil, and pollute the soil - because it'., 1,0/ biodegradable.


[WCSDet- N]     Ok - so, ll'hal are J'OII want done - 1/,at's is my q11estio11. Becau.fe, !f you don'/ 11•a11/ to file charges against them, there'., 11olhi11g else we can do about - We
                can'/ make ii, obviously 111te11 ii comes to - ifyou j ust ll'a/11 to document it - there'.f 1101, \\'e can't make them - [INDECIPHERABLE] - 1 g11essyo11 'd say. or

                clean it 11p.


PLAINTIFF        Righi, right. I u11dei,·/a11d /hat. Righi, I waw't asking that they be required lo clea11-it-11p. I'm j ust le1ti11g you know thal I'm 1101 complelely co111/<J11able
                 wilh Jhefact thal /his pa,1icular malerial - I mean. I'm actually. lo be hones/ ll'ith yon - I'm 1101 - 11muld11'1 mind - 1 mean the cat-poop and Jhe dog-poop
                ilself is 1101 too 11111ch of a co11ce111 for me.


[WCSDet- N]      Oh.


PLAINTIFF        Bui the actual cat-Iilier material - 11hic/1 is made 0111 of " Be11/011ile" - is something that is a cl,emical wl,icl, I 1ro11ld rather 1101 have 011 Jl,e backyanl.


 [WCSDet- N]     Well, wl,at we can do is - I will c/ocwncn/ w/101 you told me o/Jo11r t/ic "Bcnronirc" todoy- one/ tl,cn, iJ ii /iappens ngnin. \l'e can go.from rlierc. ok?


PLAINTIFF        Got it.


 [WCSDet- N ]    Doe.\' /hat sound reasonable?


PLAINTIFF        Yea/,, so1111d1-Ji11e.


 [WCSDet- N]     Ok, 11d/ I'm doc11me11t it - I'll add ii to your reporl - your original reporl - that you've done some research. and dele1111ined to be "Be11lonile" - co111ai11i11g
                 the 11011-biodegradable "Be11/011ite", and /hat ,my, in the.fi,1111-e, ifyou need a copy of the report - then yo11 can pull it ope11 ll'ilh 110 p,vble111.


PLAINTIFF        That so1111di g1-ea1.


 [WCSDet- N]     Ok. we'll do //,at J/,en - if you need a11ytl,i11g else, call our dispa/c/, ok?


PLAINTIFF        Alrighl. And also one more tl,ing I .f<1rgol lo tell Dep111y Pt)'O/' wl,en sl,e \\'OS /,ere 2 weeks- //,a/ Jl,e same IHJe cm-Iii/er, the be11l011ile type cat-Iii/er
                 substance also seems to have been spt'ead 011 the fmn/-yard ll'here Jl,e - 11'1,ere the pkm/.1· in j,'011/ of my.fi-011/-porch is.


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 [WCSDat-N)                Vh-/111h... Ok.


 PLAINTIFF                 It seems lo have been .17,read like, a/mos/, 1101 evenly - 1111evenly 1/11v11glto111 - like a /01 of- close to the roots ofa lot of the plants.


 [WCSDat- N)               Ok, I'll pul !hat i1110 the report 100.


 PLAINTIFF                 Yeah, I guess !hat'., the 011/y other thing I 11Y111led lo let you know. Yeah, I g11et1· thal \I'll.I' all /he i1!f'omwlion I needed lo report.


 [WCSDet- N)               Ok ... Ok, \l'ell I'll add ii lo )VIII' repm1, and if you need a11ytlti11g else, give us a call ok?


 PLAINTIFF                 Yeah, I guess. Ok, thcmks.


 [WCSDat-N)                Yo11r ll'elcome, Bye-Bye.


 PLAINTIFF                 Bye.


     0C   THE PHONECALL ENDS . D




i304
As the plaintiff had reported to [WCSDet-N] in the phone conversation documented above, on or about the day of {2011-08-15}, had also

discovered the similar heaps of cat-litter material illegally-dumped and/or spread unevenly around the plaintiff's bushes/trees of the plaintiffs

frontyard. The plaintiff did however know that the home directly across the street - [785 KINGFISHER LANE, Leander TX 78641 ] - had

a "Under Contract" yard-sign - so, it was likely that that house was not occupied at the moment in tin1e when these crime(s) occurred.

Furthermore, it is still unclear to the plaintiff if [JJB] committed these crimes against the plaintiff by herself or if she was assisted in any way by

any of the other malicious neighbors that the plaintiff had the misforhme of living-around including, but not-necessarily linlited to, [RSR]

(again, since the plaintiff had regularly noticed [JJB] and [RSR] hanging around each-other and talking many times during the years {2009}

tlu·ough {2011 }).



i305
On or about noontinle on {20 11 -08-29} - approximately 4 weeks after the initial reported incident - the plaintiff received a voicemail from

B***** C***** of [Rea!Manage] ([SPOA]'s then-Property-Management-Company) - the then-Community-Manager of the [SPOA], [SPOA-

CM-BC). The plaintiffs stah1s with the [HOA] at this point in time (or at any point in time), would actually be irrelevant to this lawsuit, but the

plaintiff documents it to further-illustrate that the actions/rhetoric of the plaintiffs predato1y neighbors and [WCLE] were not only completely

unjustified (since fast of all, they are not the [HOA] and have no authority take even the legal actions of the [HOA]), but more importantly,

that they were deliberately mis-interpretin&'abusinwweaponiz ing these restrictive covenants as a modern-day-Jinl-Crow law to deny the plaintiff

justice for the numerous hate-crimes that the plaintiff had already suffered (at that moment in time), and to further-deprive the plaintiff of the

plaintiff's rights:
 •        l1IIO:lRDEll VOICDaILM mar (SPOII.-OHIC] TO PIAINTin' •        !2011- 08- 29 09 :0lNf) H
 •        [ PIUVl\m URL LINK TO BE stDaTD!D IN DI.SaJYERr ]


      Ii BEGINNING OF VOICE:MAIL . D

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 [ SPOA-CM- BC]             Yes, Mr. Kode, this i.1· B ***** C***** - calli11gfrom [Rea/Manage}. I got your email asking if the i11.1pector had been 011/ there, a11d what the yard looked
                            like. Well. the impeclonras 011/ there 011 the 17th, mu/ eve1ythi11g looked gre<1/ - so, he'.,· closed the DR V ( ~) . So, yo11 are jir!e and clew; 11111. as for as the
                           yard goes. We do 11·(111/ to thank you for doing all that - keeping it up, and hopejidly 11¥! 11·011'1 have to send a /el/er 0111 e11er again. Have a great 1\'eek -
                            and ifyo11 have any q11estians, 111y 11a111e is B*****. and the phone 1111111ber here is •••-••••. Tha11h, a11d have a gmat ll'eek.


     ~   END OF VOICEM/\IL . D




<JJ:306
On or about noontime on {2011-08-29} - approximately 4 weeks after after the initial reported incident - the plaintiff called the [WCSOJ to

update them on further evidence of illegal dumpings on the plaintiff's property, and most-recently discovered, tbe illegal cutting of branches

from one of the plaintiff's front-trees. The dispatch directed the call to another [WCSDJ, this time, to then-[WCSD] Peter Parks [WCSD-

PPJ ( * ) ('7) :
 •       REXXRlED CXIM!!I\SATIQl(I-) llE'nlEDI THE PIAINTIFF Am (llCSD--PPJ •     (2011-08- 29) (-)

         [ PIUVAl'E uro. LINK ro BE SOIMlTrEll IN DISCOYERY J


     g OVER '!'I-IE PHONE D


 PLAINTIFF                  Hello. this is Sid?


     [WCSD-PP]              How yo11 doi11, sir. This is Dep11ty Parks of the Sheriff:,· ()_ffice.


 PLAINTIFF                   I'm sony, I didn't get yo11r name again.


     [WCSD- PP]              U111. Depllly Pmks.


     PLAINTIFF               How do yo11 spell that?


     [WCSD-PP]              P-A-R-K-S.


     PLAINTIFF               P - A - R - K - S?


                             Yes.


     PLAINTIFF               I see. Sony, 11111. I g11ess I mmld like to .fol/011°11p 011 a case or a report that u·as opened, 11111. 4 ll'eeks ago, 011 II()' beha/f; by Dept1()' P1yar. and I guess,

                             later 11pdated by Detective Newell.


     [WCSD-PP]               Uh-/111/1.... Ok.


     PLAINTIFF               I gue.~,· there have been new developments rega1di11g that case, so 11111. just ta ca1ifin11 this case 1111111ber is - 11111, i'm 110/ sum /lyou have it or 110/ - its

                             C20 / /0800024.


     [ WCSD-PP]              24 - Yes.



     PIAINTIFF               Ok, I guess I had called - j11sl to review the case. I called 4 ,reeks ago, and then s11bseq11e11tly 2 weeks later, to ,reeks after that, lo report activitie.~ that 1
                             had thought might have bee11 crimes - /Jasica/()' regarding someb<H◊' dumping material 011/0 my backya1d and also plants in my.fm11/yard



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[WCSD- PP]    Ok... Ok.


PLAINTIFF     Um ... And Sergeant Ne11Y!II, or 1'111 sony. Detective Newell, had told me that me that the las/ time I called, 11111. ll'hich is I g11es.,, 2 ll'eeks ago, !he case file
              11Y>11/d be 11pda1ed with !he new i11for111a1io11...


[WCSD- PP]    U/1-/111/1.



PLAINTIFF     Um. and, I g11ess if any .mc/1 ji111her i11cide111 took place, that ... I sho11ld lei yo11 guys knoll', so that 111aybe.fi111her action co11/d be taken ... Um, I guess
              now- ll'hat I 11'0111 to 1Y!po11 is basically the same activity has 1ake11 place ll'ith someone d11111pi11g 1110/erial aro1111d 111y.fro11t-yard plants also - in addilio11 to
              that, I believe somebody mighl be, 11111, chopping limbs offone of the fro11/yard l1Y!es - 11111, chopping branches I g11e.t•. Um. so I 1ho11ghl Iha/ - I should
              rep011 this activity and find 0111 ifj,111her action need• to be taken. A ml. jusl lo summarize, this is al lea.el the, i think. al least the.fifth time - al leas/ the

              .f,jih time, that someone has 11111, illegally-d11111ped material 011/0 my properly.


[WCSD- PP]    Ok. Well, basically I can add 011/0 the IY!JJOl1. Um, but 1111le.tv )'OIi know ll'ho's doing ii. ii.,· going lo hard for us to find a11yboc9,.


PLAINTIFF     Right. 11Y!II, act11ally the third time that it happened, ii happened 11111, the - I ll'as there when ii happened, and 11111, so - /11 fact, the - ll'he11 I called first, 4
              11Y!eks ago - I was 1Y!po11i11g that so111eo11efro111 to the neighbor, the neighbor lo the /eji of - or to /he right of me, basically. from t/,a/ side - d11111ped the
              material - I /1eaffl ii happen - I wa.s in 1/1e lwckyard w/1i/e it !,appe11ed - Um, l,111 I clic/11'1 o/JVio11s/y - siuce t/10/ jll(/ivic/11a/ or inclivic/110/s were be/,incl a
              fence - I can't see ll'ho that i11divid11al is, b111 - I 11~,s there there and it 11-as, and I can say from ll'hich side it came from - obviously because, 11111, from
               ll'here !he material was d11111ped and also, 11111, 11he11 Deputy P,yor had seen where it 1ras - where the, I mean the local ion of the d11111pi11g. 11111 - she had
               told me thal ii would have to be from this particular neighbor. I mean, I didn't 11·0111 to acc11se anybody, b111 - Um, she said yeah - ii wo11/d have lo be he,:

               Um...


[WCSD-PP]      Well, did anybody talk to t/1is lady?


PLAINTIFF      Um. Dep11ly P1yor had knocked 011 the door - and 11111, told me that basically that 110 one 11vs <111s1red11g so, that moyl,e that person wa.v 1101 at home - so,
               11111, al Iha/ point - she /rad just given me her card, and - 11111 lire cose 1111111/Jer - and /rad told me that 11111, if this happens again, pleme call back - so, ii'.~
               /,appeued I guess 2 more times, in addition lo 1r/re11 I fii,·/ co11tacted her 4 ll'eeks ago. Um. co11/acted the depart111e11I 4 l\'eeks ago.


 [WCSD- PP]    Are JYlll sure - Are you sure- that it's killy-liller?


PLAINTIFF      Um... act11ally. Iha/ was what Deputy P1yor identified lire material as- 11111, I mean, b11t.fiw11 - I'm 1101 experienced in looking at kitty-filler. So, I c/011'1
               know if that is in fact killy-liller or 1101... B111 Iha/ 11Y1.1· 111wt Deputy


 [WCSD- PP]    Is ii spread 011I - I mean, Is it >11read 011/ - or is ii d11111ped al [INDECIPHERABLE] .


PLAINTIFF      Well. they - I mean, the third time it 11m dumped, ii was dumped in basically large - I mean basically I co11ld /rear tire noise - I 1ras in the backyard ll'lrile
               it happened and, it'.v like a/1110s/ - I dou't know if it'.v the eutire 0111011111 - i 111ea11, if ils entire package of killy-liller - I 1Y!ally ca11'1 tell. Aud in Jae/, / '111
               /roping it.~ - I 111ea11, even killy-liller- 1r/,e11 / look at ii - and I looked at ii - looked it up 011/itie - ii looks like tire Be11to11ile-type killy-litler 11·/1iclr is a
               particular IJ'l'e of killy-liller... 11111, and I gue.~, 11111, upon j,wtlrer 1Y!adi11g, 11111, I'm aclually 110/ co111fo11ab/e with that, tire chemicals in that, in that
               s11bs1a11ce -found in that particular killy-lille1: Either my backyard, and e.111ecially 111yfro11/yard plauts as IIY!II••• Um. because e.111ecially, ll'hen ii rains, or

               11'/renever I'm watering, the chemicals are going to leach-iuto !he soil and pollute !he soil as 1rell...


 [WCSD- PP)     Yo111mdersta11d !hat like. some fertilizers for gm.«- it looks like kitty filler.


PLAINTIFF




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              Um - that ve,y 11·ell may be, but I when I ,rent close lo it, and I ,ms hying lo pick ii 11p - I go/ a ve,y strong odor - like a ve,y st,v11g chemical odor and,
              in fact, it was i,ritali11g my nose - and I mean, I g11e.~1· my - ll'he11 I 11•a s breathing ii in, ii 11·as iirilati11g my, wha/ever //,e sys/em is - and so, basically 11111,
              yeah. re.1pimt01y sys/em - was slightly ilritated ...


[WCSD- PP]    I just pu1fe11ilizer down 011 my yard- and, and ii looks like kitl)~liller - and ii has a ve1y-stro11g chemical odor, to it.


PLAINTIFF     Right, I 1111de1~·ta11d.


(WCSD- PP]    It needs lo be watered i11, lo make your grass givw.



PLAINTIFF     I completely 1111de1:rla11d - you mighl ve1J1 \l'e/1 be right if ii'.\' ferlilizer b111, ac/ually if - I'm - my preference is !hat I don'! 11Y111! even fertilizer - I mean, my
              pe1:m11al preference is //,at I don'! use fertilize,; 11111... I 11v11ld 1101 like fe11ilizer 011 grass eilher...


[WCSD- PP]    Ok, ire//... like I said. there's. The only lhi11g !hat I can do is /1y and knock 011 yo11r neighbor's door and (l.l'k //,em if !hey accide11tally spilled something.

              Maybe !hey could clean ii up.


PLAINTIFF      /Veil... Ac/ually,


[WCSD-PP)      But, ifJv11 're llyi11g to file charges, tire District Allomeys office is 1101 goi11g to do m1ytlri11g. They're 1101 goi11g to file charges 011 anybodyfi1rfe1ti/i'{l!1:


PLAINTIFF      Um... ok, bu! I wulei,·/oml sir- bu/ this is lhe}!ftl, time this hos happened - and it.1· 110/just, cal lille1; bu/ il's also been dog-poop, I mean dog-poop, I'm
               110/ loo concern - I mean .wmebo<Q' dumping dog-poop 011/0 my backyanl - I'm 110/ too co11cemed, abou/ the about the dog-poop or even the cat-poop, lo
               be honest will, you. But I am concemed about the chemicals in eilherfertilizer or cat Iii/er, because like I .mid I prefer not to - I don'/ use !hose chemicals
               myself, and I prefer 1101 use /hose - 11111, I prefe r that those chemical, I mean !hat material was 110I dumped 011/0 1/,e backyard - and sil; I can, I can go
               ahead and do ll'hat yo11're advising me, and 110/ do - andjust ignore this. Bui, I can tell you thal il'.,just going lo continue to happen - and 110/ 011(11!hat -
               it seems like - lhey're c11/ling. well whoever it is, //,ey 're cu/ling branches o./J the front-yard free. and 11111, seemingly ge/ling-mmy-wilh-it. So, I mean, I
               mean go ahead and co11ti1111e to let ii l,oppen, and al some point it ,ms going lo be viewed as pivpe11y destruction - so, I don'! knoll' 111um...


[WCSD-PP]      Have yo11 tried knocking 011 your neighbor'., door? To talk lo them?


PLAINTIFF      Well, 111c1'w11 - I'm sony - sir. /'111 sony- w/rar / - /lie woy I see ir is I/rat, if rllis perso11 is so lro.,rile r/rar r/rey're goi11g lo lie clw11pi11g 111ateriC1/ w/1ile /'111 rlie
               backyard - and 110/ even care /11(1/•. .


[WCSD- PP)     That's 1101... That's not volalile, real(v...


PLAINTIFF      I'm sony,


[WCSD- PP)     like, il they're 1/,roll'ing s/11.fl at your house - lhey 're thivll'ing eggs, s/1,fl like //,at at your house. Breaking st1!ff - that'., volatile.


PLAINTIFF      Um, Did )VII say, vo-


 [WCSD- PP)    Some people ,muld go 11e.tt door. and go knock 011 their door and say. "Hey, I've been 1wlici11g piles in my yanl - Um, I don't know (lya/1 accidentally
               dropped .mmelhing over there, or whateve,; but if you can t,y and be a Ii/lie-bit more car~fi,I, I'd appreciate it." So111elhi11g like /ll(lt?


PLAINTIFF




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               /light... Um, I pe,~ww/ly don't like co1ifm11ti11g, I 111ea11 - I'm 11111, I gue.~, I'm sort of a /r11111ble pe1:w11 myself - I do11't like to 11111... aud 1101 011/y that, I
               don't k110111 if this perso11 is - is, you might ve1y well be rig/rt liwl this person is 1101 a vio/e,r/ person. BIii at the some time, I don't ll'0/11 to put 111,•se/fat
               ri.,k. 11111, by, by going over to this i11divid11al, and al.w, I \\'011/d also like to add that, 11111, there have bee11 some harsh ll'ord, directed to11wrl, me - 11111, i11
               tire past. By wrother, I 111ea11, by I individrral - 11111, in the neighborhood - 011d so, I'm not - I'm definitely 110/ accusing anyone, i11 regard, to /hi., pw1ic11frrr

               case - but, 11111...


[WCSD- PI?]    Was it the neighbor 011 the right side ofyour house?


PLAINTIFF      It \\'as11't the 11eiglrbar 1011 tire right side - ii was lire neighbor diagonal lo me - ll'hic/r is, yealr, I guess diagonal lo my house... Um, this happened a year

               ago. Aud it 11m; the - yealr. And, like I .wit/, 11111...


[WCSD- PP]     A11d where was the large pile of dog-poop 011d all that shiff piled i11 your ya1rl?


PLAINTIFF      Um, \\'ell the dog-poop 11·as thefowtlr dump - I mea11, these are, t/rese /rappe11ed i11 different locotious. I mean, tire most - I mea11 the dog-poop is i11 tire

               back - was dumped i11 the backyard. Um, ...


[WCSD- l?P]    Was it close to your house?


PLAINTIFF       Yealr, tlris 11'l1s all do.,e 011 I side ,if the house. So, I ca11 say this ,ms all 011 I side of the house - facing //rat, ac/jaceut to that I particular 11eiglib01: .. Um,
               but it's yeah, it yeah - but yeah, like I said, I'm 1101 accusing a11yo11e /rere.


[WCSD- l?P]     Ok, ire// 11e'/l try aud 11111, talk to them, and let them kuow that they 11eed to stop doing 1rhatever they're doing, if they're doing it. Aud 11111, hop~/idly that'll

                toke care <!fit.


PLAINTIFF       Um, I guess that \l'as all the - yeah. I mean if that's the 11111.. that seems to be au appropriate action 011 my, i11 my opi11io11. Um... So, if that could be done,

               I ll'Ollld greatly appreciate 1/rat. Because


[WCSD- l?P]     Ok.


PLAINTIFF       I \1'011/d, I 11v11ld perso11a/lyfo/low your advise aud knock 011 their door and politely ask them to stop doing it - but, like I said sir; I'm extremely 11111, y011
                know - 11e1vo11s i11 suc/J type si/11otio11s, 011<1 I woulc/11'1 want to c01!fi·o11t a /Jostile 11eig/1bor. Um. ,. So, /'111 a peac~(ul person, I don't wont lo stm1, I 111ea11, /
                pe1:m11ally 11v11/d11'/ be able to say 11111c/r if the pe1w11 is hostile. 11111....


[WCSD- 1?1?]    Ok.


PLAINTIFF       Yealr. I gues,; 11111, like you said if yo11 11v11/d be able to talk to whoever is doing it - and ask //rem to stop. It 11v11ld a huge - I would greatly appreciate it.


 [WCSD- PP]     Ok, 11-e/l l'/I   1r,, and get over there, sometime this afte1110011, and talk to somebody

PLAINTIFF       Ok, 11111 - yeah. audyeah, ob1•io11sly, /Iris is 110/ - I 11v11ld11't consider this - this is 110/ obviously a11 emergency - so, it doesu't /rave to be done today, or -
                I'm not requiring m1y <?l t/,at, But, I guess .mo11, so that s11ch i11cide11ts dmr't happen, I mean, i11 partic11/a1; I 1m1J/d like lo W(l/er my frv11t-pla11/s but since
                that material is there. I'm 1101 even able to - I'm .mrt ofpostpo11i11g 0111mteri11g my plants. Since, 1mteri11g thefro11t-pla11/s 1/rat is- since t/rat material - a
                large amount of it is still t/re1-e. Um..


 (WCSD- PP]     Ok.


PLAINTIFF       I guess - any /relp to remedy the situation 11v 11/d be really - \\'Ollid be great()' appreciated, like I said. Um... is there a11ytlri11g else that I c011 do 011 my end?



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[WCSD-PP]          U11/e.~, you wa11/ to put camems up - 011d //)' 011d get video of //,e.fe people.


PLAINTIFF          Rig/,/, hut I figured - tl,at might be taki11g ii too far - I mean, jiom Ill)' pent - yea/,, //,at is a good piece of acMse, actually - I 11m co11sideri11g //,at. Aud, I
                   guess I sl,ould co11sider //,at further - I guess I need to consider //,at further. Um... be.vides that, is there a11ytl,i11g else that you ca11 suggest?


[WCSD- PP]         Um, 110 - 1101 really.



PLAINTIFF          And ifyou said cameras- lwll' 11rmld, I be able to - I guess I would /,ave lo look i11to //,at, but - just really briefly, /,ow wo11/d I be able to place tl,ose - I
                   111ea11, because I do11't know about the legal implicatio11s of //,at - l,oll' would I be able to place a camera - would I be able to place a camera tlmt'.1-faci11g

                   outside? I mean, I c/011'/ even k11011' /,ow //,at works - a11d if its even legal?


[WCSD- PP]          You ca11 put camems 011 your l,ome. Yo11 can put a s11rvei/Ja11ce camera 011 your house //,a/'.f motio11-activated.


PLAINTIFF          I see, a11d. .. but, 11011/d I be able lo direct //,at camem in frm1/ of my ji·o11/ yard - 011 my f10111-p /a111s? 011111)1fm11/-/rees?



[WCSD- PP]          Yeah, you can put em i11 the comer ofyour house. and /,ave //,em face out to the street, and 1rl,e11ever somethiug moves i11_(,011t of tl,e camera, ii tums 011
                   and 1eco1d, ... Aud, the,e'.v 110 pmblem wit/, that.


PLAINTIFF           I see... Aud t/,at'.v pe1fectly legal and eve1ythi11g?


[WCSD- PP]          Yes.


PLAINTIFF           I see. A11d I guess tl,e same can be done for tl,e backyai¥f as 11ell... Um, yeah I guess I'll defi11itely look i11l0 //,at, but for rig/,/ 11011: I gues.,; 11111 - If.
                    11'/,oever it is tl,e pe,~011, if tl,ey could be, 11111, appmacl,ed or I 111ea11 talked-to and politely asked 1101 do //,a/ mu'luore, I mea11. TJ,at 11011/d be, that ,multi

                    be of great l,e/p to me.


[WCSD- PP]          Yep. I'll fly to get over tl,e1e sl,mtly.


PLAINTIFF           I'm sony - I did11'1 get that?


[WCSD- PP]          I said, I'll t1)• to get over tlrcre slrortly.


PLAINTIFF           Ok. Ok, yea/, that smmd'., great. 11111... yea/,, I gue,~, //,at'., all tl,e, all //,a/ I ll'Ollted lo convey aml reque.,t I guess.


[WCSD-PP]           Ok sir.


PLAINTIFF           Well, I really appreciate yow· time, Deputy Parks.


 [WCSD- PP]         No p10ble111. Take ca,e.


PLAINTIFF           Have a uice day. Bye.


 [ THE PHONECALL ENDS . )]
 ~ APPROXIMATELY 40 MINUTES LATER, PLl\INTIFF NOTICED [WCSD- PP] POLICE CAR PARKED CURBSIDE IN FRONT OF [788I<LLTX78641J . lJ

 ~    PLAINTIFF NOTICED (WCSD-PP] WALK TO (JSP&KAP] RESIDENCE ' S FRONT-COOR. lJ
 rr PLAINTIFF NOTICES THAT [WCSD-PP] HANGS IN FRONT OF (JSP&I<l\P] ' S RESIDENCE FOR A FE\'1 MINUTES . lJ
 0C   PLAINTIFF TIIEN NOTICES THAT [WCSD- PP] \'lALKS ONE HOUSE IX)l'IN TO (JH&SHJ ' S RESIDENCE [780KLLTX78641] . lJ
 0C   APPROXIMATELY 5 MINUTES LATER, PLAINTIFF NOTICES THAT (WCSD-PP] APPROACIIES [FRONTCOORJ AND KNOCKS ON THE COOR. lJ
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PLAINTIFF          Hi... Deputy Pai*er? Pmks?


[WCSD- PP]         Yes... Ye.1·.


PLAINTIFF          Um, So, I just mmted to - I can shall' all tl,e locatiom of I I NAUDIBLE] .


 It PLAINTIFF ~lALKS IN FRONT OF [~lCSD-PP] POINTING AT IJJCTITIONS UNDER FRONT BUSHES/TREES l'/HERE CfIT-LITTER WAS DUMPED . »
 ~ PLAINTIFF ~lALKS TOWARDS AND POINTS AT THE FRONT-TREE WHERE THE BRANCHES HAD BEEN CUT . D

 a PLAINTIFF WALKS TO:·TARDS SIDE-YARD, OPENS FENCE-GATE, AND BOTH ENTER PLAINTIFF' S BACKYARD . »
 It PLAINTIFF WALKS AND POINTS AT MULTIPLE IJJCATIONS OF DUMPED DOG-POOP, CAT- LITTER . iJ


PLAINTIFF          And g l?OINTS j] •.. And g l?OINTS j] ... A11d a l?OIN'l'S j]



[WCSD- PP]          [INAUDIBLE]



PLAINTIFF          Well, I 110/iced ii.. The ji1>·/ time I noticed it..


[WCSD- PP)          Jlllio has a Iii/er box?


 g WlTHOUT ASKING PI.AINTIFF ' S PERMISSION,                    {~lCSD-PP] HOPS ONTO PLAINTIFF ' S FENCE BOTTOM-RAIL, AND PEEKS OVER FENCE INTO [JJ!3] ' S

BACKYARD .    iJ


[WCSD-PP)           Their Iii/er box.


PLAINTIFF           Thal might ... Um, 11-ell [INAUDIBLE] . 8111 yeah, but yeah, if I could... prelly quickly [INAUDIBLE ]. if that'.l'Ok wilh you?... Um



 a PLAINTIFF POINTS [WCSD-PP) TO BACKDOOR ASKING IF PLAINTIIT COULD SPEAK TO PLAINTIFF INDOORS . iJ

 [WCSD-PP]          For wlml?


PLAINTIFF           No, I just wanted lo explai11 !he siltmlion.



 [WCSD- PP)         No, I alrea<b• lalked lo you m1 !he pho11e.


PLAINTIFF           I jusl wc,11/ed lo put ii all i11/o co11/exl. I 1111de1~·/a11d.


 (WCSD- PP)         ~f you do11'1 keep your yard up - ii looks like this house is j ust silli11g here aba11do11e<1 Like nobody lives here.


 PLAINTIFF          Righi, I 1111de1~1a11d thal.


 (WCSD-PP)           [ INAUDIBLE] the backyanf.



 PLAINTIFF          Righi, I did trim ii - jus/ you know, a lt'eek ago, or a \l'eek and halfago. I don't k11ow - I'm 110/ sure. If you're refe1ri11g lo lhefacl that it's yellow. //'.~
                    becm1se, /here's a s/age-j,mr drought Jhal's wilh /he waler company - and the waler company - the 11"(1/er utility is saying that 11-e cm1'1 waler the grass... I
                     mean, the i11s/111clions 11-e1-e to only 11riler !he pla111.1· am/ the trees. And, and so... I'm 1101 really sure H"hal I'm doing wm11g. I 111ea11 I'm /1yi11g Jo...



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[ WCSD-PP]       B111 yo11 ltave11'1111owed the backya1d... ?


~ PLAINTIFF TRIES TO EXPLAIN TO [WCSD- PP] THAT PLAINTIFF IS CONVERTING BACKYARD FROM 1.J\WN INTO GARDEN : D



PLAINTIFF        Well, the backyard- 1'11111yi11g to 111ai11tai11 it - ll'ell, actually 1'11111yi11g to 1101111ai11tai11 the backyard- or, wlte11 I say "1101111ai11tai11", I 111ea11 tltat, the
                 grass, I would /rave auotlrer pion /01· f11c g ras.'i... I'm 1101 actually watering fl1c backycu-d al (1/1. And I'v e nof hcen wnlering it ol all ... Um, mid so tile onfy

                 1mter its get is maybe rai11. a11d the11 the reaso11 /'1111101 \l'ateri11g ii is beca11se I \1'011/d act11ally like the grass lo subside 011d die because I do11't ll'ant the
                 grass in the backyard to be ltonest with yo11 - I ltave a/her p/a11s that J 11-mll, 11111, that are goi11g 011.. So, that'., wlty I'm 11yi11g toj11sl get tlte gm.~,
                  [INAUDIBLE] , A11d I'm s11re if 1 don't ll'0ler it, it will die. So, all)~••ays, my poi11t is, I do11't \l'a11/ lo \l'as/e your time, but the poi11/ i., - this is 110/

                 so111elhi11g that 1'111 ... i11/e11tio11ally doi11g or a11ylhi11g, i1'.,j11st !he ,my I figured, 11111, the ll'<{)', I jusl made a choice to I I NAUDIBLE) a11d also, regarding

                  the fro11/ymrl - like I sai<I. about the drougltt, a11d also - I am trimming it, I am tri111111i11g ii a11d I am...


[WCSD- PP]        What about tlte b11sltes - the bushes look crazy...


PLAINTIFF         Are )YJU talki11g about the bush that'.,· i11 fro111 of the.fi-011/ yon/? I 111ea11, the fm11t-door?


[WCSD- PP]        Yeah.


PLAINTIFF         Well, I co11/acted the (HOA} a11d they said, they're fi11e with the - I 111ea11, they did11't ltave a11y pmblem with that. Um so, 011d ac111a/()•, I've ac/11ally
                  co11/acted the [HOA} a11d accordi11g to them, I 111ea11, tltere'., 11othi11g tltat ... they're 1101, goi11g to, lhey're 110/ gelli11g 011 me about a11y of it. A11d also, I've

                  made sure !hat eve1ylhi11g tho/ I'm doi11g is - you k11ow, is i11 accordance witlt ll'ltat their - who/ever /heir rules are.


[WCSD- PP]        Right.


PLAINTIFF         A11d also, / ...


[WCSD- PP]         You live hen! byJv111,·e(f?


PLAINTIFF         Na act11ally, 11Y!I/ rig/II 110w, yeah, b111 ... yeah, I 111ea11, lltere's s11pposed lo be somebody else movi11g i11, but yeah...


 [ WCSD- PP]      A11d you mm this house. orjust renting?


PLAINTIFF          Well yeah, I'm a co-oll'/ler of ii.


  ~ [l•JCSD- PP] IS SHOCKED THAT PLAINTIFF IS 0.-JNER OF PROPERTY IN SUCH l'l!IITE NEIGHBORHOQD :                                       »

 [WCSD- PP]        Oh.


 PLAINTIFF         So... so yeah, I mea111 guess thal'., basically the deal - and lo be ho11est wilh you, I'm sonJ' to have lo bring yo11 here, /'111 .m11y lo have lo 11m te )VJ/II' lime,
                   I know you guys probably have higher priorities, then lwving to deal ll'ith this s/11/.f. but... like I said, at /he same lime, I don'/ want lhe sit11atio11 lo gel
                   11v1:i-e,   and more complicale<I. by you know... Maybe somelhi11g else 11ext-lime happens, a11d so111elhing 11·01:i-e is dumped or somethi11g 11'01:re is cul qff /he

                   tree, and sluff like Iha/... and ..


 [WCSD- PP]        Ok - Well, 1'111 going lo go nexldoor a11d talk to /hem, ok?


 PLAINTIFF         Ok, I really apprecia/e !hat...




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                     Ok.


 [ PLA1NTIFI" STARTS vlALKING TOWARDS BACKDOOR .                  [WCSD-PP] STARTS \'11\LI<ING TO'II/\RDS GATE .             D


PLAINTIFF            Oh, actually, I should mention !liar 11111, [INAUDIBLE]. offer lo, i11 parricular, reganling 1hefe11ce, I mean, I got !he fence 1ake11 core cif. So, I'm 1101

                     really sure w/,o/ //re clco/ i,, J mean 1/rcy were ,,c,y-coopcrnlive cmd VCl)~J.-ie11clly, al lca.,t 1/,i, 11cig /1bor was ~ POTITI'S -,,.:r [JJB] RESID£t-.'CE il .

                     A11d [INAUDIBLE] . A11d like I said, I'm 11at accusi11g m1yo11e here.



 [WCSD- PP]          Ok ... Well, I [INAUDIBLE]



  [ PLAINTil"F OPENS BACKDOOR AND ENTERS INTO [HOUSE] .                      D
  [    [WCSD-PP] OPENS GATE AND WALKS TOI/ARDS [JJB} ' s FRONT-DOOR .                     »
  [ PL/UNTIFF WAS EXPECTING [l\'CSD-PP) TO REPORT BACK TO I'Ll\IN'l'IFI" AFTER TRYING TO CONTACT                                    [JJB] , BU'!' THIS DID NOT HAPPEN . D
  [ A E'E\>J M[NUTES U\TER, PLAINTIFF NOTICED [\·)CSD- PP] GET INTO HIS POLICE CAR AND DRIVE AWAY . TI




1307
After this incident with [WCSD-PP], the plaintiff was very-alarmed (and even more so, a decade later, after reviewing the audio) about the

manner in which [WCSD-PP] handled this incident (:>. ) ( ~) (a) :

01 .     [WCSD-PP] tried to convince the plaintiff that the material illegally-dumped onto the plaintiffs property (several times and in multiple

         places) might have been fertilizer, and not cat-litter. If the illegally-dumped material was "fertilizer" as [WCSD- PP] suggested, then, it

         would still be the crimes of "criminal mischief" (if not "illegal dumping"). Additionally, the plaintiff tried to explain to [WCSD-P P], that

         chemical fertilizer might be just as harmful (if not more) to the plaintiff and the plaintiffs property than cat-litter, since the plaintiff is an

         organic gardener that does not use any chemicals - neither pesticides nor synthetic/chemical fertilizer - o n [YARD].

02 .     [WCSD-PP] was apparently ve1y-quick to dismiss [WCSD-SP]'s "10 I% confidence" that the material was cat- litter. The plaintiff

         believes that the actual reason for [WCSD-PP] to deem the material as fertilizer - is that [WCSD-PP] did not want to do anything about

         the crimes being committed against the plaintiff, even though even if the material was fertilizer, that would not have changed the fact

         that the crimes still did occur.

03.      [WCSD-PP] told the plaintiff that the [WCDA] would not do anything if the illegally-dumped material was "fertilizer". Again, even if the

         material was "fertilizer", it would still be the crimes of "criminal mischief' (if not "illegal dumping"). So, the plaintiff can only interpret

         this statement as an act of, at the ve1y least, denial-of-services (redlining) and discrimination, but at worst, obsh·uction-of-justice

         (especially since such crin1es were racially-motivated hate-crimes).

04.      Just like [WCSD-SP], [WCSD-PP] suggested to the plaintiff that the multiple acts of illegal-dumping/criminal-mischief might have been

         an "accident" - when it would be clearly impossible to convince any Judge or Jmy that multiple dumpings of large-amounts (greater than

         5 pounds) of granular material over a 6-feet-tall-privacy-fence could be an accident - especially since most fertilizer-spreader equipment

         are designed to broadcast the granular material at a very-low height and in an even manner (so that the granules just disappear into the

         grass/soil) - and not dump large-amounts of it over a 6-feet-tall-privacy-fence.

05 .     Just like [WCSD-SP], [WCSD-PP] suggested to the plaintiff that the plaintiff should knock on the respective neighbor's door and ask

         them if they could be a little-bit more careful (if it was an "accident"), or tell them to stop doing it (if it was intentional). Again, no

         reasonable person in their right mind would approach and confront a hostile ne ighbor about a crime committed by that hostile neighbor -
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        and this is especially true if the victim is a historically-oppressed racial minority and the perpetrator was part of the dominant racial

        majority - even more so, if the crime is suspected to be a racially-motivated hate-crime.

06 .    [WCSD-PP] explained to the plaintiff that a person illegally-dumping large amounts of material over a 6-feet-tall-privacy-fence onto a

        neighbor's property is not "volatile", whereas someone throwing eggs at the house is "volatile". The plaintiff still, to this day, does not

        understand the logic behind this argument, because for one thing, in both cases - the acts are both intentional and malicious. Again, the

        plaintiff could only interpret these illogical arguments as excuses to cover-up [WCSD-PP] reluctance to do anything about the crimes

        being committed against the plaintiff.

07.     The plaintiff let [WCSD-PP] know that it was in fact, [WCSD-SP] that informed the plaintiff to call the [WCSO] back again if such

        crimes continued to happen - which was exactly what the plaintiff was trying to do in speaking to [WCSD-P P]. The plaintiff further

        informed [WCSD-SP] that if the plaintiff did not report these issues, and/or if no police at least minimally-investigated the issue, then the

        perpetrator would continue to commit crimes - and perhaps even escalate the severity of the crimes committed - against the plaintiff.

        Again, since [WCSD-PP] was initially reluctant to do anything about the crimes being committed, it took at least 5 minutes for the

        plaintiff to convince [WCSD-PP] that it was, indeed, part of his official duties to investigate such crimes. Only then did [WCSD-PP]

        agree to visit the plaintiff's property to try to investigate.

08 .    [WCSD-PP] - after arriving in his police vehicle at the plaintiff's property - first walks towards the [JSP&KAP]'s frontdoor, ostensibly

        to speak to [JSP] and/or [KAP] for a period of several minutes, and then (a few minutes later), to the next house down the street,

        ostensibly to speak to them. There was absolutely no justifiable reason for [WCSD-PP] to speak to [JSP] and/or [KAP], and the

        plaintiff's neighbors further down the street, [JH] and/or [SH], because these particular crimes committed against the plaintiff where

        happening along the side of the plaintiff's other next-door-neighbor [JJB]. The only reason that the plaintiff can ascerta in as to the reason

        [WCSD-PP] went to speak to these other White-American neighbors, is because [WCSD-PP] wanted to further-justify his (and

        [WCSD-SP]'s) extremely offensive and racist narrative, that if a person-of-color (especially immigrant-of-color) does not maintain

        his/her property according to the umeasonable/oppressive demands of his/her predatory White-American neighbors, then that somehow

        any hate-crimes committed against that person by those predatory White-American neighbors is somehow justified (see below).

        Furthermore, the plaintiff did not authorize [WCSD-PP] to provide any private information from the plaintiff (including about the crimes

         being committed against the plaintiff) to any other neighboring property-owners.

09.      After the plaintiff points to several locations of the plaintiff's property where material (dog-faeces, cat-litter) had been illegally-dumped -

         on at least 5 different occasions during this year {2011} - [WCSD-PP] brazenly shifts the topic to the way the plaintiff maintained the

         plaintiff's prope1ty. He claims that the plaintiff's [HOUSE] looks "abandoned". The plaintiff strongly disputes this claim, as grass that is

         parched/yellow in the plaintiff's [FRONTYARD] and maybe approximately IO-inches-tall and shaggy (Q) in the plaintiff's

         [BACKYARD] does not mean that the plaintiff's [HOUSE] is abandoned - especially if such private-property is intentionally/willfully

         being maintained in that manner - for example, according to Constitutionally-protected religious/cultural practice(s). [WCSD-PP] even

         mentions that the plaintiff's [FRONTYARD] bushes/trees looked "crazy" - however, the plaintiff failed to disclose to [WCSD-PP] that

         in the [Summerlyn) subdivision, there were no restrictive covenants that regulated the height/width/depth or shape of bushes/trees.

         (At this moment in time, even the [HOA] had never raised this particular issue to the plaintiff.)

 1 O.    [WCSD-PP], just like [WCSD-SP], asks if the plaintiff lives alone at the property - which again, according to the plaintiff, was private

         information that the plaintiff felt ve1y-uncomfortable answering. It might be an appropriate question if the police considered that as a

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           possible motives for the crimes being committed against the plaintiff, but it would clearly be highly-inappropriate if the police planned to

           use the information that the plaintiff was-living-alone against the plaintiff(as future incidents wou ld reveal- they did).

11.        [WCSD-PP] asks the plaintiff, if the plaintiff owns the property or if the plaintiff was renting the property - so as if to s uggest that a

           person of the plaintiffs racial-profile was somehow not-capable or not-worthy of owning property within such White neighborhood.

12.        [WCSD-PP) agrees to talk to [JJB], and while the plaintiff did observe [WCSD-PP) approach [JJB)'s front-door, it is completely 1mclear

           to the plaintiff whether [WCSD-P P] actually spoke to [JJB] or not, as [WCSD-PP] just drives-away in his police vehicle - a few

           minutes after this. Again, the plaintiff was, at the ve1y least, expecting [WCSD-PP] to report back to the plaintiff and explain to the

           plaintiff what he was able to do - and whether-or-not be was able to speak to [JJB] about the crimes committed against the plaintiff.

           This extremely-disrespectful action by [WCSD-PP] also continued-to-reveal [WCSD-PP]'s (and by extension, the [WCSO]'s) racist

           disregard for the p laintiffs rights as a victim of multiple racially-motivated hate-crimes.




<][30 8
On or about noontime on {2011-08-30} - approximately 4 weeks after the initial reported incident - the plaintiff called the [WCSO] to report to

them that the plaintiff was extremely-distressed about an extra-heavy-duty (12-gauge) 100-feet extension cord (valued at approximately $70)

stolen from [BACKYARD] - the same cable that the plaintiff was using for lawn-maintenance. The plaintiff knew that the perpetrator(s)

deliberately stole the cable from (BACKYARD] precisely because that was the extra-heavy-duty extension cord that the plaintiff needed to

power the corded-electric lawn equipment - to maintain the frontyard according to the restrictive covenants. The pla intiff purchases almost all

of the plaintiffs equipment from online stores - therefore, there is always a delay in shipping time (especially since the plaintiff ahnost always

uses the "Free Shipping" option). So, in other words, the perpetrators deliberately stole the cable that the plaintiff needed for lawn-maintenance

in an attempt to get the plaintiff cited by the [HOA] for an unmowed lawn. Also, the dollar-value of the item(s) stolen from the plaintiffs

backyard was not as much of a concern to the plaintiff, as the fact that someone was brazen enough to open the plaintiff's fence gate, enter

into the plaintiffs backyard, and steal the item(s) - without any fear of repercussions. In other words, the plaintiff was obviously concerned

that if the perpetrator(s) were bold enough to do this (perhaps, in addition to the other crimes that the plaintiff had ah'eady suffered), then what

else might the perpetrator(s) be capable of? The plaintiff also had no idea if the crime was committed during broad-daylight (for example, when

the plaintiff might not have been at home) or during nighttime (when the plaintiff was at home). Again, to be c lear, the plaintiff did not know

about [JJB]'s "credit card abuse" criminal charge at this moment in time. The plaintiff's call to the [WCSO] was dispatched again to [WCSD-

PP]:
 P     R!XXRlOl <llM!!RSATIQl(I-) J!ETlolEEII '!HE PLAINl'UT ~ TIEf- [IICSD-PPJ ,   (2011- 08- 30) (-)
 P     (   IIRIVAft URL LINK TO BE SUBKITrm IN DISOJYERr J


     ~ OVER THE      PHONE ~


  PLAINTIFF               Hello... This is Sid



     [WCSD- PP)            How you doing, si1: This is Depllly Parks.



  PLAINTIFF                Oh hey - I spoke to )'OIi yesterday, Deputy Pmh. My 110111e is Sid.



     (WCSD- PP]            Yes - Uh-lwh


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PLAINTIFF      Am I speaking wit!, t/re same Deputy Parks as yesterday?


[WCSD- PP]     Yes.


PLAINTIFF      Oft. ok. I 1m1tfd like to repmt I gue.,~ a mbbe1y. I guess, I mean - someone seems lo /rm•e entered lo my backyard and stolen an item of value - and
               possibly otlie,· ite ms as well. I'm d,ecking to sec wlrot else rniglit lwve f,ec11 stolen. Um, as of ,·iglrt now - l item seems to be, that I kuow of- seems to be

               stolen. Um, i.~ a Coleman Cable 02589 12-Gauge, /00-Foot Vinyl Outdoor ette11sio11 con/. Um, it'.~yellow in color and it'.~ valued at roug/rly $50. Um,

               so...



[WCSD- PP]     A II ertensio11 coirl?


PLAINTIFF      Rig/rt - it's a 12-gauge.


[WCSD- PP]     Where ll'OS the e,·tensio11 c011I?


PLAINTIFF



[WCSD-PP]       WHERE was tire exle11sio11 cord at?


PLAINTIFF       T/re e,·te11sio11 cord 1ms, urapped in a circle in the backyard. 11111, basically - almost visible a.~ soon a.1· I ope11 my hackdoor - it's immediately visible. Rig/rt
               in J,vnl ofmy lillle patio, yea/r, Iii/le patio area - it'.1· - it was rig/rt t/rere... Ami it 1ms used recently.


[WCSD- PPJ      Ok ...


PLAINTIFF      Aud I /rave re<vllectio11 of ii being rig/rt t/rere, 11111, and I /rave educated g11e.,1· m to w/re11 it mig/rt /rave been stolen, but...


 [WCSD-PP]      How do you know w/re11 it mig/rt have been s1ole11?


PLAINTIFF       U11le.~ it /rappened in !/re middle <?l t/re 11ig/r1, w/ric/r I really do11b1 - I 1/ri11k I ll'o11ld /rave /reard it, if ii /rappe11ed in 1/re middle of tire 11ig /r1. Um, but - I
                know... 11111, ll'/re11 I, 11111 - w/re11 l lefl //re /rouse, 011 one parlicular occasion, 11111, //ri.1· is my educated guess - I s/rould say - /'111 not JOO% .mre, obviously,
                t/ris is my educated guess - and so, I know !his /rappened - and in addition to !Iris /rappe11i11g, 1/ris coincides J g11e.,~ - /Iris mig/rl be coinciding wit!, //re ot/rer
                d11111pi11g w/ric/r J s/roll'ed you i11 Jiwrl-yard yeste11/ay. fl 111ig/rl /rave coincided wit/r t/ra/ - l don'/ know t/rat for afacl bu/ that's my educated guess.


 [ WCSD- PP]    Ok, Well, you said it'.1· a 100--fool cable, yellow in ca/or and costs $50?


PLAINTIFF       Thal'.t co,rect.


 [WCSD- PP]     Ok, Well, I'll take a - I'll do a rep01t, and I INDECIPHERABLE) .


 PLAINTIFF      Um - Ok. ls there anything I gne.tr, 11111. I should be doing - J mean, 11111, besides...


 [WCSD-PP]      Lock your gate maybe, put a lock 011 your gate? I don'/ knoll'.. Put [ INDECIPHERABLE] 011 tire inside ,!f your garage...


 PLAINTIFF      Lock 011 the- 011 the fence gate? 011 the fence gate- you meo11?


 [WCSD- PP]      Yea/r - tire gale //rat goes into your backyard - put a lock mr ii. And 1/re11 eve1ythi11g that you /rave laying 0 11/ in tire backyard, I 1.-011/d put it inside my

                gamge.

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PLAINTIFF          Rig/ti - I've already done - basically tried to do that. Um .. or at least, yeah I've tried lo do that right now. I 111ea11, obviously, it'.\" too late, for that
                   pm1ic11lar item, ii'., too late, /mt.. 11111, be.l'ides that you're saying a lock 011 the backyanlfe11ce - a11d is there a11ytlti11g else I can do, be.l'ides that? And
                   besides pulling my stuff i11 the garage - ll'hat else ca11 I?


 [WCSD- PP)        I ,,/ready to ld you y,·.,te1Ylny. You ca11 put cm11ems up - lock t/te g ate t/tat go c.• i1110 your l>ackyanl. Um, I mecm I do11't k11ow w/uu else fo fell you.



PLAINTIFF          Rig/11, ok - so, beyond that, that should be ok. All the advise. Alright, il'e /1- besides the report, is there a11ytlri11g else that can be do11e? I guess...


 (WCSD- PP]        No - No sir. I don't k11ow ll'hat else call be do11e. l '111j11st going to 11rile a report. Send it 11p lo a Detec/il•e.


PLAINTIFF          I see - ok, a11d 11111, ll'ltat I be able to - 11111, gel i11 co11tacl...


 [WCSD- PP]        Tirey ,,.ill probably co11/ac/ you - sometime next \\'eek...


 PLAINTIFF         I see - 11111... I see - 11111... ok. so, he'll cm1/ac/ me sometime next \\'eek, I guess. Ok, 11111 - is there a11ytlti11g else, I can do - I mean I know yo11 already -


 [WCSD- PP]        No, I do11't know ll'hat else to tell )'OIi - I don't k11ow 11'1,a/ else you ca11 do - All I can do is take a report - a11d /11111 ii ill. A Detective might be i11 co11tact
                    11·ith you 11exl week. (f I \\'ere you, I 11rmld lock the gate - and put all [INDECIPHERABLE) i11 tire garage.


 PLAINTIFF         Right - right. I 111ule1~·taml that. Right I 1111dema11d. Um, ok - I g11es.,, 11111... right, I'm just hy iug to calc11late all nip options and see if there'., m111t/ri11g el\"e
                    that ca11 be do11e - I 111ea11 just hying to braiustmm here. I guess, 11111... yeah, I guess that'., lite best ll'e l'llll do here - tlre11, I appreciale your time agai11.
                    Um, a11d ...


                    Ok...


 PLAINTIFF          A11dj11st to co11f)1111 - so, you're sayi11g someo11e ll'ill co11/act me - a detective will coll/act me sometime - is it tire e11d of this m,ek m: ..


 [WCSD- PP)         Possib~J' they might - I mea11, I ca11'1 tell you ll'he11 - c/011'/ k11ow when.


 PLAINTIFF          I see - but, just curiously - Isn't this something oJ: that .,lwulc/ /,e of concem though - I mean um... 11m..•


  ~ PLAINTIFF NOTICED THAT [~JCSD--PP) ENDED THE PHONECALL IN THE MIDDLE OF PLAINTIFF ' S PREVIOUS STATEMEN'r .                                                   lJ
  K PLAINTIFF \·/AS INDIGNAN1' AT [WCSD-PPl ' DISREGARD/UNPROFESSIONi\LISM , BUT STILL DECIDED TO CALL [WCSOJ DISPATCH AGAIN . lJ




1309
The plaintiff was indignant in the manner in which [WCSD-PP] treated the plaintiff - completely disregarding the plaintiffs concern and the

magnitude of the numerous crime(s) being committed against the plaintiff, unprofessionally ending the phone-call w ith the plaintiff, in the

middle of the plaintiffs sentence, as the plaintiff was questioning [WCSD-PP]' lack-of-concern over the issue of numerous racially-motivated

hate-crimes committed against the plaintiff. (>..) (               <) (A) .


1310
On or about noon on {2011-08-30} - approximately 4 weeks after the initial reported incident - the plaintiff called the plaintiffs older brother,

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[PK], on the phone and asked (PK] to visit the plaintiff at the plaintiffs property. ([PK] was never an owner of the plaintiffs property

[788KLLTX7864 l] and [PK] was never a resident of the plaintiffs property [788KLLTX7864 l ]; in fact, [PK] was never a staying guest at

the plaintiff's property (788KLLTX7864 l].) [PK] was living in Austin at that moment in time (despite also owning additional property within

the County of Williamson), and was/is approximately 7 years older than the plaintiff. [PK] was/is approximately 5-inches taller than the

plaintiff, and unlike the plaintiff, conforms his physical-appearance to White-American standards by, for example, cutting his facial-hair/beard

and/or maintaining his grooming according to White-American standards. On or about the date and approximate time {2011-08-30 15:30},

(PK] parks his vehicle at the curbside of the street and enters into the plaintiff's [HOUSE] through the [BACKDOOR] - as the plaintiff had

instmcted [PK] that the plaintiff wished to talk to [PK] in private without any of the malicious neighbors overhearing such private conversation,

in which the plaintiff would reveal all of the crin1es committed against the plaintiff by such malicious neighbors to [PK]. Although distraught

and literally crying (in tears), the plaintiff briefly describes to (PK], in person, all of the traumatizing crimes that had been committed against

the plaintiff over the past 2 years of the plaintiff living at the plaintiff's residence, which [PK] was previously completely-unaware-of. After the

plaintiff's pouring of the plaintiffs heart out to [PK] - in revealing such traumatizing experiences to [PK] - the plaintiff asked [PK] to install a

security camera system on the plaintiff's property and also asked [PK] to install a lock on the fence gate of the plaintiff's property. [PK]

specifically asked the plaintiff if the plaintiff had reported to the police the multiple incidents of the plaintiffs predat01y/malicious neighbor

[RSR] committing the crimes of intimidation/ interference/disorderly-conduct/blackmail against the plaintiff, and the plaintiff infonned [PK] that

the plaintiff did let the police-officers know about these incidents. However, since the plaintiff informed [PK] that the police officers did not do

anything about these crimes, (PK] became indignant, and despite the plaintiff's literally beggiJ1g [PK] not to approach [RSR] at her residence -

even grabbing onto [PK]'s shirt prior to his leaving the [HOUSE] - [PK] indignantly walked-out of the plaintiffs [HOUSE], and started walking

in the direction of [RSR]'s residence. [PK] - a headstrong-and-thickheaded Democrat that, unlike the plaintiff, proudly and publicly identifies

w ith the Democratic Party - is clearly too headstrong-and-thickheaded to not even be willing to follow former First-Lady-Michelle-Obama's

highly-popularized statement and common-sense advice:

         "... when someone is cruel or acts like a bully, you don't stoop lo their level. No, 0 111· motto is, when they go low, we go high." ( @ ) .

(The plaintiff has the entire aforementioned dialogue between the plaintiff and [PK] also recorded in an audio-recording.) Through the front-

window of the front-room of [HOUSE], the plaintiff noticed [PK] approach [RSR]'s front-door, and approximately a minute later, walk away

from [RSR]'s front-door towards his vehicle parked curbside at the plaintiff's property. The plaintiff then saw [PK] enter into his vehicle

(parked at the curbside in front of the plaintiff's property) and drive away in such vehicle. On or about the time of {2011-08-30 16: 15},

approximately 30 minutes after [PK] drove away from the curbside in his vehicle, the plaintiff noticed a [WCLE] police car abruptly arrive and

 park at the curbside in front of [HOUSE]. The plaintiff noticed the same [WCSD] - [WCSD-PP] - step out of such vehicle and approach the

 plaintiff's [FRONTDOOR]:
  •      IU!ICXREl <XM'ERSAT'.Ial(r) lllmlEEN THE PIADn'IFF AM> THl!N- ["IICSD-PP) ,   (2011-08- 30 16: 15) (~)
  •      I l'IUVME URL LIN!( TO BE SOllMITIED IN DISOOIIERY )

      K [\•ICSD-PPJ GE:TS OUT OF THE VEHICLE AND BAt'lGS VIOLENTLY ON THE [FRONTDOOR] . D I[ PLi\JNTIFF OPENS '!'Hr:: [FRONTOOOR] . D


      [WCSD- l?P]




  PLAINTIFF                  Hey.


      [WCSD- PP)             OK. LET ME EXPLAIN SOMETHING TO YOU, OK?!




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PLAINTIFF           Sure.


[WCSO- PPJ          YOU DO NOT GO TO OTHER PEOPLE'S PROPERTY! -


PLAINTIFF           Um, I'm so11y - I did 110/ go 011/0 a11otl,er perso11's prope11y!


[WCSO- PPJ          YOU DIDN'T GO TO THAT HOUSE OVER THERE AND CUSS OUT A KID?! ... A FOURTEEN-YEAR-OLD?!


PLAINTIFF           I dic/11'1 do it! No, my brother was /,ere, a11d l,e we11/ over there a11d did //,at! I didn't do //,at!


[WCSO-PPJ           WHEN?! ... WHERE'S YOUR BROTHER?!


PLAINTIFF           My b,vtl,erjust left! Um, I did11'1 do that - sir!


[WCSO- PPJ          WHERE IS YOUR BROTHER?!


PLAINTIFF          11111, my b,vtl,er is go11e to, 11111•••




[WCSD-PP]           CALL HIM! CALL HIM AND TELL 1-1/M TO COME BACK HER£!


PLAINTIFF          Ok - I can do that. I didn't do that!
 [[ [WCSD-PP) UNLAWFULLY DETAINS PLAINTIFF EVEN THOUGH HE KNOWS PLAINTIFF IS INNOCENT OF ANY- AND- ALL CRIME :                                      ii
[WCSD- PPJ          LEAVE THE DOOR OPEN!- CALL HIM AND TELL HIM TO GET BACK HERE!
 ff PLAINTIFF l'lALKS DEEPER INTO [HOUSE] TO P I CKUP PHONE IN-ORDER-TO CALL [ PK) . ii
[WCSO- PPJ         SO, YOU DIDN'T GO OVER THERE AT ALL?!


PLAINTIFF           No. Sir!

 [[ [WCSD-PP) CONTINUES TO UNLAWFULLY DETAIN PLAINTIFF EVEN THOUGH HE I<NO.~S PLAINTIFF IS INNOCENT OF ANY-AND-ALL CRIME :                               ii
[WCSO- PP]         OK - COM£ STAND OUT HERE! - STAND RIGHT HER£! ~ POINTS TO THE FRONTYARD - IN FRONT OF BUSHES ii !

 [[ PLAINTIFF WALKS T0'1vARDS THE AREA POINTED-TO BY [l'/CSD-PP] .                         ii
[WCSO- PP]         HOLD ON! HOLD ON ON£ SECOND!                       n STARTS RUNNING TO [RSR) AND HER IARGE- TEENAGE SON , [BR) , ACROSS THE STREET ii

 [[ PLAINTIFF TIMIDLY TURNS AROUND AND WALKS TO [FRONTPORCH) .                             iJ


(WCSD- PPJ           [[ TALKS 'l'O [BR]         ii IS THIS THE GUY?! [[ POINTS AT 'r!IE PLAINTIFF ii SID- COME OUT HERE FOR ME! ~ POINTS IN FRONT
                    OF BUSHES ~ .



 0C   PLAINTIFF TURNS AROUND - AND l'IALKS IN FRONT OF BUSHES ii



[BR]                 [[ TALKS TO [WCSD-PP)               ii    [INAUDIBLE]



[WCSD- PPJ          [[ TO [BR] :       iJ OH, HIS BROTHER? OK. [[ l·/ALKS BACK ID·lARDS PLAINTIFF, WHILE YELLING AT THE PLAINTIFF : ii CALL HIM
                   ON TH£ PHONE!


[WCSO- PP]          IVHY DID- WHY DID YOUR BROTHER HAVE A PROBLEM IV/TH THEM?!


PLAINTIFF          Qi,, because she - I was going to tell you this yestenlay - She /,ad come over here - sir, I can tell )'OIi the entire .,·tmy-


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[WCSD- PP]    SHE CAME OVER HERE AND ASKED YOU TO CUT YOUR YARD AND YOUR GRASS AND TRIM YOUR BUSHES BECAUSE TT LOOKS llKE
              SHif!


PLAINTIFF     Well, 11·ell-


[WCSD- PP]    YOU MAKE THE WHOLE NEIGHBORHOOD- THE WHOLE NEIGHBORHOOD LOOKS GOOD - AND YOUR YARD LOOKS LIKE SHIT!


PLAINTIFF     No, Sir! A c/11olly -


[WCSD- PP]    AND ALL YOUR NEIGHBORS ARE TIRED OF IT! ALL YOUR NEIGHBORS HAVE EVEN TOLD ME - THAT THEY'RE WILLING TO COME OVER
              HERE AND HELP YOU AND TRIM YOUR BUSHES FOR YOU-AND CUT YOUR GRASS- DO YOU UNDERSTAND THAT?!


PLAINTIFF     Oh - Oh - I did11'1 .. they did11'1..


[WCSD- PP]    EXPLAIN TO YOUR BROTHER T/-IAT IT DOESN'T GIVE HIM A RIGHT - TO GO OVER THERE AND CUSS OUT A FOURTEEN-YEAR-OLD BOY!


PLAINTIFF     I did 1101 tell him to do that!


[WCSD- PP]    OK. WELL THAT'S WHY YOU NEED TO GET HIM ON THE PHONE AND TELL HIM TO GET HERE NOW!


PLAINTIFF     I - I'm... I'm-


[WCSD- PP]    WHERE DOES HE LIVE?!


PLAINTIFF     He lives in - /-le lives 11111 - He lives about, 11111 - He lives i11 a - He livesjust close-by-here, I mea11 abo11/-


[WCSD- PP]    WHERE?!


PLAINTIFF     Um... i11 the Cedar Park area.


[WCSD- PP]     OK! WELL CALL HIM AND TELL HIM TO GET HERE!


PLAINTIFF     Right, he mighl 1101 be !here 110w, but I ca11, I can, I can leave a- I gue.,r, I can-


[WCSD- PP]     WELL. HE NEEDS TO COME BA CK HERE!


PLAINTIFF      Right...


 [WCSD- PP]   AND THIS RIGHT HE/lE 0C VIOLENTLY SLAMS A DOCUMENT ONTO THE PLAINTIFF ' S [ FRONTPORCH] WALL WHICH THE PLAINTIFF
               CONSIDERS TO BE Vl'INOALISM AGAINST THE PLAINTIFF'S PROPERTY j                                 - THIS/SACRlMINALTRFSPASSWA/lNJNG-OK?! WHJCH
               MFA/VS THAT IF YOU STEP-FOOT ON THAT PROPERTY! - ONE FOOT COMES AND TOUCHES THEfil GRASS!...


PLAINTIFF      Right...


 [WCSD- PP]    YOU GO TO JAIL!


PLAINTIFF      Well, I did11'1, I didn't go over there!


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[WCSD- PP)    I DON'T CAREi


PLAINTIFF     I didn'I go mw !here!


[WCSD- PP)    I DON'T CARE - THEY DON'T WANT YOU OVER THERE, EITHER! OK?!


PLAINTIFF     Well, I've never gone !here!


[WCSD-PP)     OK - THAT'S FINE, BUT IF YOU DO GO OVE/1 THERE - YOU GOTO JAIL!


PLAINTIFF     Bui, lei me [INAUDIBLE]


[WCSD-PP)     YOU DON'T NEED TO EXPLAIN ANYTHING! - l'M GOING TO DO THE EXPLAINING, OK?! THIS! THIS IS HOW IT WORKS! THEY DON'T WANT
              YOU ON YOUR PROPERTY BECAUSE- YOUR BROTHER WENT THERE AND CUSSED OUT THEIR 14-l'EAR OLD SON!


PLAINTIFF     I under- ... B111 lhey've beeu... I did11'1 ask him lo do //,a/!


[WCSD-PP)     YOUR BROT-1 DON'T CARE! BUT THEY DON'T WANT ANYONE FROM THIS HOUSE OVER ON THE/II PROPERTY! DO YOU UNDERSTAND
              THAT!!IF YOU STEP A FOOT ON THAT PROPERTY- YOU GOTO JAIL!


PLAINTIFF     Righi ... I 11ndersland 1/,a/!


[WC:SD- PP)   AND YOU CAN GOTO JAIL FOR UP TO A /80 DAYS! OR A $2000 FINE OR BOTH!


PLAINTIFF     I undersland Iha! ... I 1111demand Iha! ... I 1111de1~·1and Iha!, Sir!


[WC:SD- PP)   OK, I NEED YOUR SIGNATURE filGHT THERE!


PLAINTIFF     8111 il's 1101 me Iha/ did Iha//-


[WC:SO- PP)   I DON'TCA/1E! I NEED YOUR SIGNATURE 11/GHT HERE SAYING YOU UNDERSTAND - IF YOU GO OVER THERE, YOU GOTO.JAIL. THAT'S
              ALL IT IS - A PIECE OF PAPER, SA YJNG, I UNDERSTAND IF I GO OVER THERE - I GOTO .JAIL.


PLAINTIFF      rr FRANTICALLY LCX)KS AT TIIE LEGAL OOCUMENT THAT [\'ICSD-PP] IS FORCIMG PLAINTIFF TO SIGN . D                                          rr CRIES IN
              DESPERATION :       D Bui I didn'I do any1hi11g!


[WCSD- PP)    I DON'T CARE! THEY DON'T WANT YOU OVER THERE!


PLAINTIFF     Sir, b111 /hey came over lo my house as ll'ell! I mean-


[WC:SD- PP)   AND THEY KNOCKED ON THE DOOR AND THEY PROBABLY SAID, CAN I, CAN WE CUT YOUR GRASS. BECA USE IT'S GETTING OUT OF
              CONTROL!


PLAINTIFF     No, No, No! T!tey said - "if)'OII ,folll' gel tftis do11e - I'm goi11g to make sure tftat )'Oll're tlm111Y1 011/ofthi.v fto11se!" Um, 1lw1's whal she - I 11m going

              lo - I told-


[WC:SD- PP)   SO, YOUR BROTHER WENT OVER THERE AND ACTED LIKE AN ASS FOR NO REASON/


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PLAINTIFF          No, No, No! I told tl,e {HOA) about tl,is, and tl,e {f-lOA] told me to gel o restraining order against tl,em! They told me to get o - sir! Tl,is l,appened in
                   2010-


[WCSO- PP)         OK, WELL Tf-lEN HERE - THEN, YOU NEED TO SIGN Tf-1/S!


PLAINTIFF          No, No - how come, /,ow come it doesn't war/r the other way! She came over here am/ sire said, sire 11Y1s-


[WCSD-PP)          THEY CAN, THEY WON'T COME OVER f-lERE - f'M GOJNG TO EXPLAIN TO T/-IEM THAT Tf-/EY CANNOT COME OVER HERE EITHER.


PLAINTIFF          01,, Ok - so, are tl,ey going to sign one of tl,ese?



[WCSO- PP)         YES, I'LL GET THEM TO DO ONE TOO.


PLAINTIFF          I really appreciate //,at-


[WCSD-PP)          SO, SIGN!


PLAINTIFF          -Sir, I'll sign it if tl,ey're-
 OC   [WCSD-PP] FRAUDULENTLY STATES THAT HE \·JILL GET [RSR) TO SIGN A [CTI·/] AGAINST PLAIN'l'IFF ' S PROPERTY BUT THIS NEVER HAPPEN8D:

»
[WCSO- PP)         NO. YOU CAN SIGN IT RIGHT NOW! AND I CAN GO GET ANOTHER PIECE OF PAPER, AND /'LL GO GET THEM TO SIGN ONE.


PLAINTIFF          I 1111derslt111d ... but-


[WCSD-PP)          BUTNOT/-1/NG!HERE! ~ HANDS PLAINTIFF A P8N TO SIGN NITH . D


PLAINTIFF          Rigl,t. Si10


[WCSO- PP)         YOU IV/LL GET A COPY OF TJ-IJS - I IV/LL HAVE COPY OF TJ-1/S - THE SHERIFF'S OFFICE WILL HAVE A COPY - AND Tf-lEY WILL HAVE A
                   COPY.


PLAINTIFF          I understand ... Right ...


[WCSD- PP)         OK - l'OUR SIGNATURE NEEDS TO GO RIG/-IT Tf-lERE!


PLAINTIFF          B111-


[WCSD- PP)         IT SAYS IT ALL R/Gf-lT HERE! ... THIS IS THE EFFECTIVE DATE! THIS EFFECTIVE DATE!


PLAINTIFF          I n•am't tl,e one tl,at did tl,e-


[WCSD-PP)          DOESN'T MATTER- IT SA l'ING - IT'SA C//IMINAL TRESPASS WARNING. IT'S SAYING IF YOU DO GO OVER THERE, YOU ARE TRESPASSING
                   -AND YOU IV/LL GOTO.JAIL/SO, AS LONG AS YOU DON'T GO OVER THERE, YOU'RE FINE. THIS IS JUSTA PIECE OF PAPER.


PLAINTIFF           ~ READS AND MUMBLES S0..'IE OF THE TEXT OF THE [C1'\'/] DOCUMEl'IT .                    D ... Yeah, I've never ll'C!III over //,ere.


[WCSD- PP)         OK. SO THEN YOU CAN SIGN IT. AND YOU'LL BE OK - AS LONG AS YOU DON'T GO OVER THERE.


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PLAINTIFF     Right... but I jmt 11'(/U/ to make sure, that's, that i.1· the case, because-


[WCSD- PP]    THAT IS Tf-lE CASE! AND f'M A /-/AVE THEM DO 1'l-lE SAME Tli/NG! SAYING THEY CANNOT COME TO T/-1/S PROPERTY.


PLAINTIFF     Right... because I j ust wa11t to make sure that, basically, yeah, I, I, I, I'll go ahead 011d sig11 it sir - but, I just 1m11/ to e171lai11 //w/, the sillwtio11 is they
              amu: over here. bu/, basically - the situation is that they came over here - um, over - over lo my house-



[WCSD- PP]    YOU UNDERSTAND WHY, Tf-lOUG/-1?!


PLAINTIFF     Oh, I, I, I-


[WCSD- PP]    CAUSE YOUR YARD LOOKS LIKE S/-1/T! AND IT LOOKS LIKE THIS HOUSE IS ABANDONED.


PLAINTIFF     Sir! ... Sir - 110, 110/, 110/-


[WCSD- PP]    LOOK YOU /-/AVE, LOOK YOU /-IA VE CIU P All OVER l'OUR FRONT! ALRIGHT.


PLAINTIFF     I, but they- ...


[WCSD- PP]    YOUR BUSHES- ARE JUST OUT OF CONTROL! YESTERDAY, YOU f-lAD PAPERS All OVER l'OUR DRIVEWA YI


PLAINTIFF     That 11•aw,'t mi11e!


[WCSD- PP]    YOUR BA CKYARD LOOKS LIKE A DAMN FARM!


PLAINTIFF     But, that 1ms11'/ mine, Sir!


['WCSD- PP]   AND IT'S NOT. AND IT'S NOT YOUR - IT'S NOT GROWING THAT STUFF BACK THERE - THOSE ARE All WEEDS THAT ARE GROWING-


PLAINTIFF     Right, emct/y! - I'm flJ1i11g to-


[WCSD- PP]    AND IT LOOKS RIDICULOUS! YOU SAID THAT YOU'RE GROWING, YOU'RE NOT CUTTING - OR WATERING THE BACKYARD, CA USE YOU
              WANT THE GRASS TO DIE, WELL, IT LOOKS I-IORRJBLE.


PLAINTIFF     Well, the thing is-


[WCSD-PP]     WELL, THAT'S WHY PEOPLE THINK THIS HOUSE LOOKS LIKE IT'S ABANDONED - NOBODY LIVES HERE!


PLAINTIFF     Well, sir - 110, actually, 110! To be honest with-


[WCSD- PP]    SO, I NEED l'OU NEED YOU SIGN THIS, RIGHTTl·/ERE! AND THEN, I Will GO OVER THERE! YOU CALL BROTHER AND TELL HIM TO GET
              BACK HERE!


PLAINTIFF     Ok, so, /just \\'ant to make .wre that [INAUDIBLE]


['WCSD- PP]   YES! AND YOU Will GET A COPY OF IT! I NEED YOUR SIGNATURE RIGHT THERE!


PLAINTIFF

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                   Can I - [INAUDIBLE]


[WCSD- PP)         I GO HOME IN 20 MINUTES! SO. I IVANT YOU TO SIGN IT! SO, I CAN GO OVER THEf1E AND HANDLE THAT-AND l'OU CAN CALL l'OUR
                   BROTl1Ef1 AND GET HIS ASS HER E! AND THEN, HE CAN SIGN ONE!


PLA:INTIFF         ok - ~ CONTINUES TO REI\D/RE-READ THE [CT'fl\ OOCUMENT j\                             ~ MUMBLES SOME, OF THE TEXT OF THE [CT<tl\ 00:::UMENT il



[WCSO- PP]         OK - CAN YOU, JUST SIGN IT!


PI.JUNTIFF          « CONTINUES TO READ/RE-READ THE [CTW) DOCUMENT j) « MUMBLES SOME OF THE TEXT OF THE [CT\'JJ OOCUMENT j)

[WCSD- PP)         YOU'RE, YOU'RE NOT GE7TING IN TROUBLE FOR NOTHIN - IT'S JUST SA YING, IF YOU GO OVER THERE, YOU Will GET IN TROUBLE.
                   ntEY'RE GOING TO SIGN THE SAME THING.


PI.JUNTIFF         And lllar'.r Ille same rlli11g 011 Ille back?


[WCSD-PP)          YEAH - EVERYTHING JS THE SAME THING. YOU Will GET A COPI'-


PI.JUNTIFF         Sir, does rl,is even apply ro people who have 1101, ll'llo did11'1 even go /here? 11·ha1 lo. I-


[WCSD-PP)          YES, BECAUSE THEY DON'T WANT YOU ON THEIR PROPERTY! l'ES, BECAUSE THEY ARE AFRAID OF PEOPLE AT THIS RESIDENCE!
                   CA USE YOUR BROTHER WENT OVER THERE AND ACTED LIKE AN ASS TO A 14-YEAR-OLD. SO, I NEED YOUR SIGNATURE RIGHT THERE!
                   ... NO. THAT'S NOT HIM - SO. JUST SIGN IT SO. I CAN GO OVER THERE AND...


PLAINTIFF          Ok...   « CONTINUES TO READ/RE-READ [CT\·/] DOCUNENT j)

[WCSD- PP)         l'OU'RE NOT ADMJTTING TO BEING GUILTY OF ANYTHJNG! THIS IS JUST SA l'ING. I PROMISE - SID KODD - THAT I Will NOT GO INTO
                   THAT HOUSE! THAT'S All IT IS! I PROMISE I WON'T GO OVER THERE!


PLAINTIFF          Rigllr...


[WCSD- PP)         AND I NEED YOU TO SIGN IT!


PI.JUNTIFF          a STILL HESITANT TO SIGN SOMETIIING THAT WAS CCX'1.PLETELY UNWARRANTED . NOTICES [JSP] ' S PICKUP-TRUCK DRII/E AND
                   PARK AT [JSP] ' S RESIDENCE DRIVEi'IAY . j) Can I ... ?                 a l\PPROACHES [JSP) TO CONSULT WITH HIM ABOUT THIS ISSUE . j) Joe?

[WCSO-PP)           IVHY?! IVHAT DOES HE HAVE TO DO WITH ANYTHING?!


 « [JSP] APPROACHES TllE PIJ\INTIFF ENTERING THE PLAINTIFF ' S PROPERTY AFTER BEING CALLED ON BY TIIE PLI\INTIFF. j)
 ~ PLI\IN'l'Il"F MOVES 'l'0\•11\RDS THE EDGE OF THE [DRIVEWAY) TO SPE:I\K l'/I'l'fl (JSP] . j)

 a PLAINTIFF STARTS TO QUESTION [JSP] IF (JSP] HAD ANY ISSUES IN THE WAY PLAINTIFF MAINTAINED [YARD] . j)
 ~ PLAINTIFF WAS STRONGLY UNWILLING TO SIGN THE UNWARRANTED [CT\'!) . ~

 ~ SO THE PLAINTIFF TRIED TO DO ANYTHING TO STALL OR CANCEL THE [CTI•/] . j)



PLAINTIFF           0C   'TO [JSPJ j) Well, l1m111/ok110111ifyo11, [INAUDIBLE] llleyord.


[WCSO- PP)



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              [INAUDIBLE) Tf-llRD PARTY. HE PROBABLY T/-IINKS THAT YOUR YARD LOOKS LIKE SHIT TOO, JUST LIKE THE REST OF Tl-IE

              NEIG/-IBORNOOD!


PLAINTIFF      K TO [JSP) : D , Si,: [ INAUDIBLE) . / have 1101 ll'atered the yard, beco11sefi1~·t -of-all, there'.1· a drought - stage 4 drought. I just ll'anted to k11ow !f
              ;vu lmd a serious problem ll'ith !he yatY/, !hey 11~y il'.s... / t,y to keep ii cul, I It)' lo 111ai11lain ii. I It)' my bes/ lo gel ii 11111-


[JSP]         Yeah. .. You do gel a lo/ of 11r:ed1· i11 my yard, bu/ you k11nll', 111ta1 are ;vu goi11g In do. ll'hnt ca11 you do about ii...


PLAINTIFF      K 'fO [JSPJ : ~ Sn, Ok. Oh..,a-


[WCSD- PP]    AND ALSO GETS INSECTS INFESTED IN TI-IEIR YARD.


[JSPJ         lots of I11secls, I spray a Inf-


[WCSD-PP]     LOTS OF SPIDERS. LOTS OF FLEAS.


PLAINTIFF     I ca11, I ca11 do a, I ca11 can/boon / !hat elllit-e m-ea up - so 1/wl 1he1-e'.1·, ii doesn't even gmw back there. I       ,w, can/board tltal area up. (n) . So, basically its
              jusl goi11g lo be cmrlboattl placed 011 the,-e, and the11 11othi11g ll'ill be-


[ JSP]        Bugs will get 1111der the1-e 111,111.


[WCSD- PP]    Why do11t' yn11j11s/ get a rake - and rake up all !he dead gra.~, that'., back !here - so thal there'., no gmss.


PLAI.N TIFF   I COIi-


[WCSD-PP]     Tltat'.1· what you're hying to do a11;~mys...


PLAINTIFF     flight, right but aclual/y, if you pul cardboard, the gm~, ,rill <lie...


[WCSD- PP]    The gmss is dead I ll'e11t back lhe1-e yesterday. Remember, you look me back there?


PLAINTIFF     flight. I 1111dersta11d. I 1111de1:stand.


[WCSD- PP]    So, get a mke, rmdjust rake it up!


PLAINTIFF     So, bu/ besides !hat - it's 1101 /ike a setious problem, I mean if I gel !hat lake11 care of. you lhiuk !hat !he yard othe,wise - I 111ea11, 11111. The thing is, like I
              said. I'm 1101-


[JSPJ         Sid. you're a yo1111g 111011 - JYm ca11 [ INAUDIBLE) .


              LOOK AT li/S YARD - LOOK AT /-IOW NICE AND BUSHES ARE TRIMMED... LOOK AT YOUR BUSHES!


[JSPJ         A11d I 11'0/k 12 lo 13 hours a dcu,.


PLAINTIFF     Righi, Right, flight. I ,mdm·tand that-


[WCSD-PP]



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                     Tl,at'.<wl,y all your neigl,bors are... You know 111,a/, I g11am111ee - if you 111?1-e 10 /rim //,ese bushes aud make em look good - evet)'body 11rmld leave you
                     ololl(:f


PLAINTIFF            Right...


(J'SPJ               J .., J .. said /re'd do it fm·ji-ee t/roug/r.



[llCSO- PP]          Righi, the neighbor 11e\"I door- I lalked to him yesteirlay.


[ JSP)               Yes .,ir.


PLAINTIFF            Rig/,/... Really?


[WCSO- PP)           He eve11 asked me, l,e sail/, "Ca11 I eveu go over //,ere aud do ii witlm111 you k11owi11g." Well. I .wit/, I 11'011ld11'1 because l,e migl,1 freak-011/ aud lly to file
                     cl,arges that you damaged /,is trees.


 0C PLAINTIFF DUE TO RELIGIOUS/CULTURJ\L BELIEFS/VALUES,                               ~17\S STRONGLY-OPPOSED TO THE CU'ITING OF BUSHES/TREES D

 0C   BUT PLAINTH'F , UNDER DURESS, WOULD CCT-1~ROMISE SUCH RELIGIOUS/CULTURAL BELIEFS/VALUES TO AVOID SUCH [C'fW)                                                 B


PLAINTIFF            01,, Ok. No, 110, 110 - J'OII know what - I dou't mind him doing that - I mea11, I do11'1 miud him doing //,a/. I do11'1 mind him doing Iha/ r,1 all


[JSP)                Ok.


[WCSO- PP)           Now, you 1111ders/011d, you just said that in j i·onl ofme - so, when he comes aud does //,a/, JVJII can1101 call the Sheriffs office and say, someone bmke J'0111·
                     limbs ofJ'0/11' bushes and II)' lo file a repm1.


PLAINTIFF            Well...


[WCSO- PP)           like yo11'm d(lillg will, the kiuy-liller. and the dog-poop.


PLAINTIFF            Well, rhe 1M11g obour //re killJ~litrer. 11-ell, 11,e killJ~liUer-
g (l·;csD-PP) AIA'IITS FOR FIRST TIME, THAT [JJB] HAD C0.'1-HTTED RACIALLY-MOTIVATED CRIMINI\L-MISCHIEF/ILLEGJ\L-DUMPING CRIME:,
AGAINST PLAINTIFF : }



[llCSO- PP]          I k110111 ll'lto's 1/oi11g tfte kitty-litter! / '1'1? already talked to fter about it!


PLAINTIFF            01,, she'.1· 110/ doing it? Oh, ok.


[WCSO- PP]           Well, she said she didn't t/1) ii. B111...


[ JSP]               I don't have a cal.


[WCSO- PP]           Yeah - No, ii'.< 011 /,er side. Over the.fence.


 0C BY "IT " ,   [\·lCSD-PPJ IS REFERRING TO [JJB] ' SLITTER-BOX THAT WAS USED AS HER WEAPON OF CRIMINAL-MISCHIEF/ILLEGAL- DUMPING . D



PLAINTIFF            Right, right, right...



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1£ AMAZINGLY,   [JSP] /\DMITS TO HIS KNO\•/LEDGE OF [JJB] ' S VANDALISM OF PLAINTIFF ' S PROPERTY, SIGNIFYING THAT THE- D

1£ -CRIMINAL-CONSPIRACY , RI\CKETF.ERING-El'ITERPRISE AGAINST PLAINTIFF INCLUDED NO'I' ONLY [JJB], [RSRI, [~:CLE], BUT ALSO [JSP] :                             D


[JSP)             Sid, I 11v 11/d never do a11ythi11g 111a/icia11s like that to )VII, 111a11 - /'111 1101 [INAUDIBLE]


[ TO THE CONTRARY , PL!IIN'l'IFF WOULD CONTINUE-TO-SUFFER OVER DECADE OF MALICIOUSNESS FR0.'1 (JSP&KAPI , (RSRJ , (WCLEI .                                  D


PLAINTIFF         Oh, 110, 110, 110!


[JSP)             /'1111101 thrilled ll'ith the b11gs and slliff, and...


PLAINTIFF         Oh, 110, 110, 110! I ll'as11 'I accusing you! -


[ J SP]           I k110111- I 1111de13·/a11d- J'mjmt saying... Yo11're ok - You've 11everdo11e anything to me... So, I 11v11ld never do anything to ;vu.


~   [JSP] ADMITS THAT 1'HE Ml\NMER-IN-1·/IIICH PLAINTIFF MAINTAINS PROPERTY IS NOT HARMFUL .                                    D


PLAINTIFF         No, 110, 110! ... I know, I k110111 ... Y,:ah, I 11vsj11s/ 11v11de1i11g. because-


 1£ [l·/CSD- PP] FRAUDULENTLY STATES '.!'HAT [PK] LIVES AT PLAINTIFF ' S PROPERTY :                            D


[WCSD-PP)         So, the main reason /'111 here today - is his brother came home - and lt'e111 over there, and c11ssed that Iii/le hoy 0111.


PLAINTIFF         Well, act11al/y...


[WCSD- PP]        Said that he nm going to get a la11ye1; and have them sued. And all kinds ofst1iff, and ll'ent off011 that kid/


PLAINTIFF         Well, Well, Well the, mdl-


1£ [h'CSD-PP] /\~HTS TO [RSR] ' S RI\CIALLY-t,;QTIVATED TERRORISTIC-THREAT/ASSAULT AGAINST PLAINTIFT :                                    D


[WCSD- PP]        HOLD ON. HOLD ON - SO. 1£ POINTING AT [ RSRJ                          D SHE SAID THAT SHE WAS GOING TO COME HOME AND WHOOP WHOEVEll'S
                  ASS WAS OVER HERE!


PLAINTIFF         Right, 1ight, right - 110, b111-


 K [l'lCSD-PP] ADMITS TO ILLEGALLY COERCING PLI\HrI'Il"F TO SIGN [C'J'l·/] BECAUSE OF [RSR] ' S THREAT-OF-VIOLENCE : Y


[WCSD- PP]        SO, WHA T l'M TRYING TO DO, FOR THE PAST 15 MINUTES- IS TO GET HIM TO SIGN A CRIMINAL-TRESPASS-WARNING-


PLAINTIFF         I didn't do tl,at! I didn't go over there, sir!


[WCSD-PP]         I UNDERSTAND - BUT THEY DON'T WANT ANYBODI' FROM THIS HOUSE ON THEIR PROPERTY!


PLAINTIFF         I 1111dersta11d that, 11111-


[WCSD- PP]        All THIS IS - SHHH!- l'M TRYING TO EXPLAIN TO HIM - AND GET YOU TO TO UNDERSTAND. All THIS JS - IS A SHEET OF PAPER,
                  SAYING. I PROMISE, NOTTO GO TO THAT HOUSE- IF I GO TO THAT HOUSE, /'MGOING TO GOTO .JAIL-

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PLAINTIFF        Well yea/,-


[WCSD-PP)        THAT'S ALL IT IS!



PLAINTIFF        I just 1m11/ to make sure //,at'.~ tl,e 011/J• thi11g ii is, bCT:a11se I don't 1m11I lo be signi11g -


[JSP]            He 1muld11't tell you othe1111ise...


[WCSD-PP)        YOU CAN READ IT! YOU CAN READ IT!



PLAINTIFF        I ll'011/d11't \\'ant to be sig11i11g something that I did11't k11011°


[JSP)            [ INDECIPHER/\BLE)


 ~ [WCSD-PP] FRAUDULENTLY PRE'l'ENDS THAT IIE 1-.'0ULD GET [RSR] TO SIGN [CTI/] FOR PLAINTIFF ' S PROPERTY : ~



[ WCSD- PP)      l'M GOING TO /-/AVE -LIKE I TOLD YOU, l'M A HAVE THEM DO THE SAME Tl-I/NG!



PLAINTIFF        Right...


[WCSD- PP]       They ca111101 come over to you-


PLAINTIFF        If that's the case, the11 I'm pe1fectly fi11e with that -


[WCSD- PP]        TOLD YOU THAT /0, /5 MINUTES FOR THAT!-



PLAINTIFF         Well yea!,, I u11de1~1a11d that - but as long as I ca11 get to their - if I can gel a copy of their -


 [WCSD-PP)        SIGN IT! - SO THAT I CAN GO OVER THERE AND FILL IT OUT-



PLAINTIFF         .!11s/ lo, just to let you know - just lo give y011some backgrormd here -


 [WCSD- PP]       GOOD LORD, WE DON'T NEED YOUR BA CKGROUND, SID!



 [JSP]            I KNOWIVHAT'SGOINGON, SID!... /'VE [INAUDIBLE]



PLAINTIFF         No, I unde,~tand, but /, I k110111 but-


 [WCSD- PP]       WE DON'T NEED BACKGROUND!



 PLAINTIFF        I 111rdersta11d. like last .1-ew~


 [WCSD- PP]       I WANT TO GO HOME!



 PLAINTIFF        I 1111de1:1"ta11d-


  K [JSP) , ACTING UNDER-COLOR-OF-LAW AND IN-CONSPIRACY-1'/ITH [WCSD-PP) , [RSR] , UNLAWFULLY COERCES PLAINTIFF TO SIGN SUCH ILLEGAL
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[CT\-/] :   D


[JSP]              DO ll' - GO AHEAD AND SIGN THAT FOR HIM!


[WCSD-PP]          /11 15 mi11111es, I go home!



PLAINTIFF          Got ii, Got ii, bu/... I 11'll11led lo-


 U [ JSP] , ACTING UNDER-COLOR-OF- I.Al·/ AND IN-CONSPIRACY-mTH [~K:SD-PP1 , [RSR] , CONTINUES TO UNLAWFULLY COERCE PLAINTIFF 'l'O SIGN
SUCH ILLEGAL [CT\·/] : D



[JSP]              LET THE MAN GO HOME!


PLAINTIFF          I'm sony, I'm sony.


[WCSD- PP)         A11d you still need lo call your b,v//,er- so I ca11 gel l,im back /,ere, so I ca11 gel him lo do the same //,ing.


PLAINTIFF          Go/ ii, Go/ ii, Go/ ii.


(JSP)              I know B**'., a big boy, but l,e'., 011(i• 12 or I 3.


PLAINTIFF           Righi, I didn't! I didn't ask-


 [WCSD- PP]         He'., like 14 years [INAUDIBLE) ..


PLAINTIFF          -Sony, I didn't ask my bmtl,er lo do 1/101 - ok, all I said ll'llS, sl,e had come over here-


  ~ [JSP] ABUSIVELY INTERRUPTS PLAINTIFF, ONLY ALLOl·HNG [WCSD-PP] ' S PURELY- RACIST,                                      FRAUDULENT NARRATIVE AGAINST PLAINTIFF TO BE

HEARD : ~

  [   [JSP] , ACTING UNDER-COLOR-OF-LAI·/ AND IN-CONSPIRACY- 1'/ITH [l\'CSD-PP] , [RSR] , CONTINUES TO UNLIWIFULLY COERCE PLAINTIFF TO SIGN

SUCH ILLEGAL [CTI/) :     D


 [JSP]              YOU SIGN THAT YET?! SIGN ll' FOil HIM! U LAUGHS OUT LOUD D SIGN ll' FOil HIM!... GO PUT ll' UP AGAINST YOUR-


 [WCSD- PP]          U SPEAKING I NTO THE POLICE RADIO : D Yea/, probably, I 1\'011/dn'I doubt ii.


 [JSP)               [INAUDIBLE] your /,a11d11ri1ing.



 PLAINTIFF          Perso11... U TRIES TO READ \'/HERE PLAINTIFF WOULD NEED TO SIGN D


 [WCSD- PP]          U SPEAKING INTO THE POLICE RADIO: D I'll ,mil for him, so t/,a/ I cau hal'e a Ii/lie co11versalio11 with /,im rig/,/ here!


 [JSP)              Sig11a/11re of pemms ,mmed - 1/mt'.1· you. Righi here...


 PLAINTIFF            [ MUMBLES D Sig11at11re c!f persons 1l'0111ed.



 [WCSD- PP)         Tl,e 011e rig/,/ above //,a/ signature. Rig/,/ //,ere.


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 ft PLAINTIFF RELUCTANTLY SIGNS THE [C'IW] DUE TO THE EFFECTIVE COERCION TACTICS OF [l'/CSD-PP] ,                                     [JSP] ,    [RSR]   D
 ft PLAINTIFF HANDS THE SIGNED DOCUMENT BI\CK TO [~:CSD-PP] . D


PLAINTIFF        Rigl,t, tl,e reason 11111, //,e reasm,, 11111, tl,e l'eam11 I wanted to ask you is tl,ot-


[ WCSD-PPJ       How do you spell your /<1.st 1u1111e? Is it K-O-O-D?



PLAINTIFF        K-O-D. Well, )'OIi /,ad it rig/,/ //,ere, yeah



[WCSD- PP]       So, tlwt'.v ii right there?



PLAINTIFF        Well, actually-    ft LOOKS AT IXJCUMEN1' AGAI N D


[WCSD- PP]       DUDE. HOW DO YOU SPELL YOUR NA ME?! DO YOU HAVE AN ID CARD?


PLAINTIFF        Yea/,, I have an ID. Jt'.v Eat the end. Jt'.v E.



[WCSD- PP]       Ok. l et me see your ID.


PLAINTIFF        Sir, I-



[JSP]            I'm [INDECIPHERABLE]



PLAINTIFF        Ok, I Appreciale, ii.



rt PLAINTIFF ENTERS INTO [HOUSE] TO GET ONE OF PHOTO-ID CARDS . D
I{ PLAINTIFF C0.-1ES OUT OF (HOUSE] WITH A PHOTO-ID CARD.                         D
rt PLAINTIFF IWIDS THE PHOTO- ID CI\RD TO [ WCSD-PPJ . D


[WCSD- PP]       You don'! /,ave driver's license or nothing like that?


PLAINTIFF        it~; I - can't, deep ll'ithin my- I cm1't eve11...



[JSPJ            But yeah, he med to look like that- I saw him...


[WCSD- PP]       Used lo?



[JSP)           He did - he used to have sl101t hai1:



PLAINTIFF        Yea/,, yeah - I did, I did



[JSP)

[WCSD- PP]

PLAINTIFF       But sil; I just wonted to explain to ) 'OIi - I just wrmted 10 tell )'OIi 1h01 - she came aver here, like lo.rl year - y ou didn't know thal? like .rhe came-


[JSPJ           I know - I did-



PLAINTIFF       And she c11.t1wl me 0111-

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(WCSD- PP]       I'm going to go over there a11d give them 011e, ok?


PLAINTIFF        A fright, I appreciate that, sir.


PLAINTIFF

(JSP)            I know, I know.


(WCSD-PP]        Ok.


PLAINTIFF        So, all I did \l'as - tell my brother that, my brother ll'e 111 over there... I asked him 1101 to go over there.


(WCSD- PP]        [INAUDIBLE]



[JSPJ

[WCSD- PP]

PLAINTIFF        Um... I told my, -


[WCSD- PP)        [INAUDIBLE)



PLAINTIFF        Oh, 11V?II, because I rep011ed the/act that something ll'as stole11fiv111 the backya1YI- did- areyo11 officer Parks?


fr [nCSD-PP] SMILES (,p)    IN RECOGNITION AS HE HAD UNPROFESSIONI\LLY HUNG- UP THE PHONE ON 1'HE PlJUN'rIFF .                                         ii


PLAINTIFF        Alli did \l'as tell him abaut the - the - a11d that'.'" all I did ..


[JSPJ             { INAUDIBLE]



PLAINTIFF        Yeah, yeah -


[JSP)             { INAUDIBlli] .



PLAINTIFF        Aud so, all I did um tell my brother that - a11d the11 basically, [ INAUDIBLE) -           « RECEIVES A CALL ON PHONE . ii « PICKS UP THE CALL i)
                 Hello, this is 11111, Sid


« INAUDIBLE SPEECH OF [PK] i)

PLAINTIFF        Yeah, yeah JV?ah - ;vu need to get over here right 11011• - these people 0/'C co111plai11i11g lo 11111, they're complai11i11g to... they 1m11/ you sign a tre.171a.tv
                 11Y1111i11g, so that ;vu 11rm't ...


g INAUDIBLE SPEECH OF [PK) ii


PLAINTIFF        )'eah, yeah yeah - ok, so, you're coming over here - ok, /Jy to f INAUDIBLE] , ok, then bye.


(JSP)            Waiti11 011 [INAUDIBLE] .


(JSP)            {INAUDIBLE]



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PLAINTIFF   No, he's ll'OS [ INAUDIBLE} j mt here, So, ..


[JSP]       I INAUDIBLE}


PLAINTIFF   Ok, sir - so I j ust 11'011/ed to make sw-c,~ Um- Deputy over here ll'fLI' telli11g me the ll'hole 11eighbm1wod is thi11ki11g that my yard is - this 011e - and
            e\,et)une's agc1insl me - is this tn,c?



[JSP)       We're 1101, We're 1101 thrilled with [ INAUDIBLE} You haven't been 11r1teri11g...


PLAINTIFF   I 1111derstr111d, but sir there'.r a drought. A Stage-4 Drought!


(JSP]       Even when its sta11ed IINAUDIBLE J ... See, you gotta 1111dersta11d - see all these ,reeds that you have in your ymrl - they get i11to ll(J' yard - .ree "!!' yard -
            [ INI\UDIBLEJ



PLAINTIFF   Is there a11ythi11g that I could do, for example if I ,vuld -


[JSP]       Yeah, I'll show JVII ll'hat you can do - it'.v called "ll'eed-11-Feed". A11d eve1yli111e I do II!)', I'll [INAUDIBLE) for you to let )VII k110111.


PLAINTIFF   Got it - ok, so, basica/(J'-


[JSP)       I k11ow you'rn a yormg 111011 - )'OIi t/011'1 wa11/ to do this - I k11011' it'.1· 110/ your highest priority-


PLAINTIFF   Right... Right...


[JSP]       I 1111dersta11d that... How old are you, Sid? ... Tire11IJ•Fo11r or so111ethi11g?


PLAINTIFF   11111, /'111 - l,owdid [INI\UDIBLEJ


[JSP]       [INAUDIBLE)



PLAINTIFF   Right ...


[JSP]       If I my oim oim hmtse, it 11v11/d11't be my highest co11cem either...



PLAINTIFF   Right, Right...


[JSP)       [INAUDIBLE) things heller to do... Next time, Nc:rf time when /'111 going to pnt Weed-11-Feerl dmrn,



PLAINTIFF   Right,


[JSP]       [INAUDIBLE]



PLAINTIFF


[JSP)       [INAUDIBLE) / 1m11ld never do anything malicious towa1rl, )'OIi, Sid.



PLAINTIFF   No, 110, 110, I'm 1101 accusing you -


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[JSP]           I know you're 1101 - I j11s/ 11n11ted to let you knoll'.


PLAINTIFF       I k110111 //,at I 'm good ,l'itl, you, man No, I jnsl 11n11ted lo make sure //,a/ I'm ok ll'i//, [ INAUDIBLE)


[JSP]           Tl,ey told me - and see.just because you're quiet, and J'OII do11'1 talk lo a lot of people ... tl,ey don't do11'1 - tl,ey don't knoll' 11'/,at to tl,i11k about it.


PLAINTIFF      . Yeah. ..


(JSP]            [INAUDIBLE) [INAUDIBLE}



PLAINTIFF       Right...


[JSPJ           811111111, )'OIi k110111, wl,e11 ll'e don't /,ave a droug/,/, and yo11 ... [ INAUDIBLE] I'll let yo11 know ll'he11 lo do - 11·/,e11 lo put it doll'n and-


PLAINTIFF       8111. sir- I mean Joe, sony - is //,ere a - is //,ere a - I'm [INAUDIBLE] kind of 011 e11viro11me111alisl -


[JSP]           Tl,at'., a/rig/,/... Tl,a1'.,fi11e


PLAINTIFF       !., //,ere an e11viro11me11tally-frie11dly ll'OJ' ofdoing ii, witl,0111 mi11gfertilizer? I mea11- is there a ,my, um-



a THEN-NEIGHBORING-RESIDENT OF ( 773 KINGFISHER LANE, LEANDER, TX 78641) [773KLLTX78641] - [AJCJ - WALKS TO'l/ARD PLAINTIFF D
a [JSP] GREETS [AJC], ALTHOUGH IBOM THE PLAIMTIFF ' S UNDERSTANDJNG, FOR THE VERY FIRST T IME : D

[JSPJ           «ro [AJCJ : l) What's going 011?

[AJC J          <!TO PLAINTIFF : » [INAUDIBLE) ... S!,e um [INAUDIBLE] ... All ki11drnfh11llsl,il- (INAUDIBLE)



PLAINTIFF       Really!


[AJC)           {She was gelling] iuto my yard- [011d get rig/,/} i11/o my face - 011d saic/, "DON'T YOU EVER F-UP!", Cause B** likes ta come over //,ere, a11dscrew
                atVtm<I. and ride l,i.1· bike i11 fro111 of tl,e l,ouse a11d stare... We said, ll'e were going to mil the cops- So, sl,e s101111ed in our house- ran right into my 11·/(e'.,
               .face - 011 my lawn - and said. "DON'T YOU EVER - COME INTO Ml' I INAUDIBLE J " So, ll'hatever she just accused J'OII of- sl,e did to me!


PLAINTIFF         U LOOKS STUNNED D You're kidding me!


[AJCJ           No! ... So, I'll back you All DAY LONG! -


PLAINTIFF       I appreciate it, Sir! 111/101'.s your name?


[AJC]           ··••.

PLAINTIFF       ••••

[AJCJ           I'm 110/ going to take ii anymore. Tl,ey've been screwing around ll'itl, m. Them over there a POINTS AT [780KLLTX78641] TOWARDS [JH&SH]
                D scrm1•i11g atv1111d wit!, 11s - and I will back )YJII All DAY LONG!


a PLAINTIFF 'rRIES TO EXPLAIN THAT PLAINTIFF HAS BEEN LI VING UNDER EXTREME- STRESS OF [RSR) ' S 'rERROR FOR SEVERAL YEARS : ~

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PLAINTIFF   Sir, )'OIi havejml - )'OIi /,ave - yo11 /1avej11s/ lake11 a l,11ge load off my [ INAUDIBLE] - / l,ove been living in- sort of in [INAUDIBLE] -


[AJCJ       I hove11'1 even seen you!... How have [ J NAUDIBLE) ?! I've been living here 2 J'OOl:'i and I hadn't even seen J'OII yeti


[JSP]        [ LI\UGIISD [INAUDIBLE)



PLAINTIFF   Sir, please, ls there OIIJ~•'lly )'OIi can e.17,lai11 this-


(AJCJ       I'll tell em! I'll tell em!... [ INAUDIBLE J .. . yea/,, beca11se she did the same thing to us! [ INI\UDIBLE]


PLAINTIFF   My brother is going to gel here right now, I mean, basically-



[JSPJ       His b1vther'., in lm11blefor [ INAUDIBLE)


[AJC]       Oh. I do11'1 [INAUDIBLE]


PLAINTIFF   S!,e came over here!


[JSPJ       [ INAUDIBLE]



[AJC)       Yeah... Yea!,.. , Yeah...


PLAINTIFF   S!,e p1111ched?


[AJCJ       No, she didn't p1mc/1, 8111 she 1\'lllked rig!,/ info my - she 11m in my w!fe'.vface - right 011 my Imm... [ INI\UDIBLE] ... Yeah, I can /ell ya - They go over
            tl,ere 011 pwpose, and "Gel riff /he pmpe11y!" and-


PLAINTIFF   //'sjusl them?!


[JSP]       Yeah.


(AJC]       [ INAUDIBLE). "Do 1101 talk lo /hose kids! ... Slay - ml'lly-jivm the kid,!"



[JSP)       No reason lo bolher them. [ INAUDIBLE]


[AJC)       B** likes lo ride the bike up and doll'11... [INAUDIBLE]


[ JSP)      They're flying - they're flying to egg-it-011!


PLAINTIFF   I thought I nm the 011/y one that ,ms being picked 011 here... I mean-


[ JSPJ      No... [ INAUDIBLE l


[AJC ]      No... We don't even come out the fm111! Because il'sjus/ 110/ 11-0,th ill


[JSP]       Thal'.1· what it~· golle11 to. [ INAUDIBLE]


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[AJC]              We'rejml, l'mj11sl, co1111/i11g !he days lo - cause, I knoll' I'm going lo las/ i11 my house /011ger 1ha111hey'1'C going to last i11 rhcir house.


 tt [JSP] LAUGHS . PLAINTIFF LAUGHS . D

PLAINTIFF         Sir, !f)'OIi ca11j11st IIYiil here {tmli/}-


[AJC]              Yeah, I'll{???}-




•
•
•
II flRAJ\SCIU PTI NCOIW'LEIF.: 'ID BE COMPLITTN>I 11


•
•
•
 tt [PK) ARRIVES BACK AT SCENE IN HIS VEHICLE AND PARKS HIS VEHICLE, NEARBY, ON CURBSIDE OF THE STREET . D
rr EOTII [l\'CSD--PP) AND [RSR]       (\·/ITH [BR) BEHIND [RSR]} , \'/HO IS ACROSS THE STREET, WALK MENACINGLY/ANGRILY T(Y.•/AROS [PK) :                               D


[WCSD- PP]         IVH>' DID YOU GO OVER THERE AND CUSS OUT A 14-YEAII-OLD BOY?!


[PK]               I did not cuss-0111 a11y {???}, ok! {???}


[WCSD- PPJ         LET ME GET YOU/I DRIVER'S l/CENSE!


(    [PK] TAKES OUT HIS WALLET FR0:1 HIS POCKET, AND THEN HIS DRIVER-LICENSE FRQ;'•I lllS WALLET .                                   D
~ [RSR] CONTINUES TO YELL RACIST THREATS/SLURS IN BACKGROUND, AS [':lCSD-PPJ                                   rs INTERROGATING l PK] : D


[RSR]              { ???}! {???]!
rr   [PK] YELLS AT [RSR] TO GET A~rAY FR0:1 HIM:                D


[PK]               HEY. SHUT-UP AND GO OVER THERE! I'M NOT TALKING TO YOU!


[RSR]              {???}! {???]!



K [WCSD-PP] LUNGES AT [PK) , STARING DIRECTLY INTO [PK] 'S EYES, HIS FACE, ONLY AN INCH-OR-TWO FROl4 [PK] 'S FACE: D
{ EVERY BRAZENLY RACIST ACTION UNDERTAKEN BY [WCSD-PP] AGAINST PLAINTIFF,[PKJ SHOW'S HE DOES NOT CARE IF HE OR HIS EMPLOYER,
THE [WCSOJ, IS ACCUSED OF RACISM.»




[WCSD- PPJ        HEY! SHUT YOUR MOUTH! TURN AROUND AND SHUT YOUR MOUTH!


[RSRJ             {???] ! { ???} !


[WCSD- PPJ        I Will TAKE CARE OF IT!


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 g [PK) REMAINS MOTIONLESS AND DOCILE, OBEYING [~:CSD-PP) ' S ORDERS : »


[PK]                   Ok, please do!


[RSR)                  [???)! [???]!


['WCSD-PP)             Ma'A 111, go back lo J'OIII' pmpe11y, or be quiet, ok?


 0C      [RSR) , l\Cl'ING IN EXTREME-RECALCI'.ffiANCE, COMPLETELY DISOBEYS [WCSD-.PP] ' S LI\CKLUSTER ORDERS AGl\INST [RSR} AHD CONTINUES TO

YELL RACIS'l' THREATS/SLURS A'l' [PK} , PLAINTIFF :                    »

[RSR]                  [???] A T MY SON!


['WCSD- PP]            MA 'AM! I'm ha11dli11g it!


[RSR)                  I KNOii~ l'M SORRY![???)!


['WCSD-PP)             So, go all'ay! ... go mmy.


     [   [RSR] , ACTING IN EXTREME-RECALCITRANCE, CONTINUES TO FRAUDULENTLY STATE THAT PLAINTIFF ENTERED INTO HER PROPERTY :                                                         D
     [   [RSR} , ACTING IN EXTREME-RECALCITRANCE /\ND RESTRAINED-JUBILATION (cp) ,                                    USES Ha'.OPHOBIC-SLUR /\T PLAINTIFF, [PK] : )



[RSR)                  ll''S BOTH HIM AND HIS WACKY WIFE!


     ~ [RSRJ TURNS-AROUND /\ND LAUGHS ALONG l'/ITH HER l'/HITE-AMERIC/\N CO-CONSPIRATORS (JSP], [JH&SH]                                                 (WHO /\RE ALSO LAUGHING) -    D
     ~ -l'IITH /\LL OF THESE WHITE-AMERICAN INDIVIDUALS COl1PLETELY ENJOYING TliEIR VIOLATION OF PLI\INTJFF ' S RIGHTS (cp) :                                              »

['WCSD-PP)             gommy.


[ PK)                  Ok, So, let me explain 11-1101 happened. So, I 11'<!111 over there a11d knocker/ 011 the doo,: And I told him, his 1110111- I asked him if hi.,· 1110111 \l'as home. He
                       said 110, Iris 1110111 is 1101 there. I said, your 1110111 /,as bee11 pestering 111y brother, cmcl I wa111 you tell her, if sire doe.~11•1 slO/J·


     [   [WCSD-PP) IGNORES [ PK) ' S STATEMENTS, AND WITH /\ MALICIOUS SMILE ON HIS FACE, HANDS-OVER TO PLAINTJFF A [CTI'/] l·JHICH [RSRJ

REHJSED TO SIGN :        D


['WCSD -PP]            She refmed lo sign it!


     l PLAINTIFF WAS A13SOLU'J'ELY SHOCKED /\ND INDIGNAN1', FEELING LIKE A CHUMP FOR HAVING SIGNED SUCH [CTW] AGAINST [RSRJ ' S PROPERTY :
ii


PLAINTIFF              / ... /



     [   [l'ICSD-PP] \'/ITH A MALICIOUS SMILE ON HIS FACJ.::, tl.OCKINGLY JUSTIFIES IIIS UNBELIEVABLY-RACIST ACTIONS AGAINST PLAINTIFF :                                                  »

['WCSD-PP)             It's the same thiug! //'.1· still good!


     [ PLllHITIFF l''OOLISHLY ASKS I F PLAINTiff ' S SIGNATURE OF [C1'1-1] ISSUED TO IRSR] CAN BE CANCELLED-OUT :                                                   »

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PLAINTIFF          Sir, ca11 I refuse lo sign ii - mine, a~ l\'ell?I


~ AS FUTURE INCIDENTS WOULD REVEAf,, THIS PR0.'-1ISE MADE BY [l·/CSD-PP] JS PURELY-RACIST FRAUD, AS [RSR] DID CRIMINALLY-TRESPASS

MULTIPLE TIMES, BUT \'11\S NEVER EVEN CHARGED FOR IT :                          D


[WCSO- PP]          It's tire same firing/ ... Sid, ii means r/re same firing! ... If sire comes fo your- properly, s ire goes fo jail.



PLAINTIFF           I 1111derstan</, but, but- )'OIi gal me to sign it! i clidu'I- she soid reji,sed!


 ~ 1~:csD-PPJ , 1-HTH A MALICIOUS SMILE ON HIS FACE, CONTINUES TO TOY-AROUND-1'/ITH AND MOC!< PLAINTI FF FOR BEING A CHUMP :                  D


[WCSO-PP]           RIGHT. YOU ACTUALLY SIGNED IT! SHE WOULD NOT SIGN IT!


a PLAINTIFF CRIES OUT IN ABSOLUTE INDIGNATION : D

PLAINTIFF           I did11'1 11'(111/ to sig11 ... ! Sir!!!


[WCSO-PP]           BUT YOU SIGNED IT! IT DOESN'T MA 7TER!


[ PLAINTIFF CONTINUES TO CRY-OUT IN ABSOLUTE INDIGNATION :                                   D


PLAINTIFF           Sir, )'OIi forced me to sign it!


a (~:CSD-PP) THREA'l'ENS PLAINTIFF THAT HE OOES NOT WANT TO HEAR ANYMJRE ABOUT PLAINTIFF ' S CO..\\PLAINT : D

[MCSD-PPJ          SIDI


[     (PK] TELLS PLAINTIFF TO BE QUIET,                   NO'!' REALIZING (WCSD-PP] USED RACIAL-INTIMIDATION TO COERCE PLAINTIFF TO SIGN [CTI-I] :   D


[PK]               Hey, calm down.


 ff   (\·1CSD-PP) HANDS A [CTN} FOR (PK] TO SIGN AGI\INS1' [RSR) ' S PROPERTY                                   D


[WCSO- PP]         SAME THING ... I NEED YOU TO DO Tl-IE SAME THING! ... THAT'S ALL IT IS!


a PLAINTIFF CONTINUES TO QUIETLY CRY IN SHOCK /\ND DISBELIEF THAT [WCSD-PP] COERCED PLAINTIFF TO SIGN SUCH [C'I"il] : D

PLAINTIFF          Hefonwl me to sign ii!


~ MULTIPLE OTHER l'IIIITE-AMERICAN (l·/CSDJS - ONE MALE, ONE FEMALE - ARRIVE AT SCENE IN THEIR POLICE-VEHICLES : j



K [ PK] EXPLAINS THAT IIE CALLED 9-1-1 BECAUSE HE THOUGIIT PLAINTIFF \·11\S IN DANGER : D


[PK)               I called ill 9- ... I called 9- 1-/ because. I thought someone 11m doing-


a [!1CSD-PPJ IGNORES [PK] ' S STATEMENTS , AND QUESTIONS OTHER POLICE-OFFICERS - [t·:CSD- JD-24) , [\·/CSD-JD-25} - AT TIIE SCENE : ~

[WCSO- PP)         WHERE DID THEY GO?!

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~ [!\JC], WHO HAD BEEN STANDING NEXT TO PlAilITIFF, EXPI.J\INS [RSR] AND (BR] \·IENT TO THEIR CO-CONSPIHATORS [Jll&SII) ' S PROPERTY :

D


[AJC)             They 11-enl over lo Iha/ hollre - Jo hong 0111-


~ [\•ICSD-PPJ LOUDLY INTERRUPTS [AJC] AND SHOUTS HIS RACIST AND FRAUDULENT-NARRATIVE IN-FRONT-OF ALL \-II'l'NESSES AT SCENE, \olHILE

POINTING AT PLAINTIFF :      »
~ IN A REMARKABLE FEAT OF OUTRAGEOUSLY-RACIST FRAUD,                         (~:CSD-PP] TAKES [RSRJ ' S RACIST-THREATS OF

INTil-1IDATION/INTERFERENCE/DISORDERLY-CONDUCT/BLACKl1AIL AGAINST PLAINTIFF - SPECIFIC/ILLY [RSR] ' S MULTIPLE THREATS OF

FORECLOSURE/EVICTION AGAINST PLAINTIFF - AND FRAUDULENTLY SHOUTS IN FRONT OF ALL OTHER WITNESSES (AND HIS POLICE-RADIO) !IS IF

[PK} ISSUED THAT SAME THREAT TO [RSRJ AND/OR (BR] :»



[WCSD-PP)         l/KE I EXPLAINED TOHJM! YOUJIAVE NO RIGHT. TO GO TO ANYBODY'S PROPEi/TY AND TELL EM, THAT YOUAIIE GOING TO TAKE
                  THEIR HOUSE!


[PK)              Ohl Nol Nol Nol I rlitl11't say that! 1 rli1l11't s101that!-


 ~ (WCSD-PP) RUDELY INTERRUPTS [PK) AND CONTINUES SHOUTING HIS RACIST AND FRAUDULENT-Nl\RRATIVE AGAINST PLAINTIFF,                                         [PK] :    D
 ~ [l·ICSD-PP) FRAUDULENTLY STATES [PK] SCARED [BR] \'/HEN [BR] l'TAS MALICIOUSLY SMILING/Ll\UGHING ALONGSIDE (RSR] , [JSP] , [JH&SH]

THROUGHOUT MOST OF THIS INCIDENT (,p) : ii



(WCSD- PP)        HOLD ON! HOW ON! YOU SCARED THE SHIT OUT OF A FOUi/TEEN-YEAR-OLD-BOY, BECAUSE YOU WENT OVER THERE AND
                  WHATEVER YOU SAID TO EM! ... I DON'T CARE WHAT YOU SAID!


[PK)              But whal I did that become, my mo/her had !old me Jo go over[???] my brother and said, hey! why don'! yo11j11s1 go Ja/k Jo the 11eighbo1; anti-


g [l·ICSD-PP) CONTINUES FRAUDULENT NARRATIVE THAT IT Wl\S FERTILIZER, l·/HEN (l•:CSD-SP) HAD ALREADY IDENTIFIED WITH BEYOND 100•
CERTAINTY , AS CAT- LI'ITER:      D


[WCSD-PP)         I TALKED TO HIM ON THE PHONE. AND HE SAID SOMEONE THREW KJITY-l/TTEII IN Tf/E YARD. AND I SAID WELL YOU KNOW WHAT-
                  MAYBE YOU SHOULD GO TALK TO YOU NEIGHBOR AND SEE IF THEY PUT FERT/l/ZEII DOWN- AND FEI/Tll/ZE l'OUR YARD!


[PK]              Well, he just said- he said, go talk Jo !he neighbor- so, I 11-eut- ok, lei me-


 ~   (\•:CSD-PP] CONTINUES TO COMPLETELY DISREGARD [PK} ' S STATEMENT AND RACISTLY CONTINUES TO SPEAK-OVER [PK] :                                »
 ~ [WCSD-PP] STILL OOES NOT BELIEVE HO\'/ PLAIN'rIFF AND/OR ( Pl<] COULD BE OWNER OF PROPERTY l'IITIIIN SUCH ~IHITE-NEIGIIBORHOOD :                                   »

[WCSD-PP]         DO YOU l/VE HERE?! OR IS IT JUST HIM?!


[PK)              No- Just him.


 g [WCSD-PP] STILL OOES NOT BELIEVE HO'd PLAINTIFF AND/OR (PK] COULD BE O'ilNER OF PROPERTY \'lITIIIN SUCH \·/HITE-NEIGHBORHOOD : D


[WCSD- PP]        OK. WELL. WHO OWNS THIS HOUSE?!


[PK)              /J's in his name anti my 1110,11~· name.



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~ [WCSD-PP ] OUTRAGEOUSLY JUSTIFIES ALL OF Tflr. PREDATORY , RACIST ACTIONS COMMITTED AGAINST PLAIN'rIFF BY STATING PLAINTIFF IS

NOT MAINTAINING PROPERTY ACCORDING TO \•lHITE-AMERICl\N STANDARDS : j]



[WCSD-PP)               OK! I MEAN, LOOK AT IT! LOOK AT IT!



[PK)                    Yeah.



[WCSD- PP)              YOU KNOW IT LOOKS LIKE CRAP, RIGHT?!


 ~ PLI\TNTIFF CONTINUES TO BE INDIGNANT l\T SUCH RACIST-FRAUD BEING USED TO JUSTIFY VIOLENCE AGAINST PLAINTIFF : iJ


PLAINTIFF               I talketl ta Joe- I talked to Joe, and Joe was fine with ill


 ~ [WCSD-PP] OUTRAGEOUSLY DESCRIBES [JSP] AS "NICE GUY" WHEN [JSP] WOULD CO..~,UT NUMEROUS FELONY-CRIMES/RACKETEERING-ACTS

AGAINST PLAINTIFF' IN EUTURE INCIDENTS : j]



[WCSD- PP)              JOE WAS FINE WITH IT, BECAUSE HE'S A NICE GUY WHO DOESN'T SAY- THAT HE DOESN'T{???]



 rr [PK] CONTINUES-TO-TELL PLAI NTIFF TO BE QUIET, NO'f REALIZING [WCSD-PP] USED RACIAL-INTIMIDATION TO COERCE PLAINTIFF TO SIGN
 [CT\'/] : j]



[PK)                        Hey, Sid- Calm down. Calm danw. ...


 rr [PK] REMINDS [WCSD-PP] THAT HE IS WELL BEYOND HIS AUTHORITY AS A [ WCSD] TO Cow-1ENT ON ANY AESTHETIC/COSMETIC I SSUE ON
PLAINTIFF ' S PRIVATE-PROPERTY :                iJ


 [PK)                       [???l There's a {HOA] for that.



 [WCSD- PP]                 YEAH! /0 DAYS LATER, THEY'LL SEND YOU A COPY {INTHE MA!Lf!-AND TELL YOU HAVE A l80DAYS TO FIX IT!- INTHE MEANTIME.

                            THIS COMPLETE NEIGHBORHOOD LOOKS LIKE SHIT!



 [PK)                       Rig/rt... Right.



 [WCSD- PPJ                 {HIS) NEIGHBORS HAD OFFERED TO COME OVER HE/IE, AND TRIM THE BUSHES! AND CUT THIS GRASSI AND MAKE IT LOOK PRETT)'!

                            SO THAT THEY DON'T HAVE A FRICK/NG EYE-SORE IN THEIR NEIGHBORHOOD!



  ~ [ PK] ONCE-AGAIN REMINDS [WCSD-PP] THAT IIE IS WEL L- BEYOND HIS AUTHORITY AS A [WCSD] TO BE COi\11ENTING ON ANY

 AESTHETIC/COSMETIC ISSUE OF PLI\INTIJ"F ' S PROPERTY : j]



 [PK]                       I do 1mde1~/a11d, that. 8111 these are mies of tire {HOA].


  0C   (AJC] ' S l'IIFE ,     [773KL- 2009- 2] , EXPLAINS TO [WCSD-PP] HO\~ (RSR] Hl\D ISSUED THREATS TO HER, AFTER ENTERING ONTO THEIR

 PROPERTY : j]



 [ 773J<L- 2 009- 2 ]       / just 11·a11ted to say. Give my viem / live aver here. Ands/re told me to go - she um \l'alking down, cns.~ing me off {??11- and i'm only{???) Come 011! I

                            mean! She \l'as over /rerel Site ll'OS flipping me off! ... and-


  [ I PK] REPEATEDLY AND ANNOYINGLY TELLS PLAINTIFF TO CALM DO'liN, SINCE PLAINTIFF \·lAS BEC0..'11NG VISIBLY INDIGNANT ABOUT (RSR] ' S ,

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[\-ICSD-PP) ' S OUTRAGEOUS CONDUCT :          D


[ PK]               Calm doll'11, Sidi Calm dmrn. Sid!


« (/\JC) INTERJECTS, ST/\TING Tll.l\T WH/\TE:VER ABUSE (RSR) DID TO PLAINTIFF, [RSR] ALSO DID TO [/\JC) , (773KL-2009-2] : D

[AJC]               They've {obviously] did to him, \\'hat they've doue tom!


« (l·:CSD-PP) LOUDLY INTERRUPTS, JUSTIFYING [RSR) ' S OUTRAGEOUS CRIMES AGAINST PLAINTIFF, [AJC] , [773KL-2009-2], MAKillG SURE TIIA'J'
ONLY HIS , [RSR] ' S RACIST NARRATIVE IS HEARD BY /\LL \·IITNE:SSES AT SCENE : D



[WCSD-PP]           THERE'S OBVIOUSLY SOMETHING GOING ON THIS NEIGHBORHOOD!


(     [773KL-2009-2) TRIES TO EXPLAIN THAT ALL OF CRAZINESS IS SOLELY FR0>1 [RSR), NOT \-/ITH PLAINTIFF, (AJC) , [773KL-2009-2] : D



[773KL-2009-2]      /t'.v 1101, yeah, us-


 K [\•:cso-PP] FRAUDULENTLY INSULTS PLAINTIFF THAT PLAINTIFF IS CR/\ZY,                                 \•/HEN PLAINTIFF IS J\tl,ONGS'r THE MOST CIVILIZED PERSONS AT

THE SCENE, ALONG WITH (/\JC] , [773KL-2009-2] : ~



[WCSD- PP]          THERE'S SOME CRAZINE5S GOING ON HERE/ THERE'S CRAZINESS GOING ON THERE! THIS YARD IS FRICK/NG HORRIBLE! AND DO
                    YOU RUN THE AJ/l-CONDllJONER IN THERE?/ CAUSE If SMELLS REALLY BAD!


 0C   [/\JC) , [773KL-2009-2] SHOCKED BY [\\'CSD-PP) ' S UNBELIEVABLY-RACIST STATEMENT, TURN-TOWARDS AND TALK TO 'IWO OTHER (WC) POLICE-

OFFICERS AT THE SCENE :         D
 g PLAINTIFF IS SHELL-SHOCKED BY [l·/CSD-PP] ' S UNBELIEVABLY-RACIST STATEMENT, RESPONDING IN SHAMBLES : D


PLAINTIFF           Well- ... it- ... did- ... but-


[PK]                Well! That's his home! /light, co111e011!


 0C   [WCSD-PP) CONTINUES TO 11.1\VE A M/\LICIOUS SMILE, AND LOOK OF RESTRAINED-JUBILATION (1p) ON HIS FACE, THOROUGHLY ENJOYING- D

 0C   -EVERY BIT OF HIS, [RSR] ' S VIOLATION OF PLAINTIFF ' S RIGHTS: D



[WCSD- PP]          NO, I UNDERSTAND- THAT'S FINE/ If CAN SMELL BAD, IF HE WANTS ll' TOI


 K PLAINTIFF CONTINUES TO MUMBLE l'IORDS,                 STILL SHELL-SllOCKED BY [WCSD-PP] ' S UNBELIEVABLY-RACIST STATEMENTS : D



[PK]                lt'.v 1111/y 1111e11 the 11eighboni £'011/e mu/ intetfere ill ;vmrproperl)'· tho/ you-


 « [WCSD-1'1'] LOUDLY INTERRUPTS, JUSTIF'YING [RSR] ' S OUTRAGEOUS CRIMES AGAINST PIJ\INTIFF, [AJC], [773KL-2009-?.J, MAKING SURE Tll.l\T
ONLY IIIS, [RSR) ' S RACIST NARRATIVE IS HEARD BY /I.LL l'/ITNESSES AT SCENE :                               D
 K [~.'CSD-PP] ALSO Ar:t•IITS FOR A SECOND Til·1E , THAT [JJBJ HAD COM11ITTED RI\CII\LLY-~XYI'IVATED CRIMINAL-MISCHIEF/ILLEGAL-DUMPING
CRIMES AGAINST PLAINTIFF : D



[WCSD- PP]          OK. HERE'S THE DEAL! THIS LADY JS THROWING KllTY-LffTER INro HIS yARD BECAUSE SHE DOESN'T LIKE HJM. BECAUSE HE

                    DOESN'T TAKE CA RE OF HIS YARD! ...



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 I[ [l·/CSD-PP] RACISTLY AND FRAUDULENTLY INSINUATES THAT PLAINTIFF ' S CLAIM ABOUT S'.IOLEN PROPERTY I S FAI.SE . PLAINTIFF HAD NEVER

STATED THAT SUCH THEFT OCCURRED ON THIS PARTICULAR DAY .           D
 I[ [WCSD-PP] CONTINUE:S 'l'O MAKE MUl,TIPLE PURELY-Rl\ClST, FRAUDULENT STATEMEmS AGAINST PLAINTIFF, [PK] , STATING IT \·/AS A HOSE,

WHEN PLAINTIFF HAD STATED IT WAS A $50+ EXTRA-HEAVY-DUTY EXTP.NSION CABLE THAT PLAINTIFF WAS USING TO POI-/ER ELECTRIC YARD-

EQUil'MENT :   D


 [WCSD- PP]        SO, I TOLD HIM TOGO TALK TO THE NEIGHBORS AND SEE IF THEY WERE DOING FERTILIZING OF THE GRASS- HE SAID THERE IVASA
                   BIG PILE. SO, HE TELLS /-/IS BROTHER, SOMETHING ABOUT FRICK/NG INTRUDERS COMING IN HERE TODA I' AND STEALING A
                   FRICK/NG HOSE OUT OF THE BACKYARD!




•
 •
 •
 [ll'tnANiCIUl'l' INCOMPLEIE: TO BE COMl'LlillDIII



 •
 •
 •


91311
The plaintiff was extremely traumatized and, to this day, continues-to-feel extTemely traumatized about the shockingly racist, malicious,

predatory, abusive, manipulative, retaliatory, humiliative and traumatizing manner in which the plaintiff was treated by [WCSD-P P] (and his

employer, the (WCSO]), [RSR], [JJB], and (JSP] on that day (>..) ( ( ) (~) ( e ) (E ) :

01 .   Without being provided with any credible information about the plaintiff, and to the contrary, with [WCSD-PP] only being provided

       w ith clearly fraudulent information about the plaintiff due to [RSR]'s multiple and malicious, fraudulent accusations against the plaintiff

       (see below), (WCSD-PP] uses racial-intimidation to fraudulently accuse the plaintiff of trespassing into [RSR]'s property and issuing a

       tlueat to sue [RSR] despite of the fact that he knew that the plaintiff did no such thing (see below). [WCSD-PP] immediately engaged in

       such racial- intimidation to corner the plaintiff into the vulnerable position of duress, so that the plaintiff was forced into admitting that the

       plaintiffs brother [PK] was briefly at the plaintiffs property, and it was [PK] that probably did whatever [RSR] was fraudulently

       accusing the plaintiff of. While police, without using any forms of intimidation or coercion, may be allowed to lie to suspect(s) during

       official interrogations, it is abundantly clear from the plaintiffs recording that [WCSD-PP] immediately engaged in racial-intimidation - a

       criminal act - against the plaintiff (who is not a suspect of any crime) in-order-to coercively elicit information that he actually had no

       right to coercively extract from the plaintiff especially since the plaintiff was not guilty of any unlawful action - with the plaintiff having

       not even stepped out [HOUSE] on that particular day.

02.    The mere thought/imagery of a person-of-color being, metaphorically-speaking, "dragged ot!{ of his house", to be identified by the

       fraudulent-accusations of his terrorizing, predatory White-American accusers w ith extreme-racial-animus - [RSR] in particular -

       conjures-up and illustrates the nightmare scenario of a "Jim-Crow-era" racial-oppression (or public-lynching) by White-American law-

       enforcement acting on-behalf-of violent, predatmy White-American private-citizens with extreme-racial-animus in-response-to such

        predatory peoples' violent and oppressive demands against such person(s)-of-color.

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03.    After surviving this thoroughly-traumatizing ''Jim-Crow-era" incident more than ten years ago, the plaintiff immediately came to

       understand the tmly egregious extent of the maliciousness of [WCSD-P P], [WCSD-SP] and [WCLE] (as a government institution)

       against the plaintiff. Prior to this incident, both [WCSD-PP] and [WCSD-SP], during the course of questioning the plaintiff about the

       hate-crimes, had asked the plaintiff if the plaintiff had knocked on the next-door-neighbor's door to find out the reason for the criminal-

       mischief/illegal-dumpings. Only after this thoroughly-traumatizing incident did it immediately occur to the plaintiff that both [WCSD-

       PP], [WCSD-SP] and thus [WCLE] were maliciously trying to entrap and bait the plaintiff. [WCLE] wanted the plaintiff - an

       immigrant-of-color/indigenous-person with ve1y dark-brown skin color - to go onto a hostile White-American person's property - a

       White-American person that has already demonstrated substantial racial-animus against the plaintiff - an action by the plaintiff that this

       hostile White-American with racial-animus could then either react-violently-to and/or report-back-to-[WCLE] - so that this action by the

       plaintiff could then be maliciously used by [WCLE] and/or such hostile person against the plaintiff. T hankfully, due to the plaintiffs

       common-sense and highly civilized/peaceful/introverted nature (C) , the plaintiff completely rejected those extremely-risky and

       potentially-entrapping ''.mggestions". In other words, the plaintiff did not even take the bait that [WCLE] maliciously laid-out to entrap

       the plaintiff, but yet, as this incident reveals, the plaintiff was still viciously punished, regardless, by [WCLE],[RSR],[JJB] and [JSP].

04.    Although this entire incident is filled with numerous abusive acts of racial-discrimination and racial-intimidation against the plaintiff

       (and/or [PK]), as one of the notable acts of racial-discrimination (not only an unlawful act under Federal law - the [FHA], but also a

       crime under Texas law - [TCPaRC-T5-C I06]) and witness-intimidation by a government-employee against the plaintiff, [WCSD-PP]

       shouts at the plaintiff (even though the plaintiff is a purely innocent victim of all of the incidents documented in this lawsuit), "YOU

       DON'T NEED TO EXPLAIN ANYTHING! - I'M GOING TO DO THE EXPLAINING, OK?!" The plaintiff asserts that this is at least the

       second count of the crime of racial-discrin1ination that [WCSD-PP] committed against the plaintiff, the first count occmTing during the

       prior incident when [WCSD-PP] refused to hear what the plaintiff had to say about [RSR]'s prior crimes against the plaintiff, when he

       had stated to the plaintiff, ''No, I already talked to you on the phone ", even though the plaintiff was trying to put these particular

       criminal-mischief/illegal-dumping crimes being reported by the plaintiff into proper context of all other crimes committed against plaintiff

       which also involved [RSR] (see prior incident above).

05 .   The extreme racial discrimination, racist hypocrisy and retaliation by [WCLE] against the plaintiff was so abundantly-clear. Here, the

       plaintiff - a rather-scrawny, ve1y-timid, relatively-introverted inunigrant-of-color - reported multiple hate-crimes committed by the

       substantially-larger (in physical size) predatory White-American neighbors - [RSR],[JJB] - to the [WCSO], none of w hich were fully-

       investigated and/or charged and none of which [WCLE] showed any serious concern about - to the contrary, with [WCLE] actually

       providing racist justifications for such crimes committed against the plaintiff. In particular, there was no [WCSD] that approached [RSR]

       and questioned [RSR] or any other witnesses about the multiple hate-crimes that [RSR] had already committed against the plaintiff at

       this point in time. Yet, the plaintiff did not act out in even any indignant manner against anybody, but instead, merely reported the

       crimes to [PK] (after reporting the crimes to the [WCLE]). As all of the audio-recorded conversations reveal, the plaintiff only did this to

       convince [PK] to install a security-camera-system and fence-lock onto the plaintiffs property - both tasks that, at that moment in time,

       the plaintiff did not know how to do. T he plaintiff clearly has no control over [PK] who:



       ® has never lived at the plaintiffs property;
       @ was never a resident nor staying guest at the plaintiffs property;

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      © was never a co-owner of the plaintifrs property;
      @ spent no more than a total of 45 minutes (combined) during those initial 3 years at plaintifrs property;

      ® was/is almost seven years older in age than the plaintiff;
      ® was/is approximately five-inches taller than the plaintiff;
      @ at approximately I SO pounds, was approximately sixty pounds more in weight than the plaintiff;

      ® made much more income and was much wealthier than the plaintiff;
      CD was almost-always very stubborn, hard-headed and in1pulsive as a person; AND
      Q) is not even in the least-bit concerned about the peaceful reputation-and-in1age (@ ) that the plaintiff is carefully and conscientiously

      trying to preserve.



      So, the very moment that [PK] does something out of [PK]'s own indignation that the plaintiff had absolutely no control over, all of the

      most predatory-and-retaliatory weight of [WCLE] decided to "bring-down-the-hammer" on the plaintiff - a pure-victim that was

      completely innocent in every sense of the word.
06.   It is abundantly clear from the recorded conversation that [RSR], in addition to the other hate-crimes that [RSR] had ah-eady committed

      on prior occasions against the plaintiff, also, during this particular incident, committed the hate-crime of 'Jalse report to peace officer,

      federal special investigator, law e,?forcement employee, corrections officer, or jailer" ([TPeC-T8-C37-§37.08]) against the plaintiff by

      deliberately making the fraudulent-accusation that the plaintiff entered onto her property, when [RSR] knew fully-well how scrawny,

       timid and introverted the plaintiff was (and still is to this day). The plaintiff - at 5-feet-7-inches tall - is substantially shorter than [PK]

       who is approximately - 6-feet tall. The plaintiff was (and still is) very-thin and scrawny at approximately 85 pounds, while [PK] was

       only thinner-than-average at approximately 150 pounds. Additionally, the plaintiff had long/uncut hair-and-beard and, as an indigenous-

       person, the plaintiff does not conform the plaintifrs appearance/grooming to White-American standards. [PK] had short/trimmed hair,

       no beard and, generally-speaking, does conform his appearance/grooming to White-American standards. The plaintiff did not (and does

       not) wear any sun-glasses (or any glasses), while [PK] almost always wore sun-glasses during the summer-months. The plaintiff was

       almost always dressed (during the summer, and at that moment in time) in an extra-large ((Democracy Now!)) T-shirt and long-shorts,

       but [PK] wore slightly more fonnal (although not business) attire. The plaintiff has a significantly-stronger middle-eastern/Indian accent,

       while [PK] has a less-pronounced hybrid Indian-American accent. The only real characteristic that the plaintiff shares with [PK] is that

       both persons had/have very dark-brown skin color (although the plaintiff has a slightly-darker skin color than [PK]). Most importantly,

       in every single interaction that [RSR] had with the plaintiff, the plaintifrs behavior/response ranged from timid to timidly-indignant. The

       plaintiff was, thus, also entirely-incapable of doing whatever [RSR] initially fraudulently-accused the plaintiff of doing, and it would also

       have been completely out-of-character for the plaintiff to do so. Therefore, [RSR] knowingly made a brazenly-fraudulent accusation

       about the plaintiff to the [WCLE], in-order-to make the plaintiff - a rather-scrawny, very-timid and relatively-introverted immigrant-of-

       color/indigenous-person (who was terrified of both predato1y White-American neigl1bors and the White-American police) suffer througl1

       the racial-terror of [WCLE] and, one of its extremely predato1y/abusive police officers with considerable racial-animus against the

       plaintiff, [WCSD-PP]. Despite of this, [RSR] was never charged with the hate-crime of[TPeC-T8-C37-§37.08].

07.    [WCSD-PP] a lso knew pe1fectly-well, from his prior interactions with the plaintiff - that the plaintiff was a ve1y-timid, relatively-

        inh·overted, higl1ly-civilized and peaceful person (C) - entirely-incapable of doing whatever [RSR] was accusing the plaintiff of doing.


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      The plaintiff had openly stated to [WCSD-PP] in the prior phone conversation:"/ would pe,wnally follow your advise and knock on

      their door and politely ask them to stop doing it - but, like I said sir, I'm extremely um, you know - nervous in such type situations,

      and I wouldn't want to confront a hostile neighbor. Um ... So, I'm a peaceful person, I don't want to start, I mean, I pe,:wnally

      wouldn't be able to say much if the person is hostile." So, [WCSD-PP] knew fully well, not only that it would have been completely

      out-of-character for the plaintiff to do what [RSR] fraudulently accused the plaintiff of doing, but also that the plaintiff was entirely

      incapable of doing what [RSR] fraudulently accused the plaintiff of doing - with the plaintiff being less than half the size and weight of

      [RSR] and with the plaintiff being approximately 50 pounds lesser in weight than [RSR]'s large-teenage son, [BR] (who weighed

      approximately 140 pounds even at that moment in time)- described by [JSP] as "a big boy". Despite of this knowledge, [WCSD-PP]

      showed his extremely-malicious anger/aggression, motivated by his racial-animus, onto the plaintiff, fraudulently pretending as if the

      plaintiff had done whatever [RSR] was fraudulently-accusing the plaintiff of doh1g - and fully exploiting these fraudulent accusations as a

      fraudulent basis to coerce the plaintiff to sign the Criminal-Trespass-Warning [CTW] against [RSR]'s prope1ty.

OB.   At this moment in time, with [RSR] having resided at her residence [789KLLTX78641] for over two years, and with the plaintiff,

      having resided alone at [788KLLTX7864 l] for over two years (with the exception of an approxhnately four-month-period during which

      the plah1tiffs senior-citizen [FATHER] resided at [788KLLTX78641] with the plah1tiff), and with [RSR] repeatedly prying into the

      plaintiffs private affairs (as documented h1 the previous h1cidents)- [RSR] knew that the plaintiff lived alone at [788KLLTX78641] and

      that [PK] did not live at the plaintiffs property, and that [PK] was never a co-owner of the plaintiffs property. Despite of this

      knowledge, [RSR] knowingly reported fraudulent information to the [WCLE] and/or [WCSD-PP] that a resident and/or co-owner of the

      plaintiffs residence trespassed onto her prope1ty, again committing yet another count of the crime of "false report" ([TPeC-T8-C37-

      §37.08]) against the plaintiff. Despite of [WCSD-PP] determining these two of [RSR]'s accusations about the plaintiff and the plaintiffs

      property (respectively) to be fraudulent, [WCSD-PP] continued to engage h1 vicious abuse/oppression/humiliation against the plaintiff

      regardless of his knowledge that [PK] was never a resident, guest or owner of the plaintiffs property, and continued to egregiously-

      violate the plaintiffs rights by coercing the plaintiff, via racial-intimidation, to sign the [CTW] - which he knew he had absolutely no

      lawful authority to do.

09.   [WCSD-PP] asked the plaintiff about where [PK] lived/resided - and the plaintiff answered somewhere in the "Cedar Park" area - in

      other words, clearly at a residence that was not the plaintiffs, and that was approxhnately ten miles away from the plaintiffs property

      [788KLLTX78641]. Despite of this knowledge, [WCSD-PP] went ahead and proceeded with his abusive verbal-batterh1g to coerce the

      plah1tiff, via racial-intimidation, to sign the illegithnate and unwarranted [CTW]. [WCLE], [WCSD-PP], [WCSD-SP], [RSR], [JJB] and

      [JSP] all knew that the plaintiff lived alone at plaintiffs residence, and that [PK] never did reside at the plaintiffs residence, and that

      [PK] was never an owner of the plaintiffs property. To be clear, even if[PK] lived at the plah1tiffs property (which was never true)

      and even if [PK] was a co-owner of the plaintiffs property (which was never true), even those facts would not have justified a [CTW]

      being issued to the plaintiff, sh1ce such [CTW]s are only issued to people who actually enter h1to others' property without authorization.

      From the beginnh1g of the plah1tiffs ownership of ofresidential property [788KLLTX78641], {2009-03), to this moment in time on-or-

      about the date of {2011-08-30}, [PK] had not spent even one hour at the plaintiffs residence, spending a combined-total of

      approximately 45-minutes on the plah1tiffs property - yet, the plaintiff was viciously punished and humiliated by [WCLE] for [PK]'s

      alleged actions ofh1dignation - which was caused by [WCLE]'s refusal to charge [RSR] and [JJB] for their multiple racially-motivated

      hate-crimes against the plaintiff.


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10.   In an act of clear vandalism against the plaintiff's private-property, [WCSD-PP] violently slammed the [CTW] document form onto the

      plaintiffs [FRONTPORCH]-wall - agdin to impose his racially-motivated abusive/oppressive anger and aggression onto the plaintiff,

      despite the fact that [WCSD-PP] knew fully-well that the plaintiff was not guilty of committing any crime (and for that matter, neither

      was [PK] - see below). All of the illegitimate, abusive, oppressive, coercive tactics that [WCSD-PP] used were done knowingly and

      maliciously in-order-to coerce the plaintiff, via racial-intimidation, to sign a legal document that, at the very least, there was absolutely no

      justification for the plaintiff to have to sign.

11.   [WCSD-PP] used higl1ly-abusive and racist language - reminiscent of the enforcement of the oppressive Jim-Crow-laws/Black-

      Codcs/Vagrancy-laws - for example, shouting-to and racially-threatening the plaintiff that "... IF YOU STEP-FOOT ON THAT

      PROPERTY! - ONE FOOT COMES AND TOUGJES THEIR GRASS! ... YOU GO TO JAIL! ... " - an especially egregious threat

      given that the plaintiff, a very introverted person, had not even stepped out of [HOUSE] on that particular day.

12.   The plaintiff frantically told [WCSD-PP] on multiple occasions that the plaintiff did not step onto [RSR]'s property and the plaintiff even

      failed to disclose that the plaintiff had never even stepped outside of [HOUSE] on that particular day. Despite of the plaintiffs desperate

      pleadings, [WCSD-PP] repeatedly shouted "l DON'T CARE!" - as ifhe was above the law, and as if the law did not matter to him.

13.   [WCSD-PP], in his abusive/oppressive and racist rant against the plaintiff, refers to the "papers" scattered on the plaintiffs yard. Those

      newspapers that [WCSD-PP] was refetTing to were thrown over onto those locations on the plaintiffs property by the newspaper

      delivery person(s), and the plaintiff is clearly not responsible for someone else's actions.

14.   [WCSD-PP] in his racist anger/aggression, continues to loudly and abusively verbally-batter the plaintiff, repeatedly using unjustified

      profanity such as: "YOUR YA.RD LOOKS LIKE SHIT!" Furthermore, [WCSD-PP] repeated these loud, abusive, derogatory and

      racist statements about the plaintiffs yard as if to suggest that the manner in which the plaintiff maintains the plaintiffs private-property

      somehow justifies the racially-motivated hate-crimes that were committed against the plaintiff, and that such alleged maintenance also

      somehow justified the plaintiffbeir1g coerced to sign the [CTW].

15.   In abusively describing the plaintiffs [YARD] as lookir1g like "SHIT", [WCSD-PP] maliciously disregarded the well-known fact that all

      of Central-Texas and most of Tex.as was suffering the worst extreme-drought and extreme-heat in recorded hist01y - with the extreme-

      drougllt and extreme-heat of {Summer-2011} remaining the worst drought and heat in Central-Texas history until {Summer-2023},

      which only recently surpassed {Summer-2011} ir1 tenns of both drought and heat. The plaintiff was not watering any of the vegetation

      in [YARD] - resulting in the grass in [YARD] lookir1g completely parched and sparse - sir1cc, accordir1g to the Water-Utility-Service-

      Provider of the [Summerlyn) subdivision - at that moment in thne, Chishohn-Trail-Special-Utility-District, [CTSUD] - there was

      Stage-4-Drought-Watering-Restrictions in effect, forbidding all automatic-sprinkler-system outdoor-watering, except for manual watering

      using a hose. In particular, the grass in [FRONTYARD], despite having ah-eady having-been cul on a monthly basis, was very sparse

      and parched and not even growing due to the extreme-drougl1t-and-heat. So, the plaintiff is truly clueless as to why [WCSD-PP] keeps

      angrily rantir1g that the plaintiff needed to cut the plaintiffs grass when the grass in [YARD] - which was fully yellow-brown, sparse and

      parched- was not even growing due to such extreme conditions. Again, all of these irrational behaviors/actions/conduct by [WCSD-PP],

      [WCSD-SP], the [WCSO] and their malicious private-citizen co-conspirators with cxtreme-racial-anirnus - [RSR],[JSP],[JJB] - show

      that all of these malicious parties were predatorily weaponizing/abusing/exploiting such property-maintenance-laws as modem-day-Jim-

      Crow law against the plaintiff - acting "under color of law" and under such fraudulent pretext to freely engage in racial-oppression and

      racketeering-activity (particularly, retaliation) against the plaintiff, for the plaintiffs "audacity" to report the racially-motivated hate-

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      crimes that the plaintiff had initially suffered from [RSR] and [JJB] (during the years of {2009} through {mid-2011) ).

16.   [WCSD-PP] loudly shouted and ranted his anger/aggression onto the plaintiff so as to publicly humiliate the plaintiff - a rather-scrawny,

      ve1y-timid and relatively-introverted immigrant-of-color extremely concerned about the plaintiffs own personal-privacy - in front of the

      plaintiffs predatmy White-American neighbors [RSR],[JJB],[JSP] and other witnesses - the first two of whom had already committed

      racially-motivated hate-crimes against the plaintiff. This abusive, humiliative treatment of the plaintiff would be only the first of many

      incidents (spanning over a decade) where members of the [WCLE] would similarly abuse/publicly-humiliate the plaintiff in front of the

      plaintiffs predatory neighbors - again, to reward the plaintiffs predatory neighbors for their abusive predation against the plaintiff, and

      punish the plaintiff for choosing to live in the White neighborhood.

17.   [WCSD-PP]'s extreme dishonesty, manipulativeness and disingenuousness, motivated by his strong racial-anhnus against the plaintiff,

      becomes veiy-apparent in this sequence of incidents. [RSR] weighed more than 200 pounds while the plaintiff weighed approximately

      85 pounds - so, [RSR] was more than twice the plaintiffs size. (To the best of the plaintiffs knowledge and recollection, [RSR] was/is

      also approximately or at least I-inch taller than the plaintiff.) [RSR]'s 14-year-old son, [BR], was described in the conversation by [JSP]

      as "a big b1~v" - and according to the plaintiffs best estimates, was at that moment in time, approximately 140 pounds and probably

      only one-inch or two-inches shorter (if even that) than the plah1tiff. [WCSD-PP], h1 his initial racist verbal-batterh1g of the plaintiff, uses

      the racist dog-whistle that [RSR] has repeatedly peddled for many years, that the plah1tiff - the scrawny 85-pound immigrant-of-

      color/indigenous-person living across the street - is to be feared by the apparently "innocent" (but, in actuality, clearly predatory and

      much-larger) White-American people (who are more than twice the plaintiffs physical size) livh1g around the plah1tif£ Later on in the

      recorded conversation, [WCSD-PP] reveals that [RSR] was planning to enter into the plah1tiffs [HOUSE] - that is a threat to commit

      felony burglary against the plaintiff - and to ",vlwop (the plaintiff's ,mtflor fPl(j'.,) ass". Clearly, nobody who fears a person would

      also threaten to single-handedly burglarize such person's property in-order-to commit felonious assault (or even murder) against such

      person. Only [WCSD-PP]' latter statement is credible, while the former statement just reeks of racist, egregiously-fraudulent-narrative

      and totally-manipulative-dishonesty. So, [WCSD-PP] was repeatedly ush1g dishonest, disingenuous, manipulative and abusive verbal-

      batterh1g and racist narratives to force the plaintiff to sign the [CTW] - which [WCSD-PP] had absolutely no authority to do, given that

      the plaintiff did not enter onto anybody else's property on that day, and in fact, nobody who lived at the plaintiffs property entered into

      anybody else's propetty.

18.   [WCSD-PP] admits that [RSR] made a threat to commit felony burglaiy agah1st the plaintiff and a threat to commit felonious assault (or

      even murder) against the plaintiff (",vltoop (the plai11tifl's and/or /l'Kf's) uss'1 despite of the fact that the plaintiff did not commit any

      harmful action against [RSR]; furtheirnore, it is abundantly clear that [RSR] maliciously made these threats agah1st the plaintiff precisely

      hi-order-to h1cite an abusive response from the [WCLE] against the plaintiff. Despite of [RSR]'s malicious threats to burglarize and

      cause bodily injmy to the plaintiff (and/or [PK]), [RSR] was never charged with the hate-crimes of "assault" [TPeC-T5-C22-§22.0l(a)

      (2)], "terroristic threat" [TPeC-T5-C22-§22.07(a)(I,2)], or "intimidation or inte1ference" [TPrC-Tl5-C301-Sl-§301.171]. Also,

      given the aforementioned substantial-difference h1 physical size between the plaintiff and [RSR] - with [RSR] weighing more than twice

      the plaintiff - it is indisputable that any threat that [RSR] makes to cause bodily injury to the plaintiff should be interpreted as a death-

      threat (threat-of-murder- a racketeering-activity) because the plaintiff(once described as ",'i'cmwny'1 would be entirely defenseless to

      any serious physical attack by [RSR] who weighs more than twice the weight of the plaintiff. It is h1disputable that [WCSD-PP], [RSR]

      and [JSP] - all acting in conspiracy against the plaintiff - engaged in threats of blackmail and violence agah1st the plah1tiff, thereby


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       violating "inte1:ference with commerce by threats or violence" ([18-USC-Pl-C95-§195 l],[18-USC-Pl-C95-§l 959]) - also, an additional

       count of racketeering-act of many dozen such racketeering-acts documented in this lawsuit. Finally, for eve1y count of the [RSR]'s

       and/or [WCSD-PP]'s aforementioned crimes, [RSR] and/or [WCSD-PP] also indisputably c01muitted an additional count of Felony

       Obsh·uction/Retaliation, since under Texas law, any crime committed in retaliation against a witness-victim is a felony crime (and

       analogously, a racketeering-act under federal law).

19.    In addition to all of the other illegitimate reasons that [WCSD-PP] verbally-battered to the plaintiff to coerce the plaintiff to sign the

       [CTW], [WCSD-PP] also demanded that the plaintiff sign the document because, "I GO /IOME !N 20 MINUTES!" In other words,

       according to [WCSD-PP], whether justice is served-or-not highly depends, at the very least, upon what time of day, and during which

       part of [WCSD-PP]' shift/work-schedule that the plaintiff has the misfortune to encounter [WCSD-PP], or for that matter, any other

       member of[WCLE]. As the plaintiff would later find-out, such fully-cormpt, abusive/coercive and egregiously-discriminatmy tactics-

       depriving the plaintiff of the plaintiffs rights - were employed not only by [WCSD-PP] but other members of [WCLE] that the plaintiff

       would have the misfortune of encountering during future incidents that occuned in the following decade (see below).

20 .   Towards the end of the abusive verbal battering, both [WCSD-PP] and [JSP] were both hying to coerce the plaintiff to sign the [CTW],

       even though [JSP] was clearly not a law-enforcement officer. Additionally, [JSP] was a close friend of [RSR] (even knowing of [RSR]'s

       son's name) and so, [JSP] would clearly not be considered a neutral/unbiased observer or a neutral/unbiased third-party. [JSP] did not

       initially acknowledge the abuses/crimes that the plaintiff had already suffered from [RSR], and effectively tried to prevent the plaintiff

       from revealing this information in the presence of [WCSD-PP] - although the plaintiff had already revealed much of [RSR]'s criminal

       actions against the plaintiff to [WCSD-PP]. This lack-of-neun·ality was also evident as [JSP] incorrectly stated the age of [RSR]'s son at

       "12 or 13 ", when [WCSD-PP] had already stated that the large teenager's age was l 4.

21.    Media reports have, for a very long time, documented cases where predatory White-American people and/or police-officers commit

       abusive actions against large children/teenagers (minors), only to later claim that they did not know that the victims of those abusive

       actions were minors. But as evidenced in this incident, as soon as any adult person-of-color - or at the very least, [PK] - only due to

       egregious injustice already suffered (and thus, only out of indignation), issues a threat to sue some abusive White-American adult person

       to the physically-large White-American teenage son (who looked like an adult) of such abusive person, and whom such person-of-color

       did not know to be a minor, then according to [WCLEJ, that act of such person-of-color speaking suddenly becomes an unforgivable

       "crime"that the whole extended-family (including the plaintiff) of such person-of-color must be viciously punished for - even if those

       family members live at different/unrelated properties (such as the plaintiff living at [788KLLTX78641] while [PK] supposedly living

       approximately ten miles away in "Cedar Park').

22.    Although the plaintiff inaccurately stated that [PK] lived in "Cedar Park", in actuality, [PK] only used to live in "Cedar Park", and so,

       [PK] actually resided, at that moment in time, in the [CoA], at a location approximately forty miles away from the plaintiff. However,

       [PK] did at that moment in time, still own the referenced residence in 11Cedar Park" and was cmrently serving as landlord of that

       property (also located within the County of Williamson). [WCSD-PP] made the fraudulent claim that [CTW]s are reciprocal in nature -

       that if the frrst property-owner demands a [CTW] against the second property-owner, then the second property-owner has the right to

       obtain a [CTW] against the frrst property-owner. Although the plaintiff asserts this claim to be fraudulent, as [CTW]s are only supposed

       to be issued in cases where a person actually trespasses onto another•s private-property in an unauthorized manner - even if the

       reasonable observer were to assume [WCSD-PP]'s fraudulent logic and claim to be true, then [RSR] should have been issued two


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      additional [CTW]s for each of [PK]'s aforementioned private-properties. However, no such additional [CTW]s were issued to [RSR],

      further revealing the one-sided-abuse and racist hypocrisy of [WCSD-PP], acting predatorily against the plaintiff and [PK], with full

      authorization of his superiors at the [WCSO].

23.   During this particular incident, [JSP] states that he would never do anything malicious to the plaintiff. However, this lawsuit documents a

      large count of racially-motivated bate-crimes (including many felonious crimes and racketeering-acts) - commitied by [JSP) against the

      plaintiff from the years {2011 } through {2022}. The plaintiff also has strong reason to believe that all four neighbors - [RSR], [JIB] and

      [JSP&K.AP] - were all clandestinely complain ing-to and conspiring-with the [HOA] about the plaintiff since {2009} (and complaining-

      to/conspiring-with defendant [WC] since {2011 }). Thus, [JSP]'s statement is clearly false even at this relatively early moment in time.

      Indeed, in this ve1y incident, [JSP] abusively and unjustly acts "under color oflaw" and with racially-intimidation against the plaintiff to

      coerce the plaintiff to sign the [CTW] - even providing fraudulent and racist justifications for the plaintiff to do so - despite of the fact

      that the [CTW] was abusively and coercively issued to the plaintiff by [WCSD-PP] (acting in full-authorization-of and coordination-with

      [WCSO]) without any legitimate justification whatsoever.

24.   During this incident, [WCSD-PP] even states that [JSP] is a "nice guy". This statement is a clear indication of not merely the extreme-

      racial-bias that exists not only within [WCSD-PP], and by extension, his employer - the [WCSO] - but more broadly, the type of purely-

      racist fraud that [WCLE] has been perpetrating against the plaintiff (for over a decade), that the plaintiff seeks to expose by litigating this

      lawsuit. Indeed, the plaintiff asserts that any reasonable observer that witnesses the decade of racially-motivated hate-crimes (including

      numerous retaliato1y crimes) committed by [JSP] against the plaintiff will inevitably realize the decade of purely-racist fraud that

      [WCLE] bas perpeh·ated against the plaintiff.

25.   In a remarkable feat of outrageously-racist fraud, [WCSD-PP] takes [RSR]'s racist-threats of intimidation/interference/disorderly-

      conduct/blackmail against plaintiff - specifically [RSR]'s multiple threats of foreclosure/eviction against plaintiff - and fraudulently shouts

      in front of all other witnesses (and his police-radio) as if [PK] issued that same threat to [RSR] and/or [BR]. Much of [WCSD-PP]'s and

      [RSR]'s fraudulent statements made during this incident were also brazen acts of retaliatory witness-tampering against the plaintiff -

      corruptly persuading/influencing all of such wih1esses with fraudulent statements against the plaintiff and/or the plaintiff's family-

      members so that such corrupt persuasion/influence could then be used against the plaintiff and/or the plaintiff's family-members in

      police-report(s), criminal-complaint(s), and/or civil-lawsuit(s) (especially with the [HOA] - see below) against the plaintiff and/or the

      plaintiff's family-members. Since the plaintiff asserts that the defendants engaged in outrageously fraudulent conduct, corrupt witness-

      tampering and obstruction-of-justice against the plaintiff and/or the plaintiff's family-members, the plaintiff must, in the course of this

      lawsuit, highlight eve1y instance where one-or-more of the defendants did just that.

26.   Despite [JSP&KAP] being next-door neighbors to the plaintiff, [JSP] admits to the plaintiff and [WCSD-PP] the obvious fact that the

      plaintiff had never done anything to harm [JSP]. In other words, [JSP] clearly admits to the plaintiff and [WCSD-PP] (and thus

      [WCLE]) that the manner in which the plaintiff maintains the plaintiffs property could obviously never harm [JSP&K.AP], even if there

      were a greater amount of bugs/insects/"weeclv''ltall-grass originating from the plaintiff's [YARD] ( ~) - a crucial fact that is completely

      contradicted by much of the subsequent fraudulent rhetoric (and fraudulent criminal-complaint) that the defendants have made against

      the plaintiff in much of the decade that followed this incident.

27.   Both [WCSD-PP] and [JSP] emphasize the issue of the plaintiffs front-yard "bushes''ltrees which they alleged to be growing wild. (It

      should be noted that these "bushes"/trees are located approximately in the middle of the [FRONTY ARD] - relatively far away from the


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       boundaries of the plaintifPs property - so, these neighbors truly do not have any authority over the growth of such vegetation, especially

       if the plaintiff is growing such vegetation as a Constitutionally protected religious practice. Also, it should be noted that the restrictive

       covenants of the neighborhood do not specify that bushes or trees have to be cut to certain height/length/width.) [WCSD-PP] alleges

       that 11e11e1ybody would leave t/,e (plaiutijf) a/011e" if the plaintiff made the "bushes" "look good". Also, at several points in tin1e,

       (WCSD-PP) comments on w hat he alleges to be the "horrible" look of the plaintiffs 'i!lass/"b11sl1es"/yard, further claiming that the

       plaintiffs backyard "looks lilce a da11111 .frm11 ". All of these statements - in conjunction with [JSP)'s statement about the plaintiff never

       doing anything to harm [JSP] - clearly illustrate that the perpetrators of the abuses/hate-crimes against the plaintiff - including [RSR],

       [JJB] and [JSP&KAP] - were, at best, maliciously/predatorily targeting the plaintiff merely for aesthetic/cosmetic issues on the plaintiffs

       property, and at worst, only abusively weaponizing such aesthetic/cosmetic issues as a convenient excuse to maliciously/predatorily

       commit abuses/hate-crimes against the plaintiff, and as a convenient method to circumvent the [FHA], the civil-rights laws and the hate-

       crime laws ( ~) .

28.    In his unlawful interrogation and detainment of the plaintiff, [WCSD-PP] even coerced the plaintiff to show him a photo-ID. Again, the

       plaintiff was inside [HOUSE], minding the plaintifrs own business, did not step onto anybody else's private property and was not a

       suspect in any crime. Therefore, [WCSD-PP) had absolutely no authority to detain or coerce (or even ask) the plaintiff to present a

       photo-ID. This issue of photo-ID is not only an issue of ef!Jegious abuse-of-government-authority but is also an issue of privacy since

       civil-rights/privacy organizations and privacy advocates (such as the plaintiff) insist that the government is not entitled to any information

       - especially photo documentation - when a person is not a suspect of any crime. This action would be considered an egregious abuse-of-

       government-authority and invasion-of-privacy even if the person was on public properly (such as in a vehicle located on a public street),

       but this action would be particularly egregious when it happens on such person's own private property residence (as was the case here)

       where fourth-amendment, fifth-amendment (due-process) and fourteenth-amendment (equal-protection) rights and other privacy-rights

       are extremely high, especially due to the so-called "castle doctrine".

2 9.   To be sure, [WCSD-PP] violated the plaintiff's rights in many ways described in this lawsuit. Given that [RSR] fraudulently accused the

       plaintiff, [WCSD-PP] would have only been authorized to kindly-question the plaintiff to find out if the plaintiff had entered into

       [RSR]'s property. As soon as [WCSD-PP] determined that the plaintiff did not commit the action that [RSR] fraudulently-accused the

       plaintiff of conunitting - which would have happened within a matter of 30 seconds - this should have been the encl of the conversation,

       and the plaintiff should have been free to enter back into [HOUSE], shut [FRONTDOOR], and conduct the plaintift's own private

       affairs without being further disturbed by the [WCLE]. Yet, [WCSD-PP] persisted with his abusive actions against the plaintiff,

       motivated by his strong racial-animus against the plaintiff, thus, forever-traumatizing the plaintiff for no justifiable reason (and in the

       process, taking up over an hour of the plaintiffs time on that particular day).

30.    [WCSD-PP] spoke on numerous occasions over the police-radio back to [WCSO] headquarters, relaying back to [WCSO] the details of

       the events taking place, and even coordinating the course-of-action with the [WCSO] (as police officers are required by policy to do).

       Therefore, it cannot be stated that [WCSD-PP] was a rogue police-officer acting alone (and abusive ly) out of his own racia l animus

       against the plaintiff. Instead, the entire [WCSO] was, at the very least, complicit - if not active participants - in [WCSD-PP]'s abusive,

       oppressive and completely-unlawful sequence of operations against the plaintiff.

31.    [WCSD-PP] admits on at least two separate occasions that [WCSD-PP] defmitively knew that [JIB] was the perpetrator of the multiple

       racially-motivated criminal acts of crim.inal-mischief/illegal-dumpings against the plaintiff - and in doing so, [WCSD-PP] also admitted


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      that the subsequent crimes (after the initial crimes that the plaintiff had ab-eady reported to [WCSD-SP]) committed against the plaintiff

      were crimes of retaliation, thus making them felonious under Texas law (and racketeering-acts under federal law). [WCSD-PP] admits

      that he had spoken to [JJB] about these hate-crimes - but again, even after [WCSD-PP] had spoken to [JJB] about these hate-crimes

      (on a previous day), [WCSD-PP] failed to repott back to the plaintiff about his findings. Despite of these facts, no member of the

      [WCLE] ever charged/prosecuted [JJB] for these hate-crimes - felonious/racketeering-activity or otherwise - that [JJB] commhted

      against the plaintiff.

32.   On multiple occasions, [WCSD-PP] even admits and/or acknowledges that [RSR] illegally entered onto the plaintiffs property in-order-

      to intimidate/interfere-with/harass/blackmail the plaintiff, but yet, no member of the [WCLE] ever charged/prosecuted [RSR] for

      [RSR]'s multiple criminal acts (hate-crimes) of intimidation/interference/harassment/blackmail committed against the plaintiff.

33.   On at least one occasion, [WCSD-PP] even admits that another White-American man and then property-owner of [780KLLTX78641],

      [JH], had asked [WCSD-PP] if he could simply go over onto the plaintiffs property and cut the plaintiffs front-yard "bushes" without

      even seeking permission from the plaintiff. This admission truly reveals the sheer amount of institutionally-racist brazenness that the

      [WCSO] and the plaintiffs predatory White-American neighbors were operating under - that they clearly thought not-only that the

      plaintiff was completely-undeserving of the property [788KLLTX7864 l ], but even more egregiously, that the property

      [788KLLTX7864 l] did not belong to the plaintiff (despite the property-records proving otherwise).

34.   Since the plaintiff had ab-eady reported to [WCSD-PP] that perpetrators had maliciously cut branches from the plaintiffs trees - with the

      plaintiff even showing [WCSD-PP] evidence of such cut-branches - [WCSD-PP] clearly engages in witness-intin1idation against the

       plaintiff when he instructs the plaintiff not to repo1t to the [WCSO], at any point in the future, if any of the plaintiffs neighbors enter

       into the plaintiffs propetty in-order-to cut the plaintiffs vegetation- because according to [WCSD-PP], the plaintiff had consented to

       such crimes on this pmticular occasion. This issue is particularly relevant to the rest of this lawsuit, as the plaintiff has suffered the
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       intentional damages caused by [JSP]'s malicious cutting-of (or more accurately, the parching-of) the plaintiffs no-mow grass

       installation, during the midst of the intense summer-heat-and-drought taking place in a subsequent year (see below).

35.    [JSP], in speaking to the plaintiff and [AJC], admits that "they 1re trying to egg-it-011!" - fully-revealing one of the malicious motives of

       both [RSR]'s actions and [JJB]'s actions. In other words, both [RSR] and [JJB) in their abusive-actions/crimes against the plaintiff, were

       deliberately trying to u1eite/provoke a volatile/violent/erratic/angry/u1dignant response from the plau1tiff, [AJC) and [773KL-2009-2) - so

       that that this volatile/violent/erratic/angiy/indignant response could then be used agau1st those victims of their abuses/crimes. Despite all

       of [RSRTs and [JJBTs many malicious, deliberate and repeated enticements/provocations/harassments of the plaintiff, the plaintiff never

       did take-the-bait and instead, the plaintiff kept composure and simply suffered the injustices on evety single occasion. However, even

       despite of this one-sided cruninally-abusive conduct suffered by the plaintiff at the hands of [RSR],[JJB], the plaintiff was viciously

       punished by the malicious/predatmy actions of[WCLE], while both [RSR] and (JJB] were never charged with any of the many crimes

       that they had already committed against the plau1tiff at this moment in tin1e.

36.    As soon as [WCSD-PP] briefly mentions the topic of the criminal-vandalism (multiple batches of cat-litter, dog-poop dumped onto the

       plaintiffs property), [JSP] immediately says, without any hesitation, that he would never do anythu1g malicious like that against the

       plaintiff - which further proves that all of these parties - [WCLE),[RSR),[JSP&KAP) and even [JH&SH] - knew that [JJB] had

       maliciously committed these racially-motivated hate-crimes against the plaintiff well before the plaintiff knew - with [RSR] even

       admitting that [JJB] had actually bragged and laughed to [RSR] that she had committed these crimes against the plaintiff (see later


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      incidents below), but due to the fact that these malicious individuals were all part of the same conspiracy and racketeering-enterprise
      against the plaintiff, they deliberately and maliciously deptived the plaintiffofthls information.

37.   [JSP], a private citizen, despite not being a member of [WCLE] (nor a member any other law-enforcement-agency), acting "under color

      of law", ordered the plaintiff the sign the [CTW], further serving to coerce the plaintiff (who was under extreme duress) into signing the

      [CTW] - therefore, although [RSR],[JJB] and [WCLE] (led by [WCSD-PP]) were primarily responsible for committing the racially-

      motivated civil-rights-violations documented in this incident, [JSP] entered into the equation when [JSP] unlawfully coerced the plaintiff

      to sign the document - and by contributing to the fraudulent and racist nanative that [WCSD-PP],[RSR],[JJB] were perpetrating - by

      deliberately suppressing the fact that [RSR] had blackmailed/threatened/intimidated/interfered-with/harassed the plaintiff on numerous

      prior occasions - with [RSR] even banging on [FRONTDOOR] to blackmail/threaten/intimidate/interfere-with/harass the plaintiff. When

      the plaintiff tried to bring up these facts to dismantle the fraudulent narrative that all of these malicious persons were predatorily

      perpett·ating against the plaintiff, the plaintiff was immediately shut down by both [JSP] and [WCSD-PP].

38.   [JSP]'s ma11ipulative, chameleon-like behaviors were also revealed in this incident. Right after [WCSD-PP] had ahnost-ended his

      abusive-verbal-battering of the plaintiff, [JSP] sided with [RSR],[JJB],[WCSD-PP], fraudulently-portraying the plaintiff and/or [PK] as

      the wrong-doers, even though, at that point, [WCSD-PP] had already acknowledged the crimes committed by [RSR],[JJB] against the

      plaintiff. After [WCSD-PP] wall<s across the street to speak to [RSR], and after [AJC] enters into the scene, revealing to the plaintiff all

      of the abuses/crimes that [RSR] had committed against [AJC]'s family, [JSP] immediately shifts to the diametrically-opposite position-

      now taking the side of the plaintiff/[AJC] against [RSR]. In other words, [JSP] manipulatively plays-both-sides-of-the-fence during this

      incident, revealing much of his lack of moral-character in the process.

39.   [AJC] - who lived only 3 houses down-the-street from the plaintiff - joked to the plaintiff that he had never "even seen" the plaintiff,

      despite of the fact that both the plaintiff and [AJC] lived at such persons' respective houses for over two yeai~ at that poh1t in time (to

      which [JSP] laughed as acknowledgement), further corroborating the plaintiffs claim that the plah1tiff lived a ve1y-private and very-

      h1troverted life, and still for the most part, continues to do so to this day - fully-in-line-with the plaintiffs religious views and the

      plaintiffs political views. [RSR] maliciously made several fraudulent-accusations against the plaintiff while [WCSD-PP]

      abused/oppressed/humiliated the plaintiff despite of the fact that both of these persons knew fully-well that it would-have-been

      completely out-of-character for the plaintiff to commit whatever action [RSR] and [WCSD-PP] fraudulently accused the plaintiff of

      committing.

40.   k, soon as [PK] arrives back on the scene and parks his vehicle on the curbside of the plah1tiffs property and gets out of his vehicle,

      both [RSR] (with her son [BR] maliciously smilh1g behh1d her) and [WCSD-PP] walk menacingly towards [PK]. [RSR] starts to shout

      some abusive, racist threats at [PK], while [PK] yells back at [RSR] to shut-up and get away from him. [WCSD-PP) did little-to-nothing

      to silence [RSR], but as soon as [PK] yells back at [RSR], [WCSD-PP] literally lunges at [PK]'s face (with only an inch or so separating

      the two) and loudly-orders [PK]: "HEY! SHUT YOUR MOUTH! TURN AROUND AND SHUT YOUR MOUTH!". After [WCSD-PP]

      shouts these orders at [PK], both [PK] and [WCSD-PP] continue-to-stare at each other for at least 5 more seconds with only an h1ch or

      so separating the two. [WCSD-PP] takes this abusive action as at least seven other witnesses (including the plaintiff) are at the scene

      watching, with absolutely no fear that his actions would be perceived to be overtly-racist and abusive, and precisely so that he can

      enforce his style of White-supremacy withh1 such overwhelmingly White neighborhood.

41.   [WCSD-PP] loudly interrogates [PK] in front of all the other witnesses (and anyone else that was outdoors nearby since [WCSD-PP]
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      was talking so loudly and abusively) as to who actually owned the plaintiffs property, brazenly-humiliating the plaintiff as if the plaintiff

      - due to the plaintiffs racial profile - was incapable-of or somehow-unworthy-of owning property in the White neighborhood. The

      plaintiff had already answered to [WCSD-PP) (on a previous day) that the plaintiff was a co-owner of the property, but clearly, due to

      the plaintiffs racial profile, [WCSD-PP) did not believe the plaintiff. Many aspects of this incident are somewhat reminiscent to the

      plaintiff of the {2009} arrest of internationally-renowned Harvard University Professor Henry Louis Gates Jr. at Dr. Gates' Cambridge,

      Massachusetts residence by police officers who were also acting on the complaint(s) of White-American neighbor(s) (although the

      plaintiff was/is clearly not publicly-esteemed and clearly did-not/does-not have the substantially-superior credentials of Dr. Gates).

42.   In his loud verbal-battering of [PK] (clearly motivated by extreme-racial-animus) which was witnessed by all other immediate witnesses

      (including the plaintiff) at the scene, [WCSD-PP] commits the most brazen act of fraud by, figuratively-speaking, putting the extremely-

      abusive and criminal, blackmailing words of [RSR) into [PK)'s mouth. [WCSD-PPJ had already admitted that [PK) issued a threat to

      sue [RSR) (if [RSR] did not stop harassing the plaintiff) in the previous, more-private statements to the plaintiff. But in these loud public

      statements witnessed by many, [WCSD-PPJ shouts that [PK) intended to take [RSRJ's house away from [RSRJ and her family (to

      which, [PK) immediately and vigorously denied making any such statements) - literally taking ahnost exactly the same blackmailing

      words that [RSR] viciously issued against the plaintiff on a previous day- statements of blackmail that [RSR] has even admitted to

      making against the plaintiff in a subsequent incident (see below) - and fraudulently attributing those words to [PK). Once again, this is

      the type of purely-racist fraud that [WCLE) has been engaging in against the plaintiff, starting in the month of this incident, {2011-08),

      and spanning more than a decade after this incident - with ahnost all of this purely-racist fraud being perpetrated in conspiracy with their

      co-conspirators that harbored extreme-racial-animus against the plaintiff: [RSR],[JSP&KAPJ. Once agah1, the motivation behh1d this

      purely-racist :fraud is to obstruct justice by retaliation in an egregious manner that is patently obvious to any reasonable observer: make

      the plaintiff and the plaintiffs brother, [PK], look like the villains, when in fact, both the plaintiff and [PK] were the victims of [RSR),

      while at the same time, protecting the actually malicious-and-predat01y villains - who, out ofno coincidence, happen to be White-

      American - from the legal consequences of the racially-motivated hate-crimes that they committed against the plaintiff and/or [PK).

43.   [WCSD-PP) demands to see [PK)'s driver's license - instead of using the generic tenn "photo-id" as he did with the plaintiff - and it was

      only after [WCSD-PP] looks at [PK]'s driver's license which showed [PK]'s address as a [CoA] address, did it be1;in to sh1k-in to

      [WCSD-PP) that [PK] was never a resident of the plah1tiffs property nor was [PK] ever an owner of the plaintiffs propetiy (as

      [WCSD-PPJ could have just-as-easily verified by checking defendant [WC)'s online property-appraisal records at "wcadorg'), and as

      such, that he had egregiously violated the plaintiffs rights based on the predatory-racist demands of [RSR],[JSP) by coerch1g (using

      racial-h1thnidation) the plaintiff to sign the [CTW] against [RSR]'s property. Instead of shifting course and rectifying the situation by

      apologizing to the plaintiff for egregiously violath1g the plah1tiffs rights, nullifying the unjustified [CTW) that he had fraudulently issued

      to the plaintiff, and chargh1g [RSRJ for makh1g fraudulent-statements and ten'Ol'istic-threat(s) against the plaintiff - both of which were

      racially-motivated and retaliatmy (thus felonious) hate-crhnes and both of which were done hi his presence and the [WCSO)'s presence

      - [WCSD-PPJ continues his abusively racist actions on that day, for example, by making fmiher racist statements and acts of

      intimidation and/or humiliation against the plaintiff - adding further injury to the plaintiffs already-deep psychological wounds - a

      completely innocent witness-victim of all of the abuse described above.

44.   Additionally, there were two other White-American [WCSD]s that were called and/or dispatched-to the scene by [PK], and they too had

      seen, based on all of the information above, that the plaintiffs rights were egregiously violated, but despite of this fact, they just stood in


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       their stationary positions near their police-vehicles, and laughed at the plaintiff, as if the plaintiff was not worthy of any rights. This

       additional fact is further indication that [WCSD-PP] was not a rogue-officer that acted with racial-animus against the plaintiff, but

       instead, that there is, at the ve1y least, a tolerated culture of institutional-racism that much (if not most, and if not all) of [WCLE]

       operates under.
45.    As previously stated, [PK) was indignant that [WCLE) did not charge/prosecute the perpetrators of the hate-crimes against the plaintiff -

       namely [RSR], [JIB] - and decided to take matters into his own hands as a result of those deliberate and malicious actions/ inactions of

       the [WCLE]. But even ignoring this unjust lack-of-prosecution, and given the sequence of events that did take place (thanks to the

       deliberate/malicious actions/inactions of the [WCLE]), the only people that should have been issued [CTW]s on that day were [RSR]

       (two [CTW]s - one [CTW] against the plaintiff's property and another [CTW] against [AJC]'s property) and [PK] (one [CTW] against

       [RSR]'s property). There was absolutely no reason for the plaintiff, [AJC] nor [773KL-2009-2] to have to sign [CTW]s but this was

       exactly what took place by the end of that day, thanks to the extremely abusive and racist actions of [WCSD-PP] (fully-authorized-by

       and coordinated-with the [WCSO]).

46 .   In his racist and abusive verbal-battering of the plaintiff, [WCSD-PP] abusively shouts the "abusive, indecent, profane or vulgar"

       (and/or "obscene'') word "shit" multiple times. Police officers use of profanity is only reasonable and justifiable during "exigent

       circumstances" - for example, when ordering suspect(s) evading atTest to stop and submit to the arrest. When police officers use

       profanity during interactions with private citizens outside of "exigent circumstances" - especially when unprovoked and during normal

       conversation - it is, at best, considered to be ve1y unprofessional by any reasonable person, and at worst, considered to be Disorderly-

        Conduct and/or Harassment and/or Official-Oppression by any reasonable person.

4 7.    [WCSD-PP]'s unprofessional use of profanity (for example, his repeated and loud use of the word "shit'') is completely overshadowed

        by his abusive/aggressive verbal-battering of the plaintiff (motivated by his strong racial-animus against the plaintiff), and his total

        violation of the plaintiffs rights. [WCSD-PP]'s, [RSR]'s, [JJB]'s and [JSP]'s predat01y actions against the plaintiff in this incident far

        exceed racist-unprofessio nalism and racial-discrimination ([42-USC-C45-SI-§3604]) and were effectively criminal in nature - namely, an

        egregious violation of the intimidation/interference/deprivation/conspiracy criminal-law specified in [42-USC-C45-SI-§36 \ 7], [42-USC-

        C45-SII-§363 l], [ 18-USC-PI-C 13-§242], [18-USC-PI-C 13-§241], [TPrC-T 15-C30l-Sl-§301. l 7 l].

48.     On the [CTW] form that [WCSD-PP] issued (in the most egregiously unlawful manner) to the plaintiff - a carbon-copy of which was

        also provided to [RSR] - [WCSD-PP] filled out the plai.ntifrs date-of-birth and possibly other private information. At no point in time

        did the plaintiff authorize [WCSD-PP] to disclose the plaintiff's date-of-birth (or any other private information) to any third-party, and as

        the plaintiff's previous recorded (private) interaction with [WCSD-SP] showed, the plaintiff felt ve1y uncomfortable about providing

        such private infonnation even in a private setting, taking extra precautions (by whispering) to ensure that other people could not overhear

        any private transmission of such private information to [WCSD-SP]. So, knowing how tremendously-concerned the relatively-

        introverted plaintiff was about the plaintiffs privacy, [WCSD-PP] deliberately and maliciously performed this additional abusive action

        to violate the plaintiff's right to privacy, in essence, conunitting the additional crime of [ Texas Penal Code :           Title 8 .

        Offenses Against Public Administration :                        Chapter 39 . Abu se of Office:             §39 . 06 Misu se of Official

        I nformation) [TPeC-T8-C39-§39.06] against the plaintiff.

 49.     [WCSD-PP] unprofessionally and cunningly smiles at the plaintiff as he hands a copy of the [CTW] form to the plaintiff that [WCSD-

        PP] said [RSR] refused to sign. [WCSD-PP] further toys-around with the plaintiff, with a malicious smile on his face, maliciously stating


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      in front ofat least seven other witnesses, "RIGHT. YOU ACTUALLY SIGNED IT! SHE WOULD NOT SIGN IT! " - maliciously

      suppressing the fact that he, and to a lesser extent - his co-conspirator [JSP] - had engaged in brazen racial-intimidation in-order-to

      fraudulently coerce the plaintiff to sign such [CTW]. The plaintiff was absolutely furious at [WCSD-PP] for his extremely abusive and

      racist actions. In this incident, [WCSD-PP] had engaged in racial-intimidation (including abusive verbal-battering) of the plaintiff to

      effectively coerce the plaintiff (who was under duress) to sign the [CTW) when there was absolutely no j11stification for [WCSD -PP) to

      do so. The plaintiff, under extreme duress, ended up caving-into the abusive/oppressive racial-intimidation tactics by signing the [CTW]

      due to the abusive/oppressive coercive actions of both [WCSD-PP] and [JSP]. And yet, [WCSD-PP] did not coerce [RSR] to sign both

      of the [CT W] forms issued to her on that day (based on the demands of two different properties' owners) - when [RSR] was the only

      perpetrator of crimes that were worthy of, not only, multiple [CTW]s, but also, at the very least, multiple criminal charge counts of

      Intimidation/ Interference/Disorderly-Conduct/Blackmail against the plaintiff, and at least one additional crimina l charge count of

      Disorderly-Conduct for the crime that [RSR] committed against [AJC]'s family. The motives of [WCSD-PP]'s extremely abusive, racist

      actions is obvious - these actions were deliberately performed to make the plaintiff look guilty of some fraudulently-accused bad action

      that the plaintiff clearly did not commit, and to make [RSR] look innocent of the multiple malicious criminal actions that she clearly did

      commit against the plaintiff and at least one additional malicious action that [RSR] corrunitted against [AJC], [773KL-2009-2] (as

      witnessed and/or reported by these multiple witnesses). A secondary motive of [WCSD-PP]'s actions was to publicly-humiliate the

      plaintiff and to make the plaintiff look Like a chump/fool - as the plaintiff was c learly duped and taken-advantage-of by [WCSD-PP],

      [RSR] and [JSP]. The most sinister motive of [WCSD-PP]'s actions was to destroy the plaintifrs peaceful, highly-civilized, social-

      justice-activist reputation (@ ) , make the plaintiff look Like an aggressor, and make [RSR] look like the victim of the plaintifrs

      aggression - when the actual recorded course of incidents, and when the plaintifrs physique versus [RSR]'s physique - with [RSR] being

      more than twice the plaintiffs physical size and weight - both reveal the exact-opposite findings.

50.   When [AJC] and [AJC]'s wife, [773KL-2009-2], were repeatedly trying to report to [WCSD-PP] the malicious abuses/crimes that

      [RSR] had committed towards them, [WCSD-PP] shouted-out-loud as if to defend/justify [RSR]'s abuses/crimes, pretended as if there

      was "craziness" on both sides of the street - despite of[WCSD-PP]'s knowledge that the plaintiff (unlike the plaintiff s malicious

      neighbors [RSR],[JJB]) did not even approach (let alone threaten) any of the plaintiffs neighbors, especially given the p laintifrs

      timid/inh·overted/highly-civilized demeanor and the pla intiff's racial/political profile. It is abundantly clear to any reasonable person, that

      even if [WCSD-PP],[RSR],[JJB],[JSP]'s allegations that the plaintiff-did-not-take-care-of-[YARD] were true, that truth, in no way,

      confers "craziness" upon the plaintiff, especially if the plaintiff was morally-opposed to cutting vegetation due to the plaintiff's

      indigenous religious views/practices.

51.   Just like almost-all of the criminally-abusive actions against the plaintiff committed by [WCSD-PP] and his e mployer, the [WCSO], on

      this particular day, [WCSD-PP] and his employer, the [WCSO], completely abused their authority against the plaintiff when [WCSD-

      PP] made numerous disparaging statements about the plaintiffs private-property, including when [WCSD-PP] stated, "So, get a rake,

      andjust rake it up!", and "... ifyou were to trim these bushes and make em look good - eve,ybody would leave you alone!" - as if the

      [WCSO] (or for that matter, any agency of government) had any right to intin1idate and/or dictate-to any private-citizen, let alone

      person-of-color, how such private-citizen was to maintain the vegetation on his/her private-property - which, in almost-all cases (except

      in cases of demonstrable harm caused - see section above), is the exclusive, Constitutiona lly-protected right of such private-property-

      owner.


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52 .   [WCSD-PP] then cuhninates his loud, offensive rant by shouting, with a smile on his face, about the [FRONTYARD], "THJS Y,4RD

       IS FRICK/NG HORRIBLE!" and then while lookin~pointing at the plaintiff and the [HOUSE], loudly shouted, with a smile on his

       face, to the plaintiff, the extremely-offensively, racist statement in the edge of the street/sidewalk with at least seven other witnesses in

       the area: "AND D O YOU RUN THE AIR-CONDITIONER IN THERE'!! CAUSE IT SMELLS REA LLY BAD!" It is important to

       note that, although the plaintiff had, during a previous day, asked [WCSD-PP] to enter into the [HOUS E] so that the plaintiff could

       speak to [WCSD-PP] in private (without any malicious neighbors overhearing the conversation), [WCSD-PP] had rejected the plaintifl's

       request, arrogantly deeming that the plaintiff had ah·eady explained everything that [WCSD-PP] needed to know. In other words, at no

       point in time did [WCSD-PP] ever enter into the [HOUSE], but yet, [WCSD-PP] was somehow made aware ofan alleged odor from

       the inside of the [HOUSE], which clearly revealed to the plaintiff that [WCSD-SP] malic iously-reported to her co-workers at the

       [WCSO] about private/confidential alleged details of the plaintiff's person and property - despite [WCSD-SP] being repeatedly told by

       the plaintiff that the plaintiff did not want any private details about the plaintiff and/or the plaintiff's property (whether alleged or actual)

       revealed to anybody else (including her co-workers at the [WCSO]). This fact further establishes the abusive and institutionally-racist

       culture of [WCLE] that the plaintiff seeks to substantially-expose in executing this lawsuit.

53.    The exact sequence of dialogue was as follows. [WCSD-PP] loudly shouts the racist statement while looking at the plaintiff, "AND DO

       YOU RUN 11/E A IR-CONDITIONER IN THERE?! CAUSE IT SMELLS REALL Y BAD!" The plaintiff is utterly shocked by

       [WCSD-P P]'s ove1tly-racist statement shouted-out, for humiliative purpose, in front of all the other witnesses at the scene. Due to the

       plaintiff's shock, and thus silence, [PK] indignantly responds, " Well! That's his /Jome! Right, co111eo11! ", to which, [WCSD-PP] then

       loudly responds with laughter, "NO, I UNDERSTAND, THAT'S FINE! IT CAN SMELL BAD, IF HE WANTS I T TO!". As the

       rest of this lawsuit seeks to document, this would not be the only incident of extreme racist-unprofessionalism and public-humiliation that

       the plaintiff has suffered from [WCLE], and the plaintiff simply began to realize the fact that such racist-unprofessionalism and public-

       humiliation was simply just part of [WCLE]'s way of punishing, and thus deterring, person(s)-of-color (such as the plaintiff) from

       seeking the taxpayer- funded services of [WCLE]. Far more importantly, this dialogue and all of the incidents that led up to it, reveal to

       any reasonable observer that [WCSD-PP], and by extension the rest of [WCLE], thoroughly-enjoyed violating the plaintiff's rights - that

       these types of racially-motivated civil-rights-violations were simply one of the perks and/or privileges for White-American government-

       employee working at [WCLE).

54.    [PK) uses the veiy accurate term "inte,fere in" to describe [RSR]'s, [JSP]'s, [JJB]'s and [WCLE]'s racially-motivated hate-crimes/civil-

       rights-violations/racketeering-acts/abuses against the plaintiff - that none of these paities had any right to interfere-with the plaintiffs

       right to private-property, as such rights are fully protected under both federal law (the [FHA]) and under state law (the [TFHA]).

55.    [WCSD-SP] was aware of the plaintiff's lack of furniture (see above). Both [WCSD-SP] and [WCSD-PP] were aware of the plaintiff's

       lack-of-use of the air-conditioner, and from other information regarding the manner in which the plaintiff was living - in particular, the

       plaintiff's off-grid lifestyle - they, and by extension [WCLE], drew the conclusion that the plaintiff was living in poverty. A common

       theme that is expressed in this lawsuit is that [WCLE] predatorily targeted the plaintiff along with their co-conspirators [RSR],

       [JSP&KAP] because they believed the plaintiff to be entirely powerless to expose their predatory abuse. In other words, the defendants'

       perception that the plaintiff is a powerless, low-IQ, racial-minority living in poverty played a crucial role in the decade of predato1y abuse

       that the plaintiff suffered at the hands of the defendants (   e ). The plaintiff asserts that any government that predatorily targets a racial-
       minority or a poverty-stricken person - or worse, a person that is both - is committing the most serious type of predato1y abuse - akin lo

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       the predato1y targeting of the elderly, the predatory targeting of young children, or the predatmy targeting of disabled person(s). At least

       some of the injunctive relief that the plaintiff seeks is intended to ensure, not only that the government is prohibited from predatorily

       targeting any racial-minority over the issue of private-property-maintenance, but also that government is prohibited from intimidating,

       coercing, threatening, criminalizing or othe1wise predatorily-targeting any person for such persons(s) poverty-based lifestyle - especially

       over the issue of private-property-maintenance (see below).

56 .   Right after [WCSD-P P] made the aforementioned extremely-offensive, racist statement, both [AJC] and [773KL-2009-2] - who were,

       at that moment in time, rightfully-protesting that all of the abuses/crimes ("craziness") were one-sided, exclusively committed by [RSR]

       against them - were inunediately turned-off/repulsed by the extremely-offensive, racist demeanor/speech of[WCSD-P P], and so, [AJC]

       and his w ife, [773KL-2009-2], then turned with disgust towards the other police officers (who were acting in a less-offensive/less-racist

       manner at that moment in time), so that they could protest/report the abuses/crimes of [RSR] and lodge their legitimate complaints to

       these less-offensive/less-racist police officers at the scene.

57 .   It is important to note that [WCSD-PP]'s exh·emely-offensive, racist, abusive, loud comment about an alleged odor inside of the

       [HOUSE] which was clearly heard by at least 8 other w itnesses, even if trne, would, just like [WCSD-PP]'s illegal disclosure of the

       plaintiff's date-of-birth, also be an additional count of criminal-act ( Texas Penal Code ,                   Title 8 . Offenses Against

       Public Administration•              Chapter 39 . Abuse of Office :                     S39.06 Misuse of Official Information)

       [TPeC-T8-C39-§39.06] by [WCSD-PP] against the plaintiff. As the plaintiff would later discover, these criminally abusive actions

       committed by members of the [WCLE] against the plaintiff were just part ofa much larger pattern of malicious misuse-of-official-

       information, invasion-of-privacy, racial-oppression, and public-humiliation that would continue to reveal itself in future incidents that the

       pla intiff suffered from [WCLE] and its co-conspirators [RSR],[JSP&KAP] - as the plaintiff would suffer multiple incidents of such

       criminally-abusive actions by [WCLE] acting in conspiracy with [RSR] ,[JSP&KAP].

58.    [RSR],[WCSD-PP],[JJB],[JSP]'s criminal-actions and abusive-treatment of the plaintiff and [PK] were/are also extremely racist, vile,

       uncouth, barbaric and uncivilized because both the plaintiff and [PK] were, more-likely-than-not, to have been the most educated

       persons at the scene, w ith both the plaintiff and [PK] having graduated from [UT-Austin] - a so-called "Public Ivy" University - and

       with the plaintiff's education-profile (and [PK]'s education-profile) being a crncial component of the plaintiff's racial-discrimination and

       fraud (racketeering-act) cla ims against the defendants.

59.    Ln her racially-motivated verbal threats to [PK) that took place right in front of [WCSD-PP] and 7 other witnesses, [RSR] also uses the

       homophobic slur "ll'acl,y wife" to derogatorily refer to the plaintiff, so as if to indicate that the relationship between the plaintiff and

       [PK] was not a brother-brother relationship, but rather, a husband-wife relationship. So, during this incident, [RSR],[WCSD-PP],[JSP]

       not only used racial-intimidation in-order-to violate the plaintiff's rights, but [RSR) also resorted to using homophobic-intimidation

       against the plaintiff based o n her homophobic-animus against the plaintiff.

60 .   Right after she used the homophobic-slur "wacky wife" against the pla intiff and [PK], [RSR] immediately turns-around (facing the

       direction of [JSP],[JH&SH]) and laughs towards her White-American co-conspirators ([JSP],[JH&SH]), further showing that all her

       malicious actions against the plaintiff lead ing up to this day (and including this day) were deliberately committed in-order-to publicly-

       humiliate the plaintiff and in-order-to publicly-violate the plaintiff's rights, and further s howing that [RSR] thoroughly-enjoyed ( cp)

       publicly-violating the plaintiff's rights. [RSR]'s abusive use of a homophobic slur, in this public setting, to fra udulently describe the

       relationship between two brothers - the plaintiff and [PK] - who also happen to be immigrants-of-color, a lso demonstrates [RSR]'s


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       maliciousness in her utter disregard for the extreme harm that she had-caused and was-continuing-to-cause to the plaintiff. In other

       words, it was not good enough to [RSR] that [RSR] deliberately made multiple fraudulent-statements, terroristic-threat(s), and racial-

       intimidation against the plaintiff and [PK], in-order-to to fraudulently coerce the plaintiff to sign such [CTW], but on top of a ll of these

       crimina lly-abusive actions, [RSR] had to shout such fraudulent homophobic slur in front of 7 other witnesses to deepen the wound of

       the plaintiff's already severe-injury. Despite of all of the extreme abusive harm that [RSR) committed against the plaintiff on this

       particular day and on previous occasions (as documented in the aforementioned previous incidents), [RSR] was rewarded (rather than

       criminally-charged-and-prosecuted) with the extremely-malicious, institutionally-racist, obstructive-and-retaliatory, blackmailing-and-

       defrauding racketeering-actions of [WCLE] - and in pa11icular, one of its more abusive police-officers, [WCSD-PP] - against the

       plaintiff.

61.    [WCSD-PP], in ordering the plaintiff to leave the plaintiff's door open and in ordering the p laintiff to make a phonecall to the plaintifrs

       brother [PK], was in effect, unlawfully and fraudulently detaining the plaintiff (false-imprisonment) - in total violation of the plaintiffs

       rights - particularly, the plaintifPs fourth-amendment right to be free from unreasonable search/seizure. Despite unlawfully detaining the

       plaintiff, [WCSD-P P] never informed the plaintiff of the plaintiffs Miranda-rights, thus, also in total violation of the plaintifPs due-

       process rights.

62 .   Also, in publicly-humiliating and abusing the plaintiff in this egregious manner documented in this incident (within a public setting - with

       other witnesses watching and listening), [WCSD-PP],[RSR],[JSP] totally violated the plaintiffs eighth-amendment-right to be free from

       cruel-and-unusual-punishment - even more egregious given that the plaintiff had not been granted any jury trial alleging any criminal

       violation(s) against the plaintiff.

63.    During this incident, and as the plaintiffs audio-recording reveals, [WCSD-PP], [RSR] and [JSP] - in their mannerisms and conduct -

       thoroughly-enjoyed ( q>) abusing the plaintiff and violating the plaintiffs rights - a pattern of predato1y abuse that would repeat itself in

       countless incidents in the decade that fo llows this incident, thanks to this toxic environment of modern-day-Jim-Crow racist- lawlessness

       around the plaintiff created, fostered and nurtured by [WCLE]. [WCSD-PP] shouts loudly and abusively making one fraudu lent and/or

       racist statement after another against the plaintiff in his loud, abusive rant - while smiling on at least two different occasions:® after he

       had coerced, using racial-intimidation, the plaintiff into signing the [CTW], while refusing to coerce [RSR] to sign the her [CTW]

       document, returning that unsigned document back to the plaintiff, AND ® as he was loudly-shouting to a substantial fraction of

       neighboring residents within the sh·eet (not just the eight wihlesses nearby), the racist statement that there was an odor from inside of the

       plaintiffs [HOUSE).

64 .   During the night following this traumatizing incident, the plaintiff could not sleep, literally tossing-and-turning in bed for over six hours

       while the plaintiff fa iled to fall sleep - the plaintiffs mind too caught-up-in and rum inating-over the h·aumatizing, malicious, extremely-

       unjust and predatory abuse that the plaintiff suffered from [WCSD-P P],[RSR],[JSP] during the previous afternoon/evening.

65.    To this day, the plaintiff feels exh·emely-violated and exh·emely-h·aumatized by this entire incident (especially given the series of other

       traumatizing incidents that led up to it), but these initial incidents at the plaintiffs residence of [788KLLTX7864 I] also taught the

       plaintiff an excruciatingly-painful lesson that the plaintiff must never-trust any police-officer - particularly White-American police-officers

       - because despite of the plaintiffs racial/physical profile and the plaintiffs well-justified distrust-of-police-officers, these particular police

       officers egregiously violated the plaintiffs trust in them, and acted in a deliberately-coordinated and calculated-manner to oppress and

       humiliate the plaintiff in a very public setting (witnessed by many). Clearly, these malicious police officers - [WCSD-PP], and to a


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      smaller degree, [WCSD-SP] - deliberately and maliciously violated the plaintiffs trust in them so as to make the plaintiff, in general,

      even-more-untrusting-of (than the plaintiff already was prior to this incident) police-officers - particularly White-American police

      officers. After this incident, these brazenly predatory/retaliato1y actions of the [WCSO] made it abundantly clear to the plaintiff that any

      attempt made by the plaintiff to report hate-crimes committed against the plaintiff - for example, by the plaintiffs malicious neighbors -

      would be met with vicious acts of predatory retaliation by [WCLE) - a long trend and pattern of vicious retaliation that the plaintiff has

      suffered from [WCLE] to the present day.

66.   Based on the audio-recorded conversations alone, it is totally indisputable that [WCSD-PP] committed the crimes of [Texas Penal

      Code:     Title 8 . Offenses Against Public Adulinistration:                                   Chapter 39 . Abuse of Office:      §39 . 0 3

      Official Oppression] [TPeC-T8-C39-§39.03] and [Texas Penal Code :                                       Title 8 . Offenses Against Public

      Admin istration :        Chapter 39 . Abuse of Office •                    §39 . 0 2 Abuse of Official Capacity) [TPeC-T8-C39-

      §39.02], and [Texas Penal Code:              Title 8 . Offenses Against Public Administration :                           Chapter 39 . Abuse

      of Office ,       §39 . 06 Misuse of Official Information] (TPeC-T8-C39-§39.06] against the plaintiff - in addition to the

      intimidation/interference/deprivation/conspiracy crimes specified in: [42-USC-C45-SI-§36 I 7], [42-USC-C45-SII-§363 I], [ 18-USC-Pl-

      C 13-§241], [18-USC-PI-C 13-§242], [TPrC-Tl5-C30 I-SI-§301.171). Despite of these facts, [WCSD-PP] was never charged nor

      prosecuted for these crimes against the plaintiff, even though, and as the record will show (see below), the plaintiff did report [WCSD-

      PP]'s misconduct to his superior(s) at the (WCSO).

67.    It is indisputable that (WCLE], and in particular [WCSD-PP], conspired with (RSR] and [JSP] against the plaintiff, with all three of

       these co-conspirators using racial-intimidation to coerce the plaintiff to sign the [CTW] so that all three of these co-conspirators could

       then use this fraudulent [CTW] to fraudulently portray the plaintiff as a nefarious person, when neither the plaintiff nor the [PK] acted

       in any nefarious manner. In particular, all three of these co-conspirators used racial-intimidation to coerce the plaintiff to sign the [CTW]

       so that [RSR] could then show to other White-American residents of the neighborhood, that the plaintiff had trespassed onto her

       property and issued a threat to sue [RSR] to her teenage son, which, as the sequence of incidents described above shows, is completely

       fraudulent with respect to the plaintiff, and completely misleading with respect to (PK]. [WCLE] thus gave this coerced (CTW] as a

       fraudulent "trophy" to [RSR] - a "trophy" that [RSR] could then fraudulently show off to other White-American residents of the

       neighborhood, in-order-to engender more racial-animus against the plaintiff in the ove1whelmingly White-American neigl1borhood -

       which as future incidents do show, [RSR] did do manipulat ively and masterfully - even leading to multiple fraudulent and/or

       fraud ulently-motivated legal actions against the plaintiff (by [WCLE] and/or the [HOA]) - see below.

68.    As the plaintiff would only later find out - approximately seven months after this incident (see below), [WCSD-PP] had deliberately not

       written any police-repmt for documenting any of the traumatizing (to the plaintiff) criminal events taking place during the incident above

       (during the date of {20 11 -08-30} and starting from the moment in tin1e when the [WCSO] received that terroristic-threat phone-call

       from [RSR] against the plaintiff) - despite of the fact that several counts of felony crimes and racketeering-acts were committed against

       the plaintiff during this day alone (even ignoring all of the crimes committed against the plaintiff on prior days) - all of which were

       racially-motivated. The plaintiff thus further asserts that [WCSD-PP], and by extension, the [WCSO], committed another count of the

       crime of Obstruction-of-Justice against the plaintiff by deliberately failing to write a police-report on this incident, as in his deliberate

       failure to write such police-report, [WCSD-PP] and the [WCSO] were deliberately concealing all evidence of the racially-motivated

       crin1es/civil-iigl1ts-violations that he (and the [WCSO]) committed against the plaintiff, and all of the racially-motivated crime(s) that his


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      co-conspirators ([RSR],[JSP)) had committed against the plaintiff during this particular incident - forever impeding the due

      administration of justice.

69.   As the plaintiff would only later find out - approximately nine years after this incident in the year {2020) - at least one of the years

      during which (RSR] did criminal-trespass onto the plaintiffs property on at least two different occasions (the dates of {2020-02-28},

      {2020-06-04) ), the [WCSO] would infonn the plaintiff that there is no evidence of any such [CTW](s) being issued to [RSR], thus

      preventing [RSR] from being charged for these two counts of criminal-trespass against the plaintiff. Thus, the plaintiff further asserts

      that the [WCSO] committed another separate count of the crime of Obstruction-of-Justice against the plaintiff by deliberately destroying

      at least some (if not all) of the evidence of their criminal actions against the plaintiff and their co-conspirators' ([RSR],[JSP)) criminal

      actions against the plaintiff committed on that particular day ({2011-08-30})- further impeding the due administration of justice.

70.   [WCLE]'s failure to charge and prosecute [RSR] even for the most basic multiple counts of criminal-trespass in the following years -

      again, ignoring her serious felony crimes against the plaintiff - onto the plaintiffs private property (see below) is fu1ther evidence of the

      plaintiffs fraud claim against the defendants. [WCLE] used racial-intimidation and coercion to fraudulently coerce the plaintiff to sign a

      [CTW] against [RSR]'s property based upon the fraudulent condition that [RSR] would be prosecuted for entering into the plaintiffs

      property at any point in the future. However, as those later incidents would show (see below), [WCLE] never even meant on fulfilling

      their end of this fraudulent bargain.

71.   It is indisputable that [WCSD-PP], [RSR], and [JSP] all additionally committed multiple count(s) of the crime of "Fraud" ([TPeC-T7-

      C32-§32.46], [TPeC-T7-C32-§32.5l] and [TPeC-T7-C32-§32.32)) against the plaintiff; when the fraudulently coerced, using racial-

      intimidation, the plaintiff (who was under duress) to sign such [CTW] - while also maliciously including the plaintiffs personally-

      identifying information (name and date-of-birth) on such [CTW] - and that their crime of "Fraud" committed against the plaintiff was

      also a retaliatory (thus felonious) crime committed against the plaintiff.

72.   As traumatizing as this incident was (and still is) to the plaintiff, this predatmy incident would be just one of numerous predatory

      incidents (documented in this lawsuit) involving the defendants [RSR], [JSP] (and/or [KAP)), and [WCLE] - almost always involving

      White-American police-officers/government-employees of defendant [WC] - against the plaintiff in which all of such defendants acted in

      a shamelessly (and overtly) racist and predatory manner against the plaintiff - as if they were not even in the least bit ashamed or

      concerned that they would be accused of modern-day-Jim-Crow predatory-racism by the plaintiff - as if proudly wearing and flaunting

      their modern-day-Jim-Crow predatory-racism ai,>ainst the plaintiff as a badge-of-honor, that they will never apologize for.

73.   Instead, as future incidents would show, every single malicious and/or predatmy action taken by [JJBJ, defendants [RSR],[JSP] (later

      even [JSP]'s wife, defendant [KAP)) and defendant [WC] (in particular, [WCLE)) against the plaintiff; would be further acts of

      retaliation against the plaintiff, as the defendants had already, at this point in time, developed their substantial racial-animus against the

      plaintiff- for the plaintiffs "audacity"to report racially-motivated hate-crimes of the plaintiffs predatmy White-American neigl1bors

      [RSR],[JJB]. [WCLE], in particular, would become incensed against the plaintiff, when the plaintiff revealed to [WCLE] in the following

      year {2012) (see below) that the plaintiff had audio-recorded at least some, if not all, of these plaintiffs interactions with members of

      [WCLE], thus already amassing a substantial amount of highly incriminating evidence against [WCLE], and it is this ever-increasing

      anger against the plaintiff, accumulating over the decade that followed, that would continue to fuel the defendants' predato1y and

      retaliatmy actions against the plaintiff.

74.   To ensure that Ibis Court is fully-aware-of and fully-clear-about the actual sequence of incidents, at this point in time, in the


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previous years {2009} and {2010}, (RSR] - a White-Ame1ican person weighing-more-than-twice-the-weight-of and significantly-

older-than the plaintiff - committed multiple counts of the actual racially-motivated hate-crimes of racial-intimidation

(intimidation/interference), disoroedy-conduct, harassment/stalking, and blackmail against the plaintiff, an immigrant-of-

color/indigenons-person (see previous incidents documented above), while (JJB] - a White-American person, weighing

approximately sixty pounds more than the plaintiff, with blonde-hair/blue-eyes and also significantly-older-than the plaintiff -

committed multiple counts of the actual racially-motivated hate-crimes of illegal-dumping and criminal-mischief against the

plaintiff, with at least some counts of these racially-motivated hate-crimes being felonious counts of the retaliatory crime of

obstruction/retaliation (see previous incidents documented above). In response to the racially-motivated hate-crimes that

(RSR],(JJB] committed against the plaintiff which (WCLE] not only ignored, but actually provided outrageously fraudulent

and racist justifications for (see above), the plaintifrs brother [PK], indignant that (WCLE] completely disregarded those

racially-motivated hate-crimes committed against the plaintiff, issued a threat-to-sue (RSR] to (RSR]'s physically-large teenage

son (BR] (whom [PK] did not know to be a minor), if (RSR] continued to commit any further racially-motivated hate-c,imes
against the plaintiff - an action by [PK] which the plaintiff begged [PK] not to do, prior to [PK] leaving the plaintifrs

(HOUSE] (original audio-recording exhibit available). However, according to the plaintifrs understanding of both federal law

and state law, [PK] did not commit any crime. In response to (PK]'s threat-to-sue [RSR] if (RSR] did not stop engaging in

racially-motivated hate-crimes against the plaintiff (which is not a crime):



® [RSR] committed further counts of felony obstruction/retaliation by committing the retaliatory hate-crimes of two counts
of False-Report (both against the plaintiff), two counts of Witness-Intimidation (one against the plaintiff and one against

[PK]), one count of Terro1istic-Threat (against the plaintifl), one count of Assault (against the plaintifl), one count of

Harassment (against the plaintifl), at least two counts of Disorderly-Conduct (one against the plaintiff and one against [PK])

and additional count(s) of Racial-Intimidation (one against the plaintiff and one against (PK]), one count of Texas-Fraud

(against the plaintiff), one count of Criminal-Conspiracy (against the plaintifl) - all against the plaintiff, an immigrant-otc
color/indigenous-person that is completely innocent witness-victim of all of the above - with all of these felonious hate-crimes

also being retaliatory federal crimes (18-USC-PI-C47-§1001],(18-USC-PI-C73-§1512],(18-USC-PI-C13-§242],(18-USC-PI-C13-

§241],(42-USC-C45-Sil-§3631] and thus racketeering-acts - and with all of these felonious hate-crimes being witnessed directly

by [WCLE] and one of its more abusive police-office,~ with substantial mcial-animus against the plaintiff, (WCSD-PP].



® (WCSD-PP] committed the racially-motivated hate-crimes of at least one count of Witness-Intimidation (against the
plaintifl), two counts of Racial-Intimidation (one against the plaintiff and one against (PK]), two counts of Disorderly-

Conduct (one against the plaintiff and one against (PK]), two counts of Texas-Fraud (against the plaintifl), one count of

Criminal-Conspiracy (against the plaintiff) and the racially-motivated civil-rights-violations of two counts of Abuse-of-

Official-Capacity (one against the plaintiff and one against [PK]), two counts of Official-Oppression (one against the plaintiff

and one against (PK]), one count of Misuse-of-Oflicial-Infonnation (against the plaintifl) and one count of Discrimination

(against the plaintifl) - along with their federal-crime analogs: [18-USC-PI-C73-§1512],[18-USC-PI-C13-§242],118-USC-PI-C13-

§241],(42-USC-C45-Sll-§3631] - all against the plaintiff, an immigrant-of-color/indigenous-person that is a completely
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       innocent witness-victim of all of the above. It should be noted that for every count of retaliatory c1ime committed by [WCSD-

       PP] against the plaintiff listed above, [WCSD-PP] had likewise also committed the additional corresponding count of crime of

       Felony Obstruction/Retaliation - as any crime that is committed in retaliation against a witness/victim (in this case, the

       plaintifl) is a felony crime under Texas law and, in this particular case, a racketeering-act under federal law - since each of

       those crimes are also federal crimes: \18-USC-PI-C73-§1512J,ll8-USC-Pl-C13-§242J,118-USC-Pl-Cl3-§241J,142-USC-C45-Sll-

       §3631].



       © [JSP] committed the retaliatory (thus felonious) crimes of one count of Witness-Intimidation (against the plaintifl), one
       count of Texas-Fraud (against the plaintifl), one count of Disorderly-Conduct (against the plaintifl), one count of Racial-

       Intimidation (against the plaintitl), and one count of Criminal-Conspiracy (against the plaintifl) - with all of these crimes also

       being racketeering-acts, due to falling into the category of retaliatory federal c1imes of [18-USC-PI-C73-§1512],[18-USC-Pl-

       C 13-§242], [18-USC-PI-Cl 3-§241 ],[42-USC-C45-SII-§363 l ].



       (It should also be noted that both [WCSD-PP] and [JSP] were physically on the plaintifrs property - the plaintifrs

       [DRIVEWAY] - while they were committing the aforementioned racially-motivated, felonious crimes and racketee1ing-acts

       against the plaintiff.) Despite of the fact that neither [PK] nor the plaintiff committed any crime - and with the plaintiff being a

       completely innocent witness-victim of all of the above - the plaintiff, and to lesser extent, IPK], were viciously punished and

       retaliated-against by fWCSD-PP] (acting with full-authorization-of and coordination-with [WCSOI), [RSR], fJJB] and [JSP],

       with none of these individuals (nor defendant [WC] as a municipal-corporation) facing any legal consequences whatsoever for

       their initial rncially-motivated hate-crimes, racially-motivated civil-rights-violations and/or the subsequent retaliatory

       (felonious) hate-climes and rncketeering-acts against the plaintiff, thanks to the numerous criminal acts of Obstruction-of-

       Justice that fWCLE] - along with fWCLE]'s co-conspirntors fRSR],fJSP],fJJB] - had committed against the plaintiff at that

       moment in time. These initial incidents taking place in the years of (2009} through (2011} (and extending into the following

       year (2012} - see below) document the very beginnings of the decade-long, obstructive-and-retaliatory, blackmailing-and-

       defrauding racketeering-enterprise against the plaintiff involving [WCLE],[RSR],[JJB],[JSP] - with fKAP]'s involvement in

       such racketeering-enterprise occurring in subsequent incidents (see below) - and with fJJB]'s involvement in such racketeering-

       enterprise ending (to the best of the plaintifrs knowledge) in the year (2014} due to her property, [792KLLTX78641], being

       foreclosed-upon in (mid-2012}.

75 .   Setting aside such overt acts of racial-oppression and racketeering-activity suffered by the plaintiff at the hands of the defendants during

       this incident, and setting aside the outrageously fraudulent manner in which the defendants justified their oppressive and corrupt actions

       against the plaintiff, the plaintiff had also never suffered such brazenly uncivilized and barbaric conduct (whether by the defendants or

       anybody else) at this particular moment in the plaintiffs life. The toxic-environment of racist-lawlessness that the plaintiff refers to in this

       lawsuit - not only enabled by and nurtured by, but actually created by [WCLE] - had developed into fruition at the end of this incident,

       and the plaintiff would continue to painfully suffer the full wrath of such toxic-environment of racist-lawlessness in the decade that

       followed this incident.




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'11312
On or about the afternoon of {2011-08-31}, the neighbor who owned and lived at the residence right-behind the plaintiff - at [525 L ***

S*****, Leander, Texas 78641] [525LSLTX78641] which borders (and shares a side offence with) the plaintiffs property

[788KLLTX7864 l] - [SPM], rung the [FRONTDOOR]-bell. When the plaintiff answered, [SPM], a White-American male, introduced hirnself

(since that was the first tune that the plaintiff had met [SPM]). [SPM] thanked the plaintiff for the plairlliffpaying a fence-ir1stallation-person to

repair the side of the fence bordering [525LSLTX78641], prirnarily due to substandard fencing installed by the origirrnl builder of the

subdivision (see below). [SPM] offered to pay for halfofthe cost of this fence-repair, and did pay the plaintiff half of the cost. The plairlliff

thanked [SPM] for the payment. The plair1tiff also took this opportunity to ask [SPM] if [SPM] had any problems with the manner ir1 which

the plaintiff mair1tair1ed the plaintiffs backyard - and (SPM] did not hesitate to respond, "No, it'.,.fiue. "The plaintiff also took this opportunity

to briefly-describe the relatively-recent crirninal-mischief/illegal-dumpir1g and theft crirnes that occurred against the plaintiff, and asked if [SPM]

had, by any chance, witnessed the criminal-mischief/illegal-dumpings/theft crhnes, and if so, if [SPM] saw who had committed these crirnes

agair1st the plaintiff. [SPM] responded that he had unfortunately not witnessed the crirnes committed against the plaintiff. (The other part of the

plaintiffs fence-repair was on the side of fence that the plaintiff shared with [JJB]. However, [JJB] never offered to pay for any part of the

installation or materials.) This encounter with [SPM] further indicated to the plaintiff, that the aforementioned crhnes committed against the

plair1tiffwere not only completely-unjustified, but rather, that the defendants (and [JJB]) were all maliciously exploiting what they alleged to be

the non-confonnant manner in which the plaintiff maintained the plaintiffs property (which was never a crime of any type) as a convenient
excuse to commit racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff This encounter with
[SPM], also a White-American person, provides a sharp, night-and-day, contrast between the manner in which the plaintiff was (and

continued-to-be) treated by malicious neighbors [JSP&KAP],[JJB] and [RSR] (whose property is across-the-street-from the plaintiffs property

and thus does not even share a border the plaintiffs property) - all with extreme racial-anirnus agair1st the plaintiff - and the manner in which

the plairltiff was treated by [SPM] - also a White-American person who shared a large border with the plaintiff, and contirmed-to-share this

large bot·der with the plaintiff for approxirnately five more years until the year {2016) - the year ir1 which [SPM] sold the property

[525LSLTX7864 l] and moved out of the subdivision.



'11313
On-or-about the day of {2011-09-01}, the plaintiff contacted [Rea!Manage] - the management company representing the [HOA] and the

plaintiff reported the aforementioned racially-motivated crimes committed against the plaintiff that involved malicious neighbors. This fact is
crucially relevant to this lawsuit, because while the [HOA] is not ir1 charge of enforcing the crirninal laws of the State of Texas, the [HOA] still

cannot clahn ignorance of the abusive racially-motivated crimes that the plair1tiff, a member of the [HOA], had suffered by other members of

the [HOA] - the plaintiffs malicious neighbors with extreme-racial-anirnus against the plaintiff: [RSR],[JJB],[JSP]. Therefore, any future

actions undertaken by the [HOA] against the plaintiff on behalf of these malicious neighbors should be interpreted as predatoty enforcement -

which as long as the [HOA] was nm by [SPOA-P-BC],[SPOA-VP-AH] (until the end of the year {2019}) would continue to mean at least

eight more years of suffering by the plair1tiff from the [HOA] acting on predatory demands of malicious neighbors [JSP&KAP],[RSR] - all

acting ir1 conspiracy against the plaintiff. The plaintiff had specifically asked the representative at [RealManage], that since there was an

attorney and/or law-firm representir1g the [HOA], whether that attorney and/or law-firm would be irwolved in any legal action taken on behalf

of a homeowner who suffered crimes from other homeowners. Interestingly, the representative of [RcalManage] informed the plaintiff that

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they never receive complaints from homeowners about crimes committed against such homeowners by other homeowners - that those types of
situations are dealt with exclusively by the police.



1314
On or about the date of {2011-09-08}, the plaintiff discovers by online research that [JJB] has been charged with felony credit-card-abuse by

[WCLE] in the month of {2011-03} (see above), and the plaintiff is utterly shocked and indignant about the fact that no one from [WCLE]

informed the plaintiff about [JJB]'s felony charge - given that [JJB] was the plaintiffs next-door-neighbor AND the plaintiff had suffered

numerous racially-motivated criminal-mischief/illegal-dumpings crimes at the side of the plaintiffs property bordering [JJB]'s property. [WCLEJ

had deliberately deprived the plaintiff of this crucial information, thus protecting [JJB] from the crimes that [JJBJ had committed against the

plaintiff- again, because of the racial profiles of the plaintiff and [JJBJ. The plaintiff fast speaks with [JH], who had entered into the plaintiffs

property offering to cut the plaintiffs alleged "bushes", which the plaintiff had politely declined since it was against the plaintiffs

Constitutionally protected religious practices/beliefs, further explaining to [JH] that the restrictive covenants of the neighborhood do not specify

any height/width/depth requirement or any shape requirement for either "bushes" or trees. Despite advising the plaintiff on how he would trim

the "bushes" and the plaintiffs tree, [JHJ even candidly admitted to the plaintiff that this private-property was the plaintiffs private-property,

and as a result of such fact, no-one could dictate to the plaintiff how the plaintiff maintained it. The plaintiff used this opportunity to show [JHJ

a copy of the printout of the aforementioned "hillcount,ynews.com"media report that described the felony criminal charge against [JJB] (along

with her mugshot), and [ JH] acknowledges that he knows a great amount of detail into what happened - that [JJB] was drunk and had stolen a

credit card from a colleague (presumably at [LISD]), and that she was allegedly "bi-polar", and was allegedly taking medication for such

disorder. The plaintiff explained to [JHJ that:



® [JJBJ had (maliciously and) illeg-dlly-dumped and/or spread such cat-litter not only around the plaintiffs [FRONTYARD] trees, but also at 4
different locations in the plaintiffs [BACKYARD] (on 4 separate and distinct incidents); AND



@The plaintiff had paid to fix the fence bordering [SPM]'s then-property, [525LSLTX78641], and [JJB]'s then-property,

[792KLLTX78641], but despite of this, only [SPMJ paid the plaintiff for this work, but not [JJB].



In response, [JHJ joked to the plaintiff that [JJBJ doesn't have any money - with [JJBJ having just lost her employment at [LISD] as a result of

such credit-card-abuse felony charge. The plaintiff conveyed to [JHJ at least some of the plaintiffs extreme mental-anguish that [WCLE]

predatorily and retaliatorily came after the plaintiff (due to the multiple fraudulent-accusations and terroristic-threat of [RSR]), when the

plaintiff had done absolutely nothing wrong and the plaintiff had only reported to [WCLE] (and to the plaintiffs brother [PK]) about such

crimes committed against the plaintiff. At the end of this very informative incident, the plaintiff was fu11her alarmed that [JJB] was, at the very

least, aUegedly a mentally-unstable White-American person living nextdoor to the plaintiff, that was alleged to have committed one-or-more

felony-crime(s), and that had already committed numerous racially-motivated hate-crimes against the plaintiff - all crucial information that the

[WCSOJ deliberately and maliciously:

® did not inform the plaintiff about; AND
@ did not lake into consideration when the plaintiff informed the [WCSOJ that [JJB] was likely to have committed those aforedescribed

racially-motivated hate~crimes against the plaintiff.
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'.1[315
On or about a night early in the month of {2011-09), [DMP] and at least one other individual move into the property [785KLLTX7864l],

directly in front of and across the street from the plaintiffs prope1ty [788KLLTX7864 l ], that [DMP] purchased on-or-about the date of

{20! l-09-0l). The plaintiff notices both [RSR] and [JH] assisting [DMP] in moving items into [DMP]'s property. At some point in time

during this incident, the plaintiff notices [DMP], [RSR], and [JH] all sitting-down on chairs on the [785KLLTX7864 l] property driveway,

laughing-out-loud - recounting and celebrating the vicious manner in which [RSR], [JSP] and [WCSD-PP] (acting in full coordination-with the

[WCSO]) had retaliated-against and publicly-humiliated the plaintiff - egregiously violating the plaintiffs rights during the traumatizing incidents

of the previous month ( {2011-08}). It was clear that [RSR] had expertly manipulated and recmited another new White-American resident,

[DMP], into her malicious and predatory conspiracy against the plaintiff, as [DMP] would play at least a partial role and conspiratorial role in

future violations of the plaintiffs rights.



'.1[316
On or about the date of {2011-09-09), the plaintiff contacts the [WCSO] to express great concern that the plaintiff was never made aware by

anyone from the [WCSO] of the felony-charge against [JJB] and the other details about [JJB] revealed to the plaintiff by [JH]. The plaintiff

makes a phonecall to [WCSO] dispatch to report this issue, and receives a phonecall back from [WCSO] Sheriff Deputy Don Zachary

[WCSD-DZ]. After explaining all of the new details to [WCSD-DZ] that the plaintiff has been recently made aware of (including the

information by [JH]), and after the plaintiff did express the plaintiffs fear that [JJB] may even resmt to violence against the plaintiff or the

plaintiffs other family-members, [WCSD-DZ] responds back that there is nothing that the [WCSO] could do about all of new details that the

plaintiff reported.



'.1[317
On or about the date of {20 l l-09-l 4}, the plah1tiff contacts the victims-assistance-unit of the [WCSO] uot only to discuss the situation with

[JJB], an allegedly mentally-unstable person living next-door that was committing some of the aforementioned crimes (includh1g retaliatory

crhnes) against the plaintiff. The victims-assistance-unit advised the plaintiff of two routes - the route of crimhial prosecution against [JJB] and

also the route ofrestrah1h1g-order against [JJB], and the operator dispatches the plaintiffs call to a [WCSO] Deputy to further assist in such

restraining-order. "Deputy Kiernan" [WCSD-K] calls the plaintiff, and the plaintiff explains to [WCSD-K] all of the information regarding the

crimes, needed to obtain a restrah1ing-order. [WCSD-K] advises the plaintiff that the [WCSO] does not handle restrainh1g-orders - that such

issue would need to be handled by a magistrate, and [WCSD-K] provides the plaintiff with the name of the local magisn·ate responsible for

granting the desired restraining-order.



'.1[318
On or about the day of {2011-09-15), the plah1tiff contacts dispatch of the [WCSO] regarding the new details that the plaintiff has gained from

[JH],[AJC] hoph1g that the new information (including [JJB]'s full name and past/pendh1g crimhrnl charges) could be added to the existing case-

file. The plaintiff would receive a call back from "Deputy Schaefer" [WCSD-S]; the plaintiff would continue to explain to [WCSD-S], all of the

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new information that the plaintiff has learned about [JJB], so that that information could be added to the case-file. [WCSD-S] adds some of the

additional information regc1rding suspect [JJB] to the existing case-file, but also informs the plaintiff that the $70 extension-cord stolen from the

plaintiffs backyard does not appear anywhere in the existing reports. This indicated to the plaintiff that [WCS D-PP] maliciously omitted

crucially-important piece(s) of information regarding the crimes committed against the plaintiff - yet another count of [WCSD-PP]'s

Obstruction-of-Justice against the plaintiff. [WCSD-S) said that he would add this information to a new case file, and provided the plaintiff with

the new case number, because according to [WCSD-S], despite of the powerful circumstantial evidence indicating that [JJB] committed this

theft (since she was charged with felony credit-card-abuse for stealing a credit-card), there was no way to link this additional crime (to the

existing crimes of criminal-mischief/illegal-dumpings) to her, based on the current information. [WCSD-S] further went on to explain to the

plaintiff that stealing an extension cord from [BACKYARD] - even if it is of the more-expensive heavy-duty type - is still a "blue collar crime"

which requires brazenness (but not necessarily intelligence) whereas, stealing a credit-card is a "white-collar crime" that requires superior

intelligence from the criminal that is committing it. [WCSD-S] fu1ther provided an example indicating that suspecting a person of one theft of

another theft (without having sufficient evidence of the second theft) is akin to ''profiling", and that the police are not allowed to engage in

'j;rofiling ". [WCSD-S] noted a detective would contact the plaintiff w ithin thirty days regarding the two separate cases of the criminal-

mischief/illegal-dumpings and the theft - but only if there was enough evidence to move forward with prosecution. The plaintiff remained

indignant that, despite of all the direct and circumstantial evidence that the plaintiff did have - with [WCSD-PP] admitting multiple times on the

record that [JJB] committed the crin1inal-mischief/illegal-dumpings against the plaintiff and with the plaintiff witnessing first-hand one of these

crimes, that nothing could be done - and as the record would show, nothing was done. In retrospect, the plaintiff is particularly indignant about

 the statements concerning ''profiling" that [WCSD-S) shared with the plaintiff - because, while his statements are technically correct, this is

 exactly what several agencies of the [WCLE] (the agencies being sued in this lawsuit) have been brazenly engaging-in against the plaintiff for

 over ten years - and furthermore, that such ''profi Ii ng" against the plaintiff is of the most egregious type: "racial profi Ii ng" via abusive-

 weaponization of the property-maintenance-laws, of all things, as modern-day-Jim-Crow law - and a clear violation of both State laws and

 Federal Laws barring such racial discrimination. Again, [WCLE]'s powerful message to the plaintiff is crystal-clear: [JJ B] is a White-American

 woman (with blonde-hair/blue-eyes), of significantly older age (and thus more powerful) than the plaintiff, and therefore, under no

 circumstance, will [WC LE] engage in any type of ''profiling" against her, especially if the victims of her crime(s) are people who do not matter

 within society - such as the plaintiff (due to the plaintiffs racial-profile). Whereas, the plaintiff is only a lowly in1migrant-of-color/indigenous-

 person; therefore, [WCLE] is free to engage in as much of the most egregious forms of profiling - "racial-pro.fl ling " - as they wished against

 the plaintiff - a powerless, low-IQ subhuman animal clearly without any such rights (               e ).

 1319
 On or about the date of {2011-09-21}, the plaintiff is contacted by [WCSDet-N], who explains to the plaintiff that he cannot pursue the theft

 case because the plaintiff does not have video-recording of such theft. When the plaintiff asked about the criminal-mischief/illegal-dumpings,

 [WCSDet-N] explained to the plaintiff that he had already closed the case, because it was his understanding that the plaintiff did not want to

 press charges. The plaintiff explained to the [WCSDet-N] that plaintiff never committed to closing the case, especially since the plaintiff had

 evidence of two [WCLE] police-officers on audio-recording, admitting in approximately five different statements that it was [JJB], and the

 plaintiff bad even witnessed one of the criminal-mischief/iUegal-dumpings into the backyard. Although the plaintiff asked several questions on

 the [WCSDet-N], with [WCSDet-N] rudely interrupting the plaintiff on numerous occasions, [WCSDet-N] repeatedly told the plaintiff that he

 did not have time to argue with the plaintiff, that there was not enough to proceed with prosecution, and adv ised the plaintiff multiple times to,
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for future reference, get video-cameras to record the persons committing such crimes. It became abundantly clear to the plaintiff that if

[WCLE] was not going to charge and prosecute [JJB] for her numerous racially-motivated hate-crones against the plao1tiff, then there was

little-to-no chance that (RSR] would be charged-and-prosecuted for the numerous racially-motivated hate-crimes that she had committed

against the plaintiff, and that finally, there was absolutely-no-chance that either [WCSD-PP] nor [WCSD-SP] would be charged and

prosecuted for the Abuse-of-Office crones and civil-rights-violations that these police-officers committed against tbe plaintiff - despite of the

substantially-incrunornting, audio-recorded evidence that the plaintiff had already recorded. Although this was an extremely-painful message for

the plaintiff to accept, [WCSDet-N] advice regarding video-cameras was, in retrospect, extremely revealing, because as future hate-

crimes/racketeering-acts/civil-rights-violations/abuses suffered by the plaintiff would show, even though the plaintiff did amass a huge amount

of video-evidence (and in some cases, audio-evidence) of over a decade more of such hate-crimes/racketeering-acts/civil-rights-

violations/abuses suffered by the plaintiff at the hands of the defendants, none would result in cruninal charges, let alone prosecutions, and

furthermore, that [WCLE] would contome to engage in blackmail, fraud, abuse-of-office, retaliation and other acts of obstrnction-of-justice

against the plaintiff to ensure that all persons and agencies responsible for violating the plaintiff's rights would remain immune from

prosecution. Again, [WCLE]'s powerful message - lond-and-clear - both to the plaintiff and the plaintiffs predtmy neighbors is crystal-clear:



® If [JJB], (RSR], [JSP] or [WCSD-PP] - all White-Americans, and all of older age (and thus more powerful) than the plaintiff - commit
crones against other members of society that matter to [WCLE] - for example, other White-Americans, then [JJB], [RSR], (JSP] or even

[WCSD-PP] will be charged and prosecuted to the fullest extent of the law.



® On the other hand, if (JJB], [RSR], (JSP] or [WCSD-PP] commit the most setious crimes - including felony crunes and/or racketeering-acts
- agao1st the plaintiff - a low-IQ, powerless, subhuman anunal clearly unw011hy of a11y rights - then [JJB], (RSR], (JSP] or (WCSD-PP] are

free to do so, and continue-to-do-so with absolute impunity - just one of the major components of the pattern of corrupt-malicious-predatory-

and-retaliatory racketeering-activity that the plaintiff would continue to suffer from the defendants in the decade that followed these initial

incidents.




i320
On or about a late-afternoon or evening of the date of {20 l 1-10-0 I}, [PK) arrives at the plaintiffs property in-order-to bego1 the process of a

security-camera-system installation. The plaintiff instructs [PK] to park his vehicle - with such unboxed security-camera-system inside of such
vehicle - inside of the plaintiffs enclosed [GARAGE] so that the plao1tiffs malicious neighbors are not aware of any plans to install such

security-camera-system, and so that such security-camera-system could be installed as inconspicuously as possible. [PK] installs I (out of the

initial 4) security-cameras (at one of the corners of the plaintiffs [HOUSE]) and connects such security-camera to such security-camera-

system so that the plaintiff could experiment with such security-camera and get an understanding of how such security-camera-system works

(before proceeding to install the remaining 3 security-cameras at a later date).



i321
On or about the late-afternoon or evening of the date of {20 I 1-10-05}, the plaintiff took a print-out of the aforementioned news-media article

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that documented [JJB]'s felony charge, and vc1y-briefly attended the [Summcrlyn] subdivision's "National Night Out" event in which,

some of the neighborhood 1s residents meet with each other and a few members of [WCLE] to discuss crimc,safety,etc. The plaintiff meets
with the event-organizer and hands her a copy of the print-out telling her that the person, [JJB], whose mugshot is depicted in the news-report,

is also alleged to have been committing several acts of criminal-mischief/illcgal-dumpings against the plaintiff. The plaintiff also mentions that

the plaintiff had noticed items stolen from the plaintiff's l_BACKY ARD). At no point in time dk\ the plaintiff mention the multiple hate-crimcf.

that [RSR] had cmmnitted against the plaintiff at this incident, nor the fact that [WCSD-PP],[WCSD-SP] - the two [WCSO] Deputies that the

plaintiff had the misfortune of encountering totally violated the plaintiffs rights, by acting in such malicious conspiracy with [RSR] and [JSP]

against the plaintiff. While the event-organizer expresses her condolences to the plaintiff for the plaintiff having sufforcd crimes from [JJB], a

White-American [WC] police-officer (either Constable-Deputy or Sheriff-Deputy) who is present at that meeting, [WCPO-JD-21], intc1jects

and states states to the event-organizer that the plaintiff "has a/ready.filed seveml(police) repor1.,". [WCPO-JD-21] then continues to state

to the plaintiff in a vety intimidating and threatening manner, "UNLESS WE HAVE ABSOLUTE KNOWLEDGE 11/AT 11IAT'S THE

PERSON Tl-MT DID IT, THEN WE DON'T NEED TO BE REALLY BLAMING PEOPLE FOR STUFF, RIGHT?!". Both the

intimidatin!efthreatening tone of [WCPO-JD-21 J's voice and the co11tent of [WCPO-JD-21 j's statement to the plaintiff made it seem that

[WCPO-JD-21] was engaging in witness-intimidation against the plaintiff. The plaintiff responds that it was not the plaintiff that accused [JJB],

and instead, that it was [WCSD-PP] who had admitted (in multiple statements) to [JJB]'s criminal actions against the plaintiff. [WCPO-JD-21]

responds to the plah1tiff "J KNOW PETE PI/ETTY WELL I'LL TALK TO HIM ABOUT IT. HND OUT WHAT'S GOING ON ... " As

documented above, the plaintiff has an audio-recording from the extremely abusive and traumatizh1g incident involvh1g [WCSD-PP], in which

[WCSD-PP] cheerfully/joyfully shouts (on at least two separate occasions) that he knows that [JJB] had committed the criminal-

mischief/illegal-dumping actions against the plaintiff. The plaintiff only attended the meeting to deliver a copy of the prh1tout and notify the

event-organizer about [JJB]'s crhnes agah1st the plah1tiff, but again, the plah1tiff did not mention anything about [RSR]'s multiple crimes agah1st

the plah1tiff nor of [WCSD-PP]'s,[WCSD-SP]'s egregious violation of the plah1tiffs rights. The plah1tiff left the meeting right-after this brief

interaction. Despite [WCPO-JD-21 J's hi-depth knowledge of the crimes committed against the plaintiff, and despite [WCPO-JD-21] tellh1g the

plaintiff that he would speak to [WCSD-PP] about these crimes, neither [JJB] nor [RSR], let alone [WCSD-PP], were ever charged (let alone

prosecuted) for all of the crimes that they committed against the plaintiff - at this early point in time, back h1 the year {2011} - when all of their

crimes could have legally been charged and prosecuted withh1 the statute-of-limitations. As the plaintiff would only later fully-realize, [WCPO-

JD-21] would only be one of many dozens of [WC] police-officers that were directly aware of the crimes committed against the plaintiff (as

early as {2011} ), but despite of this knowledge, nothing would be done by [WCLE] against the perpetrators, agah1 precisely due to the racial-

profiles of the perpetrators versus the racial-profile of the plaintiff. Furthermore, the manner in which [WCPO-JD-21] spoke ve1y-favorably of

[WCSD-PP] provided further strong indication to the plah1tiffthat racist abuse and retaliation by [WC] police-officers is not merely tolerated

by [WCLE], but rather, is part of the norn1a4 eve1yday workings of [WCLE] - as part of the same type of "corrupt organization" described

by ((Los Angeles Times)) journalist Jim Newton (sec above). From these initial incidents in {2009) through {201 l }, [WCLE]'s deliberate

disregard for the plaintiffs fundamental right-to-justice (for crimes committed by [.TJB],[RSR] against the plaintiff) and [WCLE]'s malicious

violation of the plaintiffs rights, would only serve to embolden the plah1tiffs predatory neighbors [JSP&KAP],[RSR] - that they could engage,

with absolute hnpunity, in a virtually-unlin1ited number of hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff

without facing any consequences.




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i322
On or about the late-morning of {2011-10-06), the plaintiff was performing some yard-work in the [FRONTY ARD], when [JSP] approached

the plaintiff on the plaintiffs [DRIVEWAY]. [JSP] loudly expressed his anger to the plaintiff for what [JSP] alleged to be bushes growing

"WILDLY" in front of the plaintiffs [FRONTPORCH], angrily stating to the plaintiff that the plaintiff was not upholding the plaintiffs

"WORD" to "11-JE SHERIFF" (by which he meant [WCSD-PP]) that the plaintiff would get the bushes cut, derogatotily stating that the

plaintiff "ACTED LIKE A PUSSY IN FRONT OF 11/E 51/ERIFF!". It is important to note that the plants at the center the plaintiffs

foundation-plants-area in front of the [FRONTPORCH] are trees (and thus, not bushes). [JSP] condescendingly alleges to the plaintiff that the

plaintiffs manner of maintaining the plaintiffs property is inferior to the way the plaintiffs White-American (and/or non-immigrant) neighbors
are maintaining their properties, even alleging that [TH] - the previous owner of [785KLLTX7864 l] - did not earn nearly as much money in

selling [785KLLTX7864 I] than [TH] would have earned if the plaintiff 111air1tained the plaintiffs prope11y according to White-American

standards. [JSP] dominates the conversation, repeatedly talkh1g-over and/or h1terrupting the plaintiff, includir1g the use of racial slur(s), and

even making derogatory and racist comment about the plaintiffs failure to cut the plaintiffs hair/beard,

     "YOUR YARD LOOKING THE WAY IT DOES, BRINGS DOWN THE VALUE OF OUR HOUSES! ... IT DOES! BEING NEXT-DOOR

    AND ACROSS-THE-STREET DE-VALUATES OUR HOUSES,[???]! ... IF YOU DON'T UNDERSTAND THAT, YOU OBVIOUSLY

    SHOULDN'T[???]! ... IT'S PRETTY BASIC! ... IT LOOKS GHETTO! YOU KNOW, THAT'S WHAT IT LOOKS LIKE! ... WE DON'T

     WANT GHETTO NEXT-DOOR BRINGING OUR PROPERTY-VALUE DOWN/ ... ALL WE ASK YOU TO DO JS TRIM YOUR
    DAMN BUSHES - HOW FRICK/NG HARD JS THAT?! ... GOD DAMN! WE DON'T ASK MUCH OF YA! ... IT'S JUST TO LOOK

    DECENT! ... WE'LL LIVE THE FACT THAT YOUR GRASS LOOKS LIKE SHIT- WE'LL DEAL WITH THAT! BUT AT LEAST CLIP

     YOUR BUSHES, LOOK AT THAT! LOOKS LIKE- I DON'T EVEN KNOW WHAT THAT IS! ... IT LOOKS TERRIBLE! ... IT LOOKS

    GREEN?! ... WHAT THE HELL LOOKS GREEN ABOUT IT?! MAN, MINE ARE GREENER THAN YOURS! ... THEY LOOK DEAD TO

    ME! ... YEAH, MINE WOULD BE ALL OVER MY HOUSE IF I LET IT GROW LIKE THAT! MINE GROWS LIKE CRAZY, YOU KNOW

     WHY?! CA USE I TRIM IT! IT GROWS FASTER WHEN YOU TRIM IT/ JUST LIKE HAIR/"

In actuality, the true reason that [JSP&KAP]'s bushes grew faster is because [JSP&KAP] was irrigating such vegetation, whereas the plair1tiff

was not irrigating any of the vegetation on the plaintiffs property (especially due to the extreme, unprecedented drought of {Summer-201 !}).

The plaintiff questions why plants growing in their natural manner without any irrigation - just as in nature - would, in any way, lower property
values, aud [JSP] angrily responds,

     "CAUSE IT LOOKS LIKE SHIT! THAT'S WHY! THAT'S WHY WE TRIM IT! SO IT WILL LOOK NICE! IT WILL LOOK

    PRESENTABLE! JUST LIKE THE SHERIFF TOLD YOU! NOBODY WANTS THEIR HOUSES NEXTDOOR TO ONE THAT LOOKS

    LIKE CRAP! IT LOOKS LIKE CRAP! HOW DOES THAT LOOK GOOD?! WHAT JS GOOD ABOUT THAT?!"

The plah1tiff further explained to [JSP] that if evc1y property had the same look to it, then there would be no variety - no aesthetic-diversity -

and that there would be no bio-diversity in the growth of vegetation - that every property would look the same - mundane/monotonous and not

unique/h1dividual. [JSP] scornfully smh-ked at the plah1tiff, sarcastically talkh1g-over at the plaintiff, not allowh1g the plair1tiffto finish the

plaintiffs statement, while at the same time, inadvertently adtnitting that he had made what appeared to be unapproved changes to his front-

yard-landscaping by adding stones around his trees,




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    "OH, SO YOU'RE THE CHANGE (AGENT), HUH?! ... BUT THAT'S NOT A GOOD UNIQUE, MAN! YOU SEE THE STONES

    AROUND MY TREES! THAT'S UNIQUE! THAT'S UNIQUE, MY WAY - WHAT I DID THERE, NO BODY ELSE HAS! THAT'S

    UNIQUE AND IT LOOKS GOOD! WHY DON'T YOU DO SOMETHING UNIQUE THAT YOU HAVE TO DO, SID! I THINK YOU'RE

    JUST LAZY! ... I'M STARTING TO BELIEVE YOU'RE JUST REAL LAZY! YOU'VE GOT ALL THE TIME IN THE WORLD! ... YOU'RE

    NOT GOING TO FIND ANYBODY IN THE WORLD THAT THINKS THAT LOOKS GOOD, BRO! ... IT DOESN'T! IT LOOKS

    TERRIBLE! ... YOU CAN DISAGREE ALL YOU WANT! I GET A PANEL OF A JOO PEOPLE - I GUARANTEE YOU THAT 99, 99 OF

    THEM WOULD! ... AT LEAST! AND I THINK THEY WOULD PROBABLY BE ALL JOO OF THEM!

When the plaintiff continued to strongly disagree with [JSP]'s assessment on the basis of cultural differences, [JSP] continued to interrupt

and/or talk-over the plaintiff, continuing to make derogatory/abusive statements about the plaintiff, while even threatening to call [WCLE]

about the plaintiffs lack-of-conformance to White-American standards,

    YOU KIDDING ME, MAN?! ARE YOU ACTUALLY SERIOUS?! ... YOU THINK THAT'S OK?! ... YOU'RE NOT WORTH TALKING

    TO! I DON'T EVEN KNOW WHY[???}! IF THAT'S WHAT YOU'RE GOING TO DO, THAT'S WHAT YOU'RE GOING TO DO! I

    CAN'T DO ANYTHING ABOUT IT! EXCEPT TALK TO THE SHERIFF ABOUT IT! THAT YOU DIDN'T TIUM YOUR TREES!

    THAT YOU DIDN'T LET J** DO WHAT YOU'D SAY YOU'D LET HIM DO! CAUSE WHAT HE SAY?! HE SAY, 'WHEN HE COMES

    OVER HERE AND TRIM YOUR TREES, YOU BETTER LET HIM TRIM YOUR TREES! YOU'RE GOING TO DO THAT, RIGHT?!'

    AND YOU SAID, 'YES SIR'! ... SO, YOU JUST ACTED LIKE A PUSSY IN FRONT OF THE SHERIFF! ... WHY YOU BEING LIKE

    [???}! SEE I'M STARTING TO BELIEVE THAT YOU'RE NOT[???], SID! YOU DON'T SEEM TO UPHOLD YOUR WORD! YOU

    DON'T DO WHAT YOU SAY YOU'RE GOING TO DO! AND EVERYTHING LOOKS LIKE CRAP! I DON'T GET IT! ... YOU'RE THE

     ONLY ONE, SID! EVERBODY ELSE DOES! YOU KNOW, DON'T YOU GIVE A SHIT ABOUT WHAT ANYBODY ELSE THINKS OF- I

     MEAN! DON'T YOU GIVE[???]?! [DON'T YOU C'AREJ ABOUT WHERE YOUR PROPERTY-VALVE JS AT?! ... DO YOU THINK

     THAT HELPS ANYTHING! I GUARANTEE YOU, WHY DON'T YOU CALL A REALTOR AND ASK THEM! ... PRETTY EASY TO

    ANSWER THAT QUESTION! IT JS, MAN!"
The plaintiff timidly tried to respond, although unsuccessfully due to [JSP]'s abusive, and dominating rant, that the plaintiff disagreed - that

there really is no "damage" to property values - and that people are different, and that people of different cultures (such as the plaintiff) have

different ways of maintaining private-property and/or living-in-harmony-with nature/plants. When the plaintiff tried to respond, [JSP] abrnptly

and rudely interrupted the plaintiff, angrily stating to the plaintiff that that he didn't have time to argue with the plaintiff, and that he needed to

get to work, angrily walking away from the plah1tiff. The plaintiff continued to respond and h1sist that there was absolutely nothh1g wrong with

the manner in which the plaintiff maintained the plaintiffs private-property. This was the second act of intimidation/interfercnce/disorderly-

conduct/blackmail that [JSP] committed against the plah1tiff. It became h1ereasingly clear to the plaintiff that [WCSD-PP]'s,[WCLE]'s

predatmy, abusive, h1stitutionally-racist treatment of the plaintiffh1 the prior month of {2011-08} - especially on the day of {2011-08-30} -

had only emboldened the plaintiffs predato1y neighbors to step-up their inthnidation/interference/disorderly-conduct/blackmail tactics against

the plaintiff - even threatenh1g to use [WCLE], as proxy enforcers, to engage in further acts of racial-inthnidation by proxy against the plaintiff.




'1[323
On or about a late-afternoon or evening of the date of {201 1-10-08} - during the weekend before the Monday on which the plah1tiff, an

indigenous person, celebrates "Indigenous Peoples' Day" - [PK] anives at the plaintifrs property in-order-to finish the security-camera-system

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installation on the plainliff s prope1ty. [PK) advised the plaintiff to install all 4 of the security-cameras at certain locations of the the plaintiffs

[HOUSE) pointed in the directions of [JJB)'s property, [792KLLTX7864 I), and [RSRJ's property, [789KLLTX7864 I) - and/or directly

around these two properties - given the malicious and criminal conduct of these two individuals against the plaintiff. The plaintiff rejected such

idea, explaining to [PK) that all areas of the plaintiffs property needed to be covered by such secmity-camera-system, and that there should be

no point of weakness (or blindspots) for such security-camera-system due to the pla\lltiffs numerous malicious neighbors. In particular, the

plaintiff fmnly believed, based on the plaintiffs unprovoked interactions with [JSPJ (see above) that [JSP) is a highly irrational person, at best,

or a highly malicious person, at worst, because of the way [JSPJ irrationally and outrageously justified his, [RSR)'s, [JJB)'s, and [WCSD-PP)'s

abusive and criminal conduct towards the plaintiff. The plaintifff\ntherexplained to [PK) that eveiy security-camera should be able to cover

one other security-camera so that if one security-camera is vandalized or tampered-with in any manner, the other security-camera could
capture such vandalism/tampering on the record. Interestingly, [PK) sarcastically told the plaintiff that if the neigl1bors were brazen enough to

vandalize the plaintiffs security-cameras, then the plaintiff had much bigger problems on the plaintiffs hands. In retrospect, the plaintiff

considers [PK]'s sarcastic statement to be very prescient because as future incidents would reveal, the plaintiffs malicious neighbors would
actually resort to far-worse and inci-casingly-severe (retaliatory, felonious) crin1es than simply vandalize a large number of the plaintiffs

(subsequently-installed) security-cameras - as part of their aggregate efforts to retaliate-against, obstruct-justice-against and ultimately defraud

the plaintiff. The plaintiff drew on a sheet of paper how the plaintiff expected [PK) to install such security-cameras and where the security-

cameras needed to be pointed so that such security-camera-system could provide reasonably widespread/comprehensive coverage (with

minimal blindspots) of all exterior areas of the plaintiffs private-property. As [PK) proceeded to install a security-camera at the corner of the

plaintiffs [HOUSE] that is closest to [RSR)'s property, [789KLLTX78641], [RSR) - standing on the opposite sidewalk with [JH) by her side,

and with a malicious smile on her face - maliciously shouts out to [PK] while laugl1ing at [PK): "JS THAT A SECURITY CAMERA?.'".

Neither [PK] nor the plaintiff respond to [RSR]'s malicious questioning - as the plaintiff had repeatedly instrnctcd [PK) not to acknowledge or

respond-to anything that any of the plaintiffs malicious neigl1bors do or say. The plaintiff then observes [JH) talking and laughing with [RSRJ

as they continue to stare at [PK) while [PK) is installing the security-camera. The plaintiff also observes [DMPJ, who has just recently

purchased (at the ve1y-beginning of the previous month) the property next-door to [RSR), [785KLLTX7864 l ), also standing on the opposite

sidewalk, briefly stare at [PK), showing his disapproval of [PK] and the plaintiff, as [PK) is installing the security-camera. (As future incidents

would reveal, [DMP) would tum out to be a close associate/crony and agent/proxy of [RSR),(JSP&KAP),[JH&SHJ,[CB&KB],[WCLE) in the

predatmy conspiracy against the plaintiff.) Later on that same day, as [PK] continues to install more security-cameras on the plaintiffs

[HOUSE], the plaintiff sees [KAP), who up until this point in time, has not shown any animus directly towards the plaintiff, talking with [JJBJ

on the sidewalk in front of the plaintiffs property - making it abundantly clear to the plaintiff that they are all part of the same malicious and

predatory criminal-conspiracy and racketeering-enterprise against the plaintiff. Therefore, as early as the month of {2011-IO}, all of these

individuals - who, not coincidentally, are all of the White/Caucasian/American color/race/nationality - did not take much of any steps to conceal

their malicious animus, predatory conspiracy and racketeering-enterprise against the plaintiff. But this incident that documents all of these

individuals 1 menacing intimidation and disapproval towards the plaintiff and [PK] due to such initially-installed security-camera-system also

reveals a common theme expressed in this lawsuit:



® People who get away with committing crime(s) as part of a predatory conspiracy are usually able to get-away-with committing such
crimc(s) since they believe there is no evidence documenting such crime(s) and predatory conspiracy thereof.



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@ As soon as the victim(s) take any step(s) to prevent, or at the very least catch-on-the-record, future occurrence(s) of crime(s), there is likely

to be some negative reaction from all of those individuals (and/or agencies) that arc involved in such predatory conspiracy.


© Therefore, such people that commit crime(s) as part of such predatmy conspiracy clearly want to continue-to-do-so with absolute impunity,
and such recording devices are) at the very least, an obstacle to such predatory conspiracy.


In the plaintiffs paiticular case) the crimes committed against the plaintiff are egregiously malicious and predatory because the perpetrators

acting in such predatory conspiracy against the plaintiff are collectively and fully abusing/exploiting/capitalizing-upon their extremely-powerful

status as a dominant racial-majority (that in the not-so-distant past, openly en1:,,aged in extreme racial violence) that is predatorily targeting a

powerless racial-minority (that in the not-so-distant past, were targets of such overt, extreme racial violence). However, as future incidents

would contitme to reveal, and thanks in large part due to [WCLE] 1s active-participation in the predato1y criminal-conspiracy and racketeering-

enterprise against the plaintiff, the fact that the plaintiff has security-cameras and other personal recording devices potentially recording all of

the hate-crimes/racketeering-acts/civil-rights-violations/abuses committed against the plaintiff would mean little-to-nothing, due to the existence

of this predatmy local-government - defendant [WC] - that not only green-lights such criminal activity but actively, conspiratorially and

predatorily participates in such criminal activity - including blackmail, fraud, racial-intimidation, retaliation, witness-intimidation, abuse-of-

official-capacity, official-oppression, mL'iuse-of-official-infonnation, and other acts of obstruction-of-justice and civil-rights-violation - against

the plaintiff. During this incident, the plaintiff also utilized such in-person meeting with [PK] in-order-to:



® reveal to [PK) that the plaintiff had audio-recorded the entire incident of criminally-abusive conduct that the plaintiff had suffered from
 [RSR), [JSP], the [WCSD-PP] on that particular date of {2011-08-30}.



 @ playback at least part (although not even close to all) of such crucial audio-recording of criminally-abusive conduct, dated {2011-08-30}.


 © at least begin-to (although far from completely) explah1 to [PK), that especially due to the plaintiffs cognitive disability - the plaintiff had an
 extremely difficult time coping with the extreme mental-anguish of the h1justices (and the resulth1g deep psychological wounds) that the plaintiff

 had suffered from such criminally-abusive conduct.


 @ explain, in particular, the extremely-deep psychological trauma caused by such malicious and predatory White-American neighbors acting in

 such predatory conspiracy with an ove1whehningly White-American police department ([WCSO]) - all with substantial racial-animus against the

 plaintiff - in-order-to predatorily target the plaintiff - an immigrant-of-color/indigenous-person - even the mere imagery of which hwokes the

 deeply painful experience of modern-day-Jim-Crow racial-oppression.


 [PK) unconvincingly tried-to-reassure the plaintiff that, with their knowledge of such security-camera-system, and with their understanding that

 the plaintiff has a "big brother" looking out for the plaintiff, that the plah1tiffs predatmy neighbors would not dare to continue in such

 criminally-abusive conduct against the plaintiff. The plaintiff - knowing the manner in which racial-oppression and racketeering-enterprise

 works - was not even in the least bit convinced by [PK]'s reassuring words. (Additionally, [PK] - weighing approximately 150 pounds - was

 not even close to being as physically-large as most of the plaintiffs much larger and heavier predatory neighbors.) If anything, the sequence of


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incidents - which included [PK], and which, more-importantly, included [WCLE]'s brazen involvement in such racketeering-enterprise - only

galvanized the collective, extreme-racial-animus against the plaintiff - uniting and reinvigorating all of the plaintiff's predatoty

White/Caucasian/American neighbors' in their commonly-held extreme-racial-animus against the plaintiff - especially since there exists such

malicious local-government - defendant [WC] - that not only green-lights such criminal activity but actively, conspiratorially and predatorily

participates in such criminal activity - including blackmail, fraud, racial-intimidation, retaliation, witnesirintimidation, abuse-of-official-capacity,

official-oppression, misuse-of-official-information, and other acts of obstruction-of-justice and civil-rights-violation - against the plaintiff.



S[324
On or about a late-afternoon or evening of the date of {2011-11-08}, the plaintiff is shopping at a local grocery store. Out of pure coincidence

and on the plaintiffs way out of such grocety store, the plaintiff encounters [AJC] and his wife [773KL-2009-2] outside of such grocery store.

The plaintiff greets [AJC],[773KL-2009-2] and a brief conversation about the previous incidents spontaneously ensues. While the plaintiff

informs the couple about [JJB]'s c rime(s) - the one(s) that were prosecuted by [WCLE] - as well as those crimes [JJB] committed against the

plaintiff w hich remained uncharged and unprosecuted, [773KL-2009-2] spontaneously - completely out of her own volition - explains to the

plaintiff a few more details regarding [RSR]'s unauthorized entry into their property and the outrageous threat(s) that [RSR] made to [773KL-

2009-2] while unlawfully on their property. Despite 3 different persons - the plaintiff, [AJC] and [773KL-2009-2] - repeatedly corroborating

the plaintiffs claim that [RSR] is an extremely malicious and predatory person, both [WCLE] and the [HOA] openly embraced [RSR] as one

of their beloved residents - while they repeatedly - for over a decade after these initial incidents - conspired with [RSR] (and her co-

conspirators [JSP&KAP]) in targeting the plaintiff based upon [RSR]'s (and her co-conspirators [JSP&KAP]'s) predatory demands against the

plaintiff:
 •      RIIICXHG) <DiYZRSAl'IQI(~)   IIK'llllCEN fflB PLAIN'l'UI' l\11'.l (AJCJ , (773KL-2009-2) •    (2011- 11-08 17 : 00) 1- )
        C PRIIIA'l1I URL LIM( TO BE SOIIHl'I'l'ED IN DlSOOYERr J

     [ PLAINTIFF EXITS GROCERY STORE, WJ\LKS T0'11ARDS PLAUITIFF ' S VEHICLE AND SEES, RECO::,NIZES [/\JC] , [773KL-2009-2] :                          D


 PLAINTIFF


     [AJC )                /-1011~· ii goi11. buddy!




 PLAINTIFF                 ••••, right?


     [AJC J                Yeah!


 PLAINTI FF                What'., up.


     [AJCJ                 {???] {???]


 PLAINTIFF                 Um. 110 - I{????}{???}


     [AJC)                 {???} {???]


 PLAINTIFF                 Um. 110. Aclllally. I'm 11111ch better 1mll'.


     [AJCJ                 I see ;ym g11ysj11st put those security camems up.

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PLAINTIFF           Yeah.


[AJCJ               You go/la show me how {)'011 guys did tlwl.}


PLAINTIFF           Rig/11. You krrow, {I go/} a couple of items stolcrrfrom my l,ackym<I. Arre/-



[773I<L- 2009- 2]   Oh, I believe ii! I believe it! ... They're- They're nasty people!


PLAINTIFF           By the way, lhe one- the neighbor right acmss- 11111, my 11e.rtdoor neighbor, 011 the righl side. yo11 k11ow, the-


[773I<L- 2009- 2]   J••••?

PLAINTIFF           Yeah.


[773I<L- 2009- 2]   Uh 11111111111.


PLAINTIFF           You k11ow about her? ... Do you k11ow what happened with her?


[AJC]               No.



PLAINTIFF           Um- She got- She lost herjob for s/eali11g-


[773I<L- 2009- 2]   She was a teacher.


PLAINTIFF           Yeah. she 11-as a teacher a11d she lost herjob for stealing a credit-ca,rl apparrmtly.


[AJC]               Ohhft!!!


[773I<L- 2009- 2]   Ohhh!!I


PLAINTIFF           Right!


[AJC]               See! Whal goes around, comes wv1111d, 111a11!


[773KL- 2009- 2]    / did11't k11ow tho/ 011e slole a credil-ca,rl!



[AJC]               They're all evil, 111a11!


PLAINTIFF           Exactly! Exactly!


[773I<L- 2009- 2]   They're- The one- The heavy-set 011e. She cnme 11p to my house accusing me of wa11/i11g to- .wyi11g- What she did to yo11!


[AJCJ               Exactly n1wl- but yeah, e:.·aclly!


PLAINTIFF           Really!


[773I<L- 2009- 2]   She 11-as i11 my ya,,/! A11d like- 111 my door/ In myface! And I bocked her all the way out ofmy yard!

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 PLArNTIFF           Rig!,/.


  [773KL- 2009- 2]   And I told !,er! Um, I said. )'011 know, I told !,er, I said, "Yo11 need lo stay off 11,y pmpe11y!", and sire goes, "THIS IS A-", )'Oil know, .~Ire goes, "IV£ PAY
                     {HOA]-"


 [AJCJ               "THIS JS A NEIGHBORHOOD!"


 [773KL-2009- 2]     "THIS IS A NEIGHBORHOOD! AND MY KJD SHOULD 8 £ ALLOWED IN!" Ami I said, "111,en Jv11 star/ paying my [HOA] fees, then yo11r kid can sit
                     i11 my yard! Until /!,en, keep him 0111!"


 PLAINTIFF           Rig/ti. 11igl,t. Rigl,t.


  [773KL- 2009- 2]   Yea!,, /1,ey're - 1/wy'rej11sl nasty- people!


  [AJCJ              Stop over, 11w11I


 PLAINTIFF           Rig!,/.


  [AJC]              Please ... Come over 011e day!


  [773KL-2009-2J     Yeah. {???] { ???]


  [AJC]              Yea!,, it'.r gel/in cooler! I'm gonna slm1 a little fire-pit i11 tl,e back!


 PLAINTIFF           Rigl,t. Rig!,/. Rig/ti.


  [773KL-2009- 2J    )'eah


  [AJC ]             A/rile, man ...


 PLAINTIFF           Same here. If)VII need a11ytl,i11g, just let me knoll'!


 [773KL- 2009- 2]    A/rile!


 PLAINTIFF           A/rite! Have a good evening!


  [AJC]              A/rite- You too!


  [773KL- 2009- 2]   See-ya!
  0C PLl\INTiff STARTS TO \'//ILK TO'ilARDS PLI\INTIFF ' S VEHICLE Pl\RK80 IN Pl\RKING LOT OF SUCI! GROCERY-STORE . D




i 325
O n or about an afternoon in the month of {2012-03}, [BR], who is substantially- larger in physically-size than the plaintiff, but who is still a

m inor at that moment in time, runs from deep-inside [JSP&KAP)'s property, (788KLLTX7864 I], well through deep-inside the plaintiff's

property across the plaintiff's [FRONTYARD] grass and [DRIVEWAY] - on his way back to his mother, [RSR]'s property,
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[789KLLTX7864 l]. Since [AJC] had left a copy of his business card with the plaintiff, the plaintiff makes a phonecall to [AJC] and asks

[AJC] if it is still considered to be criminal-trespassing if the minor child of the parent who was issued the [CTW], trespasses. [AJC] advises

the plaintiff not to report the issue, since the [CTW] applies to the parent [RSR], and not her minor child, but that if the plaintiff did get [RSR]

on the record trespassing, that the plaintiff absolutely should report it, which the plaintiff eventually did do when [RSR] criminally-trespasses

multiple times on the plaintiffs property, and at the very least, eight years later during the year {2020) - see below. (Regarding this particular

incident, the plaintiff follows [AJC]'s advice and docs not report [BR]'s trespass to [WCLE].) During this conversation, the plaintiff also

expresses the plaintiffs extreme frustration and mental-anguish to [AJC] that both the plaintiff and [AJC] were forced to sign [CTW] against

[RSR]'s prope1ty, when neither [AJC] nor the plaintiff ever stepped anywhere near [RSR]'s property - and in fact, it was only [RSR] that

stepped well-into the plaintiffs property and [AJC]'s property in-order-to viciously threaten the plaintiff and [773KL-2009-2] respectively - and

01 so doing, [RSR] had actually committed crimes agau1st both the plaintiff and [AJC],[773KL-2009-2] - none of which were even charged, let

alone prosecuted by [WCLE]. The plau1tiff expressed intense frustration and mental-anguish to [AJC] that the plaintiffs rights were egregiously

violated by both [RSR] and [WCSD-PP] (acting 01 full coordinati011-with the [WCSO]), and that the plaintiff had been totally abused - in a

crin1inal manner - by both [RSR] and [WCSD-PP] - neither of whom are facing any legal consequences for their abusive and crin1inal actions

against the plaintiff nor then- abusive and criminal actions against [AJC]'s family. At some point in time during this conversation, [AJC] states to

the plau1tiff, "I'll be ho11est with you - that cop is II racist!". The plaintiff was very relieved to hear these words from [AJC], as it truly did

capture the true nature of the abuse-that such abuse was motivated by the racial-animus of[RSR] and the [WCSO] against the plaintiff - and

the corresponding mental-anguish that the plaintiff was suffering as a result of the u·aumatizing incident. The plaintiff asked [AJC] if he knew

of any lawyers for legal advice on this issue. [AJC] provided the plaintiff with a number to a free legal-aid hotline. The plaintiff expressed great

appreciation for the words of relief and other infonnation that [AJC] had provided to the plah1tiff, and the phonecall ended shortly thereafter.

This incident also reveals that the plaintiff was considering filing lawsuit against defendants [WC],[WCSO],[RSR],[JSP] (and police-officers

[WCSD-PP], [WCSD-SP]) as early as the years {2011 }/{2012) - but clearly did not do so. The plaintiff did not, at this early point h1 time,

realize that the plaintiffs decision not to sue defendants [WC],[WCSO],[RSR],[JSP] for such defendants' numerous criminally-abusive actions

against the plaintiff in the years {201 l}/{2012) would lead to the plaintiff continuing to suffer over ten more years (after this incident) of

escalating hate-crunes/racketeering-acts/civil-rights-violations/abuses by [WCLE], acth1g in consph-acy with the plaintiffs predatory neighbors

[RSR],[JSP&KAP] - but not [JJB], since [JJB] would soon lose ownership of her then-property, [792KLLTX7864I], in the middle of the year

{2012) due to all of the fallout from her felony charge(s) and/or crin1inal-conviction(s).



<][326
On or about a morning in the month of {2012-03), the plau1tiffwould notice on the plaintiffs security-camera-system-monitor, [JJB], [JSP]

and [JH] congregate on the sidewalk dh-ectly in front of the plaintiffs private-prope1ty (and dh·cctly 01 front of the plaintiffs [FRONTDOOR])

in-order-to carefully inspect the plaintiffs [FRONTY ARD] at close range, while continuing to make derisive comments about what they alleged

to be so-called "weeds" growing throughout many areas of the plaintiffs [FRONTYARD] grass. The plaintiff continues to notice the

contuming, deleterious effects of the toxic-cnvh·omnent of racist-lawlessness that [WCLE] had created, not only by failing to prosecute the

racially-motivated hate-crimes committed against the plaintiff during the previous year of {2011} (at the very leas\, by [RSR],[JJB],[JSP]), but

also by actually predatorily conspiring with those ve1y same White-American perpetrators of racially-motivated hate-crimes/racketeering-

aets/civil-rights-violations/abuses agah1st the plaintiff to further-violate the rights of the plaintiff - especially during that traumatizu1g incident of


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{2011-08-30}.



1327
On or about an afternoon in the month of {2012-03), the plaintiff heard loud knocks on the [FRONTDOOR]. The plaintiff took more than a

minute to respond to the front-door, but when the plaintiff did open the front-door, the plaintiff did not see anybody outside of the

[FRONTDOOR]. The plaintiff then walked approximately ten-feet-fmwards to the [FRONTPORCH] area to see [JJB] h1 the sideyard of

[792KLLTX78641] who shouted menacingly at the plaintiff, "YEAH, A/IE YOU GOING TO TAKE CARE OF ALL OF THESE

WEEDS?! OR Slf OULD I TURN-YOU-IN TO THE [HOA/?!" The plah1tiff timidly responded with "Ok... ". [JJB] continued to stare

menacingly at the plaintiff, and then a few seconds later, continued to enter h1to her vehicle located in the driveway of [792KLLTX7864 l ],

reversed the vehicle out of the driveway and then drove down the street in such vehicle. It is imp01tant to note that, not only were the so-called
"weed,·" that [JJB] was refeITing to flowerh1g spring plants (wildflowers) that were approxhnately I-feet in heigl1t, but more hnportantly, on or
about this moment h1 tune, the property [792KLLTX7864 l ], which [JJB] used to own, was ah"eady under foreclosure proceedings as a result

of [JJBTs recent loss of her job, which in turn, was a direct result of her '1credit card abuse" criminal-charge and/or conviction. Therefore,
[JJB] was not even an owner of [792KLLTX78641] when she made this blackmail threat to the plaintiff, as the ownership of

[792KLLTX78641] had already been transferred over to a financial-institntion which then maintained ownership over such property. This

brazen intimidation/interference/disorderly-conduct/blackmail/crhnh1al-trespass crhninal acts by [JJB] against the plah1tiff (which clearly shows

that [JJB] was acting predatorily against the plaintiff without even having legal ownership of [792KLLTX7864 l]) reveals that [JJB] was acting

out of pure maliciousness and racial-animus and not even under the fraudulent/fictitious guise of 'J)rotect;ng property values" - a pattern of

purely-malicious behavior/actions and hate-crimes/racketeering-acts/civil-rights-violations/abuses that the plaintiff would conthme to suffer from

the other co-consph·ator defendants [RSR],[JSP&KAP],[WCLE] for almost a decade after this incident. Furthennore, these hate-crimes by

[JJB] agah1st the plah1tiff were clearly conunitted in retaliation for the plaintiffs reporting of [JJB]'s prior hate-crhnes to the [WCLE], thus

making them felony crimes under Texas law (and racketeering-acts under federal law since such crimes were also federal crimes). It became
increasingly clear to the plaintiff that [WCSD-PP]'s,[WCLE]'s predatory, abusive, h1stitntionally-racist treatment of the plaintiff in the month of

{2011-08) - especially on the day of {2011-08-30) - had only emboldened the plaintiffs predatory neighbors to step-up their

intimidation/interference/disorderly-conduct/blackmail tactics against the plaintiff - even threatening to use the [HOA], as proxy enforcers, to

engage in further acts of racial-inthnidation by proxy against the plaintiff.



1328
Within a week of the previous h1cident the plaintiff makes a phonecall to the [WCSO] in-order-to report this additional crhne from [JJB] to the

[WCSO]. The dispatched [WCSO] Sheriff Deputy JANE-DOE-12 [WCSD-JD-12], later identified as Brandi Moore [WCSD-BM] (see

below), calls the plah1tiff without clearly specifying her full-name, and saying her last name so rapidly that the plaintiff is unable to decipher it.

After the plaintiff reported these latest crimes to [WCSD-JD-12], and the fact that the plaintiff has these crhnes caught on recording, [WCSD-

JD-12] first asked if the plaintiff had any issues with the [HOA]. The plah1tiffwas surprised by this question and responded to [WCSD-JD-12]

that the plaintiff recently called the [HOA] to find out that the plaintiff had no pending violations with the [HOA] and that the plaintiff was in-

the-clear with the [HOA]. The plah1tifffurther explah1ed that even if the plah1tiffwas in any bad-standing with the [HOA] - which was not true

- then that fact, h1 no way, gives any neighbor the right to commit crimes against the plaintiff. [WCSD-JD-12] agrees and then explains to the

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plaintiff that the plaintiff first needs to verba lly tell [JJB] to stop coming over onto the plaintiffs property, further explaining that, only after the

plaintiff does this, and then [JJB] continues to violate the plaintiffs order, can the [WCSO] handle the complaint as a harassment complaint.

However, none of the Texas law or federal law concerning "harassme11t", "disorderly-conduct", "inti111idation/i11te1ference" or "blackmail", in

any way, requires a victim of such crime(s) to alert/warn the perpeh·ator to stop such criminal action. So, the plaintiff can only interpret this

response and lack-of-concern by the [WCSO] as yet another instance of the [WCSO] denial-of-services and deprivation of the plaintiffs rights

- again, due to the (victim) plaintiffs racial profile versus (perpetrator) [JJB]'s racial profile. The plaintiff then continued to protest the fact that

the plaintiff was forced to sign a [CTW] (by the abusive actions of [WCSD-P P]) even though the plaintiff had not even stepped out of the

plaintiffs [HOUSE] on the day that [RSR] fraudulently accused the plaintiff of entering into [RSR]'s property. So, if the plaintiff was unjustly

forced to sign a [CTW] even though the plaintiff did not do anything wrong, then the plaintiff continues to question: Why are [JJB] (and even

[RSR]) not facing any consequences for the multiple and actual crimes that these individuals have committed and continue-to-commit against

the plaintiff? The plaintiff further asks [WCSD-JD-12] if the plaintiff could have that [CTW] removed from the plaintiffs record, because the

plaintiff should not have the plaintiffs reputation (@ ) needlessly tarnished by coercive, abusive actions of [WCSD-PP] (who was maliciously

acting in conspiracy against the plaintiff along with [RSR],[JSP]). [WCSD-JD-12] said that she would need to look into the matter, and places

the plaintiff on hold. A few minutes later, [WCSD-JD- 12] responds that there is nothing that could be done about the [CTW], because the

plaintiff agreed to sign the [CTW]. The plaintiff started to become indignant, given that [WCSD-PP] had engaged in modem-Day-Jim-Crow

racial-intimidation, while making multiple fraudulent statements in-order-to unlawfully coerce the plaintiff to sign that document (in violation of

several aforelisted State-of-Texas laws and federal laws). [WCSD-JD-12] goes on to respond to the plaintiff that [RSR] did not want the

plaintiff on her property. The plaintiff continues to become more indignant, stating to [WCSD-JD- 12] that if both [WCSD-JD- I2]'s and

[RSR]'s (unsound) logic were correct, then the plaintiff could pick anyone at random from the neighborhood - who had never stepped foot on

the plaintiffs property - and demand that the [WCSO] issue to them a [CTW] against the plaintiffs property, claiming that the plaintiff did not

want that innocent random resident on the plaintiffs property - which as the plaintiff continued to explain, makes absolutely no sense, and that

that is not how the system (of criminal-trespass) is supposed to work. [WCSD-JD-12] explains that she was not tbere, and that she does not

know what happened. [WCSD-JD- 12] continued to rudely talk-over the plaintiff and stated that she can only hy to address what's going on

today. The plaintiff asserts that this is yet another tactic that the [WCLE] has repeatedly used to deny their taxpayer-funded services to the

plaintiff - by claiming that they can only handle what happens today or recently (when, in fact, the relevant statute-of-limitations states

othe1wise). [WCSD-JD- 12] explains that she cannot speak for the actions of[WCSD-PP]. T he plaintiff tries to explain why what happened

many months prior connects to today, as it reveals the utter, racist hypocrisy of the situation:



® Here, the plaintiff has had multiple malicious individuals enter into the plaintiffs property, bang on the plaintiffs door in order to
threaten/blackmail and racially-intimidate the plaintiff, and they faced absolutely no consequences



@ Despite of the fact that the plaintiff had not stepped onto any of these malicious persons' respective prope11ies nor committed any crime
aga inst any of these persons, the plaintiff was forced to sign a [CTW] due to the malicious, abusive and predatory actions of [WCSD-PP]

(acting in full coordination-with the [WCSO]).



© The plaintiff further explains that [AJC],[773K.L-2009-2] had been harassed/threatened by [RSR] after [RSR] unlawfully entered into their
property, and furthermore, on that same day, [AJC],[773KL-2009-2] came to speak to [WCSD-PP] to defend the plaintiff - further explaining


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that whatever [RSRJ fraudulently accused the plaintiff of, [RSR] had also threatened to do to them.



(WCSD-JD-12] continues to be obstructive towards the plaintiff, providing the same response as before. The plaintiff, still indignant, continues

to double-down that neither the plaintiff nor (AJC],[773KL-2009-2] should have been forced to sign a [CTW] when none of these individuals

did anything wrong. The plaintiff further states that [WCSD-PP] maliciously forced the plaintiff to sign the [CTW], while requiring no such

thing of [RSRJ - that he sin1ply (with a malicious/mocking smile on his face) issued a copy of (RSR]'s (CTW] to the plaintiff indicating that she

refused to sign it. The plaintiff then makes it known to [WCSD-JD-12] that the plaintiff has that entire incident recorded on audio, and that the

plaintiff could easily take that recording to a lawyer, and explain to the lawyer the injustice of this situation. The plaintiff continues to

indignantly explain that the plaintiffs point about past crimes connects to the most recent issue - the most recent crimes committed by (JJBJ

against the plaintiff - that if the plaintiff has a (CTW] issued against [JJB], the plaintiff should not be forced to sign one against [JJB]'s properly

(which as the record would show, was not even the property-owner of her residence at that moment in time, due to that prope1ty being under

foreclosure proceedings) - that this entire issue of reciprocal (CTWJ demand has absolutely no basis in the law, that (CTW] is only supposed to

be issued to those who actually commit the trespass. The plaintiff fm1her explains to [WCSD-JD-12], that based on the plaintiffs online

research, if a [CTW] was issued in error, that it could be removed from a person's record. [WCSD-JD-12] places the plaintiff on another hold.

This assurance that [WCSD-JD-12] briefly and momentarily provided the plaintiff with false hope - that the plaintiff could finally clear the

plaintiffs name from any wrongdoing. After the minute-long hold, to the plaintiffs surprise, (WCSD-SPJ, not [WCSD-JD-12], responds to the

plaintiff and [WCSD-SP] asks the plaintiff if the plaintiff remembers her which the plaintiff did acknowledge. [WCSD-SP] asks the plaintiff to

 explain the situation to her, which the plaintiff tried to do. [WCSD-SPJ takes the same initial stance as [WCSD-JD-12] - that [RSRJ could

 demand that the plaintiff sign the (CTW] even though the plaintiff did not do anything wrong. The plaintiff continued to protest the sheer

 injustice of this situation, and [WCSD-SP] says that it is simply a warning, that the plaintiff did not have to do anything wrong to be issued this

 warning. [WCSD-SP] continues to rudely talk over the plaintiff, even stating that she is not going to )el/ with" the plaintiff, even though the

 plaintiff was not yelling - but rather, explaining out of extreme frustration and indignation. The plaintiff continues to explain that, if what

 (WCSD-SPJ is saying is true, that the plaintiff could just pick anyone at random from the neighborhood and demand that the [WCSOJ issue a

 [CTWJ against them even if they were not guilty of any such act. [WCSD-SP] agreed, further qualifying that the person(s) that needed to be

 warned need to be present at the prope11y for the [CTW] to be issued to them. [WCSD-SP] further states that this issue was many months

 ago, and wanted to know how it connects to today. The plaintiff explains [JJB]'s most recent crimes to [WCSD-SP]. [WCSD-SPJ then yells an

 extremely-racist statement to the plaintiff - in effect, justifying all of such crin1es committed against the plaintiff: "THE BEST SOLUTION SID,

 JS TO MOW YOUR GRASS! AND THEN YOU WON'T HAVE THIS PROBLEM!" [WCSD-SP]'s abusively racist statement - as outrageous as

 it is - would serve as just one of many microcosms for this lawsuit: [WCSD-SP] is basically explaining to the plaintiff that the plaintiffs

 neighbors, who all out ofno coincidence, happen to be of the White/Caucasian/American color/race/nationality (just like the ove1whehningly

 majority of the [WCSD]s), could commit a seemingly unlimited number of racially-motivated hate-crimes against the plaintiff and get away

 with doing so, while justifying these crimes by stating that the plaintiff was failing to maintain the plaintiffs private-property according to

 White-American standards. This is precisely the type of criminal abuse - totally violative of the plaintiffs Constitutional rights and the plaintiffs

 fair-housing rights - that the plaintiff has suffered for over ten years by [JSP&KAPJ,[RSRJ, [WCLE] (and their co-conspirators) - even after

 [JJBJ would lose her property to foreclosure during the year {2012}. The other infuriatingly-racist aspect about [WCSD-SP] statement is that it

 is clearly false - because the plaintiff's innocent failure and/or 11inability 11 to maintain the plaintiffs private property according to White-
 American standards was always (throughout the time-period documented in this lawsuit) simply a fraudulent pretext that was fully abused,


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exploited and wcaponized by the defendants. The plaintiff has filed this lawsuit, in substantial part, to prove that the defendants engaged in

racial-oppression and racketeering-activity against the plaintiff, and that they simply found the property-maintenance laws to be the only

convenient weapon under which they could fraudulently act "under color of law" to engage in such racial-oppression and racketeering-activity

against the plaintiff. The plah1tiff tries to explain that the plah1tiff did contact the [HOA] and found out that the plaintiff was in-the-clear with

the [HOA] - that there were no restrictive-covenant violations. But before the plaintiff could even explain this, lWCSD-SP] rudely ta\ks over

the plaintiff, h1terrupts the plaintiff and threatens to hang-up on the plaintiff if the plah1tiff did not keep quiet while she talked. Despite of the

fact that the plaintiff was h1-the-clear with the [HOA], the plaintiff further makes it clear that the [WCSO] has absolutely no authority over

enforcement of restrictive-covenants as such enforcement-authority lies with the [HOA] - especially given that such enforcement-authority is a

matter of civil contract law; [WCSD-SP] agrees. The conversation continues in frnstrath1g ch-clcs (thanks to the [WCSO]'s obstrnctivc conduct

against the plaintiff), with the plaintiff ttyh1g to re-explain the sheer injustice of the entire situation. [WCSD-SP] tries to shift the blame away

from the [WCSO] and onto the [HOA], instrncting the plaintiff to make the [HOA] know about [RSR]'s and [JJB]'s abusive/crhnhrnl actions

against the plaintiff, which the plaintiff said that the plaintiff had already done - although, clearly, the [HOA] is not responsible for enforcing

criminal law. The plaintiff then fm1her questions [WCSD-SP] as to the reason why she informed her co-workers at the [WCSO] about the

private information that the plaintiff does not run the air-conditioning/heating unit h1side of the plaintiffs [HOUSE], and that as a result of this

lack of ah--conditioning/heath1g, that there is an alleged odor h,side of the plaintiffs [HOUSE]. [WCSD-SP] justifies her hwasion of the

plaintiffs privacy by making the egregiously racist statement that if the plaintiffs [HOUSE] is an 11unsqfe environment'\ then she has a right to

tell her co-workers about it. [WCSD-SP]'s conthmed abusive statements made it h1creasingly clear to the plaintiff that [WCLE] was hell-bent

upon abusing/humiliating the plaintiff - makh1g the plaintiffs life as miserable as possible - while at the same tune, completely deprivh1g the

 plah1tiff of any right to justice - a pattern that would increash1gly repeat itself over the decade that followed. The plaintiff would conthmc to

question [WCSD-SP] as to why [WCSD-PP] h1cluded the plah1tiffs date-of-birth in the [CTW] that he issued to [RSR] - a clear invasion of

 the plaintiffs privacy - and in actuality, the additional crime of "Misuse-of-Official-b1formation". In yet another shocking statement, [WCSD-

 SP] justifies [WCSD-PP]'s abusive action stating that it is a government document, and that the government has the right to put the plaintiffs

 private infonnation on there, for other unauthorized third-parties to see - in total violation of the plaintiffs fundamental right to privacy. The

 plah1tiffquestions [WCSD-SP] as to why [RSR] was made aware of the plaintiffs (confidential) date-of-bh·th, and [WCSD-SP] doubles-down

 on her previous statement. The plah1tiff questions [WCSD-SP] as to why [WCSD-PP] did not note down [RSR]'s date-of-bu-th on the copy of

 the [CTW] document issued to the plaintiff, and [WCSD-SP], realizh1g that none of these abusive actions are, in any way, justifiable, states to

 the plah1tiff that she cannot speak to what [WCSD-PP] did, sh1ce she was not there at that moment in time, and as a result of not beh1g there,

 that she does not know the answer to such questions. The plaintiff asserts that such feigning-of-lack-of-knowledge is yet another commonly
 used tactic of [WCLE] employees - and [WCLE] in general - in-order-to evade accountability and liability for then· actions. At this moment in

 time, the plaintiff makes it known to [WCSD-SP] that the plah1tiffhas audio-recorded that enth-e incident involving [WCSD-PP], further asking

 that if the plaintiff presented the audio evidence to her, if she could get such fraudulent [CTWJ against the plaintiff removed. As soon as

 [WCSD-SP] realizes this extremely damaging and incrh-ninating fact, [WCSD-SP] h-nmediately tries to turn-the-table on the plaintiff, shouth1g

 at the plaintiff that the plaintiff committed an illegal act by secretly recording [WCSD-PP] without his consent. Once agah1, the plaintiff is

 increasingly reminded that the plaintiff is dealing with what appears to be a racketeering-enterprise, rather than a police-department. Contrary to

 what [WCSD-PP] fraudulently clah-ned, the facts are that:
 ® Texas is a one-party-consent state, meanh1g that the plah1tiff did not need [WCSD-PP]'s consent in-order-to record [WCSD-PP].
 @ Even in some two-party-consent states (of which, Texas is not), a person is lawfully allowed to record a suspected perpetrator of crime(s) -

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including police-officer(s) - without the consent of such perpetrator.
© [WCSD-PP] unlawfully detained the plaintiff within the plaintiffs own private-property, engaging in abusive verbal-battering and racial-
intimidation against the plaintiff while in front of [FRONTDOOR] to unlawfully coerce the plaintiff to sign a [CTW], and that the plaintiff has

the lawful right to record anyone that is acting unlawfully within the plaintiffs private property (or within any other area that the plaintiff is

lawfully allowed to be).
@During the begimting of that very same year - {2012} - the ~United States Department of Justice Civil Rights Division

Special Litigation section~ issued a letter-opinion in the [SCOTUS] case of((CHRISTOPHER SHARP V. BALTIMORE CITY

POLICE DEPARTMENT, ET. AL.)), affirming that private-citizens have the first-amendment-right, the fourth-amendment-right and the

fourteenth-amendment-right to "record police officers in the public discharge o_f'their duties" - even while on public property or on any other

property that such citizens are lawfully allowed to be.



So, the plaintiff additionally asserts that [WCSD-SP] - acting in her official-capacity under the authority of the [WCSO] - engaged in the

racketeering-act of "witness-intimidation" against the plaintiff when she fraudulently shouts to the plaintiff that the plaintiff had committed an

illegal act by secretly recording [WCSD-PP]'s (federal and state) crimes against the plaintiff without his consent. The plaintiff explains that the

plaintiffs brother, [PK], owned two (real-estate) properties at that moment in tin1e - one property in Cedar Park (which is located within the

County-of-Williamson) and another property in Austin (which is located within the bordering County-of-Travis). So, the plaintiff further

questions [WCSD-SP] that although [WCSD-PP] forced [PK] to sign the [CTW] against [RSR]'s property, as to why, [RSR] was not made to

 sign a [CTW] against either, or both, of [PK]'s private-properties. [WCSD-SP] explains that [RSR] would have no reason to go over to [PK.]'s

 property - which the plaintiff asserts is completely irrelevant according to the previous logic that [WCSD-SP] had explained to the plaintiff. The

 plaintiff further questions [WCSD-SP] as to why [WCSD-SP] never issued [RSR] a [CTW] against the plaintiffs property when the plaintiff

 initially reported [RSR]'s crimes against the plaintiff to [WCSD-SP] during the day of {2011-08-01}. The plaintiff further questions why it

 had-to-take [PK] to issue a threat-to-sue [RSR] in-order-to get [RSR] to stop engaging in such brazenly criminal conduct against the plaintiff

 for [RSR] to be finally issued a [CTW] against the plaintiffs property - which, in turn, only happened after [WCSD-PP] abusively and

 unlawfully coerced, via racial-intimidation, the plaintiff to sign a [CTW] against [RSR]'s property. The plaintiff questions [WCSD-SP] if she

 recognizes that each of the questions that the plaintiff has asked of [WCSD -SP] reveals a separate count of the unlawful act of racial-

 discrimination against the plaintiff and/or [PK.]. Not surprisingly, [WCSD-SP] denies any discrimination, and demands to end the phonecall if

 the plaintiff does not have any other issue to resolve. Since the plaintiff has a recording of [JIB] entering into the plaintiffs property, the

 plaintiff asks [WCSD-SP] if the plaintiff can have a [CTW] issued to [JIB] without [JJB] forcing the plaintiff to be served with a reciprocal

 [CTW]. [WCSD-SP] responds that this is not possible, and continues to question if the plaintiff would like to proceed with the reciprocal

 [CTW]. T he plaintiff declines to proceed since the plaintiff fears that when the plaintiff is picking so-called "weeds" near the border-area of the

 two properties , the plaintiff could easily be falsely-accused of violating the [CTW] by the plaintiffs malicious neighbors who had already

 demonstrated their extreme racial-animus against the plaintiff. Although the plaintiff became increasingly-indignant and frustrated throughout

 this entire conversation, the plaintiff tries to end the conversation as civilly as possible - even confmning whether the plaintiff was speaking

 with [WCSD-SP]. Before the plaintiff could complete this final question, [WCSD-SP] had already unprofessionally hung-up the phonecall on

 the plaintiff. After this unprofessional hangup, the plaintiff calls the [WCSO] dispatch again, and tries to find out from the dispatch if whether

 this aforementioned process of issuing [CTW] is legitimate or not. The dispatch takes in the information, but informs the plaintiff that only

  Deputies are able to discuss such matters of criminal-law with the plaintiff, and so, the plaintiff is informed that the plaintiff will receive a call-


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back from a Deputy. The plaintiff asks which Deputy the plaintiff would be speaking to, and the plaintiff is told that the plaintiff would be

speaking to whoever is operating the plaintiffs particular residential area. A few minutes later, the plaintiff receives a call back from [WCSD-

JD-12] who, this time, more clearly identifies herself with last name Moore [WCSD-BM]. The plaintiff quickly explains the situation and

questions why the plaintiff was forced to sign a [CTW], and the plaintiff is immediately interrupted by [WCSD-BM], who explains that she

was the one that initially spoke to the plaintiff prim to [WCSD-SP] and that she is the partner of [WCSD-SP]. [WCSD-BM] informs the

plaintiff that she is going to provide the same response to the plaintiff as was provided by [WCSD-SP], and just as any other Deputy within the

[WCSO] would provide to the plaintiff. As the plaintiff continues to question why the plaintiff should suffer any negative consequence on the

plaintiffs othe1wise clean (and empty/blank) record, when the plaintiff did not do anything wrong. [WCSD-BM] informs the plaintiff that it is

not on the plaintiffs record and that it simply a sheet of paper that all parties - the [WCSO], the plaintiff and [RSR] - has copies of. The

plaintiff tries to re-explain the situation, further explaining that it is absurd and bizarre that any resident can demand a [CTW] out of any other

resident out of pure whim-and-fancy, without any proof of any violation of trespass law (or any associated criminal law). And this time, the

plaintiff gets a slightly different response from [WCSD-BM]. [WCSD-BM] reveals that if[RSR] "may have be/ieved"that the plaintiff was on

her property, that [RSR] could then lawfully demand that the plaintiff be issued a [CTW]. But as the plaintiffs audio recording of that incident

immediately reveals - right from the very beginning - when [WCSD-PP] initiates his abusively-racist verbal-battering of the plaintiff, the

plaintiff alarmingly denies entering onto [RSR]'s property, [WCSD-PP] takes the plaintiffs denial to [RSR]'s son [BR], who then confnrns that

the plaintiff was never seen - that in fact, the plaintiff was inside the plaintiffs [HOUSE] the whole time. Thus, [RSR] knowingly made a

fraudulent accusation against the plaintiff in-order-to get [WCSD-PP] to force the plaintiff to sign the [CTW], even though [RSR] had

trespassed onto the plaintiffs property, even blackmailing the plaintiff by threatening to get the plaintiff kicked out of the plaintiffs [HOUSE]

 by the [HOA] - a threat of racial-intimidation that was an egregious violation of the [FHA]. Despite of these facts, [WCSD-BM] pretends not

to underntand the plaintiffs simple point concerning the egregious injustices and racial-discrimination. The plaintiff explains that if the plaintiff

contacted a lawyer and explained this situation to them, that they would be able to understand and agree that this method of issuing reciprocal

 [CTW]s is illegitimate and unlawful, and that [CTW]s should only be issued to those who had actually trespassed. The plaintiff further explains

 that, according to the plaintiffs online research, a [CTW] can be removed if it was issued in error. [WCSD-BM] continues to state that the

 [CTW] was not issued in error, because [RSR] demanded it of the plaintiff - despite [RSR] fmally admitting that she had made multiple

 fraudulent accusations against the plaintiff since the plaintiff never was on her property, and [PK] was never a resident nor property-owner of

 the plaintiffs private-property, [788KLLTX7864l]. The plaintiff, once again, questions [WCSD-BM] as to why [RSR] was not issued

 [CTW]s against either of [PK]'s multiple properties (in Austin and Cedar-Park). [WCSD-BMJ responds that [WCSD-SP] has already explained

 the reasons for this, and that their answers are not going to change. The plaintiff, in extreme mental-anguish, expresses extreme frustration that

 [WCSD-BM] could not have an honest conversation on this legitimate topic of racial-discrimination with the plaintiff. The plaintiff finalizes the

 conversation by asking [WCSD-BM] for her first name - for which she responds: Brandi. The plaintiff then asks if she is patt of the patrol unit,

 which she confirms to be true. Despite the plaintiffs mental-anguish, the plaintiff ends the call with [WCSD-BM] in a relatively civil manner,

 this time, with neither party hanging-up the phone on the other.



 '1[329
 Shortly after the previous phonecall, the plaintiff makes another phonecall to the "Cedar Park Annex" of the [WCSO] - the closest regional

 department rather than the main [WCSO] Georgetown/Communications headquarters - and this time speaks to Sheriff Adminish·ator Shannon

 Sandell [WCSA-SS]. The plaintiff briefly recounts to [WCSA-SS] the traumatizing experience where the plaintiff was forced to sign a [CTW]
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due to the malicious, predatory and discriminatory actions of [RSR],[WCSD-PP],[WCSD-SP],[JSP] despite of the fact that [RSR] was the

only one who trespassed onto the plaintiffs property in order to commit the crimes of intimidation/interference/disorderly-conduct/blackmail

against the plaintiff (none of the crimes of which she was charged/prosecuted for). For the most part, [WCSA-SS] allowed the plaintiff to

speak without rudely interrupting/talking-over the plaintiff, and allowed the plaintiff to convey the excruciating and traumatizing pain that

plah1tiff was suffering as a result of the injustice suffered by the plaintiff at the hands of [RSR],[WCSD-PP],[WCSD-SP],[JSP]. [WCSA-SS]

initially directs the plaintiff to speak to the main Communications line and have them dispatch to one of the Deputies. The plaintiff responded

that the plaintiff had ah-eady tried pursued that option and was directed to the same Deputies that were involved in the abusive actions against

the plaintiff - so, clearly, the plaintiff was not going to get a resolution through that path. [WCSA-SS] understood and tries to look up these

cases using the case-numbers/event-numbers involved - the case-number of the criminal-mischief/illegal-dumping (C20l l0800024), and also

the case-number/event-number for the [CTW] issue (20 l l 078376). The plaintiff further explains to [WCSA-SS] that, according to the

plaintiffs online research, ifa [CTW] is issued in e1rnr, then it can be removed. The plaintiff then continued to, in much greater detail, explain

to [WCSA-SS] the circumstances surrounding the criminal/abusive incidents involving [RSR],[JJB],[WCSD-PP],[WCSD-SP],[JSP] that took

place during the previous 3 years. The plaintiff expresses great shock at the brazen sense of impunity that all of these individuals - [RSR],[JJB],

[WCSD-PP],[WCSD-SP],[JSP] - have operated with, when it comes to committing crimes/abuses against the plaintiff - that these individuals

feel with supreme-confidence that there will be no consequences for their brazen violations of the plaintiffs rights. [WCSA-SS] reveals to the

plaintiff that there was no report written for the [CTW] incident (2011078376). The plaintiff explains to [WCSA-SS] that it does not surprise

the plaintiff that there was no report written on that [CTW] incident, because if [WCSD-PP] wrote a report on that incident, then he would

have been forced to reveal in that report that he had egregiously violated the plaintiffs rights, and further, that multiple of the plaintiffs

neighbors ([RSR],[JJB],[JSP]) along with [WCSD-PP],[WCSD-SP] had committed serious crimes against the plaintiff. At this moment in time,

the plaintiff begins to realize that [WCSD-PP], and by extension the [WCSO], committed an additional count of Obstruction-of-Justice against

the plaintiff by deliberately failing to write such police-report, thus concealing all evidence of crimes that he and his co-conspirators [RSR],

[JJB],[JSP] committed against the plaintiff. While [WCSA-SS] was initially hesitant to acknowledge any wrongdoing on the part of the

[WCSD]s, after the plaintiff conveyed in greater detail the sequence of events, [WCSA-SS] was more receptive to the fact that there may have

been injustice here, and provided the plaintiff with contact information for the Sergeant superior to [WCSD-PP]: [WCSS-T]. The plaintiff had

even expressed frustration that it should not have to take the plaintiff nor [AJC],[773KL-2009-2] to have to contact lawyer(s) to resolve this

issue through litigation, when this issue can be resolved by simply revoking the [CTW] that was abusively issued against the plaintiff (and also

against [AJC],[773KL-2009-2]), and by prosecuting all of those individuals involved in committing crimes against the plaintiff (and also against

[AJC],[773KL-2009-2]). Surprisingly, [WCSA-SS] even acknowledged that that might be the route that the plaintiff might have to pursue if the
plaintiff is not able to resolve the issue by talking to [WCSD-PP]'s boss.



i330
[WCSS-T] called the plaintiff shortly after the plaintiff requested to speak to [WCSD-PP]'s boss. The plaintiff tried to explain to [WCSS-T]

that the plaintiff was unjustly forced to sign a [CTW] when no one from the plaintiff's property did anything wrong (and when the plaintiff did

not even step out of [HOUSE] on that particular day) nor stepped onto any other person's property. [WCSS-T] parrots the same outrageous

justification that if[RSR] demanded that the plaintiff not step foot on her property (and even though the plaintiff had never even crossed the

street to the opposite sidewalk where [RSR] lived), then she was justified in demanding it and [WCSD-PP] was justified in forcing the plaintiff

to sign the [CTW]. The plaintiff tried al least three times to explain the situation to [WCSS-T], and [WCSS-T] responded in the same manner
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as [WCSD-BM] and [WCSD-SP], that he had already explained his opinion to the plaintiff, and further that, his opinion is not going to change.

The plaintiff tried to explain to [WCSS-T) that this is not an issue of difference-of-opinion, but rather a legitimate legal issue - that is, at best, a

miscarriag~-of-justice, and at worst, an act of extreme abusiveness and predatory maliciousness of [WCSD-PP], acting in conspiracy with

[RSR], and while working in concert with the [WCSO] (since [WCSD-PP] was police-radio-communicating with the [WCSO] during this

incident). The plaintiff further asked that since this is a legitimate legal issue: What if the plaintiff took this issue to a lawyer and explained the

entire situation to the lawyer. [WCSS-T] stated that the plaintiff is free to discuss the topic with anybody the plaintiff chooses, and before the

plaintiff could respond, [WCSS-T] had a lready hung-up the phone on the plaintiff. Once again, the plaintiff is reminded that the plaintiff is not

dealing with a police-department, but rather, an obstructive-and-retaliatory, blackmailing-and-defrauding racketeering-enterprise. After these,

yet more, remarkable acts of racist-unprofessionalism and blue-wall-of-silence suffered by the plaintiff, the plaintiff calls the "Cedar Park

Annex" of the [WCSO] again, and this time speaks again with [WCSA-SS] who informs the plaintiff that there is nothing that she could do,

since she is a Sheriff Administrator, and as a Sheriff Administrator, she does not have the power to override the decisions of a Deputy. The

plaintiff understood and asked [WCSA-SS] if there was anyone else at the [WCSO] that could help the plaintiff resolve the issue, and [WCSA-

SS] informs the plaintiff that the plaintiff could speak to Lieutenant Tony Carter [WCSL-TC] - the boss of[WCSS-T] - but also that [WCSL-

TC] was not on duty on that day. The plaintiff asked {WCSA-SS]: How likely is it for the plaintiff to succeed in getting this [CTW) removed

by speaking to [WCSL-TC]. [WCSA-SS] explains to the plaintiff that she does not know the answer to that question, especially since she does

not have the power to override the decisions of Deputies, but that [WCSL-TC] is likely to speak to [WCSS-T] to find out more about the

situation. The plaintiff thanks [WCSA-SS] for providing the plaintiff with this information, and the phonecall ends civilly. The plaintiff decided

not to contact [WCSL-TC], because it became increasingly apparent to the plaintiff, that the plaintiff was not o nly further-injuring a deep

wound of the plaintiff that would not heal - at least, not by speaking to anyone at the [WCSO] - and furthermore, that the plaintiff would likely

face further acts of retaliation by speaking out to [WCSD-PP]'s superiors at the [WCSO]. Indeed, the plaintiff already realized that the plaintiff

made a crucial mistake of revealing to the [WCSO] that the plaintiff had, at that point in time, audio-recorded all (or at least some) of the

plaintiff's interactions with the [WCSO] and its employees. The plaintiff asserts that the plaintiff unwittingly became an "enemy of the state" by

revealing to [WCLE] that the plaintiff had audio-recorded extremely incriminating and damaging information - the racially-motivated

crimes/civil-rights-violations committed against the plaintiff by [WCLE] and its co-conspirators [RSR],[JJB],[JSP] - about [WCLE] and some

of its employees. The plaintiff asserts that, as an unwitting "enemy of the state", the plaintiff would continue, over the next decade, to suffer

numerous acts of racketeering-activity - particularly Obstruction-of-Justice and retaliation - by defendant [WC], particularly [WCLE] and some

of its employees, in s ubstantial part, because of the extremely incriminating and damaging information about [WCLE] that the plaintiff had in

the plaintiff's possession. More importantly, since none of the persons that had committed the aforedescribecl hate-crimes/racketeering-

acts/civil-rigl1ts-violations/abuses against the plaintiff - [RSR],[JJB),[JSP],[WCSD-PP],[WCSD-SP] - was in any way punished for those

criminally abusive actions - despite of [WCLE]'s full (or at least substantial) knowledge of these hate-crimes/racketeering-acts/civil-rigllls-

violations/abuses committed against the plaintiff - this dereliction-of-sworn-official-duties from [WCLE] against the plaintiff would continue-to-

send a powerful message, loud-and-clear to the plaintiff's predatory neighbors (RSR],[JSP&KAP] and other members of the [WCLE] - that

they are completely free to c01m11it, with absolute impunity, hate-crimes/racketeering-acts/civil-rigl1ts-violations/abuses against the plaintiff - a

low-IQ, powerless subhuman anima l - living w ithin a White neighborhood, apparently, without any rights ( e ) .




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On a clay following the aforementioned incidents, the plaintiff called the [WCSO] again, this ti.me to see if the old case regarding [JJB)'s
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criminal-mischief/illegal-dumping of the plaintiffs property could be re-opened given the new evidence that the plaintiff had of [JJB] knocking

on the [FRONTDOOR] in order to threaten the plaintiff about so-called "weed," on the plaintiffs property. The call was dispatched to Deputy

Prez [WCSD-Prez], who fast asked the plaintiff if the plaintiff had definitive proof of the criminal-mischief/illegal-dumping. The plaintiff onee-

ai,>ain explained that besides the fact that the [WCSD-PP] had made multiple statements that it was [JJB] that committed these crimes against

the plaintiff, and the fact that the plaintiff was outdoors in [BACKYARD] while one of these criminal-mischief/illegal-dumpings occurred into

[BACKYARD], and the fact that [JJB] was the only taWadult resident at that property that was capable of committing the crimes on those days

in {2011 }, the plaintiff did not have any other video evidence to prove that those criminal-mischief/illegal-dumpings were committed by [JJB].

[WCSD-Prez], while admitting that the [WCLE] could not proceed with prosecution unless the plaintiff had directly-witnessed (seen) [JJB]

committing those crimes or had video of [JJB] committing those crimes, also directed the plaintiff to the [WC] Constable's Office [WCCO],

Precinct 3, which is responsible for handling illegal-dumping cases. This fact is also yet another significant component of the plaintiffs racial-

discrimurntion complau1t against the defendants, because as future incidents would show, while the [WCCO] did not do anything to even

investigate, let alone charge/prosecute, [JJB]'s illegal-dumpingcrunes against the plau1tiffin the years {201 l)/{2012), the [WCCO] would play

a crucial role in the years {2015) through {2021) in its predatory, malicious, abusive and retaliatory targeting of the plaintiff for the plaintiffs

failure to mau1tain the plaintiffs private-property according to [JSP&KAP]'s,[RSR]'s subjective White-American standards. So, to make this

point more clear, the [WCCO] deems it acceptable for [JJB] - a physically-larger White-American woman with blonde-hair/blue-eyes to,

motivated by her racial-animus, criminally-vandalize an immigrant-of-color's private-property - but it is not, under any circumstance, acceptable

for that same immigrant-of-color to fail-to-maintain his/her private-property according to the subjective White-American standards of malicious,

predat01y White-American neighbors: the striking injustice and racist hypocrisy of this situation goes well-beyond mere "racial
discrimination". The plaintiff then questioned [WCSD-Prez] regardu1g issuing [JJB] with a [CTW] against the plaintiffs property, given that

the plaintiff did have the evidence of [JJB] knocking on the plaintiffs door in-order-to make the aforementioned threat to the plaintiff. [WCSD-

Prez] stated that a Deputy could issue her such a [CTW], and further stated the correct fact that [JJB] did not need to threaten the plaintiff in

order to justify such a [CTW] - only her mere trespass would have sufficed for such [CTW]. The plaintiff further questioned [WCSD-Prez] if

[JJB] was issued a [CTW], if [JJB] could also have a [CTW] issued against the plaintiff, and to the plaintiffs surprise, [WCSD-Prez] provided

a significantly different response compared to his aforementioned colleagues. [WCSD-Prez] stated that [JJB] would not be able to have a

 Deputy issue the plaintiff with a [CTW] unless [JJB] had proof that the plaintiff trespassed onto [JJB]'s property, because without such proof,

 the issuance of such [CTW] would be a pure act of "retaliation". In retrospect, the plaintiff is trnly shocked by [WCSD-Prez]'s surprisingly

 honest statements concerning criminal-trespass law, because this is precisely what the plaintiff had been trying to communicate to many of the

 aforementioned [WCSD]s that refused to acknowledge that the plaintiff was egregiously and unjustly forced to sign a [CTW] out of pure

 "retaliation" - retaliation, not only by [RSR],[JSP],[JJB] but more importantly, retaliation by [WCSD-PP],[WCSD-SP], and the [WCSO] - all

 acting u1 a rctaliato1y conspiracy against the plaintiff with co-conspiratorn [RSR],[JSP],[JJB]. The plaintiff strongly believes that the reason

 why [WCSD-Prez] provided answers significantly different from the other aforementioned [WCSD]s is because the plaintiff had not revealed

 to [WCSD-Prez] about how the plaintiff was viciously retaliated-against and criminally-abused by [WCSD-PP],[RSR],[JJB],[JSP] in those

 traumatizing incidents of {2011-08) (and their aftermath). In other words, as long as [WCSD-Prez] was unaware of the situation involvu1g the

 plaintiff and his colleagues at the [WCSO], thus answering the plaintiffs questions in an unbiased and objective manner without realizing that

 he was implicating his colleagues at the [WCSO], the so-called "blue-wall-of-silence" did not kick in to his responses to the plaintiff. In so

 doing, the plaintiff had, without even intending to do so, inadvertently conducted a small-scale and modified version of Jane Elliot's famous
 ( { 1968)) "Blue-Eyes, Brown-Eyes" experunent on [WCLE] - an inadvertent experunent that, u1 this particular case, clearly shows how extreme

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racial-biases and/or pro-police-biases within law-enforcement do result in radically-different responses.



«][332
On or about a morning in the month of {2012-04}, the plaintiff notices [JSP] approach the [FRONTDOOR] with a hand-written angry

note/page in hand. [JSP] uses some duct-tape to tape such angry note/page onto the plaintiffs [FRONTDOOR]. [JSP) would then jog back to

the driveway of [784KLLTX78641] and drive away in his pickup truck. At some point in time, the plaintiff opens the [FRONTDOOR) and

reads the angry note/page. The page on which the angry note was written may (or may-not) have been torn-out of a notepad from what

appears to be [JSP)'s then-employer (redacted below), since it included the logo, address and contact infonnation of this business located in the

Central-Texas area (redacted below). In the angry note, [JSP] admits to re-doing his front-yard with what clearly appeared to be a different

species of grass. [JSP) would later admit to the plaintiff that [JSP&K.AP] never sought approval from the [HOA) at any point in time to install

that new grass, even though to this day, that new grass remains on the front-yard of [784KLLTX7864 I]. As the plaintiff would later fmd out,

that new species of grass, Saint Augustine, is a very-water-thirsty, non-drought-tolerant grass that requires frequent irrigation to be kept alive,

especially during the summer months. lt would appear to the plaintiff (from this incident and several subsequent incidents) that the [HOA) is

giving preferential treatment to at least some White-American homeowners who violate the restrictive-covenant(s) (by performing unapproved

changes to front-yard landscaping) while wastefully consuming more natural resources, and/or polluting the environment by using pestic ides

and/or synthetic/chemical fertilizers. This fact is also a ve1y small, but still significant, part to the plaintiffs discrimination claim, as both

[JSP &KAP] and [RSR] would successfully extort/blackmail the [HOA) into suing the plaintiff in the years of {20I5}-through-{2019} for the

plaintiffs insistence to install a "no-mow" grass, while simultaneously submitting approval documents - hypocritically demanding to the [HOA)

that the plaintiff needs to be sued due to the plaintiffs lack of seeking prior-approval. It became increasingly clear to the plaintiff that [WCSD-

p P]'s,[WCLE]'s predatory, abusive, institutionally-racist treatment of the plaintiff in the month of {2011-08} - especially on the day of {2011-

08-30} - had only emboldened the plaintiffs predatory neighbors to step-up their intimidation/interference/disorderly-conduct/blackmail tactics

against the plaintiff. The angry note, which included [JSP)'s then-phone-number (redacted below), and which the plaintiff has preserved to this

day (original exhibit preserved and available), reads as follows:
  •   IWl>-WRITl'EN l\lQ\Y IOIE '104 (JSPJ TO PUIINTil'F co«::Zl1NDG l\LLEGl!D "tl!EDS" l\LLEGl!D TO BE ClllGINM'DG FIOI PIAINl'llT'S YARD   (2012-04- ?? 08:00) (~)

  •   [ PRIVM'l!! INF(R9.TIQI IN IOIE <MITn?D/Rl!mCIZD TO m:mx:T 'DIE PIUVllCT OF [ JSP] ]


  [ JSP]                                                                                        Joey

                                                                                                                ···-****

                            Sid,


                               Its Joey from next do01: Please 1111der 110 circumsla11ce mow or weedem your 101111 w/011/ o catch 011 your moll'er. Im already having to redo my whole
                         yard due to your lt'eed problem. If you don't have one please let me mow it. Ive spent a Joi of$ redoing my Imm and I 11011/d be ve1y upset if you shot

                         seeds all over my new /all'n.


                                                                                                Thanks
                                                                                                Joey




 «][333
 On or about the day of {2012-05-16}, a designated "Neighbor/rood Watch Coordinator" [NWC] of the [ Summerlyn] subdivision sends the

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following email message to countless residents of the subdivision, a lerting them of so-called '.'fear and unrest" caused by "one or two bald

African American men", and further that the [WCLE] police have been called on to monitor the situation by "driving through the

neighborhood ojien". This email was sent a few months after the death of African-American teenager Trayvon Martin caused by a

neighborhood-watch vigilante that harbored significant racial-animus, sparking nationw ide outrage, protests and the birth of the "Black-lives-

Matter" [BLM] movement. While the plaintiff is not opposed the general-idea of a neighborhood-watch, the plaintiff is strongly opposed to the

use of any neighborhood-watch for the spreading of racist messages/propaganda or even racially-insensitive-language and/or racist-dog-whistles

that causes any harm against members of racia l-minorities. At the very least, this email could have been written without identifying the men as

''Aji-ican American" - since there was other identifying information provided and because there could have been other non-racial identifying

information additionally provided. Furthennorc, if any resident of the neighborhood needed to know the alleged race of the alleged individuals,

then this information could have been exchanged by individual private emails or private phone-calls - on an individual, need-to-know basis -

instead of posting the race to the huge mailing-list of countless residents. (lncidentally, the designated [NWC] lived on the same street as the

plaintiff.) More importantly, this email shows the huge difference in actions/behaviors/conduct of [WCLE] - clearly responding with a strong

showing of force when the demands are made by White-Americans and the alleged perpetrators are "African American" whereas, there was

absolutely no such showing of any force by [WCLE] to any of the numerous incidents of racial-intimidation, assault, terroristic-threat,

harassment/stalking, disorderly-conduct, crin1inal-mischief, illegal-dumping, blackmail, etc. - those crimes committed by the White-American

defendants against the plaintiff - clearly because the victim of these serious crimes - including racially-motivated hate-crimes and retaliatory

(felony) crimes - is an inunigrant-of-color/indigenous-person - whom the defendants always considered to be a low-IQ, subhuman animal -

completely devoid of any rights. Instead, whenever there was any strong showing of force by [WCLE] regarding the plaintiff, it was because

the plaintiff's predatory White-American neighbors - particularly [JSP&KAP],[RSR],[JJB] (and some of their co-conspirators such as [DMP])

- demanded that the [WCLE] police egregiously-violate the plaintiff's rights, by threateningly reminding the plaintiff that the plaintiff lives in a

White neighborhood, and as a result of living in such White neighborhood, the plaintiff better keep silent about all of the crimes that are

committed against the plaintiff by White-American ne ighbors, especially if the plaintiff is not maintaining the plaintiff's property according to

White-American standards. The message also makes other racially-insensitive references and/or racist-dog-whistles - such as how the White

neighborhood, and in particular, the White neighborhood's White-American children needed to be protected by [WCLE] from such ''Aji-ican

American men", whom the poster automatically refers to as "criminals". This email would be just one of many emails/social-media-messages

that would serve as a pain fo l reminder to the plaintiff that racial-bias, or at the very least, the widespread use of racially-insensitive-language

and/or racist-dog-whistles - if not overt, then at least subtle - is alive-and-well within the neighborhood. It L~w ithin this backdrop of subtle

racism existing w ithin the [Summerlyn] subdivision that the plaintiff has suffered the more-overt predato1y racism of the defendants - the

existence of subtle racism w ithin the neighborhood making the overall environment more hospitable to the more-overt predatory racism directly

suffered by the plaintiff at the hands of the defendants:
     • ~ Aartl 1• ,               ~ 11D1      [JR:) ro OCUfl'USS ISlaarlynl     i.5Imlffll <XX:l:NOlG "n:111! ~ tNIEST"         (2012- 05- 16 17 :55) (~)
 •   t li'IUVM'E INF<Rtt.TIQI m nan. CMITIUl/RElw:'lm ro PRJl'llc:T fflE 1'IUVJCY OF 5'HlD. ri-=1 J




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                    Hello!


                    Tltis is •••••• ••••. Neighbor/toad Watclt Comrli11atorfnr S11111merly11 Neighbarltoocl It is ltas been broug/,/ to my al/e11tio11 tltat tltere /,as been a red or
                    maroon colored ca1· i11 tlte 11eigltl1or/wod coming cm1ce111, fear and 1111resl to d1ildrrm aud adults tltis week. The occ11pa111., are one or /11-0 /,aid Afrit:flll
                    A111ericm1 111e11. Tlte Willi11111s011 Co1111ty Sheriff's department ltas been ml/ed mu( are ,tri1·i11g tltrouglt tlte neig/,borltood often. Plerue reply ifJ'OII
                    have c.Ypcric11ced any lwnn or fear from Ilic abO\'C c/c.,ct·jpfion. If you :,cc a :1il11alion like lhi:1 one or/eel uncom.forloblc nl all alm11I anything going on in

                    tlte 11eigltb0t11ood, ple<L1·e call tl,e JYILCO Sheriff's office and //ten send me 011 email. We are coordittaling 011 i1ifom10tio11 gatl,erittg drive i11 tlte 11ex1
                    couple of 11"eeks. I am hoping lo gather email addresses or pl,011e numbers, for 1/tose 11'/to do 1101 ltave i11temet capabililie.v, to be able to p111 0111 ALERTS
                    fnrfires, assaults, or otl,er i.~mes tltal ll'e need to be <111Y11'!! lo eilher keep our kids, /tome 01· 011rse/vesfmm s111mhli11g info danger. Please reply to this

                    email and talk lo J'OII/' safety co11scio11s 11eigltbm~· abo/1/ ltelpi11g willt lite gatlteri11g or data enlty of this i1ifo1111atio11 for lite nearly 700 l,omes in
                    Summerlyn. If II'!! al/ 1m1k togetl,er ii will 110/ be a.1· da1111ti11g ofa pmject for any one person lo lackle lo l,e/p keep I/tis 11eigltborltood 1111attmclil'e lo
                    criminals.


                    WJLCO Slteriff's Office
                    Immediate Emergencies - 9 I I
                    Non-Emerge/II !.<mes - 512-943- /389
                    Main Office - 512-943-/300


                    17,anks so 11111clt!
                    •••••• ••••, NWC Coard
                    Ki11gfislter lane




i334
On or about a late-morning in the end of the month of {2012-05}, the plaintiff was performing some yard-work in [FRONTY ARD], when

[JSP] approached the plaintiff on the [784KLLTX7864 I] sideyard and expressed his anger at the plaintiff for what [JSP] alleged to be so-

called 11111eed1· 11 growing in the plaintiffs [BACKYARD]. The plaintiff responded in a timid/friendly manner stating that many indigenous

peoples actually live in jungles - suggesting that whatever vegetation that the plaintiff had growing in the plaintiffs [BACKYARD] pales in

comparison to the wild environments that such indigenous peoples willfully live-in and thrive-in. The plaintiff also stated that the plaintiff likes

the natural vegetation growing in plaintiffs [BACKYARD] and would not be growing such vegetation otherwise - in other words, that such

vegetation are not "weeds" because the term '\veeds" only refers to undesirable (or unintentionally-grown) vegetation. [JSP] expressed his

anger to his perception that the plaintiff smiled as the plaintiff was responding, angrily shouting at the plaintiff, "IT'S NOT FUNNY, SID! ... I

MEAN /'VE HAD NEIGJJBORS TELL ME THAT I SHOULD COME OVER THERE AND JUCJ( YOUR ASS/ 1' The plaintiff, taken

aback by [JSP]'s threat of violence, timidly responded that the plaintiff normally smiles when talking to people as a way of showing

friendliness. [JSP] then countered the plaintiff's argument by alleging what he alleged to be the lower-life-expectancy of such indigenous

peoples. The plaintiff strnngly disagreed, stating that many (if not most) of those indigenous peoples live to ninety years-of-age and above and

that some even live in so-called "blue zones" (where a larger fraction of such people live to hundred years-of-age or above), even suggesting to

[JSP] that their relatively longer-life-expectancies are a direct result of their indigenous/traditional/natural lifestyle choices. [JSP] then

threatened the plaintiff that a nearby two-story house has a greater view into the plaintiffs [BACKYARD], and that they could easily contact
                                                                                                  1
~Animal control Services ➔ on the plaintiff, if the plaintiff did not 'take care of1 the plaintiff's [BACKYARD]. (At this relatively-early

point in time, many the neighborhood's newly-planted trees had not grown to full-size-and-maturity; therefore, since that relatively-early point

in time, the alleged "view" from two-story houses into the plaintiff's [BACKYARD] that [JSP] is refen·ing to, has almost completely, been
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obstructed by such fully-grown trees.) [JSP] thus shifted the blame for such predatory behavior away from [JSP&KAP] and onto other

neighbors - even claiming that [JSP&KAP] had never complained to the [HOA] about the plaintiff - a fraudulent claim that would be disproved

within a matter of weeks when the plaintiff would receive another threatening letter from the [HOA] which included a alleged photograph of

the plaintiffs [BACKYARD] that was clearly taken from a private area of [JSP&KAP]'s property (by a person raising his/her camera-phone

over the 6-feet-tall-privacy-fence) - sec below. [JSP]'s predatory intimidation/interference/disorderly-conduct/blackmail acts and gaslighting

tactics against the plaintiff, as the plaintiff would later fmd out, would be part a much larger-pattern of deliberately-malicious and predatmy

strategy/behavior/actions ofhate-crinies/racketeering-actslcivil-rights-violations/abuses undertaken by [JSP&KAP],[RSR] to predatorily

brainwash/indoctrinate and gaslight the plaintiff into thinking that,



® the whole neighborhood (consisting of approximately 90% White-American residents) were somehow against the plaintiff because of the
manner in which the plaintiff maintained the plaintiffs private-property (which, even if true, in actuality, had much more to do with the

plaintiffs racial-profile), and that



® they would continue to predatorily demand authorities including the [HOA] and the agencies of [WLCE] to take more predatory
enforcement actions against the plaintiff, thereby inflicting further harm and emotional distress onto the plaintiff.


This was at least the fomih act of intimidation/interference/disorderly-conduct/harassmentlblackmaiVterroristic-thrcat/assault that [JSP]

committed against the plaintiff. It became increasingly clear to the plaintiff that [WCSD-PP]'s,[WCLE]'s predatmy, abusive, institutionally-

racist treatment of the plaintiff in the month of {2011-08} - especially on the day of {2011-08-30} - had only emboldened the plaintiffs

predatmy neighbors to step-up their intimidation/intcrfercncc/disordcrly-conduct/harassment/blackmaiVterroristic-threat/assault tactics against

the plaintiff - even threatening to use [WCLE], as proxy enforcers, to engage in fmiher acts of racial-intimidation by proxy against the plaintiff.



i335
On or about the date of {2012-06-13 l, the plaintiff received a deed-restriction-violation, [DRY], notice from the [HOA], demanding tllat tlle

plaintiff cut what the [HOA] alleged to be so-called "weed," growing in the plaintiffs private/concealed/curtilage [BACKYARD] (since the

default-installed bemmda-grass does not grow to over approximately 12 h1ches in height). Due to the 6-feet-tall-privacy-fences installed in all of

(or ahnost all of) the properties in the subdivision, [HOA] inspectors do not have a direct-view h1to such private-property backyards from the

public street, and as a result, cannot take photographs of such alleged "violations". The notice instead clearly showed an alleged photograph

originating from a private area of[JSP&KAP]'s propetiy [784KLLTX78641], which showed that a person within such private area of

[JSP&KAP]'s property- either [JSP] or [KAP]- took such alleged photograph from such private area of[784KLLTX78641]. It is h1disputable

 that [JSP&KAP] submitted to an unauthorized third-party- the [HOA] - what [JSP&KAP] alleged to be a photograph of the plah1tiffs

 privatc/concealed/curtilagc (BACKYARD]. The fact that [JSP&KAP] would send a photograph which they alleged to be of the plaintiffs

 private/conccaledlcurtilage [BACKYARD] - areas of the plaintiffs private-property that are clearly not only not visible from the public street

and areas of the plaintiffs private-property that are not fully-visible even to them (due to such 6-feet-tall-privacy-fence) - to an unauthorized

third-party - h1 this case, the [HOA] - is a clear violation of the plaintiffs fundamental right to privacy. Additionally, [HOA]s are required, by

Texas law ([TPrC-Tl l-C202]), to enforce the restrictive-covenants of the subdivision in a manner that is not "arbitrmJ', capricious, or

discriminatoryrr. Therefore, if the [HOA] is not inspecting eve1y property-owner's backyard, then the [HOA] certainly cannot inspect the
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plaintiffs [BACKYARD] - which would not only be a violation of [TPrC-Tl l-C202) but also a violation of the [FHA)/[TFHA), since the

plaintiff asserts that such discrimination is racially-motivated (especially as [JSP&KAP)'s extreme-racial-animus against the plaintiff would fully

reveal itself in future incidents). In other words, the [HOA] would have to prove in Court, at a minimum, that they are inspecting every
backyard in an manner that is not "arbitrwy, capricious, or discriminat01J'" to be able move fo1ward with any legal claim regarding the
plaintiffs private/concealed/curtilage [BACKYARD]. Fut1hennore, under the [FHA)/[TFHAJ, the [HOA) cannot "cheny-pick" which

restrictive-covenants it gets to enforce and how it gets to enforce those restrictive-covenants if that cherry-picking, in any way, targets a racial-

minority and/or gives a free pass to certain restrictive-covenants that are repeatedly violated overwhehningly (or disproportionately) by White-

Americans (and/or non-immigrants), such as, but not limited to - the rampant illegal-lighting of fireworks, the rampant parking-related

violations, the rampant speeding-vehicles, the rampant noise-nuisances, the rampant unleashing of large cats to enter into other residents'

backyards, etc - as such 11chenJ1-picki ng" is a clearly racially-discriminato1y housing practice. This was just one of the countless

abusive/oppressive/intrusive/invasive actions committed against the plaintiff (over the course of approximately twelve years) by the [HOA) that

consistently acted predatorily against the plaintiff based on the malicious, predatory demands of predato1y neighbors [JSP&KAPJ,[RSR) (and

fonner predatmy neighbor [JJB]) - all of whom harbored extreme-racial-animus against the plaintiff. The plaintiff would later fmd out (see

numerous social-media-postings and/or [HOA) meeting incidents below) that both [RSR) and [JSP&KAP] were engaging in blackmail against

the [HOA) by repeatedly, and along with their other White-American cronies/co-conspirators/proxies/agents, threatening to sue the [HOA) if

the [HOA] did not take legal action in-order-to evict the plaintiff(through the process of foreclosure), while the plaintiff repeatedly - over the

course ofat least a decade - informed the [HOA) that both [RSRJ and [JSP&KAPJ harbored extremely-predatmy racial-animus against the

plah1tiff. [JSP&KAP)'s and [RSRJ's blackmail of the [HOA) - in addition to beh1g illegal, with the ultimate viethn of such blackmail being the

plah1tiff - were also, at best, empty threats, since, even if they did sue the [HOA):



® They would have had to admit during the course of such litigation the damaging facts that they were repeatedly and/or constantly violating
multiple restrictive-covenants such as: the illegal-lighting of fireworks; one-or-more parking-related violations; one-or-more other noise-

nuisances; one-or-more unapproved changes (including, but not limited to, unapproved changes to front-yard landscaping); one-or-more

speeding-vehicles; one-or-more unleashed large dogs/cats roaming freely onto public-property and onto others' private-property; etc.


@ As multiple subsequent incidents would show, they had little-to-no understanding of the law (in generaQ and the property laws (in particular)

- but despite of their complete lack of understanding of the law, both the [HOA) and [WCLE) showed great deference, and even fear, towards

them because they were predatory White-American people that were predatorily targeting a "powerless", "low-IQ" immigrant-of-

color/indigcnous-pcrson - namely the plaintiff.



© They would have had to admit durh1g the course of such litigation the extremely damaging facts that they had consph·atorially and
aggregately committed numerous hate-crhnes/rackcteering-acts/civil-rights-violations/abuses agah1st the plaintiff - most of which [WCLE] were

aware of, but despite of such awareness, none of which were ever even charged by [WCLE] - thanks to the obstructive-and-retaliatory,
blackmailing-and-defrauding racketeering-enterprise involving all of these parties agah1st the plaintiff, which had already been firmly established

at this point in time.



In addition to the fact that such enforcement is egregiously racially-discrhnh1atory, [JSP&KAPJ, the [HOA], and [WCLE] were all predatorily

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makh1g outrageously wild assumptions about the types of vegetation that are growing in the plaintiffs private/concealed/curtilage

[BACKYARD] - always deeming such vegetation to be so-called "weed,·", when ht fact, the plaintiff was h1tentionally growing all of such

vegetation - at least some of which were vegetables meant for human consumption. The fact that the [HOA] would even reveal to the plaintiff

this alleged photograph of the plaintiffs private/concealed/curtilage [BACKYARD] that was clearly sent to them by [JSP&KAP], showed not

only that the [HOA1 operated in such a brazen\y racially-discriminatory manner toward the plaintiff, but a\ro that they did not mild acting upon

the predatmy demands of [JSP &KAP], who not only harbored extremely-predatory racial-animus against the plaintiff, but also h1 later years,

would both end up committing numerous additional felony crhnes against the plaintiff - none of which were charged or prosecuted by [WCLE].

This is the type of overt racial-discrimination and institutionally-racism that the plaintiff would suffer from both the [HOA] and [WCLE], and

that the plaintiff would only begin to fight back agah1st in later years - when, for example, the plaintiff demanded the [HOA] (in the year

(2015} and later) to provide the plaintiff with some evidence or h1dication that the [HOA] was inspecting all other residents'

private/concealed/curtilage backyards. When the plaintiff did make those demands of the [HOA] in later years ( {2015} and later), the [HOA]

finally admitted to the plaintiff that it does not inspect any other resident's backyard. Once the [HOA] made this crncial admission to the

plah1tiff, and once the plah1tiffmade it clear to the [HOA] that such practice was clearly racially-discrhnh1atory, the plaintiff would not receive

any notices or alleged photographs about the plah1tiffs private/concealed/cm1ilage [BACKYARD] in the years {2016) and after. However, the

[HOA] would continue to send multiple notices h1 the mail per year reb,arding alleged [DRV]s from the h1itial years of {2009) through {2021} -

all motivated by the extreme-racial-anhnus of [JSP&KAP],[RSR] (and h1itial neighbor [JJB]) - with the [HOA] deliberately ignoring the fact

that these same predatory neighbors had committed serious racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses

against the plaintiff (at least some of which the plaintiff did reveal to the [HOA]).



1336
On or about a date at the end of (2012-06), the plaintiffs senior-citizen father [FATHER] helped the plaintiff install a barrier in the plaintiffs

(BACKYARD] preventing [PARENT SJ' large-dog from entering into a large area of the [BACKYARD] dedicated to growh1g vegetables sh1ce

such dog was known to dig-up and uproot at least some types of root-vegetables. Despite this low-height barrier (3-feet-tall) being installed in

the [BACKYARD] - thereby not even in the least bit visibile from the street - [JSP&KAP] would, on a later date, demand the [HOA] to get

the plaintiff to remove this barrier, again as yet another instance of[JSP&KAP]'s intimidation/interference and racial-discrimination by proxy

against the plaintiff.



1337
On or about the date of {2013-02-25}, the plaintiff received a [DRY] notice from the (HOA] requesting the plah1tiff to use some type of "weed

treatment" to eliminate so-called "weed," in the plaintiffs (FRONTYARD]. The plah1tiff contacted the [HOA] by phone and/or email and let

the [HOA] know that the plaintiff is strongly opposed to the use to any-and-all pesticides, and that [HOA]s cannot force any homeowner to use

any chemicals on their private-property. The [HOA] responded that the so-called "weeds" need to be taken-care of, if not by chemical means,

then by natural means (manual cutting/pullh1g) - essentially backing down from theh' initial demand of forcing the plah1tiff to use such chemicals

against the plaintiffs will. This incident revealed that [JSP&KAP] and/or [RSR] would continue to demand the [HOA] to take egregiously

racially-discriminatory and oppressive actions against the plaintiff - coercing the plaintiff to do what no other White-American homeowners are

required to do. To this {PRESENT-DAY}, the plaintiffconthmes to notice many of the front-yards in the neighborhood where the so-called

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"weedr" are encompassing the whole front-yard, in some cases, where the amount of so-called "weeds" is actually rivaling the amount of grass

- furl her revea ling to the plaintiff that all of the [HOA]'s predatory actions against the plaintiff - during these initial years - were driven

exclusively by [RSR]'s,[JSP&KAP]'s (and initially [JJB]'s) predatory demands against the plaintiff to the [HOA] - all motivated by these

predatory neighbors' extreme-racial-animus against the plaintiff.



i338
On or about the approximate date of {2013-06-05} , the plaintiff noticed on the plaintiffs security-cameras recorded footage, what the plaintiff

would laler discover to be a [WCCHD] employee, [WCCHDS-ST] ( * ) - knocking on the plaintiffs [FRONTDOOR]. The plaintiff then

noticed that, when [WCCHDS-ST] did not get a response at the [FRONTDOOR], [WCCHDS-ST] then proceeded to walk through the

[FRONTPORCH] area ("curti/age'), then into the plaintiffs sideyard ("curtilage') and then towards the plaintiffs [BACKYARD]-fence-gate -

all, in violation of the plaintiffs rights. T he plaintiff then noticed [WCCHDS-ST] opened the plaintiffs [BACKYARD]-fence-gate, and entered

into lhe plaintiffs [BACKYARD] ( "curtilage"), again, in egregious violation of the plaintiff's rights. The plaintiff then noticed [WCCHDS-ST]

raise his camera-phone w ith his hands and appear to take photographs of the plaintiffs [BACKYARD]. The plaintiff then noticed that

[WCCHDS-ST] then exited the plaintiffs [BACKYARD] (again, through the [BACKYARD]-fence-gate) and returned to the [FRONTDOOR].

The plaintiff then noticed that (WCCHDS-ST) placed a single s lip of paper on the [FRONTDOOR]. When the plaintiff finally discovered the

slip at a later point in time, the plaintiff realized that the slip was a "warning citation " from [WCCHD] demanding that the plaintiff cut alleged

"weeds" growing in the plaintiff's [BACKYARD], and remove alleged so-called "trash", and threatened the plaintiff that the plaintiff would face

further action(s) from [WCLE] if the plaintiff did not take-care-of the matter within a matter of days. It is important to note that the

[WCCHDS-ST] did not have any other papers on his person, and did not leave any other papers at the [FRONTDOOR], meaning that this

[WCCHDSJ executed an Unlawful (discriminato1y) and Unconstitutional (fourth-amendment violation, fourteenth-amendment ('If ) violation,

fifth-amendment violation) warrantless inspection/search and seizure of the plaintiffs property curtilage-area that was not even visible from the

street, even resorting to the use of hands-on physical-intrusion (opening the [BACKY ARD]-fence-gate with his hands) in this Unlawful and

Unconstitutional inspection/search - a search and seizure that has clearly been deemed to be Unlawful and Unconstitutional by, amongst many

other court cases, the {2013-03-26} [SCOTUS] ruling in ((FLORIDA V. JARDINES», and then, later affirmed and/or strengthened in the

{2018-05-29} [SCOT US] ruling in ((COLLINS V. VIRGINIA) - see section below. Additionally, the plaintiff, in hy ing to protect the plaintiffs

first-amendment Constitutional-rights to freedom-of-religion and freedom-of-expression, has-denied and continues-to-deny the allegation that

such vegetation are "weeds", especially when such vegetation is intentionally-cultivated in an enclosed backyard as part of such first-

amendment-right - sec section below. In fact, most of the vegetation in the center-area of the plaintiffs [BACKYARD] was actually the okra

(vegetable) plant - which again, grows rapidly and densely up to 8-feet-tall. It is crucial to note that most of the actions that [WCCHDS-ST]

took on this particular day while on the plaintiffs private-property was a clear and egregious violation of the plaintiffs rights - once

[WCCHDS-ST] did not get a response, and thus consent, from the property owner/occupant (at the [FRONTDOOR]), then the "knock-and-

ta/k" protocol clearly-established by one-or-more [SCOTUS] rnlings, requires that the government-employee/police-officer must immed iately

leave the private-property in the same "baseball" path to the nearest public-property (in this plaintiffs case, the sidewalk/stTeet).



i339
Shortly after this unconstitutional-and-unlawful search, the plaintiff made a phonecall to the number on slip, and spoke to another employee of

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the [WCCHD], [WCCHD] Steve Gilmer [WCCHDTL-SG]. During this fast phonccall, the plaintiff needed to obtain more infonnation about

the complaint that was lodged against plaintiff, because the plaintiff saw absolutely nothing wrong - and to this very day, continues to see

absolutely nothing wrong - in the way that the plaintiff was maintaining and continues-to-maintain, the plaintiffs [BACKYARD]. [WCCHDTL-

SG] told the plaintiff that the plaintiff's "neighbors", without actually identifying who these neighbors were - although the plaintiff has eve,y

reason to believe (based on the 1·est of the rest of the evidence presented in. this lawsuit) that the list ofneighhorn at \east included [JSP&KAP1

and/or [RSR] - in addition to accusing the plaintiff of having so-called "weed," in [BACKYARD], had also accused the plaintiff of "bwJ>ing

trash" in [BACKYARD] - a complaint that as the record will show, was not verified/confnmed even by the unconstitutional-and-unlawful

search that the [WCCHDS-ST] had conducted on the plaintiffs property, and that is not only nonsensical because it is physically in1possible to

do, but also a nonsensical complaint that has been repeatedly parroted by defendants [RSR],[JSP&KAP] (and even the [HOA] under [f-HOA-

BoD]s(SPOA-P-BC],[SPOA-VP-AH],[DMP] acting upon the predatory demands of [RSR],(JSP&KAP]) in future incidents (see below) -

revealing ve1y clearly to the plaintiff, all of the predato1y people that are making these malicious and fraudulent complaint(s) against the plaintiff

were abusively weaponizing (both as a "sword and shield') the property-maintenance laws as modern-day-Jim-Crow law against the plaintiff,

maliciously exploiting the plaintiffs failure and/or "inability" to maintain even private areas of the plaintiffs private-property according to their

(hypocritically-enforced) White-American standards. [WCCHDTL-SG] clarified to the plaintiff that some of these neighbors were not only

accusing the plaintiff of dumping items onto [BACKYARD], but rather, actually, "bwJ1fng" items - that is, digging soil up and burying "trash" -

which the plaintiff inlmediately recognized as particularly malicious, because both these neighbors and [WCLE] knew they were engaging in

pure-fraud when they made this complaint. (Also, as documented in the section below, Texas law does not define the term "trash" and only

defmes the term ''garbage", "re.fllse", and 'h1bbish 11• Thus, these malicious neighbors use of the undefined term "trash" further indicated to the

plaintiff that such malicious neighbors are fraudulently skirting Texas law by using term(s) that are not even defined in Texas law.) When the

plaintiff revealed to [WCCI-IDTL-SG] that the plaintiff did not use garbage service, [WCCHDTL-SG] explains that that may be the reason

why the neighbors were targeting the plaintiff. When the plaintiff revealed that, like most indigenous peoples, the plaintiff lived a "zero-waste"

lifestyle, the plaintiff was told by [WCCHDTL-SG] that that is "not normal" and "not natural" - which the plaintiff can only interpret as an

extremely racist view that forcefully imposes White-American lifestyle standards onto any indigenous-person (such as the plaintiff) that willfully

chooses to live an off-grid, zero-waste, anti-consumerist, minimalist lifestyle according to such indigenous-person1s Constitutionally-protected

religious practices. The plaintiff strongly asserts that such indigenous-peoples' off-grid, zero-waste, anti-consumerist, minimalist lifestyle is,

indisputably, a fully-protected Constitutional right under the freedom-of-religion and freedom-of-expression clauses of the United States

Constitution. The plaintiff explained that there were miscellaneous items in [BACKYARD], none of which was "trash". The plaintiff asked

what else was in the complaint that was lodged by the neighbors, and [WCCHDTL-SG] reveals that the neighbors accused the plaintiff had

"brush" stored in the [BACKYARD]. The plaintiff admitted that the plaintiff did have some brush stored over a thin-layer of cardboard,

holding such cardboard in place for the ecological practice of '~vheet-mulching" - decomposing the grass underneath to create rich, fertile soil

that could later be used for planting vegetables - further explaining to [WCCHDTL-SG], that this practice of ''.l'heet-mulching" is part of the

larger pennacultural practice of "no-dig-gardening" and "no-till-agriculture'1• [WCCHDTL-SG] then explains to the plaintiff that the use of

such cardboard may not be compliant with Texas-Public-Nuisance-Law, which as the plaintiff would later fmd out (by reading [THaSC-T5-

SB-C365]) is not true - since such cardboard is being used, not as a waste product, but as an intentional landscaping technique to decompose

grass (and/or other vegetation) while adding the fertility of such decomposed grass (and/or other vegetation) back into the soil. During this

phonecall, [WCCHDTL-SG] made a crucial admission to the plaintiff: that person(s) can eliminate the possibility of a public-nuisance by

storing item(s) located within private-property above ground-level; by elevating items onto, for example, shelves/racks above ground-level,

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person(s) can eliminate the possibility of wild animals like rodents/vermin burrowing under such item(s). (As foture incidents would show, the

plaintiff has followed this advice by storing item(s) in the [BACKYARD] above ground-level - so as to eliminate any possibility of alleged

public-nuisance violation - but despite of following this advice, the malicious complaints of predatory neighbors with extreme-racial-animus

against the plaintiff - [RSR],[JSP&KAP] and their other White-American co-conspirators - persisted). During this same phonecall,

(WCCHDTL-SG] also made another, even more impmtant admission to the plaintiff: that person(s) can have a "messy'' yard whi\e still

complying with the Public-Nuisance-Law by erecting a fence such that the "messy" yard is not visible from the public street. The plaintiff

explained to [WCCHDTL-SG] that the builder of the subdivision had already installed a 6-feet-tall-privacy-fence so that [BACKYARD] was

not, in any way, visible from the street. The plaintiff further explained to the [WCCHDTL-SG] that since none of the items in [BACKYARD]

that the neighbors were (maliciously and predatorily) complaining about were, in any way, visible from the street, that their complaint against

the plaintiff was not an actual violation of the Texas Public-Nuisance-Law. Yet, [WCCHDTL-SG] was still not willing to close the complaint,

saying that he was not at the plaintiffs property, and that only [WCCHDS-ST] could close the complaint since only [WCCHDS-ST] had been

onto the plaintiffs property. The plaintiff repeatedly tried to ask [WCCHDTL-SG] what the plaintiff would need to do to close the complaint,

and [WCCHDTL-SG] kept advising the plaintiff to clean it up a little, solely for the purpose of getting the plaintiffs neighbors "off of the

plaintiffs back". [WCCHDTL-SG] fo1iher-explained to the plaintiff that since the plaintiffs neighbors know that the plaintiff does not use

garbage service, that they arc, in effect, exploiting that fact about the plaintiff to make fraudulent accusations about the plaintiff; and so,

[WCCHDTL-SG] further advised the plaintiff to purchase a garbage-bin(s) and store within such garbage-bin(s) some of these items out-of-

sight, so that at least the neighbors cannot use the aforementioned fact regarding the plaintiffs lack-of-garbage-service agah1st the plah1tiff. This

advice/instmetion from [WCCHDTL-SG] reveals that such predatory neighbors wield so much power that they can predatorily h1flict this huge

amount of stress and burden onto the plaintiff, engaging in racial-intimidation-by-proxy against the plaintiff, by just predatorily complaining to

law-enforcement about the plaintiff - making multiple fraudulent and/or extremely-misleading accusations against the plaintiff, driven by then·

extreme racial-animus against the plaintiff, h1-order-to maxhnize their infliction of harm onto the plaintiff, by abusively weaponizing (both as a

''sword and shield'} such property-maintenance laws as modern-day-Jim-Crow law against the plaintiff. This advice/instruction from

[WCCHDTL-SG] also revealed a painful truth to the plaintiff about the enforcement of such property-mah1tenance-laws, at least by [WCLE]

and/or the [HOA] - that such enforcement is not about the fair, unbiased and equal application of law to all prope1iy-owners, but rather, the

extremely-discriminatory complaint system, in which, whether or not a property-owner faces the stress and burden of attending to such

complaints is ahnost-exclusively (if not exclusively) a function of how predatory, malicious and/or invasive/intrusive such property-owner's

neighbors are, rather than a function of how meritorious the complaint(s) actually are. In other words, a property-owner is free to maintain

private areas of his/her property - paiiicularly enclosed/private backyard, private-front-porch, etc. - in as sloppy/messy and/or unsanitary a

manner as he/she wants to maintain it - as long he/she has friendly (or at least neutral) neighbors that do not maliciously complain about

him/her to [WCLE]/[HOA]. While at the same tune, those same rights clearly do not transfer over onto those property-owncr(s) who have

predatmy/malicious neighbors - especially, predatory/malicious neighbors that will use any means necessaiy to intimidate/interfere-with/harass
their victim in-order-to apply extreme pressure onto their victim to move out of the neighborhood, due to their biases/animuses against their

victhn that have absolutely nothing-to-do with legitimate public-nuisance. Underlying all of these facts is the most fundamental fact that the

majority of people-of-color around the world (and the overwhelming majority of indigenous-peoples around the world) do not live according to

White-American standards, and so, such people-of-color cannot be coerced to live according to White-American standards without such

coercion being a clear violation of such people-of-color's fundamental first-amendment rights to freedom-of-religion and frccdom-of-

expression. The plaintiff asserts that even if there arc alleged, so~called "unsanita,y conditions" on an accused-person's private-property, then

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that fact alone docs not mean that such alleged 1111sanita,y conditions" poses any type of nuisance to neighboring properties - especially if
such alleged "unsanitary conditions" arc entirely confined within the accused-person's private-property (for example, by way of a 6-feet-tall-

privacy-fcnce). In other words, there is a clear burden-of-proof placed on the accuser to show, beyond any-and-all reasonable doubt, how such

alleged "unsanitary conditions" on the accused person's private-property is causing any harm to the accuser's use and/or enjoyment of his/her
own private property. Additionally, the plaintiff strongly asserts that if all of the alleged, so-called "un.<1anitary conditions" are strictly enckw,ed

and/or strictly confined within, for example, a backyard that is fully-enclosed by a 6-feet-tall-privacy-fence, then the accuser will have a very-

difficult, if not impossible, time proving how any of such alleged "unsanita,y conditions" are in any way encroaching upon the use and/or
enjoyment of the accuser's private property. Furthermore, if the accused person lives at the property that houses the so-called 11unsanita1J'

conditiom/', then in ahnost all cases, the accuser will have a very-difficult, if not impossible, time proving how such so-called "unsanitalJ'

conditions" are causing harm, because clearly, if there is actually any such harm caused, then the accused person will be just-as-exposed-to if

not more-exposed-to such harm, as a direct result of living on such prope1ty. To summarize, if there is no actual, demonstrable harm caused to

neighboring prope1ty owner(s) nor to the environment, then there simply is no "compelling state interest" nor authority for government to step

in and act on such predatoty, irrational and illogical complaint(s), especially if the complaint(s) involve private/curtilage areas of private-

property that are not visible from the public street, and especially if the accused is legitimately asserting that such property-maintenance

practices are Constitutionally-protected rights. Finally, the plaintiff asserts that many White-Americans' use of pesticides/herbicides/insecticides

is a classic example that illustrates the utter hypocrisy of [WCLE]'s racially-discriminatmy and predatory actions against the plaintiff, as such

pesticides/herbicides/insecticides cause extreme harm both to human health and to environmental health - and is also technically a violation of

Texas Public Nuisance law [THaSC-T5-SA-C341-SB-§341.0l 1(12)) as one-or-more Courts in the United States have ruled that at least some

of the most widely-used pesticides/herbicides/insecticides are known causes of cancer and/or Parkinsons-Disease and/or organ-failure and/or
other disease(s):

     Each iJ{thefollowing is a public health nuisance: ...

     (12) an ol?ject, place, or condition that is a possible and probable medium of disease transmission to or between humans.

At no point in thne did [WCCHDTL-SG] admit to the plaintiff that all of those who have complained about the plaintiff were, by no

coincidence, of the White/Caucasian/American color/race/nationality, whereas the plaintiff was the sole immigrant-of-color/indigenous-person

who was the one being targeted. At no point in time did [WCCHDTL-SG] admit to the plaintiff that at least some of those who have

complained about the plaintiff ([JSP] and/or [RSR]) had already demonstrated their substantial racial-animus against the plaintiff (see previous

incidents above). At no point in time did [WCCHDTL-SG] admit that [WCCHDS-ST] had egregiously violated the plaintiffs rights by

executing an egregiously unconstitutional-and-unlawful search-and-seizure of [BACKYARD]. [WCCHDTL-SG] eventually shows his anger

towards the plaintiff, shouting at the plaintiff because [WCCHDTL-SG] did not want to continue answering the plaintiffs questions that were

not only questioning the logic and rationality of the government's invasive/intmsive/prcdatory actions against the plaintiff, but that were also

raising some rather uncomfortable facts about the complaint and, more impmtantly, the predatory people that were instigating such

invasivelintrusivelpredatmy actions, motivated by extreme racial-animus against the plaintiff. [WCCHDTL-SG] concludes the phonecall by

letting the plaintiff know that he will pass the information onto [WCCHDS-ST] and have [WCCHDS-ST] call the plaintiff back, since the

plaintiff needed further clarification.



i340
Since the plaintiff did not receive a phonecall from [WCCHDS-ST] in a timely manner, the plaintiff made multiple phonecalls to the [WCCHD]
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in the plaintiffs attempt to speak to [WCCHDS-ST] and to make the plaintiffs voice heard - due to multiple fraudulent and/or extremely-

misleading accusations already described above. After multiple failed attempts to reach [WCCHDS-ST], the plaintiff finally docs manage to

speak to [WCCHDS-ST] over the phone. [WCCHDS-ST] immediately starts to oppressively take-control and dominate the conversation, by

railing at the plaintiff that the plaintiffs neighbors were complaining due to the so-called "weed\·" and several miscellaneous items (mostly
gardening, landscaping and fence-construction tools-and-materials) - which he fraudulently alleged to be "trash" - scattered in [BACKYARD].

(Also, as documented in the section below, Texas law does not define the term "trash" and only defines the term "garbage", 11refi1se'1, and

"rubbish" - thus, both [WCLE]'s and the neighbors' use of the undefmed term "trash" further indicated to the plaintiff both [WCLE] and the

neighbors were fraudulently skirting actual Texas law that regulates such sanitation issues.) [WCCHDS-ST] fraudulently accused the plaintiff

of having "grass up back to your elbows" - even though the default builder-installed grass, bermuda-grass, does not grow more than a foot-tall

in most areas, and even though all of the vegetation that was growing above that bennuda-grass was growing sparsely (not densely) with each
plant-stem approximately a foot-or-more apart from each other, and even though many, if not most, of those plant-stems were from vegetables

like okra that the plaintiff and/or the plaintiffs senior-citizen [PARENT SJ had intentionally planted (for consumption) in the plaintiffs

[BACKYARD]. On at least one occasion, [WCCHDS-ST] even fraudulently uses the term "r~fi,se" to describe items in [BACKYARD], when

"re.fuse" is clearly defined in Texas law as a mixture of both "decayable'' waste and "nondecayable" waste. As the plaintiff had already

explained to [WCCHDTL-SG] - by even itemizing all items in [BACKYARD] - there was absolutely no waste in [BACKYARD], and

furthermore, even if any such items were falsely alleged to be waste, then those items would have been of the nondecayable type, meaning that

would have been "rubbish" and not "re_fi1se". Although the plaintiff has always strongly denied that any items stored in the plaintiffs

[BACKYARD] was "waste" of any kind (including "rubbish'1, Texas law requires only 11re_fi1se 11 and ''garbage 11 - but not '1rubbish 11 - to be

placed within "closed receptacle(.,)". In this phonecall, [WCCHDS-ST] admits to (unconstitutionally-and-unlawfully) entering into the

[BACKYARD], without a search-wan-ant, and without consent of the plaintiff (because the plaintiff was not available to provide consent), and

while in the [BACKYARD], taking photographs of alleged so-called "weed," and the other aforementioned miscellaneous items in the

[BACKYARD] (since all of these items were completely enclosed inside the plaintiff's private [BACKYARD] and not visible from the street).

It was clear to the plaintiff that [WCCHDS-ST] was blackmailing the plaintiff to keep the plaintiff silent not only about his unconstitutional-
and-unlawful search of the plaintiffs property, but also about the fact that the complaint was instigated by the extreme-racial-animus of the

plaintiff's predatmy White-American neighbors - particularly [JSP&KAP] and/or [RSR]. The plaintiff continued to insist that none of the

miscellaneous items in [BACKYARD] were "trash", and instead began to itemize each and every item and/or type-of-item. As the plaintiff has

always maintained that the plaintiff has been intentionally cultivating such vegetation that the plaintiff considers to be desirable vegetation,

including some vegetables like okra, which rapidly grows up to 8-feet-tall - and furthermore, that any intentionally grown vegetation - whether

vegetables or otherwise - cannot be considered to be so-called "weed,". [WCCHDS-ST] angrily states to the plaintiff that the plaintiff was

wasting the plaintiff's time by entering into such arguments, and that, in the same amount of time that the plaintiff is questioning/argui11g-with

[WCCHDS-ST], the plaintiff could have instead spent that same time using a so-called '\veed-whacker" to take care of the issue. [WCCHDS-

ST] even threatened to levy a fine of "thousand, of dollars" against the plaintiff - which would have been unlawful according to the Texas-

Public-Nuisance-Law for at at-least 2 reasons. Firstly, any fine associated with such Public-Nuisance is limited to a maximum of $500, and

secondly, that fine is only levied upon successful conviction of the Class-C-Misdemcanor-Public-Nuisancc - typically at the end of a jury-trial

that decides on such matter. When the plaintiff continued to ask questions like how exactly the plaintiffs property was in violation of such law

and/or what proof of harm such conditions on the plaintiffs property created, [WCCHDS-ST] brazenly threatens the plaintiff that if the

plaintiff doesn't stop asking questions and take care of the issue, then [WCCHDS-ST] was going to assume that the plaintiff was audio-

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recording this conversation, and take such audio-recording to an attorney in-order-to fight the issue and/or sue [WC], and, for that reason, that
[WCCHDS-ST] would abrnptly hang-up the phone and 'i1re,s charges" against the plaintiff - even before the stated deadline expired, in

egregious violation of the plaintiffs due-process-rights and the plaintiffs sixth-amendment-right to counsel - in effect, punishing the plaintiff for

asking questions and/or for even thinking about hiring an attorney to fight the issue and/or sue [WC] in Court. (Since, during a moment of

indignation, the plaintiff had indignantly made the [WCSO] aware that the plaintiff had audio-recorded mogt, if not all, of the plnintiffle

interactions with the [WCSO) in the prior years of {2011,2012), all of defendant [WC)'s agencies became cognizant of this fact and the

plaintiff had, through no choice of the plaintiffs own, inadvertently become an ''enemy ~fthe state" of defendant [WC).) [WCCHDS-STJ

further threatens the plaintiff against 'Jighting city hall" on this i~sue, claiming that its not worth ''fighting city hall" on an issue like this. The

actual reason that [WCCHDS-ST) made these brazen threats against the plaintiff was because [WCCHDS-ST) knew that [WCCHDS-ST) had

egregiously violated the plaintiffs rights by, at the very least, conducting a clearly unconstitutional-and-unlawful search of the plaintiffs private-

property - and as such, both [WCCHDS-ST) (personally) and defendant [WC) were clearly liable to the plaintiff as a result of such clear

violations of the plaintiffs rights. (As future incidents would show, this pattern of [WCLE) threatening to press Public-Nuisance charge against

the plaintiff - on behalf of predatory White-American neighbors with extreme racial-animus against the plaintiff - would continue in future

incidents, and when [WCLE) did eventually follow-through on this threat and did charge the plaintiff with Class-C-Misdemeanor-Public-

Nuisance on-or-about the date of {2020-10-12} - more than 7 years after this incident- [WCLE) would not grant the plaintiff with the jury

trial that the plaintiff had demanded, refusing to provide any evidence, apology, or explanation to the plaintiff, forcing [WCLE) prosecutors do

dismiss the fraudulent charge against the plaintiff on-or-about the date of {2021-11-01}.) On multiple occasions in this phonecall, [WCCHDS-

ST) even admits that the plaintiff feels violated by the government's egregious infringement of the plaintiffs rights, but continues to justify his

actions by stating that the steps that he had taken were the only reasonable way to enforce the law. While it is l 00% accurate the plaintiff felt

extremely-violated by what [WCCHDS-STJ and his employer, the [WCCHD), had done, two aspects of [WCCHDS-ST)'s statements were

clearly false. Firnt, in its ruling of «FLORIDA V. JARDINES», the [SCOTUS) had already defmed how the government is legally allowed to

enter a pcrson1s private-prope1ty ("base-path to the frontdoor'), and what the government is legally allowed to do while they were on such

person's private-property ( "knock-and-talk') - without consent nor a search-wanant lawfully obtained with sufficient probable-cause for a

crime "already having been committed". So, [WCCHDS-ST) clearly violated the plaintiffs rights in what he fraudulently claims is a reasonable

enforcement of law. Secondly, as [WCCHDTL-SGJ had already admitted to the plaintiff in the previous phonecall, the 6-feet-tall-privacy-fcnce

makes any such public-nuisance allegation null-and-void due to the fact that the alleged item(s)/condition(s) are both not visible from the street,

and any-and-all item(s)/condition(s) are exclusively-confined within the confines of [BACKYARD] due to the physical barrier of this 6-fcet-

tall-privacy-fence. However, since the "no-mow" movement (as documented in the section below) had not taken root in the United States at
this moment in time (in the year {2013)) as it has done today, the plaintiff - under extreme duress due to [WCCHDS-ST]'s coercive threats -

reluctantly agreed to just comply with [WCCHDS-ST]'s unreasonable and threatening demands by cutting the alleged "weeds" - even though

none of such vegetation were actually "weeds", and even though it would mean sacrificing the plaintiffs deeply-held religious/cultural
views/practices. And despite of [WCCHDS-ST) fraudulently insisting that the plaintiffs prope1ty was in violation of the Texas-Public-

Nuisance-law, the most important admission of these sequence of phonecalls was already revealed in the plaintiffs initial phonecall with

[WCCHDTL-SG): that a person can avoid being in violation of the Texas-Public-Nuisance-Law by erecting a privacy-fence so that any

items/conditions that may-have-otherwise-been-a-violation rendered not-a-violation due to the privacy-fence blocking such items/conditions

from being visible from the street, and also blocking such items/conditions from potentially spilling-over/blowing-onto neighboring yards. These

facts arc crucial not only for this particular series of incidents, but also for many subsequent incidents as substantially-documented in the

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 remainder of this lawsuit: that subsequent incidents would show [WCLE] continuing-to-engage in egregious racially-motivated violations of the

 plaintiffs rights - particularly [WCLE)'s numerous racially-motivated unconstitutional-and-unlawful searches/seizures of the plaintiffs

 private/curtilage areas (not limited to [BACKYARD]), and [WCLE]'s numerous racially-motivated unconstitutional-and-unlawful

 detentions/interrogations of the plaintiff - all for alleged items/conditions that are not only not visible from the public street, but also entirely

 within the confines of a 6-feet-tall-privacy-fence - or even worse, with.in the confines of [HOUSE] - rendering any-and-nil such nllegntion(s) of

 public-nuisance violation as null-and-void. [WCCHDS-ST] had also indicated to the plaintiff that he would be mailing to the plaintiff (via the

 [USPS]) a copy of the (fraudulent) allegations/complaints lodged against the plaintiff by the plaintiff's predatory White-American neighbors -

 including the fraudulent complaint that the plaintiff had "trash" scattered around in the plaintiffs private/concealed/curlilage [BACKYARD],

 and the fraudulent complaint that the plaintiff had "weeds" growing in the plaintiff's private/concealed/curtilage [BACKYARD], when in fact,

 all of such vegetation (including some vegetables) was intentionally grown (thus "cultivated') by the plaintiff. The plaintiff did rece ive such

 mail, and given the long-term decade-long pattern of racketeering-activity suffered by the plaintiff at the hands of the defendants, as

 substantially-documented in this lawsuit - especially in the latter years of {2016} through {2022} (see below) - the plaintiff asserts that such

 mailing constituted the first occurrence of the racketeering-act of Mail-Fraud involving two-or-more of the defendants - particularly [WCCH D],

 [JSP&KAP] - acting in conspiracy with each other and as part of the same racketeering-enterprise against the plaintiff, ultimately meant to

 drive the plaintiff out of what they considered to be "their" (exclusive-and-pure) White neighborhood - thus, defrauding the plaintiff out of

 (relatively-profitable) private-prope11y-ownership within such White neighborhood.




 i341
 After the plaintifffmally does reluctantly - but under extreme duress - comply with the [WCCHDS-ST]'s demands by cutting down the

 vegetation (even though such vegetation were not "weeds", and some of which were actually vegetables like okra), [WCCHDS-ST] makes a

 second trip to the plaintiff's property approximately 10 days later, this time parking his official [WCCHD] vehicle on the plaintiff's

 [DRJVEWAY], which the plaintiff never authorized him to do. When the plaintiff shows [WCCHDS-ST] that the plaintiff did (albeit

 reluctantly and under extreme duress) comply with the demands, [WCCHDS-ST] informs the plaintiff that he would be closing the case, even

 stating to the plaintiff, "I'M JUST HERE TO GET YOUR NEIGHBORS OFF YOUR BACK! ", in essence, shifting responsibility for his

 abusive/oppressive/invasive/intrusive/predatory actions from himself/[WC LE] onto the plaintiffs predatory neighbors - and acting as if it was/is

 justifiable for the government to act upon the abusive/oppressive/invasive/intrusive/predatory demands of predatory neighbors - and even

 worse, predatory neighbors that harbored extreme-racial-animus against the plaintiff. Not once, during this entire series of incidents, did

 [WCCHDS-ST] acknowledge that all of the plaintiffs immediate neighbors, were, not so coincidentally, of the White/Caucasian/American

 color/race/nationality whereas only the plaintiff was/is an immigrant-of-color/indigenous-person - which would have clearly indicated that, at

 the very least, there were/are religious/cultural/racial differences - and thus first-amendment (and fourteenth-amendment ( * ) ) Constitutional-

 rights - that should have been taken into account. Not once, during this entire series of incidents, did [WCCHDS-ST] acknowledge that the

 plaintiff had already suffered many criminal acts motivated by extreme-racial-animus by at least three of the plaintiffs neighbors at that point in

· time - [JSP],(RSR) and former neighbor (JJB] - for which none of the perpetrators faced any negative consequences. Not once did

 [WCCHDS-ST] acknowledge that he was not inspecting/searching and seizing evidence from the plaintiff's neighbors' properties, thus brazenly

 targeting the plaintiff in egregious violation of the [FHA]/[TFHA], [TCPaRC-T5-C I 06) and the Texas law barring racial-profiling. Not once did

 [WCCHDS-ST] acknowledge that he had brazenly violated the plaintiff's fourth-amendment, fifth-amendment and fourteenth-amendment

 Constitutional-rights by conducting an unconstitutional-and-unlawful (wan-antless-and-nonconsensual) search of the plaintiff's enclosed/shielded
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curtilagc-areas (including [BACKYARD]). Shortly after [WCCHDS-ST] leaves the plaintiff's prope11y and the plaintiff enters back into

[BACKYARD], the plaintiff hears a racial slur (the "n-word') angiily yelled at the plaintiff either by a (non-defendant) neighboring resident or a

guest/relative of such neighboring resident, apparently due to the fact that the plaintiff has maintained a [BACKYARD] that docs not conform

to their hypocritically-enforced White-American standards - yet another indication of the many hazards suffered by an immigrant-of-

color/indigenous-person living within a White neighborhood - where such acts of predatmy abuse, institutional-racism and White-Supremacy

dominate. Based on the decade-long pattern ofpredat01y and retaliatory racketeering-activity documenting in this I.1wsuit, there is simply no

doubt in the plaintiffs mind that these predatory and retaliat01y actions undertaken by the [WCCHD] against the plaintiff were instigated not

only by the racial animus of the aforementioned neighboring resident/guest against the plaintiff, but far-more-importantly, the extreme racial-

animus of [JSP&KAP],[RSR] against the plaintiff - who, indisputably orchestrated this particular series of predato1y and retaliato1y actions in

conspiracy with the [WCCHD] - along with their crony/co-conspirator/proxy/agent, [DMP]. However, since [WCCHDS-ST] never identified

the actual neighbors that did complain (instead, only refen-ing to them as "YOUR NEIGHBORS'), the plaintiff can only prove this assertion by

conducting Discovery and Depositions upon co-conspirator defendants [JSP&KAP],[RSR],[WCCHD] and the non-defendant implicated-

partics: [DMP], [SPOA], and the property-management-company originally representing the [SPOA] - at this moment in time, [Rea!Manage].

It is important to note that even capital-murder suspect(s) do not have their backyard (or any other curtilage-area) inspected/searched without a
search-warrant. But yet, [WCLE]'s institutionally-racist perception that the plaintiff has no rights, has, as the record will show, on numerous

occasions, resulted in the plaintiffs private curtilage-areas (including [BACKYARD]) and the interior of the [HOUSE] unconstitutionally-and-

unlawfully inspected/searched by the [WCLE] only for alleged Public-Nuisance violation - despite the fact that an alleged Public-Nuisance,

even if true, and even if prosecutors could prove the harm caused by the accused and the malicious-intent of the accused, only results in a
Class-C-Misdemeanor charge, punishable by only a fine without any jail-time, and only after the suspect has been warned with a warning-

citation within the previous 31 days (assuming that all other proper legal procedure was also followed). [WCCHDS-ST] also violated the

plaintiffs due-process rights in another manner that is clearly enshrined in the Texas-Public-Nuisance-Law - that the plaintiff was to be

provided 30 days to remedy the alleged violation. Instead, the slip that [WCCHDS-ST] provided the plaintiff demanded that the plaintiff

remedy the alleged violation within IO days.



9(342
Even though the plaintiffs rights were egregiously violated by [WCCHDS-ST] acting maliciously against the plaintiff with full suppmt from

[WCCHDS-ST]'s superiors and top-level management of the [WCCHD], to the best of the plaintiffs knowledge, [WCCHDS-ST] did not face

any disciplinary-action by defendant [WC]. So, just like abusive police-officer [WCSD-PP] - who had acted upon his racial-animus against the

plaintiff and had egregiously-violated the plaintiffs rights on the aforementioned {2011-08-30} incident - did not face any disciplinary-action by

defendant [WC] (even though the plaintiff made a complaint to his supe1iors at the [WCSO]), by allowing these aggregate, abusive, unlawful

actions committed by [WCLE] employees against the plaintiff to go completely-unchecked, defendant [WC] has-sent and continues-to-send a

loud, strong and powerful message to all current and future [WCLE] employees/officials that they are free to violate the plaintiffs rights (even

egregiously) without facing any consequences - creating a seemingly endless pattern/cycle of civil-rights-violations/racketeering-acts/abuses that

the plaintiff would continue to suffer during the more-than-a-decade period of time documented in this lawsuit from many [WCLE] officials

and/or agencies. Furthermore, by repeatedly acting on the ma1icious/abusive/oppressive/violative/humiliative/predat01y demands of predatory
neighbors [JSP&KAP],[RSR] for a period of over IO years, defendant [WC] has sent a powerful message to all of these predato1y ncighborn

that they can feel free to commit predatmy/obstructive/retaliatmy hate-crimes/civil-rights~violations/racketeering-acts/abuses against the plaintiff
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with absolute impunity and without facing any consequences from [WCLE] - which, as this lawsuit substantially documents, actually did

repeatedly happen. Just as defendants [JSP&KAP],[RSR] and their cronies (such as [DMP]) were demanding that [WCLE], in this particular

instance, the [WCCHD], "bring down the hammer" on the plaintiff, [JSP&KAP],[RSR] and their cronies (such as [DMP]) were also

demanding that the [HOA] take legal action against the plaintiff, for the plaintiffs refusal to cut the vegetation in the plaintiffs private

[BACKYARD] (and the plaintiffs [FRONTYARD] bushes), in addition to, the plaintiffs refusal to remove a tree in the plaintiffs

[FRONTY ARD] which they so-fraudulently claimed was dead, when the plaintiff had consulted with one-or-more master-gardener(s) who also

confirmed that such tree was, in fact, not dead (having plenty of vibrant green leaves showing that such tree was alive-and-well.) Despite of the

fact that the plaintiff spent huge amounts of time sending emails to the [HOA] property-management-company (at that time, [RealManage]),

and several Central-Texas master-gardeners, the plaintiff was forced, by no choice of the plaintiffs own, to sacrifice and/or compromise so
much of the plaintiffs deeply held religious/cultural (indigenous) values/practices in-order-to satisfy the predat01y and cthnocentric/culturally-

inscnsitive demands of such far-right-wing-extremist neighbor(s) and their predat01y institutions-of-power: [WCLE] and the [HOA]. The

plaintiff was even forced by the defendants, their cronies and their predatory institution(s)-of-power to remove the aforementioned tree, despite
of the fact that the plaintiff vigorously campaigned to keep such tree, as the plaintiff knew, with l 00%-certainty, that such tree was not dead -

causing tremendous pain-and-suffering onto the plaintiff. The plaintiff was even cautiously advised by one such master-gardener who spoke

with candidness about at least one-such institution-of-power, as follows: "It is not uncommon for residents to disagree about how their

landscaping looks as opposed to what the HOA has in their requirements. Having said all of thi.\~ HOA 'scan pretty much do as they wish

because it is written into most deed restrictions that they have control over landscaping in a subdivision and unless you are willing to go to

court to defend your heliejs then you are at the mercy of the HOA. "It was clear that by predatorily and simultaneously demanding that both

[WCLE] and the [HOA] "bring down the hammer" on the plaintiff - that defendants [JSP&KAP],[RSR] and their cronies (such as [DMP])

were hying to viciously attack the plaintiff, the plaintiffs private-property and the plaintiffs rights on multiple fronts at the same time, in-order-

to so clearly ove1whehn and exhaust the plaintiff, who simply did not have the resources, manpower and psychological-strength/courage to take

on both of these extremely-powerful and predato1y institutions-of-power at the same time. As the plaintiff would later fmd out (as is

documented in numerous subsequent incidents), defendants [JSP&KAP],[RSR] and their cronies would similarly and repeatedly engage in the

same vicious and predatory strategy of demanding both [WCLE] and the [HOA] to "bring down the hammer" on the plaintiff at the same time.



~343
On or about the date of {2013-06-25}, the community-manager of the property-management-company representing the [HOA], [SPOA-CM-

MA], sends the following email message (sec below) to all residents of the subdivision, ahead of July-Fourth, reminding all residents that the

lighting of faeworks is illegal within the subdivcsion. Such email makes references to the additional burn-ban in effect by defendant [WC] that

prohibits all unauthorized burning within the County of Williamson. Such references to the burn-ban are irrelevant because, whether-or-not
there is a burn-ban in effect, the subdivision's restrictive-covenants explicitly prohibits any-and-all lighting of fireworks at any tin1e of the year.

The [HOA] would, on one-or-more occasion, reference such county-wide burn-ban in-order-to shirk responsibility onto [WCLE] for

enforcement of the subdivision1s fireworks-ban, because as the plaintiff intends to prove, the [HOA] never did seriously intend to tackle the

problem (existing to the {PRESENT-DAY}) of rampant fireworks being lit in the subdivision on numerous days per year. The plaintiff asserts

that, if the [HOA] and/or [WCLE] seriously intended to enforce such fireworks-ban, then the [HOA] and/or [WCLE] would have, at a

minimum:


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amenity privileges for the yea,:


While //,e bum ban is cunrmtly liftedfor Willianmm County. residents may afro
call the Sheriff's office if a resident is engaging i11.firell'ork actil'ity qfter
10:30 JJ.ln., as tftot is deemed a dist11rba11ce of the peace. lj; ftoll'evet; the bum
ban is re-i11slated by /he Courts prior lo the 4Ath , tfte11 any me of.fire11vt*s
ca11 be tepotted lo the Sheriff's office at any time.


We also 11Ymted to make sure evetyone 11vs a11¥11e that the City of lemtder offers
all residents ofS11mmerly11 a great altemative ... liberty Fest, ll'hic!, ll'ill
feature music. food a11d a ptv/e.~,ia11alflre11m*·' sfto11\ will be held 011 the 4Atft
of July i11 the vacant field at the i11tersectio11 of Old /83 a11d Hem Way (acmss
from the NEB). Tfte/estival gates open at 5:00 JJ./11. The Was/ten, will petfomt
al 6: 15 p.m.,/o//011ed by co1m1tymti.,t Coty Monvwal 8: 15. Thefite11vt*s
ll'ill be ptese11tecl by Pymteclmicfto at 9: 15 p.m. a11d will be /ol/011Y!d by 011
encore ptese11/alio11 by Coty Mmrow. Food ve11dors will be o//eri11g vmiom food
iiems for sale. Coolers ate allo11e<I, but the Cily asks tho/ 110 glass co111ai11ers

or tents be hmugl,t in the/es/ival. Should be a great time/or tl,e 1rftole
family, while leaving the flre11vrks to the pmfe.~,ionals. More i11/omtatio11 ca11
be found al the new City r~f Leander 11eli,ite at 1V1V111.lea11derTX.gov




Thank you, in advance, for ;v111· cooperation. Should you !,ave any questions,
please/eel free to submit them to se111ice@CiraMail.com




Thank you,



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® dispatched multiple inspectors and/or police-officers to patrol the streets of the neighborhood during the critical/rampant violation nights of
July-3rd, July-4th, Deccmber-31 st, January- Ist.

® issued a fme of up to "$200 for each day of violation" to first-time offenders or second-tin1e offenders.
© taken legal action (either civil breach-of-contract or criminal-charge of disorderly-conduct) ngninst those offenders thnt hnve offended tlm~e-
or-more times.



The plaintiff further asserts that, instead, the [HOA] and/or [WCLE] never did seriously tackle the problem of rampant fireworks in the

neighborhood because such restrictive-covenant violations were committed overwhelmingly (and/or disproportionately) by countless White-

American (and/or non-immigrant) residents of the neighborhood, and the [HOA] and/or (WCLE] feared facing the wrath of this most-powerful

and most-privileged large constituency within the neighborhood. For this reason, racketeer co-defendants [JSP&KAP] and/or [RSR) - along

with countless other White-American (and/or non-immigrant) residents of the neighborhood - were freely (but illegally) allowed to light

fireworks within the subdivision from the years of {2009} through {2021}. It should be noted that, as even the local-news-media in the Austin

area has continued-to-widely-report, the illegal lighting of fireworks within such residential neighborhoods has, on countless occasions, caused

serious injury and property-damage (in addition to being a serious noise-nuisance that causes long-term-hearing-loss, disturbance to sleep/work

schedules, and conh·ibuting to air-and-land pollution). The end result is that, while the defendants were constantly and predatorily targeting the

plaintiff on completely harmless/trivial/petty issue-after-issue entirely within the confines of the plaintiffs private-prope11y - often within areas

of the plaintiff's private-property that were not even visible from the street (such as the plaintiff's private/concealed/curtilage [BACKYARD]) -

racketeer co-defendants [JSP&KAP] and/or [RSR] - along with countless other White-American (and/or non-immigrant) residents of the

neighborhood - were freely (but illegally) allowed to so-overtly violate the restrictive-covenants of the neighborhood in plain sight - on public-

property (the street) - for almost-all, if not all, of the other residents (including the plaintiff) to witness. The encl result is that the serious health-

and-safety hazard (in addition to the serious nuisance problem and the pollution/ littering problem) of rampant fireworks within the

neighborhood is just as rampant in the present year ( {2023}) as it was during the fast year ( {2009}) that the plaintiff moved into the

neighborhood.
 •    "REMIMlER OF SIHERLYN ~ BAN' •                 DIUL PIO! [S--<>Ha) 1'0 ALL ( Slmarlynl              RESIDENl'S cnaamG "r.zREIOll(S BAN"   {2013- 06- 25 16: 05) (~ )
 •   C l'RIVM'II: llli'(R!M'ICtl IN ~ CIIITnl>/lmW:'n!D 'IQ M7nx:T PRIV1ICY I

  [ SPOA-Q,1- MA)      Dear S11111111er~1'11 Reside11ts,


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                       celebru1io11 is b11ildi11g, 011d 1ra111 ta wish e11e1yo11e a safe and happy holiday!


                       Acconli11gly, Ill ' also ll'ish to take this opport1111ily to remind all Swnmedyn
                       residenls that Section 3.4 (/) of the deed ll'.1·/riclionsfor the S11111111edy11
                       Pmperly O11'1/ers A.~wciation do pmhibit the use qffire,mrks <IIIJ~rhe1l' ll'ithin the
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                       se1vice@CiraMail.co111 . The 1'C!p011 sho11/d indicnte
                       the dale and time the prope11y o,mer was abse,ved engaging in lhe 11se of
                       fire ,rorks, their address, and a photograph <1s e11icle11ce to help the association
                       Board e,!(orr:e the deed restrictiom as strictly as po.•;sible, The prope11y ml'ller
                       will the11 be notified in m'ili11g of lhe i1ifmctio11, and s11bjecl lo the loss of


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CJI34 4
On or about an evening in the month of {2013-09}, the plaintiff's senior-citizen-mother, [MOTHER] , who was at that moment in tin1.e wai:

temporarily residing with the plaintiff at [788KLLTX7864 I], walks with her dog on the sidewalk near the plaintiff's property

[788KLLTX7864 I], back towards [788KLLTX7864 I). As [MOTHER] is walking with such dog down the sidewalk approaching

[788KLLTX7864 I], the then children of [JSP&KAP] and/or [JH&SH] start loud ly singing an abusive song to [MOTHER], as if they were

inshucted to do so by their parents: "WE- DON 'T - LIKE - YOU! ... PLEASE- MOVE -AWAY- NOW! ... BUY-ANOTHER -

HOUSE!" ( l> ) . [MOTHER] reports what she heard to the plaintiff, who is again, both shocked, but yet, not completely surprised. The

plaintiff can do nothing else but document yet another incident that reveals one of the many hazards suffered by immigrants-of-color living

within a White neighborhood - where such acts of predatory-racism, institutional-racism and White-Supremacy are left unchecked and

unpunished.



<_[345
On or about the month of {2014-02}, after the plaintiff had received one-or-more threatening [DRY) notice(s) from the [HOA] alleging that

the aforementioned barrier in [BACKYARD] (initially installed over a year prior during the month of {2012-06}) is a [DRY], the plaintiff

scheduled a hearing before the Board to dispute the alleged "violation". On or about the morning of {2014-02-22}, the plaintiff attended the

scheduled hearing, which was held at an outdoor table-and-bench located near the swimming pool of the subdivision, before the now-[f-HOA-

8OD]s [SPOA-P-BC],[SPOA-VP-AH] and [MP] to dispute the alleged violation since the plaintiff had noticed several unapproved items

within the neighboring property-owner's backyards. (For example, [JSP&KAP) had volleyball poles and net installed in the backyard of their

property [788KLLTX7864 I] and poles and net were even visible to the plaintiff over the privacy fence bordering [788KLLTX7864 I],

[784KLLTX7864 I].) And despite of the fact that they could not show proof to the plaintiff that they were inspecting all backyards within the

subdivision, these [f-HOA-BOD]s continued to insist that only the plaintiff was violating the restrictive-covenants by having an unapproved

barrier installed in the [BACKYARD] which, due to the low-height of the barrier, was not even visible from the street. Most importantly,

during this meeting, the plaintiff noticed [KAP] inside her vehicle drive such vehicle into a location directly in front of where the plaintiff was in

such hearing before the [f-HOA-BoD]s. [KAP] remained within her vehicle that was paused in front of the plaintiff for many minutes, staring

at the plaintiff while the plaintiff was also facing and speaking to these [f-HOA-BoD]s. After these many minutes staring at the plaintiff with

her vehicle paused, [KAP) then drives her vehicle out of the parking-area in front of the swimming pool and into a road leading out of the

swimming-pool area. During the end of the hearing, [f-HOA-BoD]s would even question the plaintiff about sheets-of-cardboard that the

plaintiff had spread in the [BACKYARD] to ecologically clear an area of grass close to the border area of [788KLLTX7864 I],

[784KLLTX7864 1] through the aforementioned gardening technique of ''.sheet-m11/chi11g" - which the plaintiff had been doing in various areas

of the plaintiff's private/concealed/curtilage [BACKYARD) since at least the year {20 11} . Again, since such sheets of cardboard are clearly not

visible from the street, it became abundantly clear to the plaintiff that (JSP&KAP) had demanded the [HOA) to get the plaintiff to remove such

sheets of cardboard used for ''.rheet-11111/cl,i11g", despite of the fact that the plaintiff bad been relying on this ecological gardening-technique in

the (BACKYARD] for over 2.5 years (at that particular moment in time). This incident not only confirmed to the plaintiff that it was, in fact,

[JSP&KAP] that had demanded the [HOA] to get the plaintiff to remove this barrier and to get the plaintiff to remove the sheets-of-cardboard,
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but also revealed to the plaintiff, the great lengths that [JSP&KAP] would undertake in-order-to engage in racial-intimidation-by-proxy against

the plaintiff, even brazenly using their favorite predatory institution-of-power - the [HOA] - as a proxy to intimidate/interfere-with the plaintiff.

Even the mere imagery of 3 White-American [HOA] Board members acting predatorily against the plaintiff - an ilmnigrant-of-color/indigenous-

person - based-upon the predato1y demands of the plaintiff's predato1y White-American neighbors [JSP&KAP],[RSR] - who all harbored

extreme-racial-anilnus against the plaintiff - simply screams of modern-day-Jim-Crow racial-oppression. Also, at one point in time during such

hearil1g, the plaintiff i11fonns these three [f-HOA-8OD]s of the plail1tiff's disability-status - that the plaintiff was registered as a Student with

Disabilities at [UT-Austin]. Therefore, from at least this moment i11 time onwards, the [HOA] is aware of the plai11tiff's disabiLity-status.




i346
The plaintiff i11tends to prove that [RSR] and her co-conspiJ·ators used one-or-more online social-media-platforms in-order-to engage in online

harassment/stalking, character-assassination ( @ ) (defamation), wiJ·e-fraud, witness-tampering and overt-racial-discrilnilmtion against the

plaillliff - all as part of the defendants' overall conspiracy to violate the plaintiff's rights and the defendants' overall scheme to defraud the

plaintiff. However, at least some of [RSR]'s other social-media postings also reveal crucial aspects of [RSR]'s (and/or [RSR]'s co-conspil'ators')

conduct that must be revealed iii-order-for the plail1tiff to paint a fuller picture about [RSR] (and/or [RSR]'s co-conspil'ators) necessary for the

plaintiff to prove at least some of the plai11tiff's core-clailns as presented i11 this lawsuit. For example, at least some of [RSR)'s social-media

postil1gs reveal the enormous power that she wielded i11 the neighborhood, viltually playing the role of an extremely-manipulative

neighborhood-boss or mafia-godfather - even making numerous i11tilnidatil1g and threateni11g demands of [HOA) board members - and the

plaintiff asserts that these particular aspects of [RSR)'s conduct are crucially needed for the plaintiff to prove the defendants' obstructive-and-

retaliato1y, blackmailing-and-defrauding racketeering-enterprise against the plaintiff that the plaintiff has tried to substantially document i11 this

 lawsuit. The plail1tiff asserts that, in order for the plaintiff to fully prove the plaintiff's conspil'acy claim, fraud clailn, witness-tampering clain1,

onlil1e-harassment/stalking clailn, and racial-discrilnination clain1 agai11st [RSR] (and her co-conspil'ator defendants), the plaintiff must, in the

 interest of justice, be allowed to fully dissect eve1y aspect of [RSR]'s social-media communications that is relevant to proving such clailns.

 Thus, at least some of the plail1tiff's analysis of such social-media communications may seem repetitive, but the plail1tiff does not, in any way,

 intend for any such analysis to be unnecessarily repetitive. Finally, since the plaintiff is filmg this lawsuit, in substantial part, for the plai11tiff's

 [FHA] violations claim, at least some of [RSR)'s other social-media posti11gs also reveal other aspects of illegal housing discrilnination (or

 racially-discrilninatory housi11g practice(s)) - illegal housing discrilnilmtion that both [RSR] and her co-conspirators were fully-aware-of and/or

 were active-participants-in. Towards these ends, the plaintiff must, in the i11terest of justice, present multiple pubLic social-media postmgs, even

 if any of such social-media postmgs do not - ® initially, and/or@ at surface-level, and/or© upon curso1y inspection, and/or@ when viewed

 in isolation - appear to be relevant to this lawsuit. In one of her first public social-media postil1gs/responses on the "nextdoor.com" social-

 media-platform (that is known to the plamtift) dated {2014-05-14}, [RSR], goi11g by the name of "Becky Robertson", celebrates the monthly

 "Yard of the month" ritual - a ritual that many enviJ·onmental organizations and enviJ·omnental publications (see section below) deem to be

 extremely wasteful, destructive and damaging to the envil·onment. [RSR] has at least ill some i11stances, tried to portray herself as

 enviJ·onmentally-friendly (or as havmg "a green thumb'), while in some cases, even fraudulently smearing ( @ ) the plail1tiff as

 enviJ·omnentally-unfriendly - which, as the ove1whelming volume of the evidence shows, is the exact opposite of the trnth. Thus, this post

 begms to dismantle [RSR)'s fraudulent clailn of [RSR] being 11environ111enta/ly-ji·iendly 11, or at the ve1y least, [RSR]'s fraudulent denial of

 being "anti-environment" (see subsequent social-media-postings below).
   •   •i.y yam of tho -,th?"   •   i.xtdoor s.-rlyn !Aandar•   [RSR) , (MP) , et al. •   (20U- 05- 14) •


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1347
In another one of her initial public social-media postings/responses on the "nextdoor.com" social-media-platfom1 dated {2014-05-22}, [RSR]

not only acknowledges but even seems to celebrate that some of the residents of the White neighborhood routinely "trash" the "co111111011

areas ", inc luding, but not limited to, the area in-or-around the pool. [RSR] shows little-to-no concern if others are littering on public/common-

area property, whereas [RSR] - despite living across the street from the plaintiff - has, for over a decade, been laser-focused to deprive the

plaintiff of the plaintiffs legitimate right to use various aspects of the plaintiffs private property - specifically the private/concealed

[BACKYARD] and private/concealed [FRONTPORCH] - which are all exclusively within the confmes of the plaintiffs private property:
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 •   http : / /o.-rlynlaandar. MXtdoor .cao/.-a_ f-,J?poat,,4932l98




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1348
In ano ther one of her initial public social-media postings/responses on the "nextdoor.com" social-media-plalfom1 (that is known to the plaintiff),

[RSR] admits to throwing large amounts of materia ls on a weekly-basis to the landfill (which is both wasteful and destrnctive), and ce lebrates

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using the brand-new (at that moment in time) recycling service. [RSR] is either unaware of the facts concerning recycling- for example, that

only approximately 9% of plastics sent to the recycling center is actually recycled (with the rest being sent to the landfill) - or is fully aware of

such facts, and is undertaking in the fraudulent practice of ''greenwashing". [RSR] is clearly aware of the common-knowledge oath "REDUCE,

REUSE, RECYCLE" (in that order) with the utmost priority being placed on the first 2 components of that oath:
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i349
On or about the day of {2014-06-03}, both [RSR] and then [HOA-BoD][MP] post a response to a social-media posting initially concerning a

camera, but then digresses into the topic of the large amount of snakes, rats, spiders, ants, etc. that live within the subdivision. In this posting,

one of the residents admits that the subdivision is '.'full of (rodents ) ". Another resident posts that there are a "lot of mice" in the subdivision

and that they have caught 6 "mice" in traps within their garage. Both residents agree that snakes are a good pest-control of such rodents.

(Neither of these residents lived in close proxin1ity to the plaintiff.) As the plaintiff has already tried-to-documented in the section below, and as

the plaintiff has repeatedly tried-to-explain to the defendants (and the [HOA]), rodents are not attracted by w1cut grass nor so-called "weed~"

(as the defendants have repeatedly and fraudulently alleged) since such uncut vegetation does not provide a sufficient high-calorie food source

for rodents that need to consume a high-calorie sources of food in order to survive. Rodents are a lso not attracted to plastics, metals, glass,

ceramics, or any type of "rnbbish" since such "nondecayable" materials do not provide rodents (or any other animal) with any food source.

Instead, rodents are attracted to (even small-crumbs of) dog-food, (even small-crumbs of) cat-food, dog-faeces, cat-faeces - all of which do

exist in many, if not most, of the subdivision' s yards since many, if not most, of the subdivision's residents own such pets - with all of those

ite ms being the high-calorie food sources that rodents (or vermin) thrive upon. With the exception of the 17-month time-period from

approximately {2012-06} through approximately {2013-05} and approximately {2013-08} through approximately {2014-01 }, during which the

plaintifPs parents did leave a dog at the plaintiffs property, the plaintiff has never willingly had/owned a dog on the plaintiffs property. The

plaintiff has also never willingly had/owned a cat at the plaintiff's property at any point in time. As past and future incidents reveal, the

defendants would continue to make the fraudulent accusation that only the plaintifPs property has rodents or that a ll of such rodents were

originating from the plaintiff's property, when the evidence of such rodents has always been abundantly clear througl1out the entire

neighborhood. All of those fraudulent accusations were just part of the defendants' larger scheme to defraud the plaintiff of both money and

property, by taking great measlu-es to predatorily target the plaintiff, including blackmailing the [HOA] to the sue the plaintiff (which they

succeeded in doing in {20 17} - see below) and including fraudulently cha rging the plaintiff with Class-C-M isdemeanor-Public-Nuisance (which

they succeeded in doing in {2020} - see below) - with the defendants' ultimate goal being to either cause enougl1 long-term psychological-

trauma onto the plaintiff in-order-to drive the plaintiff, an immigrant-of-color/indigenous-person, out of "their" (exclusive-and-pure) White

ne ighborhood, or better yet, cause the plaintiff to lose the plaintifPs (relatively-profitable) private-property througl1 the legal process of

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fo reclosure. There are countless social-media-posting, regarding such rodents, snakes and insects in the neighborhood/subdivision. However,

the plaintiff only highlights this particular social-media-posting as [RSR] commented on such social-media-posting:
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1350
On or about the day of {2014-06-09}, [RSR] posts the foUowing response to a public social-media posting about some of the wild animals that

reside within the subdivision. [RSR] has on numerous occasions accused the plaintiff of conditions on the plaintiffs property that harbor wild

animals, even making the outrageously-fraudulent and laughable allegation that wild animals are crossing the street from the plaintiffs property

and onto her property. ln this particular message, [RSR] even admits to the "aroma" from a 1Ja111ily ofsk1111ks 11 that she smells from the inside

of her house - a family of skunks that she alleges lives around one of the entrances into the subdivision (which is not even c lose to the

plaintiffs property). [RSR] even admits that this family of skunks goes through her immediate neighbors' yard onto her yard. (The plaintiff is

not an inunediate neighbor of [RSR] and the plaintiff never owned a property that shared a border with [RSR].) Even then [HOA-80D][MP]

admits to such vermin, that are clearly a natural occurrence in the neighborhood - as they are in many, if not most, residential neighborhoods.

Obviously, when humans expropriate land away from wildlife in order to selfishly build the ir own neighborhoods/subdivisions, humans should

expect animals to live in-and-around such neighborhoods/subdivisions instead of expecting a sterile enviromnent that is (unjustly) devoid of
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wildlife. Despite of such vermin roaming and digging freely within the neighborhood/subdivision, [RSR] has made the racist, fraudulent-

allegation (see below) that the plaintiffs (timid, shy, quiet and extremely-docile) companion-tortoise(s) and hens that she even admits are

exclusively within the confines of the plaintiffs property are hazardous to her, the neighboring White-American residents and their White-

American children (see subsequent incident below) ( ) ) .There are countless social-media-postings regarding such vermin in the

neighborhood/subdivision. However, the plaintiff only highlights this pai1icular social-media-posting as [RSR] commented on such social-

media-posting:
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91351
In another public social-media posting dated {20 14-06- 16} , [RSR] points out the now-common-knowledge that the builder of the subdivision

has used low-quality, low-durability materials and/or has poorly installed such materials, so as to cause low-durability and/or lack-of-reliability

and/or health-and-safety issues. She even asks if other residents are interested in a class-action lawsuit presumably against the builder of the

subdivision and/or the manufacturer(s) of such materials. This posting illustrates that [RSR] acknowledges that the real damage-done to

property-value and the real lowering-of property-value is attributed not to the plaintiff, but rather, due to the corporations that profit from

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providing substandard materials and/or service - requiring homeowners to spend unnecessa1y amounts of money, in both material-cost and

labor-cost, replacing materials and/or instaUation with decent-quality materials that are installed properly (and according to proper standards).

This posting is actually one of multiple postings in which [RSR] seeks approval from the other residents for a class-action lawsuit (see below).

But as the records w ill indicate, no such lawsuit, let alone class-action lawsuit, was ever filed, and instead, [RSR] maliciously spent the lion's

share of her attention on blackmailing the [HOA) to sue the plaintiff (which did happen - see below) and manipulating [WCLE) to fraudulently

criminally-charge-and-prosecute the plaintiff (which did happen - see below). The reasoning for [RSR]'s perverse priorities is clear to any

reasonable observer: both the builder and manufacturer(s) are huge-corporations that are, by virtue of their overwhelming power/wealth, "too

big fo sue", whereas the plaintiff is just a low-IQ, subhuman immigrant-of-color/indigenous-person (apparently without any political-

power/rights) living alone within "their" (exclusive-and-pure) White neighborhood w ithout conforming to White-American standards at a

property that the plaintiff is apparently (according to [RSR] and her co-conspirators) not the rightful owner-of - and thus, a perfectly-vulnerable

target to sue and prosecute - with [RSR] even admitting to the plaintiff (see below) that the ultimate goal of such predatory lawsuit/prosecution

being fo reclosure (the plaintiff's involuntary loss ofownership of [788KLLTX7864 I]):
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~352
In another public social-media posting dated {2014-07-06}, [RSR] fraudulently accuses the plaintiffof making a landfill in [BACKYARD].

Even though the original-poster of this posting was not referring to the plaintiffs property, [RSR] maliciously exploited this opportunity to

inte1ject this irrelevant misinformation - deliberately in-order-to smear/character-assassinate ( @ ) the plaintiff using a fraudulent claim against

the plaintiff. Some of the other residents express frustration about the litter/debris on the sh·eets from fireworks that are illegaUy lit by some of

the neighborhood's residents, but [RSR] remains noticeably silent about this topic because both she and her co-conspirators [JSP&KAP] are

known to illegally light fireworks (as the plaintiffs evidence does show). Since the year {20 IO} , the plaintiff has never left any unsightly fillcd-

garbage-can (nor filled-recycling-can) on the front-curb visible to all people passing on the street - but despite of this fact, according to [RSR],

only the plaintiff is guilty of so-caUed 1111nsiglitly 11 conditions. [RSR] and some other residents posting on this message-thread are even warned


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by then [f-HOA-80 D][MP] not to make any personal attacks on this publicly-visible social-media-platform, but despite of this initial warning

and as [RSR]'s future postin~ will show, [RSR] would continue to viciously attack and harass/stalk the plaintiff on this (and other) social-

media-platforms, as part of her larger strategy to engender more racial-animus against the plaintiff in such White neighborhood's many other

White-American residents. [RSR] fails to disclose to the other residents of the neighborhood at any point in time that she has already, at this

point in time, directly committed several hate-crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff, along with her co-

conspirators [WCLE],[JSP] and former-co-conspirator [JIB]:
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                                                         either

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                                                            Tham.     2TI - ~




i353
In another public social-media posting dated {20 14-09-02}, (RSR] admits that she has left her dog roam freely in the neighborhood - which the

plaintiff has noticed [RSR] do on a regular basis (not only her dog, but also her cat(s)) - this time, forcing another resident to catch and hold

such dog for her to pick up. (Residents' dogs often escape confined areas within their property by accident, but such is not the case with [RSR]

who routine ly allowed her dog to roam freely onto the street and neighboring yards.) The neighborhood's restrictive-covenants strictly prohibit

the unleashing of both dogs and cats to roam freely onto public property or other's private property. The reasoning for this common-sense

health-and-safety mle is self-explanatory: both dogs and cats are capable of causing serious harm onto people (especially children) and other

pets (by biting, scratching, mauling, disemboweLing, gouging, transmitting-disease-or-virus, etc.) and violations of this common-sense health-

and-safety rule poses a huge Liability both for such pets' owner(s) and the [HOA], that could both be rightfully sued as a result of such harm.

Despite of this and other clear violations (such as the illegal lighting of fireworks and parking-related violations), [RSR),(JSP &KAP] continued


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to perpetrate the racist fraud that the plaintiff(due to the plaintiffs racial-profile) was only person guilty of violating the subdivision's

restrictive-covenants - a racist-fraud that successfully got their co-conspirator [HOA] to unjustly sue the plaintiff (see below), and a racist-fraud

that got their co-conspirator [WCLE] to predatorily-prosecute the plaintiff (see below). As future social-media posting(s) would show (see

below), this would not be the last time that other residents would have to catch and hold [RSR)'s dog for her to pickup:
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In another public social-media posting dated {2014-11-04}, [RSR] thanks other White-American residents of the neighborhood for their efforts

in getting people to vote on-or-about the general-election day of year {20 14}. As a future incident would reveal (see below), [RSR] while in a

[HOA) meeting with the plaintiff present in the same room, engages in one of her many rants filled with venom and racial-animus against the

plaintiff, demanding among.I other thing;, that the [HOA] force the plaintiff to remove the plaintiffs aforementioned 1'.1·t11pid (POLITJCAL-

YARD-)signs ". [RSR]'s co-conspirator, [JSP], would on at least one occasion, brazenly vandalize the plaintiffs political yard-signs right in

front of one of the plaintiff's security cameras - while even making menacing gestme(s) into such security camera(s). [RSR] would, on at least

one other occasion (see below), stare menacingly into the plaintiff's political yard-signs and then stare menacingly into the plaintiff's security

camera(s), showing her uncontrolled racial-animus and far-right-wing-extremist political-animus against the plaintiff for the plaintiffs social-

justice political messages. [WCCD-F], on one-or-more occasions, would stare menacingly into the plaintiffs political yard-signs, show ing his

animus against the plaintiff's political messages - on the very same day that the plaintiff was fraudulently and maliciously charged with Class-C-

Misdemeanor-Public-Nuisance by co-conspirators [WCLE],[JSP&KAP],[RSR] (see below). In other words, [RSR] is fully supportive, and in

fact thrilled, with her far-right-wing base (including her co-conspirators [WCLE),[JSP&KAP]) having full, unmitigated and monopoly control

                                                                                  PAGE        29 0     OF      9~6
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over the levers of government, but at the same time, [RSR] took at least some actions to fully-deprive the plaintiff and/or the plaintiffs social-

justice/political-activist base from having any voice in that same political system - in complete violation of the plaintiffs first-amendment-rights

and the plaintiffs fourteenth-amendment-rights. This social-media-posting is just one small piece of evidence out of an entire body of evidence

that the plaintiff presents in-order-to demonstrate not only [RSR]'s racist hypocrisy, but such brazen combination of group-narcissism-and-

misanthropy that is not uncommon amongst far-right-wing-extremists - for example, the far-right-wing-extrt:ml~t~ thlll eugttgetl In tile {2021-01-

06} United-States-Capitol-Insurrection (see below) ( ~) .
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In another public social-media posting dated {2015-01-15}, [RSR] recognizes that serious crime does occur w ithin the neighborhood - even

during "broad daylight" - while still failing to disclose to the residents of the subdivision that she has, even at this point in time, committed

several hate-crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff, also in "broad daylight". More importantly, [RSR]

would make demands on multiple occasions both personally to the plaintiff and to the [HOA], to get the plaintiff to remove the plaintiffs

security cameras. [RSR] even chastised the plaintiff on multiple occasions for the plaintiff's wearing of a body-worn-camera in-order-to record

her abusive actions filled with racial-animus against the plaintiff. In other words, [RSR] knows that serious crimes do occur in the

ne ighborhood, and furthermore, that she has personally committed hate-crimes/civil-rights-violations/racketeering-acts/abuses against the

plaintiff (along with her co-conspirators [JSP],[WCLE] and fonner co-conspirator [JJB]), but yet, does not want and never did want the

plaintiff to have any recorded evidence of such crimes, in-order-to completely deprive the plaintiff of the plaintiffs fundamental right to j ustice,

and in-order-to continue-to-act with absolute impunity against the plaintiff - which her co-conspirator [WCLE] gladly accommodated for her.
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1356
In another public social-media posting dated {2015-01-23}, a resident expresses her frustration and anger at some resiclent(s) unlawfully

leaving the ir dogs unleashed, resulting in such dogs defecating on public property and/or other's private property. (Obviously, defecation is

much less severe than the other aforementioned much-more-serious harm that unleashed large-dogs are capable of committing.) [RSR]

responds to this posting, totally downplaying this violation as if it was not a serious health-and-safety issue for a very obvious reason: [RSR] is

guilty ofrepeatedly committing the exact same health-and-safety violation, which she fails to mention in her response(s) to this posting.

Another resident posts a message notifying the other residents that there is a leash law and that either the [HOA] and/or defendant [WCLE] are

responsible for enforcing such leash law. In approximately 14 years that the plaintiff has resided within the subdivision, the plaintiff has yet to

notice any leash law enforced against any owner of dogs that roam freely in the neighborhood, or for that matter, any owner of the domestic

cats that enter into other residents' backyard, including [BACKYARD], multiple times per week. During the 17-month period during which the

plaintiffs parents owned a dog on the plaintiffs property, such dog would always be on leash when such dog was taken outside of the

plaintiffs property. T he plaintiff asserts the fact that the leash law (resh·ictive-covenants) on dogs/cats was never enforced - by either

defendant [WCLE] or the [HOA] - is further evidence of such institutions-of-power ignoring resh·ictive-covenant-violations committed by

White-Americans - clea rly another racially-discriminato1y housing-practice.
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were not even visible from the street.
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i358
In another public social-media posting dated {20 I 5-04-09}, [RSR] publicly expresses her strong dissatisfaction, both during this incident and

during subsequent incidents (see below), in having to pay what she alleges to be high property taxes, even going as far as to garner support

from other residents for ''fighting city haf/" on this issue of property-taxation. If there is suffic ient evidence to show that a property is being

deliberate ly over-valued by a government for the purposes of increasing tax revenue, then that is a legitimate grievance of such property-owner.

If citizens do not like how the government is spending (or not spending) their tax-dollars, then that is another legitimate grievance, but not

sufficient to protest/fight the amount of taxes owed. If citizens do not feel that they are being adequately represented/served by their

government, then that is another legitimate grievance, but again, not sufficient to overthrow the fundamental system of taxation which is a basic

democratic function that is necessaiy to adequately fund social-services. If citizens of the working-class and middle-class believe that they are

shouldering too much of the tax-burden within society and that the wealthy/big-corporations are not being made to pay their fair-share in taxes

in order to properly fu nd social-services, then that is certainly a legitimate grievance that people should rightfully protest/ fight, and use the

political process, to change the tax-brackets/tax-code/tax-loopholes/tax-havens, but again, this is not a legitimate reason to protest/fight the

current taxes owed. The plaintiff asserts that, outside of these legitimate grievances, to simply blanket protest/fight the fundamenta l system of

property-taxation without any good reason - and do so in conspiracy with other like-minded people of the far-right-wing that do not want to be


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                                               SIDDHAk'lH            KODE           v.      WlLLIAMSot~         COUU TY ,       ET     AL ,     1696907690



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In another public social-media posting dated {201 5-02- 15}, multiple residents express their concern over vehicles speeding on the streets within

the subdivision while there were children on/near the street waiting-for and/or entering-into the schoolbus. While one resident points out that

the violators of the speed-limit are not limited to teenagers, [RSR] alerts the other residents to watch out for her son [BR]'s vehicle, and even

states that she would "TALK" to her son, who apparently engages in the illegal practice of speeding. Speeding vehicles are a huge health-and-

safety issue that could cause and does cause both serious injury (some cases death) and property-damage - again, with the serious liability not

limited to the offending driver but also to the [HOA] that is responsible for enforcing the "no-speeding" restrictive-covenant (and Texas law).

Also, speeding vehicles cause at least some amount of psychological harm to the residents as residents do not feel safe living in a neighborhood

with routinely speeding vehicles. T he plaintiff has, on multiple occasions, noticed [JSP] and [NP] speeding using their respective vehicles on

the street; the pla intiff has also noticed [KAP], at least on one occasion, speeding on the street. However, despite of the serious harm caused

by speeding vehicles, the plaintiff has not noticed any enforcement action by the [HOA] or by [WCLE] against any of the countless violations

of the speeding ban. Also, at least some [HOA]s have installed speed-detection signs to deter people from speeding, but the plaintiff has not

noticed any such protective measures undertaken at any point in time by the [SPOAJ - at least on the street on which the plaintiff resides. T he

persistent issue of speeding vehicles was/is also another dangerous health-and-safety issue that was never on the radar of co-conspirators

[RSR],[JSP&KAP],[WCLE], who again, were always laser-focused on maliciously targeting the plaintiff, in almost-all cases, with alleged

aesthetic/cosmetic (hann less) issues allegedly on the plaintiffs property that, even if true (which the p laintiff vehemently denies), in most cases

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taxed - is an indication of extreme selfishness and greed expressed by many people of the far-right-wing. Also, most property-owners are,

generally-speaking, relatively privileged and wealthier compared to those who do not own property - for example, most of the people that rent

property and the homeless. So, for such relatively-privileged and wealthier property-owners to blanket protest/fight their legitimate taxation

without any good reason is yet another indication of unjust-and-unfair selfishness and greed expressed by such property-owners in-order-to

coerce the government look elsewhere for earning the tax-revenue that it needs to adequately fond social-services. Since both the State of

Texas and the local governments of Texas do not have a system of income taxation nor wealth taxation, much of the tax-revenue gained

outside of the State of Texas' extremely regressive sales-taxation is from property-taxation, and as such, property-taxation - in combination with

property-tax exemptions (which is a way of tax-bracketing the system of property-taxation) - is one of the only meaningful mechanisms by

which the government can at least begin to address the issue of unfair taxation by ensuring that the re latively-privileged and wealthier property-

owners pay their fair share in taxes. In general, the average person-of-color's family (or immigrant fam ily) owns much less property, in dollar

value, than the average White-American family. So, for relatively-privileged members of the White/Caucasian/American color/race/nationality

to, for not good reason, unjustly-and-unfairly protest/fight the payment of their property-taxes can be seen as yet another indication of

preserving and even enhancing the status-quo of unjust, race-based economic-inequality. It would appear to the plaintiff that [RSR] is not

expressing a legitimate grievance regarding property-taxation in this posting. This issue is particularly relevant to this lawsuit, because as later

incidents would reveal, [RSR] (and her co-conspirator [JSP]) would, on multiple occasions, make derisive statements about the plaintiffs "Tax

the Rich" political yard-sign, even demanding that the [HOA] force the plaintiff to remove such yard-signs. In other words, [RSR] has only

wanted her far-right-wing regressive view on taxation to be expressed, but did not want the more nuanced social-j ustice view of progressive

taxation - which, as polling data has consistently shown for many decades, is strongly supported by the overwhelming majority of Americans -

to be expressed by the plaintiff. More importantly, this posting, along with multiple other postings, also demonstrates more of [RSR]'s

hypocrisy regarding her views of government, because a lthough [RSR] has demonstrated an unwillingness to pay her fair-share in property-

taxcs, even going as far as to call for '.'fighting city hall" on this issue of property-taxation - with the collection of taxes being a very

unintrusive, basic and reasonable function of any government w ithin a democratic society that uses tax dollars in-order-to properly fund social-

services and in-order-to reduce the harmful effects of unmitigated wealth/income inequa lity - [RSR] has repeatedly demanded that [WCLE], a

taxpayer-funded institution-of-govenunent, egregiously-violate the plaintiffs rights (as revealed by many of the incidents substantially

documented in this lawsuit) and, at the very least, intrude-into the private-affairs of the plaintiff - a hypocritical mindset that the plaintiff asserts

is very-typical of far-right-wing-extremists ( 6 ) .
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On or about a date in the first week of the month of {2015-06}, [WCCD-DM] approached the plaintiffs [FRONTDOOR] which was, at that

moment in time, only partly open, and verbally announced his presence to the plaintiff. Before the plaintiff arrived at the [FRONTDOOR], the

plaintiff noticed [WCCD-DM] appear to shine a torch-light into the [HOUSE] in-order-to see the contents of the inside of the plaintiff's unlit

(and thus darker) interior of[HOUSE] - an egregious violation of the plaintiff's rights. When the plaintiff arrived at the [FRONTDOOR],

[WCCD-DM] notified the plaintiff that he had received a complaint from neigbbor(s) that there were rodent(s) on or originating-from the

plaintiffs property. The plaintiff denied that there were any conditions on the property that would harbor rodents, but did offer to purchase

traps to trap such animals - if they existed - and release them into the wild. [WCCD-DM] advised the plaintiff that be would check with his

department, the [WCCO] and/or (WCCHD], to see if it was legal for the plaintiff to release such wild animals loose into the County, took the

plaintiffs email address, and later on, emailed the plaintiff that he had confirmed that it was, in fact, lega l to do so (see below). [WCCD-DM]

also questioned the plaintiff for what he alleged to be the plaintiffs unmowed grass. The plaintiff, having read the Texas Public-Nuisance-Law,

tries to inform [WCCD-DM] that the height-limitation for unmowed-grass is 36-inches (3-feet) - and that the default Bermuda-Grass installed

in this residential-subdivision has a maximum height under 18 inches, thus making it impossible for the plaintiffs grass to be in violation of that

law. But [WCCD-DM] fraudulently responds to the plaintiff that the 36-inch height-limitation applies only to open-fields and not to residential-

subdivisions. The significance of these particular statements by [WCCD-DM] is at least four-fold:



® Such statements indicated to the plaintiff that many of the officials/agencies of [WCLE] - including the [WCCO], [WCSO] and [WCCHD] -
were maliciously engaging in clearly unconstitutional-and-unlawful searches/seizures of the plaintiffs property and person, while at the same

time, justifying such clearly unlawful actions by abusively weaponizing the property-maintenance-laws (both as a "sword and shield') as

modern-day-Jim-Crow law against the plaintiff - resulting in the plaintiff repeatedly and increasingly suffering severe, permanent and irreparable

harm/injury from such rights-violations.



@ According to Texas law, there is no clearly no height-limitation on grass or any wild vegetation located in open-fields, and even if there was,
farmers would have strongly (and long-since) protested such law since many pasture-based farmers grow pastures and wild-vegetation well-

above 36-inches in height. (The plaintiff has first-hand knowledge of this fact concerning vegetation, as the plaintiff's family had just recently

purchased agricultural-private-property in the prior month of {2015-03} .)



© It alarmed the plaintiff that, not only were/are the employees/officials of [WCLE] neither properly-trained nor properly-supervised to
respect/honor the plaintiff's rights (particularly the plaintiffs fourth-amendment-rights, fifth-amendment-rights and fourteenth-amendment-

rights (tf) ), but also, more importantly, that



@ The plaintiffs predatory neighbors - particularly [JSP&K.AP],[RSR] - were/are constantly making fraudulent, malicious complaints against

the plaintiff to various agencies of the [WCLE], in order to indirectly engage in racial intimidation/ interference/harassment by proxy against the
                                                                                        PAGE      299   OF   9~6
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plaintiff.



To be clear, the plaintiff has never noticed rats at any point in time on the plaintiffs property [788KLLTX7864 1], and furthermore, as the

academic/environmental literature posted below document, munowed vegetation is neither an attractant nor harborage for rodents of any kind.

The plaintiff has, on ve1y rare occasions over the course of over ten years, noticed a single very-small mouse in the outdoor {BACKYARD],

and a possum and an armadillo in other areas of the plaintifrs property, but no other occurrences of rodents/vermin aside from these ve1y-rare

occurrences. By sharp contrast, the plaintiff has consistently noticed for ah11ost a decade, other residents' unleashed large domestic cats roam

freely onto the plaintiffs yard, and enter into the [BACKYARD] during nighttime, multiple times per week. Therefore, there was/is never any

possibility of any long-term rodent harborage nor vermin harborage anywhere on the plaintiff's yard - [BACKYARD], [FRONTYARD] or

[SIDEYARD]s. [WCCD-DM] clarifies to the plaintiff that it is legal for the plaintiff to trap and release what [WCCD-DM] fraudulently refers

to as "rats":
      "TRAPPllG ANrM1iU1' •    l'.MIUL FIOI (l«XD-ml] TO PLAINl'tff•        (2015- 06- 0t 09: 17) M
 ►   ( Pll1VMZ INFllfM\1'ION IN l'.MIUL QIIT'l'Ul/l<l!DIICDD TO l'IOm:T PRIVllCY ]

  [WCCD-DM]              Hi Mr. Kode //,is is Deputy Moorefivm 1/,e co11s/ables ofjke. /11 reference lo 0111· co11ver!ialio11 abo111 lrappiug 011d releasi11g //,e mis, I inquired abolll //,a/
                        and 11-as advised //,a/ JYJII ca11 Imp tl,e mis and relea1·e //,em 0111 i11 1/,e co11111y will,0111 a11y issues. Tl,auk J-au.


                         Dep111y David Moore #5320
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                         George/o,m, T.T. 78262
                         Office: 5l2-943-1447
                         Fax: 512-943-1440

                         e-mail: *****'"@11•i/co.org




<][3 60
On or about the date of {2015-06-17}, the plaintiff receives an email from the [HOA] with attached photograph of the interior of the plaintiff's

private/concealed [BACKYARD] that had been unconstitutionally-and-unlawfully taken by [WCCD-DM] when [WCCD-DM] (during the

aforementioned incident) unconstitutionally-and-unlawfully trespassed onto the plaintifrs property side-yard ("curtilage'1, used his hand to

hold his camera-phone over the plaintifrs privacy-fence, snap the photograph(s), and then, as if those plaintiffs rights-violations were not

sufficient enough, [WCCD-DM] illegally submitted these photograph(s) to the [HOA] in further violation of the plaintiff rights. ln so doing,

[WCCD-DM] committed the crimes of "Misuse-Of Official-Information", ''Abuse-OfO.l]icial-Capacity" and "Oj]icial-Oppression" against

the plaintiff. The photographs showed one of the plaintifrs companion-tortoises within the plaintiffs private/concealed [BACKYARD], and the

email message (along with corresponding [ORV] notice) from the [HOA] stated that the plaintiff is not allowed to have tortoises on the

plaintifrs property - a brazen slap-in-the-face to the plaintiff by both the [HOA] and [WCLE] (acting on the malicious, predatory complaints of

[JSP&KAP],[RSR]) since many homeowners within [HOA] subdivisions in-and-around Central-Texas have-owned and continue-to-own

companion-tortoises on their private-property ( ) ) . The plaintiff received this email response from the [HOA] because the plaintiff had inquired

about a [DRY] notice that the plaintiff received regarding so-called "animals" on the plaintiffs property. The plaintiff had mistakenly assumed

that, this time, the plaintiff's predatory neighbors [JSP&K.AP],[RSR] had made fraudulent complaint to the [HOA] about rodents and/or

vermin on the plaintiffs property, but on this particular occasion, it was clearly not any wild animals on the plaintiff's property that the

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plaintiffs predators were fraudulently accusing aga inst the plaintiff, but one of the plaintifPs own legitimate companion-tortoises that the

pla intifr s predatory neighbors were attempting to deprive the plaintiff of ( o ) . At this relative ly-early moment in time, the plaintiff already had

at least 4 secw·ity-cameras installed on the plaintiff's property at this moment in time, but this incident made it clear to the plaintiff that the

plaintiff needed to install more security-cameras on the plaintiff's property in-order-to ensure that predato1y people/institutions-of-power realize

that if they unlawfully step onto the plaintifrs property to commit any unconstitution11l-11nd-unl11wful action(s), or if they commit any unlawful

(for example, discriminatmy) act while directly-around the perimeter of the plaintiffs property, that at the very least, their unlawful action(s)

w ill be fully recorded on s uch security-camera(s).



9[361
In another public social-media posting dated {2015-09- 16}, [RSR] responds that she "love (s ) lo watch ... of course fox news". T his posting

provides more insight into [RSR]'s political profile, just at the plaintiffs (public-record) political donations, the plaintiff's publicly-visible political

yard-signs, and the plaintiff's wearing o f a ((De mocracy Now!)) T -shirt provides great insight into the plaintifPs political-activ ist political-profile.

In particular, these facts further establish that [RSR] and the plaintiff are at opposite-ends of the political spectrum. Additionally, [RSR]'s use

of the words "of course" in such statement indicates that [RSR] deems ((Fox News Network)) to be an intellectually-superior source of

information - catering exclusively to a high-IQ audience - and that [RSR] clearly belong; to the select-few of high-IQ individuals that watch

((Fox News Network)). For the purpose of this particular lawsuit, the plaintiff must show how [RSR]'s "love" of watching ((Fox News

Network)) reveals significant aspect(s) of [RSR]'s conduct and cbaracter - j ust as the plaintifPs listenership and/or readership of ((Democracy

Now!)) reveals significant aspect(s) of the plaintiff's conduct and character. Despite having a strong fo llowing from their right-wing audience

( including, but not limited to, far-right-w ing-extremists), ((Fox News Network)) and/or the owner(s)/leadership of((Fox News Network)) have

been involved in multiple legal scandals o ver the many years, perhaps the most recent and high-profile of which concerned ((Fox News

Network))' alleged defamation of "Dominion Voting Systems". In this particular recent court case, ((Fox News Network)) was alleged to have

knowingly made fraudulent claims of a ''.rtolen election " (during the United States Presidential election of {2020}) w hile continuing to do so,

because at least some of their top-level leadership stated their concern that fact-checking such fraudulent claims would alienate their viewers.

(If this particular allegation is trne, then such top-level leadership of ((Fox News Network)) believed that the viewers of ((Fox News Network))

prefer that ((Fox News Network)) provides them with fa r-right-wing propaganda that fits their far-right-wing world-view, rather than providing

them w ith truthfu l and accurate reporting.) Despite ((Fox News Network)) having virtually unlimited fmancial resources to hire the best-and-

brightest legal team, and despite ((Fox News Network)) having the best-and-brightest lawyers litigating on their behalf, during the litigation of

this lawsuit, the Judge of such court case was angered by ((Fox News Network))' lack-of-compliance with rules of Discovery, leaving such

Judge no choice but to consider appointing a •~rpecial master " to investigate w hether ((Fox News Network)) made assertions to the court that

were 111111/rue or negligent". With the j u1y of such trial seated and the attorneys about to make their opening statements on a day in the month

of {2023-04}, the Judge announced that the parties had reached a settlement with ((Fox News Network)) agreeing to pay the petitioner(s)

$787.5 million and acknowledging the court ruling that ((Fox News Network)) knowingly spread falsehoods about the petitioner(s). As part of

such settlement, ((Fox News Network)) was not required to apologize for any wrongdoing in its own programming, thereby evading the

req uirement to notify its viewers that it had repeatedly lied to its viewers about the so-called "stolen election". Instead, ((Fox News Network))

released a public statement saying, in part, "We acknowledge the Court'.r rnlingsji11di11g certain claims about Dominion lo be false. This

settlement reflects Fox's continued commitment to the highest joumalistic standards. " It has been alleged that ((Fox News Network )) settled

this lawsuit, primarily because ((Fox News Network)) and/or the owncr(s)/leadership of ((Fox News Network)) had fa r more to lose by having
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other extremely damaging information about its behavior/conduct (or such behavior/conduct of its employees/leadership) revealed in public

court. As a direct result or fallout from this lawsuit and/or other pending lawsu it(s) and/or the potential for other lawsuit(s), ((Fox News

Network)) even dismissed television anchor Tucker Carlson, described by at least some other reputable organizations as a "rig'1t-wing
extremist", despite of the fact that Mr. Carlson's ((Fox News Network)) television-show was, more-likely-than-not, to have been one of ((Fox

News Network})' most profitable television-shows. It bas been alleged that ((Fox News Network/) dismissed Mr. Carlson despite of the

significantly-greater profits that Mr. Carlson's anchoring was generating for ((Fox News Network)) because ((Fox News Network)) and/or the

owner(s) of((Fox News Network» had far more to lose by keeping Mr. Carlson due to the potential liabilities associated with Mr. Carlson's

past and/or present alleged behavior/conduct. It was also revealed as part of the publicly-released information from one-or-more of the
aforementioned lawsuit(s) that, in private messages prior to his dismissal from ((Fox News Network)) (on or about the date of {2021-01-04} ),

Mr. Carlson stated words-to-the-effect that he 'jJassionately /,ates" the former President of the United States - further stating 11/ can't handle

mucl, more ofthis" - while during many, if not most, of his television-segments on ((Fox News Network)), even at those particular moments in

time, Mr. Carlson was vigorously advocating for the former President - just one example of countless similarly-revealing examples of how one-

or-more far-right-wing platform(s) of television-media and/or other-news-media (not limited to ((Fox News Network))) operate that even

George Otwell could not fictionalize.
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1362
On or about a day in the month of {20 15-09}, the plaintiff's senior-citizen [PARENTS] who live at another residential-subdivision within 5

miles of the [Summerlyn) subdivision received a letter in the mail (via the [USPS]) without the sender's address on the envelope. T he letter

threatened the plaintiffs senior-citizen [PARENTS] to move the plaintiff out of the [Summerlyn] subdivision and into the agricultural-

private-property that the plaintiff had recently - in the month of {20 I 5-03} - purchased with the plaintiff's [PARENTS], or else they will

"show 110 mercy" and "settle for 11otl,i11g less Ihm, (taking the [S11111111erly11J home, / 788J(LLTX78641J, mvay fi'om tl,e plaiut!ff) ".
The racial threats made in this letter are not only clear Fair-Housing-Violations and the racketeering-acts of mail-fraud, blackmail/extortion, but

more importantly, were made by individual(s) that where closely monitoring all of the plaintiff's activities including the plaintiff's recent

purchase of such agricultural-private-property, which neither the plaintiff nor the plaintiff's parents had disclosed to anyone else.



1363
In another public social-media posting dated {201 5-09-25} , a resident expresses frustration that this social-media-platform is being abused by

some residents (such as [RSR]) to launch unjustified and out-of-control personal attacks against other residents. [RSR] provides a response to
this posting, agreeing with it, while at the same time, continuing to smear (@ ) the plaintiff, by stating "our block has same issues. 11 [RSR]'s

response further indicates that she admits that whatever she is alleging the plaintiff of doing, even if trne, is also being done by at least some

other White-American residents of the neighborhood; yet, [RSR], throughout her 12-years of residence at [789KLLTX78641], was only-ancl-

always laser-focused on maliciously and predatorily targeting the plaintiff. [RSR]'s use of the word "our", yet-again, indicates very clearly that

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the "block" belongs to the White-American residents of the neighborhood (most importantly - [RSR],[JSP&KAP]), while the plaintiff - due to

the plaintiffs non-White racial-profile - does not belong in such (exclusive-and-pure) White-American block. [RSR] makes yet another

extremely hypocritical statement: "This.forum sho11/dfi111clion lo bring us together and 110110 divide us." Again, throughout her 12-years of

residence at [789KLLTX7864 I], [RSR] has always been laser-focused on using racist propaganda (both inside and outside of social-media) to

engender more racial-animus against the plaintiff in the White neighborhood's other residents; so, for [RSR] to claim that [RSR] intends to

unite the ne ighborhood - the plaintiff can only interpret this statement as [RSR]'s relentless efforts to unite more of the White neighborhood to

pressure her co-conspirators - the [HOA] and [WCLE] - to undertake more predatory enforcement action(s) against the plaintiff - as [RSR] has

always deemed the plaintiff to be an "outcast" of the neighborhood due to her extreme racial-animus against the plaintiff. The plaintiff was

ah-eady being periodically bombarded with threatening [DRV] notices from the [HOA] during the years {2009} through {2016}, and [RSR]'s,

(JSP&KAP]'s,[WCLE]'s (a long with prior co-conspirator [JJB]'s) series of malicious actions against the plaintiff bad always made it abundantly

clear to the plaintiff, the malicious people that were unjustly driving this predatory targeting of the plaintiff. Despite of the fact that [RSR]

agrees not to use this social-media-platform to launch personal attacks, as future postings would show, [RSR] does not even pretend to abide

by this agreement, continuing her relentless campaign of racist propaganda fo r the purposes of engendering more racial-hatred and predato1y-

enforcement-actions against the plaintiff:
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campaign yard-sign on land that such resident considered to be his private-property. [RSR] responds to the posting that the individuals being

endorsed in these political-campaign yard-sign(s) have done "a lot of GOOD", apparently justifying some stranger's action of trespassing and

posting the ir political-campaign yard-sign(s) on someone-else's private property. This posting is pmticularly relevant to this lawsuit because, as

future incidents would revea~ [RSR] would make multiple derisive and racist comments about the plaintifrs political-yard-signs and wou ld

even demand the [HOA) to force the plaintiff to remove the ".1111pid signs", that the plaintiff had installed on the plaintiff's own private-

property. Once again, the racist hypocrisy of [RSR]'s actions is revealed not only in this action but also several dozens of other abusive actions

that she has maliciously and predatorily committed against the plaintiff during the period of over a decade:
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 •   httpa : / /.,_,,lynl- . MXtdoor .<Ya/.-J-1/?poat-16644960




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i364
In another public social-media posting dated {201 5-10-07}, a resident expresses frustration and alarm that someone had posted a politica l-

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i365
In at least 2 other public responses to social-media postings dated {2015- 12-29} and {20 16-0 1-11 } respectively, [RSR], once-again, points out

the now-common-knowledge that the builder of the subdivision has used low-quality, low-durability materials and/or has poorly installed such

materials, so as to cause low-durability and/or lack-of-reliability and/or health-and-safety issues. On th is particular occasion, the issue being

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discussed is "black mold" forming on the inside of the house as a result of wet window sills, which is a both a structural hazard (since mold

destroys building structure) and health-and-safety hazard since mold generates toxins that are toxic to humans when inhaled (or ingested). Both

[RSR] and some other residents are discussing the possibility of a class-action lawsuit against either the builder and/or manufacturer(s),

presumably since the wmTanty period has expired. [RSR] states that she complained about this issue and did not get any resolution, but that she

would be having "a window company come 011I soon to give a n estimate and write a report" that could be used in case of such class-action

lawsuit. In the response(s) to these posting, one resident ask if e ither the [HOA] or [WCCHD] will "do anything " (by legal action, if neccssmy)

to resolve this issue if the "builders" won't fix these serious health-and-safety hazards: "M"ybe f{tlie HOA c"fled the builders that might

help. With a class action suit bmught against both of the builders 110 one ,viii want to move here. I /1(/ve enough o{health issues 111it/1011t
the help of the builders 111itlt /Jlaclc mold in my house. Will the Wil/i<1111s011 co1111ty Health Departmeut do a11ythi11g'! Worth a c"fl if
builders don 'I.fix problem. " ln later incidents (see below), [RSR] would, on multiple occasions, fraudulently claim that people will not want to

purchase her property since the plaintiff lives across the street from her, or that she will have to reduce the sale-price of her property - by as

much as $ 15,000 - solely due to the plaintiff (see below). However, these postings reveal that the real reason that resident(s) might not want to

purchase homes in this subdivision is due to the serious health-and-safety hazards caused by sub-standard building materials and/or installation

caused by the "builders" and/or manufacturer(s). According to the plaintiffs limited knowledge, neither the (WCCHD] nor the [HOA] have

taken any action(s) against the "builders" and/or manufacturer(s) to help resolve this serious health-and-safety hazard. But the fact that one

resident asks if [WCCHD], an agency of defendant [WC] that is being sued in this lawsuit, will "do anything" to help to fix this serious health-

and-safety hazard affecting many (if not most) residents of the subdivision is also very revealing, given that the [WCCHD] has on multiple

occasions, as substantially documented in this lawsuit, engaged in predatory enforcement action(s) against the plaintiff (including, but not

limited to, mu ltiple egregious unconstitutional-and-unlawful searches of the plaintiffs private-property), based on the malicious complaints of

the plaintiffs predatory neighbors [JSP&KAP],[RSR]. These are only 3 of numerous different social-media-posting.s that show that the real

damage to [RSR]'s property-value, and many (if not most) property-owners' property-value, is not how the plaintiff (living across the street

fro m [RSR]) is maintaining the plaintiffs private-property, but rather, all of the substandard materials/installation that many (if not most) of the

houses in the subdivision were built with. As already documented (see above), these are 3 additional postings in which [RSR] discusses with

other residents the possibility of a class-action lawsuit against the builder and/or manufacturer(s). But as the records will indicate, no such

lawsuit, let alone class-action lawsuit, was ever filed, and instead, [RSR] maliciously spent the lion's share of her attention on blackmailing the

[HOA] to predatorily sue the plaintiff (which did happen - see below) and manipulating [WCLE] to fraudulently and predatorily criminally-

cbarge-and-prosecute the plaintiff (which did happen - see below). T he reasoning for [RSR]'s perverse priorities is clear to any reasonable

observer that knows all of the relevant facts: both the builder and manufacturer(s) are huge-corporations that are, by virtue of their

overwhelming power/wealth, "too big to sue", whereas the plaintiff is just a low-IQ, subhuman immigrant-of-color/indigenous-person

(apparently without any poLitical-power/rights) living alone within "their" (exclusive-and-pure) White neighborhood without conforming to

White-American standards at a properly that the pla intiff is apparently (according to [RSR]) not the rightful owner-of - and thus, a perfectly-

vulnerable target to sue and/or prosecute - with [RSR] even admitting to the plaintiff (see both above and below) that the ultimate goal of such

predat01y lawsuit/prosecution being foreclosure (the plaintiffs unwilling loss-of-ownership of [788KLLTX7864 l ]):
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                                                 S 1 DOH /\R'tH           KODE              V.          WlLLIAMSOll        COU UTY   ,      ET      AL .       1696901690

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                SLDDHARTH               KODE          v.      WILLIAMSON         COUtl TY ,        ET        AL.

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                     because we have ore of lhevr:.ry first ham~ they built In the netghlXHtood or
                     Whll btA. our howe f.tte!ll'l ecperier,;e lhels,ue, 1h31. other heme, seem tabe
                     hating. All tHs lirne t assumed It was tetause I lud a dIffl'fert builder, bul 1
                     Qll!SS not ;,,d ltn than-JU -...e hate rot had this r:rouem

                            Tronk

                ~ Jr 1caf,1Jr ha.'I Summf11-1nLe:m~r 290                         15
                     111a1e a ca,uerocl: al'KJ my hOuse Is doing 11 too. It's nO"Mlere near as
                     pronwnted as some or me ~uaes po~ect llJI rl's defirilely 001119 It 11 eep my
                     nw, e prelly coot 100. belWeen 62-64 Oet,o,1e1y g"rg 10 113',e 10 1:eep an eye
                     anlt

                            Ttllrn


                     My d:Jd recommencted te.'Mng lite battfocrn fans t>J!og, a, the'/ suck ar an<I
                     motstlse OJt Ir~ them au d)Yyeste1rtay aro we had no coodensaicn tltl~
                     momng bJt 1t was quite a b-'l warmer last n•ght ~ I dM't l .roN 'Mllch It was
                            l hlnk        I Th.i"-

                tl J,, .a M             ~,     i , ,'ll,        IOC.. t5
                     I would be very cautJoll5 le3\'tng on those fan, rcr an extended peclod of tirne.
                     they are l;;ncnm to c.1.1se house r,re:;1
                            Tturu         I Ti',;r1,.

                a    1'1f:lo Jl•111a H Ct,U(t">-lf,rm      .:,QC-r: 15
                     My WU)'JOW, 30? lll.e lhl'5 all Ule lime The wood an tte seal IS a't D;btAed UJ}
                     we ar• moving anaI asl:ed my lnspeclor abc>.rt 1111, He said re d,drlt know
                     w1thool seelllg it 1100 caned Jimmy Rece,vcd the same respome rJ 1ea1.ng
                     lhe bhn:IS 1.4) II i5 50 anroymgl

                            Th..lrt~:


                                                         PACC     311    OF      9~6
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                                                              Toni PretJ. 5trnmertin L.e,:11r,-l!:r 17 J n
                                                              n u t is a teer can clfect lhrt's v.1lat hJpJ)'ns when hct and co1d moc 'Vttlen
                                                              there's tu..rnldty tfl'lOtved I have a C;r,ue RoO; tnuse ard I hJ1e 1ow1pe rny
                                                              wln<ll'Ns d""1l a1t 1he bme I llirl< me ..1r-.:1aw, are great ll'Oug, my ererg1 bdls
                                                              an, net even high
                                                                     Than>,

                                                              T n1P~,tJ,c;-lmrne11'ynlf' r,t--r 17.IJ1
                                                              If you oave mo!d corcerm there Is a prcxtuct C<iled a reme Halo th:Jt 1,
                                                              1ns1a11ed In lhe .ircon<1UOri"J sy,tern lhil woud knock <1awn arrt Alrbcme
                                                              cortamlnara, caused IJy thts
                                                                     nonk 1Tr,

                                                        i1      tr    I We.ch ,,,    ce Surr.infft/fl Lean, ~, 7 ror
                                                              We Mme l>JUtt ano are having new w1n<1aws 1n;1aned I wou·ove ramer
                                                              prererrec, avat.l.lm with thJt rnorey blt I cJortt want wcn:e ptOOlems 00\ltn the
                                                              road If you wart lhe t0<nparrI lr1o I'm happy to share II Tl-eylle ueen cil!ng
                                                              great wotkl




                                                               hr1 .., St• ·,eu. SU"OmPrl)n l£- Jer 7 ,\fif
                                                              Sarah, ~ yo., WOUldnt mind sen<J,ng me lhelrlr1cnnauon I woLld really
                                                              aA)recl:te it Th~k5 so rnucn
                                                                      Thank

                                                        rf c.- .-n ~ith >r ti!: Su:r,, :tr)n l ~O:()!r 8Apr
                                                              Tell n1m I rererredyout




                                                        11 E111.Jl t:lll R~t/1£> St.mmertyn t earder 8 ,t.~1r
                                                              We have condensaUon all C1 the Ume wnenwer the v,-eather Is cfjd out Side
                                                              (From tq> to bOtlom c:1 v.1f\10WS)We ha,e beentn ournewhome fo- I 1/2
                                                              ye-a,s I askeCI about this a, wet I ngtt aner we moved It T~ said ,t wa,
                                                              •nctmal' We ge1pudlies a,well on !!'lerywlndON and men mold CfOW' wmn
                                                              Is so awesome becau!>e I'm a11erglc to It and get sick rrom It
                                                                      Thank

                                                              Chn~ Sb~elJ. Sl1nm erl,1l l.e:tr,Jer 8 .Apr
                                                              Ttunhs so m!A'.hll I sure wUI
                                                                      Ttrant,


                                                              j Jrt

•   •r•m fed llP with thue windowal" •      Hoxtdoor s.-rlyn IAanriar•                  [lS\J , et al .•      f20l6-02-<>4J , f20l6- 02- 05} •
•   httpa : //.-lynl.eandar .next:door,<Xllll/,_._ f-,j/?poat,,Qll29810
                                                        rf S01.ih \kcchion:1cce. Summcf1:,n Leaodt l                                                 V

                                                        I'm fed up with these windows!
                                                        I sen! an oninlt 10 Jlrniny 01ld NIC.k, as wen as mo Centex main 0111cc ao<I Cnmc:ron
                                                        who was tho $Oles person who hcll)C{I us. Those w' r,dows a,o ga1bDgo nod wo nrnv
                                                        have bfolcil. mold orov.iog in 2 of them which was only 1n<Ml nble w1lh .ill lho
                                                        condensation My daughler has been sick "ilh ChrOnlc uppe, re.5-phato,y Infections-
                                                        since we moved In wh:Ch I'm sure ore relaled.
                                                        I orn r-eprued 10 move forward with a c.las!io 1JCllon lawsuit mnl wm eve,1uel lhO ball
                                                        roll nu if enough ol you are with mo I would enccumgc yoo 10 start by em11ilino
                                                        piciUlts Al)(I dfll;ills 10 J,mmy at ►fflmYOfl'Cl Gc'Mn10X com LCf$ givo thorn lhe
                                                        OPS>011un,ty to foe this'




                                                                                                          ~--~
                                                                                                          ~~~·    - ~ ~ ; -..~   ~    !'   , ...

                                                                                                           . -       .               . .


                                                        .Sftb 11;    Su.n,1tt ,nlunJt110G«neu1I

                                                                                                                                     l ) ~ h 61Rr,: n



                                                              81 dy Rcbf1l·>C.11 Su nmt'rl~n l f1.1nder • r eb 16
                                                              Count ma ln, I Jusl oavo up!
                                                                     Thant      tll- 1t..


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                         S:mct f.',J Jmf'    :JUT,mP. 11LeJ1r.fH         J."'\16
                         I have lhe Sil'ne prolllern 'MU1 a Polle hCJne. veryhusuatJng Cla.ss acllet'I
                         la'N51.Jil?

                            J   Ttunk     2Trui,

                         unru o tffo~, St..rnme,t,-n leJ!"lo1i r 2 J Ill 16
                         Yes I am ha1mg tre scme pml>1ern I tuve to keep bl-nds up some so my bl nds
                         l1001 ir.1rured
                                Hum
                         S1M.JS•lva.Summel1\'0L.e:rioll!'f 17 F(!b 16
                         Can someone please reter me to a lawyer thct can hantiethts prob1em I hlve
                         had no lu:k with cortractor or Centec Please arJ11se
                                Tl\lf>k

                 -        ,1M1 c I ·J , Surnrne-11p1 Lea'Hltt    17 feb 16
                         l,l(jdlll




                         f.) TtonI,
                 1"4SJ1::J1\ie ·cn,omcce. S11mrr,ert;n Le.;n •r 17 F~b 16
                         We were referred 10 tHs attorney t ie harYJles real e9'.ate caies
                         htQ'J/fNNW legahtrateg/ tomtth,1:f~amn<are ~mlH !JJW



                 llf C 11aConlrer • 'IJ 1Jr,fct1~Li' ndi                11 Jo1
                         Sara, IS t,ewilling lola~ u,s case? I wlfit to t:,.,e tt,is further I ~ltll tKt1ern
                         llcard a respmse f rom Ille builder (Certex) I think ttts Is exces~ve. nttj~t a
                         lltue tmdenS"-IW Crl4)1
                         ( ) Tl\lnk

                         _;-:,r,"hV1:,.choh1:ce, -umml"ft1TI L.e1m~r t i J 1
                         I never contacled ttis guy I (lid speak ¥11th antlher auomey who advised
                         301;nst a ctass a:t,a, I halesuy gJVe up because e,e,yone In the
                         na!J1bt<hood was lll<e yeahyeat, we wart lnbul 110 ONE helped I CWIOnl do
                         It on my°"'" Sadyyw pmbabfywon't hearfrCA'n Centex crit wil l be the same
                         BS trey told rne Thzt Is becarJse these hruse are bu-It 50 v,;ell (ha!) And trot
                         we shWld Just Crack a v.1r<Jow Ull hlll wI-..,n IS 20 degrees WI I',n going l o
                         Cra:~awlnww l'dbehaWflOflghl lhs or1Jy1oa9mtt pe()j:jewarllo help
                         btJ I'm na Irte rested in ctolng au the wait wt'ile everyone compla1 ns abwt the
                         problem IXJI lhEn Just ~IS back. T<jally not Olrecl eO at you Carla you seem
                         motivcteu



                         S:uitl Vecch'om1 (e, ~rnnmeuy11LE:.md ~r 11 J. ri
                         I do agree It's excessive. Tte WiJ/ theyv.urned tre warantee lsvertvague clltl
                         SIJJJeclrve converueni I Iteranv heme because Of lh1s p-olie-n
                                Th:lnf.




                         k1aSct U1"1'1, s1 ,mef\ynLe       d.       1' Jnn
                         Ju~ chlmtrg In thct weve /'a d same ls~es since we rnaved In. I YITote to them
                         aro was lotd ll wm namal I respe.ctftJty replied thiA. theywe,e hJI of 11 BtJ aII
                         •~d lhey refused ID help

                                Ttun>

                 ilg B ,rcla'( I IJrM. su,omMljTl Le,11aer I I Jon
                         Juli aotiro IO Ille pne or repkes he,e-has happeneo10 us ra- 7 & I12years
                         since we llou!J1I In 2009 MO wrswasbulll b"f Puie. was l<lfO lhe same 111rg
                         as Ule re>I ct yw.-lt'S n!Jl11al ar<J we baolcatly just reed 10 oeal wrth 11
                         Alltoo(1l rt·, g>Od ID""""' we're nol lte Orly Mes. I agree Wllh lhe ma,a-,ly
                         here- it sucks anti weve never llad it llawen anyM)ere else weve lived
                         (mu~ple regions of lhe court,y)
                         r J ThJnf

                         A ·J :i<I en, 'iunmef1 nLI"' 1Jl;f 11 J n
                         I forg::,t to mention U-.at 01rs 1, ~so certex BUil in 2015

                                Tf\Jnl<

                            rtJ(c, Mf"r     'iurri e1 ynle      t.1E1   , • JJn
                         weu I wrote to them last we&., no respon5E? I am w11Urq tu them again today
                         I wI'l conunoe I am rnowc.Ced, I Just don'l l.nO¥ wl'l:!1e to SIM I will ask
                         amurd to tte feN ittorreys I l.fl'1N, tut the-,, are more f¥nlfy la'H ntt prq>erty
                         law

                                Ttunl;

                         r:rree OSI e:i • ,urr1mrr1)n Le, lt'I I& Jan
                         To relp with t1'le mold my canpan/ uses sl"OcliNa,e, yo.., can use Mdgol
                                Ttur1t

                         DEtti!e G111t.tto ;;;umrne11..,..Lec,1,jff lb Jjn
                         OJr Centec tome was canp:eted in OCI0b£:r 2015 We moved in Uoternber
                         u,a sarne year and hael Is,ua soon 1'terw,m tt'e cordensatlon tllat e,.,eryone
                         has neleO I was l(jO to keep my blinds ralsro a tll ctr l te wrnoow oil! and Iha!
                         aCIUll1y WOlkEd for me

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                 SIOOHAR7H             KODE             V.         WlLLIAHSON        COUNTY ,       ET       AL .   1696907690
                      L 11 J• 0\11 n,, s,,,1,,        ,_n Li        , r h 1G
                      I wlft Join you lf.s rf(tieulous 1h11 the homes me so nice ond ourwindow5 have
                      lo be dried co"l!nuously
                            Thi~

                rf Sa, 11 V,,uh 1ft:'t<r !"t.1,rvntrtrn L :mJl!r ◄ ft>b 16
                      Jimmy J,u<;I 1csponded lhal n.tCk wJI l lotl by w.lh somo olher SUO')tst.on, on
                      how 10 deal w.lh tho condcMaUon Not ln1c,cste<11 TNs lsoi somcl hh\Q wo
                      shouid have 10 be "deaLog" \',,lh Unh~1fy lo, nlek, I am in a r<!a'ty bad mOOd
                      todilyl

                            Thank

                      Ta,, Ne-ril Summc·ll~n Lca,,dc.-r , l"eb 18
                      l'mln
                           Than,       Ir      I


                      S \.,,.. c,an,. Surrm 1)-n l~ ltl'!f         ◄ Frb 18

                      Ltl us know what ho says Our next door nc)Qhbor.s hac:t 10 001 n dcllumidili er
                      on<I Lhey s.>.<J It helped •a Mlle"•.bul I am realty nol lntcrosted In havillg to
                      spend money on scmcth·ng or having 10 oo upl(eepon a brand new S200k•
                      house. No lllilnks!
                            Thit!"ll   I lr    ,).


                W'4 S.trah \k,ccNonoccti. St1mmr1'.yn l t'nncJa ◄ fcb 18
                      Exactly• That's one of lhc ,cason.s we 1~1~ new II lhe,e w,15 going to be any
                      work done JI was going 10 be cosme11e. Nol 1111s 1\00SCOWI
                           Thank

                il'f S:m1h V, ah1on/lli 1·u. Sm111111•1lyn l f'mlllt r
                                                                  ,t F1•t, 16
                      He Just left. Actually threw some papers on my counter and walked oul Yme1t I
                      1o'd him I wasn·11ntetts1ed kl tim explolning 1he science or condeM.ilton 10 me
                      lhol I Just need them lo lix ll. He Irie<) lel!lng "'" lhol lhe.se kq)(JS or windows
                      have been lltOUnd Sll'ICe the SOS Yuh I ~'leve ii and 1118.l's why lhey have
                      ~ned newer mo,o emoenl ones My baby hH been ~ck wlh chron,c 1Jppe1
                      11J"f)f1ato1y Infections sklco we moved In and Is oow hBvlng smoc,y nux1 w<'Ck.
                      Our docto, lold us Iha! thoso lnrcctlon.s cou~ very well bo ba.ng caused by the
                      mold. I cxp!t1lncd lhls 10 N1tk wno had nolhlng 10 .say In rcIum ) 10 also refused
                      to come Sook al lho damogo on Ino.s1 of tho windows.



                      C   uIP     in   &.<lHl"-      ,,n Lt ro<frr , f b 1i
                      rm w.t.h you, I hate to $3Y" but I have more mlldev, lhnn I care to think about
                      We have lived he.10 101 3 years Caiol
                           Tha,

                                                        ◄ f,-b 16
                      ll"'r1rn W.1/ S1,mm tl)·n l'° lf'1•
                      The w'INJ<m shoutd have a stK;kcr on them ,\'hen you 1111 l ht'm In They Should
                      be covert'd thru mnnufaclurer. The l hcrmal scol belwecn l hc gloss Is snot
                      The sashes nttd 10 be reptaced

                           Than~

                ~     AJ ,IRaw,,., Sumrn ,1,-nleand1•r ◄ r1;bl6
                      rm 111, 12 \'l\fldOwS onc.t they All have tho same b soe lls 1ldleulo11,; I've be('n
                      wip no Y.ind<YN4t numerous hmes a year '°' 7 yea1s
                           Than\       1,..
                      T,f'I H1;1,1- $1 1111;    1)11 Lr ~•     , , fp!J 16
                      Our wfndows our bad l oo.



                      s 1-1,h Vt-c(.hKJIUGCft Sufl'\ffiCll)'II Lennrler •I Fe;b 16                              V

                      I'm cuuenlly emJ.lino a clu.ss aciioo nllorney Alie, my lnteraclion with Nkk
                      IOday, 1 havo no nlOfe p.alleuce I mll )leep you an posle<f II you have A
                      Ccnlox hoine and RIO OXf)t'll('1K.ln9 1110 O)dl(!mO condCll5,AIIOn wlll you r>IPASO
                      puva:c message 1110 your n:1010 add,css and Any phOtos ol lhc J'NObfCtn
                           Thao•       JP. .,




                •     0,1i.1,    s At1·~. h1ty Rd            ~ Frb t~

                      It's not Just tenlex homes. Cos.Ucl"OGX Is lhe same.
                           Thank
                                                                                                                v




                liil Pni(C
                     AfYJ o Drew -n. Surn~rtyn lf':md~r S Feb 10
                           homes (boiil In 7008) lrt lhls t1ood do 11 loo
                           Than\



                •     !xm, Jrn)in~ St1111ni1•1l)TI l1>,: tndrf !, Ft•h 16
                      yes I hoy do Anrj.o'
                           Th1tnk

                      >.'.<" 'le Oo    ,, S, nr,i ,1111 It 1ndt•f 5 F b 18                                ""
                      My husband won't even spen~ to N            ck"'
                                                                    tti'I Every lime my lmsbJnd :spN\s
                      111..M>ut ANY p,o~ems with lhtt house he would uet en t-lMudc f10111 him We
                      Mvo COOd(llS,&hOn on 1111 Otlf wtndO'NS 100 W e I on Talon (JlllSJ) I just 00' done
                     wlp-rlQ l hOfll all I've hMI 10 SOAk UI) l hC wntcr 11Uincrous limes.

                           Th.,~

                      l m•lt1 Q<.,h'1u.-., S11111mNlyn LC'ilndtr !> ff-h U)
                      The sad thiog about the builders not accept1ng the ,espons,bd ty ot fixfno lheir
                      m stn~e Is evcf)'OOe pays When potentlnl buyers osk "bout living here and
                      hear obout the Jil<;A of support lhey will not buy here. Onco n cl i.~ nction suit is
                      Med this SUb d.vi.sk>n w.N be known IOI , tioddy houses It k>o!u 11'.e l)hJt k rnokl
                      on my baek wfntlow II bu,klcrs don I :,.lcp UJl, I wiu be tAl~lng to   mv ntlorney
                           Than\

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                 W"i $:u, Pl Vt- ·rl't ,nu,: St,mrn l·r' Lt u._-J('r SF, b l6
                      I undorstnnct Ihat 11 l s not Ju!.I Ccnrcx home, bll l hal Is who I'm dcafing w,th I
                      would encourage everyone to taLe a sland 8CJlllnsl !heir txflde,s.
                           Thn\

                 (} Tom Permann St.1:1,n ,lin L~ .id<, S I b 10
                      t tel tho ma1\lger ot 001 sotxt,viston (llom Cenlex) 11:n(M what was uo.nu on
                      s1,0 h31jo't hc3nl any111I09 ,u,0111 .t below 1u>w· But now she knows-
                           Thank       _ 1.    ,

                      Lui..(.a O\.la.1u\. Sl1mm rt,n u;..l'ld.u   S F il.b 1'1
                      M aybe if l he HOA called lhe buJde15 lhDI m ighl help. Wilh a class oct1on so I
                      broughl against bolh of lhe bu1klers no one w\U wimt 10 mo\le here. I tl.iva
                      enough of heal!h issues without the help of the bu.Jders w th black mo!d In my
                      house. W I¢! the Wi'li,1mson counly Health DeJ>i11tme,it do ony1hlng7 Wonh o
                      call II buildir,rs don't nx Pfob'Crn

                           Than~

                 iJ1 $~1\lh Vr rhirv!tf'(.Ce. S•1m'f!1•1lyn lrnrwJe, 5 Ft-b 16                                  V
                      everyone from ccntcx Is going to dcrny knowino anything

                           Thao\

                 n    Tr,111 P•nnMn, $•.1,11mc1lyn Lcn,"111 H<b 10
                      No Sarah. $he is a friend of mine. She dktn't know She l ook over Su1M1erfyn 2
                      weeh aoo as manoger.
                           Thltt._

                      ee,.ky Rot..nson. Sunim.-1lyn L~?-v:1("1 5 Feb 16
                      I also havo hiKI this Issue Slnco I movt"d hero and they !Old mo ,t was (l()(mal
                      and 1usa 10 keep wip:no the mooows. Out I WOUkt be M 110 Jo,o In on tho ea~
                      Thoy ~ccp blow.no you olf ldl you owe up!

                           Toan\

                      S\yl°' Cfd1)1'> Su1r mc11yn tundrr 5 f·rb 16
                      Torlf• Did she say how .she was goiotJ to try to f0,iow up?

                      When WO (lkl 0111 li111tl walklhl(JUijh lhoy told us II W31 1101111al al lhsl ,,. l>ut
                      mado II $CCIO hk& II v,as only a few nI01Uh.S whl!O lh·nos V.~IC 0011109 sc11100,.
                      wo lhcuoht ii sounded s1rao00. bl.al as hrst 11mc 11orno O'MlC:fSv,c h~ no idea .
                           Thanli.     1T      1



                 fl To111 P•u11»1111 S,mu,,,111111 1, n11<1N 5 rob 10
                      No she ddn'I. rm sorry. II was just a quicJi. , el,1,y between us through n,
                      messenger lhis morning. She said thanks ror 1e1:1ng her oboul ond that she
                      woukJ be lv..O "'fJ It to the prope1 people s;ncs Jlnlmy ontl Nlc;:k W(!.1en1 oetUno 11
                      ~on•
                      ( ·) Th>n\

                      l111d,1 O~trm S11:nrr:,.rf)11 L, i.r; t~r 'i Feb 10
                      Lennar ha!. tho samo PfOb.lcms v.;11, lho windows I contaeled lhelr oHico Their
                      oomber "' 512--41 8-0258.
                           Think.      1 Tl' -.1.

                 ~'! E.tt1Jbr-1 'l Coo,. Sur111n '.1l,-n Le; d<r 5 Feb 16
                      My 01'Mnlon I \VOV'<.1111 bother wilh lhOIOC3I reI>S/olfices My friend ftJughl wl1h
                      local Lennar for two ye1us lrylfllJ to oe., fU\ is.sue n:solved fOt sho<kly
                      c:on~lrnct1on Aller two vcais of gc11109 tho run 11,ound, !J\c fiMlly conIar.Ic<1 lhO
                      VP or Lcnnor's TX d1vlsf0il eod Y\O 901 A r~panr.c ,•rilh,n a day Al\d Iha 1ssuo
                      was fU(cd lho rol!O\W'IQ week I sogocst finding out "-tlo ir10 highcsl pcf'50n In
                      chnrge fo< your buUde(s TX d1vlsk>n ~ nnd contacting lhcm. Lei them know· the
                      l ocal orrice ls refusing l o foethe actual issue.

                      EDIT: I ju.st saw Tonrs message so m1tybe her friend can get some nction
                      h.11:,peninu fOf Centex homes w:lh I1tI-, •~"' Good Jue\.!
                           Th"'11<     1T

                 ~ K~'-":'r ;Jr.1 !r.hnvn Sum'Tif'li)' ~ Lemldrr S Ftb Hi                                       v
                   N tek Is u scle~- He a...,,ays lal" 10 )'OU I kc you are dumb, I b(oUQhl up l hc
                   windows 100 ond was !old it wa!. norm al



                 r] TOOi Prrmann. Somm<:1I~11 Lr.1IwfN S f cb 16
                      No, I aclually i,gree w,lh wf13t you sakl Liz.
                         ) T'hank      I T1    \



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person's property damage - for example, when lit fireworks (including flames or sparks) cause a significant fire that results in any damage to a

building, vehicle or other structure (such as Shed) - the offender(s) could easily be charged with felony Criminal-Mischief and/or felony Arson

(if there was any malicious intent by the perpetrator) - the reason being that the offender(s) are knowingly and recklessly lighting fireworks in

an area where this activity is not permitted (due to the serious health-and-safety hazard). In cases where fireworks did cause personal injury of

other person(s) - for example, when lit fireworks (including flames or sparks) make direct contact with another person - the offender(s) could

easily be charged with felony Assault - the reason being that the offender(s) are knowingly and recklessly lighting fireworks in an area where

this activity is not pennitted (due to the serious health-and-safety hazard). (For examJJle, the •city of Austin ► , [CoA], reminds its

residents, at the ve1y least througl1 its' local-news-media public-messaging, that the lighting of fireworks is illegal within the [CoA] and that,

furthe1more, any person who lights fireworks within the [CoA] will be held fully-responsible and fully- liable for any harm, injury, property-

damage, other-uncontrolled-wildfire, and/or death resulting from their illegal lighting of such fireworks within the [CoA].) Despite of the fact

that residents (and/or the guest(s) of such residents) that ligl1t fireworks within this subdivision could easily and reasonably be criminally-

charged with multiple different crimes - Disorderly-Conduct and/or Littering and/or Criminal-Mischief and/or Arson and/or Assault - in the

approximately 14 years that the plaintiff has resided within the subdivision, the plaintiff has yet to observe even one [WCLE] police-vehicle

patroli.ng the neighborhood - at the ve1y least around the plaintifrs property - to cite/charge offender(s) for the fireworks-ban, and based on the

repeated fireworks-ban violations of [JSP&KAP],[RSR], the plaintiff has eve1y reason to believe that neither [JSP&KAP] nor [RSR] have

faced any legal consequences for their illegal lighting of fireworks within the neighborhood. The responsibility for enforcing the fireworks-ban

lies with both the [HOA] (as a matter of civil contract law) and [WCLE] (as a matter of criminal law). Despite of [SPOA-VP-AH]'s fraudulent

concern, even more outrageously, [RSR] tries to shut-down [SPOA-VP-AH]'s complaint, encouraging [SPOA-VP-AH] to directly confront

some of those that are ligl1ting the fireworks and asking them to stop, stating, "I would like to see this format used for constructive things

instead ofcomplaining! Besides I doubt they are reading your complaint." The term "racist hypocrisy" does not even begin to describe

[RSR]'s outrageous conduct. For many years (at this point in time), [RSR] has engaged in racially-motivated and/or retaliat01y crimes of

 harassment/stalking, intimidation/interference, blackmail and even terroristic-threat(s) against the plaintiff, in at least some of such cases,

 justifying such crimes against the plaintiff by claiming that the plaintiff was failing to maintain the plaintiff's private-property according to her

 (hypocritically-enforced) White-American standards. For for many years (at this point in time), [RSR] has used the subdivision's social-media-

 platfonn(s) (including but not limited to: "11extdoor.com", ''facebook.com') to viciously-smear (@) and engage-in-character-assassination-

 against the plaintiff for the plaintiffs "inability" and/or failure to maintain the plaintiff's private-property according to her (hypocritically-

 enforced) White-American standards. For many years (at this point in time), [RSR] has demanded that the [HOA] take legal action against the

 plaintiff for the plaintiffs "inability" and/or failure to maintain the plaintiffs private-property according to her (hypocritically-enforced) White-

 American standards. So, if [RSR] noticed that any other resident mention the plaintiff's name or plaintifrs property - even in a favorable ligl1t -

 [RSR] would have used such opportunity to launch a lengthy tirade, filled with venom and racial-animus against the plaintiff, as she has done

 on multiple occasions (see below). But as soon as anyone, including a powerful [HOA] Board-Member, complains about a serious, harmful

 violation that [RSR] and her co-conspirators [JSP&KAP] are guilty of committing, [RSR] immediately lashes out, intimidating her

 overwhelming White-American audience into silence while, at the same time, indoctrinating this audience into thinking that the ligl1ti.ng of

 fireworks is not a serious violation - when the lighting of frreworks is, in fact, a far more serious violation (in terms of harm caused) than any

 alleged violation that [RSR] has ever fraudulently alleged the plaintiff of (almost always, exclusively within the confmes of the plaintiff's own

 private property). [RSR]'s intimidating and indoctrinating response also reveals the extreme, mafia-godfather-like, power that she wields over

 the entire neighborhood:

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In another public social-media posting dated {2016-01-03}, then [HOA] Vice-President [SPOA-VP-AH) complains about loud fireworks being

lit late on the Sunday night of January 3rd - 3 days after New-Years-Eve {2016}. The majority of fu-eworks were lit on the New-Years-Eve (3

days prior to this complaint) - with one resident complaining that fireworks were lit for "7 straight HOURS" - but [SPOA-VP-AH] complains

only on the Sunday 3 days after that major incident. The plaintiff has resided in the subdivision for approximately 14 years at the time of filing

of this lawsuit, and there has not been even one year during which the subdivision has been free from the illegal lighting of loud, disturbing,

polluting and dangerous fu·eworks. The plaintiff asserts that all of the fireworks that are being lit within the subdivision are being lit by , if not

almost-exclusively the White-American residents of the subdivision, then exclusively the non-immigrant-of-color residents of the subdivision.

The plaintiff further asserts that the lack of enforcement of the fireworks-ban within the neighborhood is, thus, another discriminato1y housing

practice(s) - with the discrimination being based, if not exclusively upon race, then certainly, a combination of race and/or nationality. In eve1y

year since {2009}, the nights (even past midnight) of the days in-and-around New-Years-Eve and the nights (even past midnight) of the days

in-and-around July-the-Fourth have always been days in which loud, disturbing, po!Juting and dangerous fireworks have been lit within this

subdivision - with [JSP] lighting fireworks on these days almost every year (if not every year) and with [RSR], on at least some occasions,

joining [JSP] in this illegal activity that has occurred in very close proximity to the pla intiff's prope1ty [788KLLTX78641] - unjustly putting

both the plaintiff and the plaintiff's property at serious risk for serious injmy and damages. In at least one of her re-election campaigns (see

below), [SPOA-VP-AH] admits that she was the very first homeowner Board-Member of the [HOA] (see below), and so, for [SPOA-VP-AH)

to only at this moment in time (during the year {2016}) complain, after servin g as [HOA] Board-Member for ahnost IO years (at this point in

time) about the fireworks, screams of fraudulent concern. As the then Board-Member of the [HOA], [SPOA-VP-AH] and her [HOA] co-

Board-Members could have implemented - many years prior to this date - strict policies to enforce the fireworks-ban, given that the [HOA]

does have full-authority to enforce the fireworks-ban, by having [HOA] inspectors inspect at night-time (during those specific days of the year),

or by contacting the [WCLE] police depat1ments ([WCCO] and/or [WCSO]) to cite/charge people for Disorderly-Conduct and/or Littering

since the lighting of fireworks is not only a violation of the Restrictive-Covenants, but also a violation of Texas's Disorderly-Conduct law

concerning "1111reaso11able noise", and a violation of Texas's Public-Nuisance law concerning Littering ([THaSC-T 5-SB-C365-SB-§365.012)

on public-property or on someone else's private-property). When fireworks are lit in the neighborhood, it is very difficult, if not impossible, for

most residents to distinguish between potential gunshots and fireworks. (During one-or-more mass-shootings in the United States, the gunman

was able to perpetrate more killings and/or injuries s ince the witnesses/victims initially mis-interepreted loud-noises as fireworks - thereby

failing to take the immediate-threat seriously.) In cases where fireworks did cause even small amounts of another person's property damage -

for example, when lit fireworks (including flames or sparks) make direct contact with vegetation or a fence - the offender(s) could easily be

charged with misdemeanor Criminal-Mischief - the reason being that the offender(s) are knowingly and recklessly lighting fireworks in an area

where this activity is not permitted (due to the serious health-and-safety hazard). In cases where fireworks did cause large amounts of another
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® [RSR] is not a [HOA] board-member of this neighborhood, and by her own admission (see below), never was a [HOA] board-member of
the neighborhood;



@ [RSR] is not a member of law-enforcement, and according to the plaintiff's limited knowledge, never was a member of law-enforcement;



© Despite of the fact that [RSR] was never a [HOA] board-member nor a member of law-enforcement, [RSR], like a neighborhood-boss or
mafia-godfather, brazenly and publicly confronts the prominent and powerful then [HOA-BoD][SPOA-VP-AH] and instructs [SPOA-VP-AH]

to stop 11co111plaining" - about clear violations of the restrictive-covenants (fireworks, noise, nuisance, health-and-safety-hazard, pollution, etc.)

that eve1y property-owner of the subdiv ision signed a contract promising never to violate.



This mafia-godfather-like power that [RSR] (and her co-conspirators [JSP&KAP],[DMP]) wielded from the year {2009 } tluough the end of

year {202 1} - illustrated by this incident and other incidents documented in this lawsuit - plays a substantial component of the racketeering-

enterprise substantially-documented in this lawsuit, wherein, [RSR] and her co-conspirators [JSP&KAP], despite not holding any official

position of authority and power, would freely and intimidatingly command, and/or even threaten, the [HOA] and [WCLE] to preserve their

unquestioned, illegitimate authority/power to do as they please - not only by illegally lighting fireworks but all of the other numerous and

persistent [DRV]s that they got away with committing without facing any legal action from the [HOA] - while at the same tin1e, threatening

those very same institution-of-power - the [HOA] and [WCLE] - to engage in predatory enforcement-actions (including legal-action) against the

plaintiff for the plaintiffs "audacity" to exercise the rights that the plaintiff was/is lawfully and fully-entitled-to exercise entirely (and

exclusively) within the confmes of the plaintiffs private-property. This would not be the only time that neighborhood-boss [RSR] intin1idates

and indoctrinates other residents - including the then [HOA] Board Member(s) whether on this issue of violations of restrictive-covenants

committed almost-exclusively (if not exclusively) by White-American (or non-immigrant/non-indigenous) residents (such as, but ce1t aiuly not

limited to fireworks) or, on other the other hand, on issue o f alleged violations of certain rest:rictive-covenant(s) that predatorily target


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1367
On or about the approximate date and time of {2016-04-?? 11:00), the plaintiff was planting some vegetation in [FRONTY ARD], when [RSR]

accosted the plaintiff. Then next-door-neighbor and then owner of[792KLLTX78641], [RAC], stops [RSR] from crossing the sidewalk onto

the plaintift's property [788KLLTX78641], presumably because [RAC] knew that [RSR] had been issued a [CTW] against the plaintiffs

prope11y and/or [RAC] knew [RSR] may be tempted to engage in some assaultive-act, some intimidation/interference act, some disorderly-

conduct-act or some property-destmction-act against the plaintiff - while illegally stepping into the plaintiffs property. During most of this entire

incident, [RAC] remains in front of [RSR], albeit mostly silent, to prevent [RSR] from stepping onto the plaintiffs property. [RSRJ initially

yells at the plaintiff for what [RSR] alleged to be unmowed grass on the plaintiffs property, and then starts to complain about the plaintiffs

security-cameras, claiming that [RSR] did not want the plaintiff to live a paranoid life. The plaintiff found and continues-to-fmd [RSR]'s

statement concerning alleged paranoia to be particularly outrageous - and a clear form of gaslighting - given that [RSR] had, at that moment in

time, already committed several hate-crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff, and [RSR] even acknowledged

in a previous postu1g (see above) that serious crime does occur in the neighborhood. It was as if [RSR] was conveying to the plaintiff that the

plaintiff did not have the right to document on the record, hate-crimes/civil-rights-violations/racketeering-acts/abuses that were committed
against the plaintiff - in particular, by [RSRJ,[JSP&KAP],[WCLE]. The plaintiff responded not only regarding [RSR]'s previous crimes against

the plaintiff (referencing the incidents of {2009),{20!0), {2011 )), but also, that on multiple occasions, two-or-more person(s) had raised a

camera-phone over the plaintiffs fence to illegally take photograph(s) of the plaintiffs private/concealed [BACKYARD] in egregious violation

of the plaintift's right to privacy - and fut1her, that such photograph(s) were even illegally (and in total violation of the plaintiffs rights)

submitted to the [HOA] and/or [WCLE]. [RSRJ responded that the plaintiff has security-cameras pointed at other peoples' property including

[RSR]'s property. The plaintiff responded that those security-cameras were installed precisely because the [WCLE] police advised the plaintiff

to install them back in {2011 ), specifically in response to crimes committed against the plaintiff by [RSRJ and the plaintiffs former predatmy

neighbor [JJB]. This pat1icular action of gaslighting against the plaintiff also reveals [RSR]'s extremely manipulative behavior of hying various

tactics to manipulate the plaintiff to remove the plaintiffs security-cameras, so that she and her co-conspirators could then continue to commit

hate-crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff with absolute impunity - with the ultimate goal of defrauding the

plaintiff of the plaintiffs right to private-property within such White neighborhood - while at the same time, freely continuing to violate the

restrictive-covenants of the neighborhood (illegal-lighting of fn"eworks, unleashed large-dog crossing the street and entering into the plaintiffs

[YARD], her cat(s) roaming freely even into the plaintiffs [BACKYARD], her son [BR]'s speeding vehicle and other speeding vehicles, the

constant/daily parking violations, etc.) - all with absolute impunity. The incident ended shortly thereafter with [RSRJ continuing to talk to

[RAC], while the plaintiff resumed yard-work on [FRONTYARD].



1368
On or about the date and approximate time of {2016-05-15 17:30), the plaintiff attends a scheduled hearing before the then [HOA-Bo DJs, mn

by [f-HOA-BoD]s[SPOA-P-BCJ,[SPOA-VP-AHJ, making it clear to the then [HOA] that the plaintiffs refusal to cut the default grass on the

plaintiffs frontyard, but h1stead pick/cut the tallest so-called '\veeds", is precisely what the new Texas law of {2013) concerning "drought-

resistant-landscaping" grants-the-right and entitles the plaintiff to do - without being in violation of any restrictive-covenants that may have

become obsolete and/or non-compliant with such new law. The plaintiff strongly maintained and insisted, at this hearing, that the requirement
of mowing even the default frontyard grass - as may have been required by the original contract that was written and/or amended in the years

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{2004} / {2005) / {2006} - was made obsolete andlornon-compliant by the new Texas law, taking effect in {2013}, that prohibited [HOA]s

from prohibiting and/or restricting any practice that promoted "drought-resistant-landscaping". The plaintiff further explained, at this hearing,

that the plaintiff has strong religious/cultural/racial values/practices that prevent and/or forbid the plaintiff from cutting of any-and-all

vegetation, especially for mere aesthetic reasons. The plaintiff explained, at this hearing, that the cutting of grass, in particular, is a White-

American cultural practice, and prio1· to being a White-American cultural practice, was a White-European cultural practi~. The plaintiff also

provided a brief histmy of the ethnocentric and/or culturally-insensitive practice of cutting vegetation, especially for purely aesthetic reasons
(see section below). Towards the end of the hearing, one of the then [f-HOA-BoD]s, [SPOA-VP-AH], shows the plaintiff a picture of the

plaintiffs default frontyard grass from the curbside-grass-area, which she and/or another person measured to be approximately 11-inches in

height, while these [HOA-BoD]s still continued-to-claim that such unmowed grass is not compliant with the neighborhood's restrictive-

covenants. The plaintiff continued-to-insist that the plaintiff was doing precisely what the new Texas law entitles the plaintiff to do, and

furthennore, that if the [HOA] did not like the aesthetic/cosmetic appearance of the plaintiff's unmowed default frontyard grass, then the

[HOA] should be willing to pay the plaintiff to have such default frontyard grass replaced with a drought-resistant "no-mow" grass that does not

grow to over 6-inches in height, thereby fully-eliminating the mowing requirement - without any controversy and without any litigation - a
compromise that the plaintiff was willing to live with. When the plaintiff makes this proposition of the [HOA] which the plaintiff thought to be

an entirely reasonable proposition and compromise, given the aforementioned facts, at least one of the then [HOA-BoD]s, [SPOA-P-BC],

sarcastically laughs at the plaintiff and clarifies his laughter by stating that the [HOA] will be doing no such thing. The hearing ends shortly after

this dialogue, as the [HOA] cut the plaintiffs speech sh011 (as they had similarly done in the previous hearing during the previous month of

{2014-02)). Although the plaintiff had much more to say on this issue, as the plaintiffs later "drought-resistant-land,caping" [HOA]

architectural-approval document (original exhibit available) - which the plaintiffs then-lawyer, [ATTORNEY-PS], would jokir1gly describe as a

"doctoral dissertation" - would much-more-thoroughly reveal, the plair1tiffwas unjustly cut-short by these [f-HOA-BoD]s, with these [f-HOA-

BoD]s stating that the [HOA] had given the plaintiff enougl1 time to present the plaintiffs argnment(s) at the hearing- which the plaintiff

thought to be an unjustly and arbitrarily short amount of time. Clearly, at the end of this hearing, the two parties - the plair1tiff and the [HOA] -

were still ir1 such unresolved contractual-dispute. It became clear to the plaintiff, that by cuttir1g the plaintiff's hearing short, the then [HOA]

(under those [f-HOA-BoD]s) had deliberately prevented the plair1tiff from fully-presenth1g the plaintiffs social-justice/environmental-justice

argument(s). thus preventing the then [HOA] from being perceived as anti-social-justice and/or anti-enviromnental-justice, while at the same
tirne, pavir1g the road for the [HOA]'s lawsuit against the plai11tiff - which would occur in the followir1g year. One of the themes that plair1tiff

seeks to present in this lawsuit is that even a theoretically-representative institution-of-power - such as the [HOA] or the local-government - is

only as good as the people that they are (exclusively) acting on behalf of, or the people who they are (exclusively) representing, and if the

people that such irJStitution-of-power are (exclusively) representh1g are malicious and/or predatmy, then the [HOA] and/or local-government

will only rightfully be perceived to be malicious and/or predatory. The plaintiff asserts that this is, by far, the most innocent ir1terpretation that

explair1s the then [HOA]'s predatory actions against the plaintiff, and defendant [WC]'s more-than-a-decade-of predatory actions against the

plair1tiff.



'113 6 9
In another social-media-posting, a resident complains about the persistent noise caused by the dogs of a neighboring resident, and specifically,

that this noise deprives them and/or their gnests of sleep. [RSR] admits that this violation does exist within the neighborhood, but does not

seem to take the issue seriously (or at the very least, not any issue as serious as her more-than-a-decade-long predatory targeting of the
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plaintiff), by stating, Jf/(11/c over {//Id talk to them, if th(lt doesn't ,vorl,, check out the noise orrfi11a11ce and site iftl,at ,viii be lte/p/lfl. The

plaintiff has on several occasions, noticed [RSR]'s dog bark loudly and uncontrollably. Another resident points out that since "noise nuisance"

is a violation of the restrictive covenants, that violating residents can be reported to the [HOA] and/or the [WCLE] - who can issue "ticket" for

"repeat" offenders. In the almost 14 years that the plaintiff has lived within the subdivision, the plaintiff has, on countless occasions, observed

other residents' dogs barking loudly and uncontrollably, and on many occasions, even during the typical sleeping hours of 9PM through 7 AM.

In one-or-more social-media-posting(s) of the residents complaining about the ve1y-loud fireworks lit on approximately 6-10 days per year, one

of the residents posted a question sarcastically asking if those who complain about such vc1y-loud fireworks, also complain about the rampant

problem of noisy-dogs during the other 350+ days of the year. However, the plaintiff is not aware of any enforcement-actions taken against

such residents by either the [HOA] and/or the [WCLE], and based on the fact that the issue has persisted for all of these years, the plaintiff has

eve1y reason to believe that no serious enforcement-actions were ever taken agdiJ1st such residents by either the [HOA] and/or [WCLE].
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i370
In another social-media-posting, a resident complains about hazardous "black mold" occurring inside their home, this time, caused by leaking
roofs. [RSR] admits that the responsibility lies with one of the builders, stating, "There seems to be a problem with many of the ro~fs in the

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pulte homes especially around the vents that were not placed properly." The plaintiff has observed that many, if not most, of the plaintiffs

property-owners in the subdivision have had to undergo roof-repair or roof-replacement - some even during the ten-year wan-anty period -

ostensibly due to poor-quality materials and/or installation by the original builder and/or manu facturer(s). Like some of the other postings

documented in this lawsuit, this posting reveals that the real damage to (JSP&KAP],[RSR) (or any other resident's) ''property value" is not

how the plaintiff is maintaining the plaintiffs private property (which, even as [JSP] admits, never caused any harm to anybody), but rnther,

that the builder has used several poor-quality/sub-standard materials and/or performed poor/faulty installation, so as to cause health-and-safety-

hazards within the house, with some of these hazards causing even long-term structural damage to many (if not most) of the homes' building

structure. Again, despite of the fact that many residents have reported that substandard materials and/or installation were used in the windowing

and/or the roofmg and/or the air-conditioning/heating (and/or the fencing) of many (if not most) of the properties in the subdiv ision, and despite

of the fact that many residents have reported that serious hea lth-and-safety-hazards and/or serious structural-hazards like "black mold" were

caused by at least some of such substandard materials/installation, and despite of the fact that [RSR] discussed with some of the other residents

the possibility of a class-action lawsuit against the builder (and/or manufacturer(s)) for at least some of these serious health-and-safety-hazards

issues and damages, as the record will show, no lawsuit, let alone class-action lawsuit, was ever filed against the builder (and/or

manufacturer(s)). Lnstead, despite of the fact that the plaintiff has never caused [RSR] or any of the other residents any harm at any point in

time, both [RSR] and her co-conspirators [JSP&KAP] would continue to remain laser-focused on engaging in predatory enforcement-actions

against the plaintiff - using their co-conspirator institutions-of-power, the [HOA] and [WCLE], as their primary tools of predation - in order to

inflict long-term psychological-harm onto the plaintiff, and with their ultimate goa l being to drive the pla intiff out of the White-neighborhood o r,

better-yet, getting the plaintifrs property foreclosed-on - the reason being that the plaintiff - a low-IQ, subhuman animal unw01thy of any rights

- was an easy and defenseless target, whereas the builder/manufacturer(s) are big corporations that are "too big to sue".
 •   "N>1cl?" •   Noxtdoor a-J.yn 1-ldar•   [RSI\), et al .•       [2016-07- U) •
 •   htq,e://,._lynl.undar. MXtdoor.cxa/.-_ r.-J/~t,,,:28798217
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<_[3 71
In another social-media-posting, a resident advertises that a cat she allows to roam freely in the neighborhood (in violation of the restrictive

covenants) has, on this particular occasion, not returned home. [RSR], who has routinely (and unlawfully) allowed her own cat(s) to roam

freely, and clearly speaking from her own personal experience, responds, "They say put her litter outside and the cat will find the scent. 1 got

this il?fo from this message board and 1 believe that it worked." This and several other social-media-postings show that both [RSR] and o ther
                                                                                    PAGS         326   OF    956
                         Case 1:23-cv-01223-RP
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residents in the neighborhood are clearly violating the restrictive covenants by allowing their domestic cats to roam freely through the

neighborhood. Since as early as {2013}, the plaintiff has noticed other residents' large domestic cats enter into the [BACKYARD], often

scratchin~tugging at the grass/vegetation after urinating, entering even into areas where the plaintiff has vegetables growing, etc. To this day,

the plaintiff continues to notice multiple different large cats enter into the [BACKYARD] multiple ti.mes per week. The fact that such large cats

routinely enter into the [BACKYARD] also dismantles the defendants fraudulent accusation (made on several occasions over the course of at

least 8 years) that the plaintiff has so-called "rodent-harborage" in the [BACKYARD] - as cats have, at the very least, several hundreds-of-

thousands-of-years of evolutionary instincts to both detect and hunt rodents, their natural prey. Like the total lack of enforcement-actions for

the lighting-of-fireworks, the speeding vehicles, the loud barking dogs (or many of the other noise-nuisances), the dogs routinely left to roam

freely sometimes defecating in others' yards, the numerous parking-related violations (commercial-trucks, trailers, boats, parking-more-than-2-

vehicles-visible-from-any-street-for-over-72-hours, parking-on-any-curbside-of-any-street-overnight), the numerous unapproved changes, etc.,

the plaintiff has noticed that this restrictive covenant of freely-roaming domestic cats has also never been enforced. Despite of all of this

overwhelming evidence of violations of the restrictive covenants - many of which were routinely committed by [RSR] and her co-conspirators

[JSP&KAP], both [RSR] and her co-conspirators [JSP&KAP], in their predatory-targeting of the plaintiff, for over 10 years, continued to

make the brazenly fraudulent accusation that the plaintiff, due to the plaintiffs minority-of-one racial-profile, is the only one that is allegedly

violating the restrictive covenants.
      "Miaoi.ng c.t" ,    NIIXtdoor Slllmarlyn Laander•    [RSRJ , et al. •               (2016- 08- 101 •
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                                                            me lmllN If you haw seen her. Thank youi 512-924-3128
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                                                                     daughter walked around l o see ff she Sa/I It again We will keep an eye wt.
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Sl:372
In another social-media-posting dated on-or-about {2016-08-18}, a resident calls attention to the "reckless drivers" speeding within the
                                                                                                                                          11
subdivision and/or close to the entrance(s) to the subdivision, placing '~Jeople's li ves and property at severe risk. The resident also calls

attention to the total lack of enforcement-action against those who unlawfully light fireworks within the subdivision (again, as already explained

above, in violation of both Texas law and the subdivision's restrictive covenants). (Both of these issues are routine and unchecked violations

that the plaintiff has noticed throughout the approximately-14-year tin1e-period that the plaintiff has resided within this subdivision.) [RSR], in

w hat can only be described as yet another remarkable feat of extreme racist hypocrisy, tries to shut-down these legitimate complaints rightfu lly

raised by many residents of the subdivision, ranting that such residents '.'ieopardi ze the fi·eedom of many.for a few" and that she would 'Jight

any motion to have a police state in our neighborhood. 11 For over 10 years, [RSR], along with her co-conspirators [JSP&KAP], [WCLE],

have aggregately committed several dozens of hate-crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff, thanks to the

toxic environment of racist-lawlessness that has been created and enabled by all these parties. For over l O years, [RSR], along with her co-

conspirators [JSP&KAP], [WCLE], have created a vicious, modern-day-Jim-Crow police-state around the plaintiff and the plaintiff's property,

with [WCLE] being dispatched to the plaintiff's property over a dozen times - executing unconstitutiona l-and-unlawful searches/seizures of the

plaintiff's property, unlawfully detaining the plaintiff, unlawfully interrogating the plaintiff, abusively shouting at the plaintiff while fraudulently

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forcing the plaintiff who is under duress to sign legal documents ([CTW] citation, [PNW] citations) - as part of a larger scheme and pattern to

defraud, blackmail, humiliate, racially-intimidate, witness-intimidate and retaliate-against the plaintiff. [RSR] is fully aware that the lighting of

fireworks within th.is subdivision (with people, houses, fences and vegetation located in vc1y close proximity) is: a serious health-and-safety

hazard (with the great potential for serious injury/death and serious property-damage including the burning-down of entire

houses/trees/yards/fences), noise-nuisance-violation (disturbing sleep-schedules and work-schedules), disorderly-conduct, air-pollutant (with the

air strongly tinged with chemical-smelling smoke), littering. [RSR] makes an egregiously-fraudulent comparison, "Why don't we focus on

getting people to mo·w their grass instead of wonying about twice a year.fireworks", when she is fully-aware that the lighting of fireworks

(especially on public-property) is not Constitutionally-protected in any regard nor under any circumstance, whereas the growing of nativc-and-

naturalized-vegetation within a person's private-property is, indeed, Constitutionally-protected in the many regards documented in this lawsuit

(religious/cultural/racial practice, political speech/expression, mt, etc). Yet, despite of these truths, [RSR], with a straight-face (and clearly

without any shame) that only the most-skilled and most-manipulative con-artists are capable of perpetrating, is able to brazenly rail at other

residents within this subdivision whom she (fraudulently) accuses of creating a so~called 1JJolice state" that polices real health-and-safety-

hazards (fireworks and speeding-vehicles), noise-nuisances, air-pollution, littering caused by her, her co-conspirators [JSP&KAP], and a large-

fraction of other residents of the subdivision. It is also important to note that [RSR] is perpetrating another fraud when she fraudulently states

that those who complain about the lighting of the fireworks 'Jeopardize the.freedom of many for a few" because in the plaintiffs best

estimation (based upon the plaintiff's own observations), approximately 10% to 20% of the residents within this subdivision unlawfully light

fireworks; therefore the "few" are the ones that light fireworks, whereas the "many" are the ones that do not light fireworks, but instead, have

 to suffer all of the effects of those 'Jew" lighting fireworks. [RSR] concludes her abusive and intimidating rant, by stating that she will

 "d4initely will be at the next ([HOA}) meeting", no doubt, for the sole reason of demanding that the [HOA] engage in further predatory-
enforcement-actions (h1 pmticular, legal-action) agah1st the plah1tiff. This posth1g also reveals that [WCLE] could have easily been contracted

 by the [HOA] to enforce the fireworks-ban, as the fireworks-ban can be, easily and uncontroversially, enforced from the street without

 h1fringing on any person's (or any group's) Constitutional rights; yet, the plah1tiff, has never noticed any such enforcement-actions by [WCLE]

 (nor the [HOA]), and instead, [WCLE], for over IO years, only operated in a predatory manner against the plaintiff - egregiously h1fringing

 upon many of the plah1tift's rights - based upon the malicious and fraudulent complaints of [RSR],[JSP&KAP]. [RSR] inthnidating response

 not only shows her full support of those who unlawfully light fireworks h1 the subdivision (including herself and her co-consph'ators

 [JSP&KAP]), but also intimidates all of those (including the plaintiff) that want both the [HOA] and [WCLE] to strictly enforce the fireworks-

 ban - for the health-and-safety of all residents of the subdivision, and for the protection of all private-property within the subdivision. This

 message is just one part (of many parts) to proving the plaintiffs claim that [RSR] is a highly-manipulative and h1timidating con-artist that

 mastered her skills/techniques of defrauding the plaintiff over the course of over IO years - with [RSR] fraudulently claiming that the plaintiff is

 the "one person" that is solely violating one-or-more of the restrictive-covenants of the subdivision. Although this fireworks issue is just one

 component of the plaintiffs fraud and racial-discrimination claims against the defendants, this issue highlights a vc1y important and significant
 difference between what defendants [RSR],[JSP&KAP],[WCLE] were/are alleging about the plaintiff, versus what the plah1tiffwas/is alleging

 against defendants [RSR],[JSP&KAP],[WCLE] and the [HOA]. Even if it the defendants claim that the plaintiff was in violation of any rules

 concerning 1111nsanit01J' conditions"was hue-which the plaintiff has always vehemently denied - such conditions are entirely within the
 confines of the plaintiffs private-property meaning that there is no possibility of any-one else being in any way inconvenienced, let alone

 harmed, from such conditions. By sharp contrast, fireworks - that are lit on public-streets and/or public-sidewalks - can cause (and has caused)

 serious injury (in some cases, lethal h1jury) even to hmocent bystander(s) and fireworks can uncontrollably burn (and has uncontrollably


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burned) down entire residential-properties - each of which is valued at several hundreds of thousands of dollars. So, even from a pure liability

standpoint, the restrictive-covenant and Texas law that [RSR],[JSP&K.AP] are breaking by illegally lighting fu-eworks, would incur

significantly-more liability (a sum of which is at least in the six-figures) in terms of money-damages against [RSR],[JSP&K.AP],[WCLE] and

the [HOA], whereas, [RSR],[JSP&K.AP],[WCLE] and the [HOA] would, at best, only be able to obtain injunctive-re lief(without any

possibility of money-damages) against the plaintiff even if their (fraudulent) allegations of "unsanitary condition.~" exclusively within the

confmes of the plaintiff's private-property were true - that is, if they were even able to prove that such conditions actually existed on the

plaintiffs property (which the plaintiff vehemently denies) and only if they were able to prove that the plaintiff was not entitled to maintain the

plaintiff's property according to such Constitutionally protected religious-practices. (The same point concerning liability also applies to [RSR]'s

unleashing of a large dog to roam freely within the subdivision, and her/others unleashing of large cats to roam freely with some cats even

routinely entering into the [BACKYARD].) This social-media-posting documenting [RSR]'s intimidation of other residents, also continues to

reveal that [RSR] played the role of a neighborhood-boss or a mafia-godfather - a cmcial component of [RSR]'s conduct that is clearly part of

the plaintiffs [RlaCOA] c lain1 against the defendants.
 •   "Gorwxal s.-rlyn Iawu - 'traffic, ~ , 11ol.1.c:i"9"          , -                   S.-lyn 1-ndar•           (ASR), et al.•        (2016--08- 18) •
 •   httpa://.-rlynleandar. naxtdoor.,-/,,__f-i/?poa""'30H9029
                                                        Daniel Stitz summertyn Leancfe1

                                                 General Summerlyn Issues - Traffic . Fireworks, Policing
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                                                 nothlog that w,111am~n County can do about adding a light until we rneet or
                                                 exceed lhe iran,portaHon code for TxDOT requil1ng a stopllghl

                                                 2. 'Wl"lllamson County cannot do an~hlng regarding nreworlt5UNLESS there
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                                                 matter, as a county. However, cities can and do have l3'NS rewicUng fin~wmls.
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                                                 lhe HOA, vlOladonsneed 10 be handled by lhe HOA

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                                                 of who to contact to get the ball mlltng - but want a HOA bOard member to
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                                                     Daniel Stitz, Summef1)Tl Le.anaer 18 Aug
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                                                      HOA board With the flreworle, I explained It was an HOA matter and
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1373
In another social-media-posting, a resident calls attention regarding an unpleasant interaction that he had with a [HOA) inspector from the

newly-contracted property-management-company. [RSR) immediately exploits this opportunity to engage in backstabbing and character-

assassination (@ ) against the plaintiff, who was never even mentioned by any of the other residents in this posting, brazenly stating: "/ would
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love for him to take his clipboard to the haunted house on Kingfisher, (we all know which one) that doesn't mow his grass, buries trash a11d

fix that before they QUIBBLE about a temporwy driveway situation." Unlike the other residents of the subdivision who are completely

unaware of the situation between the plaintiff and the [HOA], [RSR] is completely aware of at least 3 crucial facts, thus committing a fraud

against the plaintiff when she maliciously targets the plaintiff in this manner:



® The plaintiff, due to the combination of the plaintifrs racial-profile and the plaintifrs political-profile, has always had a strong
religious/cultural/racial and political opposition to the practices of lawnmowing (and all other artificial cutting of vegetation especially for

aesthetic/cosmetic reasons) - even prior to the {2012}/{2013} Texas law concerning "drought-resistant-landscaping".



® The plaintiff, since at least the month of {2016-05} (as explained above), has been in contract11al-dispute with the [HOA] specifically
regarding the mowing of grass, with the plaintiff arguing that the term(s) in the contract requiring mowing were written in the years

{ {2004 }/ {2005} / {2006} ), thus preceding the newly incorporated Texas law (in {2012} / {2013}) concerning "drought-resistant-land5caping"

that forbid [HOA]s from requiring any homeowners in Texas to water their landscapes, and that in particular, that the mowing of grass

necessitates the watering of such landscapes in order to keep such grass alive - a clear violation of the new Texas law; by sharp contrast,

leaving that same grass unmowed, allows that grass to survive even severe Central-Texas summer droughts without the need for water. (Grass

can also be killed during winter when mowed during/before/after prolonged winter-freezes that can kill the grass especially if there is not

enough soil-moisture to keep the grass alive during those long freezes. So, the lack-of-mowing protects grass from both temperature extremes.)



© The plaintiff was compromising the plaintifrs deeply-held religious/cultural values/practices by, at least twice a month, cutting/picking the
tallest so-called "weeds" in the frontyard without damaging the grass (since the default builder-installed grass only grows to a maximum of 12-

 inches in height in most areas).



[RSR] is clearly perpetrating another fraud against the plaintiff when she says that the plaintiff "buries trash" when she knows fully-well that

 this is both physically and logistically impossible, let alone completely false. Whenever [RSR] singles-out the plaintiff in this malicious manner,

 it it is crncial to note that [RSR]'s malicious targeting of the plaintiff would have been considered to be predato1y even if all parties involved

 (including plaintiff) were (non-inm1igrant) White-American. But the predatory situation documented in this lawsuit is as egregious as it is,

 because all of the perpeh·ators and almost-all of the specta ting audience are of the dominant-majority (non-immigrant)

 White/Caucasian/American color/race/nationality, whereas the plaintiff is of an extremely small (and historically oppressed) racial-minority and

 political-minority (in fact, a minority-of-one) - democratic-socialist, immigrant-of-color/indigenous-person with ve1y-dark-brown-skin-color,

 long/uncut hair/beard, Middle-Eastern/Indian accent, etc. [RSR] also further reveals that she has been engaging in such backstabbing and

 character-assassination ( @ ) against the plaintiff for "7 years" - not only through her use of racist propaganda to engender more raciaVanti-

 immigrant/xenophobic/lslamophobic animus against the plaintiff amongst the neighborhood's other White-American residents, but also by

 repeatedly and routinely demanding that the [HOA] take further predat01y-enforcement-actions (in particular, legal action) against the plaintiff.

 A'i the record shows, [CB] also "thanked" [RSR]'s backstabbing/character-assassination post against the plaintiff - indicating that even though

 he had only resided within the subdivision for approximately 4 months at this point in time, he was already draw-into/recruited-into the

 conspiracy to violate the plaintiff rights along with [RSR],[JSP&KAP],[DMP],[WCLE] and the [f-HOA-BoD]s[SPOA-P-BC],[SPOA-VP-

 AH].

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91374
In another social-media-posting, several residents discuss their varying opinions (respectively) on what-to-do with grass clippings:® blow the

mowed grass-clippings onto the road, @ bag them using the bag-attachment to the lawnmower, © sweep them back up (presumably to tlu-ow

them away in the garbage bin), @ sweep them into the storm drains. Many of the residents argue as to which of the above are vio lations of the

restrictive covenants. One of the residents makes a comparison of the grass-clippings to the litter/debris caused by fireworks - stating that most

homeowners that illegally light fireworks, fail to pick-up their "mess" (the toxic debris/chemicals from the fireworks which lands on public

property and on others' private-property). Other residents express their opinion that Saint-Augustine-grass, a non-standard (non-default) grass

that has been installed by many homeowners within the subdivision (including [JSP&KAP]), is not allowed by the restrictive covenants (which

is actually true if those homeowners did not obtain prior approval before performing that grass-replacement.) At least two of the more

rational/logical/scientific-minded (or at least, the more practical/reasonable-minded) residents point out how insignificant this issue is, with one
                                                                                  PAGE      334      OF        956
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of the residents stating how luck the rest are to be discussing such an insignificant issue, when they have much bigger problems to deal with.

The original-poster of this message alleges that he was called "White trash" by another complaining party for his blowing of such grass-

clippings onto the road. One resident uses the social-media hashtag "#firstworldproblems", indicating that this type of discussion can only be

had by extremely-privileged White-American people who don't even seem to realize the extreme privilege that they have in taking these

insignificant and purely-cosmetic issues so seriously. But perhaps more importantly, [RSR] fraud ulently-claims that it is not "respec(ful to the

community" to leave the grass-clippings uncollected. Clearly, according to [RSR], it is completely acceptable and "respec(ful to the

COll11111111ity":

® to light-fireworks;
@ to allow one's dog to roam freely unleashed;
© to allow one's dog to bark loudly and uncontrollably;
@ to allow one's cat(s) to enter into others' backyards;

® to block the public-sidewalk using one's vehicle;
® to park a boat on the public-road within the subdivision;
@ to park one-or-more vehicle(s) on the public-road overnight; etc.
- all in clear violation of the resh·ictive-covenants - but it is neither acceptable nor "respectjitf to the community" to leave grass-clippings

uncollected. Once again, the sheer racist hypocrisy of [RSR]'s (and her co-conspirators') conduct is clearly revealed in a large number of social-

media-postings (this social-media-posting and numerous other social-media-postings). All of these residents (including [RSR]) seem to be

completely unaware of the {2013} Texas law (modifications to the [TPrC]) that allowed homeowners to leave their grass-clippings on the grass

as au in-place ''.wlid-waste composting" measure. Most importantly, all of these residents seem to be completely-unaware of the "elephant in

the room" - the root problem that is causing this unnecessary discussion to be had in the first-place: the wastefu~ destructive, ethnocenh·ic and

culturally-insensitive/religiously-insensitive practice of lawn-mowing - and in general, t11e cutting of any-and-all vegetation purely for alleged

 aesthetic/cosmetic reasons. A common theme that is expressed in this lawsuit is that: While some homeowners seem to allege violations of

 certain restrictive covenants, many (if not most) of such homeowners have not actually read the Declaration-of-Covenants-Conditions-and-

 Resh·ictions ("[DCCR]s"), and almost all of the homeowners are completely ignorant of the constantly-changing Texas law ([TPrC]) that

 regulates [HOA]s - w hich plays a crucial role in determining what their fundamental rights as homeowners are - regardless of what some of the

 very-obsolete restrictive-covenants listed in the [DCCR]s state. When many, if not most, of the residents (including [HOA] Board-Members)

 within a subdivision do not know what their rights as homeowners are, then this lack of knowledge is fertile ground for rampant violation of

 rights - with the victims of such rights-violations unjustly including those who do know what their rights are (such as the plaintiff). T he plaintiff

 asserts that this 'Jertile ground.for rampant violation of rights " is significantly amplified when lay-persons (with little-to-no legal background

 or training) - and without understanding even basic civil-rights-law - fill the powerful positions of Board-Members on [HOA]-Boards. The

 plaintiff asserts that this 'Jertile ground.for rampant violation of rights" is significantly amplified when any persons who are, by their very

 nature, abusive and/or dictatorial, fill these positions of power.
        •oo you -     your grua?" ,    Next.door s.-rlyn 1.Aandar•         [RSRJ , at al .,         (2016-0~19) ,
   •   httpe ://inmnarlynlundar. naxtdoor. 00111/..,._ fad/~bo,32143256
                                                              Beau Jone:;, Summer1)'fl Leanoer

                                                         Doy ou sweep your grass?
                                                         When I ma« rnylawn, I blow the grass cllpplngs out 1010 the street, as Ive always
                                                         done. and when cars go up/Clown the slreet the gras, ooes '4-N~ln aoout a day If
                                                         the grass c.llpplng, a,e eifcesslive Ill sweep them up C(heiwlse they are blui'tn
                                                         a10unrJ bylhe traffic and gone pretty quick

                                                         1\1? nf!\oer had a pJObtem. at arryhorne I\~ owned until a nelghbor drtl've. l)Y ant1
                                                         demanded I sweep rnycJarnn grass art the street HI had been asred politely I
                                                         wouldnt ha-.-t? had a p1otJlern Cforno It I would\e swepl It and all been goou

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                SIDDHARTH               KOOi::
                                                            "·


                As he seen amuno the nelghborllood, qulle 3 few people do as I do. Hell,
                professional 1andscap1ng companies arent out Ulere ,weeping grass TheyblD"N
                It out on the roa(J But maybe Im wrong

                Ooyall sweep orblD'H u,e grass?
                18   s~ S•JTIW11(n LE~ n OfftK.il
                C) Thank O Reply

                 ~ R{,ln Ra;le. Surnrnen\'n Lean~er           18 Sep
                       I personally think that II l$nt that Olg of a deal but men again"" p,ettysure
                       there Is a code or section orl)\iaw that outlines grass clippings MJmcrNe1
                       has a bag attachment so I need not womt about thaL
                       ( ) Thank

                l5I Brian C--rantnam. summer1)1) Leande1 18 Sep
                       lie personat1y1 say sweep 11 up I hale seeing grass blO'Nn all overihe road
                       especl allylf 1\.1? Just had my car washed and Ulen g,ass gets Ucl~ct up and
                       stfc>G to II I dont thlnV.il's that big or an Issue to get out and tonfront
                       someone m-er. but I WOHid definilely oe s3)'1ng some stuff under my oreatt1
                       ( ·) Thank            I Tii~l-

                0 Toni Pennann, Summen~n Leander 18 Sep
                       LC.t.. WON ... Monestly, ll 1n1tates me to ,ee It But to each his own I would
                       ne\.E!re\en bother to say arl)thlng to arT)one. I uyro ma~:e my husband either
                       get It all with lhe bla11er0fwash It dO'NO

                           ·) Thank

                        Beau Jone1. Summer11n Leander 18 Sep
                        I uMersland the grass gettmg on myc:1ean car deal Whelher or not the
                        111.el)tiood of thal l s In rnyfa\-or. 1 atso understand It lookS better once the
                        grass Is gone. but it'S Oe\erlhere more Ulen 24 hours or so l\'e ne-.~r had an
                        issue with It IJewr even thought of It being an Issue. Im a reasonable
                        person, If Ille whole neighborhood got on here anti sald 11\eyall sweep their
                        grass and Us hideous blCINn out on the street...ld sweep !ti



                        Again, If the rnaJ0111y says lheysweep their gra,s ...or If \QU II"' on
                        Chlc'2cfee and \1>U say1t bOlllet'S )'Oll lOO Ill sweep the grass. uo big deal al
                        all, I ne\-erthought ot It being an Issue
                        (-· Thank            I Tt. •

                 fl Deonna Spenrnr. summe11.,n Leander 18 Sep
                        I have no problem with n In U1e street At least ')'OU mow yourya!tl and unless
                        ,t harms me or my house why would I care But a lot or people ha\,e an
                        opinion about a lot or Ullngs I lla\1! noticed. But I sayU1an~ format11lng ')Our
                        yam and 11:eplng')our street looung better man If \OU did not naN It
                        ( ) Thank            IOTr_,

                        Erln DeBa1b1E'!r1. summeil)n Leander 18 Sep
                        We blow the grass tao LI•l? \OU said, hired profess1onats tend lo l:ilow the
                        grass as well . Also .. It~ Just grass. Your car gelling dl1tyfrom grass Is the
                        s1111est tnlng . You tant driw more tnan 5 seconds without a blg bug
                        sptattel\ng across the front Of)Ourcar...

                        ( ) Thank 2TI• "'

                 f) Toni Permann, summe11~11 Leander 18 sep
                        lt's arna2ing to me that someone asls for 01>inlons. and !hen Instantly the
                        rude comments come out. II alway3 amazes rnc more U1at 11 tsnt ~n the
                        person who actually had me ! ltuation happen 10 lhem who Is being so rude
                        ll's not "petty" to ·prerer- !>omethlng m-ersomelhtng else. It was •petty what
                        happened to him
                         ':' Thank            )Th •

                        Fa)~ .Johnson. Surnmer1)n LeaMer 18 Sep
                         1personallylhlnl1It should be swept up 1 hat Is 1ny opinion and preference
                        t;) Thank I n ....
                 2!, ~nm1a v, Pa,J..: Lane 18 Sep
                        Yeah.sometimes I see grass on the street when people mow but It ls gone
                        In a couple or days Gotta I0\1! nature haha!
                        But if mynelghbor101c1me 10 cl ean up I would just do II. 0-astcB,et Ma1ter
                        haw he does It because he runs a muNerwilhout a bag ancl somehow we
                        ne\e rho"o~ grass on ours11eet He m'if'(btow It bacltln!o ourgra,s. lii.l~e
                        mat ts why our grass IS so green)"
                         (_) Thank

                 '-i Angie DrE'Nen, Summer1)n Lfande1 18 Sep
                         You can't buy class Tnal "man• should be asnamed of his beha,rnr.
                                                                    1ltn sonythat happened ta \UU
                         Beau.
                         \..:   Thank         7 Tti·d:s

                         Be'1u Jones, Summerlyn Le;,nder 18 Sep
                         1 apprec1a1e yalls responses. Seems to be a prettynonna1 occurrence
                         de~plte personal preferences

                         Craziest ltllng ls. he doesnt 11\.-e near me I woulct understand If 11e 11'.ed ne>.t
                         door and Ile ten It made his hOuse look bad. He 11\~s on lhe c.omptete
                         opposite side
                         '.....:,·1 1 hank    ~   n~.-, ;
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                                             U Fannie C lie.,.,gley. Surnmer1\fl Leander 19 Sep
                                                 I ha\'e not paid attention to what ourseMce dies but the road Is clean.

                                                                   anerlhan lhlnllng that clipping, being on tile cufb rorday, Is
                                                  unslgnuy, 1would ne-.,ercall an;boctynames CMU lt Wish he had been
                                                  calmer about ta11ing lo \UU. Sony.

                                                  (-l Thank n, ...
                                                    O;htd HeIoe,1, Summe11)n Leander 19 Sep
                                                    Actually . I hate to be u,e bubbl e buster on t,!Jndaymomlng



                                                    (;) Thank        I Th~·

                                                                                                                 19 Sep



                                                    Q Thank 11t\YJ.




                                                    0 Thank sn,.-,,
                                               II\ M.;1ttie~ t. VitlDr\3 cnambe1-s, Summert:,n Leander 19 Sep
                                                    LOI
                                                            Thank




                                                                                                 19Sep



                                                             Thank STMrU

                                              ~ Angfe Ore-Nen, Summerty11 Leander 19 Sep                                                  V




                                              ,ll         ., Thank     !> ThTks

                                                     S\Ma Ternullo, Summe~1n u,ander 19 Sep
                                                     sweep 8 bag

                                                     (       Thank




                                                     0       Thank     1Ttttr.l

                                                I Hannah r,\.1griuson. Sumrriert';f' Le:inder 19 Sep                                          v
                                                     we sweep ours but the,~ Is defmllely no need ror that l).-pe of beha\\or
                                                     sweeping gr.ws Is ann(J\◄ng ror sure though I

                                                         ._ > Thank 1 Tt-,;,-1
                                               B Tray Cu~hlng, Summert\n Leander 19 Sep
                                                     I Scweep and bag, or I shoul(1 say rny Uds <10 it Sorneumes It's just too hOI
                                                     outside and I wait unt111a1erand Ulen forget- sorry

                                                         But 1r It IS reallywincty out, I clont bomer, lt'S Just a waste or mylirne
                                                     C) Than•• 2Tt,.rB


                                                N1'Jftft'll I




1375
On or about the date of {2016-10-10} - the date on which the plaintiff, an indigenous person, celebrates ''indigenous Peoples' Day" - [RSR]

creates a social-media posting titled, in all capital-letters for emphasis and intin1idation, ''BOARD MEETING" (see below) demanding that the

[f-HOA-BoD]s hold a [HOA] Board Meeting in-order-to vote-for and plan legal action against the plaintiff for the plaintiff's refusal to mow the

plaintiff's grass (in-line-with the plaintiffs religious/cultural/racial views and in favor of true drought-resistant-landscaping), despite knowing

fu lly-well that the plaintiff is in contractual-dispute with the [HOA] regarding this obsolete requirement from the obsolete/outdated restrictive-
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covenants (see above and below). This posting and all the following responses to this posting were made in public - thus visible to all residents

of the overwhelming majority-White neighborhood - and was clearly part of [RSR]'s (and her co-conspirators') malicious, decade-long

conspiracy and scheme to defraud the plaintiff by using racist propaganda against the plaintiff to engender more racial-animus against the

plaintiff in the White neighborhood's other residents. Shockingly, the then [f-HOA-BoD]s[SPOA-P-BC],[SPOA-VP-AH], acting as pawns of

the mafia-godfather-like neighborhood-boss, {RSR), order a force-mow on the plaintiff's property, the very next day (see below) - illush·ating

just how oppressive the situation is for an immigrant-of-color/indigenous-person such as the plaintiff who dares to question the firm

establishment of White-supremacy even within the confines of such person-of-color's own private-property. This upcoming sequence of

incidents documenting abuse against the plaintiff - although not as egregious as the incidents documenting abuse against the plaintiff during the

month of {2011-08} - further illustrates the enormous, mafia-godfather-like power that [RSR] wielded over the plaintiff, thanks to the

unfavorable (to the plaintiff) racial-demographics of the neighborhood and the unfavorable (to the plaintiff) racial-demographics of County of

Williamson: This situation of racist-lawlessness in this neighborhood has been as if [RSR] had the collective power of the ove1whelmingly

White-American racial majority of the neighborhood in the palm of her hands, and [RSR], shades of modern-day-Jim-Crow, intended to abuse

that enormous, unjust and ill-gotten power to racially-oppress the plaintiff at every opportunity that she could.



Sl:376
As already referenced above, on or about the dates of {2016-10-10}, {2016-10-11} - [RSR] posted the following responses to her initial,

intimidating and threatening social-media posting titled     "BOARD MEETING" on the same social-media-platform, demanding that the [HOA]

take legal-action against the plaintiff for the plaintiff's refusal to mow the plaintiff's grass (in-line-with the plaintiff's religious/cultural views and

in-favor-of true drought-resistant-landscaping), again, because both [RSR],[JSP&KAP] never did want to engage in any of the

risky/burdensome/unpleasant/expensive work of litigation themselves - especially given that the plaintiff had already substantially documented

(at that moment in time) more than 7 years of their extreme-racial-animus and homophobic-animus towards the plaintiff - and instead, as the

top-level-leadership of the racketeering-enterprise against the plaintiff, [RSR],[JSP&KAP] have always demanded that this

risky/burdensome/unpleasant/expensive work of litigation to be out-sourced to their favorite predatmy and authoritarian institutions - in

particular, the (HOA] and [WCLE]. Altliough it does not impact the actual understanding of the documented crimes against the plaintiff, to the

best of the plaintiff's understanding, the initial postings by [RSR] (on the day of {2016- 10-10}) take place shortly before the [HOA]'s

attempted, but unsuccessful, force-mow of the plaintiffs [FRONTYARD] on the following date of {20 16- 10- 11 }, while at least some of the

latter, more-abusive postings by [RSR] and her co-conspirators taking place on the following date of {2016-10-11} - may have been posted

after the [HOA]'s attempted, but unsuccessful, force-mow of the plaintiffs [FRONTY ARD). Also, [DMP] - a close associate of [RSR],

[JSP&KAP] - "thanked" [RSR]'s fuial posting showing that this illegal conspiracy against the plaintiff also included - at that moment in time,

[DMP]. As the record will show, [DMP] would soon nm for Board-Member of the [HOA] in the fo llowing year {2017}, win the so-called

"election" (>s ) and use his substantial powers as a [HOA] Board-Member solely to continue predato1y enforcement actions against the plaintiff,

on behalf of plaintiff's predatmy neighbors [RSR],[JSP&KAP]. [DMP]'s role as direct agent and/or proxy of [RSR],[JSP&KAP] is crucial in

this racketeering-enterprise, because again, for this racketeering-enterprise to be able to successfully abuse the legal system against the plaintiff,

it was absolutely crucial that the [HOA] (especially under [f-HOA-BoD]s[SPOA-P-BC],(SPOA-VP-AH]) and [WCLE) both fully-insulate both

[RSR] and [JSP&KAP] from the actual legal proceedings, because if[RSR] and/or [JSP&KAP] could be drawn into the legal proceedings

against the plaintiff at any point in time (which did happen in the events of {2020}/{202 1} - see below), the entire conspiracy and

racketeering-enterprise against the plaintiff would be exposed, with significant legal-consequences for all of those involved in such racketeering-
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enterprise. Neither [RSR] nor (JSP&KAPJ could ever realistically expect to win an election for (SPOAJ Board-Member (although (RSRJ did

try in {2019} - see below), for one crucial reason: because such action would clearly be too much of a huge-liability for the (HOA]; so, again,

both (RSR],(JSP&KAPJ demanded that other institutions-of-power (with the war-chest of virtually unlimited fmancial resources) - the [HOA]

and [WCLE] - to do this risky/burdensome/unpleasant/expensive work of litib>ation against the plaintiff for them. It should be noted that [f-

HOA-BoD][SPOA-VP-AH] states "I'm sony that other homemvners aren't always good neighbors", parroting the same fraudulent, racist-

narrative that the plaintiff was not a "good neighbor'', and accepting the fraudulent-na1Tative that [RSR], who had already committed several
hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff at that moment in time, apparently is a "good neighbor". [RSR]
ahnost-immediately begins her vitriolic and venomous statements against the plaintiff that she is furious with the then [HOA]'s lack of

predat01y enforcement actions against the plaintiff - even blackmailing the then (HOA] with the threat - "I do hold the Board responsible" - for

what she alleged to be the then [HOA]'s lack of predatory enforcement actions against the plaintiff. By making such statement of blackmail,

[RSR] was very directly threatening the then [HOA] - that if the [HOA] did not "bring down the hammer" on the plaintiff by initiating legal

action against the plaintiff - that [RSR] and her co-conspirators (including racketeer co-defendants [JSP&KAP], and including their

crony/proxy (DMP]) would be suing the (HOA] for the (HOA]'s lack of predatory enforcement against the plaintiff. As the plaintiff would later

fmd out in a later year - {2019} (see below) - (RSR] even admits to blackmailing the (HOA] in such manner for a total of "9 years" (in that

later year), in-order-to coerce the (HOA] into engaging in further prcdatmy enforcement actions (including legal actions) against the plaintiff.

[RSR] outrageously describes herself as a "powerless member qf this neighborhood" - when all of the plaintiffs highly incriminating evidence
against [RSR] - especially in the years following this incident - shows that [RSR] played the role of the kingpin/mafia-godfather in the

obstructive-and-retaliatory, blackmailing-and-defrauding racketeering-enterprise against the plaintiff - ultimately focused on defrauding the

plaintiff out of both money and private-property-ownership. (It is not uncommon for con-artists and fraudsters to play "victim" in-order-to to
further-advance their fraud and conspiracy towards their real, actual victims.) Also, it should be noted that [RSR] repeatedly resorts to the

overtly racist dog-whistle that the neighborhood's White-American residents, and in particular, the neighborhood's White-American children are
somehow being harmed by the plaintiff without providing any proof of any harm - thus, manipulatively using this overtly racist dog-whistle as

justification for the [HOA] to take legal-action against the plaintiff. [RSR] continues to make the fraudulent claim about "rat infestation" on the

plaintiffs property- a fraudulent, proofless claim that has even been fraudulently parroted by the (HOA] and [WCLE] since as early as {2013}

- when she (and all of these other parties) knew fully-well there was never any rat on the plaintiffs propetiy at any point in tin1e. (RSR]

continues to make the outrageously fraudulent claim that the plaintiff buries ''garbage" in the [BACKYARD] - another outrageously fraudulent

claim that has even been fraudulently patTOted by the [HOA] and [WCLE] since {2013} - when she, the [HOA] and [WCLE] knew fully-well

that it is physically and logistically impossible to sustainably buty ''garbage" in one's (extremely-space-limited) backyard. Additionally, as
                                    11
documented in the section below, garbage" is a legally defined term in Texas law that consists of a mixture of both decayable waste (such as
moist food-waste) and non-decayable waste ("rubbish'1; thus, "garbage" is completely different from "rubbish", which is exclusively
composed of non~decayable waste (waste plastics, waste metals, waste glass, waste ceramics, etc), and since the plaintiff lives a zero-waste
lifestyle, the plaintiff has always maintained that any-and-all material(s) located in the [BACKYARD] was never of any waste. So, by

fraudulently using the te1m ''garbage", [RSR] is deliberately and maliciously making a fraudulent statement, fraudulently painting the plaintiffs

private [BACKYARD] as unsanitaiy when it never was, and fraudulently mislabeling item(s) stored in the plaintiffs private [BACKYARD] -

which is not even in the least bit visible from the street (thus, in total violation of the plaintiff's right to privacy). [RSR] had ah'eady claimed in

the in-person harassment/stalking incident (see below) that the plaintiffs uncut grass/bushes were "UNKEMPT" and "UNSIGHTLY" which,
even if true, by definition, arc harmless conditions; yet, now [RSR] fraudulently changes the narrative to pretend as if the plaintiff is causing

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harm to others by such alleged harmless "unsightly" conditions. [RSR) makes another brazenly fraudulent claim, complaining that there are

chicken on the plaintiffs property - when she knew that there were no chicken on the plaintiffs (Summerlyn] property at that mome nt in

time, and furthermore, that there were no chicken on the plaintiffs [Summerlyn]               property for over a year at this particular moment in time.

Even at that moment in time, there were multiple social-media postings (with pictures) revealing that multiple residents of the subdivision

owned chicken in their backyards. For example, in another "nextdoor.com" social-media posting from a previous year, another White-American

property-owner of the [Summerlyn] subdivision reveals that he has discovered a chicken roaming freely in a publicly visible area of the

subdivision and this property-owner makes a friendly and humorous inqu iry as to who owned the chicken - without any indication nor intention

to report it as a violation. In at least one other social-media posting regarding chicken, [RSR] responds in a friendly manner that she would love

to have egg-laying chicken. In at least 2 other social-media postings from a later moment-in-time dated {2017- 11 - 18}, a resident advertises in

the posts' title that he discovers some o ther resident's chicken in his backyard, and one of the other residents infonn s him that it might be one

of at least two chicken of a particular resident (not the plaintiff) within the subdivision - the one whose chicken keep getting loose o nto others'

yards; not surprisingly, [RSR] remains noticeably silent in these postings - as those where White-American (and/or non-immigrant) property-

owners. Again, the racist hypocrisy of [RSR]'s actions cannot be understated : In other words, it is totally acceptable for other White-American

property-owners including [RSR] to own chicken on their [Summerlyn]              property but, clearly, not the plaintiff - and the plaintiff did not even

own any chicken on the plaintiffs [Summerlyn] property for a long time when [RSR] made this fraudulent claim in this {20 16-10-1 O}

social-media posting. [RSR) also fraudulently refers to a "tortoise" as a "dangerous situation" on the plaintiffs property when she knows that

owning (harmless) tortoise(s) is not a violation of the restTictive-covenants, and many homeowners residing within [HOA] subdivisions in the

Central-Texas area own tortoises at their residential properties ( ) . [RSR] continues to make outrageously racist and fraudulent claims about

the plaintiff and the plaintiff's brother [PK] - claiming that the plaintiff sent the plaintiff's brother [PK] to "threaten" her "13 y.o. son" - as the

aforementioned incidents from {2009} tluough {2011} ah-eady clearly documents as pure, massive, racist fraud - deliberately failing to reveal

to her overwhelmingly White-American audience all of the other incidents of racially-motivated hate-crimes/racketeering-acts/civil-rights-

violations/abuses against the plaintiff that led up to that uncivilized, barbaric and extremely-traumatizing incident for the plaintiff, including that:



® she had repeatedly and maliciously harassed/stalked, intimidated/interfered-with, blackmailed and even loudly threatened, at the plaintiffs
[FRONT DOOR], to get the [HOA) to kick the plaintiff out of the plaintiff's [HOUSE] during the initial years of {2009} and {20 I O} .



@ her then co-conspirator [JJB] (and initial next-door-neighbor of the plaintiff that [RSR] fraudulently refers to as "victim" of the plaintiff) bad

committed numerous malicious (including retaliatory) crimes of criminal-mischief and illegal-dumping against the plaintiff.



© she further committed the retaliatory (thus felonious) crime of false-report aga inst the plaintiff by fraudulently reporting to [WCLE], and
one of its most abusive police-officers (with racial-animus), [WCSD-PP], that the plaintiff had trespassed onto her property and threatened her

son.



@ she further committed the retaliatory (thus felonious) crime of false-report against the plaintiff by fraudulently reporting to [WC LE] that the

plaintiffs brother [P K] lived-at and/or co-owned the plaintiffs property [788 KLLTX7864 l] - when [PK] was never an owner of the plaintiff's

property [788KLLTX78641], and when [PK] did not even spend more than a total of I hour at the plaintiffs property in more than 29 months

of the plaintiffs ownership of [788KLLTX78641] (at that particular moment in time).


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In fraudulently stating that the plaintiff has unmowed grass and uncut bushes in direct defiance of the restrictive-covenant(s) of the subdivision,
[RSR] (and her co-conspirators) are maliciously creating a fraudulent narrative to all of the residents of the ove1whehningly-White-American

subdivision that the plaintiff is willfully and maliciously defying the restrictive-covenants of the subdivision, when in fact, [RSR] (and her co-

conspirators) know fully-well that, unlike over 99% of the other residents, the plaintiff, due to the plaintifrs racial-profile, has always been

strongly morally/religiously/culturally opposed to the artificial-cutting of any-and-all vegetation, and [RS.R1 (and her co-conspirators) know

fully-well that the new Texas law (concerning drought-resistant-landscaping) taking effect on-or-about the month of {2013-09} overriding the

[SPOA] contract that was written/amended during the years ( {2004}/ {2005}/{2006} ), prohibited [HOA]s from any

practices/requirements/restrictions that requires the watering of landscapes - and thus, as a result of these new developments, at the very least,

that the plaintiff was merely in a contractual-dispute with the [HOA], and that every homeowner - not just White-American homeowners - are

allowed to legitimately dL,pute one-or-more aspect(s) about such obsolete/outdated contract. [RSR] fraudulently accuses the plaintiff of

willfully violating one-or-more restrictivc-covenant(s), while at no place in this social-media posting or any of her other social-media postings

does [RSR] admit to the rest of the overwhelmingly-White-American neighborhood that [RSR] Ls repeatedly, willfully, defiantly and arrogantly

violating multiple restrictive-covenant(s) by:



® allowing her large dog to roam freely unleashed onto both public property onto the street, and at least on some occasions, into the plaintiffs
[YARD] which is across the street from her; AND



@ allowing her large dog to bark loudly-and-uncontrollably (causing a noise-nuisance) ; AND


© allowing her cat(s) to roam freely onto the plaintiffs [DRIVEWAY],[YARD] (including, at least on some occasions, the plaintiffs private
[BACKYARD]); AND



@ ligl1ting fireworks with her co-conspirators [JSP&KAP] ; AND


 ® leaving her unsightly and/or smelling garbage-can in a clearly-visible manner from the street several days after garbage-collection-day (often,
 for long periods of time on her publicly-visible driveway).



 Additionally, [RSR] fraudulently fails to disclose to her overwhehningly-White-American audience that her co-conspirators [JSP&KAP]

 repeatedly - or at least occasionally - willfully, defiantly and arrogantly violating additional restrictive-covenants by:



 ® parking more than 2 vehicles visible from the street for over 72 hours ; AND


 @ parking vchicle(s) to block the sidewalk; AND


 iJ3) parking vehiclc(s) on the street curb overnight; AND


 CD parking boat(s) visible from the sh·eet ; AND

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® she fiuthcr committed the retaliatmy (thus felonious) crime of terroristic-threat against the plaintiff when she threatened [WCLE] that she
would burglarize the plaintiffs [HOUSE] in-order-to commit felonious assault on the plaintiff, if [WCLE] did not fraudulently arrest, or at the

very least, fraudulently issue a [CTW] to the plaintiff.



(!') she further committed the retaliatory (thus felonious) crime of fraud against the plaintiff when she demanded [WCLE] to coerce (using

racial-intimidation) the plaintiff to sign a [CTW] against her property, based upon her fraudulent allcgation(s) against the plaintiff.



@she further committed the retaliat01y (thus felonious) crime of disorderly-conduct against the plaintiff when she publicly, loudly, maliciously

and abusively called the plaintiff, [PK]1s "wacky wife" - once again, demonstrating her far-right-wing-extremist conduct.


(8) her co-conspirator [JSP], one of the plaintiffs next-door-neigl1born that she fraudulently refers to as "victim" of the plaintiff, had also
witness-intimidated-with, and committed-fraud-against the plaintiff h1 that same single h1cident of {2011-08-30}.



CD her co-conspirator [JSP], one of the plaintiffs next-door-neighborn that she fraudulently refers to as "victim" of the plaintiff, had also
maliciously and/or repeatedly harassed/stalked, intimidated/interfered-with, assaulted, blackmailed and committed his own crhnhml act(s) of

disorderly-conduct agah1st the plah1tiff.



Q) that her co-conspirator [WCSD-PP] had committed the retaliat01y (thus felonious) crimes of Official-Oppression, Abuse-Of-Official-
Capacity, Misuse-Of-Official-Information, Intimidation/Interference, Fraud, Disorderly-Conduct, Harassment and Discrimination against the
plaintiff during the month of {2011-08).



® [WCLE] was not only fully-aware of all of these crimes committed ag•inst the plah1tiff, but actually encouraged and enabled such crin1es as
part of the obstructive-and-retaliatmy, blackmailing-and-defrauding racketeering-enterprise documented in this lawsuit.


(0 her then "13 y.o. son 11 - even at that age - was significantly larger in physical-size/weight than the plaintiff (even at that earlier moment in
time) - in other words, that the plaintiff was '~crawny" at a mere 90 pounds compared even to her then "13 y.o. son".


~ she was/is more than twice the physical-size/weigl1t of the plaintiff(at ahnost every point in tune documented in this lawsuit).



(fl) her co-conspirator [JSP] was/is more than twice the physical-size/weigl1t of the plah1tiff (at ahnost eve1y poh1t in tune documented in this
lawsuit).



@ her original co-conspirator [JJB] was also significantly larger in physical-size/weigl1t than the plaintiff.


® her co-conspiratorn at [WCLE] were/are, likewise, significantly larger in physical-size/weigl1t than the plaintiff.
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Q) leaving their fence bordering the plaintiffs property [788KLLTX7864 l] leaning'dangling'unfixed, in total disrepair, for over 7 years ; AND


® making unapproved changes to their frontyard by replacing their grass and by planting an additional tree ; AND


(bl having unapproved swimming-pool, volleyball-poles/nets, etc., in the backyard; AND



tQ} 1utming loud yard equipment late at night (in violation of the restrictive-covenant concerning noise-nuisance/obnoxious-activity) ; AND


® mnning artificially-loudened pickup trucks even during the middle of the night (in violation of the restrictive-covenant concerning noise-
nuisance/obnoxious-activity) ; AND


@ lighting large bonfll'es in their backyard, while using a large fan to maliciously blow the toxic fumes from that fire into the plaintiffs property

(which is clearly a crime) ; AND



® speeding their vehicles on the street.


(The list of unpunished, routine/persistent violations above committed by [RSR] and/or [JSP&KAP] also does not include the list of

unpunished, routine/persistent violations committed by other White-American residents of the neighborhood, which the defendants deliberately
turned-a-blind-eye to, by virtue of those other violators' racial-profiles versus the plaintiffs racial-profile.) Additionally, if it is true that certain

types of unpunished violations (for example, the lighting-of-fu·eworks, and the parking-related-violations) arc overwhelmingly-committed (or at

least more-likely-to-be-committed) by non-immigrant White-American people, and certain other types of punished alleged violations (for

example, an alleged unmowed lawn) are overwhehningly-committed (or at least, more-likely-to-be-committed) by immigrants-of-

color/indigenous-persons (for example, due to religious/cultural/racial opposition to such culturally-insensitive/religiously-insensitive

requirements), then there is ample case to be made for systemic discrimination based on race, color, religion and/or nationality due to the

deliberate, discriminatory, malicious and predatory enforcement and/or 11cheny-picking" of the enforcement of such restrictive-covenants.

[RSR] advertises in this post, and in other posts, that she is a registered nurse [RN] for at least 4 crucial reasons:



® because she rightfully believes that adding this information will add credibility to her massively-fraudulent and racist narrative against the
plaintiff, AND



® because people are less-likely to suspect that a nurse (than those of most other professions) will engage in any type of fraud, defamation,
witness-tampering or any other malicious/predatory activity, AND


© because she can then operate under a fraudulent sense of intellectual-superiority and higl1er-cducation-level over the plaintiff, AND


@ because people normally associate nurses with those with good-character - those that do good within society.

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In other words, [RSR] is manipulatively advertising her profession as a [RN] to convince her overwhelmingly White-American audience that

she is on the side of intelligent-people, educated-people and justice versus the plaintiff who is, apparently, on the side of the low-lQ, subhuman

animals and injustice - which as almost-all of the incidents documented in this lawsuit involving [RSR] reveal, is a purely racist fraud.

However, despite [RSR] flaunting her credentials as an [RN], as the record will show, [RSR]'s far-right-wing-cxt1·emist behaviors/actions

(demonstrated at numerous points in this lawsuit) are, at the very least, strongly at odds with the political views of the largest union of [RN]s in

the United States - the [NNU] - a union that publicly identifies as democratic-socialist (see below). As the record in this lawsuit documents,

although [RSR] makes many racist, fraudulent statements against the plaintiff in this posting, the plaintiff considers the statement "T, ying to

talk reason" to be the most racist, fraudulent, insulting and infuriating - even more so than her use of ove1t racial-slurs and/or homophobic-

slurs against the plaintiff - especially, given the plaintiffs education-profile and given the fact that the plaintiff is a scientist/engineer that is

trained, and perhaps even hard-wired, to think logically and scientifically. So, despite of announcing her own ''.rnperior" credentials as a [RN]

to a ll the residents, and despite engaging in pure-fraud, defamation and witness-tampering against both the plaintiff and, to a smaller degree, the

plaintiffs brother [PK], at no point in time, in not one of her many social-media postings does [RSR] reveal to the other residents of the

subdivision (who are overwhelmingly of the White/Caucasian/American color/race/nationality) that the plaintiff(and the plaintiffs brother

[PK]) are both educated - that both have-been awarded Computer-Sciences degrees from [UT-Austin], a top-ranked, so-called "Public Ivy"

research university that consistently ranks within the top- 15 in the national Computer-Sciences research university rankings. [RSR] fraudulently

refers to the plainti.f fs security-cameras "monitoring ... neighbors eve1J1 move ... ", when she knows perfectly well that it was actually her

malicious co-conspirator [WCLE], that had "advised" the plaintiff to install security-cameras in response to [RSR] (and her co-conspirator

 [JJB]) committing those initial hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff in those initial years of {2009}

through {2011} - security-cameras that are even a fully-protected homeowners' right under Texas law [TPrC-T l l -C202-§202.023(c)]. In yet-

another act of racist fraud, [RSR] refers to the plaintiff and/or various condition(s) on the plaintiffs property as a "dangerous situation",

fraudulently protesting that the [HOA] was meant to '~1rotecl" the White neighborhood from the plaintiff - the "scrawny" immigrant-of-

 color/indigenous-person weighing approximately 90 pounds (at that moment in time). Another cmcial aspect of the racist fraud that [RSR] is

 perpetrating against the plaintiff in her predatory targeting of the plaintiff is that [RSR] lived diagonally across the street from the plaintiff, with

 the two houses being approximately 120-feet-apart, meaning that [RSR] had absolutely no claim to any harm from any such alleged conditions

 (even if all true) on the plaintiffs property. Furthermore, the fraud in [RSR]'s statements is enormously enhanced by the facts that, not only

 did [RSR] not have any proofof any actual harm that the plaintiff had ever caused [RSR], but also, and to the contrary, the plaintiff had

 significant evidence of hann (in fact, felony hate-crimes/racketeering-acts/civil-rights-violations/abuses) that [RSR], along with her co-

 conspirators [JSP],[WCLE], committed against the plaintiff, but also that all of these fraudulent statements and crimes against the plaintiff

 were/are based upon [RSR]'s (and her co-conspirators') extreme-racial-animus and homophobic-animus against the plaintiff. Despite of the fact

 that the plaintiff, due to the plaintiffs minority-of-one racial-profile, is overwhehningly outnumbered in this subdivision - the situation would

 have at least showed some minute semblance of fairness if all of the residents were truly-informed about all of the iss.ues raised by this lawsuit,

 in other words, if all of the residents were not being fed, by [RSR], this massively-fraudulent, one-sided, racist narrative regarding the plaintiff.

 [RSR] knowingly engaging in fraud against the plaintiff is also demonstrated by the confidentiality notice that she adds to one of her publicly

 visible messages on a public forum visible to all of the residents (including the plaintiff) of the subdivision; in other words, [RSR] wants to

 conun unicate in secret within a public setting in a public forum and [RSR] clearly does not want her
 racist/fraudulent/defamatory/discriminatory/retaliatory/predatory ( @ ) statements made in public against the plaintiff to be used against her, as


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is being done in this lawsuit. Both [RSR]'s racist/fraudulent/defamato1y/discriminatory/retaliat01y/predatory statements against the plaintiff and

her confidentiaLity notice also demonstrate that [RSR] has little-to-no understanding of privacy law (such as the "third party doctrine'1, in

particular, and Little-to-no basic understanding of law, in general. [RSR] even references the {2012 }/{2013} Texas law that adds new

prohibitions/restrictions to what [HOA]s can do regarding homeowners' rights on several key environmental issues, but in referencing such law,

[RSR] demonstrates either a total lack-of-understanding of such law or that she is maliciously mis-interpreting such law or that she actually has

not even read such law to begin with. But despite of [RSR] demonstrating her lack of understanding of law, both the [HOA] (especially under

[f-HOA-BoD]s [SPOA-P-BC],[SPOA-VP-AH]) and [WCLE) showed great deference to [RSR], for more than a decade, and both of these

institutions-of-power treated [RSR) as if [RSR] was a superior person of superior intelligence, of superior legal-authority and of superior legal-

wisdom, while treating the plaintiff in the most abusive, oppressive, derogatory, disrespectful and institutionally-racist manner. It is indisputable,

that (RSR]'s racist, fraudulent messages against the plaintiff is ve1y-similar-to - in fact, almost identical to - the overtly-racist messages posted

by White-Supremacists/White-Nationalists in, for example, the [SBPDL] blog (see section below for examples). Every aspect of [RSR]'s (and

her co-conspirators') actions against the plaintiff from the early month of {2009-08} to this particular incident and subsequent incidents,

demonstrate not only her (and her co-conspirators') extreme manipulativeness against the plaintiff, but also that [RSR], acting as an extremely-

manipulative con-artist against the plaintiff, had mastered her skills/techniques of not only privately gasLighting the plaintiff, but also defrauding

the plaintiff over the course of over 10 years. [RSR]'s pubLicly-displayed extreme-racial-animus against the plaintiff as-well-as [RSR]'s (and her

co-conspirators') clear scheme to defraud the plaintiff is so highly controversial, incriminating and damaging, that both [f-HOA-BoD][SPOA-

VP-AH] and [f-HOA-BoD][MP] try to shut down the thread, stating that they cannot discuss private details of any homeowner on a public

forum, but as far as the plaintiff, who is the pure-victim of all of this fraud, is concerned, the irreparable and iJTeversible damage to the plaintiff

has already been done at this poiJ1t, and the total mass of ship representiJ1g such racketeeriJ1g-enterprise against the plaintiff is already in full-

motion and full-momentum agaiJ1st the plaintiff, further leading to the iJ1evitability of the plamtift's lawsuit agamst the defendants. Although the

plaiJ1tiff only became aware of these messages well-after these messages were written, as soon as the plamtiff read these messages, the plamtiff

was iJ1dignant and continues to be indignant that the plamtiff was publicly humiliated, defamed (@) and privacy-mvaded by this racist,

fraudulent narrative iJ1 this public-settiJ1g by [RSR], [f-HOA-BoD][SPOA-VP-AH] and soon-to-be [f-HOA-BoD][DMP] - with these actions of

[RSR) (and her co-conspirators) being one small, but significant, part of the defendants' conspiracy and scheme to defraud the plaintiff out of

the plamtiffs right to private-property-ownership withm one-or-more White neighborhood(s) - and thus defraud the plamtiff out of all of the

associated necessities, protections, facilities, benefits and profits of such private-property-ownership. [RSR]'s (and her co-conspirators') racist,

fraudulent narrative agamst the plamtiff documented in this and other social-media postiJ1gs wou ld also serve as a fraudulent justification for the

then [HOA]'s (run by abusive/oppressive, corrupt, dictatorial [f-HOA-BoD]s [SPOA-P-BC],[SPOA-VP-AH] and soon-to-be co-conspiJ·ator [f-

HOA-80D][DMP]) outrageously unjust lawsuit agamsl the plaiJ1tiff in the following year {2017} - see below (@) . Both during and after the

resolution and/or disposal of such outrageously unjust lawsuit (see below), the defendants would then fully exploit that even-more-powerless

(or at least even-more-vulnerable) position of the plaintiff to significantly step-up their pattern of racketeermg-activity against the plaintiff,

conducted as part of the iJ· decade-long, obstructive-and-retaliatory, blackmailmg-and-defraudiJ1g racketeermg-enterprise against the

plaiJ1tiff ( e) . As the next day's incident would reveal (see below), the then [HOA] (under predatory [f-HOA-BoD]s [SPOA-P-BC],[SPOA-

VP-AH]) - pressured/black.mailed by the predatory demands of [RSR] and the plaintiffs other prcdatmy neighbors ([JSP&KAP],[DMP]) -

order landscapiJ1g contractors to execute a force-mow of the vegetation on the plaintiffs properly, which the plaintiff promptly rushed outside

the [HOUSE] to deny and stop (see below). It is indisputable, that by posting this particular set of messages and responses - especially when

viewed in totality of a ll of [RSR]'s (and her co-conspirators') criminally-abusive actions agamst the plaintiff - [RSR] committed yet another

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count (of over a dozen counts) of the crimes of harassment/stalking against the plaintiff, and additionally, one-or-more count(s) of the

racketeering-act of wire-fraud against the plaintiff - with both of these crimes also being retaliatory crimes against the plaintiff - that is, such

crimes were committed in retaliation for the plaintift's "audacity " to report [RSR]'s prior racially-motivated hate-crimes against the plaintiff to

[WCLE] and/or the [HOA). When looking at all the plaintiffs evidence against the defendants in its totality, it is indisputable that, by posting

this social-media-posting, (RSR] engaged in intimidation/interference, w ire-fraud, witness-tampering and online harassment/stalking against the

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                     /SP'II aspcllO 1413313)()5>

                      m smessage (lnclud ng any atachments)I> lrlended e;clusivety la the
                     lndMdwl to wrom It ,s adctessed and rntr/ cortaln pmprtctary. prctected. or
                     cotlldenUal 111a mat1on U yw are net the named adctessee, you ;re not
                     31.lhortzed to read. prkit, ccpy, CJ" disseminate this messagi;! or any part rJ ,1 If
                     you have recetved this rne~age in error. please nctH'y-the seroer 1mmedlatet(.
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                     Ume llmll'S o, presen1auom lo contrd tile len(J.tl of the rneetmo
                           Thanl<   1 Tn· ,lt

                     AJ,ci.t Hynlln, SL1nmrrl7T1 Lfordl!r II O. t 16
                     I e~ourage any il'ld " ' hanea.ime,s with cmcems to contac1 Spectn.m and
                     vaceyour concern, Please c»nt reel like yru 1u11e to wait for a bocYa
                     meeting I wI11 aiso ad<J Iha oecause or p1wacy and legal r1gtu we canl at~ay•
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                     tired at n 1I.row ycu want answers ;rl(I resut,


                     \::_I Th3nk    3 Thitlk.

                d    Beefy Pc,~nsou, <:;u,r1merlyn Lf:'Y1~, 11 Ct.I I~
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these particular unidentified witness(s), and any other witness(s) that [RSR] is referring to in her numerous venomous rants against the plaintiff.

In her lengthy, venomous rant against the plaintiff, [RSR] - knowing that the plaintiff is video-recording her predatory-and-abusive actions

against the plaintiff - inserts numerous fraudulent statements about the plaintiff and/or the plaintiff's brother [PK] - which the plaintiff already

has recorded evidence to fully disprove (see incidents from the year {2011} above). For the first time (and also a second time in a subsequent

incident - see other incident below), [RSR] admits to blackmailing the plaintiff - using such property-maintenance-laws, of all things - at the

plaintiffs [FRONTDOOR] after banging on the plaintiff's [FRONTDOOR]. Specifically, [RSR] admits to repeatedly demanding the [HOA] to

kick the plaintiff out of the plaintiffs [HOUSE] - through the process of foreclosure - in her conspiracy and scheme to defraud the plaintiff out

of both money and private-property-ownership in what [RSR] has always considered to be "their" (exclusive-and-pure) White neighborhood.

[RSR] even reveals more incriminating information of her initial co-conspirator, [JIB] - and [JJB]'s racially-motivated and retaliatory (thus

felonious) hate-crimes against the plaintiff - about how [JJB] had bragged to [RSR] about such serious crimes committed against the plaintiff -

thanks, in large part, to the [WCLE]'s active participation in such corrupt-malicious-and-predatory obstructive-and-retaliatory, blackmailing-

and-defrauding racketeering-enterprise against the plaintiff.
 •       111!XX1U!D RACIST, Al!OSlVE, 'l'IIIW'll»ONG IWII' mat [II.SR] TO PIAINl'Il'F(~) (~)
  •      [ 1/RIVM'E naaMU'IOO CMITl'l!D/PEDIIClE) TO mam::T PRIVllCY J

  •      [   PRIVM.'B URL LINK TO BE SUBHITl'l!ll DI DISCXJI/ERX J




      I[ PLAINTiff IMMEDIATELY RUNS TO THE FORCE-MCY11ERS AND ORDERS THEM TO STOP THEIR ACTIONS IMXEDIATELY : j)

      I[ [HOA)-FORCE- M0'11ERS ARE Ll\BELED [HFM-B) (THE BOSS OF THE GROUP), [HFM-1] ,                                          [HFM-2] ,     [HFM-3] : j)

  PLAINTIFF                   Sir! Sir- Stop! Stop! Sir- Stop! Stop! Sir- Stop Sir! You ca11't do that! - tlwf's 11ot - tlwt'.v 11otfor me, Sir! I fold you guys - I was dealing with ill Sony - sir

                              - I can't co111pe11sate - this i.1· the II'(])' I had it!


      I[ THE FORCE-1-',0WERS, UPON HEARING THE PLAINTIFF ORDER THEM TO STOP THEIR ACTIONS, STOP THEIR ACTIONS . j)

      I[ [HFM-1] SHOWS PLAINTIFF A SHEET OF PAPER SHOWING A WORK-ORDER FROM [ HOA] TO FORCE-1-'.iC>';/ [FRONTYARD] : j)



      [ HliM- 1]               This is your house, 110?-


      ff PLAINTIFF SEES PRINTOUT /\ND AGREES THA'r 'l'HE PAPER DOCUMENTS THE PLAINTIFF ' S PROPERTY [788KLLTX78641] : j)


      PLAINTIFF                Yes - That's 1111e - Yes, thaf'.f t111e. I cau't...




      [HliM- 2]                (SPEAKS IN SPANISH TO OTHER CREW MEMBERS}


       ~ PLAINTIFF TRIES TO EXPLAIN TO THE FORCE-MO'rlERS THAT PLAINTIFF IS IN A CONTRACTUAL-DISPUTE l'IITH [HOA] : ~

       I[ PIJ,INTIFF TRIES TO EXPLAIN THAT FORCE-tti);-IERS CANNOT CONTINUE UNTIL/UNLESS DISPUTE IS LEGALLY RESOLVED : ~



      PLAINTIFF                I e.1plained to them. Right? Who - JJl/10'.1·yo11r? 11110 m-eJ'OII rep1-esenti11g? JJl/10 a1-eyo11 representing? Which company?




      [ HliM- 1]               The company - this one-


       ff [HE!-1-1] POINTS TO HIS TRUCK ' S LOGO DEPICTING HIS LANDSCAPING COMPJ\NY: j)


      PLAINTIFF                No, I 111ea11, /mt you'1•e been contracted by somebody else, right?


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                                                    f.") Thank     I Th'lnl<

                                              M Ma-, Petrick, Hlgntands a Cry!.t~ Fab 11 Ott 11;
                                                    I am clo:Jrg this ttre ad as. two bOard membershwe afu~e<ed yourqueshOn
                                                    abOvt tr.I# to ad<tess ttus. The bOan::t camot dscuss speclrtes abOUt a
                                                    particular resident with residents If youwoU(l llke to contam.e th1,
                                                    con.itDalJon. you a"e 'tll"elCorne to do so In the HOA Mauers group 10::ated here
                                                    - ftlp /l:.lffllmet1yneancterne-,td111:rcomfgroupJ/M75412/ oryourna-1 send a
                                                    pnvate rnes, age to tne boarll members I hat re sponcied 10 your lrqulry

                                                    Tll3nkyw
                                                         Tll3nl<   I Th:>1f

                                               u -,c Pet11ci, closed the dt~r us~!on m 11 Ocl 16




SI377
On or about the approximate date and time of {2016-10-11 12:00}, the plaintiff is asleep inside of the [HOUSE). The plaintiff is awakened by

loud noise(s) from gasoline-powered lawn equipment outside of the [HOUSE]. The plaintiff immediately looks into the plaintifrs security-

camera-system-monitors and immediately realizes that the noise is from the [HOA]-contracted force-mowers that are staiting to trim/edge the

[FRONTYARD] grass and/or cut the [FRONTYARD] bushes. The plaintiff immediately grabs the plaintiffs body-worn-camera, starts the

recording on such body-worn-camera and immediately rushes outside of [HOUSE] to stop th.is unauthorized and damaging activity. This was

actually the second time that the then [HOA) (under [f-HOA-BoDs][SPOA- P-BC],[SPOA-VP -AH]) had conh·acted these force-mowers to

force-mow the plaintiff's property, the previous incident taking place approximately 4 months earlier during a day in the month of {2016-07}.

Again, the plaintiff was compromising the plaintiff's ideals by - as the aforementioned environmental publications suggested - cutting/picking the

tallest so-called "weeds" in the frontyard without damaging the grass (since the default bermudagrass only grows to a maximum of 12-inches in

height in most areas) - approximately twice a month; so, the repeated allegations tbat the plaintiff was not spending any time/effort tending to

the (FRONTYARD] was simply fraudulent. In both incidents, the plaintiff rushed outside the [HOUSE) in-order-to refuse to allow the force-

mowers to force-mow the plaintiffs yard, and on both occasions, the plaintiff tried to explain to the these contractors that their actions are not

morally-con-ect, even if they were operating under the legal-cover and/or orders of the [HOA]. During this particular incident, however, [RSR]

actually accosts the plaintiff and abusive ly demands the plaintiff to let the force-mowers mow the grass on [FRONTYARD]. In her lengthy,

venomous rant against the plaintiff, [RSR] mentions one-or-more unidentified witness(s) that she has spoken-to about the plaintifrs private-

property. If this Cou1t grants the plaintiff the opportunity to litigate this case, the plaintiff would seek to identify, depose and/or cross-examine
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[HFM- 1 )            /Veil, I don't k110111. We're .mb-co11/Jr1cto1~·-




PLAINTIFF             l'eah, i knoll' - you're 1101 acting 011 behalf ofyourse/j; though. So111ebody is /,iring your company to do this... So, l 11w1t to knoll' 1r/10'.• doing that. Like, I
                     Just 1m11111J 111ake clear- I ca111101 be co111pe11satl11g ;vmfort/1/s - so, you'll have to comact wlwever and .m y - say to 1lie111 - I comacted to 1lie111, that 1'111
                     111aintai11ing thi.1·. I already told you guys about this before - so, I c<m be compensated - I mean, I ca11110t co111pe11sate you - that'.v what I mean lo say...


0C    (l!R-1-2) Cl\LLS HIS BOSS ON Tl!E PHONE : D

0C P.Ll\INTIFF EXPRESSES DISSl\'rlSFACTION THAT THE FORCE-t-v,·/ERS DAMAGED PL!\INTIFF ' S VEGETATJON                                              (BOTH GRl\SS AND BUSHES) : D



PLAINTIFF            Sir, tha1'.1· actually, just to let you k110111 - I 111ea11 - that'.1· - I want it that ll'f!J' - That!v the kind oflmuirmpe that I 11v11t. Just to let you k110111 - That's
                     so111ethi11g that /'111 flying to do - I don't like it cut like that. That'.v so111ethi11g that aclually - 1'111 against - You've actually done so111ethi11g that I don't like
                     right there. /'1111101 personally saying so111ethi11g against ;vu, but like...




[HFM- 1)             It looks heller !hough, 110?




PLAINTIFF            So, )'OIi think il's beller cut?


 0C   [HFM-1] NODS YES :     »

PLAINTIFF             I like 11al11re. You 1111dersta11d what !'111 saying - I like nature. I like things to gmll'.


 0C ( lil'l-1-1 J NODS YES : D

 0C   (HFM-2] CONTINUES TO TALK IN THE BACKGROUND OVER THE PHONE TO THEIR BOSS D



PLAINTIFF             I don't like things - like all - like you - like )'OIi ll'aut to t,y lo - I don't k110111 how else to put it - like )'OIi 11·a11t lo fly to destroy nature - j11.1·1 to 111ake things
                     look a c:e11ai11 1my- I don't like that - )'OIi k11011' ll'hat /'111 saying?


 0C   [HEl'l-2) CONTINUES TO TALK IN THE BACKGROUND OVER THE PHONE TO THEIR BOSS»



PLAINTIFF            Aud also, Terns la111 protects ll'hal 1'111 doing right 11011• - it'.1· called "Drought Resisltml lmulvcapi11g" - that 111eans that like, ll'heu it's like - when you have
                      a dmught - I don't ll'aler my - I don/ ll'aler thfa· al all - ll'he11 )'OIi have a dmught, the only 1my this smvives if ii /mv deep mots, and that 111ea11.\" that )'OIi
                      need to let this st1!ffgm111, and 11'11e11 )'OIi let it groll', 1/,e mots gm1v deeper to search f or 1mter- that'.s the \l'ay you lmve - that'.s the 1my you 111ai11tai11
                      "Dmugl,t Resisla11f landscape" mul. 11111... like I said. Texas law pmtects against rhot now.


 ~ (RSR) EMERGES FROM 'THE HOUSE OF (789KLLTX78641) AND REJOICES TO SEE THE FORCE-1'-',0WERS :                                                D


[RSR)                 Woohoo! Fi11ally!!




PLAINTIFF             Yea, 1'111 actually up.rel about that, act11al/; 0


 oc   PLAINTIFF POINTS l\T THE BRAlsCIIES OF THE BUSHES 'THAT rnE FORCE-tlmlERS CUT AND PLACED ONTO THEIR TRUCK: ~




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PLAINTIFF        I mean. I 11'011/d have really been 11pse1 if ii was like more 1/w111ha1... I m11 acll/al/y make use af 1/m/ - I ca11 ac/ually, .,wt-of. make use //,a/ you k11011•- I
                 cau ac111al/y pick up //,at slliff a11d //JI lo see if ca11 compos/ ii - but, if ii 11·m more tl,011 //,at, I 11v11/d have been nmlly ... you knoll'...




[HFM-1)          You k11011' ii doe.1·11'1 kill lhe mots, ifJ'OII cut ii, rig/11?


 ~ PIJ\INTIFI'' DISAGREES AS PLAINTIFF             rs WELL-INFORMED ABOUT THE SCIENCE OF SUCH GRASSES : D

PLAINTIFF        Aclually, it does - its called root-sl,001 ratio. //'.r 110/ - So. it'.r called - so bmically, ii decomposes !he roofs - /he roofs, 11·/,e11..


 ~ (RSR] RUDELY SHOlJl'S-AT AND INTERRUPTS THE PLAINTIFF FROM ACROSS THE STREET :                                          D


[ RSRJ           [???] ... THE RULES OF THE NEIG/-IBORHOOD! THESE ARE THE [HOA} RULES!




PLAINTIFF        So, actually, it'.1· 1101... Tl,e 111/es are..




[RSRJ            THAT'S BULLSHIT. SID!




PLAINTIFF        Tl,e 111/es are i11 vi(l/atio11 of Terns fall'!




[RSR)            MOVE TO Tl-IE COUNTRY!! CARE ABOUT[???] - LET EM MOW YOUR GRASS! LET EM MOW YOUR GRASS!




PLAINTIFF        111,yareyou?! ... WJ,yc/011'1 you?! .... The Teras la11'110111protecls l,0111eo1111ers.




[RSRJ            LET EM MOW YOUR GRASS! BE RESPECTFUL TO THE ENTIRE NEIGHBORHOOD!




PLAINTIFF        You're disrc.1pecti11g me rig/,/ 11(111'/




[RSRJ            NOl'MNOT!




PLAINTIFF        Yes you a,-e - look al //,e ,my you're la/king to me!




[RSR)            [???] YOU'RE{???} DISRESPECTING{???]




PLAINTI FF       look at the way yo11'1-e talki11g to me!




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[RSR]            LET EM MOW YOUR GRASS - YOU ENTERED INTO THE COVENANTS OF THE {HOA}!




PLAINTIFF        No. the cove11a11/s \\'ere wri1te11 in 2005. Tl,ey were nri1te11 in 2005. 71,e Term law ,ms w,-i11e11 i11 2012. ll'hydo11't yo11 accept tl,e... Yon don't want to
                 accepl tl,efoc/s - /!,at'., /1,e 1ea.m 11!




[RSR]            YOUR SIGNED YOUR CONTRACT WITH THE {HOA]!




PLAINTIFF        TJ,e co11lrac1 was nri1te11 in 2005 - I 111ea11, 11,a/ was drafted in 2005, tl,is was in 2012. 20/2 - is "D1vugl,1 Re.,is/0111 La11d,capi11g" - pro/eels tl,e
                 l,omeo,mer!




[RSR]            IT'S PART OF THE CONTIIACT!




PLAINTIFF        No, ii pm/eels... Why don/' yo11 lisle11 lo tl,efac/.1· - you do11'! 11-a111 lo know tl,e lmlh. J'mfigl,1i11gforjmtice !,emf




[RSR]            IT'S NOT JUSTICE!




PLAINTIFF        It isjustice! It's E11vira11me111a/ Juslice! It's Pmperly Juslice! It's Homeoll'ner'sjustice! D011'1 tell me its 110/ about Jnslice! It'., about Juslice! I know /!,at -
                 see! Tlwt'.r 11'1,a/ ;vu 11m1/ -you 11r111/ lo sl,ow me !hat you're that kind of person! 1 don'! 11•011/ lo - I'm 110/ /hat kind of person. Mo'Am! Ok - / 1m111 lo do
                 wl,a/'.1· rig!,/ for !he e11viro11me111/




[RSR]            MOW YOUR GRASS!




PLAINTIFF        No! Ma'Am, I wan/ lo do ll'hat's right for /1,e e11vim11111e11t!


 ~ [RSR) MAKES OUTRAGEOUSLY MISLEADING STATEMENT /\BOUT PLAINTIFF ' S BROTHER [PK] FOR \'/HICH Sil£ lll\S NO PROOF : ~



[ RSR]           IT IT JUSTICE TNAT YOUR BROTHER CAME OVER AND HARASSED MY SON!




PLAINTIFF        Whal are )'OIi 1a/ki11g abo111! ls ii justice !ho/ you come over here!-


( PLAINTIFF POINTS TO PLAINTIFF ' S [ tRONTDOOR) : D

 ~ PLIIIN'J'IFF TRIES 'J'O CORRECT RECORD BY S'l'ATING THAT {RSR) ACCOSTED PLAINTIFF l·IHILE ON PLAINTIFF ' S PROPERTY :                                         D


[ RSR]           YOUR BROTHER ACCUSED ME OF THROWING KJTTY-LITTER IN YOUR YARD!




PLAINTIFF        Aclllal/y, I s/i/1 don't know //wt'., 110/ )'OIi - how do I know that's 1101 you!


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[RSR]            BECAUSE 1T WAS HER!


I( {RSR) POINTS TO PROPERTY FORMERLY CY//NED BY [JJB] . j)



PLAINTii'F       You're just saying tli<11! I can't ...




[RSR]            BECAUSE SHE EVEN ADMJTTED TO ME THAT SI-IE DJD IT - SHE BRAGGED ABOUT IT! IVHY WOULD 1 CARRY MY CAT-LITTER - COME ALL

                 Tl-IE IVA Y, ACROSS THE STREET - WHEN I CAN THROW IT IN MY GARBAGE CAN!




PLAINTIFF        I don't know... ok, that'., - I don't have any...




[RSR]            FOR MY SELF[???]




PLAINTIFF        who/ i'm saying is.. who/ i'm saying is.. I don't hove any proof..


 ~ [HOA]-1:0RCE-MOi!ERS S'rART-UP THEIR TRUCK TO LEAVE THE PROPERTY . )]

 a [RSRJ ALSO DEROGATORILY REFERS TO PLAINTIFF AS "KID" : j)

[RSR]             l'M TELLING YOU. KJD! lF YOU WANT TO BELONG TO TNJS NEJGHBORHOOD, THE COVENANTS ARE WHAT THEY ARE - LET EM MOW

                  YOUR GRASS!




PLAINTIFF         Actually... No, actually, the covenants say - the covenants were 11ri1te11 \\'ell be.fore Texas law ,ms modified.




 [ RSR]           l ei em mow the grass!


 ~ PLAINTIFF KINDLY NOTIFIES [ HOA)-FORCE-MOWERS THAT PLAINTIFF CANNOT CCMPENSA'l'E THEM FOR ANY UNAUTHORIZED ACTIVITY : )]



 PLAINTIFF        Sir! Hold 011 - a second. Si,; I appreciate what you're doing. but 1 got to say- I cm11101 compensa/e you for ll'hot you did - /hi.,· is nothing - Basically- 1
                  11vs caughl off guard - 1 was doing my 11YJrk /here. I can't be .w pe1visi11g this al all limes - So, let me jus/ make ii clear - tlwt 1 ca11110/ compensa/e you for
                  /he 1mrk you did here. Do you 1111ders/a11d 111,a/ I'm saying - It ,muld 110/ be right for me - I 1m11ld 1101 be - Um... I wish 1 could, but like, that 110111d be
                  like selling a bad emmple, lo - asfor as the [HOA] is concemed. SO, isn't it the [HOA] that hired ;01ir company to do this?




 [HFM- 1]         This - 11-e don't know.




 PLAINTIFF        Ok - You don't know... Ok so, you're just doing ii 011 behalfof your company, yeah. So, let your ba.,:,es know that 1 appreciate what you guys - your
                  b11si11e.~1· or 111,ntever - aud that you ought to be paid for \l'lmt you do - but 1 can't be compe11sati11g you for any of thi., - you didn't do much mi1a1•ays -
                  right, it was like 2 111i1111tes. app1-eciate that - thank you. Ok, can I see your popernvrk aga/11 - sony about that. man..


  IT PLAINTIFF ASKS IF Pl.AIN'l'IFF CAN SEE THE PAPERl·IORK AS IT IS INCRI MJNl\'l'ING INFORMATION AGAINST TIIE IHOA} . D
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[ Hnf- 1 ]      110, i'm SOJ"JJ}.




PLAINTIFF        I just 1m11t to see ii really quick -for my own recmrl~ - you know 1rha1 I mean?




[ Hnf- 1 ]       /10,   i'm S0/1)1.




PLAINTIFF        I just 11m1t to .vee yourpapenrork 111011! come-011 - si,: .. sir.. come-011...




[H™- 1]          [???]




PLAINTIFF        /'111j11.,·1askiug lo see your papenrork - that'.\" all I'm askiug.




[HFM- 1]         I got to go, please.


 ff PLAJN1'IFF REASSURES CREW THAT PL/\INTIFF ' S LEGAL DISPUTE I S WITH THE [ HOA] , NOT WITH ANY CONTRACTOR THAT THE [HOA] HIRES : D


PLAINTIFF        I know you got to go... let me just see your pape111vrk... See, you came over here... You sta,ted my m11k 011 this {pmpe1tyj. I'm 1101 flying to sue - /'111 not
                 hying to s11e ;vu or a11ythi11g - you 1111de1~·ta11d what i'm saying... I'm not hying to sue you... you're not... come 011...


I{ [HFM-1} TALKS ON PHONE TO HIS BOSS : D



PLAINTIFF        Sir, I just 11'<1111 /0 see your pape,work - tlwt'.~ all i'm saying.. You 111ulersla11d? ... That's al/ 1'111 flying lo do-


Ii PLAINTIFF SIGHS IN FRUSTRATION . ~
 « [HFM-1 } GETS OlIT OF TRUCK AND HANDS PLAINTIFF HIS PHONE FOR PLAINTIFF TO SPEAK TO HI S BOSS [HFM-BJ : D

PLAINTIFF        Of,, ok, lei me see. Oh, it's ;vur boss?




[HFM- 1 ]        Yeah.




PLAINTIFF        ls he 011 ,peaker? A hello? - Hey, how do I put it 011 ,peaker?




[HEM- BJ         Hello?




PLAINTIFF        Yeah. whom I'm speaking ll'ilh?




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[ Hft'l- B)        Good Mo111i11g. I'm {???J willt • 0 0 • • • • •0        •••••••n•• ••**"***... !tow yo11 doing .vir?


PLAINTIFF          yealt, /tow'.\· ii going. I'm j11st lelli11g yo11r g11ys know ... I wasj11sr lelliug yo11r people kuow over ltere... Tltal i appreciate yo11r b11si11ess, and 11,e facf tltar...
                   !Ital yo11're like... yo11're /lying lo make... r1111 a b11si11e.,v ltere... b11t like, I ca11'1 be compe11sali11g yo11for any ... fit:\'/ of all, tltey 011/y did like {a mi1111re}. ..
                   1ltey ,11(111ecl lite mJt*, and sf(ll1ed rite 1m1* like 30 seconds or so, and 11lt... I jm1 ll'allf lo let yo11 know, that J can't be compe11sali11g youfm· w1J~lti11g that
                   you did ltere... because 1 made it clear to you lite last time yo11 guys came ltere... 1 believe it was lite same g11y.1· ... 11111, //tat, i'm mai11tai11i11g my yard- lite
                   11~,y J - iu complia11ce witlt Texas law - 11111, pro/eels my rigltls now... So, I can't e,,-p/ai11 tlte de/ails to yo11 - I e.1plai11ed ii to lite {HOA]. Um, appare111/y

                   1/tey don't \\'ant lo... I tltink tlte {HOA} is tlte 011e tltal is ca11/mc/i11g yo11 guys 0111 rigltt?




[HFM- B]           yes, I 11·ork.for tlte {HOA]. Tlteyj11sr seud 11s over tltere and get 11s back tltere - Tltat's all ll'e do. Wej11s/ sltow 11p al tlte lto11se //tar tltey 1m111 to be c11/-




PLAINTIFF          rig/ti rigltt.




 [Hft'J- B]         8111 if tltere is any i.mte - as Jar as yo11 sta11di11g in f,vnt of my g11ys tmck - and 110/ le11i11g me g11ys leave - !Ital is ,wt ok - lei them [go]. We are 110/ go1111a
                    do - any more 1rork al JYJl/1' pmpe11y- yo11 are 1101 responsible.for paying 11.1· - Tlte pat1 /Ital ll'e /Ital - .!11st please... We do Ito/ 11rn1/ any issue.


  a [RSR] USES CIIMERA-PHON8 TO RECORD PLAINTIFF, NARRATING IN INTIMIDA'l'ING MANNER THAT PLAINTIFF REFUS8D FORC8- MO\<IERS : D

 [RSR]              HE REFUSED TO LET THEM MOIi~..




 PLAINTIFF          rigltl, right - i know - i 1mde1:\'/a11d /Ital. so, basically, ll'e're 110/ /tying lo crea/e i.tmes ltere. tlte i,<l'lle that tlte [HOA} i.1· 1101 respecting Te.ms law. Tltat'.I'

                    tlte iss11e.




                    and if they're 110/.. then, J'Otl have to e~pfai11 to tltis to yo11r {HOA]. /l's 1101 my [HOA} - m:just do ll'Ork.for them.




 PLAINTIFF           Yealt, yeah. I know... I completely 1111ders/a11d tltat. I completely 1mde1~1a11d that. //'.1· 1101 yo11rfa11// - i'111j11sl flying to e.,plai11 tltat the [NOA} is at fault

                    ltere - so, it's 1101 you.




  [HFM- B]           what's ltappe11ittg is tltat - whats ii is - its affecti11g 11s is tltat is /Ital yo11're slmrdittg in fm11/ of 1191 tmck... attd 110/ fellittg II!)' g19•s leave yo11r pmperty.


   ~ PLAIN1'IFF 8XPLAINS THAT HIS 8MPLOYE8S MADE UNAUTHORIZED ENTRY , MODIFICATIONS TO PLAIN'l'IF'F ' S PROPERTY : D


 PLAINTIFF           rig/ti, b11t, emclly, and it is my p1vper1y- So, I ltave evety rigltl to protecl my p,vpe,ty. and my p,vpe11y..


   K [ liFl~-B] MISUND8RS'l'/\NDS 1'H8 PLAINTIFF ' S WORDS : D


  [HFM- BJ           The mad - lite mad is 1101 yo11r pt0pe1ty.




 PLAINTIFF
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               oh - Yeah. Yeah, Yeah, Yeah, Yeah.. Oh. you're-




[Hn4- BJ       Now, if my guys are i11 your yard- then 1ha1'.~fi11e - kick them qlfyouryard. 8111 you ca111101stand i11frmll of my l111ck, and 110/ let them leave, 1rhe11
               they're...


~ [RSR] CONTINUES INTIMIDATING NARRATION INTO HER VIDEO-RECORDING, EVEN MAKING FRAUDULENT STATF1-1ENTS :                                               ii


[RSRJ          HE BURIES HIS TRASH IN HIS YA/ID/




PLAINTIFF      Sure, sure sure - i 1111dersta11d... / 1ms 011/y asking them/or the papenmrk. the just wanted to see the papenmrk. Again, this is 1101- we're 1101 /Jyi11g to .m e
               ;v11 guys, or a11ythi11g. I just 11•0111 lo see some - I just wa11I to see the doc11111e11/alio11 - so, that if something does gel to co1111 or .mmethi11g - I can present
               that as evidence. //'.1· 1101 going to be used agaiml you - that'.r 111101 I'm /lying to make clear to ;v11.




[HIM- BJ       I know, 1re'rej11.1·1 .wbco11/mcli11gfor the [HOA]. .. so, if there'.v 011ythi11g that'.1· done al your house - so, if there'.~anything that ne do - wejusl 1110111 ii for
               co11tmcti11gfor the [HOA] - ;vu need lo go thmugh ;vur {HOA}. so, JYJII have to stand i11fm11I of their car- so ;vu have lo call the,i, and talk to them
               about ii - 11e'rejust doing them about it. We'1e just doi11g ourjob to{???]




PLAINTIFF      Sure, sure sure, i 1111ders/a11d.




[ HIM- BJ      Ifyou don't 11r111/ 11.1· to come hack to ;vw· house - we called them just 110111 aud I talked to them and let them k110111 "you were there... you're 1101 11r1111i11g 11s
               10 c11/ yo11ryard... "a11d they said" We just pack 11p aud leave... We'll lake care of ii. We don't 11·0111 a11y issues."




PLAINTIFF      right. right. right.




[HIM- BJ       Sa, I said- "We're packing up and leal'i11g... My guys called me a11d.midyo11're sla11di11g i11fro11/ ofmy truck and 1101 lelli11g my guys /eal'e.. lhal'.r 111,y
               i'm talking to you d ght 11011:"




PLAINTIFF      see- the 011/y thing i'm asking for - the guy shoned me the - )'OIi k110111 - pape11m1*




[HfM- BJ       Wo1* 01der - it'.~ basically a 1m1* o,r/er.




PLAINTIFF      The 11v1* order - I just 11a11/ed lo take a photogmph of that       ,mi* order. That'.1· the 011/y thing I'm asking/or...


[HFM- B]       No, but you're 1101need a copy of my 11vrk 01der - now. if;au 11·0111 a copy from ;vur {HOA] saying - they sent us over there to wt your [yard]. .. Yo11
               need lo talk to your [HOA] for a ll'ork 01Ylerjivm them... You don't need rmy ll'ork onlerfmm us.




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PLAINTIFF       A fright, Ok...




[HFM- B]         So, )'OIi 1111derst,md what i'm saying?




PLAINTIFF        Yeah, I see what yo11're ...




[H™- BJ          they already co11/acted 11.1·, so .. please look lo 1/,em for any other ilifo1111atio11.




PLAINTIFF        ok, i see what yo11're saying...




                 Thank ya11 si,; Appreciate ii.




PLAINTIFF        Ok, alright...




                 Bye.




PLAINTIFF        Bye.


 [ PHONECALL ENDS AND PLAINTIFF RETURNS PHONE TO [HEM-1) .                           D
 ~ PLAINTIFF MAKES FINAL WORDS TO THE [HOA)-FORCE-1"'/JWERS IN TRUC!< :                           D


PLAINTIFF         A frig/,/ - Ok, that sound~good then - I'll just go 1hro11gh 1/,em.


 « PLAilITIFF TRIES TO APPEASE [RSR) WHO CONTINUES TO CREATE HOSTILITY/INTIMIDATION TOWARDS PL.I\INTIFf' : D

PLAINTIFF         Ma'Am - I c/0111 11·0111 tu cause - I j 11st \\'OIi/ to let yo11 know, I c/0111 \\'ant lo ca11se any any problems will, )'OIi. 8111 you're t1yi11g to be agaiml me!




 [RSR]            NO! I AM AGAINST YOU! AND HERE IS IVJ-IY! HERE JS IVHY! YOU BURY YOUR TRASH IN THE BACKYARD!-




 PLAINTIFF        I don/ bwy my /rash!! That's a myth!


  0C [RSR) SEEMS INCAPABLE OF UNDERSTANDING THJI.T PEOPLE CAN LIVE ZERO-\·IASTE LIFESTYLES : D




 [RSR]            IVl,ere~· your trash?!




 PLAINTIFF        I don't genemte tmsl, - I 011/y eat food. See, I'm an e11viro11me11talis1. Ok. i don't...


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PLAINTIFF          ok.




[RSR]              I HAVE GOTTEN A LETTER ABOUT MY YARD WHEN I HAD WEEDS- WI/EN MY FINGER GOT CUT OFF- I COULDN'T MOW MY GIUSS..
                   BUT GUESS WHAT! I HAD TOPA)' SOMEONE TO CUT MY GRASS-AND THATS NOT DJSCJUMINATION!




PLAINTIFF          110, 110. 110, 110, 110 - yon see...



 0C   [RSR] REPEI\Tr::DLY, RUDELY INTERRUPTS PLAINTIFF EXERTING HER ILLEGITIMATE AUTIIORTTY/SENSE-OF-SUPERIORITY OVER PLAINTIFF: D


[RSR]              YOU IV/LL ALSO GET SOMETHING... AND HERE'S THE THING! l'M NOT DONE TALKJNG!




PLAINTIFF          Ok. 1he11 you're going lo lei me .,peak ofter that...


 0C   [RSR] FRAUDULENTLY PROMISES PLAINTIFF THAT SHE WILL LET PLAINTIFF PROVIDE A FULL-RESPONSE : D


[RSR]              YES I Will!




PLAINTIFF          ok.




[RSR]              WHEN YOU BOUGHT INTO THIS NEIGHBORHOOD!




PLAINTIFF          Right.




[RSR]              YOU AGREED TO THE {COVENANTS] OF THE [HOA}!




PLAINTIFF          and I'm hy ing to erplai11...




[RSR]              AND THE [HOA] STATES, THAT YOU'RE TO KEEP YOUR YARD IN GOOD APPEARANCE!




PLAINTI FF         I 0111•••


~ [RSR] FRAUDULENTLY CLAIMS TO FOLW.·I ALL HESTRICTIVE-COVENANTS WHEN PI.J\INTIFF HAS SUBSTANTIAL PROOF TO PROVE OTHERnISE : D



[RSR]              IF YOU DON'T LIKE THOSE RULES, AND musr ME - THERE'S A LOT OF THEIR RULES. I DON'T LIKE EITHER - BUT YOU KNOW WHAT.
                   MY CHOICE IS TO EITHER ABIDE BY THOSE RULES. ..




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(RSR)            OH - OK, SEE, HERE'S THE THING - LOOK AT HIS YARD, LOOK AT HIS YARD. AND LOOK ALL THESE OTHER YARDS! WHEN IVE BOUGHT
                 A HOUSE /NA [HOA} COMMUNITY- WE ABIDE BY...




PLA.Dl'rl:iT     I do 1101...



 ~ [RSR] REPEATEDLY, RUDELY INTERRUPTS PLAINTIFF' EXERTING HER ILLEGITIMATE AUTHORITY/SENSE-OF-SUPERIORITY OVER PLAINTIF'F :                 »
 « [RSR] FRAUDULENTLY CLAIMS THAT PLAINTIF'F BREAKS RULES WHEN PLAINTIFF IS IN LEGITIMATE LEGAL DISPUTE mTH [HOA] : D
 ~ [HSR] FRAUDULENTLY CLAIMS Tll/\T PLAINTIFF IS 'l'llE ONLY RULE-BRE/\KER WHICH PL/\IN'l'IFF HAS SUBST/\NTI/\L PROOF 'l'O DISPROVE :      »
(RSR]             YOU'RE GOING TO LET ME FINISH! WE ABIDE BY Tl-IE RULES!




PLAINTIFF        you're goiug to let me fl11islt after tltat a.,· 11-ell!




[RSRJ            WE ABIDE THOSE RULES!




PLAINTIFF        tlte mies 11-e1-e ll'rillen in 2005!




[RSR]            THE RULES CALL FOR YOU TO CUT YOUR GRASS, AND YOU KEEP YOUR HOUSE IN GOOD APPEARANCE! BELIEVE IT OJI NOT. .. I HAVE
                 HEARD THAT l'OU CRY DISCRIMINATION!




PLAINTIFF        ii is - ii is - ii actually is both!




( RSR)           NO - LET ME JUST TELL YOU! I GOT ..


 ~ [RSR) WAS STEPPING D/\NGEROUSLY CLOSE TO CRIMINALLY-TRESPASSING ON PLAINTIFF ' S PROPERTY :                                        D
 ~ SO, PLAINTIFF KINDLY \•/ARNS HER 1'0 AVOID THAT UNPLE/\S/\NT SCENARIO:                            D


PLAINTIFF        ma'am - let's just move mrayfrom my ...




(RSR)            NO, ACTUALLY THIS ISN'T YOUR PROPERTY! AND NEITHER IS 71ilS-


 ~ [RSR] POINTS AT CURBSIDE-GRASS-ARE/\ :                D
 K PLAINTIFF JUST WN~NS [RSR] THAT SHE IS TOO CLOSE TO CRIMINALLY-TRESPASSING : D


PLAINTIFF        i 111ule1~1a11d tltat - let's just be 011 tlte sqfe side.




[RSR)            BUT HERE IS THE THING!


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PLAINTIFF      right.




[RSR]          OR TO MOVE... I DON'TGETEXTIU RIGHTS BECAUSE I DISAGREE IV/TH IVHATTHEY SAY. ... NOIV, YOU DISAGREE WITH THEM .. AND
               THAT'S FINE. YOU CAN DISAGREE IV/TH THEM... BUT YOUR CHOICES ARE TO EITHER GO BY THE RULES AND THE LAWS, WI-I/CH ARE
               TAKEN INTO A CCOUNT...




PLAINTIFF      the laws..




(RSR]          AND/OR YOU LEAVE... BUT YOU ARE INFRJNGING ON THEIR RIGHTS. ON THEIR...




PLAINTIFF      1'111 1101 i1ifri11gi11g 011 a11ybor9i., rights!


rr (RSRJ PARROTS TIIB SAME RACIST, FRAUDULENT NARRATIVE CONCERNING LAl•n~S AND PROPERTY-VALUES : D


[RSRJ           YES- BECAUSE YOU'RE DECREASING THE PROPERTY VALUES-




PLAINTIFF      110 actually, j,1:,1 ,if all -fi1:1·1 ,ifall - i don't beliel'e - I don't accept that! i don't accept that it does!




[RSRJ           IVHEN I SELL MY HOUSE...




PLAINTIFF      right.




[RSR]          AND THEY WALK Bl' -AND THEY SAY "WE'RE NOT BUYING THIS HOUSE... "!




PLAINTIFF      that's because af outdated - outdated - property - you have rm outdated view <if prope11y values. That's 1101 my fault ... ok..




[ RSR]         IF I CAN'T SELL MY HOUSE... !




PLAINTIFF      so, n-e're living ...




[RSR]          WHICH GOES LIKE - EVERY HOUSE IN TJ-1/S MARKET - HAS GONE LIKE THAT!




PLAINTIFF      ok, ll'C're lil'i11g i11 a new ll'orld.




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[RSR)            IF MY J-IOUSE DOES NOT SELL... AND THIS PROPERTY...




PLAINTI FF        You're going lo lei mefi11isl, {lj/er //,is.


~ (RSR] FRAUDULENTLY PRETENDS AS JF Pl.J\INTJFP IS JNTE.RRUPTING WHEN SHE lfu"'VER 711,LCt;lS PI.J\INTIFF TO RESPOND-IN-l'ULL :     'i\


[RSR]             YOU I-IA VEN'T STOPPED!




PLAINTIFF        ok, go ahead.




[RSR)            AND YOU -ARE DEVALUING MY PROPERTY!




PLAINTIFF        !hat's 110/ - i'm 1101 doing that! ok, !...


 ~ [RSR) CONTINUES FRAUDULENT NARRATIVE IGNORING HER INITIAL BLACKMAIL THREATS WHILE TRESPASSING ON PL/\TNTIFF IN (2010} :                  »

[RSR]            AND ALSO! I HAVE AN ISSUE ll'ITJ-1 YOUR - YOUR BROTHER COMING OVER AND TJ-JREATENING!-




PLAINTIFF        110, 110 - lei's deal ll'itl, //,at!..


~   [RSR) MAKES OUTRAGEOUSLY FRAUDULENT STATEMENT ABOUT THE PIJ\INTIFF ' S BROI'HER [PK) . D
~   IT \-/AS [RSR) THAT MADE A FALSE-REPORT ABOUT THE PLAINTIFF TO THE POLICE : D


[RSR)            /-IE CALLED THE POLICE ON MEI AND I-JERE'S THE THING!... AND l'M NOT GOING TO LIE TO YOU!




PLAINTIFF         11'1,y did you come over !,ere!-



~   PLAINTIFF POINTS AT PLAINTIFF ' S FRONT C<X)R. D


PLAINTIFF        11·!,y did you come over my - D0111 )'Ott see //,at you're the one {11110 s1m1ed //,is}!-


I! [RSR] ACTUALLY HAD BANGED, NOT KNOCKED, ON THE: PLAINTIFF ' S DOOR IN THE {2010-06-05) INCIDENT : D


[RSRJ            I KNOCKED ON YOUR DOOR!




PLAINTIFF        and you - real,, yelled at me!


~   [RSR) FRAUDULENTLY DOWNPLAYS THE FACT THAT SIIE HUMILIATED PL/\INTIF'F IN THE (2010 , 2011) INCIDENTS : D
~   [RSR] HAD SHOUTED A'T TIIE PLAINTIFF SO THAT PEOPLE MANY HOUSES CC',•/N COULi) HEAR HER ABUSIVE RHETORIC : D



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[RSR]                 I talked lo you...




PLAINTIFF             and you 1/,reate11ed to gel me kicked ol/1 of f/,is house! do you 110/ remem/Jer //,at!




[ RSR ]               UM NO, I TOLD YOU I WOULD CALL THE {HOA] AND THE {HOA] WOULD TAKE CARE OF IT!




PLAINTIFF             AM - You said- "I'M GOING TO GET YOU KICKED OUT T/-1/S HOUSE!" That'.~ what )'OIi said!


 [       [ RSR] CONTINUES HER FRAUDULENT NARRATIVE, MAKING ONE: FRAUDULENT STATE:MENT Al"TER ANOTHER :                                 D


[RSR]                 your brother soid 1h01.




PLAINTIFF             110! aclually, you said that! - c/0111 lief - you ,rere over here. )'OIi said that - you said.




[RSR]                  WELL, NUMBER ONE - I'M NOT GOING TO LIE. BEGA USE THERE'S NO PURPOSE TO IT!




PLAINTIFF             you're tl,e 011e that said tl,at! you said you'd gel me kicked out of this lro11se! That's 1rl,a1...


 [       [RSR] FINALLY ADMITS THAT SHE DID MAKE: OUTRAGEOUS BLACKMAIL THREAT TO KICK PLAHfrIFF OUT OF [HOUSE] :                                D


 [RSR]                 / WILL GET YOUOUTOFTHlS NEIGHBORHOOD BY VIOLATING THE /HOA/ LAWS - IF I HAVE TO! BECAUSE THAT IS MY RIGHT. BUT

                       HERE'S THE THING: I NEVER WOULD RACE ACROSS THE STREET AND DUMP K/1TY-L/1TER INTO YOUR l'ARD!-




PLAINTIFF              Ok - 110, You're saying 1l,a1! I donl' have any evidence that shows - that you did11'1 ...


     [   [RSR] AD,'.1!1'S TO AN ILLEGAL CONSPIRACY AGAINST PLAINTIFF INCLUDING [RSR] , [JH&SH] , [JJB] :                               D
     [   [RSR] FRAUDULE:NTLY PRE:TENDS AS IF [JJB] WAS ONLY PERSON WHO /\C'rED MALI CIOUSLY AGAINST PLAINTIFF :                            D


 [RSR]                 I HAVE EVIDENCE! S*** AND I SAT THERE, WHILE THAT DRUNK WOMAN OVER HERE LAUGHED ABOUT - NUMBER ONE - LA UGH ED
                       ABOUT - THROWING L/1TEI/ IN YOUR BACKYARD!




 PLAINTIFF             what you're saying...


     [   [RSR] EXPLAINS HO\·/ THIS CONSPIRACY, INCLUDING HERSELF, JUSTIFIED VANDALIZING PLAINTIFF ' S PROPE:RTY : ~

     [( [RSRJ ADt'-1ITS TO OTHER CRIMES THAT [JJBJ HAD CO.~ITTE:D AGAINST PLAINTH'F : ~



 [ RSR]                 BECAUSE IT DOESN'T /\1A1TEI/ ANY/VA YS- HE DOESN'T LOOK AT HIS YARDANYIVA I'S! AND ALSO, SHE LAUGHED ABOUT. WHEN SHE
                        WOULD COME IN IN THE MIDDLE OF THE NIGHT. AND KNOCK ON YOUR DOOR - THOSE ARE THE THINGS SHE SAID!




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PLAINTIFF         ok, i 111ulersta11d that -


 [   [RSR] STARTS TO WALK A\·/AY FROM PLAINTIFF mTHOUT ALLOmNG PLAINTIFF 1'0 PROVIDE A RESPONSF: :                                             D


PLAINTIFF         Ok, let me finish - you're 110/ let mefinish. you're 11111 going to let me .m y ii - So, those r11/e.1· -


 a [RSR) FRAUDULENTLY PRETENDS AS IF PLAINTI FF INTERRUPTED HER, \'/HEN SHE PREVI::NTED PLATN'J'IFF FR0.'1 RESPONDING-IN-FULL : D

[RSR]             YOU INTERRUPTED ME!- YOU INTERRUPTED ME ALL THE TIME!




PLAINTIFF         No, ac/11allJ1 but you didu't let mefiuisl,!




[RSR]             AND YOU CALLED ME A LIAR - AND l'M NOT A LIAR. SO, IF l'OU'RE GOING TO CALL ME A LIAR!




PLAINTIFF         but that you did say that!




[RSR]             NO-NO - NO- I DON'T WANT TO TALK TO YOU, BECAUSE WHEN YOU CALL ME A LIAR-l'M NOT GOING TO TALK TO YOU!


 a PLAINTIFF REALIZES THAT [RSR] WOULD NEVER AGREE TO FAIR DEBATE BECAUSE SHE KNO',./S SHE IS NO'I' ON TliE SIDE OF JUSTICE : ll

PLAINTIFF         oh - ok, see, J'OII don't 11'0111 to /is/en to the facts!




[RSR]             l'OU'RE CALLING ME NAMES!




PLAINTIFF         No - acturilly, I just said J'011're lying - I didn't call you a name..




[RSR]             YOU DID CALL ME A LIAR!




PLAINTIFF         So, Texas law 11'0.f 11•d11e11 in 20/ 2 - ii protects the ho111eo1111er'.\' light to 111ai11tai11 a d1v11ght-1T?si.1·tant la11d1'capi11g and solar energy devices - and other
                  pro1eclio11s for the ho111eo1me1: The co111racl lhal I signed 1ms ac/11ally mil/en in 2005 - it 11'tls drafted in 2005.. That is 011/dated! II 110 longer con'CSpomll'
                  to today/ My arg11me11t is - i'm hying to maintain o dro11ght-1T?sisto111...


 ~ PLAINTIFF 11AS MINIMALLY-MO':IING GRASS DURING TliE INITIAL YEARS PRIOR TO TliE NE\'/ LI\\'/, BUT [RSR] FRAUDULENTLY CLAIMS

OTHERWISE :   D


[RSR]             WHAT ABOUT 2009- WHAT ABOUT 2010- WHAT ABOUT 2011?




PLAINTIFF         yeah, yeah yeah- ok, well - you cou make 011 a,g11111e11t THEN that - b111 you ca11110/ make lhe 01g11me111 after 2012 11·he11 the Im,•took effect.


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[RSRJ           SO. IN OTHER WORDS- YOU DON'T CARE THAT YOUR YARD-




PLAINTIFF       1 ll'as hying lo be as e11vi,v11111e11/ally responsible as I could! ...




[RSR]           HOW IS THIS ENV/1/ONMENTALLY RESPONSIBLE?!




PLAINTIFF       obvio11sly! because - 1 won/ lo maintain a dro11gl,1-resi!.·ta111 /aml\'cope - i don/ water- 1/,e gross will die 0111! 1/,e gmss /,as died 011/ 011 /,is side of //,e yard -

                you wont to see //Jere!-


 [ Pl.J\INTIFF POINTS TO SIDE OF THE YARD - WHERE f'/,OST OF THE GRASS HAS DIED OUT DUE TO REPEATED MOWING WITHOUT WATER: D


PLAINTIFF       Tlwl's because I c/011'1 use 11-aler 011 my yon/! Tl,ere's 1/,e reason for ill




[RSR]            NO.... MOW YOUR YARD!..




PLAINTIFF        Because, I don'/ 1m11/ lo 11.l'e waler - 1m/er is a precious resource!




[RSRJ            THEN, MOVE TO THE COUNTRY! BUT SEE, l'OU'RE IN A NEIGHBORHOOD!




PLAINTIFF        yes, so?...




 [RSR]           YOU'RE IN A NEIGHBORHOOD! AND IVHEN YOU'RE IN A NEIGHBORHOOD. YOU GO WITH IVHAT THE NEIGHBORHOOD SAYS!




PLAINTIFF        //,ere ore many neighbod,oods.. //,ere are many 11eigl,borhoodl'... See, if I did w/,o/ you did! If I did. ..




 [RSR]           OK. BECAUSE BUT YOU'RE SA YING: "NO, I DON'T CARE ABOUT MY NEIGHBORHOOD - I DON'T CARE ABOUT MY NEIGHBORS - I'M JUST

                 GOING TO DO IVHA T 1 WANT!"




 PLAINTIFF       See, your values are ve,y des/J11clive! - your values are ve1y des1111c/ive! - and //,ey destroy ...




 [RSR]            NO, MY VALUES ARE NOT DESTRUCTIVE!




 PLAINTIFF        I'm 110/ singling you 011/! - i'm talking abou/ your co/leclive - your collec/ive values...


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[RSR]           AND SINCE 2012, BUT I Will TELL YOU THAT. .. {???]




PLAINTIFF       and even... andfirst of all - look up mot-to-shoo/ -


~ [RSR] FRAUDULENTLY CLAIMS TllAT PLAINTIFF HAS ALIENATED HJMSELF, l'lHEN 1T WAS BER, [JSP&KAP) ' S RELENTLESSLY-RACIST i)

a PROPIIGANDA AGAINST PL/\INTIFF THAT HAS ENGENDERED HATRED AGAINST TIIE PLAINTIFF FROM OTHER RESIDENTS . D

[RSRJ           AND SID, IT'S SAD! YOU'VE ALIENATED YOURSELF FROM THIS WHOLE NEIGliBORHOOD!




PLAINTIFF       can J'011 /ook11p mot-lo-shoot mtio? beca11se - the mot-to-shoot mtio - 11•he11 J'OII c111 gm.tr, it.I' shed\' its roots! Do yo111111de1:1tand 111wt i'm saying? /'111 even
                co111pro111isi11g - I've even co111pm111isi11g by doing ,rim! 1'111 doing - I don/ even have lo do that...


a (RSR] REVEALS TO THE PL/\INTIFF HO\'l SHOCKINGLY UNINFORMED SHE IS ABOUT !!.VEN ELEMENTARY PLANT BIOLOGY : D

[RSR)            YOU KNOW, WHAT WITH WliAT THE TRUE THING IS - IS THE FACT THAT YOU'RE ALLOWING YOUR GRASS TO GROW LONG - MEANS,
                 THAT YOUR ROOTS ARE GOING TOBE SHALLOW-BECAUSE THE ROOTS HAVE TO COME UP TO GET THE WATER ... WHEREAS, WHEN
                 YOU CUT IT ..




PLAINTIFF        The mots are... 71,at's! That'.,- That'.r .w 11m11g! No, that is 11m11g! No, 111le11 yo11 have a plan/ - 11•hc11 yon haw: a plant - its called "eq11ilibri11111" - when
                )'OIi Cl/( ii llpf




1£ [RSR] MAKES AN OUTR/IGEOUS C0'4PARISON 'l'O A GOLF-COURSE l·lHEN GOLF-COURSES ARE l·IATERED MULTIPLE TIMES PER DAY : D



[RSR)            THEN GO TO A GOLF COURSE! GO TO A GOLF COURSE!




PLAINTIFF       they water the golf course multiple time.I' per day!! that~· the point i'm hying to make! they don't...


 R. [RSR] REJ\LI ZES THJ\T SIIE DOES NOT HAVE A VALID ARGUMENT AGAINST PLAINTIFF - SO, SHE CHANGES STRATEGY .                                            D
 a [RSRJ l"AILS TO REALIZE THAT THE [HOA] HAD A 70q GRASS REQUIREMENT . D
 a (RSR] FAILS 'fO REALIZE THAT PLAINTil"F ACTUALLY LOVES GRASS - BUT IS ONLY STRONGLY AGAINST /\RTIFICII\L CUTTING OF GRASS : ~

[RSRJ            THEN, YOU KNOW WHAT! THEN TAKE All YOUR GRASS UP - AND PUT ROCKS, AND DROUGHT-RESISTANT PLANTS. THIS IS NOT A
                 DROUGHT-RESISTANT PLANT!




PLAINTIFF        Ok, i'm actually - to be honest - lo be ho11e.l't ll'ilh you, i'm considering that option.




[RSR]           SID, THIS IS NOT NICE! THIS IS SLOPPY ANO THIS IS LAZY! AND WHAT THE HELL IS THAT OVER THERE?!


 « [RSRJ POINTS TO PLAINTIFF ' S USE OF CARDBOARD AS SHEET-MULCHING 'l'O ECOLOGICALLY CLEAR A PATCH OF GRASS : D

PLADITIFF        to be honest, that's "sheet mulching" - that'.< a technique rim! I use to clear a11 area - it's called "lasagna Gmrle11i11g"


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K [RSRJ FRAUDULENTLY CLAIMS THAT PIJ\INTIFF ' S PROPERTY AESTHETICS VIOLATES OTHERS RIGHTS : j


[RSR]              I DON'T CARE WHAT YOU IVANTTODO! - 1 DON'T CA RE WHAT YOU WANT TO DO - I WANT YOU TO HA VE THE RIGHT TO DO WHATEVER
                   YOU WANT TO! - AS LONG AS YOU DON'T VIOLATE THE RIGHTS OF OTNERS!




PLAINTIFF          i'm 1101 viola1i11g !he righ1., of olhers!




[RSR]               YES YOU ARE! YOU DON'T 7HINK YOU ARE, BUT l'OU ARE!




PLAINTIFF          I'm not!




[RSR]              IF YOU WANT TO DO A DROUGHT-RESISTANT - THEN YOU NEED TO GO IV/THIN THE COVENANTS OF TNE {HOA}!




PLAINTIFF          yeah, !he cove11a111s of !he {HOA], .firs/ qf all, are 1w1 ewm...


 0C   [RSR] FRAUDULENTLY EQUATES PLAINTIFF ' S OPPOSITION TO ENVIRONMENTAL, DESTRUCTION/WASTE 'l'O A HCNE0\"1NERS ' AESTHETIC CHOICE OF

»
 ~ PAINTING A HOUSE . PAINTING A HOUSE IS A "\•/ANT", IT IS NOT A " NEED"; SAVING THE ENVIRONMENT IS A " NEED" , NOT A " WANT".         D


[RSR]              IT'S LIKE.... IF I WANTED TO PAINT MY HOUSE A COLOR... AND THERE'S COLORS I WOULD LOVE TO PAINT IV/TH..




PLAINTIFF          I'm 110/ painling my house! This is comp/e/e(I' differe111!




[RSR]              IVliAT l'M SA YING IS ... I GO BY WliAT TliE {HOA}!




PLAINTIFF          Bui, 1ha1'.1· a comple1ely differeu/ i.~me!




[RSR]              NO - IT ISN'T!




PLAINTIFF          // is! Because - !here's a difference.




[RSR]              BECAUSE I BOUGHT INTO TNIS NEIGl·IBORliOOD, FOR {NOA] PROTECTION - FOIi PEOPLE Wf-1O TAKE CA RE OF THEIR YA RDS!




PLAINTIFF          l ei me e.111/ai11 !he difference.


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II [RSR] , LIKE A DIC.'TATOR WITH A RACIAL SUPERIORITY-Ca1PLEX , CONTINUES 'fO REJECT DEBATING l'IITII PLAINTIFF : ~


[RSR]            NO, I DON'T NEED YOU TO EXPLAIN THE DIFFERENCE, BECAUSE!




                                                                                                                                                      1
PLAINTIFF        There's the huge c.lifl'erencc - because tliat is somet/Jiug you con - is somet/Ji11g - a "wanf" - a desirable - l,o~icnfly - tltal :1 a pl'efcrc11ce.




[RSR]            I DON'T LIKE TO HAVE 2 TREES IN MY YARD - I DON'T WANT TO HAVE 2 TREES IN MY YARD- BUT GUESS WHAT, I'M PART OF Tl-IE

                 {HOA}!




PLAINTIFF        right, ll'hencver - When you paint yo11rlw11.ve - tlwt'.v something that ...


 [[ ACTUALLY, HOMEO\•INERS ARE ADVISED TO SUBMIT APPROVAL OOCUMENT \'IHICH IS REVIE{·lED BY AN [ACC] , NOT [ HOA] -BOARD : ~



[ RSR)           I HAVE TO GO BEFORE THE BOARD AND ASK THEM WHAT COLORS-




PLAINTIFF        yes - but that is something that is 1mde1:vtandable - I ca11 agree with that! 8111 this is something that is protecti11g the...




[RSR)            THAT IS NOT UNDERSTANDABLE!




PLAINTIFF        yes, but this is something that's pmlecli11g the environment. - tlwt'.v protecting the e11vim11111enl -




{RSR]             THAT'S NOT PROTECTING THE ENVIRONMENT!




PLAINTIFF         and also selling an example so that other people ca11.fo/low in the same footsteps!




 {RSR]            SO, YOU WOULD LOVE FOR THE REST OF THE NEIGHBORHOOD {TO DO AS YOU DO}?!




PLAINTIFF         ABSOLUTELY! ABSOLUTELY! l et me make that clear! YES!




 [RSR]            THEN, BUl' INTO A NEIGHBORHOOD 11-IAT DOES THAT!




 PLAINTIFF        110, 110 - so ll'e need lo change ...


  II [RSR] FRAUDULENTLY PAINTS [JSP&KAP] AS VICTIM, WHEN [JSP&KAP] HAVE COMMI'ITED SEVERAL SERIOUS CRIMES AGAINST PLAINTIFF : Y


 [RSR]             WHA T ABOUT HIM? WHAT ABOUT JOEY ?
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PLAINTIFF        Whal about them!




[RSR]            ll'hy are your 1ights any more {than his]?




PLAINTIFF        My rights are for pmlecling /he Ji11r1re genera/ions of em1h - lo .,wvive 011 thi.v plauel! - I'm sony //,a/ you don'/ know //,a/ Greenland is melling, and il'.s

                 going lo, ac/ually, lake 011/ /he en/ire coast-lines mv1111d the Hvrld - will,in the nerl 30 years!-


 11 [RSR] FAI LS TO REALIZE THAT PLANT BIOMASS IS WHAT KEEP THE PLANET COOL THROUGH PHOTOSYNTHESIS : D
 11 IRSR] FAILS TO REALIZE THAT PLANT BIOMASS TS WHAT KEEP THE: PLANE:T COOL THROUGH PRESERVING SOIL MOISTURE: D



[RSR]            I REAll Y DOUBT THAT MOWING YOUR GRASS.. IS GOING TO MAKE {ANY DIFFERENCE] I ("Jf,)




PLAINTIFF        ac/1/ally, ac111ally. it is - fii,·t af all - eve1J1lhing - the use of ll'aler.


 11 [RSR) FRAUDULENTLY CLAIMS THAT HER t-'iCY.-lED BACKYARD IS A BUTTERFLY/BEE HAVEN : D


[RSR]            I do 1101 11.l'e Weed-N-Feed - 111y backyanl is a lmue,fly and bee haven -for those things.




PLAINTIFF        ok - but, you're 1110wi11g ii tho11gh! but you're 111owi11g ii - so, tl,ere'.5 ll'(()'S <if doing-




 [RSR]           l'M MOWING IT BUT l'M TAK/NG THE MULCH FROM THE CLIPPINGS!-




PLAINTIFF        mos/ of ii bloll's mmy in the wind!... 1110s/ of ii blows mmy i11 the wind!... and it goes lo \\'Osle!




 [RSR]            ONCE IN MY BACKYARD, IT'S THERE... AND LET All MY ROSES IN THE BACK - HAVE All THE GRASS CLIPPINGS IN THE BACK - THERE
                  IS BEING RESPONSIBLE TO THE ENVIRONMENT AND TO YOUR FELLOW NEIGHBORHOOD AND TO THE LAWS OF THE LAND!




 PLAINTIFF        ac/ua/(11. yo11're generating... it.I' a solar - so, basically, ils a mrbo11 store - 110/ only Iha/ - ;v11'1-e making /he plane/ a cooler place by having 111ore green
                  mat/er 0 11 your yard- a11d lhal includes /he bushes as \\"ell - lhe 111ore green you hm•e. //,e mo,-e Carbon-dioxide is converted into oxygen - //,at keeps the air
                  - you know, the a/111osphei-e cooler. We're already facing 11nprecede11ted heat - if ii goes above - 2-degrees-ce/si11s beyond //,e level - it'., going to 111e/1

                  Gree11/a11d!




 [RSR]            I UNDERSTAND!... I UNDERSTAND!




 PLAINTIFF
                                                                                    PAGE     3 69   OF   9 ~6
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[RSR)           BUT YOU'RE IN A NEIGHBORHOOD!




PLAINTIFF       they act... they're wildflowers ...




[RSR)           I'M NOT SAYING YOU CAN'T HAVE )'OU// VIEWS - l'M NOT SA YING YOU CAN'T BE ENV/1/ONMENTALLY-FRJENDLl'.




PLAINTIFF       see, if eve,ybody thought like you did -


 ff [RSR] FRAUDULENTLY CLAIMS PLAINTIFF IS IMPOSING PLAINTIFF ' S V/\LUES/BELIEFS ON OTHERS, WHEN THI,; EXACT OPPOSITE IS TRUE : D


[RSR]            BUT YOU ARE IN A NEIGHBORHOOD! AND IN THAT NEIGHBORHOOD - IF YOU'RE GOING TO DO YOUR YARD LIKE THIS. THEN YOU
                 SHOULD BE RESPECTFUL OF OTHER PEOPLE WHO CHOOSE NOT TO AGREE WJTH YOU· CHOOSE NOT LET YOU GI VE THEM LIFE
                 LESSONS - CHOOSE TO HAVE THEIR OIVN BELIEFS!




PLAINTIFF        I have my beliefs-




[RSR]            YOU STAND THERE AND TOLD ME MY VALUES ARE WRONG!




PLAINTIFF        HOA 's values are ,mmg - well, First of all - I'm 110/ imposing my values 011 you. They're ... The difference is...




[RSR)            THEN GO TO ANOTHER NEIGHBORHOOD!




PLAINTIFF        The differe11ce is... I'm 110/ imposing my values 011 you - you're imposing your val11es 011 me!




 [ RSR]          YES YOU ARE! YES YOU ARE-




PLAINTIFF        I'm saying that you caufollow my example - but i'm 1101 asking - i'm 1101forci11g you to follow my ernmple!-




 [RSR)           YES, BUT WHEN I PUT MY HOUSE ON THE MARKET - I'VE HAD A REALTOR LOOK - AND SHE SAYS, UNTIL YOU DO SOMETI-IJNG IV/TH
                 THIS )'ARD. YOU'RE PROBABLY {WONT} BE ABLE TO SELL YOUR HOUSE FOR WHAT YOU /VANT TO!




PLAINTIFF        11r:II, I'm - that fa· 110/ my fault!-


  a [RSR] THREATENS TO SUE PLAINTIFF, BUT NEVER DID - BECAUSE SHE NEVER DID HAVE A VALID CLAIM . D
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                Ok! Florida i.1· going lo go 1111de11ra/er!




[RSR]           I UNDERSTAND!




PLAINTIFF       Florida-




[RSRJ           I'm part ofsevem/ orga11izatiom...


 rr PLAINTIFF FAILS TO MENTION LA~INl'DWER EMISSIONS WHICH ARE THE MAIN PROBLEM : ~


PLAINTIFF       then, 1\'hy don't you ask them about the des/111ctive impact... if you could look al the long impact 011 the entire ... you'd be swprised.. lawn-mo1\'ers - you
                know - use up a huge amo1111t qfgasoline...




[RSR]            then, use a push moll'er.




PLAINTIFF        even if it does, it doesn't solve the issue of!fi,~·t offal/, destroying thefe11ility of tl1e la11d!- destroying the fact that-




[ RSRJ           YOU'RE NOT ON A FARM! BUT, SEE T/-1/S JS THE DIFFERENCE!




PLAINTIFF        It doesn't?!... ll'hal !f}i1t11re genemtio11s 1rnn1 to grow food here? ll'hat if they 11a11ted-




[ RSR]           YOU LIVE IN A NEIGHBORHOOD! YOU'RE NOT IN THE COUNTRY!




PLAINTIFF        f11t111e genemtions-




[ RSR]           YOU'RE NOT A FARM!




PLAINTIFF         )'0 11 have to look at 111ml future generations might 11•ant! right - 11-e can't just des/my the land here - and 1101 only that - especially, people we 11sing all

                 so11s of chemicals 011 theiryairl - i'm 110/ saying you we, but they we... And I'm fl ying to make thefertility of the land las/ as long as possible. That's why
                 i'm t1ying to keep the ''!reeds" there - the "11•ee<l~" me 1rhat add bio-diversity to the soil - add,· all the beneficial bacteria - thef1111gi - the eorthworm.1· -

                 ond eve1J1thing - the grubs - 111,atever else that are keeping the soil fe11ile!-




 [RSR]           Then do11/' 11se organic 11eed-killers because 11-eeds are so importaut...




PLAINTIFF         why? yes - weed,· are actually impo11ant...
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~ MORE IMPORTANTLY ,    [RSR] ~/ANTED THE [HOA] TO DO THE RISKY /BURDENSOME/UNPLEASANT /EXPENSIVE LITIGATION \·/ORK FOR HER :                                                   D


[RSR]           AND WHEN THAT HAPPENS SID! GUESS WHAT - THERE IS A FINANCIAL IMPACT - IVHICH IS A CIVIL MATTER!-




PLAINTIFF       you 're actua/Jy ll)'iug ta tlireateu me. here...




[RSR]           NO - IVHAT l'M TELLING YOU IS!-




PLAINTIFF       I'm /1yi11g lo make J/,i., a co11versa/io11...




[RSR]           THE LA IV IS THERE! IF YOU FIGHT THE LA w: IF YOU DON'T LIKE THE LA IV- GO TO THE LA IV- AND THEN FIGHT TO CHANGE IT. BUT

                Bl' DOING THIS!-




PLAINTIFF       The law alreac91 pro/eels my rig/Ifs!-




[RSRJ            YOU'RE ONLY {INFRINGING] THE RIGHTS OF OTHER PEOPLE! AND THAT'S NOT RIGHT!-




PLAINTIFF       1/,e law a/rea(Q' pro/eels my rights! ma'am - //,aJ'., what I'm lying lo e.1plai11!




[RSR]           NO - IT DOESN'T!




PLAINTIFF        IT DOES! THE 2012 ... SO, IF YOU LOOK AT Tl·/£ ...


 « [RSR] REW:.ALS 'l'HAT SHE IS TOTALLY IGNORANT OF THE 2012/2013 LA~I THAT RESTRICTS [HOA] ENFORCEMENT : iJ

[RSR]            THAT DOES NOT APPLY TO PEOPLE WHO LIVES IN (HOA}!


 « PLAINTIFF MISTAKENLY CITES CHAPTER 209, ~IHEN PLAINTIFF MEANT CHAPTER 202 : D

PLAINTIFF        No ii does! - ii says {HOA}s - J/,e Pivperly Owners Associalion may NOT - ii says may NOT - p1vl,ihil //,e l,omeowner'.s righl lo, and ii 0111/ines - "dmug/,f
                 resi.,1c1111 lc111cl,caping"... "solar device.<"... all J/,ese rig/Ifs are 011//ined in Te.ms Properly Code - Chap/er 209 - you look al //,a/ - you see //,a/'.1· whal ii
                 does... 110111, ifyou wan/ me.... if you lhink-




 [RSR]           YES!




PLAINTIFF        if you pr({/'er so111e1/,i11g else, like you \\'ere /a/king about - 1/,e rocks... Iha/ is so111elhi11g thal i'm comideriug - /el me look i1110 Iha/ - bu/ 1111/il //,en - you
                 may 1101 i11Jii11ge upon my right - do 1111de1:s1a11d what i'm sayiug? lei me-

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[RSR]            THEN, WHl' ARE l'OU INFRINGING ON MY RIGHT!




PLAINTIFF        I'm 1101 i11ji·i11gi11g 011 1•011r rightI




[RSR]            YES YOU ARE!




PLAINTIFF        11-hat i'm talking about is Tems law - Te.ms Prope11y Code protected l,0111eow11e1:v right-




[RSR]             l'OU'RE INFRJNG/NG ON MY /UG/-/TS- YOU'RE INFRINGING ON MY PROPERTY VALUES!




PLAINTIFF         i'm - No, 110 - 110 }ii,·/ ,if all - the Texas Pmperty Code s11pe1~-etles that - it actually protects my right! you're properly values \\'ere..




[RSRJ             WHAT ABOUT MY RIGHT NOT TO SEE THIS!




PLAINTIFF         yaur property-


 g [RSR] MAKES OUTRAGEOUSLY-FRAUDULENTLY CLAIM i'lILD I\NIMALS ARE INFILTRATING HER PROPERTY ACROSS STREET . D
 ~ - A LAUGHABLE CLAIM THAT HAS BEEN FRAUDULENTLY ENTERTAINED BY THE [HOA] AND DEFENDANT !WC] : D



[RSRJ             WHAT ABOUT MY RIGHTTOKNOIVT/-IAT ALL THE ANIMALS AND ALL THE CRAP THAT FROM OVER THERE AND INTO OUR YARD!?




PLAINTIFF         I could - so. fi1:1·1 of all. I could - I do 1101 like //,e carefully 111011ic11red /aucl,-cape Iha/ you have - bu/ am I co111i11g lo you and I telling you, you know,

                  "Don't have your yard like !his!"




 [RSR]            I FOUOIVTHE [HOA} COVENANTS - BECAUSE, IF I LET MY YARD GROW- GUESS WHAT- I GETA LOVE LETTER FROM THEM!




PLAINTIFF         So do I - I get fellers}i'OIII them as ll'ell... You lhi11k i'm jus/ avoiding the fellers - 110, i'm co11tacti11g !hem and lelfing /hem k110111 - /his is II!)' right - a11d i'm
                  /lying Jo protect my rig/,/ - i'mfighlingfor my right here. .. See, if 110-one did ll'hat I \\'as doing... if 110 oue did .. see, if 110-oue did. ..




 [ RSRJ           SID, I UNDERSTAND YOUR RIGHT - BUT YOU HAVE TO UNDERSTAND THE RIGHTS OF OTHERS!




PLAINTIFF          Whal are )'Oil /a/king about! these are my righls bei11g exercised-


  I[ [RSR] FRAUDULENTLY SAYS " NEED". AT BES'!' , ttD\·/ING-GRASS IS l\ "~/AN'!'" - A VERY WASTEFUL/DESTRUCTIVE " ~IANT" - NOT A " NEED".                                                  D
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[RSR]            THE RIGHTS OF OTHERS - TJ-JE NEEDS OF ONE DO NOT OUTWEIGH THE NEEDS OF ALL!




PLAINTIFF       j)i:,1 of all - my 1ighls do 110/... my lighls do 1101-




[RSR]            YOUR RIGHTS DO NOT SUPERSEDE THE RIGHTS OF THE NEIGHBORHOOD!




PLAINTIFF        110, ii does11'1 - Iha!'., 1101 whal I was saying!




[RSR]            MOW YOUR GRASS, SID!




PLAINTIFF        No. See, )~JI/ do11'1 wa,ma... you don'/ 1m11110-




[RSR]            IVE DONT' LIKE THIS! THIS JS UNSIGHTLY! IT'S UNKEMPT!




PLAINTIFF        So, Aclually-


 ~ PLAINTIFF STRONGLY PREFERS - IN FACT LOVES - UNCUT GRASS OVER ROCKS/CACTUS AND SHOULD NOT HAV£ TO MAKE /\NY COMPRQ''1IS£ : Il


[RSR]            AND. IF YOU DON'T LIKE IT- THEN DO SOME ZERO-SCA PING - GETS SOME ROCKS, GET SOME CACTUS!


 ~ PLAINTIFF POINTS OUT THAT IF THE DEFAULT BERMUDA-GRASS \·/AS LEFT UNMOWED, IT IS A ZERO-SCAPE :                                 Il
 {£ PLAINTIFI" POINTS OUT EVEN [F-HOA-BOD] [SPOA-VP-Afl] At\\JITTED THAT BERMUDA-GRASS IS A ZERO-SCAPE IS A ZERO-SCAPE:                                 Il


PLAINTIFF         //mi's.. j7rsl ofall, even !he {HOA] Board member whom I spoke lo admilled that this \\'as zero-scoping... Even she admilled lfw/ 1




 [RSR]            IT'S NOT ZERO-SCA PING!




PLAINTIFF         It is zero-scapi11g! she admitted Iha/ - I go/ her {011 record]!


 ~ (RSR] STRONGLY OBJECTS TO PLAINTIFF CONTINUOUSLY-RECORDING USING PLAINTIFF ' S BODY-WORN-CAMERA : D

 ~ [RSR] POINTS TO PLAINTIFF ' S BODY-WORN-CAMERA :                     D


 [RSR)            ARE YOU NUTS?! THAT'S.JUST BULLSHIT!-




 PLAINTIFF        So, 111,at?!


  ~ APTER /\LL OF THE SUBSTANTIAL MALICIOUSNESS/CRIMES THAT PL/\INTIFF HAS SUFFERED FROM [RSR) , [JSP&K/\P] , [JJB] , [\·ICLE] , [HOA]- H
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~ - [ RSR] STILL QUESTIONS PLAIN'l'IF'F AS TO ~/HY PL.l\INTIFF RECORDS PEOPLE : iJ



[RSR]                WHY DO YOU GOT TO TAPE PEOPLE?!




PLAINTIFF            Well - you were 01'e1· /rel'e doing the swnc thing/


 « [RSR] AD:-IITS THAT SHE WAS INTI MIDATING THE PLAINTIFF IN-ORDER-TO INFURIATE THE PLAINTIFF : iJ

[RSR]                JUST TO PISS-YOU-OFF! - AND JUST TO SHOW YOU HOW STUPID IT IS!




PLAINTIFF            to piss.. Oh. so them are 111a11y people that...




[RSR]                JUST TO S/-IOIV YOU /-/OW STUPID IT IS!




PLAINTIFF            Well. i'm t1ying to protect myself!


     ~ [RSR) FRAUDULENTLY CLAIMS NO ONE TRESPASSED/WILL- TRESPASS ON PLAINTIFF ' S PROPERTY WHEN RECORD REPEATEDLY PROVES O'l'JIERWISE :

il


( RSR]               NOBODY IS GOING TO COME TO YOUR YARD- NO-ONE IS GOING TO TRESPA SS ON YOUR PROPERTY!




PLAINTIFF             ll'ell, they 1rerej11st doing- ll'lwl ll'ere they doing! To 111e, I con\'ider //,at... {trespossingJ.


     ff [RSR] A[X.UTS TO [JSP] TRESPASSING ON '!'HE PLAINTIFF' S YARll : iJ


 (RSR]                HE WAS JUST- JOE WAS JUST PROTECTING HIS YARD FROM YOU!




PLAINTIFF             Protecting /,is? I'm talking about tire landscapers - I'm 110/ blaming them, l'111j11s/ saying - "Wiry were they doing what they're doing?" I'm h)•ing to protect

                      my property!




     [RSR)            BECAUSE IT'S A VIOLATION OF THE {HOA]!




 PLAINTIFF            No, they were just fol/owing oirler/i! And I have to tell the111, !hat 111!forll111ately, I cmmo/ lei you do /Iris!




     (RSR]            SID - SID - IT DOESN'T GIVE l'OU THE RIGHT.. IF YOU WANT TO ZERO-SCAPE, THEN ZERO-SCAPE - BUT HERE'S THE Tl-I/NG!-




 PLAINTIFF            I'm... !Iris is a zem-scape!


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[RSR]           IT MUST BE NEAT - T/-1/S IS UNKEMPT AND UNSIGHTLY!




PLAINTIFF       It'.\· 1101! Thal i.1· yo111· {subjective opi11io11]! See. /'111 actually co111pro111isi11g by actually picking 0111 the tallest 11vteth ... I don't eve11 have to do that... To be
                honest wit/, you... Tftis nctua//y looks more nllroctivc...




[RSR]            Well, ok, if you're going to do that...




PLAINTIFF        My l,011est... My !,011est opi11io11...




[RSR]           SO, WHAT MAKES THAT - WHAT MAKES THAT WEED LESS VALUABLE TO YOUR ZERO-SCAPE-




PLAINTIFF        That's because I'm not - /'1111101 doing any much damage to the landscape - at all. 1'111 basically ha11d-picki11g - I'm !,a11d-picki11g - /'111 ha11d-picki11g.


 11 (RSR] FRAUDULENTLY EQUATES MITIGATING-DAMAGE ( PICKING TALLEST WEEDS ) TO TOTAL-DAMAGE (!",OWING ALL GRASS/WEEDS) : D


[RSR]            WELL, IF YOU'RE ABOUT MITIGATING DAMAGE - THEN, BY ALL MEANS - TRIM 1T AND MOW IT!


 11 BY "ENERGY", PLAINTIFF IS REFERRING TO SOLAR ENERGY CAPTURED BY PLANTS AND STORED IN PLANT ' S BI O-MASS : D


PLAINTIFF        110, that'., /1011-ible - thar ,rould be hon-ible - that \1'011/d be - have yon see11 the a111011111 af ll'ater that comes 0111 of the gm.1:< after you mow it! it'., a waste!
                 Not 011/y the 11nte1; but all that.. all that energy!




[RSR]            MOVE TO ANOTHER NEIGHBORHOOD, SIDI SID - LEAVE THE NEIGHBORHOOD![???}




PLAINTIFF        All that energy is 11mted .. You're 11si11gfossil-f11el energy to do that as well!


 11 (RSR] FRAUDULENTLY POINTS TO PLAINTIFF ' S GASOLINE-PO\•IERED-C/\R WHEN S HE KNE\'J PLAINTIFF BARELY USES JT LESS-THAN-5-TIMES-PER-

YEAR :   »

[RSR]            Then, ll'hy do you hal'e a gas-pa11v.,1vtd car?




PLAINTIFF        I do11't use - have yon 110/iced that I never use it! Aud.first of all, I ,.,ill be b11yi11g au electric car that i.1· going lo be pm,ffed by salar-pa11els - 1'1111101 i11
                 Iha/ posilio11 yet!


 I( [ RSR] FAILS TO UNDERSTAND THAT CLEAN- RENEWABLE- ENERGY CAN BE USED TO GENEMTE MORE CLEAN-RENE\o/ABLE- ENERGY MATERIALS :                                                             »

[RSRJ            AND SO- GUESS WHA T MAKES- GUESS WHAT MAKES THOSE SOLAR PANELS - GUESS WHAT MAKES All OF THOSE PARTS! FOSSIL
                 FUELS!


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PLAINTIFF             ll'hat?! actually - 110 it doesn't ! First of all - it'.,· sand- it'., actually mostly sand and silica that makes 11p a .wlar panel. and also electric co111po11e11ts -
                      which are also ba.1·,'ll 011 mostly...




[RBR)                 WHAT ABOUT - THE ELECTll/CITY THAT CHARGES YO UR BATTERIES/




PLAINTIFF             a1-e JYJU against .wlar tedmology? i meam·, ok, so ...




[ RSR]                110 i'm 110/ agaiml solar technology.




PLAINTIFF             solar and wind are like - the most c/ea11 - the most clean technologies that JV/I/ co11ld possibly have!




[RSR)                 l'M NOT AGAINST THESE THINGS... l'M NOT AGAINST THESE THINGS!




PLAINTIFF             Ok, so - that's ll'hat i'm hyi11g ta get to! Aud I 11'<1111 lo pmtect my rights!


    0C   (RSR] ACCUSES PLAINTIFF OF HYPOCRISY \·/HEN (RSRJ , THROUGH VARIOUS ACTIONS, HAS PROVEN HERSELF TO BE A M/\STER OF HYPOCRISY :

~



[RSR)                 WHA T l'M SA YING JS THAT YOU NEED TO IDENTIFY THE HYPOCRISY!




PLAINTIFF             It is 1101 a hJq1ocri.1)•! l et me {be] dear!




[RSR)                 YOU NEED FOSSIL-FUELS TO PRODUCE THE ELECTR IC/Tl'!




PLAINTIFF             It is 1101 usingfo.~,il-J uels! ...




[RSR)                 PEOPLE AR£ USING ELECTRJGTY BECA US£ THEY THINK IT'S CLEAN... YEAH, IT'S CLEAN. .. BUT GUESS WHERE YOU GET TH£ ENERGY
                      TO GENERATE THE ELECTRICITY?!




PLAINTIFF             111wl JYJII talking about it!! It'., genemted by solar panels!


    ~ (RSR] Aet-lITS TO BEING PART OF THE: CONSPIRI\CY WITH THE [HOA] AGAINST THE PLAINTIFF :                                         »

[RSRJ                 YOU KNOW Wl·IAT - l'M AM GOING TO SUPPORT MY {HOA] - TO TRY TO GET YOU TO MOW AND KEEP l'OUR YARD TIDY! BECA US£.
                      HERE'S WHY!


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PLAINTIFF          SO.. So, you keep.. So, you're !he one !hat keeps going agaim·/ me!




[RSR]              POOR CHRIS ASKED YOU KEEP IT CLEAN SO HE COULD SELL HIS HOUSE!




PLAINTIFF          So - I did! Laok at 1rhat I did - yo11 know, he basically. asked me lake out all of this slt!/f. and I did! I complied with his {requests}!




[RSRJ               [SID - YOU DON'T FOLLOW THE RULES]. IT'S OK NOT TO FOLLOW THE RULES - THEN MOVE! MOVE!




PLAINTIFF           No - aclually 110 - I'm flying lo make people more all'are...


 ~ [RSR] FMUDULENTLY CLAIMS PLAINTIFF IS IMPOSING HIS VALUES ON OTHERS , WHEN THE ElffiCT OPPOSITE IS TRUE : D



[RSRJ               WHEN YOU KEEP - WE DON'T WANT TO BE MORE A WARE! YOU'RE FORGNG YOUR VIEWS ON US!




PLAINTIFF           No, that's actually- thaf~• 1101 tme - yo11're.forci11g your vie11(1" 011 me!


 ~ [ RSR] FRAUDULENTLY FAILS TO DISCLOSE THE MANY l·rAYS IN WHICH SHE VIOLATES THE RESTRICTIVE-COVENANTS : D



[RSRJ               J'/"1 NOT - J'M FOLLOWING THE RULES!




PLAINTIFF           I'm flying to do... No, actually, 111 doing who! I'm doing...




 [RSR]              BECAUSE IF I DON'T WANT TO FOLLOIVTHE IWLES OF THE [HOA] - THEN MY CHOICE JS TO FOLLOIVTHE RULES, GET FINED OR

                    MOVE!




PLAINTIFF           110 - 110 - see, see /ml the thing is - !hat eli111i11a/es - that eli111i11ates !he option forj11stice! And I'm t1yi11g to .fight forj11stice here!


 K [RSR] FRl\UDULENTLY IGNORES NOT ONLY HER VIOLATIONS OF RESTRICTIVE-COVENANTS BUT ALSO LAWS - HER PRIOR CRil-1ES AGAINST
 PLAINTIFF :   D


 [RSRJ               YOU THINK THAT THE RULES DON'T APPLY TO YOU!




 PLAINTIFF           I will never stop fightingforju.vtice! Do you 1mde1~-t<111d what I '111 saying - I will alll'ays! - ok...


  [   [ RSR] AD.'ilTS TIIAT SHE IS ANTI -JUSTICE :           D


 [RSRJ               WE DON'T WANT YOUR JUSTICE - JUST, MOW YOUR YARD!


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                   YOU CAN SAY THOSE THINGS- BUT YOU KNOIVIVHAT?I WHAT YOU SAY DOES NOT MATTER- PRETTY MUCH WHAT YOUSAYTO THE
                   REST OF US- BY YOUR PRESENTATION- YOUR LACK OF CONSIDERATION FOR OTHERS!




PLAINTIFF          Actually - tl,af is 1101 tme at all! That is 110/ true al all! You know that is 1101 true al all! I've basically debunked your arg11111e111aud you know that's 110/

                   1111c al all! I appreciate ..




 [RSR)             NO YOU DIDN'T/




PLAINTIFF          I did!


 0C   [RSR] CANNOT HELP BUT REVEAL HER RACIST ATTITUDES TO\'IARDS •rHE PLAINTIFF: D



 [RSR)             fT SHOWS 1-1O/V STUPID YOU ARE! /-/OW SELFISH .. OK, SIDI



  g PLAINTIFF MAKES REFERENCE TO THE PLAINTIFF' S CELEBRATION OF " INDIGENOUS PEOPLES ' DAY"                                         D


 PLAINTIFF         Oh, "stupid"! Oh, really - I'm the "stupid" one! Oh, I see what you - you think of i11dige11011s people! This is what you think of culture colored people -

                   colored people! i11dige11011s people! ok - that's what I - I see what you're saying! ...


  ff [RSR] l'IALKS TOWARDS HER DRIVE\-IAY AND ENTERS B/\CK INTO HER HOUSE. D
  g PLAINTIFF THEN STARTS TO TAKES FE1·/ MINUTES TO RECORD DAMAGE DONE TO PLAINTIFF ' S LANDSCAPE FROM FORCE-ClJT GR/\SS/BUSHES . D
  K PLAINTIFF THEN ENTERS B/\CK INTO [HOUSE] AT [788KLLTX78641] . D



i378
During the same day of {2016-10-11}, shortly after [RSR]'s fmal response in the previous posting - and immediately following [RSR]'s

previous in-person stalking/intimidation/interference/disorderly-conduct/blackmail of the plaintiff (while the plaintiff was stopping the [HOA)

force-mowers from force-mowing the [YARD]), which included one her many lengthy in-person racist rants against the plaintiff - [RSR]
                                                                                                                                                                    11
posted the following racist, intimidating and threatening public messages on the [Summerlyn] subdivision's 11nexldoor.co111 social-media-

platform, demanding that the [HOA] take legal-action against the plaintiff for the plaintiff's refusal to mow the plaintiff's grass (in-line-with the

plaintiff's religious/cultural/racial views and in favor of true drought-resistant-landscaping) and because the plaintiff denied and refused-to-allow

the [HOA] force-mowers to force-mow the [YARD]. First, while [RSR] is addressing the then [HOA-BoD]s, [RSR] refers to the [HOUSE] as

"Our house", indicating not only that the plaintiff, due to the plaintiff's racial-profile, is not the rightful owner of [788KLLTX7864 I], but rather
that they - [RSR] and her White-American (or overwhelmingly White-American) co-conspirators, [JSP&KAP],[HOA],[WCLE] - are the actual

and rightful owners of the [HOUSE]. As this posting shows and the previous posting shows, [RSR] is warned multiple times by both [f-HOA-

BoD][MP] and [f-HOA-BoD][SPOA-VP-AH], not to talk about such private matters or any other matter involving homeowners rights in a

public forum, but instead that [RSR] should send private-messages/emails to the then [HOA-BoD]s - which the plaintiff can only interpret to be

a clear indication of an illegal secret conspiracy against the plaintiff between predatory White-American residents [RSR], [JSP &KAP], [DMP],

any other residents that these predatory residents successfully indoctrinated via racist propaganda, and the [HOA],[WCLE] - with [WCLE]

playing a much more active role in such conspiracy in the years following this incident. As [RSR]'s own admissions would continue-to-reveal
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(during these incidents and future incidents), this illegal secret conspiracy against the plaintiff, which occurred solely due to a combination of

the plaintiff's racial-profile and the plaintiffs political-profile, had existed since the initial years that the plaintiff resided within the subdivision of

{2009} through {2011}. Also, [DMP] - a close associate of [RSR],[JSP&KAP] - "thanked" [RSR]'s final posting showing that this illegal

secret conspiracy against the plaintiff also included - at that moment in time, [DMP]. The plaintiff discovers these social-media-postings only

well-after they actually took place, but once the plaintiff did discover these social-media-postings, the plaintiff was indignant and remains

indignant that the plaintiff was publicly humiliated, defamed { @ ) and privacy-invaded by this racist, fraudulent narrative in this public-setting

by [RSR],[DMP] and their co-conspirators. The racist, fraudulent narrative documented in these social-media postings would also serve as a

fraudulent justification for the then [HOA]'s (run by abusive, oppressive, corrupt, dictatorial [f-HOA-BoD]s [SPOA-P-BC], [SPOA-VP-AH]

and soon-to-be [f-HOA-BoD][DMP]) outrageously unjust lawsuit against the plaintiff in {2017} {@) When looking at all the plaintiff's

evidence against the defendants in its totality, it is indisputable that, by posting this additional social-media-posting, [RSR] engaged in

intimidation/ interference, wire-fraud, witness-tampering and online harassment/stalking against the plaintiff:
  •   "llo&J:d rrmbertl'   ,    Naxt:door S\mmrlyn Laondar •     [RSRJ •         (2016- 10- ll) •
  •   httpe : / /nextxloor. ooa,/,_._ f-s./"?poabm34101467


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                                                               board members. it hJ3 been 7yearst
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                                                                        much as trere Is a wl-.:>le lega rroces.s In rAa/ here
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 1379
 On or about a late-afternoon/early-evening on a Saturday or Sunday in the middle of the month of {2016-l O} (most likely during the day of

 {2016-10-22} or {2016-10-23} ), the plaintiff was with [PARENTS] inside the garage of the plaintiffs property [788KLLTX7864 l ], as

 [FAT HER] was helping the plaintiff jump-starting the plaintiffs vehicle (since the plaintiff barely used the vehicle a few times per year and the

 battery had been completely discharged, rendering the vehicle inoperable). At some point in time, the plaintiff noticed [JSP] located around the

 sidewalk in front of [788KLLTX78641], and the plaintiff noticed soon-to-be [f-HOA-BoD][DMP] approach [JSP] on the sidewalk, and then

 start a conversation with [JSP]. The plaintiff overhead the conversation which was clearly of a very malicious and conspiratorial nature against

 the plaintiff, about how [PARENTS] were approving of the plaintiff leaving the plaintiffs front-yard grass unmowed, which is what they

 perceived-to-be in defiance of White-supremacy. The plaintiff had always maintained, in several emails to the [HOA], and in the

 aforementioned abusive, racist rants from [RSRJ that the plaintiff was merely trying to protect the plaintiff's right to maintain a truly-drought-

 tolerant (and thus "no-mow') grass as the relatively-new Texas law now allowed for. It was clear from this incident that both [JSP] and soon-

 to-be [f-HOA-BoD][DMP] intentionally spoke loud enough, and in a malicious and conspiratorial manner, so that they could be overheard by

 the plaintiff and [PARENTS] - as a subtle form of racial intimidation/interference performed in-order-to coerce the plaintiff to strictly follow

 their White-American standards of property-maintenance, and thereby never even question White-supremacy. As the sequence of incidents

 reveals, all of these racial intimidation/interference tactics by [JSP],[RSR] and soon-to-be [f-HOA-BoD][DMP] were all part of their long-term

 conspiracy, strategy and justification to force the [HOA] to sue the plaintiff - which would eventually happen in the beginning of {2017} - see

 below.
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<[380
On or about an evening at the end of the month of {2016-11}, the plaintiff was kneeling on the (FRONTYARD] grass, planting small

amount(s) of some vegetation in the [FRONTYARD]. The plaintiff suddenly noticed that [RSR] had approached the plaintiff and was standing

on the sidewalk bordering the plaintiffs property. (The plaintiff is very-alarmed and distressed whenever [RSR] is close to the border of the

plaintiffs property, because [RSR] has already been sssued a [CTW] against the plaintiffs property.) [RSR] questioned the plaintiff as to what

the plaintiff was planting. The plaintiff questioned [RSR] as to why she cared what the plaintiff was planting. [RSR], this time pretending to act

in a friendly manner towards the plaintiff, but in reality, maliciously !tying to manipulate the plaintiff into providing her with infmmation -

information that she could then later-on use against the plaintiff - responds, "Hey, I have a green thumb, tool" The plaintiff responds that the

plaintiff is '),/anting plants". [RSR] responds that she has gardening hand-tools to aid the plaintiff in the planting of such vegetation,

maliciously and manipulatively pretending as ifto offer to help the plaintiff to plant such vegetation. The plaintiff rejects any of [RSR]'s offers

to help, knowing fully-well, [RSR]'s extremely-manipulative tactics and sinister motives. [RSR] would shortly walk-away from the plaintiff,

after realizing that she was not able to manipulatively extract the information from the plaintiff that she had desired. It is important to note that,

at this particular moment in time, and as the upcoming incidents will show, at least 3 of the plaintiffs predatory neighbors - [JSP&KAP],

[RSR],[DMP] - were all illegally conspiring behind-the-scenes with the [HOA] to file a lawsuit against the plaintiff, due to the plaintiffs refusal

to mow the [FRONTYARD] grass in-order-to maintain truly drought-resistant-landscaping (as protected by the then recent Texas law). So,

[RSR] was approaching the plaintiff and recording the plaintiff as an attempt to use the plaintiffs own words against the plaintiff in such

upcoming [HOA] lawsuit against the plaintiff. Again, [RSR]'s sinister strategy against the plaintiff may have been successful if the plaintiff did

not already have, at that moment in time, almost a decade of evidence of [RSR]'s (and her co-conspirators') racially-motivated, malicious and

criminally-abusive actions against the plaintiff.



 <[381
On or about a subsequent evening at the end of the month of {2016-11}, the plaintiff was kneeling on the [FRONTYARD] grass, again,

 planting small amount(s) of some vegetation in the [FRONTYARD]. At some point in time during this activity, [JSP] yells out to the plaintiff

 from approximately 40 feet away near the border his property [784KLLTX7864 l ], demanding to know what the plaintiff was doing. The

 plaintiff informs [JSP] that the plaintiff was planting some vegetation. [JSP], outraged by what he considered to be the plaintiffs "unapproved

 changes", angrily storms away as if to indicate that he demands legal-action against the plaintiff from the [HOA].



 <[382
 On or about a subsequent evening at the end of the month of {2016-11}, the plaintiff was kneeling on the [FRONTYARD] grass, this time on

 the opposite side of the [DRIVEWAY], again, planting small amount(s) of some vegetation in the [FRONTYARD]. The plaintiff suddenly

 noticed that [RSR] approach across the street, with a camera-phone in her hand, shouting the typical fraudulent and racist narrative into her

 video-recording, "WHATARE YOU DOING, SID?! LOOK ATALL OF THE HARM THAT YOU'RE CAUSING TO VOUR

 NEIGH/JOI/Sf", fraudulently pretending as if the plaintiffs planting of small-amounts-of vegetation in the plaintiffs [FRONTYARD] (and/or
 the plaintiff leaving the [FRONTYARD] grass unmowed) is some-how causing harm to the plaintiffs White-American neighbors. In the State

 of Texas, [HOA]s often sue property-owners for damages, whenever such property-owners are alleged to have committed some restrictive-
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covenant violations, but as relatively-recent precedent-setting court-cases in Texas have demonstrated, [HOA]s are not able to actually obtain

damages verdicts unless [HOA]s are able to prove/establish that actual harm was caused onto the [HOA], which ir1 almost all such cases, is

vety difficult, if not impossible for [HOA]s to do. Thus, whenever a [HOA] sues property-owner(s) in Texas, and such lawsuit is contested by

the respondent(s) without any settlement, the (HOA] is, at best, only able to obtair1 reasonable-attorneys-fee(s) and/or irtjunctive-relief, but

rarely, damages. So, [RSR]'s nanation of this fraudulent narrative against the plaintiff into her camera-phone video-recording is quite deliberate

and purposeful - painting such fraudulent narrative directly into her video-recording that the plaintiff had caused harm onto the plaintiffs

White-American neighbors - and yet another ir1tirnidation/interference tactic by [RSR] agair1st the plaintiff.




i383
On or about the approximate date of {2017-01-23}, the plair1tiffs senior-citizen parents, [PARENTS], residing in a neighborir1g subdivision

(only a few miles away from the plair1tift) - received a certified-mail-return-receipt-requested [CMRRR] from the Attorney/Law-fn-m

representing the [HOA] of the [Summerlyn] subdivision, threatening to ftle lawsuit against the plaintiff and/or [PARENT SJ, if the plaintiff

did not cut the plair1tiffs grass. [PARENTS] abnost irnmediately notified the plaintiff about this threat of legal-action, which caught the plaintiff

completely off-guard - as the plaintiff was expecting that since the plair1tiffwas ah·eady periodically picking'cuttir1g the tallest so-called "weeds"

in the [FRONTY ARD], ir1 accordance with the relatively-new legislation affording property-owners the right to mair1tair1 "drought-resistanl-

land,caping" (and any practices thereof), that the plaintiff had ah-eady compromised with the [HOA], and that the plair1tiff did not need to

compromise any further with the [HOA]'s unreasonable demands, especially, given that the plair1tiff had ah-eady made the aforementioned

proposition to the then-[HOA-BoD]s regarding grass replacement, and especially given that the obsolete/outdated contract (written ir1 the year

 {2004)/ {2005}/ {2006)) that the [HOA] was referrir1g to, was not amended, in any way, to accommodate the new law concerning "drought-

resistant-land,caping" takir1g effect at the end of the year {2013}, and most irnportantly, given that the [HOA] was exclusively actir1gon the

predato1y blackmail of malicious neighborn with extreme-racial-anirnus against the plaintiff: [JSP&KAP],[RSR] (and their cronies). This threat

of legal-action, nonetheless, involuntary forced the plaintiff, through no choice of the plaintiffs own, to seriously follow-through on the

aforementioned grass-replacement, whether or not the [HOA] was willing to pay for it. The plaintiff began to formulate plans to re-landscape

the [FRONTYARD] with a species of "no-mow" grass, along with drafting an official "architectural-approva/ 11 document to be submitted in

 short-order to the [HOA], even though the plair1tiffhad knowledge that several homeowners within the subdivision including [JSP&KAP] had

 ah-eady replaced their original-builder-ir1stalled grass with a different species of grass without seeking or obtainir1g approval from the [HOA] at

 any point in time. From the dates of {2017-01-24} through {2017-01-30}, the plaintiff began to order supplies, materials and equipment in-

 order-to perform this re-landscaping work, because, at no poir1t ir1 time, was the plaintiff willing to abandon the plair1tiffs strongly-held

 religious/cullural views/practices of refraining from cutting vegetation - especially, since there was also a larger "no-mow" movement taking root

 nationwide by like-minded political-activists challenging such antiquated, draconian and ethnocentric/culturally-insensitive laws concerning

 vegetation on private-property.



 ~384
 On or about the morning of {2017-01-30}, the plair1tiff is in the [FRONTY ARD] surveying the work that needed to be done for such re-

 landscapir1g, includir1g takir1g measurements of the area that needed to be replaced, and making note of other tasks that needed to be

 completed. [JSP] drives his pickup-truck down the road, pauses in front of the plaintiff, and with passenger-wir1dow down, angrily yells at the

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plaintiff, ''HEY SID, THE ELECTION IS OVER!", referring to the plaintiffs United-States-Green-Party "Stein/Baraka" political yard sign that

read "People, Planet and Peace over Profit" posted at approximately the same location in [FRONTYARD] as the plaintiffs subsequent yard-

signs. [JSP]'s statement was so brazenly revealing, demonstrating his far-right-wing-extremist political-animus against the plaintiff. By making

such statement, [JSP] was conveying to the plaintiff, in refe1Ting to the recent United States Presidential Election of {2016}, [USPEo2016],

that, to use the conventional expression, "There's a neiv mayor in town", and as a result of such "neiv mayor", that the national tide had finally

shifted against the plaintiff. It is a well-documented fact that far-right-wing-extremist intimidation/interference and other violence sharply-

escalated - according to some estimates, quadrupling - after the [USPEo2016], with far-right-wing-extremists extremely emboldened by the

recent [USP Eo20 I 6] resulting in the President of their choice. The plaintiff ignored [JSP]'s obvious attempt to intimidate the plaintiff with such

[USPEo2016] results, instead responding that the plaintiff would be re-landscaping the [FRONTYARD], and as result of such re-landscaping,

the plaintiff would need to remove such yard-sign in any case. Not coincidentally, in the years after the [USP Eo2016], the plaintiff would

suffer a sharp-escalation of racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses by [RSR],[JSP&KAP] against the

plaintiff, with both far-right-wing-extremists [RSR],[JSP&KAP] fully emboldened by the recent [USPEo2016] resulting in the President of

their choice. [JSP] gave the plaintiff a thumbs-up, pretending to be in support of the plaintiffs re-landscaping efforts when all of the evidence

that the plaintiff would continue to gather would continue to show that both [JSP&KAP] and [RSR] were maliciously and secretly conspiring

with the then-[HOA] against the plaintiff - backstabbing/badmouthing the plaintiff using the same relentlessly-racist propaganda, including, but

not limited to, the ir use of social-media (see above), that they had engaged in against the plaintiff for over 7 years at this point in time, and even

blackmailing the theu-[HOA], demanding that the then-[HOA) take inunediate and heavy-handed legal-action against the plaintiff, in-order-to

foreclose-on the plaintiff's private-property.



<_[385
On or about the date and time of {2017-01-30 15:30}, the plaintiff and the plaintiffs senior-citizen parents, [PARENTS], in response to the

predat01y/abusive/threatening letter that the plaintiffs parents received from the [HOA] attorney, started to place sheets of cardboard to cover

the [FRONTYARD] grass in-order-to both satisfy the [HOA]'s mu·easonable demand of mowing grass over 6-inches in height, and start the

process of grass decomposition, so that once fully decomposed or at least sufficiently decomposed, a new species of "no-mow" grass could be

installed, again to placate the [HOA]'s unreasonable demand. [PARENTS] had just arrived with multiple large sheets of cardboard that they

placed in the [FRONTPORCH] of the plaintiffs property prior to installation. The plaintiff's senior-citizen father, [FATHER], was assisting the

plaintiff in installation of these large sheets of cardboard over all the existing [FRONTYARD] grass that the [HOA],[RSR] had fraudulently

claimed was not in compliance of the aforementioned, obsolete restrictive-covenant(s). As [FATHER] and plaintiff were installing such sheets

of cardboard, [RSR] arriving at [789KLLTX7864l] in her vehicle, immediately notices the plaintiff and [FATHER], and starts her abusive,

tlu·eatening, blackmailing harassment and racial-intin1idation against both the plaintiff and [FATHER]. At least two other witnesses at the scene,

[781 KL-2009-4] and [GR] ask the plaintiff if the plaintiff and/or [FATHER] are ok, after suffering such racist abuse by [RSR], clearly

concerned about the welfare of the plaintiff and/or [FATHER] ( '7) :
  •        RECXRlED RACIST, N!USIVE, 'I'lmEMENING, ~ twff FRlM (RSRJ TO PLAINl'Il"F/(FM'IIEI\] M tll'lNESSEll BY AX ID.ST 2 O'fflER CXHDNm RESIIEffll •   {2017- 01- 30

 15 :30) (~ )
  "        [ PRIVA711 I.IU, LINK TO BB SI.INITl'ED DI Dlscx:M!RY ]




      ~ PLAINTIFF AND [FATHER] ARE PLACING SHEETS OF CARDBOARD ON [788KLLTX78641] f ront-yar d grass . ~

      0C   [RSR] WHO HAD JUST PARKED IIER VEHICLE IN 'l'IIE DRIVEWAY OF [789KLLTX7864 l J YELLS OUT AT PLAINTIFF AND [FATHER] . ~


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[ RSR]            ARE l'OU KJDDING ME!! JUST MOW THE GRASS!- THIS IS SO UNS/Gf-lTLY!




PLAINTIFF         ((TO [FATHER] : l) Ok, just leave ii there.




[RSR]             SID!- THIS IS UNSIGHTLY! I'M TELLING YOU! - l'M CALLING THE {HOA) RIGHT NOW!


 ~ [FATHER], WHO HAS NEVER EXPERIENCED SUCH OVERTLY RACIST ABUSE IN HIS LIFE, STANDS IN SHOCK , UNRESPONSIVE TO PLAINTIFF ' S

REQUESTS . jJ



PLAINTIFF         ((TO [FATHER) ;']) Just...



 ~ LFATHER] IS ONLY VAGUELY FAMILIAR OF [RSR] DUE TO THE PLAINTIFF ' S RECOUNTING OF PRIOR RACIST ABUSE TO [FATHER] : D


[FATHER]          ((TO PIJ\lNTIFF: l) She'.~ Jhe same lady, huh?




PLAINTIFF         ((TO [ FATHER] : )) l'eah, ll'hy do )'OIi bother- do11'1 bother abo11/ that?! Oh, shit - oh, shit, can yo11 get 1ha1 - ll'hy don't yo11 do ii. !'011 have to be careful,

                  don't cut yo11rse/f.


 0C [RSR] WITH HER CAMERA-PHONE APPEARING TO RECORD, ESCALATING HER ABUSIVE ACTIONS AGJ\INST BOTH PLAINTIFF AND [ FATHER) . jJ



 [RSR]             «To PLAINTIFF:» SID, WHY DON'T YOU JUST LIVE JNTHE COUNTRY! - IF YOU CAN'T GO BY Tf-lE RULES!



 g PLAINTIFF NOT WANTING TO ANSWER TO ANY PREDA'l'ORY/ABUSIVE NEIGHBORS, RELUCTANTLY ANSWERS : jJ


PLAINTIFF          ((TO RSR : )) look, I'm going to be p11lli11g soil over Jhis.



 ~ [RSR] WASN ' T INTERESTED IN A RESPONSE FROM PLAINTIFF, THAT COULD COUNTER HER FRAUDULENT NARRATIVE. [RSR] WAS ONLY- jJ
  ~ - INTERESTED IN FORCEFULLY IMPOSING HER USUAL ONE- SIDED F'RAUDULENT NARRATIVE TO JUSTIFY HER RACIST ABUSE ONTO

 PLAINTIFF/ [FATHER] : jJ



 [RSR]             ((TO PLAINTIFF :)) NO, I'M NOT GOING TO TALK TO l'OU!



  ~ PLAINTIFF, DESPITE BEING CRIMINALLY ABUSED BY [RSR] IN THE PAST, ~/AS STILL STUNNED BY THE BRAZENNESS OF [RSR] ' S ACTIONS . ll


 PLAINTIFF         ((TO RSR : Doh, ok. ok. right! - because you're a p.,)'cltnpatlt!



  0C [RSR] MAKES FRAUDULENT STATEMENT : PLAINTIFF NEVER RAN 00\'1N ANY PERSON ' S TREES : ll



 [RSR]             ((TO PLAINTIFF :» Hey, i'm 1101 the one 1rith wires, that IwIs do11n people'., trees.



  ~ [FATHER) IS STANDING MOTIONLESS DUE TO [ RSR] ' S ABUSE : INTIMIDATION/INTERFERENCE/DISORDERLY-CONDUCT/- jJ

  ~ -BLACKMAJL . PLAINTIFF STARTS TO BECOME INFURIATED AT Tl!E SITUATION. lJ



 PLAINTIFF                     »
                   ((TO RSR : ,hit, seriously!... Unbelievable!...

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K PLAINTIFF FRUSTRATINGLY INSTRUCTS [E'I\THER] TO CONTINUE CUTTING CAROOOI\RD . D

PLAINTIFF           (TO [ FATIIER] : DGo ahead!



K (RSR] , \·IHO IS MUCH BIGGER IN SIZE THAN [FATHER], APPROACHES [FATHER] IN AN ASSAULTIVE MANNER . D
 0C   [RSR] , STANDING A FEl·I FE8T AWAY FROM [FATHER] l·IHO l·!AS BENDING TO CUT CARDBOARD, YELLS : D



[RSR]               [TO [FATHER] :D MOWTNEGRASSSIR!JUS T. MOWIT!



 ff PLAINTIFF, STUNNED THAT [RSRJ RAD DIRECTLY ADDRESSED SENIOR-CITIZEN [FATHER] , IS OUTRAGED : ~


PLAINTIFF           {TO RSR :)) OK, YOU'RE NOT GOING TO TELL MY FATNER WHAT TO DO! AlRIGf/T! WHAT THE FUCK!! DON'T EVEN KID. .. !



~ [RSRJ, WHO rs t-".ORE THAN TWICE PI..l\INTIFF ' S SIZE, APPROACHES 2-FJ,ET AWAY FROM PLl\INTIFF 1N AN ASSAULTIVE MANNER .                         D
g [RSR) AGGRESSIVELY HOLDS-UP HER MIDDLE-FING8R RIGHT IN FRONT OF THE PLAINTIFF ' S FACE,                                IIER HAND EXTENDED INTO PLAINTIFF ' S

PROP8RTY .   D
~ [RSR] , l•IHO IS RECORDING THE INCIDENT l'IITli HER PHONE, fl~AUDULENTLY PRETENDS AS IF SHE HAS NEVER CUSSED AT PLAINTIFF :                            D


[RSR]               ((TO PLAINTIFF :"J/ DON'TCUSSATME!




PLAINTIFF           [TO RSR:) OH YEAH - LIKE YOU DIDN'T?! YOU'VE NEVER CUSSED AT ME?!!




                   [TO PLAINTIFF :]) SID- NOT A WORD!!! LOOK AT WHAT YOU DO TO THIS NEIGHBORHOOD!



I! [RSRJ POINTS TO PLAINTIFF AS SHE MAKES AN INSULTING, ABUSIVE STATEMENT TO [FATHER) ABOUT PLAINTIFF : D


[RSR]              (TO [FATHER) :"/J AND YOU SIR, RAISED THIS?!!




PLAINTIFF          ((TO RSR :)) What the hell - look, JUST MIND YOUR OWN FUCKING BUSINESS - ALRIGHT! MIND YOUR OWN FUCKING BUSINESS! ALR/GNT!



0C    [RSR] FRAUDULENTLY PRETENDS AS IF ~n!AT PLAINTIFF/[FATHER] DO AT O'.·/N PRNATE-PROPERTY IS HER BUSINESS : D



[RSR]              (TO PLAINTIFF:)) THIS IS Ml' BUSINESS! THIS IS MY BUSINESS/




PLAINTIFF          (TO RSR:)) I SPOKE TO HIM AND HE'S FINE WITH IT




[RSR]              (ON PHONECI\LL TO [HO!'.] :)) Hello?



0C    [RSR] BRAZENLY SHCY.·/S HER EGREGIOUS SENSE-OF-ENTITLEMENT : THAT SHE CY:lNS THE ENTIRE NEIGHBORHOOD: D



[RSR]


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                ((TO PLAINTIFF :)) THIS JS MY NEIGHBORHOOD! I GO BY THE RULES!- YOU NEED TO GO BY THE RULES! LOOK AT WHAT YOU'VE DONE

                TO THIS NEIGHBORHOOD!




PLAI.NTIFF      ((TO RSR: )) Al,, so-




[RSR]           ((TO PLAINTIFF : )) PEOPLE LOOK AT MY HOUSE, THEN THEY SEE YOURS!- THEY DON'T WANT TO l!VE HERE!




PLAI.NTIFF      ((TO RSR :)) SSHHUH. .. I CAN'T HELP IT IF YOU WANT TO DESTROY THE ENVIRONMENT!




[RSRJ           ((TO PLAINTI FF : )) THEN MOVE TO THE COUNTRY![???}




PLAI.NTIFF      ({TO RSR : l) WHY! THEN THINGS IV/LL NEVER CHANGE! THINGS Will NEVER CHANGE!



 a [RSR) FRAUDULENTLY PRETENDS AS IF SHE HAS NEVER VIOLATED THE COVENANTS : D

[RSRJ           ((TO PLAINTIFF: )) YOU SIGNED Tl-IE COVENANTS!




PLAI.NTIFF      ((TO RSR : J) THE COVENANTS DID NOT UPDATE FOR THE NEIVLAWTHATTOOK EFFECT 2013! I TALKED TO ... I TALKED TO CLEAN

                 WATER ACTION- I TALKED TO CLEAN WATER ACTION - AND THEY AGREE IV/TH ME - WHAT/ SAID. THEY'RE THE ONES THATACTED -

                 THE 20/3 LAIV!




 [RSR]           (("ro PLAINTIFF : l) MOW YOUR GRASS!! MOIV YOUR GRASS!! JUST. MOIV YOUR GRASS!! MOW YOUR GRASS!!



 a PLAINTIFF WALKS OVER TO [FATHER] : D

PLAI.NTIFF       ({TO [ FATHER) : )) Unbelievable!




 [FATHER]        ((TO PLAINTIFF :)) Don't 01g11e wit/, /,er!



 a PLAINTIFF INSTRUCTS FATHER TO CONTINUE ~/ORK AS FATHER HAS REMAINED SliOCKED/1'-'JOTIONLESS THE EN'l'IRE TIME : D

 PLAI.NTIFF      ({TO [ FATHER] : )) I k110w - 111,y don't J'OII cut //,is. come on. look - }mt h)' lo pay at/e11tion -)11.st II)' lo pay a/lention. a/rig/,/?




 [ FATHER]       (('ro PLAINTIFF :)) D011'1 argue will, lier!




 PLAI.NTIFF      ((TO [ FATHER] : )) ok ok ok. I 1111der:~tood - I 1111derstood. Tl,a/'.v my fa11lt.




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IT [RSR] CONTINUES S PEAKING LOUDLY ON PHONECALL TO [HOA] IN-ORDER-TO RACIALLY- INTIMfDATE PLAINTIFF/[FATHER] D



PLAINTIFF          ((TO [ FATHER] : "J) sshhuh... Unbelievable!



~ PLAINTIFF CONTINUES TO SELECT BETWEEN CUT/FLATTENED SHEETS OF CARDBOARD D
K PLAINTIFF EXPRESSES DISAPPOINTMENT TO (Fl\TIIER] THAT [FATHER] Hl\D SHOWN WEAKNESS BY STANDING f-/iOTIONLESS TO [RSRI ' S l\BUSE . ~


PLAINTIFF          ((TO [ FATHER] :   »Which one? Again, you're.. Unbelievable!

 IT PLAINTIFF CONTINUES TO SELECT BE'I'l'IEEN CUT/FLATTENED SIIEETS OF CARDBOARD                     »
 K (781KL-2009-4 ], DAUGHTER OF THEN PROPERTY-OWNERS OF [781KLLTX78641 J ASK IF PLAINTIFF/ [FATHER] WERE OK AFTER SUFFERING
ABUSE- D

 K AND INTIM.IDATTON/INTERFERENCE/DISORDERLY- CONDUCT FROM [RSR] D


[781KL- 2009- 4]   \{TO PLAINTIFF/ [FATHER] : DYou guys ok?




PLAINTIFF          ((TO [781KL-2009- 4 J: l) What?




[781KL- 2009- 4]    ((TO PLAINTIFF /[FATHER] :      »You guys ok?


PLAINTIFF           ((TO [781KL- 2009-4 ] :ll Yeah, I wish I were...




[781KL- 2009- 4]    ((TO PLAINTIFF/[FATHERJ :ll _         _ _




•
•
•
[IITIW'SCIU [YI' l l\'COMPLEIF.: 1D BE COMPLEIFDIII



•
•
•

    [ATONE POINT IN TIME, \'lHILE THE PLAINTIFF WAS REf-1,0VING SOME OF THE GRASS OF [788KLLTX78641] GROWING ONTO- D

    0C -THE SIDEWALK,   [RSR] LOUDLY EXPLAINS TO THE [HOA] OVER THE PHONE, AGAIN, SO THAT HER INTIMIDATING WORDS- D

    ~ -CONTINUE-TO- BE AUDIBLE TO THE PLAINTIFF :            D


 [RSR]                            »
                    ((TO [ HOA] : He'.)· edging the g,ms on the sidewalk ... I



    IT [RSR] CONTINUES TO LOUDLY DISCUSS WITH THE [HOA] OVER THE PHONE, WHETHER THE [HOA] WOULD NOW BE TAKING LEGAL- D

    1£ -ACTION AGAINST THE PLAINTIFF . /\ND SHORTLY 'l'HERE-AFI'ER, WHEN [RSR] RECEIVES SOME ACKNOWLEDGEMENT THAT THE [HOA]- D

    [ -WOULD BE CONSIDERING LEGAL-ACTION AGAINS'r THE PLAINTIFF,                     [RSR] THANKS THE [HOA] REPRESENTATIVE AND/OR ATTORNEY-   D

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 ~ -THAT SHE vlAS SPEAKING \-/ITH , DESPITE OF THE FACT TH/\T TIIE PLAINTIFF AND [P/\RENTS ] \•IERE TAKit\1G SERIOUS STEPS TO- D
 ~ -ADDRESS THE PREDATORY/MALtCIOlJS THREATS OF LEGI\L EMFORCEMENT ACTIONS . JUST LIKE HER PREVIOUS MANIPULATIVE- D
 ~ -ACTIONS, [RSR] ' S ACTIONS OF THIS DAY, ARE BY NO MEANS, CHILDISH, BITT' RATHER, PURELY PREDATORY /\ND MALICIOUS- D
 ~ -BASED ON HER EXTREME-RACIAL-ANIMUS, FAR-RIGHT-\-llNG-EXTREMIST/FASCIST FOLITICI\L-ANIMUS AGAINST THE PLAINTIFF. D


 [RSRJ            ([TO (HOA] : )) Tlwnk you!



 ~ IT SHOULD BE NOTED THAT [HOA] S /\RE REQUIRED BY UWI TO PRESERVE AT LEAST 7 OF THE MOST-RECENT Y!':ARS WOR'I'H OF RECORDS . - ]
 [ -THEREFORE, SINCE ALL PHONECALLS TO THE [l!OA] ARE RECORDED, THIS EMTIRE PHONE CONVERSATION THAT (RSR] HAD WITH THE- D
 [ - (HOA) , ON THIS PARTICULAR DAY, AND GEMERI\LLY-SPEAKING, ANY-AND-ALL OF THE OTHER CQM,1UNICATIONS TH/\T (RSR] , [JSP&KAP]- D
 [ -HAD WITH THE [HOA] DURING THIS TIME PERIOD SHOULD BE AVAILABLE/DISCOVERABLE AS EVIDENCE TO THIS CASE . D



 •
 •
 •


']I386
On or about an afternoon early in the month of {2017-02}, the plaintiff continues to work tirelessly on re-landscaping the [FRONTYARD].

The plaintiff notices a loud pickup-truck belonging to then-[HOA-BoD]-President [SPOA-P-BC] drive up the street in front of the plaintiffs

property and then pause on the street right in front of the plaintifrs property. [SPOA-P-BC] lowers his front-window and starts to take

photograph(s) of the plaintiffs [FRONTYARD]. When the plaintiff walked towards the public-sidewalk area, and started to explain to then-

[HOA-BoD]-President [SPOA-P-BC] that the plaintiff was in the process of submitting approval document(s) to the [HOA] concerning grass-

replacement in the [FRONTYARD] - with the initial version of those document(s) submitted to the [HOA] (management-company) and

[HOA] attorney via email, during that very same week, while still strongly asserting in that very same email, that a homeowners grass-

replacement with another species of grass did not require [HOA] approval (according to the deed-restrictions of the neighborhood). Before the

plaintiff could even complete a sentence, then-[HOA-BoD]-President [SPOA-P-BC] angrily shouted to the plaintiff: "NO! GET AWAY

FROM ME! DON'T WANNA TALI( TO YA! I'M JUST HERE TO TAKE A PICTURE! ... GOOD-BA YE/" After raising his phone to take

the photograph(s), then-[HOA-BoD]-President [SPOA-P-BC] raised up the front-window of his pickup-truck, and angrily drove his pickup-

truck up the street. Clearly, the leadership of any reputable organization that operates in a lawful and professional manner, would not need to

resort to such underhanded tactics of intimidation and demonstrations-of-anger to achieve their goals, and would instead, fight their legal battles

in the proper manner, while following proper legal procedure. Such was clearly not the case with the then-[HOA] under [SPOA-P-BC] and

[SPOA-VP-AH] who governed over the neighborhood with a heavy-handed iron-fist - resorting to such unprofessional tactics of intimidation

and demonstrations-of-anger - even to those homeowners (such as the plaintiff) that were merely asserting their lawful rights as homeowners

(see below for the scandalous incidents in {20 19} involving [SPOA-P-BC],[SPOA-VP-AH] eventually leading to their ousting as Board-

Members).



'JI387
On or about the approximate date and time of {2017-02-06 17:00}, the plaintiff continues to work tirelessly to re-landscape the

[FRONTYARD] with the "no-mow" grass - to meet the unreasonable demands of the [HOA]. [RSR] initially walks up the opposite sidewalk

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(across the street) nearest her house, loudly threatening the plaintiff and even repeatedly yelling a racial-slur at the plaintiff. Approximately 20

minutes later, (RSR] walks on the sidewalk closest to the plaintiff's property (when she had no reason to even be on such sidewalk since her

home is across the street), accosting the plaintiff, vandalizing and/or violently kicking the plaintiff's property, threatening the plaintiff, and

continuing to use racial-slurs and other racist, psychologically-abusive, rhetoric that clearly imposes her strong sense of racial-superiority over

the plaintiff. Similar to the so-called "Kar·ens" that have ca\lght the attention of the national media (Permit-Patty, Pool-Patro\-Paula, BBQ-

Becky, Amy-Cooper, etc.), [RSR], acting under color of law, even interrogates the plaintiff if the plaintiff has a permit for temporarily using

wood on the 2-inch-edge of the sidewalk (when the sidewalk is 4-feet wide) for the purpose of holding soil inside the plaintiff's yard - even

though [RSR] knows that her co-conspirators [JSP&KAP] have, on numerous occasions, illegally parked their vehicles on the sidewalk for

long periods of time (without any such permit), forcing people that were walking on the sidewalk to walk onto the road in-order-to avoid such

illegally-parked vehicles. On numerous occasions, [RSR] even vandalizes the plaintiff's property - violently kicking the wood - threatening that

the plaintiff is not allowed to temporarily use even the two-inch-edge of a 4-feet-wide sidewalk for temporaty re-landscaping purposes, and

repeatedly demands the plaintiff to remove the wood from the 2-inch-edge of the sidewalk immediately. [RSR], continuing to act under color

of law, and despite never being a [SPOA] Board-Member, even interrogates the plaintiff to know if the plaintiff had [HOA] approval for such

re-landscaping, when even [HOA] Board-Members would not be brazen enough to accost/confront a property-owner on any such issue.

During this racist, abusive rant, [RSR] continues her usual abusive actions of black.maiVextortion against the plaintiff, under the f):audulent

pretense of ''protecting property values", when the entire neighborhood's sharply-rising appraisal values clearly establish her fraud:
 •        1U!XDU!D IW:ISr, AIDSIVE , "rllREAmlIIG RAln' IIUI [RSR) TO PlAilll'llT(~) ,        (2017-02- 06 17:00) (~)

  •       [ PRlVA'm ooaw.noo CHITl'f.D~ TO mcl.lliC' PRlVJlcr I
  •       [ PRlVA'm URL LlNII TO BIi $OIMlT?EI) IN DISOCJIIER'l )




      ff PLAINTIFF CONTINUES TO PIN-DO'i/N SHEETS OF CARDBOARD NECESSARY FOR RE-LANDSCAPING PROCESS . ~
      i   [RSR) WALKING DOG IN SIDE~lALK ACROSS STREET, YELLS OUT A THREAT AND RACIAL SLUR AT PLAINTIIT:                                      D


      [RSR)                   BE7TER NOT HAVE THAT ON THE S/DEPATH!... OR l'M MOVING IT!- IF IT'S ON THE SIDEPATH - l 'M MOVING IT!... NEIGHBORHOOD

                              TERRORIST!


      [( PLAINTIFF REACTS IN SHOCK I\T TIIE RACIAL SLUR :                       D


  PLAINTIFF                   You're a racist!


      ~ [RSR) CON'l'INUES TO USE THE RACIAL SLUR, AND F1<AUDULENT NI\RRATIVE :                                 D


      [RSR)                   NO, YOU'RE A TERRORIST - WHO TERRORIZES THIS WHOLE COMMUN/Tl'!




      PLAINTIFF               You're a mcist!




      [RSR)                   {???}




      PLAINTIFF               Yeah - Youjmt called me a "terrorist" - that's a racist statement right there!


       [( [HSR) CONTINUES ~IALKING DOG UP SIDEWALK AND AWAY F1<0M PLAINTIFF.                                   »
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[ PLAINTIFF REMAINS SHOCKED •rHAT [RSR] WOULD BRAZENLY SHOUT A RACIAL-SLUR WHEN PEOPLE COULD EASILY HEAR .                       D
{[ PLAIN'l'IFF CONTINUES TO \•:ORK TIRELESSLY ON THE [FRONTYARD] RE-LANDSCAPING .                              D
11 [RSR] ACCOSTS PLAINTIFF, 1'HIS TIME ON THE SAME SIDE:\·lALK WHICH IS ACROSS THE STREET FROM HER HOUSE : D


[RSR]             MOVE THIS OFF THE SIDEWALK!




PLAINTIFF         Tl,ere's 11othi11g 011 tl,e side,mlk!


11 [RSR] EVEN AfX~ITS PLAINTIFF IS \'JORKING HARD TO SATISFY UNREASONABLE [l!OA] DEMANDS . D
 {[ YET,   [RSR] CONTINUES TO INTIMIDATE/INTERFERE-WITH/HARASS/THREATEN PLAINTIFF :                                  D


[RSR]              IT IS - RIGHT HERE! OR I'll MOVE IT AND All YOU/I HARD WORK - RIGHT HERE - THAT'S ON THE SIDEWALK!




PLAINTIFF          /Veil... tl,at'.s - Tl,at'.s 011 tl,e edge!




[RSR]              NO! THIS IS PUBLIC PROPERTY - AN EASEMENT!




PLAINTIFF          Tl,at's 011 Jl,e edge!


 {[ (RSR] KICKS AT WOOD ENCWSURE (HOLDING SOIL INSIDE THE PLAIN'l'IFF ' S PROPERTY) THAT IS TOUCHING THE EDGE OF SIDEWALK .                   D
 11 (RSR] FRAUDULENTLY CLAIMS THA1' WOOD IS IN HER WAY \'/HEN SUCH WOOD \'lAS OCCUPYING 2-INCH-EDGE OF 4-FEET-1-/IDE SIDEWALK : D


[RSR]              THIS OVER HERE IS IN MY WAY - I CA N MOVE IT!


 [ PLAINTIFF TRIES TO EXPLAIN THAT THE ENCWSURE IS ONLY TEMPORARY :                                 V


PLAINTIFF          ok... It will be t/1ere 011/y for like 2 111011/hs!


 [   [RSR] QUESTIONS WHETHER PLAINTIFF HAS PERMIT, NOT MUCH UNLIKE " PERMIT PATTY": D



 (RSR]             NO! - UH UH - IT NEEDS TO MOVE! IT CAN'T BE THERE FOR 2 MONTHS! DO YOU HAVE A PERMIT FOR THIS?! [CAUSE ...}




PLAINTIFF          It j11.1·t ueeds to !,old tl,e .mil in place! There'.s...


 [t; [RSR] CONTINUES TO INTI MIDATE/JNTERFERE-l'IITH/HARASS PLAINTIFF DESPITE FACT '!'HAT lvOOD IS ON EDGE OF SIDE\'17\LK .              Il
 (! [RSR] NEVER COMPLAINED ABOUT NUMEROUS T1MES [JSP&KAP] , [JSP&KAP] ' S CHILDREN HAVE PARKED VEHICLES ON SIDEWALK .                    Il
 ~ [RSR] CONTINUES TO VIOLENTLY KICK THE PLAINTIFF ' S PROPERTY - THE ~lOOD ENCLOSURE .                                    Il


 [RSR]             NO! IT NEEDS TO BE MOVED!- THIS IS SIDEWALK! - THIS IS PUBLIC PROPERTY, SID! YOU HA VE TO MOVE THIS! THIS JS ON THE
                   SIDEWALK RIGHT HERE! THIS IS SIDE/VALK! - SIDEWALK/ - YOU CANNOT HAVE IT THERE! IT CANNOT-


  {[ PLAINTIFF IS SHOCKED THAT [RSR] WOULD BRAZENLY VANDALIZE PLAINTIFF ' S PROPERTY RIGHT IN FRONT OF PLAINTIFF :                   D

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PLAINTIFF          Ok- Yes!


[    [RSR] CONTINUES 'TO INTIMIDATE/IN'I'ERFERE-\·1ITH/HARASS/THRl::ATEN PLAINTIFP :                              D


[RSR)              SIDEWALK RIGHT HERE! CANNOT HA VE IT THERE!- THIS JS All SIDEWALK! YOU NEED TO MOVE JT/


 ~ PLAINTIFF POINTS OUT ABOUT GRASS THAT GROWS ONTO PUBLIC SIDEWALK :                                      D


PLAINTIFF          What abo111 - Whal abo11t the edging?! What about the gm'iS?!




[RSR]              I DON'T GIVE A SHIT! DON'7' WANT IT! YOU NEED TO PUT IT ON YOUR PROPERTY AND NOT ON 71-IE SIDEWALK!




PLAINTIFF          S,h! The gmss is growing 011 there! And !hat'., p11blic! ... What abo11t the gra.tv?!


 g [RSR] CONTINUES FR/\UDULENT NARRATIVE ABOUT PLAINTIFF' ' S PROPERTY APPEARANCE !•1HICII SHE KNOWS TO BE HARMLESS : D


[ RSRJ             HEY! HEY! HEY! LOOK! )'OU HAVE SUBJECTED US TO Tl·IJS KIND OF YARD FOR AT LEAST 9 YEARS!




PLAINTIFF           I've- I've not s11bjec1ed )'OIi lo a11ythi11g! 1'111 }11s/ ll)'illg to-




[ RSR]              YES YOU HAVE! YOU HAVE VIOLATED FLAGRANTLY-




PLAINTIFF           I've 110/ violated any rnles!


    K [RSR] CONTINUES E'RAUD - CONTINUES PRETENDING AS IF SHE HAS NEVER VIOLATED THE RESTRICTIVE-COVENANTS : D

 [ RSRJ             THE RULES OF THE [HOA} WHICH YOU SIGNED!




PLAINTIFF           In 20 /3, they- i11 20 I3. lheJ~


    ~ [RSR] CONTINUES TO IN1'IMIDA'rE/INTERFERE- l'IITH/HARASS PLAINTil."F ABOUT \'/00D ENCLOSURE, KICKING AT THE 1qooo: D



 [RSR)              THIS IS PUBLIC PROPERTI'. IF YOU WANT THIS HERE - THEN YOU MOVE IT ON YOUR GRASS! BUT )'OU DONT' MOVE IN THE SIDEWA LK!




 PLAINTIFF          Ok, B11t !his is the same area!




 [RSR)              THIS NEEDS TO BE MOVED OFF THE SIDEWALK! YOU NEED TO PUT IT ON YOUR PROPERTY! NOT ON THE SIDEWALK!




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PLAINTIFF



0C     [RSR) ALSO BRAZENLY 'l'HREJ\TENS PLJ\INTIF'F :          D


[RSR]                 MOVE IT ONTO YOUR GRASS, OR IT WILL BE REMOVED!


 0C    PLAINTIFF IS-EXHAUSTED AS PLAINTIFF HAS WORKED HARD TO CREATE ENCLOSURE AND t-'.OVE SOIL AROUND: 'iJ

 a PLAINTIFF SIGHS IN DISBELIEF, AS [RSR] ADVANCES FRAUDULENT NARRATIVE (SINCE WOOD IS ONLY ON EDGE): 'iJ

PLAINTIFF             111,at about-




[RSR]                 ON l'OUR GRASS!- THIS IS THE SIDEWALK!- YOU DON'T HAVE THE RIGHT RESTRICT ACCESS THE[???] SIDEWALK!




PLAINTIFF             What if the grass is gmwi11g there?! what about that?!


 a [RSR] CONTINUES ADVl\NCING RACIST, FRAUDULENT NARRATIVE ABOUT PL.I\INTIFF : D

[RSR]                 IT DOESN'T MATTER - SID- YOU ARE TERRORJZING THJS NEIGHBORHOOD!




PLAINTIFF             1'1111101 t-1/'1111101!




[RSR]                 BY YOUR FLAGRANT DISREGARD OF THE RULES!




PLAINTIFF             l'M NOT DISREGARDING!


  0C   [RSR] ADMITS AGAIN THAT SHE IS ABUSHK, PLAINrlFF BECAUSE SHE OOES NOT LIKE PLAINTIFF ' S PROPERTY APPEARANCE : 'iJ



 [RSR]                EVERYTJME I LOOK OUT MY FRONTYARD-1 SEE TH/S CRAP!




PLAINTIFF              That's tempormy! lt'.1· going lo be soil there!




 [RSR]                NO! - ITS BEEN 8 YEARS, SINCE 2009- YOU HAVE FLAGRANTLY DISREGARDED THE [HOA] RULES!




PLAINTIFF             I have 110/ disregmrled a11ythi11g!




 [RSRJ                 YES YOU ARE! YES YOU ARE!




PLAINTIFF
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                  the [HOA] has disregmrled the-




 [RSR]            YOU CAN HIDE BEHIND LOOPHOLES!




PLAINTIFF        Its 110/ loopholes! They're-




[RSR]            All YOU WANT - BUT YOU ARE FLAGRANTLY DISREGARDING- YOU'RE SELFISH AND INCONSIDERATE!




PLAINTIFF        No - you're selfisl,/ Right - you're sel- Why don't you care about the e11viro11111e11t!! Why don't you care about the e11viro11111e11t!!




[RSR]            I CARE ABOUT THE ENVIRONMENT!




PLAINTIFF        No. )'OIi don't! Beca11se if you did - then - why uvmld yo11 be - 1111y 11-01,ld you be 1msti11g resources. ll'hy ,muld yo11 be 11'0sti11g wate1; the way that y011 do!
                 Why would yo11 be you - you know -




[RSR]            I DO NOT WASTE WATER!




PLAINTIFF        Yeah, you do waste 11•ater! Even the/act that you're mawing. ..




[RSR]            Yau don't know what I do Sid!




PLAINTIFF        No actually, Even...




[RSR]            YOU ARE MAKING ASSUMPTIONS BASED ON THE FACT THAT I'M A WHITE FEMALE!




PLAINTIFF        No! Actually, it'.1· 110/-




[RSR]            I do not 11111 the 11'0te1; when I'm hrnshing my teetlt! I make sure I have a/1111 load!




PLAINTIFF       Aclt1al~1•... you know what! Don't-


~ AS USUAL,   [RSR] CON'I'1NUES TO RAMBLE-ON m·rH ONE UNPROVEN STATEMENT AFTER ANOTHER . ~



[RSR]           AII my vegetables and eve1ythi11g are composted!

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PLAINTIFF       Yes - So. do I have-




[RSR)           [???]




PLAINTIFF       I don't have access- I don't even me water!




[ RSR)          SO I DON'T - I DO NOT WASTE!




PLAINTIFF        Where /'111jivm-




[ RSR)          [???] ABOUT WASTING RESOURCES! LOOK AT ALL THIS [???] WASTED!




PLAINTIFF        Where /'111 fmm.. people live 011 4 - 4 lite1:~ of water [per pe1~-m1] per day/




[ RSR)           WHAT ABOUT THE PVCS IN THIS!




PLAINTIFF        People live 011 a ga/1011 or 2 of irater per day- hey, where l'mji-0111! ll'here 1'111/mm!


 ~ (RSR] MAKES OVERTLY-RACIST STJ\TEMENT TELLING PLAINTIFF 'l'O t-'.OVE BACK TO PLAINTIFF ' S COUNTRY OP ORIGIN : D


( RSR)           THAT'S GREAT - OK, WELL - WHERE YOU'RE FROM- GO BACK THERE AND LWE THERE!




PLAINTIFF        ok! so, tha!'s a mcisl s/ate111e11/ - right !here! that'.~ a racist...




 [ RSR)          NO/TS NOT!




PLAINTIFF        Yes ii isl Thal ism racist slaleme111!


 « [RSR] REPEATS THE OVERTLY-RACIST STATEMENT TO PLAINTIFF: D

 [RSR)           YOU DON'T LIKE IT OVER HERE! IF YOU DON'T LIKE IT HERE - THEN GO BACK THERE!




PLAINTIFF        Ok - /l's 1101 that I don't like ii here!


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~ PLAINTIFF NEVER IMPOSED PLAINTIFF ' S CULTURAL/RELIGIOUS VALUES ON [ RSR] ; ONLY THE OPPOSITE IS TRUE : D



[RSR]          ITS NOT UP TO ME TO GO BY YOUR RULES!




PLAINTIFF      I'm 110/ goiug - I'm IIOI not imposiug you - I'm 1101 im11osi11g my ru/e.1; 011 you{



« [RSR] CONTINUES FRAUD; IN NO WAY DID PLAINTIFF ' S WOOD ON Erx;E OF SIDEWALK OBSTRUCT USE OF SIDEWALK: D

[RSR]           YOU DON'T l/KE THIS- YOU'RE ON PUBl/C PROPERTY! GET THIS Sfl/T OUT OF MY WAY! SO, THAT I CAN WALK THE SIDEWALK IN[???]!




PLAINTIFF       So ... So... !'1111101 i111posi11g my rules 011 yo11!




[RSR]           YES YOU ARE![???]




PLAINTIFF       /'111j11st going by the [HOA] rules!


 « [RSR] CONTINUES TO REVEAL HER ILLEGAL SECRET CONSPIRACY WITH THE [HOA] : D

[RSR]           [???] WELL, THEY'RE COMING FOR YOU BUDDY!




PLAINTIFF       Well the [HOA], the 111les, they stale that 20/ 3. 111 2013, they state that, there'.v tlro11ght resista/11 la11d1·capi11g!


 [ (RSR] CANNOT DENY THAT SHE HAS MADE COUNTLESS RACIST STATEMENTS/ACTIONS TOWARDS PLAINTIFF, YET: D


[RSR)           SID! SID! SIDI SID! SID! NUMBER ONE - /'M NOT A RACIST! AND I[???}




PLAINTIFF       Ok, I - I highly disagree with that! Because the vel)' targeting of 111e - the veiy targeti11g of 111e!-


 « {RSR] CONTINUES TO USE RACIAL-SLURS AGAINST PLAINTIFF, EVEN THOUGH SHE KNOWS PLAINTIFF IS RECORDING : D

 [RSR]          [???] I'M SPEAKJNG TO YOU l/KE THE VILLAGE IDIOT THAT YOU ARE!


 [ PL/\INTTFF ENCOURAGES [RSR] TO CONTINUE MAKING RACIST STATEMENTS SINCE PLAINTIFF IS RECORDING : D


PLAINTIFF        Oh!! Exactly!! Keep going! I 111ea11, that's exactly what it is!




 [RSR]           OH. SO IF I SAY VILLAGE IDIOT- HOW IS THAT A RACIST STATEMENT?!




PLAINTIFF        /'111 fl ying to do what is right for the e11viro11111e11t here!


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[RSRJ              NO, YOU'RE NOT!




PLAINTIFF          Yes I om! I'm hying to cullivate-


0C    [RSR] MAKES FRAUDULEN1' STATEMENT THAT WOOD ON EDGE OF SIDEWALK IS HARMING HER: D


[RSR]              IT'S NOT SAFE FOR ME FOR YOU TO HAVE THIS WOOD HERE! YOU DON'T NEED THIS WOOD/




PLAINTIFF          oct11al!J1, to hold the .mil - the soil in place - yes I do!




[RSR)              YOU DON'T NEED TiflS WOOD AND IT DOESN'T NEED TO BE ON THIS SIDEWALK!




PLAINTIFF          Ok, ire// how the hell - how <1111 I .wipposed to hold this soil in place?I Its only going to be-




[RSRJ              GET A BARRIER AND PUT IT ON YOUR PROPERTY! DON'T PUT IT ON THE SIDEWALK!




PLAINTIFF          Ok, i'/1 fly lo accommodate that request, but other than that!-


 ff [RSR] CONTINUES FRAUD - COtt,MIITED SEVERAL HATE-CRIMES AGAINST PlJ\INTIFF, NOT ONE OF WHICH WAS EVEN CHARGED: D


[RSRJ              NO, IT JS NOT A REQUEST. IT'S THE LAW! SO, WHEN J COME WALK HERE... IF Tf/JSJSJN MY WAY, 1 HAVE EVERY RIGHT TO REMOVE IT!




PLAINTIFF          So. you're the - you're the one that's the neighborhood len-011.11 - you're coming al me and you're lenrnizing me!




[RSR]              I HAVE PUT IV/TH YOUR CRAP FOR YOUR 8 YEARS! SINCE 2009!


 « PLAINTIFF TRIES TO EXPl.J\lN THAT NO ONE ELSE IS MAKING THESE DEMANDS OF PLAINTIFF: ~

PLAINTIFF          So, 110-one, as far as - as.for as I con tell - a.v far a.1· I can tell - 110 one else is-. !his is whal i'm flying to .. see. . you're


 0C   [RSR] MAKES ANOTHER OF MANY EMPTY-THREATS TO SUE PLAINTIFF, BUT NEVER DID SUE PlJ\[N'l'IFF: D


[RSR)              THEY HAVE WRITTEN - IVE HAVE WRITTEN. WE ARE SICK AND TIHED.. AND BECAUSE OF THAT. IF THE {HOA} DOESN'T ... WE HAVE A
                   LAWYER AND WE ARE GOING TO SUE YOU!




PLAINTIFF          Basically, what i'm flying to do-


 « [RSR] CONTINUES FRAUD: PLAI~n'IFF CALLED BROTHER [PK] TO INSTALL CAMERAS , FENCE-LOCK - NOTHING ELSE : D
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1£ (RSR] MAKES FRAUDULENT ACCUSATION ABOUT PLAINTIFF ' S BROTHER:                                    D


[RSR]               l'OU BROUGHT YOUR BROTHER TERRORIZED MY [SON]..!




PLJUNTH'!'          I'm 1101 doing a11ythl11g here! I'm 1101 doing a11ythl11g here!


rr PLAINTIFF NEVER MADE FALSE ACCUSATION ABOUT (RSR] -                              EVEN TELLING [WC] POLICE Tf!A'r PLAIN'l'IIT ACCUSES NO- ONE .   D


[RSR]               AND YOU ACCUSED ME OF DUMPING CAT LITTER IN YOUR T/1JNG!-




PLAINTIFF           I still don't know ifthat'., true or 1101! I still c/011'/ know if t/10t'.vjl1lse or 1101!




[RSR]               SID! WHY WOULD I TAKE MY CAT LITTER AND WALK ACROSS THE STREET IV/TH IT. .. WHY WOULD I GET UP AND WHY WOULD I KNOCK
                    ON YOUR DOOR {IN THE MIDDLE OF NIGHT}!




PLAINTIFF           Why are you doing what you're doing right now?!!


 IT (RSR] , LIKE A CON-ARTIS1', TRIES TO JUSTIFY HER DEVIOUS, FRAUDULENT TACTICS : il



[RSR]               THAT WAS A CJUZY NEIGHBOR! I'M GOING TO TALK TO YOU FACE-TO-FACE!




PLAINTIFF           Why wo11/dyo11?-


 ff (RSR] ,   LIKE A CON-ARTIST, FRAUDULENTLY PRETENDS AS IF HER \·:OROS DO NOT TERRORIZE PLAINTIFF :                                      D


[RSR]               l'M NOT GOING TO TERRORIZE BY THROWING CAT L/7TER - l'M GOING TO TELL YOU RIGHT UP FRONT!


 0C   PUUNTIFF LAUGHS SARCASTTCALLY IN TOTAL DISBELIEF :                           il


PLAINTIFF           Yeah!


 a [RSR] , LIKE A CON-ARTIST, FRAUDULENTLY PRETENDS AS IF SHE CANNOT ['/ALK SIDE\·/ALK DUE TO PLAINTIFF ' S \·/GOD ON EDGE : D

[ RSR]              I CAN'T WALK THIS SIDEWALK BECAUSE YOU GOT YOUR CRAZY Sf/IT!




PLAINTIFF           I still don't·


 1£ (RSR] CONTINUES FRAUD - TERRORIZES PLAINTIFF BECAUSE OF PLAINTIFF ' S PROPERTY l\PPEJ\RANCE : i)



[RSR]               I'VE PUT UP WITH YOUR CRAP FOR 8 YEARS. AND l'M AT THE END OF IT!




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PLAINTIFF        This is what i'111 hying to do to acco111111oda1e all ofJYJII!




[ RSR]           NO! - NO YOU'RE NOT!




PLAINTIFF        Yes I 0111 - I'm 11yi11g to develop a 110-11101,0


[   [RSR] CONTINUES FRAUD -       PRETENDS AS IF SIIE O1/NS PUBLIC SIDEW/\LK - ACROSS STREET FROM HER HOUSE :                         iJ


[ RSR]           YOU KNOW WHAT - IF l'OU WANT TO ACCOMMODATE ME, GET THIS OFF MY PUBLIC SIDEWALK!-




PLAINTIFF        l'o11'rej11st hying to - yo11'rej11.1·111yi11g to 111ake it hmd 011111e!




[RSR]            NO, l'M NOT MAKING IT HARD!




PLAINTIFF        yes - you are!


 g [RSRJ CONTINUES FRAUD - THERE \•/AS NO PLASTIC, AND 1-.' 00D WAS ONLY ON THE 2-INCH-EDGE : iJ


[RSR]            I WANT TO WALK ON THIS SIDEWALK - I SHOULDN'7' HAVE TO JUMP OVER LUMBER AND PLASTIC!




PLAINTIFF        Ok!




[RSR]            SO, All l'M ASKING YOU IS TO MOVE IT BACK ON YOUR GRASS LINE - AND NOT ON PUBLIC PROPERTY!




PLAINTIFF        Ok, i'/1 fly - like I said- I'll fly to {acco111111odate that]!




[RSR]            AND ITS NOT RACIST TO SAY THAT!




PLAINTIFF        Ok, 110 actually - ll11e11yo11 call 111e a "VILLAGE IDIOT", ll'he11 JYJII call me a "TERRORIST"!-


 g [RSR] CONTINUES TO USE RACIAL-SLURS : iJ


[RSR]            YOU'RE A VILLAGE IDIOT!




PLAINTIFF        Oh - ok! but, i'111 t,yi11g to do ll'hat's right for the e11vim11111e11t - mu/ that makes 111e a "VILLA GE IDIOT"!



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0C [RSR] CONTINUES TO MA.KE YET MORE UNPROVEN STATEMENTS : D



[RSR]           [YOU DON'T KNOW} RACISM! I AM FAR FROM RACISM! IF YOU KNEW MY FAMILY HISTORY - YOU WOULD NOT ACCUSE ME OF THAT!




PLAINTIFF       ok ok ok · actually, if )'OIi knew a11ytl,i11g about tl,e e11virrm111e11tal 111ove111e11t!-


g [RSR] CONTINUES FRAUD - PRETENDS /\S IF SUPPORTING ENVIRONMENTAL MOVEMENT WHEN ACTIONS PROVE OTHERl'IISE : D


[RSR]           OH, I DOI I DOI




PLAINTIFF       And indigenous people• and indigenous people - indigenous people all over tl,e ,mdd - Tl,ey live like I do!


0C [RSR] /\OMITS T IIAT INDIGENOUS PEOPLES ARE NOT ~/EI.COME IN HER \'/HITE NEIGHBORHOOD:                                     D


[RSR]           NOT IN A NEIGHBORHOOD!




PLAINTIFF        Tl,ey /ly to co11se1ve re.1'011rces!


g [RSR] ADMITS THJ\T INDIGENOUS PEOPLES ARE NOT \•/ELC0,'11:; IN J\ [HOA] NEIGHBORHOOD :                                 »

[RSR]           NOT IV/TH YOUR {HOA} RULES/ PEOPLE WHO LIVE LIKE THIS - YOU'RE NOT INDIGENOUS 1'0 HERE!




PLAINTIFF       Not in tl,e... ok. wl,at you're bmically saying isl-


0C [RSR] AD.\JITS RACIAL-SUPERIORITY -             TII/\T " DEVELOPED" ~JHITE NEIGHBORHOOD IS SUPERIOR : D



[RSR]            YOU'RE NOT INDIGENOUS TO HE/IE! AND 1'fl/S IS A DEVELOPED NEIGHBORHOOD. SIDI




PLAINTIFF        Well, fit:,t a//. so, 11·/,at • so, \l'/,at you're basically saying i., tl,at indigenous people are 1101 ,re/come in tl,is 11eighbod10od!




[RSR]           NO. THAT'S NOT WHAT l 'M SA YING!




PLAINTIFF        Tl,at's ba,ically - that'., e.mctly 111,at you're sayi11g!


g [RSR] CONTINUES FRAUD - J\Fl'ER MAKING SJ:.VERAL THREATS TO KICK PLAINTIFF OUT OF \·/HITE-NEIGHBORHOOD : D


[RSR)           NO. YOU'RE VERY WELCOME HERE!




PLAINTIFF        That'.,· what J'011're sayi11g! Because-



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~ [RSRJ CONTINUES FRAUD - MAKES ONE STATEMENT - THEN ANOTHER STATEMENT TIIAT DTRECTLY CONTRADICTS IT :                     D


[MR]            I COULD CA/IE LESS WHAT YOU DO! I COULD CARE LESS IV/-10 YOU ARE - JUST MDIV YOUR GRASS, AND GO B l' COVENANTS OF THE
                NEIGNBORNOOD!




PLAINTIFF       l'o11're basically saying-


~ [RSR] CONTINUES TO IMPOSE HER OVERT SENSE OF RACIAL SUPERIORITY OVER PLAINTIFF :                                  D


[MR]            TlfAT'S BASICALLY- I DONT NEED YOU TO TELL ME WHAT I'M SAYING!


~ PLI\INTIFF LI\UGHS SARCASTICALLY WIT!! INDIGNATION :                D
~ [RSR) CONTINUES TO ORDER PLAHITiff AS ff SHE IS THE BOSS/MASTER OF PLAINTiff :                               D


[MR]            I IV/LL TELL YOU IVNAT I'M SA l'/NG - WHAT l 'M SA YING JUST MOW YOUR GRASS AND{???} OF ACCESS!




PLAINTIFF       No, but basically-




[MR]            AND IF YOU'RE GOING TO Tlf/S KIND OF CRA P- T/-IEN MOVE IT OFF THE SIDEWALK!




PLAINTIFF       The {HOA} mies calls.for- the {HOA] mies call.for- b11t the [HOA} mle.v call.for-




[MR]            WHAT l 'M SAYING THAT YOU'RE NOT INDIGENOUS TO THIS AREA - HECK, I'M NOT INDIGENOUS TO Tlf/S AREA!




PLAINTIFF       e.wctly! so, wilot i'm flying lo soy is-


 ~ [RSR] CONTINUES FRAUD - CONTINUES PRETENDING AS IF SHE IIAS NEVER VIOLATED RESTRICTIVE-COVENANTS : ~



[MR]            SO, WHAT I'M SAYING IS I GO BY THE RULES- I GO BY THE RULES!




PLAINTIFF       Actually, I am-




[MR]            AND YOU ARE NOT GOING BY THE RULES!




PLAINTIFF       IV/wt i'm 11yi11g to say, i am hying to live by -




[MR]            NO - YOU ARE NOT GOING BY THE RULES - YOU A/IE FIGHTING THE RULES, AND YOU'RE THIIOIVJNG A LOT OF BULLSHIT LOOPS!


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PLAINTIFF         Actttally, I am - I w11 flying to get- I'm doing-




[RSR)             YOU ARE NOT GOING BY THE RULES- YOU ARE FIGHTING THE RULES!




PLAINTIFF         No, i'm 1101!




[RSR)             AND YOU'RE THROWING A LOT OF BULLSHIT LOOPS!




PLAINTIFF         I'm 110/ doing - I'm 110/ doing a11ylhi11g!




[RSRJ             YES YOU ARE!




PLAINTIFF         Did )YJII read !he law?! Did )YJII read !he law?!


K (RSR] CONTINUES TO ACT AS BOSS/MASTER TO PLAINTIFF - DEPRIVING PLAINTIFF OF PIJ\CNTIFF' S CULTURAL/RELIGIOUS VALUES : D

[RSR)             NO YOU'RE NOT - JUST MOW YOUR GRASS AND TRIM YOUR TREES!




PLAINTIFF         No ii i.rn'I - i'm !lying lo imla/1 a "110-1110111" gmss!




[RSRJ             AND IF YOU DON'T LIKE THE RULES HERE-




PLAINTIFF         1'111 l1)1i11g lo i11s1all a "no-mow" grass!




 ~   (RSR] CONTINUES INTOLERANCE THAT INDIGENOUS PEOPLES ARE NOI' \·/ELCOME IN (HOA) /WHITE NEIGHBORHOODS : D


[RSR)             -THEN, BUY YOU A LOT OF LAND! AND DO All YOU WANT TO!


 ~   PLAINTIFF NOTICES FE\•l OTHER PEOPLE CONGREGATING TO SEE OUTRAGEOUS SCENE [RSRJ HAS CREATED: D


PLAINTIFF         II lakes lime lo es/ab/isl,! Yo11 1re flying lo make a scene here! All i'm hying 10 say is-


~    [RSRJ CONTCNUES FRAUD - PRETENDS AS IF WOOD AT 2-lNCH-EDGE OF SIDE\-IALK IS PREVENT HER F'ROM WALKING : D


[RSRJ             NO. I 'M TELLING YOU- I CANT WALK THE SIDEWALK IV/TH YOUR CRAP - MOVE YOUR CRAP OFF THE SIDEWALK!




PLAINTIFF         /
                      1
                      111 flying lo ins/al/-
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[RSR]            MOVE YOUR CRAP ALL OFF THE SIDEWALK!




PLAINTIFF        Ok... Ok ... Ok.... I'm flying Iv i11.l'tall-


« [RSR] CONTINUES TO THREATEN PL/\INTIFF : D

[RSR]            PUT IT ON THIS AREA HERE - ON YOUR GRASS! ... THEN- THEN - THEN DO THAT- DO IT - GET IT OFF THE SIDEWALK. OTHERWISE
                 NEXT TIME, /'M MOVING IT!




PLAINTIFF        ok, I ll'ill fly Iv accommodate yo11r request - but, why are you coming al me! i'mjus/ flying lo do 1r/w1'., right by the e11viron111e11/ here!




[RSR]            BECAUSE I 'M SICK AND TIRED OF YOU. SID! SINCE, 2009, SID! 2009!




PLAINTIFF        So - 11•ha1 - since 2009, since 2009, I've bee11 flying to do-




[RSR]            YOUR BROTHER COME OVER AND{???}


 ~ PLAINTIFF DENIES [RSR] ' S FRAUDULENT STATEMENTS . TRIES TO CORRECT RECORD . PLAINTIFF POINTS- D

 ~ -TO FRONTLXlOR OF [788KLl:rx78641] STATING [RSR] THREATENED PIJ\INTIFF ~nlILE ON PLAINTIFF ' S PROPERTY :                                     D


PLAINTIFF        ll'hat are you talking about!! )'OIi came over here - You mme over here!


 ~ [RSR] CONTINUES FRJ\UD - ACTUALLY THREI\TENED TO HAVE PL71INTIFF KICKED OUT OF vlHITE-NEIGHBORHOOD : ~



[RSRJ            I JUST KNOCKED ON YOUR D00/l - AND ASKED YOU TO TAKE TAKE OVER YOUR YARD!




PLAINTIFF        Yo11 told me that )'Oll'd be gelling me kicked 0111 of the 11eighbod1ood! 11,at's basically what you said!


« [RSRJ FINALLY ADMITS TO BLACKMAILING PLAIN'l'IFF, THREATENING TO KICK PIJ\INTIFF OUT OF \•lf!TTE-NEIGHBORHOOD USING FORECLOSURE :
D


[RSRJ            I SAID I WILL CALL THE /HOA/ AND HAVE YOU FOllEaOSED ON IF YOU CONTINUE TO BREAK THE RULES!


« PL/\IN1'IFF IS RELIEVED THAT [RSRJ FINALLY ADMITS TO REPEATEDLY BL/\CKMAILING PIAINTIFF BACK IN {2009)-{2010 } : D

PLAINTIFF        Yes - exactly! Yes - emctly! Well, I did 1101 break the 111/es!




[RSR]

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                    YES, YOU ARE BREAKING THE RULES!




PLAINTIFF           No -you see-


[   {RSR] CON'l'I NUE:S FRAUD - MANY HOl1E:S \-!ITH CONSISTE:NTLY UNYJ:)!.•IED LAl·lNS HAVE: AlJ.-llWS EXISTE:D IN '!'HIS S\JBDIVIStO.'l :                         il


[ RSR]              WHY JS EVERYONE ELSE'S LAWN MOWED?/




PLAINTIFF           They have eve,y right to do ll'hat'.1· right by them/ I'm flying to do u1wt'.f right by me and the e11viro11me111/


~   [RSR] CONTINUES FRAUD - ALREADY l\DMI'ITED TO PLAINTIFr THAT SHE PREFERS APPEARANCE OF V,O\'/ED--L./\WN :                                      D


[RSR]               I DON'T WANT TO MOW MY GRASS EVERY 7'lME THEY TELL ME TO- BUT THAT IS THE COVENANTS OF THE [HOA}/




PLAINTIFF           Ok, but that's - actually there's a 20/3 law - that says drought-resis1a11t laudscapi11g - that's ll'hat i'm flying to - you're basically - i'm flying to
                    accom1110date lo the bes/ of{???} abilities!


 ~ [RSR] CONTINUES FRAUD - PRETENDS AS IF LANDSCAPING AND/OR TEMPORARY-LANDSCAPING-CHANGES AFFECT PROPERTY VALUES D



[RSR]               {???/AND I PUT MY HOUSE UP FOR SALE -AND I SHOW THAT MY PROPERTY VALUES ARE DEVALUED!




PLAINTIFF           This i.~ going lo be /e111pom1y!




[RSR]               NO IT'S NOT - THIS IS NOT TEMPORARY!




PLAINTIFF           IT IS TEMPORARY!


 ~ I RSR] CONTINUES FR/\UD - PRl!:TENDS AS PLA tNTIFF HAS BEEN REr1JJDELING/Cfll"\NGING PLAINTIFF ' S LANDSCAPING SINCE { 2009} D



[RSR]               ITS BEEN GOING ON SINCE 2009!-




PLAINTIFF           This is te111pom1y - this is going to be there before I i11s/all the 11e 111 "110-111011•" grass/


! [RSRJ DID NOT EVEN ASK lF PLAINTIFF HAD APPROVAL - TERRORIZED PIJ\INTIFF l'IITHOUT THIS KNOWLEDGE : D

[RSR]               HA VE YOU GOTTEN {HOA} CLEARANCE FOR THIS/




PLAINTIFF           I've already submilled the l"VfJD.m l - yes, I've submilled the pmpr,.m lI




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[RSR]              NO YOU HAVEN'T! YOU DON'T PROCEED UNTIL l'OU THAT APPROVAL - UNTIL IT IS APPROVED!




PLAINTIFF           I .wbmilled the proposal! ,rel/, until tl1en - uutil then - il.1)11st soil! - its jml soil!


 ~    [RSR] CONTINUES USING RACII\L-SLURS l\GAINS'\' PLAINTIFF: »


[RSRJ               DONTTEU ME THERE'S A 2013 LAW FOR THAT - YOU ARE A "VILLAGE IDIOT"!




PLAINTIFF          ok, that's basically is a racist stateme111 - that is a mcist sta/e111e111!


 ~    [RSRJ CONTINUES MIIKING RACIST, F'RAUDULEN'l' STATEMENTS : D


[ RSR]              YOU ARE TERRORIZING THIS NEIGHBORHOOD!




PLAINTIFF           That's also a racist s/ateme11t! That's a racist stale111e11t!




[RSR]               NO. ITS NOT RACIST!




PLAINTIFF           Yes tha1 is - You're calling me a /e11vrist!


 ~ [RSR] ADMITS TH/IT HER USE OF RACIAL-SLUR "TERRORIST" IS TIED TO PLAINTIFF ' S RACE/CULTURE : D



[RSR]              NO THAT'S RACIST, BECAUSE YOU'RE IMPLYING PEOPLE LIKE YOU ARE TERRO/l/STS!




PLAINTIFF          110 - u1wt are you! No you're coming al me- i'm 1101 imposing my stuff 011 you!


 ~    [RSR] CONTIHUES TO usr:: RACIAL-SLUR "TERRORIST" AGAINST PLAINTIFF:                                »

[RSR]               YOU ARE A NEIGHBORHOOD TERRORIST!


 K PLAINTIFF TRIES REPEATEDLY TO POINT OUT UTI'ER-HYPOCRISY OF [RSRJ ' S STATEMENTS : D

PLAINTIFF           You',e coming at me!


 ~ [RSR ] CONTINUES FRAUD - THERE ARE NO CIITCKENS ANYWHERE ON PLAINTIFF ' S PROPERTY : D



[RSR]              YOUR CHICKENS - YOUR TURTLES!




PLAINTIFF          /'111 1101 - I don't have - I do11'1 have any chickens! I don/ know ,.,lwt you're talking about!



 0C   [RSRJ A0.'1ITS TO ILLEGALLY USlNG PHOTOGRAPHS OF PLAINTIFF ' S PRIVATE BACKYARD: D
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[ RSR)             YOUR MICE - COME FROM OVER THERE. WE HA VE PICTURES!


~     PLAINTIFF TRIES TO EXPLAIN DIFFERENCE IN RACIAL/CULTURAL VIE\'IS OF RODENTS INCLUDING MICE: D


PLAINTIFF          Mice! Mice- you're 1a/ki11g abo11/ mice- Firs/ of all - 11•/,ere l'mfmm - mice arc ae11,ally, you know, respecled- //,ey'refed - wl,ere i am from! Ok, .m
                   basically-




[RSR)              Tf-lEN GO BACK OVER THERE AND FEED YOUR MJCE!




PLAINTIFF          Ok, exaclfyl EXACTLY! - Tl,is is wl,y 11•/,a/ you're 1alki11g - //,is is a - //,is is a - a mcisl s/aleme111!




[RSR)              IF I LIVED IN A NEIGHBORHOOD-




PLAINTIFF          This is a racist s1a1eme111!




[RSRJ              IF/ LIVED IN A NEIGHBORHOOD-




PLAINTIFF          See - ya11're 1101!-


&(RSRJ CONTINUES TO IMPOSE HER SENSE OF RACIAL-SUPERIORITY OVER PLAINTIFF: D

[ RSR]             YOU CAN'T TA LK WHEN l 'M TALKING!




PLAINTIFF          01, ok!-yo11 ca11 folk wl,e11 I /a/kl Bui I ca11'1 folk-




[ RSR]             IF I LIVED IN A NEIGHBORHOOD, WHERE YOU FEED MJCE-




PLAINTIFF          I'm 1101feeding mice! /'111 1101-




[RSRJ              THA T THAT WOULD BE EXPECTED-




PLAINTIFF          /'1111101 feeding-


 0C   [RSR) AD."11TS THAT THE NORMS OF nHITE PEOPLE ARE TO BE RUTHLESSLY IMPOSED UPON PEOPLE-OF-COLOR: D


[RSRJ
                                                                                 PA CE   4 06   or   9S 6
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                   THAT WOULD BE THE SOC/Al NORM OF THAT AREA - IT IS NOT THE SOC/Al NORM OF THIS AREA!




PLAINTIFF          No, but bosicolly w/,a/ you're ll)'ing to da is - you're imposing your mies - and your culture's 111/ev 011 mine!


[    {RSR] CONTINUES TO 11.IJI.UT HER ABUSE J\GI\IUST PLAINTIFF 1S SOLELY BJ\SED UPON PLAINTIFF ' S PROPERTY-1>.PPEARI\NCF, :          ii


[ RSR]             WHAT YOU'RE DOING IS THAT YOU'RE DEVALUING THE NEIG!-IBORHOODAND YOU'RE !-!OLDING US HOSTAGE IV/Tl-/ YOUR HORRIBLE
                   DISREGARD FOR LA IVN-CA RE!




PLAINTIFF          110 -   see //,is is, you're imposing yow·-


~    [RSRJ CAUSES MILLIONS IN DAMAGES TO PLI\INTIFF IN RETALIATION FOR HER FRAUDULENTLY- ALLEGED $15K TN DE-VALUATION TO
[789KLLTX78641] : Il


[RSR]              NO, I CAN'T SELL MY HOUSE- UNTIL YOUGETT/-1/S CLEANED UP. Ml' REALTOR TOLD ME ITS A 15-Tl·!OUSAND VALUE DE-V1llUAT!ON
                   BECAUSE OF YOURS!


 ~   PLAINTIFF COMPLETELY DENIES ALLEGATION CITING SHARPLY-RISING /\PPRAI Sl\1, VALUES : D


PLAINTIFF          Ok - I've seen tl,e appmisa/ va/11e, go up! up 011 up and 11p and 11p and 11p!




[ RSR]             YES- UNTIL YOU SELLA HOUSE-AND YOU/-IAVE SOMEBODY SAY- WHAT'S GO/NG TO HAPPEN TO THAT- I DON'T KNOW-BECAUSE
                   THE {HOA] HAS BEING DEALING IV/Tl-/ HIM SINCE 2009. SO, /'M NOT GOING TO BUY A HOUSE!




PLAINTIFF          So, tl,is i.,· 1/,e ve,y reason - I'm flying lo do wl,at's rig/ti bJ~




[ RSR]             SID, JUST MOW YOUR GRASS! IF YOU'RE TRYING TO DO WHAT'S RIGHT - JUST MOVE IT OFF THE PROPERTY!




PLAINTIFF          Yes, IJ11y are yon?! - I will do tltat!




[ RSR]             MOVE ITOFF THE SIDEWALK!




PLAINTIFF          i said will do tltat! 8111, wlty are J'Oll coming at-




[RSR]              AND !-/AVE YOU GOTTEN APPIWVAl FOR THIS - NO!!




PLAINTIFF          Ye,· i ltave - I've s11/Jmilled tlte approval!!


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g [RSRJ PRETENDS AS IF SHE ALONE IS TIIE [HOA} ~/HEN SHE HAS NEVER BEEN ON THE [HOA} BOARD . j]


[RSR)           WHERE'S THE APPIWVAL?




PLAINTIFF       I didn't s11l,111it it to you!!


~ [RSRJ Al:MITS 'ID MULTIPLE PEOPLE IN ILLEGAL SECRET CONSPIRACY WITH [HOA} , [SPOA-CM-CDJ AG/\INST PLAI NTIFF : j]



[RSR)            BECAUSE c••···· HAS NO... c••···· HAS REPORTED- WE'VE REPORTED T/i/S TO c•••..•. NOT.JUST ME, BUT THEM!




PLAINTIFF       1'111 talking about-


& [RSR] CONTINUES FRAUD -          PRE1'ENDS AS IF PLAINTIFF HAS CAUSED ANY NEIGHl30R HARM :                              D


[RSR)           THEY WRITE LETTERS. )'VE COME TO YOU - HOPING THAT MAYBE YOU'D HAVE SOME EMPATHY FOR WHAT THESE POOR NEIGHBORS!




PLAINTIFF        I 0111 doing... Fii>·/ of all - this is soil! this is soil!


 ~ [RSRJ CONTINUES FRAUD - PRETENDS AS IF SHE O'flNS PUBLIC SIDEWALK : j]



[RSR)            NO - GET THIS FUCKJNG WOOD OFF MY - OFF THE SIDEWALK -




PLAINTIFF        See, you're co111ing bock to that so111e thing!-


 ~ [RSRJ CONTINUES TO IMPOSE HER SENSE OF RACIAL-SUPERIORITY OVER PLAINTIFF : j]



[RSR)           GET IT OFF THE SIDEWALK!




PLAINTIFF        You're talking - You keep coming back lo the .mme 111/e here-




[RSR)            BECAUSE IT'S STJLL ON THE SJDEIVALK!




PLAINTIFF       Ok, i ll'ill get it off the side,mlk! ... /'111 talking about the soil - yo11j11111p f,v111 one topic to...


 ~ [RS RJ CONTINUES HER RACIST FRAUD AGAINST PLAINTIFF - PRETENDING AS IF THERE \·IAS NO CHANGE IN LAW IN {2013} : j]



[RSR)           NO, YOU'RE CALLING ME A RACIST, BECAUSE ITS BEEN - FOR 8 YEARS. SINCE 2009!




PLAINTIFF


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                  No, actual/_11, because yo11 arfi - you are targeting me for this ve,y reason! And and - and - i'm IIJ•ing to do what's right by the e11vim11111ent! - And you're

                  torgeting me just because of the -


 ~ {RSR] OVERTLY AO."lITS TO TARGETING PLAINTIFF BASED ON RACE - AS THERE ARE NUMEROUS UNl1D'1JED PROPERTIES WITHIN SUBDIVISION : D


[RSR]              l'M TARGETING YOU BECA USE - YOU'RE THE ONLY FR/CKJNG l'ARD OUT HERE - THAT HAS A FLAGRANT DISREGARD FOR{???]




PLAINTIFF          Act11ally 110! - i'm doing what'.\' rightf or the e11viro11111e11t!




 [RSRJ             NO, YOU'RE NOT!




PLAINTIFF          /'111 being - /'111 doing ll'hat's right for 11·hat my i11dige11011s culture requires me lo do!


 ~ [RSR] ENDS SUCH ABUSE RANT AGAINST PLAINTIFF, BY AGAIN , IMPOSING HER SENSE OF RACIAL-SUPERIORITY OVER PLAINTIFF : TI



 [RSRJ             CLEAN IT UP SID! ... CLEAN IT UP!


  ~ AFTER THOSE ABUSIVE, RACIST DEMANDS , [RSR] BEGINS TO SPEAK WI'l'H [CB&KB] , '!'HEN-OWNERS OF [792KLLTX78641], MAKING- D
  rr -MANY DEROGATORY STATEMENTS l\BOUT PLAINTIFF, AGAIN EXERTING HER SENSE OF RACIAL SUPERIORITY OVER PLAINTIFF, - D
  fi -REMINDING PLAINTIFF, YET AGAIN , ABOUT HAZARDS OF AN IMMIGRANT-OF-COLOR THAT QUESTIONS \'/HITE-SUPREMACY- D
  fi -WIIILE LIVING ~JITHIN A \'l!U1'E NEIGHBORHOOD - THAT WHITE-SUPREMACY DOMINATES AND THAT ANY ATTEMPTS TO- D
  ~ -QUESTION WHITE- SUPREMACY WILL BE MET WITH VICIOUS , PREDATORY , RETALIATORY AND ABUSIVE ACTIONS. D




1388
On or about an evening in the day in the month of {2017-02}, the plaintiff continues to work tirelessly on re-landscaping the [FRONTYARD].

[RSR], from the driveway and/or sidewalk across the street, shouts out to the plaintiff, a fraudulent claim that the wood that the plaintiff is

using has been pressure-treated with toxic chemicals - so as if to somehow indicate that the plaintiff is not living up to the plaintiff's

environmental principles. The plaintiff, pointing to the natural yellow-white color of the wood (as opposed to the green-tint of pressure-treated

wood), rejects [RSR]'s fraudulent claim and states that the wood is completely untreated (or "kiln-dried'~. [RSR] then yells to the plaintiff that

the wood will rot if it is not pressure-treated. Clearly, [RSR] has tried to trap the plaintiff into a winless "Damned ifyou do, damned ifyou

don't" type of argument. The plaintiff continues to reject [RSR]'s fraudulent claims, reiterating to [RSR] that the wood is only for tempora1y

use. [RSR] continues her fraudulent claim that the plaintiff is lowering property values, even loudly threatening the plaintiff, "I'M GOING TO

SUE YOU FOR DAMAGES!". However, as the record will show, [RSR] never sued the plai.ntiffbecause she was always clearly engaging in

racist fraud against the plaintiff, and any reasonable, unbiased finder-of-fact would have easily been able to recognize her racist fraud against

the plaintiff. On numerous occasions during the plaintiffs residence at [788KLLTX7864 l ], [RSR] has repeatedly peddled this racist and

fraudulent nan-alive that the plaintiff is lowering property values - even fraudulently claiming in a previous rant against the plaintiff that the

plaintiffs property appearance caused a $15,000 de-valuation on [RSR]'s property when even the [WCAD] appraisal records have consistently

proven othe1wise - and when [RSR], through almost a decade (at that moment in time) of racially-motivated hate-crimes, psychologically-

abusive torture and gaslighting that she has continued to inflict onto the plaintiff, had already caused millions in damages (in Jong-term pain-
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and-suffering, in permanent psychological trauma and in extreme emotional distress alone) to the plaintiff.



<[389
On or about an evening in the day in the month of (2017-03), the plaintiff continues to work tirelessly on re-landscaping the [FRONTY ARD].

[RSR], walking on the sidewalk across the street from the plaintiff, threatens the plaintiff that the plaintiff better take extra measures to pin

down all of the plaintiffs landscaping work - sheets of cardboard, soil, etc. - due to a tornado and/or strong-winds approaching the area. Again,
[RSR] was using as many opportunities as she could to-threaten-to sue the plaintiff, using any fraudulent reason as the basis, even though she
lived across the street from the plaintiff, and thus had no claim to any harm caused by any conditions - tempora1y or permanent - within the

plaintiffs property.



<[390
During the final-week of the month of {2017-03}, the then [HOA] under predatory [f-HOA-BoD]s[SPOA-P-BC],[SPOA-VP-AH] - acting

under the extreme pressure and blackmail of the plaintiffs predatmy neighbors [JSP&KAP],[RSR] with [JSP] even admitting, on multiple

occasions, to the plaintiff that they threatened to sue the [HOA] if the [HOA] did not sue the plaintiff(sce below)- file lawsuit against the

plaintiff, alleging breach-of-contract. The text of the lawsuit indicated that the plaintiff proceeded with "unapproved" changes to the plaintiffs
 [FRONTY ARD] landscaping without seeking prior approval from the [HOA], despite the fact that, at that moment in time (of filing of such

 lawsuit), the plaintiff had already submitted multiple versions of the plaintiffs landscaping approval documents to the [HOA] (management-

 company) and [HOA] attorney via email, with the plaintiff even asking if they needed any other info1mation to render their decision on

 approval/denial, and also with the plaintiff asse11ing the plaintiffs right to a hearing before the [HOA-BoD]s regarding any-and-all allegation(s)

 of "unapproved changes", as the plaintiff was entitled to by the law regulating [HOA]s in Texas (codified within the [TPrC]). The plaintiff did

 not receive a response to any of those multiple emails - except a single email from the [HOA] attorney, instructing the plaintiff to cease
 communications with tl1e [HOA] property-management-company - although the plaintiff was sending all of the plaintiffs emails regarding this

 matter directly to that [HOA] attorney. The [HOA] thus proceeded to lawsuit against the plaintiff without taking all necessaiy steps to resolve

 this issue without litigation - in essence, without "exhaustion 11. The extreme pressure and blackmail tactics that the plaintiffs predat01y,
 malicious neighbors [JSP&KAP],[RSRJ - both with extreme-racial-animus and far-right-wing-extremist political-animus against the plaintiff -

 was clearly enough to coerce the then [HOA] to ftle lawsuit against the plau1tiff - even though, as it turns out - neither [JSP&KAP],[RSR] had

 any meritorious/legitinmte clauns against the plaintiff to begin with - especially, with [JSPJ even admitting to the plau1tiff that he had replaced

 his front-yard grass on [784KLLTX78641] (u1 the year {2012)) without ever seeking any approval from the [HOA]. Agau1, as the leadership

 of the decade-long obstructive-and-retaliatmy, blackmailing-and-defrauding racketeeru1g-enterprise against the plaintiff, [JSP&KAP],[RSR] had

 always demanded that the powerful institutions-of-power - u1itially the [HOA] but always includu1g [WCLEJ - engage in the

 risky/burdensome/unpleasant/expensive work of litigation against the plaintiff, because they knew that they could never sue the plaintiff directly

 due to the huge volume of directly-incriminating evidence of hate-crimes/racketeering-acts/civil-rights-violations/abuses that the plaintiff had

 accumulated a1,,ainst defendants [JSP&KAPJ,[RSRJ (and some members of[WCLE]).



  <[391
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On or about a late morning on the day during the first-week of {2017-04), (WCCO] Constable-Deputy Robe11 Tijerina, [WCCD-RT],

approaches [FRONTDOOR] and rings the door-bell. When the plaintiff answers, [WCCD-RT] informs the plaintiff that the plaintiff has been

sued and serves the aforementioned [HOA] lawsuit onto the plaintiff. (WCCD-RT] asks the plaintiff if the other co-defendant named in the

lawsuit, the plaintiff senior-citizen (MOTHER], is also available to be served with such lawsuit. The plaintiff informed [WCCD-RT] that

[MOTHER] did not live at this property, and further infonns [WCCD-RT] of[MOTHER]'s residential address. [WCCD-RT] also stated to the

plaintiff that the plaintiff's version of served documents was more detailed and infonnative than the version served to [MOTHER] (which did

not make any sense to the plaintifl), but as the plaintiff would later find out, the two versions were identical. [WCLE] - in particular, the

[WCCO] - was thus fully-aware that the plaintiff was in legal-dispute with the (HOA] starting from this moment in time - knowledge that they

would continue to fully-exploit and fully-capitalize-upon in-order-to engage in further acts of predatmy blackmail, intimidation, civil-rights-

violations and/or other racketeering-activity against the plaintiff in most, if not all, of the incidents that followed. During that same day, as the
plaintiff is continuing to work tirelessly in [FRONTYARD] on the re-landscaping, [JSP] drives his pickup truck on the street past the plaintiff,

blaring the horn of his vehicle as he is passing the plaintiff (as he has done on numerous other occasions) - this time, not only to intimidate the
plaintiff, but also as a loud-sound of signaling his victmy - indicating that he had succeeded in blackmailing the [HOA] to sue the plaintiff - that

the plaintiff better bow-down to his authority. Again, the plaintiff emphasizes that all of the defendants' predatory actions against the plaintiff

focused not only maximizing the hann-and-damage that they inflicted onto the plaintiff, but also to engage in enough harm-and-damage onto

the plaintiff, in-order-to drive the plaintiff, an immigrant-of-color/indigenous-person, out of such White-neighborhood.



 <][3 92
 On or about 9PM (nighttime) during a date in the month of {2017-04}, the plaintiff continues to work tirelessly on re-landscaping the

 [FRONTY ARD], using an LED-light to light-up [FRONTYARD] in-order-to perform such work. [RSR] approaches the plaintiff from across

 the street, viciously shouting at the plaintiff to tum off the light, despite the fact that the light was only pointed at [FRONTYARD] and thus not

 onto any other resident's property - fu11her threatening that she will call the police if the plaintiff did not turn off the light. The plaintiff did not

 respond to [RSR]'s threat, and instead just continued working. [RSR] heads back into her house, and approximately 20 minutes later, an

 unidentified [WCSD], [WCSD-JD-13], parks his vehicle near the plaintiffs property, approaches the plaintiff and asks the plaintiff about the

 elaborate work that the plaintiff was doing on [FRONTYARD]. [WCSD-JD-13] asked the plaintiff if the plaintiff was almost-done or done

 working on the landscaping for the day, which the plaintiff did acknowledge that the plaintiff was done for the day. The incident ends when

 [WCSD-JD-13] leaves the property after realizing that the plaintiff is about to enter back into the [HOUSE]. As this lawsuit tries to document,

 this incident would be only one of over a dozen incidents that the plaintiffs predatory neighbors - (RSR] and/or [JSP&KAP] - would use a

 fraudulent complaint, based exclusively on their extreme-racial-animus, far-right-wing-extremist political-animus, and homophobic-animus
 against the plaintiff, to call the [WCLE] police and/or other government-agencies (such as the [WCCHD],(TCEQ]) on the plaintiff h1-order-to

 racially h1thnidate/h1terfere-with/harass/threaten the plaintiff by proxy.



 <][393
 On or about the day and approximate time of {2017-05-05 15:30}, two-or-more children of the homeowners of [525LSLTX7864l] enter into

 the plah1tiffs [BACKYARD] through a small opening in the plah1tiffs [BACKYARD] fence, h1-order-to play with the plah1tiffs tortoises -

 which the plaintiff had noticed on multiple prior occasions ( } . However, on this pm1icular occasion, said children also started to pick up items

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from the plaintiffs [BACKYARD] and throw such items over the fence, and into the backyard of neighboring property [792KLLTX78641] -

then owned by [CB&KB]. The plaintiff, noticing such activity via the plaintiffs security-camera-system-monitor, opens the plaintiffs [BACK-

DOOR], and states to said children that they arc welcome to play with the plaintitfs tmtoises, but to please refrain from throwing items into the

neighboring properties, and also to please refrain from moving items around in the plaintiffs [BACKYARD] (which the plaintiff had also

noticed). In i-esponse, one of the children questions the plaintiff, "Why not?" The plain.ti.ff explain.., to said child that the plaintiff would get into

trouble with those neighbors if they thought that the plaintiff was throwing items into their property's backyard. The children seemed to agree

with the plaintifl's requests, and the plaintiff enters back into [HOUSE]. A few hours after this incident, the plaintiff noticed one of the

plaintiffs tortoises flipped over - in a helpless condition, with such tortoise unable to flip itself back into upright position - presumably because

one of the children had flipped such tortoise without flipping such tortoise back into upright position. This incident reveals a few crucial points,

demonstrating both the fraud perpetrated by defendants [RSR],[JSP&KAP],[WCLE] (and their co-conspirators) against the plaintiff, but also,

certain aspects of the plaintiffs character:



® the plaintiff did not call the police ([WCLE}) on said children or the parents of said children, and instead, the plaintiff did not even tell said
children to leave the plaintiffs (BACKYARD].

@ [RSR] had on multiple occasions spread the racist fraud even on public social-media postings that the plaintiffs property has been a

"dangerous situation" for over 7 years, and this incident further dismantles that racist fraud - that the plaintiffs [BACKYARD] was, instead, a

pe1fectly-safe environment for even children to play in.

© it is still unclear to the plaintift; whether-or-not (CB&KB] reported to [WCLE] and/or the [HOA] that such items thrown into their backyard
were acts of vandalism by the plaintiff (which it clearly was not).

@the plaintiff was hospitable-enough to allow the neighbors' children to repeatedly enter into the plaintitfs [BACKYARD] in-order-to play

with the plaintifl's to1toises, further demonstrating that the plaintiff never harbored any type of animus towards any of the plaintiffs neighbors.



1394
On or about the afternoon of the day of the month of {2017-05-27\, the plaintiff is working inside of [HOUSE], when the plait1tiff sees (on the

security-camera-system-monitor) [JSP] approach the plaintiffs sideyard and tamper-with the re-landscaping materials that the plaintiff had

installed along (but within) the border of the plaintiffs property [788KLLTX7864 l] and [JSP&KAP]'s property [784KLLTX7864 l] -

including tearing out excess piece of cardboard near the border-area - and dumping such torn excess cardboard into the plaintiffs sideyard. The
plaintiff walks outside of [HOUSE], approaches [JSP] to investigate the issue of clear vandalism. [JSP] angrily demands to know why the

plaintiff stopped the work of landscaping of [FRONTYARD], and is allowing the newly-install sod-grass (which the plaintiff had already spent

approximately two-thousand dollars on including supporting infrastructure, along with many months of the plaintiffs back-breaking labor) to

die. The plaintiff explains to [JSP] that the [HOA] attorney issued a threatening demand to the plaintiffs attorney to stop all re-landscaping

work. The plaintiff further explains to [JSP] that the [HOA] attorney threatened that if the plaintiff did not stop the re-landscaping work, that

the [HOA] would be seeking a temporary-restraining-order [TRO] from the [WC] District Court (the same Court in which the [HOA]'s lawsuit

against the plaintiff was filed), to stop the re-landscaping work- at least until an agreement was reached where the plaintiffs drought-resistant-

landscaping approval documents were formally approved by the [HOA]. On numerous occasions, [JSP] angrily states that the plaintiff signed a

Contract requiring the plaintiff to cut the grass - but fails to provide a justification when the plaintiff informs [JSP] that the contract was

written/amended during the years {2005}, {2006) whereas the new drought-resistant-landscaping provisions of the [TPrC] were written and
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took effect around the year {2013}. On numerous occasions, the plaintiff informs [JSP] that the plaintiff is simply trying-to-do what is right

from the environment due by eliminating the extreme waste and destruction that is caused by maintaining a mowed-lawn - that the plaintiff was

simply t1ying to install a "no-mow" (drought-resistant) grass/groundcover that was already allowed for by the said contract. [JSP] angrily yells,

"WE DON'T GIVE A FUCK ABOUT WHAT'S IUGHT FOR THE ENVIRONMENT! WE GIVE A FUCK ABOUT HOW THIS PLACE LOOKS!

THAT'S WHAT WE GIVE A FUCK ABOUT! WE'RE SICK-AND-TIRED OF YOUR PLACE LOOKJNG LIKE SHIT!" lJSP) even questions

whether the plaintiff obtained approval for replacing the grass, even though [JSP] had already admitted to the plaintiff that [JSP&KAP] never

sought approval from the [HOA] prior to replacing their front-yard grass (on [784KLLTX7864 l]) with another (thirstier, tlrns, not

environmentally-friendly) grass-species on-or-about the month of {2012-03} - yet another component of the plaintiff's racial-discrimination

complaint against the defendants. The plaintiff questions [JSP] whether he cared about the future of his children and grand-children because

they would be inheriting the world which might not even support human habitation, or at the very least, to the same degree and same-standard-

of-living that the current generations are enjoying. [JSP] responds by skirting the issue, stating, "We're.fine, man. ... We're fl ne. ", although

(fraudulently) stating that the plaintiff's fight for a "no-mow" frontyard was not going to make a difference, for the better of the

environment (~ ) . [JSP] then questions the plaintiff about alleged "bugs" on the plaintiff's property - first with alleged ''yellow-jackets"

(wasps). When the plaintiff explains that there is a large percentage of people who do not use bug-spray to kill so-called "bugs", [JSP] angrily

responds "WE DONT' GIVE A SHIT ABOUT THOSE PEOPLE! THEY DON'T LIVE HERE! ... YOU LIVE IN A DIFFERENT, A

COMMUNITY THAT REQUIRES YOU TO ABIDE BY CERTAIN RULES - THAT YOU'RE NOT ABIDING BY!" The plaintiff denies that any

such rule exists, explaining that there is no rule that requires homeowners to use bug-spray to kill so-called "bugs". [JSP] then shifts focus, once

again, questioning why the [HOA] stopped the plaintiff from continuing work on the re-landscaping. The plaintiff explains that the plaintiff is

 hying to resolve the issue amicably witbout litigation (or at the very least, with minimal litigation), to which, [JSP] threatens, "OH, YOU'RE

 GOING TO COURT! YOU CAN TAKE THAT TO THE BANK! ... YOU'RE SCREWED, SID! THEY'RE GOING TO BURN YOU DOWN!

 YOU KNOW THAT. RIGHT! ... YOU'RE BURNING YOUR PARENTS DOWN - YOU ARE GOING TO COST YOUR PARENTS A TON OF

 MONEY!" The plaintiff asks whether the threat of expensive litigation was justified, given that the plaintiff was merely hying to do what was

 right for the environment. {JSP] fraudulently states that the plaintiff is hiding behind that loophole in Texas law concerning drought-resistant-

 landscaping, while the plaintiff states that, [JSP]'s statement is the exact opposite of the n·uth - further explaining that [HOA]s were unjustly

 allowed to fine homeowners for not watering their yards, prior to the enactment of that law; in other words, it was the [HOA]s (and/or their

 property-management-companies) that were fully-exploiting and fully-profiting from such lack of regulation. On one-or-more occasions during

 such abusive rant, [JSP] asks the plaintiff if the drought-resistant-landscaping is a (Texas) State-Law or some law that was passed by Congress

 - indicating very clearly to the plaintiff that all of the private-citizen co-conspirators named in this lawsuit - [JSP&KAP],[RSR] - and also their

 cronies (such as [DMP]) had not even read the relatively-new additions to the Texas Property Code allowing for the homeowners' right to such

 drought-resistant-landscaping. During at least one point in time, [JSP] further gaslights the plaintiff, stating that the plaintiff is lucky with the

 then-[HOA] (despite of the fact that then-[HOA] had already sued the plaintiff), even threateningly stating to the plaintiff, "IN EVERY OTHER

 COMMUNITY, THEY WOULD HAVE HUNG YOUR ASS BY NOW! YOU WOULD BE GONE!", clearly referencing a Jim-Crow-era lynching

 of colored person(s) by predatory White-Americans. [JSP]'s threat also reveals the type of vicious blackmail and gaslighting that the defendants

 engaged in against the plaintiff - that the defendants believed that they could fully capitalize-on and fully exploit the aforementioned unfavorable

 racial-demographics of the County of Williamson, in-order-to inflict maximum harm onto the plaintiff and/or plaintiff's family. [JSP] responds,

 "IS THAT WORTH IT?! ... IS THAT WORTH BURNING YOUR PARENTS DOWN! ... ", again, gaslighting the plaintiff into thinking that the

 plaintiff has no chance of winning a lawsuit against the [HOA). The plaintiff continues to maintain that doing what's right for the environment

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should not result in expensive litigation - especially, since the new additions to the [TPrC] allow homeowners the right to pursue

environmentally-sustainable options. The plaintiff states that there are multiple aspects about the others' yards including [JSP]'s yard that the

plaintiff is disapproving of - and [JSP] sarcastically laughs, responding, while demonstrating his strong sense of racial-superiority: "ABOUT

HOW IT ALL LOOKS NORMAL?!" The plaintiff also states on multiple occasions during [JSP]'s hostile rant that what White-Americans
consider to be "NORMAL" is clearly not-normal to the people-of-color living \11 other parts of the world- including South-America, Africa and

South-Ao;;ia - who do not live the same (extravagant) lifestyles of White-Americans and thus, do not maintain property/land in the same manner

as White-Americans (as alluded to in the previous social-media-posting by the hashtag "#firstworldprob/ems'). [JSP], once again, brings up the

issue of the plaintiff signing a Contract, but the plaintiff this time responds stating that the lighting of fn-eworks within the subdivision is illegal,

and further that leaving dogs/cats unleashed to roam freely (with cats jumph1g into [BACKYARD]) is also illegal. [JSP] h1itially fraudulently

states that lighting of ftreworks is perfectly legal outside of City lhnits, but the plaintiff denies that fraudulent statement stating that the contract

explicitly prohibits such lighting of fireworks anywhere withh1 the subdivision. (In addition to being a violation of contract law, the lighting of

loud fireworks in such residential neighborhood is also, as indicated above, and at a minimum, a violation of Texas criminal law ''Disorderly-

Conduct".) [JSP], realizh1g that he cannot perpetrate that particular fraud against the plaintiff, then shifts his reasoning, stating instead that the

lighth1g for fireworks is only twice a year, failing to take account of the fact that the lighting of such fireworks occurs on several days - both

before and after - July-the-fourth and New-Years-Eve, resulting in as many as 10 total days where fireworks are illeb,ally lit for prolonged

periods of time. [JSP] fails to acknowledge that the illegal lighting of such fn-eworks:

® causes an extreme nuisance to most residents who do not want to suffer such nuisance, AND
@ causes an extreme disruption to sleep/work schedules (and resulting sleep-deprivation and/or lack-of-productivity) that such frreworks

causes, AND
© may easily cause both short-tenn and long-term damage to hearing for those that arc exposed to such loud noises, AND
@ causes at least some of the residents' pets (such as dogs) to be traumatized, AND
® could easily result in (and has resulted in) serious injmy, or in some extreme cases death, especially if those lighting such fu-eworks do not
take proper safety precautions, AND
® could very-easily result in (and has resulted in) serious propetty damage, with both property's vegetation and building-structures/fences
 significantly damaged by such dangerous/unpredictable frreworks, AND

 @ causes serious air-pollution - with all of the toxic burned chemicals and smoke from such debris blanketing and clouding the air, AND
 (8) causes serious land-pollution - with all of the debris falling not only onto public property (street/sidewalk) but also others' private-property.

 [JSP] fails to acknowledge that the illegal unleashing of dogs/cats - especially large dogs/cats - to roam freely onto other's yard:

 ® could easily result in serious injury to other residents or to other residents' pets - if such animals bit/scratched/mauled/pounced-on/etc, AND
 ® could easily result in transfening diseases/viruses to other residents or to other residents' pets, AND
 © could easily result in property-damage, if for example, such dogs/cats dig-up landscaping'vegetation, such as, but not lhnited to vegetables
 and other landscaph1g plants, AND

 @ often results in such animals defecating and urinating in others' yards.
 Durh1g such angry rant against the plaintiff, [JSP] angrily states to the plaintiff that he had heard that the plaintiff accused [JSP&KAP],[RSR]

 (and then· co-conspirators like [DMP]) of being racist. The plaintiffh1sists that it is, in fact, racist for those of the dominant White-American

 racial-majority to forcefully impose their dominant cultural standards/norms (when it comes to property-maintenance, and particularly when it

 comes to the growth ofveb>etation) onto minority immigrant(s)-of-color/indigenous-person(s) such as the plah1tiff - further explainh1g that the


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manner in which the plaintiff is maintaining the plaintiffs private-property is fundamentally no-different-than (or at the ve1y least, is mueh-

closer-to) the natural way that the people-of-color in South-America, Africa and South-Asia live. On one-or-more occasion(s), [JSP] angrily

states that he doesn't care about the manner in which people-of-color around the world live, and instead, demanded that, as a resident of such

White neighborhood, the plaintiff was expected to maintain the plaintiffs private-property according to White-American standards. During

[JSP]'s abusive rant against the p\a\fi.tiff, the plaintiff informs (JSPJ of the pla-intifrs disability-status - that the 11\aintiff was registered as a

Student with Disabilities at [UT-Austin]. [JSP] abusively dismisses the plaintiffs claim of disability, stating that if the plaintiff was skilled-

enough to re-landscape the plaintiffs [FRONTY ARD] - including all of the back-breaking labor involved in such process - then, there is no

disability. [JSP] continues to threaten that the plaintiffs insistence on doing what's right for the environment will result in the plaintiff losing the

plaintiffs property and being evicted from such property- due to foreclosure caused by the [HOA] - in addition, causing the plaintiff to be

"burnt down" by litigation-related expenses. (JSPJ then makes several derogato1y statements regarding the plaintiffs off-grid lifestyle even

fraudulently alleging that the plaintiff was dumping human-faeces in [BACKYARD] - which the plaintiff vehemently denies. As the incident on

the following day would show (see below), [JSP&KAP] contacts the [TCEQ] to fraudulently rep01i that the plaintiff was dumping and/or

bmying human-faeces in [BACKYARD] - resulting in yet another unconstitutional-and-unlawful search/seizure of the plaintiffs private-

property. [JSP] even admits that if humans were facing an Armageddon-type situation, then of course, eve1ybody would be leadh1g an off-grid

lifestyle out of pure necessity- but that humans are not facing such an extreme situation at such cunent moment in time. [JSP] fails to

acknowledge that the reason why many peoples of all races (not lhnited to indigenous peoples) have chosen to live an off-grid lifestyle is not

out of necessity, but rather out of living as-humbly-as and as-sustainably-as one can - so that one does not consume limited, non-renewable

resources, and so that one can do minimal harm/impact/footprint onto the environment - for the benefit of cunent and future generations of all

life on earth - in particular, allowing the world to be both habitable and hospitable for future generations of all life on earth - lifestyle choices

that are Constitutionally protected as religious-practice and political-expression. More hnportantly, this statement by [JSP] clearly showed the

plaintiff that [JSP] either was-deliberately-ignorh1g or was-blissfully-ignorant-about the increash1g seriousness of the environmental-crisis that is

simply being made increasingly worse by the continued, extravagant and unsustainable lifestyles of humans, especially of the so-called '.first-

world11. (In particular, according to certain American Public-Television programs, the statistics show that if every person on earth consumed

resources at the save level that the average American did, then such resource consumption would require the resources of five earths.

 Likewise, such statistics show that if every person on earth consumed resources at the same level that the average European did, then such
 resource consumption would require the resources of three earths, indicating~ that Europeans, on average, are living only a slightly more

 sustainable lifestyle choice as Americans, on average.) The plaintiffexplah1s to [JSP] not only that there were even American Public-Television

 programs that document how people (of all races - including Americans) live off-grid lifestyles, but also that there are entire communities (not

 limited to "intentional communities') in which all residents live an off-grid lifestyle. [JSP] then shifts his focus onto a tiny section offence on

 the plah1tiffs property - essentially one panel of fencing - that was leaning. [JSPJ even admits to (illegally) entering into the plaintiffs property,

 without the plaintiffs permission, and plach1g a heavy wooden-post in a leaning position to hold up that one fence-panel on the plah1tiffs

 property, claiming that he would have to end up fixing the fence, by which [JSP] also meant significant parts of the fencing that resided on the

 plah1tiffs property - both a brazen h1terference into the private-affairs and private-property of the plah1tiff, and another purely racist fraud as

 future incidents would reveal. [JSPJ fails to take h1to account that the plah1tiffhad already invested several thousands of dollars in materials for

 extra-heavy-duty (commercial-grade) steel fence-posts and several thousands of pounds of concrete-mix to re-construct the entire

 [BACKYARD] fencing with a pennanent fence that would never have to be repah·ed/replaced agah1 (see below), thus rendering (JSP]'s

 argument about replacing a single fence-panel on the plah1tiffs property, moot and meaningless. The most hypocritical aspects about [JSP]'s


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statements about the fence is that - while the plaintiff would spend a huge amount of money, time, and backbreaking labor in building the

plaintiffs permanent fence (sec below) on the 2 sides of the fence that the plaintiff did have access to - during the final months of {2017} and

the initial months of {2018) - [JSP&KAP]'s fence bordering the plaintiffs property has been leanin!)'dangling for over 3 years since that

moment in time (since {20 I 4}) - due to [JSP&KAP]'s complete negligence in fixing the fence that only they could fix from their side (due to all

of the fence-posts being on their side). [JSPJ then complains to the plaintiff about vegetation that was growing in between the seµarntion of the

new landscape-edging material that the plaintiff had installed, when the plaintiff had already explained to [JSP] that the plaintiff was ordered to

stop all such landscaping work on the plaintiffs property, and so, the plaintiff could not do anything about such complaint. [)SP] continues to

angrily rant - that the plaintiff's property is going to continue to "LOOK LIKE SHIT" until the [HOA] provides approval for the plaintiff to

resume work (which could take several months). [JSP] also complains about the vegetation that was growing between the small crevices of

concrete-slabs on [DRIVEWAYJ; the plaintiff responds that that vegetation only grows at such location because the builder of the subdivision

has poorly-installed (or failed to install) the proper materials to prevent the arbitraiy growth of vegetation through such crevices in the driveway

(and sidewalk). [)SP] then makes a ve,y-revealing admission to the plaintiff - at least the first part of which is surprisingly honest: "I think

you're an alright guy -1 think your intentions mean well, but you're going about this the wrong way ... ", revealing not only that the plaintiff

never had any bad intentions in the plaintiff's maintenance of the plaintiff's private-property, but furthermore, that the plaintiff had nothing but

good intentions in the plah1tift's maintenance of the plaintiffs property- which further indicates that, at best, all of the defendants were

abusively weaponizing (both as a '~nvord andshield'1 the property-maintenance laws as modem-day-Jim-Crow law against the plaintiff merely

for aesthetic/cosmetic issues on the plaintiffs private-property. When the plaintiff asks how the plaintiff could go about it "the right way'1,

 [JSP] then rndely orders the plah1tiff to "MOVE! ... GO SOMEWHERE ELSE!" - fu11her h1dicating the true motives behh1d all of the

 defendants' prcdatmy actions against the plaintiff, and thus, laying the substantial (althougl1 not exclusive) basis for the plaintiffs filing of this

 lawsuit. [JSP] continues to demand that the plah1tiff conceal the cardboard used to prevent the previous landscape's vegetation from growing,

 ranting that "IT LOOKS LIKE DOGSHIT!". The plaintiff continues to repeat to [)SP] that the plaintiff cannot touch any aspect of the

 landscaping due to the [HOA]'s legal threat of obtah1ing a [TRO] agah1st the plaintiff to stop such landscaph1g work. The plaintiff explains that

 if [JSP] wanted the plaintiff to be able to take care of the issue, then [JSP&KAP] should take such complaint to the [HOA] - allowing the

 plaintiff to resume such work. The plaintiff further explah1s to [JSP], that if[JSP&KAP],[RSR] did not repeatedly-complain to the [HOA]

 regarding the plah1tiffs orighrnl landscaph1g to begh1 with (for over 7 years), that the alleged undesirable scenario that [JSP] was currently

 complaining about would not have existed to begin with. [JSP] fraudulently continues-to-deny that [JSP&KAP] ever complained about the

 plah1tiffto the (HOA], instead stath1g the words that many abusers fraudulently perpetrate onto then· victims, by gaslighting and t1yh1g to isolate

 then· victims from the rest of the world: "I TALK TO YOU - l'MTHE ONLY ONE HERE, IN THIS NEIGHBORHOOD, THAT'S NICE TO

 YOU! ... WHY WOULD I DO IT! ... LET ME TELL YOU WHO DID IT - THE {HOA] HAS DONE IT! ,,. I MEAN, I'M NOT GOING TO

 LIE! -I WANT EM TO DO IT! -I WANT EM TO GET RID OF YOU! - I WANT THIS PLACE TO LOOK NICE, BECAUSE WHEN IT
 COMES TIME FOR ME TO SELL MY HOUSE, I DON'T WANT THIS PIECE-OF-SHIT NEX'I' TO ME! - l'M SORRY, I DON'T! - l'M JUST

 BEING HONEST!" The fraud in [JSP]'s statement is further-revealed in a subsequent incident in the subsequent month of (2017-1 l} (while

 the plah1tiffwas still in pending litigation with the [HOA]) during which [JSP] threateningly reveals to the plaintiff that [JSP&KAP],(RSR],

 [DMP] (and other co-conspirators) had repeatedly threatened to sue the [HOA] if the [HOA] did not take legal action against the plaintiff -

 essentially blackmailing the [HOA] into suh1g the plallltiff. [JSP] then continues to perpetrate the racist fraud that both [JSP] and [RSR] have

 repeatedly peddled - that the plaintiffs property is "devaluating" [JSP&KAP]'s property - further threatening the plaintiff, "YOU'RE DE-

  VALUATING ... YOU'RE TAKING LOTS OF MONEY OUT OF MY POCKET, AS IT IS! -AND TO TAKE MORE MONEY OUT OF MY

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POCKET-I'M NOT GOING TO FUCKING HAVE THAT, SID! I'M JUST NOT GOING TO HAVE THAT!". When the plaintiffcahnly asks

how the plaintiff was "taking money out of' [JSP]'s pocket, [JSP] angrily responds, "YOUR PIECE OF SHIT HOUSE IS GOING TO

DEVA LUA TE MY HOUSE!" [JSP] then continues to rant that its not just an issue of the [FRONTY ARD] grass, but also the plaintiff's

"bushes", and the "wasp nests". [JSP] then tells the plaintiff that he cannot imagine how the inside of[HOUSE] looks like, if this is the manner
in which the plaintiff maintains the exterior of the plaintiffs property. The plaintiff doubles-down on the accuracy of this particular staternent of

[JSP] - stating that if [JSP] knew how the inside of the plaintiffs [HOUSE] looked, then he would fully realize that the manner in which the

plaintiff was maintaining the exterior of [HOUSE] to be "extremely generous" and "ve,y accommodating" to all of the plaintiffs neighbors - in
other words, that the plaintiff was maintaining the exterior of the plaintiffs property in a much-more ''neat and attractive" manner than the
plaintiff was maintaining the interior of [HOUSE] - further illustrating that the plaintiff had nothing but good intentions in the plaintiffs

maintenance of the exterior of the plaintiffs property. So, the plaintiff continues to express befuddlement as to why the plaintiffs neighbors

(including [JSP&KAP],[RSR]) were predatorily targeting the plaintiff, when the plaintiff was being nothing other than "extremely generous"

and "ve1:v accommodating" to the plaintiffs neighbors. [JSP] continues to fraudulently deny that either he or his wife, [KAP], are instigating

the [HOA]'s predatory litigation efforts against the plaintiff - that no one else is coming after the plaintiff except "maybe Becky" ([RSR]). [JSP]

continues to angrily rant, "AND ANOTHER REASON THAT I COULD COME AFTER YOU - IS BECAUSE OF ALL THE FUCKING BUGS

IN MY YARD -ALL THE ANTS -ALL THE FUCKING SPIDERS!" When the plaintiff explains that there's many people in the neighborhood

that do not use "bug .,pray", [JSP] angrily shouts "I DON'T GIVE A FUCK ABOUT OTHER PEOPLE! I CARE ABOUT WHAT'S GOING ON

IN MY HOUSE! ... I DON'T USE BUG-SPRAY EXCEPT TO KILL YOUR BUGS!" [JSP] angrily explains to the plaintiff, that since the

plaintiff had/has unmowed-grass in [YARD], "bugs" (ants, spiders, etc.) live in such unmowed grass, but that since the plaintiff does not

irrigate [YARD], that such bugs would enter into [JSP&KAP]'s yard to drink the water due to the irrigation supplied to [JSP&KAP]'s yard.

The plaintiff found and continues-to-find residents (including [JSP]) that expect to have a landscape of soil and grass without "bugs" such as

ants/spiders to be completely irrational, illogical and unreasonable - that if such residents truly wanted to have a landscape without such "hugs",
then such residents should have never decided on grass-and-soil to begin with - instead opting for a landscape of gravel (stones) or concrete.
(Ants, for example, are so extremely successful as a species that their total biomass on this planet exceeds the total biomass of all birds and
mammals, including humans, combined. The plaintiff is thus reminded of all of the problems caused by such ethnocentric mindset of wanting a
 landscape of living, irrigated grass installed around one's house, but yet, with such living irrigated grass being completely sterile and devoid of
 all other life. Once again, the idiom "You can't have your cake and eat it too" comes to the plaintiffs mind,) [JSP] then angrily rants that the
 so-called ''l,veed<;" from the [YARD] enters into his yard - that he spends a lot of money on both "weed killer" and "bug spray". The plaintiff

 tries to explain to [JSP] that the plaintiff is not only not requiring [JSP] to use any of those chemicals, but even further, that the plaintiff is

 completely against the use of such extremely-toxic chemicals - as explained in the sections above and below. [JSP] angrily states that he would

 love to walk on his yard, barefoot, without getting his feet bitten by ants. The plaintiff reiterates that there is no rule in the resh·ictive covenants

 requiring any homeowner to use bug-spray, stating that such chemicals are very destructive/damaging to the environment - and to human
 health. [JSP] angrily and derogatorily responds, "IT'S JUST A COURTESY THING, DICK-HEAD!", indicating to the plaintiff that its a

 "courtesy" for neighbors to be performing actions that are destructive/damaging, both to the environmental health and to human health. [JSP]

 then continues to angrily complain to the plaintiff about yellow-jacket (wasp) nests mound the [HOUSE], that [JSP&KAP] use bug-spray to

 kill all the wasps on [JSP&KAP]'s property so that they don't sting their kids (who are both teenagers at this point in time). (The plaintiff is

 reminded of a Public-Television program in which one of the hosts admits to leaving the wasp-nests around his house untouched - that he
 never disturbs the wasps and the wasps never disturb him.) [JSP] continues to angrily rant that the cardboard protruding from the sides of the


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landscape-edging that the plaintiff had installed - "LOOKS LIKE SHIT". The plaintiff remh1ds [JSP) that eve1y constrnction-project takes time -

that the property under construction will not look presentable until after the work is completed and cleaned-up - that at least some construction

projects can look much messier than whatever the plah1tiffhas currently, but incompletely, h1stalled on the plah1tift's [FRONTYARD). [JSP)

responds that he works in constrnction, that he is a construction superintendent, that he knows how constrnction works, further ranting, "I'LL
TELL YOU WHAT- WE CAN'T LEAVE ANY OF OURJOBSITES LOOKING LIKE DOG SHIT- I GUARANTEE YOU THAT! - WE HAVE

TO MAKE IT LOOK TIDY! - WE CAN'T MAKE IT LOOK LOOKING LIKE ... IT'S TRASH, IS WHAT IT IS!"The plah1tiff continues to

repeatedly remind [JSPJ that the plah1tiff cannot continue any of the landscaph1g work that the plaintiff has left unfinished h1 [FRONTYARD),

due to the [HOAJ's aforementioned legal threat of a [TRO) to stop all landscaping work until further approval. [JSP) continues to gaslight the

plaintiff that it was the plaintift's fault for not obtaining approval prior to replacing the grass, even though [JSP) already admitted to the plah1tiff

that he had replaced the grass on the front-yard of his propeity without seeking any such approval from the [HOA]. The plaintiff explains to

[JSPJ that there are many residents livh1g within [HOA) subdivisions that have submitted approval documents after already h1itiath1g alleged

"unapproved changes" to property - but that as soon as such approval documents are submitted - from the time that such submission is

submitted to the time that such submission is responded to (with either an approval, denial or need for further information) - the clock is

stopped oil any enforcement action(s) on such residents - since the residents are barred from acting in furtherance of such alleged "unapproved

changes" (as no person can be held, in any way, liable for failing to perfonn any action(s) that they are not leb,ally permitted to do.) [JSP)

continues to peddle the fraudulent na1Tative that the plaintiff is not abiding by the contract - next turning his attention onto the plaintiffs
 "bushes", conthmh1g to gaslight the plaintiff, clahnh1g "THEY LOOK AWFUL - EVERY SINGLE PERSON THAT GOES BY HERE THINKS

 THE SAME THING! EVERY SINGLE ONE, SID! THERE'S NOT A SINGLE ONE THAT SAYS - HEY THOSE BUSHES LOOK FANTASTIC!

NOT A ONE! AND YOU'RE ALSO BRINGING UNWANTED - PEOPLE ARE COMING THROUGH HERE - PEOPLE ARE DRIVING BY

 TO SEE YOUR FUCKING YARD NOW! TO SEE YOUR MONSTROSITY, HERE! - THAT'S WHAT'S GOING ON! PEOPLE WALKING

 THEIR DOGS, PISSING ON MY TREES - IT WAS UNCALLED FOR - NOW YOU GOT ALL THIS CRAP PILED UP ON THIS FRONT! .... "

 [JSP) conthmes to threaten the plaintiff, "YOU KNOW WHAT'S GOING TO HAPPEN, SID! - DO YOU REALLY KNOW WHAT'S GOING

 ON! - YOU KNOW YOU'RE NOT GOING TO WIN THIS, RIGHT?!" [JSPJ then rants to the plaintiff that [JSP)'s other next-door neighbor,

 [JH), had a pile of dirt in his driveway of [780KLLTX78641) that [JH) was putting into his yard durh1g the weekend that resulted in [JH) being

 cited with a ticket, for one day - by the [HOA). The plaintiff explah1s that the plaintiff does not understand [JSP]'s anger nor fraudulent-clahn

 of the what [JSP) hnplied to be the [HOA)'s preferential-treatment of the plaintiff, because the plah1tiff is facing expenses much greater than "a

 ticket" - indicathlg that the [HOA) had already ftled lawsuit agah1st the plah1tiff, further forcing the plah1tiff to spend thousands of dollars in-

 order-to retain an attorney to represent the plaintiff in such legal battle agah1st the [HOA) - whereas [JHJ never faced any expense of such

 litigation, let alone, the risky/burdensome/unpleasant/stressful task of litigation. In other words, the plaintiff was llying to explain to [JSP) that

 [JH) had faced a maxinmm (ticket) expense in the hundred(s) of dollars (if even that)- whereas the plah1tiffwas facing litigation expenses that

 might turn-out to be in the tens-of-thousands of dollars (if not more); therefore, the plaintiff did not understand [JSP)'s hnplication that the

 plaintiff was being preferentially treated by the [HOA), when the plah1tiff has always alleged that the plaintiff has faced nothh1g but predato1y

 treatment from the [HOA), thanks to the malicious and predat01y complaints made agah1st the plaintiff, by in particular - [JSP&KAPJ,[RSR),

 [DMPJ. [JSP) continues to threaten the plaintiff that the plah1tiff is not going to wh1 - that the [HOA) is basically "the government", seemingly

 unaware of, or refusing to acknowledge, the difference between such private-organization and a public-government. [JSP] accuses the plaintiff

 of callh1g [JSP&KAPJ,[RSR), and all of those who complah1ed to the [HOA] about the plaintiff, "a bunch of racists", which even if true,

 further indicates that [JSP) is admitth1g to knowing and/or havh1g access to private/internal communications between the plah1tiff and the


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[HOA] - which, according to even basic privacy-law, no other homeowner (that is not directly involved in such contractual-dispute) is

supposed to know about - further revealing the true extent of the malicious conspiracy, invasions of privacy and the "misuse of official

information" against the plaintiff. At one point in time during such rant, [JSP] angrily, but ve1y-revealing states, "FIRST AND FOREMOST - I

DON'T LIKE THE [HOA]! I DON'T LIKE ANYBODY TELLING ME WHAT TO FUCKING DO! I JUST DON'T LIKE IT! I DON'T LIKE

PEOPLE TELLING ME I CAN'T PARK A BOAT HERE/". This very-revealing statement by [!SP] shows that:



® While the defendants, the then-[HOAJ and [WCLE] were predatorily (and discrin1inatorily) targeting the plaintiff via the predatory (and
discriminatory) enforcement of ethnocentric/culturally-insensitive restrictive-covenants - particularly those obsolete restrictive-covenants

concerning mowing which did not take into account the new Texas law concerning drought-resistant-landscaping - [JSP] brazenly believed that

he could freely violate such non-ethnocentric/non-culturally-insensitive (race-neutral) restrictive-covenants by unlawfully parking a boat on the

curbside of the street - which the plaintiff noticed [JSP] routinely and persistently did - particularly in the latter years of {2020} through

{2022}.



@ [JSP] and his White-American co-conspirators believe that only White-Americans were free to exercise their individual liberties on their own

private-property, but as soon as a person-of-color, such as the plaintiff, does the same, that act in the pursuit of freedom by that person-of-

color somehow becomes an unforgivable "crime" that must be punished to the maximum extent - once again, yet another cleor indication of
racist hypocrisy.



[JSP] then fraudulently denies that their tagetting of the plaintiff had anything to do with race, while the plaintiff responds that nobody in the

rest of the world maintains prope11y nor is expected to maintain property according to White-American standards - that people-of-color around

the world, in particular, do not maintain property according to such standards. [JSP] responds that this subdivision is not like the rest of the

world - in essence, all but admitting that this is a racial issue. [JSP] angrily questions the plaintiff about why the manner in which people-of-

color around the world live matters, because clearly, the only matter of importance to [JSP] is that the plaintiff lives in "their" ( exclusive-and-

pure) White-American neighborhood, and a result of such fact, the plaintiff is blindly and unquestioningly expected to maintain the plaintiffs

property according to their White-American standards. The plaintiff doubles-down that this is a racial issue - that the issue of a mowed-lawn, in

pm1icular, is indisputably a racial-issue because, a majority of people-of-color around the world do no cut grass for aesthetic/cosmetic reasons.

[JSPJ angrily responds to the plaintiff, "I DON'T CARE ABOUT THE REST OF THE WORLD! ... I REALLY DON'T! ... I DON'T GIVE A

SHIT WHAT THEY'RE DOING!" [JSP] ends his loud rant against the plaintiff with greater hostility, continuing to engage in gaslighting and

threats of violent assault against the plaintiff as he walks away from the plaintiff,"... YOU'RE AN ASSHOLE! ... THAT'S THE TRUTH!

YOU'RE A SELFISH SON OF A BITCH! ... YOU PISS ME OFF, BECAUSE YOU'RE SO HARD-HEADED, AND YOU DON'T LISTEN TO

SHIT! ... I GOTTO WALK-AWAY. OR J'D BEAT THE SHIT OUT OF YA!" After quickly picking up the sheets of torn-cardboard resulting

from [JSP]'s acts of vandalism against the plaintiff, the plaintiff walks back towards [FRONTDOOR], startled not only by [JSP]'s irrational

anger towards the plaintiff, but also by [JSP]'s threat of violence against the plaintiff. During this incident, after [JSP] incited the plaintiff (out

of no choice of the plaintiffs own) to come of out of the plaintiffs [HOUSE] by such act of vandalism, [JSP] spent a total of approximately 48

minutes in such racially-motivated and blackmailing harassment against the plaintiff. At surface level, when any uninformed, unbiased third-

party, reasonable observer studies any of these incidents in isolation, such observer may consider [JSPTs (and [RSR]'s) egregious intrusion into

the private-affairs of the plaintiff - as documented in this particular incident to be not only completely irrational, illogical and unreasonable, but


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simply malicious and predatory. However, if such observer were to study all of [JSP&KAP]'s,[RSR]'s predatory actions against the plaintiff,

along with (JSP&KAP]'s and [RSR]'s malicious conspiracy with co-conspirator [WCLE] against the plaintiff - over the course of over 10 years

- such observer would immediately reach the conclusion that both [JSP&KAP],[RSR] harbored extTeme-racial-animus, homophobic-animus

(see below) and far-right-wing-extremist political-animus (see below) against the plaintiff - that they were willing to use "evelJ' trick in the

book" to deprive and defraud the plaintiff out of the plaintiffs fundamental rights - in particular, the plaintiffs fundamental right to private--

property ownership within such White neighborhood (as part of their decade long racketeeril1g-enterprise against the plaintiff) - while in the

process, maximizing the amount of pain-and-suffering that they were inflicting onto the plaintiff.



1395
On or about noon on the day of {2017-05-28}, the plaintiff is working illSide the [HOUSE], when the plaintiff notices (on the plail1tiffs

security-camera-system-monitor) a White male, approximately 225-pounds, approximately 6-feet-1-inches-tall, at the [FRONTDOOR], ril1ging

the doorbell. The plail1tiff notices this White male wait about 30 seconds for a response at the [FRONTDOOR], and then proceeds to walk

around the plaintiffs sideyard and towards the plaintiffs fence-gate. The plaintiff notices that this White male looks through the narrow fence-

slits to peek into the (BACKYARD]. The plaintiff walks outside, enters near the sideyard, and questions the White male. The White male

identifies hilnselfas (TCEQ-JL], a government employee of the State of Texas. Clearly, [TCEQ-JL] has already executed an unconstitutional-

and-unlawful search on the plaillliffs private-property. [TCEQ-JL] informs the plaintiff that he has received a complail1t from a neighbor that

the plaintiff is dumping and/or buryil1g human-faeces in the [BACKYARD]. The plail1tiff completely denies the fraudulent allegation - and

 under duress by such search and fraudulent allegation, the plaintiff asks [TCEQ-JL] if he wanted to enter into the [BACKYARD] to check to

 ensure that the allegation was fraudulent. [TCEQ-JL] responded that he did want to check the plaintiffs [BACKYARD]. Again, the plaintiff

 did not explicitly provide prior-consent, but in any case, any consent given after an unconstitutional-and-unlawful search has already been

 initiated is considered to be tainted (or made under duress), and in such case, the entire search is considered to be unconstitutional-and-

 unlawful in clear violation of the plaintiffs rights. The plaintiff, outraged by the fraudulent allegation, opened the lock on the fence-gate from

 behil1d the fence-gate in-order-to open the fence-gate, and then opened the gate to allow [TCEQ-JL] into the [BACKYARD]. [TCEQ-JL] then

 walks through the [BACKYARD], and looks at various areas ill the [BACKYARD] to see that there was no human-faeces anywhere. The

 plaintiff had planted potatoes and sweet-potatoes in several areas of the backyard, and had asked [TCEQ-JL] not to step onto such plants. The

 plaintiff asked [TCEQ-JL] about who had made the fraudulent complailll against the plaintiff, and the [TCEQ-JL] responded that it was an

 anonymous complaint. [TCEQ-JL] upon verifying that the complaint was fraudulent, lets the plaintiff know that he will close the complail1t,

 and then starts to walk back towards the plaintiffs fencegate to exit the [BACKYARD]. [TCEQ-JL] also asks the plaintiff about the buckets

 around the house that the plail1tiff was using to harvest raillWater, and the plail1tiff responded that the plail1tiff was using them to water the

 plants. Filrnlly, as [TCEQ-JL] is about the exit the [BACKYARD], [TCEQ-JL] even asked the plaintiff if the plaintiff lives in a subdivision with

 a [HOA], as ifto intimidate/interfere-with/harass/threaten/blackmail the plaintiff by proxy, again on bchalfofthe complainant [JSP&KAP] (see

 below). The plaintiff responded that this subdivision does have a [HOA] (which the plaintiff is also a member of), but the plail1tiff also made it

 clear to [TCEQ-JL], that Texas law is clear that [HOA]s are required to enforce the rules in a non-discrilninat01y, non-arbitrary and non-

 capricious manner - and unless the [HOA] can prove in court that they are inspecting every owner's backyard, that they would not be able to

 legally inspect the [BACKYARD]. As [TCEQ-JL] walked out the [BACKYARD], the plaintiff asks [TCEQ-JL] again to confmn [TCEQ-JL]'s

 name and employer, and then proceeds to re-lock the plaintiff's fence-gate. The plaintiff then notices that [TCEQ-JL] walks towards the front-

 door of [784KLLTX78641], il1-order-to talk to [JSP&KAP]; approximately 5 minutes later, [TCEQ-JL] drives away ill the same [TCEQ]
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truck that he arrived in. So, even though [TCEQ-JL] failed to disclose the malicious complainant to the plaintiff, the identify of the malicious

complainant became immediately obvious to the plaintiff. As this lawsuit tries to document, this incident would be only one of over a dozen

incidents that the plaintiffs predatory neighbors with extreme-racial-animus against the plaintiff - [RSR],[JSP&KAP] or any of their co-

conspirators - would use fraudulent and/or misleading complaint(s) to call agencies of [WCLE] and/or other government-agencies (in this case,

the State of Texas) on the plaintiff in-order-to racially-intimidate/interfere-with/harass/threaten the plaintiff by proxy. This incil\ent is also

egregious since, like many incidents documented in this lawsuit, it indisputably resulted in an unconstitutional-and-unlawful search of the

plaintiff's property in total violation of the plaintiffs rights. But even more importantly, all of the parties involved in this incident - [JSP&KAP],

[TCEQ-JL], and [TCEQ-JL]'s employer (the State of Texas) - know fully-well that it is not only not-a-crime to live an off-grid-lifestyle (nor is

it a crime to live zero-waste-lifestyle), but furthermore, that living an off-grid-lifestyle (and/or zero-waste-lifestyle) is a Constitutionally-

protected first-amendment right that many White-American residents of the State-of-Texas and the United States enjoy. Therefore, this

incident can only be interpreted as yet another incident of institutional-racism, racial-oppression and racial-intimidation - with [JSP&KAP], yet

again, using a government agency as a proxy for engaging in brazen racial-intimidation against the plaintiff. It is also very important to note the

O1wellian nature of this incident - the plaintiff, a minimalist individual that lives a very-humble, anticonsumerist, subsistence, off-grid, zero-

waste, indigenous-person's lifestyle, who has also been called a "tree-hugger lo the extreme" and "Mr. Green (without any carbon footprint)"

- suffered an egregiously unconstitutional-and-unlawful inspection/search and interrogation by an employee ofan agency of the State of Texas

that is supposedly intended to protect so-called "Environmental Quality" (the [TCEQ]) - reminding the plaintiff, yet again, of the painful reality

that many government institutions have ve1y Orwellian names and purposes.



 i396
 On or about the dates of {2017-06-30} and {2017-07-03}, the then [HOA-BoD]s (led by [SPOA-P-BC],[SPOA-VP-AH]) send the following

 email messages (see below) to all residents of the subdivision, ahead of July-Fourth, reminding all residents that the lighting of fu·eworks is

 illegal within the subdivision. The plaintiff asserts that such repeated emails from the [HOA] are truly disingenuous because neither the [HOA]

 nor [WCLE] truly-and-seriously intended to enforce the fireworks-ban restrictive-covenant (and the Texas law of Disorderly-Conduct) within

 the neighborhood. As a result of this lack-of-enforcement, the rampant lighting of fireworks in the neighborhood (by countless residents of the

 neighborhood) continued through this year and following years (as evidenced by numerous social-media-postings by numerous residents

 complaining about such issue).
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      [HOA-BoD)s




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                       Dear Homeo1111ers:


                        With the 4th ofJ11lyo11lyofewdoysmmy, Ill? 1m11/ to remind eve1Jvme that the
                       ossociotio11 dowme11ts strictly prohibit the use ofjin'lmrks i11 the comm1111ity.
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                        We hope eve1yo11e has a safe 011d enjoyable lndepe11de11ce Day!


                        Regards,


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     [HOA-BoD] s        Dear Homeml'llers:




                        With the 4th of July 011ly a feiv days mmy, ll'e 11m1/ to remind eve1J'Olle that the
                        associotio11 documellls strictly prohibit the 11se offireimrks in the com1111mi(J1•
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                        We hope eve1JYJ11e /,as a safe and e,yoyable l,ulepemlence Day!




                        Regairls.




                        Boord of Din,c/ors




1397
On or about the date of {2017-08- 16 12:00}, the plaintiff noticed on the plaintiff's security-camera-system-monitor, what appeared to be at

least 4 police-officers from the [WCCO] with their police-vehicles parked in-front-of and/or near-the-front-of the plaintiffs private-property.

The plaintiff noticed two deputies from the [WCCO], [WCCD-Holt] and [WCCD-Stinsoil], approach the plaintiff's [FRONTDOOR], with

[WCCD-Holt] knocking on [FRONTDOOR] and/or ringing the [FRONTDOOR]-bell, while 2 other deputies, [WCCD-HarreU] and [WCCD-

RT ], brazenly and thuggishly began to execute a clearly unconstitutiona l-and-unlawful search of private/curtilage areas of the plaintiff's private-

property - including, but not limited to, their unlawful entry deep into the plaintiffs side-yard in-order-to peak into the plaintiff's private

[BACKYARD] through a small hole/crevice in the privacy-fence - without seeking the consent of the plaintiff. At the end of this incident, it

would become abundantly clear to the plaintiff that the [WCCO] deliberately dispatched 4 such [WCCD]s onto the plaintiffs property so that 2

[WCCD]s could distract the plaintiff in conversation, while the other 2 [WCCD]s could freely execute such clearly unconstitutional-and-
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unlawful search of private/curtilage areas of the plaintiffs private-propetty (without the plaintiffs consent) - a particularly malicious strategy of

excessive force in such unconstitutional-and-unlawful search/seizure against the plaintiff that the plaintiff would notice on at least 3 additional

incidents. When the plaintiff answered the [FRONTDOOR], [WCCD-Holt] and [WCCD-Stinsoil] stated that they needed to interrogate the

plaintiff, even summoning the plaintiff to walk outside into the plaintiffs [FRONTHALLWAY], claiming that they did not want to get stung by

wasps (since there was a wasps' nest at the ceiling on top of the plaintiffs [FRONTDOOR]). Sh1ce [WCCD-RT], along with [WCCD-Harrell],

were also accompanying [WCCD-Holt] and [WCCD-Stinsoil] at the plaintiffs property, all of these [WCCD]s were fully aware that the

plaintiff had, as publicly available and accessible court-records indicated, already retained legal-representation from an attorney - at that

moment in time, [ATTORNEY-PS] - on all matters related to the plaintiffs private-property-maintenance. Despite of such fact concerning the

plaintiffs legal-representation that all of such [WCCD]s were fully-aware of, such [WCCD]s and the [WCCO] decided to circumvent the

plaintiffs legal-representation, and directly interrogate the plaintiff, which the plaintiff asserts is yet another violation of the plaintiffs rights - at

a minimum, the plaintiffs sixth-amendment-right to counsel. The plaintiff had also preferred to speak from behind the [FRONTDOOR], in-

ordcr-to protect the plaintiffs private conversations with such police-officers to be overheard by any malicious neighbors. The plaintiff

reluctantly walked further out into outdoor [FRONTHALLWAY], in the [FRONTPORCH] area, at which point, [WCCD-Holt] informed the

plaintiff that the plaintiff had a couple of '),rob/ems"that the plaintiff would need to ''fix". First, [WCCD-Holt] stated that it is frre-hazard for

the plaintiff to store any items that block substantial parts of the plaintiffs [FRONTHALLWAY]; therefore, [WCCD-Holt] instructed the

plaintiff that the plaintiff would need to clear out many of such items out of the way. The plaintiff responded that the plaintiff would be able to

 clear most of the items, but not the very-heavy miter-saw attached to a table-saw-stand, since the plaintiff asserted that such location was the

 ideal place for the plaintiff to be able to use such miter-saw. [WCCD-Holt] then asks some rather intrusive questions as to what the plaintiff

 was building with such miter-saw - as if he and the [WCCO] wanted to know what the plaintiffs plans were so that he and the [WCCOJ could

 secretly communicate this information back to the [HOA], as it was abundantly clear to the plaintiff that the [WCCOJ was also secretly

 coordinating all their violative actions against the plaintiff with the then-[HOAJ (under [f-HOA-BoD]s [SPOA-VP-AH],[SPOA-P-BC]), who

 were also secretly conspiring against the plaintiff with the plaintiffs predatmy neighbors [JSP&KAP],[RSRJ,[DMP] - especially since the

 plaintiff was still in pending-litigation with the [HOA] at that moment in tune. [WCCD-Holt] then summoned the plaintiff into the plaintiffs

 [DRIVEWAYJ, claiming that he needed to discuss with the plaintiff aspects about the plaintiffs landscaping, which again, was an issue that the

 plaintiff had already retained legal-representation over. [WCCD-Holt] asked the plaintiff regarding the plaintiffs use of cardboard in the

 [FRONTY ARD]. The plaintiff explains that the plaintiff needed such sheets of cardboard spread over the original species of grass in-order-to

 ecologically-decompose that original species of grass back-into the soil in the [FRONTYARD] so that the plaintiff could then replace such grass

 with the new species of 11110-mow" grass and/or groundcover - via the ecological process/technique of '~\·heet-mulching" that is widely used by

 both pennacultural gardeners and farmers. The plaintiff fmther explains that the plaintiff would not be able to conthme with any changes to

 such work until the plaintiff receives formal approval from the [HOA] - with the plaintiff already having submitted multiple versions of such

 approval documents to the [HOA]'s attorney - given that the [HOA]'s attorney had previously threatened the plaintiffs attorney with a [TRO]

 if the plaintiff proceeded with any further landscaping-related work without such formal approval. [WCCD-Holt] then summoned the plaintiff

 to the sidewalk area, while [WCCD-Harrcll] and [WCCD-Holt] continued their unconstitutional-and-unlawful search of private/cmtilage areas

 of the plaintiffs property. [WCCD-Holt] orders the plaintiff to cut any-and-all vegetation extending onto the sidewalk, along with tearing the

 small strip of cardboard extending a few inches into such sidewalk. At this point in time, the plaintiff did not summon the courage to bring up

 the fact that [JSP&KAP]'s front-tree was blocking half of the sidewalk (along with extending into the plaintiffs property) just 20 feet away,

  and that [JSP&KAPJ even planted such tree without seeking approval from the plaintiff, and more-likely-than-not, without even seekh1g

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approval from the [HOA]. The plaintiff kept reiterating to [WCCD-Holt] that one of the specifications that the plaintiff had put into the

plaintiff's approval documents was that the plaintiff was religiously opposed to the ethnocentric/culturally-insensitive practice of cutting of

vegetation, and so, while the plaintiff was willing to accommodate the [WCCO] by clearing the sidewalk area, the plaintiff would still need to

go through the fonnal approval process before making any further changes to the landscaping within the interior of the plaintiffs

[FRONTY ARD]. As the plaintiff is speaking with [WCCD-Holt], with [WCCD-Stinsoil] standing by his side, both [WCCD-Harrell] and

[WCCD-RT] brazenly and thuggishly pass in front of the plaintiff to enter into the other side of the plaintiff's private-property, in-order-to

continue executing such clearly unconstitutional-and-unlawful search of the plaintift,s private-property, by peeking through small hole/crevice in

the plaintiff's privacy-fence into the plaintiffs private concealed [BACKYARD] from the other side of the plaintiff's property. [WCCD-Holt]

then begins to intrusively interrogate the plaintiff as to what type of plants the plaintiff was intending to plant within the [FRONTYARD] of the

plaintiffs property, again, as if the [WCCO] was privy to such private information of the plaintiff. The plaintiff once-again reiterates that the

plaintiff was planning on planting a "no-mow" grass and/or groundcover within such [FRONTY ARD]. [WCCD-Holt] then begins to alert the

plaintiff of the "public-nuisance" law, claiming that if the [WCCO] could see such vegetation from the street, then such vegetation would be in

violation of such public-nuisance law. The plaintiff begins to explain to [WCCD-Holt] that even the public-nuisance law only applies to "rank

and w1ctdtivated'1 vegetation determined to be so-ca1led "weedf" that are of three-feet-tall or taller in height, in an attempt to further that such

vegetation on the plaintiff's [FRONTYARD] clearly did not meet that criteria. [WCCD-Holt] rudely interrupts the plaintiff clain1ing that the

plaintiff might not see such conditions on the plaintiffs private-property as a nuisance, but that the plaintiff's neighbors did see such conditions

on the plaintiffs private-property as a nuisance - once again, deliberately failing to take into account all of the extreme-racial-animus (along with

several racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses) that the plaintiffs neighbors had already demonstrated

onto the plaintiff in several prior incidents dating back to {2009). [WCCD-Holt] even advises the plaintiff to trim the plaintiffs bushes/trees

located deep within the plaintiff's [FRONTYARD] (thus not even touching any neighboring property), which as the plaintiff had already

explained, the plaintiff was religiously opposed to doing. [WCCD-Holt]'s focus on such bushes/trees located deep within the plaintiffs

[FRONTY ARD] (thus not even touching any neighboring property) further indicated to the plaintiff that the [WCCO] and its co-conspirators

was targeting the plaintiff over purely-harmless, purely-subjective aesthetic/cosmetic issue(s) on the plaintiff's private-prope,ty - and Texas's

public-nuisance law is only concerned with actual hannful conditions on private-property, and thus, not any harmless aesthetic/cosmetic

issue(s) on private-property. The plaintiff explains to [WCCD-Holt] that there are actually like-minded gardeners just like the plaintiff all

around the United States that share the plaintiff's "no-mow" philosophy and that whatever the plaintiff had in the plaintiffs [FRONTYARD]

was not fundamentally different from many of those other 11110-1110111 11 gardeners and hmiiculturists. The plaintiff fm1her explains that just

because some neighbors claim to dislike the manner in which the plaintiff was maintaining the plaintiffs private-property does not give them the

right to unjustly impose their subjective and/or ethnocentric/culturally-insensitive standards or preferences of such property-maintenance onto

the plaintiff and the plaintiffs private-property, especially if such intmsive actions are actually motivated by their extreme-racial-animus against

the plaintiff. As the plaintiff and [WCCD-Holt] are in such conversation, both [JSP&KAP]'s and [RSR]'s crony/co-conspirator, [DMP], slowly

passes the plaintiff in his vehicle on the street and parks such vehicle at his then-prope1ty, [785KLLTX7864 I], directly-across the street from

the plaintiff, providing further hint to the plaintiff as to who had complained about the plaintiff on this pmticular occasion. The plaintiff ignores

[DMP]'s inthnidation of the plaintiff, and reiterates to [WCCD-Holt] that the plaintiff was willing to clear the sidewalk and any piece-of-

cardboard pmtially-protruding onto public-property, along with most of the items stored in the plaintiffs [FRONTHALL WAY] area. [WCCD-

Holt] then brazenly asks, in an almost intimidating manner, a very intrusive question as to what the plaintiff intended to do if the [HOA] did not

approve of the plaintiffs landscaping plans. The plaintiff responds that the plaintiff would simply need to re-submit the plans with any


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modifications that the [HOA] might be requesting, especially since the new relatively-new Texas law (at that moment in time) concerning

"drought-resistant-landscaping" disallowed [HOA]s from prohibiting such property owner•s right to such drought-resistant-landscaping.

[WCCD-Holt] then brazenly threatens the plaintiff that if the plaintiff did not follow the [HOA]'s rules, then the [HOA] could put a lien on the

plaintiffs private-property. [WCCD-Holt] fmther increases the brazenness of such threat, clailning that if the [HOA] puts a lien on the

plaintiffs private-property, that the [HOA] could then sell the plaintiffs private-prope1ty. [WCCD-Holt] continued to threaten the plailltiff, that

ill the plail1tiffs well-meaning efforts to fight for a "no-mow" landscape, the plail1tiff could end up being evicted from such neighborhood by the

process of lien/foreclosure. [WCCD-Holt]1s final statement of threat to the plaintiff was, "Is this a battle that is worth losing your house for? ! 11

These extremely revealing statements made by [WCCD-Holt] actil1g ill his official capacity under the authority of the [WCCO] clearly and

indisputably showed that the [WCCO] was acting in-concert-with and in-conspiracy-with the plaintiffs predatmy White-American neighbors -

racketeer co-defendants [JSP&KAP],[RSR] and their co-conspirators such as [DMP]- in-order-to to both evict the plaintiff from such White

neighborhood, while at the same tin1e, defraud the plaintiff from the plail1tiffs private-prope1ty-owncrship within such White neighborhood. All

of such racially-motivated harassive, di,crilninatory and blackmailil1g statements made to the plaintiff by [WCCD-Holt] under the authority of

the [WCCO], ill addition to beil1g clear violations of the [FHA]/[TFHA], clearly demonstrated that the [WCCO] was completely unil1fonned

about the Texas law governil1g property-owner's rights codified within [TPrC-T l l-C209] and [TPrC-T l l-C202]. Specifically, as such deputies

were already fully-aware-of, the plaintiff had already retained an attorney, [ATTORNEY-PS], in-order-to dispute the then-[HOA]'s

fraudulent/misleadil1g clailn(s) against the plaintiff in a [WC] District Court, meaning that until there is actually an unpaid debt by the plaintiff

resulting from a verdict/judgment against the plail1tiff in such lawsuit - and the public Court records indicated that there clearly was no

verdict/judgment against the plaintiff at such moment in time - there was no possibility of the [HOA] imposing a lien on the plaillliff s private-

property. Fmthermore, [WCCD-Holt] was just simply followil1g a long pattern of more-egregious and more-sinister racially-motivated

blackmail/threats concerning foreclosure/eviction that the plaintiff had received directly from the plail1tiffs predatmy neighbors [RSR],[JSP].

The plaintiff informs [WCCD-Holt] that the plaintiff is well-aware of the plaintiffs rights under Texas law, and that the plaintiff is Silnply

following alt of the legal procedure that the plailltiff is fully entitled to, while still to the best of the plaintiffs abilities and limitations,

maintaining compliance with all of the restrictive-covenants of the neighborhood - including avoiding any further legal complications with the

[HOA] by refrail1ing-to-perform any unapproved work on the plaintiffs [FRONTYARD]. [WCCD-Holt], having concluded that he did his ve1y

best to intimidate and blackmail the plaintiff into backing down from the plaintiffs fight for such 11110-mmv" landscaping, then shifts focus to

reiterating what the plaintiff had already agreed to doing as described in the dialogue above. [WCCD-Holt] then stated that he would provide

the plaintiff 5 days to fix those issues, while the plaintiff jokingly clailned that even the Public-Nuisance law allows the plaintiff a minilnum of

10 days (if not up to 30 days) to fix such property-mailllCnance issue(s). [WCCD-RT] who, along with [WCCD-Harrelt], had executed a

clearly unconstitutional-and-unlawful search of multiple private/curtilage areas of the plaintiffs private-property, then ale1ts the plaintiff about a

wheelbarrow (used for all of the plaintiffs re-landscapil1g work), which the plaintiff was temporarily storing behil1d the plaintiffs outdoor Air-

Conditionil1g/Heathlg unit deep inside the plail1tiff side-yard right next to the plaintiffs privacy-fence, claiming that such wheelbarrow was

storu1g stagnant water which could be a potential breeding ground for mosquitoes. [WCCD-RT] ordered the plail1tiff to dump such water, to

which the plaintiff obeyed, dumping such water into the plants in such side-yard area. The plaintiff failed to explain to such [WCCD]s that the

overwhelming sources and primary breeding-grounds for mosquitoes are clogged stonn-drains, clogged gutters, and generally-speaking, the
much-larger low-lying areas of the subdivision in which water accumulates for long periods of time. [WCCD-Holt] alerts the plail1tiff that the

plail1tiff could be stung by the wasps living in the nest above the plaintiffs [FRONTDOOR], and that it was not in the plaintiffs best interest to

allow wasps to nest in such areas. (The plaintiff is reminded of a Public-Television program in which one of the hosts admits to leaving the

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wasp-nests around his house untouched - that he never disturbs the wasps and the wasps never disturb him.) The plaintiff responds that,
according to the plaintiffs strong religious/cultural views, the plaintiff lives in harmony with nature, and since wasps do not sting unless they are

threatened, the plaintiff adopts a "live and let live" attitude towards wasps, along with all other wildlife that does not pose an actual threat to

human habitation. The plaintiff further explains that in the eight years that plaintiff had lived at such property while also allowing wasps to nest

at numerous areas of the plaintiffs fHOUSEJ, the plaintiff had only been stung once by a wasp, and that was on\y because the plaintiff had

disturbed such wasps' nest. The plaintiff fails to mention to [WCCD-Holt], that as both an organic-farmer and an organic-gardener, the plaintiff

also considers the wasp to be a beneficial insect that preys upon other unwanted insects, including, but not limited to aphids and flies. (To this

{PRESENT-DAY}, the plaintiff leaves wasps nests attached to multiple exterior areas of the plaintiffs [HOUSE] untouched.) As such

[WCCD]s were about to leave the scene, the plaintiff asks if the plaintiff could get [WCCD-Holt]'s business-card. [WCCD-Holt] searches for

such card, while, [WCCD-RT] provides the plaintiff with a copy of his business-card. Such [WCCD]s then announce to the plaintiff that they

would be leaving the prope11y, and the plaintiff thanks them for doing so - which is simply the plaintiffs involunta1y, reflexive response as a

result of duress, since the plaintiff had suffered such a nonconsensual, invasive and predatory search and interrogation by the government at

the plaintiffs own private-property. Shortly after such [WCCD]s leave the plaintiffs property, the plaintiff notices on the plaintiffs security-

camera-system-monitor, that [WCCD-Holt] approaches the front-door of [DMP]'s then-property, [785KLLTX7864 l], further indicating to the

plah1tiffat least one of the malicious neighbors that had h1stigated such complaint agah1St the plah1tiff. The plaintiffs [HOUSE], located at

[788KLLTX78641], and [DMP]'s house, located at [785KLLTX78641], were separated by at approximately JOO feet (or more) of open-space

(including public-property such as the street, 2 sidewalks, etc). So, it is abundantly clear to any reasonable observer that [JSP&KAP]'s,[RSR]'s

crony/co-consph·ator, [DMP], complained about the plaintiff to the [WCLE] purely on hannless, aesthetic/cosmetic issue(s) on the plah1tiffs

private-property - because [DMP], just like [RSR], clearly never had any claim to any actual harm caused by any condition(s) on the plah1tiffs

private-property, since these two particular properties were separated so far apa1t from one-another. This particular search/seizure by [WCLE]

against the plahlliff and plaintiffs private-property - in addition to being clearly unconstitutional-and-unlawful - was also particularly excessive

due to the large number of [WCCD]s dispatched onto the plaintiffs private-property, especially considering that the plaintiff was the sole-

resident of such private-property, and especially considering the plaintiffs relatively-smaller physical-size/weight. At least some of both the

declaratory-relief and h1junctive-relief that the plaintiff seeks from this Court, is to ensure that no law-enforcement agency of [WCLE] is

allowed to predatorily target any resident(s) - especially resident(s)-of-color - purely upon harmless, aesthetic/cosmetic issue(s) on private-

property (especially sh1ce the subjective aesthetics/cosmetics of a private-property is a first-amendment protected right) - that h1stead, the

government is only allowed to intervene into a resident's use of private-property, when there is demonstrable-harm or the real potential for

demonstrable-harm caused by condition(s) on private-prope11y. According to the plaintiffs recorded-footage, all of these [WCCD]s at the

scene of the plaintiffs private-property during this incident did have body-worn-cameras - and as such, such body-worn-cameras should have

been recordh1g not only all aspects of this unconstitutional-and-unlawful searchlseizure/h1terrogation/detention of the plaintiff and the plaintiffs

private-prope1ty, but also such [WCCD]s following h1teractions with [DMP] - unless, such [WCCD]s deliberately turned-off their body-worn-

cameras (at any point in tune) in-order-to Obstruct Justice against the plaintiff. As h·aumatizing as this incident was (and still is) to the plaintiff,

this predatory incident would be just one of numerous predatmy incidents (documented in this lawsuit) hwolving the defendants [RSR], [KAP]

(and/or [JSP]) - or h1 this particular case, one of then· cronies/co-conspirators, [DMP] - along with [WCLE] - ahnost always involving White-

American and/or non-immigrant police-officers/government-employees of defendant [WC] - against the plaintiff in which all of such defendants

acted h1 a shamelessly (and overtly) racist and prcdatmy manner against the plaintiff - as if they were not even in the least bit ashamed or

concerned that they would be accused of modern-day-Jun-Crow predatmy-racism by the plaintiff - as if proudly wearing and flaunting their


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modern-day-Jim-Crow predat01y-racism against the plaintiff as a badge-of-honor, that they will never apologize for.




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On or about the approximate date and approximate time of {2017-08-21 10:30}, the plaintiff reluctantly began to cut any-and-all vegetation

extending into the sidewalk (along with tearing any piece(s) of cardboard extending a few inches into such sidewalk). Within just a few minutes

of the plaintiff performing such work, the plaintiff noticed what appeared to be a member of the then [HOA-BoD]s drive his vehicle in front of

the plaintiffs property, pausing such vehicle on the road right in front of the plaintiff. It appeared to the plaintiff that such [HOA-BoD) was

taking photograph(s) and/or video(s) of the plaintiffs performing such work, as ifby doing so, such [HOA-BoD) was somehow recording some

incriminating evidence against the plaintiff that could then be used against the plaintiff - for example, to obtain a [TRO) against the plaintiff.

After spending less than minute taking such photograph(s) and/or video(s), the plaintiff noticed that such vehicle performs a three-point-u-turn

very close to the plaintiff, and then drive back down the road. The plaintiff would notice such intimidation and discrimination tactics on

numerous occasions from the then-[HOA) (under [f-HOA-BoD]s [SPOA-P-BC),[SPOA-VP-AH)), and the plaintiff reiterates that no

professional and law-abiding organization would resort to such underhanded tactics of intimidation and discrimination in-order-to achieve their

goals, and would instead, fight their legal battles in a lawful and civilized manner within the Court-of-law.




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 On or about the date of {2017-08-3 l 16:00}, the plaintiff noticed on the plaintiffs security-camera-system-monitor, what appeared to be at

 least 2 police-officers from the [WCCOJ with their police-vehicles parked in-front-of and/or near-the-front-of the plaintiffs private-property.

 The plaintiff recognized [WCCD-RTJ and [WCCD-Harrell] approach the plaintiffs [FRONTDOOR) in-order-to knock on the plaintiffs

 [FRONTDOOR) and/or ring the plaintiffs [FRONTDOOR)-bell. [WCCD-RT] summoned the plaintiff out into the plaintiffs

 [FRONTHALLW AY] area in-order-to speak to the plaintiff. As soon as the plaintiff walked into such [FRONT HALLW AYJ area, [WCCD-

 RT) stated that they had noticed that the plaintiff had taken care of the issue on the sidewalk, and that they appreciated such plaintiffs work.

 The plaintiff reiterates to such [WCCD]s that the plaintiff had been given direct orders from the [HOA) to stop all landscaping-related work,

 and so the plah1tiff could not touch any other aspect(s) of the plaintiffs [FRONTYARD] landscaph1g until further approval, even if such

 landscaping was h1complete at such moment h1 time. [WCCD-RT) asks the plaintiff, a rather intrusive question as to what the plaintiffs plan

 with the [HOA) was, in-regards-to, such [FRONTY ARD) landscaph1g, again, as if the [WCCO) was in any way privy to such private

 information between two private parties. The plah1tiff reluctantly explains that the plaintiff planned on installing a groundcovcr in the

 [FRONTYARD) - a type of vegetation that covers an area by growing prhnarily horizontally onto such area. [WCCD-RTJ then asks the
                                                                                                                                     1               11
 plaintiff about the possibility of "zero-scaping". The plaintiff explains to [WCCD-RT] that such groundcover was a type of 'zero-scaping , as

 part of the plaintiffs application for "drought-resistallf-landvcaping". [WCCD-Harrell] then intrusively questions the plah1tiff as to why the

 plaintiff did not consider the option of just rocks/stones/gravel (h1 essence, non-livh1g landscaping) - agah1, as if the government had the

 authority to influence and/or dictate a property-owner's choices on such matter within such property-owner's own private-property. The

 plaintiff stated that the plah1tiff considered that option, but that the plaintiff prefers a living, ecological landscape composed of plants, further

 explah1ing that a landscape ofroeks/stones/gravel contributes significantly to the urban-heat-island-effect (which only worsens the problem of

 man-made climate-change. whereas, by sharp contrast, a landscape of plants actually cools the surroundings down due a large list of reasons,

 including but not limited to, their retention of soil-moisture along with their biological processes of photosynthesis and evapotranspiration).

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[WCCD-RT) explains that he has seen other property-owners change their landscapes to a mixture of such rocks/stones/gravel and some

plants, and that he had read a bit about such ''zero-scaping 11 but that he did not know a whole lot about such topic, stating that he cut his grass

like most homeowners do. The plaintiff further explains that the plaintiff was, in fact, looking for such plant-based landscape without the need

for watering, except only minimal watering during the summer in-order-to keep such landscaping alive during the most intense periods of
summer-drought. [WCCD-RTJ points to a very large and heavy unopened/seated package delivered to the plaintiffs [FRONTPORCH] area,

jokingly stating that the plaintiff had "some mail" that the plaintiff needed to check. {WCCD-RT) then summons the plaintiff to the front of

street area, aletting the plaintiff that plaintiff would need to additionally cut any sheet(s) of cardboard protruding a few inches into the curbside

of the street. The plaintiff agrees to perfmm such additional work. (WCCD-RT] then summons the plaintiff to talk back in the

[FRONTHALLWAY) area due to the loud noises made by a nearby garbage-pickup-truck. [WCCD-RTJ stated that the last time that they

were at the plaintiffs property, that they had noticed some mosquitoes on the plaintiffs property. [WCCD-RT) further explains to the plaintiff

that they had talked to "some neighb01"" about alleged tall grass in the plaintiffs (BACKYARD), failing to take into account the fact that the

default grass installed in such subdivision, berumdagrass, does not grow to over a foot in most areas, thus making such grass incapable of

violating Texas's public-nuisance law. [WCCD-RTJ continues on the issue of mosquitoes, as ifto fraudulently/misleadingly insinuate that the

vegetation on the plaintiffs private-property was the source and/or breeding-ground of such mosquitoes - a fraudulent/misleading claim which

all of the scientific evidence and literature on this matter completely refutes. (In other words, as the law-review article in the section below

documents, there is absolutely no scientific evidence that indicates that mosquitoes originate and/or breed due to uncut vegetation, and to the
contrary, if such uncut vegetation absorbs relatively-larger amounts of stagnant water during flooding rains, then such uncut vegetation actually

reduces the incidence of mosquitoes (when compared to cut vegetation), instead of the other way around, as the plaintiffs malicious neighbors

had fraudulently accused the plaintiff of.) The plaintiff did not summon the courage to dispute [WCCD-RT]'s fraudulent/misleading claims

even thougl1 such (WCCD]s actually had visited the plah1tiffs property during a tune of day (noon/mid-afternoon) when mosquitoes are not

known to be active to begin with. [WCCD-RTJ then ale1ts the plah1tiffto what these (WCCD]s observed were buckets of water around certain

areas of the plaintiffs [HOUSE) withh1 the plah1tiffs private/concealed [BACKYARD)- which again, was a brazen and unapologetic admission

to the plaintiff that (WCCD-RT) and [WCCD-Harrell) had conducted a brazenly unconstitutional-and-unlawful search/seizure of such

private/concealed areas of the plaintiffs propetty that were clearly not visible from the street (due to the 6-feet-tall privacy-fence fully-

 obstructing such view). The plaintiff responded that the plah1tiff was regularly using such buckets to harvest water hi-order-to water plants h1

 the plaintiffs (BACKYARD). (The plaintiff failed to mention that the plaintiff had actually heard about such technique of harvesting rainwater

 using buckets around one's house from a public-television program - clearly indicating that the plaintiff is not the only one that employs such

 technique to harvest rahnvater.) [WCCD-RTJ states that he had contacted the [WCCHDJ about such issue. The plah1tiff erroneously responds

 that a member of the [WCCHDJ had already visited the plah1tiffs [BACKYARD] in a previous incident - when in fact, as the h1cident above

 reveals, such person ([TCEQ-JL)) was actually from the [TCEQ) - and that such person did not see a problem as long as the plah1tiffwas

 regularly using such water for the purposes ofwaterh1gplants. [WCCD-RT) asks the plaintiff if such person provided the plah1tiffwith any

  mosquito dunks"to be able to be used in such tanks of water. The plaintiff stated that such person did not provide the provide with any such
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 "mosquito dunks" and asked [WCCD-RT) if those were chemicals (since the plaintiff was strongly opposed to any-and-all use of chemicals).

 [WCCD-Harrell] states that such mosquito-dunks are safe for fish, since they put such dunks in ponds. [WCCD-RTJ further states that

 (WCCHDJ provides such mosquito-dunks to private-citizens for free, and that the (WCCHD) would not provide anything lo the plaintiff that is

 toxic to the plah1tiff or to anybody else, failing to take into account the potential toxicity to the envh·onment/wildlife. (As a side-note to such

 claim of (WCCHD)'s hmocence made by (WCCD-RT], the plah1tiff found out that the (WCCHDJ, at least occasionally, sprays chemicals in


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certain areas of the County of Williamson supposedly as a '~mlution" to combat the ''problem" of mosquitoes, whereas many environmentalists

and/or indigenous-peoples such as the plaintiff rightfully assert that the use of such highly-toxic chemicals is actually a case where the so-called

'~w/ution" is much-worse than the original 1j1roblem 11 - due to the high-toxicity of such chemicals - both to human health and to environmental

health.) [WCCD-Harrell] reiterates that such mosquito-dunks are used in ponds and have no impact on dogs, wildlife and fish. [WCCD-RT)

then suggests to the plaintiff that the plaintiff would need to use such mosquito-dunks in such tanks of water. fWCCD-RT1 then shifts his focus

back to the vegetation in the plaintiffs [BACKYARD] - once again, brazenly admitting that both he and [WCCD-Harrell] had conducted a

brazenly unconstitutional-and-unlawful search/seizure of such private/concealed areas of the plaintiffs private-property. [WCCD-RTJ

erroneously states that any-and-all grass cannot exceed 35 inches in height, when the (public-nuisance) state-law actually states that certain

types of vegetation that is deemed to be so-called "weeds" cannot exceed "36 inches in height". [WCCD-RT] again brings up the issue of

mosquitoes when refcning to such vegetation, when the plaintiff had already read the aforecited law-review article, which documents that

mosquitoes have never been attributed to uncut vegetation. [WCCD-RT] states that, on this particular occasion, he was not going to provide

the plaintiff only with a verbal warning, but instead, that he was going to provide the plaintiff with a warnh1g-citation. [WCCD-RTJ states that

he also contacted the fire-department about items stored on the plaintiffs private/concealed [FRONTPORCH) area. [WCCD-RT) alerts the

plah1tiff that the fire-depmtment advised that if any items blockh1g the en!Iyway into a house could be a potential fn·e-hazard. [WCCD-RT)

then asks the h1trusive question of whether the plaintiff lived alone at the property, to which the plaintiff reluctantly responded that the plaintiff

did live alone at such property. [WCCD-RT) then alerts the plaintiffs attention to (excess, currently-unused) sheets of cardboard (to be used

for the aforementioned landscaping technique of sheet-mulching) that the plaintiff had stacked h1 one area of the plahltiffs private/concealed

 [FRONTPORCH) area. [WCCD-RT) states that, while the plah1tiffs use of such cardboard for landscaph1g purposes was entirely legal and

 within the plah1tiffs rights, the fire-department still advised the plah1tiff, just for the plaintiffs own health-and-safety that such cardboard stored

 in such manner near the [HOUSE) could be a potential fire-hazard. This pa1ticular statement by [WCCD-RT) about the plaintiffs use of such

 cardboard for ecological (re-)landscaph1g purposes entfrely withh1 the confines of the plaintiffs private-property is another piece of evidence of

 the plaintiffs fraud clahn agah1st the defendants - sec incident from {2020-04-28) below, where [WCCHDS-VD) angrily informs the plah1tiff

 that the plaintiff was not allowed to use cardboard for such (re-)landscaph1g purposes. The plah1tiffre-focuses [WCCD-RT]'s attention back

 onto the vegetation h1 the plaintiffs private/concealed [BACKYARD], stating that the actual grass h1 the plah1tiffs [BACKYARD] is not taller

 than approximately 12-inches in height since the default bermuda-grass does not grow to more than approximately 12-inches h1 height, and due

 to such reason, that such grass is not actually in violation of the Public-Nuisance law. The plaintiff mentions that there may be other vegetation

 that might be growing sporadically and interspersed between such grass which may exceed 36 niches in height, but that the grass itself, is well-

 below such height. [WCCD-RT) then asks the plaintiff if he could enter into the plah1tiffs [BACKYARD], and the plah1tiff h1stead dfreeted the

 plaintiff towards the side-yard area, where such [WCCD)s had akeady unconstitutionally-and-unlawfully peaked through such privacy-fence.
                                                                                                                  11       1
 [WCCD-RT] looks through a small-hole in such privacy-fence again and states that any vegetation over 35 inches' in height is a violation of

 the public-nuisance law. The plah1tiff corrects [WCCD-RT) by stating "36 inches", at which point, [WCCD-RTJ states that he would head

 back to his vehicle to brh1g the plaintiff a hardcopy printout of such public-nuisance law. [WCCD-RTJ then walks towards his vehicle parked

 across the street from the plaintiffs property. Meanwhile, [WCCD-Harrell] stood in supervision of the plaintiff, as if the plaintiff was still under

 the detainment of the [WCCOJ, within the confines of the plaintiffs own private-property. The plaintiff almost-immediately notices [RSR]'s

 vehicle approach [WCCD-RT) in-order-for [RSR] to speak to [WCCD-RT], making it abundantly clear to the plaintiff who the prcdatmy

   neighbors" were that complained about the plaintiff in such malicious manner. [RSR] then parks her vehicle in her driveway, with the plaintiff
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 immediately hearing [RSR]'s dog, [L), barking in the same obnoxiously-loud manner that the plah1tiff had routh1ely observed. [WCCD-RT)


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then shows the plaintiff such hardcopy printout, reading that such public-nuisance law defmes "weeds as "rank and uncultivated" vegetation

that has exceeded "36 inches" in height. The plaintiff immediately intenupts [WCCD-RT] stating that some of the vegetation in the plaintiffs

[BACKYARD] were vegetables which did exceed "36 inches" in height, but that such vegetation clearly did not fit the dcfmition of "weed,".

The plaintiff reiterates that the default bennuda-grass installed within such subdivision does not grow to such height. [WCCD-RT] then refers

to the part of the law that states that such vegetation could also be considered to be a "/wrbornge" of rodents, vermin, or other diseaw-carrying

pests - with [WCCD-RT] fraudulently/misleadingly continuing-to-state that mosquitoes is included in such description. [WCCD-RT] then states

that he has spoken to neighbors who state that they have seen "rats and mice" in the area. The plaintiff immediately interrupts [WCCD-RT],

stating that such rodents are on everybody's properties, pointing to the (at that moment in time) completely-open (undeveloped) area of land

directly behind [RSR]'s prope1iy which is full of such wildlife. The plaintiff also states that anybody who cultivates a vegetable-garden has at

least some encounters with such rodents - and that some vegetable/fiuit gardeners actually resort to using electric-zappers and/or traps to deal

with such rodents. [WCCD-RT] laughs and states that he understands those facts, but just alerts the plaintiff to ensure that the such rodents

are not originating from the plaintiffs private-property. [WCCD-RT] further explains that he is not from ''Animal Control" and that he is not as

well-versed in where such animals originate from, but again, just reiterates to the plaintiff to ensure that the such rodents are not originating

from the plaintiffs private-property. [WCCD-RT] begins to read other aspects of the public-nuisance law to the plaintiff, none of which, the

plaintiffs private-property were in violation of. The plaintiff, having read the aforecited documentation on "no-mow" landscaping, then begins

to explain to [WCCD-RT] that this issue of "no-mow" landscaping is being fought by like-minded environmentalists and at least some

irnmigrant(s)-of-color (due to religious reasons) such as the plaintiff, and that such public-nuisance law still needs to take into account such

Constitutionally-protected rights of property owners, failing to mention that even the public-nuisance law, allows the government to grant

"SPECIAL EXCEPTION OR VARIANCE TO PUBLIC NUISANCE CLASSIFICATION", [THaSC-T5-SA-C343-SB-§343.0111]. The plaintiff

even specifically refers to one article and research-paper co-authored and/or published by the [NRDC] - a highly-reputable, nationally-based,

non-profit, environmental-organization - that advocates for such "no-mow" landscaping - see section below. On multiple occasions during this

conversation, the plaintiff asks [WCCD-RT] if [WCCD-RT] had any internet-connected device where he could look up such article and read

such article about such 11110-mow" landscaping, and [WCCD-RT] responded that he would take down such information to look at it later.

[WCCD-RT] skirts the issue of environmental-justice refen-ed to by the plaintiff, instead, referring the plaintiff to the Texas Public-Nuisance

law. [WCCD-RT] continues to fraudulently/misleadingly state that the plaintiff had mosquitoes on the plaintiffs property, when in fact, there

was not even one mosquito on the plaintiffs prope11y that he could point to, even during this pm1icular incident. The plaintiff explains to

[WCCD-RT] that since this environmental-justice issue of "no-mow" landscaping could potentially come into conflict with Texas's Public-

 Nuisance law, that there needs to be some middle-ground that would allow the plaintiff to maintain the plaintiffs strongly-held religious/cultural

and environmental values while at the same time complying such law. [WCCD-RT] agrees, stating, "That's exactly what ·we're flJ1ing to do

here today." [WCCD-RT] states that he will write up a warning-citation explaining to the plaintiff what needed to be done, while the plaintiff

clarifies the tasks that the plaintiff would need to have done. [WCCD-RT] acknowledges that the plaintiff is clearly ve1y-educated on such

environmental issues. [WCCD-RT] then opens up his binder with such warning-citation, and then begins to fill-out such warning-citation.

 [WCCD-RT] then reiterates that he could request the [WCCHD] to provide the plaintiff with those free mosquito-dunks. In ftlling out such

 form, [WCCD-RT] asks numerous privacy-invading questions of the plaintiff, such as the plaintiffs Date-Of-Birth, the plaintiffs Phone-

 Number, the plaintiffs Drivers-License-Number, which the plaintiff was every reluctant to provide. The plaintiff stated that the plaintiff would

 like to provide as mininml infonnation as possible in-order-to avoid any potential for invasion-of-privacy, especially since these were

 government-documents, and especially since [WCLE] had already committed multiple criminal action(s) of "Misuse-CJf-Official-Infimnation"


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during prior incidents suffered by the plaintiff. [WCCD-RT] writes down on such warning-citation, instructing the plaintiff to cut down any

vegetation - so-called "weed~" or "grass" - that exceeds 36 inches in height, while the plaintiff takes exception to the use of the word "grass"

since there is no grass that is growing even anywhere near to such height anywhere in the plaintiffs [BACKYARD], and such statement is
extremely-misleading, especially on such official government-document. [WCCD-Han-ell] rudely inte1mpts the plaintiff that they are not going

to allow the plaintiff 30 days to fix such issue(s) concerning so-called "weeds", only to later fmd out that there does exist "gmss" above such

height, while the plaintiff responds that this is "bermuda-grass", further explaining that the genetics of bennuda-grass does not allow it to grow

to anywhere near such height. The plaintiff was merely objecting to such extremely-misleading statement made on an official government-

document - making the plaintiffs [BACKYARD] look as if such [BACKYARD] was full of dense/tall-grass higher than 36-inches in height

which was, at a minimum, extremely-misleading. [WCCD-RT] stubbornly states that he's just going to leave the verbiage including "grass" as

is, once-again, revealing to the plaintiff that the [WCCO] was neither interested in truth nor justice, but that the [WCCO] was simply going to

raih·oad the plaintiff, including but not limited to, their use of such fraudulent/misleading statements on official government-document(s) - all

due to the predato1y demands of the plaintiffs predatmy neighbors with extreme-racial-animus against the plaintiff - [JSP&KAP],[RSR] - and

their cronies/co-conspirators (including, but not limited to [DMP]). [WCCD-RT] then refers back to his printout, while the plaintiff looks more

closely at the warning-citation that [WCCD-RT] is filling out, because the plaintiff increasingly began to suspect that the plaintiff was being

raikoaded by such [WCCD]s of the [WCCO]. The plaintiff was ve1y alarn1ed by the fact that the warning-citation stated "Environmental-

Crhne" on it, and asked [WCCD-RT] why the warning-citation states "Environmental Crime" on it. [WCCD-RT] states, 'That's what we do

... This is an Environmental-Crime-Unit ... It is a criminal offense. It is not a civil offense ... or something like that ... " [WCCD-Hanell]

threateningly states to the plaintiff that this is not an "HOA Violation" or any civil violation like that - instead, threatening that such offense was
                                                                                                                                        11
actually considered to be a criminal offense. The plaintiff fu1ther asks such [WCCD]s why such issue was considered to be an Environmental

Crime" when what the plaintiff was actually fighting for Environmental-Justice in the plaintiffs fight for such ''No-Mow" landscaping. [WCCD-

 RT] flippantly responds to the plaintiff, "Well, we appreciate that!" - once again, revealing to the plaintiff that they do not work for the

 plaintiff, but instead, that they were only working on behalf of the plaintiffs predatory neighbors with extreme-racial-animus: [JSP&KAP],

 [RSR] - and their cronies/co-conspirators (including, but not limited to [DMP]). [WCCD-RT] states that he needs the plaintiff to read the

 statement above the signature line and sign on such form. The plaintiff begins to take photograph(s) of the form, and [WCCD-RT] responds

 that they would provide the plaintiff a copy of such form. [WCCD-RT] states that such photograph(s) were not neccssa1y because he was not

 here to trick the plaintiff in any way. [WCCD-RT] re-reads the warning statement to the plaintiff under which the plaintiff would need to sign,

 stating, "I've been informed of the violation(.,;;) listed above, and agree to take the stated corrective action(s). No penalty or charge(.,;;) will be
                                                                                                                                               11
 accessed at this time." (WCCD-RT] states, '1Either you can sign it," but fails to complete the rest of that sentence, instead, stating, Do you

 want to sign it" The plaintiff assumed that [WCCD-RT] meant that the plaintiff could either sign it, or [WCCD-RT] could issue such warning-

 citation to the plaintiff indicating that the plaintiff refused to sign it. Given such 11Sophie~r; Choice", and acting under duress, the plaintiff was

 coerced into signing such warning-citation. [WCCD-RT] then tears out the carbon-copy and provides such carbon-copy to the plaintiff.

 [WCCD-RT] reiterates to the plaintiff that they're going to provide the plaintiff with 30 days to comply with such warning-citation. [WCCD-

 RT] states that he would provide the plaintiff with his business-card, and walks back towards his police-vehicle to get such business-card. The

 plaintiff provides [WCCD-RT] with the name of the organization ("[NRDC]'), and the name of the article ( ''More Sustainable (and

 Beautffi1/) Alternatives to a Grass Lawn"), and that such article documents how such "no-mow" landscaping is challenging such out-dated,

 draconian, and ethnocentric/culturally-insensitive laws concerning vegetation on private-property. [WCCD-RT] reiterates that the plaintiff

 seems well-versed on both such environmental-issues and the relevant statutes. [WCCD-RT] concludes by stating, "It's not an issue between

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'you and me', or an issue between 'law-e1?(orcemenl and you'. Alf ii is, is about being a good neighbor ... I want lo be able to create that

middle-ground, and that's what we're doing." [WCCD-RT] indicates that they would be leaving the plaintiff alone, while the plaintiff reminds

such [WCCD]s to read such article regarding, "No-Mow" Landscaping, which [WCCD-RT] agreed to do. Such [WCCD]s would walk back to

their vehicles, while the plaintiff would enter back into the [HOUSE] urgently searching for the full-link to such "No-Mow" Landscaping

Article. The plaintiff found such foll-link, wrote such full-link down on a card, and rushed to such lWCCD)s to provide them with the full-link

to such article. On the plaintifrs walk towards such [WCCD]s vehicles, the plaintiff observed [RSR] clearly talking to such [WCCD]s. As the

plaintiff would hand the card with such information to [WCCD-RT], [RSR] would be standing alongside [WCCD-Harrell] staring

menacingly/angrily at the plaintiff. The plaintiff walks back towards the plaintifrs [HOUSE], and while inside the [HOUSE], continues to

observe [RSR] speaking with such [WCCD]s - once again, viciously backstabbing/badmouthing the plaintiff behind the plaintiff's back with

such relentlessly-racist propaganda against the plaintiff, as she had done on countless occasions dating back to {2009}, and as she would

continue to do in the numerous years that followed. Such [WCCD]s would smile and laugh along with each other before driving away in their

respective police-vehicles. A common theme expressed in this lawsuit is that a~nost-all, if not all, of the members of [WCLE] that violated the

plaintiff's rights (dating back to {2011 }) would take great pleasure and joy out of violating the plaintiff's rights - as if such violation of the

plaintiffs rights was a "fim sport" that all of these individuals, including the plaintiff's predatory neighbors with extreme-racial-animus against

the plaintiff - [RSR],[JSP&KAP] - could all happily and joyfully participate in (q>) . Once again, the plaintiff would like to reiterate that [RSR)

 lived diagonally and across-the-street from the plaintiff with her house and the plaintiffs [HOUSE] separated by approximately 110-feet of

open-space, meaning that there was absolutely no legitimate legal claim to any such property-maintenance issue that [RSR] ever had against the

 plaintiff. The law-enforcement agencies of the [WCCO], the [WCCHD] and the [WCSO] predatorily targeted the plaintiff in such a brazenly-

 racist manner, in aggregate, for over a decade, based exclusively upon the extreme-racial-animus against the plaintiff harbored by [RSR],

 [JSP&KAP] and their cronies/co-conspirators (including, but not limited to, [DMP]). In particular, [WCLE] was threatening to charge the

 plaintiff with Class-C-Misdemeanor-Pub lic-Nuisance on behalf of the plaintiff's predatory neighbors with extreme-racial-animus against the

 plaintiff - [RSR],[JSP&KAP] - while neither [RSR] nor [JSP] were ever charged, let alone prosecuted, for over the over dozen count of

 racially-motivated and/or retaliatory hate-crimes/racketeering-acts/civil-rights-violations/abuses that such neighbors had already committed

 against the plaintiff (at this early moment in tin1e). The plaintiff cringes with sheer pain, whenever the plaintiff plays-back [WCCD-RT]

 O1wellian and fraudulent statement, ''Alf it is, is about being a good neighbor", because in making such Orwellian and fraudulent statement,

 [WCCD-RT] is indicating that the plaintiffs predatory neighbors with extreme-racial-aninrns against the plaintiff - [RSR],[JSP&KAP] - can

 commit a virtually endless stream of hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff, with all of such criminally-

 abusive conduct being considered "being a good neighbor". Even if the plaintiff was the most-eloquent and most-intelligent dystopian author

 (such as George Orwell), the plaintiff would still have a very difficult time fictionalizing any aspect of living in a White neighborhood that is

 more dystopian and more modern-day-Jim-Crow than what the plaintiff continued to suffer from [WCLE], due to [WCLE]'s predat01y

 targeting of the plaintiff, based on the predatory demands of far-right-wing-extremist neighbors with extreme-racial-animus against the plaintiff:

 [RSR],[JSP&KAP). According to the plaintifPs recorded-footage, all of these [WCCD]s at the scene of the plaintifrs private-properly during

 this incident did have body-worn-cameras - and as such, such body-worn-cameras should have been recording not only all aspects of this

 unconstitutional-and-unlawful search/seizure/interrogation/detention of the plaintiff and the plaintiffs private-property, but also such [WCCD]s

 following interactions with racketeer co-defendant [RSR] - unless, such [WCCD]s deliberately turned-off their body-worn-cameras (at any

 point in time) in-order-to Obstmct Justice against the plaintiff. As traumatizing as this incident was (and still is) to the plaintiff, this predatory

 incident would be just one of numerous predato1y incidents (documented in this lawsuit) involving the defendants [RSR], [JSP] (and/or


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[KAP]), and [WCLE] - almost always involving White-American police-officers/government-employees of defendant [WC] - against the

plaintiff in which all of s uch defendants acted in a shamelessly (and overtly) racist and predato1y manner against the plaintiff - as if they were

not even in the least bit ashamed or concerned that they would be accused of modern-day-Jim-Crow predatory-racism by the plaintiff - as if

proudly wearing and flaunting their modern-day-Jim-Crow predatory-racism against the plaintiff as a badge-of-honor, that they w ill never

apologize for.



i400
During the final week of the month of {2017-09} , while the [HOA] denied the plaintiffs requests for the numerous other (non-grass)

"groundcovers" that the plaintiff sought in favor over grass, the [HOA] did provide "conditional approval" for a species of drought-tolerant,
11
 110-mow" grass known as "Cutles.1· Zoysia" that the plaintiff had offered to install as a last resort, if case none of the aforementioned
''gro1111dcove1:1·" were approved. The plaintiff was truly disappointed that the plaintiff would not be able to install any of such preferred

''gro1111dcovers ", and reluctantly accepted the fact that the plaintiff would be forced to install such "No-Mow" grass.



i401
After the plaintiff fully-resolved the issues ordered by the aforementioned [WCCD]s in the incident on the last day of the month of {2017-08},

the plaintiff still respectfully-submitted the following email-message to both the [WCCD-RT] (thus the [WCCO]) and to the top-executive of

the [WCCHD], fully-documenting the plaintiffs point-of-view, which documents many articles (including legal literature) concerning "no-mow"

landscaping, while also making at least some of the plaintiffs claim concerning racial-discrimination clear to defendants [WCCO] and

[WCCHD]. In particular, the plaintiff also mentioned that the plaintiff contacted the [NRDC] - a high ly-reputable, nationally-based, non-profit,

environmental-organization that advocates for such "no-mow" landscaping - in the plaintiffs own efforts to fight for the right to such "no-mow"

landscaping - even c iting the informative response that the plaintiff received from the [NRDC] (see embedded-email below). (In such email, the

plaintiff erroneously refers to "James Lancaster" as an employee of the [WCCHD], when in fact, [TCEQ-JL] was actually an employee of the

[TCEQ].) The plaintiff did not receive any response to this email to the [WCCO] and the [WCCHD]. In his in-person interaction with the

plaintiff (see incident from {2017-08-31} above), [WCCD-RT] had promised to either personally provide the plaintiff with free mosquito-

dunks and/or get someone from the [WCCHD] to issue the plaintiff with such free mosquito-dunks. However, no such free mosquito-dunks

were ever issued to the plaintiff, and instead, the plaintiff ended up purchasing and using such privately-purchased mosquito-dunks, along with

multiple e lectric mosquito zappers - one for the [BACKYARD] and one for the [FRONTYARD].
      •ru.u o,q,u.,,.,. and Raspanse to ''Muning Cit:Atian", cu.f 2017- 08- 0008" ,   !MIUL rKM PIAINrIFF TO [NIXD-R?J. (WCClllJ •   PIAINl'llF•   {2017-09-30 23: 52) •



     Hello Senior Deputy Tijerina,




     This is Sid Kode, property owner at: 788 l(ingfisher Lnne, t('lllld('1; T('xas 78641. This email is my response to lhe Warning Citation !Case/I:
     2017-08-0008] that you issued to me on 2017-08-31 16:04 CDT at my property, alleging:

        I . so-cnlled "unsanitary ronditions" resulting in "mosquitoes"
        2. vl'getntion in my bal'l,yanl growing above 36 hH'.ht•s in height tlrnt you mushier to be so-cnll('d "we('ds"

     The Warning Cit11tio11 requested me to:

        I. nrninlnin th(' pro11erty in n so-rnlled "sanilnry condil"ion fr('e of mosquito('s"
        2. cul down vcgetnlion thal you consider to he so-ralled "weeds" under 36 inrhcs in heigh I
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Please forward this cmnil to the Williumson County I lenlth Dc1J11rlmcnt and any other law cnfon•cment cntities/offil'ials/individuals thnt
nre involvc1I in this case (inchuling James Lnncnster of th e Williamson County Ilea Ith Department).



Even though I am taking all the necessary actions to fully comply with both or the req uests listed above and thus fully avoid any penalties (please
read below for details), in this writing, I still formally request a hearing before the 1·ommissioners court or any board, commission, or official
dcsig1111tcd by the commissio11c1·s <.:ol11·t (as per l'Jhos Heoltl• A nd S1tfety...£ru!e. Se:<:Jjon 343,0221), so lhal \ can formally pnwide my response
to the issue of so-called "\\eeds" to the court.



Pkltse meet me at my properly sometime within the next 2 weeks (by 2017-10-13), so that you can ins11ect my property and veri(y that I have
fully complied with both of your requests, and so that you can close this cns1\ while still providing the hearing that I requested.




Also, please keep in mind that I fully realize that you have been told a lot of things about me and my property by some of my neighbors. IJut what
you might not know is that these neighbors have always had it against me, for reasons that have absolutely nothing to do with the way I maintain
my property. They have always held an extreme grudge, anger and hostility towards me, some of which can be attributed to hostile neighborhood
politics, but much more or which is just plain racism/bigotry and clash or cultures. And this clash of cultures is not only evident in our current
situation, but is also documented in some orthe literature that I posted in this document. I have tried my very best to reason with these neighbors
and explain my environmcntal/culturnl values to them, but narrow-minded/bigoted nnd/or rueist as they arc, these attempts have been largely rutilc.
These racist/bigoted neighbors have no right to impose or force their narrow-minded/bigoted and environmentally-destructive and wasteful
values/lifestyles on me or my property. In fact, not too long ago (back in 2011 ), one of my former next-door neighbors, who was full y suppoi1cd and
instigated by some ofmy current neighbors, vandalized my property by dumping cal litter both in my front yard and back yard, for which I did file a
police report. So, some ofmy neighbors have demonstrated a long history of very strong hostility and animosity towards me and my
environmental/culturnl values. They have always strongly resented the fact that my parents purchased this property for me, and simply cannot get
over that foct, despite not knowing anything about me or my history or my cognitive disability. You could probably tell from the WHY I spoke to you
- in particular, the way that I stuttered - that I do have a cognitive disability, and while I was a student, 1 ,w,s registered as a student with disabi lities.



Please keep all of this in mind before you take their word al lace value, and also please keep in mind that, as a public law enforcement officer, you
arc l\1lly nccountable to nil citizens of Williamson County - not just some ci tizens over others, because !hat would be discriminatory treatment.
Since you did issue me a Warning Citation to me for what I consider to be dubious, marginal and/or unproven issues at best (given the
information that I have provided in this document which proves that there really is no " public nuisance" ), and since I am still, nonetheless fully
complying with your requests despite these being dubious/marginal/unproven issues, 1 will have to ask you to issue these Warning Citations
against some or these neighbors or mine (especially the one you we n.: speaking with who lives at 789 l(ingfishcr Lane, Lt'andc,; Tcxlts 7864 1 -
the one who you were speaking with who demanded that you issue this Warning Citation to me) for multiple issues that are all
real/actual/legitimate and huge public nuisances and health/safety hazards. These immediate neighbors of mine are committ ing various actions that
are very toxic to my health (and even other neighbors' hcnlth) and/or significantly compromise my safcty/se1·11rity and/or a fire hazard to
everyone in the community iucludiug my 1lro11cl'ty. These actions constitute real public nuisances, most of which are caught as evidence on my
security cameras, and some or which are caught as evidence on the neighborhood 's online social media platform "NextDoor"
(Mtp~://sumrnrrlynleandrr.nntdoor.com/). where these neighbors openly admit to committing those public nuisances. Furthermore. all of these
actions are not only real public nuisances, but they arc also flagrant violations of the Homeowners Association rules. I can provide you with the
evidence when you meet with me and/or in a subsequent email(s). These real public nuisances include:

     • Many ofmy neighbors light loud, toxic, dangerous fireworks every 4th of July, Christmas Eve and New Year's Eve. Whether or not there is a
       county-wide burn ban in enect, our Homeowners Association rules explicitly prohibit the lighting of fireworks at any time during the year,
       due to the tire hazard, safety hazard, health hazard, property damage, loud noises that disturb people that work from home or people that are
       sleeping, etc. Unfortunately, lhe Homeowners Associat ion does wanl to enforce its own rules, despile my repented attempts to get them to do
       so. As you know, fireworks arc a real public nuisance and a real fire hazard that can not only cause huge properly danrnge, but can also cause
       real human injury/pain and even death, and not to mention, the resulting high medical expenses. In fact, about 90% of all fires arc caused by
       fireworks, and so, fireworks are the most common fire haznl'd :
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              hltps j //,1 \\ 11·.~,fl If ~11111 u,com/nrn ~/local/bu rn-h11 n-w;maIll son-cou nty-prohj hi ls-011 ldoor-hurn ing::fur:
              IDJys/NW<·tepb I,hJ hSXcOl!.llr.itUl
        By lighting fireworks at several points during the year (in all or the 8.5+ years that I have li ved here), these neighbors are not only keeping me
        fearful or fire and injury, but they are also disturbing my sleep (and work) schedule, since they usually light these fireworks very late at night,
        sometimes past IAM. I leave some ofmy windows open during the summer to let in the cool air at night time (since I do not use the Air
        Conditioner for environmental reasons), and so, the noise from these fireworks is unbelievably loud - to the point, where they could easily
        cause permanent hearing damage to my cars. These neighbors have also fully admitted lo breaking the law by lighting fi reworks on the
        neighborhood's online social media platrorm "NcxtDoor Summerlyn" (hltus;//summerlyule11111Je r, nc.\tdoor,com/), which requires and
        verities that neighbors use their real names when posting onlinc. This includes the neighbor you were speaking with who demanded that you
        issue me this Warning Citation - the one across the street that lives at 789 Kingfisher Lane, Lea11de1; Texas 78641. In add ition to this
        online evidence. I have both ohotogmnhic and video evidence of these neighbors liuhtinu fireworks riuht in front ofmv nronenv. In fact. a lot
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                   Case 1:23-cv-01223-RP Document    1 Filed 10/10/23           Page 435 of 944                                               1 696 90 7 6 9 0
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    or the debris from these fireworks land in my frontyard and my backyard. If you take a close look al my frontyard carefully even now (several
    months beyond July 4th), you will still see evidence of debris from these fireworks. Please keep in mind that the debris from ti reworks is
    toxic (since ii has toxic chemicals in it), and causes both land pollution and air pollution:

           l.!.11 ps; //www,usutoll ny, rom/s tory/wea ther/2015/06/JO/fi rrworks-11 ir-mIBlifY/295092 59/
         , l.!.llp;//hnckcuuntrvnttitudr,com/to~ic firen ork,~.html
    So, to summarize this public nuisance issue, these neighbors of mine who recklessly light fireworks are obviously causing a huge public
    nuisance from many different reasons:

          lire hazard (both in terms of property damage and bodily injury/death)
          air pollution (toxic chemicals/fumes released into the air when fireworks are lit).
          land pollution (toxic debris rrom fireworks fall onto my property and is potentially " illegal dumping", and my backyard animals might
          eat this toxic debris and get injured or worse.)
          noise pollution (extremely loud and causes permanent hearing damage)
          huge disturbance to sleep schedule and thus a drop in productivity the following day, along with all the other hazards caused by lack of
          quality sleep.
          huge disturbance to my work schedule since I am constantly working at home.
    These neighbors are fully aware that they are violating the rules/laws and causing a huge public nuisance and several health/safety hazards,
    but they continue to commit these violations in spite of that knowledge.
   • One of my nextdoor neighbors lit a huge bonfire in the backyard last Sunday evening, 20 17-09-24 07PM-09PM (see above as the hazards to
     health/safely remain the same). I had to inhale a lot of smoke from this recent backyard bonfire created by my nextdoor neighbor and this
     resulted in me becoming sick wilh a runny nose the following day, especially since I lend to leave some of the windows in my house open
     during the hot summer months, and the smoke from my neighbor's bonfire filled up the insides of my house - I very rarely get sick and I very
     rarely gel a runny nose. This neighbor intentionally Iii the bonfire to spite me, because he has repeatedly and verbally expressed his
     anger/hostility/animosity towards me, and he has repeatedly expressed his desire for me to move away from my property.

   • Some Clfmy immediate neighbors are fumigating extremely toxic pesticides/insecticides/herbieides into my yard at nighllime. I gel the
     extremely strong toxic chemical smells from these neighbors' fumigation, while I am inside my house. This is a rcul threat to my hcalth/safcty
     since most of these powerful chemicals arc cancer-causing carcinogens, and the fumes/vapors from these cxtremcly-loxic chemicals enter into
     my house through my open windows. I have noticed these strong chemical smells many times per year (but especially during the wanner
     months), for at least the last 3 years now (since the summer of20 15).

   • Some or my neighbors leave their dogs and cats unleashed to roam freely onto the street/sidewalk and even onto my properly. This is also a
     violation of the I lomco\\11crs Association rules, but again, unfortunately, the Ilomcowncrs Association does not want 10 cnfurce its own rules,
     despite my repeated attempts lo get them to do so. As you know, dog bites arc a huge health hnzard for humans causing m~jor injuries/pain
     (and huge medical expenses) and. in some cases, even death. Even if these dogs do not bite, I do have a renl fear of dogs, and I cannot be
     living in foar on my own property, simply becnuse of the extremely reckless, irresponsible and criminal behavior ofmy neighbors. Several of
     these neighbors, including the same property owner who demanded that you issue me this Warning Citation - the one living al 789
     Kingfisher Lane, Leande1; Texns 78641 - freely allow their dogs and cats to roam freely on the street and onto my property. For example, in
     the case of the neighbor living al 789 Kingfisher I ,nne, I.cande1; Texas 78641 , I have video evidence of her dog approaching me and
     entering into my property, while she was watching the whole time, and at several times while I was gardening in my fronlyard, and I have had
     real tear of being billcn which causes real psychological damagc/trnumu regardless if the dog actually docs bite me - I tear that if I make one
     wrong move, the dog can misinterpret this and aggress on me and bite me, causing severe injury/pain. I cannot even run away from the dog,
      because then the dog will chase aller me and probably bite me - so, I have to just stop whatever I am doing and freeze and hope that the dog
     simply goes away without biting. I simply should not have to live in such fear, and should 1101 have to suffer this psychological trauma, just
      because of the reckless behavior ofmy neighbors. Many of these neighbors including the neighbor from 789 Kingfisher Lnne, Lennde1;
     Texas 78641 also freely allows their cats to roam around lhe neighborhood, and these neighbors' cats (in particular, neighbor 789's cats) have
      entered into my backyard and caused havoc in my backyard, especially with my vegetables, and have even woken me up from sleep due 10
      noises being made in the middle of the night. These cats (again, like the ones from 789) have also defecated on my property, and .1 have video
      evidence of the cal dctccaling on my property, earlier on this year. And as you know, even cats can cause hann by scratching l111111ans with
      their nails. I have plenty of video evidence of these pet-related infractions that routinely happen multiple times a month, dating back to at
      least 20 13. Also, just like in the case of the fireworks, the routine unleashing of these pets so that they roam freely onto others properties
      which is a huge hazard and nuisance, is rully documented on the online social media platform, "Nextdoor Summerlyn"
      (https;//summcrl)•olfit O<lfr, ntxtdoor:comfl. where these neighbors openly admit to commilling these violations of the law. And again, these
      neighbors are l'l1lly aware that they arc violating the rules/laws and causing a huge public nuisance and health/safety hazard, bul they continue
      lo violate despite of that knowledge.
Assuming that you agree that these nre indeed real public nuisances (which I certainly hope that you do), I will have to ask you lo issue Warning
Citations to each and every one of these neighbors of mine that arc causing these public nuisances, in order 10 ernmrc \hat these public nuisances do
not continue in the future. At the very least, I will need you to issue the appropriate Warning Cilalions to the neighbor li ving al 789 Kingfisher
Lune, Lc11ndc1; Texns 78641 , who is guilty of eommilling im1ltiplc offenses (only some of which arc described above).




NOTE: In this document, any text that is enclosed in a box/border has been quoted directly from the referenced wcbpagc(s). Please sec the
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referenced webpage(s) for more information.




First, I wanted to let you know that I am fully rnopcrnling to comply with your requests by doing the following:



    I. Instead of waiting for you (or the Health Department) to provide me with the free " mosquito dunks" that you informed me about, I purchased
       them 111ysclf (.l!.Up,i//smik.11nrn7011.com/Sun11nit-rr,pon~ible-sol11tions-I85502-Mosq!!!.t!lL!!p/B00025611\'Aland will be installing them
       in all unclosed rainwater-harvesting containers including buckets or other containers without lids on them. Any containers with harvested
       rainwater that do not have these mosquito dunks in them will he closed tightly with lids. Also, my use of buckets/containers for harvesting
       rainwater is only n temporary solution until I eventually install huge rainwater-harvesting tanks along the sides ofmy property- and yes, af1cr
       these tanks arc installed (probably sometime next ycur), I will have these mosquito dunks installed in them al all times. I um actually opposed
       to using electronic "bug zappers" for erwironmcntal/ccological reasons, since I do not want to kill any insects other than mosquitoes, but to
       further ensure that mosquitoes arc not originating from my property, I also purchased the followi ng bug zapper:
       .l!.Ups;//Mnile,11m111on,com/Aspcrtck-Elrrlronj(·-z,11rnu -hHJOor-lnm•t/dptnOOUSRD7RQ. I will use this bug i'llppcr outdoors in my
       backyard but only for a few days, to ensure that any remaining mosquitoes that maybe in the air arc taken care of. I should also note that I
       have been collecting rainwater in such buckets/containers for more than 3 years now (since 20 14 ), and I have not received any complaints
       until the summer of this year (starting in .lune 20 17), wh ich leads me lo disbelieve any fitlse claims of health/safety hazards. In short, no one's
       health or safety has been put at risk throughout these 3 years of my rainwater-harvesting in the same manner. Also, just so that you know. in
       my attempt Lo live us "ot1: 1he-grid" as possible, I obviously do use the harvested rainwater for all of the following uses:

                                              Anybody can use harvested rainwater to cook using the method of"stcam ing", since the water - even if it
                                              is dirty - docs no\ make direcl contact with the food - only \he hot steam touches 1hc food, and steam. hy
                                              deli nition, cannot be dirty. I even have a large cooking vessel outdoors in my backyard to bake bread
      Cooldng/Bnldng/Steaming:                using the technique ol'stcmning. On average, I use about 1/2 a gallon (or 64 ounces) ol'harvcstcd
                                              rninwutcr per day for cooking/baking purposes - so, I need a reliable and constant supply of harvested
                                              rainwater.

                                              Especially during prolonged droughts, I use harvested rainwater to waler my
      \Vatcring l'hrnts:                      vcgetables/hcrbs/groundeovers and even grass.

                                              Fences get blown-down/broken with strong winds (including the recent hun-icane in 20 17-08), and fence
                                              posts need 10 he secured into the ground with a lot of concrete which needs a lot of water 10 set. This
                                              yeur alone, I had lo use about 20% of my harvested rainwater just to install 5 fence posts, and if more or
      Fixing Brolmr Fence:
                                              the fence had blown-down/broken, then I would have had lo use n lot more \\"otter. In short, I need lo
                                              harvest as much rainwater as possible, especially for these types of situations.

                                              When it rains VCI)' heavily, I put dirty/unwashed cooking vessels outside so that the heavy rain cleans (or
      Cleaning Cooking Vessels:               al least rinses) them.

                                              Birds and other wi ldlife regularly drink water from my rainwater harvesting containers. As part ofmy
                                              Certified Wildlife Habitat certitication (.l!.Ups://rn,wjkjpt1!..i.a.!u:w,'wjl<itnMkyard Wildlj[e llnhjtot)
                                              from the National Wildlifo federation (NWF) (please read below for details), I need to provide sources of
      Drinking Wntcr for Wildlirc:
                                              drinking water for wildlite such as birds, skunks, armadillos, etc. This is why I needed lo confirm if the
                                              "mosquito dunks" make the water safe 10 drink for wildlife.

                                              In emergency/disaster situations, when there are no other water sources available, harvested rainwater
      Drinking Wntcr for Myself:              can be Ji ltcrcd using II combination of biologicul lilters (.b..Un~i//smjle.omnzon.rom/l/7691442011 land
                                              chemical filters (.!!ltl)Si{l~m ill',11 m11100.com/Best-SrUrrs-l Iome-Ki trhen-Wa trr-C'oole rs-
                                              Filtrrs{ti:bs/hom r-ga rdcn/5 10202).




   2. Even though I do not consider them to be "weeds" (please read the pcrmac11lturc" fanning philosophy explained below, and the unmowcd
                                                                                 11


      "prniric"/"nm1dow" wildlife garden literature attached below), I will fully rn m11ly with your request by compressing-down-to-the-ground
      and/or cutting them down lo under 36 inches in height and making sure that any such vegetation slays below 36 inches in height at all times.
      Also, I should note that even at the time when you noticed such vegetation, only about 20% ol'my entire backyard was composed orsuch
      vegetation above 36 inches in height. About 60% ofmy backyard was/is entirely "Common Ucrmuda'' grass which only grows to u maximum
      of 18 inches in height, and 20% of the backyurd was dedicated for vcgctubles like sweet potato and garlic. In foct, from March 20 17 through
      Mirl-l11lv ?017 n hn11I 'i0% f\fthr h:wkvnrrl w:t~ , trrli1•<1t1•rl If\ ormvino nsssrt nnt:tlnrs. I nlnntrrl nlmnst 'irlO nossrl nnlntnrs. s inrr• I wns
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conducting an experiment to sec if these russet potatoes would survive the triple-digit-heat and long summer droughts. You can even ask
J11111es Lancaster of the Williamson County Health l>c1rnrtmcnt because he entered into my backyard with me at the beginning or June
20 17, and he suw the russet potatoes growing throughout more thun half of my backyard IHndscapc. /\not her rcuson why I consider the
Wal'lling Citntion that you issued to me to be unjustilird is because M,: Lancaster had inspected my backyard to find evidence of
111os11uitocs or othrr health/sa fety hazards and he suiu that he would dose the rnsc - tlmt is why I thought that no further :H·tion wonld
be nerd ed. But then, I get your Warning Citation aIler I thought this case had already been closed since my backyard was nlrcacly
inspc(·ted in .lune 2017 :uul found not to contain 11ny hcnlth/snfcty hn:r.ard. But anyways, as I fo und out the hard way, tlu:sc russet
pota\l)Cs arc not urough1/hca1 tolerun\ lo the Ccn\rn\ Texas S\1mmers, and every single one died by Mill-July 1011 - I was hoping \hat \hey just
went dormant during the summer and would re-awake in the fall, bu\ I have not seen any indication oflhnt, meaning that they all died.
However, in conducting this experiment, I fou nd out that nmture sweet potatoes are exceptionally drought/heat tolerant and will easily survive
the Central Texas summers. So, while the russet potatoes nil failed due to the heat/drought, nil ol' the nmture sweet potatoes succeeded
without any problems. To understand why my backyard has such vegetation that you consider to be "weeds", you should know that I use the
"pcnm1culturc" farming philosophy ol'" no-dig-gardening" and " no-weeding", because this is a method or growing strong, sclf~sunicicnt.
resilient and highly-nutritious vegetables thnt arc capable of surviving extreme conditions and out-competing the other vegetation. This
technique is very popular nmongst pcrmnculturc fonncrs/gardcncrs as described in the following pcnnaculturc farmer's website
(!Wniirmenstrinl!farm.com/ahoul):

Competition Control
The Green String approach to farming reconsiders t he idea of "weeds." Instead of
fighting against these persistent plants, we let them grow up alongside our food
crops. When they threaten resources like light and space, we hoe or mow them back
just enough, and leave the cut plant material to enrich the soils . Sometimes, we
get a little help from herds of goats and sheep to keep overzealous cover crops
in check! By resisting the urge to allow only the food crop to grow, we maintain
biodiversity and enrich the soils while spending l ess time eradicating
"undesirable" plants from our fields.

And just to let you know, by next spring (Mnrch 20 18), I wi ll be planting cultivated vegetables (like sweet potnto) and cultivated
groundcovcrs/herbs (oregano rind mint) 100% throughout my entire backymd, and so, there will be no room for the growth or any other
vegetation that you might otherwise consider to be "weeds". Please keep in mind that some of these cultivated groundcovers/herbs like
oregano and mint do grow up to 36 inches in height, and some vegetables like okra can easily grow up to 8 feet in height, but again. these nrc
all "cultivated" plmlts, and the " Public Nuism1ce Law" in IIr as llt:ilth And Snfrf) 1:fillr, Srrtion J-tJ,011 1Lim! you informed me nbout
only deals with " uncultivated" plnnls. So. in the fltture, if you sec any vcgetntion on my property growing above 36 inches in height, please
keep in mind that, such vegetnlion is the exact opposite of"wecds" - they are all 100% cultivated plants (vegctahlcs/groundcovers/herbs).
Also, even !hough I am complying with your request here by culling/compressing them down. the reason why I do not consider the plnnts
lhnt you saw to be " weeds" is because they me nctunlly serving a vital, bcnelicinl and intcnlional purpose to my ll)ndscapc and to the
environment:

      they occupy the niche environment not occupied by grass and other vegetation, thus mnking maximum utilization of all of the soil.

      in almost all cases, they are nntive plants, and most environmentnlists/naluralists/eonscrvationists and indigenous people that have
      natural landscapes cultivate such native plants on their yards.

      they anchor the soil to the ground, helping preventing to prevent soil erosion

      they hold moisture at the top lnyers of the soil, for the benefit of the grass and other beneficial soil lite (soil bacterialtimgi, earthworms,
      grubs, insects, etc.)

      they improve soil fertility by comprehensively covering every last space of soil (both horizontally and vertically).

      they improve soil slructure/depth. better soil structure means. better moisture retention and belier ncralion. better soil depth means
      more of the soil is productive (which is very important for growing vegetables).

      they sequester more curbon from the atmosphere, thus reducing man-made global heating.

      they provide food rind lmbitnt for wilcllifo including: birds, grasshoppers, crickets, scorpions, toads, frogs, lizards, bees, wnsps,
      bullerllies, beetles, etc. I have obtnined !he "Certified Wildlifo Habitat" certification from the Natural Wildlife Federation (NWF), rind
      in order lo maintain this cerlil'i calion (see nlluehed cer1i!'ica1ion document), I need to pro, ide hnbilal and sources of fond/wnlcr for such
                                                                                                                  1


      wildlife.

      scicntilic studies al universities have sho,,~, that, when growing vegetables, vegetables that grow with competing vegetation, and that
      hove to out-compete these other plm1ts in order to survive, turn out to lmve more nutrition (pnrticularly. more antioxidnnls and more
      phytochemicals) than vcgelnbles that arc grown in bare dirt without any competition.


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      they increase carbon sequestration (and thus help combat man-made global heating) due to greater photosynthesis.

      they eliminate the need for irrigation and substantially-improve drought resistance - native or well-adapted plants that are not mowed
      do 1101 need any irrigation due lo much-belier insulation, much-greater biomass, much-greater biodiversity, the plants' root-shoot ratio,
      etc.

      they improve soil moi:slure retention (due lo better in:mlalion from \he ,•egelalion)

/\lso, I am strongly opposed to mowing, because it is extremely environmentally destructive, extremely wasteful, and it is completely aguinst
my ethnic/cultural/indigenous values of protecting mother nature. To be more specific, I am opposed to mowing because:

      emits greenhouse gases when any powered equipment (either gasoline or non-renewable electric) is used

      wastes energy (fossil-fuel energy or electricity) resources when any powered equipment (either gasoline or electric) is used

      causes noise pollution (and Jong-term ear/hearing damage) due to lhe loud noise from lhe powered equipmenl

      exposes the operator and those nearby to cancer-causing chemicals emitted by gas-powered cquip111c111, and also c11uses air pollution.

      kills most. if not all, wildlife living in the mowed vegetation, and eliminates their wi ldlife habitat, food and water.

      destroys bio-diversity 110 1 only or non-plants. hut also the biodiversity or plants by enforcing a monoculture or only the most well-
      adaptcd, most drought-tolcrnnt grasses.

      forces the 0\\1,crs 10 irrigate during lhe long triple-digit-heal, summer droughts lo keep the plants alive.

      compacts soil and leads to poor soil structure for numerous reasons

      over the long-Lenn, destroys soil fertility since lhe clipped/mowed vcget,llion is blown away in the wind or removed by the rain and
      docs not get incorporated back into the soil.

      wastes all of the water that was stored in the plant tissue, but as a result of mowing, is no longer harvested and stored by the plants.
      fresh water is considered to be the "oil of the 2 1st centu1y" and wars will be fought (and are already being fo ught) over access to fresh
      waler and fe rtile land.

      conlributcs to pollution in land Iii ls - Yard waste and food \\".lstc account for about 27% of all waste.

      comributcs to methane emissions and thus. man-made global heating - all mowed and thus decomposing mailer releases methane gas.
      Hy contrast, unmowcd vegetation sequesters much more carbon, and thus helps lo combat man-made global heating.

      minimizes the bcnelicial service ofwutcr fillral ion that uncut plants perform lhnl prolccl the surrounding environment/ecosystems

      minimizes the bcnelicial service of improving air quality (by reducing ai r pollution) thal uncut plants perform on the surrounding
      environment

      minimizes lhc benelicial service of providing nood control lhal uncut phmls perfonn in environments inhabited by humans and other
      terrestrial species

      totally wastes a vital store of solar energy - plants are the original solar panels.

      totally wastes a useful material resource - if parts of plants absolutely had to be cut, those cut parts should al least be used for food, or
      for producing mutcrinl goods, or as winter f'orngc for livestock, rnthcr than being w.:istcd by blowing/nowing away in the wind/rain.

      is sim ply morally wrong - we as humans, do 1101 hnve the moral authority to arbitrarily cut plants for supposedly "aesthetic" or
      supposedly "nuisance" reasons, especially since those reasons are notj ustiliablc
      (!Ulus;llHccbi\'f,\'ruLgur/J!rN·nacrcs/wch/html/jmJr.html#Wmt¾20L;rn,"lo20os%2QIw 11iuoHI), and not backed up by scicnti lie
      evidence. Just because some nation-slate or governmcnl,11 authority docs not make it illegal for us to arbitrari ly cut plants, docs not give
      us the moral authority lo do so.

      several countries such as Bolivia, Ecuador and Costa Rica have passed laws protecting lhe "Rights of Mother Earth".

      originated in Medieval Europe (firsl England, then spread lhroughout the rest of Europe) and wus used by aristocratic elites and lhc
      monarchy lo show off lhcir wealth/prestige. So, why docs mowing still pcrsbt amongst ord innry working-clnss/middle-class people
      today'?

      is a total waste of time that could have been used for constructive/productive use rather than destructive use.

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      imposes the cultural "mowed lawn" aesthetic/requirement of one culture on other cultures that have both historically and
      contempornrily not adopted that acsthetie/requircmcnt. The idea of"mowcd lll\rns" is almost non-existent in much ofthc rest ofthc
      world, particularly in the Global South. I was born in South India, and I li ved a large part of my life in South India.

       is inherently in conllict with the "off-the-grid"/homesteading lifestyle - if one wants to harvest all of the waler they consume from the
       rain. il would be very wasteful lo use that limited resource - rainwater - as irrigation for maintaining "mowed la\\11s".

       totally violates a person's right lo adopt a "zero-waste" lifestyle - mowing is inherently wastcti1I for numerous reasons (many of which
       are mentioned above).

       persists today only because a large part or the population is unawnre of the huge environmental, unsustainable costs - all of the
       destruction and waste - of maintaining mowed landscapes. if the population was more aware of this environmental issue, they would
       also be opposed to mowing.

       is n11 unhealthy obsession that many property 0\\~1ers are obsessed about - maintaining that pertcctly manicured, monoculture,
       mutilated-vegetation lawn.

However, this is only a partial list of reasons demonstrating my strong opposition lo mowing- for a more thorough and more descriptive list,
please reler to my I lomeowncrs Association "Nu-Mow" Xeris,·nre Lnndsearing aprroval document, as this document provides much more
details. This document has ubo been uttachcd to this email, even though I know that you arc not the I lomcowncrs Association. So, in short, I
do not consider such vegetation to be "weeds", but instead:

       "covcr-rrops" for my cultivntcd vegetables with all of the beneficial, environmental/ecological li111ctions mentioned above.


       part ofmy pntil'ic/mcndow wildlife gnrdcn (as documented in the litcmturc attached below) composed of mostly nntivc rinnls,
       again, with many beneficial, environmental/ecological ti111ctions.

       fol'ngc (food) for animals whose native diet is grasses, forbs, legumes, and other nntivc plants that. you might consider lo be "weeds",
       but which arc actually not "weeds" (please read below for details).

       wind hrc:ll(S for protecting property structures including the lence and house building: !Wns://e11.,, j k i ~

       buffer strip to improve nir, soil, and water quality, along with solving other environmental/ecological problems:
       h.ttns://rn.,, ikjp~      wjki/lluf[cr SCCin

       nood ronlrol to reduce the impact of severe/catastrophic llooding rains, for example, like the flooding rains during Hurricane 1-Inrvcy:
       h.ttns://en,l> ikipW!lJ!.11-:/\\ iki/Flood rontrolllC'oum of flood,
And to be clear, despite this difference in interpretation between you and me, I :1111 reluctantly com 11lying with your request here even though
there is nbsolull'ly no l'isk to health OI' safety from these tnll native plants. I have had such tnll native ,,cgetation growing on the property
for more than 5 years now (since the beginning of201 2), and I regularly walk amongst these tall plants all the time, and neither my
hcnlth/snfcty nor my neighbors' hrnlth/snfcty hns ever been Jlllf nt risk been use of it. Also. mosquitoes have nbsolntcly nothing to do
with tall lllants and Lhis false myth h11s been thorougl1l~• dis1lrove11 - rlease read the aLtnched documentaLion below for details. And also,
since I am still strongly against mowing for environmental/ecological reasons (sec allachcd documentation below for details), I am not
technically culling the plants but instead, I am lclling grazing/browsing an imals cal them, since at least they arc mak ing use ofthat vegetat ion
as food/energy for their survival. This is the way most other indigenous cultures (like mine) deal with marginal lnndscnpc vegel11t io11
lb.llm://u ww,rnutuht.com/,, utch'!y==Z5A8ll\'rjB.fl.):


Quote from the UN report, "Under natural conditions, which were maintained for
thousands of years and still widely exist around the world, there is a closed
circular system, in which some animals feed themselves from landscape types which
would otherwise be of little use to humans. They thus convert energy stored in
plants into food, while at the same time fertilizing the ground with their
excrements. Although not an intensive form of production, this coexistence and
use of marginal resources was, and still is in some regions, an efficient
symbiosis between plant life and animal life and human needs."

I was born in South India and I lived there for a large part ormy life. And where I come from, they do not mow d0\\~1 any plants. We do not
have such "nuisance" laws regarding vegetation, and vegetation is allowed lo grow freely and wi ldly, for the benefit of the environment (soil
lcrtility, carbon sequestration, improving air/water quality, flood cont rol, etc.), wildlife and grnzing livestock, and simply because it is part or
our cultural traditions that call for leaving mother nature intact. Cows/buffoloes/sheep/goat/etc. may roam freely on peoples' properties and
those animals usually eat much of the vegetation, thus keeping a lot or it under control. Bui for any plants that are uneaten, my people back
home just leave them untouched and do not ,·nt/mow them . because there is 11bsolutely no reason to rut them, and because that would be
1l1111111oi110 lo lh<' <'t1virnnt111'11 l/l'rnlnov (,is nnrtlv P>mlainPrl in thP.SI' rlor 11rnPnls) In fort in 111,inv mirts ofthP w orld psn,•r inllv w h,1rP
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     indigenous people urc u lurgc fruction of the population such as in South America and in South Asia, the people have even 1rnsscd h1ws
     Jll'Otccting vcgct11tion from being cut , as documented here:

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            Wtn:Wnthcamrrirn~,org/works/JQ2-hobian-m·onr11,o·of-hrnzit-quitom1m-randomblr-ond-thr-moto-aJlaolitu/
            Wtn;//www,r~         naui.rnm/india-nntures-wondrclond/
            Wtp://ww w. ~ l 'idro/iuII ia-naIum -» oodu land-rphodr-1/
      Furthermore, the myth of such uncut vcgelution being considered a public nuisance has been full y disproven by the ullached documentation
      from the United Stales Environmental Protection Agency (US EP,\ ), which w·.is wrillcn by an active, practici ng ullorney - plcuse read the
     attached documentation and the details below for more information:
     .!!.lln,:/hlrchi)'U()lLR!lligmnMtt$b>rh/html/jmlr,hJml#Wrrd%20f ""s%20as%201rrationnl. And to the contrary, the following
     academic publication wrillcn by a University Law Professor, argues that mowed lawns (and 1101 unmowed meadows/prairies) are the real
      public nuisance because of all of the environmental destruction invol ved:

            Wtns:/6' " »,,1 illlonr,,org/_wp-rnntrnt/unload"2Q 12/01/Schjndlrr-llon ning-Lau o~-2014,p.df
            Wtps;//moioclaw,n111jnr,cllu/Coculty/nromel~chinlllcr-snrnh/
            Wtr,s:(lwww.rnmmomlm m~.org/vjrws/20IS/08/04/mHou usb in-co Us-my-lown-n ubancc-i-stj 11-rcfu~r-mow-ii
      nut anyways, to deal with any such uneaten plants on my property that are still over 36 inches in height, I am compressing them down to the
      ground . i\nd as these animals ate these plants, I could not help but tcel a deep lceling of sadness becuuse the pristine wi ldlilc habitut thul I
      had taken so long to create was being reduced or destroyed. Please note that I am making all of these extrn, strenuous efforts and sacrilicing
      so much ofm y environmcntal/ecologicul prineiples/vlllues to co11111ly with your request even though I should not have to do this. because the
      evidence provided in this document clearly proves that there is ubsolutely no hcalth/salcly hazard with such natural landsca1Jing. And the only
      reason that I am fully co11111lying with your request, is because by next spring in March 20 18, I will be replanting all I 00% of my backyard
      with cultivated vegetables/groundcovers/herbs - otherwise, I would have fully challenged this issue in court.




So, as I explained above, I will fully com11ly with your requests, thus fully avoiding any potential penalties. However, having said that, in this
wl'iting, I am still fornrnlly l'c11ues1ing n hearing in front of the commissioners court (or nny board, commission, 01· oflicinl llcsignutcd hy
the rommissioncrs court), for all of the following reasons (but not limited to these reasons):

    I . I wont the conclusive evidence that I have provided to you in these documents to be admillcd into court and formally recognized for what it
      is.

   2. I wont the court lo formally recognize that native " prnirie"/"meadow" wildlife gardens are certninly not a threat to public hcalth/sately.

   3. I wnnt the court to formally recognize that nobody's health or safely has been put at risk as a result orthe prior stale and current slate ofmy
      property, and that there was no real health or safety hazard proven here, especially si nce I have li ved on th is property throughout the ent ire
      time period for the last 8.5 years (.!!.llns://orcbb r,ep.11.,gru.{gmnoues{u rh/html/l!J~Jrnnnd,.h!mll:

       1. If a complaint is filed by a citiz en or the city against a piece of propertyJ
       the burden or proof lies with the complainant to establish that a health or
       safety hazard in fact exists. Natural landscapes shall be assumed to be harmlessJ
       until proven otherwise.

   4. I want the court to formally recognize that native " prnirie"/"meadow" wildlitc gardens serve all oflhe bcnclicial environmental/ecological
      functions documented in these documents.

   S. I wunl the court lo formally recognize thut laws cannot be unreasonably interpreted so that they deny citizens their cultural/ethnic/indigenous
      and/or religious trnditions/values (.l!.1.t ps://11 rchh \',<'lll!,J::fil'.Ll!!Jfn11rre,111 eb/hJrll.!Jj mlr,html#Lo nd~g¾20nso/o20Rr!igi!ill):

       Natural LandscapingJ for some, can be a constitutionally protected form of
       re ligious practice. Courts essentially recognize religious practices
       subjectively, the only test being whether the individual asserts his be lief in
       good faith and that be lief could arguably be religious. Therefore, not only would
       the established Native American religions and Eastern religions which preach the
       oneness of humankind and Nature be entitled to First Amendment protection for
       natural LandscapingJ but those who hold "nontraditional" religious beliefs would
       also be entitled to such protection. Certainly, the adherents of Deep Ecology
       would be entitled to First Amendment protection for natural Landscaping
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  6. I want the court to formally recognize that laws cannot be unreasonably interpreted so that they deny citizens their right to free speech, sim:c
     all natural landscaping/gardening is constitutionally protected speech
     (Jillns:/IR rchivr.f'M,l'!!l'.il'm:nacrcs/wch/hlml/imlr.hlml#La ndsca1fil!"%20as%20SnPPPh):

      Natural gardening can be constitutionally protected speech andJ thereforeJ any
      weed Law must be closely related to a compeLL ing state interest. While not all
      natural Landscapes are obvious to even a casual viewerJ many are. IndeedJ this is
      often the real "problem." Symbolic speech is as protected as oral speech. One of
      the best ways a person can announce his or her concern for what humankind has
      doneJ and is doingJ to the environment is to restore a portion of the environment
      to its natural state. Restoring natural vegetation canJ thereforeJ be a form of
      speech andJ as suchJ is entitled to the same protection that speech receives
      under the First Amendment.

   7. I Wllnt the court to formally recognize that such "weed" laws urc ll nconslitufionnlly Vague, especially since I du not consider them to be
      "weeds" and such vegetation is serving me multiple purposes as documented in these documents
      (h1lns://;1rchiye.CM J!!!l'.illl'CCll8Crcs/wch/html/imlr.htmll#Wted%20Laws):

      But "what is a weed?" is a vague and subjective determination. Its meaning varies
      depending on who is applying the definition and where the subject plant is
      Located in relation to other "desired" plants . Thus a "weed" to a farmer may be a
      rose or iris growing in his corn or wheat field. But a rose or iris i s not a
      "weed" to the conventional gardenerJ who would cite corn or wheat growing in his
      flower bed as "weeds . "

   8. I want the court to formally recognize that the enforcement or such " weed" laws ore Irrational in Violation of the Ec1ual l'rotcclion Clause
      and llnrl'nsonable in Violation of the Common Lnw
     (h1.tns'.//11rchivr ,,n,1.11!!l'.f11rcen11crcs/weh/html/jmlr.h!ml#Wmt¾20Lnwh¾2Qas%2Qlrrntionan:

      ... the party charged with violating a weed Law may nevertheless challenge the
      rationale for a weed Law. An ordinance must not only be rational to survive
      constitutional scrutiny under the Equal Protection ClauseJ but under the common
      Law, municipal ordinances must pass a more exacting standard of reasonable-ness.
      Natural gardeners have successfuLLy proven that local weed laws are irrational
      and unreasonable as applied to natural Landscapes . Natural Landscapes are
      attractive and they do not decrease property values. More directly, natural
      Landscapes do not create a health hazard, as cases have proven. Some uninformed
      government officials and citizens believe that natural Landscapes cause problems
      with pollen, fire hazards, ratsJ and mosquitoes. These mistaken beliefs are all
      soundly refuted by testimony and studies . In factJ natural Landscapes reduce many
      of the very hazards that weed laws are intended to prevent .

   9. Even though I should not need it, si nce I will be cultivating fully I00% all of my backyard with cultivated vegetablcs/groundeovcrs/herbs by
      March 2018, to he on the safe side, I would still like to lormally request a variance/exception for my property a~ described in ITe~a~ llealth
      And Sufrty..tfil.ll:, Section 343,011 11. for all of the rcnsons stated in this document.
  I0. I want the court to formally recognize that I (and all other citizens) have the right to harvest rts much rainwater as I/they would like to harvest,
      rts long as I/they either use the appropriate "mosquito dunks" in the harvesting containers or tightly close the rilled harvesting containers in
      order to ensure that there is no mosquito breeding potential.



Also, just so that you know about it, in the Wiirning Cilnlion printed document that you issued to me, there is no text indicating/stating my right to
n hcnring before the commissioners court. as stated in IInos Hea lthAnd Sttfet)'....Cfil!.t>, Section 343.0221. You arc supposed to let citizens know of
their right to request and receive a hearing on the issue(s) (tutns://nrchhupn..g!W'grrenac1·esou:h(hlml/j!!l!.r.1mndx,htrnl):
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5. The city shall notify the property owner of their rights of appeal .

1 did not know about my right to a hearing until I recently checked the Statute on 20 17-09-28, and if I had not checked the Statute, then I would
have never known about it, and I would have obviously been prevented from formally requesting it in writing.



Also, according to common law and, for example. the College Station, Texas Landscape Ordinance (please see the attached documentation below
for all of the derails), I have the right to know who my accusers arc (.hllp,:llarrhjn.rp11..g!!l:/greenuuf'ln rh/hh11l/jmJ.r.apnd3.html):



 2. The city shall not act upon anonymous complaints . The pr~perty owner shall have
 the right to face the accuser.

As such. I am going to need to know all of the individuals who hnvc arcuscd me on this issue nnd any othcl' issues. You w ill need to provide
me w ith Ihc full names and addresses o f each individual thal has accused me. You can110I act upon anonymous complaints from anonymous
individuals and f'urthcm1orc, if someone makes a folse ullegalion, I have a righl lo full legal rcc(1urse on any folse m:cusutions made against me. As
you well know. know ingly making folsc accusations is not only dcfomalion/slandcr/libcl to the nccuscd, but it is nlso n punishable offense and any
indiv iduals that make lhlse accusations should thee the appropriate penalties.



Also, in the interest of full disclosure, 1 even contacted the Natural Resources D efense Council (NRDC)- a national environmental organization
that lights for cnvironmcntal/climutc justice on many issues including " no-mow" landscapes (please sec Ihc attached documcntalion below), and
they provided me w ith the following advice in an email response:

 Subject: RE: The "No-M ow" Battle for Environmental Justice
 From: NIW C infobox <nrclcinfo@nrdc.org>
 D11tl': Thu, 14 Sep 20 17 20:59:59 +0000

 Hello,

 Thank you for contacting NRDC and sharing your concerns about your "no-mow" landscape. NRDC's efforts are primarily focused on the national level - lhrough
 legislatlon, citizen action and precedent-selling court cases - in order to provide a framework for local environmental proteclion. However, many of our Members
 and activists are engaged in local and regional efforts similar to the one you've described, and we've found that there are several important steps you can take to
 address this problem and help your community.

 If you haven't already, one of the most effective ways of solving a community problem of this nature is to organize your neighbors and allend a town meeting lo
 voice your concerns. You should also contact a local conservation group who is familiar with the laws or your area/stale and offer to work with them in trying to
 resolve this problem. Eco-USA (bllp//www eco-usa nel/Qrgs/lndex sblrol ) is a great resource for finding local environmental groups by stale.

 If that doesn't work, and if you haven't done so already, you may wish to retain an attorney who specializes in environmental law. To find one, contact your local
 bar association and ask for a lawyer who specializes In environmental Issues. You can find your local bar association in your telephone directory or by contacting:

 The American Bar Association
 750 North Lake Shore Drive
 Chicago, IL 60611
 Phone: 1-800-285-2221

 The American Bar Association has a listing or pro bono legal services on their website: blJRllapps amerjcanbar orgll.egarse()ljces/findlegaJllejplhome cfm. Also, a
 law school in your area is another resource to tum to; most have environmental law professors who may be able to offer useful advice.

 For more detailed Information, please visit NRDC's guide lo protecting your community:
 bltps·11www nrdc org/stodes/how-block-blg-~

 Thanks again for writing to NRDC. We wish you the best ol luck in your environmental efforts.

 Sincerely,
 Sam Wicks

 SAMUEL WICKS
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Also, please review the following allachecl information/doeumentation, as these issues of(nnt mowing fol' f.'nvironmcntnl l'C:lsonsl and even
lhnrvesti ng rnimrntcr to live " off-the-gl'id" I arc being fought by cnvironmcnlalists/nuturnlists/conscrvalionists and indigenous people like me

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hJ!n,;//" ww.ccowatch.romOawns-rn\'jronmrnt-sn,1aiaohle-land~copl!!!!·2Q522 t I38 l.html

 The No-Mow Movement A growing number of homeowners are converting part or all of
 their Lawns to a Less thirsty form of Landscape.

 These no-mow yards fall into four categories:

 1. Naturalized or unmowed turf grass that is Left to grow wild;

 2. Low-growing turf grasses that require Little grooming (most are a blend of
 fescues);

 3. Native or naturalized landscapes where turf is replaced with native plants as
 well as noninvasiveJ climate-friendly ones that can thrive in Local conditions; and

 4. Yards where edible plants - vegetables and fruit -bearing trees and shrubs -
 replace a portion of turf. (According to the National Gardening AssociationJ one in
 three families now grows some portion of the food they consume).

 Making the Change

 ~  successful Lawn conversion depends on climate) terrain and of course individual
  taste . Of the four main no-mow strategiesJ Osann said) native or naturalized
  Landscaping is Like ly your best option. It's adaptable to any part of the country
  and offers gardeners an infinite range of design possibilities.

  Chech the rule books. The no-mow movement may sound idyllic) but some practitioner s
  have faced a surprising stumbling block: the Law. In one example) Sarah BakerJ a
  homeowner and scion of a family of horticulturalists in St. Albans Township) Ohio)
  decided to Let her turf grass yard grow wild. Last year) she was forced to mow when
  authorities from her township deemed her garden) which had become a naturalized but
  well-tended LandscapeJ a nuisance. Sandra Christos of Stone HarborJ New Jersey) said
  that after she replaced turf grass with native plantsJ she was delighted that
  cormorants) night herons and kingfishers made themselves at home alongside "every
  kind of butterfly you can imagine . " But since receiving a Letter from the town
  clerkJ Christos has had to tame the mallow) bayberry) clethra and rosa rugosa along
  her walkway - or pay a fine.

  While Local ordinances or homeowner association bans have emergedammmostly out of
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concerns too., often proscribing grass over eight inches tall., vegetable gardens
(especially in planned communities) or any kind of Landscaping that deviates from
clipped turf.

  recent white fJJJ/2..e.C. by students from Yale's forestry and Law schools., in
collaboration with the Natural Resources Defense Council, surveyed Legal obstacles
to various forms of no-mow and concluded that., for sustainable Landscaping to
achieve wider adoption., some municipalities will need to adjust their policies.

That change can happen if residents push for it. Montgomery County., Maryland., for
exampl e., amended its nuisance Laws to allow for naturalized Lawns after Locals made
the case that their wild gardens improved air and soil quality and reduced
stormwater runoff.

 oving away from water- guzzling and chemical-hungry Lawns and cultivating yards that
are diverse and self-regulating is a matter of mounting urgency worthy of that kind
of community organizing. As global temperatures rise and droughts drag on., the
demands of turf grass are Likely to become untenable.

"Our existing Lawns are going to get thirstier and their water requirements will
increase.," Osann said.

Fortunately., with an evolving toolkit of sustainable Landscaping strategies., home
gardeners can avoid such effects and help nurture the health of the planet - right
in their own backyards.




TITLE:             Toward S11st11inahlc Landsc:111cs: Restoring the Right NOT to Mow - Rc11m·t (PDF)

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NOTE: This academic publication by Yale University graduate students documents the struggles of'cnvironmentalists/naturnlists/conscrvationists
and indigenous people like me throughout the country who are fighting, for example, uruustified public nuisance laws, for the right of property
owners to have "no-mow" landscapes. Please read it fully.


 This paper analyzes Legal obstacles that may prevent homeowners from implementing
 various forms of No Mow. Local weed ordinances and nuisance Laws reinforce
 conformity to a suburban Landscape of traditional mowed turf grass . Whil e our
 research identified four different forms of No Mow policies., each presents different
 implementation challenges and benefits. This paper discusses each of the four forms
 of No Mow and how they interact with existing nuisance ordinances. We also make
 policy recommendations on how best to facilitate each of these forms of No Mow on
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 (2) Lowgrowing turf grasses; (3) native/ naturalized Landscaping without turf; and
 (4) edible plant production. Proper implementation of these practices in any portion
 of a yard can reduce the environmental impact of a traditional turf grass Lawn.
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We begin our paper by discussing the role of the police power and nuisance Laws in
the regulation of Lawns to achieve health, safety, and aesthetic objectives. We also
explore the prevalence of homeowner associations and their role in enforcing norms
and certain aesthetics of turf grass. Then we discuss the four forms of No Mow, the
opportunities and challenges for implementing each of those forms, and policy
recommendations for how best to integrate them into existing nuisance regimes.
Finally, we include a sample Local ordinance that Local governments can enact to
allow various forms of No Mow and protect responsible property owners from Legal
action.

The police power

States and Local governments possess police power. The police power is broad and
sweeping and enables state governments to "establish and enforce Laws protecting the
public's health, safety, and general welfare, or to delegate this right to Local
governments. "7 In practice, police power actions often take the form of regulating
private property, subject to certain due process concerns and eminent domain
doctrine. As Long as the actions of a state and Local government are reasonably
related to a Legitimate governmental goal and satisfy the requirements of due
process, courts are unlikely to find such actions unconstitutional. "Reasonably
related" is a very Low threshold for states to satisfy, and Legitimate governmental
goals are broadly understood by the courts. Under a "reasonably related" test, a
court will assume a Law is valid unless the challenger can prove that the Law has no
reasonable relation to the Legitimate governmental goal. In the case of No Mow,
aesthetic regulation is considered a valid goal. The Supreme Court established this
in Berman v. Parker, and has subsequently affirmed this principle in Later cases.8

In Berman, the Court established two important principles upon which aesthetic
regulation of Lawns can rest. First, it validated regulation based purely on visual
concerns, when it stated, "It is within the power of the Legislature to determine
that the community should be beautiful as well as healthy, spacious as well as
clean, well-balanced as well as carefully patrolled. "9 In the decades since Berman,
the Court has ruled several times to reaffirm the ability of state and Local
governments to regulate on the basis of aesthetics, further entrenching the Berman
principle.10 Second, it expressed the deference given to the Legislature when it
uses the police power. "Subject to specific constitutional Limitations, when the
Legislature has spoken, the public interest has been declared in terms well-nigh
conclusive. In such cases the Legislature, not the judiciary, is the main guardian
of the public needs to be served by social Legislationam/. "11 In subsequent cases,
Berman is touted as granting state and Local governments the authority to enact a
whole host of Legislation regulating private property for purely aesthetic reasons.

Nuisance Laws regulate private property through the police power. The common Law
principle behind nuisance is that private property owners should, as much as is
practicable, internalize the externalities created by their property.12 Early
nuisance cases were concerned with pollution, both air and water, and a nuisance was
defined and determined by courts. However, in the past century, municipalities have
encoded nuisance concepts into actual Legislation, defining the terms of a nuisance
by statute. The majority of nuisance regulations are concerned with health and
safety, although they do regulate aesthetic concerns as well.

In Little Rock, Arkansas v. Allison, with the help of wildlife biologists as well as
the testimony of the city weed inspector, Allison showed that her garden was neither
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nuisance citation.16 Similarly, in City of New Berlin v. Hagar, Hagar successfully
proved that his wildlife meadow did not create any of the safety concerns behind the
cityamms nuisance regulations. Finding no violations of the safety concerns or
effect on neighboring property values, the court dismissed the violation.17 Both of
these challenges are from before 1990, and it is unclear whether or not they would
be successful today as there are no more recent challenges. Furthermore, discussions
about the aesthetic motives of an ordinance are not included in either of these
cases. Neither of these cases was ever formally published or pursued at an appellate
Level, so one cannot cite to them as evidence of a trend or of the successful
creation of new Law. It is impossible to say if such reasoning would have held if
the cities had chosen to appeal the decisions or if similar decisions would be
reached in other jurisdictions . Given this uncertainty and the strength of the
constitutional Law on the issue, these few successful challenges cannot be read to
indicate a trend.

The first type of No Mow is naturalized (unmowed) turf grass, which entails a
property owner ceasing to mow their Lawn all together without necessarily replacing
the traditional turf grass with any other form of Landscaping. This is the form of
No Mow most Likely to fall afoul of nuisance regulations and HOAs.

One family outside of Alexandria, Ohio, practices and advocates for this form of No
Mow, and is being pursued by their Local municipality for nuisance violations . 26 The
town expressed fear over snakes and vermin in their Lawn. The homeowner acknowledges
that her Lawn attracts wildlife, which is for her, the benefit of practicing No Mow.
The town and her neighbors see it differently. While she continues to battle her
township on this issue, the Law is not on her side.

Pursuing this form of No Mow may directly run afoul of nuisance Laws, so a new Legal
framework may be needed to accommodate it. One option for facilitating naturalized
turf grass is to create a permit regime.




TITLE:         Green Lnmlscn11i11g: Grce,rncrcs (The ,lohn Mnrshnll Lnw Review, Volume 26, Summer· 1993, N11mhc1· 4)

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.1!.1tn>;llnrrhh r,rfllLgiu:igcrrnncre,/,, eh/ht m1/jndu -7.html
NOTE: This legal publication (written by an active, practicing uttomey) that is now published by the United States Environmental Protection
Agency (US EPA) also shows how this issue has been fought for many decades, but only recently - over the last decade - the "no-mow" movement
has been ga ining strength. It also Ii.illy disproves the false myth that such vegetation that you might consider to be "weeds" is a health/safoty hazard
by promoting lire, vcnnin. mosquitoes, pollen, etc. Please read it fully, specilically the following sections:


     • III, A HISTORY OF WEED LAWS AND THE BATTLES OVER THEM
               A. Why We Have Weed Laws
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  • I V, THE REASONS FOR AND RESPONSE TO THE NATURAL LANDSCAPE MOVEMENT

         A. The Movement Officially Takes Root
         B. Why the Movement Is Taking Root
         C. What Cities Have Done in Response to the Movement

  • V, SOME VILLAGES STILL DON 'T GET IT - WHAT TO DO IF YOUR VILLAGE IS ENFORCING ITS
    WEED LAW AGAINST YOUR NATURAL LANDSCAPE
         A. Natural Gardening as a Fundamental Right.
            1. Landscaping as Speech and Art
             2. Landscaping as Religion
         B. Weed Laws as Unconstitutionally Vague
         C. Weed Laws as Irrational in Violation of the Equal Protection Clause and
         Unreasonable in Violation of the Common Law
             1. Fire
             2. Vermin
              3.   ~uitoes
              4. Pollen


Natural Landscaping - The practice of cultivating plants which are native to the
bioregion without resort to artificial methods of pl anting and care such as chemical
~ertilizerJ mowingJ watering other than by through natural processes (rain)J with
the goal of harmonizing the Landscape with the Larger biotic community and ecosystem
of the immediate and surrounding bioregion.

The positive economic consequences of natural Landscaping are twofold. FirstJ there
are the direct costs . Natural Landscapes are Less costly to maintain than a
traditional exotic Lawn or exotic Landscape. Once establishedJ natural Landscapes
are not mowedJ fertilizedJ treated with pesticides or herbicidesJ and they do not
need watering . For the homeowner or office building managerJ direct costs are
substantially reduced.

Before humans became "civilized" there were no weed Laws because in Nature there are
no weeds. Weeds are a product of civilization and cultivation. As agrarian society
developedJ weeds became the bane of farmers because these exotic plants crowded out
crops. In the United StatesJ even before World War IJ states regulated certain
plants perceived harmful to agriculture. The prohibited plants were placed on
noxious weed Lists usually developed by the state's department of agriculture.
HoweverJ agrarian weed control LawsJ necessary to protect cropsJ do not pose
problems for natural Landscapers. RatherJ natural Landscapers are confronted with
the Local weed Laws --a recent phenomenon that is unrelated to protecting crops or
Livestock from exotic plant species. Local weed Laws exist in the cities and the
suburban Lands of shopping malls and tract housing. Communities enacted weed Laws
aiming to protect the public from neglectful Landowners whose Littered yards could
attract ratsJ mosquitoes or present a fire hazard. As a result of the
misunderstanding of some charged with enforcing weed Laws and poor draftsmanshipJ
these Laws are often wrongfully enforced against natural Landscapes. Natural
Lands capes are not a threat to safety or public health. More distressingJ
enforcement of Local weed Laws fosters an unnatural aesthetic conformityJ by
~romoting and protecting monoculture LawsJ that furthers the malignant notion that
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Natural Landscapes are attractive and they do not decrease property values. More
directly, natural landscapes do not create a health hazard, as cases have proven.
Some uninformed government officials and citizens believe that natural landscapes
cause problems with pollen, fire hazards, rats, and mosquitoes. These mistaken
beLiefs are aLL soundLy refuted by testimony and studies. In fact, naturaL
landscapes reduce many of the very hazards that weed laws are intended to prevent.

1. Fire: One of the most common arguments asserted in favor of Local weed ordinances
is fire prevention . As to natural Landscapes this argument is predicated on the
unproven contention that tall grass and forb stems, commonly planted as part of a
prairie or meadow, constitute a fire hazard. This is not, in fact, true. In New
Berlin v . Donald C Hagar, United States Forest Service expert David Seaberg
testified that a grass fire can sustain high heat for only twenty seconds . In order
to ignite wood and sustain a fire potentially damaging to a home, a grass fire must
burn within four feet of the home for seven and a half minutes . Judge Gramling
agreed, finding no rational basis for the claim that natural Landscapes create a
fire hazard. According to John Diekelmann, a noted Landscape architect and plant
ecologist, most prairie or meadow plantings contain a Large portion of green Leafy
material at ground Level during most seasons and do not sustain fire. In short,
restoring an area as prairie does not create a fire haz ard. Moreover, if fire
prevention were the purpose, a rational ordinance would prohibit the accumulation of
biomass in a given area based on some index of flammability, not merely undefined
weeds.

2 . Vermin: A second common argument raised in defense of Local weed Laws is that
naturally vegetated areas sustain rats and other vermin. Rats and other animals
commonly regarded as vermin require a steady food supply. Natural vegetation in
yards does not provide the type and quantity of food required to sustain a
population of rats and other creatures regarded as vermin. In short, the man -made
food supply of the sort often provided by structures, especially barns or garbage
dumps, is what sustains rats and other vermin. Thus, an ordinance aimed at Limiting
rats and other vermin should not be targeted at "weeds" but rather should prohibit
the food mass-grown and openly stored on property.

3 . Mosquitoes: A third defense of Local weed ordinances is the assumption that weed-
covered areas provide a breeding place for mosquitoes. In fact, however, mos quitoes
require standing water to breed. Even the fastest growing mosquitoes found in the
upper Midwest need standing water for ten days to complete their life cycle . Since
prairie and meadow areas tend to absorb water quickly, they are Less Likely than
frequently watered Lawns to contribute to the presence of mosquitoes.




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TITLE:      APPENDICES on Wcccl Lnws 11ncl N11l11ral Lnndscnping

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~PPENDIX C: COLLEGE STATIONJ TEXAS PROPOSED NATURAL LANDSCAPE ORDINANCE

Section 3 . Managed Natural Landscaping:

It shall be Lawful to grow native and naturalized plants to any heightsJ including
fernsJ wildflowersJ grassesJ forbs J shrubsJ and treesJ in a managed Landscape design
when said plants were obtained not in violation of LocaLJ stateJ or federal laws. No
employee of the city may undertake to damageJ removeJ burnJ or cut vegetation on a
managed natural landscape incorporating native plantsJ except those specifically
prohibited herein; and except on order of a court of record following a hearing at
which it is established that noxious weeds exist in a managed natural Landscape and
that a condition creating a clear and present haz ard to public health or safety has
arisen. An action for a court order under this s ubsection shall provide that the
destructionJ cuttingJ or removal of vegetation shall be selective unless general
cuttingJ de s tructionJ or removal is necessary to eliminate the offending
con di tiona l.

 Statements of intent:

 1. If a complaint is fil ed by a citizen or the city against a piece of propertyJ the
 burden or proof Lies with the complainant to establish that a health or safety
 hazard in fact exists. Natural Landscapes shall be assumed to be harmlessJ until
 proven otherwise.

 2. The city shall not act upon anonymous complaints. The property owner shall have
 the right to face the accuser .

 3. This and the unmanaged vegetation ordinance shall be proactively and uniformly
 enfor ced; and shall apply to all property not specifically exempted within the city
 Limits.

 4. Aesthetic judgments shall not be a consideration nor play any role in determining
 non-compliance or compliance with the ordinance.

 5. The city shall notify the property owner of their rights of appeal.

 6. It shall not be the policy of the city to enter upon private Land and to destroy
 property thereon without due process of Law.




TITLE:       My Township Calls My L11w11 'A Nnisnncc.' Bui I Slill Refuse to Mow II.

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NOTE: This article wus written by an cnvironmcntalist/naturnlist/conscrvationistjust like me and ii further explains the "no-mow" battle for
environmental justice. Also, please note that, as indicated in the images in the article, the so-called " weeds" in their case were 1hr more than 36
inches in height, reaching up lo 80 inches in height. By comparison, the vegetation that you had considered to be " weeds" in my backyard only
reached a maximum height of about 48-60 inches in height, but to be clear, lhe height of such vegetation has absolutely nothing to do with whether
or not it is a "public nuisance". Also, while their property was fully - !00% - covered with such tall vegetation, only about 20% to 25% of'my
backyard wus covered with such tall vegetation, while most or it was only covered wit h "Common Bermuda" grass that grew to about 18 inches in
height. Most importantly, I should note very importantly that this couple was only lhrculcncd with a potential fine and a potential forced-mowing -
they were not threatened with any criminal charges. and it wa~ dealt with as a civil issue, not a criminal issue. So, my question lo yon is: Why
arr you dealing with this issnc with me 11s n polenlinl criminal issnc, whrn it shonld be, nt best, n l'ivil issuc lhal is only punislrnble by a
fine?


IJ -    Sarah Baker and her partner stand in their yard outside Alexandria, Ohio. Town
                                  officials have declared it
       Sarah Baker and her partner stand in their yard outs ide Alexandria, Ohio. Town
               off icials have declared it "a nuisance." (Photo: Amanda Taylor)

 Instead
   --. . .
           of . putting nature in . its place,
                                         .
                                               we
                                               -
                                                  need to
                                                       .
                                                          find
                                                             .
                                                               our
                                                               .
                                                                   place
                                                                     .
                                                                         in nature.
                                                                                 .
                                                                                    Local
 officials have told us countless times that our Lawn Looks bad and is a nuisance. In
 one public meeting, a brave young boy, Max Burton, stood up and told our critics,
 "What you are s aying is that Life itself i s a nuis ance." As the planet' s
 environmental problems mount, the real nuisances are mowed Lawns and the Laws that
 enforce them.

 BLOCK: And I've read through them. You're attackers there are saying, you know, this
 is a habitat for snakes and ticks and vermin and mosquitoes. Let me read you what
 one commenter said. The best thing i s to buy property where you can have your own
 Little slice of anarchy and Leave those people who Like the rules in peace . Are you
 hearing a Lot of the same kinds of comments from the folks who Live there with you
 in Ohio?

 BAKER: It' s mixed. I have a lot of support in my community. My immediate neighbors
 don't seem to mind I'm not sure where it' s coming from, but I think i t 's just
 st emming from the fac t that we jus t - we're really afraid of what we don't know.
 I've Lived now with an un -mowed Lawn. I don't have Lyme's disease . I don't have West
 Nile virus. It' s hard for me now not to see mowed Lawns as ugly . I see them as jus t
 an abomination. And I know for most people, the opposite is true . I mean, I used to
  eel that way . I used to think that it Looked beautiful too. But now that I see all
 the nature that a mowed Lawn di s places , it Looks beautiful to me, my yard.

 I've .LQng maintained that the American lawn is one of the greatest mass
 brainwashings of all time. How we aLL voluntarily s igned up to spend untold hours
 growing and cutting a nonnative monocult ure of green which we Lace wit h poisons to
 kill olants and insects never ceas es t o amaze . And of all oeoole . we soortsmen
                                                                 PAGE   4 50   OF   956
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Only in America would a property in its natural state, one that is not routinely
doused with pesticides and herbicides - ones that have been Linked to higher rates
of cancer in children - be a risk to the health of the community.




TITLE:       Why I'll never have II law11 again: I didn't realize wlrnt i1 dcnd zone the lawn is until I lived in a meadow.

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 The "no -mow" movement is gaining steam, and I've joined it, after I've had the Luck
 to see firsthand how beautiful a natural meadow can be.

~s Baker writes in her anti-mow article, "Nature preserves and parks are not enough
to fix the problem; much of wildlife is migratory and needs continuous habitat to
thrive. Natural yards can act as bridges between the larger natural spaces."

As human beings take over more and more of the natural Landscape, animals, birds and
insects need as many bridges as possible - and a Lawn isn't one. They are noise -
poLLution -producing timesucks (as another writer called them), that do nothing for
threatened native Life, and to top it off, they're boring. I'm done with them
!forever.

~nd the sound of wind through tall meadow grasses? Incomparable.




TITLE:       The unbenrablc ubiquitousness of mowing

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Mowing (noun) - that droning sound that disturbs what Little peace and quiet is Left
in this fragmented world. Without a doubt, mowing, next to indiscriminate pesticide
use, is one of the most over-used Land management practices. And much of it is done
without any thought at all as to the changes it instantly imparts on plant
communities. Just the other day, I saw a crew push-mowing a 1 acre field of 3ft tall
native grass down to the nub. I bet whoever owns that Lot, was complaining a year
ago that there was no grass. People are strange. They complain there's no grass in a
drought (a no-brainer), then they cut it down as short as possible as soon as it
starts to grow. Where's the Logic in that? Grass is supposed to be taller than
carpet. Let it grow, see what it does; there is much to Learn from observing the
genesis of a prairie throughout the growing season.

 "Grow it, don't mow it!"

                      ~-Environmental Destruction: Before & After
 This one acre vacant Lot (not the one mentioned previously) was bare, gravelly soil
 at the end of May. By the middle of July it had become an interesting little "pocket
       prairie" with over 30 species inside its boundary. Buffalograss (Buchloe
   dactyloides), Blue Grama (Bouteloua gracilis), Sideoats Grama (B . curtipendula),
    Green Sprangletop (Leptochloa dubia), and Cowpen Daisy (Verbesina encelioides),
    among others, happily populated this Lot until it was mowed short like a boring
                                         Lawn.




                                                                                    - - ~ - - - ----- --




TITLE:      The "No-Mow Zonl'" 111 lhc llni\lcrsily of Illinois 111 lJrb111111-Cha111 1rnig11

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                                                  -No -Mow Zone
                                        Why is the grass taller here?
                                      This area has been designated as a
                                                 No -Mow Zone

              By allowing the grass and natural vegetation to grow, we are:
    •               Increasing habitat for insects and wildlife
    •Saving energy and reducing CO2 emissions by not using mowers and equipment
    •                     Promoting sustainable landscapes
    •                     Encouraging native plant growth
    •                Providing and environment for observation




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TITLE:      Op-Classic, 1991: Abolish the White House Lawn

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Meadow. By Letting the Lawn go and gradually allowing so-called "weed" species to
take hold, the White House Lawn could be transformed into a meadow that would
 require only a single annual mowing or scything. This is the cheapest alternative.




TITLE:      Why Mow?: The Cnse Agninst Lnwns

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In return for a single annual scything, I am rewarded with a field of flowers from
May until frost.




TITLE:      TurrWnr: Amcricnns cnn't live without their lawns - but how long c1111 they live with them?

h1Jps://www.newyorker;rom/moguzine/2QQ8/07/21/fur(-wnr-cfitl)beth-kolbert


Mowing turfgrass quite Literally cuts off the option of sexual reproduction. From
the gardener's perspective, the result is a denser, thicker mat of green. From the
grasses" point of view, the res ult is a perpetual state of vegetable adolescence.
With every successive trim, the plants are forcibly rejuvenated. In his anti-Lawn
essay "Why Mow?," Michael Pollan puts it this way: "Lawns are nature purged of sex
and death. No wonder Americans Like them so much."

 Right around the time that Carson was writing "Silent Spring," Lorrie Otto, a mother
 of two from the Milwaukee s uburb of Bayside, decided to restore her front Lawn to
 orairie. One day, while she was folding Laundry in her basement, some village
 workers arrived and, without consulting her, mowed her yard. Otto began speaking out
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against Lawns, calling them, among other things, "sterile," "monotonous," and
"flagrantly wasteful." Her talks inspired the founding, in 1979, of what might be
described as the nation's first grassroots anti-grass movement, which dubbed itself
Wild Ones. (Wild Ones now has chapters in twelve states, including New York and
Connecticut.)

Over the years, many alternatives to the Lawn have been proposed. Pollan, in his
book "Second Nature" (1991), suggests replacing parts - or all - of the Lawn with
garden. In "Noah's Garden" (1993), Sara Stein, by contrast, advocates "ungardening"
- essentially allowing the grass to revert to thicket. Sally and Andy Wasowski, in
their "Requiem for a Lawnmower" (2004), recommend filling the yard with native trees
and wildflowers. For those who don't want to give up the Look or the playing space
provided by a Lawn., the Wasowskis suggest using Buffalo grass., one of the very few
turf species native to North America. Smaller American Lawns Today., or SALT., is a
concept developed by William Niering, who for many years was a professor of botany
at Connecticut College. Niering planted trees around his property, then left most of
the rest of his yard unmowed, to become a meadow. "The meadow can take as much of
your remaining lawn as you want," he observes in an essay posted on SALT's Web site.
"There are some people who prefer no Lawn, which is ideal!" For the past few
decades, David Benner, a horticulturist from Bucks County, Pennsylvania, has been
touting moss as an alternative to grass: he himself has a one-acre "moss garden."
Recently, there have been several calls to make the Lawnspace productive. In "Food
Not Lawns" (2006), Heather C. Flores argues that the average yard could yield
several hundred pounds of fruits and vegetables per year. (If you Live in an urban
area and don't have a Lawn., she suggests digging up your driveway.) "Edible Estates"
(2008) is the chronicle of a project by Fritz Haeg, an architect and artist., who
rips up conventional front yards in order to replace them with visually striking
"edible plantings." Haeg calls his approach "full-frontal gardening."




TITLE:       Weeding Out Bad Vegetation Control Ordinances

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The telephone calls don't come as often as before. That's good. Back in the Late
'80s and early '90s maybe once a week, I (Bret) would field a homeowner' s call,
maybe from Sarasota, maybe Seattle., asking for assistance because a municipality was
threatening to mow down what a village official or neighbor considered "weeds." But
what is a "weed" is in the eye of the beholder, and to these homeowners yards
abounding with a rich tapestry of native grasses, forbs, shrubs and trees were not
 ull of weeds, these yards were a treasure.

 Before I joined the battle and took on the task of fielding these calls, most were
 handled through natural Landscaping activists Lorrie Otto, in Milwaukee and Craig
 Tufts at the National Wildlife Federation., in Washington. For almost twenty years.,
 these two worked tirelessly to defend natural Landscapers charged with weed Law
 violations. Like me., Lorrie and Craig would send out information about native
 olants. the benefits of natural Landscaoina and whv such vards are not a oubLic-
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health risk. Sometimes they were successful in convincing villages to reconsider
ill-conceivedJ Nature-hostile ordinancesJ but most of the timeJ in the early daysJ
they were not . The mowers whizzed and roared as the ferns and forbs fell.

 Lthough a Lush green mask of Kentucky bluegrass remains the collective face of
32Jeee square miles (82Jsee sq. km.) of suburban and urban AmericaJ there is change
in the air . The natural-Landscaping "movement" has taken root and its adherents are
a varied Lot. They all share a common goal - to harmonize gardening and Landscaping
practices with Nature. UnfortunatelyJ some municipal officials still use weed Laws
to prosecute natural LandscapersJ reflecting outdated and misinformed ideas and
attitudes. I still receive calls. Last monthJ for exampleJ Oberlin College
Instructor Stephen Douglas called me to ask for information to fight his village
after a crew mowed down his yard of wildflowers while he was out of town.

The good news is that committed pioneers and newer convertsJ willing to question the
status quo and who recognize the ecological and monetary consequences of Landscape
choicesJ are undermining the arbitrary Legal and social barriers to gardening with
Nature . And since the early daysJ natural Landscaping has advanced on two fronts -
Legal and social. This article chronicles bothJ but first some history.

Historical Perspective

Some movements are evolutionary; others revolutionaryJ but as John Stuart Mill
observedJ every great movement must experience three stages: ridiculeJ discussion
and adoption. Although Landscaping with Nature manifests the basic principle that we
are part of HerJ not apart from HerJ the practice of natural Landscaping encountered
social barriers almost from the start. These barriers eventually took the form of
land use regulations (usually weed laws) that inhibited natural landscaping and
punished those who dared to grow rather than mow.

In densely populated urban areasJ it may be unrealistic to expect that pro-active
 ourth generation weed Laws will be adopted in the near future. Lao TzuJ the
Oriental philosopherJ taught that the journey of a thousand miles begins with the
 irst step. It is with that axiom in mind that the following guidelines can be used
by communities in crafting new weed ordinances that represent a step toward a more
benign relationship between our yards and Nature .
  1. The ordinance should protect the fundamental right of residents to choose their
     own Landscaping;
  2. The ordinance should apply equally to all residents;
  3. Any restrictions should have a rational basis related to the protection of public
     healthJ safety or welfare;
  4. The ordinance must not Legislate conformity nor allow residents to exercise
     control over their neighbors' Landscapes;
  5. The ordinance should not require the filing of an applicationJ statement of
     intent or management plan and there should be no review or approval fees assessed
     against residents who intend to engage in Legitimate natural Landscaping;
  6. In order to avoid harassment of natural LandscapersJ the city's "weed
     commissioners" who will enforce the ordinanceJ and thereby differentiate between
     those people who are growing permitted natural Landscapes versus those with
     unpermitted growthJ should be trained to distinguish between the two;
  7. Enforcement of the ordinance should be undertaken through due process of Law
     which guarantees individuals the right to fair adjudication of their rights; and
  8. The ordinance should actively address the problems of environmental degradation
                                                                                                   PAGE       45 5     OF   956
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      Drougnt avout Dy proliferation of nign maintenance monocuLturaL Lanascapes> ana
      the indiscriminate use of toxic chemicals in Landscape management. It should
      encourage the preservation and restoration of diverse> biologically stable
      natural plant communities> and environmentally sound practices.

From an ecological> Legal and social standpoint> good> fair and workable weed
ordinances embodying these guidelines are reprinted in the accompanying box . These
examples are rationally based and provide protections consistent with due process.




TITLE:      Meadow 1111d Prniric Gardens

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                              ~-Meadow and Prairie Gardens
                                 L,;oinner in the Prairie
                               Meadow and Prairie Gardens
   Grasses have been rediscovered> their airy structures unleashed in new meadow and
  prairie gardens> after a century of being relegated to Lawns and weedy fields. They
    deserve the appreciation we are now showing them for their ability to embody a
   breeze> catch Light> soften the view> and for their showiness in Late summer and
               early autumn> when most traditional perennials have faded.




TITLE:       Estnhlishing No-mow Zones: Preventing erosion, intercepting runoff and protecting lake hahilal (PDF)

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 Purpose:

To allow shoreland vegetation to maintain Lake quality and wildlife habitat. A
naturally vegetated zone along the shore builds up a duff Layer> which is a spongy>
absorbant Layer of decomposing Leaf and twig Litter. Duff is essential for healthy
Lakes because it naturally filters storm runoff by intercepting and absorbing
pollutants> and it provides a protective ground cover> preventing erosion. No-mow
z ones s tabilize banks with roots from native species that grow up> and these zones
benefit all wildlife.
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How to:

Stop mowing a zone adjacent to the shoreline as wide as feasible for your property.
Prioritize lawn areas and move them back from the shoreline wherever possible. For
sloped banks, the no-mow zone should extend beyond the top of a bank because
research shows that a minimal of 15 feet of vegetation will stabilize the shore. A
"no-mow" zone allows native plants to colonize the area, but jump-starting the
vegetation by planting a few favorite native species, like blueberry bushes,
alternative leaf dogwood, beautiful white flowering viburnums, etc., can also be
help maximize the benefits of this important zone along the lakeshore.

The water quality is protected by this beautiful no-mow zone.

This photo shows several decades of natural re-growth of native species on a shore
that had previously been cleared of all its vegetation; it now serves as a family
picnic grove for the shoreland owners.

Establishing no-mow zones naturally stabilizes the shore, filters and cleans dirty
runoff, maintains greater privacy, increases property value, enhances scenic beauty,
prevents erosion and allows for healthy habitat for fish, birds, and other important
species. Furthermore, it is the best practice for protecting your property against
storm damage.




TITl ,E:     ESF Converts Turfgrnss to Meadow, No-Mow Zone

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~reas reduce maintenance, carbon emissions

The SUNY College of Environmental Science and Forestry (ESF) is establishing the
first no-mow zones on its main campus, part of the college's efforts to make its
operations more sustainable and reduce its carbon emissions.

 Tim Toland, an associate professor in ESF 's Department of Landscape Architecture,
 said the no-mow zones are advantageous in several ways.

 "Aside from the issues of energy and emissions from lawn mowing, we wanted to reduce
 the grass areas to alleviate maintenance staff demands, monetary expenditures for
 fuel, oil, machinery, etc., and to begin to transform the campus landscape into a
 completely different aesthetic that focused on plants and plantings rather than on
 turfgrass and trees," Toland said.
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He said the two areas selected for this project are hillsides that are typically
difficult to maintain and hazardous to mow.
                                                                                                                    J


TITLE:      College's "No Mow" Zones l'romote Sustninability

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An acre of turf grass surrounding the SUNY Cortland Service Group complex is not
being trimmed to save energy., reduce fuel emissions and encourage natural habitats.
The knee-high grass near the athletic fields on the southwest end of the main
campus., now known as a "no mow" zone., represents the College 's Latest sustainability
effort.
 Don Moody., the grounds supervisor for Physical Plant., said "no mow" zones will
 eventually cover two or three more acres on campus. A dozen white signs are posted
 across the SUNY Cortland campus to remind people why some areas are not mowed or
 manicured.
 "No mow" zones include the area behind the Service Group warehouse., the area across
  rom the Service Group compound and parking Lot., the wildflower area across from the
 Park Center Loading dock., and the wildflower area across from the Tomik Fitness
 Facility .
   oody explained that mindful mowing accentuates the Look of an ecosystem.

 "The wildlife I've seen in the 'no mow' areas has been amazing.," he said. He rattled
 off a List of animals he has encountered in the zones., including turkeys., foxes.,
 deer., woodchucks., squirrels., raccoons and a variety of birds.

 The turf grass., which includes a mix of purple., white and yellow wildflowers., will
 grow one to two feet before it turns to seed. Moody's staff planted the wildflowers
 and mowed paths surrounding the area. In time., shrubs and trees will fill in to
 provide plant cover.
 Reduced mowing offers economic and environmental benefits in addition to aesthetic.,
 natural beauty. A decline in fuel and equipment usage will reduce carbon dioxide
 emissions while saving money. And the Physical Plant expects to gain at Least ten
 Labor hours each week., which helps the College's ongoing effort to maximize its
 resources. Birds., butterflies and other animals will find food and habitats while
 native wildflowers will claim spots to bloom.

  Moody said he has not received any negative feedback from the campus community.
   Lthough it often takes time for people to adjust to the appearance of unmowed
  grass., once they see the way "no mow" zones highlight their surroundings., they
  appreciate natural beauty more., he said.
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    oody first considered the idea of reduced mowing in the Late 1970s while taking
   care of his own property in LaFayette. N.Y. He experimented with the strategy during
   his previous jobs at Onondaga Community College and Syracuse University before he
   began to employ it at SUNY Cortland in 2010.




  I appreciate your lime,



  Sid Kode.




i402
From the months of {2017-02} through the middle of {2017- 10}, the plaintiff had sheet-mulched [FRONTYARD] in-order-to ecologically

decompose the original builder-installed bermudagrass, in-place, while adding the fertility of such decomposed bennudagrass back into the soil,

in the plaintiffs effort to ecologically relandscape the [FRONTYARD] with the new "no-mow" grass. On or about the morning of {2017-10-

16}, the plaintiff begins to remove such sheets of cardboard from the plaintiffs side-yard closest to [792KLLTX7864 l). As the plaintiff is

performing this task, [RSR] walks across the street towards the plaintiff, with her camera-phone in hand, walks deep into the driveway and/or

side-yard of [792KLLTX78641) - as if she owned [792KLLTX78641] (a private-property which she clearly did not own) - and begins to take

photograph(s) of the plaintiffs private/concealed [FRONTPORCH] (which is concealed by the trees in front of the plaintiffs

[FRONTPORCH]) from deep inside the driveway and/or sideyard of[792KLLTX78641] - right in front of the plaintiff. [RSR] then walks

back towards her property across the street, after she engages in such brazen act of intimidation against the plaintiff. (RSRTs brazen action of

intimidation against the plaintiff continued to show the plaintiff that [RSR] was a primary complaining-witness in not only [WCLE]'s predatory

targeting of the plaintiff, but also the then-[HOA]'s predatory (and pending) lawsuit against the plaintiff. Such act of intimidation also shows

[RSR]'s lameness: Clearly, [RSR] could just as easily have taken such photograph(s) at any point in time when the plaintiff was not outdoors at

that location, but [RSR] only waited until the plaintiff was outdoors at that particular location in-order-to deliberately intimidate the plaintiff at

such location. Any act of intimidation is only effective, if the party being intimidated actually witnesses such intimidation, and so [RSR]

repeatedly acts in such overtly-intimidating manner against the plaintiff, with this common-sense knowledge about intimidation in mind. Finally,

any private-property that is in the process of being re-modeled and/or re-landscaped will be in a relative-state of disarray, due to such

construction/ re-landscaping work. So, for [RSR] to pretend as if even private/concealed areas of the plaintiffs property (including but not

limited to the [FRONTPORCH]) needed to be in pristine-condition even during such construction/re-landscaping work, just continues to

demonstrate [RSR]'s predatory and far-right-wing-extremist conduct against the plaintiff. On or about the date of {2017- 10-16} , the plaintiff

rented a mini-skid-steer tractor used to move the soil resulting from the aforementioned decomposition process from [FRONTYARD] into

 [BACKYARD). The delivery driver delivers the mini-skid-steer tractor loaded on a trailer parked onto the plaintiff's [DRIVEWAY). The
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delive1y driver drives the mini-skid-steer tractor out of the trailer and spends about 15 minutes demonstrating to the plaintiff regarding how to

use such mini-skid-steer tractor. The delive1y-driver then leaves the plaintifPs private-property. During most, if not all, of the time in which

plaintiff was speaking with such delivery-driver, [RSR] was standing in the background looking-at (and/or recording using a camera-phone) the

plaintiff - agdu1, further acts of ii1tiinidation against the plaintiff. The plaintiff then steps onto the mini-skid-steer tractor and begins to use such

tractor, beginning to scoop up soil from [FRONTYARD]. As the plaintiff is drivii1g such tractor towards [BACKYARD] to deliver such soil

into [BACKYARD], [RSR] iinmediately starts to approach the plaintiff with her large-dog on leash and with her camera-phone in hand

(presumably recording), once-agaii1 trespassing well into the property and sideyard of [792KLLTX7864 l ], and then starts to yell at the plaintiff

(with her camera-phone in hand presumably recording) that the plaintiff is not allowed to move soil into [BACKYARD], claiming - without

even bemg a Board-Member of the [HOA], and without lawfully knowing anything about the plaii1tifrs [HOA] approval process - such activity

to be an "unapproved change". Furthermore, if the plaii1tifrs movii1g of s uch soil front [FRONTYARD] mto [BACKYARD] was an

"unapproved-change" as [RSR] fraudulently alleged, then [RSR] is inappropriately privy to private/confidential information exchanged between

the plaintiff and the then [HOA] - which further indicates that she is engaged in an illegal conspiracy against the plaintiff with the thcn-[HOA]

(run by the [f-HOA-BoD]s[SPOA-P-BC],[SPOA-VP-AH]) - and which also corroborates with all of the other evidence of such illegal

conspiracy that the plaii1tiff has against defendants [RSR],[JSP&KAP], the then-[HOA] and [WCLE]. As the plaii1tiff is driving the h·actor

through the fence-gate and ii1to the [BACKYARD], [RSR] (while still trespassing onto the property of [792KLLTX7864 l]) even extends her

hand up to raise her camera-phone over the plaintiff's privacy-fence to even video/photograph the plaintiff driving such tractor into the

[BACKYARD], m total violation of the plaintiffs rights. Most importantly, this incident reveals the extreme lengths that [RSR] would

undertake to violate the rights of the plaintiff, while committii1g fu11her counts of harassment/stalking/intiinidation/interference/disorderly-

conduct/blackmail agaii1st the plaintiff. It is al~o clear from this particular unconstitutional-and-unlawful search and the multiple other

unconstitutional-and-unlawful searches of the plaii1tifrs property that [RSR] has committed agamst the plaintiff, that [RSR] was fraudulently

acting "under color of law" agaii1st the plaintiff, thus also iii violation of [ 18-USC-PI-Cl 3-§242] and [l 8-USC-PI-C43-§913] and/or [TPeC-

T8-C37-§37. l l] against the plaintiff. The plamtiff continues to move soil using such tractor from [FRONTYARD] into [BACKYARD]. After

about 2 hours of work using such tractor, the plaii1tiff notices [DMP] who has arrived back in his vehicle on the driveway of

[785KLLTX78641 ], while watch mg the plaintiff along with [RSR] by his side, starts to talk and conspii'e with [RSR] near the sidewalk across

the street from the plaii1tiff - remmdmg the plaii1tiff yet another tune, of the many ongomg hazards of an in1rnigrant-of-color/indigenous-person

livii1g his/her natural lifestyle w ithm a White neighborhood, where such ii1tiinidating acts of White-Supremacy go completely unchecked. Agaii1,

[DMP] would ve1y -soon run for [HOA] Board-Member (ii1 the following months), "win" the so-called "election 11 (>s ) in the subsequent month

of {2017-11} and use his substantial powers as [HOA] Board-Member solely for the purposes of continuing the predatory enforcement actions

agaii1st the plaintiff, on behalf of plaintiff's predatory neighbors [RSR],[JSP&KAP] - whom, due to theii· extreme-racial-aniinus and far-right-

wing-extremist aniinus against the plaintiff, could never realistically expect to wii1 e lection even w ithin such White neighborhood, and even if

they did wii1 such e lection, theu· position as [HOA] Board-Member would only serve to be a huge liability for the [HOA] (although [RSR] did

try- see below at the incidents of {2019}).



i403
During the following days of {2017-10-17} through {2017-10-24}, the plaii1tiff would continue to use such tractor to move soil from

[FRONTY ARD] into [BACKYARD], along with making other preparations for installmg the new 11110-mow" grass sod in [FRONTYARD]. On

or about the approxiinate date and approxiinate time of {20 17- 10-24 15:00}, the plamtiff meets with the plaii1tiff's landscaping-contractor, [LC-
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SR], at the plaintiffs [FRONTYARD] to briefly-discuss the plan for installing such no-mow-grass on the following date of {2017- 10-25}. The

plaintiff notices that as the plaintiff is talking w ith [LC-SR], [RSR] is staring menacingly/angrily at the plaintiff and/or using he r camera-phone

to record the plaintiff. During the approximate date and approximate tin1e of {20 17-10-24 17:00}, while the plaintiff continues to use such

tractor to perform such preparatory work on the plaintiffs property, the plaintiff strikes one of the main-pipes of the plaintiffs automatic-

sprinkler-system, causing water to gush out of such main-pipe. (The plaintiff was removing all of the pre-existing automatic-sprinkler-system on

the plaintiff's privacy-property since there was simply no possibility of salvaging such automatic-sprinkler-system since the plaintiff was

excavating at least 6-inches of the plaintiff's [FRONTYARD]-soil, making saving the original sprinkler-system that was buried only 3 inches

into the soil both impractical and impossible.) T he plaintiff immediately calls [LC-SR] who informs the plaintiff that the plaintiff simply needed

to shut the valve located in the plaintiff's automatic-sprinkler-system's box off in-order to stop such water from gushing. T he plaintiff then

in1mediately rushes to such automatic-sprinkler-system's box in-order-to shut-off such valve, thus stopping the water from gushing. As the

plaintiff continues to work, the plaintiff notices [JSP] walk on the road in front of the plaintiff on his way to [RSR]'s property across the street

- c learly in-order-to to meet with [RSR] and discuss the temporary water-leak exclusively within the plaintiff's private-property. Approximately

half an hour later, the plaintiff notices that an employee, [CoGUS- 1], of the iCity of Georgetown Utility systems ➔ , [CoGUS],

(which provides water-utility-service for such subdivision) visits the plaintiffs property, while the plaintiff was in the [BACKYARD] driving

such tractor. [CoGUS- 1] infonns the plaintiff that he had received a complaint from one-or-more neighbor(s) that the plaintiff had damaged the

(public) main-water-line of the entire subdivision, causing a leak and/or a flood. The plaintiff denies such fraudulent allegat ion, stating that the

plaintiff had only cut into the plaintiffs automatic-sprinkler-system's main-pipe (plaintiffs private-property) which was actively set (by such

valve) to receive full-pressure water even when not being used. Since the main-water-line of the entire subdivision is required by code/law to

be installed 18-inches-or-more into the ground, the plaintiff further explains to [CoGUS-1] that there was simply no possibility of the plaintiff

damaging any such (public) main-water-line. [CoGUS- 1] then, out of curiosity, asks inquisitive questions about the plaintiffs landscaping work,

having noticed that many inches of the plaintiff's [FRONTYARD] soil being excavated. The plaintiff briefly explains to (CoGUS-1] that the

plaintiff was insta lling a new-species of "no-mow" grass in [FRONTYARD]. [CoGUS-1] verifies that such complaint by such malicious

ne ighbor(s) against the plaintiff was fraudulent, having noticed that there was absolutely no active water-leak anyw here on or around the

plaintiffs private-property. [CoGUS- 1] then agrees to leave the plaintiffs property, driving away in his government-truck. Based on the

sequence of events, it was, once-again, abundantly clear to the plaintiff who had complained (yet-again) about the plaintiff to yet-another

government-authority, causing another illegal search/seizure of both the plaintiff and the plaintiffs private-property. As if this fraudulent

complaint to [CoGUS] was not bad enough, the plaintiffs predatory ne ighbors [JSP&KAP],[RSR] would also continue to check and record the

water-meter on [JSP&KAP]'s property during the following day(s) - again fraudulently insinuating that the plaintiffs destruction of the

plaintiffs own private automatic-sprinkler-system caused damage to their water-line. As if this fraudulent complaint to [CoGUS] was not bad

enough, the plaintiffs attorney, [ATTORNEY-PS], stated to the plaintiff a few days later, that he received an angry phone-call from the then-

[HOA]'s attorney, who c laimed that the plaintiff had damaged, as he called it, "the subdivision water system." The plaintiffs predatory

neighbors w ith extreme-racial-animus against the plaintiff - [JSP&KAP],[RSR] - would continue to lodge such fraudulent complaints against

the plaintiff to aU of such authorities, including, but not limited to, their co-defendants of [WCLE] - in-order-to indirectly harass/intimidate the

plaintiff by proxy - with all of such efforts meant to drive the plaintiff, an immigrant-of-color/indigenous-person, out of "their" (exclusive-and-

pure) White neighborhood.




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1404
During the mo ming of {2017- 10-25}, the plaintiff schedules for such no-mow-grass sod to be delivered at approximately during noon or

afternoon of the same date. During the morning of {2017-10-25} the plaintiff continues to work on such preparatory work on the plaintiffs

[FRONTYARD], while [LC-SR]'s crew, [LC-Crew] - consisting of Hispanic employees - begins their preparatory work on the plaintiffs

[FRONTY ARD]. As the plaintiff and [LC-Crew] are performing such work, [RSR] emerges from the front-door of her house, with camera-

phone in her hand, holding up her camera-phone and recording all of the plaintiffs and [LC-Crew]'s activities. At one point in time, [RSR]

shouts at [LC-SR], "HEY! - ARE YALL WITH THE [HOA]?!" [LC-SR] politely responds to [RSR], "No, ma'am." [RSR] continues to loudly

pester [LC-SR] if the [HOA] had ordered him and [LC-Crew] to take coercive actions against the plaintiff. [LC-SR] responds in the negative,

stating that the plaintiff had hired him and [LC-Crew]. [RSR] then loudly yells at [LC-SR] about what she continued to fraudu lently claim as

the damaged (public) main-water-line - which she had so clearly fraudulently accused the plaintiff of damaging. [LC-SR] responds that there

was absolutely no damage to the main-water-line, that the plaintiff had (intentionally) cut-into the plaintiffs own private irrigation-system while

in the process of excavating soil, and that such issue had a lready been taken care of. [RSR] continues to pester [LC-SR], stating that there was

a water-leak at the plaintiffs property, fraudulently alleging that such leak continued to exist. Due to high wind, the plaintiff cannot properly

decipher the exact audio from the plaintiffs video-recording, but it appears as if [LC-SR] was getting tired of being interrogated by [RSR], and

states to [RSR], "No, I don't want to talk to you, lady!" It became abundantly clear to the plaintiff that by holding up her camera-phone and

almost dictating such fraudu lent narrative about the plaintiff into her video-recording, [RSR] was trying to further harass/intimidate both the

plaintiff and the plaintiffs contractors into bowing-down to her supreme authority and to the [HOA]'s supreme authority - fully exploiting and

fully-capitalizing-upon the then-[HOA]'s predatory and pending lawsuit against the plaintiff. However, having noticed that she was not receiving

the answers she wanted to hear from [LC-SR], [RSR] angrily and frustratingly enters back into her house. The plaintiff and [LC-Crew] would

continue to work on such landscaping work. At mu ltiple occasions during this day, [RSR] would walk over to [JSP&KAP]'s water-meter-box

to take photo/video of [JSP&KAP]'s water-meter-reading as if to continue fraudulently-insinuating that plaintiff has done damage to public

main-water-line and/or [JSP&KAP]'s water line. On at least one such occasion, [RSR], who had been issued a [CTW] against the plaintiffs

property, would allow her large-dog, [L], to roam freely (unleashed) both onto the street (as she had done on a multi-weekly, if not almost-

daily, basis), and onto the plaintiffs property - in complete violation of the restrictive-covenants of the neighborhood. As the plaintiff watches

[RSR]'s unleashed large-dog, [L], roam freely and into the plaintiff's property, [RSR] delivers the usual obscene/vulgar gesture, aggressively

and angrily holding-up her middle-fmger towards the plaintiff - as she has done on numerous occasions documented in this lawsuit. Around

noontime of the same date, the sod-delivery-driver, [SOD], driving a semi-truck with 3 pallets of the plaintiffs no-mow-grass on it, arrives in

front of the plaintiffs property. As soon as [SDD] emerges out of his vehicle, [RSR] begins to angrily harass/intimidate and shout at him,

w hich was, as the plaintiff would continue to suffer, one of [RSR]'s worst public-showings of her racist-lawlessness against both the plaintiff

and [LC-Crew] (witnessed by many witnesses during this day). [LC-C- 1], [LC-C-2] and [LC-C-3] refer to the three Hispanic crew members

of[LC-Crew], two-or-more of whom [RSR] would continue to boss-around as if such crew members were only answerable to her. [RSR]

would, on multiple occasions, harass/intimidate [LC-C- 1] and/or [LC-C-2] and/or [LC-C-3] for stepping on the border-area of (JSP &KAP]'s

property, while the same person(s) would also need to briefly step onto the border-area of the property on the opposite-side,

[792KLLTX7864 l ], without ever being harassed/intimidated by those property-owners:
 •   PEO:IODII) RACIST,   .NIUSIVB , FRMDIU.ll'l' RANl' INCU.l>JlG IWWl!HJff/STAUCIIC/Drl'DIIDU'IQI/Jffl'P.Rl'DliKZ/bISCRmlLY-<DOJCT~ BY [RSRJ llGAlNST PLAINl'lff'(~)
!lfrl1~m BY Nr lDST [LIG>J ,       (2017- 10- 25 12 :00J (- )
 •   [ FRIVM1: nm:R4M'IOO CMlTrlDtmw::rln TO l'RCIIllCT PRIVllCY J
 •   ( l'RlVA'l1I tR. LlNII TO BB SOHlTl'ID DI DISalYERlC J



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 ~ [SOD] GREETS PLAINTIFF, \-/ITH PLAINTlIT STANDING AT OR NEAR THE SIDENALK D



[ SOD)             How are yo11 doi11g, sir?




PLAINTIFF          Good


 ~ [RSR] ANGRILY 111\LKS 'l'CJtlARDS       ISOD] AND SHOUTS AT HIM TO MOVE HIS SEMI -TRUCK OUT OF HER \•/AY : D


[ RSRJ             {MOVE Tli/S TRUCK OUT OF THE FRONT OF MY PROPERTY, NOW!]



 ~ [SDD] TAKI::N ABACK BY SUCH DEMAND,               Ji''.l-1EDIATELY COMPLIES , ENTERING INTO HIS TRUCK TO DRIVE SUCH TRUCK AT LEAST 60 FEET Al-IE/ID .

»
 ~ PLAINTIFF SARCASTICALLY STATES :              D


PLAINTIFF          Real Cla~ry! Real Classy!


 ~ PLAINTIFF LAUGHS \'IITH SHOCK AND DISBELIEF :                    D
 ~ [ LC-C-1] APPROACHES PLAINTIFF ASKING PLJ\I NTIF!:' ABOUT 110'11 MANY PALLETS TO BE INS'fALLED:                                           D


[LC- C- 1 ]        2 pallet rig/,/ here, and only I rig/,/ here... aq11i?




PLAINTIFF          IV/tat?




[LC- C-1]          How many pallets




PLAINTIFF          UI,, so basically, 11111. ... I think. 11-e /,(Ille to 11-cn* it 0111... basically, I tl,;11k its like I and l,alf here. I !,ere and I here and then. a11d 1/,e re111ai11i11g here. I
                   don't know. So111etl,i11g like that.




[LC- C- 1 )        So, 2 pallet /,ere and I /,ere?




PLAINTIFF          No, ilsjml 3 pallets total. Basically, I and half /,ere, I /,ere a11d like l,alf /,ere. That's ll'hat I'm tl,i11ki11g. I da11'/ know.




[LC-C-1 )          Ok.




PLAINTIFF          8111 firs/ 11-e got lo level grade ii.


 ~ PLAINTIFF APOLOGIZES 'l'O [SOD] FOR [RSR] ' S OUTRAGEOUS CONDUCT :                              D



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PLAINTIFF        Sir. sony about that. Sony about that.




[SOD]            That's ok.


 ~ [RSR] TIIEN STARTS REPEATEDLY YELLING 11.T [LC-Crew] TO GF.'r OFF BORDER OF HER CO-CONSPIRATORS [JSPU<APJ ' S PROPERTY :            1\
 g [SOD] LOOKS BACK AT [RSRJ , CONTINUING TO BE TAKEN l\BACK BY HER OUTRAGEOUS CONDUCT : n


[ RSR]           GET OFF THEIR PROPERTY!!


 g [LC-Crew] LOOKS STUNNED NOT KNO\'IING \·/HAT [RSR) IS STATING, SINCE [RSR) DID NOT (Y;/N [JSP&KAP) ' S PROPERTY : j
 g PIJ\INTIFE' TRANSLATES [RSR] ' S ORDERS FOR [LC-Crew) : n


PLAINTIFF        She'., asking J'OII lo get off their prope11y.


g ILC-C-3] STEPS o~r OE' BORDER OF [JSP&KAPJ ' S PROPERTY, BACK INTO PLAINTIFF ' S PROPERTY : n


[SOD)            Frieudly Neighbo1llood, huh? ... Are J-011 Sid?




[ RSRJ           STA I' OFF OF THEIR PROPERTY/ ... STAY OFF OF THEIR PROPERTY!


 g PLAillTIE'F IJ\UGHS IN DISBELIEF,           RESPONDING SARCASTICALLY TO [SOD) :                    n

PLAINTIFF        Yeah ... You're telli11 me!




[SOD]            I have 11111, a11 iuvoice. 11111. I'm goiug to 11111 the u11rl So. I can take your credit u11rl or...




PLAINTI FF       yeah, yeah, let me just, lei me just get the credit cardfor 11011•. appreciate it.




[ SOD)           Where would you like to p11t these at?


 g PLAINTIFF ASKS TO SEE COPY OF INVOICE JUST TO CONFIRM CORRECT SPECIES AND QUANTT'rY OF GRASS : ~


PLAINTIFF        Uh .. Let me just see that - I just 11n111 to co11J11111 that its the light thing.




[SOD]            3 pallets of "Cutless"...




PLAINTIFF        3 pallets of it - yeah. J'OII get ii fmm "••• Fa1111s" , is that right?




[SDD]            uh... I'm 110 / sure ll'here... I'm jml the {delivety drive,}


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PLAINTIFF       01,. ok, I 111ule1~/a11d . I 1111ders/a11d. Yea/,, This so1111d, aboul righl. This is for me Jo keep right?




[SDD)           Yea!,, )'OIi ca11 keep //,a/ par/.




PLAINTIFF       Is this !he 011/y receipt? Si,: .. ? ls !his a11/y receipt !hat comes wilh it?




[SOD)           Huh?




PLAINTIFF       ls !his Jhe 011/y receipl basically or is there some other other pape,wod, !hat comes will, it.




[SDD)           Well, when l 11111 the credit cwrl-1 co11 email {//1(/ lex/ you a copy of the crediJ-card receipt and you ca11 keep thal tv1py. [???]




PLAINTIFF       I'll gel thee - email receipl 1he11.




[SOD]           Ok.




PLAINTIFF       Alrighl.


~ PLAINTIFF HE:N)S RACK INTO HOUSE TO GET CREDIT-Ct\RD:                       ii
ff PLI\INTIFF ARRIVES BACK AND AS!< [SDD] IF SOD-GRASS WAS FRESllLY HARVESTED : ii


PLAINTIFF       This was cut j us/ yes/erday?




[SDD)           Pardo11? oh, yeah. yes.




PLAINTIFF       Alrighl... So, !his ,ms cul bm11d-11ew yeslerday.




[SDD)           Yeah.




PLAINTIFF       Excelle11/.


ff PLAINTIFF TRIES TO HAND [SOD] CREDIT-CARD: ii


[SDD)           You'll have to ll'oil, 1111/i/ after I [1111/oad}.


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I{ PIJ\INTIFI-' CAUTIONS [SDD) TO AVOID SIDEl·/ALK DUE TO SUCH MALICIOUS NEIGHBORS :                                           lJ


PLAINTIFF           OJ,, ok... Sir. fly 1101 to p111 i11 tl,e side-1m/k area.. t,y to plll it i11side the drive,my.. you 1111dei:vto111/.. 11011/,e side,mlk..




[ SOD]              Ok.




PLAINTIFF           exac1/y, j11sl af,ie11dly 11eighborhood...


 ff PLAINTIFF LAUGHS .       [SDD) LAUGHS : jJ

 ff fSDD) CONTINUES TO UNU\TCH TIED PALLETS AND BEGINS TO USE FORK-LIFT TO TRANSPCRT PALLET ONTO [DRIVEl•/AYJ : D
ff PIJ\lNTIFF' INSTRUCTS [SDD) TO LOAD FIRST PALLET TO ONE SIDE OF [DRIVEWIY] : lJ
If [RSR] ,    HOLDING CAMERA-PHONE HIGH AND RECORDING, l'IALKS RIGHT IN BETWEEN FORK-1,ffl' AND PIJ\INTiff, /\Il✓,OST AS 11:'- lJ

~ - TO OBSTRUCT SUCH ACTIVITY .             (RSR) ANGRILY PASSES IN FRONT OF [LC-C-2] , MALICIOUSLY KI CKING PART OF' PLAINTIFF ' S- lJ

ff -PROPERTY TEMPCRARILY STORED ON SIDEWALK .                      [LC-C-2) L<XlKS SHOCKED, FAILING TO UNDERS'l'AND ~nlO THIS PERSON IS /IND- lJ

~ -1•/JlAT S HE WAS TRYING TO DO .          [LC-C-2] APPROACHES PLAINTIFF TO QUESTION PL/\Hfl'IFF ABOUT [RSR) ' S OUTRAGEOUS CONDUCT :                                    lJ
~ [LC-C-2] FIRST QUESTIONS PLAINTIFF IF [RSRJ IS O'IINER OF PLAINTIFF ' S PROPERTY :                                                D


[LC- C- 2 ]         S!,e's 1/,e Oll'ller?




PLAINTIFF           Whal?




[LC-C-2]            {She'.,· 1/,e 01mer of //,is house?J




PIAINTIFF           Sl,e'.v what?




[LC-C- 2 ]          the owner?




PLAINTIFF           No, she's 1101 //,c 01111e1: I'm 1/,e mmer.


[   (RSR] ANGRILY YELLS AT [LC-C-2] : jJ



( RSR]              [YOU PUT UP WITH THIS STUFF FOR 9 YEARS! YOU'D BE PISSED-OFF TOOi]


~ [LC-C-2] CONTINUES TO BE SHOCKED, CONTINUES TO STARE AT [RSR) ' S OUTRAGEOUS CONDUCT . PLAJNTIF'F STATES SARCASTICALLY :                                                     lJ


PLAINTIFF           0/1, Ok!



~ [RSR] OPENS [JSP&KAP] ' S WATER- METER-OOX TO TAKE PHOTO/VIDEO OF !•/ATER-METER-READING AS IF TO CONTINUE FRAUDULENTLY- lJ

~ - I NSINUATING TIIAT PLAINTIFF HAS DONE DAMAGE TO PUBLIC MI\IN-\·17\TER-LINE AND/OR [JSP&Kl\P] ' S WATER LINE :                                                »
ff PLAINTIFF PROVIDES INSTRUCTION TO [LC- C-3 ] TO START INSTALLING NO-MOi/-GRJ\SS SOD ON OTHER SIDE OF PLAINTIFF ' S                                                [DRIVEWAY]- jJ


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« -SINCE PLAINTIFF WAS NOT DONE FULLY EXCAVATING 6-JNCHES OF SOIL IN LARGER SIDE OF [IBONTYARDJ .                                                       D


PLAINTIFF         011 this side. Sir- 011 //,is side... yeah. Could )'OIi //1111 ii off Could )'OIi slwt inslalli11g (g,ms} 011 /his side.firs/. Siar/ 011 i11slalling 011 //,is side, ca11 you do
                  1ha1?... becanse, i need lo lillle-bil- because I need lo lake off a Iii/le-bi/ more of //,is (side}. ..


~ [LC- C- 3 ] CROSSES   [DRIVE\•lAY] TO START WORK ON THAT OTHER CCMPLE'l'ELY-EXC/\VATED SIDE .                                   D


[LC- C- 3 )       (Yea/,, Yeah, f???J.1




PLAINTIFF         Ok. Alrighl. Because, I need lo use /his here, to lake offa Iii/le bi/ more of this (side} here. So, //,a/'.r //,e reason 111,y i'm asking.




[LC-C-3)          (Yeah, Alirle sir.}


« [SDD] IIAS TO MANEUVER IIIS SEMI-TRUCK CAREFULLY IN-ORDER-TO /\VOID TRE OF [RSR] . IT WAS CLEAR THAT [SDDJ l'lAS BEING- D
 ~ -AT LE/\ST INCONVENIENCED AND/OR HASSLED BY [RSR] ' S MALICIOUS DEMANDS .                                  D


[LC- C- 2)        Only f edging/ 011 //,at one, or all over 1/,e place, because, 11e p111 edging (011ly] over //,ere?


 rr PLAINTlff !11\D HARD TIME HEARING DUE TO [SDDJ ' S LOUD FORK-LIF'r . DIRECTS [ LC-C-2 ] FUR'l'HER-A\'1/\Y : D


PLAINTIFF         come over here.




[LC- C- 2)        boil, sides? put edging?




PLAINTIFF         Edging - Edging - Edging, yeah am1111d ii.




[LC- C- 2 )       only 011 Iha/ one, or?




PLAINTIFF         011 bot/, sides.




[LC- C- 1)        onlyfor pmpe,ty line?




PLAINTIFF         only 011 the pmpe11y line. l'es - only 011 the p1vpe11y line.




[LC- C- 2)        Ok. Yen/,, because 1l'e're making a line. boil, sides ofpmpe11y line.




PLAINTIFF         Yea/,, yeah. ii ha~ to be flnsh.



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[LC- C- 2]          Sl,e'., the 01mer? of that 011e? l,ome?


~     PLAINTIFF MISH.EARS [J.,C-C-2] ' S QUES'l'IO.\J . [LC-C-?.J IS INQUIRING IF [RSR] IS O\'lNER OF [JSP&KAP] ' S PROPERTY: D


PLAINTIFF           No, but its 011 my pmpe,tJ'-




[LC- C- 2]          this house.


« PLAINTIFF MISH.EARS [LC-C-2] ' S QUESTION . PLAINTIFF CLARIFIES TO ENSURE [LC-Crew) INSTALLS BORDER-IJ\NDSCI\PE-EDGING ON
PLAINTIFF ' S SIDE OF BORDER- D
0C    -TO AVOID CONFLICT WITH [JSP&KAP] AND/OR [RSR] AT ALL COSTS . Y


PLAINTIFF           yeah, it's 011 //,is pmpe11y. along the p1vperty-




[LC- C-2)           [???] The o//,er lwuse - She'.1· the ow11er? 71,at other house?


g PLAINTIFF CLARIFIES (RSR] LIVES ACROSS STREET /\ND ON THE OTH.ER SIDE. (LC-C-2] REMAINS DUMBFOUNDED AS TO WHY [RSR] IS
HARASSING TH.EM WHEN SHE lS- D
rr -NOT OWNER OF (JSP&KAP] ' S PROPERTY . Y


PLAINTIFF           No, 110, 110 - she'.1· {lives} over //,ere.




[LC- C- 2]          Oh, ... IVl,y she's coming {over /,ere]?




PLAINTIFF           D011'1 ask me- She'.s cmzy!


0C    PLAINTIFF HAS TO EXPLAIN [RSRJ ' S OUTRAGEOUS CONDUCT TO [LC-C-2] , \'R-lO REMAINS DlR1BFOUNDED: D


[LC- C- 2]          She- Yeah! She's cra~v!


 0C   PLAINTIFF LAUGHS : D


PLAINTIFF           She'.1· been doi11g !hat for the last 9 years!




[LC- C- 2]          .,/,it!




PLAINTIFF           it's cmzy! - I had to pul up will, t/,a/ for tl,e last 9 years!


« PLAINTII-'F IJ\UGH.S . (LC-C-2) LAUGHS . (LC-C-2] NALKS AWAY, RESUMES \\'ORK . PIJ\INTIFF DIRECTS (SDD] TO DELIVER PALLET INTO- D
« -rnsrnE OF PLAINTIFF ' S DRIVE\·IAY so THAT NO PART OF PALLET TOUCHES PUBLIC-SIDEWALK . D
« [RSR] IS ON PHONE-CONVERSATION \~ITH (KAP] . [KAP] BARKS ORDERS OVER PHONE FOR (RSR] TO RELAY ONTO [LC-C-1] . [RSR]- iJ
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0C   -BRAZENLY INTERROGATES [LC-C-1 ] \·IHO ~11\S SIMPLY TRYING TO 00 HIS JOB \'/HILE WITIITN PL/\JNTIFF ' S PROPERTY , TAKING MEASUREMI•:NTS-

D
« -FOR CU1T1NG-AND-INST/\LLING BORDER-L.Z\NDSCAPE-EDGING MATERIAL . [LC-C-2) /\PPROACHES [RSR] TO ASSIST [LC-C-1] IN ANSWERING- D
« -[RSR] ' SAND [KAP] ' S INTERROGATION . BOTH [LC-C- ll, [LC-C-2] PROVIDED RESPONSES INDICATING THJ,;Y DID NOT HAVE A CLUE AS TO- D
0C   -WIIAT SHE \•/AS DEMANDING OF THEM . D



[RSR)                 SHE WANTED TO KNOW- UM, WHERE ARE THE SUI/ VEYS FOi/ THE PROPERTY-LINES?




[LC- C-1)             {???}




[LC- C- 2)            { ???] {???] {???}.



11 [LC-C-1] CONTINUl·'.D T/\KlNG ME/\SUREMEN'l'S \'/ITHIN PLAINTIFF ' S PROPERTY,                    NOT KN0'11ING \•ill/IT [RSR) WAS DEMANDING OF HIM .   D

I[ [RSR) ' SAND [KAP) ' S PESTERING OF 'rHE PL/\INTIFF ' S CONTRACTORS CONTINUE TO TAKE UP VALUABLE TIME OF THE PLAINTIFF- D

Ii -AS TIIE PL/\tNTIFF NEEDED TO CONTINUE l·:ORK ON THE OTHER SIDE OF THE [FRONTYARD] . D


[RSR)                 IVHERE ARE THE{???}{???) ?!




[LC- C- 2]            {???}{???}I don't know.




[RSR]                 Go ji11d tl,em! Go!



fi IT /\PPEARED TO PLAINTIFF THAT [RSRJ WIS PESTERING PL.l\INTIFF ' S CONTRACTORS IM I\ MALICIOUS MANNER SO AS TO INCITE AN- D
[ -ANGRY/VIOrnN'r RESPONSE FROM SUCII CONTRACTORS . HOWEVER, THEY KEPT THEIR COOL AND COMPOSURE, ANSWERING [RSR] ' S/[KAP] ' S

QUESTIONS- D

g -TO TIIE BEST OF THEIR ABILITIES .                [RSRJ THEN TURNS TO PIJ\INTIFF TO INTERROGATE PLAINTIFF ON BI,;HALF OF CO-CONSPIRATOR [KAP] :

D


[RSR)                 SHE ASKED ME TO VERIFY- WHERE'S THE SURVEY FOR PROPERTY LINES?




PLAINTIFF             l'l'e got tl,e smvey, inside• so, wl,at do you wa111 wit/, it?




[RSR)                 THEY IVANT THE SURVEY LINES TO VERIFY THAT YOU'RE NOT IN THEIR PROPERTY!



g PLAINTIFF TRIES TO EXPLAIN TO [RSRJ , [KAP) TH/IT A STRAIGHT LINE FRCT•I FENCE BORDER TO DEMARCATION ON SIDE\'IALK IS A SAFE BET
FOR BEING- D

« -\'IITHIN PLAINTIFF ' S PROPER1'Y . [RSR] RUDELY INTERRUPTS PLAINTIFF STATING THAT l'LAINTIFF Cl'.NN<Yr USE THAT INACCURATE SYSTEM,
SHE: OE14ANDS- ~

~ -A SURVEYOR. [LC-C-2], [LC-C-1] F.XTEND TAPE-MEASURE TWO-OR-1',0RE INCHES WITHIN PLAINTIFF ' S PRIVATE-PROPERTY TO AVOID IRE OF

[RSRJ , [KAP] :   D
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PLAINTIFF            Ok, yo11 can ac/11ally use the-




[RSR]                NO, YOU DON'T USE THE FENCE!




PLAINTIFF            Alright!




[RSR]                WELL, YOU SHOULD HAVE FLAGS MARKJNG AND POSTED! ... KJM SAIDI




PLAINTIFF            ll'hate,•er they do, whatever these people do. I don't know whal-


 & EVEN IGNORING [RSR] ' S AND [KAP] ' S OUTRAGEOUS DEMANDS ,                             [RSR] ' S TONE OF VOICE INDICATES HER OUTRAGEOUS SENSE OF Hfl'ELLECTUAL-

SUPERIORITY OVER- D

 ~ -PIJ\INTH'F. BO'J'H [RSR] AND [KAP] DO NOT REALIZE THAT SUCH SURVEY LINES ARE /\LMJST-NEVER, IF NOT NEVER, DRAWN FOR MERE GRASS

REPLACF,MENT .   D


[RSR]                NO, YOU ARE THE OWNER! )'OU HAVE TOI-IA VE SURVEY LINES DRAWN!




PLAINTIFF            that'.,· what !he la11drcope1:1· are for. That'.\- ,rhat they do!




[RSR]                NO-NO-NO-NO-NO! - YOU ARE TO GIVE THEM PROPERTY SURVEYS TO THE PROPERTY LINE! THE PROPERTY LINE NEEDS TO BE
                     MARKED! IT'S NOT YOUR ARBITRARY-[???]!




PLAINTIFF            I didn't - I didn't ,lmw an arbi!rmy line! I looked/mm over there! There-




[RSRJ                YOU ARE TO MARK IT IV/TH, IV/Tl-I, IV/TH U/-1- ORANGE FLAGS!




PLAINTIFF            Ok .... ?!




[RSR]                AND WHERE IS THAT?! ... THAT'S IVHAT SHE WANTS ME TO ASK! ... WHERE'S THE SURVEY LINES FOR THE PROPERTY?!


U PLAINTIFF RESPONDS Tlll\T BOTl-1 [RSR] AND (KAP) Cl\N CONSULT [JSP&KAP] ' SOWN PROPERTY-SURVEY 1'0 DETERMINE THOSE LINES . D
g IN OTHER WORDS,        THEY DON ' T NEED THE PLAINTIFF TO MARK SUCH INFORMATION .                                  [RSR] ALSO STEPS I\T LEAST l\ FEW INCHES INTO D

[ PLAINTIFl" ' S PROPER'l'Y , AND EXTENDS HER HANDS WELL INTO PIJ\INTIFF ' S PROPERTY , ALTHOUGH SIIE 1-111S ISSUED l\ [C'Ji•I] BY- D

 ff -•rHE [WCSO] FORBIDDING HER ENTRY INTO PLAJNTIFF ' S PROPERTY . D


PLAINTIFF            Yo11 can find smvey for !he pmpe11y owner over there! - and lhey'd be able to give ii to yo11! and they'd be able lo tell yo11-




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[RSR]               NO-NO-NO! KIM SAYS THAT YOU ARE TO PROVIDE A SURVEY AND ITS SUPPOSED TO BE MARKED TO THE PROPERTY LINES! THIS JS
                    JUST ARBITRARY, HERE!




PLAINTIFF           Ok ... ?!




[RSR]               IT'S NOT- SID! IT'S NOT TliAT YOU JUST LOOK AND GUESS! YOU HAVE TO HAVE Ir MARKED AND SURVEYED! JS WHAT SHE SAID!




PLAINTIFF           That~,· what ) 'OIi hire the la11tl1·capi11g se,vice far! they-


a [RSR) SHOUTS AT [SDD], l\SKING IF IIE Hl\S '!'HE SURVEY MAP FOR PlJ\lNTIFF ' S PROPERTY . D

[RSR]               NO! DO YOU HAVE THE SURVEY Iv/AP FOR THIS!




[SDD]               Do I?! No!




[RSR]               NO! NOBODY DOES! WELL. GET YOUR MANAGER TO CALL!


a BOTH [SDD] and [LC-C-?.] JUST STARE AT [RSR] AND HER OUTRAGEOUS CONDUCT WITII SHOCK AND DISBELIEF . iJ
a PLAINTIFF LAUGHS . PLAINTIFF APPROACHES [SDD) TO CONTINUE WIT!I WORK . iJ

PLAINTIFF           Ok! ... Ok. Son y, sir! I believe that-


11 I SDD] POINTS PLAINTIFF TO FOLWII HIM TO HIS TRUCK SO THAT HE CJ\N PROCESS TIIE PAYMENT .                                            iJ
a l\S PLAINTIFF IS ltALKING AWAY, [RSR) CONTINUES TO HARl\SS/INTIMIDATE BOTH PLAINTIFF J\ND [SDD] . BOTH- iJ
 0C   -PL.l\INTIFF AND [SDD) LOOK BACK l\T IRSR] ' S CONTINUING, OUTRAGEOUS DEMANDS l·/ITll DISBELIEF .                                      iJ
 0C   [RSR] POINTS TO SMALL PIECES OF DEBRIS ON STDEWALK , WHILE CONTINUING TO VIDEO-RECORD, AND YELLS :                                               iJ


[RSR]               AND CAN l'OU PLEASE MOVE THIS! THIS IS DANGEROUS! PLEASE MOVE IT OUT OF THE WAY! SO THAT I CAN WALK!




PLAINTIFF           A /right ... Sony ab<mt that, sir!


g PI.J\INTIFF HANDS (SDD) A CREDIT-CARD .                     D


[SDD ]              Ok. l et me get that e-mail {address].


 0C   PLAINTIFF AND [SOD) WALK TO.-lARDS SEMI-TRUCK . [RSR] CONTINUES TO YELL AT PIJ\INTIFF AND/OR (SDD) .                                        iJ


[RSR]               [ ???] {???} { ???} !



a PLAINTIFF AND [SDD] LOOK BACK WIT!I DISllELIEF AT [RSR] ' S OITTRAGEOUS CONDUCT , PLAINTIFF LAUGHS . iJ


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[SOD]
                 I{???]. Sid.




PLAINTIFF        I gue.~,- 110w you know 1rhy I have a camem 011 my head!


[ PLAINTIFF /\ND [SDD] LAUGHS .         D
[   (SDD] ACKNO\•lLEDGES THAT (RSR) ' S TARGETING OF PLAINTIFF IS RACIALLY-fv0TIVATED : D



[SOD)            Oh, really! ... {I} can't stand her!... Where are you from?




PLAINTIFF        India.




[SDD]             Yeah? ... So, how long you been here?




PLAINTIFF         Um, about - about I6 yea,~·-




[SDD)            Oh, ok. ... )'OIi 1m1*. al your company?




PLAINTIFF         ......... ··••. ·······••..... ········••.
[SDDJ            Oh. ok... Man. some people cmmot [???/ - just do111 hal'e anything heller else to do!


 ~ PLADITJFF LAUGHS .     »

PLAINTIFF         I've been pulling up wil/1 her.for 9 J-ew-,,, lmst me! I know!


il UP UNTIL THIS POINT,       (SDD] ASSUMED PLAINTIFF \'/AS CREW-CHIEF OF LANDSCAPING-CREW, NOT REl\l,IZING PLl\INTffF- D

K -WIIS HOMECY11NE.R OF" SUCH PROPERTY .         [SDD] BECOMES EVEN M:lRE SHOCKED THA'l' [RSR] ~IAS TREATING PLAINTIFF' IN SUCH- D

[ -OU1'RAGEOUS MAl'INER:      D


[SDD]            Oh. you lil'e here? ... So, //mi's your house?!




PLAINTIFF         Yeah! ... Exactly!


 ~ (SDD] LAUGHS OUT LOUD . ~



[SOD)            0/r my god! ... Wow!




PLAINTIFF        Can )'011 imogi11e the audacity! ... Yeah. //mi's exactly right!


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rr [SOD] HANDS 81\CK PLAIN1'JFF ' S CREDIT- CARD . D


[SOD)            Here'., yo11 can/ back.




PLIUNTI!T        She um· threatening to get me kicked 0111of the house with the {NOA]!




[SOD]            Woll'! ... W11nt's )YJIW email?




PLAINTIFF        11~.. ••••••••...••••••••••




[SOD]            ••••••••


PLAINTIFF        Can i see itj11.1·/ to co11fi1111?


rr [SOD) SHOWS PLAJNTIFF READ-OUT OF DISPLAY Sl!O:'/ING EMAIL AND Ol'HER INFO . ~


[SOD)            that bill is charged ...




PLAINTIFF        Ok, lei me get this 011, because I need this for my [HOA] stuff




[SOD)            I'll .,end )YJ/1 <111 email - it 11.;// tell yo11, ii will sholl' you exactly 11'1,at is down here..




PLAINTIFF        Oh, ok, got it. I 1mde1~·/a11d, go/ ii - send receipt. So, lei me .,ee.. •••0 0• - yeah thal's ii. nwt'.r ii. It's alreac/11sent?




[SOD]            Yeah, It's a/re{U/y sell/ ... Yeah ... JVtnv, Sid! ... Yeah, I've never heard of a,~)•bo161needing to iuvolvl~




PLAINTIFF




[SOD)            -s1111•eyors to re-lot the side ofyour faun




PLAINTIFF        Yeah, i k110111 its just crazy! - I've never heo1d of that!




[SOD)            I think Iha/ if )VII 11)1 to dig 11p some kind of 11/i.. 11tilily pipes - somelhing like that - that'.,· one thing ... Bui i 1hi11k ifyo11'rej11s/ doing irrigation or sod
                 I've never hea,d of anybody needing s11111ey01:,.


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PLAINTIFF         Righi, Right, I 111ufersta11d ... Right! ... That's 111,y I hired a landscaping se,,,ice to do ii. So, ils like, You know !hey have all that i11formatio11. So, 11'.v
                  cmzy.




[SOD]             Yeah ... Well, good luck to you!


rr PL/\INTIFF LAUGHS. Y


PLAINTIFF         Yeah, I'll need ii! ... Alright, 111011! Appreciate ii!




[SOD]             No problem.


[ PLAINTi ff WALKS BACI< TO'llARDS [HOUSE] . D
0C   PLI\JNTIFF MAKES QUICK PHONE-CALL TO [LC-SR] . Y


PLAINTIFF         Hey ...., This Sid from "788 Ki11gfishe1: " Um... So, basically I've been co11tac1ed by a neighbor acm.tv /he streel. .. you know the one that 11-as talking to
                  you. She said I need lo have a ... I need lo ... Mark the sw,,ey ... bruically based 011 the swvey, I need to mark the borders of the properly before doing
                  the landscaping 1rm* - are you.familiar with this?




[LC- SR]          We're going lo put that edging doll'// right 1111ere !here 011 Iha/ dil1 fine - over ll'here you had JVJ11rfo1111-baank




PLAINTIFF         Righi, ll'herel'er lhe fwd, 1hefo1111-bo01ris ... righl, e.mclfy - and /he fo1111-hoards ac/ualfy - the 1,•ay I had it - ii 11·as actually a couple of inches within my
                  property - like, I made sw-c that I didn't e.,·tend any where 01110 !heir pmperty.




[LC- SR]          So, /ell tlte {LC-Ci-cw] guys ll'ltere yo11 1m11I 10 drop /Ital composite edging... I 1ro11fd advise ll'ltere ;vu 11-em befo1-e - if;v11rfo1111 boards 11-em 2 lo 3
                  inches 011 your prope11y?




PLAINTIFF         right.. .




[LC- SR]          tlten, pul /Item in tlte same exact spol.




PLAINTIFF         Put /Item in the same e.mcl spol - //,a/ 1my ils {011] the safe side.




[LC-SR)           They co11ti1111e complaining... They called me complaining - "HEY. YOU KNOW YOU NEED TO MOVE YOUR DIRT OFF THE SIDE-WALK RIGHT
                  NOW! I NEED TO WALK ON THIS SIDEWALK! - MY TAX DOLLARS PAY FOR THIS SIDEWALK! BLAH BLAH BLAH/... " So... I mean, 11-e'rejust
                  here lo help you 0111. You know whal I mean?




PLAINTIFF
                                                                               PA GE   4 14   OF   9~6
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                 Yea/,, rig/,/ - She aclually calledJ'OII, is //,at rig!,t?!




[LC-SR)          Oh. yea/, - she called me - I got 011 ea1f11/!




Pl.ADITIFF       01, umv! Ok. All)'ll'l1J'S - So, thal'.v 1rl,a1 I've /,ad lo deal with, basically! - that'., what I've been dealing with, ac/1/ally, for /he last 8 and halfyears no11·-

                 basically!




[LC- SR)         {that's why we're laking care of it by end of day, so... }




PLAINTIFF        Exactly. Exaclly.




[LC- SR)         Is tl,e grat, there yet?




PLAINTIFF        Yeah, the gra.tv is already /,ere - the g1rm is just delivered, so, ils just 11111-




[LC- SR)         Alrighl, good deal! They should be{???]{???]{???]. lo gel /he cvmposite edging done.




PLAINTIFF        alright. ok, //,of so11111lv great. a/rig/,/. appreciate ii, 111011. bye.




[LC- SR)         Ok.




•
•
•

 I{ PLAlNTIFF AND [ LC-Crew) RESUME WORK . FOR l\ PERIOD OF l\PPROXIM/\TELY HALF-AN- HOUR (OR LESS),                                       [GR]   D
 & ~X)ULD PROVIDE PLAINTIFF \'JITH mNOR ASSISTANCE IN SUCH LI\NDSCAPING WORK . iJ


•
•
•

 « AT LATER PARTS OF AFTERNOON OR El\RLY EVENING TIME, AS BOTH PLAINTIFF AND PLAINTIFF ' S CONTRACTORS /IRE CONTINUING TO- D
 & -\'lORK HARD ON SUCH RE-LANDSCAPING,              [RSR) t•X)ULD ONCE- AGl\1N WALK ACROSS S'l'REET TO\•IARDS PLAINTIFF ' S PROPERTY APPROACHING- D

 &-(\'/HITE-AMERICAN ) BOSSES OF PLAINTIFF' S [LC-Crew] AND COMPLAIN TO THE.M (RIGHT IN FRONT OF PLAINTIFF) USING THAT SAME- D
 ff -RELENTLESSLY-RACIST PROPAGANDA AGAINST PLAINTIFF Tl!AT SHE HAD BEEN ENGAGING IN FOR I\PPROXIMI\TELY EIGHT YEARS I\T- D
 ff -THIS POINT IN TIME .     [RSR) IS FULLY Al'IARE THAT EVERY EGREGIOUS l\CTION OF TNTIMIDI\TlON/INTERFERENCE AND DISORDERLY- ]

 « -CONDUCT/HARASSMENT AGAINST PLAINTIFF THAT SHE HAS ENGAGED IN ON THIS DAY WERF. EGREGIOUS VIOLATIONS OF [FIIA]/ [TFHI\) . D
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                                                       S l DO HARTH   KOOi::    V.        Hl l, Ll AMSON    COUfl TY ,   ET   AL .                                          1 696907690


~ -THE MANNE':R IN \•nncH [RSR] TREATED \·/HITE-AMERICAN BOSSES OF PIJ\INTTFF ' s                               [LC-Crew ] STANDS IN SHARP CONTRAST TO MAfJNER- D

~ -THE MANNER IN \•IHICH [RSR] CRUHNALLY-!\BUSED PLAINTIFF, AN IM-1IGRANT-OF-COLOR/INDIGENOUS-PERSON .                                             D


•
•
•

0C    AT A SECOND POINT IN TIME,          [LC-SR] , COMPLAINS TO PIJ\INTIFF /\BOUT OUTRJ\GEOUS CONDUCT OF [RSR] , [JSP&K/\P]: ~



[LC- SR]           Your 11eigl,bors! Tl,ey'rejust! - o poi11 in the oss, man! ... I've gollen called[???] ... and cl,e.,.ed my a~,· off1


~ PU\INTIFF EXPLAINS ·ro [LC-SR] THAT [RSR] ' [JSP&KAPJ ARE JUST LYING-HH~l\IT TO POUNCE ON THE PLAINTIFF :                                                D


PLAINTIFF          They're 1miti11g... l'eah, exactly... They're ,miting to get at me!




•
•
•
 0C   PLAINTIFF NOTICES [KAP] AMO [RSR] CONSPlRING /\ND SCHEMING AGAINST THE PLAINTIFF ACROSS THE STREET, PLANNING-                                                   »
g -TIIEIR NEXT PREDATORY COURSE-OF-l\CTION (S ) l'IJT!I THE TIIEN- [HOAJ AND/OR [\-,'CLE] AG!\JNST THE PLAIN'J'lFf : D


•
•
•

K AT ONE POINT IN TIME,           [LC-SR) , ASKS PLAINTIFf THE NEED FOR A GO-PRO ACTI<)i'l CN·lCORDER (BODY-\•/ORN-CAMERA) -                                   »
~ -t-K)UNTED O.'l PLAINTIFF ' S FOREHEAD, RECORDING :                 D


[LC-SR]            Wl,y do JYm /,ave a Go-Pm?




PLAINTIFF          I 11•a111 ta- I w,1111 lo /,ave eve1J•f/,i11g 011 record. So, if tl,e {HOA] comes at me, or these peaple come at me, i /,ave a record rd' eve1ythi11g!


 ~ [ LC-SR] NODS AND GIVES PLAINTIFF TWO THUMBS-UP .                      D


[LC- SR]           Good deal! They're o real pai11-i11-the-ass {to deal wit/,}!




PLAINTIFF          A/rig/,/. 110 shit! 110 shit!


~ [LC- SR] WISHES PU\HITIFF GOODBYE, SHAKING P1AHITIFF ' S HAND .                           D


[LC- SR]           Alright dude, ... Tho11ks. bro!




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 PLAINTIFF                  Alright ... Apprecialeymir 11v1*. 111011!




 [LC-SR)                    You bet! You bet!




i405
On or about the date and approximate time of {20 17-10-29 12:00}, the plaintiff was using a hose to water the newly-installed 11110-1110111 11 sod

grass that the plaintiff was forced to install due to the then [HOA]'s unreasonable predatory demands instigated by the plaintiffs predatory

neighbors [RSR],[JSP&KAP). As the plaintiff is watering the grass, [JSP] who is at the time using a hose to water the already-well-established

(but water-guzzling Saint-Augustine) grass of [784KLLTX7864 I], unprovoked, starts to initiate a hostile conversation with the plaintiff which

quickly turns into a abusive, assaultive and threatening rant from [JSP] against the plaintiff. [DMP], who would soon become a [SPOA]

Board-Member not much longer after this incident - again, for the sole purpose of continuing the then [HOA]'s predatory actions against the

plaintiff - witnessed most, if not all, of this incident. T he hostile conversation begins with [JSP] bringing the plaintiff's attention to what he

claimed to be, and what appeared to be, dog-faeces (or worse) that was located on the plaintiffs newly-installed sod grass about 30 feet away

from the sidewalk - well out of reach for any dog on a leash. ln bringing attention to this dog-faeces, [JS Pl was all-but-admitting that he had

dumped the dog-faeces onto the plaintiffs newly-installed sod grass - as the plaintiff had also noticed dog-faeces deliberately dumped onto the

plaintiffs [YARD] (including the plaintiffs [BACKYARD]) on numerous occasions over the previous 7 years. With the exception of an

approximately I year period of time ( {2012}, {201 3}) during which the plaintiffs senior-citizen [PARENTS] were residing at the plaintiff's

private-property along with their companion-dog, there was never any dog at the plaintiffs private-property - meaning that there was no reason

to be any dog-faeces anywhere deep inside the pla intiffs [YARDJ (including [BACKYARD]) during those periods of time - especially in areas

of the plaintiffs [YARD] closest to [JSP &KAP]'s property, [784KLLTX7864 I]. [JSP] inserts numerous fraudulent statements and narratives

against the plaintiff in his predatory, abusive, gaslighting and assaultive rant against the plaintiff - knowing, fully-we ll, that the plaintiff is

recording all of it:
 •     Rn'.XRll!D RACIST, ABUSIVB, FIWDJLENr, GIISLIGlfl'IRl, ASSNJIJl'IVZ !WIT llC.llllING IWUISSll!Nl'/STAUCIIG/INl'JMIDllrIOW~DISCKlERLY-<XHXJCT/ ~   BY (JSP)
             PLAINl'In'(~) "1'DIESSm BY Ar LIIAST (IMP) •    (2017- 10- 29 12 :00) M
 ►     [ PIUVM'B llRL LINlt TO IE SUIIIITlllD IN DISCO\IERY J



     g PLAINTIFF, mTH HOSE IN HAND, MOVES HOSE TO VARIOUS LOCATIO.\JS TO \•/ATER NENLY-INSTALLED NO-MOW SOD . D


     [JSP]                  Did you catch that dog 011.film?! I'd like to know who{???] if ii 11m my ya,rl!




 PLAINTIFF                  Fertilize,; right?




     [JSP)                  Na/1.. The stank will sray like that for a long time.


     ! (JSP] THEN MAKES AN OUTRAGEOUSLY FRAUDULENT ACCUSATION /\BOUT PLAINTIFf WHO IIAD USED A TRACTOR TO IIOVE SOIL AROUND : D

     [JSP)                  So... you end 11p 011 my ya1rl into my ya,rl [lrhe11 you flipped that eq11ip111e11/ ove,J?


     ~ PLAINTIFF DID NOT UNDERSTAND WHAT [JSP) MEANT BY SUCH STATE11ENT : ~

                                                                                        PAGE    4 11   OF   9 56
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PLAINTIFF          What do )'OIi 111ea11?




[JSP)              I sa111 yo11r {thing all flipped over and /hot ??? all over in my yard?]


 [1 PLAINTIFF S'rlLL SHOCKED BY THE OUTRAGEOUSLY FRAUDULENT ACCUSATION, CORRECTS THE RECORD : iJ

 [1 PLl\lNTil"F POINTS/1"iOTIONS TOWARDS [DRIVEWAY]               l\REl\ WIIICII       IS 10- FEET-AWAY FROM BORDER: iJ


PLAINTIFF          No. ii was over here.


 [1 [JSP] FI NALLY AJ:X'1ITS THAT HE MADE A FRAUDULENT STATEMENT : iJ


[JSP]              Of,, flipped over hack /here?


 [1 PLAINTIFF, IN l\ FRIENDLY MANNER, TRIES TO DEFUSE THE SITUATION : iJ



PLAINTIFF           Almost flipped me over.


    [1 [JSP] THEN RUBS-IT-IN THAT PLAINTIFF HAD SPENT SIGNIFICANT WiOUNT OF Til-1E/EFFORT/1",0NEY TO REPLACE GRASS : iJ



[JSP]               Uh-huh Heavy eq11ip111e111... So, you got a new yard- pretty nice. How mud, 1har cost you?!


    [1 PLAINTIFF IS PAINFULLY REMI NDED OF THE EXPENSE , WHILE IJSP) GLOATS AT IT : iJ



PLAINTIFF           1'011 do11t 11·a11t to know.


    [1 [JSP] CONTINUES TO RUB-IT-IN 'TO PLllINTIFF THAT HE SUCCESSFULLY CONSPIRED 'l'O DEFRAUD PLAINTIFF:                                      iJ


 (JSP]              Q11ite a bit. huh? ... Well, I bet{???] p11t you in the hole a good $ / 2-tho11sa11d, $/4-thousand, $15-tho11sa11<f. aren't they?! ... B111 hey, why 11·011ld you
                    care?! ltsjusl money! Its your pw-ent.,' money!{???)


    [1 PLAINTIFF FRUSTRATINGLY EXPLAINS THAT PLAINTI FF DID NOT REPLACE GRASS BY CHOICE, BUT RATHER BY UNREASONABLE [HOA) DEMANDS :

]


PLAINTIFF           /'1111101 doing this for myself. I'm doing this to satiify the [HOA).


    [ [JSP) CONTINUES TO RUB-IT- IN TO PLAINTIFF: iJ


 [JSP)              Yeah, /111/ still, your parents are paying for it!




PLAINTIFF           I will he payi11g them back


    [1 [JSP) CONTINUES TO RUB- IT-IN 'TO PLAINTIFF: iJ



 [JSP]              No, I know you don/ cw-e!


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PLAINTIFF          No. I will be payi11g them back. So, its 1101 just.. A11{/, ac111ally, I'm 011 my ll'O)' to maki11g something, so.




[JSP]              [ ???]




PLAINTIFF          8111 there's people like me doing this ki11d of sh!ff all over the co1111fly. Its 1101 jml me. I'm 1101 the 011/y 011e - there are people-


 ~ [JSP] ' S STATEMENTS CONTINUE TO PROVE THAT HIS ANIMUS AGAINST PlJ\INTIFE' WAS NOT BASED ON ANY HARM- D

 IT -THAT PLAINTIFF CAUSED [JSP], BUT RATHER BECAUSE [JSP] DID NOT LIKE THE PLAINTIFF ' S PROPERTY APPEARANCE : D



[JSPJ              [???] [???] {???]{???]huh? So. You k11ow 1111e11 I 111111 mv1111d the comer{???] and I look al my ya,r/. And I see youryairl ac,vss ii - It does11'1 look so

                   shiny auy more!


 ~ [JSP] CON'l'INUES TO IMPOSE A FRAUDULENT NARRATIVE, BY REPEATEDLY INTERRUPTING PLI\INTIFE': j)



PLAINTIFF          Thought ) 'OIi said ii looks-




[JSP]              {???] It actually visually, It aesthetically pleasing for 011ce, fi11ally!


 [ PLAINTIFF REJECTS [JSP] ' S ARGUMENT, BECAUSE PLAINTIFF BELIEVES PREVIOUS GRASS TO BE EVEN V,ORE ATTRACTIVE : D


PLAINTIFF          No sir.


 0C   [JSP] CONTINUES TO SI-IOI'/ THAT [JSP] ' S ANIMUS AGAINST PLAINTIFF IS BASED UPON APPEARANCE, NOT HARM : D


 [JSP]              YOU KNOW HOW LONG SINCE /'VE BEEN ABLE TO DO THA T'!! {???] AND THE REST OF THE NEIGHBORS?! YOU KNOW WHA T SID?! YOUR

                    SELFJSJ-1 S/-IJT ATTITUDE PISSES US! PISSES THE S/-IJT OUT OF US!


 ~    PLAINTIFF TOTALLY REJECTS [JSP] ' S FRAUDULENT, WHITE-SUPREMACIST NARRATIVE . D
 IT PLAINTIFF ' S DEFENSE OF 'l'HE ENVIRONMENT roR FUTURE GENERATIONS IS ANYTHING BUT SELFISH : D


PLAINTIFF           Its 1101 se/fislt! Its 1101selfish! There'.1· people-




 [JSP)              YOU KNOW YOU'RE AN ASSHOLE - YOU KNOW THAT /UGHT! !




 PLAINTIFF          lt'.r 1101selfish, there's-


     a [JSP] THEN SHOUTS OUT FRAUDULENT WHITE-SUPREtA.AClST NARRATIVE SO THAT PEOPLE FROM MANY HOUSES OOWN STREET COULD EASILY HEAR:
j)



 [JSP)


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                ABSOLUTELY!! YOU'RE STICKING IT TO ALL OF US!- YOU JACKASS!- YOU ARE SELFISH! - YOU ARE GIVING EVERY SINGLE ONE OF US.

                THE FINGER! YOU SELFISH SON OF A BITCH!


(£ PLAINTIFF ADAMANTLY DENIES RACIST, 1-w\UDULEN'l' AND GASLIGHTING NARRATIVE: iJ



PLAINTIFF       I'm no/ doi11g llwt sir!



I! [JSP] CONTINUES TO SHOUT-OUT SO THAT PEOPLE FROM MANY HOUSES OOWN COULD EASILY HEAR : iJ


[JSP]            YES, YOU ARE DOING IT! YOU'VE BEEN DOING IT FOR 8 GOD-DAMN YEARS! YOU ARE DOING IT!




PLAINTIFF       Sir, have you seen 011 the illleme/?... Have you seen people-


 ff PLAINTIFF TRIES TO POINT OUT THAT PEOPLE ALL OVER THE COUNTRY WERE INSTALLING NO-MOW YARDS : iJ


[JSP]            IT LOOKS LIKE SHIT! I DON'T GIVE A SHIT WHAT PEOPLE ARE DOING ON THE INTERNET!


 [1 PLAINTIFF EXPLAlNS OTllERS ARE DOING MUCH tt.ORE THAN PLAINTffF n!TH REGARDS TO PROTECTING ENVIRONMENT : i)



PLAINTIFF        Have you seen people 011 the i11Jeme1?! They're doing 1hi11gs ll'hid1 are much more-


 [1 [JSP] APPROACHES PLAINTIFF IN A THREATENING MANNER, AND CONTINUES TO R/\ISE HIS VOICE : i)

 [1 [JSP) CONTINUES TO SHOW HIS INTOLERANT, WHITE-SUPREMACI ST ATTITUDES, STATING NEIGHBORHOOD I S OWNED BY HIM: iJ



(JSP]            I DON'T GIVE A SHIT WHAT PEOPLE ARE DOING ON THE INTERNET! I DON'T CARE WHAT{???] SOMEONE JS DOING IN CALIFORNIA!
                 THIS IS MY NEIGHBORHOOD! YOU LIVE RJGHT NEXTDOOR TO ME UNFORTUNATELY!




PLAINTIFF        But sil; I tried-


 [1 [JSP) CONTINUES TO DOMINATE BY IMPOSING WHITE-SUPREMACIST, FRAUDULENT NARRATIVE : i)



[JSP]            YOU DON'T TRY TO DO SHJT!


 [1 PLAINTIFF IS STUNNED THAT AF1'ER ALL 'rHE TIME/EFFORT/1",0NEY EXPENDED, THIS IS THE REW/\RD : il



PLAINTIFF        I fried lo do eve1y1hi11g lo sali.ify you guys-




 [JSP]           YOU WHAT?!




PLAINTIFF        I tried to do eve1ythi11g to satisfy you guys/ This is like Jhe best-


 Ii. [JSP] CONTINUES TO ADVANCE THE FRAUDULENT, WHITE-SUPREMACIST NARRATIVE : iJ



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[JSP]              ARE YOU KJDDING ME?!! ARE YOU KJDDING ME?!! YOU DID EVERYTHING TO SATISFY US?! ARE YOU KIDDING ME?!! YOU DID
                   EVERl'T/-1/NG YOU CAN TO PISS US OFF, MAN!


K PLAINTIFF REJECTS FRAUDULENT , WHITE-SUPREMACIST NARRATIVE : D


PLAIN'l'IFF        Yes... I 111ea11 you can't say... This was eve1)•ll1i11g llwl I clichms lo sofisfy you guys•


 rr [JSP) ACMJTS THAT PLAINTIFF' WEI-IT TO GREAT LENGTHS EVEN COMPROMISING ON PLAINTIFF ' S O\'lN RELIGIOUS/CULTURAL PRINCIPLES TO

SATISFY THEM : ~



[JSP]              YOU'RE JUST DOING 1T BECAUSE THEY'RE MAKJNG YOU DO IT · JACKASS! WHAT AM 1, AN IDIOT?!


 ~ PLAINTIFF NOTES OBVIOUS FACT THAT [HOA] IS ONLY ACTING ON PREDATORY DEMANDS OF [JSP&KAP] , [RSRJ , [DMP] , ETC .:                                             D


PLAINTIFF          So, Exaclly!... Tbal'., basically what /'111 saying! They're acting 011 your beha/f. right?! So, !hat's basically wl,at /'111 /lying to da!


 [   fJSP] MAKES SHOCKINGLY HYPOCRITICAL STATEMENT ABOUT ABIDING-BY CONTRACTS \·/HEN PLAINTIFF HJ,S SUBSTANTIAL PROOF [JSP&KAP] ,

[RSR] -   D
 [ -\·JERE EGREGIOUSLY VIOl.ZITING THAT SAME CONTRACT, EXCEPT THAT IN THEIR CASE, WITHOUT ANY DEFENSE \-11-!l\TSOEVER.                                           D


[ JSP]             NO. THEY'RE ACTING ON THE LAIVS OF CONTRACTS THAT YOU AGREED TO ABIDE BY!


 rr PLI\INTIFF CONTINUES TO POINT OUT THAT [JSP] ' S NARRATIVE IS FRAUDULENT : D


PLAINTIFF          The co11tmc111·as 11-rille11 i11 2005 sir! Sir• fl 11·as writ/en in 2005! fl ,ms in 2005! 111 20/3, tl,ey added a new[???] i11 2013, regarding drought-resistant·
                   la11dscapi11g. //,ey've ,wt re,,1/y updated //,e rules for that! I told yo11 abolll thal before!




[JSP]              THEY DJDN'T UPDATE SHIT!




PLAINTIFF          Exactly, they didn't 11pdate it! Yo11're rigl,t! Beca11se•




[JSP]              YOU HAVEN'T DONE A {???] SINCE YOU'VE MOVED IN HERE!


 IT PLAINTIFF CONTINUES TO POINT OUT THAT [JSP] ' S NARRATIVE IS FRAUDULENT : D


PLAINTIFF          Sir! / '111 ,wt! Tl,at'sfalse!


 ~ [JSP] CONTINUES TO REVEAL PREDATORY NATURE OF Tl-IE \oll-lITE NEIGHBORHOOD - THAT THEY WOULD CAUSE SO MUCH- D

 [ -HARM TO PLAINTIFF JUST BECAUSE THEY DIDN ' T LIKE THE PLAINTIFF ' S PROPERTY APPEARANCE :                                         D


 [JSP]              OH, IT IS?! WHY DON'T YOU ASK EVERYBODY?! THEY'LL All TELL YOU THAT YOU'RE ST/CKJNG TO US, BECAUSE )'OU.JUST LET YOUR
                    PLACE LOOK LIKE DOGSH/T All THE TIME!




PLAINTIFF
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                71,at's 110/ /rue, sir!




[JSP]           IT ABSOLUTELY LOOKS LIKE DOGSHIT! SERIOUSLY!




PLAINTIFF       That's your s11bjeclive opinion sir! Tltot's 1101 tlte opinion - 1/tat'.1· 1101 tlte opinion of like 70% of tlte 11-orld - 70% of tlte 11-orld 11-ould disagree witIt you!




[ JSP)          YOU ARE IN YOUR OWN LITTLE WORLD. LITTLE BRO!




PLAINTIFF       70% of tlte 11-orld - well ok, i guess, i11 tltat area of tlte 11-orld!




[JSP]           YOU ARE IN YOUR OWN LITTLE WORLD, LITTLE BRO!




PLAINTIFF       70% of tlte 11-orld - tltis is a cultural i.~me, wltetlter )'OIi like ii or 1101!




{JSPJ           ISOLATED[???] WORLD!


IT A WHITE COUPLE WALKING DOG UP SIDE:WALK GREET [JSPJ AND IGNORE PLJ\INTIFF, AGAIN , REVEALING- D

IT -THE NATURE OF THE \"/HITE-NEIGHBORHOOD IN l'IHICII THE PlAINTIFF RESIDES . [JSP] GREE:TS THEM BACK . ~

K PlJ\lNTIFF REMAINS SIIOCKED THAT [JSP] \•/ONT AGREE THA'r THIS ISSUE IS A RACIAL/CULTURAL ISSUE : D


PLAINTIFF       Ami i'm s11171rised tltat )VII 11vu'1 even admit tltat ii is a rnltuml issue!




{JSP)           ADMIT?! I ADMIT NOTHING!




PLAINTIFF       II'., a cu/111ml i.mre tltougl,/ /l's a c11/tum l is.me!




{JSP)           NO ITS A NEGATIVE{???} - IT'S A STANDARD!




PLAINTIFF       Em-rem rnltures don't belie,•e in- And 1101 only C(IS/em cult11res-




[JSP]           We don/{???] abo11/ a11ybot61'., cult11re - we've go/ black, ,rltile - ,re've go/ eve1ytltiug a1v1111d here. You'm tlte 011/y ass/tole that doesn't tlti11k he ho.1·
                [???]. ..




PLAINTIFF       ir'., go/ eve1ytlti11g lo do with culture!


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[JSP]           YOU'RE STUPID. WHAT'S GOING ON SOUT/-f AMERICA BULLSHIT! RJDICULOUS! YOU'RE JUST, ABSOLUTELY RJDICULOUS!




PLAINTIFF       It's goi11g 011 i11 Asia, Aji·ica, Sou//, America... eve1Jn'11ere - its goi11g 011 eve1Jol'l,ere! its going 011 in tl,is co111111y as 11-ell! Its going 011 in Austin!




[JSP]           IT'S GOING ON IN AUSTIN'? OK, THAT'S GREAT!- I DON'T GIVE A SHIT WHAT'S GOING ON ANYWHERE ELSE, I CARE ABOUT WHAT'S
                GOING ON NEXTDOOR! AND IT'S A BIG PILE OF SHIT NEXTDOOR, IS WHAT I SEE!




PLAINTIFF       ok, and so, that'.~ 1wt racist in any 1my? I Got it!




[ JSPJ          NO, ITS NOT YOU - IT'S HOW YOU KEEP THE PLACE BRO!




PLAINTIFF       oh ok, got ill you k11011111-l,at - you're dissing my mltum basically!




[JSP]           RIDICULOUS MAN!- YOU'RE TRYING TO MAKE THIS A RACIST THJNG! YOU'RE AN ABSOLUTE IDIOT!




PLAINTIFF       It is a racist thing! You just called me an idiot! Basimlly, its a racist thi11g!




[JSP]           THAT'S WHAT YOU ARE! YOU'RE A PUCKING IDIOT!




PLAINTIFF       Exactly! So basical~v. ) 'OIi don't 11-a11t to admit that this is a racial iswe!


« [ JSP) C0~'1ITS CRJME OF ASSAULT AGAINST PL/ITNTIFF : D

[JSP]           l'M GOING TO COME ACROSS AND KICK YOUR ASS IF YOU SAY THAT ONCE MORE TIME! - YOU, {???} SON OF A BITCH!




PLAINTIFF       Exactly, this is the kind qf. .. Sir!


« [JSP] SHOWS BRAZENNESS - [JSP) KNO\•/S HE IS BEING RECORDED BY P!..AJNTIFF ' S BODYCN1, BUT DOESN ' T CARE : D

[ JSP]          SO,(???] BEEN AT l'OU FOR 7,8 YE"IIRS BRO. I{???} AT l'OUR ???. I KNOW WHAT YOU'I/E DOING IV/TH YOUR STUPID-ASS GOPRO ON
                AND RECORDING US - I'M NOT AN IDIOT- I DON'T GIVE A SHIT!




PLAINTIFF       I've been hying to do, be as acco111modati11g as I cm,-


~ [JSP] FAILS TO REALIZE THAT ONE OF MAIN POINTS OF NO- MOW GRASS IS TO EI..IMINATI-: THE NEED TO vJ/\TER :                                               »

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[JSP)             YOU A/NT TRIED TO DO NOTHING, SID! YOU A/NT TRIED TO DO ANYTHING BUT BE A JACKASS Tf-lE WHOLE TIME AND STICK IT TO
                  EVERY - JUST, LIKE YOU'RE GOING TO TRI' TO FIX THIS UP FOR ABOUT A MONTf-1, AND Tf-lEN QUIT WATERING IT - HUH?!




PLAINTIFF        ac/1101/y, ll'ell 110! ac/11al/y, once it~· established, it'.,· p1-elly dmught-tolera111!




[JSP)             YOU'RE DAMN LUCKY - THAT YOU CAN HIDE BEHIND THAT LllTLE RACE CARD OVER THERE- BECAUSE, 1 WOULD COME OVER
                  THERE AND WHOOP YOUR ASS!




PLAINTIFF         sit; this is a race i.~me!




[JSP)             {???] MOTHERFUCKER - I TELL YOU. HMMMM.... )'OU ARE OLD-ENOUGH TO GET AN ASS-WHOOPING!




PLAINTIFF         I can't believe that you ,.-011/d 1,r:al me like that, 1/mt'.1"just 1111believable!


« [JSP] BRl\ZE:NLY Gl'\SLIGIITS PLAINJ'IFI-' INTO TIIINKING THI\T PLl\m'rIFF RE:CORDING [JSPJ ' S /\BUSE AGI\INST PI.J\INTIFF IS FUTILE : »

[JSP)             YOU ARE{???]! YOU THINK ANYONE IS GOING TO LISTEN TO YOUR GOPRO - IS GOING TO BELIEVE{???]!




PLAINTIFF         So, you don't believe this- So, yon do11I' believe this is ab11sive 11-ea1111e11t?! yon don't believe ab11sive?! yon don't believe this is ab11sive?!


(   !JSP] REVEALS THAT WHITE- SUPREMI\CY SHOULD RULE THE DAY , PERSON-O1"-COLOR ' S REI.IGIOUS/CULTURAL VIEl·lS BE DAMNED :                                           »

[JSP)             [???] THINK THEY'RE GOING TO BELIEVE{???]? T/-/El"RE GOING TO BELIEVE Tf-lE GAME THAT YOU'RE PLAYING?! T/-IEY'RE NOT AS
                  DUMB AS YOU THINK!




PLAINTIFF         i 111ea11 this is a /er/book case of almsi1•e trealme111!


« [JSPJ THEN MAKES l\ SHOCKINGLY FRAUDULENT STI\TEMENT - THAT PL/\INTIFI", THE ONLY IMMIGRANT RACIAL-MINORITY IS ABUSING THEM : »

[JSPJ             YOU HA VE BEEN ABUSING US FOR YEARS BRO!




PLAINTIFF         abusing?!! if a11ythi11g, the ab11se is complele(v one-sided here! completely one-sided!


~ [JSP] LAUGHS-OUT- LOUD CONTINUING THE E'RAUDULENT NARRATIVE :                              »

[JSPJ             THAT'S RIG/-IT! IT IS ABSOLUTELY ONE-SIDED!




PLAINTIFF         Exactly! l ook o/ the ll'ords that you've been hollering ol me! i mean, That's crazy!


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[ JSP)             Oil. YEAH, THAT'S CRAZI'! NO, IT'S TIIUE!




PLAINTIFF          calling me an idiot! calling me-




[JSP)              FOR 8 YEARS. YOU'VE BEEN STICKJNG IT TO US!




PLAINTIFF          it'.~ 1111belie1•ab/e!


~ [JSP] CONTINUES GAS-LIGHTING ABUSE BY FRAUDULENTl,Y ACCUSING PLAINTIFF OF HAVING MENTAL ILLNESS : i]



[JSP)              I KNOW l'OU'RE NOT All THERE! YOU'RE OB VIOUSL I' DON'T FUNCTION ON All WAVELENGTHS!




PLAINTIFF          exactly. see - one insult (/(/er anotlter! i mean. itsj11.1·1 no11-.,·top!


 0C   [JSP] CONTINUES TO CO.Yi1IT FURTHER COUNTS OF RACIALLY- 1'.0TIVATED CRIME OF ASSAULT AGAINST PLAINTIFF : i]



[JSP]              OR I COULD COME OVER THERE AND WHOOP YOUR SCRAWNY LITTLE ASS!




PLAINTIFF          see - e.mc/~I', it's one insnlt after the other!



 ~ [JSP] BRAZENLY GASLIGHTS PLAINTIFF INTO THINKING THAT PI.J\INTIFF llECORDING [JSP] ' S ABUSE AGl\lNST PI.J1INTIFF IS FUTTLE : i]



[JSP]               YOU'RE STUPID SHIT! YOU PLAY THATGOPROFOR ANYBODY! THEY'RE All GOING TO LOOK AT YOU AT GO- YEAH, LOOK AT WHAT
                    YOU DID FOR THESE POOR{???] !




PLAINTIFF          oft. ok!


 g [JSPJ CONTINUES WHITE-SUPREl1ACIST,                 FRAUDULENT NARRATIVE; THEN MAKES SHOCKINGLY HYPOCRI'rICAL STATEMl!:NT ABOUT PLAINTIFF ' ~;

FENCE :   iJ
 g OVER COURSE OF NEXT 4 Jll,ONTHS, PLAINTIFF WOULD SOON SPEND $14, 000 OF PAR'J'S, BACK-BREAKING-l.J\BOR TO INSTALL A- i]
g -PERMANENT FENCE 1-HTHOUT CHARGING PLAINTIFF ' S NEIGHBORS EVEN ONCE CENT . MEANWHILE,                                                [JSP] ' S FENCE H/\S BEEN

UNREP/\IRED/LEANING- i]

( -AG/\JNST PLAINTIFF ' S PROPERTY FOR OVER 3 YEARS AT-THAT-POINT-IN-TIME : i]



[JSP)              { ???] LOOK AT YOU DROVE THEM TO. .. {???] THEY'VE BEEN{???] FOR YOU FOIi 8 YEARS, UNTIL THEY JUST COULDN'T TAKE IT
                   ANYMORE! LOOK AT WHAT YOU DID TO THESE PEOPLE! THEY'RE GOING TO SEE l'OU THROUGH, IV/TH YOUR RIDICULOUSNESS, AND
                   THEY A/IE GOING TO LAUGH AT YOU. LAUGH... {???] All THE STUPID STUFF YOU DO! HOW'S YOUR BA CKYARD LOOKJNG BACK
                   THERE?! IVHAT DO YOU Tli/NK YOU'RE DOING TO YOUR NEIGHBORS ACROSS THEY WAY... MY GOD, SID! COULD l'OU BE MORE
                   INCONSIDERATE?! I MEAN, YOU'VE HAD YOUR FENCE DOWN FOR WELL OVER 2 MONTHS NOW! DO YOU CA RE ABOUT ANYBODY
                   AROUND HERE?! YOU JUST DON'T CARE, DO l'OU?!


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PLAINTIFF           1'111Jhi11g it! Sir, you .1·c111• it!... I've already fixed it!


ff {JSP) MAKES FRAUDULENT STATEMENT THAT PLAINTIFF HAS NEVER CALLED JP " SIR" BEFORE , WHEN PLAINTIFF ' S O'.-IN RECORDINGS PROVE
OTHERWISE : ~



[JSP]               "SIR" - YOU'VE NEVER CALLED ME THAT BEFORE! YOU'RE DOING THAT NOW BECAUSE YOU'RE ON THE GOPRO! {???]




PLAINTIFF           I've called you "Sir" quite a/ell' ti111es!




[JSP]               [???]. YOU'RE SUCH A DUMBASS! YOU'RE RIDICULOUS! YOU'RE A{???]! THAT'S WHAT YOU ARE! NOBODY CAN BELIEVE ANI' OF THE

                    {???] YOU[???]!




PLAINTIFF           Ok!-


 0C    [JSP) A~~ITS TIIJ\T HE USES CANCER- CAUSING , TOXIC CHEMICALS ON HIS YARD, AGAINST PLAINTIFF ' S WILL :                             D




[JSP]               {???] AS MUCH MONEY ON[???] SPRAY AND WEED-KJLLER YOU COST ME, MAN?!




PLAINTIFF            Tlwt'.v 1101 required by a11y of the mies! Aud 1101 011/y that, it's da111agi11g to tire e11viro11111e11t!




 [JSP]               [???] YOU DON'T CA RE ABOUT THAT BECAUSE YOU'RE JUST SUCH{???/!




PLAINTIFF            It'., da111agi11g to the e11viro11111e11t! and I 1m11M be disapproving of thal! So-


 0C    {JSP] LAUGHS-OUT-LOUD CONTINUING-TO-SHOW ABUSIVE, RACIST DISRESPECT TOWARDS PLAINTIFF; THEN- D

 0C    -SHOCKINGLY REVEALS THAT ALL OF HIS , Tl!EIR PREDATORY ABUSE WAS TO CAUSE FINANCIAL HARM TO PLAINTIF F ' S- D

 ff -FAMILY !\ND DRIVE PUIINTIFF OUT OF THE WHITE-NEIGHBORHOOD BY FINANCIAL FORECLOSURE/EVICTION AS A RESULT- D
  0C   -OF SUCH LITIGATION WITH THE [HOA) - AN EGREGIOUS [FHA) VIOLATION :                                    D




 [JSP]                YOU'RE AN IDIOT!{???] YEAH!{???] THAT'S FINE. SID! I'M NOT WORIUED ABOUT IT![???] YOU'LL BE GONE/ YOUR PARENTS Will

                     RUN OUT OF MONEY! [???]


  ff PLAINTIFF IS NOT DONE WATERING,                  BUT IS 'l'RAUM/\'l'IZED BY [JSP) ' S ABUSE . PLAINTIFF' CLOSES TAP, ENTERS BACK INTO [HOUSE) .   D
  [ PLAINTIFF NOTICES THAT [DMP] WHO WITNESSED ti.OST OF THIS INCIDENT, APPROACHES [JSP] AND 1'ALKS REASSURINGLY TO [JSP) , -                          D
  K ASSURING [JSP] THEY \'lILL INFLIC1' MAXIMUM DAMAGE ONTO THE PLAINTIFF ONCE [CMP] GAINS A SEAT ON THE [HO/\] OOARD, - D
  [ - AGAIN REVEALING THE HAZARDS OF AN INDIGE.NOUS-PERSON LIVING IN A ~lHITE-NEIGHBORHOOD VJHERE ~!HITE-SUPREMACY DOMINATES . ~

  K [ DMP] , RUNS FOR [HOA]-BOARD-MEMBER,                    "WNS" SO-CALLED " ELECfION" (>s) A MON'fH LATER, AND THEN USES HIS POWER TO ENGAGE- ~

  [ -JN PREDATORY ENFORCEMENT ACTIONS AGAINST PLAINTIFF, ON BEHALF OF PREDATORY NEIGHBORS [RSR] , [JSP&KAP) . ~




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<][406
ln the aforementioned racist, abusive, fraudulent, gaslighting and assaultive rant from (JSP] to the plaintiff, (JSP] continually rails at the

plaintiff about the purely-cosmetic look of the plaintiffs property, further revealing that he, his wife, [KAP], his partner-in-crime (RSR], and

the rest of their White-American co-conspirators were predatorily targeting the plaintiff solely on the aesthetics of the plaintiff's property - in

other words, that the plaintiff's property allegedly did not conform to the aesthetics of the standard White-American residential property. In

such rant, (JSP] even admits to the plaintiff that he doesn't care if the ideas/motivation behind the plaintiff's landscaping choices were no

different (at least in principle) from at least some properties "in California" or even "in Austin", or for that matter, that the manner in which

the plaintiff lived and the plaintiff's maintenance of the plaintiff's properly was fundamentally no different from, or at least, within the spectrnm

of, that of the majority of people-of-color around the world. Instead, as [JSP] loudly and viciously orders the plaintiff to do, the plaintiff must

rigidly and unquestioningly not only conform-to, but also bow-down-to (or show great deference to), the White-American aesthetic of

property-maintenance that he and his far-right-wing-extremist base manically subscribe to. However, as the plaintiff seeks to demonstrate by

litigating this lawsuit, the smn-totality of all of the plaintiffs evidence (including this incident) did show and would increasingly continue to show

(in numerous subsequent incidents) that the manner in which the plaintiff maintained the plaintiff's property had ve1y little, if anything, to do

with the reasons that the plaintiff was being predatorily targeted by [JSP&KAP],[RSR],[WCLE] and their co-conspirators. Instead, as [JSP]'s

numerous, extremely-abusive and publicly-humiliating loud rants against the plaintiff very clearly demonstrate, [JSP&KAP],[RSR],[WCLE]

and their co-conspirators fundamentally thought that the plaintiff, due to the plaintiff's racial-profile, was a low-IQ, subhuman animal that was

entirely unworthy of any rights, let alone the right to private-property-ownership - especially private-property-ownership within what they

always considered to be "their" (exclusive-and-pure) White ne ighborhood. [JSP]'s even maliciously states at the end of this particular malicious

rant against the plaintiff, "... I'M NOT WORRIED ABOUT IT! ... YOU'LL BE GONE! YOUR PARENTS WILL RUN OUT OF MONEY!" -

which the plaintiff asserts is an extremely-revealing and overt admission by (JSP] that all of these malicious parties - [JSP &KAP],[RSR],

[WCLE] and their co-conspirators (the then-[HOA], [DMP], etc.) - were seeking to defraud the plaintiff of any-and-all of the plaintiff's and the

 plaintiff's senior-citizen [PARENTS]' money and property.



 <][407
 On or about the approximate date and approximate time of {20 17-10-31 18:00} , the plaintiff was using a hose to water the newly-installed "no-

 mow" sod grass, while also cleaning up soil/debris (from the recently-completed re-landscaping process) on the [DRIVEWAY]. (JSP] walks

 angrily towards the plaintiff, stops near the border area of[788KLLTX7864l], and sta1ts another (albeit shorter) racist, abusive rant against the

 plaintiff:
  •     RECXRll!D RACIST , l\lllJSIVB RANT, HIIRASstmff /STlWCIH'i/ JNTIMl'.llM'ICtl/INIDFPJlEla:/bISCRlERLY-o:HlUC'l'/l!LAC<NIUL ilOI (JSPll<AP) TO P1AIN1'D'F (~)

  •     [ 1/lUVMZ URL LIN11 TO BE SUIHlTlml IN OISOJIIERY )


      [JSPJ                 WHA T ARE YOU GOING TO DO IV/TH All THAT DIRT PILED UP IN YOUR BACKYARD?!


      a PLAINTIFF DOES NOT INITIALLY RESPOND . (JSP] CONTINUES TO INTIMIDATE/CALL-AT PLAHn'Tff TO GET RESPONSE : »
      « PLAINTIFF fINALLY RESPONDS : »

   PLAINTIFF                You're goi11g to start treating me with respect? Because otltenl'ise, I do not see any value i11 talking to you.




      [JSP]
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                                                         S l DDH AR'rH   KOOE     V.      \'l l LLlAMSON    COU UTY ,   ET   AL .                                                 I 6 96901690


                     YOU DON'T DESERVE RESPECT! ... {???/ ... WE WERE All ABOUT TO SUE THE {HOA], IF THE [HOA} DIDN'T Sl.jE l'OU!


  0C   [JSP] STAR1'S TO WALK Al·IAY FROM PLl\lN'l'IFF, BUT CONTINUES TO TALK : D


 [JSP)               I HOPE l'OU GUYS HA VE A LOT OF MON£ )'. MAN! ...


  ~    (KAP] APPROACHES PLI\INTIIT, AND STARTS AN INCREDIBLY HYPOCRITICAL ARGUMENT ABOUT THE FENCE: ~


 [KAP)               SID, CAN YOU AT LEAST SEE THINGS FROM OUR PERSPECTIVE?!




 PLAINTIFF           I'm just t1yi11g to pm/eel my e11virrmme11/a{ values! f ca11'1 help ii ifyon c/011'1 respec/ my e11viro11me111al values! I ca11'1 help ii if !he ( HOA] doe,m'I respecl
                     e11viro11me11tal values!


  ~    [KAP] ABUSIVELY INTERRUP'l'S Pl..l\IN'l'IFF BY REPEATEDLY SHOUTING PLI\INTIFF ' S Nl\ME, SHO\-/ING IIER SEHSE OF RACIAL-SUPERIORITY OVER
 PLl\l NTIIT: D


 [KAP)               SID! ... SID! ... SIDI




 PLAINTIFF           Whal!




 [KAP)               I'M NOT TA LKING ABOUT THE GRASS! f'M TA LKING ABOUT THE FENCE! YOU KNOW, THE REST OF US HAVE TO WORK FOR A LIVING!




 PLAINTIFF           Whal alwul lhefeuce! Thefe11ce-pos1s are 011 your side! f ca11'1 do a11ylhi11g lo/ix !hose!


  ~    [KAP] ORDERS PL.1\INTIFF TO FIX FE\'/ PICKETS, vJHEN [JSP&Ki\P] ' S ENTIRE FENCE HAS BEEN LEANING/DANGLING UNREPAIRED FOR 3➔ YEARS :
 D


 [KAP)               YOU CAN ST/LL FIX THE BOARDS FROM YOUR SIDE!


   ~   PLI\INTJFF RELUCTANTLY AGRE8S TO FIX PICKETS , STILL DUMBFOUNDED BY RACIST HYPOCRISY OF (JSP&Ki\P] ' S ARGUMENTS .                                               »
  a [Ki\PJ STARTS TO \•/ALK AWAY FROM PLAINTIFF, l•lHILE PL/\INTIIT CONTINUES ~/ORK IN [DRII/E~IAY] . »



1408
In the two aforementioned racist, abusive and/or assaultive rants from [JSP&KAP] to the plaintiff, [JSP], in referring to 2 fence panels that

bad been blown down by Hurricane Harvey (at the end of {201 7-08}) - not on the side of the plaintiffs property shared w ith [JSP&KAP], but

rather the side of the plaintiffs property shared w ith the then owner of [525LSL T X7864 I] - fraudulently claim that the plaintiffs entire fence

was down, while [KAP] hypocritically draws the plaintiffs attention to individual pickets that may be loose/dangling on the side of the fence

that the plaintiff did share with [JSP&KAP]. However, in order to fully expose the racist fraud about fenc ing that [JSP&KAP] have

perpetrated against the plaintiff in these particular incidents alone, the plaintiff must fully state the fo llowing set of facts, which includes at least

some basic technical/engineering i.nfonnation. The fe ncing that the builder of the subdivision originally installed, was not only substandard by
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                                              SIDDHAR'IH   KODE           WILLIAHSON     COUNTY   ,   ET   AL,                              169610"/690



the typical American homeowners1 standards, but more importantly, was not designed to last more than 5 years - utilizing cheap 3-inch-by-3-

inch (3x3) landscaping-timbers as fence-posts, and thus, not even the minimally-acceptable 4-inch-by-4-inch (4x4) lumber, that is at least

originally designed for such fence-posts. [JSP&KAP] made these abusive statements against the plaintiff, even though the plaintiff is clearly not

responsible for the substandard materials and/or installation of fencing installed by the builder of the subdivision. Even the average American

homeowner only repairs/rebuilds their fence - typically using 4x4 lumber - to last, on average, another 15 years. 4x4 lumber fence-posts falls

into two types - pressure-treated lumber which is impregnated with extremely-toxic chemicals (and is thus, not a choice made by most organic

gardeners), and/also untreated cedar which is more naturally rot-resistant and insect-resistant than most other types of lumber. However, no

matter the exact type of 4x4 lumber used for fence-posts, all lumber docs eventually rot, and especially under high-stress (such as strong

winds), such rotting will cause such fence-posts to lose integrity and thus cause the resulting fencing to become compromised. For these

reasons, any fencing that is built upon the foundation of 4x4 lumber-based fence-posts is normally expected to last no more than 15 years in

the Central Texas climate conditions of heavy winds and flooding rain. The statistics of the United States show that the typical.American

homeowner only stays a resident at a particular residence, on average, for 12 years; therefore, by installing such non-durable lumber-based

fence-posts, such homeowners are simply passing the cost of such fencing onto the future homeowners, which may be economically wise for

the current homeowner, but very environmentally-expensive (due to multiple replacements of fencing-materials) and at least slightly more

economically-expensive in the long-mn due to multiple purchases of replacement fencing-materials over the entire lifespan of such residential

property. Unlike most American homeowners, the plaintiff does not believe in quick-fixes/bandaids to fix unsustainable, short-term, non-

durable engineering. Instead, when the plaintiff, an engineer, tackles an engineering problem, the plaintiff tackles such problem in a manner so

that such problem never has to be dealt with again - whether by the plaintiff or by any future homeowner of the plaintift's property - the same

idea that at least partially motivated the plaintiffs "no-mow" grass installation. So, instead of re-building a fence that lasts, on average, another
                                                                                                                                        1
 15 years, which is what most American homeowners do, the plaintiff endeavored to use the plaintiffs engineering skills to build a 'permanent

fence" that never has to be fixed again - or, at a minimum, a fence whose structure will last at least as long as the stmcturc of the house itself

(as long as a tornado or earthquake does not directly strike it). In the previous months, the plaintiff was also expending enormous amounts of

back-breaking labor to re-install the aforementioned "no-mow" grass in the [FRONTY ARD]. So, for all of the reasons and facts specified in

 this paragraph, [JSP&KAP]'s loudly abusive statements regarding the plaintiffs unfixed fence was very disingenuous and fraudulent to state the

 least - and was only intended to engender more racial-animus against the plaintiff with any others in the area that were overhearing/witnessing

 including, but not limited to, [DMP] - a soon-to-be [SPOA] Board-Member. The plaintiff had ah-eady purchased and would eontinue-to-

 purchase approximately $3,000 in-total worth of fence-construction materials - several fully-loaded pallets of concrete-mix, several dozens of

 commercial-grade-IO-gauge-steel-posts (at more than triple the cost of equivalent 4x4 lumber posts), and hardware to attach such steel posts to

 the wooden part of the privacy-fencing. In addition to the cost of approximately $3,000 worth of aforementioned fence-construction materials,

 the plaintiff also spent approximately $1,000 in heavy-duty electric equipment - heavy-duty electric auger, heavy-duty electric demolition

 hammer - and other related tools to help in digging fence-post-holes in Central-Texas's notoriously extra-rocky, extra-heavy, clay-soil. With

 part of such fence construction-work already started on-or-about the month of {2017-09}, over the subsequent months of {2017-11} through

 {2018-04}, without the help of any tractor equipment (such as a skid-steer tractor), the plaintiff single-handedly expended an enormous

 amount of back-breaking labor to dig 36 post holes, 36-inches-deep, 12-inches-wide - while the typical American homeowner would have dug

 a maximum of 18 post holes, 18-inches-to-24-inches-deep, 6-inches-to-8-inches-wide. The plaintiff installed two additional commercial-grade-

 ! 0-gauge-steel-posts per panel while the typical American homeowner installs only one replacement 4x4 lumber post per panel. Although steel

 is, in themy, a superior material to be used for fence posts (at least when compared to the aforementioned lumber), even most American

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homeowners that do use steel posts end up using either poor-quality IS-gauge-steel (galvanized steel of 0.072-inch wall thickness) or adequate-

quality 13-gauge-steel (galvanized steel of0.095-inch wall thickness). IS-gauge-steel is generally considered to be extremely lite-duty and is not

recommended for 6-feet privacy fences, while 13-gauge-steel, although adequate, is not rated to last more than 25 years - in the standard

Central-Texas climate conditions of heavy winds and flooding rain. Most home-improvement stores typically only sell steel posts that are IS-

gauge and/or 13-gauge, which means that most American hom.eowners that do choose stee\ typicaUy install, at best, \ 3-gauge-stee\ fence posts.

Extra-heavy-duty I 0-gauge-steeI (galvanized steel of 0. 130-inch wall thickness) is the best quality available for such privacy-fencing and is

nonnally only available for purchase in specialty stores dedicated to fencing - the type of specialty store that caters primarily to commercial-

grade fencing contractors. The plaintiff used approximately 350 pounds to 500 pounds of concrete-mix per l 0-gauge-steel-post, while the

typical American homeowner uses one 80-pound bag of concrete-mix per post - which involved the plaintiffs hauling a total of almost 300

ve1y-heavy (50-pound/60-pound) bags of concrete-mix into the [BACKYARD], again, without the use of any tractor equipment. The plaintiff

completed the plaintiffs ''permanent.fence" in the month of {2018-04} - at a total expense ofahnost $4,000 of materials and more than

$ I 0,000 of the plaintiffs own back-breaking labor, while the typical American homeowner would have spent approximately $250 in fence-

post-installation materials and approximately $2,000 in labor cost - a total cost of approximately $2,250 to $2,500 - to re-install a 15-year-

fence. In addition to reinstalling the fence-posts, many (if not most) American homeowners also unnecessarily replace the fence-pickets even

though such fence-pickets, if installed properly, do not actually make contact with the soil therefore making such fence-pickets last much

longer then any other lumber that does make ground-contact. After inspecting the type of fence-pickets installed by the builder of this particular

subdivision, the plaintiff did not notice any significant deterioration of such fence-pickets that would warrant replacement of such fence-pickets;

however, even the replacement/installation of such fence-pickets is a trivial task that is not in the least bit taxing, requiring minimal labor, and

even most professional fencing-contractors would agree that 100-percent of the real, time-consuming, and back-breaking labor involved in
building a fence is exclusively ir1 the task of ir1stalling the fence-posts (rather than installinwreplacing the fence-pickets). The plaintiff did not

charge either of the plaintiffs two neighbors - the two property-owners at properties [792KLLTX78641],[525LSLTX78641] - even one cent

 for this expensive, back-breaking, and time-consuming work - even though, according to neighbor law, each of these neighbors owed the
 plaintiff approximately $3,945 and $3,055 respectively - a total of approximately $7,000 - for such work. The plaintiffs generous and thankless

 feat obliterates the totally racist and fraudulent narrative advanced by [JSP&KAPJ,[RSR],[WCLEJ that the plaintiff was/is "not a good

 neighbor" and/or 11inconsiderate 11 ; instead, the plaintiffs feat shows that the plaintiff thinks "outside the box" with an engineer's mind to create
                                                                                                                                                  1
 permanent solutions to homeowners' problems, rather than resorting to quick-fixes/bandaids to make-do for 15 more years. The plaintift s feat

 was/is also particularly impressive given that the plaintiff weighs approximately 105 pounds and is even described (multiple times) by defendant

 [JSP] as '~~crawny 11• The most outrageous and fraudulent aspect about [JSP&KAP]'s racist, abusive and/or assaultive statements to the plaintiff

 is the sheer hypocrisy of such statements: the fence on [JSP&KAP]'s property [784KLLTX7864l], which the plaintiff cannot fix since the

 fence-posts are on [JSP&KAP]'s property [784KLLTX78641] - has been totally unrepaired and danglinwleaning for at least 3 years - since at

 least {2014} - at that point in time, and still to the day that [JSP&KAPJ moved out ofprope1iy [784KLLTX78641] (at the end of {2022-07} ),

 remained totally unrepaired (for a total of approximately 8 years). [JSP&KAPJ - who had mastered their· manipulative ability to publicly

 commit such racist fraud against the plaintiff - do not reveal any of these uncomfortable/damaging facts in their aforementioned loud, racist,

 abusive and/or assaultive rants against the plaintiff.



 i409
 On or about a relatively-cold evenir1g during the month of {2017-11}, the plaintiff is in the [BACKYARD], perfonning some clean-up work
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                                                         SlDDHAR'l'H    KOOE


after the recently completed front-yard re-landscaping work. During the re-landscaping process in the previous month, the plaintiff had

deposited large-heaps of soil originating from the [FRONTYARD] into the middle of [BACKYARD] (at a significant distance away from the

borders of the plaintifPs property). Af, the plaintiff is walking around in the [BACKYARD] performing some clean-up work, [JSP], steps onto

some type of step-stool along the fence within the backyard of [784KLLTX78641], peeks over the plaintiff's privacy-fence (in total violation

of the plaintiff s rights) and abusively shouts to the plaintiff, so that others nearby (even inside their houses) could easily overhear, "LOO](S

LIKE A CITY DUMP IN YOUR BACKYARD! ... THAT'S UNBELIEVABLE! ... YOU'RE UNBELIEVABLE! ". The plaintiff does not
respond to the loud, abusive statements and the invasion-of-privacy. Both [JSP&KAP],[RSR] have repeatedly targeted the plaintiff not for any

legitimate health/safety concerns on the plaintiffs property, but rather, for what they claim to be the non-conforming aesthetics of the

[BACKYARD] - which not only has absolutely no impact on "property-values" (since the [BACKYARD] is not visible from the street), but

also even the [HOA] does not have the enforcement authority/power to do anything about - as any such enforcement action concerning a

private, enclosed backyard would be "arbitra1 y, capricious, or discriminato,y" if it can be shown that [HOA]s are not inspecting eve1y

owner's backyard. The incident is just one of many dozens of incidents in which [JSP] and/or [RSR] loudly and abusively shout at the plaintiff

to engender more racial-animus against the plaintiff in the plaintiff's other White-American neighbors. It is also clear from this particular

unconstitutional-and-unlawful search and the multiple other unconstitutional-and-unlawful searches of the plaintiff's property that [JSP] has

committed against the plaintiff over the many years, that [JSP] was fraudulently acting "under color oflaw" against the plaintiff, thus also in

violation of [ 18-USC-PI-C 13-§242] and [I 8-USC-PI-C43-§913] and/or [TPeC-T8-C37-§37. l l] against the plaintiff.




 91410
 On or about the date of {2017-11-18}, the plaintiff sends the following social-media-private-message to the plaintiff's other next-door-

 neighbors residing at [792KLLTX7864 l ], [CB&KB], regarding two specific issues of shared interest between the properties of

 [792KLLTX7864 I] and [788KLLTX7864 I]. Once again, such message dismantles the defendants fraudulent narratives about the plaintiff,

 and instead, further demonstrates that the plaintiff was ve1y-attentive-to and fully-committed-to-resolve (to the fullest and best extent) all issues

 that needed maintenance within the plaintiff's private-property, including but not limited to, the aforementioned permanent-fence-construction-

 work. Such message also reveals that the plaintiff was both proactive-about and genuinely-concerned-about the plaintiffs landscapers

 accidentally cutting a utility-connection (television/phone/internet) cable originally buried underneath the soil of the plaintiffs

 [FRONTY AR.DJ/side-yard, but which actually was meant as a utility-connection cable for the neighboring-prope11y, [792KLLTX7864 I]. Af,

 the plaintiff explains in such message, the plaintiff had noticed a utility-connection service-person servicin!Y'repairing/replacing such connection,

 and approached such service-person to ensure that there would be no charge issued to [CB&KB] as a result of suc h accidental cutting due to

 the plai.ntifPs re-landscaping efforts. The plaintiff verifies in such message that [CB&KB] would not be charged a fee for such

 servicin!Y'repairing/replacing, but that if such fee was charged, that the plaintiff was willing to pay the full amount of such

 servicing/repairin!Y'replacing:
       "Shared-Boroar utility eonn.cuon Cables ; Shared-Boroar Fwo,:,,/' ,        1'IUVA'I'E IESSlal mac PI.UNl'In' ro (CBQ(BJ I~)   12011- 11- 10 1a :16J   <->
   •   I 1'IUVA'I'E ~ a , i lll ~ OMITn%>/Rl!DACTED ro m:mx:T PIUVllCY J

   PLAINTIFF            Dear Neighbor,




                        My name is Sid Kode. I c1111 your next-door neighhor that lives al "788 Kingfisher lane, Leander TX 78641 ".



                        I 11YJ11Jd like to bring to your a1tentio11 2 issues, reganling:
                                                                                     PAGE    491   0~      95 6
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                                      S 1 DDHA R 'r H   K ODE    v.       WI LLI AHSOU       COU HTY •   ET   AL .                                                     16969016 90




( I) 111ility c:o1111ectio11 cables shan'<I along 011r p,vpe11y bonier.
(2) fencing shared along 011r prope11y bonle1:




(I)

After some laml,capi11g um* recently pe1fom1ed at my p,vperly ab<>11/ 3 ll'eeks ago (2017- 10-25), my landscapers and I noticed 2 loose a11d/01· c11/ lllili(I'
co1111ectio11 cables 011 my p,vpe11y. Since both of these cables \\'ere b11ried in my prope11y, I a.tmmed that both of them 11-ere tied-to and a.tmciated-with my
property - 011efor Spectn1111 cable and the other/or AT&T DSL. Lafl 11-eek (2017-11-14), I had contacted AT&T to look into this issue - ho\\'e11e1; since I
do 110 use any AT&T .,e,vicesfor my propel'ly, they 1m11ld 1101 be able to j)x the cable c01111ectio11 1111le.t, I acl/lally signed-up.for their se1vice.


More impo11a11tly, the AT&T lech11icia11 ("••••''.) 11110 wt~· lending lo the AT&T co1111eclio11 cable 011 Sat11rday moming. 2017-//./ 8, ii![on11ed me that ii
11t1s;'011r AT&T co1111ectio11 and 1101mine. even tho11gh this pm1 of the cable (and even the AT&T box) 1-esides 011 my prope11y and 1101 yow:,. Mr. ••••
told me that yo11 had m/ledfor new AT&T se1vice, and a, s11ch, 1he1-e 11m 110 i11stallatio11 charge billed w )'OIi. Holl'eve,: if )'OIi have been billed by AT&T
for imtallatio1,l1-epair of this partic11lar cable and if s11ch c/,arge(.v) 11'011ld 1101 have occ1111-ed !f 1101 for the afo1-e111e11tio11ed la11d,capi11g 1mrk 0 1111()'
propeny, then I am 11·illi11g to 1-eimb11rse J'Ollfor snch e.rpense a, long m yo11 provide me with a copy of the billlstate111e111h-eceip1 doc11111e11ti11g s11ch
chmgeM, I also 1-eq11e.,ted M,: •••• ta have the AT&T crew imta/1/bwy the 11e,..ly-insta/led AT&T cableji1/ly 011 )'OIi/' property tmd 1101 pm11y within II(\'
property (as ll'OS previo11sly the c«,e), so that \\'e do 110/ e11co1111ter s11d1iss11e., in the/111111-e, for example, if a11yf,1t111TJ la11dR·api11g 11'01* 11-e1e to take place
either 011 yo11r property or mine or bath. Pleme 110/e that since s11cl, ll'iring is i11sta/led i11 a ve1y sl,a/loll' m<mner - ve,y dose ta the s111face-lc1•el soil - ii ii"
virt11a/ly impassible to do any laml.1·capi11g "'°'* witl,011/ damaging or c111/i11g i11to them.




(2)

As )'OIi fJJVbably know, 011r sl,m-ed backyanlfe11ce along 0111· property bo1der is i11 need of some repair-11·01*. Over the 11er/ 3 111011/hs, I ll'ill be installi11g
additional IO-ga11ge (ve1y-d11mble, heavy-ll'eigl,t) metal fence posts (.1ec111-ed ll'i/1, co11c1-ete) in additio11 to the e.risti11g leaning (cheap-111,ali()',
s11bsta11dmr/} la11drmpi11g-ti111ber pasts (that /,ave been damaged by 11·i11d-stonn'ilh111rica11e.v), in order lo e11s11re that the fence slays f,11/y 11prightlerec/
ll'itho111 leaning in either din'l·tio11. Most,![ this repai,~,mrk i11volvi11gfe11ce po.I'/.,· and 1,ruul mils can be completedf,·om my side of the property.
Hm1eve1: as )VII know, the ,mod pickets can only be seLw -e,Ui11sta/ledfiv111 )VIII' side of the {)IVflCl1)'. As s11ch, I kiml~1• req11es/ one of the Jolloll'i11g,
either:


(*) that )'OIi 11se 1-5/8-incl, 118 (or belle,) deck scre11ll' lo .1·ec111e those pickets onto the e.ristiug m ils. Nails ,11-e 1101 as d11mble, and if nails ore 11sed he1-e, the

problem of 11ndo11e pickets ll'ill resmface in the 11ot-too-distantf11111re.


(*) that )'OIi allow me to e11ter into yo11r prope11y backyanl to sec11re those pickets ming s11ch screws, as 1ms the case ll'ith my previous neighbors.



Ifyo11 will be /111/y 1-eplaci11g any of the pickets instead of using the e.ris1i11g pickets, then pleme 11se 5. 5-inch Cedar pickets, since these are the most-
dumble, lmrest-mai11/e11011ce 011d chemical-ji'ee. I hal'e alrea<b•purchased some additional Cedar picket.1· i11 case !hey me needed Pleare f eel fi'ee to let me
know how )'OIi 11'011ld like to ha11dle the iss11e of the loose pickets.


Also, j11st so that )'OIi knoll', I will need to te111port11ily tilt part of the erisli11gfe11ce panels 011/0 ;v11r p1Vpe11y in mrler to make room to dig holes to i11sta/l
the new metal fence posts.




Please f eel J,·ce to let me know if;,v11 /,ave 011y iss11es wit/, a11ythi11g I have described in this me.t mge.




Sincerely,
SidKode.
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                      If you are 1101 tl,e i11te11ded recipie/11 or an autl,orized represe11/ative of tl,e i11te11ded recipie111. you are l,ereby notified 1/,a/ any review, disclosure,
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1411
On or about the following date of {2017- 11-19}, [CB] responded, via private-message, that [CB&KB] were not charged by the utility-service-

provider for the servicing/repairing/replacing of such utility-connection, and so, no reimbursement would be necessary. [CB] had stated a

concern about the possibility of their pet-dog entering into the plaintiff's [BACKYARD] if the plaintiff left any large opening for such dog to

pass through, and the plaintiff re-assured [CB] in a follow-up private-message (on the same date) that the plaintiff would ensure that the

plaintiff would be constructing such pennanent-fence in a diligent manner that ensured that there would be no such opening for any extended

period of time, allowing for such pet-dog to cross-over into the plaintiff's [BACKYARD]. ln such follow-up private-message, the plaintiff did

also apologize if the cutting of such cabling caused any interruption in services to [CB&KB] as the plaintiff had assumed that all of such cabling

buried at such shallow-depth within the plaintiffs [FRONTYARD] were exclusive ly dedicated for the plaintiff's private-property. (Even the

plaintiff's landscaper, [LC-SR], had frustratingly informed the plaintiff that such tele-communication cables were only installed by most service-

providers no more than an inch-or-two underneath the soil.)



1412
The so-called "election" (>s) of the {2017} [SPOA] Annual-Board-Meeting resulted in [DMP] "winning" a Board-Member position of the

[SPOA]. Right after such {2017} [SPOA] Annual-Board-Meeting which was attended by [RSR], [RSR] greatly increased the mafia-godfather-

like power that she ah-eady previously wielded over the neighborhood, and thus the [HOA], by installing one of her cronies, [DMP], into such

powerful position, yet again, with the sole aim of all of [RSR]'s (and her co-conspirators [JSP &KAP]'s) predatory actions being to get the

newly-formed [HOA-BoD]s to continue to further-escalate predatory legal action(s) aga inst the plaintiff.
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1413
On or about the approximate date and approximate time of {2018-02-05 14:00}, the plaintiff approached the plaintiff's water-meter located in

the plaintiff's yard in-order-to take a photograph of the current-reading. (JSP], who was in the driveway of (?84KLLTX7864 l ], yells out to the

plaintiff while pointing to one of the plaintiff's security-cameras, "HEY, MAN. YOU BEITER REMOVE TIIAT CAMERA POINTED AT

MY PROPERTY, OR I WILL COME OVER THERE AND DO IT MA-SELF! ... I'll cmck your flead ope11 ivflile I'm over tflere as

,veil!" (A.) T he plaintiff, without responding to [JSP]'s terroristic-threat (including graphic death-threat), and after taking photograph of the

current-reading of the water-meter on handheld camcorder, enters back into [HOUSE), further-traumatized by such experience.



1414
On or about the day of {2018-02-05}, the plaintiff ordered another full-pallet of concrete-mix (over two-thousand pounds worth of concrete-

mix) for the purposes of the aforementioned permanent-fence-construction from a local home-improvement/ hardware store. On or about a the

morning of the month of {201 8-02-08} , the delivery-driver uses a tractor with fork-lift to unload such pallet from the delivery semi-truck, onto

the [DRIVEWAY] and then into the plaintiff's garage, which contained other partially-used pallets of similar concrete-mix. While the delivery-

driver is perfo rming this task, [RSR) steps out of her house at (789KLL TX7864 I), and walks towards the plaintiff to take

photograph(s)/video(s) of the activity, and then after spending a minute or so doing so, steps back into her house. At this moment in time, the


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plaintiff is still in pending litigation with the (HOA] to rightfully fight for the plaintiffs right and eve1y-homeowner's right to install "no-mow"

landscaping. The multiple pallets of concrete-mix that the plaintiff ordered was for use in the permanent-fence-construction and thus, had

absolutely nothing to do with the plaintiffs legal-fight for "no-mow" landscaping. So, [RSR], despite seeming to have very little understanding

of the law (in general), uses dirty tricks and underhanded tactics of intimidation/inte1ference in-order-to try to intimidate the plaintiff into giving

up the plaintiffs legal-fight for justice - again, not much unlike the far-right-wing-extremist people that vicious\y ffit\mkiated/intcrfered-with and

stood in the way of the many people (of all races) that fought in the civil-rights movements of the previous and current generations. However,

at this moment in time, the then [HOA] is still being run by the (f-HOA-BoD]s [SPOA-P-BC],[SPOA-VP-AH] and newly "elected" Board-

Member [DMP], all of whom are in illegal conspiracy with [RSR],[JSP &KAP] to abuse/oppress/violate the plaintiffs rights. Therefore, due to

this illegal abusive/oppressive conspiracy, (RSR] feels emboldened to act with absolutely impunity and unchecked abusive/oppressive power

against the plaintiff, having already achieved considerable success in her abusive/oppressive intimidation/interference tactics against the plaintiff,

in-order-to maximize the amount of pain-and-suffering that she had inflicted and was continuing to inflict onto the plaintiff.



<.[415
On or about the date and approximate time of {2018-02-12 13:00}, the plaintiff makes initial contact with the (Austin Tenants Council),

 [ATC], which is a local non-profit agency that coordinates official fair-housing-investigations with the [US-HUD] and/or [TWC] - the federal

and state agencies (respectively) that handle such official housing discrimination complaints. In a serious of communications between plaintiff

 and the [ATC], the plaintiff briefly documents the approximately nine years (at that moment in time) of fair-housing-violations suffered by the

 plaintiff at the hands of the defendants (and also the then-[HOA] under [f-HOA-BoD]s[SPOA-P-BC],(SPOA-VP-AH],[DMP]). The (ATC]

 made a timeline and/or summaiy of the [FHA] complaint made by the plaintiff, in an effort to forward it to the [US-HUD], initially stating that

 they would contact the plaintiff to fu11her coordinate such submission(s) to [US-HUD]. Also, the [ATC] had advised the plaintiff to report the

 repeated racially-motivated threats of violence that the plaintiff had received to local-law-enforcement, by which they meant [WCLE]. The

 plaintiff explained in one-or-more c01mnunications to the [ATC] that [WCLE] was actually acting in conspiracy against the plaintiff with the

 very-same perpetrators of racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff - as the numerous

 incidents from the previous years illustrate. Based on the fact that the plaintiff had a\ready retained two attorneys that exc\usive\y represent
 homeowners (in [TPrC] cases) at that point in time- [ATTORNEY-PS] (for the actual litigation work against the then-(HOA]) - but also

 [ATTORNEY-DK] (prin1arily for further consultation and further legal advice) - the [ATC] was more reticent to proceed with such [US-HUD]

 complaint - the conventional expression being that competing attorneys do not like to step on each others' toes, and any competing litigation

 efforts would simply complicate the process. In retrospect, and as future incidents would continue to reveal, the plaintiff considers this

 reticence to be the correct decision even from the plaintiffs perspective, as the plaintiff would continue to accumulate an actually-increasing

 amount of evidence of fair-housing-violations in the years that followed - the conventional wisdom behind any long-term legdl claim (such as an

 (FHA] claim) is that, the greater the amount of evidence of such violations, and the longer the period of time of such violations, the stronger

 the case actually is.



  <.[416
 On or about the morning of the day of {2018-02-23}, the plaintiff is in [FRONTYARD], performing landscaping work. While the plaintiff is

 perfonningthis task, [RSR] steps out of her house at [789KLLTX78641], and walks towards the plaintiff to take photograph(s)/video(s) of the

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plaintiff's bushes/trees in the foundation-plants area in front of [FRONTPORCH] of [788KLLTX7864 l ], stating to the plaintiff with a

malicious smile on her face, "!l's a prelly big job!" In making this statement, [RSR] was referring to the size of the bushes/trees in the

plaintiffs yard, in effect, ordering the plaintiff to significantly cut those bushes/trees or else, she would continue to demand fu11her legal action

against the plaintiff from the [HOA], even though [RSR] is fully-aware that the plaintiff has deeply held religious/cultural values/practices

against cutting of such vegetation. [RSR] engages in this additional predatory act of intimidation/interforence/b\ackmai\ against the plaintiff

despite of the fact that she knows that there is no restrictive covenant that restricts (or for that matter, even regulates) the size (length, height,

or width) or shape of such bushes/trees.



<JJ:417
On or about the date and approximate time of {2018-03-02 14:00}, the plaintiff was unboxing some newly-purchased trays of agriculhtral

plant-plugs, intended for planting for agricultural use. As the plaintiff was unboxing and taking photographs to document any damage to the

plant-plugs, [RSR] (who lives across the street from the plaintiff), as she has done on numerous previous occasions, allowed her large dog, [L],

to roam freely (unleashed) across the street from her property, onto the sideyard area bordering the plaintiffs property [788KLLTX78641] and

[792KLLTX7864 I]. [RSR] initially yells out to [L], prompting the plaintiff to interrupt the plaintiff's work, and take a look at where [L] is

actually roaming/running - as [L] had on multiple previous occasions stepped well into the plaintiffs property, not only in clear violation of the

 neighborhood's restrictive-covenants, but also despite of the fact that there is also a [CTW] issued to [RSR] forbidding [RSR] from stepping

onto the plaintiffs property (see above), should [RSR] need to retrieve such dog from the plaintiff's property. At the end of this incident, it is

once-again revealed that defendant [RSR] has never wanted any of her criminal conduct including the retaliatory crimes of racial-

 intimidation/harassment/stalkingldisorderly-conduct/blackmai.1/criminal-mischief/criminal-trespass/etc. to be captured on the record:
  •         RECXRllD RACIST, ABUSIVE, ~ <DKJNICM'Ial fflCM [l!SR] 'lQ PIAIN'l'llT(~) ,     (2018- 03- 02 14 :00] (-)

  •         ( PIUVME IIIU. LIN!( TO BE sua«rrr2D DI DISCXll/ERY J




      0C    PLAINTIFF IS KNEELING OOilN TO UNBOX/PHOTOGRAPHS PACKAGES . PLAINTIFF FIRST HEARS [L] , THEN SEES [L] ROAMING DIRECTLY IN

  FRONT OF [788KLLTX78641]                  D
      I\/\ FEW SECONDS LATER, [L] RAN DEEP INTO TIIE SIDEYJ\RD BORDER-AREA OF [792KLLTX78641] , [788KLLTX78641] , AND [RSR) YELLS OUT : D


      [RSRJ                    COME-ON MAMA! COME BACK HERE! COME BA CK HERE!



      I\ PLAINTIFF GETS UP AND WALKS TO SEE \•/HERE [L] IS .              [RSR] YELLS OUT TO PLAINTIFF :                D
      [RSRJ                    SHE'S NOT ON YOUR PROPERTY! Idiot!



      I\ PLAIN'l'IFF CONTINUES TO WALK 001/N SIDEWALK TO SEE WHERE [L] EXACTLY IS: D
      I\ PLAINTIFF FINALLY NOTICES DOG IN [792KLLTX78641) SIDEY/\RD .                    [RSR] CONTINUES TO INTIMIDATE PLI\INTIFF :             D
      [RSR]                    THIS HAS NO1HING TO DO WITH YOU!



       0C Pl.JUNTIFF, WHILE ON SIDEWALK, l'II~'H BODYC/\M RECORDING ALSO TAKES OUT HANDHELD RECORDED TO RECORD [L) D

       [     [RSR] l'll\LKS IN FRONT OE' PLAINTIFF, TRESPASSES ONTO [792KLLTX78641] , LOOKS B/\CK MENACINGLY AT PLAINTIFF D

       0C [RSR] WALKS DEEPER INTO [792KLL'l'X78641] YARD,             AND [L] FINALLY RUNS TO [RSR] .                  [LJ THEN APPROACHES PLI\INTIFF ' S LEGS D

       0C   PLAINTIFF STANDS MOTIONLESS BUT STILL RECORDING, WHILE [RSR) YELLS C0.~11\NDS TO [L] .                            D

       I\ [RSR] F"OLLOWS [L] WALKING /\T A FEET ' S DIST/\NCE AROUND PLAINTIFF .                  [RSR] REACHES DOWN TO GRAB [L] .          D
      {RSR]                    HE DOESN'T WANT TO BE AROUND YOU! COME ON. GET HOME! HE DOESN'T WANT TO RE AROUND YOU! COME ON. GET HOME! COME

                               ON.
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  [   [L] RUNS UNCON'IROLLEO WELL INTO THE PLAINTIFF ' S YARD, DRIVEW/\Y VERY NEAR THE UNBOXED FARM PLANTS .       D
  « PLAINTIFF IS NO';I WORRIED THAT [L] \'/ILL STOMP mrro t-K>RE THAN $500 \·:ORTH OF PURCHASED FARM PLANTS . D
  ~ PLAlNTIFF CONTINUES l•JALKING OCYllN SlDl:.."WALK TO CONTINUI:: RECORDING (L] .   [RSR] CONTINUES ORDERS TO [L] :   D
 [RSR)               l ....! LET'S GO! ... l ....,



  g [L] FINALLY RUNS OUT OF PLAINTIFF ' S PROPERTY, BACK ONTO SIDENALK .         [RSRJ LOOKS BACK AT PLAINTIFF AND MENACINGLY STATES :     D
 [RSR]               YOU DO NOT HAVE MY CONSENT TO RECORD!



  « [RSR] CONTINUES TO ORDER {LI TO ENTER BACK INTO (RSR] ' S PROPERTY [789KLLTX78G41] . [LI FINALLY RUNS BACK '!Ui/1\RDS
 [789KLLTX78641} .    »
  ~ PLAINTIFF STOPS HANDIIELD-RECOROER; WALKS BACK TO':l/\ROS PACKAGES ; QUICKLY INSPECTS UNBOXED PACKAGES FOR DAMAGE TO

 TRAYS/PLANT-PLUGS .      D




i418
On or about the date and approximate time of {20 18-03-08 16:00}, the plaintiffs senior-citizen [MOTHER] had driven her vehicle into the

driveway of the plaintiffs property [788KLLTX7864 1]. [MOTHER] waits while plaintiff exits [FRONTDOOR] and enters into the back-

passenger-seat of [MOTHER]'s vehicle. After p laintiff is seated in such backseat of vehicle, [MOTH ER] is about to reverse vehicle out of

driveway, and starts to reverse such vehicle out of [DIUVEWAY]. [MOTHER] in1mediately notices that [RSR] has rushed across the street

from her property [789KLLTX7864 1) with her dog [L], in-order-to obstruct [MOTHER],plaintifffrom leaving the plaintiffs property in such

vehicle ( '7 ) . [RSRJ then passes around from behind [MOT HER]'s vehicle, stares menacingly and in an initimidating manner at the plaintifrs

senior-citizen [MOTHER] (who is seated in the driver's scat), and then aggressively/menacingly raises her middle-fmger - the well-known

vulgar gesture - directly towards the plaintiffs senior-citizen [MOTHER]. [MOTHER] immediately drives way without responding to [RSR],

fearing what [RSR] might do next, and traumatized by such experience. It is important to note that [RSR], who lived diagonally and across the

street from the plaintiff, had absolutely no reason to cross the street other than to deliberately "obstruct, delay" [MOTHER],plaintiff from

reaching the destination. [RSRJ also committed such crimina l act of intimidation/interference/disorderly-conduct intentionally so that she could

even fraudulently accuse (senior-citizen) [MOTHER] of trying to run-over [RSR] and/or her dog [L) with [MOTHERJ's vehicle. It is impo11ant

to note that both the plaintiff and [MOTHER] were directly involved in commercial activity, specifically agriculture - using products purchased

through interstate commerce - on this pa11icular trip. This incident reveals ve1y-clcarly that [RSR] would res011 to the dangerous tactics of

intimidation/ interference - including both racial-intimidation and interference-with-commerce-by-threats-or-violence ([ 18-USC-P I-C95-§ 195 1])

against the plaintiff,[MOTHER] even while there is (relatively-large) vehicle involved - threatening-to or attempting-to "obstruct, delay" the

plaintiff,[MOTHER] and such vehicle from reaching the destination.



1419
O n or about the date and approximate time of {2018-03-16 16:00}, the plaintiffs senior-citizen [MOTHER] had driven her vehicle and parked

it at the front curbside of the plaintiffs property (788KLLTX7864 1]. [MOTHER] did not want to drive into the (DRIVEWAY] precisely

because [MOTHER] wanted to avoid being obstructed/accosted from behind by [RSR] which took place approximately a week prior (see

above). The plaintiff begins loading [MOTHERJ's vehicle with landscaping/farming supplies/materials/equipment, finishes manually watering

the recently-installed no-mow grass using a hose, and enters into back-seat of [MOTHER]'s vehicle drive away from plaintiffs property. As
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[MOTHER] is driving down street, both plaintiff and [MOTHER] notices [RSR]'s vehicle stopped at tile intersection. [RSR]'s vehicle remains

motionless for absolutely no reason for approximately a minute. In other words, [RSR], within her vehicle, was maliciously try ing to "obstruct,

delay" [MOT HER],plaintiff from gelling to the plaintift's,[MOTHER]'s destination ( ¼) . [MOTHER] eventually realizes that [RSR] was not

going to move her vehicle out of the way, and [MOTHER] maneuvers [MOTHER]'s vehicle around [RSR]'s vehicle - even having to enter

partially into the opposing-traffic's lane to do so. As [MOTHER] is doing this, plaintiffs action-camcorder catches the license plate of the

vehicle, w hich the plaintiff would later see parked in [RSR]'s driveway - confirming that it was, in fact, [RSR] that obstructed

[MOTHER],plaintiff. After [MOTHER]'s vehicle enters the feeder to the highway "United States Route 183", a highway involved in interstate

or fore ign commerce, and after [MOTHER) continues to drive down this feeder road, both [MOTHER],plaintiff notice [RSR]'s vehicle pass

around [MOTHER]'s vehicle on the road, and drive in front of [MOTHER]'s vehicle. While on that same feeder road of highway "United

States Route 183", [MOTHER] then turns into ano ther road leading to the destination, thereby avoiding any further malicious conduct of

[RSR]. It is important to note that both the plaintiff and [MOTHER] were directly involved in commercial activity, specifically agriculture -

using products purchased through interstate commerce - on this particular trip. This incident reveals very-clearly that [RSR] would resort to the

dangerous tactics of intimidation/interference - including both racial-intimidation and interference-with-commerce-by-threats-or-violence ([ l 8-

USC-PI-C95-§ I 951]) agains t the plaintiff,[MOTHER] even while both parties are driving vehicles (weighing several thousands of pounds) on

the road/highway, threatening-to or attempting-to "obstruct, delay" the plaintiff,[MOTHER) from reaching the destination. It is also clear that

by "obstructing. delaying" and "inte,fering-with" the plaintiff,[MOTHER] from traveling tlu-ough two County-of-Williamson roads

(Kingfisher, Hummingbird), and reaching "United States Route 183 " and the ultimate destination, [RSR] additionally committed two counts of

the crime of[ l 8-USC-PI-C 13-§245), "Federally-Protected-Activities", against both the plaintiff,[MOTHE R) - on the basis of both the

plaintiffs racial-profile and [MOTHER]'s racial-profile - by preventing, or attempting-to-prevent, the plaintiff,[MOTHER] from lawfully:

® "traveling in or using any facility of inte,:rtate commerce, or using any vehicle, terminal, or facility ofany common carrier by motor ";
AND

@ •~Jarticipaling in or enjoying any benefit, service, privilege. program, facility or activity provided or administered by any State or
subdivision thereof"



1420
On or about the date and approximate time of {201 8-04-25 I0:00} , the plaintiff is watering the plaintiffs newly-installed no-mow grass - which

at this point in time is still unestablished sod - in the plaintiffs front-yard using a hose. [JSP) walks aggressively/angrily towards the plaint iff,

fraudulently yelling to the plaintiff that the plaintiff had damaged one of his sprinkler-system-heads. While the plaintiff remains silent, [JSP]

continues to yell loudly and abusively at the plaintiff trying to get the plaintiff to respond, even threatening to sue the plaintiff if the plaintiff d id

not rectify the issue. The plaintiff, initially shocked by the fraudulent allegation, timidly denies damaging any part of [JSP&KAP]'s sprinkler-

system. When [JSP] responds angrily and abusively, the plaintiff asks [JSP] to show the plaintiff what [JSP) is referring to. [JSP] walks back

to his garage to start-up his sprinkler-system and points to location of where the sprinkler-system-head would ordinarily pop-up above ground

for irrigation. Firstly, the location that [JSP] pointed to was in the "curbside-grass-area", which is, technically-speaking, considered to be

public-property, and therefore, not [JSP&KAP]'s private-property. Secondly, it was not the plaintiff that had installed the border-edgj.ngofthe

plaintiff's no-mow-grass in that "curbside-grass-area", but rather, the plaintiff's hired landscaping contractors that did such work. It appeared

that the bo rder-edging that the plaintiff's landscaping contractors installed was obstructing that particular sprinkler-system-head from popping-


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up above the ground. The plaintiff reluctantly agreed to fix the issue (in-order-to avoid any potential litigation), and within a week or so from

that date, the plaintiff personally spent about a half-hour of the plaintifrs own time and effort, using heavy-duty electrical-equipment to dig and

fix the issue.



Sl:421
On or about the dates of {2018-07-02} and {2018-07-03}, the then [HOA-BoD)s (led by [SPOA-P-BC),[SPOA-YP-AH)) send the following

email messages (see below) to all residents of the subdivision, ahead of July-Fourth, reminding all residents that the lighting of fireworks is

illegal within the subdivision. The plaintiff asserts that such repeated emails from the [HOA) are truly disingenuous because neither the [HOA)

nor [WCLE) truly-and-seriously intended to enforce the fireworks-ban restrictive-covenant (and the Texas law of Disorderly-Conduct) within

the neighborhood. Also, while such [HOA-80D)s disingenuously proclaimed to be against the lighting of fireworks, one-or-more persons

appointed by such [HOA-80D)s' to the top-position(s) of the [HOA) Architectural-Control-Committee ("[HOA-ACC)") - including [HOA-

ACC-CEM) (also a member of one-or-more other [HOA) committees) - openly voiced their support on social-media (see below) of such

residents illegal and rampant lighting of such fireworks (even during the burn ban) - even outrageously justifying just brazen disregard for the

restrictive-covenants of the neighborhood - revealing once again, to the plaintiff that the [HOA) is, at best, an unprofessional-and- inconsistent

organization, and at worst, a corrupt-and-racist organization. (T he plaintiff has asserted that such illegal lighting-of-fireworks is done

disproportionately by the White-American or non-immigrant residents of the subdivision.) As a result of this lack-of-enforcement, the rampant

lighting of fireworks in the neighborhood (by countless residents of the neighborhood) continued through this year and following years (as

evidenced by numerous social-media-postings by numerous residents complaining about such issue).
 •         • ~ y n : Outside llum IIAn and ~ r u " •          Dan. not [HOIHlcD)a TO ALL (S,-lynl                RESIIJDfl'S ~ "nRIJOU'CS BAN"   {2018-07-02 13:43) {- )
 •     [    ~ INFCRIM'IOO IN DMlI. CNIT.l!D/lm»Clm TO l'Rm!C1' PRIVACY J


  [ HOA-Bo0] s             Dear f/0111eo1mers:


                            With the Fowth of July ouly a few days away, 11Y! wanted to remind eve1Jv1,e that
                           the association doc11111e111s strictly prohibit the use offlre11v1*s in the
                           co1111111111ity. Specijlcally, this language ca11 hefmmd i11 Section 3.4. "(I) Uses
                           Specifically Prohibited," of the DCC&R 's of the Declarotio11 of Cove110111s.
                            Conditions. and Restrictions.


                            The Libe,ty Hill Fire Dep011111e11t has co11fin11ed there is a bum ban in effect in
                            IVilliam.1'011 County at this time. Firewo,*s are prohibited in the county during
                            this hum ban. This may be enforced by any dulJ>-co111111issio11ed peace office,: It
                            is a Class C Misde111ea11or that is punishable by a fine up to $500.


                            We hope eve1yo11e has a safe and enjoyable l11depe11de11ce Day!


                            Regmds,


                            Board of Directors


           •s.-rlyn: Outside Bum 11An and n - b " •           D a l l . ~ (HOI\- BcD) a TO ALL ( S\marlynl       RESlmNl'S ~ "FIRDDlKS BAN"      {2018- 07- 03 10: 21) {-)
 •     [ -          DIPCRUITIOO IN DMlI. Q'1Tl!D/'AIIIW:TII) TO PRm!Cr PIUVllCY I

     [ HOA-BoO] s



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                                                              SI DOHAR'i' H   KOOi::      V.       WlLLIAMSON     COUtl TY   ,   ET   AL .


                        Dear Homeo11~1ers:


                         Wil/1 the Fo1111h of July 011/y a few days away, we wanted to remind eveiyo11e that
                         the associatio11 documents strict()' prohibit the use r!f"fin'lm1*s in the
                        community. Specifically. this la11g11age ca11 be fmmd in Section 3.4. "(/) U,es
                         Specifically Pm/,i/,itcd," of tire DCC&R 's of tire Decl<o-<1tio11 of Covc11rn1ts,

                         Co11ditiu11s, a11d Restrictio11s.


                         The Libe11y Hill Fire Departmen/ has co11fi1111ed there is a bum ban in effect in
                           IVi/lia111so11 County at thi., time. Firewm*., are prohibited in the county during
                         this bum ba11. This may be e11fo1r:ed by a11y d11l; cm11mi.~1·io11ed peace officer. II
                                                                                0




                         is a Class C Misdemeanor that is p1111ishable by a fine up lo $500.


                           We hope eve1JYJ11e has a safe a11d enjoyable lndepe11de11ce Day!


                           Regmrl,·.


                           Board of Directors



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      httpa: / /nextdoor . cxmf,wws_t"a.l/?poat,-86335587
•     [ PIUVME INil'.H"-l'Ia. DI DIIIIL <XlTJ.'ED/'Rl'DIICftD TO PK7JECT PIUV1ICY ]


    [HOA-ACC-CEM)          c••••**** e•••••** M••••• from S11111111erly11 Leander said:



                           I think thi., neighborhood is greal. We have been here 2 yea,~·- I grew up .,·hooti11gfire11v1ks off110w I j us/ enjoy ll'alchi11g them. 360 days 011/ 365 days a
                           year it is relarively quire. 2 days ii gets lively and a Iii/le noisy a day br;fare a11d offer. There is 1101 a 11eighborhood anywhere i11 the .,wrouudi11g areas that
                           dou ·, shoot ojffire11'0/*s. Even in the city where ii is illegal. I lived iu dow11/owu lea11derfor I 7y. Eve,y where around usfire11vrks went offand still do.
                           For 2-5 da;w I Jus/ do11 ·,seethe problem. But thal 's Jmt me. I 1111dersta11d that some have issues 11·ith it thal 's 111ulersta11dable but you do know /read of

                           time thal it's coming.




                           Original post by••••**** from S11mmerly11 Leander (/5 replies):




                            > Even though accordi11g lo //re fire depm1111e11/ fireirorks are 110/ pe1111illed i11

                            > /Villiamw11 Co1111ty due to the bum ba11, our neighbors couti1111e to disregard

                            > sig11.1· posted by the HOA tlwr i11dicate.fire11v1*s...



                            Shared Jul 4 i11 Ge11eml to Summerlyu Leander




CJ[422

On one-or-more occasion(s) during the middle and/or end of the year {2018}, the plaintiff received threatening notice(s) from the [HOA],

ordering the plaintiff to remove so-called "weeds" in the plaintiffs new "110-1110111" grass, which the plaintiff was already doing on a monthly


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basis. Since the power-structure of the then [HOA] remained the same - particularly with the President and Vice-President positions held by

[SPOA-P-BC] and [SPOA-VP-AH] respectively, both [RSR],[JSP&K.AP] would continue to wield enormous power over the [HOA],

demanding (for example, during Board meetings) the [HOA] to take further legal action against the plaintiff regarding the plaintiffs landscaping,

despite of the plaintiffs installation ofa "no-mow" grass, which was installed at a huge expense to the plaintiff - in terms of material costs, in
terms oflabor costs and, most importantly, in terms of \itigatkm expenses. lRSRJ,lJSP &KAPJ would continue to engage not only in direct

racial-intimidation/harassment/stalking/disorderly-conduct/blackmail against the plaintiff, but also, as long as the power-structure of the then

[HOA] remained the same, [RSR],[JSP&KAP] would continue to wield such enormous control over such institution-of-power to engage in

racial-intimidation/harassment by proxy against the plaintiff.



1423
At some point in time during the year of {2018}, even though the [SPOA] Board Positions have a term of 2 years, [DMP] resigns, without

even serving one full-year, as Board-Member of the then [HOA] for a few cmcial reasons:



® [DMP], actlllg as agent/proxy of the plaintiffs predato1y neighbors [RSR],[JSP&KAP], had ah-eady successfully used his substantial power
as Board-Member to maximally inflict hann, by way of predatmy enforceme11t/legal actions, onto the plah1tiff, and having ah-eady achieved

tremendous success in these sadi'itic actions against the plaintiff, [DMP] was unlikely to be successful in inflicting any ftuther harm, at least as

[SPOA] Board-Member, onto the plah1tiff.

® [DMP] was ah-eady h1 the process of moving out of the neighborhood - with a "For Lease" yard-sign posted on his then private-property
[785KLLTX78641] - farther illustrath1g that the sole purpose of [DMP]'s successful campaign to become [SPOA] Board-Member, beh1g to

inflict maximum harm onto the plaintiff, on behalfofthe plaintiffs prcdatmy neighbors [RSR],[JSP&KAP] (who could never realistically

expect to become Board-Members - sec above).



Clearly, [DMP] became [SPOA] Board-Member solely to engage h1 such predatory enforcement/legal actions against the plaintiff - acting on

behalf of the plah1tiff s predatory neighbors ( and racketeer co-defendants) [RSR], [JSP &KAP].



1424
On or about the date and approxhnate time of {2018-12-31 19:30}, defendants [JSP&K.AP] and/or [NP] start to light fireworks h1 violation of

the restrictive-covenants of the subdivision - as they bave done multiple times per year for every year that the plaintiff has resided at

[788KLLTX7864 I]. On this particular occasion, [RSR] joh1s-in to celebrate such illegal activity. During at least one time during this h1cident,

[JSP&KAP] and/or [NP] recklessly light a series of fn-eworks, in a very dangerous manner, such that the dangerous, violence, uncontrolled and

potentially-lethal explosive sparks from such fireworks hit many neighboring properties - h1cluding the plaintiffs property [788KLLTX7864l].

If any other persons were in the area (or pathway) where these dangerous, violent, uncontrolled and potentially-lethal sparks flew at extreme
speed, such persons could have veiy-easily been seriously injured and/or burned and/or even killed. By mere luck, no other persons were

outdoors at those hazardous locations (including the plaintiffs [FRONTYARD]) during those particular moment(s) in tune. The plaintiff did

observe one-or-more vehicle(s) drive up/down the street during the period oftin1c in which such fireworks were lit by [JSP&KAP],[NP],

[RSR]. The plaintiff did observe neighborh1g resident(s) park their vehicle(s) and exit then· vehicle(s) ve1y-close-to (or within ten-feet-of) where

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such fireworks were lit by [JSP&KAP],[NP],[RSR] - a relevant fact given that such fo-eworks can induce fear into those who need to pass by

such location(s). These fireworks were lit by [JSP&KAP],[NP],[RSR) within a relatively confined-area around which several large/expansive

trees, located within 20 feet of such fu-eworks, could have easily caught on fire if any of such firework(s) hit them. The lighting of fu-eworks is

sh·ictly forbidden by the restrictive-covenants of the subdivision - not only due to the possibility of serious injury to residents (including children

and the elderly) but also because the houses of the subdivision are made, in substantial part, with wood-framing and both the vegetation (grass,

bushes, trees, etc.) and the wood-fencing could very-easily catch on fire - which actually has reportedly happened in the subdivision (as

indicated by one-or-more social-media-posting(s)), precisely due to illegal use of fu·eworks. In addition, the extremely loud noise caused by

such fireworks causes both short-term and long-term hearing impainnents/damage to all people but especially to those people that are especially

sensitive to large amounts of noise - and similarly, both the lighting+noise from such fireworks causes work and/or sleep schedules for people

(including the plaintiff) in the subdivision to be needlessly disrupted. Many of the residents from the subdivision also rightfully complain that

both the lightinwnoise from the fu·eworks are traumatic to their pet animals - particularly pet dogs. Finally, use of fireworks also causes large

amounts of air pollution - with large amounts of (visible) chemically-filled smoke blowing into neighboring properties - and large amounts of

ground pollution - with the uncontrolled debris from such fireworks landing on, not only the public streets (in essence, the crime of littering),

but also the neighboring yards. Most importantly, the lighting of fireworks is not only a civil violation of the subdivision's resh·ictivc covenants,

but also a criminal violation of several Texas Laws (see above). After [RSR] is done celebrating this illegal activity and while walking back to

her property at [789KLLTX7864 l ], [RSR] looks menacingly into one-or-more of the plaintiffs security-camera(s) to see whether her

participation and/or celebration of such illegdl activity was caught on such security-cameras. The plaintiff does not need to further explain the

brazenly-racist fraud and hypocrisy that both [JSP&KAP],[RSR] have engaged in whenever they have complained to the [HOA],[WCLE]

about alleged aesthetic/cosmetic violations from the plaintiffs property. Such incidents also reveal that both [JSP&KAP],[RSR] were/are, for

over IO years, given free license to brazenly violate such crucial health-and-safety restrictive-covenants of the subdivision, while during that

same time period, the plaintiff has been constantly hounded by the [HOA),[WCLE] due to the predatory complaints over the most

frivolous/trivial/petty/spiteful, yet harmless, of alleged (but almost-always disputed) aesthetic/cosmetic restrictive-covenant violations lodged by

these very same hypocritical, predato1y neighbors - such as, but not limited to, unmowed grass and other uncut vegetation.



1425
On or about the date and approximate tin1e of {2019-0 1-22 I 0:45}, the plaintiff was continuing to install/test security-cameras on the plai.ntift's

property. [JSP] walks past the plaintiff on the sidewalk in front of [788KLLTX7864 I] and uses his camera-phone seemingly to take

photograph/video of the plaintiff's newly- installed security-cameras on one of the plaintift's trees. [JSP] then starts to walk back on the

sidewalk towards [DRTVEWAY] area where the plaintiff is kneeling down (to connect/test security-camera) and starts shouting abusively at the

plaintiff. It should be noted that during this incident, [JSP] violates the [HCP A] ([18-USC-PI-C 13-§249)) against the plaintiff by attempting-to

cause bodily-injury to the plaintiff - using his significantly-larger body-mass against the plaintiff, and attempting to throw several punches

against the plaintiff - due to the plaintift's racial-profile and the plaintift's ("actual or perceived'') gender-identity/sexual-orientation.
 •     R!XXRE> MCIST, llWSivll, l'IW.IXJU:Hr, 'l1ll'EAD:NING NE ASSMILTIVE IWff FACM (JSPJ TO '!'HE PIAINl'IIT(~) •   ( 2019-01- 22 10: 45) (- )
 •     I l'IIIVAft ~ LINlt TO BE stllHITl'IJl IN DISCXNIRY J




     11 PLAINTIFF IS KNEELING DCMN ON [DRlVF:i•IAY] , INSTALLING/TESTING SECURITY Ci'I.MERAS NEAR THE GARAGE DOOR OF [788KLLTX78641] . D


     [JSP]


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                    SID, IVHENARE l'OUGO/NG TO CLEAN YOUR YARD UP?! IVHATARE YOU DOING?!ARE l'OU LOSING YOUR MIND! IVHATARE YOU
                    DOING IV/TH All THESE CAMERAS POINTED AT OTHER PEOPLES HOUSES?! TELL YOU WHAT, CHIEF! SHIT IS ABOUT TO HIT THE FAN!
                    AND I A/NT KIDDING, BRO! YOU PSYCIIOPATH! - DELUSIONAL SON OF A BITC/-1! DUDE, IVHAT IS WRONG IV/TH l'OU, MAN?!


0C    WITII CI\MCORDER RECORDING, P!.J\INTIFF' GETS UP AND l'IALKS TO TIIE MIDDLE OF DRIVEWAY AND LOOKS AT [JSP] . j]

it IRONICALLY,     [JSP] MAKES Sl\RCI\STIC l\BOIJ'l' ' THE MOB' - vl\lEN THI\'!' IS PRECISELY THE 1'YPE OF Rl\CKETEERlNG--ENTERPRISE TBI\T- ll

« -PLl\INTIFF' IS ALLEGING THAT RACKETEER CO-DEFENDANTS [JSP&Kl\P] , [RSR] ARE ENGAGED IN AGAINST PLI\IN'l'IFF : j]

(JSP]                IVHAT IN THE HELL IS THIS?! WHO'S GOING TO COME AFTER YOU- THE MOB?! YOU GOT CAMERAS POINTED-


0C    (JSP] RAISES HIS VOICE EXTREMELY-LOUDLY IN ANGER SO THAT PEOPLE IN MANY HOUSES Al·TAY COULD EASILY HEAR : j]



[ JSP]
                    AT MY BACKYARD!!! I'VE GOT A 16-YEAR-OLD DAUGHTER!-MY WIFE tSA LITTLE
                    BOTHERED BY Tf/AT!! WHAT'S THE DEAL IV/TH Tf/AT- YOU PERVERT!! IVHY DO YOU GOT CAMERAS POINTED AT MY PROPERTY! TELL
                    ME!! HEY. l'M ON Tl-IE SIDEWALK HERE, BUD! l'OU IVANT SOME OF Tf/lS?! STEP OVER HERE! MAN, I'D LOVE TO GIVE YOU SOME!
                    COME ON OVER HERE! COME OUT f/ERE!


0C    [JSP] BACKS UP TO AL!Ci;/ TIIE PLAINTIFF TO \'IALK INTO THE SIDEl·JALK . j]

~ PLAINTIFF WI\LKS O.'ITO 'frlE PlIDLIC SJDE~/ALK /\ND STOPS . j]



[JSP]               OH, YOU WANT ME TO HIT YOU, DON'T YOU- YOU .JACKASS[???]!


 0C   [JSP] APPROACHES THE PLAINTIFF AND ATTEMPTS/GESTURES TO THROW flIS FIRST PUNC!l ('r) AT PLAINTIFF IN VIOLATION OF- j]

« -[18- USC-PI-C96-§1959] , [42-USC-C45-SII-§3631) , [18-USC-PI-C13-§219] , [18-USC-PI-Cl3-§242], PLl\INTIFF TRIES TO EVADE PUNCH- j]
~ -BY BOTH TURNING !IE/\D AND FACING 00\•IN .       [JSP] CONTINUES TO USE VIOLENT THREATS, HO.'iOPHOBIC-SLURS, AND OTHER SWRS: j]



[JSP]               BAM! I'D KNOCK YOU SENSELESS- YOUS/CK SON OF A BITCH! YOU KNOW IV/-IAT - YOU'RE SUCH A[???] - YOU'llEA FAGGOT! YOU'RE
                    A LITTLE BITCH! All OF THESE PEOPLE THAT[???] - THEY COULD LOOK AT YOUR PIECE-OF-SHIT HOUSE AND YOUR PERVERTED
                    ASS! AND GET THOSE CAMERAS OFF MY BACKYARD- QUIT BEING A LITTLE PERVERT, YA FREAK!



 0C   [JSP] ATTEMPTS/GESTURES TO THRO\'l HIS SECOND PUNCH ( 'r) I\T 1'HE PLl\INTI FF . j]

 0C   PLAINT I ff TRIES TO EVADE THE PUNCH BY WRNING HEAD /IND FACING DO'iiN . j]



[JSP]                YEAH!!! [???]


 11 (JSPJ l'lALKS UP SIDEl·!ALK TOWJ\RDS [784KLLTX78641] . j]

« PU1INTIFF CONTINUES TO WALK ON THE SIDEWALK RECORDING [JSP] . D
 U IJSPJ TURNS MOUND /\ND TH.E PI.J\INTIFF STOPS . D


[JSP]               GET THE FUCK A IVA Y FROM ME BOY! YOU DON'T IVANT NONE OF THIS - YOU BETTER BA CK OFF!


[     (,JSP] ATTEMPTS/GESTURES TO UffiO'il HIS THIRD PUNCH (',) AT THE PLAINTIFF .             »
 11 PLAINTIFF TRIES TO EVADE 1'HE PUNCH BY TURNING HEAD AND FACING DO'iJN . D


(JSPJ




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                 BOY. I'll KNOCK YOU Olfr! ... SID. YOU THINK THIS DOES ANYTHING FOR YOU?! - THESE PEOPLE AREN'T STUPID! THEl"RE NOT
                 STUPID! THEl' SEE WHAT KIND OF FREAK YOU ARE!! ... THEY SEE THIS - WHAT IS THE DEAL WITH ALL THE CAMERAS- WHAT IS THE
                 DEAL IV/TH ALL THE TRASH ON l'OUR LAWN. ... W/11' WONT YOU CLEAN THIS PLA CE UP?! ... BECAUSE l'OU'RE A FUCKING IDIOT!


([ [JSP] \·/ALKS BACK TOWARDS [784KLLTX78641] FRONT-HALL .       D
It PLAINTH'F ~IALKS IN A Pl\!V\LLEL LINE I\U)NG THE PU\INTIFF ' S PROPERTY RECORDING [JSP\ . ii
[   [JSP] CONTINUES TO YELL OUT AT THE PLAINTIFF .      D


[JSP)            JACKA SS{???] I ... YOU BEffER GET TNOSE CA MERAS OFF MY PROPERTY - YOU SON OF A BITCH! ... {???/ OR YOU'VE GOT SOME
                 PROBLEMS! ... TRUST ME - YOU WILL HAVE PROBLEMS! ... YOU SLEEP WITH THAT CA MERA RECORDING, DON'T YOU, DORK!


[   (JSPJ STARTS TO WALK BACK 1'0':IARDS THE PLAINTIFF AND CONTINUES TO MAKE THREATS . {JSP] THREATENS TO CUT- D

[ -INTERNET-SERVICE-CAl3LE - INVOLVED IN FOREIGN OR INTERSTATE COM1'£RCE - AND PROVIDfNG INTERNET-CONNECTION AND- D

~ -INTERNET-FACILITY TO PlJ\INTIFT - THUS,     IN VIOLATION OF BarH : [18-USC-PI-C95-~1951]. [18-USC-PI-Cl3-,,245] .       B


[ JSP)           HEY. YOU KNOW YOU HAVE A CABLE HANGING OVER THERE ON THEIR PROPEllTY! I THINK I MAY GO OVER THERE AND CUT ll'I
                 OH, SHIT- /THINK I'LL DO THAT RIGHT NOW!


[   {JSP] STARTS TO \'/ALK TCY.'/ARDS [792KLLTX78641] SIDEYARD WHERE THE PLAINTIFF ' S INTERNET-SERVICE-CABLE IS PARTLY EXPOSED.          D
[ PLAINTIFF RUSHES T0':/1\RDS THE CABLE TO ENSURI': THAT [JSP] DOES NOT GET TO CUT THE CABLE, OR RECORD IIIM IF HE DOES . ~

g {JSP] ~llllSTLES AS HE IS WALKING TCY1/ARDS SUCH INTERNET-SERVICE-CABLE. D


[JSP)            YEAH, YOU BEffER GET OVER THERE AND{???] - YEAH, THAT'S NOT ON YOUR PROPERTY- UH OH! OH SHIT!{???]{???]{???]


~ [JSP] THEN ~/ALKS BACK TCl:lARDS THE BORDER AREi\ OF [784KLLTX78641] AND [ 788KLLTX78641] .                       D
([ (JSPJ CONTINUES \'!ITH ABUSIVf; GASLIGHTING AND THREATS AGAINST PLAINTIFF:                  D


[JSP)            YOU'RE A STUPID SON OF A BITCH - YOU KNOW THAT - YOU KNOW I/OW PSYCHOPATHIC YOU ARE?! YOUR THOUGHT AND{???]
                 PATTERN IS JUST NOT RIGHT!! DID YOU EVER THINK ABOUT THA7?!! YOU LOOK LIKE YOU'VE BEEN EATING, THAT'S GOOD - AT
                 LEAST. YOU'RE EATING HEALTHY! ... [???]


ff [JSP] THEN ~JALKS /I.LONG 'rHE BORDER ARI,;A OF [784KLLTX78641] AND [788KLLTX78641] TO\•JARDS TIJE FENCE . j)


[JSP)            FREEZING YOUR ASS OFF IN 1'l1AT HOUSE IV/TN NO ELECTRIC/Tl'! 01-1. YOU GOT ELECTRICITY DON'T l'OU - THAT'S RIGNT - l'OU .JUST
                 DON'T HAVE A WORKING AC UNIT!{???]


ff [JSP] LOOf<S AT THE AREA BEIIIND THE AC-UNIT OF [788KLLTX78641] . D


[ JSPJ           TRASH IN YOUR LAWN! SID. T/-IAT {???] WHY DON'T YOU TU/IN YOUR LlffLE HEAD AND POINTON - POINTON THIS TRASH! POINTON
                 THE TRASH RIG/-11' HERE ON YOUR LAWN! YOU WON'T DO THAT. Will YOU?!


ff [JSPJ LAUGHS OUT LOUD, fOINTING TO THE AREA BEHIND THE PlJ\INTIFF ' S AC-UNIT . j)
~ PLAlNTIFF TURNS TCY:IARDS \'/HERE [JSP] IS POINTING .     1\


[JSP)            LOOK AT THAT YOU HAVE TRASH IN YOUR YARD! LOOK AT THIS PIECE OF SHIT!


 ~ PLAINTIFF \·/ALKS ON THE PlJ\INTIFF ' S PROPERTY NEAR Tl-IE BORDER AREA OF [788KLLTX78641] AND [784KLL'l'X78641} . ~


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 « PLAINTIFF FACES [JSP] l'IHO JS APPROXIMATELY 4 FEET A\'ll\Y. D
  ~    [JSP] CONTINUES TO MAKE VIOLENT THRE/\TS - INCLUDING MULTIPLE THREATS OF MURDER - AGAINST PLAINTIFF :                       D


 [JSP]                DUDE SID. I WILL KJ'l'OCK YOU OUT! YOU WON'T NEVER SEE TOMORROW, BOY. I TELL YOU IVHA T! YOU'RE SUCH A PUNK-ASS LITTLE
                      BITCH! - BOOM! ... BOOM!


  oc (JSP] ATIEMPTS/GESTURES TO THRO': /     ms FOURTII PUNCH (',) AT THE PLAINTIFF . D

 [JSP]                BOOM!


  I( [JSP] ATTEl1P'l'S/GESTURES TO THROW HIS FIFTH PUNCH (',) AT '!'HE PLAINTIFF . D



 [JSP]                BOY, l'D LOVE TO KNOCK YOU OUT! - YOU PUNK-ASS LITTLE BITCH!


  ff [JS P] CONTJNUES TO ~/ALK BACK 'I'O'l/AROS THE FRONTHALL or [784KLLTX78641] , AND MAKES ANOTIIER DEATfl-'l'HREAT TO PLAINTIFF : D


 [JSP]                FIND YOU IN THE BACKYARD, DIG HIM UP!


  oc   (JSP]   rornrs THRI':.I\TENINGLY AT THE PLAINTIFF . D

 [JSP]                SH/T'S GOING TO CHANGE. MOTHER-FUCKER!- I'M ABOUT TO- l'M ABOUT TO GET INVOLVED NOW! ... I'M GOING TO TALK TO THE
                      [HOA}! ... ANO IF THEY DON'T DO ANYTHING - I'M GOING TO SUE THEM AND I'M GOING TO SUE YOUR ASS! AND l 'M GOING TO SUE
                       YOUR PARENTS! ... BECAUSE YOU'RE A LAZY SA CK OF SHIT THAT DOESN'T WORK!


  ~ [JSPJ APPROACHES THE PLAINTIFF AND STANDS APPROXIMATELY 3 FEET Al·JAY FRC\'l Tl-IE PLAINTIIT .                             D


 [JSP]                 TELL THE PEOPLE THAT/ - SAY "HEY. I'M SID. I LIVE OFF MY PARENTS BECAUSE I'M A LITTLE BITCH AND I DON'T WANT TO GET A
                      JOB. I DON'T GET A JOB - I DON'T WORK LIKE THE REST OF EVERYBODY ELSE AROUND HERE - FOR THEIR STUFF." ... HOW'S THAT
                       FEEL {??1l?! HMMM.. ?! HOW DO YOU FEEL ABOUT THA T?! ... LAZY LITTLE[???/ MOOCHING BITCH OFF YOUR PARENTS! - THIS GUY
                       DOESN'T WORK! - DOESN'T HAVE JOB!- EVERYTHING HE HAS. HE GETS FROM HIS PARENTS! ... LA I'S AROUND All DAY, DOES
                       NOTHING!!! DOES NOTHING CAUSE HE'S A LAZY SACK OF SHIT! ... HE'S A DRAG! ... HE'S A PIECE OF D00-DOO!!!


  0C   IJSPJ LAUGHS OUT LOUD AND STARTS \'/ALKING A\'/AY FRC\~1 THE PLAINTIFF . D



 [JSPJ                 YOU ARE! ... HE'S A STUPID PIECE OF SHIT!


  0C   [JSPJ ENTERS INTO THE FRONTIIALL OF 1784KLLTX78641) . D

  I( PLAINTH'F RETURNS BACK TO SECURI'.l'Y CAMERA THAT PLAJNTIIT \·/AS TESTING AND, TRAUMATIZED, PRETENDS TO CONTINUE TO TEST .           D
  0C   PLAINTlff THEN EN'rERS INTO THE HOUSE OF [788KLLTX78641 I TRAU!-11\TTZED BY THE INCIDENT .                          D




9(426
On or about the date and approximate time of {20 19-01 -25 09:49}, the plaintiff was continuing to instalVtest security-cameras on the plaintiffs

property. While inside the [HOUSE], the plaintiff notices, on the plaintiff's security-camera-system-monitor, what appeared to be the large

p ickup-truck owned by then-[HOA-BoD]-President [SPOA- P-BC] - w hom the plaintiff had always known was acting predatorily against the

plaintiff based upon the predatory demands of[JSP&KAP],[RSR] - drive such pickup-truck ve1y -slowly in front of the plaintiffs property, as

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if to inspect and/or record (on camera-phone) all of the new security-cameras that the plaintiff bad installed at the plaintiffs property including,

in particular, those security-cameras installed onto the plaintiff's [FRONTYARD] tree. These security-cameras newly-installed on the plaintiffs

[FRONTYARD] tree were the same security-cameras that [JSP] was talcing photograph/video of in the previous incident, once again, revealing

the enormous power that such neighborhood "mob-boss" [JSP] (and his wife [KAP]) wielded over the then-[HOA]. The plaintiff felt and

continued to feel for many years, as if the plaintiff s predatory neighbors [JSP &KAP),[RSR) had been committing serious racially-motivated

hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff (over the course of almost IO years at that particular moment in

time), and that then-[HOA] was intimidating the plaintiff against recording any-and-all such criminal activity, perhaps to protect themselves

from any liability of such criminal activity. The then-[HOA] would even send a threatening notice about such security-cameras (and/or the

security-camera-cables) to the plaintiff later on that same year (see below). The plaintiff asse11s that it would be an extremely-dangerous

precedent to grant institutions-of-power such as governments and/or [HOA]s the power to force private-citizens to take down security-cameras

installed onto private-properly as such predatory actions could easily be perceived as such institutions-of-power protecting,'shielding themselves

from facing the consequences of their own future abusive actions(s), and that such predatory actions, at least in some cases, could be

construed to be "obstruction-~f-justice".



i427
On or about the date and approximate time of {2019-02-18 19:00} (nighttime), the plaintiff was continuing to instalVtest security-cameras on

the plai11tiffs property. [JSP], who was located approximately at the driveway of [784K.LLTX7864 l ], shouts out angrily/threateningly to the

plaintiff, with a second unidentified person, [UWAM- I], listening and responding. It is abundantly clear that from [JSP)'s assaultive rant against

the plaintiff that [JSP] was not only threatening to commit felonious assault against the plaintiff, but was also threatening to feloniously

burglarize the plaintiffs property to break all of the plaintiffs security-camera-equipment - not only the exterior security-cameras, but also the

security-camera-system located inside of the [HOUSE] - in-order-to felon iously destroy all of the evidence after such felonious-assault-and-

burglmy against the plaintiff - not only egregious acts of racial-intimidation but also, multiple counts of interference-with-commerce-by-threats-

or-violence ([ 18-USC-P l-C95-§ 1951 ],[ l 8-USC-Pl-C95-§l 959]). As the record of future inc idents wou ld show, [JSP] would continue to

feloniously sta lk the plaintiff, continue to assaultively threaten the plaintiff with tetToristic-threats/death-threats, continue to throw more

punches at the plaintiff and continue to damage/destroy ahnost a dozen of the plaintiffs security-cameras - with the damages to the plaintifCs

security-cameras/equipment alone exceeding $ 1,700:
 •       REIXRlED RACIST , -,sxw, FIWDJUlff, TIIREMUIING Alm ASSIWLTIYB 1W1'1' mac (.JSPJ    ro TIE PIAINl'IFF(~) III'nl (UMAM-1] LIS'l'EN1N;/RE911CH>ING•   {201!1-02- 18 20: 00) {• )
 •       [ l'IUVAD llRLLINK'roBa lQ91lT11lD DIDlSIX7JERr J




     ~   PLAINTIFF' THEN EXITS THE (HOUSE] AND WALKS TOWARDS SECURITY-CAMERAS ON TREE TO TEST THEM. D
     0C [JSP] Y8LLS OUT ANGRILY/THREATENINGLY TO THE PLAINTiff WHILE ALSO TALKING TO [U';-/Al-1- 1] : D



     [JSP)                YOU LOOKING AT MY WIFE. YOU BIG HOMO?!!! ... HUH?!!! ... [ INAUDIBLE] ... [ INAUDIBLE] ... l'M GOING TO END UP OVER THERE.
                          AND HE'S GOING TO GET KNOCKED OUT! SO. "WHAT HAPPENED?!" ... BREAK All HIS DAMN CA MERA EQUIPMENT! SO, HE WOULDN'T
                          KNOW WHAT HAPPENED! ... HE WOULDN'T - HE WOULDN'7'GET SHIT OFF IT! ... [INAUDIBLE] ... PERVERT! ... [INAUDIBLE] ... HAVE
                          YOU SEEN HOW MANY CAMERAS HE HA S UP?! IT'S INSANE! ... BUT YOU KNOW WHAT J DID FIND OUT?! ...


     [UWAM- l]            What?


     [JSP)                A REALLY STRONG LED LIGHT Will BLIND [INAUDIBLE].

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 [UWAM- 1 ]                 Oh, really?


 [JSP]                      YEAH!


  ~ PlJ-\INTIFF WALKS BACK INTO THE [HOUSE] , TRAUMA'l'IZED BY THE INCIDENT .                              D




CJ[428
On or about the approximate date and approximate time of {2019-04-30 17:00}, the plaintiff was unboxing and photographing, some new

corded-electric equipment on the [DRIVEWAY]. [JSP], who was located approximately at the driveway of[784KLLTX78641], walks

towards the plaintiff stopping approximately 15 feet away at the border of [784KLLTX7864 I] and [788KLLTX7864 I], and yeUs out

angrily/threateningly and abusively to the plaintiff. Around the time of this incident, the plaintiff had recently received a notice from the then

[HOA] requesting the plaintiff to cut the plaintiff's [FRONTYARD] bushes, which again the plaintiff, was and stiU is, re ligiously opposed to -

especially, since there is-no (and never-was-any) restrictive-covenant that regulated/restricted the size, height, width, shape of bushes/trees.

[JSP)'s racist/abusive/fraudulent/threatening rhetoric against the plaintiff and the timeline of these incidents reveal very clearly that the then

[HOA] run by [f-HOA-BoD]s[SPOA-P-BC],[SPOA-VP -AH] continued to act predatorily against the plaintiff based on the predatmy demands

of [JSP &KAP],[RSR] - even sending fictitious or fraudulent [DRY] notices ( p) to the plaintiff - despite the fact that the plaintiff had, on

numerous occasions, infom1cd aU members of the [f-HOA-BoD]s (for many years) that both [JSP&KAP],[RSR] acted, on numerous

occasions, with both extreme-racial-animus and homophobic-animus against the plaintiff:
 •        RECXRlED MOST , JIWSlVE, FIWDJL!lll' , All> '1'HIU!AmOllG RANI' E10I (JSP) TO 'DIE PIAINl'IlT(~J •    (2019-04- 30 17: 00) (-)

 •        [ PIUVME URL L1NK TO BE stll!INITJED IN DISCO'IER:! J




     0C   PLAINTIFF STARTS TO OPEN AND PHOTOGRAPH NEW CORDED-ELECTRIC EQUIPMENT . D
     0C   [JSP] APPROACHES PLAINTIFF AND YELLS OUT ANGRILY/THREATENINGLY TO THE PLAINTIFF: D


     [JSP)                   {???]OFF! ... PIECE OF LAZY SHIT! ... YOU ARE SUCH A TOTAL ASSHOLE! ... {???} ... DO EVERYTHING THEY TELL YOU TO DO-JUST-
                             .JUST WHAT YOU HAVE TO DO TO GET Bl' - YOU LAZY SACK OF SHJT! ... l 'M SO 71RED OF LOOKING AT YOUR FUCKJNG PISSHOLE OVER
                             THERE! ... {???] ... CAUSE YOU'RE A LAZY SACK OF SHIT! ... WHY DON'T YOU GET A FUCKING .JOB! - AND BE A REAL{???} - INSTEAD OF

                             SOME WEIRDO, FREAKO! ... {???] BULLSHIT!


     0C    (JSP] WALKS BACK TO THE DRIVE~/1\Y OF [784KLLTX78641] . D
     0C   PLAINTIFF CONTTNU8S 'l'O PHOTOGRI\Pll/UNBOX NEvi CORDED-ELECTRIC EQUIPMENT, WHILE BEING TRAUMATIZED BY INCID8NT . D
     0C    [NP] \'/AS NEAR [784KLLTX78641] DRIVE\·/AY DURING AT LEAST PART OF THIS INCIDENT, MEANING HE WAS A WITNESS. D




 <_[429
At some point in time during the year {2019}, [RSR] either files-lawsuit or tries-to-litigate such lawsuit against another person in a Court within

 the County of Williamson. The plaintiff has not reviewed any of these particular Court documents (since, to the best of the plaintiffs

 knowledge, defendant [WC] does not make such Court documents available online for download), and the plaintiff has not reviewed any of the

 evidence involved in such case. However, it appears to the plaintiff that at some point in time after the respondent of [RSR]'s lawsuit hires an

 attorney for representation in such lawsuit, such lawsuit was dismissed by such Court. Without reviewing such Court documents, the

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allegations, and the evidence, the plaintiff cannot make any informed comment about the merit(s) (or lack-thereof) of[RSR]'s clain1(s)

specified in such lawsuit, but can only point to the fact that such lawsuit was dismissed and thus, did not, at least in such specific case, appear

to result unfavorably for the respondent. The plaintiff draws attention to these facts because, for over a decade, [RSR] had been predatorily

blackmailing the plaintiff (including, but not lin1ited to, menacingly threatening to sue the plaintiff), but as the records will indicate, [RSR] never

did directly take any legal action(s) against the plaintiff. Instead, [RSR] (and her co-conspirators [JSP&KAP]) succcssfuUy blackmailed the

[HOA] to file lawsuit against the plaintiff (in the prior year of {2017) ), and [RSR] (and her co-conspirators (JSP&KAP]) would eventually and

successfully demand [WCLE] (in the following years {2020,2021}) to press charges against the plaintiff for the plaintiffs failure and/or

"inability" to maintain even private areas of the plaintiffs property (specifically [BACKYARD]) according to White-American standards,

although such purely-retaliatory prosecution against the plaintiff relied upon one-or-more fraudulent statements, and one-or-more pieces of

fabricated evidence (that, in and of itself, was also a result of another crime of criminal-mischief committed against the plaintiff by (RSR]'s co-

conspirators, [JSP &KAP]). As these particular set of facts show, clearly, if [RSR] did have any legitimate legal claims against the plaintiff as

she had fraudulently made numerous threats to sue the plaintiff about, she would have filed such lawsuit against the plaintiff. But as any

reasonable observer that looks at all of [RSR]'s predato1y and malicious conduct against the plaintiff (motivated by her extreme racial-animus

against the plaintiff) would conclude, there would be little-to-no chance of such claims being considered reasonable by any fair-and-impartial

finder-ol~fact.



<.[430
On or about nighttime during a night in the middle of the year {2019) (in the approximate month of {2019-06)), the plaintiff had parked the

plaintiffs vehicle on the street in a manner so that the plaintiff could more-easily unload large pieces of lumber that the plaintiff needed to

 perform some landscaping work in the [BACKYARD]. [RSR] ahnost immediately begins to harass the plaintiff, fraudulently claiming that the

 plaintiff's vehicle is in her way - that (RSR] could not exit her driveway in her vehicle due to the plaintiffs vehicle, and demanding multiple

 times that the plaintiff immediately remove the plaintiffs vehicle out of her way. The plaintiff - fearing that [RSR] will once-again call [WCLE]

 on the plaintiff as she has done on multiple occasions in the past - reluctantly and frustratingly moves the plaintiffs vehicle even though the

 vehicle was clearly not, in any way, obstructing [RSR]'s access to drive her vehicle down the street. Despite of the fact that the plaintiff did

 move the plaintiffs vehicle in order to placate [RSR]'s fraudulent complaint, the plaintiff then notices that [RSR] did not drive and never

 intended to drive her vehicle out of her driveway at [789KLLTX7864 l ], and thus had made such fraudulent demands of the plaintiff solely to

 maliciously harass the plaintiff. Instead, [RSR] walks across the street towards [JSP] who was in the front-yard of[784KLLTX78641], and

 initially begins a racist, abusive and surprisingly-uninformed rant about the plaintiff and the plaintiffs political yard-signs in her speech to [JSP]:

 "HE HAS THIS YA!ID-Sf(i.!\f SAYING "TAX THE WEALTHY"! ... DOES IJE KNOW THAT THE WEALTHY PAY[???/ IN TAXES

 EVERY YEAR! ... VEAH, BUT WHEN HE'S SUC!(JNG ON HIS MOTJJEll'S 11iAT FOIi THE REST OF HIS AD/JLT-UF1i! ... ".

 [JSP] laughs in response and mutters something inaudible to [RSR] in the background. The plaintiff - without responding to the racist, abusive

 and surprisingly-uninformed statements - continues to work, unloading the large pieces oflumber into the [BACKYARD]. This incident reveals

 ve1y-clearly that the extreme-animus against the plaintiff shared by [RSR],[JSP&KAP] is not only ofextreme-racial-aninms (and homophobic-

 animus), but also of far-rigl1t-wing-extremist political-animus. The incident also reveals very-clearly that both [RSR] and [JSP] seem to be

 grossly misinformed about the history - including the history of regressive tax-brnckets/marginal-tax-rates, the lack of taxation on Wall-Street

 transactions, the trillions of dollars in tax-payer-funded bailouts injected into Wall-Street after the many financial crises (over the many

 decades), the various tax loopholes, the various tax havens, etc. - of unjust wealth-creation, unjust wealth-accumulation and unjust wealth-
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distribution in the United States - a complete lack of understanding that is also not uncommon amongst most far-right-wing-extremist circles.

The incident also reveals that [RSR] seems to be in the fringe-min01ity (or far-right-wing-extremist minority) when it comes to the issue of

taxation - as the plaintiff is merely espousing a political view that is overwhelmingly-supported by approximately 75% of Americans, as polling

data has consistently shown ( r.i) . These racist, abusive statements made by [RSR] against the plaintiff were not only intended for [RSR] to

impose [RSR]'s strong sense of racial-superiority and intellectual-superiority over the plaintiff, but also, to get the plaintiff to remove the

political yard-signs, in egregious violation of the plaintiff's first-amendment rights. Not only does this incident follow a long pattern of extreme-

racial-animus, homophobic-animus, far-right-wing-extremist-political-animus and deliberate-deprivation-of-political-speech by [RSR] against the

plaintiff, but also fm1hcr reveals very clearly to the plaintiff that the decade-long racketeering-enterprise and criminal-conspiracy aga inst the

plaintiff - with the conspiracy consisting at least of [JSP&KAP], [RSR] and [WCLE] - also includes substantial far-right-wing-extremist

political-animus and not just simply extreme-racial-animus,homophobic-animus. lt does not surprise the plaintiff that the plaintiff's one yard-

sign-slogan (of the plaintiff's many yard-sign-slogans) that reads - "Tar tl,e Rici," - generates the most anger, the most animosity and the most

backlash from the plaintiff's predat01y, far-right-wing-extremist neighbors [RSR],[JSP&KAP] precisely because such yard-sign-slogan is

espousing the plaintiff's political view that is overwhelmingly supported by the huge mainstream-majority of Americans. Finally, on one-or-

more of her malicious social-media posts against the plaintiff, [RSR] publicly identifies herself as a registered-nurse [RN] (see above). National-

Nurses-United [NNU] - the nation's largest union of[RN]s - publicly endorsed Bernie Sanders' United States Presidential Campaign in {20 16}

- and vigorously campaigned for Bernie Sanders' democratic-socialist campaign at many nationwide campaign events. [NNU] advocates for

"Medicare-for-All" (single-payer health-care) that is also vigorously advocated by democratic-socialists, and that is also, generally-speaking,

strongly-opposed by the wealthy, fmancial institutions and far-right-wing-extremists. [NNU] even participated in some of the "Occupy Wall

Street" protests - vigorously advocating for a tax on Wall-Street transactions. So, the plaintiff finds this aspect about [RSR]'s political-profile to

be particularly astonishing and revealing, as it indicates that [RSR] seems to be within the fringe-minority (or far-right-wing-extTemist minority),

even within her own profession. Most importantly, both [RSR],[JSP&KAP] have, on numerous occasions, resorted to such malicious,

underhanded tactics to get the plaintiff to remove the plaintiff's yard-signs (in total violation of the plaintiff's first-amendment rights) because

such yard-signs debunk the malicious, fraudulent and defamato1y (@ ) narrative of racist-propaganda that [RSR],[JSP &KAP] had been

relentlessly and maliciously spreading/advancing about the plaintiff for a decade. For example, the plaintiff's yard-sign-slogan "Tax the Rich"

debunks [RSR]'s and [JSP]'s decade of fraudulent propaganda against the plaintiff that the plaintiff is ''.velfish" and/or "inconsiderate", but to

the contra1y, proves that the plaintiff is an altruist that strongly advocates for an egalitarian and classless world.



<.iJ:431
On or about an the date and approximate time of {20J 9-06-25 20:45}, [JSP] approaches the border of the two-properties in-order-to threaten

the plaintiff about cables of the plaintiff's security cameras, which at that point in time, were still dangling and, thus, visible. Specifically, [JSP]

threatened to enter onto the plaintiffs property and cut the plaintiffs security-camera-cables. On or about a day in the middle of the month of

{20 19-07}, the plaintiff received a notice from the then [HOA] (still nm by the [f-HOA-BoD][SPOA-P-BC],[SPOA-VP-AH]) requesting the

plaintiff to file approval documents for the need for "excessive cables" (referring to the plaintiffs security-camera-cables) which were, at that

moment in time, visible from the street at the plaintiffs property. Again, the evidence clearly shows that both lJSP&KAP),[RSR) constantly

threatened the [HOA] to take legal action against the plaintiff to uninstall most (if not all o f) the plaintiff's security cameras - an action that is a

v iolation of homeowners' rights, forb idden by Texas law [TPrC-T ll-C202-§202.023(c)). In other words, both [JSP &KAP],[RSR] wanted to

continue committing racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses against the pla intiff without the plaintiffs
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security-cameras recording their criminal actions. To a substantial degree, the [f-HOA-BoD] - particularly [SPOA-P-BC],[SPOA-VP-AH] -

were still illegally conspiring with [JSP&KAP),[RSR] (and their co-conspirators) to help-accomplish [JSP&KAP)'s,[RSR)'s predatory goals

against the plaintiff. Since this earlier moment in time during the year {2019}, in the following months and following years of {2020} through

{2022}, these ve1y same security-cameras would end up capturing a huge number of racially-motivated hate-crimes/civil-rights-

violations/racketeering-acts/abuses aggregately committed against the plaintiff by [JSP&KAP],[RSR],[WCLE] against the plaintiff. Therefore,

had the plaintiff caved-into [JSP&KAP)'s,[RSR]'s predato1y demands, the plaintiff would have been unable to accumulate all of this additional

extremely-incrin1inating evidence against the defendants - all acting in such malicious conspiracy and racketeering-enterprise against the

plaintiff. Thus, the plaintiff considers any existing or future action (after this moment in tin1e) by the defendants to intimidate and/or coerce the

plaintiff to remove such security-camera(s) to be a separate and distinct count of the federal crime of Obstruction-Of-Justice.



CJI432
On or about the date and approximate time of {2019-07-03 20:00} (still daylight hours), [JSP], while in the driveway of [784KLLTX7864 1),

and while both plaintiff,[MOTHER] were at the plaintiff's property [788KLLTX78641) working to plant some vegetation in the

[BACKYARD], uses some type of projectile-weapon to aim and maliciously shoot-into one of the plaintiff's corner security-cameras, two-or-

more times, shattering the front-glass and destroying the infra-red/night-vision sensor/LED(s) of such security-camera. The plaintiff did not

notice the damage until the end of the month (see below) since the security-camera still continued to record, but without infra-red night-vision

at night-time. Despite of the damage to such security-camera, such security-camera still did capture [JSP]'s racially-motivated criminal action of

crimina l-mischief against the plaintiff.



CJI433
On or about the date of {2019-07-03} , the then [HOA-BoD]s (led by [SPOA-P- BC],[SPOA-VP-AH]) send the following email messages (see

below) to all residents of the subdivision, ahead of July-Fourth, reminding a ll residents that the lighting of fireworks is illegal within the

subdivision. T he plaintiff asserts that such repeated emails from the [HOA] are tru ly disingenuous because neither the [HOA] nor [WCLE]

truly-and-seriously intended to enforce the fireworks-ban restrictive-covenant (and the Texas law of Disorderly-Conduct) within the

neighborhood. Also, while such [HOA-BoD]s disingenuously proclaimed to be against the lighting of fireworks, on or about the following date

of {2019-07-07}, a resident post onto social-media asking other residents to contact her if such residents have 1'.1"1{/jered property damage,

personal injwy, loss of use of (their) property 011 or around July 4th, or Janua1J1 1st, due to neighbors igniting aerial fireworks (in direct

opposition to our DCCRs)". As a result of this lack-of-enforcement, the rampant lighting of fu-eworks in the neighborhood (by countless

residents of the neighborhood) continued through this year and following years (as evidenced by numerous social-media-postings by numerous

residents complaining about such issue).
 •      'Slmarlyn: &1m Ban and ru-ru" •           fMIUL f10I [IDHl0D)o TO ALL 1 - l y n J        RESIDaffS CXH:IRIDG ".f'lJaMlRKS &W"   (20l!H)7--03 15: 401( ~)
 •     [ PRIVATE IIIFOR9.nQI lll DIJ.IL acrrnD/REDIICTID TO m:,recr l'RIVl'C't ]

     [HOA-Bo0] s




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                                                              SIDDHAR'rH      KOOE        V,      Wl L LIAMSON       COUtl TY   ,   ET   AL .


                        Dear Ho111eo11"11e1~·:


                         IVitl, 101110,row being the Fourtl, of July, 11-e ,muted to remind eve1yo11e that tl,e
                        association doc11111e11ts strict()>prohibit the use offirell'orks in the co1111111111ity .
                        Spec/fically. tl,is la11g11age can be fo1111d in Section 3.4. "(/) ll.ves Specifically
                         Pmlril,itecl," of 1/1c DCC&R's of tl,e Dec/ora tion of Cove11m11s, Condi lions, cute/

                         Restrictions.


                         Tl,e liberty Hill Fi1-e Department /,as co11fi1111ed there is a bum ban in effect in

                         IVi/liamso11 Co1111ty at this time. Firell'm*s are prohibited i11 !he coullly during
                         this bum ba11. Tl,is may be enforced by any d11/JLC0111111i.~vio11ed peace officer. It
                         is a c/t,ss C misdemeanor that is p1111isl,able by a fine up to $500.


                         We hope eve1yo11e has a safe and enjoyable f11depe11de11ce Day!



                         Regmds,


                         Bomrf of Directors


•       "S.-lyn : coxr.ctian to Burn Ban" ,          EM1UL F104 [IIOll- BcD]o TO AIL [ SUamarlynl          RESIDDrI'S CXH:1!RNIMi "FIRDOUCS BAN"   {201~07- 03 16:58}(-)

•       ( P11IVA1'1! ~ m EMIUL CMl'l'lUI~ TO PRCll'P.C'1' PRIVJlcr I


    [HOA-BoD]s            Dear Association Membe,~·:


                          An eblast ll'as se/11 011/ eadier today stating the Libe11y Hill Fire Depa11me11t

                         has co11fi1111ed the1-e is a bum ba11 in eff ecl in IVilliamso11 Co1111/y. This
                          i1,formatio11 11·0s sent by mistake. Please dis1-ega1rf.


                          /-1011-eve,; with tomon·ow being the Fo1111h of July. 11-e 11'011/ed to remind eve1ro11e

                          t/,a/ tl,e Association doc11111e11ts strictly prohibit the me qf.fi1-ell'orks i11 the
                          co1111111111ity . Specifica/(1•, this lo11g11age can befo1111d in Section 3.4. "(/) Uses
                          Specifically Pmhihited," of tl,e DCC& Rs of the Dec/arafio11 of Cove11a11/s,

                          Co11ditio11s, and ReHrictio11s.


                          Have a sqfe and e,ifoyable Independence Day!


                          Regmd.,,


                          Boa,rl of Directors



    •    "RE: nr-rka in Stmmrlyn (Only)" ,            Nextdoor S - l y n 1-nder•          ou•u o•••••            (2019- 07-07 22:281 ,
        http,, :/ / nextdoor. oao/,-.,_f-V?posbal17308803
        [ PRIVA'1'B INFCRIM'l:Ql IN DUrn. QllTnlD/ m:w:Tl!D TO ~ l'IUVl!CY )


    D***** D****          Ifyou've s11/fered pmperty damage, personal i1if111y, loss of use ofyour
                          pmperty 011 or around July 4tl,, or Ja111101y Isl, due to 11eigl,bo1s igniting
                          aerial fire11YJl'ks (i11 direct opposition to our DCCRs), or if you 11'011/ to

                          s11ppo11 a11 effo11 to cwtail clangerous fire11YJrks in S11mmerly11, please c011tac/

                           me ASAP.



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                                                              SIODHJ\ RTH     KODE        V.       Wl LLlJ\HSON      COUrl TY   ,   ET   AL .




<_1[434
On or about the date and approximate time of {2019-07-11 15:00}, [WCCD-RT] and/or other [WCCD]s, once-again, visit the plaintiffs

private-property while the plaintiff was not at the plaintiffs private-property. The plaintiff notices that [WCCD-RT] and/or other [WCCD]s left

a pink-slip attached to the plaintiffs [FRONT DOOR]. The pink-slip, once-again, concerned a complaint concerning the alleged violation of the

Public-Nuisance law within private-areas of the plaintiffs private-property - specifically, the plaintiff's private/concealed [BACKYARD). The

pink-slip required the plaintiff to take appropriate corrective/abatement action to cure such alleged Public-Nuisance either within 10 days or 30

days of {2019-07-11}. The plaintiff has yet to review the plaintiffs security-camera footage from this particular incident, but based upon both

the allegation(s) and [WCLE]'s well-documented hist01y of unconstitutional-and-unlawful searches/seizures of private/concealed/curtilage areas

of the plaintiffs private-prope1ty, the plaintiff asserts that [WCCD-RT] and/or other [WCCD]s, more-likely-than-not, executed an

unconstitutional-and-unlawful search/seizure of the plaintiff's private-property on this particular incident as well.




<_1[435
On or about the date and approximate time of {2019-07-16 \3:38}, the plaintiff responds to the public-nuisance complaint a\\egel\ by [WCCD-

RT] via email (which also included, as forwarding/attachment, the plaintiffs previous email to [WCCD-RT] from almost 2 years prior) as

follows:
  •   "1\11.l ca,planoa and RaoponM to lfaming Slip Oat.ad: 2019- 07- 11 15 :00" •               EMI\IL flUI P1AJNTllT TO (11CXI>--Rr) (~)      (2019- 07- 16 13: 38) (- )

  •   [ P1UVA7E INFCRIM'ICII m EMI\IL CNITT!D/l!EDM:ffD TO momcT IIIUVJIC"t I


  PLAINTIFF             Hello Senior Depuly Tijerina,




                        This is Sid Kade- pmpel{)' Oll'l/erof "788 Kiugfisl,er lane, Leander, TX, 78641".


                        This email is i11 response lo )YJl/r pink slip}~(! al my doonray 011 2019-07-1 I 3PM, co11cemi11g complai11l(.1~ made about the properly.


                        Please ,ead tlirougl, //,is entire email 1,0/ 011/yfor Jl,e importa11I i1iforma1io11 //,at ii contains. /JIii also became, at tile lm/10111, I /,ave listed the aclio11s I

                        a111-1aki11g/have-lake11 to satisfy your req11e.1"!{.~) lo /1,e mari11111111 exle11I pO.<l"ible.




                         I believe 11·e lwd discussed this issue i11 prior (my previous email lo you from 2 yem:-; ago is al/ached below).


                         To summarize:




                         { I} Reganli11g 111osq11itoes, I ca11 assure yo11 !hat //,ere are 110 111osq11itoes origi11a1i11gfm111 my properly:




                         {A) Over 1/,e las/ 2 yem:,;, I have bee11 p11lli11g 11wsq11i10 dunks regularly (011ce a 11101111,) i11 all buckets usedfor mimm/er l,an1es/i11g - please see the
                         a/tached pl,otogmpl,. These 111osq11ilo d1111ks are prelly effective al preve11ti11g !lie groll'lh q( 111osq11iloes. 011d I hove 110I see11 any mosquilo /a1vae i11 a11y of

                         the huckels 1/,a/ I use.


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(BJ I tum 11pside-doim any b11cketslco11tai11ers that I am 1101 c1111¥!11tly using.


(CJ I /,ave a ll'i11doll'fa11 11101111/etl 011 the one of the ll'indoll'.\' in my l,011se - used for cooling tl,c l1011se. If 111osq11itoes 11¥!1¥! 01igi11ati11g fm111 my p1vperty,
then I 11mtld be experiencing mosquitoes biting me imide tl,e l,m1se, wl,icl, I do 1101 - over the decade //,at I have lived here, I /,ave 1101 even e11,vu11terecl
even I mosquito inside my 1,ouse.


(D) Tl,e only criller I /,ave noticed is plenty offmgs/tootlf and ii is impo,101111101 to confuse tadpoles wit/, 1110.fquito l01w1e - tadpoles are much bigger,
live 011 the algae, and 111at111¥!f,vgs/toadsfeed 011 many insects i11c/11di11g 111osq11ito lmvae.


(E) Jl11e11e1•er I empty the b11ckets to 11•0/er my plants, I /,ave 1101 noticed 0111• 111osq11ito la111oe.


(F) I am 1101 the 011/y one using buckets for mimmter l,mvesti11g - i11 fact, the idea 11vs even clocu111e11ted in 011 episode of the ve,y mainsllr!am, local
public te/evisio11 show "Central Texas Gardener".


(GJ I am almost ailmys without a shirt during the hot 111011/h\' - late Spring (May) uutil early Fall (October) - so, it is obviously 1101 he in II()' mm i11tem\'t
to 111ai11tai11 011 e11vim11111e11t //,at produces mosquitoes.


(H) As e.171/aiued i11 my p1wio11s email, my l,mvesting of raimmter i.1· 110I limited to the ll'atering of plants, but also .for all of the p1w iously .,pecifled uses.


(IJ I 0111 also using some bucketslco11tai11ers for the other p1117,oses umr!lated to l,01vesti11g mimmte,; mu/far all of the.1·e uses, tl,e.ve bucket.v/co11tai11e1-,;
/,ave dminage /,oles at tl,e bo/10111 for e.rcess water to dmi11 out: gro11'i11g some polled pla11/s, collecting useful materials like stone a11d other m-usable
debris that ca11 be m-11sedfor all of tl,e mes specified in my pmviou.1· email.


(JJ So, the most likely po.1·.l'ibility is //,at, after heavy mi11s, 11Y1/er is accu111ulati11g inside some J,idde11 lo11cfyi11g area oro1111d my prope,ty or s11nvu11di11g
propcrtie.l', tmd this is tl,e area that the mosquitoe.1· om breedi11gfm111 • again, 110/ f,vm ll'itl,i11 my p,vperty.


(K) It is also possible that so111e malicious neighbor might be i11te11tio11ally b1¥!edi11g mosquitoes so111'~1•he1¥! wv,md my property a11d then flying to fm111e me
for this 111isdced.




{2] Rega1Yli11g vegetation, there is 110 vegetation that I am gm111i11g tl,at is any ll'ay 11011-co111p/ia11/ ll'itl, the law:




(A) I have tmtoises that feed 011 the gms.1· in my backyard· so, them is 110 gmss that is above 6 inches i11 height.


(BJ As part of the xeri.l'cape. I /,ave also replaced mucl, of the gmss i11 botl,f,v11tymrl/backymrl wit/, a ve1y /011cgroll'i11g, drougl,t-tolem11/ gmss //,at doe.r
110/ grow over 6 inches in 1,eigl,t.


(C) The 011/y other vegetatio11 besides gmss are: herbs, vegetables, gro1111dc,we1~·. fomge-crops, caver-c,vp.1·, shade plants, fou11datio11 plants, bonier

plo11t.1·, windbreaks • 11011e of which are 1reetls.


(D) I /,ave p/auted about half of my backyanl to vegetoble.'lll,erbs.


(EJ Besides that, the remai11i11g cove1°crops/fomge-crops/.l'/,ade-pla11tsliri11dbreok.1· am uative species designed to keep tl,e soil fertile a11d moi.l't, aud tl,e
fomge is/or 1111e11 my to,toises do 110/ /,ave e11ougl, gmss vegetatiou to cat (July-August).



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(F) Much of this vegetation also provides valuable shade to my to11oises during the s11111111er 111011/hs.


(G) 711i.1· vegetation makesfor cm effective wi11dbrenk that helps to e11s11re thar 11ec11·by.fe11ci11g does 110/ ll'eake11/fal/-doll'11 d11ri11g heavy ll'i11d1· - 11,is is
pmtic:ular/y t111e since my 11er1-door neighbor hm 1101 fixed 1hefe11l'i11g 011 his side for almost a decade 110111- leaviug it i11 a state ofsig11ifica111 dis-repai1:


(H) The vegetation gmll'i11g armmd thef01111dario11 of the house se,ves rhe vital J,111ctio11 of pmrecli11g thefou11datio11 J,0111 damage and rims se1ves to
extend the lifespa11 of theJo1111datio11 and house - such vegetation sucks up erce.~1· 111oist11rejio111 the Jo1111datio11 area, while at the same time e11s11ri11g thar
rhe soil re111oi11s co11siste11rly moist even d11ri11g the hot summer 111011/h.r- rhis i.r emctly u·hat o lrouseji11111datio1111eeclr.


(/) Some 1if this vegetation also se111es as a visual and physical ban'ier lo preve111 my to11oi.w:sji'Ol11 e11teri11g into areas of the backyard where I do 11111
mm/ them to enter (for erample, where my vegetables/herbs are growi11g, or i11to the backdoor coucrete porch area).



(J) As doc11111e11ted i11 the ertemive doc11111e11tatio11 that I provided to you i11 II()' previous email, we/, vegetation most certainly does 110I e11ha11ce the growth

of mosquitoes - hi fact, quite the opposite - vegetation sucks up much of the swface-level 111oist11re that could othe1wfre se1ve a.1· a breedi11g ground for
mosquitoes.


(K) Also doc11111e11ted i11 the <!\·tensive doc11111e11tatio11 that I provided to )'OIi in my previous email, all lmul,capi11g i11c/11di11g vegetation is considered to be
co11.1·til11tio11ally-pmtected .1J1eech. As such, 110 govem111e11tal authority can 111if11stly i11Ji-i11ge 011 such comtitt1tio11al right.I'.


(l) Al.l'o doc11111e11ted i11 the erte11sive doc11me11tatio11 that I pmvided to ;vu i11 my previous email, the groll"lh of such vegetation is ve1J>-11111c/1 lied to my
eastem-i11dige11011.r c11/t11ral 11pbri11gi11g (.ri11ce / 11vs bom i11 India and lived therefor much of my early life) - and so, such la11d,capi11g is ro11stit11tio11all;>-
protected 1111derfreedo111 of religion. A.I' .wcl1, 110 goverm11e11tal authority ca11 111if11stly i1!fri11ge 011 such co11.vtit111io11al rights.


(M) As stated in my previous emoi/, andfollowing along ,l'ith lo11g-sta11di11g eastem-i11dige11011s tmditiom that are still practiced ta this day, I gmw
vegetables/herbs along 114th 11a/11mll;'-occ111ri11g 11ative plants since this: e11ha11ces the water rete11tio11 i11 the .roil, a/10113· the vegetables/herbs to s1111•ive
more ertreme (hot/cold/d1y/11et) co11ditio11s, increases the 1111tritio11al value of the vegetables/herbs, etc.


(N) A.,· docu111e11ted i11 the litemture linked to i11 my p1-el'io11s email, there is plellly of 011/i11e doc11111elllatio11for "110-mow", zem-,mste, dro11ght-tolem11t,
chemical-ji-ee, ll'ildlife-jiie11d~y la11dscapi11g, and it is indeed the right of the pmpe11y oll'11er 110/ to mow (as it still is i11111011yfar111/111ml 01-eas).


(0) /11 some a,-eas of the backyard, the soil is up to 2 f eet higher tl,011 the sta11da1rl grading - this raised bed of additio11a/ soil a/Joli's the plant.I' more mom

Jar their root .\)'Siems to gmw deep (and thus become more hmdy). This also means that any vegetalio11 that you might perceive to be of a certain height is
ac/1101/y up lo 2 feet sho11er due lo gmll'i11gf,om a higher elevation.


(P) For any vegetation thar I do choose to ell/, l 11.wmlly .171read these acl'Oss certain mw,s of the lo11d,cape a11d this se11>es 1101 011ly as forage for my
tortoises but also a, mulch to keep the sail moist, fe1tile a11d tempemt11re-reg11loted. ll'hich are ve1y beneficial co11ditio11s for gmwi11g vegetables/herb.I'.




So, as I e.17,lai11ed to you i11 my previous email (fiom 2 yecux ago), the 11eighbors that are co111plai11i11g to ;-vu about my property m-e doing so for ve,y
111alici1111s 1-easo11s - 011d it hm ve,y little to do ll'ith the 11~v I 111ai11tai11 "IJ' prope11y, but i11stead, eve1ythi11g to do with my: mce/etl111icitylc11/t11re, disabilit;c
stal11s, politics, e11vimm11e11tali.1·111, foreig11er-.,tat11s, etc.


Put simply, I (or a11;v11e else i11 II()' position) should 1101 have to compmmise my 11ative/i11dige11011s ll'O)' of life to sati.rfy 11ar/'011c111i11ded/bigoted/raci.1·t
neighbors that do 1101 have any respect/01· me (in particular) or 11arive/i11dige11011s culture (i11 general).


But yet, over the 111a11y yews, I have been be11di11g-ove1°back11iml1· fl ying to .\'(//isf y these neighbors' co111plete~)'-11111-ea.m11oblel111ifustij)ed dema11dr.



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Also, as I documented in tl,e docu111e11/alio11 pmvided my previous email, 110 govem111e111a/ autl,ority ca11 legally act upon 011011y111011s co111plai11ts, and as

such, the accused alll'ays l,m tl,e right lo k11ow ll'IW !,is/her accuse1:-; are.




011 tl,e other l,a11d. there are many lwn-ib/e things that some of my ueighbors /,ave been doing that I /,ave had lo put up with for many, 111a11y yea,s 110w,

despite tl,e.facl //,a/ I should 110/ have to put up with it:


(A) Some of my 11eigl,bo1:5sprayl.,pread toxic peslicidesll,erbicidesli11seclicides 011 tl,eiryanl5, and much of thi.5 .1prayhpread inevitably la11tl5 up 011 my yard
a.,· 11-ell (either directly or i11dil-ectly from the leaching of raimmte1) where I am growing vegetables/herbs - 111a11y of these chemical.,· (including but 1101
limited to Rou11dUp) have even been proven lo be c<111ce1°causi11g carcinogens. In some case.1; this chemical spraying has been so great that it l,m caused
me lo become sick - since one window i11 Ill)' house has //,e wi11do11~fa11111ou11ted - I am being erposed lo all of these ve1Jl-/oxic chemicals. again, by 110

choice of my 0\1'11.


 (B) Some of 11\I' neighbors ligl,t ji1-ewo1*s at various points d11ri11g the year- this is a l,11ge j11-e lwzwtl, a huge damage (bot/, acute damage and /011g-
 1e1111/cu111ulative damage) lo /,earing of individuals nearby. a huge disrnption lo sleep/,rork schedules, and of com:'ie all of the airlla11d pollution that ii

 c<wses - and some of the debrisJivm tl,ese il/egall;~lit J)1-e11'01*s afro la11clr 011 my yard.


 (C) One of my 11eigl,bors even sometimes lights bon:flres in his backyard forcing me to inhale 11111ch of that toxic smoke - obvionsly, by 110 choice of my

 own.


 (D) Tll'a of my 11eig!,b01s have been threatening me with violent 1/11-eats for many, 111<111y yeai,· now - I weigh about I 05 po1111cl\' and these people are easily
 up lo 3 times my ll'eigl,t - so, I 11v11/d 1101 stand a chance of s11111ivi11g if these people acted 11po11 these violenl 1/11-eflls directed IOll'ards me.


 (E) I el'en put up many secmity cameras 011 my prope1ty to help protect me and my property, and one of Ill)' neighbors wen 1!,reate11ed to ln-eak all of my
 security camera eq11ip111e111 in addition to beating me up, to paraphmse his 11vrd,, "so that I mmld not even be able to 1-e111e111/,er or even prove 11-lwt

 happened {if so111ethi11g did happen]".


 (F) These neighbors /,ave also repeatedly used ertre111ely-demgat01y and verbally-abusive language /oll'anlr me i11c/11di11g (but 1101 /imited to) erh-emely
 foul la11g11age/11a111e-calling. racial sl111:'i, homophobic slurs. and other raciall;Ldis1-espectf11llcult11mll;~disre.1pectf11/ language.


  (G) I /,ave also spent about $3000 i11 materials and $5000 of Ill)' own hard, erhausting, manual /al,or to flx/f011ify the shared.fence that I share with 2 of
 my neighbors at absolutely 110 cost ($0) to them - even though neighbors are supposed to evenly split the cos/ of bot/, lobor and materials.




  So, given the above facts, I /,ope you can 1111de1:'i/t111d /,ow I feel a stmng sense of il1j11sticeli11dig11atio11 that I /,ave been thoroughly mistreated and indeed

  abused by some ve,y-1,ostile 11eigl,bo1>·, ll'ho ve,y clearly, co11ti11ue lo ac/ in ve,y 111a/icio11s ,mys lowanl, me.


  A11d sure(v. give these facts, you can 1111ders/a11d /,ow I.feel ve,y shvngly that I am being discri111i11ated against.




  Having said all of the t1bove, in re.1po11se to this 111,justij)ed co111plai11I, I have taken extra 111ea.1·ure, to c 11I a lot of (hut 110/ all oj) the backyard cover-
  cmp/forage-crop/slwde-pla111/for111dalio11-pla111/b01rier-pla111/ wi11dbreak vegetation to be feed to my tonoises, de.wile the.fact that I should 1101 have !,ad lo

  do this (as e1plai11ed above).


  I have also checked eve,y single bucket/co11lai11er 11111/tiple times lo re-emure that there 01-e 110 mosquito /a,vae, and also that the,-e is a dunk installed in

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                  each lmcketlcontainer that is being used to ho111e.1·t rai111mte1:


                  I ll'ill also occasionally 11111 my electric 1110squito bug-zopper to help to kil/ 111os<111itoes, despite the fact that mosquitoes are 110/ originatingji·om my

                  pmpeny.




                  I sincerely hope that these additional actions that I have taken fully resolves this issue (if there ll'0S even one lo begin with).


                  And as al11'(1y1·, I hope that 11-e can alwayv cooperate to find a reasonoble middle-gmund bet11-ee11 my indigenous/enviro11111enlali.1·t needs/lifestyle and these

                  11eighbo1~· extre111ely-11111-easo1wble/111,j11st!/led de111a11d1·.




                   Respec/fi1/ly,
                   Sid Kode.




                   -------- Fo111'(11r/ed Me.mtge--------
                   Snbject: Full Compliance and ReJponse lo "Waming Citation", Case# 20/7-08-0008
                   Date: Sun. I Oct 2017 04:52:23 +0000
                   From: •••••• ••••••••••••           <••••••••••••••••••>
                    To: .....•••••••• . .@1l'ilco.01g

                   CC: ••**********@wilco.org




<_[436
On or about the date of {2019-07- 18} , [KB], the wife of [CB], electronically sends a private message (via the same "nextdoor.com" social-

media-platform) to the plaintiff, revealing that [CB&KB] (next-door neighbors to the plaintiff) were trying to sell their property

[792KLLTX7864 l ], and as such, kindly requesting that the plaintiff handle the issue of the plaintiff's dangling security camera cables that

were, at that point in ti.me, visible from the street, so that such cables did not look like an "eye sore" to prospective buyers of their property.

Surprisingly and ve1y-revealingly, in such private message, [KB] states to the plaintiff, "/ would like to resolve this issue as civil as we can, as

l know you have no! had the most pleasant experiences with other neighbors." This ve1y-revealingly message shows that one-or-more of the

plaintiffs other neighbors were, at least to some degree - although to a ve1y small degree - aware of the malicious actions/behaviors of [RSR],

[JSP&KAP] against the plaintiff.



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At that point in time, the plaintiff was checking the Inbox for such social-media account roughly twice a month, and so, the plaintiff responded,

via private message, on or about the subsequent date of {2019-07-21} that the plaintiff would take care of the issue, but that it would take time

to do so, as it would involve "at feast 20 to 30 hours worth of work" (see exact message posted below). The plaintiff indicated to [KB] that it

would take the plaintiff "at least 2-3 weeks" to complete such task, but in actuality, the plaintiff was spending several more hours per day in

achieving such task so that the task could be completed by the end of that same month. [KB] then replied to the plaintiff, thanking the plaintiff

for being understanding and even offered to help "in any way possibfe", although the plaintiff single-handedly completed almost all of this task,

with some help from [MOTHER] (see below).
     "Re: Seller Ca>oams" ,      PRIVAm 1ESSN2 n1:M PlAJNl'Ift' TO (!(BJ(~ )        (201~07- 21 22 :52 ) H
 •   [ PRIVAm nmR!M'IOI IN EMIIJ:L (J(IT'l'!D/ffllAClm) TO mcmx:T PRIVJICT I


  PLAINTIFF


                       Sony for the delayed response as I have been extremely busy as of late, and did not get to check this account until tonight.


                       To a11s11-er your q11esrio11/req11esr - yes I can, hut ii is certainly not a quick-fix thing.


                       Ir i.~ at least 20 to 30 hours 11vrth of 11vrk.



                        I ca1111ot reallys/a,1 the 1m1k 1111/il nert l\'eekend (2019-07-27) at rite ea,liesr.



                        The ll'ay the wiring is cwrently setup origi11atesji'o111 that side of the properly closest lo .)V III' property.


                        So, fixing the is.\'lle means fixing all of the wiring - in essence, the entire job.


                        I 111ill l1y my best to start the proce.~r ojf by nert ll'eeken<I. but the total job will most probably take at /em/ 2-3 1reeksfro111 today lo complete.



                        Sincerely,
                        Sid Kode.




 1438
 On or about the date of {2019-07-24}, the then [HOA-BoD]s (led by [SPOA-P-BC],[SPOA-VP-AH]) send the following email message (see

 below) to all residents of the subdivision, scheduling a "Special Board Meeting" in-order-to "approve the Board Member Code of Conduct and

 the discussion of a plan that wi II e,?[orce the '110 fireworks' provision of the deed restrictions. 11 Shortly following this email-message, one-or-

 more residents posted a copy of this email onto the "nextdoor.com II social-media-platform, in an effort to inform countless residents within the

 subdivision who had repeatedly demanded the [HOA-BoD]s to strictly-enforce the faeworks-ban within the neighborhood. Even in the most

 innocent interpretation of such email, such email also shows that the [HOA-BoD]s were beginning to enforce the fireworks-ban after over a

 decade in which the plaintiff resided within the subdivision - with the fireworks-ban restrictive-covenant being in place that entire period of time

 - dating back to when the contract was first drafted (during the {2004}/{2005}/{2006} time-period). In other words, such email shows that

 neither the (HOA] nor (WCLE] took any real enforcement/legal action to enforce the fu-eworks-ban restrictive-covenant in the first LO years

 ( {2009} through {2019}) that the plaintiff had resided within the neighborhood. Despite of such phony efforts by the [HOA-BoD]s who

 pretended to be enforcing such fireworks-ban, the plaintiff noticed absolutely no difference on the street as [JSP &KAP] and/or countless other

 residents would continue to illegally light fireworks, unabated, in complete violation of the restrictive-covenants of the neighborhood for all of

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the following years - including the current year {2023}.
 •      • s - l y n : Specl.al. Board -ting Notioa" ,          D111IL IIQ4 (HM-BoO)a TO ALL t - . :l yr,J        RESIImffS <XH2IINING ".FIRIMRCS BAH"   (2019-01- 24 13: 31) (- )
 •     [ PRI\IA'I'& nmllMU'IClf DI D111IL acrrn:D/ICW:TID TO PAOm:'1' PRIVllC'C )


     [HOA- Bo0] s            Dear As.wciatio11 Members:


                             The Board of Direclorxfor S11111111erlyn Pmpe11y 01111e1~· Association Inc., has
                             sc/1edu/l!(/ a Special Meeting of the Boan/.


                             •Meeting li!fomwtio11•
                             When: Tuesday, .Inly 30. 20/9
                             Time: 7:00 p.m.
                             locatio11: ••• •••• •••••, Meeting Room, •••• ••••• •••• ••••, lea11de1; TX 78641


                             71ie .wbject of the meeting is to approve the Boan/ Member Code of Co11d11cl and
                             the disc11s:sio11 of a plan that ll'ill e1,fm~·e the "110 f ire11vrks" pmvisio11 qf the
                             deed res:trictio11s.


                             Reganlr,


                             Bomrl of Directm~
                             Snmmerlyn Pmperty Owners Association luc.




9(439
On or about the date and approximate time of {2019-07-25 15:53} - approximately 9 days after the plaintifrs email to [WCCD-RT] - [WCCD-

RT] responds to such email, requesting to meet with plaintiff at plaintiffs property. On or about the date and approximate time of {2019-07-26

06:35} , the plaintiff responds to [WCCD-RT] providing [WCCD-RT] with times during which the plaintiff would be available at the property

for such meeting to take place. On or about the date and approximate time of {2019-07-26 16:03} , [WCCD-RT] sends email response to

plaintiff, proposing a time for such meeting. On or about the date and approximate time of {2019-07-29 06:53} , plaintiff sends email response

to [WCCD-RT], agreeing to such meeting-time:
 •          •11a: l\1ll ~ and Aup,,lN to Nuning Slip Dated: 2019-01- 11 15: 00" •                      OG1ILS AM> RESl'ClmS TO/FRCN [NCCl)--Rr) AM> PLADITIIT(~)    (2019-01-29 06: 53) (-)
 •      [    PRI\IA'I'& DIRRIM'lClf DI D111IL <MITrED/RmM:Tm ro PIClllCT l1IUVl\CY )


     PLAINTIFF               He/la Senior Deputy Tijerina.




                              Tuesday (2019-07-30) at 9AM should bejine.




                             Re.1pectfli/(I',
                             Sid Kade.




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0117126/20/ 96:03 PM, Robe11 Tijeriua ll'mte:
> /-low ab,,,,, Tuesday the 30th al 9 am?

>
> Robe11
>
> -----Origiual Message-----

> From: •••••••••••••••••• {mailto: • • •••••••••••• ••••]
> Sent: Friday, J11/y 26. 20/9 6:36 AM
> To: Robe11 Tijeri11a
> Subject: Re: Full Compliauce 011d Re.1po11se to Wamiug Slip Dated: 20/9-07-// 15:00
>

> /-le/lo Seuior Depuly Tijeriua,
>
>

> Fmm today (2019-07-26) 1111/i/ IVeduesday (20 19-07-31) ,if thefol/011•i11g
> week, I should be available at the pmpe11y jivm appmximalely 06: JOA M -

> 10:30AM.

>
> So, please let me kuow which of those times is best for yo11, and 11-e can
> sched11/e it for !hat date/time.
>

>

> Respec/{111/y,

> SidKode.
>

>

>
>

>

>

>

> 011 7125/20/9 3:53 PM, Robe11 Tijerina 11•m1e:

>> MrKode,

>>

>> I have received your email. I 11'011/d like to set up a date and time lo meel ll'ith ;v11 concerning the enviro11me11tal comp/ail// 11"1ich 11·e 1-eceived I am
available lommrow a11d uexl \\'eek. Thauk )'OIi for )Y"'r re.111011se.
>>
>> Siucerely,
>> Robe11 Tijerina

>> Deputy Co11s1ab/e
>> William Co1111ty Coustable Pct. 2
>>
>> -----Original Mesmge-----
>> From: • • •••••••••••••••• [mailto: ••••••••••••••••••]
>> Sent: Tuesday, .July 16. 2019 1:38 PM
>> To: Robert Tijeriua
>> Subje£·t: Full Compliauce aud Response lo IVamiug Slip Dated: 2019-07-I I 15:00

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                   >>
                   >> EXTERNAL email: Exercise ca111iu11 11'1w11 ape11i11g.
                   >> -   -----------




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On or about the date and approximate time of {20 I 9-07-30 05:00}, the plaintiff and the plaintiff's senior-citizen [MOTHER] were continuing

to re-install the security-cameras-cables at [788KLLTX7864 l] before daybreak, since, in addition to [KB]'s request, the plaintiff had also

received yet-another threatening notice (with deadline) from the then [HOA] regarding such cables being "excessive" and visible, again thanks,

in no small measure, to predatory complaints from the plaintiffs predatory neighbors [JSP&KAP],[RSR]. As the plaintiff and [MOTHER]

were working in this early morning, with the rest of the neighborhood silent, [JSP] yells out the racist threat at the plaintiff,[MOTHER]: "HEY,

... GET THOSE CAMERAS OFF OF MY PROPERTY!" While the plaintiff, having suffered such racist threats for a decade (at that point in
time), has developed a "thicker skin" to be able to cope with such racist threats, [MOTHER] has not been directly exposed to such racist

threats, and thus reacts in a traumatized/shocked manner to such threat ( '7) . Neither the plaintiff nor [MOTHER] responded to the threat. As

indicated in the previous incident, [JSP] had also recently threatened the plaintiff regarding the visibility of the dangling security-cameras-

cables. When plaintiff,[MOTHER] were working to fix that very issue to secure/conceal the security-cameras-cables, [JSP]'s subsequent threat

reveals that [JSP]'s previous threat really had absolutely nothing to do with the security-cameras-cables, but the actual security-cameras, again,

because both [JSP&KAP],[RSR] wanted to continue to commit racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses

against the plaintiff with absolute impunity, without the plaintiff being able to have recorded evidence of such racially-motivated hate-

crimes/civil-rights-violations/racketeering-acts/abuses. Towards the very-end of securing/concealing the security-cameras-cables, the plaintiff

noticed the aforementioned corner-security-camera with shattered front-glass and damaged infra-red/night-vision sensor. The plaintiff was

shocked by the brazen vandalism but immediately suspected the culprit. The plaintiff went to the security-camera-system-monitor to review the

recorded-camera-footage, which clearly showed, sure enough, that [JSP] had shot into the camera using some type of projectile-weapon on-or-

about the previous date of {2019-07-03}. However, this initial act of criminal-mischief by [JSP] against the plaintiff would only be one of

many dozens of acts of criminal-mischief against the plaintiff, resulting in a sum-total of damages exceeding $ 1,700 to the plaintiff's security-

cameras/equipment alone. In many of the subsequent months of {2019-08} through {2021- 10}, [JSP] would continue to engage in criminal-

mischief against multiple of the plaintiff's security-cameras and/or the plaintiff's property, by performing malicious actions, often repeatedly,

such as:



® using the same or similar aforementioned projectile-weapon to shoot into one-or-more additional security-camcra{s), once-again shattering
the protective glass of such secmity-camera(s), and thus obstructing the view of such security-camera(s).

@ repeatedly, or on many occasions, using a garden hose delivering municipal water at full-water-pressure to douse multiple of the plaintiffs
security-cameras with water for, in many cases up to a minute, and in some cases, many minutes, in-order-to permanently damage/disable the

internal electronics of such security-cameras.

© repeatedly, or for a period of approximately IO minutes, entering into the plaintiffs property in-order-to violently hurl large chunks of hard-
ice at both the security-cameras, and the surrounding fascia/soffit/rafter/gutter (house structure) onto which such security-cameras are installed.

@ on one-or-more occasions, hurling rock{s) at such security-cameras, while the plaintiff was outdoors witnessing such incident, and with the

plaintiff within a few feet of such security-camera.

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® entering into the plaintiffs property to kick and break one-or-more security-camera(s), pennanently destroying the base of such security-
camera(s), thus preventing a stable installation of such security-camera(s).
® repeatedly, or on many occasions, using one-or-more torch lights to shine bright light directly into the lens of such security-camera(s) for a
prolonged period of time, in attempt to pennanently %/ind" such security-camera(s).


The plaintiff asse11s that the [JSP&KAP] were trying to destroy the plaintiffs security-camera(s) so that they could obstmct-justice and/or

freely retaliate against the plaintiff in most, if not all, of the following ways:



® [JSP&KAP] could continue to commit racially-motivated hate-crimes, racketeering-acts and other abuses against the plaintiff with absolute
impunity.
@ [WCLE] could more freely engage in further acts of retaliation against the plaintiff, such as unconstitutional-and-unlawful
search(s)/seizure(s) of the plaintiffs prope11y and/or threaten predatory enforcement action(s) against the plaintiff as a way offu11her

intimidating the plaintiff.
© [JSP&KAP] could continue to violate the restrictive-covenants of the neighborhood (illegally lighting fireworks, illegally parking boats,
 illegally parking vehicles to obstmct the public-sidewalk, illegally speeding vehicles, multiple noise-nuisances such as mnning loud lawn-

 equipment late at night and running artificially loudened vehicles late at night, etc.) without such security-camera(s) capturing such violation(s).

 @ (JSP&KAP] could destroy the actual security-camera recordings (assuming that they thought such recordings were stored inside such
 security-camera). In this lawsuit, the plaintiff has tried to document as many acts of[JSP]'s criminal acts of vandalism against the plaintiffs
 property as the plaintiff has taken the time to document, but this lawsuit (at least at the time of the initial filing), will not contain eve,y single

 occurrence of such criminal acts, as the number of such acts of vandalism is too large (too numerous) for the plaintiff to keep track of every

 single occunence.



 '][441
 On or about the date and approximate time of {2019-07-30 09:00}, the plaintiffan-ives at the plaintiffs property in his police-vehicle. Before

 (WCCD-RT] started his interrogation of the plaintiff, the plaintiff wanted to first verify who had complained to the plaintiff on this particular

 occasion. Unlike every other occasion where [WCLE] has refused to disclose the complaining party to the plaintiff, (WCCD-RT] actually does

 infonn the plaintiff that on this particular occasion, it was [JSP&KAP]'s,(RSR]'s co-conspirators - [CB&KB] - that had infonned the [WCCO]

 that they were hying to sell their property, and as a result of making their property as-presentable-as-possible to prospective buyers, that they

 had allegedly noticed, excessive and clearly-visible security-camera-cables from the plaintiffs security-cameras dangling on the plaintiffs

 private-property, and that certain vegetation in the plaintiffs [BACKYARD] exceeded the height limitation of such public-nuisance law

 (although clearly, without any knowledge whether-or-not such vegetation were deemed to be "weeds'). [WCCD-RT] begins by asking many

 intrusive questions about the plaintiffs [BACKYARD], while the plaintiff reluctantly provides such information, purely to dismantle such

 baseless allegations of ''p11blic-1111isance" originating from the plaintiffs malicious neighbors. [WCCD-RT] first asks the plaintiff if the plaintiff

 always grows and/or partitions the plaintiffs [BACKYARD] for the growth of vegetables and/or groundeovers. The plaintiff reluctantly

  explains that the plaintiff nonnally partitions the [BACKYARD] in such manner that approximately half of such [BACKYARD] is either

  dedicated-to or reserved-for the growth of vegetables and/or groundcovers, while on the other half of the [BACKYARD], the plaintiff grows

  grass and other native-vegetation. (WCCD-RT] explains that when he had noticed vegetation in the plaintiffs (BACKYARD] which he claimed
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was up to 5-feet tall. The plaintiff responds that the plaintiff had added up to 2 feet of soil in the middle/inner-most areas of the [BACKYARD]

(closest to the [HOUSE]), as a result of the aforedescribed [FRONTY ARD] grass-replacement; therefore, any such vegetation that he

perceived to be 5-feet tall, was in actuality, no more than 3-to-4 feet tall. Furthermore, as the plaintiff had explained in the prior email to

[WCCD-RT] (see above), all of such vegetation were intentionally-grown by the plaintiff, and so could not be rightfully considered to be

"weeds" as defmed under Texas law. At least on one occasion during such conversation taking place in the plaintiffs (FRONTPORCH],

[WCCD-RT] used his police-radio to radio back to [WCCO] headquarters, some information concerning the status of this meeting taking place

within the plaintiffs private-property. [WCCD-RT] mentions that one-or-more of the plaintiffs neighbors complained to the [WCCO] that they

had to kill rodents within their private-property, as if somehow insinuating that such rodents originated from the plaintiff's private-property,

although [WCCD-RT] qualified such statement by stating that he personally does not know where such rodents might have come from.

Although the plaintiff has always denied that any part of the plaintiff's private-property (including [BACKYARD]) were a harborage for any

non-zero amount of rodent(s), as the plaintiff explains in a section below, the only reason that such rodent(s) might enter into neighbor's

private-property is because such neighbor has items within their private-property (including backyard) that attract such rodent(s) including, but

not limited to, crumbs of dog/cat food, dog/cat faeces, etc. The plaintiff has also saved social-media-posting(s) posted by other residents of the

neighborhood (that live far away from the plaintiff) dating back to {20 I4}, were one-or-more resident(s) announces that there are a "lot of

mice" in the subdivision, and that one particular resident caught up to 6-mice within traps located inside of their garage. Tllerefore all of these

 complaints regarding the plaintiff alleging public-nuisance violation on the plaintiff's private-property were not merely fraudulent, but actually

 malicious and retaliatory (since the plaintiff had documented over allnost a decade of hate-crimes/civil-rights-violations/racketeering-acts/abuses

 suffered by the plaintiff at the hands of such malicious neighbors). [WCCD-RT] also inquired about any rainwater harvested within the

 plaintiffs [BACKYARD], and the plaintiff responded that the plaintiff was using the aforementioned mosquito-dunks in any-and-all

 container(s)/tank(s) used for harvesting of such rainwater. [WCCD-RT] then exploited this moment of vulnerability of the plaintiff to pressure

 the plaintiff into allowing him to inspect the plaintiffs [BACKYARD), c laiming that all he intended to do was to ensure that there was no

 public-nuisance violation within the plaintiffs [BACKYARD]. The plaintiff, being cornered into such position of vulnerability, but also firmly

 believing that was no such public-nuisance violation, allows [WCCD-RT] into the plaintiff's [BACKYARD]. As soon as the plaintiff enters into
                                                                                                                        11
 the plaintiff's [BACKYARD], [WCCD-RT] asks the plaintiff if any item(s) stored in the plaintiff was "trash , once-again, using such vague

 term that is not defined in any part of the Texas public-nuisance law - and once-again, strongly indicati.ng to the plaintiff, that the [WCCD]s of

 the [WCCO] were not properly-trained to be well-versed with the Texas law that they are supposed to be regulating. The plaintiff, assuming

 that the [WCCD-RT] meant either ''garbage", "refuse" or "rubbish" - since those are the actual terms defined by the Texas Public nuisance

 law - stated that none of the items stored in the plaintiffs [BACKYARD] were "trash" (or 'ivaste" of any kind). The plaintiff fu1ther explains

 that the brush stored at one small-location in the plaintiffs [BACKYARD] was intended as a natural ba1Tier (and shelter) to prevent the

 plaintiff's companion-tortoises from escaping (while also providing such companion-tortoises space to hide under - as they instinctively tend to

 do). [WCCD-RT] even intrusively asks the plaintiff about the number of companion-tortoises that the plaintiff within the plaintiff's

 [BACKYARD], as if any part of Texas Public-Nuisance law regulated any aspect of residents' lawful right to own such companion-animals

 within the confines of private-property ( o ) . Ac:, [WCCD-RT] is checking the plaintiffs rainwater-harvesting container(s)/tank(s), [WCCD-RT]

 asks the plaintiff how often the plaintiff adds mosquito-dunk to such container(s)/tank(s), while the plaintiff responded that, during the warm

  months of the year, tile plaintiff adds the appropriate-amount of mosquito-dunk at least once a month. The plaintiff shows [WCCD-RT] where

  the plaintiff had turned any unused containers upside down, so that there was no possibility of mosquitoes breeding in such unused containers.

  The plaintiff sllows [WCCD-RT] that while half of the plaintiff's yard is dedicated to grass, the other half of the plaintiff's property is dedicated

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to growing a combination of groundcover(s) and vcgctable(s)/herb(s). As [WCCD-RT] walks along the fence within the plaintiffs

[BACKYARD], the plaintiff points to a smaller section of the plaintiffs BACKYARD where the plaintiff was growing vegetable(s) (specifically

sweet-potato). The plaintiff further explains to [WCCD-RT] that the plaintiff cut-down to under 36-inches any sparsely-growing non-vegetable

vegetation that had been growing such height. There was only one small-area of the plaintiffs [BACKYARD] - approximately 40-square-feet

along the plaintiff's privacy-fence - wheie intentionally-grown vegetation was slightly above the 36-\nches in height. The plaintiff explains that

the only reason for such intentionally-grown vegetation was due to such privacy-fence-posts on [JSP&KAP]'s property not being

repaired/replaced/supplemented, and instead of such unrepaired fence falling over into the plaintiffs [BACKYARD] as a result of such dis-

repair, the plaintiff was intentionally-growing such vegetation along the fence-line both serving as a wind-break and to also to prevent such

fence from falling onto the plaintiffs [BACKYARD]. The plaintiff fu11her explains that the main reason that the plaintiff allowed [WCCD-RT]

into the plaintiffs (BACKYARD] was to show [WCCD-RT] that not only that was no public-nuisance violation in the plaintiffs

[BACKYARD], but specifically, that there was not even a single rodent anywhere in the plaintiffs [BACKYARD], despite both (WCCD-RT]

and the plaintiff stepping into specific areas of the plaintiffs [BACKYARD] where such vegetation was growing to the tallest heights. The

plaintiff even walked [WCCD-RT] through areas of the plaintiffs [BACKYARD] bordering [JSP&KAP]'s property, where the plaintiff had to

place large-heavy-metal stakes/posts in such position so as to prevent [JSP&KAP]'s fence from falling over into the plaintiffs [BACKYARD],

once-again, due to (JSP&KAP]'s malicious disregard for such fence shared by both the plaintiff and [JSP&KAP]. (At the ve1y least,

[JSP&KAP]'s failure to repair such shared-fence for over 5 years at this point in time, was the direct result of their malicious attitude towards

the plaintiff, and also, their refusal to pay for any aspect of such property-maintenance that they are responsible for maintaining.) As the

plaintiff was leaving such area, [WCCD-RT] asks the plaintiff if there was any reason the plaintiff could not cut-down that pm1icular vegetation

over 36-inches in height, located in that very-small region of the plaintiffs [BACKYARD]. The plaintiff responded that the only reason

(besides the reason of the wind-break serving to protect the shared-fence mentioned above), was that, as pai1 of the plaintiffs religious

practice(s), the plaintiff normally uses a manually-operated scythe (handheld tool with a blade on it, as opposed to powered equipment) to cut

such vegetation, and whenever the plaintiff cuts such vegetation using such scythe, the plaintiff would also inevitably cut down parts of the

plaintiffs vegetables (meant for food consumption), and the plaintiff did not want to sacrifice/compromise the plaintiffs vegetables in such

manner. [WCCD-RT] asks the plaintiff what are the types of vegetables that the plaintiff is growing. The plaintiff responds that the plaintiff

gwws mainly sweet-potatoes as such plants, once fully-established, are well-adapted to survive most of the intense-summer-heat-and-drought

(except in rare cases where such intense-summer-heat-and-drought extends for very 1011g periods of time without any meaningful rainfall). The

plaintiff explains that although such plants die-back during with the onset of cold weather, they usually survive mild winters, and regrow the

following year. The plaintiff further explains that one of the other reasons for the growth of such taller vegetation is to insulate such vegetables

from both temperature-extremes - with such vegetation serving to absorb and protect/cover such vegetables during the most intense periods of

summer-heat-and-drought, as well as during the winter-freezes. [WCCD-RT] asks the plaintiff how long the plaintiff would be taking lo cut

down the vegetation that exceeded 36-inches in height. The pk1intiff reluctantly states that the plaintiff could do so within a couple of days. As

[WCCD-RT] approaches the plaintiffs fence-gate in-order-to exit the plaintiffs [BACKYARD], (WCCD-RT] confirms that the plaintiffs use

of such brush near the fence-gate area, was only to prevent the plaintiffs companion-tortoises from escaping from underneath such fence-gate.

The plaintiff reiterates that such brnsh not only serves as both a visual and physical barrier that prevents such companion-tortoises from
digging-and-escaping the plaintiffs [BACKYARD], but also that such brnsh allows them to hide (as they instinctively do) without having to dig

- as the plaintiff did not want the area near the plaintiffs fence-gate to be dug-up in any manner. As [WCCD-RT] exits the plaintiffs

[BACKYARD] into the plaintiff side-yard, the plaintiff explains to [WCCD-RT] that the plaintiff had been receiving threats of violence from


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[JSP] for many years (actually dating back to the year {2012} ). The plaintiff explains to [WCCD-RT] that, in recent years, [JSP] had

increased his intimidation/interference and threats of violence against the plaintiff, some of which were even graphic in nature, and ahnost-all, if
not all, of which qualified as "terroristic-threats" (and/or basic "assault'). [WCCD-RT] informs the plaintiff that the plaintiff would need to

report such issue to [WCLE]. The plaintiff further explains to [WCCD-RT] that [JSP] had used some type of projectile-weapon to repeatedly

shoot into one-or-more of the plaintiffs security-camera(s), damaging such security-camera(s) to the point where the infra-red/night-vision

circuitty no-longer works, making such security-camera(s) ineffective at nighttime - the specific time of day when such security-camcra(s) are
most essential to the resident. The plaintiff leads [WCCD-RT] over to such area, points [WCCD-RT] to the specific security-camera(s), and

shows [WCCD-RT] that such security-camera(s) have clearly been damaged, with the front-glass and infra-red/night-vision sensor(s) shattered.

[WCCD-RT], once-again, informs the plaintiff that the plaintiff would need to report such issue to [WCLE], and that, within this particular

unincorporated area of the County of Williamson, the [WCSO] handles such crimes. [WCCD-RT] leads the plaintiff back into the shade of the

plaintiffs [DRIVEWAY] area, and then acknowledges that the plaintiff has cut-down most of the vegetation that the [WCCO] had requested

the plaintiff to cut. But because the plaintiff still had such 40-square-feet of area were vegetation grew slightly in excess of 36 inches within the

plah1tiffs private/concealed/curtilage [BACKYARD], [WCCD-RT] explah1ed that he would be issuh1g the plah1tiff a public-nuisance warning-

citation, requh'ing the plaintiff to cut down such vegetation to under 36 inches in height. [WCCD-RT] explains to the plaintiff that due to the

issuance of such warning-citation, the plaintiff is not in violation of any law, but that the plaintiff would need to attend to such matter in avoid
to being in violation of the (public-nuisance) law. [WCCD-RT] explah1s that ifhe fmds that after such 7 day time-period of warning, that any

such vegetation even in the plaintiffs private/concealed/curtilage [BACKYARD] is "well over 1' 36 inches in height, that he would then issue an
actual citation to the plah1tiff, h1 which case, the plaintiff would be forced to goto Court and explain to the Judge what the plaintiffs reasons

were for growh1g such vegetation to such heights. The plaintiff confnms with [WCCD-RT] that such public-nuisance law specifically applied to

residential-property and not to, for example, agricultural-property (since the plaintiff also owned a separate-and-disth1ct agricultural-property at

 that moment h1 tune). [WCCD-RT] states that, as far as he knew, such law applies to all private-property h1 Texas, but that maybe something

 he would need to verify. The plaintiff further explains to [WCCD-RT] that, a few years prior to this conversation, the plaintiff had spoken to

 an employee of Texas-Parks-and-Wildlife about the plaintiff's agricultural-property and that such employee had jokingly h1fonned the plah1tiff,

 specifically regarding the plaintiffs agricultural-property that if there was such a restriction on the heigl1t of such vegetation within agricultural-

 property, then half of Texas's farmers would either "he in jail" or "be ticketed big amounts of money" for having huge amounts of land with
 such persistent, widespread and overwhelmh1g violation of such law. [WCCD-RT] stated that as far as he knew, such restriction applied to all

 private-property, althougl1 there may be an exception to private-property that is meant for agricultural-use, but that he would still need to verify

 such unknown h1formation and get back to the plaintiff about that. [WCCD-RT] reiterates that since [CB&KB] were trying to sell their

 property, [WCCD-RT] felt compelled to hwestigate such complaint agah1st the plaintiffs private-property. The plaintiff responds that

 [CB&KB] had privately-messaged the plah1tiff about such security-camera-cables and that the plaintiff took care of such issue in a thnely

 manner. The plaintiff also informs [WCCD-RT] that the plah1tiffhad installed the shared fence alongside [CB&KB]'s property (without

 charging [CB&KB] for such work that normally would have costed such neigl1bors approxhnately $3,945). In-order-to terminate such meeting,

 [WCCD-RT] informs the plah1tiff that he would be issuh1g the aforementioned warning-citation to the plaintiff, further informing the plaintiff

 that he would return in about a week to inspect the plaintiffs [BACKYARD] (even if the plaintiff did not provide such consent) and then, if the

 aforementioned remaining-issue had been resolved by such th'ne, that he would shnply close such case of warning-citation. [WCCD-RT] also

 intrusively asked about the plaintiffs cognitive-disability, and the plaintiff reluctantly explained in as-brief and as-inconspicuous manner as
 possible that the plaintiff was registered as a student with disabilities at [UT -Austh1], without going into much detail about the nature of such


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disability (for reasons of privacy). [WCCD-RT] continued to ask for the plaintiffs Date-Of-Birth, Middle-Initial, Drivers-License-Number and

other private/sensitive infonnation that he felt neccssaiy for filling out such paperwork. [WCCD-RT] gets the plaintiff to sign the warning-

citation, further warning the plaintiff that if the plaintiff did not fix such issue, that there would be an official citation which would involve

having to go resolve such issue in a [WC] Court. A-; he was in the process of handing over a copy of such warning-citation to the plaintiff,
[WCCD-RT] very-revealingly states that his particulaI depaihnent/office of the {_WCCO] lllvestigates public-nuisance complaints as weU a£>

illegal-dumping complaints. Such revelation truly-hurt the plaintiff as the plaintiff had been a victim of multiple illegal-dumpings over the years -

especially during the initial years of {2010}, {2011 }, {2017) (and the following years of {2020,2021 }), but despite of all of those illegal-

dumping (instantaneous) c1imes being committed against the plaintiff, the plaintiffs reporting of most of such (instantaneous) crimes to the

[WCLE], and the plaintiffs insistence that the appropriate charges be pressed against the perpetrators of such (instantaneous) crimes against

the plaintiff, (WCLE] never pressed charges against any of the perpetrators of those (instantaneous) crimes against the plaintiff, once-again,
solely due to the racial-profiles of the perpetrators (White-American) versus the racial-proftle of the plaintiff(immigrant-of-color/indigenous-

person). Multiple aspects of this conversation and [WCLE]'s numerous unconstitutional-and-unlawful searches/seizures a.!:,1ctinst the plaintiffs

private-prope1ty spanning approximately a decade, also reveal that defendant [WC], as a municipal-corporation govemment, and many of its
law-enforcement agencies that the plaintiff abbreviates in this lawsuit as [WCLE], have custom(s), policy(s) and/or practice(s) that allow or

even encourage its law-enforcement official(s)/officcr(s)/employee(s) to clearly violate these Constitutional rights and Statutory rights, thereby

failing to train and/or supervise such law-enforcement official(s)/officer(s)/employee(s) properly. After issuing sueh warning-citation to the

plaintiff, [WCCD-RT] advises the plah1tiffto report such crhnes of terroristic-threats and criminal-mischief to the [WCSO], and leaves the

 plaintiffs property. Despite being very distrnstful of [WCLE] in general, but also the [WCSO], hi particular (due to prior incidents of retaliation

 suffered by the plaintiff at the hands of the defendants), the plaintiff did ulthnately decide, in the long-term interest-of-justice, to report such

 crimes to the [WCSO], despite fearh1g further acts ofretaliation by [WCLE] acting predatorily against the plahitiff on behalf of the malicious

 perpetrators of such crimes against the plaintiff.



 '][442
 Given the increasingly h1timidating, racially-motivated threats that the plaintiff (and the plaintiffs senior-citizen [MOTHER]) had suffered from

 [JSP] (and [RSR]), and given the fact that the plaintiff had noticed [JSP]'s brazen vandalism of the plah1tiffs property, the plaintiff was left

 with no choice but to, once-again, report such issue to [WCLE] - even if the plaintiff feared retaliation from [WCLE] - as the plah1tiff had

 already suffered numerous acts of retaliation from [WCLE] for the plaintiffs reporting of racially-motivated hate-crimes/civil-rights-

 violations/racketeeru1g-acts/abuses to [WCLE] (dating back to {2011} ). On or about the date and approximate tune of {2019-07-30 l 0:30),

 the plau1tiff calls the [WCSO] to repmt such racially-motivated crhnes committed by [JSP] against the plaintiff. The (WCSO] dispatches two

 [WCSD]s to the plaintiffs property: [WCSD-DC] and [WCSD-JD-6] (White male). [WCSD-JD-6] sat in the passenger-side of such [WCSO]

 vehicle duru1g all of the time of this incident. [WCSD-DC] approached the plaintiffs [FRONTDOOR] in-order-to contact the plaintiff. The

 plah1tiffbricfly explains to [WCSD-DC] that [JSP] had shot-into one-or-more of the plah1tiffs security-camera(s), pointing [WCSD-DC] at the

 damaged/destroyed security-camera(s). [WCSD-DC] approaches the security-camera that was clearly-vandalized by [JSP], and [WCSD-DC]

 hnmediately notices the clearly-visible damage to the shattered front-glass and the infra-red/nigl1t-visiou sensor(s)/LED(s) of such security-

 camera - meant to protect both the internal lens and all the internal circuihy (:including infra-red/night-vision circuitry) of such security-camera

 from the elements. [WCSD-DC] asked for the plaintiffs photo-identification and phone-number, which the plaintiff did not and does not

 consider to be necessary for the reporting of such crime(s), but which, the plaintiff, nonetheless, provided to [WCSD-DC]. After [WCSD-DC],
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via police-radio, relays the plaintiffs identification-information back to [WCSO] headquarters, [WCSD-DC] hands back to the plaintiff the

plaintiffs photo-identification. In reponse to (WCSD-DC]'s questioning about such crime, the plaintiff explains as follows. The plaintiff explains

to (WCSD-DC] when the crime occurred, and what actually took place, as captured by the plaintiff security-camera-footage (sec incident

above). The plaintiff explains to [WCSD-DC] that (JSP] had issued multiple threats of violence against the plaintiff(including some very

graphic threat(s)-of-murder against the plaintif!), dating back to the year \2012} - only three years after the plaintiff had obtained ownership of

the property, (788KLLTX7864 l ], and that such crimes only kept-escalating after the initial year of {2012). The plaintiff explains to [WCSD-

DC] that, by the plaintiffs best estimates, [JSP] is somewhere "between 250 and 300 pounds", and somewhere close to 6-feet-2-inches tall.

The plaintiff explains that this was the fast known/detected instance of [JSP]'s malicious vandalism of the plaintiffs private-property, although

also explaining that [JSP] had also repeatedly approached the plaintiffs security-camera(s) in-order-to taunt/intimidate into such security-

camera(s) and/or at the plaintiff while installing such security-camera(s). At one point durh1g the questionh1g, [WCSD-DC] very-fitth1gly asks

the plaintiff if [JSP] is White-American, and the plaintiff responded that [JSP] is White-American, further indicath1g that such crimes are, in

fact, racially-motivated. The plaintiff explains that the plaintiff had purchased each-and-eve1y such security-camera at a estimated cost of

approximately between $150 and $170 each (since these were top-of-the-line 114K 11/"Ultra-High-Definition 11 security-cameras - cutting-edge

technology, at least for the residential-market, durh1gthose years of (2018}/{2019)). The plah1tiffhad ah-eady captured [JSP]'s act of

vandalism on a hand-held camcorder recordh1g the security-camera-footage displayed onto a monitor, and so, the plaintiff showed [WCSD-

DC] the playback of such recording on the camcorder, explaining to [WCSD-DC] what is occurring in such playback. The plaintiff provides to

(WCSD-DC] the brand-name and model-number of the damaged security-camera(s). The plaintiff also explained to [WCSD-DC] that there

were two other security-camera(s) that the plaintiff noticed were not funetionh1g as expected, and that the plah1tiff would need to further

investigate if such lack-of-functioning was the result of [JSP]'s crhninal actions. [WCSD-DC] even asks the plaintiff, '!just out of curiosity"

(and thus not out necessity), about the plah1tiffs need for such numerous security-cameras, and the plahlliffbriefly explained the numerous

crimes, including the numerous crimes of vandalism/illegal-dumping at unusual - even difficult-to-detect - places of private-property that the

 plaintiff had suffered from the plaintiffs malicious neigl1bors - dating all the way back to {201 I}. The plaintiff even explah1ed the plaintiffs

frustration in not being able to seek justice for those initial crimes, and so, such numerous security-cameras comprehensively covering every

 area the plaintiffs property were the result of not only those numerous initial-crimes committed, but also as previously explained, the escalating

 crimes committed by [JSP]. The plaintiff further explah1ed to [WCSD-DC] that the security-camera-system manufacturers even sell 64-

 channel and 128-channel security-camera-systems for the residential-market, and so, the plaintiffs numerous security-cameras, was by no
 means excessive, but instead, only adequate to provide comprehensive coverage of the plaintiffs private-property. In response to [WCSD-

 DC]'s questioning, the plah1tiff also reluctantly reveals that the plaintiff lives alone at the property - as the plah1tiff never felt comfortable

 conveying such private/sensitive information. On at least one occasion durh1g this incident, [WCSD-DC] looks back at his partner [WCSD-JD-

 6] (seated in such police-vehicle) and quietly smiles/laugl1s, which the plah1tiff can only conclude to be mocking of the plaintiff, once-again, due

 to the plaintiffs racial-profile. [WCSD-DC] requested the plaintiff to send the plaintiffs security-camera-footage in an email to the [WCSO],

 and provided the plaintiff with his [WCSO] email-address, along with a case-number - "2019-07-0 I I 73" - for such crhninal-case that would be

 opened with the [WCSO]. The plaintiff thanked [WCSD-DC] for his thne, and entered back h1to [HOUSE] while [WCSD-DC] used his

 camera-phone to take one-or-more photograph(s)/video(s) of the damaged/destroyed security-camera. While h1side the [HOUSE], the plaintiff

 immediately checked the file-size of such recordh1g(s) and realized that such filc(s) would not fit as email-attaehment(s), due to size limitation

 on such email-attachment(s). So, the plah1tiff immediately approached [WCSD-DC]'s vehicle and let them know that the plaintiffs evidence

 would not be able fit h1 email-attachmcnt(s), due to the file-size(s) well-exceeding such size limitation on such email-attachment(s). The plah1tiff

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instead offered to load such security-camera-footage into an SD-card and provide such security-camera-footage to them via such SD-card. So,

the plaintiff headed back into [HOUSE] and loaded such security-camera-footage auto an SD-card and provides such SD-card to these

[WCSD]s, who then loaded such SD-Card into a laptop and copied such security-camera-footage onto such laptop. [WCSD-JD-6] then let the

plaintiff know that a detective might contact the plaintiff about such case, and fmther that, since the plaintiff had the case-number, the plaintiff

could simply add any information to such case by contacting the (WCSO]. The plaintiff thanked such [WCSDJs and wal,ked back into

[HOUSE]. Such [WCSD]s then drive away from the plaintiffs prope1ty in such police-vehicle. According to the plaintiffs recorded-footage, all

of these [WCSD]s at the scene of the plaintiffs private-property during this incident did have body-worn-cameras - and as such, such body-

worn-cameras should have been recording all aspects of this incident, including, but not limited to [WCSD-DC]'s and [WCSD-JD-6]'s private

interactions between each other- unless, such [WCSD]s deliberately turned-off their body-worn-cameras (at any point in time) in-order-to

Obstruct Justice against the plaintiff.



i443
On or about the date and approximate time of {2019-08-17 21:30} (night-tin1e), [JSP] arrives back to the driveway of [784KLLTX7864 l] in

his pickup-truck. [JSP] approaches near the border of the two-properties, shining his torch-light directly onto the lens of one-or-more of the

plaintiffs security-camera(s), in-order-to permanently "blind" such cameras, as he had previously threatened to do (sec incident above). [JSP]

approaches the tap attached to his house, opens such tap, and begins to use a hose connected to such tap in-order-to water parts of his side-

yard. As he is doing this, [JSP] mutters some angry words against the plaintiffs security-cameras and begins to spray/douse two-or-more

security-camera(s) full of high-pressure municipal water. [JSP] then look menacingly at another set of the plaintiffs security-cameras and

begn1s to angrily spray/douse two-or-more of that additional set of security-camera(s) full of high-pressure municipal water - just two of over

multiple dozens of times in which [JSP] has deliberately tried to damage/destroy the plaintiffs security-camera(s) and/or short-circuit the entire

security-camera-system (by such inundation with high-pressure water). The plaintiff had meticulously installed such security-cameras behind

and underneath the fascia area, in-order-to protect such security-cameras from the direct impact of the rain.



 i444
 On or about the approxnnate date and approxin1ate tune of {2019-08-18 21 :00}, the planlliff and the plaintiffs senior-citizen [MOTHER] were

 unboxn1g a very-large LED television-set on the plaintiffs [DRIVEWAY] - a television-set that is large-enough to require two people to carry

 into the inside of the [HOUSE] - and a television-set that would be dedicated-to and attached-to the plaintiffs security-camera-system. As the

 plan1tiff,[MOTHER] were performing this task, [JSP] would approach closer, while still remaining in the front-yard of his prope1ty, and

 continue to n1timidatingly and menacingly stare at the plaintiff and [MOTHER] for a period of more than one minute. [JSP] would then enter

 into his pickup-truck, drive down the road, pause right in front of the plaintiffs property for a period of at ahnost one minute, in-order-to

 continue to intnnidate and harass/stalk both the plaintiff and [MOTHER]. [JSP] would then continue to drive the road at regular speed. The

 plaintiff,[MOTHER] would confolue to perform such labor-intensive work which took considerable time due to the size and weight of such

 television-set. [MOTHER] had expressed her strong desire to the plaintiff to leave the property before [JSP] arrives back, in-order-to avoid

 [JSP]'s uncivilized, uncouth, barbaric intimidation and harassment/stalking tactics against the plaintiff and [MOTHER]. Approximately 40

 minutes later, when the plaintiff and [MOTHER] were just cleaning up after fmishing the perfonnance of such work, [JSP] arrives back in his

 pickup-truck, very-slowly driving in front of the plaintiffs property, on at least one occasion, briefly pausing for no other reason than to
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continue intimidating and harassingstalking the plaintiff and [MOTHER]. The plaintiff would then wish [MOTHER] goodbye as [MOTHER]

was eager to leave the property in-order-to avoid having to be intimidated/harassed/stalked by [JSP]. As the plaintiff was reversing the

plaintiffs vehicle back into the plaintiffs [DRIVEWAY], in-order-to resume other work on the plaintiffs property, [JSP] would approach

closer to the plaintiff, while remaining in his front-yard, and continue to intimidatingly and menacingly stare at the plaintiff. As the plaintiff

ignores [JSP] and walks away from [JSP] and enter into [HOUSE], [JSP] would shout at the plaintiff, "PERVERT!" [JSP], noticing that \he

plaintiff did not respond in any manner, would then walk away and enter back into his house.



']{445
On or about the afternoon of the date of {20 l 9-08-19), the plaintiff was perfonning some yard-work, manually picking the so-called "weeds"

in [FRONTY ARD] - a more labor-intensive and time-consuming task that the plaintiff must resort to, since the plaintiffs strongly held

religious/cultural views/practices are strongly against the use of any chemicals. Next-door neigl1bor [CB] approaches the plaintiff and asks the

plaintiff, that since they were putting their property for sale, if the plaintiff could clear some of the items stored on the plaintiffs

[FRONTPORCH] - since such [FRONTPORCH] was at least partly visible from some area(s) of [CB]'s then property [792KLLTX7864l] -

in-order-to make their property and smrnunding properties more presentable to prospective buyers. The plaintiff responded that the plaintiff

would move such items into the (private) [BACKYARD] and/or (private) [GARAGE], and began the process of moving such items. [CB]

thanked the plaintiff and even offered the plaintiff a bottle of water, since the weather was very unkh1d during that hi tensely hot summer

afternoon. It took the plaintiff approximately an hour or more of labor-intensive work of moving such items.



 ']{446
 On or about the following morning - the date of {2019-08-20), the plaintiff received another private-message from [KB], in which, [KB]

 thanked the plaintiff for pe1fonnh1g the aforementioned requested tasks. The plaintiff replied that it was not a problem and that the plaintiff had

 also performed some additional clean-up work around the [HOUSE] hi-order-to make the property as presentable as possible. The plaintiff also

 expressed willingness that, if there were any other issues that needed to be resolved, the plaintiff would try the best compromise to help resolve

 the issue. This dialogue between the plah1tiff and next-door neighbors [CB&KB] stands in sharp, almost diametrically-opposite, conh·ast to the

 utterly dehumanizing manner h1 which the plaintiff was treated by [RSR] (who lived further away and across the street from the plaintiff),

 [JSP&KAP] and [WCLE] - for a period of approxhnately IO years. This dialob'l!e also dismantles the extremely fraudulent and racist narrative

 and propaganda that [RSR],[JSP&KAP] had relentlessly proliferated agah1st the plaintiff - to the [HOA], to [WCLE], to other neigl1bors -

 again, for a period of approxhnately IO years.



 'JI44 7
 The [SPOA] had scheduled a Board-Meeth1g for the date and time of {2019-08-20 19:00). On or about the date and approximate time of

 {2019-08-20 19:00}, the plaintiff attends the meeting with a body-worn-camera recordh1g. The plaintiff enters h1to the building and large

 conference-room in which such Board-Meeting is being held. The plaintiff notices numerous persons from the subdivision (including the then

 [SPOA] board members and [RSR] seated in chairs) with one-or-more empty chairs. The plaintiff almost hnmediately notices that [RSR], who

 is seated h1 one of the chairs, looks back menacingly and angrily at the plah1tiff. The plaintiff is hnmediately h1structed to sign-in on the sign-in-

 sheet. After the plaintiff signs in, the plah1tiff takes a seat in the final row of arranged seats. The plah1tiff hears the then Board-Members state
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some preliminary information about the meeting. The plaintiff takes note that [f-HOA-BoD][SPOA-P-BC] authoritarianly demands that no

homeowner who did not register to speak in advance (by sending an email to [SPOA-CM-CD]) will be allowed to speak at the meeting. The

plaintiff also notices that [f-HOA-BoD][SPOA-P-BC] authoritarianly states that no homeowner is allowed to record the meeting - even

demanding homeowners to put away any recording devices. The plaintiff asserts that at least one of the ways in which the then [HOA] under

[f-HOA-BoD]s[SPOA-P-BC],[SPOA-VP-AH] maintained monopoly-control over the [HOA], while running the [HOA] in a

tyrannical/oligarchic manner (with an iron-fist) was to only allow the demands of the most powerful residents of the neighborhood to be voiced

(perhaps most impmiantly, [RSR]), and ideally, with most of the "business" of the [HOA] run in private/secret (without a "virtual" option,

allowing homeowners to attend such meetings remotely/online/virtually), thus, without the public mutiny of all of the residents of the

neighborhood. Many of such asinine, and in at least some cases, unlawful, rules imposed particularly by those [f-HOA-BoD]s were imposed

precisely to facilitate such secrecy and the entrenchment of such undemocratic, top-down hierarchy/power-structure. The plaintiff, who is well-

informed in not only [HOA] law, but also Texas' One-Party-Consent law is fully aware that, contra1y to [f-HOA-BoD][SPOA-P-BC]'s

demands, the plaintiff, as a homeowner of the subdivision, is entirely within the plaintiffs rights to video-record and/or audio-record the

meeting - which even some attorneys that represent [HOA]s will admit is a lawful act; therefore, the plaintiff does not stop the plaintiffs

camcorder recording. However, as the record will show, [f-HOA-BoD][SPOA-P-BC] soon confronts the plaintiff about video-recording, and

after that moment in time, a majority of the [f-HOA-BoD]s and [SPOA-CM-CD] also join in to demand that the plaintiff stop video-recording.

[SPOA-CM-CD] even justifies such unlawful demand against the plaintiff by stating words-to-the-effect that the contract that renters and

guests of the facility, "Liberty Hill Learning and Event Center", in this case - the [SPOA] and its guest homeowners - agreed-to, forbids use of

such recording devices. However, the plaintiff later reviewed such contract (sec PDF-Document link below) and did not fmd any text in that

 contract that forbids use of such recording devices. The plaintiff is thus fraudulently and unlawfully forced, through no choice of the plaintiffs

own, to stop the video-recording, but the plaintiffs laptop computer, which, unbeknownst to the plaintiff, was also set to audio-record

 automatically, is still audio-recording in the background as the plaintiff would only later discover after the meeting ends. (Even in following

 incident(s), the [HOA] fmally admits that homeowners are legally allowed to record such meetings - see below.) The plaintiff asserts that the [f-

 HOA-BoD]s[SPOA-P-BC],[SPOA-VP-AH],[SPOA-MaL-ML] and [SPOA-CM-CD] engaged in Witness-Intimidation and Obstmction-of-

 Justice against the plah1tiff when they fraudulently demanded that the plaintiff stop the plaintiffs lawful video-recordh1g, as they were

 knowingly and fraudulently preventh1g the plaintiff from recording [RSR]'s intirnidation/interfcrcnce/harassment/disorderly-

 conduct/blackmail/fraud and illegal conspiracy that the plaintiff had, for a long-time, known existed between [RSR] - her other cronies

 [JSP&KAP],[DMP], her other White-American co-conspirators- and the then [HOA], and [WCLE]. The plah1tifffurther asserts that the [f-

 HOA-BoD]s[SPOA-P-BC],[SPOA-VP-AH],[SPOA-MaL-ML] and [SPOA-CM-CD] committed the crhnes ofObsn·uction-Of-Justice,Witness-

 lntimidation against the plaintiff (and in doh1g so, totally violated the plaintiffs rights) in this clearly unlawful and corrupt manner in-order-to

 also protect and n1Sulate themselves, [RSR] and her other co-conspirators ([JSP&KAP],[DMP],[WCLE]) from liability - both civil liability and

 criminal liability. Additionally by threatenu1g to remove the plaintiff from such publicly-accessible conference-room, [f-HOA-BoD]s[SPOA-P-

 BC],[SPOA-VP-AH] committed the crime of [I8-USC-PI-Cl3-§245], "Federally Protected Activities", agdinst the plah1tiff, by - on the basis

 of the plaintiffs racial-profile-preventing, attempting-to-prevent, or interfcru1g-with the plaintiff from lawfully:

 ® e11joying the goads, services, facilities, privileges, advantages, or accommodations of any inn, hotel, motel, or other establishment";
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 AND/OR
 ® "participating in or enjoying any benefit, service, privilege, program, facility or activity provided or administered by any State or
 subdivision thereof"

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[RSR]'s mafia-godfather-like power, her extreme manipulativeness, her extreme ego, her extreme narcissism, her extreme hypocrisy, her

extremely racist opinion of people-of-color, and her decade-long con-game to defraud the plaintiff is abundantly revealed by the blackmailing

words that [RSR) loudly, authoritarianly and manipulatively speaks towards the then [HOA) at this meeting (and probably at many other

[HOA) meetings - as [RSR) even admitted to doing the same in other such [HOA] meetings). [RSR) first admits to being in "a lot of meetings"

solely to blackmail the then [HOA] to take further predatory enfot·cement/lega\ actions against the plaintiff. When [RSR1 states "my neighbor"

and "my nextdoor neighbor", [RSR) fails to disclose that [RSR) is referring to [DMP] - one of [RSR]'s cronies - who, as the record does

show, had repeatedly conspired with [RSR) to predatorily target the plaintiff. Not much unlike Hitler who used extremely inflammatmy and

racist rhetoric to scapegoat entire races of innocent people as being the sole cause of problems within society, [RSR] scapegoats the plaintiff~

fraudulently claiming that the plaintiff is the only reason that,® the aforementioned neighbor and [RSR) are not able to obtair1 a ''good price"

for selling their respective properties, and @ this [HOA) meeting was being held to begir1 with - in other words, that this enfae [HOA] meetir1g

was solely to ensure that the all of the White-American residents of the neighborhood could complain-about the plaintiff and demonstrate their-

collective anger at the plaintiff (sec below). [RSR) mentions that she spoke to one-or-more rcaltor(s), "UNIDENTIFIED-REALTOR-I" ("[UR-

I]"), who [RSR) clain1ed also placed all of the blame on the plairlliff. If this Com1 grants the plahlliffthe opportunity to litigate this case, the

plaintiff would seek to depose and/or cross-examine these particular unidentified realtor witncss(s), and any other witness(s) that [RSR] is

referring to ir1 her numerous venomous rants agair1st the plair1tiff. As the previous incident(s) and this incident reveal, [RSR) has clairned to be

putting her house on the market or is ready to put her house on the market for over two-and-a-half years at this point - again, all indications of

a skilled con-artist that has mastered her skills of defraudir1g the p!air1tiff. [RSR) uses the culturally-insensitive/religiously-insensitive and

ethnocentric term "overgrown" to describe the vegetation on the plaintiffs property, when she fully knows that the plaintiff has deeply held

religious views/practices that forbids the cutting of any-and-all vegetation, and when she fully knows that the plair1tiff has spent an enormous

amount of time, effort and money (including litigation expenses) in installing a 11110-mow" grass in [FRONTYARD] (during the previous year of

 (2017}) solely in order to placate the prcdatmy demands of the then [HOA), puppeteered by none-other than [RSR],[JSP&KAPJ and their

 cronies. [RSR) states that the plair1tiff has installed security-cameras "all over" the plaintiffs property, failing to disclose to her overwhehningly

 White-American audience that since the plaintiff, an immigrant-of-color/indigenous-person, has a obstiuctive-and-retaliatory, blackmailing-and-

 defrauding racketeering-enterprise predatorily committing, with absolute impunity, hate-crimes/civil-rights-violations/racketeering-acts/abuses

 against the plair1tiff, that the plaintiff has eve1y right to record eve1y aspect of such egregious racial-oppression and racketeerir1g-activity usir1g

 security-cameras, especially since the instal1ation of such security-cameras is a fully-protected homeowners' right under Texas law [TPrC-T l l-

 C202-§202.023(c )]. In this pat1icular meeth1g, [RSR) fails to disclose to her overwhehnir1gly White-American audience that [RSR),[JSP&KAPJ

 and their· cronies had already succeeded ir1 blackmailing the [HOA) to get the [HOA] to sue the plaintiff ir1 the prior years of (2017)/ (2018},

 even acknowledging these predatmy actions by saying, "/ KNOW THAT LITTLE THINGS HAVE CHANGED" and even fraudulently clairnir1g

 that the plairlliffis still ir1 ''pending litigation"with the [HOA) (sec below). In other words, it was not good enough for [RSR),[JSP&KAP] and

 their cronies to blackmail the [HOA) to inflict maximum harm onto the plaintiff via the stress and expense oflitigation, but rather, the real goals

 of [RSR],[JSP&KAP) (and co-conspirator [WCLE)) was to entirely defraud the plair1tiff out of the plaintiffs rigl1t to private-property

 ownership within such White neighborhood. In this meeting, [RSR) even admits to making late dues payments - with such late payments alone

 beir1g a substantial ground for [HOA]s to sue homeowners; yet, to the best of the plaintiffs knowledge, [RSR] was never sued by the [HOA]

 for late payments nor for her many serious violations of the restrictive-covenants (as substantially documented in this lawsuit). In an act of

 extreme selfishness, hypocrisy, ego and narcissism, [RSR] repeatedly makes it seem as if she is the only dues-paying member of the

 neighborhood (while even admitting to making late payments), and that as "reciprocation" for being such dues-paying member of the

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neighborhood, [RSR] demanded that the [HOA] further-escalate predatory legal action(s) against the plaintiff. The manner in which [RSR]'s

repeatedly expresses this demand is ahnost as if [RSR] is attempting to bribe the [HOA] to further-escalate predatory legal action(s) against the

plaintiff. [RSR]'s allegation of "capital loss" is not only fraudulent but fm1her reveals that she has little-to-no understanding of the law (in

general), and [HOA] law, in particular. For example, [RSR] seems to be completely unaware of the fact that no petitioner in the State of Texas

can expect to obtain a damages judgment against an adversary without proving harm caused by such adversary onto such petitioner, and it is

not merely difficult, but actually impossible for even any petitioner-homeowner, let alone petitioner-[HOA], to attribute any such "capital-loss"

(even if such "capital-loss 11 is considered to be "harm'1 to one-or-more adversary-homeowncr(s) that allegedly fails to maintain property
according to standard(s). Furthermore, the recent case law concerning [HOA]s in Texas is clear that [HOA]s cannot reasonably expect to win a

damages judgment against any homeowner unless the [HOA] can successfully prove to the respective Judge and/or Jmy that such homeowner

caused harm onto the [HOA] itself, which again, is in almost all cases, impossible to do; for this reason, in the State of Texas, (HOA]s can in
ahnost all cases, at best, only reasonably expect to win injunctive-relief and/or reasonable-attorneys-fee(s) without the possibility of any

damages even though the actual text of Texas law authorizes damages. (The plaintiff had consulted with at least three highly-reputable

attorneys exclusively representing Texas homeowners against [HOA]s that all provided the plaintiff with the same information.) [RSRJ clearly

engages in blackmail against the [HOA] when she states, "I'VE DONE MY HOMEWORK, AND I'M DANGEROUS ENOUGH TO KNOW

JUST A LITTLE AND TO MAKE IT WORSE!". [RSRJ states, "/ KNOW YOU CAN'T SPEAK TO WHAT'S GOING ON" indicating that the

[HOA] has, on multiple occasions, warned [RSRJ that neither [RSRJ nor the [HOA] is legally permitted to talk about any individual

homeowner(s) in public settings, as such speech would be clear indication of an illegal conspiracy. Shockingly, [RSR] even states, "YOUR

 LA WYER CAN'T SPEAK TO WHAT'S GOING ON" clearly revealing that [RSRJ, despite being a non-Board-member resident of the

 neighborhood, was inappropriately granted access to speak directly to the [HOA]'s attorney - an extremely revealing and incriminating fact

 which was even corroborated by [SPOA-CM-CD]'s following statement(s). [RSRJ fraudulently (and repeatedly) states that she wanted the

 plaintiff to "mow"the 1'.grass 11 when both she and the [HOA] are fully-aware that the plaintiff even undetwent the expense of litigation to fight

 for the plaintiffs right to install and maintain a "no-mow" grass. [RSR] uses the extremely racist term "pig-pen" to describe the plaintiffs

 privatelconcealed/curtilage [BACKYARD]. [RSRJ repeatedly calls attention to the plaintiffs private/concealed/curtilage [BACKYARD], while

 failing to explain how any allegation regarding the plau1tiffs private/eoncealed/curtilage [BACKYARD] - which is not in the least bit visible

 from the street - negatively affects so-called ''property-values" and/or the ability for any other homeowner to sell his/her prope1iy. In particular,
 [RSRJ fraudulently clauned that both [RSRJ and [RSR]'s "nextdoor neighbor" crony, [DMP], were not able to sell their respective private-

 properties because of the plaintiffs private/concealed/curtilage [BACKYARD], when they both lived across the street from the plau1tiff, and

 when the plaintiffs private/concealed/curtilage [BACKYARD] is not even in the least bit visible from her property, [789KLLTX7864I] or

 [DMP]'s prope1fy, [785KLLTX7864I] - and is approximately 150 feet (or more) in open-space distance from both of these two properties.

 Almost-exactly-like, or almost-verbatim-to, the fraudulent and racist statements made by White-Supremacists/White-Nationalists in their

 publicly-visible social-media postings in the [SBPDL] blog (see section below for examples), [RSRJ uses the same fraudulent White-

 Supremacist/White-Nationalist statement about the plaintiff: ''/ WANT HIM TO BE A NEIGHBOR!" [RSRJ makes the highly-revealing

 statement, "I DON'T WANT TO BE CALLED A RACIST!" - although clearly, if [RSR]'s multiple predatory, abusive and even criminal

 (retaliatory witness-tampering, retaliatmy blackmail, retaliato1y disorderly-conduct, intimidation/interference, etc.) statements against the
 plaintifftmly had nothing to do with racism, then there would be absolutely no need for [RSRJ to even be making such defensive statement.

 [RSRJ, an extremely-privileged and egregiously-entitled White-American woman, residing within an overwhehningly White-American

 neighborhood - where both she and the rest of the White-American residents of the neighborhood grossly outnumber - by a factor of ahnost 9-


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to-I - the plaintiff, an immigrant-of-color/indigenous-person - then outrageously claims to be a victim of so-called "REVERSE-

DJSCRJMINATION" with the plaintiff apparently being the beneficiary of such "reverse-discrimination", when the plaintiff has never, in

actuality, benefited from any type of "reverse-discrimination" nor "afjirmative-action" at any point in the plaintiff's life. Even the plaintiff's

academic credentials (see above) were obtained sole ly by the plaintiff's actual merit, and thus, not by any "reverse-discrimination" nor any
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"affirmative-action". (To the best of the plaintiff's knowledge, none of the plaintiff's other family members ever benefited from any reverse-

discrimi11atio11" nor any "qffirmative-action".) [RSR] concludes her initial racist rant against the plaintiff with a statement that is indisputably

and extremely offensive to almost-al~ if not all, people-of-color, and a statement that demonstrates both her extreme racial-animus and her

extreme sense of racial-superiority: "RACE JS AN ISSUE WHEN THE - WHEN THEY DON'T HAVE A BETTER ARGUMENT!" [RSR] has

such a racist opinion of people-of-color when she derogatorily refers to all people-of-color ( "THEY'') as not having a "BETTER ARGUMENT" -

as if all people-of-color are too low-IQ (according to her high-IQ standards) to make a sound argument. More importantly, such racist

statement is a complete slap-in-the-face of the hundreds-of-millions of people (of all races) that have collectively fought over the course of

many centuries for racial-justice in-order-to secure the rights that people-of-color have today- and the tens-of-millions of people (of all races)

who continue the ongoing and seemingly never-ending battle for racial-justice - as the (subsequent) massive, nationwide {Summer-2020}

racial-justice protests clearly showed - in which a racially-diverse group of more than 20-million people in the United States - almost 1-in- lO

Americans - actively engaged in peaceful, nonviolent social-justice/anti-racism protests in some manner, shape or form (source: ((The New

York Times)), "Black Lives Matter May Be the Largest Movement in U.S. Hist01y" ). [RSR] fraudulently claims that the plaintiff has not

gone by "the rules of the [HOA]" - a purely-racist fraud that is abundantly revealed in the many of the defendants' prior and future (see above,

see below) actions - in which the defendants conveniently ignore all of the restrictive-covenant violations that the White-American (and/or non-

 irnmigrant) residents of the neighborhood ove1whelmingly violate. [RSR] repeated references to "rules of the [HOA]" clearly shows, once-

 again, her lack of understanding of the law, as the restrictive-covenants of the neighborhood (codified within the [DCCR]s) are not "rules of

 the [HOA]" - because the [HOA] does not have any authority to arbitrarily make their own rules. As part of her fraud, [RSR] uses inflated

 words like '.'liduciCIIJ' responsibility", "reciprocation", and "capital loss" to once again, flaunt her intellectual-superiority and superior legal-

 wisdom over the rest of the audience and towards the plaintiff, whom due to the plaintiffs racial-profile, [RSR] has, tlu-oughout the period of

 time documented in this lawsuit, ridiculed to be a ''powerless", low-IQ, subhuman animal ( e ) . Perhaps the most shocking and revealing

 aspect of [RSR]'s racist rant against the plaintiff is that [RSR] admits that the [HOA] has repeatedly warned [RSR] that [RSR]'s outrageously-

 oppressive demands against the plaintiff are "i /legal" - that is, egregiously violative of the plaintiffs civil-rights, egregiously discriminato1y in

 clear violation of the [FHA]/[TFHA], and an egregious abuse of power and authority. [RSR] counters the [HOA]'s response by stating that she

 is "ti red of hearing" that her outrageously-oppressive demands against the plaintiff are "i Ilegal". In other words, [RSR] repeatedly demanded

 that the [HOA] continue with clearly illegal actions against the plaintiff in spite of such clear illegality - in which case, both [RSR] and the

 [HOA] would be clearly liable to the plaintiff for such civil-rights-violations and conspiracy-to-interfere-with-civil-rights. This extremely-

 revealing statement is just one of many statements by [RSR] that clearly s hows either that [RSR] does not care about the law, or more

 accurately that [RSR] believes that both she and the [HOA] are above-the-law. Throughout much of her racist rant against the plaintiff, [RSR]

 almost had trouble controlling herself from breaking-out into euphoric laughter. In other words, throughout much of her racist rant against the

 plaintiff, [RSR]'s tone of voice also revealed that she was thoroughly-enjoying her public-humiliation, egregious invasion-of-privacy and

 intimidation of the plaintiff - further consistent with the plaintiffs claim that [RSR] (and the other defendants), throughout the period of time

 documented in this lawsuit, thoroughly-enjoyed violating the plaintiffs rights, and considered their predatory targeting of the plaintiff to be a

 fun sport that all of the defendants could predato1ily join in on. It would appear to the plaintiff that [SPOA-P-BC] was a little shell-shocked and


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had a tough time dealing with the numerous extremely-revealing, damaging and/or incriminating statements made by [RSR] in the plaintift's

presence, but given the unfortunate circumstances made the best out of the situation by responding to [RSR], "Ok, if that is you all you want
                                                    1



- we'll get you that - the steps." To that response, [RSR], just like a mafia-godfather, authoritarianly responds, "NO! I JUST WANT- I JUST

WANT THAT HOUSE TAKEN CARE OF!" - a type of flippant statement that a reasonable observer would only expect in a Hollywood movie

depicting the kingpin of a crimina\-enterprlSe. Once again, such statement clearly reveals lRSRTs racist opinion that the plaintiff - a \ow-IQ,

subhuman animal, without any rights - was not the rightful owner of any such property, and [RSR] had repeatedly demanded that the [HOA]

take and expedite any-and-all necessary enforcement-actions to foreclose on the plaintiffs private-property, thus defrauding the plaintiff of

such (relatively-profitable) private-prope1ty-ownership. [SPOA-P-BC], once-again !tying to engage in "damage control", states, "We'll get you

the steps. You have to go step-by-step." To that response, [RSR] states, "YEAH, I'VE BEEN TOLD THAT A COUPLE OF TIMES, SIR!" - a

statement that, once-again, reveals that (RSR] has repeatedly blackmailed the [HOA] in-order-to get the [HOA] to take escalating levels of

predatory legal-actions (including legal action) against the plaintiff. As ifto break the extremely uncomfortable dialogue between the two,

[SPOA-CM-CD] chimes in and smprisingly admits that she has talked to [RSR] on numerous occasions about this topic - that she has

repeatedly explained to [RSR] that she is not allowed to discuss with [RSR] about matters concerning any individual homeowner(s), even

suggesting that [RSR], a non-Board-member resident of the neighborhood, be pennitted direct access to the [HOA]'s attorney, which is truly

revealing of the extra-legal, mafia-godfather-like power that [RSR] wielded over the entire neighborhood, but in particular, over the plaintiff. In

response, [RSR] even admits to directly-contacting and/or ttying-to-eontact the [HOA]'s attorney on multiple occasions - with words-to-the-

effect indicating that she had left voice-messages or email-messages for the [HOA]'s attorney on the topic of the plaintiff. [RSR] manipulatively

pretends to defend [SPOA-CM-CD], stating that it is not [SPOA-CM-CD]'s responsibility, but rather the Board's responsibility. Once again,

[RSR] refers to the Board that is ostensibly intended for all homeowners of the neighborhood, as "my Board" - that is to say, that the Board is

a private organization, entirely owned and controlled by [RSR], and thus only answerable/accountable to [RSR], further revealing (RSR]'s

mafia-godfather-like power over the entire ncigl1borhood, but in particular, over the plaintiff. In a remarkable feat of Orwellian doublespeak,

[RSR] refers to the Board's responsibility to act in homeowner,s (singular) best interest, when in actuality, the Board's responsibility is to act in

all of the homeowners' (plural) best interest, doubling-down on this statement of Orwellian doublespeak with, 11And my interests are not being

protected". In a remarkable statement of hypocrisy that would make even the worst hypocrites cringe, [RSR] tnanipulatively states, "I'm not

asking.for you know, for you to stop thejire111orks", without disclosing to her audience that she has repeatedly engaged in the illegal act of

ligl1ting fireworks, along with her racketeer co-conspirators [JSP&K.AP]. In a remarkable statement that reveals [RSR] (and her eo-

conspirators) knowingly conspired to violate the plaintiffs first amendment rigl1ts, [RSR], referencing the plaintiffs political yard-signs,

demands that the [HOA] force the plaintiff to "take off those stupid signs". [RSR]'s characterization of the plaintiffs political yard-signs -

which stated (and continue-to-state), "[AOCJ.for President", 11Ta.x the Rich", "Make Racism Wrong Again", "Green New Deal" - as '~stupid",

yet again, reveals the incredibly racist and low-opinion that [RSR] had of the plaintiff and other persons-of-color such as [AOC] - always

operating with such strong sense of racial-supetiority over both the plaintiff and the entire movement of racially-diverse, political-activists of
which the plaintiff is just one minute part. [RSR] admits to making these threats of blackmail against the [HOA] for 9 years - with the plaintiff

always being the sole and ultimate victim of such blackmail - once again referring to her quarterly dues-payment as some sort of bribe. [RSR]

reiterates, "/ WANT TO SELL MY HOUSE!", but as later incidents would reveal, it would appear that [RSR] would eventually sell her house -

not as a matter of desire ( "want'1, but as a matter of necessity ( 11need'1 - see below. In a statement not much unlike the extremely

inflammatory and racist rhetoric used by White-Supremacists/White-Nationalists in their publicly visible messages in the [SBPDL] blog (see

section below for examples), [RSR] states about the plaintiff, while trying to control herself from breaking out into euphoric laugl1ter, "/ DON'T
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WANT TO LIVE ACROSS THAT GUY! I DON'T! HE'S BAD NEWS! HE'S INCONSIDERATE! ... " In the following, surprisingly-revealing

statement of admission, [RSR] states, "HE DOESN'T CARE ABOUT- IF HE WANTS TO LIVE LIKE THAT- THAT'S f1NE! LET HIM BUY A

PIECE OF LAND!" [RSR] ostensibly is refeITing to farm-land, as she has repeatedly demanded that the plaintiff move out of the

neighborhood, and "TO THE COUNTRY!" (see above) - numerous egregious violations of the [FHA]. Even in the most innocent interpretation

of [RSR)'s revealing statement, [RSR) is conveying to her audience that farmers are not welcome in such residential neighborhood. But

[RSR]'s subsequent statement further clarifies her meaning, describing the neighborhood as "OUR NEIGHBORHOOD" by which she meant,

their exclusively White-American neighborhood, at the very least of which, means that immigrant(s)-of-color/indigenous-pcrson(s) that live

according to immigrant/indigenous (religious/cultural) values/practices (such as the plaintiff) are not allowed. The plaintiff does not need to

further-explain [RSR]'s racist hypocrisy when she states, "YOU SIGNED THE COVENANTS -AND YOU ARE CONTRACTUALLY

OBLIGATED TO THAT!" as some of [RSR]'s own social-media postings show that she has repeatedly intimidated others who repoiied on

White-American residents 1 restrictive-covenant-violation(s) of, for example, the fireworks ban (and the entire list of other violations) - with

[RSR] being clearly guilty of such restrictive-covenant-violations (along with her racketeer co-conspirators [JSP&KAP]). [RSR] is not only

blackmailing the [HOA] but also perpetrating a fraud when she threatens the [HOA] with the statement - again, not much unlike a kingpin of a

criminal-enterprise, "BUT I NEED YOU TO LET HIM KNOW, IN NO UNCERTAIN TERMS, THAT HE HAS TO ABIDE BY THEM!" when

both she and the [HOA] know that the plaintiff has installed a "no-mow" grass in the plaintiffs [FRONTY ARD] during the prior year of

{2017}. [RSR] complains that she got another notice of violation for her "garbage can", which the plaintiff agrees is an unsigl1tly eye-sore,

often haphazardly, placed on the road for everybody to see, in some instances, with such ''garbage can(.v.)" overflowing (and sometimes over-

spilling) with such unsightly contents - not to mention, that such garbage can is a toxic symbol of virtually-limitless societal waste. But in

[RSRrs reference to her ''garbage can" violation, [RSR] is manipulatively pretending not to understand the huge difference between the two
situations - that neither she, nor any other resident, is allowed to keep an eye-sore out on the public road (for everyone to see), whereas, the

plaintiffs private [BACKYARD] is entirely enclosed by a 6-fect-tall-privacy-fence, and thus, not even in the least bit visible from the street.

[RSR) manipulatively repeats her fraudulent statements, as if enhancing her con-game against the plaintiff by such use of repetition, that she

 has waited 9 years for the [HOA] to take action against the plaintiff, when she knows fully-well (see social-media postings above and below)

 that she and her cronies had alr·eady successfully blackmailed the [HOA] to engage in predatory litigation against the plaintiff in the previous

 yearn. But perhaps the most revealing aspect of [RSR]'s racist attitude towards the plaintiff is revealed in the following sequence of dialogue

 including [RSR], then [SPOA-P-BC], and (White-American) [HOMEOWNER-3]. [RSR] pretends to show that she does not have a totally-

 racist attitude towards the plaintiff, by then shifting her focus onto the issue of "trucks, campers" illegally parked in the neighborhood, by which

 she means "commercial trucks of I-ton or larger" and "trailers". [RSR] fails to disclose the hypocrisy of this statement to the audience - that
 her partners in crime, [JSP&KAP], have repeatedly and illegally parked a boat on the road, often rigl1t in front of the plaintiffs property - a

 boat that [RSR] has surely never complained about. [SPOA-P-BC] states that, as the plaintiff already knew fully-well, the problem of illegal

 vehicles - trailers, boats and commercial trucks - parked in the subdivision had existed :'for years" - without any enforcement/legal action taken
 by the [HOA] against such violations that the plaintiff asse1is is disproportionately committed by White-American (and/or non-immigrant)

 homeowners within the subdivision. [SPOA-P-BC] actually mentions the issue of "boats", but to this, [RSR] simply responds without

 acknowledging [JSP&KAP]'s aforementioned violations, "It's just been happening a lot lately", without any evidence, even blaming people

 that have newly moved into the neighborhood. Surprisingly, another White-American male homeowner, [HOMEOWNER-3], angrily responds

 out loud to the [HOA-BoD]s, "YOU DON'T OWN THE STREETS THOUGH! THE [HOA] DOES NOT OWN THE STREETS! THAT'S

 WILLIAMSON COUNTY! YOU DO NOT OWN THE STREET! YOU HAVE NO JURISDICTION!" [SPOA-VP-AH] warns [HOMEOWNER-


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3] stating that he is not allowed to interrupt [RSR], again, reaffuming that the power-structure in the neighborhood is a tyrannical oligarchy

(with [RSR] playing the informal role of mafia-godfather), without even any pretense of being a democracy. Shockingly, [RSR] shows great

deference to [HOMEOWNER-3] due to the fact that [HOMEOWNER-3] is a White-American male, backpedaling in apology to

[HOMEOWNER-3], "No, listen - if that's an expectation - that I'm wrong about - that[???} - then ok, but I just want to knmv, so I don't ... "
The plaintiff strongly asserts that if the plaintiff had even muttered a few words, even without interrupting the mee\in& which the plaintiff, at

no point did, [RSR] would have demanded that the plaintiff be ejected from the meeting. So, the sharp, in fact diametrically-opposite, contrast

in attitude of [RSR] towards her fellow White-Americans who so-clearly and so-boldly defy the rules, versus her extremely-racist attitude

towards the plaintiff, an immigrant-of-color/indigenous-person, whom [RSR] is only fraudulently alleging is violating certain modern-day-Jim-

Crow mies could not be greater - once again, fully-revealing that the [RSR]'s decade of predatory targeting of the plaintiff was solely based on

her extreme racial-animus towards the plaintiff, arising from her strong sense of racial superiority over the plaintiff. [RSR] even admits that

there is a large tow-u·uek persistently (and illegally) parked on KingfJSher that she has to drive around - while at the same time, deliberately

refusing to admit that her racketeer co-conspirators [JSP&KAP] have routinely (and illegally) parked a boat on the su·eet - often in front of the

plaintiffs property - and that such illegally-parked boat also, at least partly, obstructs the passage of legal traffic - while at the same time,

inconveniencing neighboring property-owners (including the plaintiff) who have to maneuver around such illegally-parked obstacles. In addition

lo the many other restrictive-covenants that both [RSR] and her racketeer co-conspirators [JSP&KAP] have routinely violated, [RSR] refuses

to admit that her racketeer co-conspirators [JSP&KAP] are routinely - or even daily - violating at least two restrictive-covenants - the parking

of (any) vehicle overnight on the street, and the illegal parking of a boat - anywhere that is visible from the street. Perhaps most importantly,

 [RSR] refuses to admit that al1 of these particular restrictive-covenant violations are ahnost-exclusively committed by White-American (and/or

 non-immigrant) residents of the neighborhood - and thus, any lack of enforcement of such restrictive-covenants would be an egregiously

racially-discriminatory housing practice - in clear violation of the [FHA]/[TFHA]. At the end of the meeting, the plaintiff noticed [SPOA-MaL-

 AB] walked near the plaintiff, and the plaintiff took such opportunity to ask [SPOA-MaL-AB] if [SPOA-MaL-AB] was a Board-Member,

 which [SPOA-MaL-AB] did acknowledge. The plaintiff asked [SPOA-MaL-AB] if the plaintiff could speak to the Board in private, especially

 to address (RSR]'s racist statements about the plaintiff, to which, [SPOA-MaL-AB] responded that sometimes Board-Members do allow

 homeowners to speak directly to the Board during Executive-Session, and directs the plaintiff to speak to [SPOA-CM-CD]. The plaintiff

 approaches the table at which the Board and [SPOA-CM-CD] were seated, but noticed [RSR] in front of the plail1tiff, speakil1g to the Board

 and/or [SPOA-CM-CD]. In response to [RSR]'s questionil1g, [SPOA-MaL-ML] starts asking questions of her fellow Board-Members and/or

 [SPOA-CM-CD]. Despite the fact that the plail1tiff was just standing il1 front of the table, waitil1g to speak to the [SPOA-CM-CD] and/or the

 Board, [RSR] suddenly accosts the plail1tiff, dil·ectly stating with a menacingly look of racist-contempt on her face - and ill the presence of the

 Board - to the plaintiff, ''Are you happy that all of this is about your inability to follow the rules!" This extremely-revealing statement by

 [RSR] clearly illdicates that [RSR] was, ill a very illtimidating and threatening manner, hying to gaslight the plaintiff illto thinking that this entire

 [HOA] meeting was held solely to address the ''problem" of the plail1tiff, as if the plaintiff - an immigrant-of-color/indigenous-person - is the

 one-and-only problem in such White neighborhood. But the other extremely-revealing, and actually very honest, aspect of [RSR]'s statement

 was her use of the word "inability". Clearly, no person can be sued, prosecuted, or othe1wise found liable for anything that they are unable-to-

 do and/or incapable-of-doing. Despite of these facts, [RSR] (and her cronies) viciously and successfully blackmailed the [HOA] to sue the

 plaintiff(which did happen ill {2017}/{2018}), and [RSR] viciously and successfully worked with her co-conspil·ators, [JSP&KAP],[WCLE]

 to prosecute the plaintiff purely in retaliation for all of the extremely-il1crilnil18ln1g evidence that the plaintiff had accumulated about these

 parties, and the plaintiffs intention to use such extremely-incriminating in legal action(s) against the defendants - a purely retaliatory prosecution

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that did nothing else but obstruct justice - and a pure ly retaliatory action that was also in clear violation of the [FHA] (see below). The plaintiff

docs not dignify [RSR]'s abusively-racist statement of witness-intimidation and retaliatory disorderly-conduct with a response. The plaintiff

instead asks [SPOA-P-BC] if the plaintiff could address the Board, but [SPOA-P-BC] denied the plaintiff this opportunity, claiming that unless

the plaintiff requested, in advance of the meeting, to speak to the Board, that the plaintiff was not allowed to speak to the Board. As the

plaintiff walks out of the building and towards the plaintiff's vehicle parked in the pm·king-lot, the plaintiff notices (RSR] menacingly stare and

shake her head in disapproval at the plaintiff, but again, with a look of restrained-jubilation ( ip) on her face, further indicating that she had, yet-

again, thoroughly-enjoyed violating the plaintiff's rights, particularly by publicly-humiliating and invading-the-privacy-of the plaintiff - while at

the same time freely enagaging in blackmail of the [HOA], and retaliatory witness-tampering (against the plaintiff) of the other witness

homeowners present at s uch meeting. It is indisputable that [RSR] was not only blackmailing the [HOA] in-order-to coerce the [HOA] to take

further predatory legal action against the plaintiff, but a lso overtly and retaliatorily witness-tampering with many potential witnesses at this

meeting in-order-to "corruptly persuade" them to testify unfavorably against the plaintiff in such legal proceedings - if any such legal action

were to be undertaken by the [HOA] and/or [WCLE] against the plaintiff - which actually did take place (see below). Finally, and of least

importance, the contract of the facility, ''Liberty Hill Learning and Event Center" - which hosted this conference-room meeting, states in pa1t

(see PDF-Document link below):

       "Disparaging remarks ... will not he tolerated and will he cause for immediate expulsion. Renter and guests sl,all use tl,e premises i11 a

       considerate manner at all times ... Conduct deemed disorderly ... shall be grounds for immediate expulsion from tl,e premises and

       conclusion of the rental period."


The plaintiff asserts that [RSR] additionally and egregiously violated such contract by:

® making numerous "disparaging remarks" against both plaintiff and all people-of-color ; AND
@ using the premises in an inconsiderate manner, against both plaintiff and all people-of-color ; AND
© engaging in multiple counts of "disorderly" conduct against the plaintiff.


Ironically, [RSR] was egregiously violating the contract of this fac ility in which she was a speaking guest, while at the same time, [RSR] was

fraudulently, hypocritically and racist\y accusing the plaintiff of violating the contract of the neighborhood (as already abundantly documented

in much of this lawsuit).
 •     RICXJU!D (INITIALLY VImO+AWIO, BUT TIID{ AWIO-QILY) (SPOl'J llOARHUTIIG(~) •                      (20l!H)8-20 19 :00) (-)
 •     [ PRIVA'.l'E UllL LINlt TO BE SIJll«ITJ'ED IN DI.SCOVERY I
 •     ( S!'aCII AND lIIEN1'ITIES OF SCI£ PER9CIIS ARE OIITlm/RIIDIICl'II) TO PICJZCr TIIBIR ~                  . J




 •
 •
  •

     K PLAINTIFF IS SE/\TED IN CHAIR WOKING AT THE THEN BOARD-MEMBER ( S) SPE/\KING WHILE SEATED /\T A DESI< . D
     K [RSR] IS SEI\TED IN /\NOTIIER CHAIR AT THE SECOND ROI·/ APPROXIMJ\TELY 15 FEET FROM THE PLAINTIFF . D
     ~ RON{D- MEMBERS STI\RT ' HOMEOWNERS FORUM ' BUT ONLY HOMEOWNERS Tlll\T REGISTERED IN /\DVANCE 'l'O SPEAK /\RE ALLOWED TO SPE/\K .                              D


     [SPOA-P-BC]            ~TO [ HCMEONNER- 1) : J) IV011/d you like to come 11p ltere 011d .. {???] Or Do yo11 miud sta11di11g 11p so 11-e cau all hear yo11...




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« [HCl'"IEO'llNER-1 j STI\NDS UP TO SPEI\K /IND STARTS TO SPEAK . D
[     [ HCM:O'IINE:R-1] STIINDS UP TO STARTS TO SPI::AK .           D
~ [SPOA-P-BC] LOOKS A'l' THE PIJ\lNTIFF', INTERRUPTS [HOMEO\·/NER-1] AND TALKS LOUDLY TO THE PIJ\INTIFF .                                          D


[SPOA- P- BC]        «TO [HOMEO\·INER-1] :) Just, Just a minute please - ( TO PIJ\lNTIFF : D SIii, DO YOU HAVE A CAMERA ON YOUR HEAD?!




PLAINTIFF            Yes I do, si,:




[SPOA- P- BC]        (TO PLAINTIFF : D COULD YOU TUIIN IT OFF?!




PLAINTIFF            Um. Sir I believe J/,a/ ... Terns....




[SPOA- P- BC]        ¢:TO PLAINTIFF : ) IF YOU DON'T TURN ITOFF, l'MGOJNG TO HAVE TO ASK YOU TO LEAVE!




PLAINTIFF            I see... Is there a reason ll'hy recordings cn111101 be allmred in Terns Homemmers- Basically, Texas Hameo1111ers Association Meeting.~ are al/oll'ed to be
                     reco1ded- (f /'1111101 mistaken - is that 110I ca,,·ect?




[SPOA- VP- AH]       ¢:TO PLI\IN'PIFF : J) This is a Bomd-Meeling!




[SPOA- P- BC]        ((TQ PIJ\INTIFF : D THIS JS A BOARD-MEETING!




PLAINTIFF            Con-eel, uh but...




[ SPOA- VP- AH]      !ITO PLAINTIFF : ll This is 1101 the a1111ual association meeting. It's a Boo1rl-Meeti11g! There's a dijfere11ce be/11'ee11 the lll'o.



PLAINTIFF            I see, ok, and so - hut, as pmt of - as pa,t of Open Meetings Act - /J's supposed to be-




[SPOA- VP- AH]       ([TO PLAINTIFF : l) It's 011 open 111eeJi11g...




[SPOA- P- BC]        (TO PI.l'\JNTIFF :   »YOU'RE OPEN TO ATTEND BUT YOU'RE NOT ALLOWED TO RECORD!


PLAINTIFF            Oh 110, the Open Meeting Ac/ states that you're al/mrcd to record. .. 11111, Jhe meeling... um, its pre//y c/ea,   0




 OC   Then [SPOIi] Corrrnunity-Manager [SPOIi- CM-CD] interjects to the plaintiff : D


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[SPOA-CM- CD]     (TO PLAINTIFF: l) 81111101 i11 this facility m ll'e/1 sil: So, ifJ'OII could please /11m ii off. 11-e g1-ea1ly appreciale it.




PLAINTIFF         Ok. 11111-




[SPOA- VP- AH]    (TO PLAINTIFF' : ]) Yo11'I'<! optio11s are to /11111 it off. orJ'O// ca11 leal'e the room! Those are yo11r options!




PLAINTIFF         Sure. Ok. Ok, I see. Alright.


~ PLAINTIFF TURNS OFF C/W.CORDER BUT PLAINTIFF ' S LAPTOP IS STILL J\UDIO-RECORDING IN THE BACKGROUND .                                           D


[SPOA- MaL- ML]   The light is .,·till - 1'011 kllow 111101, that light is still flashi11g red to me.




PLAINTIFF         It's charged. It's 1101f lashi11g-




[SPOA- VP- AH]    ( TO PLAINTIFF : J) Yeah, 111,y don't you just take it off!



 ~ PLAINTIFF RE!1.0VES STRJ\PPED CAIi.CORDER .             D


[SPOA-MaL- ML]    Tha11k you so much.


[   [H0.\1EOWNER-l] CONTINUES TALl<ING/ASKING-QUESTIONS TO THEN BOARD . THEN BOARD CONTINUES TALKING WITH [IIOMEQl•INER-1] .                              D


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•

 ~ [ HCY.-ffiO':/NER-2] ST/\RTS TALKI NG/ASKING-QUESTIONS TO THEN IJOARD . THEN BOARD CONTINUES TALKING WITH [HQ'-1£O\•JNER-2] .                      D


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~ [RSR] THEN STANDS UP TO START SPEAKING .                     D


[SPOA-P-BCJ       ¢'.TO [RSRJ : » Go Ahead.




[RSR)




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                 UM, BECKY. SO, UM- 1 AGREE WITH YOU THAT l'M VERY FRUSTRATED! AND !'VE BEEN TO A LOT OF MEETINGS! MY NEIGHBOR IS
                 TRYING TO SELL HIS HOUSE, AND HE HAS NOT BEEN ABLE TO GET A GOOD PRICE, BECAUSE FOR 9 YEARS - AT LEAST - THIS PERSON
                 HAS NOT GONE BY THE RULES OF Tl-IE {l·IOA}! 9 YEARS! YOU HAVE A FIDUCIARY RESPONSIBILITY -AND 1- l'MSO TJRED OF HEARING
                 /THAT/ JT'S JLLEGAL! BUT I DO KNOW SOME PEOPLE THAT HAVE{???}. AND THIS HAS BEEN GOING ON FOR A FEW YEARS NOW. AND
                 I'M REALLY- l'M GOING TO PUT MY HOUSE ON THE MARKET- I TALKED TO A REALTOR -AND THEY SAID "GOOD LUCK!" IV/TH THE
                 HOUSE A CROSS THE STREET FROM YOU - I LIVE ON 789 K/NGFISHE/! LANE -AND YOU GO ACHOSS THE STREET BACK THER E - AND

                 YOU'LL SEE THE HOUSE l'M TALKING ABOUT! THE YARD JS A MESS! THE BACKYARD- HE HAD CABLES - WITH CAMERAS ALL OVER
                 THE PLACE! OVERGROWTH IN A TTACHED PORCH! ALL OF THAT - AND FOR 9 YEARS, l'VE ASKED l'OU GUYS TO DO SOl'>'IETH/NG! I
                 UNDERSTAND SPECTRUM HAS JUST COME ONBOAIID FOR 2-3 YEARS- AND I KNOW T/-IAT LITTLE T/-IINGS HA VE CHANGED- BUT, l'M
                 NOT- I'M AT A LOSS AS TO WHY- I AM PAYING MY DUES- LATE SOMETIMES BUT I'M PAYING IT! BUT I AM NOT GETTING A
                 RECIPROCATION HERE! BECAUSE, IF I SHOii~ AND MY NEIGHBOR CAN SHOW- THAT HE LOST A SALE - THAT IS A 'CAPITAL LOSS' -
                 THAT YOU, THEN WOULD BE RESPONSIBLE- AND IN TURN. THAT HOMEOWNER WOULD BE RESPONSIBLE! I'VE DONE MY HOMEWORK,
                 AND l'M DANGEROUS ENOUGH TO KNOWJUSTA UfTLE AND TO MAKE If WORSE! - BUT I'M IMPLORING l'OU TO TAKE SOME
                 ACTION! I KNOIVYOUCAN'T SPEAK TO WHAT'S GO/NG ON-AND YOUR LAWYER CAN'T SPEAK TO WHAT'S GOING ON. BUT/... AND !'VE
                 ASKED YOU- TIME AFTER TIME - PLEASE LET ME KNOW YOU'RE MOVING IN THE RIGHT DIRECTION- /'VE BEEN ASKED[???} - "IVE
                 HAVE 5 STEPS. WE'RE ON STEP 4... " - I DON'T NEED TO KNOIVTHE KN/TTY-GRITTY![???] I JUST WANT T0-1 JUST WANT HIM TO MOW
                 HIS GRASSI I JUST WANT HIM TO CLEAN UP THE PIG-PEN IN H.lS BACKYARD! I WANT HIM TO BE A NEIGHBOR! I DON'T WANT TO BE
                 CALLED A RACIST! AND IN FACT, I THINK THAT IT'S LIKE REVERSE-DJSCRIMINAT/ON! BECAUSE YOU'RE SO CAREFUL BECAUSE OF
                 SOMEBODY'S RACE- RACE JS AN ISSUE WHEN THE- WHEN THEY DON'T HAVE A BETTER ARGUMENT!




[SPOA- P- BC]                    »
                 (!TO [RSR] : Ok, !f that is you all you 11'a11I - we'll gel )'OIi that - the steps.




[RSR]             NO! I JUST WANT - I JUST WANT THAT HOUSE TAKEN CARE OF/




[ SPOA- P- BC]    \1:TO [RSR] : l) We'll get yo11 the .,teps. l'o11 have to go step-by-step.




[RSR]             YEAH. I'VE BEEN TOLD THAT A COUPLE OF TIMES, SIR!




[SPOA- CM- CD]    Aud also, to her point. I know Becky. has called me 1111111ero11s limes abo11I this, a11d-




[???]             [???]




(SPOA- P-BC]      [???}




[RSR]             He's my 11c.wdoor 11eighbor.




[SPOA- CM- CD]
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                 Oue thiug I have asked Becky 1111111erom times - or suggested that she do - is that if is a ho111eow11er i.<rne {???] I ca111101 speak... [???] certain i.,wes that
                 homemmers [???] reglllrliug homeow11e1:.... 8111 I hm•e aske<I Becky to co11/ac/ - the Boairl - the al/omey directly aud see if they are 1l'illi11g to discuss with
                 her tl,iugs that I c,1111101.... Aud I'm actually kepi jivm thal... So, I-




[RSR]            And I've c,c/ually left 111es.rogesfor Mr. •••••. If you coulc/ just seuc/ tliese out to-




[SPOA- VP- AH)   {???}




[RSRJ            {???] //'.,just that.... Its 1101 C...... '.,job! - It's my Bowrl'.,joh!




[SPOA- MaL-MLJ   {???/




[???)            {???]




[RSRJ            BUT WHAT I'M SA YING JS THAT THE BOARD HAS THE RESPONSIBILITY TO ACT IN THE HOMEOll'NER'S BEST INTEREST. AND Ml'
                 INTERESTS ARE NOT BEING PROTECTED! - l'M NOT ASKING FOR YOU KNOW. FOIi YOU TO STOP THE Fl/IE WORKS! l'M ASKJNG YOU TO
                 GEi' THE GUY TO MOW HIS GRASS, AND TAKE OFF THOSE STUPID SIGNS, AND CLEAN OUT HIS BACKYARD. I ASKED YOU THIS FOR
                 9 YEARS - AND /'VE PAID MY $88 {???] SOMETIMES. SOMETIMES NOT... AND I STILL DON'T GET ANYTHING BACK OTHER THAN[???}.
                 AND I - l'OU HA VE THA T FIDUCIA/I Y RESPONSIB/l/TY - AND JUST IN THE LAST YEA/I - I NEED TO KNOW! I WANT TO SEll Ml' HOUSE! I
                 DON'T WANT TO LIVE ACROSS THAT GUY! I DON'T! HE'S BAD NEIJIS! HE'S INCONSIDERATE! /-IE DOESN'T CA RE ABOUT- IF HE WANTS
                 TO LIVE LIKE THAT - THAT'S FINE! LET HIM BUY A PIECE OF LAND! BUT WHEN YOU COME INTO OUR NEIGHBORHOOD. YOU SIGNED
                 THE COVENANTS-AND YOU ARE CONTRACTUALLY OBLIGATED TO THAT! SO, AS AN EXAMPLE.. {???} BUT THAT'S NOT SO... BUT I
                 NEED YOU TO LET HIM KNOW, IN NO UNCERTAIN TERMS, THAT HE HAS TO ABIDE BY THEM! I GOT ANOTHER LETTER FOR MY
                 GARBAGE CAN! - I DIDN'T LIKE IT BUT I NEEDED TO MOVE IT IN - SO l 'M [???] - [???] 9 YEARS! - AND l'M NOT PATIENT! ... OK,
                 ANOTHER ISSUE IS- UM, /'VE SEEN A LOT OF TIIUCKS, CAMPERS HANGING OUT IN THE NEIGHBORHOOD- l'M NOT REALLY SURE
                 WHAT OUR RE-ENFORCEMENT POLICY - I MEAN. OBVIOUSLY.... {???} {???], I DON'T KNOii' WHAT. .. {???] BUT... UM, WHAT IS- If/HA T IS
                 YOUR RE-ENFORCEMENT POLICY ON/???]




[SPOA- CM-CDJ    {???] So ...




[SPOA- P - BC)   (TO [ RSR] : ~ Been like that for yell/:«. Take a picture of it - lwp~(11lly you can gel the house 1111111/,er in it. / ???] Seud it lo 11s. Aud also, a Boal plll*ed

                 i11 the street - Boat parked i11 the dril'eimy. {???]




[RSR)            It's j ust bee11 happeniug a lot lately.




[SPOA- P - BC)   [???] parked i11 the .,·free/.




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[RSR]              Toll'lrucks.




[SPOA- P - BCJ     Exactly.




[HOMEOWNER- 3]     YOU DON'T OWN THE STREETS THOUGH! THE [HOA} DOES NOT OWN THE STREETS! THAT'S WILLIAMSON COUNTY! YOU DO NOT OWN
                   THE STREET! YOU HA VE NO JURISDICTION! IF SOMEBODY WANTED TO PARK THEIR BOAT ON THE STREET- THEY CAN PUT THEIR
                   BOAT IN THE STREET!




[SPOA- VP- AH]     «TO (HCMEOWNER-3] : J) Sil: I'm going to mk you to respect thefocr that this is heropp0111111ity to .1peak, and lo also[???]




[HOMEOWNER- 3]     Howareyo11 [???) again?!




[SPOA- VP- AH]     «To    IHQ'1EOWNER-3) : )) Sir, again, I'm going to ask you to respect that this is her opp0111111ity to speak.




[ RSR]             No, listen - if /Ital's an expec/alio11 - that I'm irrong about - tlral [???) - then ok, but I j ust watt/ lo know. so I don't ...




[SPOA- P- BC]       Tlte deed restrictions say I 1011 or lwger.




[******]           It ol.m soys - 72 !tow:, or less - I don't know[???]




[ SPOA- VP- AH ]    So, I'm going to respec//irlly say rite same-tiring lo you - ****** - and again, r!tis is lrer oppor/1111ily lo l]Jeak - 1101 //tat 1'111 /tying to be mde lo anybody -
                    or[???] - sire did [sign up to speak). {???) I'm/tying to g ive !ter tire oppmt1111ily to talk lrere. So, when you say lmcks, are you saying like... {???)




 [RSR]              0 11 Kingfisltet: there's this lmge /011'- /111ck 011d I don't know ll'!to [???] I j ust knoll' I have lo go aro1111d it - or... [???]




 [SPOA- VP- AH]     It's 110 I the Tmditional Tmcks.. [???) Toll' Tmcks [???]




 (RSR]              { I k now some people park their camper,; here and there, but] it just seems like il'.f been happening a lot lately ... and it'., like some new people in tlte

                    11eig!tborltoad.




 [SPOA- P-BC]       {???]




 [ SPOA- CM- CD]    {???)


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[ l\FJ'ER SOME R/\NOOM CHA'! TER IN THE ROOM, THE NEX1' REGISTERED HOMEO:-INER STANDS UP TO SPEAK . j)

g AFTER ALL O'rHER REGISTERED HC:NEO':INP.RS SPEAK , THE MEETING MOVES INTO OTHER AGENDA ITEMS . j)


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•
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0C   THE MEETil\'G ENDS AND PEOPLE START TO TALK AND/OR LEAVE Tl!E ROOM . j)

ll PLAINTIFF NOTICES THE NEWEST BOARD MEMBER (SPOA-MaL-ABJ SPEAKING TO ANOl'HER HCMEO'ilNER CLOSE BY ~
0C   AFTER [SPOA-MaL-AB] IS DONE SPEAKING TO THE HOMEO\'INER, PLAINTIFF STARTS TO SPEAK TO [SPOA-MaL-AB} : ~



PLAINTIFF           fleJt, may I .111enk. - are you a board member?




[ SPOA- MaL- AB J   What'., that?




PLAINTIFF           Are )'OIi a board member?




[SPOA- MaL- AB]     I m11.




PLAINTIFF           Um... I beliel'e that my l'oice is 1101 being heard 011 a cer/ai11 issue. I beliel'e that a ho111eow11er in thisfomm addre.<1·ed me and my pmperty... 11111, but I did
                    get a chance to respond about the allegatio11s made and..




[SPOA- MaL- ABJ     Do yo,1 wont lo speak to the Boair/?




PLAINTIFF           Yeah.. I could. ... I g11ess.




[SPOA- MaL- AB]     Beca11se we do allow another voice to be heardf,vm the cYnm111111ily at the Executive Session - if it is something yo11 ,muld \\'{/nt lo 10, lo di.1·cu.~, wi1h the
                    board...




PLAINTIFF           llighl. All{/ I, I feel I do... in !his case...




[SPOA- MaL- AB]     Well, yeah - ask - ask C...... -




PLAINTIFF           righl 11011"?




[SPOA- Ma.L- AB]    ,ight now.


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PLAINTIFF          rigl,t now. ok - so. for tl,is exec11ti11e se~fion 1igl,111011•- correct?




[SPOA- MaL- ABJ    yes sir.




PLAINTIFF          ok, got ii. a/rig/,/.


g [SPOA-MaL-AB) ~IALKS BACK TO\•JARDS '!'HE BOARD DESK . iJ
 0C   [RSR] IS STILL TALKING TO TflE OTHER 80/\RD MEMBERS /\ND [SPOA- CM-CD] .                             iJ
{\ so, PL/\1NTIFF SITS 1N A FRON'l'-RQl/1 CHAIR , \'l/\ITING mrrIL PLAINTIFF C/\N SPEAK TO (SPOA-04-CD\ . iJ
 0C   [RSR) tt.<WES TO SPEAK TO [SPOA-MaL-ML] . PLAINTIFF STANDS UP TO SPEAK TO 80/\RD .                                   iJ
 il Pl.f\INTIFF \'//\ITS UNTIL [RSR]        IS OONE SPE/\KlNG TO BOARD .                iJ


(SPOA- MaL- MLJ    Are 11e or ore ll'e 1101 told as board 111e111be1:r to 110/ contact tl,e Attomey directly?




[SPOA- CM- CDJ      Um. tl,e Bomrl membe,~· - yes.




[SPOA- P- BC]       Yeo/,, Board 111e111be1x - yes...




[SPOA- MaL-ML]     A11d bei11g a Boan/ Me111be1; A,e 11e or ore 11e 1101 told to 1101 co11toct tl,e Allomey directly?


 g AS PLAINTIFF l·l/\ITS TO SPEAK TO BOARD,                [RSR] SUDDENLY ACCOSTS PLAINTIFF IN TOTALLY UNPROVOKED MANNER :                              iJ


[RSR]               ('1.'0 PLAINTJ FF : MRE YOU HAPPY THAT ALL OF THIS JS ABOUT YOUR JNAJJILllY TO FOLLOW THE RULES/



 a PLAINTIFF LOOKS AT [RSR] , BUT DOES NOT DIGNIFY RACIST INSULT WITH A RESPONSE . iJ
f SO,     [RSR] TURNS AROUND AND CONTINUES TO WALK BACK 'J'O'i/ARDS [F-HOA-BOD] (SPOA-MaL-ML] .                                       iJ
 [[ IF-HOA-BOD] [SPOA- MaL-ML] TAPS [RSR] AND INDICATES HER RESPONSE TO [RSR] .                                     iJ


[SPOA- MaL- ML]    ( TO [RSR] : ) Did you /,ear - a ,use l j11.1·1 asked 011d - tl,eysaid 11e can't eve11 coll/act tl,e attomey...




PLAINTIFF           (TO (SPOA-P-BC) : l) Sir, / 11r ,.1· told tl,at I 1ro11/d be able to address lhe Board d11ri11g or before the Exec11ti11e Session




[SPOA- P- BC]      (TO PLAINTIFF : J) Did you sign up to speak?




PLAINTIFF          Um.. No. I did 1101. But...




[SPOA- VP- AH]     (TO PLI\IN'l'IFF : l) Then 110, )'OIi COIi/iOi.


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[SPOA- P- BC]     ((TO PLAHITI FF : J) Tl,e11 110, yo11 ca,1110/.




PLA:UlTiiT        I ,\'l'C - I ur,s told.. that in some coses-




[ SPOA-MaL-AB J   (TO [SPOA-VP-AHJ : J) {/11 £xec11/iFe Session, c/0111 IIY! some/imes a/lo,., /10meo1111e1l· 10 speak?]




[SPOA-VP-AHJ      (TO [SPOA-MaL-ABJ : li You haFe to IY!((Uesl lo speak... 1'011 can't jusl sl,oiv up and speak ll'i//,011/ [IY!q11esli11g/...




PLAINTIFF         Shauld I schedule a /,earing hefo1Y! //,e Board 1/ie11?




[ SPOA- P- BCJ    /-111/,?




PLAINTIFF         Sl,011/d I schedule a hearing before the Boar<! - 011 <Ill issue? Or doe.1· ii need to be?




[SPOA-P- BCJ      You can lalk to C...... - )'OIi cau sig1111p lo lalk during 1/,e 111ee1i11g in Novembe1:




PLAINTIFF         Novembe1; ok. A/rig/ii - Ok. Thanks.


[[ PLAIN'rIFF \·/ALKS TO EXIT DOOR, NOTICES [SPOA-CM-CDJ AT DOOR :                         »

PLAINTIFF         (TO [ SPOA-0-i-CD J : ]I Um, Do you know 1111e11 the 11e.11 boa1rl meeting ll'i/1 be?




[SPOA- CM- CDJ    ((TO PLAINTIFF : J) Um, tl,e next meeling is going to be 1/,e a111111al 111eeli11g which is !he 171/i-




PLAINTIFF         i[TO [ SPOA-CM-CD l : )) 011 ... so that's tire November meeting.... at tire em/ ... 171/r..




[SPOA- CM-CDJ     ((TO PLAJNTIFF :li Yer. NoFember/7/h.




PLAINTIFF         ((TO [SPOA-O1-CDJ :)) Ok, Thank ;vu.



a PLAINTIFF WALKS TOWARDS VEHICLE . BEFORE PLAINTIFF GETS TO VEHICLE, PLAINTIFF NOTICES [RSRJ . ~
« [RSRJ MENACINGLY STI\RES AT PLAIN'l'IFF, AND NODS \'/ITfl DISAPPROVI\L, ALTHOUGH JUBILANT ('f>) AND CJ\N- »
« -BARELY CONTROL HERSELF FROM LAUGIHNG-OUT-LOUD . PIJ\INTIFF ENTERS INTO VEHICLE AND DRIVES A\'/AY . D

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After the Board Meeting which left the plaintiff indignant and which also left a large fraction of the neighborhood's homeowners angiy with the

authoritarian/iron-fisted behavior/actions of the then primaiy [HOA] Board members [SPOA-P-BC],[SPOA-VP-AH], a homeowner posted

onto the "nextdoor.com" Summerlyn Leander social-media-platform, a legal document that was drafted related to the [HOA), ironically titled
                                                   11
     ''Board Member Code of Conduct                     •   T he posting quickly sidetracks into criticism of the recent Board-Meeting and specifically, to criticism,

of the top then-Board-Members [SPOA-P-BC],[SPOA-VP-AH). Jn this posting, [RSR] initially defends the then [HOA) Board run by [SPOA-

P-BC],[SPOA-VP-AH) but also criticizes them for not being iron-fisted enough - however, only with regards to the plaintiff. Meanwhile, most

of the residents on this forum are criticizing the then-Board for being too iron-fisted and/or too draconian and/or unanswerable/unaccountable

and/or totally-lacking in transparency. While most of the residents in this forum supported the plaintiffs right to video-record the meeting,

[RSR) defends Ille Board's lack-of-transparency by denying the plaintiff the right to video-record the meeting - obviously because she did not

want her racist rant against the plaintiff to be captured on a video-recording. For once, [RSR), who has until this point, played the informal role

of the neighborhood's mafia-godfather, exercising virtually monopoly-control over the Board at least on the issue of demanding prcdato1y leg.11

actions against the plaintiff, now begins to see her control eroding as more homeowners of the subdivision begin to see her as drunk with

unchecked, abusive power - unchecked, abusive power that has left the plaintiff suffering (at that moment in time) a decade of irreparable

harm. While most of the residents in question are angry at the then Board for being authoritarian/iron-fisted and lacking-in-transparency, [RSR]

manipulatively exploits/capitalizes-on this popular anger by c laiming that she too is angiy at the then Board, but instead, for not being

authoritarian/iron-fisted enough, but only with regards to the plaintiff, while fu lly justifying the then Board's complete lack-of-transparency. For

once, [RSR] - who has deviously committed several hate-crimes/civil-rights-violations/racketeering-acts/abuses and a decade of racist fraud

against the plaintiff - in the process, perfecting her skills of deceptive manipulation and indoctrination for defrauding the plaintiff - begins to

realize that her decade-long con-game of relentlessly-racist propaganda against the plaintiff is no longer working as well as she is expecting it to.

In response to the scathing critique of the Board, and in particular, [f-HOA-BOD)s [SPOA-P-BC],[SPOA-VP-AH], [RSR] fraudulently begins

her message by stating, "This is not constm ctive." By [RSR)'s defmition, any stance that does not perfectly align with [RSR)'s racist and far-

right-wing-extremist view of the world, is considered by [RSR] to be "not constructive." (Jn the fo llowing, the plaintiff will refer to the then

[HOA] Board as [RSR]'s Board, because although [RSR] did not own the Board, [RSR], like a mafia-godfather, exercised virtual monopoly-

control over the Board, at the very least, when it came to any issue concerning the plaintiff.) 1n this particular case, [RSR]'s Board has

performed adequately, but not good enough, by following [RSR)'s orders and taking predatmy legal actions against the plaintiff. Therefore, in

[RSR)'s extremely-manipulative, egotistical and authoritarian mind, [RSR) must defend [RSR]'s Board for the "good" that it has done - which

is exactly what [RSR] tries to do in these particular postings. If, on the other hand, any other resident posted even the most minor critique of
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the plaintiff, [RSR] would have massively doubled-down on such trivial critique by taking-over the entire thread and single-handedly launching

tirade-after-tirade against the plaintiff, as again, by [RSR]'s definition, that actually is considered to be "constructive". [RSR] condescendingly

explains to her audience that they have to follow the (voting) process to ''get" a new Board, while failing to explain to her audience that in
many, if not most cases, less than 25% of the neighborhood actually votes in the [HOA] Board 11elections" - which in many cases, results in
extremist and/or fringe candidates being "elected". Furthermore, without a thorough profile and resume of each candidate, and without the

voters' thorough vetth1g of each candidate, it is extremely difficult even for those that do vote to ascertain what they are actually voting for

when they vote for any particular candidate. But more importantly, for all of (but not limited to) the reasons specified in this lawsuit, and at
least some of the academic literature that documents how [HOA]s actually operate in practice, no reasonable observer would consider an
[HOA] - or, at the vety least, the manner in which [HOA]s, in practice, are allowed to conduct themselves - to be democracies. Instead, any
reasonable observer that studies [HOA]s in practice (and reads the academic literature about [HOA]s) would come to the realization that

[HOA]s, in practice, operate far more like an unanswerable-and-unaccountable oligarchy than a responsive-and-representative democracy, with
[RSR]'s Board being a notorious example of such oligarchy. (Unless and until robust legislation is enacted to fully-regulate [HOA]s h1-order-to

force them to act like democracies, [HOA]s will more-likely-than-not, deviate significantly from the ideals of democracy.) After defendh1g

[RSR]'s Board for the "good" that it has done, [RSR] then manipulatively starts to refocus that popular anger towards [RSR]'s Board, by

blamh1g [RSR]'s Board for not doing enough to, figuratively-speaking, "bring down the hammer" on the plaintiff. Trying to fully-exploit and

capitalize-on that popular anger towards [RSR]'s Board, [RSR] then manipulatively tries to shift all her audience's attention onto the plaintiff,

by stating, "I too amjl·ustrated by events and the neighbor (who wanted to record) who hasnt mowed his grass in 10 years and a/of of other
non-pleasant sfl!ff amd conti1wes to do so ti II this day." As any skilled con-artist would deliberately fail-to-do, nowhere in any of her postings,

does [RSR] reveal to her audience, the numerous racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses that she has
committed against the plaintiff, or that all of her racist and venomous rhetoric against the plaintiff was purely intended both to cause maximum
harm onto the plaintiff, and to defraud the plah1tiffout of both money and the plaintiff's right to private-property within such White

neighborhood. As any skilled con-artist would deliberately fail-to-do, nowhere in any of her postings, does [RSR] reveal to her audience that, h1

the prior years, [RSR] (and her co-conspirators [JSP&KAP]) blackmailed [RSR]'s Board to sue the plaintiff, forcing the plah1tiff, by no choice

of the plaintiffs own, to install a "no-mow" grass in the plaintiffs [FRONTYARD]. As any skilled con-artist would deliberately fail-to-do,

nowhere h1 any of her postings, does [RSR] reveal to her audience that [RSR], having already inflicted untold amounts of in'eparable harm

onto the plaintiff, is now demandh1g that the [HOA] take fm1her predatory legal actions agah1st the plaintiff for the plaintiff's failure to mow the

plaintiffs "no-mow" grass. According to [RSR]'s racist and far-right-wing-extremist view of the world, eve1y predatory, malicious and abusive
action that [RSR] (and her co-conspirators) have personally unde11aken against the plaintiff(or the plaintiffs family-members) is apparently

considered to be ''pleasant'', whereas, eve1y action in which the plaintiff has innocently exercised the plaintiffs Constitutionally-protected first-

amendment rights - entirely within the confines of the plaintiffs private-property (and was viciously victimized by [RSR] and her co-

conspirators for doing just that)- is considered to be "non-pleasant". [RSR] ends that particular message fully-meant to defraud the plaintiff by

stating, "My eve,. so humble two cents worth", although no reasonable observer that studies any of [RSR]'s predatory, malicious and abusive
actions against the plaintiff, would consider [RSR] to be anythh1g that even remotely resembles "humble". To [RSR]'s absolute shock, another

White-American resident, [CR], scathingly questions [RSR] as to how any person's (let alone, the plah1tiff's) lack of mowing of his/her grass is

relevant to such person1 s need to video-record such [HOA] meeting, sarcasticaUy questioning to [RSR], 11/s there a pre requisite to he able to
be transparent now?" (The plaintiff would like to make it clear that the plaintiff does not know [CR], and to the best of the plaintiffs

knowledge, the plaintiff has never met [CR] nor has the plaintiff ever contacted [CR]; therefore, [CR] clearly stated all of these responses to

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[RSR] out of his own volition.) [RSR] demonstrates her shock that another White-American resident would dare to question her ill-gotten,

mafia-!:,,odfather-like authority, beginning her next message to [CR] with, "Wow, C****/ 11 A skilled con-artist that has mastered her art of

defrauding the plaintiff, [RSR], once again, doubles-down on her extremely-manipulative tactic of fully-exploiting the popular anger against

[RSRTs Board, stating that she '~lihares in the.fi"ustation with the board", referring to the plaintiff in the most derogatorily racist manner, that

she has 11had to watch and deal with this 'neighbor'for JO years." [RSR] fraudulently notifies her audience that she wishes to '1enlighten" her

audience as to who the plaintiff really is, by providing "some background", when any reasonable observer who studies all of[RSR]'s predatory

actions against the plaintiff would reach the objective conclusion that [RSR] appears to be a demagogue and skilled con-artist that is prepared

to use •evelJ' trick in the hook" to manipulate and indoctrinate her audience in-order-to engender more racial-animus against the plaintiff in the

overwhelmingly White neighborhood. [RSR] fraudulently states that the plaintiff has "an agenda" - not only denying that an immigrant-of-

color/indigenous-person who maintains his/her private-property according to his/her racial/religious/cultural standards is legitimately exercising a

fundamental Constitutionally-protected first-amendment right, but instead, also conveying that the plaintiff, due to the plaintiffs racial-profile,

has some sinister motive(s). [RSR] then states the words of a guilty person, showing her 11Consciousness-ofGuilt" about her unlawful conduct

against the plaintiff (with "he" referring to the plaintiff): "f1 R.ST let me say ALLf1)0EDL Y, sn he doesn't :;;1w me too/" Thi'i extremely-

revealing statement by [RSR] also show that [RSR] is fully-aware that she, the then-[HOA] and [WCLE] have, for approximately 10 years,

been engaging in egregiously-predatory and unlawful actions against the plaintiff, all as part of an illegal conspiracy and racketeering-enterprise

against the plaintiff, that she, the then-[HOA], and [WCLE] know fully-well are likely to get themselves sued by the plaintiff as a result of

these egregiously-predatmy and unlawful actions against the plaintiff. Not surprisingly, the statement also further reveals [RSR]'s lack of

understanding of the law, with [RSR] claiming that, by her use of the word "ALLEDGEDLY", she somehow magically evades liability for her

criminal actions of wire-fraud and online harassment/stalking, intimidation/interference, disorderly-conduct, and blackmail against the plaintiff.

This statement is just one of two aspects of this pa11icular sequence of incidents that reveal [RSR]'s, and by extension, [RSR]'s co-

conspirators1, '1Consciousness-of-Guilt" - for the decade of hate-crimes/civil-rights-violations/racketeering-acts/abuses that [RSR] and her co-

conspirators had perpetrated against the plaintiff (as part of their racketeering-enterprise against the plaintiff) - the second aspect of
11
 Consciousness-of-Guilt" being [RSR]1s malicious deletion of this social-media-account (Evidence-Tampering) which occurs within a day after

this posting (see below). [RSR] fraudulently focuses her audience's attention onto the plaintiffs many security-cameras, failing to disclose that

those numerous security-cameras were installed on the plaintiffs private-property precisely to capture the racially-motivated hate-crimes/civil-

rights-violations/racketeering-acts/abuses that the plaintiff has suffered from none-other than [RSR] and her co-conspirators [JSP&KAP],

[WCLE] - for, at that point in time, a decade. [RSR] has repeatedly fought the allegations of racism - lodged against both her and her co-

conspirators - claiming that the plaintiff has absolutely no right to accuse anyone of racism, despite of the fact that, as this lawsuit seeks to

document, the plaintiff has innocently suffered some of the most vicious forms of interpersonal racism (from [RSR],[JSP&KAP],[JJB], and

some members of [WCLE]) and institutional racism (from defendant [WC], from the [HOA]) without, in any way, instigating such racist

wrath. Once again, [RSR] draws attention to the fact that she has repeatedly and fraudulently demanded the [HOA] to take legal action against

the plaintiff, for the plaintiffs deliberate failure to mow the plaintiffs 11110-mv-w" grass, yet again, failing to disclose to her audience that the

plaintiff installed such "no-mow'' grass at considerable expense - the plaintiffs back-breaking effort, time, stress, money (including litigation

expenses) - precisely because the plaintiff, through no choice of the plaintiffs own, was forced to do so, ultimately, by the blackmailing

demands of [RSR],[JSP&KAP] and their co-conspirators. As she has done on numerous prior occasions, [RSR], once-again, fraudulently

states that the plaintiff "buries all his trash and waste" in the [BACKYARD], when she knows that this is both physically and logistically

impossible to do, especially when one considers the amount of "trash and waste" that the average American family generates on a weekly


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basis. In so doing, [RSR] is fraudulently denying that it is possible for any person in the United States to live an anti-consumerist, "zero-·waste 11
lifestyle, when the evidence of people (from all around the world) living such lifestyle is ample and ubiquitous. [RSR) fraudulently accuses the

plaintiff of creating "health hazards", without providing any evidence of such "health hazards" (especially given that there is a 6-fect-tall-

privacy-fcnce that completely encloses the [BACKYARD)) and without identifying what such "health hazard," actually are. This decade-long

fraud, in particular, was key to [RSR) and her co-conspirator [JSP&KAP] enlisting [WCLE) to fraudulently charge the plaintiff with Class-C-

Misdemeanor-Public-Nuisance in the following year, {2020) - see below. The plaintiff could make an overwhehningly stronger argument that

White-Americans' use of toxic pesticides/herbicides/insecticides (such has [JSP]'s admitted use of such toxic pesticides/herbicides/insecticides)

does, in fact, actually create serious health-hazard, both to human health - cancer, Parkinsons-Disease, organ-failure, poisoning, etc. - and to

environmental-health • killing of wildlife, land-pollution, and pollution of nearby bodies of water (via runoff), etc. (One-or-more courts in the

United States have actually awarded substantial monetary damages to those person(s) who have suffered the aforementioned
disease(s)linjury(s) from exposure to some of the most widely-used, toxic pesticides/herbicides/insecticides.) The plaintiff could make an

overwhehningly stronger argument that White-Americans' (such as [RSR)'s, [JSP&KAP]'s) illegal lighting of fireworks in such residential

neighborhood causes serious human health-hazards - possibility of injury/death; both short-term and long-term damage to hearing ( 11hearing

!os:i'~; post-traumatic-stress; inhalation of toxic, chemically-filled smoke; disturbance to sleep schedule and work schedule - environmental

health-hazard (toxic debris polluting the land). and the serious possibility of prope11y-damages ranging from minor to major. The plaintiff could

make an overwhelmingly stronger argument that White-Americans' (such as [RSR]'s) unleashing of dogs and/or cats to roam freely onto others'

properties (including the plaintiffs garage, attic, and [BACKYARD)) could cause the possibility of injurious bites/scratches and the potential for

transmission of diseases, even ignoring the unpleasant issue of such animals' defecation. The plaintiff could make an ove1whchningly stronger

argument that White-Americans' (such as [JSP&KAP]'s, [BR]'s, [NP]'s) speeding vehicles driving through the neighborhood causes hazards

with the serious possibility of injury/death and property-damages, and the plaintiff is unaware of any tickets issued for the ahnost-routine

speeding vehicles driving up/down the sh·eet. Once again, all of these issues concerning health-and-sanitation, indisputably, have race color,
                                                                                                                                             1



religion/culture, ethnicity and national-origin written all over it; therefore, adopting any ethnocentric view(s) and/or policy(s) concerning the
topic of health-and-sanitation would be egregiously unjust and racially-discriminatmy, especially when such ethnocentric view(s) and/or

racially-discriminatory policy(s) result in intimidation, threats, coercion, penalization and/or criminalization of any kind. But yet, when [RSR],

[JSP&KAP), the [HOA] and/or [WCLE) unjustly (and discriminatorily) intimidate, blackmail, coerce, penalize, sue and/or even criminally-

charge the plaintiff for the plaintiffs failure and/or "inability" to maintain the plair1tiffs private-property according to White-Ametican

standards, the plaintiff is still denied the opportunity to make any accusation of racism. [RSR) en!,>ages ir1 brazen fraud against the plair1tiff

when she states that the plaintiff, "turns spot light on at nite that shine in your window. 11 The only few times that the plaintiff had been
forced, by no choice of the plaintiffs own, to turn on any fmm of supplemental outdoor-lighting at night, was so that the plaintiff could, ®

spend time installing and/or tending-to the aforementioned "no-mow" grass, in response to the predatory litigation effmis of the defendants, and

@ spend time securing security-camera-cables so that they were not visible from the street, again in response to the predatory demands of
defendants, [RSR),[JSP&KAP] and their co-conspirators; in all such cases, such lighting was exclusively directed towards the plaintiffs

property. By sharp contrast, [RSR)'s partner-in-crime, [JSP], has on numerous occasions, used his hands to maliciously shine torch-light(s)

directly into the plaintiffs security-cameras, lens, even admitting to doing so, in-order-to permanently "blind" such security-cameras, with the

express intent to deprive the plaintiff of recording all of the defendants' criminal acts against the plaintiff• thus, the indisputable crimir1al acts of

racially-motivated criminal-mischief and Obstrnction-of-Justice, with one-or-more of [JSP]'s criminal-acts against the plaintiff done alongside

[RSR) and/or at the command of [RSR]. By sharp contrast, [RSR)'s pai1ner-in-crirne, [JSP], committed one-or-more count(s) of felonious
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stalking and [18-USC-Pl-Cl 3-§242],[l 8-USC-Pl-C43-§913]/[TPeC-T8-C37-§37. l l] against the plaintiff, by fraudulently acting "under color

of law", shining a spot-light directly into the interior of the plaintiffs [HOUSE] on one-or-more occasions, while the plaintiffs [FRONTDOOR]

was open. Again, not much unlike Hitler who used extremely inflammatmy and racist rhetoric to scapegoat entire races of innocent people as

being the sole cause of problems within society, [RSR] scapegoats the plaintiff, fraudulently claiming that the plaintiff is the only reason that

[RSR] and/or her neighbor were not able to sell their respective properties. AB later incidents would reveal, it would appear that [RSR] would

eventually sell her property, not as a matter of desire ("want">), but as a matter of necessity ("need") - see below. [RSR] encourages her

audience to drive by the plaintiffs property to discriminatorily inspect the plaintiff's property- in total violation of the plaintiff's right to privacy.

Like a demagogue and con-artist that is skilled at manipulative indoctrination in-order-to defraud the plaintiff, [RSR) states, 111 am sure you

know the house" - as if it was a foregone conclusion to every other resident of the neighborhood that the plaintiff is to blame for all of what

[RSR] is fraudulently accusing the plaintiff of. A classic tactic of a con-artist trying to defraud another person is to paint, onto a canvas, only

the picture that such con-artist wants the audience to see. By stating "so you have to look at the entire situation'\ [RSR) makes all of these

fraudulent and extremely-misleading statements against the plaintiff, fraudulently prete11ding that she is providing her audience with the entire

picture of the plaintiff, supposedly exposing the plaintiff for the ''villain" that the plaintiff so clearly is. [RSR] fraudulently states that the

plaintiff is in ''pending litigation" with the [HOA],® which as even publicly-accessible court records at this point in time show, is pure fraud,

and@ which, even if true, would reveal that [RSR], a non-Board-member, has illegal access to extremely private/privileged/confidential

infonnation about another homeowner, the plaintiff, that she has absolutely no right to have - once-again, revealing the illegal, mafia-godfather-

like power that [RSR] wielded over the entire neighborhood, with [RSR] effectively exercising virtual monopoly-control over the Board, at

least on any issue concerning the plaintiff. [RSR] goes on to state that due to such '),ending litigation", [RSR]'s Board was justified in

Obstrnction-of-Justice and Witness-Intimidation against the plaintiff by shutting-down the plaintiff's video-recording of such [HOA] meeting. If

anything, if the plaintiff was truly h1 "pending litigation"with the [HOA], then the plaintiff would have been even-more justified in video-

recordh1g any-and-all [HOA] meeting(s), and likewise, the [HOA] would have been even more guilty ofObstrnction-of-Justice/Witncss-

Tampering by denying the plah1tiff the opportunity to video-record any such meeting(s) - especially if such denial was, in any way, h1tended to

prevent the plaintiff from recording evidence of crimes and/or otherwise unlawful actions. Furthermore, if the plaintiff was truly in "pending

litigation"with the [HOA], then [RSR] and all witnesses would know that the plaintiff would be unable to make any extra-judicial statements

to correct [RSR]'s dissemhiation of such fraudulent and racist narratives against the plaintiff. ln other words, if the plaintiff was trnly in

'11endi11g litigation" with the [HOA], [RSR] is fully-exploiting and capitalizh1g-upon the plaintiff's hiability to make any statement, let alone,

mount a vigorous defense by fully exposh1g [RSR]'s fraudulent and racist narratives against the plaintiff. [RSR], skilled at extremely-

manipulative indoctrination, once-again, engages in such extremely-manipulative indoctrination to channel the popular anger against [RSR)'s

board, by fraudulently stating, "my goal is that i wanted to offer an option to those people who arefi-l1strated." [RSR] then fraudulently

accuses [CR] of "misconstruing" her statements. While [CR] is completely oblivious to the decade-long campaign of relentlessly-racist

propaganda that [RSR] has perpetrated against the plaintiff, [CR] was, nonetheless, innocently interpreth1g [RSR]'s statements against the

plaintiff to be irrational and illogical; therefore, there was no possibility that [CR], in any way, 11misconstrued11 anything [RSR] had stated.

[RSR] fraudulently states, that [RSR)'s statements were "made in caution. "There is absolutely nothing in [RSR]'s numerous racist rants

against the plaintiff that indicates that any of[RSR]'s statements in these particular social-media postings (and/or at the recent Board-Meeting)

were •~nade in caution"; rather, all of [RSR]'s predatocy statements against the plaintiff - over the course of over 10 years - were made

maliciously both,® to defraud the plaintiff of money and prope1ty, and@ as pure retaliation for the decade of highly-incriminating evidence

of the defendants' hate-crhnes/civil-rights-violations/racketeering-acts/abuses agah1st the plaintiff that the plaintiff had accumulated for at least 8


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years at that point in time. So, quite to the contrary of [RSR]' s words being "made in caution", almost-all, if not all, of [RSR]'s words against

the plaintiff have been brazenly incriminating and/or revealing o f her malicious conspiracy and racketeering-enterprise against the plaintiff, with

[RSR] serv ing as the "kingpin" of such racketeering-enterprise against the plaintiff. [RSR) protests to [CR], "I am not sure how you drew such

a conclusion", when any reasonable observer would realize [RSR]'s arguments as irrational and illogical - in other words, the arguments of a
demago1,>t1e. [RSR] concludes the previous sta tement, by stating, "... hopefully my explanation was helpful."; again, any skilled con-artist will

speak as if such person is operating with the best of intentions, when those that do any serious analysis will fu lly-realize the con-game. [RSR]

pretends as if she has been somehow victimized by [CR)'s sarcastic, yet innocent, questioning of [RSR]'s irrational and illogical arguments,

stating in protest to [CR], "But why wch cm aggressive tone towards me?" [RSR) concludes her rant by stating, ''1 will heed my intuition ji-0111

now own and j ust not post in the future. Who need~ this?" Again like any skilled con-artist whose con-game has been exposed, [RSR] pretends

as if she has somehow been victimized by such exposure, when the true victim of all of [RSR)'s viciously predatory actions has been the

plaintiff. In other words, when [RSR], for once during the entire decade of incidents documented by the plaintiff, realizes that she is both

outnumbered and outed as a con-a11ist that was, yet-again, acting to defraud the plaintiff, she immediately retreats and agrees to stop posting -

another typical characteristic of the standard con-artist. (The typical con-artist knows when to escape and cover-up-their-tracks when their con-

game has been exposed.) D espite of [RSR)'s intimidating rant, [CR] calmly reiterates his prior question to [RSR], as to how any of [RSR)'s

statements that were viciously made to character-assassinate ( @ ) the plaintiff were in any way relevant to the plaintifPs right to video-record

the [HOA] meeting, once again, bringing attention to the completely illogical and irrational nature of [RSR)'s arguments. Again, [CR], acting on

his own volition, follows his sarcastic question to [RSR], by making another revealing statement - that the plaintiff's "rights can't be infringed

because ofwlwt he may 1101 be doing" - fu lly revealing that [RSR]'s predatory attacks against the plaintiff were fully violative of the plaintiff's

rights. It is indisputable, that [RSR]' s racist, fraudulent messages against the plaintiff in this social-media-posting (and in previous social-media-

postings) is very-similar-to the overtly-racist messages posted by White-Supremacists/White-Nationalists in, for example, the [SBPDL] blog

(see section below for examples). Needless to state, the plaintiff remains indignant and extremely-violated that the plaintiff was, yet-again,

publicly humiliated/defamed (@) and privacy-invaded by this racist, fraudulent narrative in such public-setting by [RSR). The second

screenshot posted below is another social-media posting fo llowing this [HOA] board-meeting in which multiple residents protest then [HOA]

Board members [SPOA-P-BC]'s,[SPOA-VP-AH]'s,[SPOA-MaL-ML]'s and [SPOA-CM-CD]'s iron-fisted behavior/actions and violation of

homeowners rights - in particular, stating that by refusing to allow the plaintiff or any other homeowner to record such meeting, these Board

Members and Community-Manager also violated the rights of all homeowners of the subdivision who are fully entitled to know about what

their [HOA] is doing - whether or not they able to attend the meeting in person. In this social-media posting initiated by another resident, [SM],

[SM] scathingly critiques [RSR]'s Board, stating that [RSR)'s Board ''picked on" the plaintiff for no good reason, as Texas, by default, is a

o ne-party-consent State, and furthermore, there is no law that explicitly forbids the recording of such meetings. (The plaintiff would like to

make it clear that the plaintiff does not know [SM], and to the best of the plaintifPs knowledge, the plaintiff has never met [SM] nor has the

plaintiff ever contacted [SM]; therefore, [SM] c learly stated all of these statements out of his own volition.) In this two particular social-media-

postings, three-or-more residents expressed their opinion that the residents should have been allowed to record the [HOA] meeting, criticiz ing

[RSR]'s Board for deliberately stopping the plaintiff from video-recording such meetu1g u1-order-to corruptly evade liability, which even

[SPOA-VP-AH] admits was the real (and thus, illegal) reason for such prohibition - see subsequent meeting below. Most importantly, as the

th u·d screenshot shows, after this exchange of public messages that turned out very unfavorably for [RSR], [RSR] immediate ly and deliberately

d eletes her "nextdoor.com" account - a social-media account that she had owned since as early as {20 14} (more than 5 years prior to deletion)

- knowing that she has incruninated herself multiple times on this soc ial-media-platform by, at the very least, committing multiple counts of the


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crimes of harassment/stalking, witness-tampering and w ire-fraud against the plaintiff - in an attempt to conceal/destroy evidence of such major

crimes against the plaintiff - which is considered to be the even-more-severe criminal action of felony/racketeering-act evidence-tampering

(faUing under the catego1y of Obstrnction-Of-Justice). In particular, [RSR]'s felony/racketeering-act evidence-tampering

concealment/destruction action of account deletion prevents the plaintiff (or any other law-enforcement investigator) from seeing all of[RSR]'s

public posts on the platform, as the profile page normally displays a list of these postinf?i, - forcing the plaintiff to have to subpoena/depose
11             11
 11extdoor.co111 in a legal-proceeding (such as one pe11aining to this lawsuit), and/or forcing law-enforcement to obtain a search-warrant, in in-
order-to obtain aUof [RSR]'s now-inaccessible, incriminating posts against the plaintiff on this social-media-platform. As [RSR]'s profile page

did show at the end of day of {2019-08-21} (after [RSR] deliberately deleted her account), and continued to show until her final day of

residence at [789K.LLTX7864 I] - almost 2 years later - on-or-about the month of {2021-03} - "Becky Robertson is 110 /011ger a member of
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S11111merly11 Leander. Besides this text, this profile page is empty instead of showing the full listing of [RSR)'s public social-media postinf?i,. lt
is imp011ant to note that [RSR] remained an owner and resident of[789K.LLTX78641] well after the month of {20 19-08} and through the encl

of the month of {202 1-02}; therefore, [RSR] immediately deleted her "nextdoor.com" account - a social-media account that she had owned

since as early as {2014} (more than 5 years prior to deletion) - afte r this final posting in {2019-08-21} as a deliberate felony/racketeering-act

evidence-tampering in-order-to cover-up/conceal her crimes (including witness-tampering/wire-fraud/harassment/stalking) against the plaintiff,

and in so doing, [RSR] additionally committed the crime of Obstruction-Of-Justice against the plaintiff. In fact, the only reason that plaintiff

fo und and saved [RSR]'s now-defunct social-media messages is because the plaintiff was, at that moment in time (right after that specific

[HOA] Board-Meeting), closely-monitoring the social-media-platform for evidence of [RSR]'s crin1es (including witness-tampering/wire-

fraud/harassment/stalking) against the plaintiff. It is indisputable that, by her deliberate and malicious deletion of this particular "nextdoor. com"

social-media-account, thus removing all evidence of her numerous fraudulent and defamato1y (@ ) social-media-poslii1f?ii against the plaintiff

on such social-media-platform, [RSR] also committed numerous counts of the Texas crime of 'fraud" (specified in [TPeC-T7-C32-§32.47]),

against the plaintiff. It is also indisputable that, in every one of social-media-posting.5 and/or private-messages directly targeting the plaintiff for

the purposes of initiating predatory legal-action(s) against the plaintiff (dating back to the month of {20 16-08}) - either with the [HOA] and/or

[WCLE] (see below) - [RSR] has directly engaged in the most overt forms of retaliato1y witness-tampering against the plaintiff. As a reference

example, the fourth screenshot shows a snapshot of [RSR]'s (active, non-defunct) profile page as of the date of {20 17-07-20} - with this active

profile page showing all of her publicly visible information including public-poslit1f?ii (but none of her private messages) as of that date in time.

This snapshot of [RSR]'s profile page dated {20 17-07-20} showed that [RSR] created this social-media account during the year {20 14}, and

since that year until the date of the snapshot, [RSR] created a total of 4 posts on this social-media-platform - I of them to introduce herself to

the neighborhood, I of them to advertise a lost dog, and 2 of them to demand that the [HOA] take predatmy enforcement-actions - in

particular, legal-action - against the plaintiff. This snapshot of [RSR]'s profile page dated {20 I 7-07-20} also shows that, during that same time

period, [RSR] replied to other residents' posting a total of 111 times, and as is already illustrated by the number of responses posted in this

lawsuit, many of these responses were part of [RSR]'s predat01y targeting of the plaintiff (along with her co-conspirators), and many of these

posti11g.5 also showed the extremely-racist hypocrisy under which [RSR] operated. T hese statistics further establish that, despite of the fac t that

the neighborhood had over 1200 residential-properties at that moment in tune - ove1whelmi11gly owned by White-American property-owners -

[RSR] was only laser-focused (along with her co-conspirators) on predatorily (and thus discri111inatorily) targeting the plaintiff - exclusively due

to the plai11tiffs minority-of-one racial-profile - causing severe and long-term psychological-trauma onto the plaintiff, causil1g crippling

financial/economic harm onto the plaintiff, with her ultilnate goal beil1g to get the plaintiffs property foreclosed-on (as she has directly

threatened to the plaintiff - see above). T he plail1tiff emphasizes that this is the manner i11 which [RSR] was using multiple public social-media-


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platforms (involved in interstate or foreign commerce) to publicly and maliciously character-assassinate ( @ ) , defraud and conspire-against the

plaintiff - engaging in fraudulent, racist propaganda to engender more racial-animus against the plaintiff in the White neighborhood's other

residents. T he plaintiff asserts that, if this the manner in which [RSR] abused the plaintiff in public settings, then [RSR)'s private-messages on

private-messaging platforms (also involved in interstate or foreign commerce) are sure to reveal more incriminating evidence of her (and her co-

conspirators) conspiracy and scheme to defraud the plaintiff. AdditionaUy, in one-or-more socia l-media postings (see below), [RSR] also admits

to using the '.'facebook.com" social-media-platform (also involved in interstate or foreign commerce) to rant against the plaintiff, and thus, in-

order-to engage in the same conspiracy and scheme to defraud the plaintiff- the messages of which, to this day, plaintiff has not been able to

access. Almost-all, if not all, offensive postings - including postings that are indicative of conspiracy, fraud, w itness-tampering,

harassment/stalking, and racial-discrin1ination - are almost immediately removed by the moderators/administrators of such social-media-

platfom1s, and for this reason, the plaintiff is unable to access such removed postings (on all of the relevant social-media-platfom1s) further

revealing the defendants' conspiracy and scheme to defraud the plaintiff. Thus, although the plaintiff already has sufficient evidence to litigate

the plaintiffs claims against the defendants, only through the legal processes of Discovery and Depositions (achieved by litigating this case) can

the plaintiff attempt to uncover/obtain any-and-all of [RSR)'s (and her co-conspirators') private-messages and other inaccessible social-media-

postings that further-reveal the full range and scope of [RSR] (and her co-conspirators') conspiracy and scheme to defraud the plaintiff - and in

particular, all of [RSR]'s (and her co-conspirators') acts of racial-discrimination against the plaintiff and all of [RSR]'s (and her co-conspirators')

crin1inal acts of Conspiracy and/or Wire- Fraud and/or Witness-Tampering and/or online Harassment/Stalking against the plaintiff.
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                                                             Becky Robertson
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    On or about the date and approximate time of {2019-08-23 20:30} (night-time), [JSP] while uses his lawn-mower to mow the fro,nt-yard-grass

    of [784KLLTX7864 I], hauls and pushes such heavy lawn-mower deep into the plaintiffs [FRONTYARD] (and side-yard) "no-mow" grass
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and begins to mow over such "110-1110111" grass at the lowest height setting of such lawn-mower, during one of the worst and most-intense (at

that moment in time) hot-summer-droughts in Central-Texas history. To put matters into perspective, during that month of {2019-08}, the

~Electric Reliability Council of Texas ► , [ERCoT], had recorded the greatest electricity usage ever, in Central Texas history, due

to air-conditioning units in Texas running almost non-stop (at the very leas!, during the hottest parts of the day) to cool buildings during this

unusually hot and dty sununer (~ ) . Furthermore, [JSP] is also fully aware of the fact that,



® the plaintiff had take out the pre-existing sprinkler-system during the installation of this "110-mow" grass, and as a result of removing such
sprinkler-system on the plaintiff's property, there is no automatic watering to keep the grass alive during such extreme heat and drought; AND

the fact that



® the plaintiff was not residing at the plaintiff's property at this particular moment in time, only visiting [788KLLTX7864 l] on a weekly basis
to manually water such grass using a hose in-order-to keep such grass alive; AND the fact that



© the plaintiff was entirely relying upon the benefit that such "no-mow" grass is left completely-unmowed so that such lack of mowing keeps
the grass a live - only requiring minimal watering - during such extreme and intensely-hot-droughts.



During various times of his malicious mowing of the plaintiff's expensively-installed "no-mow" grass, [JSP] joyfully looks into many of the

plaintiff's security-camera(s), even taunting at such security-camera(s), and/or shining his torch-light directly onto the lens of such security-

camcra(s). Thus, [JSP] maliciously intended to destroy the plaintiff's "no-mow" grass and the huge amount of time, effort and money

(including litigation) that the plaintiff had invested into installing such "no-mow" grass, with subsequent incidents further confirming his

malicious motives and intent (see below). After [JSP] engages in such malicious vandalism of the plaintiff's private-property, [JSP] then begins

to use a hose to water areas of his frontyard and sideyard grass - as if only his property is worthy of such proper-care, and w ith complete

disregard to the private-property rights of the plaintiff - adding further insult to already substantial injury. After approximately two-and-a-half

days of these areas of the plaintiff's expensively-installed "110-mow" grass being mowed to the lowest height, while not being watered, such

grass looked completely parched, and thus completely destroyed (see incident below). The amount of the plaintiff's ex.pensively-installed "110-

111011111 grass destroyed by [JSP] during this incident (and during subsequent incident(s)) is at least or approx.in1ately one pallet, with a pallet of

grass being approximately 450-square-feet of surface-area. By sharp contrast, on the other-side of the plaintiff's [DRlVEWAY] (further away

fro m [JSP &KAP]'s prope1ty [784KLLTX7864 I]) - such "110-mow" grass has been maintained by the plaintiff entirely (or at least, almost

entirely) in its pristine condition without any damage, thanks to the fact that [JSP] never attempted to destroy such other area of the plaintiff's

"no-mow" grass.



1450
On or about the date and approximate time of {20 19-08-24 19:00}, [JSP], who is in the front-yard of [784KLLTX7864 l ], with his wife

[KAP], yells out to his co-conspirator [CB] (then owner of [792KLLTX78641]) who is in the side-yard of [792KLLTX78641] - bragging that

[JSP] had illegally stepped-into the plaintiff's property [788KLLTX7864 1] to destroy the plaintiff's no-mow-grass, which, at that moment in

time, had already caused over one pallet-worth of damages, by killing much of such grass - since there is no automatic-irrigation system to


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water such grass - and it is precisely the fact that the grass is not mowed that allows the grass to survive not only the intensely hot summer

droughts but also the winter freezes without irrigation (or at worst, with minimal irrigation to address prolonged droughts). These incidents take

place at the middle of the month of August - the absolute worst time of the year to mow (especially to the lowest-height-setting) an un-irrigated

(or minimally-irrigated) grass, since temperatures remain at their highest points and rainfall, if any, is at best, minimal (especially given the fact
that plants' need for water only increases when the temperature increases). Clearly, neither [JSP] nor [CB] seem to respect the plaintiffs right

to the plaintiffs own private property nor the plaintiffs right to maintain the plaintiffs property according to the plaintiffs cultural/religious

practices/standards. [JSP] also indicates to [CB] that [JSP] will finish the job of vandalizing the plaintiffs property by further-destroying the

plaintiffs no-mow-grass that the plau1tiffhad spent well-over $20,000 to install (includu1g litigation-related expenses caused by their blackmail

of the then-[HOA] against the plaintift). In other words, neither [JSP] nor [CB] seem to be, h1 any way, respectful of the fact that the plaintiff

had spent an excrueiatu1gly-painful amount of time, back-breaking effort and money h1 fighting-for-the-rigl1t-to-h1sta\l and insta\\ing the no-

mow-grass on the plaintiffs own private-property, only to have substantial portions of such grass destroyed within a matter of days by [JSP]'s

abusive criminal-mischief actions - which, as the record will show, would eventually result in a felonious dollar-amount in damages to the
plaintiff. In this dialogue, [CB] makes some rather eyebrow-raising allegations about the plah1tiff and/or plaintiffs property, that the plaintiff

will need to fully examine by way of Discovery and/or Deposition(s) of [CB] and his wife [KB], should this Court grant the plah1tiff the

opportunity to do so. The specific allegations by (CB] regarding property-values not only are not supported by the evidence, which show that

in just one single-year transition alone - from the year {2021} to {2022} - the value of almost-all, if not all, of the residential prope1ties within

this subdivision rose by well over $100,000, but also are very revealing as to (CB]'s lack-of-credibility, lack-of-integrity and complete lack-of-

knowledge of how property-values and market-forces - specifically, nationwide and regional shifts in housing supply/demand (which are in-turn
driven largely by nationwide and regional shifts in interstate migration) - actually work. All of these totally fraudulent allegations and complah1ts

agah1st the plaintiff about an alleged $11,000 devaluation h1 ''property-values" lodged by [JSP &KAP],[RSR] and all of then· cronics/co-

conspirators for over ahnost a decade (at this point h1 tune) would be absolutely dismantled and rendered foolish in the following years of

{2021} and {2022}. In particular, if [CB&KB] had simply waited lo sell their property h1 the middle/end of the year {2022} or beginnh1g of

the year {2023} (h1stcad of selling then· property h1 the month of {2019-09} ), they would have made a hefty profit of approxhnately $150,000

(or more) on such delayed sale, rather than selling their property at considerably lower value due to such inopportune tuning. In sharp contrast

to [CB&KB]'s fraudulent/misleading allegations, and as already explained above, according to neigl1bor-law, [CB&KB] actually did owe the

plaintiff approximately $3,945 in material-plus-labor costs as a result of the plaintiffs single-handed permanent fortification of the "permanent"

privacy-fence shared by [788KLLTX78641] and [792KLLTX78641] - althougl1 the plaintiff never raised such issue to [CB&KB] about such

amount owed to the plaintiff. In this dialogue, [CB] also reveals that most of the anhnus towards the then [HOA-BoD]s was actually, in full

display on the 11.flxebook. com" socinl-media-platform - including private-messaging on such platform, which the plaintiff will need to fully

investigate througl1 the processes of Discove1y and/or Deposition(s), should this Court grant the plaintiff the opportunity to do so. This casual

conversation also reveals a ve1y depressing fact of vile human behavior: that both [CB] and hLs wife [KB] would act in a civilized and amicable

manner towards the plaintiff, even thanking the plaintiff for the plaintiffs work in the aforementioned incidents, but then resort to backstabbing

and badmouthh1g the plaintiffbehu1d the plaintiffs back in these conversations with malicious fur-right-wing-exn·emists, [JSP&KAP]. But to be

fan· to [CB&KB], the plaintiff must also state that [CB&KB] would not have secretly engaged u1 this malicious consph·acy against the plaintiff

if not for the toxie-envu·onment of racist-lawlessness created by the defendants - pattieularly, far-right-whig-extremist defendants, [JSP&KAP],

[RSR], who had already engendered substantial raeial-anhnus against the plah1tiff in many of the neigl1borhood's White-American residents,

thanks to then· relentless campaign of racist propaganda against the plaintiff for ahnost a decade at this poh1t in time. [CB] then cautiously alerts
                             Case 1:23-cv-01223-RP Document 1 Filed 10/10/23 Page 563 of 944
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[JSP] about the recent [HOA) Board-Meeting, warning [JSP] that both [RSR] and the plaintiff had attended. [JSP] is immediately alarmed and

distressed because, up until that point in time, since the plaintiff had not been attending such [HOA] Board-Meetin~. the illegal conspiracy

against the plaintiff that consisted of[JSP&KAP],[RSR],[WCLE] and the then [HOA] - run by the [f-HOA-BoD]s [SPOA- P-BC],[SPOA-VP-

AH] - was allowed to run unchecked predatory actions against the plaintiff without the plaintiffs supervision and/or recording. Perhaps the

most shockingly revealing aspect of this conversations, [JSPJ then speaks almost in secretive, criminal-enterprise code to [CB), indicating that

[JSP] needs to secretly re-discuss strategy with [RSR] because their previous, devious and secret strategy along with malicious conspiracy

against the plaintiff had now been exposed to the plaintiff: "Off, SHIT! I'M GOING TO HA VE TO TALK TO BECKY ABOUT THAT/".

This casual conversation once-again reveals a common theme expressed in this lawsuit, about the ongoing hazards for a person-of-color living

his/her natural lifestyle within a White-neighborhood - that such person-of-color could easily be predatorily targeted with the most vicious

forms of racial-oppression and/or racketeering-activity by even less than a handful of far-right-wing-extremist and/or White-supremacist

neighboring residents, while at the same time, at least some significant fraction of the rest of such White neighborhood - whether knowingly or

unknowingly - provides at least tacit, if not overt, support of such criminally-abusive and predato1y actions. Another common theme expressed

in this lawsuit is the scapegoating that far-right-wing-extremists (such as [JSP&KAP]) and/or far-right-wing-extremist-sympathizers (such as

[CB]) so-maliciously engage in, in this particular instance, in-order-to fraudulently demonize, dehumanize, humiliate, disparage, belittle,

backstab and badmouth the plaintiff - fraudulently pretending that the plaintiff is the sole cause of all of their economic problem(s) - when the

real and actual cause of their economic problem(s) is that they are at the mercy of a merciless, uncooperative market that radically shifts up-

and-down with the passage of tin1e, based upon completely uncontrollable forces of such market system(s). (More generally speaking, such

far-right-wing-extremists and far-right-wing-extremist-sympathizers never want to blame the merciless and uncooperative economic-system that

causes all of their economic problems, but rather the scapegoats within society, including but not limited to, irnmigrant(s)-of-color/indigenous-

person(s), that they wish to fraudulently blame all of their problems on.)
 •     R!XXRlU> IIM:I.Sl', ABUSIVE , '!llRDDllIIC, f1WDJlDIT, GASLJGHl'JH, All> OlNSl'IPAlOUAL DIALOWB BE'l1G2I (JSPJ All> (CB)(~) ,   (20U- 08- 24 19: 00) (-)
 •     [ PIUVl\lll! URL LINIC TO Bil &BClTlED DI Dlscx:NIRr J




     U [JSP] IS I NITIALLY \·/ATERTNG HIS YARD \'/ITH \'/IFE [KAP] CLOSE BY HIS SIDE . [JSP] NOTICES [CB] ON [CB) ' S YARD AND YELLS A'!'
     [CB]- D

     U -SUMV.ONING [CB] TO '!'HE FOLLOWING DIALOGUE : D


     [JSP]                HEY! HEY! SEE WHAT I DID! HEY! ... SEE THAT! YEAH, I MOWED ITT/LL I RAN OUT OF GAS!


     U [CBJ APPROACHES CLOSER TO [JSP] : D


     [CB]                 WHAT'S THAT?!




     [JSP]                ... I MOWED IT OVER HE/IE Till I I/AN OUT OF GAS IN THE DARK LAST NIGHT!




     (CB]                 I CAN SEE!




     [JSP]                l'OU CAN SEE MY YARD AGAIN!




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[CB)                OH, IVATCHOlff!


 0C   IJSPJ IJ\UGHS OUT LOUD :       »

[ JSP)              {I'll] GET THE REST LATER!




[CB]                SOUNDS GOOD TO ME!




[JSP]               YEAH. I /VAS LIKE MAN! I JUST CAN'T TAKE IT ANYMORE! - I CAN'T! COME RIGHT NEXT. All I SEE JS HIS LONG-GRASS. AND I'M LIKE,
                    THAT AIN'T RIGHT!




[CB]                YEAH.




[JSP]               IT AIN'T RIGHT!


 ~ [CB] IGNORES THE FACT THAT THE PLAI NTIFF ' S GRASS l!l\S BEEN PARCHED AND DESTROYED BY [JSPJ , INSTEAD C01-IMENTING ON [JSP] ' S

GRASS :   D


[CB)                LOOKS REAL GOOD NOW!


 0C   [JSP] C<M-UTS FRAUD STATING IT TOOK AN HOUR, \·lH.EN IN FACT, HE SPENT NO ti.ORE 'l'Hl\N 20 MINUTES TO MALICIOUSLY KILL

APPROXIMATELY 1 PALLET OF THE PLI\IN1'IFF ' S NO-MCY:J GRASS :         ~




[JSP]               IT TOOK ABOUT AN HOUR JUST TO DO THAT LITTLE BIT!




[CB]                OH, REALLY?!


 0C   [JSP] COM1-lITS FRAUD PRETENDING THAT HE HAS BEEN VICTIMIZED BY Pl.i\lNTIFF, \•lfl.EN HE 111\S COMMITTED A RACIALLY- MOTIVATF.D HATE-

CRIME OF CRil·UNAL- MISCHIEF AGAINST PLAINTIFF :         D


[JSP)               KILLING MY MO/VER! JUST KILLING m


 0C   [CB] LAUGHS OUT LOUD :     D




[JSP]               BUT ... YEAH, I'll FINISH THAT OFF TONIGHT!




[ CB]               SOUNDS GOOD 7V ME!




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•
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•

« {,JSP] AND [CB] ENGAGE IN ZIN UNRELATED CONVERSATION ABOUT SPORTS : ~

•
•
•


[JSPJ           ... /JUST WANTED YOU TO SEE THAT!




[CB]            YEAH, FOR SURE!




[JSP)           IT WILL - HOPEFULLY, IT IV/LL HELP YOU A LITTLE BIT!




[CB)            YEA/-/ HOPEFULLY - IVE DROPPED OUR PRICE, BY LIKE ELEVEN-GRAND. SO-




[JSP)           OH MY GOD. ,WAN!




[CB)            SEE WHAT HAPPENS.




(JSP)           YEAH, THAT'S AWFUL!




[CB)            [ ???] [ ???).



~ (JSPJ ONCE-AGAIN ALLUDES TO [JSP&KAPJ ' S , [RSR] ' S AND THEIR CRONIES ' ILLEGAL CONSPIRACY AGAINST PLl\lNTffF \'!ITH THE [HOA] : D



[JSP)           THAT'S UNBELIEVABLE! ... I GUESS THEl"RE NOT GOING TO DO ANYTHING ABOUT IT. HUI-I?!




[CB]            I DON'T KNOW- WITH AS MUCH OF Tl-IE B.S. THAT'S GOING ON IV/TH THE BOARD RIGHT NOW! I DON'T KNOIV WHAT'S GOING TO
                HAPPEN!




[JSPJ           WHAT DO YOU MEAN, "B.S. "?




[CB)            SO, LIKE THE PRESIDENT STEPPED DOWN AFTER LAST WEEKS MEETING! JUST LIKE, HALF THE NEIGHBORHOOD'S GONE CRAZY ON
                FA CEBOOK - TRYING TO OVERTHROIVTHE WHOLE BOARD!




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 [JSP)              GO FIGURE! ... YEAH. GO FJGURE! ... OK SO, 711ERE'S All KJNDS OF STUFF GOING ON!




 [CB]               OH YEAH!




 [JSP]              OK, MAYBE I SHOULD PAY ATTENTION TO THAT. SOMEHOW!


  0C   [CB] LAUGHS OUT WUD : D


 [CB]               I WAS GONNA GO, BUT THEN I HAD TO GOTO WORK LIKE TWO TOSIX A.M. AND THEN GO BACK /NAT ELEVEN ... AT THE SAME DAY, IT
                    WAS ABSOLUTELY{???] ... DIDN'T FEEL LIKE IT!




 [JSP]              YEA H, 1 KNOW!


  0C   [CB] POINTS 1\1' PLAINTIFF' S PROPERTY INDICATING PLAINTIFF \'!AS AT THE [HOJ\] MEETIMG : »


 [CB]               HE WAS THERE THOUGH!




 [JSP]              HE WAS THERE/




 [CB]                YEAH! CA USE BECKY WENT, SHE TOLD ME, HE WAS THERE!




 [JSP]              OH SHll, l'M GOING TO HAVE TO TALK TO BECKY ABOUT THAT/




 [CB]                YEAH!




 [JSP]              AL-RIGHTY!- ALRIGHT, TAKE CARE MAN!




 [CB]                TAKE CARE! HAVE A GOOD DAY!




 [JSP]               YOU TOO. MAN! YOU TOO!




i451
On or about the date and approximate time of {2019-08-25 21 :00} (night-time), as if the existing damage to the plaintiff's no-mow-grass was

not good enough, and just as [JSP] had promised [CB] in the prior conversation, [JSP] enters into the plaintiff's [FRONTYARD] with a heavy

gasoline-powered string-trimmer in hand, and begins to cut, again to a very-low height, any remaining parts of that side of the plaintiff's

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[FRONTY ARD] no-mow-grass. As he is perfonning such criminally-abusive act of vandalism against the plaintiff, [JSP] approaches within a

few feet of the plaintiffs [GARAGE], and is at one point, almost standing near the deepest-edb>e of the plaintiffs [DRIVEWAY] handling such

obnoxiously-loud yard-equipment, again, at a time of 21 :30 at night - which is considered to be within sleeping hours for at least some

residents.



'1[452
On or about the date and approximate time of {2019-08-26 08:00}, the plaintiff, who was not at the property of[788KLLTX78641] for

several days, returns to property [788KLLTX7864 I] and discovers, with great shock and indignation, that the plaintiffs no-mow-grass had

been vandalized - with a substantial area of such grass having been completely-parched as a result of mowing to a very-low height, when such

grass, by its very design, was not intended to be mowed (to any height) in the fu"st place. The plaintiff ahnost immediately drags two of the

plaintiffs hoses towards the large area of the plaintiffs no-mow-grass that had been vandalized, opens the two taps connected to those hoses

and immediately starts to water such damaged no-mow-grass with both hoses, in a desperate attempt to revive/recover any grass that has not
died due to such damage. While the plaintiff was watering such grass, [JSP] emerges from his pickup-truck and briefly looks at the plaintiffs

watering of such grass - then realizing that the plaintiff was trying to undo the extreme damage that [JSP] had caused to such expensively-

installed no-mow-grass, that the plaintiff had worked so hard to install, and that the plaintiff even litigated for the right to install. The plaintiff

would also take high-resolution photographs of all of the damaged areas, knowir1g that the plair1tiff will need to use all of this evidence to

expose just one additionaL tiny part of the defendants' conspiracy and racketeering-enteq,rise against the plaintiff. As the plair1tiff would later

realize, the irreparable damage done to this substantial area of grass - at least I pallet (450 square-feet) of such grass - had already been done

and could not be undone, since the damaged grass in this substantial area had ah-early died due to the intense summer heat/drought without

immediate and sufficient soil-moisture to help the grass heal/repair/recover. Much of this now-damaged no-mow-grass was delicately installed

and established, with an excruciatingly-painful amount oftbe plair1tiffs tirne, effort and money (including litigation-related expenses) durir1g the

cooler months of {2017-1 O} through {2018-05}, along with careful maintenance ir1 the following months of {2018-05) through {2019-08} -

with each passing month, such no-mow-grass extending its roots deeper and more-expansively into the soil, thus causing such no-mow-grass to

become more hardy, resilient and drought-tolerant. The original breeders of this particular cultivar of no-mow-grass had inf011ned the plaintiff
in the year {2017} that, once fully-established, such no-mow-grass could have roots as deep as two-feet-deep or more - but once again, such

full-establishment takes many years of careful maintenance to develop.



'1[453
On or about the date and approxirnate tirne of {2019-08-26 21:20} (night-time), [JSP] arrives back to his property [784KLLTX7864l] in his

pickup-truck, and after parking such pickup-truck in the driveway of [784KLLTX7864 l ], wall<cs towards the border-area between the two-

properties. At the border of the two-properties, [JSP] shir1es his torch-light into various areas of the plaintiffs no-mow-grass to inspect such

grass in-order-to detennine if he was successful in killing such grass, which the plaintiff had spent an exc1uciating amount of time, effo1t and

money (including litigation) to ir1stall. AB the plair1tiffs security-cameras would continue-to-capture, [JSP] would contirme to ir1Spect such grass

at later moments in time, once-again in-order-to detennine ifhe was successful in killing such grass (see below).




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1454
On or about the date and approximate time of {2019-08-28 21 :51} (night-time), after he spends some time using a hose to water areas of his

front-yard grass, [JSP] angrily looks into one-or-more of the plaintiffs security-camera(s) and angrily raises his hand to issue the

obscene/vulgar gesture of his middle-finger pointed directly to such security-camera(s). [JSP] then deliberately walks towards two-or-more of

the plaintiffs security-camera(s), and uses such hose to run municipal water at full-water-pressure to douse numerous of the plaintiffs security-

cameras full of such municipal water for a period of more than one minute, in-order-to permanently damage/disable the internal electronics of

such individual security-cameras and/or sh011-circuit the entire security-camera-system, since all of such security-camera-equipment (including

internally-placed electrical hub and digital-video-recorder) are electrical in nature and require the use of hard-wired electrical wires for

connection and operation. After this particular dousing., at least 2 of the plaintiffs security-cameras - both ''4K"l'Ultra-High-Definition", and

of the same make/model, each valued at between $150 to $170 - become pennanently damaged, causing further, much-larger expenses to the

plaintiff in terms of inflated, faulty recordings recorded onto the recording-medium (hard-disk-drives).




1455
On or about the date and approximate time of {2019-08-29 19:05} (day-time), [JSP] arrives back to his property [784KLLTX78641] in his

pickup-ttuck, and after parking such pickup-buck in the driveway of [784KLLTX7864 l ], walks towards the plaintiffs property, looking at the

no-mow-grass that he had maliciously destroyed in the previous days of {2019-08-23} and {2019-08-25}. While on the sidewalk in front of

 the plaintiffs property, [JSP] carefully spends more than half-a-minute inspecting such no-mow-grass in-order-to determine if he was

 successful in killing such no-mow-grass, which the plaintiff had spent an excmciating amount of time, effort and money (including litigation) to

 install. In particular, [JSP] notices that such no-mow-grass that [JSP] maliciously mowed-over at the lowest-height-setting of such lawn-

 mower, is completely-parched and yellow-brown in color, whereas the completely-umnowed no-mow-grass on the other-side of the plaintiffs

 [DRIVEWAY] has an extremely bright and vivid green color- indicating that even in the most excruciatingly-hot-midst-of-summer-drought,

 such no-mow-grass is in full health and vitality, without any damage whatsoever - precisely because it is not mowed. These multiple incidents

 where [JSP] carefully inspects the area of the plaintiffs private-property that he maliciously vandalized, show that [JSP&KAP] continued to

 have malicious-intent agail1st the plaintiff, hopillg that all of the grass in such area of the plaintiffs property would die, a fact which, both

 [JSP&KAP],[RSR] could then exploit ill-order-to demand that the [HOA] take further predatory and/or legal actions against the plaintiff.




 1456
 On or about the date and approximate time of {2019-08-30 19:45} (day-time), [JSP] anives back to his property [784KLLTX7864 IJ in his

 piekup-ttuck, and after parking such pickup-truck ill the driveway of [784KLLTX78641], walks towards the plaintiffs property, looking at the

 no-mow-grass that he had maliciously destroyed in the previous days of {2019-08-23} and {2019-08-25}. While on the side-yard-area closest

 to border of the two-properties, [JSP] spends approximately five seconds inspecting such no-mow-grass in-order-to determine if he was

 successful ill killing such no-mow-grass, which the plaintiff had spent an excruciating amount of time, effort and money (including litigation) to

 install. In particular, [JSP] notices that such no-mow-grass that [JSP] maliciously mowed-over at the lowest-height-setting of such lawn-

 mower, is completely-parched and yellow-brown in color, whereas the completely-unmowed no-mow-grass on the other-side of the plaintiffs

 [DRIVEWAY] has an extremely bright and vivid green color - indicating that even ill the most excruciatingly-hot-midst-of-summer-drought,


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such no-mow-grass is in full health and vitality, without any damage whatsoever - precisely because it is not mowed. These multiple incidents

where [JSP] carefully inspects the area of the plaintiffs private-property that he maliciously vandalized, show that [JSP&KAP] continued to

have malicious-intent against the plaintiff, hoping that all of the grass in such area of the plaintiffs property would die, a fact which, both

[JSP&KAP],[RSR] could then exploit in-order-to demand that the [HOA] take further predatory and/or legal actions against the plaintiff. [JSP]

then stare menacingly/angrily into multiple of the plaintiffs security-cameras and begins to mutter some angiy words. [JSP] then begins using

his hands to count the number of security-cameras out loud. [JSP] then stares directly into one-or-more of the plaintiffs security-camera(s) and

continues to make angry statements, indicating his anger due to the number of the plaintiffs security-cameras - even the plaintiff had

strategically installed such security-cameras in an evenly-distributed-manner (pointing in all directions) throughout all-areas around the plaintiffs

[HOUSE] - including, but not limited to, the opposite side of the [HOUSE] - along which [JSP&KAP] did not share a border with the plaintiff.



1457
On or about the approximate date and approximate time of {2019-09-01 15:30), the plaintiff notices one of [RSR]'s pet-cat(s) roaming freely

in-and-around the surrounding property(s) in front of [RSR]'s partly-open garage. During numerous occasions over the period of many years,

the plaintiff would notice that [RSR] would leave her front-garage-door partly-open, in such manner and/or as a practice, so that her pet-cat(s)

can roam freely throughout the neighborhood (including sometimes in the plaintiffs [BACKYARD]) - while the restrictive-covenants of the

neighborhood, as a matter of safety, explicitly prohibits residents from allowing such dogs and cats to roam freely throughout the neighborhood.

The plaintiff would also spend at least an hour on th,s day, using two hoses to water the side of the yard containing no-mow-grass that [JSP]

tried to destroy, hoping that at least some of such no-mow-grass would eventually revive/recover as result of such additional watering.



1458
On or about the date and approximate time of {2019-09-02 17:00}, [SPOA-VP-AH] holds an informal meeting outdoors within the

neighborhood, in which a few of the residents (including the plaintiff) attended. During this informal meeting, several topics were discussed, the

most revealing of which was homeowners' ability to record Board meetings. [SPOA-VP-AH] states that the Board (including herself) does not

permit homeowners to record Board meetings because such recording(s) would expose the [HOA] to liability. In so stating, [SPOA-VP-AH]

has made-it-very-clear both to the plaintiff and all other residents in attendance that the real reason for such [HOA] secrecy and non-

transparency was to evade liability for potcntiallY illegal and/or abusive actions committed by the [HOA]. The plaintiff would also spend at least

an hour on this day, using two hoses to water the side of the yard containing no-mow-grass that [JSP] tried to destroy, hoping that at least

some of such no-mow-grass would eventually revive/recover as result of such additional watering. While the plaintiff was watering such grass,

[JSP] emerges from his house and stares at the plaintiffs watering of such grass - even using two hoses to water such grass - then realizing that

the plaintiff was hying to undo the exti·eme damage that [JSP] had caused to such expensively-installed no-mow-grass, that the plaintiff had

worked so hard to install, and that the plaintiff even litigated for the right to install.



'.1[459
On or about the date and approximate time of {2019-09-04 20:52} (night-time), [JSP] approaches close to the plaintiffs panel-of-fench1g

closest to the plaintiffs outdoor air-conditioning-unit. [JSP] shines his torch-light rapidly and/or repeatedly into multiple of the plaintiffs

sccurity-camcra(s) located in such area, in-order-to rapidly trigger on-and-off the infra-red/night-vision circuitry of such security-camera(s).
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Right after [JSP] performs this malicious action, [JSP] then kicks (with considerable force/violence) a separate and dedicated infra-redlnight-

vision illuminator (used to enhance the night-vision of any security-camera(s) in the area) located at ground-level within the plaintifrs side-yard.

Such illuminator, valued at approximately $75, would then become faulty and/or inoperable shortly after this incident.



1460
On or about the date of {2019-09-09}, the [HOA] formally announces [SPOA-P-BC]'s resignation as [SPOA] Board-President (although,

[SPOA-P-BC] may have personally made such announcement at an earlier date). At that moment in time, [SPOA-P-BC] had served as

[SPOA] Board member for a period of approximately 10 years or more. [SPOA-P-BC]'s term as [SPOA] Board-President actually expired at

the end of the year {2020}, and it is vc1y unusual for any [HOA] Board-Member (let alone the [HOA] Board-President) to resign prior to the

expiration of his/her term in office unless that pm1icular [HOA] Board-Member is moving out of the neighborhood - which was not true in this

pat1icular ease - as to the best of the plaintiffs limited knowledge and/or public-records, [f-HOA-BoD][SPOA-P-BC] still remains homeowner

and resident of the neighborhood. It is indisputable that the recent incidents involving the plaintiff and the [SPOA] Board particularly at the

most-recent [SPOA] Board-Meeting and all of the fallout from this [HOA] Board-Meeting, inevitably and ultimately led to the [SPOA-P-BC]'s

resignation as [SPOAJ Board-President. Therefore, the plaintiff, without even intending to do so, played a cmcial role in the overthrowing of

an abusive [HOA] Board-Member from his official [HOA] Board position as [SPOA] Board-President. Conversely, [RSR]'s abusive actions

and fraudulent rhetoric during that [HOA] Board-Meeting and [RSR]'s abusive, fraudulent online-postings after that [HOA] Board-Meeting,

which were in support of the then [HOA] Board, only led to [SPOA-P-BC]'s resignation - and as future events would show, also led to then

 [HOA] Board-Members [SPOA-VP-AH] (Vice-President) and [SPOA-MaL-ML] (Member-at-Large) being voted out of office (despite both of

 these Board members ming and campaigning for re-election).



 1461
 On or about approximate date and approximate tin1e of {2019-09-14 0 l :00) (past midnight), at a moment in time during which the plaintiff was

 not at the plaintiffs property, [JSP] uses the same or similar aforementioned projectile-weapon to shoot into one-or-more additional security-

 camera(s) one-or-more times, once-again shattering the protective glass of at least one such security-camera, and thus obstructing the view of
 such security-camera. While the infra-red/night-vision sensor on such security-camera still works, such security-camera has effectively been

 rendered nonfunctional at nighttime, due to the shattered protective glass that ahnost fully obstructs the view of such security-camera at

 nighttime. Since such security-camera is also 114K 11/11Ultra-High-Dc;/inition", and of the same make/model, the dollar-value ranges from $150

 to$170.



 1462
 On or about approximate date and approximate tin1e of {2019-09-14 23:00}, the plaintiff arrives back at the plaintiffs private-property,

 discovering, by watching the plaintiffs security-camera-system-monitor, that yet-another of the plaintiffs security-cameras had become

 damaged. Upon reviewing the security-camera footage, the plaintiff realizes that this was, at a minimum, [JSP]'s third brazen act of vandalism
 against the plaintiffs private-property. The plaintiff decided yet-again, that despite the plaintiffs fear of retaliation by the [WCLE] acting h1

 malicious conspiracy against the plaintiff(as [WCLE] had repeatedly done on numerous occasions dating back to the month of {2011-08)), the
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plaintiff still had to, in the long-term interest-of-justice, report such escalating and never-ending stream of crimes committed by [JSP&KAP]

ab>ainst the plaintiff. Upon calling the [WCSO], one-or-more employee(s) of the [WCSO] informs the plaintiff that unless the plaintiff has a

clear view of who is committing such crimes during the pitch-dark of nighttime, the [WCSO] could not do anything about such crimes. The

plaintiff explains to the [WCSO] that on this pa1ticular occasion (approximate date and time of (2019-09-14 01:00}) as well as on the original

occasion (approximate date and time of {2019-07-03 20:00}), both security-cameras that had been destroyed by such projectile-weapon were

pointed in the general-direction of frontyard of [JSP&KAP]'s private-prope1ty. Such employee(s) of the [WCSO] informs the plaintiff that

despite of the fact that only the security-cameras pointed in one-direction had been destroyed and despite of the fact that the shots from the

projectile-weapon originated from the location of [JSP&KAP]'s property, those facts alone do not implicate [JSP] or [KAP] in such crimes

against the plaintiff, and that the plaintiffs security-cameras would need to have definitive-proof that it was either [JSP] or [KAP] or some

other clearly-visible perpetrator(s) committh1g such crimes. The plaintiff was disappointed that the [WCSO] would not be dispatching any

[WCSD] to investigate the issue, and instead, such employee of the [WCSO] sin1ply added such information to either a new or existing case

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1463
On or about the date of (2019-09-26}, a resident posted a public message on the same social-media-platform revealing that [SPOA-CM-CD]

was no longer serving as (SPOA-CM]. That same resident posts the question as to who the new [SPOA-CM] would be. Clearly, the public-

backlash against the previous toxic Board-Meeting was so serious that even one-or-more prope1ty-management-company-employee(s) either,

 did not want to continue serving in such position, or was othetwise forced out of such position.



 1464
 On a day in the month of {2019-10), [RSR] files her application for Board-Member of[SPOA]. [RSR], has on multiple occasions, indicated to

 the plaintiff and the [HOA] that she has contacted a realtor to put her property for sale - which would il1dicate to the plaintiff (and the [HOA])

 that she intended to move out of the neighborhood, in the near future. Yet, despite the fact that a [SPOA] Board-Member term is two years ill

 length, [RSR) files for Board-Member of [SPOA), solely for the purpose of using her substantial powers as Board-Member to directly engage

 in predat01y litigation actions against the plaintiff - just as her close crony/proxy [DMP) had done approximately two years prior to this

 particular moment ill time. The plaintiff asserts that, more-likely-than-not, [RSR] submitted the following candidate profile to the [SPOA)

 prope1ty-management-eompany either electronically (through online communications) or hardcopy through the [USPS) (or alternative mail

 delive1y service) within the deadline of {2019-10-11}. !fit is true that [RSR] did, in fact, electronically submit and/or mail such candidate

 profile to the [SPOA) property-management-company, then in so doing, [RSR] would have, indisputably, committed yet another count of the

 racketeering-act of either wil·e-fraud and/or mail-fraud (respectively) agail1st the plail1tiff, that was part of her scheme to defraud the plaintiff,

 along with her co-conspil·ators [JSP&KAP],[WCLEJ. (Such candidate profile did get posted in scanned/digital electronic format as a publicly-

 visible document and/or social-media-posting onto the "nextdoor. com" social-media-platfonn, which is where the plaintiff had originally
 downloaded such document from; therefore, due to this online, electronic transmission, (RSR] committed this count of wire-fraud against the

 plail1tiffwhether-or-not she mailed, electronically submitted, or even hand-delivered such document to the [SPOA] property-management-

 company.) [RSR]'s candidate profile is posted in both its original (digitally-scanned) image format, and has also been transcribed from origilrnl

 ilTiage into text - see below. As a master manipulator and con-artist whose primmy goal ill such actions is to defraud the plaintiff, [RSR] paints

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a very different picture and public-image of herself, than the one she has demonstrated to the plaintiff - namely, the ten years of racially-

motivated liate-crimes/civil-rights-violations/racketeering-acts/abuses that she - in conspiracy with the other co-defendants - has committed

against the plaintiff, as substantially documented in this lawsuit. Much, if not most, of the language that [RSR] uses in her candidate profile is

pure fraud - as already explained above. [RSR], [JSP&K.AP], the plaintiff, the [HOA] and [WCLE] all knew fully-well that [RSR] was

planning on becoming [HOA] Board-Member solely to use her substantial powers as [HOA] Board-Member exclusively in-order-to directly

engage in predatory and discriminato1y litigation actions against the plaintiff - with all of these parties knowing fully-well that she did not plan

on remaining as homeowner within the subdivision for the full two-year term period (see below for further proof). In other words, [RSR]

submitted her candidate application for [SPOA] Board member solely to abuse such authority and power in-order-to engage in predatory legal

action(s) against the plaintiff, with the ideal goal of, as she herself has admitted directly to the plaintiff, getting the plaintiffs property

foreclosed-upon, or if that extreme measure was unachievable, then simply engaging in sufficient predatory litigation action(s) against the

plaintiff, so as to intimidate the plaintiff into moving out of the White neighborhood. [RSR] was planning on following the same model and

procedure as her predecessor and co-conspirator, [DMP], who, two years prior, had become Board member of the [SPOA] solely to use his

Board position to initiate and/or vote-for predat01y litigation action(s) against the plaintiff, on behalf of his puppeteers - [RSR],[JSP &KAP].

However, as soon as [DMP] realized that he had inflicted as much harm as he could against the plaintiff (through the [HOA]'s predatory

litigation actions), while acting as Board member of the [SPOA], [DMP], then moved out of the neighborhood, while still remaining owner of

his property (785KLLTX7864 I], and placing such property for leasing to renters (although, not for much longer - see below). Clearly, even

[RSR]'s (and her co-conspirators (JSP&KAP]'s) puppet, [DMP], never did have any intention of serving that entire two-year term as [HOA]

Board member, and even [DMP] clearly had only had one pmpose in becoming Board member. Social-justice activists engage in their political-

activism in-order-to change society for the better - in other words, to make the world a more fair and just place to live. Following a long those

same lines, [RSR], fraudulently pretending to be a crusader for justice, states, ''1/ I would like things to change, then I have to participate in

that change. 11 Clearly, from the pattern of [RSR]'s outrageous, racially-oppressive and racketeering-activity conduct against the plaintiff, if

there is any "change" that (RSR] wishes to enact, that change is to move what she considered to be "her" (exclusive-and-pure) White

 neighborhood towards a more regressive, reactionary, totalitarian, fascist, tyrannical and racially-oppressive direction. In her previous social-

 media postings, (RSR] showed her strong approval of the then Board's prohibition of the plaintiffs right to video-record the aforementioned

 [HOA] meeting - even justifying the Board's abusive actions of Obstruction-Of-Justice and Witness-Tampering aga inst the plaintiff; yet, in this

 candidate profile, she fraudulently states that she would advocate for "transparency o,f board activities & decisions." [RSR] fraudulently

 states that she would, "Allow the homeowners a voice in decisions affecting our neighborhood", when any reasonable observer that studies all

 of[RSR]'s (and her co-conspirators [JSP&KAP]'s) predatory actions against the plaintiff would reach the objective conclusion that [RSR] was

 fully-depriving the plaintiff of the voice that she fraudulently claims to be advocated-for in this statement - unless, by "homeowners", [RSR]

 was exclusively referring to the White-American homeowners of the subdivision. Clearly, all of tliese fraudulent statements by [RSR] were a

 direct result of the intense public-backlash and community-outrage against the previous toxic Board-Meeting. [RSR], an extremely-manipulative

 con-artist and demagogue that had mastered her skills of defrauding the plaintiff, decided to fully exploit and capitalize-on such fallout - a well

 known pattern of so-called "Disaster Capitalism". (The plaintiff was reminded of then internationally-renowned j ournalist, now professor,

 Naomi Klein's book, ~The Shock Doctrine: The Rise ofDisaster Capitalism §J, which at least to substantial degree, documents how some

 malicious wealthy/powerful people fully-exploit the shock of disaster situations in-order-to greatly profit from money and/or power - something

 that they could not have done if not for such disaster.)
  •   •-.::ca Robert.Ion" •   SUl:tml.ttad Candidate Prof.la for ( SPOIi) - - •      (RSRJ ,     (2019- 10- 11) ,




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                                                                     Rebecca Robertson




/ have been a ho111eo11ner in Su111111erly11for over /0 years. Over these many years like many ho111eo11,iers, I hal'e bee11ji-i1s/raled and co11ce111ed with the BOARD'., decisio11.1· lack
of action 1/1ro11gl1 011/ the yem~·- If I 1ro11/d like things to change, then I have to participate i11 that change. The goal., I wo11/d share with 011r co11111111nity are:


 {I) tramparency of board activities & decisiom.
 (2) develop a be/fer methodfor co1111111111icatio11 by homeowners & the board
 (3) Develop expedding process so we ca11 a1mrer lo the actions the board is mule11aki11g.
 (4) Allow the ho111eow11ei:1· a voice i11 decisions affecting anr 11eighborhood.
 (5) Revisit the HOA a.~,essme/11s.
 (6) BE ACCOUNFABLE to the HOMEOWNERS.




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During the first week of the month of {2019-1 O}, the plaintiff notices that a Detective from the [WCSO], [WCSDet-WP], left one-or-more

voicemail(s) for the plaintiff, in response to the criminal-mischief cases that the plaintiff was attempting to file. [WCSDet-WP] provided the


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plaintiff with his email contact information in one-or-more voiccmail(s). On or about the date and approximate time of {2019- 10-09 08:05 }, the

plaintiff sends the following email-message to [WCSDet-WP], briefly outlining only some of the racially-motivated hate-crimes that plaintiff

had suffered from [JSP]. On or about the date and approximate time of {2019- 10- 16 08:36}, [WCSDet-WP] responds in the following email-

message to the plaintiff. In these initial emails, the plaintiff still does not name the perpetrator of such racially-motivated hate-crimes as [JSP],

instead referring to [JSP) as "the :.w7Ject ": In order to ensure that [WCLE] is fully-aware that these are not the only crimes that the plaintiff has

suffered from [JSP], the plaintiff even states, "These are the incidents that 1 ca11 recoflect as of right now. I'm sure there were other i11cidents

that have escaped my 111e11101y. ": The plaintiff is unsure as to why [WCSDet-WP] states that he needs all of the evidence, as the plaintiff had at
least provided one clear piece of evidence of such criminal-mischief identifying [JSP] (on the date of {2019-07-03}) as the perpetrator (via SD-

Card) to the [WCSO] on-or-about the date of {2019-07-30} - when [WCSD-DC] and [WCSD-JD-6] visited the plaintiff at the plaintiffs

property. Also, [WCSDet-WP) states that such information provided by the plaintiff was added to case "2019-09-00561" - which was different

from the case number "2019-07-0 11 73" provided to the plaintiff by [WCSD-DC] (see previous incident above). T hese facts suggest that

[WCS Det-WP] was either unaware of the other case number "2019-07-01173" provided to the plaintiff by [WCSD-DC), or did know about

such other case, and deliberately decided to ignore the evidence of the {2019-07-03} hate-crime incident that the plaintiff had already provided

for that particular case number.
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08 :36) (- )
 •     [ l'IUVM'E nm:RIM'IOO IN lHUL CNITmll/Rl!IW:'IT.ll TO l'ICl'!CI' l1RlVllCY )


     [WCSOet- WP)         Sir.


                          I have received your email and ii has been added to lhi.f case file (Case No. 20/9-09-00561). Both cases that ;vu hadflied 11·ith 1l11v11gh the Sherif.fs
                          Office are being 1mrked 1111der this case 1111111be1: I have conducted an i111e1view with the suspect i11 this case and have m1 idea a.f 111101 s going 011. The
                          physical evidence (digital recordings) is pammo11111 i11 this case and I will be 1miti11g.foryo11r response to go f 1111her i11 this case. lfyou have a11y questiom
                          please feel free to reach 0111 by email or plume.


                           Thank You,


                           Detective IV. Pa.~sailaigue # / 3122
                           Criminal /11vestigatia11 Dil'isio11
                           Williamson County Sherifl's Ofltce
                          508 S. Rock St. George/Olm, TX 78626

                           Office: 5 /2-943-5274


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Hello Deleclive Passailaig11e,




TJ,is is Sid Kode (p,vpe11y 0111,er of "788 Kingfisl,er Laue, l eande,; TX 78641 "), responding lo your voicemai/.1· a/,011I the criminal mischief and
tl,reate11i11g c01111111111icatio11s //,at ll'e 're erperie11ci11g at 011r property Ji-om //,e s11spec/ (11ert-door 11eighbor //,at lives al "784 Ki11gfisher la11e, lea11der, TX

7864/").


I do still /rave tl,efootage stored 011 our security ca111ero system's DVR hard-drivev, b111 I have 110/ yet figured out how 10 1rw1.ifer tl,e data onto m, erlemal

hmd-drive.


U11/c,r11mmely, av of late, I have 110/ /,ad the li111e to figure tl,is out, but l10pef,1/ly I should be able to gel it ,/one so111eli111e tl,is 111011th.


Once I /,ave this do11e, I will lei you know so t/,al )-OIi can oblai11 //,at evidence.




So, to briefly .1·11m111r,rize tl,e sequence of i11cide11/s:


 ( I) /11 appmximately Oclober 2017, I received tl,e Jil~·t threatening co1111111111icalio11 from tl,e suspecl.


 (2) /11 appmximately Felm,my 20/8, I received tl,e second tl,reate11i11g co1111111micatio11Jiw11 tl,e suspect (I still have to find 1!,efoo1agefor 1/,is).



 (3) /11 appmximately Jam,my 20/9, I received 1/,e lhird tl,reate11i11g cm111111111icatio11fmm t/1e suspect.


 (4) In appmximately Febmmy 2019, I received 1J,efo111tl, 1/,reate11i11g comm1111ica1io11Jrom tl,e suspect.


 (5) /11 approximately May 20/ 9, I received //,eJifl/, threatening co1111111111icatio11f1vm the suspecl (I still !,ave to find //,e.footagefor this).


 (6) /11 oppmximatelyJune 2019, I received the six//, 1/m:ale11illg co1111111111icatio11from 1he .m.111ect (I still have to.find tl,efootagefor this).



 (7) On July 3rd 2019, tl,e suspect shot into one of our ca111eros damaging and breaking tl,efi-011/ gla.~\' and IR il/11111i11ato1:1· so //,at tl,e IR nig!,t vision 110

 longer 11·orks.


 (8) 011 August 23JYI 20/9, 1/,e suspect stepped 011/0 011ryard with a h111•11111011·er mrcl mowed our land\'cape ll'hicir ll'e had specifically designed 1101 to be
 mo,red, 1l111s damaging tire plau/s and needing ii to be repeatedly ,mtered (flooded) 1111/i/ mos/ of ii recovered - /,ol\'ever, some of tire land,·cape did die due
 to tire severe summer l,eatlclmug/rt a11d 1/,e damage alrea,6• doue. 011 app,vximalely September 2017, I /rad/7/edfor approval and received approval from
 our HOA.for this "110-111011•", drought-tolem1// landscape, and I /,ad installed //,is landvcape 011 October 20/7 and diligeutly ll'atered it regularly until it

 took I year to establisir.


  (9) 011 September?? 20/9, al nigl,t ti111e, tl,e suspect shiued /ris flasir-/igl,t directly 01110 oue of of our cameras, t/1e11 kicked an object ( JR il/11111i11ator)

 placed 011 01,r la11d1·cape along tl,e.fence.


  (/0) On September 141h 20/9, tl,e suspect sirot into a second ca111ero da111agi11g and breaking tire front gla.~r - //,e JR still tecl,11ically            ,m,*.I'. but the
  s/,al/ered glas.\' 111akes tire ca111ero's i111age bluny, evpecially al uigl,t.




  These are the i11cide11/s that I can recollecl as of rig/,/ 110w. /'111 sure tirere 1rem other i11cide11ts //,at have e\'caped my 111e11101J1.




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                   A.1· soon as I have acc111111tlated all ,if the.footage 01110 the pol'/able hard-drive, I will let you know - I .~till also have to find much of it since they are

                   stored 0 11 11111/tiple different hard-drives.




                   Thanh,
                   SidKode.




<_1[466
The [SPOA] scheduled a total of two-or-more Board-Meeting; during the month of {2019-10}, at least two of which, seemingly occurred

within the short span of ten days. It would appear to the plaintiff that all of the fallout from the previous toxic Board-Meeting left the [HOA]

and its then Board in a state of disarray, requiring multiple Board-Meeting; to remedy such disarray. The [SPOA] schedules the second Board-

Meeting for the date and time of {2019- 10-23 17:00}. Unbeknownst to the plaintiff, on the very-same scheduled date of such Board-Meeting -

{2019-10-23} - the [SPOA] aimounces that it has cancelled such meeting. However, in the initial email notification, the [SPOA] had provided

a phone number and numerical access code for homeowners to attend such meeting by teleconference. Not knowing that such Board-Meeting

had been cancelled, the plaintiff called into that provided phone number, and after entering the provided numerical access code, was able to

enter into what the plaintiff thought was a regular Board-Meeting (thus, open to all homeowners), but what the plaintiff did not know was

actually a publicly-cancelled, yet privately-held secret Board-Meeting. While the plaintiff remains silent throughout the teleconference (as the

plaintiff normally does dming such Board-Meeting;), the plaintiff hears the [SPOA-CM] and several [SPOA] Board-Members - including

[SPOA-VP-AH] and [SPOA-MaL-ML] - calling in to attend. Then, the [SPOA-CM] and/or other meeting administrator announces that an

unknown and/or unidentified phone-number has called into the meeting, even asking if any of the Board-Members were calling in from what

appeared to be the plaintiff's phone number - presumably since they did not know that such phone number belonged to the plaintiff. Once

again, the plaintiff remained silent - not knowing why the plaintiff was being singled out in such manner. After none of the other Board-

Members identified this unidentified phone number, the plaintiff notices that the plaintiff's phonecall had been terminated; clearly, the plaintiff

had been booted from such secret Board-Meeting. Only after the plaintiff was booted from such secret Board-Meeting did the plaintiff read the

subsequent email notification, only-then realizing that such Board-Meeting had been cancelled. According to the plaintiffs limited understanding

of [HOA] law (codified within the [TPrC]), it is illegal for [HOA]s and their Board-Members to conduct any secret meeting, and that

furthermore, [HOA]s are also, required by Texas law to provide written notice of any [HOA] meeting to all homeowners at least 3 days in

advance of such meeting.



 <_1[467
 On or about the approximate date and approximate time of {2019-11-11 19:00}, [RSR] attends a "Meet the Candidate Night" [SPOA] meeting

 where at least some of the Candidates (including [RSR]) running for the upcoming [SPOA] Board "election" (,s) present themselves and

 campaign for their respective Board positions in front of other property-owners that chose to attend the meeting. The plaintiff attends the

 meeting in time, again with the same body-worn-camera recording video, but realizes that the meeting has already been initiated prior to the

 proposed start time of the meeting - witb several residents of the neighborhood already seated. The plaintiff takes a seat in the final row of the

 arranged chairs at one corner of the room, and notices that [RSR] is seated in the opposite comer of the meeting room. A few other residents

 of the neighborhood continue to enter into the meeting-room as the meeting is already in progress. The meeting is hosted by the [SPOA-CM]

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and/or other employees of the [SPOA] property-management-company (especially [SPOA-PMCE- 1]), with these employees spending about

IO minutes explaining the basics of how a [HOA] Board works. During this meeting, a few residents ask questions to these property-
management-company employees about how the Board works. The employees then transition the meeting over to the individual Board

candidates who will individually present themselves to other attendees. A few candidates speak before the attendees for a few minutes and

explain why they would each serve as an effective Board-Members. Since the plaintiff had wanted to video-record a prior [SPOA] meeting, but

was prevented from doing so (see above) - rightfully garnering the alann/attention of many of the neighborhood's residents - one of the

candidates even campaigned to openly-broadcast future meetings (via live video) so that other property-owners who are not in in-person

attendance could also view/attend such meeting remotely and/or view the meeting even after the meeting has been completed. [f-HOA-BoD]

[SPOA-VP-AH] - then serving as [SPOA-VP] - also campaigns for a few minutes as she is running for re-election. [f-HOA-BoD][SPOA-VP-

AH] speaks ve1y highly of herself - apparently disagreeing with at least 319 other residents who signed a petition to completely overthrow all of

the existing Board-Members (including [f-HOA-BoD][SPOA-VP-AH]) - while also pretending as if she never took any predatory, abusive

enforcement actions against homeowners (including the plaintiff). [SPOA-MaL-ML] also speaks very highly of herself even though she was

not "elected" by the residents of the neighborhood but was appointed to her position (by other existing Board-Members) - apparently

disagreeing with at least 319 other residents who wanted to totally overthrow all of the existing Board-Members (including [SPOA-MaL-ML]) -

while also pretending as if she never obstructed the plaintiff from video-recording the previous [HOA] meeting in total violation of not only the

plaintiff's rights, but the rights of every other owner of the subd ivision who were fully entitled to view such meeting. Both [f-HOA-BoD]

[SPOA-VP -AH] and [SPOA-MaL-ML] also reject/deny/fight-back-aga inst the numerous complaints made against them by numerous residents

for engaging in abusive enforcement actions against homeowners (including the plaintift) and/or for running the Board in a completely non-

transparent/unaccountable manner. Other candidates who speak, recognizing that a large number of the subdivision's residents are outraged at

the then Board, try to distance themselves from the then Board, even condemning the then Board's actions at the previous meeting, in which,

the plaintiff was obstructed from video-recording the meeting. It is crucial to note that although the plaintiff was obstructed from video-

 recording all aspects of the previous [SPOA) meeting (see above), nobody at this [SPOA] meeting (or any future [SPOA) meeting, for that

 matter) would stop the plaintiff from video-recording such meeting due to the backlash the then Board received for their previous obstruction

 of the plaintiff (see above). The plaintiff strongly asserts that if no other resident supported the plaintiffs right to video-record such [HOA]

 meeting(s), then there would have been no change in such illegal policy, and the [SPOA] would have continued to operate in secrecy in-order-

 to, as even [SPOA-VP-AH] openly-admitted, evade liability. After a few other candidates campaign for such [SPOA] Board-Member

 positions, [RSR] then stands up to campaign for a position on the [SPOA] Board. [RSR) starts her speech by making an inappropriate joke

 about property-taxes, apparently suggesting that the property-owner residents of this subdivision should not be forced to pay-for and fund the

 public services that the residents of the County of Williamson are entitled to - a selfish sentiment that is shared by a surprisingly-large

 percentage of the right-wing ( l5) . Both [RSR) and (JSP) have fraudulently accused the plaintiff of being ''.veljish" for even what they fully

 admit is the plaintiff's "inability" to the maintain the plaintiff's private-property according to the ir hypocritically-enforced White-American

 standards; yet, their twisted view of taxation, both expressed in this incident and in prior incident(s) (see above), clearly shows where the real

 selfishness lies. Since the plaintiff is attempting to prove both a fraud (racketeering-act) and racial-discrimination claim against the defendants

 (in general) and [RSR] (in particular), it is crucial for the plaintiff's analysis of [RSR)'s fraudulent speech, to emphasize that [RSR] had, on

 multiple previous occasions, stated that she has repeatedly wanted to seUher prope1ty and move out of the neighborhood, thus showing that

 much of the rhetoric that [RSR) uses in such speech as brazen and pure fraud - as newly-elected [SPOA) Board members are normally

 required to serve 2 year terms, which [RSR] clearly had absolutely no intention of doing. [RSR] begins her speech feigning humbleness,

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stating, "I know you guys are a hard act to.follow... I say this humbly because... ~f I was privileged to be in this position ... ", despite of the

fact that a huge fraction of the neighborhood expressed either strong dissatisfaction or worse, outrage, at at least two of the existing Board

Members [SPOA-VP-AHJ,[SPOA-MaL-ML], and despite of the fact that no reasonable observer would describe [RSR]'s numerous predatory

actions against the plaintiff as "humble". [RSR], once again, taking a page straight out of the book of social-justice activists that genuinely

aspire to change the world for the better, then fraudulently states, "But one of the things that somebody said to me, is that: Why don 1I you get

involved? And you know, ifyou wanted to see change, you can be part of the change... The plaintiff docs not actually doubt that [RSR] was
                                                                                                           11




told such words by '~wmebody 11, but the plaintiff is endlessly amazed that far-right-wing-extremists can fraudulently use the same rhetoric that

social-justice activists use, but for the exact opposite reasons - to move society in the exact-opposite (and regressive) direction of injustice.

[RSRJ admits that she has never been on the Board before, but much of her predatory actions against the plaintiff makes it abundantly clear to

any reasonable observer that she actually played a more powerful role than the Board itself, actually pulling the Board's strings as the mafia-

godfather or the puppeteer (at the very least, on any issue regarding the plaintiff), at it was only after her enormous and predatory power was

exposed, and only after she could, thus, no longer pull the Board's strings, did she decide to run for Board member. [RSRJ states that she

would, 11/ike to see an engaged social-media-pla(form 11, although her prior engagement in the '1nextdoor.com" social-media-platform had been

primarily (or at the ve1y least, substantially) focused upon spreading racist and fraudulent propaganda about the plaintiff, in-order-to engender

more racial-animus against the plaintiff in the overwhehningly White neighborhood's other residents. In yet another fraudulent statement

fraught with hypocrisy, [RSR] expresses her desire to '1communicate_fi·eely with each other" and 11a/101v homemvners a voice in decisions

a.fj'ecting our community 11, when (RSR] has, as the record above shows, viciously lashed back against other residents' postings when such

postings do not pe1fectly align with her racist and/or far-right-wing-extremist view of the world, and as the record also shows, viciously

conspired to ensure that the plaintiff has absolutely no voice - not only on social media, not only during [HOA] meetings - but even within the

plaintiffs private-property (for example, the plaintiff's fast-amendment right to post political yard-signs, and the plaintiffs first-amendment right

to maintain the plaintiffs private-property according to the plaintiffs religious/cultural views/practices and/or political views and/or artistic

expression.) When [RSR] states, "we're all on the same team 11, [RSR] is ostensibly refeningto all of the homeowners, but clearly, no

reasonable observer that studies all of [RSR]'s predatory actions against the plaintiff, as documented in this lawsuit, would reach the conclusion

that the plaintiff was included in that same 11team 11, unless by 11we 11 and 11tea111 11, [RSR] is only referring to the White-American residents of the

neighborhood. As the record does show, [RSR] has engaged in numerous acts of racial-oppression and racketeering-activity against the

plaintiff, while claiming to 11be a good neighbor." As the record does show, [RSR] has viciously dehumanized the plaintiff using the most

derogatory and racist rhetoric, portraying the plaintiff as a low-IQ, subhuman animal, while at the same time, aspiring in this speech to "be

human to each other." As the record does show, [RSR] has never been held accountable for any of the racially-motivated hate-crimes/civil-

rights-violations/racketeering-acts/abuses that she has viciously committed against the plaintiff, but yet, in this particular speech, [RSR] aspires

to be "accountable to the homeowners". After [RSR] engages in such fraudulent speech in front of the other attendees to obtain a seat on the

Board purely for using her Board power solely in-order-to engage in predatory litigation actions against the plaintiff, [RSR] sits down and the

meeting continues with [SPOA-PMCE-1] answering further questions from residents. In this meeting, another resident wanted to confinn if it

was in-fact legal for resident(s) to video-record [HOA] Meetings (including Board-Meetings) - which is exactly what the plaintiff was illegally

obstructed from doing at the previous meeting. [SPOA-PMCE-1] responds that it is in-fact legal for any resident to record any [HOA] Meeting

- basically, admitting to the plaintiff that [f-HOA-BoD]s [SPOA-P-BCJ,[SPOA-VP-AHJ,[SPOA-MaL-ML] and former [SPOA-CM-CD] did

commit the crime of Obstruction-of-Justice and/or Witness-Tampering against the plaintiff by threatening to kick the plaintiff out of the meeting

for trying to record [RSR]'s illegal and racially-motivated disorderly-conduct/harassment/stalking/intin1idation/interfcrence/blackmail hate-crimes


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against the plaintiff at such meeting, and a lso, for trying to record evidence of the decade-long, illegal conspiracy that [RSR] had with the

[HOA] against the plaintiff - which [RSR], acting like the mafia-godfather over the entire neighborhood, even admitted to at that meeting. At

one-or-more point(s) in time during this meeting, other resident(s) even question the management as to what is being done about the unlawful

lighting of fireworks in the neighborhood. At one-or-more point(s) in time during this meeting, other resident(s) question the management as to

what is being done about unlawfully parked vehicles (such as trailers, boats, and commercial-trncks) in the neighborhood. The management

does not offer any reasonable explanation to these particular questions, instead explaining that if they went after any individual person's

violation, then they would a lso have to go after every other person's same/similar violation - essentially letting the plaintiff know, at the ve1y

least, that the [HOA) (especially under those [f-HOA-BoDs]) gets to arbitrarily and capriciously pick-and-choose (according to the ir own

whims and fancies), in essence "cheny-pick", which of the neighborhood's rules they are going to enforce, even if these arbitrmy/capricious

enforcement actions are racially-discriminato1y and/or ended up violating the rights of the plaintiff. At one-or-more other times during this

meeting, [RSR] derogatorily refers to the plaintiff by making multiple fraudulent statements such as, "like the guy across the street from me

that hasn't mowed his grass in JO years." During this meeting, [RSR] does not, for very obvious reasons, show any displeasure nor make any

comment regarding the other restrictive-covenant violations (fireworks, illegal vehicles, etc.), but instead remains hypocritically laser-focused on

what she alleges to be the plaintiffs refusal to mow the plaintiffs grass - despite the fact that both [RSR] and the [HOA) know fully-well that

the plaintiff has, since the prior month of {2017-10} , installed a "no-mow" grass on the plaintiffs [FRONTYARD]. After the ve1y end of the

meeting, some of the attendees had left the building, while some other attendees continued to converse with each other and/or the property-

management-company employee(s). The plaintiff notices [SPOA-VP-AH] look towards the plaintiff with a malicious smile on her face, while

patting [RSR] on the back - the symbolic gesture of "attagirl!" - as a show of strong affection and/or approval towards [RSR] - the kingpin (or

mafia-godfather) of such corrupt-malicious-predatory-and-retaliato1y racketeering-enterprise against the plaintiff. The plaintiff asserts that this is

 the type of unapologetic, modern-day-Jim-Crow institutional-racism that the plaintiff had suffered from the then [HOA] and [WCLE], both

 acting in-conspiracy-with - or under the command of the plaintiffs predatory neighbors and racketeer co-defendants [RSR),[JSP&KAP] - fo r

 e ight or more years (at that point in time), in-order-to predatorily violate the rights of the plaintiff.
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      •
      K PLAINTIFF IS SEATBD IN A CORNER CHAIR LOOKING AT FRONT OF ROOM WHBRE Cl\NDTDi\TBS J\RE PRESE:NTING THEMSE:LVES . ~
      ~ [RSRJ IS SEATED AT THI': OPPOSIT8·CORNBR OF THI': ROO'l . ~



      •
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      g [RSR] IS CALLED-ON TO SPIY\K AS A CANDIDATE .                                  [RSR] STANDS UP TO SPEAK,             INITIALLY MAKING A JOKE ABOUT PROPERTY-TAXES .    D


      [RSR]                     So. ... if I could 011/y change 0 11r prope,ty-tmes...



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 [ SOME OTHER ATTENDEES Ll\UGH . D


(SPOA- JM::E-1]    That's a whole [a11ot/1er] forum!...




 [RSR]             I know... You guys are a lw,d act tofollmv... 8111 one of the things that somebody .m id to me, is that: H1,y don't you gel involved? And you know, if you
                   1m111ed to see change, )VII can be pmt of the change... And, I say this /111mb~1• because I've 1101 been 011 the Boan/ before... So, it's nice to have good ideas.
                   and I 1111derstand \l'e have to 111011y them pmctically, b11t / 11m,/d like to .,ee an engaged social-medio-p/atform, so that it's kind ofhard to know, oil the
                   time... //' we could get it to 1r01k 11•ith viltuol meelings... if \l'e co11/d hove/or, like/or instance, decisions thot ore being mode - how they're voted 011, 011d
                   like, gozeho - /'111j11st goi11g to say gazebo - how 111a11y residents really 11'0111 that and how m<my don't. And having votes 011 those things. And having a ll'O)'
                   to co1111111111icateji'ee/y with eoch other- 011d keep-i11-111i11d, 11-e're oil 011 the same teom. And hying to be good neighbors, and be /111111011 to each othe1: And
                   Um. Um, so... So, develop ol 011 erpedited pmcess to 011s11-er to the actions, 11111••• So that the Bomtl moy ons11-er to the, 11111, con a11.1werfor the actions
                   they've token in the com1111111ity. To allow homeo,mers a voice in decisio11.1· ajfecti11g our co1111111111ity. Um, I'd like to revisit [HOA} asse.~,111e11/.1· - I ll'OIII to
                   he acco1111tob/e to the homemmerx - heca11se, I kind of look at - if I was privileged to be i11 this positio11, I 11'011/d see yo11 as my customer. Yo11 know, and
                   respect yo11 as that - a11d I ll'OIII us to, you k11ow, open co1111111111icotion, in a positive way, in 01der lo[???] - and t1y to gmw toge/he,; a11d have o
                   11eighhorhood that eve1ybody wa11ts to live in. ... An<!. that's oho11/ ii...




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i468
Despite the fact that [RSR] runs for Board-Member of the [SPOA], [RSR] does not show up for the [SPOA] mmual-meeting where the so-

called "votes" are "counted" by the [SPOA] property-management-company without any resident oversight. In this year's so-called [SPOA]

[BoD] "election" (>s) , the [Summerlyn] Property-Owners were to choose 4 Board-Members - due to I resignation mentioned above and 3

term-expirations. During this meeting, not only is it revealed that [RSR] did not win any of the 4 seats on the [SPOA] Board, but it is also

revealed that all of the former abusive Board members that engaged in predatory enforcement actions against the plaintiff - including [SPOA-

VP-AH],[SPOA-MaL-ML] - did not win their re-elections, and in effect, were voted out of office. It is important to note that both [SPOA-VP-

AH] and [SPOA-P-BC] (who previously resigned) had served in those powerful Board positions for approximately a decade (or more);

therefore, overthrowing them was no small feat. At this point, the plaintiff feels a combination of intense joy but also intense pain. The plaintiff

feels the intense joy that any citizen feels when an oppressive/unaccountable dictator/tyrant/strongn1an and/or oppressive/unaccountable

government is overthrown by the people. Again, while the plaintiff's muckraking actions during the previous Board-Meeting inadvertently

exposed the truly abusive, predatory, conupt, non-transparent and unaccountable nature of those [f-HOA-BoD]s, [RSR]'s monopoli~tic, mafia-

godfather-like predatory-actions in suppo1t of those same [f-HOA-BoD]s during and after the previous Board-Meeting further re-enforced the

neighborhood's outrage at those [f-HOA-BoD]s, only serving to seal the fates of those [f-HOA-BoD]s. From such "election" (>s) results, it

would appear to the plaintiff that the residents of the subdivision not-only wanted to oust the existing dictators/tyrants/strongmen on the Board,

but also keep-out the candidates that they believed to be most likely to continue the pattern of such predatory, unaccountable and non-

transparent dictatorship. It would further appear to the plaintiff, that [RSR], in particular, was not voted into such position-of-power, because

at least some significant fraction of residents of the subdivision recognized that [RSR] had her own ulterior, malicious agenda and campaign of

predatorily targeting the plaintiff. It is also indisputable to the plaintiff that, it was not even in the [HOA]'s best interest for [RSR] to be elected,

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as [RSR]'s position as a [HOA-BoD] would only tremendously increase the [HOA]'s exposure to liability- ifto no-one else, then at least to the

plaintiff. (The plaintiff had already alerted the [HOA] of [RSRJ's long pattern of hate-crimes/civil-rights-violations/racketeering-acts/abuses

against the plaintiff, dating all the way back to {2011} - see initial incidents of {2011} above.) However, the plairlliff also feels the intense pain

that the plaintiff was sued two years prior to these incidents in {2017} by the [SPOA] solely due to the predatory, abusive [f-HOA-BoD]s

[SPOA-P-BC],[SPOA-VP-AH],[DMP], that acted predatorily against the plaintiff, purely on the predatory demands of the plaintiffs predatmy

neighbors [RSR],[JSP&KAP] (and their co-conspirators) - costing the plaintiff (and the plaintiffs family) large amounts of severe emotional

distress, time, effort and money (in both litigation and re-landscaping) - and had these particular abusive, predatory, corrupt, non-transparent,

unaccountable [f-HOA-BoD]s not been in such positions of power at that moment in time, there would not have been any such lawsuit filed

against the plaintiff at that moment in time - a painful lesson in conupt-power-politics that at least some people that work within a corrupt,
unjust political system arc likely-to-be-familiar-with. Most importantly, the lawsuit from the [SPOA] run by these abusive, predatmy !f-HOA-

BoD]s against the plaintiff in {2017} only served to further embolden the defendants that they could feel free to continue engaging in escalating

and retaliatory hate-crirnes/civil-rights-violations/racketcering-acts/abuses - facilitated by blackmail - against the plair1tiff with absolute irnpunity.




1469
Ahnost immediately after [RSR] realizes that she has not won any of the 4 open positions on the [SPOA] Board, on or about a day in the

month of {2019-1 l} or {2019-12}, [RSR] posts a "Coming Soon" yard-sign in the frontyard of her property [789KLLTX7864l] - ir1dicating

to prospective buyers that she is soon to put her property for sale. [RSR]'s fraud and abuse agair1st the plairltiff is thus abundantly clear and

obvious from these sequence-of-actions. It is indisputable that [RSR] applied to become [SPOA] Board-Member solely to egregiously abuse

those substantial Board-Member powers in-order-to directly engage in more-egregious-and-predatory litigation actions against the plaintiff) as

[RSR] was clearly not intcndir1g to serve the entire 2-year term as Board-Member of the [SPOA].



 1470
 On or about the date and approximate tirne of {2020-02-04 19:30} (nighttirne), [JSP] drives back towards his property in his pickup-truck,

 with such pickup-buck blaring loud music. While dir·ectly in front of the plaintiffs property, [JSP] pauses such pickup-trnck on the road, and

 spends over a minute inspecting/surveilling several aspects of the plaintiffs property, with loud music continuing to blare from such pickup-

 truck. After over a minute of such surveillance of the plair1tiffs property, [JSP] then parks his pickup-ttuck on the driveway of his prope1iy

 [784KLLTX78641]. [JSP] exits his pickup-truck, angrily approaches the front of plaintiffs property on the sidewalk with camera-phone in

 hand, and uses his camera-phone to take several flash-photographs (from various angles) of the various pmis of the plaintiffs (completely-

 unlit) property - at nighttime, thus in total violations of the plaintiffs rights. At one point, !JSP] even approaches closer to one of the plaintiffs

 [FRONTYARD]-tI·ee (which has security-cameras ir1stalled onto it), and holds his hands out threateningly/menacu1gly, with an angry look on

 his face - again, to engage in such brazen racial intimidation/interference against the plaintiff. It appeared as if [JSP] was actually searching for

 the plaintiff in addition to conducting illegal surveillance on various aspects of the plaintiffs property. After [JSP] fails to find the plaintiff,

 [JSPJ enters back ir1to this property. This was just one of numerous counts of felony stalking that the plaintiff would suffer from [JSP] - with

 [JSP]'s acts of brazen, felonious stalking against the plaintiff spanning several years - from at least {2019} througl1 {2022}.




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i471
On or about the date and approximate time of {2020-02-05 20:15} (nighttime), [JSP) drives back towards his property in his pickup-truck,

with such pickup-truck blaring loud music. While directly in front of the plaintifrs property, [JSP) pauses such pickup-truck on the road, and

spends approximately 15 seconds inspectinwsurveilling several aspects of the plaintiffs property, with loud music continuing to blare from such

pickup-truck. After approximately 15 seconds of such surveillance of the plaintifrs property, [JSP) then parks his pickup-truck on the driveway

of his property [784KLLTX78641].



i472
On or about the date and approximate time of {2020-02-06 19:40} (nighttime), a [WCSD] police-cruiser-vehicle drives slowly on Ille street in

front of the plaintifrs property, shining the bright spotlight of such cruiser directly into aU of the frontal regions of the plaintiffs property,

including directly at one-or-more of the plaintiffs security-cameras - not only in violation of the plaintiffs right to privacy, but al<io, as -the

plaintiff would later fmd out, as an intimidation tactic that both [WCSD]s and [WCCD]s would, on many occasions, during the following two

years, perpetrate against the plaintiff in-order-to intimidate the plaintiff. After crossing the plaintiffs property, such police-cruiser-vehicle then

makes a u-tum and deliberately parks at a location further down the street, at a sufficient distance away from the plaintiffs security-cameras so
that the plaintiffs security-cameras could not capture information like the license-plate, etc. Then, [WCSO) Sheriff Deputy JOHN-DOE-8,

[WCSD-JD-8], steps out of such vehicle, trespassed onto the plaintiffs property initially stepping onto the plaintifrs sideyard at nighttime

(when there was no sunlight whatsoever). From the plaintifrs sideyard, [WCSD-JD-8) enters into the (FRONTPORCH]-area, and in total

violation of the plaintiffs rights, leans into the plaintifrs front-window multiple times in-order-to look into the front-room of the plaintiffs

[HOUSE]. (As a security measure, the plaintiff ahnost-always leaves the interior window-blinds on the front-room open.) Although the interior

window-blinds of such front-window were open, there were no lights turned on inside the [HOUSE] at this moment in time, and since the
expectation of privacy exists in any case with regards to the government's handling of the interior of a home, this action by [WCSD-JD-8)

alone is both an egregious violation of the plaintiffs fourth-amendment right to be free from unreasonable-search-and-seizure, and the plaintiffs

fifth-amendment-due-process right to privacy. (Again, the (SCOTUS] has ruled that [WCSD-JD-8)'s action is clearly unconstitutional-and-

unlawful even if it occurred during daytime, and the [SCOTUS) has expressly ruled that nonconsensual-and-warrantless nighttime searches are

especially egregious civil-rights-violations.) On at least one point h1 time, [WCSD-JD-8) even raises his hand to shine a torch light into the

front-window before deciding against it. [WCSD-JD-8) then very-briefly inspects items stored on the [FRONTPORCH) (which was

completely unlit at the time). Almost all, if not all, of the aforementioned actions by (WCSD-JD-8) are clearly unlawful (both unconstitutional

and discriminatory), not only because they were perfonned at night, but because the [SCOTUS) has clearly ruled in one-or-more precedent-

setting case(s) (see section below) that law-enforcement is only allowed to walk from the shortest straight-lh1e path, or "baseball-path", from

the nearest part of public-property to the resident's front-door, without conducting any type of search along the way - especially, in

private/curtilage areas of private-property. [WCSD-JD-8] then announces his presence as he proceeds to the [FRONTDOOR] which was at

that moment in tune was partly open, and demands to know if anyone is inside of [HOUSE], shh1h1g his bright-torch-light not only nlto the

exterior-front-hallway area where certain items were stored, but also directly into the plaintiff's [HOUSE], shtce the [FRONTDOOR] was open

at that moment in tune. The plah1tiff, having noticed on the plaintiffs security-camera-system-monitor that [WCSD-JD-8) was illegally

inspectutg the (FRONTPORCH], front-room and the interior hallway of the house, reluctantly walks towards the [FRONTDOOR) area -

terrified of what the plaintiff may encounter. (When a White-American police-officer encounters a person-of-color at nighttime especially when
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there is no lighting to clarify the situation, such situation has been known to, at least in some cases, result in unreasonable and unjustified police

shooting(s), and so, the plaintiff is, thus, rightfully terrified and under extreme duress.) The plaintiff reluctantly meets with [WCSD-JD-8] at the

exterior-front-hallway in front of the front-door, at which point, [WCSD-JD-8] begins a totally unconstitutional-and-unlawful interrogation of

the plaintiff - asking many privacy-invading questions to the plaintiff. At one point in time, [WCSD-JD-8] demands to sec the plaintiff's drivers-

license because he did not believe the plaintiff to be the rightful owner and/or Jawful resident of the property - obviously, due to the plaintiffs

racial proftle. During this incident, besides demanding the plaintiffs personal identification information and photo-identification proving that the

private-property [788KLLTX78641] was the plaintiffs lawful place ofresidence, which the plaintiff was initially reticent to provide solely

because the plaintiff considered such disclosure to be an invasion of the plaintiff's privacy, [WCSD-JD-8] continued to pester the plaintiff with

other privacy-invadh1g questions to the plaintiff - at least some of which, indicated that [WCSD-JD-8] had a ve1y-difficult thne believing (agah1,

due to the plaintiffs racial-profile) that the plaintiff was the lawful resident of [7B8KLLTX7864 l] - such as:



@ how long the plah1tiff lived at [788KLLTX7864 l]



@ where the plah1tiff lived at before the plaintiff lived at this residence


© whether the plaintiff had electricity at [788KLLTX7864 l ], because according to [WCSD-JD-8], there did not appear to be electricity at
[788KLLTX7864 l] - so as if to fraudulently intimidate the plaintiff h1to thinkh1g that living without electricity (or other utility services) was a

crime, when the plaintiff clearly knows otherwise.


@ if the plaintiff lived alone at [788KLLTX7864 l] or if there were other residents


® why, and/or for how long, the door was "wide open", even though, since the entire place was unlit, there would be no way for [WCSD-JD-
8] to have known this information without receiving a complaint from someone else.



® ifhe place knew that the place's [GARAGE]-door was open.


© how long the plah1tiffs [GARAGE]-door had been open.


<El) where the plaintiff works and/or who the plaintiffs employer is



 CD what is the plaintiffs phone-number.


 Q) when the plaintiff last ate food



 ® whether the plaintiff normally made food at home or if the plaintiff usually went out to get somethh1g to eat


 (bl if the plaintiff had a wife, or gh·lfriend or kids.


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if,l) why the plaintiff has so many security-cameras.



® how-often and/or at-what-times the plaintiff leaves the [HOUSE]


The plaintiff declined to answer one-or-more of these questions, letting [WCSD-JD-8] know that the plaintiff felt very uncomfortable

answering such privacy-invading questions. It was abundantly clear from [WCSD-JD-8]'s unlawful interrogation of the plaintiff, that since the

plaintiff was initially reticent about providing him with the plaintiffs photo-identification, [WCSD-JD-8] decided to further-punish the plaintiff

by interrogating the plaintiff at the plaintiffs own private-property. When the plaintiff, who was under duress, fmally decided that it would be

better for the plaintiff to simply present such photo-identification in-order-to stop this intrusive inte1rngation, [WCSD-JD-8] agreed that such

disclosure would be the only confirmation that he needed to get out of the plaintiffs property. The plaintiff considers all of these

detainmentiinte1rngation and/or search/seizure techniques executed by [WCSD-JD-8] against the plaintiff to be clearly unlawful, especially at

the plaintiffs own private-property, especially at nighttime, and especially since the plaintiff never "knowingly, fi-eely and voluntarily"
consented to such detainment/interrog<ltion and/or search/seizure. Since the plaintiff is terrified and could not immediately remember if the

drivers-license was inside the plaintiffs vehicle parked in the [DRIVEWAY] or inside the [HOUSE], the plaintiffindieates to [WCSD-JD-8]

that the drivers-license is likely to be h1side the vehicle, and the plah1tiff walks towards the vehicle in the [DRJVEW AY], especially sh1ce the

plah1tiff felt very violated with [WCSD-JD-8] shh1h1g his light into the interior of the completely-unlit [HOUSE]. [WCSD-JD-8] brazenly

demands to know where the plah1tiff works and/or who the plaintiffs employer is - an incredibly privacy-invading question that the plaintiff

was shocked-at and did not see the relevance to, especially since the government has absolutely no right to obtain this information without a

valid search-warrant. After the plaintiff fails to fmd the plaintiffs drivers-license anywhere around the front-seats of the vehicle, the plaintiff

explains to [WCSD-JD-8] that the plaintiff cannot find the plaintiffs drivers-license inside the vehicle and that the drivers-license was most-

likely h1side the [HOUSE]. The plaintiff then walks towards the [FRONTDOOR] and enters into the [HOUSE] hi-order-to search for the

drivers-license. [WCSD-JD-8], who has been shinh1g his torch-light directly onto the plah1tiff at all of these times, then follows behind the

plaintiff, and the plah1tiff stops after the plaintiff has stepped inside of the [HOUSE], and asks [WCSD-JD-8] if [WCSD-JD-8] was planning to

enter h1to the [HOUSE] - again, without presenting any evidence of a search-wmrnnt. [WCSD-JD-8] responded that he did plan to enter into

the [HOUSE), to which, the plaintiff remains stunned and shocked - but yet, cannot question, because any "wrong move 11 by the plaintiff in

dealing with a White-male police office can be lethal for the plaintiff. The plah1tiff continues to walk h1side the [HOUSE] h1 search of the

drivers-license, with [WCSD-JD-8] stopping at the (FRONTDOOR] and still shinh1g his torch-light into the interior of the [HOUSE] (and with

 his body-worn-camera recording the interior contents of the [HOUSE]). As one-or-more of the plaintiffs security-camcra(s) would capture,

 [WCSD-JD-8] had his hand on the holster of the gun attached to his waist, getting ready to use such gun if the plaintiff made any "wrong

 move". The plah1tiff tries to make the plaintiffs hands visible to the [WCSD-JD-8] at all tunes, because again, the plaintiff, knowing the histmy

 of policing in the United States - particularly towards racial minorities - is trying to ensure that the plaintiff does not commit any action that

 could be misinterpreted, and thus be met with a lethal use-of-force by [WCSD-JD-8]. Sh1ce the plaintiff could not locate the plaintiffs current

 drivers-license, the plaintiff instead fmds an older and expired drivers-license (from the year {2009}) and presents such expired drivers-license

 to [WCSD-JD-8] - at which poh1t, [WCSD-JD-8] verifies that the plah1tiffis the rightful owner of the property [788KLLTX78641] (as

 documented in the drivers-license). [WCSD-JD-8] is shocked to realize that the plaintiff has been such a long-tune resident/owner of such

 property - agah1, solely due to the racial-profile of the plah1tiff. However, despite of [WCSD-JD-8] confirming that the plaintiff was such a
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long-time resident/owner of such property, [WCSD-JD-8] still uses his police-radio to radio back to [WCSOJ police-headquarters, the plaintiffs

drivers-license number, so as ifto perform a background-check on the plaintiff- again, all without even any pretense ofa search-warrant, and

thus, in total violation of the plaintiffs rights. [WCSD-JD-8] questions the plaintiff as to why the plaintiff had so many security cameras

installed on the plaintiffs property, to which the plaintiff responded that the plaintiff is living next to malicious and predatory people that have

committed several racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff - none of which were even

charged, let alone prosecuted by [WCLE]. [WCSD-JD-8] stares at the plaintiff and treats the plaintiffs response as if the plaintiffs response is

not credible, again pretending as if the plaintiff is crazy - a sin1ilar reaction of malicious gaslighting that the plaintiff has received from many

other members of [WCLEJ who have maliciously used such techniques of gaslighth1g to deliberately ignore the plaintiffs several crime-repo1is -

dating back to {201 I} - in-order-to deliberately and maliciously protect the White-American perpetrators ([RSR],[JSP&KAPJ,[JJB]) of those

hate-crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff. At some point in time, LWCSD-.lD-81 even makes an abusive,

racist and irrelevant comment that the plaintiffs [HOUSE] was "in shambles 11 - which, in retrospect, the plaintiff considers to be eerily

reminiscent to the similarly abusive and racist comment made by police officer Aaron Dean about Atatiana Jefferson's home during the high-
profile trial of«TEXAS V. AARON DEAN», ironically, with both the plaintiff and Ms. Jefferson being relatively-educated persons-of-color

(see section below). [WCSD-JD-8] even asks for the plaintiffs phone-number, and the plaintiff declined to provide such information stating

that such information was private, not only because the plaintiff saw no necessity for such disclosure, but also because, as a long-time-member
of highly-reputed privacy-organizations such as the [EFFJ and the [FSF], the plaintiff has always considered it to be very-suspicious for police-

officer(s) to be asking private-citizen(s) for their phone number - almost as if the police are requesting such private information for some

sinister purpose such as unlawful phone-location-tracking/surveillance and/or unlawful eavesdropping/wiretapping of private conversations.
Very shortly thereafter, a second [WCSD], JOHN-DOE-20 [WCSD-JD-20] is also at the plaintiffs front-hallway behind [WCSD-JD-8] -

probably because [WCSD-JD-8] had unreasonably called in for backup - especially unreasonable, given the fact that [WCSD-JD-8] was

approximately twice the physical size of the plaintiff, who was living alone at the residence. [WCSD-JD-8]'s final question to the plaintiff were

words-to-the-effect of "how-of/en and/or at-what-times the plaintiff leaves the [HOUSE]", and the plaintiff, once-again felt extremely

uncomfortable answering such question, declining to provide such information due to that information being private, not only because the

plaintiff saw no necessity for such disclosure, but also because, as a long-time-member of highly-reputed privacy-organizations such as the

[EFF] and the [FSF], the plaintiff has always considered it to be ve1y-suspicious for police-officer(s) to be asking private-citizen(s) for their

comings-and-goings - almost as if the police are requesting such private infonnation for some sinister purpose such as unlawful property-

 survcillancc, or even worse, unlawful entering into such private-citizen(s)' private-prope1ty at time(s) when they know that such private-

 citizen(s) were not at the property. Sh01tly after interrogating the plaintiff in such abusive and intrusive manner, [WCSD-JD-8] lets the plaintiff

 know that both he and [WCSD-JD-20] would be leaving the plaintiffs property, for which the plaintiff reluctantly thanks them - an

 involuntary, reflexive response of a tenified person-of-color, acting under extreme duress caused by White police-officers. On one-or-more
 occasions during this incident, both [WCSD-JD-8] and [WCSD-JD-20] would also shine their torch-light into the plaintiffs open (but unlit)

 [GARAGE], thus performing a search of such [GARAGE], with the [GARAGE] being considered a part of the [HOUSE] or curtilage-area -

 both equally-protected search areas for fourth-amendment purposes. As [WCSD-JD-8] and [WCSD-JD-20] walk down the sidewalk towards

 their respective vehicles, [WCSD-JD-8] points in a menacing manner at one of the plaintiffs security cameras attached to the plaintiffs front

 tree - which can only be interpreted as his fmal act of racial intimidation/interference against the plaintiff. The plaintiff felt extremely violated

 and terrified by the entire incident - the unlawful interrogation, and the entire unconstitutional-and-unlawful search of the plaintiffs property -

 with the plaintiff knowing fully well that at any point in time, any move by the plaintiff interpreted to be a '\vrong move'' by such White police-

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officers, could result in serious injury, if not death, to the plaintiff. It should also be noted that [WCSD-JD-8] had a body-worn-camera on and

recording, and while the plaintiff fully supports the use of such body-worn-camera in-order-to deter police-misconduct, the plaintiff felt very

violated by the fact that [WCSD-JD-8] was standing directly in front of of the [FRONTDOOR] recording the interior of the [HOUSE] while

the plaintiff was searching for the plaintiffs drivers-license, and while the plaintiff was being interrogated. Yet, again, the plaintiff could not

question/protest [WCSD-JD-8]'s violative actions, nor could the plaintiff act in any defiant manner, nor could the plaintiff make any potentially

"wrong move" in any action during this entire incident because any such action could easily result in a lethal use-of-force by [WCSD-JD-8), a

White-American police-officer, against the plaintiff, an immigrant-of-color/indigenous-person (with very-dark-brown skin color). So, once

again, just like the many other incidents of racial-oppression suffered by the plaintiff at the hands of the [WCLE], the plaintiff had no choice

but to submit to this particular, totally unconstitutional-and-unlawful search/seizure/interrogation/detention by [WCSD-JD-8] - and during the

total darkness of nighttime - a time of day that the [SCOTUS) has ruled that is not permissible for any such nonconsensua\-and-warrant\ess

search/seizure/interrogation/detention. The plaintiff did not know at this moment in time that [WCLE] would further exploit/capitalize-upon the

private-information unlawfully-gleaned from [WCSD-JD-8]'s egregiously unconstitutional-and-unlawful search/seizure/interrogation/detention

of the plaintiff and plaintiffs property as a fraudulent pretext and foundation for multiple further (and retaliatmy) unconstitutional-and-unlawful

searches/seizures/interrogation/detentions of the plaintiff and plaintiffs property in the year {2020} and at least one more unconstitutional-and-

unlawful search/seizure/interrogation/detention of the plaintiff in the year {202 l} - with all of these civil-rigl1ts-violations/racketeering-

acts/abuses agah1st the plaintiff playh1g an hitegral part to fmther intimidate/interfere-with/harass the plaintiff in-order-to unlawfully

pressure/coerce the plaintiff to plead "guilty" to [WCLE]'s purely-retaliatory, Class-C-Misdemeanor-Public-Nuisance prosecution of the

plaintiff from the time-period of (2020-10-12} through (2021-11-01} (see subsequent incidents below). According to the plaintiffs recorded-

footage, all of these [WCSD]s at the scene of the plaintiffs private-property during this incident did have body-worn-cameras - and as such,

such body-worn-cameras should have been recording all aspects of this unconstitutional-and-unlawful search/seizure/interrogation/detention of

the plaintiff and the plaintiffs private-property- unless, such [WCSD]s deliberately turned-off their body-worn-cameras (at any point in tune)

in-order-to Obstruct Justice agah1st the plah1tiff.



1473
On or about the date and approximate tune of {2020-02-09 09:00}, [WCSD-MD] parks his police vehicle further up the street and approaches

the [FRONTDOOR], with [WCSD-CP] walking behind him. [WCSD-CP] actually walks towards and stops in front of the plaintiffs political

yard-signs as if to read the messages on such yard-signs. While on the [DRIVEWAY], [WCSD-MD] takes out a torch-light and shines such

torch-light into the plaintiffs vehicle parked well inside the plah1tiffs [DRIVEWAY] (curtilage), in-order-to view the interior contents of the

plah1tiffs vehicle - in total violation of the plaintiffs rights (as the [SCOTUS] has mled that such act(s) are considered a search for fotu1h-

amendment purposes). While on the [DRIVEWAY], [WCSD-CP] reads and radios back to [WCSO] police-headquarters the license-plate

number of the plaintiffs vehicle - once again, as if to run a background-check on such vehicle and/or the registered driver(s) of such vehicle.

[WCSD-MD],[WCSD-CP] then proceed to the [FRONTDOOR], which at that moment in time, was open - but again, this information about

the plaintiffs [FRONTDOOR] being open could not have been known to anybody from the street, since both the plaintiffs vehicle and the

plaintiffs [FRONTYARD] h·ees are obshucting the view into the plaintiffs [FRONTPORCH]. [WCSD-MD] looks into the plaintiffs open

(but unlit) [GARAGE] as if to briefly inspect the item(s) stored in the plaintiffs (GARAGE]. [WCSD-MD] also spends a few seconds looking

down at one of the plaintiffs seeurity-camera(s) located close to ground level attached to the exterior of the plaintiffs (GARAGE]. Upon

cnterh1g the plaintiffs [FRONTPORCH], [WCSD-MD] fast uses his torch-light to shine such bright light dh-ectly-into (and deep-into) the
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plaintiffs unlit [HOUSE], in total violation of the plaintiffs rights. [WCSD-MD] then turns off such torch-light, loudly announcing his presence

to the plaintiff, as ifrealizing that such intrnsive shining of such bright light into one's private, unlit [HOUSE] is a clear violation of both the

fourth-amendment and the fifth-amendment (in addition to being a discriminatmy practice in violation of the [FHA]/[TFHA]). [WCSD-CP],

who is behind [WCSD-MD], continues to look into the interior of the plaintiffs open (but unlit) [GARAGE]. Within approximately 10 seconds,

the plaintiff appears at the [FRONTDOOR] in-order-to respond to [WCSD-MD]. The plaintiff had asked if there was any complaint lodged

against the plaintiff, and if so, by whom. [WC SD-MD] stated that he did not know who had complained about the plair1tiff. Despite of the fact

that [WCSD-JD-8] had already intrusively ir1terrogated the plaintiff at the plair1tiffs property not more than 3 days prior to this moment ir1 time,

[WCSD-MD] requests at least some of the very same ir1fonnation, asking the plair1tiffs name and whether-or-not the plaintiff was the lawful

resident of the plaintiffs property - once-again, because all of these White-American police-officers of defendant [WC] (dating back to the year

{2011}) had a very-difficult time believing and/or acceplnlg the fact that someone with the plaintiffs racial-profile actually belonged ir1 such

White neighborhood. The plair1tiffrequested some privacy, and [WCSD-MD] ironically responded that he's goir1g to respect the plaintiffs

'Jourth-amendment" rights, despite having already violating such right by shining such torch-light into the plaintiffs vehicle, and into the interior

of the plaintiffs unlit [HOUSE]. [WCSD-MD] was talkir1g a little loudly, and so the plaintiff clarified that the plaintiff requested if [WCSD-

MD] could approach a little closer so that the neighbors wonld not overhear any private-conversation between the plaintiff and [WCSD-MD].

[WCSD-MD] stepped closer towards the plaintiff. [WCSD-MD] justifies his ir1terrogation of the plaintiff, stalnlg that the plaintiff should not
                                                                                                                                   1
take anything that [WCSD-MD) states personally, as he is only making such statements and performing such intenogation '10 make the bosses
happy at work" - which may actually be an accurate statement, reflecting the fact that the top-level-leadership of [WCLE] want such intrusive

interrogations of the plaintiff to be conducted by such [WCSD]s. During the course of this inte1rngation, [WCSD-MD] would ask the plaintiff,

at the very least:



® if the plaintiff lived with anybody else at the plaintiffs property.


@ when the plaintiff last slept.



 © if the plaintiff works anywhere.


 @ what the plair1tiff does for a living.



 ® how long the plaintiff had lived at the property.


 ® if the plair1tiff had food, water, place-to-sleep, etc.


 @ if the plaintiff needed the assistance of "Adult Protective Services' 1•


 (8) if the plaintiff heard any 11voices", in other words, to determine if the plaintiff was schizophrenic



 CD if the plaintiff was takir1g any medication(s).
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Q) if the plaintiff seeks doctor's care for anything.


® if the plaintiff was an othe1wise pretty-healthy, young guy.


(bl if the plaintiff planned on any self-harm.



IQ) if the plaintiff had any homicidal thoughts, or thoughts to hurt somebody else.



® if there was any suspicious activities around the plaintiffs [HOUSE].

@ if the plaintiff had any fonn of identification or if the plaintiff could provide both the plaintiffs foll-name and date-of-birth.



® if the plaintiff had all the items in the plaintiffs [FRONTPORCH] belonging to the plaintiff.


@ if the plaintiff always lived in Leander area.



@ if the plaintiff graduated from University.



® what type of degree the plaintiff graduated with.


@which version of the GoPro body-worn-camera that plaintiff was wearing.



 Somewhere during the middle of this interrogation, the plaintiff, once-again, intenupts [WCSD-MD] asking who had complained about the

 plaintiff, because the plaintiff felt very uncomfortable answering such privacy-invading questions, especially to a government-authority, when
 the government has absolutely no justifiable right to almost-all, if not all, of this private-information. (WCSD-MD] stated that he did not know

 but that he could find out for the plaintiff at some later point in tune. The plaintiff infonns [WCSD-MD] that the accused (the plaintiff) has the

 right to know who the accuser(s) are, to which [WCSD-MD] responds that no-one is accusing the plaintiff of anything. Once again, the

 plaintiff is frnstrated that the plaintiff has to answer these questions to [WCSD-MD] about the plaintiffs private-property while the plaintiff is

 within the plaintiffs property and not causing any hmm to anybody. Without any further questioning of the plaintiff, [WCSD-MD] fm1hcr

 states to the plaintiff that neither he nor [WCSD-CP] have been sent to the plaintiffs prope11Y by the (HOA] - which the plaintiff thought was a

 very suspicious and revealing statement, because the plaintiff had known for a very long time, that the (HOA] - especially under (f-HOA-

 BoD]s[SPOA-P-BC],(SPOA-VP-AH] - was, in at least some manner, involved in the malicious conspiracy against the plaintiff consisting of

 (JSP&KAP],[RSR] and (WCLE]. The plaintiff also considers such statement of(WCSD-MD] to be an implicit act of intimidation and/or

 blackmail, as ifto indicate to the plaintiff that all of these authorities' eyes were on the plaintiff, despite of the fact that the plaintiff had done

 absolutely nothing wrong, and despite of the fact that (WCSD-MD] even fully-admitted that the plaintiff was "not in any trouble, at all."

 [WCSD-MD] surprisingly-states that eve1J1body is entitled to their own happiness 11, and therefore, "if this is how [the p{aint(ff] ·wanted to
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live, that is how [the plaintiff gets to live]." However, [WCSD-MD] follows up that ve1y accurate and reasonable statement by making a

more abusive statement that the items scattered in the plaintiffs [FRONTPORCH] is "not normal", further clarifying that it is "not the normal

societal way to live" - even though none of the items on the plaintiffs [FRONTPORCH] are in any way visible to those on the public-street

and/or public-sidewalk - agdin, since such items are obstructed from view by a combination of the plaintiffs vehicle and the plaintiffs large

fully-grown trees in front oftb.e [FRONTPORCH]. [WCSD-MD] surprisingly admits to the plaintiff that people call the [WCSO] for a\l types

of complaints, some of which are "B.S. "and some of which are "genuine". This statement by [WCSD-MD] is just one of many shockingly

fitting microcosms for this lawsuit, because while the plaintiffs malicious neighbors with extreme-racial-animus against the plaintiff -

[JSP&KAP],[RSR] (and their cronies) - have routinely and successfully called upon both [WCLE] and the [HOA], for approximately a decade

at this moment in time, demanding that such institutions-of-power take increasingly predatmy action(s) against the plaintiff, for the plaintiffs

failure and/or "inability" to maintain the plaintiffs property according to their (hypocritically-enforced) White-American standards, the plaintiff

has "genuinely" reported racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses committed against the plaintiff not only

by [JSP&KAP],[RSR] but also by some individual employee(s) of [WCLE] - none of which were fully-investigated, almost-all of which were

completely-uninvestigated, let alone charged or prosecuted. [WCSD-MD] asked if the plaintiff "heard any voices'1, in other words, to
determine if the plaintiff was schizophrenic, and the plaintiff laughed in outrage at such statement of gaslighting, even stating that [WCSD-MD]

should never "judge somebody by the way they look." [WCSD-MD] strongly-agreed, fm1her stating that the plaintiff "is the [plaintifj's] own

person. .. [the plaint(ffis] entitled to eve,y liberty the United States has to offer - this is one qfthem", although any reasonable observer that

fully-analyzes all of the plaintiffs evidence would have never reached that conclusion based upon the malicious and predatory manner in which

plaintiff had been treated by defendants [WCLE],[RSR],[JSP&KAP] and the former-[HOAJ under [f-HOA-BoD]s[SPOA-VP-AH],[SPOA-P-

BC]. [WCSD-MD] asked the plaintiff if the plaintiff was taking any medications - again, engaging in the same pattern of egregious gaslighting

against the plaintiff, parroting some of the same racist-rhetoric that the plaintiff has heard particularly from the plaintiffs predatory neighbors,

[RSR],[JSP&KAP]. Once again, the plaintiff strongly denied that the plaintiff was on any medications (especially since the plaintiff deliberately

 lives a chemical-free lifestyle fully in-line-with the plaintiffs indigenous religious/cultural views/practices). [WCSD-MD] asks the plaintiff if the

plaintiff had any thoughts of self-harm, or of if the plaintiff had any homicidal thoughts, or thoughts to hm1 somebody else, to which the

plaintiff, once again, laughed in outrage, stating that the plaintiff was a "nonviolent person" and that the plaintiff practices "nonviolence''

 (following in-line-with both the plaintiffs deeply-help religious views/practices and the plaintiffs political views). [WCSD-MD] asks the plaintiff

 if there were "any suspicions activities" around the plaintiffs [HOUSE], further questioning the plaintiff about the huge-number of security-

 cameras, at which point the plaintiff notifies [WC SD-MD] about the many racially-motivated hate-crimes/civil-rights-violations/racketeering-

 acts/abuses that the plaintiff has suffered from the plaintiffs predatmy neighbors, particularly [JSP&KAP],[RSR]. Once again, [WCSD-MD],

 just like so many other members of [WCLE], does not show any significant concern about such serious criminal activity, since the victim of

 such criminal activity is only the lowly plaintiff - with the plaintiffs lowly status entirely ath·ibuted to the plaintiffs racial-profile. [WCSD-MD]

 and/or [WCSD-CP] ask the plaintiff if the plaintiff needed the assistance of ''Adult Protective Services". The plaintiff questioned what types of

 services were offered by ''Adult Protective Services" because the plaintiff was curious if "Adult Protective Services" would, in any way, be

 more concerned regarding the aforementioned racially-motivated hate-crimes/civil-tights-violations/racketeering-acts/abuses committed against

 the plaintiff. [WCSD-MD] responded that he did not know the types of services that ''Adult Protective Services" offered. After asking the

 plaintiff a few more privacy-invading questions regarding where the plaintiff was from, where the plaintiff graduated from, and what type of

 degree the plaintiff graduated with, [WCSD-MD] signals that they would be leaving the plaintiff alone, and both [WCSD-MD],[WCSD-CP],

 then proceed to walk back towards their respective police vehicles parked up the street. Both [WCSD-MD] and [WCSD-CP] briefly look into


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the interior of the plaintiffs open (but unlit) [GARAGE], in-order-to, once-again, inspect item(s) stored inside the plau1tiffs (GARAGE] as they

are on their way out of the plaintifl's property. Even ignoring [WCSD-MD]'s,[WCSD-CP]'s unconstitutional-and-unlawful search/seizure and

detention/interrogation of the plaintiff, these two [WC] police-officers were just two of at-least (or approximately) two-dozen [WC] police-

officers/employees that the plaintiff had directly notified about the many racially-motivated hate-crimes/civil-rights-violations/racketeering-

acts/abuses that the plaintiff had suffered by (JSP&KAPJ,[RSRJ. Despite of the fact that the plaintiff had directly notified so many members of

[WCLEJ about these racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff, as the record of over l 0

years will show, neither [JSP&KAPJ nor [RSRJ were ever fully-investigated for any of these hate-crhnes/civil-rights-violations/racketeering-

acts/abuses, and neither [JSP&KAP] nor [RSRJ were ever charged for any of these hate-crhnes/civil-rights-violations/racketeering-acts/abuses

that they committed agan1St the plaintiff, precisely due to defendant's [WCLE]'s malicious, obstructive-and-retaliatory, blackmailing-and-

defrauding racketeering-enterprise (including co-conspirators [JSP&KAP],[RSR]) agah1st the plaintiff, which in tum was only possible precisely

due to the racial-profiles of all parties hwolved. Agah1, (WCLE]'s deliberate failure to fully-hwestigate, charge and prosecute [JSP&KAPJ,

[RSR] for thefr many-dozen counts of racially-motivated and mostly retaliatory (thus mostly felonious) hate-crhnes/civil-rights-

violations/rackcteering-acts/abuses aggreg-ately against the plaintiff, would only conthrne to embolden both [JSP&KAPJ,[RSRJ to act with an

increasing sense of absolute-impunity and racist-lawlessness against the plaintiff, with the plaintiff continuing to suffer an escalation of such

racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses by both [JSP&KAPJ,(RSRJ - and especially [JSP&KAP] in the

followh1g 2 years (after this incident). According to the plaintiffs recorded-footage, all of these [WCSD]s at the scene of the plah1tiffs private-

prope1ty during this incident did have body-worn-cameras - and as such, such body-worn-cameras should have been recording all aspects of

this unconstitutional-and-unlawful search/seizure/interrogation/detention of the plaintiff and the plaintiffs private-property - unless, such

 [WCSD]s deliberately turned-off thefr body-worn-cameras (at any point in thne) in-order-to Obstruct Justice against the plah1tiff.



 «][474
 On or about the approximate date and approximate time of {2020-02-1 l 19:04} (nightthne), [JSP] drivh1g in his pickup-trnck up the sa·eet,

 with such pickup-trnck blarhig either loud-talk-radio and/or loud-music, pauses such pickup-truck on the road directly in front of the plaintiffs

 property [788KLLTX78641], perfectly aligned with the plaintiffs [FRONTDOORJ, takes out a torch-light and for a period ofahnost one

 whole minute, shines the bright-light of such torch-light not only into the plah1tiff's security cameras (in-order-to pennanently "blind" such

 cameras) but also, upon discovering that the plaintiffs [FRONTDOOR] was open, then dfrectly into the interior of the plaintiffs unlit

 [HOUSE] h1-order-to see the contents of the interior of the plah1tiffs unlit [HOUSE] - h1 total violation of the plaulliff s rights. Perhaps even

 more shockingly, one-or-more other vchicle(s) pass by [JSPrs pickup-truck on the street as [JSP] is committing such criminal action against

 the plaintiff, clearly notich1g that [JSPJ is engagu1g in such crhninal action against the plaintiff. [JSP], noticu1g that his invasive shining of such

 torch-light into private/unlit areas of the plaintiffs property is not eliciting a response from the plaintiff, then conthrnes driving up the street,

 parking such vehicle h1 the driveway of his property, [784KLLTX7864l]. While still inside or around his vehicle, [JSP], once-agau1 uses such

 torch-light to shh1c such bright light u1to the plaintiffs (unlit) [FRONTPORCH] area for a period of approximately half a minute, once-again, in

 total violation of the plaintiffs rights. Generally speaku1g, when a private-citizen such as [JSPJ (who does not even have the authority oflaw-

 enforcement) maliciously shines a bright light into the interior of another person's residence in order to see the interior contents of such

 residence, that action alone is considered an action of felony stalking, especially if there is a history of prior actions of harassment/stalking.

 Additionally, if such unlawful search by private-citizen was done "under color of law" - as is true in this particular case, because [JSP&KAP],

 [RSR] have always maliciously acted against the plaintiff "under color of law" despite never being any member of law-enforcement - such
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unlawful action is also considered to be the federal crimes of[l8-USC-PI-Cl3-§242] and [18-USC-PI-C43-§913] and/or [TPeC-T8-C37-

§37. I I].



1475
On or about the approximate date and approximate time of {2020-02-12 21: 10) (late-nighttime), [JSP] driving in his pickup-truck up the street,

pauses such truck on the road directly in front of the plaintiffs property [788KLLTX78641], perfectly aligned with the plaintiffs

[FRONTDOOR], but on this particular occasion, for a period of more than I minute, simply conducts surveillance on the plaintiffs property

without actually shining any torch-light. [JSP] then contumes driving up the street, parking such vehicle in the driveway of his property

[784KLLTX7864 I]. After exilnlg his vehicle, [JSP] then approaches the plaintiffs side-yard with torch-light shinu1g du·ectly onto one-or-more

of the plaintiffs security-camera(s) and into the plaulliffs (unlit) [FRONTPORCH]. While standu1g near the border of the two-properties for a

period of more than 1 minute, [JSP] continues to shine such torch-light directly onto one-or-more of the plaintiffs security-camcra(s) and into

the plaintiffs (unlit) [FRONTPORCH] area, once-again, in total violation of the plaintiffs rights. [JSP], noticu1g that his invasive shining of

such torch-light into private/unlit areas of the plaintiffs property is not eliciting a response from the plaintiff, then walks back towards the front

of his house.



 1476
On or about the approximate date and approxhnate time of {2020-02-13 I 0:30), both [WCSD-MD] and another unidentified [WCSD],

 [WCSD-JD-22), visit the plaintiff at the plaintiffs proper1y [788KLLTX7864I], approachu1g the plaintiffs [FRONTDOOR], this tune for a

 much shorter period oftin1e. [WCSD-JD-22] would look into the plau1tiffs open (but unlit) [GARAGE] at very-close-range, while [WCSD-

 MD] asked some very briefquestion(s) of the plaintiff - mau1ly, whether-or-not the plaintiffremained in good health. Shortly after such very-

 briet:questioning which took less than a minute, both [WCSD]s would walk away from the plaintiffs property. According to the plaulliffs

 recorded-footage, all of these [WCSD]s at the scene of the plaintiffs private-property duru1g this incident did have body-worn-cameras - and

 as such, such body-wom-cameras should have been recording all aspects of this unconstitutional-and-unlawful
 search/seizure/interrogation/detention of the plaulliff and the plau1tiffs private-property - unless, such [WCSD]s deliberately turned-off their

 body-worn-cameras (at any pou1t in tune) in-order-to Obstruct Justice against the plaintiff.



 1477
 On or about the approximate date and approxhnate tune of {2020-02-14 21 :13) (late-nighttime), [JSP] driving in his pickup-truck up the street,

 pauses such truck on the road directly in front of the plaintiffs property [788KLLTX7864 l ], perfectly aligned with the plaintiffs

 [FRONTDOOR], this tune anticipating that the plaintiffs [FRONTDOOR] is once-again open, takes out a torch-light and for a period of

 ahnost-exactly one minute, shu1es the bright-light of such torch-light not only into the plau1tiffs security-cameras (u1-order-to permanently

  "blind" such cameras) but also directly into the interior of the plaintiffs [HOUSE] in-order-to see the interior contents of the inside of the

 plaintiffs [HOUSE] - in total violation of the plaintiffs rights. [JSP], noticing that his invasive shinu1g of such torch-light into private/unlit areas

  of the plaintiffs property is not eliciting a response from the plaintiff, then continues driving up the street, parku1g such vehicle in the driveway

  of his property [784KLLTX78641]. Generally speaking, when a private-citizen such as [JSP] (who docs not even have the authority of law-

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enforcement) maliciously shines a bright light into the interior of another person's residence in order to see the interior contents of such

residence, that action alone is considered an action of felony stalking. especially if there is a hist01y of prior actions of harassment/stalking.

Additionally, if such unlawful search by private-citizen was done '1tmder color qf law" - as is true in this particular case. because [JSP&KAP],

[RSR] have always maliciously acted against the plaintiff "under color of law" despite never being any member of law-enforcement - such
unlawful action is also considered to be the federal crimes of [l8-USC-Pl-Cl3-§242] and [l8-USC-Pl-C43-§9l3] and/or [TPeC-T8-C37-

§37.11].



':11478
On or about the approximate date and approximate tune of {2020-02-19 18:03} (near dusk), [JSP] drivh1g in his piekup-trnek up the street,

with such pickup-trnck blaring either loud-talk-radio and/or loud-music, pauses such pickup-trnck on the road dh·ectly h1 front of the plaintiffs

property [788KLLTX78641], perfectly aligned with the plaintiff's [FRONTDOOR], h1-order-to look into the plaintiffs concealed

[FRONTPORCH] and [FRONT DOOR] area - following, a relentless and never-ending pattern of racially-motivated intimidation and

harassment/stalkh1g against the plah1tiff. After about 37 seeonds or remah1ing in such paused state (with loud-speaker-system of such pickup-

truck conthrning to blare), [JSP] then conthmes to drive such pickup-trnck up the street and park at his property [784KLLTX78641].




 ':11479
 On or about the date and approxhnate tune of {2020-02-28 17:19}, [RSR], initially at her house, walks across the street and towards the

 plaintiff's property, holding what appears to be either a recording camera-phone or some other object in her raised hand pointed towards the

 plaintiffs property. [RSR] looks into the plaintiffs open (but unlit) [GARAGE] area, and into the plaintiffs side-yard area, as she conthmes to

 walk on the sidewalk, finally reaehing her destination: the front-door of [JSP&KAP]'s prope1iy, [784KLLTX78641], presumably to conspire

 with her co-conspirators [JSP&KAP]. After spendh1g approximately 2 minutes at the [JSP&KAP]'s property, [RSR] then walks towards the

 edge of the plaintiffs property, stopping at the edge of such prope1iy, while continuing to angrily look into one-or-more of the plah1tifi's

 security-cameras, also raising her hand towards the plaintiffs property and/or mumbling some words as if to demonstrate her anger and/or

 disapproval towards such security-camera(s) and/or the plaintiffs property (in general). [RSR] then deliberately stomps onto the plaintiffs

 [FRONTY ARD] grass, and as if to defiantly show the plaintiff that she did not care about violating the erhuinal-trespass-waming [CTW] that

 was issued to her against the plaintiffs property on or about the date of {2011-08-30}. [RSR] conthmes to crhuh1ally-trespass well h1to the

 plaintiff's property, then enters back onto the public-sidewalk, approaching the plaintiffs political yard-signs which read: "Alexandria Ocasio-

 Cortez [AOC] for President", 11 Tax the Rich", "Make Racism Wrong Again" and "Green New Deal''. As soon as she is in front of the such

 yard-signs, [RSR] sarcastically nods after spending approximately ten seconds reading (or re-reading) sueh yard-signs, as ifto show scorn for

 the plaintiffs anti-White-Supremacist political messages. [RSR] continues to walk along the sidewalk while angrily staring into another set of

 the plau1tiffs security-cameras (that are attached to the plaintiffs front-tree) so as ifto show the plah1tiffthat she knows that the plaintiff is

 watching her every move - including her criminal-trespass, but that she does not care for her brazen violation of law. [RSR] then continues to

 walk back across the street towards her property at [789KLLTX78641]. This entire incident shows that [RSR] feels not only that she is above-

 the-law especially when it comes to violating the plah1tiffs rights, but also that she is fully protected by the obstructive-and-retaliatory,

 blaekmailing-and-defrauding raeketeering-enterprise and conspiracy against the plah1tiff consisth1g of [JSP&KAP],[RSR],[WCLE]. By acting in

  such brazen matter, [RSR] is brazenly daring the plah1tiff to report her crime to the [WCLE] - just has she has done for all of the other crimes

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that she committed against the plaintiff - knowing fully-well that the obstructive-and-retaliatory, blackmailing-and-defrauding racketeering-

enterprise against the plaintiff consisting of [JSP&KAP],[RSR],[WCLE] will viciously retaliate against the plaintiff if the plaintiff dared to do

so.



'1[480
On or about the approximate date and approximate tin1e of {2020-03-02 14:00}, the plaintiff was cleanh1g and clearh1g-space in the plah1tiff's

garage. The plaintiff noticed two exph-cd 50-pound (but still sealed/unopened) bags ofpoulh-y-feed that the plaintiff had purchased almost 5

years before (back h1 {2015}) since the plaintiff was, at that moment in time, plannh1g to racse/fann poultry on the plaintiff's agricultural-

private-property. The plaintiff realized that the plaintiff could not use such poullt-y-feed anymore since the feed had long-since expired, and the

bags had even become paitly moist (and thus spoiled) due to being at least partly exposed to rainfall. As both the plaintiffs security-camera

video-evidence and the plaintiff's body-worn-camera video-evidence docs show, the plaintiff dragged these 2 bags of exph·cd poultry-feed onto

the plaintiff's sideyard close to the plah1tifl's air-conditioner unit, cut open these initially unopened/sealed bags, and emptied the contents of

these bags into the plah1tiffs side-yard. The plaintiff used the plaintiffs feet and/or a hoe to stomp on the poultry-feed to spread the contents of

the bag as-evenly-as-possible onto the grass in the plaintiff's side-yard. The plaintiff mh1dset was/is that, if the plaintiff could no-longer use the

exph·ed poulll-y-feed, then such poultt-y-feed could at least be used to fertilize the soil in the plah1tiffs side-yard. This incident is crucial

because, as the record of future h1cidcnts will show, [JSP&KAP] would take photograph(s)/vidco(s) of this area of the plah1tiff's side-yard, and

would fraudulently report to [WCLE] and/or the [HOA] that the plah1tiffhad dumped human-faeces into the plaintiffs side-yard - one of many

criminal acts of malicious ':false-report" that the plah1tiff would suffer at the hands of both [JSP&KAP],[RSR] over the course of over a

decade. This criminal act of malicious "false-report" by [JSP&KAP] would then lead to the most-invasive, most-intrusive, most-violative,

most-humiliative, most-oppressive, most-abusive, unconstitutional-and-unlawful search of the plaintiffs enth·e property ([788KLLTX7864 l])

that the plah1tiffwould suffer from extremely malicious, abusive/oppressive employees of the defendants [WCCHD],[WCCO] on the day of

 {2020-04-28} from [WCCHDS-VD],[WCCD-Harrell] - see below.



 i481
 On or about the date and approximate thne of {2020-03-07 16:23}, the plaintiff notices that [RSR]'s dog, [L], once-agah1 unleashed, is illegally

 allowed by [RSR] to run freely across the street, entanglh1g with another leashed dog walked on by other two other residents on the sidewalk h1

 front of the plaintiff's property. It appeared to the plaintiff that these other residents were uncomfortable with [RSR]'s dog, [L], getting into a

 skhmish with then· dog - with both large dogs easily capable of biting/mauling each-other, if not humans. [RSR] would slowly walk across the

 street to retrieve her dog [L], while such residents continue walking up the street, after carefully preventing and ensuring that no injuries

 occurred. Once again, the rules of the subdivision clearly prohibit such hazardous activity as there are potentially huge liabilities associated with
 large dogs that are allowed to roam freely. Throughout the over decade of her stay at [789KLLTX7864 l ], [RSR] would conthme to defiantly

 flaunt the rules of the subdivision, repeatedly rubbing-it-h1 to the plah1tiffthat as a privileged White-American person (that is significantly older

 than the plah1tifl), [RSR] is immune from the rules of the neigl1borhood and that such mies do not apply to her, especially thanks to her role as

 the kingpin/mafia-godfather of the racketcerh1g-enterprise including [JSP&KAP], [WCLE], and the [HOA]. On or about the date and

 approximate time of {2020-03-07 18:00}, the plah1tiffnotices that [JSP]'s red-colored pickup-buck which had been permanently parked

 (without being used) on the curbside h1 front of the plah1tiffs property for multiple years was fmally being driven away by what appeared to be

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contractor(s) and/or buyer(s). Prior to this truck permanently parked by [JSP] at such location (for multiple years) being driven away by

contractor(s) and/or buyer(s), [JSP&KAP] had a total of 4 vehicles clearly-visible from the street with two of such vehicles parked on the

road/curbside, while the restrictive-covenants of the subdivision explicitly prohibit more than 2 vehicles visible from the street (for a period of

more than 72 hours) and while the restrictive-covenants of the subdivision also prohibit parking any vehicle on the road overnight (for even one
night). Once again, while the defendants were laser-focused on predatorily targeting the plailltiff for over \0 years, in-order-to evict the

plaintiff, by any means necessary, from what they considered to be "their" (exclusive-and-pure) White neighborhood, defendants [JSP&KAP],

[RSR] were freely, openly and brazenly allowed to flaunt the rules of the neighborhood, pretending as if, by virtue of being privileged White-

.American pcrson(s), that they are free to brazenly violate the rules with absolute impunity. On or about the approximate date and approximate

time of {2020-03-07 18:00}, the plaintiff was working inside of the plaintiffs [GARAGE], and was moving items in-and-out of the [GARAGE]

right after such eontractor(s) and/or buyer(s) departed, at which point, [JSP], with wife [KAP] in the same outdoor area, shifted his predatory

focus onto the plaintiff. [JSP] loudly yells at the plaintiff, while picking up small pieces of debris on his yard and/or kicking such debris into the

plaintiffs side-yard-area, "GET THIS SHIT OUT OF MY YARD, DUDE!" The plaintiff remains inside and around the [GARAGE] occupied

with the aforementioned work. [JSP] approaches the aforementioned area where the plaintiff had opened and spread the contents of the two

SO-pound bags of expired poultry-feed onto the plaintiff's side-yard, spends over a minute menacingly inspecting such area, and formulates (or

having already formulated) a fraudulent narrative of fraudulently accusing the plaintiff of dumping human-faeces in that area of the plaintiffs

side-yard. [JSP] initially shouts, "YOU NEED TO KEEP YOU TRASH OUT OF MY FRICKJNG YARD, DUDE! ... SMELLS LIKE ASS OVER

THERE! ... "while continuing to kick debris from his side-yard into the plaintiffs side-yard. The plaintiff briefly exits the [GARAGE], and

[JSP] uses such opportunity to angrily accost the plaintiff, pointing to such area and shouting, "HEY DUDE, DUMPING ALL THIS STUFF

 ON THE SIDE OF THE HOUSE! WHAT IS THAT! WHAT JS THAT STUFF! ... IS THAT POOP! WHAT IS THAT STUFF OVER THERE!"

The plaintiff, initially shocked at the fraudulent accusation, does not respond to [JSP], instead walking back towards the [FRONTDOOR].

[JSP] noticing that the plaintiff has ignored [JSP] and is walking away from him, angrily and abusively shouts at the plaintiff, "YA FREAK!". A

 few minutes later, [JSP] fraudulently complains to his wife [KAP] that the plaintiff has dumped human-faeces onto the plaintiffs side-yard,

with [KAP] fraudulently responding to [JSP] that they (that is, [JSP&KAP]) cannot do anything about it, fraudulently acting along with her

 husband [JSP], as if it was human-faeces that the plaintiff had dumped into the plaintiffs own side-yard, and furthermore, fraudulently

 pretending that they (that is, [JSP&KAP]) had somehow been victimized by the plaintiffs such use of the plaintiffs own private-property. It is

 commonly known that when at least some fraudster(s) repeatedly lie about some issue, they eventually begin to "believe", or 11internalize",

 their own lie(s), and then, after that point, they simply justify all of their abusive, fraudulent action(s) based upon their "belief' of those

 internalized lie(s). Therefore, from at least this point in time onwards, [JSP&KAP] fraudulently pretend as if the aforementioned expired

 poultry-feed spread on the plaintiffs side-yard is human-faeces - despite the fact that the plaintiff never admitted it was/is human-faeces - and

 [JSP&KAP] initiate one-or-more fraudulent complaints against the plaintiff to [WCLE] and/or the [HOA] based upon this fraudulent

 accusation. It is also impotiant to reiterate that this poultry-feed is well within the plaintiffs property [788KLLTX78641] and does not even

 touch any part of[JSP&KAP]'s property [784KLLTX78641], with the two-properties separated by a physically-visible, landscape-edging

 divider that the plaintiffs landscapers had installed (actually one-or-more inches within the boundary of the plaintiffs property) over 2 years

 prior to this incident.



 1482
 On or about the approximate date and approximate time of {2020-03-16 17:00}, the plaintiff was unboxing packages of newly-purchased items
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storing some of the assembly-components of these items inside the plaintiffs garage. [JSP] arrives back in his pickup-truck which is blaring

either loud-talk-radio and/or loud-music, parking in the driveway of [784K.LLTX7864 l ], continuing to blare such loud-talk-radio and/or loud-

music for a minute or so. [JSP] then walks towards the plaintiff, approaching the border of the two-properties. As the plaintiff walks out of the

plaintiffs [GARAGE], the plaintiff is startled to see [JSP] suddenly near the border of the two-properties, staring menacingly at the plaintiff.

The plaintiff initially pauses due to being startled by l)SP)'s sudden and menacing appearance, but then continues to perform the task of

unboxing, trying not to be affected by [JSP]'s intimidation/stalking of the plaintiff. [JSP], then initiates another loud, racist, abusive,

threatening, fraudulent and gaslighting rant against the plaintiff, again making several fraudulent/misleading accusations about the plaintiffs

property:
 •     Rl!DKll!D RACIST, ABUSIVE, '!'1111EA'mm«l, FRAll'.lUUNr All> GIISLIQll'IM; R»II' mcN (JSPI '10 PLAIN1'IFF(lo) •       {2020-03-16 17: 001 (-)
 •      ( l'RIVME URL LINK '10 BE SUl!NIT'JED IN DISCOYERY ]




     a PLAINTIFF CONTINUES TO UNBOX PACKAGES IN [DRIVEl·/AY] . [JSP] STARTS TO SHOUT ABUSIVELY AT PLAINTIFF : D

     ( JSP]                I'VE GOT THE HEALTH DEPARTMENT C0/11/NG UP HERE! .JUST DUMPING SHIT ANYWHERE, DOG! ... ALREADY HAD A SHERIFF SMELL
                           IT! ... GOD WE WERE ALL PRAYING. {THAT} l'OU WERE MOVING! ... WHO'S GOING TO LEAVE ALL TH/SCRAP ON THE SIDE OF THE
                           HOUSE, LIKE THIS! ... I SAW ALL THAT HUMONGOUS PILE OF CRAP IN YOUR BACKYARD! THAT'S UNBELIEVABLE, DUDE!
                           UNBELIE VABLE! ... IVHI' DON'T YOU TAKE ALL THIS SHIT. AND GO SOMEWHERE ELSE! ... IT'S DISGUSTING! THERE'S NO REASON IVHY
                           WE ALL HAVE TO DEAL IV/TH IT! ... SUCH A JACKASS! ... WHY DON'T YOU JUST CLEAN YOUR ACT UP! GET A JOB! AND ACT' LIKE THE

                           REST OF US! ... {???} FREAK!


      a PLAINTIFF DOES NOT RESPOND TO [JSP] ' S ABUSIVE , FRAUDULENT RANT AND CONTINUES TO UNBOX PACKAGES IN [DRIVE\'<AY] . D
      0C NOTICING TJ-!AT THE PLAINTIFF WILL NOT RESPOND,                     [JSP] E.'VENTUALLY WALKS AWAY FR0.'1 THE PLAINTIFF. D




 '.[483
On or about the date and approximate time of {2020-03-17 I 8:00}, [RSR]'s large dog, [L], unleashed and roaming freely initially around the

front of[RSR]'s property, runs aggressively and at full-speed across the street towards deep into the interior of the front-yard of

 [792KLLTX78641], and roams in-and-around the property of [792KLLTX78641] for many minutes until [RSR] fmally calls such dog bag

 towards her many minutes later. On or about the date and approximate time of {2020-03-1 7 18:40} , [RSR]'s large dog, [L], unleashed and

 roaming freely initially around the front of [RSR]'s property, runs aggressively and at full-speed across the street, thL~ time towards the front of

 the plaintiffs property, while [RSR] only slowly walks towards such dog, and continues to slowly follow such dog as such dog continues to

 roam freely and unleashe d. In the over I 3 years of the plaintiff's residence at [788KLLTX7864 l ], the plaintiff has never noticed any other

 resident of the subdivision recklessly allowing their large dog to roam unleashed and run aggressive ly in such an uncontrolled manner, even

 across the street, while the restrictive-covenants of the subdivision explicitly prohibit the unleashing of dog; into unconfined areas - as a

 commonsense health-and-safety measure. More importantly, [RSR] had maliciously complained to the [HOA] (and possibly even [WC LE])

 about a tortoise ( o ) and/or hens entirely within the confmes of the plaintiffs [BAC KYARD] in the year {2016} (see incident(s) above) - even

 racistly alleging that such clearly-harmless and common companion-animals on the plaintiffs property constituted a "dangerous situation" in

 her successful attempt to blackmail the then-[HOA] to sue the plaintiff - while during most of her residence at [789KLLTX7864 I], [RSR] was

 unlawfully allowing her large dog, [L], to roam freely and aggressively, in such manner, often across the street (at least on some occasions, into

 the plaintiff's [FRONTYARD]).


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<[484
On or about the date and approximate time of {2020-03-18 10:25}, a truck with defendant [WC]'s logo stops on the street at the opposite-

curbside in front of[RSR]'s property, [789KLLTX78641]. [RSR]-while initially on the other side of her front-yard and with her large dog,

(L}, left unleashed and roaming freely - as if anticipating such person inside such truck to arrive at her property, walks over to such person

inside such truck to speak for one-or-more minute(s) with such government employee and/or contractor of defendant [WC]. Aller [RSR] is

done speaking with such employee and/or contractor of defendant [WC], [RSR] and her unleashed large dog, [L], walk away from the truck

and back into her house. Such employee and/or contractor of defendant [WC], who remained seated inside the truck during this entire incident,

then continues to drive such truck up the street. The plaintiff notices that such employee and/or contractor of defendant [WC] looks at the

plaintiffs property as he is passing the plaintiffs property. Although the plaintiff cannot glean much solely from this interaction, it is still,

however, possible that, based on this interaction, [RSR] has 11inside-connection(!i~ 11 to government employee(s) of defendant [WC] or perhaps
even has family-member(s) and/or friend(s) that arc [WC] govcrnment-employee(s), which iftrnc, would f\u1her help to explain how and/or

why she and her co-conspirators [JSP&KAP] were protected from prosecution by [WCLE] from the decade of conspiracy and racially-

motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses that both she (and her co-conspirators [JSP&KAP]) committed against the

plaintiff.



<[485
On or about the approximate date and approximate time of {2020-03-24 18:56}, [JSP], as he LS using a lawn-mower to mow the grass near the

border-area of the two-prope11ies, picks up a few items of debris in the side-yard of [784KLLTX7864 l] and angrily throws such debris into

the plaintiffs side-yard. [JSP] then angrily issues the obscene/vulgar gesture of his middle-finger raised directly to one-or-more of the plaintiffs

sccurity-camera(s) - once again, demonstrating the extreme malice that [JSP] (and his co-conspirators) operated with against the plaintiff over

 the period of approximately a decade (at that moment in time). A few moments later, as [JSP] continues to mow other areas of the side-yard of

 [784KLLTX78641] bordering the two-properties, [JSP] stops the lawn-mower, angrily enters deep into the plaintiffs property, picks up some

 relatively-large and/or heavy items stored by the plaintiff behind the plaintiffs outdoor-air-conditioner unit, and violently throws in an extremely

 malicious manner, those parts of the plaintiffs property over the plaintiffs 6-feet-tall privacy-fence and into the plaintiffs [BACKYARD]. The

 plaintiffs property thrown by [JSP] in such violent and malicious manner included:



 ® two-or-more very-heavy, spare, ten-gauge 8-fcet-tall steel-posts (valued at approximately $80) - which the plaintiff could-have used as
 future fence-posts - should such circumstance/need present itself.



 @one heavy step-ladder (valued at approximately $150)


 © one-or-more large cardboard-box(s) with many miscellaneous item(s) stored inside such cardboard-box(s) (with the total value of such
 item(s) difficult to estimate).


 The plaintiffs items that [JSP] lifted and hurled in such violent manner were so heavy, and [JSP] threw such heavy items over the plaintiffs

 fence with such violent force that [JSP] was actually panting, struggling to catch his breath, as such violent action required a lot of energy for
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even this approximately 240-pound man, in excess of 6-feet-tall. Although [JSP)'s violent hurling of such heavy-metal items made very-loud

impact noises, it is unclear (at least to the plaintiff) by the angle in which [JSP] violently-hurls the aforementioned very-heavy steel-posts

whether such violently-hurled steel-posts made contact with that paiticular (brick-and-mortar) side of the plaintiffs [HOUSE], but if such steel-

posts did make such contact, then there would surely be other unaccounted damage(s), at the very least, to that (brick-and-m01tar) side of the

plaintiffs [HOUSE]. Amongst the other -item(s) violent\y-hur\c:d Ill such angry manner by [JSP) were one-or-more large cardboard-box(s) with

many miscellaneous item(s) stored inside such cardboard-box(s), thus haphazardly scattering such miscellaneous item(s) into the plaintiff's

[BACKYARD] as a result of such brazen act of vandalism. [JSP] then continues lawn-mowing as ifno crime was committed, because as an

unquestioned mob-boss of the neighborhood (along with his co-conspirator [RSR]), [JSP] was never held accountable for any of his serious

prior crimes against the plaintiff, thanks to the remarkable, obstructive-and-retaliatory, blackmailing-and-defrauding racketeering~enterprisc
involving [WCLE]. This particularly brazen act of vandalism - however, just one of many such brazen acts of [JSP]'s vandalism of the plaintiff

- would prove to be crucial to the plaintiff's fabricated-evidence (racketeering-act) claim against the defendants because, while the plaintiff

would later hire hauling contractors to transport many of the other items then-temporarily stored in the plaintiffs [BACKYARD] to the

plaintiffs agricultural-private-property, the plaintiff specifically instrncted such hauling contractors to leave these particular items thrown by

[JSP] alone, as these items are part of a crime scene - one of many such crime-scene(s) - that defendant [WCLE] never investigated (despite

of the fact that the plaintiff reported the crimes - see below), thanks to defendant [WCLE)'s obstructive-and-retaliatory, blackmailing-and-

defrauding racketeering-enterprise against the plaintiff, in conspiracy with co-defendants [JSP&KAP],[RSR]. As a subsequent incident would

show (sec below), [JSP)'s wife, [KAP], while at the border of [JSP&KAP)'s backyard, would, from behind the shared privacy-fence along the

two-properties, hold up her camera-phone over such 6-feet-tall privacy-fence (in total violation of the plaintiffs rights), snap one-or-more

photograph(s) and/or vidco(s) of such items in the plaintiffs [BACKYARD] violently thrown and scattered by her husband [JSP] into the

plaintiffs [BACKYARD] in this particular incident, and then brazenly use such photograph(s)/vidco(s) (or at least conspire to do so) as part of

her Class-C-Misdemeanor-Public-Nuisance criminal complaint against the plaintiff - just one of the many brazen, coordinated and retaliatmy

acts of racketeering-activity against the plaintiff, as part of the overall conspiracy, scheme and racketeering-enterprise against the plaintiff

involving all of the defendants - see subsequent incident(s) below. The plaintiff did also notice that [JSP)'s violently-hurling of one-or-more of

the aforementioned heavy-steel-posts broke approximately the top-18-inches of at least one of the plaintiffs fence-pickets (well within the

 plaintiffs property), and also partially dislodged such fence-picket from the fence-rails, leaving such fence-picket partially dangling in the air.

 While such privacy-fence is at least 6-feet-tall, intentionally disallowing neighbors, other institutions-of-power such as the [HOA], and the

 government from surveilling on residents1 private backyards, when such fence-picket(s) are intentionally broken and/or dislodged in such
 malicious manner, such privacy is intentionally breached, allowing for future unconstitutional-and-unlawful searches/seizures by government

 (and/or agents of the government) to more easily occur. These facts are also crucial as just one small part of both the plaintiffs conspiracy and

 fabricated-evidence (racketeering-act) claims against the defendants, as [JSP] deliberately broke such top-of-fence-picket and paitially-

 dislodged such fence-picket, so that his co-conspirator malicious employees of [WCLE], especially [WCCD-HmTell] and [WCCHDS-VD] (but

 also [WCCD-F]), could then more-easily (but illegally) look into the plaintitl's [BACKYARD] in their subsequent unconstitutional-and-unlawful

 searches/seizures of such private/curtilage areas of the plaintiffs private-prope1ty. [JSP] also committed all of these malicious criminal actions
 against the plaintiff during still daylight hours, while neighbor residents from across the street, at [781 KLLTX7864 l] and [785KLLTX7864 I],

 could easily see [JSP]'s brazenly criminal acts against the plaintiff. After [JSP] is done lawn-mowing the rest of his yard, [JSP] pushes such

 lawnmower (at nighttime) back towards the side-yard and before he opens the fence-gate to put such lawnmower into his backyard, [JSP],

 once-again, angrily issues the obscene/vulgar gesture of his middle-finger raised directly to one-or-more of the plaintiffs security-camera(s).

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[JSP] then picks up numerous very-large-stones on the side-yard of his property and angrily throws such very-large-stones onto the plaintiffs

side-yard, and as he committing such criminal action(s) of illegal-dumping and criminal-mischief against the plaintiff, angrily stating threats of

burglary and felonious assault against the plaintiff, "Fuck in asshole!... [???] Boy, I'm telling you[???] pulling your ass 0111 of tlwt shithole

[???}! ... Really want to hurt you man! Youfi,ckin piece-of-shit! ... [???][???}[???} ... Ohhhh, fi1ck! ... Damn[???}![???}![???]! ...
[???} piece of shit![???} [???} "Once again, such very-laige-stones were so heavy that [JSP) was actually panting and an!?,l"ily stating

expletives, in part, due to the enormous effort that it took to lift such very-heave-stones and hurl them into the plaintiffs side-yard. After such

malicious actions, [JSP] walks behind the lawnmower in-order-to push such lawnmower into his backyard, and once-again, angrily issues the

obscene/vulgar gesture of his middle-finger raised directly to one-or-more of the plaintiffs security-camera(s). The plaintiff continues to hear

very-loud/violent noises originating from behind the fence, indicating that [JSP] could have engaged in some further act(s) of vandalism from

behind such fence. [JSP], while behind the privacy-fence in the backyard of [784KLLTX7864 I J, also peeks over such privacy-fence and

stares into one-or-more of the plaintiffs security-camera(s), as he appears to be performing some action with his other hand(s) behind such

privacy-fence. Due to such area being unlit, it is unclear to the plaintiff what [JSP] is doing during these moments of this particular incident, but

it appears to be that [JSP] is pointing a camera-phone through a small hole in the fence in-order-to snap photograph(s) and/or video(s) of the

aforementioned item(s) that he had angrily and violently dumped over the fence-posts and into the plaintiffs [BACKYARD], so that he could

then brazenly use such photograph(s) and/or video(s) of such scattered items in a malicious complaint against the plaintiff (see below).




9£486
On or about the date and approximate time of {2020-03-25 I 8:00}, [JSP &KAP] have illegally parked an SUV on the public-sidewalk in front

of their property, totally blocking access to the public-sidewalk in that pat1icular-area - just one of many [JSP&KAP]'s routine/constant

parking-violations and inconsiderate-behavior that the plaintiff has continued to notice for over IO years. (The plaintiff notices that even around

noontime of the following day, {2020-03-26}, such SUV is still illegally parked on the public-sidewalk, forcing people using such sidewalk -

including at least one elderly person in a wheelchair - to enter onto the street to avoid such SUV.) [JSP] enters into the sideyard area of

[784KLLTX7864l], opens a tap and handles a hose near the house of[784KLLTX78641]. [JSP] immediately starts to yell overtly racist and

fraudulent statements about the plaintiff and/or plaintiffs property directly into two of the plaintiffs corner security-cameras, while continuing

 to engage in just one more of the numerous acts of vandalism against the plaintiffs many security-cameras. [KAP] witnesses part of [JSP]'s

 criminal actions, and also makes some racist, abusive statements about the plaintiff and/or plaintiffs propetiy. (The final part of this abusive

 conversation appears to be [JSP] and [KAP] talking about matters unrelated to the plaintiff, although the plaintiff cannot be sure, because this

 final part is too inaudible for the plaintiff to decipher, at least without audio amplification/enhancement):
  •     REl(XKll!2) MClST ,   AWSIVZ, Tlllll!AmIDIG 1111) w.M»ILUDI. I\Nff EKM {JSP"°'1') 'l'O P!AINnn'(~) •    (2020- 03-25 18:00) !-)
  •     [ PIUVME URL LINK 'l'O BE SUllMITl'm IN DISOO\IERY ]




      « {JSP] W/\LKS FRO."! [784KLLTX78641] DRIVE~JAY TO [784KLLTX78641] SIDE- YARD TO OPEN TAP AND HANDLE A HOSE . iJ
      « [JSP] 1'HEN STARTS SHOUTING A RACIST, ABUSIVE, FRAUDULENT , THREATENING AND VANDALIZING RANT TO PLAINTIFF ' S SECURITY CAMERAS .
  il


      [JSP)                   {???] SID, YOU FUCKJNG DOUCHE-BAG! YOU CAN'T JUST DO THAT - YOU FUCKING IDIOT! ARE YOU REALLY THAT FIIICKJNG STUPID?!
                               OH. FUCK - YOU A/IE RETARDED! A/IE YOU REALLY GOING TO PUT THOSE RAGS IN YOUR FRONT PO/IC/-1 - YOU STUPID FUCK- YOU
                               CAN'T DO THAT! GOD! ... SID, YOU'RE AN ABSOLUTE /IE-TARD! ... /IEEE - TAIIDDD!!! ... l'M GOING TO SPRAY YOU/I SON-OF-A-BITCHES
                               CAMERAS! /-IOW BOUT THAT-{???} - YOU FIIICKJNG IDIOT!


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~ tJSP] USES HOSE TO SPRAY/COUSE UP TO 5 SECURITY-CAMERAS FULL OF HIGH-PRESSURE MUNICIPAL \·/ATER, AS HE HAS OONE MULTIPLE

TIMES IN PAST .      D
 0C    PLAIN'l'IFF HAS ALREADY REPORTED [JSP] ' S PRIOR VANDALISM OF SUCH CAMERAS TO [\·/CLE] ; SO, THIS AC'!' IS ALSO ANOTHER OF MANY

COUNTS OF EVIDENCE-TAt1PERING .             D
 0C    ALL 5 OF Tl!ESE SECURITY CAMERAS HAVE BEEN DAMAGED NOT ONLY BY THIS ACTION, BUT DUE TO MIINY DOZEN AC'l'S OF VANDALISM BY

[JSP) .       D
 0C     [KAP] WALKS INTO THE SCENE TO TALK TO [JSP] .              (JSP] ALERTS [!<AP] TO ITEMS STORED ON Pl.AINTIFF ' S [FRONTPORCI!] : ~



[JSP)                 LOOK AT THIS, RIGHT /-/ERE - YOU CAN SEE /-/IS GOD DAMN RAGS SETUP Bl' /-/IS FRONT PORCH!




[KAP]                 [???]




[JSP)                  /-/E'S GOT /-/IS RAGS SETUP BY /-/IS FRONT-PORCH! ... l'OU CANT DO TJ-IAT!


  0C    [MP] POINTS TO PLAINTIFF ' S SIDE-YARD WHERE PLAINTIFF EMPTIED, SPREAfJ 2 EXPIRED SO-POUND BAGS OF POULTRY-FEED, AND SAYS : D



 [KAP)                   YEAH. AND TJ-IAT STINKS LIKE HELL!




 [JSP]                   YEAH, IT SMELLS LIKE ASS! IT'S SMELLS LIKE A SHIT- WELL, ACTUALLY, AFTER I[???][???]!




 [KAP]                   {???] ... Um ...




 [JSP)                   I JUST GOT TO FILE[???] - l'M GOING TO GET THE HEALTH DEPARTMENT OUT HERE AS SOON AS POSSmLE! - I KNOW TJ-IEY

                         PROBABLY HAVE THEIR HANDS FULL RJG/-IT NOii~ BUT ... ! STILL AN ASSHOLE, HUH?! ... {???}!




  [KAP)                  [???] [???] {???/




  [JSP)                  [???} [???] {???}




  [KAP)                  [???] [???] [???]




      [JSP)              [???] Yes please. {???}. /hank you.


       rr [KAP] WALKS A\-JAY FROM [JSP] •       [JSP] CONTINUES TO USE l!OSE TO WATER PARTS OF [784f<LLTX78641] YARD.        D




<_[487
On or about the date and approximate time of {2020-03-27 18:55} (close to nighttime), the plaintiff is inside the [HOUSE], while [JSP] is
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running a loud-gasoline-powered-string-trimmer to cut front-yard grass on the property of [784KLLTX78641]. On multiple occasions, [JSP]

deliberately kicks debris from his property [784KLLTX78641] onto the plaintiffs property [788KLLTX78641]. On at least one occasion,

[JSP] aggressively and angrily holds up his middle-fmger - the well-known obscene/vulgar gesture - to one of the plah1tiffs security-cameras.

On several occasions, [JSP] steps into the plaintiffs property to cut (to a very low height) the plaintiffs "no-mow" grass - thus, causing further

irreparable damage to such "no-mow" grass (on top of one-pallet's w011h of damage to such grass already caused by [JSP)'s prior acts of

vandalism against the plaintift). Most importantly, [JSP] orighrnlly standing with a heavy-duty, gasoline-powered string-trhnmer in hand on the

front-yard of [784KLLTX7864 l] enters, without wearing a face-mask as a safety precaution against COVID-19, well-into the plaintiffs

property, even entering into plah1tiffs [DRIVEWAY] (still with such heavy-duty string-trimmer h1 hand), raises his hands (as if to initiate a

fight), thus displayh1g such threatening hand-gestures towards the plah1tiffs security-cameras and, while standing right in front of the plaintiffs

garage-door (still with such heavy-duty string-trhnmer in hand), stares for about IO seconds into the interior of the plaintiffs garage and

concealed [FRONTPORCH] - all, in total violation of the plaintiffs rights. [JSP], who is searchh1g for the plaintiff, realizing that the plah1tiff is

nowhere to be seen and probably inside [HOUSE], then turns back and walks back out of the plah1tiffs property and back h1to his property

[784KLLTX7864 l ]. This act of stalkh1g/h1thnidation/interference/assault/disorderly-conduct/criminal-trespass was only one of many dozens of

such uncharged-and-unprosecuted counts of such crhnhrnl acts committed by [JSP] agah1st the plaintiff (especially during the years {2017}

through {mid-2022} ). It is also clear from this particular unconstitutional-and-unlawful search and the multiple other unconstitutional-and-

unlawful searches of the plaintiffs property that [JSP] has committed agah1st the plahltiff over the many years, that [JSP] was fraudulently

acting "under color of law" against the plaintiff, thus also h1 violation of [l 8-USC-PI-Cl3-§242] and [18-USC-Pl-C43-§913] and/or [TPeC-

T8-C37-§37. l l] against the plaintiff.



i488
On or about the same date and approxhnate time of {2020-03-27 19:52}, the plaintiff is inside the [HOUSE], while still occasionally monitoring

the plaintiffs security-camera-system-monitor. [JSP], just as he engaged in this and other types of noise-nuisance-violation at nighttime, is
rnnning loud lawn-equipment at nighttime to perform some yard-work on the front-yard of [784KLLTX7864 l ]. [JSP] uses some type of long

broom to brush yard-clippings from the sidewalk back into the grass-area and/or onto the street. At some point in time during such activity,

 [JSP] deliberately crosses the plah1tiffs [DRIVEWAY] h1-order-to approach the plaintiffs [FRONTYARD] political yard-signs, with long-

broom h1 hand. While looking into one-or-more of the plaintiffs security-camera(s), [JSP] uses the top-handle-tip of such long-broom to

 violently strike-dh·cctly-at and/or stab such yard-sign(s). [JSP] raises his hands laterally as a form of threatening intimidation towards one-or-

 more of the plah1tiffs security-camera(s), and then repeats the action ofviolcntly strikingistabbh1g the plaintiffs yard-sign(s). [JSP] continues h1

 this pattern of violent action two-or-more tunes, or at least until one of the yard-signs is damaged/tilth1g/to111 due to such vandalism. [JSP]'s

 strikingistabbh1g actions against such yard-sign(s) were so violent that the loud noises from such striking/stabbing were fully-captured by the

 plaintiffs security-camera(s) approxhnately 30 feet (or more) away. When [JSP] realizes that such action(s) are not h1citing the plaintiff to

 respond in any way, [JSP] fmally walks back towards [784KLLTX78641] and resumes yard-work. This incident, just like many other

 incidents documented in this lawsuit, reveals that [JSP]'s animus towards the plaintiff is not based purely upon extreme-racial-animus but

 h1stead, also upon far-right-wing-extremist political-anhnus, as [JSP] is infuriated by the anti-White-Supremacist and/or democratic-socialist

 message(s) posted on the plah1tiffs yard-signs.




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'.[489
On or about the date and approximate time of {2020-03-31 15:28}, [KAP], with a camera-phone in hand, walks from the front of her house,

close to the plaintiffs side-yard area, with a malicious smile on her face - a malicious smile that the plaintiff has noticed on multiple occasions

whenever [KAP] has engaged in malicious conduct against the plaintiff(see other ineident(s) below). [KAP] walks right in front of the area

where the plaintiff emptied and spread the two aforementioned expired 50-pound bags of poultry-feed, and with that same malicious smile on

her face, uses such camera-phone to take photograph(s)/video(s) of this area, in-order-to make a fraudulent false-report to the [WCLE] that

the plaintiff had dumped human-faeces onto the plaintiffs side-yard - all the while, using this photograph(s)/video(s) as a piece of fabricated

evidence against the plaintiff - at least one of two separate occasions in which [KAP] would use fabricated evidence in a fraudulent criminal-

complan1t against the plaintiff(see below). This criminal act of false-report (and fabricated-evidence) by [JSP&KAPJ would then lead to the

most-egregious, most-invasive, most-intrusive, most-violative, most-humiliative, most-oppressive, most-abusive, unconstitutional-and-unlawful

search of the plan1tiffs entire property ([788KLLTX7864 l]) that the plaintiff would suffer from extremely malicious, abusive/oppressive

employees of the defendants [WCCHDJ,[WCCOJ on the day of {2020-04-28} from [WCCHDS-VD] and [WCCD-Harrell] - see below.

Ironically, the false-report (and fabricated-evidence) that [KAP] was filing against the plaintiff also indisputably included at least some evidence

of her husband [JSP]'s criminal and retaliatory (thus felonious) acts of illegal-dumping and vandalism against the plaintiff, as [JSP] had illegal-

dumped multiple very-large-stones on that same area where the plan1tiffhad spread the aforementioned expired poultry-feed. [KAP], with that

same malicious smile on her face, then walks away from the area, and walks back towards the front of her house, clearly indicating that
[KAP]'s sole purpose of approaching this area was in conspiracy-to and process-of committing these criminal acts against the plaintiff - which,

as future ineident(s) would demonstrate, she did actually fully follow-through upon - by submitting such false-report and fabricated-evidence to

her co-conspirators, [WCLEJ and/or the [HOA].



'.[490
On or about the same date and approximate time of {2020-03-31 18:50} (still during daylight), [KAP] appears to trimming a minor part the

now-fully-grown tree blocking more than halfofthe public-sidewalk, that [JSP&KAP] planted ve1y close to the plaintiffs property without

seeking approval from the plaintiff (since such tree also extends into the plaintiffs property) and more-likely-than-not, without seeking approval

from the [HOA]. (It should be noted that, even after [KAP J's trimming, such tree that [JSP&KAP] inappropriately planted so close to the

 public-sidewalk still blocked approximately half of the public-sidewalk.) The relatively-new owner of [78 IKLLTX7864 l ], [781KL-2019-1] - a

 White-American male from the family that had newly-moved into [781KLLTX78641] on-or-about the month of {2019-10} (less than a year

 prior to this incident) - arrives back to his property, and parks his vehicle on the opposite-curbside across the street from [KAP]. [78IKL-

 2019-1 J originally greeted and initiated a friendly conversation with [KAP], without mentioning anything about the plaintiff, but [KAP] ahnost-

 irnmediately focuses [78I KL-2019-l]'s attention onto the plaintiff with hateful, venomous speech against the plaintiff. [KAP], much like her

 co-conspirator [RSR] has done on numerous occasions (as documented in this lawsuit), uses fraudulent, racist propaganda against the plaintiff -

 includn1g but not limited to, fraudulent/misleading statement(s) about the plaintiffs private [BACKYARD] - to indoctrinate and engender more

 racial-animus against the plaintiff by complaining about the plaintiff and/or plaintiffs prope1ty to [781KL-2019-1]. At multiple points in time,

 [KAP] poh1ts [781KL-20!9-l] at and looks-in-the-direction-of the plah1tiffs [BACKYARD], shown1g that she does not care that she is

 brazenly shmdering and badmouthing the plafotiff right h1 front of the plah1tiffs numerous security-camera(s). It appeared to the plah1tiff that

 [78IKL-2019-1] felt at least slightly uncomfortable with [KAP]'s brazen, slanderous badmouthing of the plah1tiff, as [781KL-2019-1 ], who

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was originally speaking in his usual volume/tone of voice, started to significantly-reduce the volume/tone of his voice, whispering some of his

response(s) to [KAP]'s vitriol against the plaintiff, presumably because he did not want the plaintiff to overhear such defamatory (@) and

privacy-invading speech and/or because he feared that such defamatory and privacy-invading speech would be caught on the plaintiff's

numerous security-camera(s). Both [JSP&KAP] and [RSR] - had for approximately 10 years at this point in time - engaged in this relentlessly-

racist propaganda against the plaintiff, in-order-to engender more racial-animus against the plaintiff in such White neighborhood's other White-

American residents (including, but defmitely not limited to [78 1KL-2019- l]). Once again, all of these actions were-part-of, leading-up-to and

fraudulent-justification-for [JSP&KAP]'s,[RSR]'s, [WCLE]'s larger malicious strategy to engage in egregiously unconstitutional-and-unlawful

searches/seizures of the plaintiff's property - specifically, the plaintiffs curtilage areas: concealed [FRONT PORCH] and [BACKYARD] -

which in turn would then be used to justify the purely-retaliatory prosecution of the plaintiff (which did happen from {2020-10-12} through

{2021 - 11-0 l} ), with these conspirators' ultimate goal being to either, drive the plaintiff out of such White neighborhood, or better yet, cause

the plaintiff to lose the plaintifrs property through the process of foreclosure. The property owned by [78 1KL-2019- 1], [781 KLLTX78641 ],

just like [RSR]'s property [789KLLTX78641] , is across the street from the plaintiff(approximately 120 feet away). So, there was absolutely

no justifiable reason (other than the aforementioned malicious intent and predato1y strategy) for [KAP] to be complaining about the plaintiff to

[78 1KL-2019-1 ], even making [78 1KL-2019-1] uncomfortable with such racist complaint. [KAP], just like her co-conspirators [JSP],[RSR],

[WCLE], engages in this type of relentlessly-racist propaganda against the plaintiff so that she and her co-conspirators could enlist/recruit more

indoctrinated "witnesses" into their purely-retaliatory prosecution of the plaintiff (which did happen from {2020-10- 12} through {2021-11-0 I })

- which, as the plaintiff asserts in this lawsuit, is one of the more subtle forms of witness-tampering that all of these defendants engaged in

against the plaintiff(for almost a decade at this point in time). [KAP) eventually ends her conversation amicably with [78 1KL-201 9- l], walking

away from [78 JKL-2019- 1], acting in such friendly, yet manipulative, manner to her White-American neighbors, while treating the plaintiff, an

immigrant-of-color/ indigenous-person, with such extremely-racist contempt - again, as if the plaintiff was a sub-human, low-IQ animal, not

worthy of any rights, let-alone the right to private-property-ownership within such White neighborhood. Most importantly, at no point in time

would [KAP] reveal to [78 lKL-20 I 9-1] all of the malicious hate-crimes/civil-rights-violations/racketeering-acts/abuses that both [JSP&KAP]

(or, for that matter, her co-conspirators [RSR], [WCLE]) had perpetrated-against the plaintiff during their conspiracy and racketeering-

enterprise against the plaintiff, lasting approximately 9 years (at this particular moment in tin1e). This casual conversation once-again reveals a

co1mnon theme expressed in this lawsuit, about the ongoing hazards for a person-of-color living his/her natural lifestyle within a White-

 neighborhood - that such person-of-color could easily be predatorily targeted with the most vicious forms of racial-oppression and/or

 racketeering-activity by even less than a handful of far-right-wing-extremist and/or White-supremacist neighboring residents, wh ile at the same

 time, at least some significant fraction of the rest of such White neighborhood - whether knowingly or unknowingly - prov ides at least tacit, if

 not ove11, support of such criminally-abusive and predato1y actions.



 1491
 On or about the date and approximate tin1e of {2020-03-31 21:00}, the plaintiff is inside the [HOUSE]. [JSP] uses a hand-held scooping-tool

 to scoop-up large amounts of debris/clippings from yard-work, walks well into the plaintiff's property, and deliberately dumps such

 debris/clippings onto the plaintiffs [YARD] - in essence, committing the hate-crimes of both criminal-mischief and illegal-dumping against the

 plaintiff.




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1492
On or about the date and approximate time of {2020-04-02 17:37}, the plaintiff is inside the [HOUSE]. The plaintiff notices that a [WCSD]

police-vehicle driving up the street, pauses in front of the plaintiffs property, reverses, as it appears, so that such police-officer could spend
approximately 10 seconds reading the plaintiffs political-yard-signs and/or inspecting other aspect(s) of the plaintiffs prope1ty, and then

continues driving up the street.



1493
On or about the approximate date and approximate time of {2020-04-13}, the plaintiff is inside the [HOUSE], while [JSP] is running a loud-

gasoline-powered-yard-equipment to cut the grass of [784KLLTX7864 l ]. As [JSP] approaches near the border-area of the two-properties,

[JSP] takes out his camera-phone to take photograph and/or video of item(s) stored on the plaintiffs [DRIVEWAY]. While running the lawn-

mower on the side-yard area of [784KLLTX7864 l ], [JSP] menacingly/angrily yells words and uses threatening hand-gestures in-order-to

threaten the plaintiff via one-or-more of the plaintiffs security-cameras. [JSP] runs his lawn-mower over the plah1tiffs property to cut (to a

ve1y low height) parts of the plaintiffs 11no-mow 11 grass, thus, causing further irreparable damage to such now-mow grass. Approximately an

hour later, [JSP] would angrily throw and dump huge stones - one of which probably weighs more than 50 pounds - (and other debris) onto the

plaintiffs side-yard - just as he had done on at least one occasion during the previous month (see previous incident above). [JSP] even looks

dh-ectly into one of the plah1tiffs security cameras, and angrily spits into the plaintiffs side-yard, right h1 front of the plaintiffs security-cameras

- once again, demonstrating [JSP]'s extreme-racial-anh-nus against the plaintiff. [JSP] crosses the newly-installed h111dscape-edgh1g divider

demarking the front-yard boundaries between the two-properties, in-order-to unlawfully mow at least one strip of the plah1tiffs

[FRONTYARD] "no-mow" grass - an unlawful activity that [JSP] has repeatedly done (over many years) even after the plaintiff fmished-

installing such "no-mow" grass along with landscape-edging divider on/about the previous month of {2017-10}. On one-or-more occasions
durh1g this incident, [JSP] issues the obscene/vulgar gesture of his middle-finger raised to one-or-more of the plaintiffs security-camera(s).

These huge stones still exist to this {PRESENT-DAY} on the plaintiffs side-yard. The plah1tiff knows to never alter a crime-scene in any way,

but since [WCLE] has been, for over a decade, vc1y adamant about protecting both [JSP&KAP],[RSR] from prosecution for the many dozens

of hate-crhnes/civil-rights-violations/racketeerh1g-acts/abuses that [JSP &KAP],[RSR] had committed agah1st the plaintiff, as part of their

conspiracy and racketeering-enterprise against the plaintiff, the evidence of most of these crimes (including broken/damaged security-cameras,

 damaged newly-installed "no-mow" grass and even such large objects illegal-dumped onto the plaintiffs prope11y) remains largely unchanged

 even to the {PRESENT-DAY}.



 1494
 On or about the approxhnate date and approximate th-ne of {2020-04-15 14:15}, [RSR] approaches one of the relatively-new residents of

 [785KLLTX78641], [785KL-2018-I], at least in part, in-order-to manipulatively badmouth the plah1tiff. [785KL-2018-l] does not seem to be

 too receptive to [RSR]'s manipulative badmouthing of the plaintiff. [RSR] walks past [785KL-2018-l], as ifdisgrnntled that [785KL-2018-l],

 unlike the previous resident of[785KLLTX78641], [DMP], did not share in [RSR]'s extreme-anh-nus agah1st the plah1tiff.



 1495
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On or about the approximate date and approximate time of {2020-04-18 14:00}, the plaintiff walks into the plaintiffs garage in-order-to grab

hardware-screws for constructing shelves in the [BACKYARD]. [JSP) - who had earlier on that same day,® illegally peaked into the

plaintiffs [BACKYARD] through a small hole in the plaintiffs fence (which, as the record will show, [JSP) has done on numerous other

occasions in total violation of the plaintiffs rights), @repeatedly approached the border between the two-properties in-order-to stare

angri\y/menacing\y into the plaintiffs security cameras (even muttering angry words directed at such security-cameras) and stare (for mu\tip\e

minutes) into the plaulliffs open-[GARAGE)/[DRIVEWAY)/[FRONTPORCH)-arcas as ifto look (or lie-in-wait) for the plaintiff, and also©

used his spray-hose to angrily spray municipal water onto the plaintiffs security-cameras, the plaintiffs vehicle and/or other items stored on the

plaintiffs [DRIVEWAY] (all in-order-to entice the plaintiff to come outside of the [HOUSE)) - now sees the plaintiff in the front of the

plaintiffs [GARAGE], aggressively/angrily approaches the plaintiff from his pickup-truck located in the driveway of[784KLLTX78641) and

uses this opportunity to engage in another count of felony stalking against the plaintiff, starting yet another racist, abusive, threatening,
fraudulent, and gaslighting rant against the plaintiff. The plaintiff rightfully remains silent, yet traumatized, throughout the enth-e encounter (see

excerpt below). It is important to note that, on one-or-more occasions during this day, [KAP) from within her backyard (of

[7841<.LLTX7864 l )), approaches the shared 6-feet-tall opaque privacy-fence separating the two-properties, and holds up her camera-phone

above such privacy-fence and - in total violation of the plaintiffs rights - snaps photograph(s) and/or video(s) of private-areas of the plaintiffs

propc1ty - namely the plaintiffs private [BACKYARD]. The plaintiff asserts that [KAP) would illegally submit such photograph(s) and/or

video(s) - agau1, in total violation of the plaintiffs rights - to the [HOA] and/or [WCLEJ - resulting h1 multiple further, egregiously

Unconstitutional-And-Unlawful searches/seizures of the plaintiff from government defendants [WCCOJ and [WCCHDJ, in the same year of

 {2020} - even resulth1g in the purely-retaliatory Class-C-Misdcmcanor-Public-Nuisancc charge and prosecution against the plah1tiff. In doing

 so, [KAP] has, "under color of law", executed a clearly Unconstitutional-And-Unlawful search/seizure of private-areas of the plaintiffs private-

 property - a violation of: [18-USC-PI-Cl3-§242) and [18-USC-PI-C43-§913] and/or [TPeC-T8-C37-§37. l I]. It is also clear that all of

 [KAP)'s crimes against the plaintiff after the month of {2019-1 O} were committed purely in retaliation for the plaintiffs repmting (to [WCLE))

 of racially-motivated hate-crimes/civil-rights-violations/racketcerh1g-acts/abuses committed by her husband [JSP] against the plaintiff, thus

 making any-and-all of such crimes felonious under Texas law and racketeering-acts under federal law. It is also clear that [JSP] was engagh1g in

 these brazen tactics of intunidation/h1terference and harassment/stalking against the plaintiff in the front/side of the plau1tiffs property in-ordcr-

 to distract attention from the plaintiff away from his wife [KAPTs more sinister crime of illegal search/seizure of the plaintiffs private

 [BACKYARD]. After [JSPJ steps into the plaintiffs property h1-ordcr-to peck through a ve,y-small hole in the plaintiffs 6-fcct-tall opaque

 privacy-fence, [JSP] angrily shouts into one-or-more of the plaintiffs sccurity-camcra(s), "ARE YOU KIDDING ME. MAN! STUPID IDIOT!

 STUPID[???} [???]!"In doh1g so, [JSP] has, "under color ~flaw", executed a clearly Unconstitutional-And-Unlawful search/seizure of

 private-areas of the plahlliffs private-property- a violation of: [18-USC-PJ-CI3-§242) and [18-USC-PI-C43-§913) and/or [TPeC-T8-C37-

 §37.l l]. After repeatedly and/or periodically conducting illegal surveillance "under color of law" over the plaintiffs private-property (h1cluding

 private-areas of the plaintiffs property such as the [BACKYARD],[GARAGE] and concealed [FRONTPORCH)), [JSP] realizes that he is

 h1itially not able to fmd the plaintiff anywhere at those locations. [JSP] thus decides to open a tap and start watering his yard, thus lying-in-wait

 for the plau1tiffto eventually appear at the front of the [HOUSE). As [JSP] is watering his yard with such hose, [JSP) angrily shouts, ''JESUS!

 IT STINKS OVER THERE! FREAK! ... SID, YOU ARE A FUCKING WORTHLESS PIECE OF DOGSHIT! YOU STINK LIKE ASS! STUPID

 [???]!",and as he does this, on numerous occasions, (three-or-more-times) sprays/douses three-or-more of the plaintiffs security-camera(s)

 along with the plah1tiffs vehicle and/or other items temporarily stored in the plaintiffs [DRIVEWAY) with full-pressure municipal water from

 such hose. Realizing that such crhnhrnl-activity is not successfully incilulg the plah1tiffto confront [JSP), [JSP] stops ush1g the hose on this side


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of his yard, and resumes other work in his driveway, while predominantly still lying-in-wait for the plaintiff to emerge from the front of

[FRONT DOOR]. It is also important to note that while [JSP] so-clearly, feloniously stalked the plaintiff during such incident, and [KAP] so-

clearly violated the plaintiffs right to privacy during this incident, for substantial period(s) of time during this day, large plumes of smoke where

emanating from the property directly behind [JSP&KAP]'s property, [521 LSLTX7864 l ], which shares a large border with [JSP &KAP]'s

property, [784KLLTX7864 lJ - and the plaintiff asserts that [JSP &KAP] never harassed/stalked such White-American neighbors ove\· such

large and menacing plumes of smoke - or for that matter, for any other issue - by virtue of those neighbors' White-American racial-profile.
 •        IU1IXRll!D JW:lST, AIIOSIYE, 'l1lREM'EIIIIG, FIW.DJIDIT AM> =.IGHl'Dll RANT FIUI [JSPJ TO PLAINTIFF(~) •      (2020- 04- 18 14 : 00) (- )

 •        [ PRIVATE URL LINK TO Ill!! SUllKITD!D IN DISCXN!Rr J




     rr [JSP] IS INITIJ-\LLY INSIDE HIS PICKUP- TRUCK BLARING LOUD- TALK-RADIO OR LOUD-MUSIC LOCATED IN DRIVEWAY OF [784KLLTX78641 ] . D
     rr PLAINTI FF OPENS [FRONTDOOR], WALl<S INTO [GARAGE] TO GRAB SOI-IE HARJ:Y1l11RE-SCREWS NEEDED FOR CONSTRUCTING SHELVES . D
     [    [JSP], STALKING AND LYING-IN-1·/AIT- FOR PLAINTIFF, \'/ALl<S AGGRESSIVELY/ANGRILY FROM [784KLLTX78641 ) DRIVEWAY 'l'O BORDER TO

 CONFRONT PLAINTIFF :              »

     [ JSP)                  jacka<1·!


     [     [ JSP), AFTER APPROACHING BORDER OF Tl·/0-PROPERTIES, STAR'l'S SHOUTING RACIST, ABUSIVE, THREATENING, FRAUDULENT & GASLIGHTING

     RANT 'l'O PLAINTIFF . ~



     [JSP]                   /-IEY DOUCHE! IV/-IEN ARE YOU GOING TO CLEAN UP Tl-IE S/-1/T ON Tl-IE SIDE OF T/-IE HOUSE. OVER HERE! ... HUH?! ... YOU THINK YOU
                             CAN JUST PULL All T/-1/S Sf-I/TOUT AND LEAVE /TOUT, JUST FOREVE/1?! YOU(???]! ... DO YOU GIVE A SHIT ABOUT ANYBODY EXCEPT

                              YOURSELF TJ-JERE, SID?!! ... I MEAN, AND YOU COULD'VE-


      ~ AFTER GRABBING SUFFICIENT NUMBER OF' l!AR[MARE- SCREl'IS, PLAINTIFF WALKS BACK TO\·/ARDS [FRONTIXlOR] OF [HOUSE] . D
      ~ [JSP J REALI ZING THAT PLAINTIFF IS Wi\LKING BACK INTO [HOUSE] ,                            LOUDLY YELLS I\NOTHER FRAUDULENT, RACIST STATEMENT TO

     PLAINTIFF : D



     [JSP)                   -AND l'OU'RE DUMPING S/-1/T ON T/-IE SIDE OF MY HOUSE TOO- OVE/1 /-/ERE! WHAT TJ-JE /-/Ell JS TJ-JAT ABOUT! YOU DISGUSTING

                              FUCK!


         [ AS PLAINTIFF' I S ENTERING [HOUSE] ,             [JSP) ANGRILY WALKS AWAY FROM PLAINTI FF B7\CK TO [ 784KLLTX78641) DRIVEWAY .               D
         [ PLAINTI F F ENTERS BACK I NTO THE (HOUSE ) , TRJ\UMATIZED BY TllE 1NCIDENT .                             D
         rr [JSP) THREATENS PLAINTIFF THAT PLAINTlFr IS viISE 'l'O WALK ill\CK INTO [HOUSE] TO AVOID IJSP] ' S VIOLENCE : D


     [ JSP]                   YOU BEITER TAKE OFF! PUNK-ASS[???)(???]!


         « [,JSP) ANGRILY WALKS BACK TOWARDS HIS DRIVEWAY AFTER PLAINTIFF ENTERS BACK INTO (HOUSE) D
         « [JSP) ENTERS BACK INTO HIS PICKUP-TRUCK, ONCE-AGAlN, BLARING LOUD-MUSIC FROM SUCH PICKUP-TRUCK . D
         Ir Pl.J\INTIFF NOTICES Tl!A'l' SUCH LOUD- MUSIC FORM [JSP) ' S PICKUP- TRUCK CONTINUES 'l'O BLARE FOR OVER 10 MINUTES ,                      IN TOTAL- D

         & - VIOLATION OF THE RESTRIC'J'IVE- COVENAN'l'S OF THE SUBDIVISION 'I'lll\T DISALW1l SUCH NOISE-NUISANCE . D




 1496
 On or about the approximate date and approximate time of {2020-04- 19 14:22} , [RSR]'s unleashed large-dog, [L], runs across the street

 towards the plaintiffs [FRONTY ARD], and starts sniffmg around the plaintiffs [FRONTYARD] "no-mow" grass - just one of many occasions

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when (RSR] has, in clear violation of the neighborhood's restrictive-covenants, allowed her unleashed large-dog to cross the street and enter
into and/or near the plaintiffs [FRONTYARD], despite of the fact that there is also a [CTW] issued to [RSR] forbidding (RSR] from stepping

onto the plaintiffs property (see above), should [RSR] need to retrieve such dog from the plaintiffs property.



~497


~498
On or about the date and approximate time of {2020-04-21 12:30} (noontime), the plaintiff notices on the plaintiff security-camera-system-

monitor that a young White-American teenager riding his bicycle, rides such bicycle all the way through the plaintiffs [DRIVEWAY], stopping

at the plaintiffs [GARAGE], and appears to look inside such open (but unlit) [GARAGE] area, before riding such bicycle back out of the

plaintiffs property. On or about the date and approximate time of {2020-04-27 08:12} (morning daylight time), the plainti!Tnotices on the

plaintiff security-camera-system-monitor that the same young White-American teenager riding his bicycle, rides such bicycle all the way

through the plaintiffs [DRIVEWAY], stopping at the plaintiffs [GARAGE], and appears to look inside such open (but unlit) [GARAGE] area,

before riding such bicycle back out of the plaintiffs property. On or about the following date and approximate time of {2020-04-28 07:50)

(morning daylight time), the plaintiff notices on the plaintiff security-camera-system-monitor that the same young White-American teenager
riding his bicycle, rides such bicycle all the way through the plaintiffs [DRIVEWAY], stopping at the plaintiffs [GARAGE], and appears to

look inside such open (but unlit) [GARAGE] area, before riding such bicycle back out of the plaintiffs property. It is still unclear to the plaintiff

whether any of the named co-conspirators in this lawsuit, or any of the other unnamed and/or yet-to-be-known co-conspirators and/or cronies
alluded to in this lawsuit, somehow instructed such underage pe,~on to conduct such surveillance on the plaintiffs property, leading up to

[WCLEJ1s most-egregious, most-invasive, most-intrusive, most-violative, most-humiliative, most-oppressive, most-abusive, unconstitutional-

and-unlawful search of the plaintiffs entire property ([788KLLTX78641]) on the afternoon of {2020-04-28}.



']{499
On or about the approximate date and approximate time of {2020-04-25 08:15), the plaintiff notices on the plaintiffs security-camcra-system-

monitor, what appeared to be a newly-elected [HOA-BoD], [SPOA-MaL-KR], walk up the sidewalk in front of the plaintiffs prope1ty. As

[SPOA-MaL-KR] is directly in front of the plaintiffs [HOUSE], [SPOA-MaL-KR] briefly-pauses and tries to peer-into the plaintiffs

private/coneealed/cm1ilage [FRONTPORCH] area. [SPOA-MaL-KR] then continues to walk up the sidewalk and as [SPOA-MaL-KR] passes

the plaintiffs property on such sidewalk, [SPOA-MaL-KR] uses what appears to be a camera-phone to take one-or-more photographs/videos

of the plaintiff's side-yard area, where the plaintiff had temporarily stored certain items behind the plaintiffs outdoor-air-conditioner-unit.

Approximately a minute or so later, the plaintiff notices [SPOA-MaL-KR] walk back in the opposite-direction on the opposite-sidewalk -

clearly u1dicating to the plau1tiff that the sole reason of [SPOA-MaL-KR]'s trip across the plaintiffs private-prope11y was to photograph/video

areas of the plaintiffs private-property, and thus, not to inspect any other properties. The plaintiff is shocked, and deeply-wounded, that such

newly-elected powerful member of such a powerful institution-of-power - the [HOA] - can continue such long-term pattern of predatory

conspiracy against the plaintiff along with those malicious persons that they know to be racketeers in a racketeering-enterprise against the

plaintiff - specifically [JSP&KAP],[RSR]. On the other hand, the plaintiff had just recently, but inadvertently, played such a crucial role, during

the previous 9 months, in overthrowing all-but-one member of the (HOA-BoD]s, and even the properly-management-company community-
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manager. So, at least to that limited extent, it does-not and would-not surprise the plaintiff even in the least bit that the [HOA] - and especially
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its property-management-company (which did not change) - wanted to exert revenge upon the plaintiff, for the plaintiffs "audacity to have

acted in such muckraking manner - even if inadvertently - against the [HOA].




On or about the approximate date and approximate time of {2020-04-27 14:24}, the plaintiff is inside the [HOUSE], while [JSP] is using a

hose to water the front-yard and side-yard grass of [784KLLTX78641]. The plaintiff notices on the plaintiffs security-camera-system-monitor

that when [JSP] enters into a certain area of the side-yard, [JSP] picks up some object from his side-yard, turns around and throws it towards

the side of the plaintiffs [HOUSE]. Other than this relatively minor infraction, however, it is clear from the plaintiffs evidence that there is a

noticeable lack of (at least observed) criminal activity committed by [JSP] against the plaintiff from the days after {2020-04-18}, leading up to

the afternoon of {2020-04-28} - the time of [WCLE]'s most-egregious, most-invasive, most-intrnsive, most-violative, most-humiliativc, most-

oppressivc, most-abusive, unconstitutional-and-unlawful search of the plaintiffs entire property ([788KLLTX7864 I]). During these 10 days,

the plaintiff notices that [JSP] is unusually controlled and/or tempers his extreme-racial-animus against the plaintiff, since during such period of

time, both [JSP&KAP],(RSR] have determined that the best way to evict the plaintiff from what tl1ey always considered to be "theil'"

(exclusive-and-pure) White neighborhood is by using their favorite institutions-of-power, namely: [WCLE] and the [HOA]. [JSP&KAP],[RSR]

and [WCLE] had akeady fonnulated a plan and course-of-action as to how to go about evicting the plaintiff, without egregiously running afoul

of the anti-discrimination laws (the [FHA],[TFHA]) and other anti-racketeering-activity laws (the [RlaCOA]). It is clear to the plaintiff that one

of the following is true about these IO days leading up to the afternoon of {2020-04-28}:



® [JSP&KAP],[RSR] were instructed by [WCLE] (and/or the [HOA]) to be on their best behavior, as all of these pm1ies wanted to evict the
 plaintiff from "their" (exclusive-and-pure) White neighborhood, 11by the book", and not leave any room for misinterpretation as tunning afoul of

 the aforementioned federal/state laws.


 @ [JSP&KAP],[RSR] realizing that they must be intelligent, patient and surgically-precise in the way they go about evicting the plaintiff from
 "their" (exclusive-and-pure) White neighborhood, and in such realization, acted out of their own volition or better-judgment, to control and/or
 temper their extreme-racial-animus against the plaintiff, at the very least, durh1g these 10 days of lead-up to the afternoon of {2020-04-28}.



 Both of the aforementioned possibilities, while seeming to be an othe1wise intelligent course-of-action, fails to take into account the fact that the

 plah1tiff had already amassed, even prior to the date of {2020-04-28}, a mountain of h1crimh1ath1g evidence against all of the prhnary-

 defendants involved in this case.



 1501
 Durh1g the months of {2020-04} the plaintiff was placing all items that the plah1tiff needed to transport to the plah1tift's agricultural-private-

 property in the plaintiffs [BACKYARD]. Therefore, several areas of the plaintiffs [BACKYARD] were filled with such materials - most of

 which were stored h1 large-bag; that the plah1tiff needed the help of a haulh1g-trailer to transport to the plah1tiffs agricultural-private-property.

 The plaintiff was beginning to construct shelves h1 the [BACKYARD] in-order-to store some other items, above ground-level, that were not

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intended for the plaintiffs agricultural-private-property - as [WCCHDTL-SG] had advised the plaintiff in a previous phonecall dating back to

{2013}. On or about the date and approximate time of {2020-04-28 14:10}, while all four of the private-citizens named as litigants in this

lawsuit - the plaintiff, [JSP&KAP],[RSR] - arc within their respective homes, the plaintiff notices a (WCCHD] pickup-truck drive up the street,

pausing in front of the plaintiffs property, before continuing to drive up the street. Approximately a minute or so later, the same [WCCHD]

pickup-truck would drive down the street, parking at the opposite-curbside (in front of (781 KLLTX786411) across the street and diagonal from

the plaintiffs property. The plaintiff asse11s that whenever employee(s)/officer(s)/official(s) of [WC], specifically [WCLE], have parked across

the street from the plah1tiff (and diagonal from the plaintiffs prope1fy), it is ahnost always because such employee(s)/official(s)/official(s) want

to maliciously-predatorily-and-secretly conspire/collude/strategize against the plah1tiff, as far away as practically possible h1-order-to evade

being captured/recorded on the plaintiffs numerous security-cameras. Shortly after such [WCCHD] pickup-truck is parked at such location,

the plaintiff notices a person who, only at the end of this incident (sec below), identifies hhnselfas [WCCHDS-VD] exit such [WCCHD]

pickup-truck. [WCCHDS-VD] then opens the passenger-side-door of his pickup-truck and conduct some preliminary surveillance of the

plah1tiffs private-property from behh1d such passenger-side-door. Sh011ly after this preliminaiy surveillance, the plaintiff notices [WCCHDS-

VD] walk back towards the drivers-side-door and stands behind his pickup-h11ck, not only since such pickup-truck blocks the view of

[WCCHDS-VD], but also as the plaintiff would very-shortly find out - so that he could speak to another extremely-malicious

employee(s)/officer(s)/official(s) of the [WCLE], [WCCD-Hanell] - who had ah'eady made multiple malicious and/or threatening statements to

the plah1tiff (see above) - in a more secretive manner, thus maliciously-predatorily-and-secretly conspirh1glcolludinglstrategizing and fully-

planning then· predato,y, unconstitutional-and-unlawful course-of-action(s) to be undertaken in-short-order against the plaintiff. The plah1tiff

notices a [WCCO] police-vehicle park as far away as practically possible- in front of(RSR]'s property, [789KLLTX78641]. The plaintiff

notices what clearly appeared to be [WCCD-Hanell] exit such vehicle and walk with what appeared to be a clipboard towards [WCCHDS-VD]

(located behh1d the [WCCHD] pickup-truck), again, so that both of such [WCLE] employees/officers/officials could maliciously-predatorily-

and-secretly conspire/collude/strategize and fully-plan their predatory, unconstitutional-and-unlawful course-of-action(s) to be undertaken h1-

sh011-order against the plah1tiff. The plaintiff then notices (RSR]'s now-adult son (BR], followed by [RSR] - the "kingpin" of the obstructive-

and-retaliatory, blackmailing-and-defrauding racketeering-enterprise named as a co-defendant in this lawsuit - both emerge out of the house of

[789KLLTX7864 l] with complete euphoric joy at the absolutely-vicious and predatory actions that [WCLE] would soon be performing agah1st

the plaintiff (upon then· predatmy demands). Both [BR] and [RSR] walk towards such [WCLE] employees/officers/officials, to exert theh'

predatory demands as to what needed to be done the plaintiff, once-again, for the plaintiffs "audacity" to document and record all of the

racial-oppression and racketeering-activity that the plah1tiff had ah'eady suffered from the defendants up to such moment in time. As [BR] and

[RSR] approach [WCCHDS-VD] and [WCCD-Harrell], [WCCHDS-VD] and/or [WCCD-Harrell] instruct them to stay back, as the plaintiff

has numerous security-camera(s), and such security-camera(s) must only capture as little as possible about such modern-day-Jim-Crow

(racially-motivated) racketcering-ente1vrise agah1st the plaintiff hwolving all of the defendants. [BR] euphorically gestures with his hand,

assuring [WCCD-Harrell] and [WCCD-Harrell] that he has completely understands that all such acts of racial-oppression and/or racketeering-

activity have to be done "by the book" as the whole world could eventually be watching any event of racial-oppression and/or rackcteering-

activity, with just a few clicks of the mouse-button, or just a few strokes/swipes on the modern smart-phone (as was the case with the brntal

murder of Mr. George Floyd). [BR] starts walking back towards (RSR]'s house while [RSR] was more disappohlled, ahnost insisting to speak

with [WCCD-Harrell],[WCCHDS-VD], as she clearly wanted to be actively participating h1 (WCLE]'s racial-oppression and racketeering-act(s)

ab'llinst the plahlliff. [RSR] reluctantly stai1s walkh1g back only to realize that [785KL-2018-l] is outside her house. Both [RSR] and [BR] then

approach [785KL-20l8-1] h1-order-to, once again, attempt to manipulatively h1doctrinate [785KL-2018-1] with their usual racist-propaganda


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against the plaintiff - that the plaintiff needed to be dragged out of the plaintiffs [HOUSE] and evicted from what all of the defendants

considered to be "their" (exclusive-and-pure) White neighborhood. It was not good enough for [RSR] and [JSP&KAP] to commit overt-

actions of racial-oppression and racketeering-activity against the plaintiff by themselves; instead, they needed to recruit and seek the support
and justification of as many other White-American residents of the neighborhood as possible to inflict maximum hann onto the plaintiff via a

modem-day-Jirn-Crnw public-oppression of the plaintiff. After that relatively short, but failed, attempt to recruit l78SKL-20 \ 8-11 into their

racist racketeering-enterprise against the plaintiff, [785KL-2018-l] appears to head back into her house, whereas, [RSR], and her now-adult

son, [BR] walked back towards their house, entering back h1to such house, slightly disappoh1ted that they had failed to recruit [785KL-20 I 8-1]

into their racist racketeering-enterprise against the plaintiff, and disappointed that they could not more-actively pmiicipatc in such modem-day-

Jirn-Crow public-oppression of the plaintiff. Once agah1, sh1ce [RSR) lived diagonally and across-the-street from the plahlliff, with the two

houses separated by approximately 110 feet ofopen-space, [RSR] had absolutely no legal claim to any goings-on within the confines of the

plah1tiffs private-property. However, such fact is irrelevant to [RSR], as [RSR] was simply laser-focused on getting the plaintiff, an hnmigrant-

of-color/indigenous-person, evicted from what she considered to be her (exclusive-and-pure) White neighborhood. All of the evidence of these

pre-incident interactions should have been captured by [WCCD-Harrell]'s body-worn-camera recording(s), unless [WCCD-Harrell] deliberately

did not turn on such recorder or turned-off such body-worn-camera as yet another deliberate act of Obstruction-of-Justice against the plaintiff.

Based on all of the evidence of the plaintiffs non-stop security-camera-system, it appeared that [JSP] was clearly within his house at this

moment in time, whereas [KAP] - the ''.vecond-in-command" of such racketeering-enterprise named as a co-defendant in this lawsuit - was

somewhere in her backyard with camera-phone in hand, lying-in-wait, in-order-to to unconstitutionally-and-unlawfully fully-record the

sequence of events that unfolded between the plaintiff and [WCLE] during this incident. As part of the defendants thoughtful and deliberate

malicious-predatory-and-secret conspiracy/strategy/plan against the plaintiff, it was absolutely crucial for [JSP] - the "chief-e,?forcer" racketeer

named as a co-defendant h1 this lawsuit - to not make himself visible at any point durh1g this incident, as [JSP] had ah-eady committed

numerous, overt, racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff, and once-again, [WCLE]
must execute such action(s) (in conspiracy with [JSP&KAP],[RSR]) of racial-oppression and racketeering-activity against the plaintiff, "by the

book" (or without any room for enor) - without too-much/overt involvement of the other racketeers named as co-defendants in this lawsuit -

especially since the plaintiff has numerous security-cameras watching and recording After spending approximately 5 minutes behind such
[WCCHD] pickup-truck, maliciously-predatorily-and-secretly conspirh1g'colluding'strategizing and sufficiently-planning their predatmy course-

of-actions agah1st the plah1tiff, [WCCHDS-VD] and [WCCD-Harrell] then begin to thuggishly walk toward the plaintiffs [FRONTDOOR].

[WCCHDS-VD] wears a face-mask after he enters into [DRIVEWAY], while [WCCD-Harrell] enters the plah1tiffs property without any such

COVID-19 safety measures - at a tune when COVJD-19 infections were ramph1g-up throughout the United States. [WCCHDS-VD) rings the

[FRONTDOOR]-bell, while [WCCD-Harrell] thuggishly begins a clearly Unconstitutional-And-Unlawful search/seizure ofprivate/cmtilage

areas of the plaintiffs private-property - using a government camera/camcorder to illegally take multiple photographs/videos of the h1terior of

the plaintiffs [GARAGE], and the plaintiff concealed [FRONTPORCH] (concealed by a combination of the plaintiffs trees, and the plaintiffs

vehicle parked in the [DRIVEWAY])- both ruled by the [SCOTUS) as a privatc/curtilage with the same fourth-amendment (and fifth-

amendment-privacy) protections as the interior of the [HOUSE]. After ringh1g the [FRONTDOOR]-bell two-or-three tunes, with each ring

spaced approximately a minute or so between each other, [WCCHDS-VD] then thuggishly decides to execute an Unconstitutional-And-

Unlawful search of his own, entcrh1g deep h1side the plah1tiffs private/curtilagc concealed [FRONTPORCH] and looking directly at one-or-

more item(s) stored on the plaintiffs [FRONTPORCH] shelves. [WCCD-Harrell] follows behind [WCCHDS-VD] with government

camera/camcorder h1 hand, as [WCCHDS-VD] continues his unconstitutional-and-unlawful search of multiple items stored on the plah1tiff s


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concealed [FRONTPORCH]. [WCCD-Harrell] then thuggishly holds up such government camera/camcorder up-above to unconstitutionally-

and-unlawfully take more up-close photographs/videos of the items (?-feet-above-ground) stored on the top-shelf of the plaintiffs

[FRONTPORCH] shelves - once-again, privatc/curtilage that is not only not be visible from the public street, but also not even visible without

some type of stepping-tool (stool, step-ladder, etc.). As part of the plaintiffs fraud (racketeering-act) claim against the defendants, the plaintiff

must demonstrate all of the fraudulent actions undertaken not just by the private-citizen racketeer defendants - (JSP&KAP1,(RSR1 - hut also

the agencies of [WCLE], specifically the [WCCHD] and the [WCCO]. The plaintiff has an audio-recording of [WCCHDTL-SG] (from the

year {2013) - see above) clearly stating to the plaintift: words-to-the-effect that any items stored on shelves (located above ground-level)

cannot possibly be considered to be part of any public-nuisance aUegation, due to the impossibility of any harborage for rodents/vermin/disease-

canying-pests above ground-level; yet, in this incident, [WCCD-Hanell] is maliciously and unlawfully (unconstitutionally-and-unlawfully)

taking photographs/videos of items stored (within in a private/cmtilage location) on the topmost shelf of such shelves as part of a public-

nuisance complaint lodged by racketeer co-defendants [JSP&KAP],[RSR]. [WCCHDS-VD] then thuggishly enters the plaintiffs side-yard

(fence-gate-side), pauses, and looks at the plaintiffs fence-gate for approximately 5 seconds. In particular, (WCCHDS-VD] is analyzing how

he can execute a (unconstitutional-and-unlawful) search/seizure of the plaintift's (BACKYARD] with such (locked) fence-gate in the way.

[WCCHDS-VD] decides to thuggishly move deeper into the plaintiffs side-yard (private/curtilage) and stalt looking into the tiny crevices in the

plaintiffs fence-gate, in-order-to at least witness the contents of the plaintiffs private [BACKYARD]. [WCCHDS-VD] holds up his camera-

phone in-order-to capture photographs/videos of the interior of the plaintiffs private/concealed/curtilage [BACKYARD] through a ve1y-small-

hole in the plaintiffs 6-feet-tall-privacy-fencc - the same type of very-small-hole that exists in ahnost all such wood-picket-fencing. [WCCHDS-

VD] even holds down his camera-phone and uses one of his eyes to peek through such very-small-hole in the plaintiffs 6-feet-tall-privacy-

fence to see into the plaintiffs private/concealed/curtilage [BACKYARD]. [WCCHDS-VD] even drops his clipboard onto the grass, so that he

can use both hands to carefully position his camera-phone to take more accurate photographs/videos of the plaintiffs

private/concealcd/curtilagc [BACKYARD]. [WCCD-Harrell] thuggishly follows behind [WCCHDS-VD] and positions the aforementioned

government camera/camcorder or a government-issued body-worn-camera over another ve1y-small-hole within the plaintiffs 6-fcet-tall-

privacy-fence hi-order-to capture photographs/videos of the plah1tifrs private/concealed/curtilage [BACKYARD]. As the plaintiff has continued

to document h1 this lawsuit (dating back to the year {2013} ), such employees of [WCLE] - particularly, the [WCCHD] and the [WCCO] -

routinely engage in such preemptive unconstitutional-and-unlawful searches/seizures in-order-to incite/outrage the resident(s) that maybe inside

the house, watching all of such malicious actions perpetrated by such malicious government-officials within private/concealed/curtilage areas of

their private-property - their own private sanctumy - their own "castle" (per the "castle doctrine'1. The plaintiff would like to make absolutely

clear: Even if [WCLE] did have a valid search warrant lawfully-obtained with sufficient probable-cause for a crime "already having been
committed" - not possible with such public-nuisance law since such public-nuisance law requires the issuance of warning-citations, and a

public-nuisance complaint does not constitute an instantaneous crime (due the requirement of such warning-citations) - then they could have

proceeded with such search/seizure only after loudly-announcing ''SEARCH WARRANT" (at the [FRONTDOOR]) and, at a minhnum, placing

a copy of such search-warrant at the [FRONTDOOR], if nobody is answering the [FRONTDOOR] - as is required by Texas law. As the

plaintiff would later find out at the end of this incident, neither the [WCCHD] nor the [WCCO] obtained any valid search-wammt to search the

plaintiffs private-property and even if they did have a valid search-warrant, they would still be requh-ed by Texas law to execute such search-

warrant exactly as specified under Texas law - which they also clearly did not do; therefore, all of these actions were clearly unconstitutional-

and-unlawful both under Texas law and under federal law (as determined by one-or-more [SCOTUS] ruling., - particularly «FLORIDA V.

JARD INES» and «COLLINS V. VIRGINIA»). To put all of these matters into proper perspective and context:


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® The government cannot even unconstitutionally-and-unlawfully search the private-property of murder-suspects in such an egregious manner
- and all of [WCLE]'s such predatory and retaliatmy actions against the plaintiff were ultimately committed in-order-to (eventually) viciously-

punish the plaintiff via Class-C-Misdemeanor-Public-Nuisance prosecution (maximum $500 fine, no jail-time).



@ Setting aside the common-sense fact that law-enforcement agencies need to have "clean hands" in their dealings with a citizen before they

attempt to prosecute such citizen, the law-enforcement agencies of [WCLE] had anything but ''clean hand," in their dealings with the plaintiff -

as they had - in maliciously-predatorily-and-secretly conspiring/colluding/strategizing with racketeer co-defendants (RSR],[JSP&KAP] -

engaged in ahnost a decade of racial-oppression and racketeering-activity against the plaintiff (at this point in time).


© Far more importantly, these particular malicious government employees/officers/officials have akeady - at this relatively early point in time
of such unconstitutional-and-unlawful search/seizure - ah'eady committed the crimes of Abuse-ot~official-capacity and Official-Oppression

against the plaintiff and these crimes arc, at a minimum, Class-A-Misdemeanors under Texas law - far worse than the Class-C-Misdemeanor-
Public-Nuisance that these government employees/officers/officials are trying to pin the plaintiff on - and the government cannot even pin that

Class-C-Misdemeanor-Public-Nuisance on the plaintiff without first issuing the plaintiff with a warning-citation providing the plaintiff with 30

days (or 10 days depending upon the circumstance) to cure/abate the alleged public-nuisance (which was done at the end of this incident - see

below).



@Similarly, such c1imes committed by [WCCHDS-VD] and [WCCD-Harrell] against the plaintiff were also federal crimes ofDeprivation-of-

Rights-Under-Color-of-Law ([ 18-USC-PI-C 13-§242]), Conspiracy-Against-Rights ([ 18-USC-PI-C 13-§241 ]), Intimidation/Interference ([42-

USC-C45-SI-§36 l 7],[42-USC-C45-SII-§363 l ]).



® These particular malicious government employees/officers/officials committed these crimes in pure retaliation against the plaintiff for the
plaintift1 s "audacity" to report the racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses of both racketeer co-defendants

[JSP],[RSR] dating back to {2011 }, along with the plaintiffs "audacity" to record and/or report the retaliatmy crimes committed against the

plaintiff by several employees/officers/officials of [WCLE] in the past: [WCSD-PP], [WCSD-SP], [WCCHDS-ST], [WCCD-DM], [WCCD-

Hanell], [WCCD-RT] and (WCCD-Holt] Gust to name a few of the prh11aiy culprits, even at this relatively-early poh1t in th11c); therefore, such

retaliatory crimes committed by [WCCHDS-VD] and [WCCD-Harrell] against the plaintiff are felonious under Texas law and racketeerh1g-

act(s) under federal law.



The plaintiff - both h1dignant and under duress of such clearly unconstitutional-and-unlawful search of the plah1tiffs private-property (the

plaintiffs "castle'' under the "castle doctrine') - decides that the plaintiff must confront such government employees/officers/officials. The

plaintiff opens the [FRONTDOOR], walks through the plah1tiffs [FRONTPORCH], towards the plaintiffs side-yard, and asks such

government intruders what they are doing (without having presented any evidence of a search warrant). The plaintiff need not remind any
party named in this lawsuit that, after an unconstitutional-and-unlawful search has ah-eady been initiated, any "consent" received after such

point, is considered "tainted" and made "under duress". In particular, such coerced "consent" clearly cannot be said to have been done

"knowingly, freely and voluntarily", and any search/seizure continued after such point remains unconstitutional-and-unlawful. The plaintiffs


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constant stuttering during most of this incident, shows that the plaintiff was under extreme duress, caused by such, very-aggressive and
intimidating White-American law-enforcement officers invading into the private home (private "castle'? of an immigrant-of-color/indigenous-

person. Another malicious tactic that the plaintiff has routinely noticed from such agencies of [WCLE] - pai1icularly the [WCCO] and the

[WCCHD] - is that they consistently protected both themselves and their co-defendant racketeers - [JSP&KAP],[RSR] - from facing the

consequences of their retaliatory (thus felonious) crimes and overaU racketeerIBg-enteipriw against the plaintiff. Thereforn, rather than further-

implicate themselves in such racketeering-enterprise and conspiracy to defraud the plaintiff, [WCLE] keeps stating in this incident that the

[HOA] sent them to do unconstitutionally-and-unlawfully search/seize the plaintiffs private-property, when in fact the actual complaining

witnesses arc the co-defendant racketeers: [JSP&KAP],[RSR]. At a minimum, [WCLE]'s malicious tactic of naming the [HOA] as a

complaining witness to circumvent the revelation of the actual complaining witnesses is simply a convenient way for such government to

clearly-violate (or at least circumvent) a plaintiffs sixth-amendment Constitutional right to know who the plaintiffs accusers are. At least some

of the injunctive relief (see sections below) that the plaintiff seeks from this court is to ensure that [WCLE] is hereby forbidden from naming

any Prope1ty-Owners-A~sociation as a complaining wih1ess in any public-nuisance (property-maintenance) complaint, and/or allowing any

Property-Owners-A.;;sociation from serving as a complaining witness in any public-nuisance (property-maintenance) complaint, unless:



® such Property-Owners-Association is a direct and actual witness to the alleged public-nuisance; OR


@ such Property-Owners-Association has suffered demonstrable-harm or is vCiy-likely to suffer harm as a result of such alleged public-

nuisance - which can only be true, if such Property-Owners-Association owns property that shares a non-zero-length border with the accused-

person's private-prope1ty.



On the other hand, the plaintiff had just recently, but inadvertently, played such a crucial role, during the previous 9 months, in overthrowing

all-but-one member of the [HOA-BoD]s, and even the property-management-company community-manager. So, at least to that limited extent,
it does-not and would-not surprise the plaintiff even in the least bit that the [HOA] - and especially its property-management-company (which

did not change) - wanted to exert revenge upon the plaintiff, for the plaintiffs "audacity" to have acted in such muckraking manner - even if

inadvertently - against the [HOA]. During this incident, [WCCHDS-VD] repeatedly refers to the [HOA] (including the property-managcment-

company representing the [HOA]) is as if the [HOA] - just like a municipal-corporation local-government - is a saintly organization that is

incapable of any misconduct or wrongdoing - when the huge number of Court records - including successful civil-lawsuits and/or successful

criminal-prosecutions against [HOA]s and/or [HOA] Board-Members and/or municipal-corporations and/or municipal-corporation

employees/officials - proves othe1wise. Even the property-management-companies that represents [HOA]s (and the law-foms that represent

[HOA]s) are for-profit businesses that profiteer from such petty/spiteful neighborhood conflicts; thus, there is no absolutely reason to consider

any property-management-company (or any law-frrm that represents [HOA]s), of all things, to be a saintly organization that is incapable of any

misconduct or wrongdoing. However, even though [WCCHDS-VD] maliciously hides the identity of the actual malicious complaining

witnesses, as if the plaintiff even needed such proof, both the lead-up to this incident and the final-parts of this incident (respectively) fully

reveal who such actual and primary complaining witnesses tmly are - racketeer co-defendants [RSR] and [JSP&KAP] respectively (see

transcript below). This incident also includes several statements of blackmail by [WCCHDS-VD] and [WCCD-Harrell] against the plaintiff -

following a decade-long pattern of blackmail that the plah1tiff has suffered from the defendants - with all of these statements of blackmail

meant to, ® keep the plaintiff silent about all of the abundance of evidence of racial-oppression and racketeering-activity that the plaintiff


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continued to accumulate (for approximately a decade at such point in time) against the defendants, AND@ coerce, via racial-intimidation, the
plaintiff to move out of such White-neighborhood - as even racketeer co-defendants [RSR],[JSP] have overtly demanded on in numerous other

incidents - both prior-to and after this incident. The plaintiff seeks injunctive relief from this court to ensure that all agencies of [WCLE] are

prohibited from abusively weaponizing the property-maintenance-laws to blackmail any resident of the County of Williamson (for any reason) -

but especially such blackmail of any resident of the County of Williamson that has Buffered seriouB, actua\ crimes - including but not limited to

racially-motivated hate-crimes or retaliatory, thus felonious, crimes. [WCCHDS-VD] asks if the plaintiff has electricity and running-water at the

plaintiffs private-property, despite of the fact that a significant, non-zero fraction of Texans (including White-American Texans) live off-grid at

their residences, and as a result of living off-grid, do not have (grid) electricity and/or (grid) rnnning-water: for example, those that live in solar-

panel-powered trailers and/or other motor-homes without attached running-water service. [WCCHDS-VD] even demands that the plaintiff

open a tap inside of the plaintiff's [HOUSE] in-order-to prove that the plaintiff had running-water inside of the plaintiff's [HOUSE]. Every

question/demand concerning the plaintiffs alleged lack-of-electricity and/or lack-of-running-water was [WCLE]'s brazen attempt to blackmail

the plaintiff. After this incident passed, and upon reviewing the security-camera-footage of this incident, the plaintiff noticed another [WCLE]

vehicle - what appeared to be a [WCSO] vehicle - parked behind [WCCD-Harrell]'s vehicle for a pedod of approximately 20 minutes or more -

meaning that [WCCHDS-VD] and/or [WCCD-HatTell] called for backup in ease violent force was needed to restrain the plaintiff. After such

[WCSD] in such [WCSO] vehicle receives indication that both [WCCD-Harrell] and [WCCHDS-VD] are on the plaintiffs [FRONTPORCH],

such [WCSO] vehicle drives slowly up street, as [WCCD-Harrell] looks back at such [WCSD]. This is the type of racially-oppressive, modern-

day-Jim-Crow police-state around the plaintiff that the plaintiff - a lifelong-unanned, 100-pound, immigrant-of-color/indigenous-person - has

had to suffer from [WCLE] for over a decade. On one-or-more occasions during this incident, the plaintiff would notice [WCCD-Harrell]

laughing while thuggishly taking photographs/videos ofp1ivate/concealed/eurtilage areas of the plaintiffs private-prope1ty and/or the interior of

the plaintiffs [HOUSE] - once again indicating a long pattern of malicious conduct that showed that such employees and agencies of [WCLE]

thoroughly-enjoyed violating the plaintiffs rights. On one-or-more occasions during this incident, [WCCD-Harrell] fully-admits that either

[WCCD-Harrell] and/or other members of the [WCLE] had executed clearly unconstitutional-and-unlawful searches/seizures of

private/eoncealed/curtilage areas of the plaintiff's private-property in previous year(s), including but not limited to the year {2017) - even

brazenly using the illegally seized evidence of those previous unconstitutional-and-unlawful searches/seizures in-order-to fm1her blackmail the
plaintiff, and/or in-order-to coerce the plaintiff to admit to fraudulent allegations lodged against the plaintiff and/or the plaintiffs private-

property. On one-or-more occasions during this incident, [WCCHDS-VD] outrageously justified the decade of racially-motivated hate-

erin1es/raeketeering-acts/civil-rights-violations/abuses cmmnitted against the plaintiff by [JSP&KAP],[RSR] - even claiming that if the plaintiff

maintained the plaintiffs private-propeity in such allegedly non-con formant manner, that the plaintiff deserved to suffer the decade of such

racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses. [WCCD-Harrell] maliciously interrogates the plaintiff that all of

such items then-stored in the plaintiff's private/concealed/eurtilage [BACKYARD] originated from the inside of the plaintiffs [HOUSE] -

maliciously emphasizing the word inside, as if to blackmail the plaintiff that the plaintiff was not allowed to live according to the plaintiffs

deeply-held religious views/values/practices even within the four-walls of the plaintiff's own [HOUSE]. In other words, [WCCD-Hanell]

appeared to be threatening to criminalize the off-grid manner in which the plaintiff lived even in the indoor-environment-of, or the inside-of, the

plaintiffs own [HOUSE] - which, the plaintiff, still to the {PRESENT-DAY}, considers to be an outrageous violation of the plaintiffs rights.

On multiple occasions during this incident, [WCCD-Harrell] refers to items then-stored in the plaintiffs [BACKYARD] using the undefmed

term "trash". Such vab'llC term "trash" is not defined in any part of the Texas public-nuisance law, and once-again, such malicious use of
improper terminology strongly indicated to the plaintiff, that the [WCCD]s of the [WCCOJ were deliberately and maliciously interpreting many


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of the crucial terms in the Texas Public-Nuisance law that they are supposed to be lawfully (not Unconstitutionally-And-Unlawfully) regulating.

T he plaintiff, assuming that the [WCCD-Harrell] meant either ''garbage", "refuse" or "rubbish" - since tllose are the actual terms defined by

the Texas Public-Nuisance law - stated that none of the items stored in the plaintifPs [BACKYARD] were "trash" or "waste" of any kind. In

other words, the plaintiff asserted that none of the items stored in the plaintifrs private/concealed/curtilage [BACKYARD] fell into any one of

the categories "garbage", "refuse" or "rubbish" - since none of such items were "waste" products of any kind. The plaintiff began to

increasingly-realize that [WCCD-Harrell]'s and other [WCCD]s' malicious use of the undefmed term "trash" was such [WCCD]s' malicious

attempts to fraudulently indicate potential violations of the Texas public-nuisance law - apparently with such [WCCD]s having never even read

any of these key tem1s defined in such law that they are illegally (unconstitutionally-and-unlawfully) trying to regulate. In particular, while

''garbage" and "refuse" are required by Texas law to be stored within "closed receptacle(~f', "rubbish" (non-decayable waste of any kind -

including, but not linlitcd to: plastics, metals, glasses, ceramics, and paper-based products such as "cardboard') are not required by Texas law

to be stored in such "closed receptacle(r)" - just as long as such "rubbish II is not stored at a location that is visible from a public street for a

period of IOdays o r longer - which is clearly not the case for any of the items stored in the plainti.f t's private/concealed/curtilage

[BACKYARD] - and once again, the plaintiff stated clearly that none of such items constituted any waste-product of any kind; thus, even

"rubbish" is not a possibility. [WCCD-Harrell] even parrots the same racist-narrative lodged against the plaintiff by [JSP&KAP],[RSR] - about

the alleged ''.1·/ench" coming from the plaintiff's private/concealed/cm1ilage [BACKYARD], further explaining that they would need to confirm

whether such alleged 1'.1·tench 11 is coming from the plaintiff's companion-tortoises, claiming that they did not know what the plaintiffs

companion-tortoises smelled like. In doing so, [WCCD-Harrell] was, at the very least, implicitly threatening the plaintiff that the [WCCO]

and/or the [WCCHD] may need to seize/confiscate the plaintiffs companion-tortoises away from the plaintiff - once-again, parroting the same

predatory demands of the racketeer co-defendants [JSP&KAP],[RSR] in numerous incidents - both prior-to and after this date (o ) . Since the

plaintiff stated that the plaintiff eventually intended to move almost-all of such materials in [BACKYARD] onto the plaintiffs agricultural-

private-property, [WCCD-Harrell] then spent a substantial amount of time - in excess of 5 minutes - interrogating the plaintiff on the plaintiff's

use and/or business-operation of such agricultural-private-property - even asking very-specific and irrelevant questions about the plaintifrs use

and/or business-operation of such agricultural-private-property. Once again, if [WCCD-Harrell] was at the plaintiff's (residential) private-

property to supposedly investigate an alleged public-nuisance complaint, then [WCCD-Harrell], clearly had no authority - not in her official-

capacity as a [WCCD) nor in ber individua l-capacity - to question the plaintiff on the plaintiff's use and/or business-operation of the plaintiffs

agricultural-private-property - to which, Texas's public-nuisance-law would never apply to. While the plaintiff asserts in this lawsuit that

[WCLE]'s predat01y actions - in conspiracy with racketeer co-defendants [JSP&KAP],[RSR] - against the plaint iff was ultimately ain1ed at

defraud ing the plaintiff out of the plaintifrs right to private-property-ownership within such White (residential) neighborhood, due to [WCCD-

Harrell]'s lengthy interrogation of the plaintiff regarding the plaintifrs use and/or business-operation of the plaintiffs agricultural-private-

property, the pla intiff leaves o pen the possibility of an additional c laim against defendants, for such defendants' conspiracy to defraud the

plaintiff out of the plaintiffs right to such agricultural-private-property. (The plaintiff wiU need to conduct Discovery and Depositions of the

defendants and/or other implicated parties in-order-to fu lly investigate such additional, potential claim regarding the plaintiffs agricultural-

private-property.) Another primary goal of [WCCD-Harrell]'s interrogation of the plaintiff was simply to distract/divert the plaintift's attention,

while [WCCHDS-VD) freely continued with his unconstitutional-and-unlawful search/seizure of the plaintifPs private/concealed/curtilage

[BACKYARD). The plaintiff had noticed this malicious strategy employed by [WCLE] even on previous occasions: By sending more-than-one

government-employee onto the plaintift's private-property, [WCLE] was instructing one government-employee to distract/divert the plaintift's

attention in such unconstitutional-and-unlawful interrogation tactics, while the other government-employee(s) could more-freely engage in such


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unconstitutional-and-unlawful search/seizure of private/concealed/curtilage parts of the plaintiffs private-property, with the plaintiff being under

significant duress of such intrusive interrogation. At least part of the injunctive relief that the plaintiff seeks from this Court is to ensure that

[WCLE] is prohibited from dispatching more than one government-employee to investigate any alleged property-maintenance complaint.

[WCCHDS-VD] makes a very-revealing comment about the "111111.rnal"-ly large amount of clutter inside of the plaintiffs [HOUSE]. When the

plaintiff asked how such clutter on the inside of the plaintiffs [HOUSE] is illegal and/or hazardous, [WCCHDS-VD] admitted that such clutter

was not illegal and/or hazardous but that it was 11unsual". The plaintiff indignantly, but yet very-aptly, responded, '~-- in totalitarian societies,

they used to put people in prison for things that are 'unusual'!" By such statements, [WCCHDS-VD] was also acknowledging that this was

simply the natural and off-grid manner in which the plaintiff lived, and by basic logic and reasoning, the manner in which the plaintiff was

maintaining the plaintiffs private/concealed/curtilage [BACKYARD] was not only not any malicious or reckless act by the plaintiff, but instead,

just simply an innocent part of the plaintiff's natural, off-grid, zero-waste lifestyle - and temporary conditions to help accomodate such lifestyle.

Both [WCCHDS-VD] and [WCCD-Harrell] continue their unconstitutional-and-unlawful search/seizure of the interior of the plaintiffs

[HOUSE] - illegally taking photographs/videos and/or interrogating the plaintiff about various items stored inside of the plaintiffs [HOUSE] -

including the plaintiffs kitchen-pantty. At one point in time, [WCCHDS-VD] even demanded to see the contents of the interior of the plaintiffs

refrigerator(s) - and when the plaintiff, under duress, opened one-or-more such refrigerator(s), [WCCHDS-VD] even used his camera-phone to

take photographs/videos of the interior contents of such refrigerator(s). [WCCD-Harrell] even questions the plaintiff regarding the contents of

bottles stored inside of the plaintiffs [HOUSE] - once again, ahnost as if threatening to crimhrnlize the off-grid manner in which the plah1tiff

lived even h1 the indoor-environment-of, or the inside-of, the plaintiffs own [HOUSE] - which, the plaintiff, still to the {PRESENT-DAY},

considers to be an outrageous violation of the plaintiffs rights. Throughout most of this incident, both [WCCHDS-VD] and [WCCD-Harrell]

thuggishly took photographs/videos right in front of the plah1tiff of numerous private areas of the plaintiffs private-property that are not even in

the least bit visible from the street - a slap in the face of the plaintiff - indicating that:



® they truly did not care that the plaintiff - the actual owner of such private-property would have such clear opposition to such egregious
governmental intmsion into the private life of a private-citizen; AND



@ they were blackmailh1g the plaintiff to keep the plaintiff silent about the decade of racially-motivated hate-crhnes/racketeering-acts/civil-
rights-violations/abuses aggregately committed against the plaintiff by both, the plaintiffs accusers - [JSP&KAP],[RSR] - and several members

of [WCLE] (not limited to [WCCHDS-VD], [WCCD-Harrell]) acting h1 such corrupt-malicious-predatory-and-retaliatory conspfracy with

[JSP&KAP],[RSR] - dath1g back to [WCLE]'s initial acts of racial-oppression and racketeerh1g-activity against the plaintiff h1 the month of

{2011-08); AND



© they could then rely upon such blackmail of the plah1tiff to coerce the plah1tiff (who is under duress) to sign a warning-citation - despite
having no authority to do so since they had executed such a brazenly unconstitutional-and-unlawful search/seizure of private-areas of the
plaintiffs private-property.



@ they, and then· employers - the [WCCHD],[WCCO] -were illegally conspirh1g to use such illegally-seized "evidence" either as part of
(eventual) foreclosure/eviction proceedh1gs against the plaintiff, or as part of(eventual) condemnation proceedings against the plaintiff - all, not

only in egregious violation of not only the plah1tiffs due-process rights, the plaintiffs fourteenth-amendment-rights, the plaintiffs first-


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amendment-rights, and the plaintiffs sixth-amendment-rights, but also in egregious violation of the [FHA] and the [RiaCOA] (as part ofa

decade-long conspiracy/scheme to obstmct-justice against, retaliate-against and defraud the plaintiff).



As this incident reveals, both [WCCHDS-VD] and [WCCD-Hanell] spent a substantial amount of time - approximately 10 minutes - illegally

coercing the plaintiff to sign such warning-citation, despite of the fact that their entire operation against the plaintiff on this particuhw filcident -

as was also trne for multiple previous incidents involving the [WCCO] - were clearly unconstitutional-and-unlawful - in total violation of the

plaintiffs rights. Since both [WCCD-Harrell] and [WCCHDS-VD] also acted in such unconstitutional-and-unlawful manner against the

plaintiff, by also committing such coercive document execution against the plaintiff, [WCCD-Hanell] and [WCCHDS-VD] also additionally

committed Texas-Fraud ([TPeC-T7-C32-§32.46]) against the plaintiff - with this additional crime also being a retaliatory, thus felonious, crime

committed against the plaintiff. [WCCHDS-VD] fraudulently mis-characterizes the plaintiffs sheets of cardboard spread over one-or-more

scction(s) of the plaintiffs private/concealed/cutiilage [BACKYARD] and used for the aforementioned 1'.\·heet-11111/ching" purpose - as "debris"

(even though "debris" is yet another term that is not defmed by the Texas Public-Nuisance-Law) - when the plaintiff had made it clear to all

parties, including, but not limited to - the [WCCO], the [WCSO], the [WCCHD] (and the [HOA]) - dating back to as early as {20 l l} - that the

plaintiff was using such sheets of cardboard for such ecological re-landscaping purposes - since as early as the year {201 l}. Even [WCCD-RT]

had admitted to the plaintiff during the incident dated {2017-08-3 l} that the plaintiffs use of such sheets-of-cardboard for ecological re-

landscaping purposes was entirely within the plaintiffs rights - even if done in the plaintiffs [FRONTYARD]. Therefore, such agencies of

[WCLE] were engaging in such brazen fraud, deception and entrapment against the plaintiff with one employee of one agency of [WCLE] - the

[WCCO] - admitting that the plaintiff was entirely within the plaintiffs rights, but with another employee of another agency of [WCLE] - the

[WCCHD] - claiming the exact-opposite. In trying to cite alleged violation(s), [WCCHDS-VD] makes reference(s) to an entirely fictitious legal

document which he refened to as the "[HOA} Code of Tenants", claiming that the plaintiff was in violation of the "[HOA] Code of Tenants".

To the contnuy, the plaintiff was never a "tenant" of the property [788KLLTX7864l], and defendant [WC]'s own publicly-available property-

records (for example, the publicly-accessible [WCAD] appraisal records) indicated that the plaintiff was always the property-owner of the

property [788KLLTX7864l]. Indeed, much of[WCCHDS-VD]'s authoritarian rhetoric against the plaintiff made it seem that the [HOA]'s

relationship to the plaintiff was a landlord-tenant relationship, when that is completely false - as the [HOA] did not own (and never did own)

the plaintiffs private-prope1ty, the [HOA] was never the landord of the plaintiff, and finally, the plaintiff was never the "tenant" of the [HOA].

Later on, [WCCHDS-VD] repeatedly makes references to the [HOA] "bylaws"when such bylaws do not have anything to do with the

restrictive-covenants of the neighborhood. As if the plaintiff was some illiterate foo~ [WCCHDS-VD] outrageously and racistly demands that

the plaintiff read the [HOA] bylaws. The plaintiff had already read - even in the initial year of {2009) - and multiple additional times since that

initial year - the Declaration-of-Covenants-Conditions-and-Restrictions ("[DCCR]s") of the neighborhood - which is what [WCCHDS-VD] was

actually referencing. However, such statement clearly shows that [WCCHDS-VD], himself, had not read such [DCCR]s - as he clearly did not

even know the difference between the bylaws and the [DCCR]s, while at the same time, citing some fictitious document titled the "Code of

Tenants". [WCCHDS-VD] also erroneously refers to the restrictive-covenants of the neighborhood as ''[HOA] GUIDELINES", when the

restrictive-covenants of the neighborhood are not ''[HOA] GUIDELINES", and the [TPrC] (which regulates restrictive-covenants) does not

allow the [HOA]s to arbitrarily, capriciously or discriminatorily set its own arbibra1y guidelines - once again, revealing, that both [WCCHDS-

VD] and his employer, the [WCCHD], are at best, grossly misinformed about the Texas law ([TPrC-T l l-C202],[TPrC-T l l-C209]) regulating

both [HOA]s and restrictive-covenants, and at worst, egregiously abusing their position of trust as government officials in-order-to railroad the

plaintiff into foreclosure/eviction proceedings by acting in furtherance of such corrupt-malicious-predatory-and-retaliatory conspiracy with the

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plaintiff's predatory neighbors [JSP&KAP],[RSR]. ln fact, if[WCCHDS-VD] had, indeed, read the [DCCR]s of the neighborhood - he would

come to the realization that countless White-American residents of the neighborhood were routinely violating numerous restrictive-covenants -

many of such violations of which actually cause serious ha1111 or, at the very least, the serious potential for serious harm - the illega l lighting of

fireworks, the illegal unleashing of large dogs/cats to roam freely, the illegal speeding vehicles, the constant/daily illegal-vehiclc/parking-

violations, the countless and persistent noise--nuisances, etc. - just to name a few. In fact, if (WCCHDS-VD1 had, indeed, read tl\c fDCCR)s of

the neighborhood - he would come to the realization that racketeer co-defendants [JSP&KAP],[RSR] - the two primary complaining-witnesses

of such malicious public-nuisance-complaint against the plaintiff - were routinely violating some of the aforementioned restrictive-covenants for

over a decade - without having faced any legal consquences for such decade of (serious and harmful) violations. All of aforementioned

damaging facts even ignores the so-called "elephant in the room": that law-enforcement of the government has absolutely no authority, short of

a Court order, to enforce the (private contract) restrictive-covenants of a neighborhood, as that authority is strictly relegated to the [HOA]. If

[WCLE] did have the authority to enforce the restrictive-covenants of the neighborhood, then they would have to thoroughly explain to this

Court, why they were not enforcing violations of resb·ictive-covenants committed by White-American residents that were fully visible and/or

audible from the street - the illeg,il lighting of fireworks ; the illegal unleashing of large dogs/cats to roam freely onto public-property and onto

other's private-property ; the illegal speeding vehicles ; the constant/daily illegal-vehicle/parking-violations ; the countless and persistent noise-

nuisances ; etc. - just to name a few. ln particualar, if [WCLE] did have the authority to enforce the restrictive-covenants of the neighborhood,

then they would have to further explain to this Court, why all of those aforementioned violations of such clearly unenforced restrictive-

covenants that the plaintiff has cited, out of no coincidence, are disproportionately committed by the White-American (and/or non-immigrant)

residents of the neighborhood - as any such "cheny-picking" of which restrictive-covenants to enforce and how to enforce such restrictive-

covenants would be an egregious racially-discriminatory housing-practice. [WCCHDS-VD] additionally violated the plaintiff's due-process

rights by citing non-existent Texas law - "SECTION ... 347 OF THE TEXAS HEALTH-A ND-SAFETY-CODE" - when there is no such

"SECTION 347" nor "CHAPTER 347" nor "TITLE 347" in the [THaSC] - even writing this non-existent Texas law in the warning citation

issued to the plaintiff. The citing of non-existent Texas law was yet another indication to the plaintiff that [WCLE], in general - and the

[WCCHD],[WCCO] in particualar - were maliciously and fraudulently interpreting and enforcing the property-maintenance-laws of the State-

of-Texas - once again, all in retaliation against the plaintiff - an innocent victim (and witness) of a decade of racial-oppression and racketeering-

activity committed by the defendants acting in such predatory conspiracy against the plaintiff. Despite citing non-existent Texas law, when

almost 6 months later (see below), [WCLEJ - acting in furtherance of such corrupt-malicious-predatory-and-reta liato1y conspiracy with

racketeer co-defendants [JSP&KAP],[RSR] - randomly - and in their typical ambushing manner - decides to fraudulently and purely-

retaliatorily charge the plaintiff, they charge the plaintiff for violation of "Chapter 343" of the [THaSC] (according to publicly-available Court-

records) - which the plaintiff was not provided such Warning-Citation for. Thus, such sequence of incidents clearly documents yet another (of

the many) violation of the plaintiff's Due-Process rights. One of the most revealing aspects of this entire incident is that [WCCHDS-VD] even

provides the plaintiff with "30 days" to cure/abate the alleged public-nuisance - as he is required to do by the Texas-Public-Nuisance-Law. If an

a lleged Public-Nuisance was any serious violation that posed any actual threat to the health-and-safety of the neighbors - requiring immediate

health-and-safety curing/abatement - then, the iTexas Legislature ➔ would not have provided the accused private-property-owners 30

days to cure/abate such alleged violation. The ~Texas         Legis lature ► were reasonable enough to respect the private-property rights of the

accused private-property-owners - that such conditions do not constitute any immediate health-and-safety concern - even providing the accused

private-property-owners a month to cure/abate such alleged issue(s). Therefore, none of [WCCHDS-VD]'s,[WCCD-HarreU]'s brazenly

thuggish, unconstitutional-and-unlawful search/seizure of the plaintiff's private-property and none of their unconstitutional-and-unlawful


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interrogation/detention of the plaintiff were, in any way, justified by any "exigent circumstance", as even an actaual uncured/unabated Public-

Nuisance (30 days after a public-nuisance-warning-c itation has been issued), by its very nature as an alleged Class-C-Misdemeanor, could

never involve any such "exigent circumstance" circumventing law-enforcement's requirement of lawfully obtaining a search-warrant and

lawfully executing such search-warrant in-order-to lawfully search/seize the accused person(s)' private-property. All aspects of this modern-

day-Jim-Crow public-oppression of the plaintiff were captured by a combination of the plaintifrs security-camera-system and the plaintifrs

body-worn-camera. According to the plaintiffs recorded-footage, [WCCD-Harrell] did have a body-worn-camera - and as such, such body-

worn-camera sho uld have been recording not only all aspects of this unconstitutional-and-unlawful search/seizure/interrogation/detention of the

plaintiff and the plaintiffs private-property, but also all of [WCCD-Harrell]'s and [WCCHDS-VD]'s initial and terminating interactions with

racketeer co-defendant [RSR] (and her now-adult son [BR]) and racketeer co-defendant [KAP] (respectively) - unless, [WCCD-Harrell]

deliberately turned-off such body-worn-camera (at any point in time) in-order-to further obstruct-justice against the plaintiff. (While the

plaintiff is extremely in favor of the general-public's requirement of police's use of body-worn-camera in-order-to protect private citizens

against police-misconduct, the plaintiff is just as sh·ongly opposed to the unlawful use of such body-worn-camera(s) to illegally search-and-seize

evidence within or related-to private/concealed/curtilage areas of a private citizen's private-property.) [WCLE]'s predatory and criminally-

abusive actions of racial-oppression and racketeering-activity against the plaintiff (documented throughout this lawsuit) continue-to-show their

knowledge that the plaintiff is powerless to do anything to stop it ( & ) . This entire incident of predatory, modern-day-Jim-Crow public-

oppression against the plaintiff had been motivated by pure-fraud on the pm1 of [WCLE], acting on the predatory-demands of racketeer co-

defendants [JSP&KAP],[RSR], because, as the plaintiff explained to such [WC] government-employees during such predatory, modern-day-

Jirn-Crow public-oppression, besides any temporary conditions regarding items meant to be h·ansported to the plaintiff's agricultural-private-

property temporarily stored in the plaintiffs [BACKYARD], the plaintiff is not doing "anything out of the ordina,y when it comes to

indigenous cultures ... indigenous cultures in Africa, South-America and ... Asia. ... indigenous cultures have a distinct ... traditional way

of living, that" a ll of such White-Americans "might consider to be 'primitive'". Despite the fact that the plaintiff was fully reluctant to sign

such warning-citation - given the lengthy history of extreme-racial-animus that has motivated all of s uch predatory, modern-day-Jim-Crow

public-oppression against the plaintiff, and given the fact that [WCCD-Harrell] and [WCCHDS-VD] had just executed such egJegiously

Unconstitutional-And-Unlawful search/seizure/interrogation/detention of the plaintiff and the plaintiffs property in-order-to maliciously coerce

the plaintiff to sign such warning-citation - the plaintiff, under extreme duress and mental-anguish, only signed such warning-citation after

[WCCHDS-VD] stated that, by sig11ing such warning-citation, the plaintiff is not agreeing-to nor admitting-to any of the allegations being made

by [WCCHDS-VD] on s uch warning-citation, and because [WCCHDS-VD] aggressively/angrily slammed his pen clown on the clipboard,

repeatedly demanding that the plaintiff sign such warning-citation. As traumatizing as this incident was (and still is) to the plaintiff, this

predat01y incident would be just one of numerous predatory incidents (documented in this lawsuit) involving the defendants (RSR], [KAP]

(and/or [JSP]), and [WC LE] - almost always involving White-American police-officers/government-employees of defendant [WC] - against the

plaintiff in which all of such defendants acted in a shamelessly (and overtly) racist and predatory manner against the plaintiff - as if they were

not even in the least bit ashamed or concerned that they would be accused of modern-day-Jim-Crow predatory-racism by the plaintiff - as if

proudly wearing and flaunting their modern-day-Jirn-Crow predat01y -racism against the plaintiff as a badge-of-honor, that they will never

apologize for.
 •        RPXXHm> 1'CTS or IUICDIL--OPl'REOf .Mil ~ A C ' J ' I V I T r BY (W:QIDI .Mil (l«XX)) llGIUNST PLAINrin(~) •        (2020-0,- 28 U :38 ) (-)
 •        ( IIIUVl\D URL LINK TO BB SUINITl'ID IN DISCO.IBRY )




     0C   PIJ\INTiff, l·IHILE ON THE EDGE OF THE [FRONTPORCH] , STATES TO [WCCHDS-VD] AND [\·lCCD-HarrellJ : ~


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PLAINTIFF            Excuse me, Sir!




[WC:CHDS- VD]        Yes!




PLAINTIFF            Can I help you?!




[WCCHDS- VD]         You the 01111er? You live here?




PLAINTIFF            Uh. ye.1· I do!




[WC:CRDS- VD]        Yeah, //,en you can l,e/p me. M,: Kode?




PLAINTIFF            Yes.




[WCCHDS- VD]         J-fow areyou?


    « PLAINTIFF STUTTERS, CLEARLY UNDER DURESS OF SUCH WHITE-AMERICAN LAW-ENFORCEMENT AGGRESSIVELY APPROACHING PLAINTIFF WITHOUT
0
    :0VID-19 SAFETY PRECAUTIONS :         D
    [( PLAINTIFF \'IALKS BACK A\'/AY A FEl'l FEET AS TIIEY AGGRESSIVELY APPROACH PLl\lNTIFI" :                                   D


PLAINTIFF            I'm a/rig/,/_ ... IY/,a/ is tl,is about? ... Um, do you mind if I stand a few feet mmy?




[liCCHDS- VD]        OJ,, SI/IT!. lt'.r about a complaint //,a/ ll'e've received fabout] tl,is properly- and 11111, So, //,is i,1· isfrom the propert)~ma1wgeme111-,vmpa11y- or tl,e {HOA]
                     ... a11d your prope11y could be producing a p11b/ic-/,eo/tl,-1111isa11ce co11ditio11. ... I'm with tl,e hea/t/, depa,1111e111, I'm /,ere ta i1111esligale that. ...




PLAINTIFF            Ok. .... Ok. ... Ok. ... So, basically, 11'/,a/ 11111? basically i'm l,a11i11g lo re--orga11ize a 11110/e b1111cl, of stuff in my l,ouse. so, i moved a lot of slliff illlo tl,e
                     backyard. and so, i'm just reo1ga11izi11g tl,at.




[WC:CRDS- VD]        do )'OIi mind !f i look i11 yow· backyard?


    g PLAINTIFF RELUCTANT TO ALLO\•/ [WCCHDS-VDJ INTO PLAINTIFF ' S PRIVATE BACKYARD, DIRECTS [\'/CCHDS-VDJ TO LOOK THROUGH ffiNCE : »


PLAINTIFF            You ca11 see it - you can see it tl,ro11gl, here.




[WCCRDS- VD]         Would yo,1 allow me lo go i11 the backyanl?


    « PLAINTIFF RELUCTANT TO ALW;/ [1·:cc1ms-VD) IN'l'O PLAINTIFF ' S PRIVATE BACKYl\RD, DIRECTS {l·ICCHDS-VD) TO LOOK TIIROUGH FENCE : D
                                                                                     PAG L    6 19   OF    956
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PLAINTIFF            Um, l.v there a 1Y!aso11 to - i 111ea11, you can see ,rlwtever-


 0C   PI.J1INTIFF RELUCTANT TO I\LW1/ [\'/CCHDS-VD] INTO PLAINTJFF ' S PRIVATE BACKYI\RD, DTRECTS [WCCHDS-VD] TO LOOK THROUGH FENCE : jJ



[WCCIIDS-VD]         11Y!II, in-airier-to complete my investigation.


 [    [WCCD-Harrell] TRIES TO INTIMIDI\TE/INTERFERE-~HTH/HI\RASS THE PLAINTIFF TO FULLY SUBMIT TO SUCII UNCONSTITUTIONAL-I\ND-

UNLl\\•/1'1JL SEARCH : ~



[WCCD- Harrell]      [???] [???)!



 { EOTII COERCED, TAINTED /\ND DONE VIA INTIMIDATION/INTERFERENCE/HARASSMENT - TIIEREFORE, NON-CONSENSUAL : jJ



PLAINTIFF            sure, i ctm do thal.




[WCCHDS- VD]         alright, thank )'OIi.




PLAINTIFF            Yo11 \\'011110 go in 1111-ough here?




[WCCHDS- VD]         I'd ralher 1101 go lhmugh the house. if Ihm'., alright, can \IY! go-in am1111d tl11-011gh the side?


 ~ ALL ASPECTS OF PLAINTU'F ' S SPEECII INDICATE DURESS AND PL/\INTIF'F IS ACTTNG SUBMISSIVELY TO /\UTHORITY - THEREFORE , NON-

CONSENSU/\L :   D


PLAINTIFF            11111, it'.1· up to ;-011, i guess. like i said-




[WCCHDS- VD]         are )'OIi in comtrnctio11 in here too? mY! )'OIi re-modeling?


 g PLAINTIFF CONTINUES TO STUTTER, ONCE-/\GAIN INDICATING PLAINTIFF IS UNDER EXTREME DURESS OF 111\VING PRIVACY UIVADED BY
GOVERNMENT : jJ



PLAINTIFF            11111110, like i saicl. i 11•as 1-e-orga11izi11g a fol of.,111/J in my house, that's the 011/y 1Y!aso11 ... and lhere'.1· 11olhi11g in here that you should be '!/raid of. if tlwt'.1·
                     )'0111' co11cem ?


 [    [\•iCCIIDS-VD] ' S HESITATION SHO'ilS THAT HE KNCY:IS Tll/\T HE IS PlJITING HIMSELF IN LEGAL JEOPARDY BY EXECUTING SUCH 13R/\ZENLY

llNCONSTl TUTIONI\L-AND-UNLA\·/FUL SEARCH OF A PRIVATE CITIZEN ' S PRIVATE-PROPl-'.RTY : jJ



[WCCHDS- VD]         IV/ill, l'M JUST NOT SURt:, I WANNA GO IN RIGNT NOW! ... UM-




PLAINTIFF            you can • yon can - there'.v 11ot/1i11g in here that you should be co11cemed about. i ca11-




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~ [WCCD-llarr:ell] FRAUDULENTLY PRETENDS AS ff NOT-INTI-:NDJNG TO SEJ\RCH HOUSE \I/HEN BOTH [l,'CCHDS-VD] AND [l·ICCD-Harrell] CO IN

F'/\.CT 00 PERFORM SEARCH/SEIZURE OF INTERIOR OF PLAINTIFF ' S [HOUSE] :                           iJ


[WCCD-Harre ll]   We ca11 go straight through there..




[WCCHDS-VD J      Ok .. . Ok ...




PLAINTIFF         Right, 11'e'rej11s/ goi11g .,!might through there, isa/1.




[WCCHDS- VDJ      I WANNA MAKE SURE. YOU DON'T HAVE ANY LIVE WIRES HEil£. ... DO YOU HAVE ELECTRICITY HERE, SIR?!




PLAINTIFF         yea/,, yea/1, yea/,, i 1111de1~·ta11d. ... yea/,,




[WCCHDS-VDJ       DO YOU HAVE RUNNING WATER?!




PLAINTIFF         yes.


 ~ [l'ICCHDS-VD] ' S COERCES PLAINTIFF TO OPEN A TAP INSIDE THE HOUSE :                            iJ


[WCCHDS- VD]      CAN YOUSHOIV ME THAT YOU HAVE RUNNING WATER?!




PLAINTIFF         SIIIY!.




[WCCHDS- VD J     OK, ARE YOUR TOILETS IVORKJNG?!




PLAINTIFF         J'C'.I'.




[WCCHDS- VDJ      OK!




PLAINTIFF         A11d so this isfmm tl,e 11eighbo1:, directly? 01· //,e [HOA], or?


~ [,·,CCHDS-VD] ' S CLE:ARLY USES [HOJ\] ' S PRIOR LA~lSUIT AGAINST PLI\IN'rlff TO fUR'l'flER BLACKMAIL PLAINTIFF :                    iJ


[WCCHDS-VDJ       THE {HOA]! ... YEAH Tl·IE {HOA} HAS COMPLAINED! UM. APPARENTLY THIS IS NOT THE FIRST TIME! SO. UM-




PLAINTIFF         ok, yea/,. mayl,e 1101.

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                                                             S lODHARTH      KO OE    V.    W1 L L lAH SOU   COUflTY   ,   ET   AL .                                                    16 9690 7 6 9 0




[WCCHDS- VD)       A/IE l'OU AWARE OF T/-IE HISTORY THERE. SIR!




PLAINTIFF          s11re, .1·11re, swr. lherc'.v a l,i,vlmJ•, dej111ile/y.




[WCCHDS- VD)       RIGHT. SO YOU'RE NOT SURPRISED THAT l'M ACTUALLY HERE?!




PLAINTIFF          11111- prelly 11111ch, lo be hones/ 11•i1/, you, 110/ 11111ch. bu/ tl,ere'.f aflmys been, vario11s {HOA)s acli11g 011 behalf of a co11ple of 111dely a111ago11islic 11eighbo1:< -
                   I've been hewing deaf/, threatsjivm !he neighbor acmss, right {ove1J //,el'(I-


 [   l~/CCHDS-VD] SHUTS DOWN THE PLI\INTIFF ' S COMPLAUIT ABOUT THE RACIALLY-V.oTIVATED HATE-CRIMES :                                           D
{[ PLAHITIFF HAS HEARD '!'HIS SI\ME RACIST-FRAUD REITERATED BY [\•X:LE] SINCE {2011) :                                     D


[WCCHDS- VD)       Well..... , ok, that 1m11ld be a mal/erfor yo11 to take to the law, but...


 K PLAIN'l'IFF SARCASTICALLY STATES, SURE, AS [\·/CLE] ' S RACIST-FRAUD AGAINST PLAIN'l'IFF NEVER S'l'OPPED /\MAZING PLAINTIFF : D


PLAINTIFF          .w11e, .ml'(I i u11ders/a11d....


 {[ ll·X:CHDS-VDJ OUTRAGEOUSLY JUSTIFIES CO-DEFENDANT RACKETEERS [JSP&K/\P], [RSR] ' S f!ATE-CRIMES/CIVIL-RIGHTS-

VIOLATIONS/RACKETEERING-ACTS/ABUSES AGAINST PLAI NTIFF :                             D


[WCCHDS- VD]       I Will TELL YOU THAT IF. UM, IF THIS WAS IN MY NEIGHBOR'S BACKYARD. I WOULD HAVE A PROBLEM WITH THIS TOO!




PLAINTIFF          Ok, but like I said, i'm re-orga11izi11g 011d i'mfusl having to get eve1ythi11g back-


 {[ [t-iCCD-Han:ell) vlANTS TO CRIMINALIZE H0'.'1 TIIE PLAINTIFF LIVES INSIDE OF THE PLAINTIFF ' S O'tlN HOME : ~



[WCCD- Har rell]   SO, THIS IS STUFF YOU WERE STORING INSIDE YOUR HOME!




PLAINTIFF          ire//, i 111ea11, ii wasj us/ i11 a ve,J' 1111orga11ized 111a1111e1; but yeah. bur if had lo{???] 1 could bring it back in. i 111ea11-




[WCCD- Harrell]    So, all of these boxes, the hags of trash - all of that-




PLAINTIFF          they're 1101 trasl,! 11v1111a make absol11tely clear, the,r'.r 110 /rash here! this st1iff right here, this, cardboanl right here is 111ea111 for co111posti11g-


U [l'ICCllDS-VD) AND [WCCD-Har rel 1 J CONTINUE 1'0 BRAZENLY TAKE PHOTOGRAPHS/VIDEOS IN rnONT OF PLAINTIFF,                                                  KN0'1JING PlJ\INTIFf' If>

PCY.'IERLESS TO STOP THEM :      D
{[ [l'ICCD-Harrell I SARCASTICALLY ACKNO':lLEDGES :                     D


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[WCCO- Harrell]      U111-h111111111.




PLAINTIFF            So, basically, what i'm going to have to do. is basically take this, and re-organize it, that'.f all i'111 hying to do here.




(WCCO- Harrell]      /-low long lws ii been 0111 there for?




PLAINTIFF            Um, the ll'hole i 111ea11 ... I've been 1r01*i11g 011 it for a couple of 11'/'eks 110w. but i 11v11ld say, i 111ea11 ... i 11v11ld say, a couple of ll'eeks.




[WCCHDS- VD]         /-IOIV LONG /-IAS YOUR PROPElffY {???] BACK I-IERE? ... I NEED YOU TO BE HONEST 11'/T/-I ME!




PLAINTIFF            U111... Sure, I understand, I 11nders/a11d. 811/, like i said it'.~ a lot of 1rork that I've been- I've been 11vrki11g 011 ii/or the las/ couple of ll'eeks.




(WCCHDS-VD)          I 'M UNDER Tf-lE IMPRESSION TI-IAT THIS /-IAS BEEN GOING FOR FOR SEVERAL l'EA IIS!




PLAINTIFF            oh, 110 - 110- absolutely 1101!




[WCCD- Harrell]      {???} {???]




PLAINTIFF



[WCCHDS- VD]         TI-IERE'S NO EVIDENCE OF THAT?!




PLAINTIFF            i ca11 show you evide11cefo1111 a 1110111h or Inv ago that this ll'OS 1101!




[WCCO- Ha.r rell )   / actually 11m 011/ here i11 {2017}. About three years ago, 011d took photogmphs.




PLAINTIFF            uh-huh? that ll'as a d/[fere11t thing altogether.




(WCCO- Harrell)      Do you still have the to11oises?




PLAINTIFF            Yeah. the tortoises are back there, 011 the other side.




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[WCCHDS-VDJ       WHAT'S UH. WHAT'S WITH THE MATTRESSES BACK THERE?




PLAINTIFF         they're thcjiwnes. i'm building shelves there.




[WCCHDS- VD)      THE MATTRESSES? - THE BOXSPRINGS?




PLAINTIFF         I'm building shelves, 11111for the-for the-




[ WCCRDS-VDJ      DO YOU MIND IF I TAKE A STEP OR TWO BACK HERE!




PLAINTIFF         SURE!




[WCCD- Harrell)   YOU'RE BUILDING SHELVES BACK HERE?




PLAINTIFF         i'm /mi/ding shelves all acivss !here. yes. and, so-




[NCCHDS- VDJ      WHAT'S UNDERNEATH THE TARP?




PLAINTIFF         1111opem:d boxes, you can take a look ifyou 11'a111. Agaiu, none of that is lmsh! I can assure you!




[ WCCHDS-VD)      SO YOU'RE RECYCLING All... THE MATERIAI...S?




PLAINTIFF         i'111 recycling. i'm re11.1·ing. i'm rep111posing.




[WCCHDS- VDJ      1N THE MEAN TIME. COULD BE HARBORING RODENTS! COULD BE BREEDING MOSQUITOES!




PLAINTIFF         11111- ... sure, fi,~·t of all, let 111ej11s/ - the 11"10/e point of ll'hat i'm //ying lo do here is organize thal. you cm, .l'ee !he shelves !here, righ1?




[WCCRDS-VDJ       UNDERSTOOD! IN THE MEAN11ME WHAT l'M TELLING YOU THOUGH. IS THE LONGER THIS STAYS OUT HERE, CONTAINERS LIKE THJS.




PLAINTIFF         and thal'.1' 11•/IJ• i'm flying lo get a move OIi·




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[WCCHDS- VD)      It's a ( ???] and it's also a 1110sq11ito bree,li11g




PLAINTIFF         I 1111derstaml the co11ce111. what i mean to say is- \\'ell- mosq11itoe.1· co11 - you need to have-




[WCCHDS- VDJ      WATER CAN BE ACCUMULATING IN All OF THESE - AROUND YOUR HOUSE.




PLAINTIFF         sure. i 1111de1~·ta11d. but whal i mean to say is - i can go ahead 011d. when you see /his- basicfllly you'll 1111de1:1N111d- basically, it's goi11g to be i11 shelve.v. so.
                  1hat'.v the whole poi/II of const111cli11g /he shelves /here - yeah, i 111ea11




[WCCHDS- VD)      (???] DO HAVE YOUR TORTOISES OUT?




PLAINTIFF         yes, lhey're over there, they're i11 /he olher -




[WCCHDS- VDJ      ARE THEY (???] OR A RE Tf/EY ( ???)




PLAINTIFF         lhey're eilher 1mdemeath /he~ 1rhe11 )'OIi move the boflrds. lhey're 1mdemea1h i11 /here. )'OIi ca11 check-




[WCCHDS-VD]



PLAINTIFF         so, right 110111, there'.,·- i have more of 1he111- righl 110w. here. tlu:re'.1"j11sl / ll'O.




[WCCD- Harrell)   A11d wlrere do JYJII keep tire ot/rer 011es?




PLAINTIFF         11111- they're i11 a relative'.v ho11se.




[WCCD- Harrell)   At a relative'.,·?




PLAINTIFF         / ca11 Cls.mre you that 11011e of lhis - for e.mmple, this is just pallets - J'OII C(//mol consider pa/leis {fls /rashf. ... 11011e of this here is /Jmh. i ca11 ass11re )'OIi
                  of Iha/. J'OII <XIII even look 1111demea1h the lflt]J, /here's 11olhi11g /here. yo11 see this-




[WCCD- Harrell)   are lhese lhe hole.,for /ortoises?




PLAINTIFF         yeah- /Ital's bflsically ii. ... may i flsk why )'01t're photographi11g?



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[WCCD-Harrell)     because, as he said, \\'e have received a co111plai11t. of tl,e smell. tl,e trmh. tl,e mde11ts.




PLAINTIFF          11mv! - i don't know about rocle11t~·!




(WCCD- Harrell]    increase in insect activity.... 1mtchfor/10les, because ijust-




PLAINTIFF          yeah, tl,ere 111ig ht he holes in there.




[WCCD-Harrell)     so, ll'here's yo11r co111post pile? yo11 soy here? yo11're using to compost all of this?




PLAINTIFF          1t'e//, /X/11 of it is back over there- I mean, and so, part of is hack over //,ere.




('NCCD- Harrell]



PLAINTIFF          I mean. i'm 11011111de1:1'/a11di11g - besides tl,efact thal I'm hying lo 1'eorga11ize all of //,is .~h//J· I'm 1101111ulersta11di11g 11-lmt tl,e cn11ce111 is? ... ) 'OIi knoll',
                   after I re-organize and p11/ 11p eve1ythi11g 011 sl,efves? there'.,· 110/ going to he any co11cem.




[HCCD-Harrell]     so. tl,e p11blic-1111i.m11ce complaint - is the ste11cl, co111i11gfiv111 eve1ytl,i11g hack /,ere-




PLAINTIFF          Stll'ef 11111-




['NCCD- Harrell]   and 1111ici, p011 of //,at, i don't know wl,at to11oi.1·es smell like. so, i c/011'1 know //'part of tl,at comes/mm tl,at. 11111-




PLAINTIFF          .mre, i 1111dersta11cl.




[WCCD- Harrell]    1/,e -




PLAINTIFF          yea/,. i can e11e11 open tl,at -




[WCCD- Harrell]    111ml yo11r step //,ere! tl,e 11/,- me/en/ activity. tl,e IIJJ/ick in insect activity. so, 1/,at'.I· 111101 11'e're /,ere, today.




PLAINTIFF          Slll'e. ... i 1111dersta11d.



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(WCCD- Harre ll]    rhis hos hee11 ongoing since, to my k11owledge, at leas/ 2017.




PLAINTIFF           lo be honest, its 110/ <Ill ongoing issue. this sllif.f, like i said lot of slliff. i.tftv111 the ho11se. moved it out here. reorganize- i meo11, it'.1"}11st a matter of
                    reorgo11izatio11. and tl,ere'.r 110 ll'oy for me to do ii i11.1·ide the hot1.~e - there'.~ 1101 e11011gh, 1/,ere'.1· 1101 e11011gh . 11"/,a/ do you call it-?




(WCCD- Harrell]     srorage?




PLAINTIFF           yeah, i mean, 1/,ere'.1· 1101 enough light i11 rhere first of all to do all this .worage-




[WCCD- Harre ll]    11/,-/,11/,,




PLAINTIFF           i m11 do all the 1-e-orga11izatio11, 011d 1101 011/y that- its- ... p1-e1ty i111pmcticol for me to be a/1/e to do it-




(WCCD-Harrell]      do you[????} .... ,..hat is i11 these bags?




PLAINTIFF           11111, you ca11 check - you ca11 ope11 it up a11d check-




[WCCD- Harre l l]   rlwt's olrig/11, i'lljmt [???]-




PLAINTIFF



[WCCHDS- VD]        WHAT DO YOU HAVE IN THESE BUCKETS OVER HER E?! ... Huh?! ... Huh?!




PLAINTIFF           compost. ... comJ"J-~f. ... compost.




[WCCHDS- VD ]       LIQUID COMPOST?!




PLAINTIFF           ll'ell, you add liquid to it. yeah.




[WCCHDS- VD]        THIS IS UM- THIS IS All COMPOST?




PLAINTIFF           that's compo.1·1.



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[WCCHDS- VD)       WHAT DO YOU HAVE IN THERE- WHAT LIQUID IS THIS? ... MAD£ UP OF WHAT?!




PLAINTIFF          ll'ell i mean, vegetable 11101/er a11d eve1ylhi11g that- vegetal,/e matler, yes.




[WCCHDS-VD]        OK, SO, IT'S FERMENTJNG, VEGETABLE MA7T£R? ... IV/TH VERY STRONG SMELL.




PLAINTIFF          ll'ell, you ope11ed it! so, there'., o reaso11 11''1)' there's a smell- so, basically if)'OIi take ii dow11, if yo11 p11/ ii back in- so, is there a smell after you? i mean -

                   yo11 ope11ed ii, so, i mean-




[WCCHDS- VDJ       ALRJGHT .... IVELL THAT'S GOOD, BUT AREN'T YOU GOI NG' TO OPEN IT AT SOME POINT?! ... WHAT IS TH£ PURPOSE OF THIS?!




PLAINTIFF          yeah, i mea11- \l'e have a- .... ll'e have afwm- ... let mejusl 1mit back here-




[WCCHDS-VD)        EXPLAIN TO ME WHAT THIS IS ALL ABOUT!




PLAINTIFF          are ;v11 familiar with the.fact thal - i e,1plai11ed !his Jo a previous perso11 who came thrrmgl, here-




[WCCHDS-VD)         i haven't talked lo anybody else that'.v {???]




PLAINTIFF          she said {2017). so, i explai11ed this Jo-




 [WCCD- Harrell)    he's 11ever bee11 here before! he !,as 110 [???]




PLAINTIFF           Ok, {20/ 7} ,\'Omebody came over here, i told Jl,e people that i was doi11g composting, for my.(01111! !here'., 110- the whole pmpase qf the compost is/or the

                   .fmm! i have a.fam1-




 [WCCD- Harrell)    Where is yo11rfmm at?!




 PLAINTIFF          ill Tay/01:




 [WCCD- Harrell]     IV/wt'., the addre.,v Jo yo11rfam1?




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PLAINTIFF
                   It does11'l have a .1·/reel addre.~,. Im/ il's i11 FM-I I2.




[WCCD-Harrell]     O11FM-ll2?




PLAINTIFF          You ca11 look ii up!




[WCCHDS-VD]        How /011g you've bee11 !here?




[NCCD- Harrell]    Is ii pmpe11y !hat'.,· i11 Jv w· 11a111e?!




PLAINTIFF          Yes, it's in my name and a co-owner~·, name.




[WCCD-Rarrell]     Who's the co-ow11er?




PLAINTIFF          Thal ,muld be my JJ0re- ll(Y 1110111. i11 JJarlicular.




[WCCD-Harrell]     so they're pmpe11y 0111 //,ere-




PLAINTIFF          she'.,jusl - shejus/ mms ii fm~ you k110111 like-




[WCCD-HarreJ.l]    8111 like it's a warki11g fcm11?




PLAINTIFF          It's a 11·orki11g far111! you ca11 check ii 0111!




[NCCD-Harrell]     Whal do JV11fa,111?!




PLAINTIFF          Well firs/ of all, 20 acres is f or bees. and lite rest is i11 orchanl a11d also herbs. ... herbs of various ki11ds - it'.v 011 ag-ere111plio11 al !he 1110111e111.




[WCCD- Harre ll]   For the bees?




PLAINTIFF          No, 110, 110. !he bee,· is like i said- 20 acres. there's I I acresfor-orc:ha,r/ and herbs a11d olhe1; you k11011•




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[WCCO- Harrell]     What kind of herbs?




PLAINTIFF           rosema,y, mi11t, tlwt kind ofs/1!/f-




[WCCO- Harre l l)   and what yo11 doing with those herbs?




PLAINTIFF           ,re/I, i mean, i e1•e11t11ally - ll"ell, first <if all, msema,y takes 4 yews ta establish- i 111ea11, all these are pere1111ia/s, 11111-




[WCCO- Harrell)     so, ll'he11 did yo11 purchase tliisfam1?!




PLAINTIFF           This farm is p11rc/1a,ed in 2015, but- ii look a ll'hilefor 11s lo act11ally get it sel-11p.




[WCCO- Harrell)     11h-lmh .... 11h-h11h




PLAINTIFF           \l'e'rej11st - it's been mainly me that's been doing all the 11'01k. ... 11111, so, we're looking ol up to end of next year to act11al(1•. yo11 ca11 like i said, check the
                    property reconls. yon'd be able lo see, that there's a ,mrki11gfar111, that's all <if this s/11/J is 111ea11tfw aud by the 11"0)', I've taken a lot ofs11iffa11d
                                                                                                                                            0




                    i11c/11di11g compost and act11ally used ii in thefa1111. ... so, it'., 1101 tm immediate thing that I've done in the recent past - it's al least something that I've been

                    doing in a semi-yearly basis.




[WCCD- Harrell)     So, what'., you're gmwing out there i11 the fa1111 - that ll'asfor yo111· 011n perxonal co11.1w11ptio11, or? 01-e you 011•11 b11si11e.t1·?




PLAINTIFF            i mean, i hc1ve11'1, i mea,1, the /Jusiness is still in lire process of being setup. so, if yo11 can imagine-




 [WCCO- Harrell]     11'1,at do J'Oll mean set11p? being setup with?




PLAINTIFF            11-e// i'm doing most of tl,e ll'Drk. like my, like i said, my 1110111 is 111ai11/y fina11ci11g ii. she'.1· 110/ really-




 [WCCO- Harrell]     , ..1101 do yo11 mean being selllp? )'OIi mean wit/, 011 entity?




PLAINTIFF            No, 110, 110, 110! Selling it 11p, so i can - .\"ell at - so i can sell at thefa1111er's 1110,ket and so 011. the issue is, 11111-




 [WCCO- Harrell)     So, hove you.filed any papenm,k with tl,e Secreto,y of Stale or tl,e Cle,k'., office?




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PLAINTIFF          I've flied it with t!te nppmisa/ district- i 111ea11 the appraisal district that \\'e'refan11i11g tltere.




[WCCD- Harrell]    what{???/ ofyour busi11e.t,?




PLAINTIFF          i 11v11t' eve11 be able to sell 1111til, 1101eve1111ext yenr- 111?'11? talking t11v yea1:sfro111110111- first of all- a11 on·hnrd i'm 1101 .rnre if )VII k11ow, but if gmw a
                   tree/mm orchard, yo11'rc talking abaut 10 yem"!I. for a /l'l!e to be pmd11ctive.




[WCCD- Harrell]    11h-!t111m111...




PLAINTIFF          mu/ besides tlte /0 years, nfter tlte 10 J'l!ar period, you're still /ooki11g at ve1y limited pmd11ctio11.




[ WCCD- Harrell]   so ll'hat ki11d of trees do you hnve out there?




PLAINTIFF          111?11, its i111e11ded to be a pomegm11atefa1111 but. but, 11·hat- tlte 111ai11 crop that ll'e mrleredfor, like i said, is rosema,y. u-hic/1 is ,rlmt 111? pla1111ed 011

                   pla111i11g.




[iiCCD- Harrell]   so, but i11 the orchard? ... msemmy ill your orchmd?




PLAINTIFF          m.1·e111a1J' is a bush ... rosemmy is n bus/,.




[WCCD- Harrell]    ok, so tlte11 ll'hat do you have 011 the lterb-side? ... you said)'OIi got 01t·hmtl, aud tltey )'OIi got herbs? ... so, where do you get the msemmy at?




PLAINTIFF          111?11, so- actually, i got liken JO po1111d box of garlic-chives. that's mainly the lterbs that \l'e're going to p/a11ti11g. 111?'ve also invested a little hit i11111i11t.

                   11111- 111i11t, what else i., //1e11?. 111i11t a11d- orcgcmo- thyme-




[WCCD- Harrell]    tell me, 11111- yeah, tell me again, the co1111ty road that's 011?




PLAINTIFF          FM-I I2. You am look it up right 11011•. ifJ'OII have a- JVII ca11 look it up 011 your-




[ WCCD-Harrell]    how 111a11y acres is it?




PLAINTIFF          J / ac11?s.




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['IICCD- Harrell]    3I ?




PLAINTIFF            right.




[WCCD- Harrell]      so, how many acres, 11'01dd )'Oil say, of msema,y have )'Oil planted?




PLAXNTIFF            11111, ire planted about at least 2 acres about them- i mean that'.1· .1·0:far- i mean it'., 1101, yeah, i mean it'.\' one person doing all the thing-




[WCCD- Harrell]      HOii' many acres ,!fgarlic-d1ives.




PLAINTIFF            Oh, garlic-chives - the box is still there, i haven't planted it yet.




[liCCD- Harrel l ]   110/ yet pla/1/ed, any?




PLAINTIFF            fl1:,t f?f all, let me just eJ.71/ai11, the land right there is- \l'as hmi>ested by hay repeatedly. 11athi11g is gmwing there/ so, it need serious 011101111/ of 1rork- to get
                     ii 1wmi11g again even the person is familiar with that, and that's why they 're sort of. Clllling me some slack here-




[WCCD- Harrell]      Ok.




[WCCHDS- VD]         Can )'Oil please pmvide me the address ofJ'Ollr mother?




PLAXNTIFF



(WCCHDS- VDJ         Can )'Oil please pmvide me the address of_1"011r mother?




PLAINTIFF            Sure, its•••••••••••••••••.



[WCCHDS-VDJ          •..• ······••?
PLAINTIFF            correcl.




[WCCHDS- VDJ         And ll'hat city is that?




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PLAINTIFF         it'.i· right here, in lea11de1:




[WCCHDS-VD]       in l em,der?




PLAINTIFF         right... is there a reason- i mean is .wm1ethi11g involved ll'ith her?




[WCCHDS- VD]      ll'eff, she's the prope11y owner of thi.v pl'Operty?




PLAINTIFF         co- co-pl'Operty- , al, yeah, i gue.~1· so, yeah. co-property-01V11e1:




[WCCHDS- VD J     Who'.v the ot/1er property-owner?




PLAINTIFF         of ll'hich prope11y?




[WCCHDS- VD J     this one.




PLAINTIFF         yes it'.v - co-pmp- i mean, i don't k1101V if you- if you look at the pmper/J0 1econl.v, it shall' Ill)' 110111e and it shows her name. i'm 1101sure.




[WCCRDS-VD)       yeah ok...




PLAINTIFF         some thing wirl, 1/,e.fmm as well.




(WCCO- Harrell)   so, 1rhat aff is planted 0111 the,e. 1ight now?




PLAINTIFF         msemmy, 111oi11ly. rosema,y, and also like i said- 11·e j11st recently invested in a tmctorfor which-for me to be able to plal/1 the garlic chives seed,. i think,
                  i can b1i11g out the garlic-chives box, ifyou 1m11t... garlic-chive seecl.1· i can shall' it to you right 110w.




[WCCO- Harrell)   [???} [???}




PLAINTIFF         garlic chives. garlic chives.




[WCCO- Harrell)   111101 off have )'OIi pla11/etl out there? ... you told me 1h01 )'OIi haven't pla111ed any garlic-chives. thal 1hey're aff he,e.


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PLAINTIFF         110, 110, 110- so garlic chives arc here, but- right uow, it., jmt rosemlll)'




[WCCD- Harrall]   So, its 110/ msemmy mainlJ~ its 011/y mse111a1y? there'., 110 pomegmnates? there's 11othi11g in the orchard?




PLAINTIFF         for right now. it's· ... ll'ell, 110 the po111egm11ates- is ll'hat ll'C put in our pmpo.wl to the apprai,\'CII di.vtrict... i11 addition to the rosema1y, b11t•




[WCCD- Harrall]   but you don't have any planted? is that ll'hat you're saying?




PLAINTIFF         1101 yet. but we do have rosemwy. like i said . ... p/011 to get that I I acres i11 shape. if you go 0111 there a11d see, there'., 11othi11g. grass is gm,1'i11g 6 inches
                  apw1. ifJYJII kuow what i 111ea11.




(WCCD- Harrall]   110-




PLAINTIFF         so, ifgrass is growing 6 inches apart, that tell., JYJII how .... weak that soil has become. i'm 1101 sure the rea.vom behind that. 1110.,·t likely its because of
                  repeated hay-hwvesti11g.




[WCCIIDS- VDJ     so, do you have any more q11estio11s • because i'm ready to go back out-




PLAINTIFF         Yeah i'mjmt 11vmderi11g....rnre i 1111de1~·ta11d, like 11111- may i ask-




[WCCHDS- VD )     ctm 11-e go out here a11d fi11i.vh?




PLAINTIFF         i 1111dersta11d, that's fl11e.




[WCCRDS- VD )     {???] i'm going lo have to ask you to lead the way.




PLAINTIFF         sure. did i already bring i11 IIIJ~? let me see what i did 11·ith- and like i said-




(WCCIIDS- VD]     DO YOU HAVE FOOD HERE, SIR?!




PLAINTIFF         yeah, ll'hy?




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[WCCHDS- VD]
                  CAN YOU SHOW ME THAT YOU HAVE FOOD? /'DUKE TOBE ABLE TOSAYTHAT YOU'RE TAKJNGCARE OF YOURSELF!




PLAINTIFF         le/ me j11s1, before i gel to tlu,1, le/ me just- ... say a little bit qf 111,at i ueed to say here, ok? i 1rrml1I like to point 0111 that the people aro1111d me are /I
                  different m ce than i m11. i happen to be lfriug i11 a ,my tlwt is in cougmeuce, i guess, with my cu/tum/ /)(lckgromul and as )'Olt can see, eve11 the inside
                  of tl,e Imme i., prelly .,ha/1/1y - actually, it wa, m11d1 mare .,lmbl,y bejr,re- wul like i wicl, a lat of this .t111[( wm-




[WCCHDS- VD]      THERE'S NO PLACE TO SIT OR PUT MY CLIPBOARD DOWN! EVERY SURFACE IS COVERED!




PLAINTIFF         uh-huh. is //tat- a11d /tow is /Ital a ltazanl, or?




[WCCHDS- VDJ      IT'S NOT A HAZARD, IT'S JUST UNUSUAL!


 ~ [l\'CCflDS-VD] CONTINUES TO I!.LEGALLY TAKI': PHOTOGMPHS/VIDEOS OF INTERIOR OF PJ.J\INTIFF ' S [HOUSE]- D

 ~ -INCLUDING BUT NO'l' LIMITED TO INTERIOR OF PL/1.lNTIFF ' S KITCHEN-PANTRY .                                   D


PLAINTIFF         i mean! sir, ii'.\' 11111- i11 totalitarian socielies, tltey used to put people i11 priso11 for 1hi11g.1· that are '111111.wal'l




[WCCD- Harrell]   What'., i11 /hose mayomtaise?




PLAINTIFF         1ho1'.,ju.,·1 11111 fer111e11/ed s/1!ff. tltat i jml keep i11, whaleve,; like vi11eg(//; i jusl add i11 there.




[WCCD- Harrell]   Ok.




[WCCD- Harrell]   so, it does11'1appear Iha/ ymt do have auy food.


 ~ [WCCHDS-VD] JLIBGl\LLY DEMANDS TO SEE INTERIOR Of PLAINTIFF ' S REFRIGERATOR (INSIDF, OF PJ.J\IN'l'IFF" S [HOUSE]) . )



[WCCHDS- VD]      CAN YOU OPEN UP YOUR REFIUGERATOR FOR ME?




PLAINTIFF         S,shhh- Not this 011e here. i ca11 ope11 up-




[WCCHDS- VD)      THERE'S NOTHING IN THERE?




PLAINTIFF         I ca11 ope11 up /his ('(!frigemlor right here..




[WCCHDS- VD]

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                    OK.




PLAINTIFF           So, )Ylll're 1l,i11ki11g tl,(I( i s11111ive witl,0111 food, is tl,at ii?




[WCCD-Harrell)      Well, c/e(lr/y )'(lll're 110/ s11111ivi11g ll'i/1,-




PLAINTIFF           let me just open it up rigl,t l,ere. tl,ere'.1· (IC/11(llly (111otl,er one b(lck tl,ere, a., 11-e//- so tl,(lt ll'ay i can- ok, let me just open 11p, tl,is one i gue.~,. rigl,t-l,ere-
                    )YIII mm/ me to just?




[WCCHDS- VD)        l'DLIKE YOU TOSl·IOWME THAT YOU HAVE ADEQUATE FOOD FOR !'OURSELF.




PLAINTIFF           well, tl,is is /1,e brmd i just b(lked.




[WCCHDS- VD]        IS THIS PLUGGED IN? ... IS THIS PLUGGED IN?




PLAINTIFF           so, )'<!(II,- ... so, yes, ii is. you can, )'OIi ca11 - ii 1m11fd11't be lit up if ii 1ms11't plugged in.


 0C [l'ICCIIDS-VD] ILLEGALLY TAKES PHOTOGRAPHS/VIDEOS OF INTERIOR OF PIJ\INTIFF ' S REFRIGERATOR DESPITE,                                                        SI\YING IT ' S FINE . D



[WCCIIDS- VD]       WELL, I DON'T KNOW IF ITS HOLDING PROPER TEMPERATURE. BUT THAT'S FINE. OK.




PLAINTIFF           ok sure! so, hasically my main co11cem l,ere is lo.figure 0111, l,ow it is tl,at- l,ow ii is tl,e case tl,at- aside from tl,e organizing tl,at i need to do iu tl,e
                    lmckyord.


[   [l\'CCBDS-VD] \·/ANTS TO CONTrnur,; ENGAGING IN SUCI! MODERN-DI\Y-JIM-CRO'tl PUBLIC-OPPRESSION OF PLI\INTIFF - HUMILIATING PLAINTIFF

IN-FRONT-OF-RI\CKETEER CO-DEFENDANTS [JSP&KAP] , [RSR] .                             D


[WCCHDS- VD]        WELL, I'M GOING TO STEP BACK OUT HERE ON THE PORCH. l'M HAPPY TO CONTINUE TALKING WITH YOU OUT HERE.


g PLAINTIFF INSISTS UPON AT LEAST MINIM/\L PRIVACY - CI\LLlNG [WCCBDS-VD] TO SPEAK I\T [FRONTDOOR] D


PLAINTIFF           ok. ... s111r!, sure, 11111 - do )'OIi mind if 11-e talk - if i .,1a11d rigl,t l,ere and you stand rigl,t 1,ere?




[WCCD- Harrell]     Yeah. tlwt'., fine.


« [WCCD-Harrell] , [ \'ICCHDS-VD] BEGIN TO ENGAGE IN APPROXIMATELY 10 MINUTES OF COERCING PIJ\INTIFF, UNDER DURESS, TO SIGN- D
~ - WARNING-CITATION f.SPECIALLY SINCE TIIEY SO- EGREGIOUSLY VIOLI\TED PLAINTIFF ' S RIGHTS IN ENGAGING SUCII UNCONSTITUTIONAL- D

ff - , UNLA'tlf1JL SE/\RCH, SEIZURE OF PRIVATE/CONCEALED/CURTILI\GE AREAS OF PLAINTIFF ' S PRIVATE-PROPERTY (INCLUDrnG I l!OUSE J -
INTERIOR).      D
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 [   IWCCHDS-VD) , [\·lCCD-Harrell] ALSO ENGAG8 IN FRAUD ( [TPeC-T7-C32-§32 . 46)) AGAINST PLAINTHT \·/HEN 8NGAGING IN SUCH BRAZEN- D

 [ -AND-UNLAWFUL COERCIVE: " F'RJ\UDULENT SECURING OF DOCUMENT EXECUTION" AGAINST PIAINTU-F . D



[WCCIIDS-VD]      LET ME JUST LAY IT OUT FOR YOU. ...




PLAINTIFF         but before yo11 do, before yo11 lay ii 011I- 11111 ••• 111101 is this?




[WCCHDS- VD]      MY CARD, YOU CAN HAVE MY CARD.




PLAINTIFF         ok, before )'011 lay it 0111 - i mmldjmt ask !hat ;v11 respect the c11//11ra/ value.I' of other cultures?




[WCCIIDS- VD]     WHAT CULTURE ARE WE TALKING A/JOUr?




PLAINTIFF         l11dige11011s c11/t11res. E1,e1y l11dige11011s culture. I'm 1101 doing anything 0111 of the ordi1,a1y 1r/1e11 it comes to i11dige11011S c11//11res. ok, so- ll'e're talking

                  abo11t the people thal 11sed live 011 this land- I mean. but still do lo ve1y minute exle11I. and also, indigenous c11//11res in 1!fi'ica, South-America a11<l you
                  know, Asia as ll'ell. And, I happen to bejivm the Asian mllures. But whal I mean lo say i.1; illdige11011s cu//11res hal'e a distinct, I mean ve1y traditio11a/
                  ll'ay of living. that yo11 mighl consider to be JJrimitive'.




(WCCIIDS-VD]      I UNDERSTAND. LET ME STOP l'OU THOUGH. /JECAUSE THIS HAS NOTHING TO DO IV/TH YOUR CULTURE. YOUR RACE.




PLAINTIFF         Ho111 is ii - how is it ,wt?




[WCCIIDS- VD]     WHAT THIS HA S TO DO IV/TH IS YOU VIOLATING THE HOMEOWNERS ASSOCIATION CODE OF TENANTS THAT YOUR OIVNERSHlP SIGNED
                  ON TO. WHEN YOU /JOUGHT THIS PROPERTY.




PLAINTIFF         but its 011/y le111poro1y !




[WCCIIDS-VD]      YOU ARE IN AGREEMENT THAT YOU WOULD All/DE BY THE HOMEOWNERS ASSOCIATION CODES. AND I BELIEVE YOU ARE IN
                  VIOLATION OF THOSE CODES.




PLAINTIFF         if ii is- ok, i 1111de1:fl<md 111/at yo11're saying. if that is the case, ii is a 1e111pora1y siluatio11, and i'm going lo be re111ediali11g that by-



[WCCIIDS- VD]     THIS DOES NOT SEEM LIKE A TEMPORARY SITUATION, TO ME SIR.




PLAINTIFF
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               iu who! ,my, like i said - I've put eve1y1hi11g iu bags, (I/Id-




[WCCHDS- VD]   DISCUSSIONS /'VE HAD WITH OTHER INDIVIDUALS. THAT THIS HAS BEEN GOING ON FOR A LONG TIME!




PLAINTIFF      fll(lf'.1· ll'hal i'111 la/king abo111! IIY!II, !lw!'s 11110/ i'111 lalkiug abolll!




[WCCHDS- VD]   AND THAT SCENE IN THE BACKYARD DIDN'T HAPPEN OVERNIGHT.




PLAINTIFF      ok, lei me jus/ ask, who OJY! !lre individuals? i 111ea11, il'.r basically...




[WCCHDS- VD]   PROPERTY-OWNERS-ASSOCIATION. PROPERTY-MANAGEMENT-COMPANY. FILED A COMPLAINT.




PLAINTIFF      ok.




[WCCHDS- VD]   WIT/-/ THE HEALTH DEPARTMENT. I DO BELIEVE THAT YOU HAVE A PUBLIC-NUISANCE CONDITION, IN THE PROPERTY, IN THE BA CK.




PLAINTIFF      i 1111dersla11d.




[WCCHDS- VD]   IT NEEDS TO BE ABATED. IV/-IICH MEANS YOU NEED TO GET RID OF IT.




PLAINTIFF      ok, 110 tlint's wlmt i'111 saying- t/rat's w/rnt i'111 going to t,e doing. you c,111 see t/,e s/re/ves t/rnr ore being creoted.




[WCCHDS-VD]    OK. VERY GOOD. l'M GONNA GI VE l'OU 30 DAYS TO DO IT.




PLAINTIFF      i 1111de1~·1a11d. i 1111ders/a11d.




[WCCHDS- VD]   I NEED YOU TO SIGN THIS REPORT RIGHT HERE FOR ME. AND THAT'S ALL IT SAYS - JUST SOME OBSERVATIONS. l'D BE HAPPY TO
               READ IT TO YA. THIS DEPARTMENT RECEIVED A COMPLAINT FROM THE PROPERTY-MANAGEMENT OF THIS COMMUNITY. THE
               COMPLAINT STATES THE DEBRIS ON THIS PROPERTY MAY BE RODENT-HARBORAGE OR CREATE A PUBLIC-HEALTH-NUISANCE. I
               OBSERVED FLIES. I OBSERVED EXCESSIVE DEBRIS, WET CARDBOARD. FOOD CONTAINERS. BAGS OF PLASTIC. DOORS, SHELVES, BOX-
               SPRINGS. SOME SMELL OBSERVED WHEN CONTA INERS WERE OPENED. STAGNANT WATER WAS OBSERVED IN BUCKETS, WHICH CAN
               BE MOSQUITO HAR BORA GE. l'OUR INSTRUCTIONS ARE TO MAINTAIN PROPERTY IN A CONDITION TO ELIMINATE ANY Tl'PE OF
               PUBLIC-HEALTH-NUISANCE. SUBJECT TO SECTION 341. 347 OF THE TEXAS HEALTH-AND-SAFETY-CODE. THOSE ARE STATE LAWS THAT
               APPLY TO YOU ON THIS PROPERTY. YOU ARE INSTRUCTED TO CLEAN AND REMOVE All DEBRIS FROM THE PROPERTY TO ABATE
               THE PUBLIC-HEALTH-NUISANCE WITHIN 30 DAYS!

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PLAINTIFF        ok. ... ok ... 11'<!//, JY!ah. .. s111¥! ... s11re ... ok ... sure, i 111ule,~·1a11d. I 1111de1:1·1a11d. I 1111ders1mul sir. ... ok, i 1111de,,·/r111d that, but 111,af i need. ok, b111-




[WCCIIOS- VD]    IF I CAN GET YOU TO SIGN THAT!


a [l•iCCllDS-VD) FORCEFULLY SL/IMS HIS PEN ONTO CLIPBOARD TO DEMAND/COERCE: PLI\INTIFI" TO SIGN \·/ARNING-CITATION : ~

PLAINTIFF        Sir, 11111, let me-




[WCCIIDS- VD J   I DON'T REALLY HAVE TIME TO REALLY DISCUSS A WHOLE LOT MORE, SIR. AND THERE'S NOT A WHOLE LOT MORE THAT'S RELEVANT.
                 HERE! WHAT'S RELEVANT JS YOU HAVE A LOT OF DEBRIS, WHICH I BELIEVE CREATES A PUBLIC-HEALTH-NUISANCE.




PLAINTIFF        are yo11 talking about inside the house?




[WCCIIDS- VD J   OUTSIDE THE HOUSE.




PLAINTIFF        ok, outside the house. so, inside the ho11se, there's -




[WCCHDS- VD]     I'M CONCERNED ABOUT YOUR WELFARE INSIDE OF THIS HOUSE, BUT l 'M NOT HERE TO ADDRESS THAT AT THIS TIME!




PLAINTIFF        Ok.




[WCCRDS-VD]      ALRIGHT?




PLAINTIFF        sir-




[WCCHDS- VD]     IF YOU CAN JUST SIGN HERE!




PLAINTIFF        lei me j 11st, but before we gel lo that-




[WCCHDS-VD]      I REALLY NEED YOU TO SIGN IT!




PLAINTIFF        sir, i 1111dersta11d that. i 11'i// go ahead and sign ii. i'mjust /lying lo 1111de1;,;ta11d, a11dj11s1to be clear, it'.1· 30 days? is that cmrect?



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[WCCIIDS- VDJ     THAT'S CORRECT?P




PLAINTIFF         i just 11YUtld like a list of !he - i think il'.v 11111- !he acmse1; i mean the accused has the right{???} his accuser.




[WCCHDS- VDJ      IVEll I GAVE YOU A LIST ON THERE! SO, IF YOU REMOVE All OF THAT STUFF-




PLAINTIFF         110, i'm 110/ la/king aboul the list, i'm talking aboul the /isl ofpeap- 11111 properly-owners {thal co111p/ai11edj-




[WCCO- Harrell]   YOU CAN Fil£ AN OPEN-RECOIWS REQUEST FOR THAT! THERE'S A PROCESS. THArS NOT SOMETHING THAT EITHER ONE OF US CAN
                  RELEASE FROM ANY ENTITY! SO, YOU HAVE TO FILE AN OPEN-RECORDS REQUEST! THERE'S A PROCESS. IT'S NOT-




PLAINTIFF         ok, ok so, let me jus/ make SI/IV!. m long a.1· i put .1·11,jf 011 shelves - and organize eve1ythi11g- one/ make sure that e11e1ythi11g is in a ma1111er that's 110/ 11111-
                  causi11g <my problem.




[WCCO- Harrell]   JUST AS ITS NO LONGE// A PUBLIC NUISANCE!




PLAINTIFF         So, just lo be elem: i have shelves up there all along the ll'all.1; i mean - aba111, Stlj' about 6 feel a,my all the 1111y f,vm-




[WCCHDS- VDJ      GET RID OF All YOU EXTRA STUFF! AND TAKE IT OUT TO THE FARM! IF YOU DON'T WANT TO KEEP IT- YOU CAN'T KEEP IT HERE!
                  GET IT OUT THERE! AND CLEAN UP THE BACKl'AI/D!




PLAINTIFF         ok, so-




[WCCHDS-VDJ       YOU'RE GOING TO HA VE TO COMPLY IV/TH TNE HOMEOIVNEl/'S ASSOCIATION GUIDELINES /-JERE!




PLAINTIFF         i 1111den1/tmd that!




[WCCIIDS- VD)     as 11V!II as... slate law!




PLAINTIFF         110, lisle11-




[WCCHDS- VD)      SO, IF YOU'LL SIGN /-JERE PLEASE, Sil/! GO AHEAD AND DO THAT {RIGHT NOIV} ! GO AHEAD AND SIGN THAT NOW FOi/ MEI



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PLAINTIFF         i 1111dersta11d that! so, \\'bot - ij11st u·amw be clear tbot i ll'ill go al,cacl and clo exact(y wl,at you're- firs/, of all is there a re<111ireme11/ tl,a/ i sign it? if i

                  agree 10 whatever )Y)lt're sayi11gl is tl,c:re a requirement //,at i sign ii?




(WCCHDS- VD]      I Will SAY THAT YOU REFUSED TO SIGN IT. AND THERE'S NO REASON FOR YOU TO REFUSE TO SIGN IT- BECAUSE IT DOESN'T TELL
                  YOU THAT YOU'RE IN VIOLATION OF- All IT TELLS YOU IS THAT THIS IS THE VIOLATIONS THAT I'M CITING l'OU, BUT IT DOESN'T
                  MEAN YOU AGREE TO ANY OF IT. YOU DON'T HAVE TO AGREE TO ANl' OF THIS. THJS IS JUST THAT I NOTIFIED YOU. YOU'RE SIGNING
                  THAT I GAVE YOU A PIECE OF PAPER.




PLAINTIFF         Ok .... sure ... ok, ok ... ok, got ii. so basically- ... sure i 1111de13·/a11d, so basically- i just 1tY111/ to moke it clear tl,at there'.~ a disagreement betll'een you and
                  me. /mt i'111 going to comply ll'itl, ii - a.1· soon as possible.




(WCCHDS- VD]      YOU HA VEE VERY OPPORTUNITY FOR DUE PROCESS!




PLAINTIFF         sure, sure, sm-e. i 1111derstr111d.




[WCCHDS- VDJ      IF YOU'LL SIGN THERE PLEASE! I NEED TO GO ABOUT MY BUSINESS!




PLAINTIFF         s111-e, ill 1111de13•/a11d sir! what i 111ea11 to srp is-




(WCCD- Harrell]   MR. KODE, WE HAVE OTHER CALLS THAT IVE HAVE TO DEAL IV/TH!




PLAINTIFF         I 1111derstr111d. i j ust, i completely 1mdersta11d that- i j11sl mm/ to be clear <ts to 11'/wt i'111 sig11i11g to- i 11Y1nl to make clear, that \\'hen i p111 s1tiff 011 shelves,
                  ok? and eve1ything is neatly organized.


 a [l·lCCIIDS-VD] REFERS TO "BYLNIS" EVEN THOUGH BYLAWS DO NOT INCLUDE /\NY OF RESTRICTIVE-COVENANTS : B
 a [\•lCCHDS-VD] OUTRAGEOUSLY CONTINUES-TO-TREAT PLAINTIFF' WITH RACIST-DISRESPECT AS IF PIAJNTIFF IS ILLITERATE : ~

[ WCCHDS- VDJ     l'M NOT MAKING YOU ANY PROMISES. l'M TELLING YOU THAT YOU NEED TO READ THE HOMEOWNERS ASSOCIATION BYLAWS.




PLAINTIFF         ok, but that's definitely the case- so, so,




(WCCHDS- VD]      READ THE HEALTH AND SAFETY CODE. MAKE SU/IE YOU ARE COMPLYING IV/Tl-I THE HEALTH AND SAFETY CODE AND THE
                  NOMEOJVNEIIS ASSOCIATION B YLA I~'.




PLAINTIFF         sure... its' that's all ... sure....



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[WCCIIDS- VOJ      IF YOU DO THAT. AND YOU TAKE CARE OF YOUR OF YOUR PROPERTY. THEN THESE COMPLAINTS Will STOP, AND THE KNOCKING ON
                   THE DOOR Will STOP!




PLAINTIFF          11111, rega1rli11g lite co111plai111s. mauy of my ueiglthors-




[WCCIIDS- VO]      YOU SEEM LIKE AN INTELl/GENT GUY! YOU SEEM VERY INTELl/GENT! SO YOU GOTTO UNDERSTAND REASON. THA T IF l'OU TA KE
                   CARE OF YOUR PROBLEM, WE WON'T COME AROUND ANYMORE! ·




PLAINTIFF          i 1111de1~·1cmd that. i complelely 1111de1~·/a11d /Ital. ok-




[WCCIIDS- VO J     SO, IF YOU'LL SIGN HERE, PLEASE, SIi?! RIGHT NOW, PLEASE! BECAUSE, WE'RE GOING TO LEAVE!




PLAINTIFF          ok- i 1111dersta11d. i'm going to sigu ii. but i j 11s1 1m11t-lo make ii clear that I've beeu gelling threats agaiml myself, i11c/11di11g ltavi11g my head broken opeu!
                   somebody said, i'/1 crack yo11r head open, something like !Ital. and also, 11111-




[WCCD- Harrell)    Here al )'0111' home?




PLAINTIFF          Yer, 1igltt here!




[WCCD- Harre ll)   ll'itlt all these camems? do )VII !rave some evidence?




PLAINTIFF          Yes! I do /rave evidence of ii- in f act i filed -




[WCCIIDS- VDJ      YOU CAN FILE A CLAIM AGAINST THAT INDIVIDUAL, HERE AT THE COURTHOUSE!




PLAINTIFF          Sure. ll'ell, ifs actual/y oue individual... b1111/tere'.v also, 11111lliple-




[WCCIIDS- VOJ      l'M NOT /-/ERE TO TALK ABOUT 71-IAT! BECAUSE l'M NOT A LA IV-ENFORCEMENT OFFICER! ALRIG/-IT?! SO, IF YOU CAN JUST SIGN
                   IUGNT THERE?!




PLAINTIFF          ok.




[WCCHDS- VO)       I'LL NOLD ITFOR YOU ... YOU SIGN ATTN£ TOP AND JUST PRINT YOUR NAME UNDERNEAT/-1.

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PLAINTIFF          Ok, lei me jml - lei me jml- i'/1 go ahead and sign ii, i jusl wan/ to bring my- jus/ to make sure.


rr PLAJNTIFF TRrnS TO FIND MISPLACED HANDIIE:LD CWCORDER TO TAKE PHCYI'OGRAPH OF SUCH l·lARNING-CITATION . »


PLAINTIFF          if i get-



[WCCHOS- VDJ       HURRY!{???/




PLAINTIFF          yeah, i 1111dersta11d, i 1111de1~·ta11d. i'm going to co11/act my 1110111 aboul-




[WCCHDS-VD]        IS THE CAMERA WORKING ON l'OUR HEAD?




PLAINTIFF          i'msony.




[WCCHDS- VD]       IS Tl-IE CAMERA WORKING ON YOUR HEAD?




PLAINTIFF          yeah, it is, 11,f1y?




[WCCHDS-VD)        WELL, Tl-JEN - !




PLAINTIFF          110, yea/,, i 1111dc1,;twul. i 1111derstand. 110 but the text of ii- do )'OIi mind ij~


ff [WCCHDS-VD] and [~/CCD-Harrell] refuse lo speak to plaintiff ' s                                (MOTHER) .     D


[WCCHDS-VDJ        NO! I DON'T WANT TO DO THAT! l'MJUSTGOJNG TO WRITE THAT YOU REFUSED TO SIGN!




[WCCD- Harre ll)   {???]!




PLAINTIFF          110, 110, 110, ac/uall;~ so. so! what i 111ea111 to .m y is, my 1110111 is a - if i sigu for .mmelhing, shouldn't the co-o,mer of the prope11y-




[WCCD- Harre.11)   NO! ... NO!




[WCCHDS- VDJ       NO! ... I JUST NEED YOU TO SIGN THAT YOU RECEIVED IT, AND I'll GIVE A PIECE OF PAPER. AND /'M OUT-OF-HERE.


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PLAINTIFF         ok.




[HCCHDS- VDJ      IF YOU DON'T SIGN IT RIGHT NOW, l 'M JUST GOING TO SA Y REFUSED TO SIGN.




PLAINTIFF         ok, ok, ok, and wl,at is ii /JJL//,e-11Y1JL i'm 1101 .wying 1/,a/ i ref,,- i'm going to sign it-




[HCCD- Harrell]   SID COME-ON! LIKE HE SAIDI l'OU KNOW, EXACTLY WHAT YOU'RE DOING RIGHT NOW, IS STALLING AND TRYING TO- JUST PROLONG
                  THIS THING OUT-




[HCCHDS- VD]      YEA H...




PLAINTIFF         sl,h.. ok, ok, ok .... No, i'm 1101 - i'm 1101 sta/li11g! i'mjust -




[WCCD- Harrell]   EITHER YOU SIGN IT OR YOU'RE NOT GOING TO SIGN IT! BUT IVE'RE NOT GOING TO SIT /-JERE AND ARGUE IV/TH YOU FOR ANOTHER 30
                  MINUTES ABOUT IT/


 0C [1°/CCHDS-VD] FORCEFULLY SLAMS HIS PEN ONTO CLIPBOARD TO DFJ•lAND/COERCE PLAIN'l'IFF TO SIGN l·IARNING-CITA'l'ION : D



PLAINTIFF         sure. ak. a/rigl,t, o!, after i sign ii, like, can i just take a p!,otagraph of it?




["HCCHDS- VD]     YOU'RE GOING TO GET A COPY OF IT/




[WCCD- Harrell]   YOU'RE GOING TO GET A COPY OF IT!


a PLAINTIFF REGRETS THE FACT THAT PLAINTIFF CANNOT FIND HANDHELD C/WiCORDER : j

PLAINTIFF         011,.wnw! ok.




[HCCHDS-VD]       YOU'RE NOT AGREEING TO ANYTHING, DO IT/ YOU'RE NOT AGREEEING TO ANYT/-1/NG! YOU HAVEN'T AGREED TO ANYTHING! YOU
                  HAVEN'T ADMITTED TO ANYTHING!




PLAINTIFF         ok.




[WCCHDS- VDJ      YOU HAVEN'T AGREED IV/TH ME - YOU HAVEN'T SIGNED ON ANY CONTRACT. WHAT YOU'RE TELLING- IVHAT l'M TEllfNG YOU IS THAT
                  I HA VE NOTIFIED YOU THA T I BELIEVE THERE ARE VIOLATIONS OF THE LA IV THAT YOU NEED TO TAKE CARE OF. AND YOU'VE
                  RECEIVED THAT NOTIFICATION . AND THAT'S All YOU'RE SIGNING ABOUT!

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PLAINTIFF          ok. i 1111clers1and ok.


[   PLAINTIFF PAINFULLY SIGNS . PLAINTIFF ' S EYES ARE FILLED IHTH TEARS DUE TO MENTAL ANGUISH ANO STRESS CAUSED BY SIGNING SUCH

FORM : D



[WCCHDS- VDJ       ALRIG/-IT! ... Please p111 yo11r name tmdemeath.




PLAINTIFF          ok, 110111 !Ital I've signed ii, lei me just- before yo11 lake lite carbon copy of !Ital- sir, sir! yo11 don'! have lo lake /he carbon copy!




[WCCHDS- VD]       11-fE CAMERA ON l'OUR /-IEAD!




PLAINTIFF          No, lite camem is 1tol going lo cap/W'I! lite lex/. so, !Ital's ll'IWI i'm saying. give me a second




[WCCHDS-VD ]       /'LL GIVE YOU /0 SECONDS.




PLAINTIFF          11ft, ok! sit; i need lo.find my camera! sil; lei 111ej11sl.fi11d ii - !told 011 a second! give me a second.


[ PLAINTIFF DESPERATELY SEARCHES FOR CJ'IJ~ERA :                      »

[WCCHDS- VDJ       {???] IT'S A NON-CARBON COPY. OF EXACTLY W/-IAT I WROTE.



 ~ !WCCIIDS-VD] IIANDS PLAINTIFF THE TORN-COPY                         »

PLAINTIFF          Like i said, Like i .mid. sir.




(WCCD- Harrell )   YOU CAN DO AN OPEN-RECORDS REQUEST! AND GET ANOT/-IER COPY LATER.


 ~ (1•1CCHDS-VD] STARTS \·IALKJNG AWAY FROM PLAINTIFF : ~



PLAINTIFF          11011• 1/tal, I've signed ii- I've i·ooperaled. can i J11sl plea.re gel a 111i11111e ll'il/1 JYJII, i }ml ll'(m/ lo e1plai11 my side of 1/te sil11alio11!




[WCCHDS- VD]       I DON'T NEED TO HEAR YOUR SIDE OF THE SITUATION. SIR! /'VE ALREADY HEARD QUITE A BIT FROM YOU! AND I UNDERSTAND
                   WHERE l'OU'RE COME FROM. BUT l'M GONNA TELL YA T/-IAT YOU'RE NOT JN COMPLIANCE IV/Tl-I WHAT THE NEIGHBORHOOD IS
                   REQUI/UNG l'OU TO DO, IN ORDER TO OWN THIS PROPERTY!




PLAINTIFF          ok, .first of all, lei me-




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[WCCHDS- VDJ      YOU AND YOUR MOTHER ARE IN VIOLATION CAUSE YOU'il£ NOT COMPLYING WITH Tf/E HOMEOWNERS ASSOCIATION BY-LAWS THAT
                  l'OU AGREED TO WHEN l'OU BOUGHT TO PROPERTY!




PLAINTIFF        sure, 11'/,at i 111ea11 to .my-




[WCCIIDS- VD]    MAKE SURE TflAT- DON'T VIOLATE ANY HEALTI-I-AND-SAFETY-CODE. AND YOU'LL BE OK!




PLAINTIFF        i 1111de1~·1a11d //,at.




[WCCHDS- VD]     ALRIGHT! THAT'S IT! HAVE A GOOD DAY!




PLAINTIFF        ok, let me. alii1e, 11111- sii; may I /,ave a can/!




[WCCHDS- VD]      YOU HA YE A CARD!




PLAINTIFF        actually, I don't know 11'/,ere i kepi ii, could you please-




[WCCHDS- VD]     OK. READY! ... THERE YOU GO!




PLAINTIFF        11111 yes, /,old 011 a second. sir, do you l,appen to know 11•/,ere i leji my camera?




[WCCHDS- VD]     NO SIii, I SURE DON'T!




PLAINTIFF        A/rig/,/, //,auk you.




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E PLAINTIFF NOTICES ON SECURITY- CAMERA- FCX)TAGE THAT AF'I'ER LEAVING PLAINTIFF ' S PROPERTY,                                 [\•/CCHDS- VD] WOULD CRACK JOKE(S ) - ~

~ -ABOUT PLAINTI FF, AND [WCCD-llarrell] LAUGHS-OUT-LOUD, AU'DS'l' UNCONTROLLABLY - AS THEY BO'l'H THOROUGHLY ENJOYED- iJ

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  g -VIOLATING PIJ\INTIFF ' S RIGHTS . SHORTLY l\FfER, PLAINTIFF NOTICES RACKETEER-CO-DEE"END/\N1' [KJIP) I\PPROACH [\'lCCD-Harrell)- j)
  0C   -AND BOTH [Kl\PJ AND [\•lCCD-Hanell) BRJ\ZENLY CONSPIRE AGl\JNST PLAINTIFF FOR UP TO 35 t•UNUTES , DESPITE THE FACT- j)

  U -1'HAT BOTH RACKETEERS    [Kl\P) AND [WCCD-Harrcll] !!AVE rur,L KNO':ILEIX,E Tlll\T PLAINTfFF ' S SECURlTY-Cl\l•lERAS /IRE RECORDING- j)

  &-SUCH CONSPIRACY . AT THE END OF SUCH CONVERSATION , [KAP] EITHER REQUESTS OR DEMANDS PRIVl\TE INFORMATION IBOM ALL- j)
  ft -OF [\'/CCD-Hartell] ' S MALICIOUS AND ILLEGAL SEARCHES OF PLAINTIFF ' S PRIVATE-PROPERTY DATING BACK TO {2017) . j)
  ~ - [WCCD-llarrellj COMMITS ADDED CRIME OF MlSUSE-0!,'-0FFICIAL-INFORMJ\TION BY PROVIDING A HUGE STI\CK OF PI\PERS Yll'l'H SUCII- il

  11 -PRIVATE/CONFIDENTIAL INFORMATION TO [Kl\P] , FURTHER REVEALING THE BRAZENNESS OF THE RACKETEERS IN THIS RACKETEERING- j)

  11 -ENTERPRISE AGAINST PLAINT] 1-'F. [Kl\P] RETURNS TO HER HOUSE WITH SUCH HUGE STACK OF INFORMATION CON1'AINING SUCH- j)
  11 -PRIVATE/COMFIDENTIAL INFORMATION /\BOUT PLAINTIFF . [WCCD-llarrell] LEAVES PROPERTY APPROXIMATELY 45 MINUTES AFTER- j)
  11 -TALKING TO PLAINTIFF, THUS MALICIOUSLY 11Al<ING A FRAUDULENT STATEMENT TO PLAINTIFF, STATING Tlll\T THEY NEEDED- j)

  11 -TO GET TO OTHER PHONE-CI\LLS ABOUT OTHER PROPERTIES , UISTEAD SPENDING APPROXIMATELY 35 MINUTES MALICIOUSLY CONSPIRING j)

  U -AGAINST PLAINTIFF WITH RACKETEER-CO-DEFENDANT [KAP] . PLAINTIFF IS LEl'T WITH EXTREME MENTAL-ANGUISH FROM TIIIS INCIDENT- j)
  11 -AS RETALIATION, ESPECIALLY FROM A GOVERNMENT AND/OR [HOA], ACTING ON BEHALF A MALICIOUS PRIVATE-CITIZENS IS EXTREMELY D
  ( -DIITICUl,'1' TO CO:>lPREHEND AND ACCEPT . PLAIN'l'IFF I\SSER'l'S THAT ALL OF [\·JCCD-HarrelJ] ' S INTERACTIONS ~HTII RACKl':TEER-CO- j)

  « -DEFEIJDI\N'l' [Kl\P] DURING THIS INCIDENT SHOULD BE CAPTURED BY [l'ICCD-llarrcll] ' S BODY-~!ORN-C/\MERA RECORDING, UNLESS D
  ~ - [~.'CCD-HarrellJ FURTHER OBSTRUCTED-JUSTICE AGAINST PLAINTlff BY MALICIOUSLY TURNING OFF SUCH l30DY-WORN-CI\MERA WHILE ~

  K -INTERACTING WITH RACKETEER-CO-DEFENDAN'l' [KAP) . D




i502
On or about the approximate date and approximate time of {2020-05-01 20:42}, [JSP] approaches the security-cameras located at the side of

the plaintifrs [HOUSE] and angrily issues the obscene/vulgar gesture of his middle-finger raised to one-or-more of such security-camera(s),

overwhelmingly reaffmning to the plaintiff, yet again, that all of the [WCLE]'s predato1y actions against the plaintiff - including the most recent

predatory actions a few days earlier - were instigated purely by the extreme-racial-animus of [JSP &KAP] (and co-conspirator [RSR]) against

the plaintiff, who have repeatedly summoned [WCLE] to act in such modem-day-Jim-Crow, brazc11ly-retaLiat01y manner against the plaintiff

for the plaintifrs "audacity" to report (to [WCLE]) their more-direct racially-motivated hate-crimes/civil-rights-violations/racketeering-

acts/abuses committed against the plaintiff.



1503
On or about the month of {2020-05}, [RSR] is sued in a court of [WC] by a financial-institution/creditor/lender. Although the plaintiff has not

reviewed such court documents, nor the evidence, nor the allegations made in such lawsuit (since, to the best of the plaintiff's knowledge,

defendant [WC] does not make such Court documents available online for download), the plaintiff has strong reason to believe that [RSR] was

sued due to non-payment(s) or inadequate-payment(s) of contractual debt owed to such petitioner financia l-institution/creditor/ lender. The

plaintiff highlights this issue because [RSR] has been publicly and fraudulently accusing the plaintiff, in the most brazen, defamato1y (@ ) and

privacy-invading manner, of contractual violation(s) of restrictive-covenants even within private areas of the plaintiff's private-property (such as

the [BACKYARD]), all-the-while, pretending as if she, herself, is a model citizen that follows all of the rules/laws/contracts of society, which

as this lawsuit tries to document, is purely-racist fraud. A substantial part of this lawsuit is thus dedicated to exposing every aspect of the

ma licious, racially-motivated fraud that [RSR] was perpetrating against the plaintiff (for over a decade).



1504
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On or about the approximate date and approximate time of {2020-05-05 10:00}, the plaintiff meets with hauling contractors (a crew of three

people) at the plaintiffs property to show such hauling contractors the materials that needed to be transported from the plaintiffs (residential)

property, [788KLLTX7864 l ], to the plaintiff's agricultural-private-property - since once again, none of such materials were waste of any kind,

and the plaintiff, the owner of such material(s) - and not the government - is the sole determiner of the value of such item(s). (Additionally, the

plaintiff was wming to spend significant\y more money to have those materiaIB transported to another property as opposed to havlng those

materials sent to the landfill, which further indicates that the plaintiff placed sufficiently high value on all of such matcrial(s), never to be

considered waste of any kind.) The plaintiff allowed the hauling contractors to enter into the plaintiffs [BACKYARD] ill order to review and

take-inventory of the items that needed to be transported. While such contractors were doing this task, the plaintiff is taking photographs of the

[FRONTY ARD] from multiple angles across the street - somethil1g that the plaintiff has routinely done once or twice a month, ill-order-to

protect the plaintiff from potentially predatory and/or malicious actions from the [HOA]. As the plaintiff is taking a photograph, [RSR]

approaches from her house, accosts the plail1tiff, and while behind the plaintiff, angrily yells at the plaintiff, "WHY DON'T YOU JUST

MOVE!". The plaintiff briefly looks back ill the direction of [RSR], and she contilmes, "IF YOU CAN'T FOLLOW THE RULES, JUST

MOVE!" Once agail1, [RSR] uses the word "cannot", inadvettently, but actually honestly, indicatir1g ve1y clearly that the plaintiff is not guilty of

any wrongdoil1g; clearly, the plaintiff cannot be held legally responsible (liable) for any action(s) that the plaintiff "cannot" do. (Once again, if

the plaintiff is "unable" or "incapable" of maintaining the plaintiff's property according to White-American standards, then, indisputably, that

"inability" is a clear indication that the plaintiff has never committed any crime when it comes to the these ethnocentric property-maintenance

laws, or at the very least, the abusive interpretation and/or abusive enforcement of such property-maintenance laws,) After a decade of racist
abuse suffered by the plaintiff at the hands of [RSR], at this point in time, the plaintiff knows better than to dignify [RSR]'s racist and

fraudulent narratives against the plaintiff with a response. Thus, the plaintiff does not respond to [RSR]'s racist and fraudulent statements,

although [RSR] continues, entirely unprovoked, to fraudulently state to the plaintiff, "[CAUSING ALL SORTS OF PROBLEMS] FOR YOUR

NEIGHBORS[???}, CAUSE OF RATS![???]! PESTS! ... "Once again, [RSR] lives across the street from the plaintiff and has thus never

had any valid legal clailn agail1st the plail1tiff; so, [RSR] must fraudulently refer to plail1tiffs next-door-neighbors (includil1g her malicious,

racketeer co-conspir-ators [JSP&KAP]), instead of herself, as the so-called ''victims" of the plaintiff. The plaintiff ignores all of [RSR]'s

fraudulent statements and, after taking the necessary photographs, walks back towards the plaintiffs property. One of the hauling contractors,

the chicfofsuch crew, explained to the plaintiff, that the plaintiff would need to agree to remove a fence-panel and allow such hauling

contractors to drive a truck and/or trailer (in reverse direction) over the plaintiffs relatively-new "no-mow" grass, so that such materials could

be more easily and efficiently transported from the [BACKYARD] onto such truck. While the chief was speakil1g to the plaintift; [RSR] who

had been monitoring all of the activity on the plaintiffs property, approaches two of the other hauling contractors on the street, indisputably to

start manipulatively backstabbing and badmouthing the plail1tiff - as the chief would later confinn (see below). The plaintiff has noticed that

[RSR] seems to have summoned even another of her co-conspirators, an unidentified White-American woman, [UW AW-6], to also speak

derisively and angrily against the plaintiff to such contractors, so as to collectively shame them for assisting the plaintiff, who again, due to the

plail1tift's racial-profile was not worthy of any such assistance - again, just one more of [RSR]'s countless and egregious [FHA]/[TFHA]

violations against the plaintiff. If this Court gr-&nts the plaintiff the opporttmity to litigate this case, the plaintiff would seek to depose and/or

cross-examine this particular witness, [UWAW-6]. Although the hauling contractors were ready to perform such work on that particular day, at

least at that moment in time, the plaintiff was not in the least bit agreeable to either of those aforementioned conditions stated by the chief, and
let the chief know that the plail1tiff will thil1k about their offer and let them know if the plaintiff seeks to continue with their services at some

point in the future. The chief returns to the other two hauling contractors on the street, who are still speakil1g with [RSR], and at that moment


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in time, [RSR] then even begins to speak derisively about the plaintiff with the chief. This is, at the very least, the second time in which the

plaintiff has summoned/hired contractors to the plail1tiffs property, and [RSR], like the mafia-godfather of the neighborhood, has, yet again,

found the audacity to approach the plaintiffs contractors, as if to show them that she is the real boss of the neighborhood, at the vc1y least,

when it comes to any issue involving the plaintiff. After [RSR] continues to speak with such crew for a relatively shorter amount of time, the

hauling contractors leave the plaintiffs property, and the plaintiff enters back into fHOUSE), having already fmished some landscaping work \n

the [FRONTY ARD]. The plail1tiff would speak with the chief of such crew over the phone either later on that same day or on a followil1g day,

and the chief il1forms the plaintiff that [RSR] was, indeed, viciously badmouthing the plaintiff, that [RSR] was "telling eve1J,IJO<Q'" that, all of

the plaintiffs bills are paid for by the plaintiffs parents, and that the plaintiff lives off-grid without water (utility) service. The chief informs the

plaintiff that he had to request [RSR] to leave hin1 and his crew alone, as any-and-all of [RSR]'s spiteful allegations regardil1g the plaintiff had

absolutely no influence on the plaintiffs right to hire such contractors, and furthermore, that [RSR] had no business in illterfering with the

plaintiff or such contractors in such predatory manner. The plaintiff emphasizes such extreme-racial-anilnus that [RSR] has exhibited against

the plaintiff for over a decade at this poil1t - that all of [RSR]'s animus agail1st the plaintiff had absolutely nothing to do with the allegedly "11011-

conformant" manner ill which the plaintiff was maintaining the plaintiffs private-property, but rather, that [RSR] did not believe that the
plaintiff - whom, solely due to the plaintiffs racial-proftle, [RSR] has always considered to be a low-IQ, powerless, subhuman animal - was

w01thy of any rights, let alone the right to private-property-ownership, especially withil1 "their" (exclusive-and-pure) White neighborhood (:ill).

Despite the fact that [RSR] was previously warned by at least two-or-more other resident(s) of the subdivision (duril1g two-or-more separate

incident(s)) that she is violath1g the plaintiffs rights, [RSR] brazenly continues, unfazed, ill such extremely-manipulative and malicious action(s)

against the plaintiff.




On or about the approximate date and approximate time of {2020-05-09 08:00}, [JSP] enters the side-yard of [784KLLTX7864l], picks up a

few small pieces of debris from such side-yard and throws it into the plail1tiffs property (right ill front of one-or-more of the plaintiffs security-

cameras). [JSP] then opens the tap and begins to use a hose to water the front-yard-grass of[784KLLTX78641]. Approximately 15 minutes

later, an unidentified White-American woman, [UWAW-5], walks up the sidewalk, looking at the plaintiffs yard-signs as she conthmes walking

up the sidewalk. Then, [UWAW-5] greets [JSP], and starts a very brief conversation about the plaintiff - as if, by looking into the plail1tiffs

yard-signs, [UWAW-5] was able to get a sufficient picture of who the plaintiff was. [JSP] engages in the same relentlessly-racist propaganda

against the plaintiff, once again painting the plaintiff as a crazy person, because according to [JSP], [UWAW-5] and many of the other right-

wing residents of the neighborhood, any person-of-color that has yard-signs that state anti-White-Supremacist language like "Make Racism

Wrong Again" and "Tar the Rich" is crazy and/or worthy of scorn and humiliation. (JSP] states to [UWAW-5], words-to-the-effect of "Ve1y

unusual penmn! ... Wish he would go awayl"[UWAW-5] laughs, responds ''Yeah, I bet/", and continues walking up the sidewalk. If this Court

grants the plaintiff the opportunity to litigate this case, the plail1tiffwould seek to depose and/or cross-examine this particular witness, [UWAW-

5]. A common theme expressed in this lawsuit is that the predatory-actions of racial-oppression and racketeering-activity that the plaintiff has

directly suffered from the defendants would not have been made possible if not for the subtle, implicit racism that exists within at least some

fraction of the neighborhood - the existence of such subtle racism withil1 the neighborhood making the overall environment more hospitable to

the more-overt predatory racism directly suffered by the plail1tiff at the hands of the defendants.




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1506
Since the plaintiff was not in the least bit agreeable to removing the aforementioned fence-panels to complete the hauling work, the plaintiff

shortly contacted other hauling-contractors since such other hauling-contractors were willing to perform such work without the need for such

fence-panel-removal. On or about the date and approximate time of {2020-05-09 10:30), such hauling contractors arrive at the plaintiffs

property, reversing their hauling-trailer onto the plaintiffs [DRIVEWAY]. The plaintiff would instruct such hauling-contractors on the work

that needed to be perfonncd, allowing such contractors into the plaintiffs private [BACKYARD], and showing them exactly the materials

and/or types of materials that needed to be hauled to the plaintiffs agricultural-private-property. The plaintiff specifically instrncted such

contractors not to remove certain items~ because such items were the result of [JSP]'s malicious vandalism of the plaintiffs property in the

prior incident from {2020-03-24} - sec previous incident above. The plaintiffa1so instructed such contractors to stay within the borders of the

plaintiffs property as a result of the fact that the plaintiff has hostile neighbors with extreme-racial-animus against the plaintiff, [JSP&KAP] -

especially since [RSRJ had yelled at the plaintiffs other (Hispanic) contractors for even briefly entering into the border-area (side-yard) of

[JSP&KAP]'s property. Since almost all of the materials stored in the plaintiffs [BACKYARD] that needed to be hauled to the plaintiffs

agricultural-private-property were relatively light-weight, one of the contractors stayed inside of the [BACKYARD] handing over each and

every one of such items over the plaintiffs fence to the other contractor in the plaintiffs side-yard a'S they continued to collective\y load 'Such

items into the hauling-trailer. While such hauling-contractors were perfonning such work, the plaintiff was also loading the plaintiffs own
vehicle with the aforementioned, sealed compost-buckets, since such sealed compost-buckets required more care in-order-to avoid spilling of

such contents (which may have occurred within such hauling-trailer). After filling up such hauling-trailer with one full load of items to be

transported to the plaintiffs agricultural-private-property, such hauling-contractors would drive over to the plaintiffs agr·icultural-private-

prope1ty, where the plaintiff would meet with such hauling-contractors again to begin the process of unloading all of such items. After filling the

plaintiffs vehicle full of one full load of such compost buckets, the plaintiff would drive over to the plaintiffs agr·icultural-private-property,

where the plaintiff would meet with such hauling-contractors agdil1 to begin the process of unloading all of such items. During this particular

incident, the plaintiff spent approximately $500 (in material and labor costs), and approximately 4 hours of the plaintiffs own time, to haul

these items from the plaintiffs residential property to the plaintiffs agricultural-private-property - solely due to the predatory demands of

defendants [JSP&KAP], [RSR], [WCCOJ and [WCCHDJ - who had maliciously demanded that the plaintiff dispose of all such items stored

entirely within the confines of the plaintiffs private-property to the landfill - when, as the plaintiff had akeady tried to explain to the defendants,

such items were intended for the plaintiffs agricultural use, and furthermore, that the defendants never had any right to detenninc what items

are "of value" to the plaintiff and what items are considered to be "waste" (of any kind) to the plailltiff. There was substantial rainfall during the
preceding days, and the soil on the plaintiffs agr·icultural-private-prope1ty may have been saturated with such rain, thus making such hauling

work deep-into the plaintiffs agricultural-private-property potentially hazardous. The plaintiff, left with no choice by the predatory demands

and deadline imposed by the defendants, performed such work during a non-ideal time of the year, despite of the potential hazards of driving

all of these materials deep into the plaintiffs agr·icultural-private-property - where both of such vehicles and/or hauling-trailer could easily have

become stuck on such wet soil - thanks, in large part, to the willingness, acceptance and skills of such hauling contractors. Unlike malicious

neighbors [JSP &KAPJ,[RSR], whom the plaintiff never observed wearing a face-mask during the entire COVID-19 pandemic, both the

plaintiff and at least one of the plaintiffs hauling contractors were wearing face-masks, despite of the discomfort of wearing face-masks during

such labor-intensive work, because of the fact that the plaintiff and the plaintiffs contractors rightfully considered the COVID-19 pandemic to

be a serious threat to human health and safety. On at least two other subsequent days during the month of {2020-05}, the plaintiff would

spend a total of approximately 12 hours of the plaintiffs own exhaus1ing labor (especially given the small physical-stature and vc1y-li111ited-
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stren!,>th of the plaintiff), make a total of three total trips - hauling well over three trailer loads full of materials - along with compost buckets

(within the plaintiffs own vehicle), from the plaintiffs residential property to the plaintiffs agricultural-private-property - with the total cost of

such trips (material and labor) estimated to be approximately $1,300. It is imp01tant to note that, due to the County-wide and/or state-wide

partial or full lockdown measures resulting from the COVID-19 pandemic, all residents including [JSP&KAP],[RSR] were forced to stay at

home during most, if not all, of these pa1ticular periods of time. Additionally, while the plaintiff was perfonning most of this hauling work with

the help of such hauling-contractors, the plaintiff witnessed both [JSP&KAP]'s and [RSR]'s respective vehicles in the driveways of their

respective properties - meaning that they were at their prope1ties fully aware of the plaintiffs diligence in attending to this matter. Therefore,

[JSP&KAP] and [RSR] were fully aware, along with their co-conspirator defendants [WCLEJ, that the plaintiff expended all of this additional

labor-intensive work, spending all of this additional money, hauling such huge amounts of agricultural material,; away from the plaintiffs

residential property and onto the plaintiffs agricultural-private-prope1ty. In particular, the plaintiff had cleared out the storage of all such

agricultural items within the plaintiffs [BACKYARD] near the borders of all smmunding properties, and had placed all remaining items on

shelves and/or above ground level - at sufficient distance from neighboring properties - as advised by a previous employee [WCCHDTL-SGJ in

a previous incident from {2013) (see above) - with the only exception being any-and-all items angrily hurled by [JSP] in the aforedescribed

brazen acts of vandalism against the plaintiff (as the plaintiff did not want to alter such crime scene). Despite of their awareness of the

plah1tiffs diligence in attending to this matter - which was never a crime to begin with - both [JSP&KAP] and [RSR] would still maliciously

conspire with [WCLE] in-order-to fully exploit this tune-sensitive limited-and-short wh1dow-of-oppo1tunity of vulnerability against the plaintiff

in-order-to retaliatorily charge and prosecute the plaintiff for Class-C-Misdemeanor-Public-Nuisance as the following incidents from all of the

year {2020) and ahnost all of the year {2021} would conthme to reveal - with all of these criminally-abusive retaliatorily actions taken as part

of the defendants' larger conspiracy and scheme to evict the plaintiff, an immigrant-of-color/indigenous-person, out of "their 11 (exclusive-and.-
pure) White neighborhood.



']1507
On or about the approximate date and approximate time of {2020-05-20 20:45) (near nightthne), [JSP] angrily kicks some small pieces of

debris on the side-yard of [784KLLTX7864 l J onto the side-yard of the plaintiffs property [788KLLTX7864 I]. [!SP] tl,en, in the process of

mowing the grass on his property, also unlawfully enters deep into the plaintiffs property with such lawnmower to mow, at the extremely low-

height of less than 2-inches, significant part (approxirnately 100 square-feet or more) of the plaintiffs "no-mow" grass despite of the fact that

temperatures are starting to rise to intense-summer-heat-and-drought conditions during this moment in time, and despite of his knowledge that
such 11no-mow" grass is not intended to be mowed, and despite of the fact that he knows that there is no automatic-sprinkler-system on the

plaintiffs property (as a direct result of the plaintiffs relandscaping during the prior year of {2017}) to repair the iirnparable damage done to

such grass caused by such particularly-destructive mowing. [JSP] also intentionally mows only part of the plaintiff's "no-mmv" grass to such
destructively-low height, leaving the rest of the plaintiffs 11110-mo-w" grass at regular/fully-grown height, thus in his malicious attempt onto draw

the [HOA]'s attention to the plaintiffs uneven [FRONTYARD] grass (even though the restrictive-covenants of the neighborhood do not

specify any requh·ement for evenness of grass). The following morning, the plaintiff frantically spends ahnost an hour waterh1g the mowed area

with water in-order-to at least reduce the damage done to such "no-mow" grass. (When fully-established and grown to its full-height, such 11110-

mow" grass requires only very-minimal watering during the extreme-drought-period of the hot-summer-months.) [JSP], after the aforedescribed

lawnmowing, approaches one-or-more of the plaintiffs security-camcra(s) and uses a torch-light to shine such light directly into the lens of


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such security-camera(s), again, in one more of his repeated attempts to permanently "blind'' such security-camcra(s) and/or destroy the night-

vision circuitry and functionality of such security-camera(s).



<Jl:508
On or about the approximate date and approximate time of {2020-05-31 10:40}, [RSR]'s unleashed large-dog, [L], runs across the street

towards the plaintiffs [FRONTYARD], enters into the plaintiffs [FRONTY ARD] "no-mow" grass and even urinates on such grass - just one

of many occasions when [RSR] has, in clear violation of the neighborhood's restrictive-covenants, allowed her unleashed large-dog to cross the

street and enter into and/or near the plaintiffs [FRONTY ARD], despite of the fact that there is also a [CTW] issued to [RSR] forbidding

[RSR] from stepping onto the plaintiffs property (see above), should [RSR] need to retrieve such dog from the plaintiffs property. On or

about the same date and approximate time of {2020-05-31 13:05}, another resident walks a pet-dog down the sidewalk, while, [RSR]'s

unleashed large-dog, [L], rushes towards such resident-and-dog. Such resident is alarmed by [RSR]'s large dog, [L], and recognizing the

possibility for injmy to his pet-dog, frnstratingly picks up his pet-dog, and continues carrying his pet-dog at least until [L] rnns in other

direction(s) and thus, no longer poses a threat. This incident is just one of multiple incidents where other resident(s) - not even the plaintiff-
are truly concerned and/or aggravated by [RSR]'s routinely-reckless actions of leaving her large dog, [L], not only unleashed, but roaming

freely even onto the opposite side of the street.



<J[509
During the nationwide {summer-2020} mass social-justice, anti-racism and anti-police-misconduct protests (from the end of the month of

{2020-05} through {2020-08}) the plaintiff would notice one-or-more social-media posting(s) on the "nextdoor. com" social-media-platform for

the [SummerlynD subdivision, in which the poster and/or responder(s) made disparaging comment(s) about such social-justice protesters -

and at least some of which the plaintiff describes as racist. It would appear to the plaintiff that one-or-more of these disparaging social-media

posth1g(s) were removed by moderators of such social-media-platfonn due to being offensive and/or insensitive. These message(s) would be

just one of many emails/social-media-messages that would serve as a painful reminder to the plaintiff that racial-bias, or at the ve1y least, the

widespread use of racially-insensitive language - if not overt, then at least subtle - is alive-and-well within the neighborhood. It is within this

backdrop of subtle racism existing within the [Summerlyn] subdivision that the plah1tiffhas suffered the more-ovet1 predatory racism of the

defendants - the existence of subtle racism within the neighborhood making the overall environment more hospitable to the more-overt

predatory racism dkectly suffered by the plaintiff at the hands of the defendants.



<J[510
On or about the date and approximate time of {2020-06-04 17:49}, [RSR] deliberately and brazenly steps onto the plaintiffs [FRONTYARD]-

gt·ass, once again, as if to show the plaintiff that she did not care about the [CTW] that was issued to her against the plaintiffs property on or

about the date of {2011-08-30}, due to the racketeering-enterprise consisting of [RSR],[JSP&KAP],[WCLE]. [RSR] continues to criminally-

trespass many feet into the plaintiff's propetty on her way to visit her co-conspkators [JSP&KAP] at [784KLLTX78641]. This tune, the

plaintiff did choose to report the crime immediately to the [WCLE], since the plaintiffs failure to report these crimes could also result in

escalating crimes committed by [RSR] against the plaintiff. The plaintiff fast made a phonecall to the [WCSO] police-dispatch describing the

criminal-trespass. The plaintiff was instructed that the plaintiff would receive a phonecall back from a [WCSO] police-officer. The plaintiff did
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receive a call a few minutes later, tried to pickup the cal~ but the call seemed to have dropped and/or the plaintiff missed the call by failing to

answer in time. So, the plaintiff called the same number back to continue reporting the crime to [WCSD] Conner [WCSD-C]. Within five

minutes of the end of this phonecall, the plaintiff would hear [RSR], who was in the backyard of [JSP&KAP]'s property, [784KLLTX7864 I],

angrily and very-loudly, shout at the plaintiff, ''ASSHOLE!" It is abundantly clear from this sequence-of-events that after [WCLE] informed

[RSR] that the plaintiff had made a criminal-trespass complaint against [RSR], further indicating that the plaintiff had evidence of such

criminal-trespass, [RSR) retaliates and/or engages in witness-intimidation against the plaintiff by shouting that vulgar insult at the plaintiff - so,

as if to deter and/or intimidate the plaintiff from continuing to serve as a witness of such crime.
 •     IWICXRll!D PRH:OW. -           PUIN'l'JD' m> (IICSD-CJ M      ,   (2020- 06- 04 18 :00} l-1
 •     [ PRIVAD 1.1\L LIMt TO Bl: &BIITl'II> DI DISCOl,ll!RY )




     ~ PlJ\INTIFF 111\KES PHONECALL TO SAME NUMBER OF DROPPED/MISSED C/\LL FROM (\•/CSD-C) /I FEW SECONDS AFTER DROPPED/MISSED CALL :                                                           »

     [WCSD-CJ              Hi, this Deputy Co1111e1· colli11gfm111 the lflilliam.1·011 County Sheriff's Office.




 PLAINTIFF                 Um Hello, I received a call Jiv m this 1111mber - 11111 in pw1ic11/ar reganling an i11cide11/ that I reported I g11e.tL. Um, 11·a11ti11g to k11ow !f I'm calling the
                           ,ight place?




     [WCSD-C]              Yes Sir - ll'hat'.1 going 011?




 PLAINTIFF                 Oh. Rigltt - So, rrJJHJl1ed ii abo11t 10 mi1111tes ago. So, basically rltere'.1 a crimi11al-trespass-11'{1mi11g issued to 011 i11divid11al - a neighbor i11 my .wbdivision
                           111,ere I live. and so, that individual happened lo violate that trespass 1mmi11g by stepping 011 my - 011 the pmperty.




     [WCSD- C]             ok, ll'hen 11·a1 this trespass ,m111i11g iss11ed?




 PLAINTIFF                 Um ... ll'hy does ii expire after n ce11ai11 amorml of lime. or·?




     [WCSD- C ]            No, I'm j 11s/ hying lo find ii in 01,r JJ'S/em.




     PLAINTIFF             Oh. ok. Yeah, Its (20/ I}.




     [WCSD- C]




     PLAINTIFF             Comte/ ... Um, If/... it's in A11g11sl of {201 /}. End of A11gust - .10, it'.l· A11g11st 20th - I mean 20 so111etlri11g.




     [WCSD- C]             Ok, yeah, I )11.1·1 /raving to find ii... Did yo11 happen to get her 011 nmrem ?



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PLAINTIFF    Yes. Yes. Yes. I did.




[WCSD-C)     Ok. Ok. Um... Where is she at right 110111?




PLAINTIFF    Do 1101knoll'. Um. mast likely i11 I of 2 JJ1Vpe1tie.1· - 11111, she basically stepped 011 the prapeny 011 the ,ray ta a11other pmJJerty - so, i'm g11essi11g she might
             be 011 that pmperty, or she might be i11 the property \\'here she resides - her prape1~1•.




[WCSD- C)    Ok, she stepped 011 your grass, whe11 she was goi11g to your neighbor?




PLAINTIFF    Can-eel. Yes - right, that'.v 110/ - I 11rmld11't say it's like a major i1ifmctia11. I 111ea11, but it'.v .,·till a vialntia11 of the criminal trespa.c1· - a11d, you n•a,ma, at the
             velJ' least. nmma let the individual that she is 110/ pennilled la step 011 the prape11y.




[WCSD- C)    Yeah, I can get in cvnlact with he,; far sure. I'll give her a call - i'mj11.1·1 11yi11g ta verify that ya11 have ii actually given in our system. I'm just waiting 011
             that... I do... I have her JJhoue 1111111ber, her name is Rebecca - right - Robe11.wm?




PLAI.NTIFF   Ca11'ecl.




[ NCSD-C]    Ok. Yeah, I ca11 give her a call - aud let her k11aw that she 11111... 1111e11's the last time she 11-e11t 011 ya11rpmpe1ty?




PLAINTIFF    Um, ya11 mean, 11-l1e11 I 110/iced the criminal I/Y!j]JCISS occ1111ed? ls that can-eel?




[WCSD-C)     Um - a11y 11111. yeah, ll'he11 the cri111i11al trespass 1mmi11g - bet1ree11 the11 a11d 110w, has she bee11 allaned ta step foot 011 your prapeny?




PLAINTIFF    No, I 111ea11 - my 1111dersta11di11g of what a criminal 11-espass is that - once the crimi11al tre.17}{J.,v is i.,med to an i11divid11a/ - they'1-e 1101 allo1red ta step foot
             011 that pa1tic11lar pmperty.




[WCSD-C)     Well, let take one step back... I'm actually 1101 shawi11g CT1Vforyo11rpmperlyji,r her - do you have the paper ,mrk?




PLAINTIFF    11111, nell, I 11'011/d have ta find ii - i mean, it's I I - 11111, 9 years ago. 11111, but 11111•• it should be the,e. the depnty 1rhe 11 they issued it, if i 1ecallec1 con-ectly,
             she refused ta sign ii. 8111, its 11011ethele.,1· still valid - the deputy i.t\'1/ed it to he,; the,e'., a carbo11-coJJy that the deputy look back, ll'ith 11111, to the
             1Villiomso11 County She1ifj'.v DeJJartme111. Sa, I'm assuming that 11111, they did, 11111, still do have it 011 copy - 011 file the,e.




[WCSD-C)




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               So. I don't have it - So, ifyou ca11fi11d that piece qfpape1: .. I mean, al t/1is poilll, its 110I in the system... Sn, I ca11 make co11tact with he,; and lei her
               know that you do11/ 11·a11/ her 011 that prope,ty, and then, if you have her cross again, c011 give her another trespass ll'ami11g ... but, i'm going to give her a

               call.




PLAINTii'li'   Ifyo11 co11/dj11st... Arnyo11 sure tlwt you c/recked {20 1 /}, A11g11st (!{ {2011}? 8 ee<111.se that's pretty 11111c/1.




[WCSD- C]      Yes sir, I checked her name, and I checked your prope11y. It's 1101 in our .1J•ste111.




PLAINTIFF      Ok, .... hmmm....




[WCSD- C]      So, /fyou ca11fi11d ii, ll'e can alll'ays issue 0110/her one. /{she crosses 011/0 yo11rprope11y and I, [???} its 1101 011 is.we. 8111 I'm going to make co11tac1 with
               her - If I can't get her by phone - I'll come look for her, so I can at least tell her that ;rm don't want her 011 your prope11y - 11111, and //she comes there
               again, she'., going lo gel 0110/her criminal tre.1pa.~, wami11g issued - and ll'e'/1 go fimn there... has she made <my threats to you or anything like !hat?




PLAINTIFF       Well. she's been repeatedly harassing 111e over the yea,:v - 11111, you know, I mean, basically by coming over lo the street and co11s/a11//y, you know, i11itiati11g
                some .1·orl of, 11111, you know, not - if 110/, physical //wears or anything - b111 just //,real - just animosity, a11dj11st anger toward, 111e - lwsically, over the

                years. It's been continuous since, since forever - I 111ea11 since I've lived /,ere.




 [WCSD- C]      Yea/,, so, ifyott see her 011 yottr prope11y again - obviously call us...




 PLAINTIFF      right.




 [WCSD- C]      bur i'm goiug ro give hero call. We'd have ro come Olli and look or r/,e property line - the grnss line - and becallsc, in yollr neighborhood, tlie grass is

                co1111ected... so, there'.~ a ll'hole lot offactm:~ that go into this.




 PLAINTIFF      right.




 [WCSD- C]      so, if she clearly is 011/0 yourpmperty, and coming up to your residence. ve1s11s her cro.t1·i11g over 011 the grass. that might be par/ of the neighbor's yard.
                So, i'm going lo gel iu - make contac/ with he1; and lei her know lo 110/ step llll)~l'here into your reside11ce.11




 PLAINTIFF       right.




  [WCSD- C]      and !l there'.~ any i.~mesfrom there - i'II give yon a call back. if yon wa1111a... / 11v11ld look/or that pape1work. 111ifor/1111ately i'm sony, I don't know if ii

                 m1s11'/ put in the system or ll'ha/110/. but i hove lo honor 111,at ll'e have in the .1J•ste111.




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PLAINTIFF       rig/,/. rig/,/. So, l 1mde1~1a11d. So, it'.v possible that like I sail/, 1/,a/ I might .l'lilf be able 1o fl11d it. B111 it'.vj 11st pmbably 11111, in a file some,rl,ere... 11111, and
                so, so hmican,,. can I j11sl co,!/11111, so basically - there's basically tl,ere'.v a strip af g1ms, in front of the sidewalk, obvio11sly, that's so11 of p11blic-prope11y
                that prope11y-01mers still 111ai11lai11. 8111 there'., act11ally //,e main par/ of the grass that'., iuside the side11•a/k area - into the property itself - 1fta1'.v still

                cousidered private property- correct?




(WCSO- C]       if she stepped 011 your grass - 110/ the gra.w 011 the 011/side of the side1mlk where ifs private - or ifs p11/,fic property... if she stepped 011/0 your gmrs, clearly
                011/0 your gra.~1·, because ya/I houses are do.l'e toge/he,; and your 11eigftbor'.1· gra.w cmmec/s to your grass. and there'., 110 clear properly line. then yes, that
                is trespassing. but ,re'd have lo look al video Joo/age - if she slepped one fool 01110 your grass.... I mean //,a/ 's 110/ a ve,y good case.




PLAINTIFF        rig!,/... right... oh, yeah she .l'/epped more than I foot - she slepped... righl, right, 1 1111dersta11d. 110, she slepped al,011/ 10 feel i11/o the prope11y - she

                 basically just cmvsed JO feet - 111111l11v11gl, tl1e pmpe,ty, 11111 •.




[WCSD- C]       yeah. .. yeah yea!, yeah yeah, so it's clear...




PLAINTIFF        right, so... it'., prelly clear that she stepped 011/o our prope11y. Yeo!,, like I said-




[WCSD-C ]        Ok. ..




PLAINTIFF        it.I' the i1111er grass - 1101 /fte, 110/ the public grass in the - beyond Jhe side,mlk, but Jl,e i1111er grass.




 [WCSD- C]       right... the i1111er gm.~,. so, /el me co111ac1 wit!, /,e1: i'm going lo give her a 1m111i11g. but if tftere'.I' any other issues, then we'll get back to you - /mt just IIJ'

                 to f i11d that papenm,k. but if 1101...




PLAINTIFF        rig/,/...




 [WCSO- C]       if 110/, then when you see her 011 your property. col/lac/ us. and ,re'/{ come issue a cri111i11al trespass 1m111i11gfor her.



PLAINTIFF        Ok. Alright. Sounds Good, 1/,e11. Appreciate it.




 [WCSD-C]        Alright, thank ;vu sir. You Joo. Bye, Bye.




 PLAINTIFF        Thanks. Bye.


  rr PHONECALL ENDS Y



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<][511
Given the violent histo1y of policing in the United States (of which people-of-color indisputably suffer the most), the plaintiff does not dare to

show any anger when speaking to police officers, but the plaintiff was absolutely indignant by the end of this phonecall:

01 .   There is no second warning for a criminal-trespass. The whole point of a [CTW] is that, if a person who has been issued a [CTW]

       violates the [CTW] at any time after the [CTW] is issued, that is an automatic-charge-and-prosecution for criminal-trespass. The law is

       crystal-clear on this issue, and there are no exceptions to this rule that the plaintiff is aware of. So, for [WCSD-C] to claim that [RSR]

       would be issued a [CTW] the next time (after this incident) that she trespasses onto the plaintiffs property, is in effect, letting the

       plaintiff know that [RSR] actually has at least 3 free-passes to unauthorized-trespass onto the plaintiffs property without facing any

       penalty even if the plaintiff has video of all three unauthorized-trespasses. Again, this is not the nature of the law - there are no multiple

       warnings, or multiple free-passes given for criminal-trespass.

02.    After [WCSD-PP] illegally forced the plaintiff to sign a [CTW] back in {2011-08-30} - and in doing so, committed various Abuse-Of-

       Office/Intimidation/Interference crimes against the plaintiff - all on the promise that [WCSD-PP] would issue a [CTW] to [RSR] as well,

       the plaintiff was expecting [WCLE] to, at the ve1y least, honor that promise - even though [WCLE] totally violated the plaintiffs rights

       to even grant that promise. So, for the plaintiff to find out that the plaintiff was illegally forced to sign a [CTW], only to later on, not be

       able to use this promise against [RSR] when she did in fact - at least twice - violate this [CTW], can only be described as infuriating.

03.    (WCSD-C] tried to provide many excuses to convince the plaintiff that [RSR] might not have trespassed (by claiming for example that

       "grass is connected'1, when the plaintiffs video-recording,, are crystal-clear that [RSR] indisputably and criminally trespassed well into

       the plaintiffs property at least twice (on at least two different occasions - {2020-02-28} and {2020-06-04} ). Again, such excuses can

       only be described as deliberate "denial ofse111ice" (redlining) by an overwhelmingly majority-White government, defendant [WC],

       located w ithin the overwhelmingly majority-White County of Williamson, against an immigrant-of-color/indigenous-person, the plaintiff.

04.    As the plaintiffs audio-recording reveals (see above for transcript), [RSR] was actually issued 2 [CTW]s on that day of {2011~08-30} -

       one for the plaintiffs property [788KLLTX7864 I] (which [RSR] refused to sign), and another for [AJC]'s then property

       [773KLLTX7864 I]. If it is true that [RSR]'s [CTW] against the plaintiffs property was never recorded into "the .1ystem" (as [WCSD-C]

       describes it), then the plaintiff can only interpret this fact to be further evidence of the malicious-acts of obstruction-of-j ustice/evidence-

       tampering either on the part of [WCSD-PP] and/or the [WCLE] as an organization.

05.    Since this incident can only be interpreted by the plaintiff as malicious "denial ofservice" (redlining) and malicious "obstruction of

       justice" (racketeering-act), then this further establishes the plaintiffs claim for both egregious racial-discrimination under the [FHA] and

       obstructive-and-retaliatory, blackmailing-and-defrauding racketeering-enterprise under the [RlaCOA] (in addition to egregious v iolation

       of the plaintiffs fourteenth-amendment <* ) rights to equal-protection under the law).

06.    The plaintiff is left pondering the ve1y-obvious questions - what if the situation was reversed? - what if the plaintiff was caught on video

       trespassing into [RSR]'s property? This question does not need to be answered explicitly as most people-of-color in the United States

       know the answer to this question. The answer is especially troubling, in the plaintiffs case, given that the plaintiff never stepped-foot on

        [RSR]'s property at any point in time - but yet, was forced to sign a [CTW] by an extremely-abusive police-officer of [WCLE],

        [WCSD-PP], that clearly thought that he was above the law.

 07.    The plaintiff mistakenly states to [WCSD-C] that [RSR] had not physically tlu-eatened the plaintiff, when in fact, the plaintiffs own

        audio recording from {20 11-08-30} shows [WCSD-PP] revealing that [RSR] had made a terroristic-threat (of physical assault) against
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       the plaintiff. Also, [RSR], who is more than twice the plaintiffs size/weight, has deliberately approached just feet away from the plaintiff

       and senior-citizen [FATHER] (who was even kneeling down at the time) to physically intimidate/interfere-with the plaintiff and also to

       maliciously throw/kick tantmms against the plaintiffs property. As [WCLE] already knows, it is also indisputable not only that [RSR]

       has committed the assaultive crimes of terroristic-tlu·eat/assault against the plaintiff, but also multiple counts of the crimes of

       intimidation/interference, dcsorderly-conduct, harassment/stalking, false-report, blackmail against the plaintiff. As [WCLE] ah-eady

       knows, it is also indisputable that all of these crimes that [RSR] committed against the plaintiff were hate-crunes motivated by both

       extreme-racial-animus) homophobic-animus and far-right-wing-extremist political-animus.

08 .   At the end of this phonecall, the plaintiff felt an intense feeling of pain that this phonecall to the [WCSO] had done nothing but place the

       plaintiff u1 an extremely compromised/exposed/vuh1erable position. Now, the plaintiffs long-tune abusers - [JSP&KAP],[RSR] - have

       full knowledge that the plaintiff reported yet another one of their crimes to the [WCLE] which the [WCLE] did not do anything of

       substance about - instead, simply emboldening them even further with the sense that [WCLE] has effectively granted them with full-

       immunity for the crimes that they have continued to commit against the plaintiff. The end result is that, yet again, the plaintiff was

       punished by the [WCLE] for repmiing another crime - and the full-scope of the punishment would only be revealed, as the record will

       show, in more than a year of malicious incidents involving the racketeering-enterprise of [JSP&KAP],[RSR],[WCLE].




1512
On or about the approximate date and approxunate time of {2020-06-04 21 :15} (nighttune), [JSP] uses loud lawnmowing equipment late at

night in-order-to mow the grass on the front-yard of [784KLLTX78641]. [JSP] crosses the newly-installed landscape-edi,,jng divider demarking

the front-yard boundaries between the two-properties, in-order-to unlawfully mow at least one strip of the plaintiffs [FRONTY ARD] "110-
                                                                                                                                             11           1
mow" grass - an unlawful activity that [JSP] has repeatedly done (over many years) even after the plaintiff fmished-installing such no-mow'

grass along with landscape-edgu1g divideron/about the previous month of {2017-1 O}.



1513
On or about the approxunate date and approximate tune of {2020-06-07 17:55}, [RSR] and [KAP] continue to eonspu·e and scheme against

the plaintiff, planning on the best course-of-action in their decade-long conspiracy with [WCLE] to once-again retaliate, this tune with full-

force, against the plaintiff for the plaintiffs "audacity" to record, report and/or provide-the-mountain-of-evidence-of their racially-motivated

hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff to [WCLE] (dating back to {2011} ). On or about the same time,

[RSR]'s unleashed large-dog, [L], roams freely across the street and onto the plaintiffs [FRONTYARD] "no-mow" grass- just one of many

occasions when [RSR] has, in clear violation of the neighborhood's restrictive-covenants, allowed her unleashed large-dog to cross the street

and enter into and/or near the plaintiffs [FRONTYARD], despite of the fact that there is also a [CTW] issued to [RSR] forbidding [RSR] from

steppu1g onto the plaintiffs property (see above), should [RSR] need to retrieve such dog from the plaintiffs property.



 1514
On or about the approxunate date and approximate time of {2020-06-08 20:26}, [JSP] picks up a small piece of debris from the yard of

[784KLLTX7864 l] and angrily throws it onto the plaintiffs [YARD].
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i515
On or about the approximate date and approximate time of {2020-06-11 22:45} (late-night), [JSP] opens the tap attached to the side of his

house at [784KLLTX7864 l ], and uses a hose at foll-water-pressure to spray and douse w ith municipal water, multiple of the plaintiff's

security-camera(s) for a period of approximately 3 continuous minutes. Here, the purpose of [JSP]'s actions of dousing such security-camera(s)

with full-pressure municipal water is not-simply to "blind" such security-camera(s), and not-simply to destroy the internal circuit:Iy of those

particular security-camera(s), but since such security-camera(s) are hard-wired (using eleclTical cables) to a central, electrical hub, in-order-to

short-circuit such electrical hub and all other equipment (including all other security-camera(s) and the actual digital-video-recording computer)

- thus, destroying all of such recording equipment. While [JSP] was not successful in accomplishing this ultimate goal, [JSP] was successful in

destroying and/or damaging at least 6 of the plaintiff's security-cameras.



i516
On or about the approximate date and approxin1ate times of {2020-06-12 22:39} (late-night) and {2020-06- 12 23:08} (late-night), [JSP} uses a

torch-Light to shine such light directly into the lens of one-or-more of the plaintiffs security-camera(s), again, in more of his repeated attempts

to permanently "blind" such security-camera(s) and/or destroy the night-vision circuilly and functionality of such security-camera(s).



 i517
On or about the date and approximate tin1e of {2020-06-17 08:00}, the plaintiff takes multiple photographs of [FRONTYARD], after which

the plaintiff begins to manually hand-pick/cut weeds on such [FRONTYARD] - a routine that the plaintiff does in-order-to protect the plaintiff

 from any-and-all potential predatory actions of the [HOA]. [JSP], while on the driveway of[784KLLTX78641], angrily/threateningly yells out

 a threat-of-murder (yet another count of such racketeering-act) at the plaintiff, within yet another abusive, threatening, fraudulent, assaultive,

 blackmailing, extortive and gaslighting rant against the plaintiff:
  •     NECXRJ!D MCIST, AaJS:IVE, TllRENl:ifflNG, FRAIIllJiaff, ASSllDlll'IVE, IILACIQAILil«l, ElCl'CIITIVB Am GI\SLIGll'l'ING IWfl' l'IU4 (.JSP] TO PIAim'll'F(~) ,   (2020-06-16 08: 00) (-)

  •     [ mIVATE llRL LINK TO Bl!! SIDaTl'Ell IN DISCXIYER'l ]

      ~ PLl\INTIFE' BEGINS TO WALK F'ROM SIDE\'IALK TO DRIVEl•IAY WHEN PLAINTIFF HEARS [JSP] YELLS THREAT-OP-MURDER : j




      [JSP]                 [ ???]PERVERT/[???} I SWEAR TO GOD! I SEE YOU, I SEE YOU POINTJNG (THOSE CA MERAS) AT MY GIRLS! I'll COME KILL YOU!



       ~ PLAINTIFE',     l~HILE WALKING ON ( DRIVEl~AY) , LOOKS IN SHOCK TOWARDS [JSPJ , DUE TO [JSPJ ' S BRAZEN DEJ\TH-Tl!REAT AGAINST PLAINTiff .

  TI



      [JSP]                  YOU HEARD ME BROTHER! l'M WARNING YOU{???/ ... YA FAG! ... [???], PERVERT!



       ~ PLAINTIFF CONTI NUES TO PICK UP A BUCKET TO CONTINUE THE YARDWORK OF PICKING SO-CALLED " ~/EEDS". ABOUT 5 MINUTES LATER,

      [JSP)- D

       ~ -WALKS F'ROM THE DRIVEWAY OE' [784KLLTX78641) T<f1/ARDS THE BORDER OF THE TWO-PROPERTIES, PICKING UP A HOSE TO- j

       ~ -BEGIN \·/ATERING THE SIDE-YARD OF HIS PROPERTY CLOSE TO THE LOCATION ~/HERE TIIE PLAINTIFE' WAS PICKING SO-CALLED " WEEDS", - TI

       ~ -STNCE A MAJORITY OF THE SO-CJ\LLED "WEEDS" WERE IN SUCH LOCATION WHERE (JSP] DAMAGED THE PLAINTIFF ' S " NO- tt,()l·l" GRASS . TI

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                                                         WI LLI AMSON COUllTY , £T AL .




[JSP]                    [???] {???] IVHEN'S THE NEXT COURT DATE?! I'll {???}


0C         PLAINTIFF STARTS TO PICK WEEDS ON [YARD] . ll
[ (JSP] APPROACHES THE PLAINTIFF 1-/I'l'H A HOSE IN HAND \'lATERING HIS YARD. Il


[JSP]                     YOU HAVE YOUR CAMERA RECORDING THJS ON FILM- GETTING READY FOR COUR7'. [???} ONLl' [???} Tf-lE TOPS OFF{???} - SO. YOU

                          CAN FAKE IT!


 0C        (JSP] LAUGHS OUT LOUD . j)


[JSP]                     YOU'RE ABSOLUTELY RJDICULOUS!


 [ [JSP) THEN MAKES INCRIMINATING STATEMENTS ABOUT HIS ILLEGAL CONSPIRACY \'IITH [\':CLE] AGAINST PLAINTIFF: j)
 ~ [JSP] CONTI NUES \'!ITH FRAUDULENT STATEMENTS ANO ABUSIVE GASLIGHTING AGAINST PLAINTIFF: j)



[JSP]                     I TELL YOU WHAT!- YOU SPYING ON MY PROPERTY, IS REALLY GETTING OUT OF HAND! REALLY NOT LIKING IT! ... ARE YOU THAT BIG
                          A PERVERT?!CAUSE I KNOW YOU MUST.JERK 12 TO 15 TIMESA DAY! ... YOUMUST - {???}-PERVERT-[???] I DON'T WANT YOU
                          LOOKING AT MY WOMEN, {IN DOING THAT}! ... !'VE GOT A PROBLEM WITH THAT!- A BJG PROBLEM WITH THAT! YOU BIG FAG! IT
                          ONLY SPEAKS TO YOU BEING A PERVERT! LIKE YOU [???/fl GUESS THAT'S ALL YOU CAN DO, HUH?! I HAVE A PROBLEM WITH Tf-lAT! ...
                          I GOT A BIG PROBLEM! Tf-lE NEXT TIME YOU DUMP SHIT OVER HERE IN THE FRONTl'ARD, 1 WILL HAVE THE HEALTH DEPARTMENT
                          RIGHT UP THE MIDDLE OF YOUR ASS-HOLE! BET THAT! OR WILLIAMSON COUNTY OR SOMEONE ELSE YOU DON'T WANT TO TALK TO!
                          SO, MAKE SURE YOU DON'T DO THAT AGAIN! ... SID - YOU CAN'T TAKE CARE OF THIS PLACE! WHY DON'T YOU JUST MOVE! GET AN
                          APARTMENT OR SOMETHING! ... YOU CAN'T HANDLE IT! - IT'S OBVIOUS! ALL YOU'RE DOING IS COSTING YOUR PARENTS MONEY! IT'S
                          RIDICULOUS! ... IVHY DO YOU CARE SO VERY LITTLE ABOUT YOUR PARENTS! ... CAUSE, YOU DON'T WORK!- YOU'VE NEVER EARNED

                          ANI' MONEY!


     0C     [JSP] Ll\UGHS OUT LOUD . j)
     0C     IJSP) CONTINUES \"/ITH ABUSIVE GASLIGHTING AGAINST PLAINTIFF: j)


 [JSP)                     THAT MUST BE EMBARRASSING!- TO SAY TO ANYBODY THAT YOU'VE NEVER WORKED! ... AND THEN YOU HAVE ALL THESE SIGNS OUT
                           THERE - TALKING ABOUT "RACISM" AND "TAX THE WEALTHY", AND ALL THAT KIND OF BULLSHIT/ ... l'OU DON'T EVEN WORK!- WHO
                          AR.E YOU TO SAY ANYTHING ABOUT ANYTHING! YOU PlECE OF SHIT! ... YOU'RE A NOBODY! - YOU SHOULD HAVE NO SA YI YOU DO
                           HAVE NO SAY. THANK GOD! ... YOU RIDICULOUS SON OF A BITCH! YOU SHOULD HAVE NOSAi'! GET A FUCKJNGJOB! BE A REAL
                           PERSON! l'OU KNOii~ REAL PEOPLE, YOU KNOii', THEY WORK! ... WE ALL GOTO If/ORK! ITS NOT FUN, BUT WE HAVE TO DO IT! BECAUSE
                           THAT'S WHAT YOU DO. If/HEN YOU'RE A GROWN-UP! ... BUT I GUESS YOU'RE NEVER GOJNG TO GROii' UP! l'OU'RE JUST GOING TO RIDE
                           ON MOMMY AND DADDY'S TJTTY -ALL YOUR FUCKING LIFE! ... THAT MUST BE EMBARRASSING![????] THAT MUST BE REALLY
                           EMBARRASSING! ... "WHAT ARE YOU[???}?" "OH. 1 LIVE ON MY MOMMY AND DADDY - l'M LIKE 30 ... DERRIi!"



      0C    (JSP] MAKES DEROGATORY LANGUAGE/SOUND COMMONLY ATTRIBUTED AS THE MOCKING OF MENTALLY-DISABLED PEOPLE . j)


 [JSP]                     ARE YOU THAT UNEDUCATED THAT YOU CAN'T GET A JOB! SAD! SAD!- 1 THOUGHT l'OU AT LEAST SOME SOME{???]! ... {???}
                           EVERYDAY! ... WHAT DO YOU GET UP FOR EVERYDAY?! I DON'T EVEN KNOW IF YOU GO TO SLEEP IV/TH THIS[???]! [???] ON YOUR
                           [???} MONITORS, PERVERT STUFF, JUST LOOK AT YOUR COMPUTER ALL THE TIME! WATCHJNG {CAMERAS]!


      0C    [JSPJ THEN Il✓.MEDIATELY STARTS TO COMMIT FELONY CRIMES OF WITNESS-TAMPERING , OBSTRUCTION/RETALIATION AGAINST PLAINTIFF: ~



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                                             S 1 DDH /\R'l'H   K OOE   V.     111 1, LlA MSON   CO U?-11' '! ,   ET   i\ L .


[JSP]              WHAT ARE YOU CALLING /THE POLICE/ ON BECKY FOR, THE OTHER DAY?! WHAT A RIDICULOUS DICKLESS MOVE THAT WAS?!! ...
                  ARE YOU KIDDING ME?/! YOU LITTLE CHICKEN-SHll! BECAUSE SHE WALKED ACROSS THE FRONT OF YOUR YAJW! ... YOU KNOW
                   HOW PISSED OFF THE COPS WERE ABOUT THAT?! YOU KNOW WHAT'S GOING TO HAPPEN IF YOU KEEP DOING THAT?! ... YOU
                   KNOW WHEN THAT COP HAD YOU BACKED UP AGAINST THE WALL THAT DAY! - THAT'S GOING TO HAPPEN AGAIN, SOON!
                   PREPARE YOURSELF! AND lT A/NT GOING TO BE NO 'RODNEY KING' OR ANY OF THAT KIND OF JACK SHlT! THEY JUST DON'T CARE
                   ABOUT YOU/



 ~ PLAINTIFF LOOKS UP AT [JSP] , STUNNED AT [JSP] ' S RACIAL-SLUR AND FELONY-CRIMES AGAINST PLAINTIFF.                         D
 rr [JSP] Nm'ICES THAT PLAINTIFF TOOK PARTICULAR OFFENSE TO THE RACIAL SLUR: D
 rr [JSP] CONTINUES v/ITH ABUSIVE GASLIGHTING AGAINST PLAINTIFF: D


[JSP]              YEAH- DOES THAT BOTHER YOU?! OHHHH, !'M SORRY! I HURT YOUR FEELINGS? l'M SORRY SIDI ... WHY DON'T YOU BE A
                   CONTRIBUTING MEMBER OF SOCIETY, AND I WOULDN'T HAVE TO HU/IT YOUR FEELINGS! - I DON'T LIKE TO THAT TO ANYBODY,
                   HONESTLY/ [???} ... [ ???} SUCH A [???} . 'MR. GREEN' THEY CALL YOU OUT HERE! 'MR. GREEN' - "OH, !'M NOT GOING TO LEAVE ANY
                   FOOTPRINT. COMMIE GREEN. I TELL YOU WHAT- LOOK AT ME GO. I SURE AS-HELL AM NOT GOING TO WORK EITHER! ... YEAH - WHY
                   SHOULD I WORK, Ml' PARENTS GIVE ME MONEY! - /'M JUST GOING TO BE A BIG BABY MY WHOLE LIFE! I DON'T HA VE TO BE A
                   GROWN-UP! /'LL JUST PLAY AT HOUSE ALL DAY!"


 ~    [JSP] LAUGHS OUT LOUD . D
 ~    [JSP] CONTINUES \-/ITH ABUSIVE GASLIGHTING AGAINS1' PLAINTIFF : D


[JSP]              THAT MUST BE EMBARRASSING! ... REALLY, MUST BE EMBARRASS/NG! BUT I KNOW YOU GET ON THE COMPUTE/I, AND TALK TO YOU
                   OT/-/E/1 GREEN-FRIENDS HUH?! ... THEY MAKE YOU FEEL BETTE/I?! THEY STROKE YA?! I KNOW YOU{???]! ... HOW YOU'RE GETTING BY
                   - !SA SHOCKER! IT'SA SHOCK! BUT YOU KNOW, GRANTED, YOU'RE NOT HAVING TO PAY FOR IT! SO. IT DOESN'T REALLY MATTER! ...
                   YOU SHOULD BE ASHAMED OF YOURSELF!{???} ABSOLUTELY - BUT YOU DO NOT SEEM TO BE ASHAMED OF ANYTHING ELSE! ... SO, I
                   GUESS THAT'S .JUST A STRETCH - THAT'S A STRETCH! ...



 0C   [JSP) nlE:N STARTS TALKING ABOUT HIS ILLEGAL CONSPIRACY \·JITH THE [HOA] AGAINST THE PLAINTIFF. [JSP) EVEN- D
 ~ -LAUGHS OUT LOUD THAT HE HAD CONSPIRED WITH THE [HOA] IN PREVIOUS YEARS, ESPECIALLY WITH [DMPJ ON THE [HOA] BOARD. D

 [ [JSP] CONTINUES WITH ABUSIVE GASLIGHTING AGAINST PLAINTIFF: D


[JSP]               YOU KNOii< THE {HOA} IS NOT SUPPOSED TO TALK ABOUT THE COURT CASE, BUT GUESS WHAT. I KNOW ABOUT IT! I HEAR ABOUT IT!
                   ... I KNOW WHAT'S GOING ON! - I KNOW HOW MUCH MONE !' YOU COST YOUR PARENTS! - YOU RIDICULOUS PIECE OF SHIT! THAT'S
                    UNBELIEVABLE! YOU ARE AN UNBELIEVABLE SA CK OF SHIT!- YOU'RE PARENTS ARE STUPID TOO, BY THE WAY, I MUST SAY! TJ-/El''RE
                   SOME DUMB SONS OF BITCHES! STICKING Bl' YOU/I STUPID SIDE! - !'D THROW YOU IN THE ASYLUM AND[???] AN!' {???} COST ME
                    THAT MUC/-1 MONEY! ... IF YOUR DAD WAS !'DUNG ENOUGH, HE'D COME Bl' AND WHOOP l'OU/1 ASS! I CAN'T BELIEVE YOUR BROTHER
                    LETS YOU GO ON! ... YOUR BROTHER MUST NOT LIKE )'OU AT ALL ANY MORE! YALL MUST BE COMPLETELY{???] ! I HAVEN'T SEEN
                    HIM IN A LONG TIME!... SO, /'M SURE l'ALL DON'T TALK AT ALL! ... OJ-/ YEAH, THE BROTHER - HE'S THE NORMAL ONE - HE'S GOT THE
                    WIFE AND KIDS, AND WORKS AND THAT KIND OF STUFF JUST LIKE ALL OF US! [???} ... WHAT ABOUT THE INHERITANCE! - YOU'RE
                    COSTING /-1/M HIS INHERITANCE!


 [ [JSP] LAUGHS OUT LOUD, THEN CON'l'INUES THRE/\TS/ABUSE AGAINST THE PLAINTIFF: D
 rr [JSP] CONTINUES TO ADi'11T DETI\ILS OF l!IS ILLEGAL CONSPIRACY WITH \\•lCLE] AGAINST THE PLAINTIFF. il
 « [JSP] CONTINUES \'lITH ABUSIVE GASLIGHTING AGAINST PLAINTI FF: D

 [JSP]




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                [???] {???]! {???] {???]! {???]{???]!THAT'S HIS MONEY THAT l'OUR PARENTS ARE SPENDING ON YOUR DUMBASS! YOU KNOW,[???]
                COSTING YOUR PARENTS![???] YOU KNOW WHAT. I MIGHT GET A HOLD OF YOUR BROTHER,[???]![???][???]{???] YOU ARE A{???]
                THAT'S WHAT MAKES YOU WHAT YOU ARE!{???] YOU'RE NOT A GOODPERSON!ANYBODYTHATCANDO THAT TO THEIR FAM/LI' IS
                NOT A GOOD PERSON![???] YOU'RE LUCKY THEY'RE[???] ... THEY'RE NOT GOING TO[???] ... YOU ARE UNLIKE MOST PEOPLE THAT
                [???] [FOR LIFE][???] ... YOU'RE LIKE A- YOU'RE LIKE A 'COMMIE GREEN GUY'![???]{???]! TELL YOU WHAT, MANI YOU BETTER
                WATCH YOUR CAMERAS, BRUH![???) ON MY PROPERTI', YOU BIG FUCKING PERVERT/ ... KEEP IT UPI[???] ... . YOU BEITER SHUT

                DOWN THAT[???]! I AIN'T GOING TO PUT UP IVIT/-1 THAT MUCH LONGER! NOT IV/TH MY GIRLS GOING OUT TO Ml' POOL EVERYDAY! AS
                 YOUJERKJNG OFF WATCHING EM! BIG PERVERT! /-/OW MANY TIMES A DAY, DO YOU JERK OFF. SID?! TWELVE? THIRTEEN? IS IT UP IN
                 H-IE TIVENTYS? All YOU GOTTO DO IS PULL IT RIGHT[???]!{???] INSTEAD OF.JERKING OFF, LIKE A NORMAL PERSON - {IVJ-11' DON'T
                 YOU JUST GET???], IT'S MUCH BETTER, TRUST ME![???][???]! YOU Will DIE A VIRGIN!


~ [JSP) LAUGHS OUT LOUD, THEN CONTINUES THREATS/ABUSE/GASLIGHTING AGAINST THE PLAINTIFF:                            Il
g [JSP] COi'1MITS ONE-OR-1".0RE COUNT (S) OF EXTORTION AGAINST PLAINTIFF : D


[JSP)            THAT DOESN'T HAPPEN VERY OFTEN, I DON'T Tf-llNK! EVERYBODY JS GOING TO BE TAlKJNG ABOUT IT! >'OU MIGJ-IT EVEN LIVE TO BE
                 NINETY, SOMEHOW OR ANOTHER! TALKJNG ABOUT THAT! NINETY-YEAR-OlD-VJRGJN! THAT'S All WE GOT TO SAY ABUT THIS MAN! HE
                 DID NOT[???] OR{???]! /-IE ANNOYED THE f-/Ell OUT OF f-1/S NEIGJ-JBORS, DAILY![???] QUITE ANNOYING! RIDICULOUS! YOU'RE
                 ABSOLUTELY RIDICULOUS!{???]! ... [???] [???]! {???] ... BIG PERVERT!{???] R1DICULOUS! ITS AMAZING Tf-lAT I CAN HAVE SUCJ-1 A
                 NICE YARD, NEXT TO SUCH A PIECE OF SHIT! AND, I DO APPRECIATE LIVING NEXT YOU. SID!! TELL YOU IVJ-IAT! ALL THE-AS MUCH
                 MONEY AS YOU'RE COSTING ME, TOWARDS MY PROPERTY!- OH, l't1AN, I TELL YOU WHAT/ YOU'RE GOING TO HAVE TO MAKE IT UP/
                 ... YOU'RE GONG TO HAVE TO MAKE IT UP SOMEWHERE UP YOUR ASS! ... BECAUSE I'M GOING TO PULL IT, RIGHT OUT OF YOUR
                 ASS! ... BAM! ... YOU KNOW MUCH YOUR PIECE OF SHIT COST MEI BAM! BAM! BAM! BAM! BAM! ... BAM! ... BAM! BAM! BAM! BAM! BAM!
                 .,. BAM! BAM! ... DUDE, SID- YOUR f-lEAD! YOUR HADlIS RIDICULOUS! ARE YOU KIDDING ME?! IVJ-IAT IS Tf-lAT ABOUT?! YOU CAN'T
                 CUT YOUR HAIR?/ Tf-lAT IS RIDICULOUS! - THAT MUST SMELL LIKE SOMEBODY'S ASS HOLE! MY GOD - ARE YOU KJDDING ME?!

                 PROBABLY WHAT I SMELL All THE TIME! ... BOY, IT STINKS OVER Tf-lERE! WHAT'S UP IVITJ-1 THAT!- CAN YOU DO SOMETJ-1/NG ABOUT
                 Tf-lE SMELL! ... I DON'T WANT TO HAVE TO CALL THE HEALTH DEPARTMENT OUT HERE AGAIN/· THEY'VE GOT MORE IMPORTANT
                 THINGS TO DO Tf-lAN TO DICK WITH YOU! ... BUT YOU KNOW, I DON'T HAVE A CJ-JOICE, BECAUSE YOU'RE SUCH A DISGUSTING SON OF
                 A B/TCJ-1! ... YOU KNOW!, .. YOUGE1i'IN BY![???] ... f-lOIV MUCJ-1 MONEY YOU SPEND ON All OF Tf-/ESE CAMERAS, BY Tf-lE WAY?!! ...
                 AND YOU KNOW WITH ALL THESE CAMERAS, YOU KNOW THE POLICE ARE LIKE, '{???/ {???/', YOU KNOW HOW MANY TIMES /'VE
                 BEEN ASKED ABOUT /THEM/?!



 ~ [JSP) MAKES RACIST STATEMENTS DUE TO PLAINTIFF ' S MIDDLE- EASTERN-MUSLIM APPEARJ\NCE/ACCENT : iJ

 ~ [JSP] CONTINUES TO MAKE STATEMENTS l\BOUT !!IS ILLEGAL CONSPIRACY WITH THI:: [HOA)/ [\'ICLE) AGAINST '!'HE PLAIN1'IFF: iJ

 ~ [JSP] CONTINUES TO ENGAGE IN FRAUDULENT, ABUSIVE AND GASLIGHTING STATEMENTS AGAINST THE PLAINTIFF: ~



[JSPJ




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                   "[???] DOES THIS GUY GET BIG DEl/VERJES OF FERTillZER? DO YOU SEE HIM BLOIVING UP A BUILDING?" ... YEAH! YOU BET I
                  COULD! YEA /-/! ... I COULD! I COULD! ... /-IE ACTS LIKE HE'S A 'GREEN GUI", BUT HE .JUST {SITS AT HOME][???}[???][???] ... ! YOU BET
                  I COULD! /-IE HAS NO{???}! NEVER BEEN LAID! SHIT, I'D BLOW SOMET/-1/NG UP! YEAH, JUST STRAIGHT OUT OF THE .... OUT OF T/-IE ...
                   WELL, LET'S SEE, [???] I DON'T KNOW.... [???] I DON'T KNOW IF[???] AND I COULD SEE THAT TOO! /-IE ONLl' IVE/Gf-lS LIKE 50 POUNDS!
                   THEY THINK YOU'RE GREEN!... [???]! ... [???] ... [???} ... [???] ... [???} ... BUT YOU ARE JUST PULLING Tf-lE TOPS OFF THE GRASS! YOU
                   KNOW IVI-IAT YOU'RE DOING R/Gf-/T NOIV IS{???] YOU KNOW IVI-IAT YOU'RE DOING RICI-IT NOIV IS SO COMPLETELY DISHONEST! YOU'RE

                   JUST PULLING THE TOPS OFF THE GRASS![???][???] THAT'S ALL IT JS! JUST[???] THAT'S UNBELIEVABLE! LIKE A GREEN KIND OF
                   Tl1/NG! l/KE [???]! YOU KNOW, EVERYBODY IN THE WORLD WORKS! THEY[???} l/VE OFF THEIR PARENTS! YOU COULDN'T BE A
                   BIGGER PUSSY! I MEAN HONESTLY - YOU REALLY COULDN'T BE A BIGGER PUSSY! YOU KNOW WHAT SID- l'OU KNOW, WHAT IT IS, IN
                   ALL HONESTY - YOU'RE BROTHER IS EMBARRASSED OF YOU! I GUARANTEE YOU THAT! I CALLED YOUR BROTHER! YOUR BROTHER IS
                   COOL! YOUR BROTHER'S A NORMAL DUDE- HE'S GOT A WIFE AND KIDS AND FAMILY AND WORKS, l/KE THE REST OF US DO![???] TO
                   YOU!! YOU'RE JUST GOING TO TO l/VE HOWEVER YOU /VANT TO LIVE! NO MATTER IV/-IAT EVERYBODY ELSE DOES IN[???}! CAUSE /VE
                   ALL SIGNED CONTRACTS THAT MEANS /VE ABIDE BY THE RULES![??~/ THINK YOU'RE SPECIAL, FOR SOME GOD DAMN REASON! "l'M
                   SPECIAL! l'M SID! LOOK AT MEI I'M SPECIAL! Of-/, NO- THEY'RE ALL RACIST! THEY'RE RACIST!" ... OH, THAT'S WHAT IT IS! YEA/-/![???]
                   [???] PROPERTY. [???] Tf-lAT'S ALL /VE ASK! ... A /NT NOTHING RACIST ABOUT THAT! ... [???]ASA GOD-DAMN COURTESY! ... /'VE BEEN
                   HERE[???] l'OU'RE DUMB ASS FOR /0 l'EA RS. YOUR DUMB ASS! ... THAT'S ALL I CAN DO, BECAUSE OUR (HOA} SUCKS SO GOD-DAMN
                   BAD! SONS OF BITCHES! I HOPE THEY GET YOU TOO! AND, I HOPE YOUR PARENTS GET TIRED OF PAYING FOR YOUR GOD-DAMN
                   FINES! ... [???] YOU KNOW HOIV MUCH YOU COST YOUR PARENTS OVER FUCKING $20-GRAND. Of-I, NO NO NO![???} ... IV/-IY DON'T YOU
                   GET YOUR LAZY ASS UP AND GET A JOB!- YOU MOTHERFUCKER! AND PAY FOR IT YOURSELF! YOU PIECE OF SHIT! ... YOU ARE A
                   PIECE OF Sf-1/T!- YOU KNOW THAT! l'OU ARE A PIECE OF SHIT! ... ANYBODY THAT CAN BE OK IV/TH TREATING THEIR PARENTS LIKE
                   THAT IS A PIECE OF SH/TT! ...



  ~ [JSP) LAUGHS AND OBJECTS TO PLAINTIFF' S WEARING OF A FACEMASK .                D
  ~ [JSP) THEN EITHER MAKES GROSSLY-UNINFORMED STATEMEN'l'S ABOUT THB COVID- 19 Pl\NDEMIC WIDELY REPORTED IN FAR- RIGHT-WING MEDIA-

 D
  ~ -OR [JSP) MAKES AN ABUSIVE STATEMENT THAT NOBODY CARES ABOUT HE/\LTH/WELFARE OF PLAINTIFF .                           D


 [JSP]             NOBODY IS WORRIED ABOUT YOU /-IA VING ANYTHING, FOOL! WHAT ARE YOU /VEA/UNG A GOD-DAMN MASK FOR RIGHT NOW?! ... 1T
                   DON'T FLY, IT DON'T FLY AROUND INT/-/£ AIR- YOU DUMB BASTARD! AT LEAST, AT LEAST, AT LEAST, WATCH Tf-lE STUFF THAT YOU

                   CAN ACTUALLY LEARN SOMETHING ABOUT! ...


  « [JSP) CONTINUES TO WATER YARD FOR A FEl·l MORE MINUTES AND THEN PUTS HOSE DOWN . D
  « [ JSP] ANGRILY /AGGRESSIVELY HOLDS-UP HIS MIDDLE-FINGER TO THE PLAlN'rIFF AS HE WALKS AW7\Y . )1

 [JSP]              SHIT! "KEEP IT REAL, BABY!"(???}(???]! REA L RIDICULOUS!


  ff [ ,JSP) ENTERS BACK INTO THE (UNCONCEALED) FRONT- PORCH AREA OF HIS PROPERTY,                        [ 784KLLTX78641) . ~

  ~ PLAIN1'IFF CONTINUES TO PICK WEEDS IN [YARD) , PSYCHOLOGICALLY-TORTURED AND TRAUMATIZED BY THE INCIDENT .                    D




9£518
Extremely alarmed by the multiple and increasingly-ominous threats-of-murder and other threats of racist police-violence that the plaintiff has

received from [JSP], and the increasing realization that the plaintiff is the victim of a relentless and vicious obstructive-and-retaliatory,

blackmailing-and-defrauding racketeering-enterprise - the conspiracy of which, included [JSP&KAP],[RSR], and [WCLE] - w ith [WCLE],

acting as a corrupt governmental organization, not only protecting co-conspirators [JSP &KAP],[RSR] from the consequences of their hate-


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crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff, but also encouraging and inciting such brazenly-criminal racketeering-

activity via the modem-day-Jim-Crow toxic environment of racist-lawlessness that [WCLE] created (for approximately a decade) against the

plaintiff - the plaintiff decides to do at least the following:



® contact the plaintiffs senior-citizen [MOTHER), alerting her, should the plaintiff become critically-injured and/or killed as a result of the
aforementioned violence, to ale1t federal-law-enforcement of all of the information of the hate-crimes/racketeering-acts/civil-rights-

violations/abuses that the plaintiff accumulated in the plaintiffs possession - much of which, the plaintiff would also eventually upload onto

private, secure (online) cloud-storage (in case one-or-more of the defendants were to also follow-through on their threats ofburglmy for the

purposes of evidence-destrnction).



@ use the anonymous and secure communication network, 11Sec11reDrop 11, to privately, anonymously, and securely contact "Global Witness" -

an international [NGO] established in { 1993} that serves to witness and expose international human-rights abuses caused-by or enabled-by

governmental corruption and/or impunity. However, the plaintiff fail~ to mention, in this particular secure-message to "Global Witness", that

the plaintiff actually has recorded-evidence of such corrupt racketeering-enterprise against the plaintiff involving the defendants, spanning

almost a decade (at this particular point in time), and that the threats also included explicit threats of blackmail/extortion. The plaintiff's

anonymous and secure-message to "Global Witness", referring to the plaintiff in the third-person, includes as a secure attachment, the

plaintiffs body-worn-camera video-recording of the incident documented in the previous paragraph, along with the following text:


      •• •   1/RI\OOE, SECIJRE Nil NOfflllOS MESSAGE FIUI PIAINT'.ln' TO (Hl())      " Cil.aW, wrmESS"      (2020- 06- 17 21:52) (-)
  ~   [ 1/RI\OOE JNFCHIM'IQI IN MESSAGE aaTimJ/IU!DM:'Im TO PAO'lECT PIUV1ICY l


  PLAINTIFF             Hello, 11-e have a video (file size 490MB) lhal docu111e11/s the followi11g:


                        death lhreals, 1e1rorislic th,-ea/s, hale speech, threats of racist vio/e11ce, threals of bmlal police viole11ce, mciall.re11ophobiclho1110phobic s/111:I', estreme
                        psyc/10/ogica/ abuse, public s/a11derldefa111atio11, i11ti111idntio11/reta/ia1io11for the reporli11g of crimes, by mcist/.w?11op/10biclho111ophobic white neighbors
                        ngni11st an i111111igra111 pe,~·011 of color (dark skin colm; long 1111c111 hair/bean/) ll'ith a doc11111e11tetl cog11ilive disabilily - and lhe racist County 011d HOA
                        1h01 allows such cri111i11al abusive behavior lo co111i1111e - and in fact, these i11stitulio11s a,-e even encoumginglimtigating such abuse.


                        This video is 011/y one of many docu111en1ed incident videos over the co/1/~'e of several ye01:1' dating /Jack lo 2016 (other videos also document - in addition
                        lo the above - criminal vandalism and pmpe11y dest111ction).


                        Please do 1101share this video withoul lhe victim'., prior co11se111.


                         The victim wa111s to know how to seek ju.,tice.




 9(519
 On or about the approximate date and approximate time of {2020-06-18 I 0:00} , the plaintiff notices on the plaintifrs security-camera-system-

 monitor that [JSP] steps into the plaintift's side-yard to peer through a small hole in the plaintiffs privacy-fence in-order-to see into the

 plaintiffs [BACKYARD], once again, in total violation of the plaintiff's rights. It is clear from this particular unconstitutional-and-unlawful

 search and the multiple other unconstitutional-and-unlawful searches of the plaintiffs property that [JSP] has committed against the plaintiff

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over the many years, that [JSP] was fraudulently acting "under color of law" against the plaintiff, thus also in violation of [ 18-USC-PI-C 13-

§242] and [l 8-USC-PI-C43-§9 l 3] and/or [TPeC-T8-C37-§37. I I] against the plaintiff. Shortly after this unlawful act and after entering back

into his property, [JSP] then takes a spray-can of what appeared to be pesticide and uses-such spray-can to menacingly/angrily spray such

pesticide over the plaintiffs privacy-fence, despite of his knowledge of the plaintiffs strong opposition to the use of such lethal chemicals -

lethal to human health, to environmental health, and to the health of wildlife.



CJ[520
On or about the date of {2020-06-20}, the [NGO] "Global Witness" responds to the plaintiffs original message (but the plaintiff only reads this

message on-or-about a few days after {2020-06-20}) with the following brief response, again, in the form of a secure and private message via

 Sec11reDrop" from "Global Witness":
11




                •• •    l!fUVME, sro.mE AHl .MOMDJS !ESSME FACM [ID:>)               ' GLCBAL III'ffiESS" TO PLAINl'ItT       [2020-06- 20) (-)

     •         I 1/fUVME INRH!M'ICll IN teSSN:ill CMITl'ED/ R£DIIC'D!D TO marEJCr l'RIIIM:Y )

             ~GLOBAL WITNESS't"/ra11k yo11 for se11di11g this. 101111101 sr,re we ore able to help in this scenario, br,t ll'ill e11deavo11r lo. Could supply more i11.fomwlio11 011 who is in the video

                                      and \\'here and 11·he11 this.footage 1ms taken?




CJ[521
On or about the date and approximate time of {2020-06-22 08:44}, the plaintiff sends an email to [WCSDet-WP], following up on the

plaintiffs previous email from {2019}, further informing such Detective and the [WCSO] about the plaintiffs evidence of [JSP &KAP]'s,

[RSR]'s continuing and/or escalating hate-crimes (including felony crimes) against the plaintiff. In this particular email, the plaintiff makes it

clear to [WCLE] that based upon the plaintiffs evidence, the plaintiff expects the appropriate charges to be filed against both [JSP] and [RSR].

 In this email, the plai.ntiff makes a typographical error by stating "more than $1500 in damages", when the plaintiff meant to state "more than

 $2500 in damages". In this email, although the plaintiff reports the crimes as felony crimes, the plaintiff does not make it clear enough in such

email that such crimes committed by [JSP] and/or [RSR] against the plaintiff are felonious because they were committed in retaliation for the

 plaintiffs initial reporting ofthei.r racially-motivated hate-crimes against the plaintiff. Since [WCCHDS-VD], who acted in a very malicious

 manner towards the plaintiff, refused to hear about any of the racially-motivated and retaliatory hate-crimes/racketeering-acts/civil-rights-

 violations/abuses committed against the plaintiff by racketeer co-defendants [JSP &KAP],[RSR] - the plaintiff included [WCCHDS-VD] as a

 recipient of such email. This email also includes a copy of the previous email-correspondence between the plaintiff and [WCLE] concerning

 this matter:
         •      DIIUL FACM PIAINnlF TO (l«::Sllet- NP) , ALSO CC'D TO (K)TIIEI\) , (1«XH)S- W ) Al«> 'l'IIE [SPIC)(~) •

         •      (2020- 06- 22 08: 14) ( • ) •   I 1/fUVME INF<H!M'ICll IN EMIIIL CMITl'ED/Rl!IW:'ffD TO PIOl'IX:T PRIVllC'l J

         PLAINTIFF                     Hello Detective Passailaigue,




                                       This is Sid Kade, lwmeowner at "788 Kingfisher lane".


                                       I have 3 q11estio11s/co111111e11t.1·, as afol/m, up lo onr previor,s co11ve1:wtio11:
                                                                                     0




                                       (I)
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/ co111i11ue lo receive deolh threats, other /envristic threats. other reference.,· to lmllal violence, i11timidatio11/reta/iatio11for the reporting of their crimes,
mciall.re11ophobidltomophobic sh11l; other ltale-,l])eeclr and psyclrologicall;~ab11sive-.171eeclt (and 1101 to forget, public s/a11derldqfamatio11) from the .1·11.v1ec/

- again. "J,,,eplr Pargi11" of "784 Kingfisher lane".


Tire su.vpecl co11/i11ues to tamper-with or try to disable/damage my sec11rily camems by .,praying tlrem with ,mter and by shi11i11g briglt1-light directly ill!o
them for long period, of time.


The .,mpect also co11ti11ues to step well-i11to my property to mow the ve1y-/011~growi11g "110-mow" gm.,, (a gmss that is 1101 intended to be mowed) which I
irrstal/ed- i11 one ctrse, mowing the entire side of thefrorrt-yard d11ri11g the midst of tm intense s11111111er dm11gh1 - forcing me to j1ood the moll'ed area with

11'0/er i11 the hopes that ii will recover.


U1ifortrmately, there is pen11a11e11tlirn:covemble damage/death lo a /a,ge area of this "110-mow" gmss that Ire mowed las/ year during tire mid# <if tire
summer dm11gh1 (I triedf/oodi11g the area to tire best of my ability but ii was "too lillle, too late" since I \\'OS 1101 al tire properly for more tlta11 3 days after
the 111mvi11g look place) - while that same "110-mow" gra.,,, ij' leji wwrmred, swvives tire Texas .mmmer dmuglttsjus/ j,11e.


Again, tire suspect is well aware that this is a "110-mow" gmss that is 1101 ilr1e11ded lo be mowed. a11d did so (a11d co11ti1111es to do so) despile of this

knowledge.


/11 particular, the other side of thefrorrt-yard that isfully under my co11/rol has 110/ been mowed i11 3 yea," (ii has 011/y been manually-weeded by me 011 a

regular basis) - a11d as a result of this i11tellige111111ai11te11a11ce, is i11 pe1fec/ co11ditio11/appeam11ce.


 The suspect is also a11·t11e of the fact that there is 110 .,pri11kler system m1 tire property (.l'i11ce the gm.ti·. ll'lre11 left 1111111m1•ed, really does 110/ need ll'Oleri11g
 even during the s11111111er droughts except i11 ce11ai11 small areas where ii has 110I fully established yet and/or where the water in the soil tend• lo evaporate

faster, for example, due to higher elevatio11).


 011 at leas/ one occasior1, rite suspect poked al and damaged the political yard signs or1 my pmperty.


 / 11¥1.1· /roping that your i11te1vie111 ll'ilh 1he suspect \\'ould se1ve ta deter and slop this viole11tlabusive criminal behavior, but u11fo111111ately, tire .,·uspect has


 1101 sltoll'II any i11dicatio11 ofchange, a11d to the co1111my, might 011/y /tm,e bee11 e111bolde11ed.


 I .,·1i// do have all of the previo11sly-111e11tio11ed evidence, and new evidence of tire abave incidems - 11ritl1 /Ire 1110.,1 recem indtlenl being al appro:limalely

 2020-06-/6 08:00.



 A11d so, I wanted to cm,fimr tire possible clw1ges associated ll'ilh s11ch cri111i11al co11d11ct:
 (*) felony /enmislic tltrea/s (i11cludi11g death threats)

 {*) felony obst111ctio11 ofjustice (ta111peri11g/disabli11glda111agi11g of cameras; threats for reporting of crime.11

 (*) fe/011y i11ti111idatio11 of witness and reta/iatio11 against wi111ess

 (*) felony vandalism and criminal mischief (more titan $ / 500 in damages - for damage lo grass and security cameras)



 Again, I do have eve1y reason to believe and that tire evidence I /rave does clearly sholl' that these crimes are based 011 mcial/.re11oplrobic lwt,ed mrd

 homophobic hatred, and as such. should be classified as hate crimes.


 Also, as afomrer stude111 at tire U11iversily of Texas at Austin, I 11m registered as a student with disabilities, having a cognitive disability- which the
 suspect is fully all'are of, but despite k11011'/edge of this, maliciously chooses lo e1ploil.


 As a 111i11or side-110/e to the above, the .,·u.v1ec/ also co11ti11ues to liglrl fire11'01ks every year (multiple times per yem) - a ll'ell-knonn violatio11 of HOA mies
 - an act that remains ve1y dangerous due to the close proximity of lrou.\'es/.1·1111ct11resltreeslbusheslelc. and due lo rite great public nuisance that such loud
 flrell'orks ca11se (e,pecially during the middle of the 11ighl}, and 110/ lo fmgel, the resulting air poll11Jio11/debris.
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(2)

Jn an issue that is slightly 11nre/ated to the above - the property owner of "789 Kingfisher Lane" - Rebecca Sue Robertson - has trespassed 011 my prope11y

at approximately [2020-06-04 17:49] - 1 do have video evide11ce qf this as \\"ell.


Since this individual also threatened me back in 2010/2011 at my do01:~tep, there was a crimi11al-trespass-1mmi11g issued to this individual on Augu.\"I 2011
by the Wif/immon Co1111ty Sherifjs Depmtment - a \\'aming that she refused to sign, hut that the WCSD Deputy assured me that it is still valid- i11fact,

!here were 2 tre..171ass wami11gs issued to this individual 011 that same day (one from another neighboring prope1ty owner as well).


This individual has repeatedly harassed me over the cour!.;e of the J1 yem:f that I hal'e lived here - in some cases, kicking and thmwi11g tantrum.\· against
my prope1ty and also, nfe1ri11g to me on some occasions, using mciallxe11ophobicl/10mophohic slurs, and also committing sla11de1idefamatio11//ibel against

me in 11111ft1JJle public seflings.


She a/,w feal'es her large dog 1111leashed 011 a daily basis - !he dog is never 011 leash (ll'hich is also a i•iolation qf HOA 111/e.\) and occasionally does bark

WI)' loudly - this dog occasio11ally does s/ep will illfo my Ji-on/yard.




So, please c011firm that you do hal'e this climi11a/-tre.v1a1·s-11wni11g 011 file, so that we c011 begin processing charges against this individual as well.




(3)

As a relatively minm side-note to the above, J should also point out that neither(!{ these i11divid11als are practicing social dislancing, and are never

wearingface masks in enco1111feri11g me while l'm al my proper()'.


I am the only one wearing a face mask, and they also ridicule/shame me for doing so - they even sneeze/cough around me without 11"eari11g a mask, leading

me to wonder !f they are doing it on pmpose.


They are surely aware //tat people are spreading the disease without showing .,rmptoms of it - (in other \\'01"<1,·, cmriers not s1!fferer:.) - and Iha/ people qf

color (such as myself) are pa11ic11larly vulnera/Jle to the lethal disease.




NOT&


I do want to pursue pressing charges against these individuals, /ml I do need to stress that 1 will need police p,vtecfion - these individuals (especially

 "Joseph Pargi11") have sholl'n themselves lo be capable <?f violence (i11fact, hmtal violence), and there are cmmlless cases where vulnerable 1•ictims of
 hate crimes that have reported c11me.1· hm,e been retaliated against - and in some cases, severely il1i11red or el'en murdered


 So, ii takes sig11ijica11I courage for a pe1:wm like me (qf my racial profile) and of IIU' physical slature (I weigh about 100 pound~) lo be able to repmt lhe..~e
hate crimes, agaiml the possibility of violent retalialio11jim11 people more than twice my size, and i11 all likelihood, are armed with lethal 11"eapo11s.


 Jnfact, the smpects' tennrizi11g behavior towarrfr me has hllenlionally se,ved lo instill femitermr in me, so that 1 will remain quiet and allow such

 injustice to continue (which I have done 11/llil this point).




 I will he compiling the video evidence and I should have most qf it 011 an SD card wilhin tll'o 1reeksfmm now (since 1•ideofiles are too big to lmn~fer

 over email).


 Please confinn [{/when you are available for meeting me at lhe property (" 788 Kingfisher Lane") ,mmelime dwing the weeks of J1me-29tltl.!11~)'-6th, so

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Iha/ I can provide yo11 ll'ilh this evidence - I will se11d afollo11c11p email cmifirmi11g the exact date/lime.




Thanks,
Sid Kode.




011 /0//6/2019 8:36 AM, Wayne Pa.m1ilaig11e mule:
> Sir.
>
> I have received your email and ii hm been added lo this case.file (Case No. 2019-09-0056/). Both cases that yo11 hadf)led with //11v11gh the Sheriff's

Office are being ,mrked 1111der this case 1111111ber. I have co11d11c1ed an i111e1view with the smpecl in lhi.1· case and have <111 idea of what'.~going 011. The
physical evidence (digital recordi11g.1) is paramo1111/ in this case and I ll'ill be ll'aili11gfor yo11r response lo go f11r1her in this case. /fyo11 have any q11eslio11s

please fee/ free lo reach 011/ by email or phone.
>

> Thank Yo11,

>

> Detective IV. Pa.~\'Oilaig11e 1113122

> Criminal Invesligatio11 Division
> Williamson Co11111y Sheriff's Ofjice

 > 508 S. Rack SI. George1m111, TX 78626

 > Office: 5 I 2-943-5274

 >
 > This me.~\'Oge co11/ai11s i11formatio11 whic/1 may be c01!fide11tial and p11vi/eged. U11/e.s, yo11 are tl,e addre.~~ee (or 011/llorized lo receive.for 1/,e addressee),

you may 110/ use. copy or disclose lo anyone the message or any i1!fon11a1io11 co11/ai11ed in the mexmge. If you have received the message in e1ror, please

 advise the sender by reply e-mail and delete the message.
 >

 > -----Original Message- - --

 > F1vm: ••••• ••••••• ••• •••       <•••••••••••••••••~
 > Sent: Wednesday, October 9, 20/9 8:05 AM

 > To: Wayne Passailaig11e <**•••••••0 ••@wilco.org>
 > Subject: Evidence for criminal 111isc/1i,;f and 1hrea1e11i11g co1111111111icatio11s

 >

 > EXTERNAL email: Exercise ca11/io11 1d1e11 ope11i11g.
 > _ __ _ _ _ _ __ _ _ __ _

 >

 > Hello Detective Passailaig11e,
 >

 >
 > This is Sid Kode (properly 01mer qf "788 Kingfisher Lane, Leander, TX 7864/"), rev1011di11g lo your voicemails about the cri111i11al mischief and

 //,rea/e11i11g comm1111icalions 1h01 ll'e're erperie11ci11g al 011r prope11y fi'om the suspect (11e\'l-door neighbor /hat lives al "784 Kingfisl,er Lane, Leander, TX

 7864/ ").
 >
 > I do still /,ave the footage stored 011 011r security camera SJ"lem'.1- DVR l,a,r/-drive.1; but I have 1101 yet flg11red 011I /,ow lo tro11.ifer 1/,e data 011/0 011

 extema/ l,wrl-drive.
 >
 > U11fort1111a/e/y, as of /ale, I have 1101 /,ad the lime to figure tl,is 011/, bu/ hopef11lly I should be able lo gel ii done sometime tl,is 1110111/,,

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       >

       > O11ce I ltave //tis do11e, 1 ll'ill let you know so tltat yo11 con obtain tltat evidence.

       >

       >

       > So, to briefly summarize tlte seq11ence of i11cide11ts:

       >
       > (/) In approximately October 20/ 7, I received 1/tefit~I tltrea/e11i11g comm1111icalio11.fiv111 tlte s11spect.
       >
       > (2) /11 oppmximate/y Februa,y 2018, I received tlte second tltrea/e11i11g co1111111111icatio11fm111 lite smpecl (I still /tm1e to/ind tltefoolagefor tltis).

       >
       > (3) In approxi111atelyJm111my 2019, I receivecl 1/te 1/tinl tltrea/e11i11g co1111111micatio11from tlte .w.1pec1.
       >
       > (4) /11 appmximately Feb111a1y 2019, 1 received thefo11rtlt tltreate11i11g co1111mmicatio11from tlte s11.11Jec1.

       >

       > (5) In approxi111ately May 2019, I received tlte Fiftlt tltreate11i11g co1111mmicalio11 from tlte s11.111ect (I still ltave to find 1/te footage for tltis).

       >
       > (6) /11 approximalely./1111e 20/9, I received 1/te six/It 1/trea/e11i11g co11m11micatio11from lite s11.1pect (I still ltave tofi11d tltefoolagefor tltis).

       >
        > (7) 011 July 3nl 2019, 1lte s11specl sltot info one of 011rca111ems damagi11g a11d breaking tltef,v111 glass and JR illumina/01~· so tltat lite JR 11iglt1 visio11110

       longer \\'arks.
        >

        > (8) 011 August 23,d 20/9, lite suspect stepped 01110 ouryanl witlt a lml'l1111011·er a11d mm1Y!d our Jmul~cope 111,iclt \l'e /tad specifically designed 110110 be

        mo,1Y!d, 11111.1· da111agi11g tlte pla11/.1 a11d 11eedi11g ii to be repea1edly 1ra/e1Y!d (flooded) umil most of it tY!covetY!d - lto11Y!ve1; some of lite la11dscape did die due
        to tlte severe s11111111er lteatldrougltt and tlte damage altY!ady do11e. 011 appmximately September 20 I 7. 1 ltadfiledfor approval a11d received approval J,-oi11
        our HOA /or tliis "110-mow", dm11gl1Holera111 lm1dscape, c111d I lmd installed 1/iis /c111d.1cape 0 11 Ocfobcr 2017 nncl cii/igcnrfy watered if regularly 1111/il it

           took I year lo eslablislt.
           >

           > (9) 0 11 September ?? 2019, al 11igltt lime, lite smpecl slti11ed ltisflaslt-ligltt ditY!clly 011/0 011e of ofour cameras, llte11 kicked {Ill objec/ (IR ill11mi1w1011

           placed 011 0111· landscape along tlte fence.
           >

           > ( JO) 011 Sep/ember / 41/, 2019, the suspect sltol into a second camera damagi11g and breaking 1lte.fim1/ glass - the IR slill teclmically 11•0,* s. but the

           slwtle1Y!d glas.~ makes the camem'.1 image bluny, especially al 11ig lt1.
           >

           >
           > These are lite i11cidell/s tltal I co11 tY!collec/ as of rigltt now. I'm .\'IIIY! /here \IY!l-e otlter i11cide11/s /Ital have escaped II()' me11toJJ'·

           >

           >

           > As s0011 as I ltave accumulated all of thefoolage 011/0 lite po11able hard-drive, I will let you know- I .1·1ill al.w have to j711d muclt of it si11ce lltey are

           stored 011 111111/iple diffe1-e11/ ltard-drives.
           >

           >
           > Thanks,

           >Sid Kode.
           >




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On or about the approximate date and approximate time of {2020-06-22 21 :00}, the plaintiff notices on the plaintiffs security-camera-system-

monitor that [JSP] is either standing near the border of the plaintiff's property, or on the plaintiff's property, while committing yet another

action of criminal-mischief against the plaintiff, by intentionally shining his torch-light directly onto the lens of one-or-more of the plaintiff's

security-camera(s), again, as [JSP] himself admits, in-order-to permanently "blind" such security-camera(s). As [JSP] is committing this

criminal-act, [JSP] summons [RSR] (who is across the street) in-order-to furter conspire with her about the plaintiff. As [JSP] is committing

this criminal-act, [RSR] starts walking towards [JSP]. [JSP] laughs and derisively states to [RSR] about the plaintiff, "[HE'LL] WANT TO

CALL THE LAW ON YOU AGAIN!". [RSR], in her usual tone of racist-contempt towards the plaintiff, states to [JSP], "WHAT IS HIS

PROPERTY?! ARE YOU SURE THAT THAT'S HIS PROPERTY?!" (RSR] makes this brazen statement and the following brazen statement(s)

because [WCLE] refused to charge [RSR] for [RSR]'s brazen criminal-act of criminal-trespass against the plaintiff, which, as documented

above, had actually occurred on at least two different occasions during the year {2020}. [JSP] remains on the border of the two-properties,

instructing [RSR] to step into the plaintiffs property - essentially, daring [RSR] to commit what would be, at the ve1y least, her third-criminal-

act of criminal-trespass against the plaintiff. As [RSR] walks on the sidewalk, at least contemplating [JSP]'s dare, [RSR] boldly states with such

racist-contempt against the plaintiff to [JSP], "/ MEAN, WHO KNOWS IF THAT'S EVEN HIS PROPERTY?!", pretending as if she was not

informed on multiple occasions by (WCLE] - and at the very least, by [WCSD-PP] by way of the aforementioned [CTW], but also by the

subsequent phone-call from [WCLE] earlier in the month (see above) - that the property [788KLLTX78641] did, in fact, always belong to the

plaintiff since the date of {2009-03-06}. [JSP] frustratingly and disappointingly responds to [RSR], "IT IS! I'VE CHECKED! ... I'VE

CHECKED!" [RSR] disappointingly responds, "Have you?!" Despite making such brazen statements documenting her exh·emely-low opinion

of the "/0111-/Q, powel'less" plaintiff, [RSR], at the very least, on this particular occasion, avoids the plaintiff's property, walking around

[JSP&KAP] proh·uding tree (which blocks at least half of the sidewalk) and enters near the border area of the two-properties ( e ) . As [JSP]

conspires with [RSR] against the plaintiff, [JSP] continues for a period of approximately 2 additional minutes, to point his torch-light directly

into one-or-more of the plaintiffs security-camera(s) in-order-to pemmnently "blind" such cameras, while [RSR] clearly approves of such

retaliatory criminal conduct - specifically, criminal-mischief, felony evidence-tampering and intimidation/interference. After such 2 minutes,

both [JSP] and [RSR) walk towards the hose/tap area of [JSP]'s property, and resume their conspiratorial/colluding conversation against the

plaintiff at such location - in total, for a period of approximately 20 minutes. Dw·ing one-or-more occasions during such 20-minute-period,

[JSP] would look back at one-or-more of the plaintiffs security-camera(s) and shine his torch-light at such security-camera(s). [RSR], the

kingpin (or mafia-godfather) of the obstructive-and-retaliatory, blackmailing-and-defrauding racketeering-enterprise against the plaintiff, is thus

not only fully-approving of [JSP]'s criminal-mischief, evidence-tampering and intimidation/interference against the plaintiff, but also has acted

as the chief conspirator (or kingpin/mafia-godfather) in such racketeering-enterprise against the plaintiff - in conspiracy not only with

[JSP&KAP], but also [WCLE] for approximately a decade (at this moment in time) against the plaintiff. During at least some of this

 conspiratorial dialogue between the two conspirators, both [RSR] and [JSP) express their mutual anger and enormous frustration against the

 plaintiff to one-another. In pa1ticular, both [RSR] and [JSP] express their mutual anger and enormous frustration that the plaintiff had amassed

 such a mountain of exh·emely incriminating evidence against them, and as a result of such mountain of extremely incriminating evidence, that

 they would need to formulate a thorough and carefully-executed plan along with their co-conspirators at (WCLE], in-order-to make sure that

 the plaintiff is fully obstructed from seeking justice and/or exposing the defendants' criminal conspiracy and racketeering-enterprise against the

 plaintiff. At the ve1y end of such conspiratorial dialogue which also demonstrated their anger and frustration at the plaintiff, [RSR] departs

 [JSP], ag«in walking around the [JSP&KAP]'s protruding tree, thereby avoiding walking on the plaintiffs property. As [RSR] walks further-

 and-further away from the [JSP], [JSP] yells at [RSR], much like a top-level enforcer or mob-boss would re-assure the kingpin (or mafia-

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godfather) that such top-enforcer/mob-boss has got such kingpin's back, "IF YOU EVER NEED ANYTHING, JUST HOLLER AT US!" [RSR] ,

the kingpin, finding comfort in [JSP]'s reassuring statement, responds, "OH, I WILL! THANK YOU!" [JSPJ responds, again just like a top-leve l

enforcer/mob-boss would reassure such kingpin, "NO PROBLEM!" [RSR], the kingpin, finding comfort in [JSP]'s reassuring statements,

responds again, "YALL ARE GOOD TO ME! ... 11 [JSP] responds, again just like a top-level enforcer/mob-boss would reassure such kingpin,

"YOU'RE GOOD PEOPLE, TOO, BECKY!" [RSR], the kingpin, finding comfort in [JSP)'s reassuring statements, responds again, "OH!

THANK YOU! ... 11, as she enters back into her property and house. The timing of this incident cannot be emphasized enough, and there is

sin1ply no other manner in which any reasonable observer that looks at all of the evidence that the plaintiff has accumulated could interpret this

situation. It became abundantly clear to the plaintiff, that even though the plaintiff had sent private email(s) to the [WCLE] describing [RSR]'s,

[JSP&KAP]'s retaliatory (thus felonious) crimes against the plaintiff, as described in the previous incident, one-or-more person(s) within

[WCLE) informed [RSR),[JSP&KAPJ of these private emails - in total violation of the plaintiff's right to privacy, considered to be the Abuse-

of-Office crime of "Misuse-Of-9/ficial-Jnformation" - and furthermore, completely-indicative of the malicious conspiracy (and associated

racketeering-enterprise) between [RSR],[JSP&KAP] and [WCLE] against the plaintiff. Although no part of the plaintiffs lawsuit actually relies-

upon, rests-upon or hinges-upon this particular assertion, the plaintiff asserts that this incident - along with many other incidents - further

reveals that [WCLE] was not only protecting White-American private-citizen racketeer co-defendants [RSR],[JSP&KAP] (and some of their

own employees involved in such conspiracy and racketeering-enterprise against the plaintiff) from prosecution for the decade of serious,

racially-motivated hate-crimes that [RSR],[JSP&KAP] (and those specific employees of [WCLE]) had aggre!,>ately committed against the

plaintiff Uust like [WCLE] did during those initial years with the plaintiffs initial White-American neighbor [JIB]), but also that [WCLE] was

closely-coordinating and planning the course of predatory and retaliatory actions that [WCLE] would be initiating against the plaintiff, in

conspiracy w ith racketeer co-defendants [RSR],[JSP&KAP].




1523
On or about the date of {2020-06-23}, the plaintiff anonymously responds to the [NGO] "Global Witness", trying-to-maintain anonymity by

referring to the plaintiff in the third-person, thanking such [NGO] for their response and providing such [NGO] with more details as such

(NGO] bad requested:
      •• ,   l!RIVJUB , S111CURE AK> AIQMIXJS IESSMZ not PIAim'In' TO [Nil()]         •GI.CIW. wrm&SS'        12020--06--23 17: 16) I~ )
  •   [ l'RIVME IlfflRATIQl IN l£SSAGE: <Kl'l'l'ID/REDIIC[ED TO mcm:cr PRIVACY ]


  PLAINTIFF             Tha11k you for your response.


                        This video i., 011/y 011e qf 111a11y s11ch i11cide11t videos, dating back to 2016.


                        This particular video was take11 al approximately 2020-06-16 08:00 CST i11 the Ce11tral-Texas area of the Uni!ed S/(/tes.


                        The victim (!he one picking the HY!ecl., into the bucket) is an e11viro111ue11tal-jmtice/eco110111ic-justice/social-juslice activisl who also happens to be a

                        foreig11-bo111 immigrant of colo1:


                         The victim looks like a Muslim immigrant (ll'ilh 1•e1J>-dark skin color, /011g-u11cu1 hair), and is Ihm a cons/cm/ large/ of exlreme a111i-Musli111
                         racism/xenophobia fimn 4 11eighbori11g (while} homea\l'uers.


                         The 1•icti111 was also t1fo1111er student al the Univei,·ify of Texas at Austin, 11•here he ll'OS registered as a studell/ 1.-ith disabilities - a cognilive disability.


                         To put the threats</{ violence into colllexl, the victim is a sma/1-statured individual weighing about 100 pounds, while the vicious neighbors are much
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larger (weighing well over 200 po1111d\) and given their reactionmy politic\' (and crazed gun cu/hire), in a/l likelihoocl, are anned with lethal weapons.


The victim has been a constallf target qf vicious propaganda by Jhese white l10111eow11er:>\ thal together cOI/.\JJire/collude lo gel law e11force111ellf to acl
against him citing so-called "1111isa11ce" /a11:1· conceming "weed~" and cardboard used as mulch, when lhese 11eighb01:1· them.\'elves are commilli11g actual

crimes - to be specffic, selious hate crimes - such as:


(*) te1mristic threats (i11cl11di11g death threats)
(*) other hate .1J)eech

(*) threats of brntal policelmcist violence (reference to "Rodney King")

(*) radal/xenophobic/homophobic slurs

(*} extreme psychological abuse

(*) public s/a11derldefamatio11

(*) intimidation/retaliation for the rep011ing of crimes

(*) vandalism (dest111ctio11 of the security cmm:ra.\', tamperi11gldisabli11g qf security camems, destmction qf vegetation that the victim look great (1.forts

and paid to install, damage to political yard sigm - all 011 the victim's prope11y).

(*) crimi11al tre.17mssi11g



One of the white homeowners was given a crimi11al-trespass-ll'ami11g against the victim's prope11y abollt 9 years ago (in 2011).


Despite the/llcl that one qf these white ho111eo1mers has ,,iofated !he trespass waming by trespassing 011 the victim'.\' prope11y eadier this 111011th, law

e11forceme11t claims that they caimot.l711d the c1imi11al-tre.17Jass-wami11g 011/ile, and as such, al least as of right now, is 1101 willing to take any action hy

charging the pe1petmtm:


(The victim's security camera recordings show proqf (?{ the trespassing).


 The victim also lives within a "Homeowners Associatio11 (HOA)" - a housing subdivision nm I~)' a private cm])m·ation - \\'here the all-white board
members enforce the neighborhood's (cult11rally-ime11.1·iti1>e, mcially--im·e11sitive) mies in a highly discriminatmy manner- muljmt like law e11force111e11I -
 they 011/y target homeowners who they receive comp/ai11sfro111 - and this is inherently predatmy and abusive - e:>7Jecially given !he mdal demographin <?f

 the nearly-all-white s11bdil,isio11.


 Forerample, the 1•ideo sh011tf /he l'ictim pil·king 11eedf in a "110-mow" gm.1:1· - a specialty /ow-growing grass that the victim took greal effmt and money to
 i11stall - to eliminate the need/or the e11vim11me11tally-de.1·t111cti1'e lmmmowing, and allow for a tntfy dm11ght-re.1·ista11t 111111101\'ed grass that has the least

 envim11111e11tal impact (and to the co11hwy, has a net-posilive e11vimm11e11tal impacl):


 http,\';//1v1v1t>.111r!c.orglstories/mo1-e-s11stai11a/Jle-m1d-bem1tijl1l-alten1alives-g1-ass-lm1111
 h1tps:l/111111111.111r!c.orglreso111-ces/to11wr/-,\"l1slai11ab/e-la11dfcapes-restming-right-110t-111011'

 https:l/w1nv.1mlc.org/sites/defa11/t(files/smlainab!e-la11dfcapes-WJ60506.pdf
 https://a,rhive.epa.govlgree11acresi11'eb!html/J111/r.hh11l


 For his s11bsta11tfril effm1s in campaigning and.fighting for the right to im·ta/1 this alternalil'C "110-mow" grass (as documellted in the links ahove), the
 victim is co11sta111ly tlu'eatened by his white neighbors who complain to low enforcement and threaten to sue - ming the HOA as theirpnefe1red 1reapo11 t!{
 choice - since that pre1•ents them/mm having to .\JJend m1y money fighting the costly legal baffles that the victim 1rnlly does not have the financial
 resources lo spend (the victim cannot match the million-dol/arfi11a11cial/legal resotot·es qf the HOA or the cotmtylstale law enforcement).


 This grass is .1·e,,erely damaged since the pe1petrator (also shmm in the ,,idea) 11101\'ed over it 11111/tiple times using a Jawnmo\\'er (during the mfrll-t of last
 year's i11fe11se summer dmught August 2019, and in May 2020) - the pe1petrator knomf that this is a 11110-mow" gra.1:1· that is not intended lo be moll'ecl but
 that clearly will 110I stop this openly-racisl 111a11Jhm1 imposing his racist viem~ 011 property t/,a/ he does 1101 even 011'11.



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                   The victim also has video e1•ide11ce of much of /he above crimes, but does 1101 know if he should release it lo fall' e11forceme11/ to pursue chmges due to

                   violent retaliatio11from the 11eighbo1~· orfi11a11cial/legal retaliatio11.from the HOA.


                   The victim also has eve,y reason to be dis/111.1·/{11! of the county /all' e1!forceme11t, 1d1ich has a long track reconlfor not re.w ecti11g 111i11ority righls, and
                   which still has re11mc1111s of /he old Sou/hem -US racist politics - the victi111 hi111self has been mistreated 011 multiple occasions by racist cops.


                   Due to all of these reasous, the victi111 lives a life of constant s/ress andf ear - but mme/heless, wishes lo re111ai11 living at this localio11 nm only to co11ti1111e
                   doc11me11ti11g the i11j11stice, but also because moving ,rould be a co11wdly acl that alloll's such i11stit11tio11ally-racisl /en vr lo win


                   Due lo privacy reasons, the viclim does 1101 cunrmlly want to reveal lhe emcl Jocalio11 and idenlily, b111 does HYml lo know about a11y possible avenues for

                   juslice.


                   Also, in case //1e viclim is seriously 11v111uled or killed, the victim ,rould 1101 like to he yet another hate-cri111e statistic, but rather, thal his i11j111y/dealh

                    11vuld se1ve Jo advance social justice and preve111 such i11j11sticejivm happening to anyone el.fe.


                    The victim can share 111ore videos docume11li11g lhe i11jmtice in case you are interested.




i524
On or about the approximate date and approximate time of {2020-06-26 21:15} , [RSR] and [KAP] continue to maliciously-predatorily-and-

secretly conspire/collude/strategize and scheme against the plaintiff, plarming on the best course-of-action in their decade-long conspiracy with

[WCLE] to once-again retaliate, this time with full-force, against the plaintiff for the plaintiff's "audacity" to record, repo11 and/or plan-to-

provide-the-mountain-of-evidence-of their racially-motivated hate-crimes/racketeering-acts/civil-rights-violations/abuses against the plaintiff to

[WCLE] (dating back to {2011} ), especially since the plaintiff has already made the plaintiff's intentions of doing so in the aforespecified email

to [WCLE].



i525
During the late-night of of {2020-07-04} (and possibly even during the preceding nonholiday late-night of {2020-07-03} ), [JSP] and/or [NP]

and/or [KAP] illegally light fu'eworks, with at least some of the debris from such fireworks landing on the plaintiff's property

[788KLLTX7864 l].



i526
On or about the approximate date and approximate time of {2020-07-06 22:15} (late-night), [RSR] shouts out ''l ****" one-or-more time(s) to

call her unleashed large-dog, [L], which was, as usual, roaming freely, in violation of the resh·ictive-covenants, outside of [RSR]'s property

[784KLLTX78641] - even at nighttime.



i527
On or about the approximate date and approximate time of {2020-07-07 11:20}, [RSR]'s unleashed large-dog, [L], enters into the plaintiff's

[YARD] one-or-more times, in violation of the restrictive-covenants. On or about the approximate date and approximate time of {2020-07-07

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20:42}, [RSR)'s unleashed large-dog, [L], runs up the street one-or-more times, in violation of the restrictive-covenants. On or about the

approximate date and approximate time of {2020-07-07 23:56} (late-night), [JSP] uses a torch-light to shine such light directly into the lens of

one-or-more of the plaintiffs security-camera(s), again, in more of his repeated attempts to permanently "blind" such security-camera(s) and/or

destroy the night-vision circuitry and functionality of such security-camera(s).



<][52 8
On or about the approximate date and approximate time of {2020-07-08 21 :44} (night), the plaintiff notices that [RSR)'s unleashed large-dog,

[L], has crossed the street and is roaming freely onto the sidewalk in front of the plaintiffs property.



<][52 9
On or about the approximate date and approximate time of {2020-07-11 19:00}, the plaintiff starts watering the plaintiffs "no-mow" grass

using a hose. The plaintiff notices that [JSP)'s boat is illegally parked for many days in front of the plaintiffs property, just as it had been,

more-often-than-not, during this year of {2020} and the following years of {2021}, {2022} - when the restrictive-covenants of the

neighborhood explicitly prohibit the parking of any boat, anywhere that is visible from the street. [JSP] is walking around with a string-trimmer
                                                                                                                                                        11
in hand, trimming the vegetation of various areas of the [784KLLTX7864 l] yard, but then also trimming substantial parts of the plaintiffs 110-

mow" grass, even trespassing into the plaintiffs property to illegally trim such grass (as he has also done on numerous previous occasions).

After [JSP] realizes that plaintiff is watering the plaintiffs [FRONTYARD]-grass close-by, [JSP] starts another racist, abusive and threatening

rant against the plaintiff. Both large-teenage son [NP] (approximately 6-feet-tall - thus significantly larger than the plaintiff) and wife [KAP] are

around the area of [JSP], fully witnessing (or at least hearing), all of [JSP)'s loud, racist, abusive and threatening words against the plaintiff:
  ►        R!lCXRlED IUICIST, ABOSIVE, mAIXlOU!Nl' , 'IBIIEAnllmlG Al«> FlWDJLl!IIT lWfl' mo! (JSPJ TO PIAINTllT(~l •   (2020- 07- 11 19 : 00 ) H
  ►        ( JIIUVM!! URL LINK TO BE saHITJ!!D m Dlsa:7,,IERY )



      ([ PLAJNTffF MOVES HOSE FRO."l ONE AREA TO ANOTHER TO FLOOD AREAS OF NO-MO'll GRASS DAM1\GED BY SUM<1ER DROUGHT AND BY [JSP] ' S

  CRrnINAL VANDALISM OF SUCH GRASS IN (2019- 08) .                         »
      ([ [JSP] , WHILE [NP] IS IN THE BACKGROUND \'/ITNESSING, STARTS SHOUTING ANOTHER RACIST, ABUSIVE, FRAUDULENT , THREATENING AND

  FRAUDULENT RAN1' TO PLAINTIFF :                  iJ


  [ JSP]                      HEY, PERV BOY! YOU NEED TO KEEP THAT CAMERA OFF MY YARD, Iv/AN! ... IVHATTHE HELL JS WRONG WITH YOU?! ARE YOU SOME
                              KIND OF PERVERT OR SOMETHING?! ... ARE YOU A PERVERT?! - IS THAT Wf/AT YOU ARE?! {JS THAT WHAT YOU DO?!} ... YOU NEED TO
                              KEEP YOUR GOD-DAMN CAMERAS OUT OF MY BACKl'ARD- YOU BIG PERVERT!-


      0C   PLAINTIFF, AFTER PLACING HOSE TO FLOOD A DAMAGED AREA OF NO-MOW GRASS , LEAVES TO JI.RE/\ TO ESCAPE [JSP] ' S ABUSE . j]

      ~ [ JSP) YELLS OUT LOUD AT THE TOP OF HIS VOICE SO THAT PEOPLE FR0.'1 MANY HOUSES Al'IAY COULD EASILY HEAR :                                  »

  [JSP]
                              -PERRRRRVERTTTTT!

      ~ PLAINTIFF ENTERS BACK INTO UIE [HOUSE] , TRAUMATIZED BY THE INCIDENT .                                   iJ
      0C   APPROXIMATELY A FE\·l MINUTES LIITER, PLAINTIFF WALKS BACK TOilARDS HOSE TO MOVE THE HOSE TO ANarHER DAMAGED AREA OF NO- MO't1

  GRASS .        iJ
      ([ [JSP) , 1,JHO IS ALSO N<Yll l'IA'l'ERING GRASS OF [784KLLTX78641] , LOOKS AT PLAINTIFF AND STARTS SINGING II DEROGATORY SONG AGAINST

   PlJ,INTIFF .        lJ
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 ~ BOTH [KAP] /\ND [NP] ARE ALSO IN THE BACKGROUND WITNESSING ALL OR PART OF THE l"OLLO'llING : ~



 [JSP]            Spying 01111s - big pe1vert! ... 'I'M PERV BOY! ... I LIKE TO SPY ON PEO-PLE! ... I LIKE TO LOOK AT PEO-PLE! ... THROUGH All MY CAM-
                  ER-AS. .. BECAUSE I'M A BIG PERVVV-ERTT! THA T'S WHY I DO LIKE A PERVV-ERTT! BECAUSE I AM PERVVV-ERTT!' YOU'RE A PERI'!


 I!, AS PLAINTIFF RESUMES OTHER WORK IN [ffiONTPORCHJ AREA, [JSP] CONTINUES TO YELL RACIST INSULTS AT PLAINTIFF, TllEN RIDICULES-



 f -PLAINTIFF ABOUT PLAINTIFF ' S WEARING OF A FACE-MASK , WHILE CONTINUING TO MAKE GROSSLY-UNINFORMED AND SELFISH/INCONSIDERATE-


  ~ -STATEMENTS ABOUT THE COVID-19      PANDEMIC WIDELY REPORTED IN Fl\R-RIGHT-VHNG MEDIA: ~


 [JSPJ             PERVERT! ... PERVERT! ... PERVERT! ... IYHAT THE HELL JS HE WEAR ING! HOIY DO YOU THINK YOU'RE GOING TO GET COVID BY! GET
                   OUT OF HERE! {???}! YOU DON'T KNOW HOW TO GETCOVID BY! DON'T BE A DUMBASS! CAUSE EVERYBODY ELSE IS WEAR/NGA MASK.
                   DON'T MEAN YOU NEED TO!


  ~ [JSP) LAUGHS OUT LOUD DERISIVELY, STATING THAT 'l'HE PLAINTIFF IS NOT ~IORTHY OF ANY RIGH'I'S AFl"ORDED TO E:VERY OTHER PERSON :                     »

 [JSP]             BUT YOU AIN'T EVERYBODY ELSE!




C][530
On or about the date and approximate time of {2020-07-26 17: 15}, [JSP], while in his pickup-truck near the plaintiff's private-property, yells

some angiy words into the plaintiff's security cameras. Approximately 15 minutes later, [JSP] while watering his yard, issues the

obscene/vulgar gesture of his middle-finger raised to one-or-more of the plaintiffs security-camera(s).



1531
On or about the date and approximate time of {2020-08-0 1 06:15} , [JSP] throws some debris or other waste-product onto the plaintiffs

[FRONTYARD]. On or about the date and approximate tin1e of {2020-08-01 16:42} , [RSR]'s unleashed large-dog, [L], barks loudly and

uncontrollably on or near [RSR]'s frontyard - a recurring noise-nuisance-violation that the plaintiff had noticed on countless occasions from

[RSR]'s property, [789KLLTX78641].



1532
On or about the date and approximate tin1e of {2020-08-03 11 :00} , a contractor hired by [RSR] drives his contractor's truck slightly into the

plaintiff's [DRlVEWAY] in-order-to take a three-point-u-turn. The plaintiff had noticed the same contractor use the plaintiff's [DRIVEWAY]

in such manner on at least one prior occasion in the previous week. By sharp contrast, [RSR] would not even allow a delive1y-driver delivering

sod to the plaintiff's private-property to temporarily pause his semi-truck even for a minute on the (public) street in front of her prope11y on or

about the date of {2017-10-25} - and would continue to harass multiple of the plaintiff's contractors on that particular day and on other days -

for example, the date of {2020-05-05}.




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1533
On or about the date and approximate time of {2020-08-04 18:45}, [RSR]'s unleashed large-dog, [L], barks loudly and uncontrollably on or

near [RSR)'s frontyard - a recurring noise-nuisance-violation that the plaintiff had noticed on countless occasions from [RSR]'s property,

[789KLLTX78641].



1534
On or about the date and approximate time of {2020-08-08 10:45}, [RSR]'s unleashed large-dog, [L], barks loudly and uncontrollably on or

near [RSR)'s frontyard during a period of time spanning up to 4 minutes - a recurring noise-nuisance-violation that the plaintiff had noticed on

countless occasions from [RSR]'s property, [789KLLTX78641].



1535
On or about the date and approximate time of {2020-08-15 13:18}, [RSR] steps at at least partially into the plaintiffs private-property

([DRIVEWAY]) while she is walking towards her co-conspirators [JSP&KAP]'s property, [784KLLTX78641] - despite of the fact that a

(CTW] has been issued against her, forbidding her from trespassing onto the plaintiffs private-property.



1536
On or about the date and approximate time of {2020-08-19 11:35}, [RSR]'s unleashed large-dog, [L], barks loudly and uncontrollably on or

near [RSR]'s frontyard - a recurring noise-nuisance-violation that the plaintiff had noticed on countless occasions from [RSR]'s property,

(789KLLTX78641]. On or about the date and approximate time of {2020-08-19 16:52}, [RSR]'s unleashed large-dog, [L], barks loudly and

uncontrollably on or near [RSR]'s frontyard - a recmTing noise-nuisance-violation that the plaintiff had noticed on countless occasions from

[RSR]'s property, [789KLLTX78641]. On or about the date and approximate tin1e of {2020-08-19 19:52}, [RSR]'s unleashed large-dog, [L],

runs uncontrollably towards a truck driven by [785KL-2018-1] (which was being driven up the street), forcing [785KL-2018-1 ], through no

choice of her own, to stop such vehicle abruptly on the street, in-order-to avoid such truck running over such dog.



1537
On or about the date and approximate time of {2020-08-19 22:43}, a [WC] police-vehicle - either from the [WCSO] or the [WCCO] - drives

down Hummingbird. Within a minute or so later, as the plaintiff is watering grass in the [FRONTYARD], the plaintiff notices what appears to

be the same [WC] police-vehicle drive past the plaintiff as the plaintiff is watering such grass.



1538
On or about the date and approximate time of {2020-08-20 11 :40}, two police-vehicles - which, more-likely-than-not, were [WC] police-

vehicles - speed up the street spaced approximately 20 seconds apart from each other.




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1539
On or about the date and approximate time of {2020-08-21 13:50}, two police-vehicles - which, more-likely-than-not, were [WC] police-

vehicles - speed down the street spaced approximately IO seconds apmt from each other.



1540
On or about the date and approximate time of {2020-08-21 00:06} (past-midnight), one police-vehicle - which, more-likely-than-not, was a

[WC] police-vehicle - drives unusually slowly up the street as passing the plaintiffs private-property on such street. A few minutes later, the

plaintiff notices what appears to be the same police-vehicle drive slowly down the street as passing the plaintiffs private-property on such

street.



1541
On or about the date and approximate time of {2020-08-22 20:15}, [RSR]'s unleashed large-dog, [L], barks loudly and uncontrollably on or

near [RSR]'s frontyard - a recurring noise-nuisance-violation that the plaintiff had noticed on countless occasions from [RSR]'s property,

[789KLLTX78641].



1542
On or about the date and approximate time of (2020-09-09 13:19}, one police-vehicle - which, more-likely-than-not, was a [WC] police-

vehicle - drives unusually slowly up the street as passing the plaintiffs private-prope1ty on such street.



1543
On or about the date and approximate time of {2020-09-10 21:37} (nighttime), [RSR]'s unleashed large-dog, [L], barks loudly and

uncontrollably on or near [RSR]'s frontyard - a recurring noise-nuisance-violation that the plaintiff had noticed on countless occasions from

[RSR]'s property, [789KLLTX78641].



 1544
On or about the date and approximate time of {2020-09-13 21 :55) (nighttime), [JSP] steps 3-to-4 feet into the plaintiffs [YARD] in-order-to

 water grass in a certain comer of his yard - with [JSP]'s continued trespassinb>s onto the plaintiffs private-property occurring despite [JSPJ

 having already been interviewed by [WCSDet-WPJ about alleged hate-crin1es committed by [JSP] against the plaintiff.



 1545
On or about the date and approximate time of {2020-09-17 22:35} (nighttime), [JSP] intentionally beeps the loud truck-lock on his pickup-

 truck 5-or-more times consecutively (for no justifiable reason) - at a time during which most residents (including the plaintiff) would, more-

 likely-than-not, be sleeping.

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i546
On or about the date and approximate time of (2020-09-19 18:30), [RSR]'s unleashed large-dog, [L], barks loudly and uncontrollably on or

near [RSR]'s frontyard - a recurring noise-nuisance-violation that the plaintiff had noticed on countless occasions from [RSR]'s property,

[789KLLTX7864 l].



i547
On or about the date and approximate time of (2020-09-20 23:54) (nighttime), [JSP] intentionally beeps the loud truck-lock on his pickup-

truck 5-or-rnore times consecutively (for no justifiable reason) - at a time during which most residents (including the plaintiff) would, more-

lilcely-than-not, be sleeping.



i548
On or about the date and approximate time of {2020-09-25 15:40}, racketeer co-defendant [KAP] walks from her property,

[784KLLTX7864l], towards racketeer co-defendant [RSR]'s front-door, one of several meetings in which racketeer co-defendants [KAP],

[RSR] maliciously-predatorily-and-secretly conspire/collude/stratcgize against the plaintiff - especially leading up to the predatory incident of

racial-oppression and racketeering-activity occurring on the following date of {2020-10-12} (see below).



i549
On or about the date and approximate tilne of {2020-10-12 11:45} - the date on which the plaintiff, an indigenous person, celebrates

"Indigenous Peoples' Day" - the plaintiff notices that a [WCCO] police-vehicle parks at the opposite-curbside of [RSR]'s property diagonally

and across the street from the plaintiff. Approxilnately 13 minutes later, the plail1tiffnotices another [WCCO] police-vehicle park ill front of the

curbside of the plaintiffs property. Shortly after this pOillt ill time, [WCCD-Harrell] emerges from the first [WCCO] police-vehicle parked at

the opposite-curbside of [RSR]'s prope11y and walks towards the other police-vehicle, while [WCCD-F] emerges from that police-vehicle and

 meets with [WCCD-Harrell] on the street. As [WCCD-F] walks behil1d [WCCD-Harrell] towards the plaintiffs [FRONTDOOR], the plail1tiff

notices that [WCCD-F] puts on his sun-glasses, so as ifto slightly conceal his identity, while also wearing a "Blue-Lives-Matter" face-mask. It
 should be noted that at least some fraction of the people of the United States and/or some reputable organizations within the United States

 consider "Blue-Lives-Matter" to either be a racist movement and/or or1:,r.mization, at least in part due to the fact that, on at least some

 occasions, members of far-right-wing-extremist and/or White-Supremacist groups such as the "Proud Boys" show up at "Blue-Lives-Matter"

 rallies in support of "Blue-Lives-Matter". As [WCCD-F] passes the plail1tiffs [FRONTYARD]-politieal-yard-signs, [WCCD-F] looks into such

 [FRONTYARD]-political-yard-signs with anger and contempt. [WCCD-Ha1Tell] and [WCCD-F] then approach the plail1tiffs [FRONTDOOR].

 [WCCD-F] stands on the edge of the plaintiffs [FRONTPORCH] with his hands on or near the holster, as if to get ready to use such service-

 weapon in ease the plailltiff answered the [FRONTDOOR] and made any "wrong move". [WCCD-Harrell] knocks on the plaintiffs

 [FRONTDOOR] several thnes. Since no-one is answeril1g, approxhnately 20 seconds later, [WCCD-Harrell] then rings the plaintiffs

 [FRONTDOOR]-bell. Sil1ce no-one is answering, approximately 20 seconds later, [WCCD-Ha1Tell] knocks on the plaintiffs [FRONTDOOR],

 yelling, "MR. KODE! IT'S THE CONSTABLE'S OFFICE!" Duril1g this entire thne, [WCCD-F] is either looking into the plaintiffs

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[FRONTPORCH] (private/concealed/curtilage area), or is looking into the interior of the plaintift's open (but unlit) [GARAGE]

(private/cmtilage) area. After 30 seconds of more tin1e of waiting near the plaintift's [FRONTDOOR], both [WCCD-Harrell] and [WCCD-F]

then walk out of the [FRONTPORCH] and into [DR!VEWAY], spend a few seconds, paused, looking h1to the plaintift's open (but unlit)

[GARAGE], and then walks towards the side-yard area closest to the plaintiffs 6-feet-tall-privacy-fencc's fence-gate. Once again, even if the

[WCCO] had obtained a valid sea1·ch warrant to search the plaintiffs private-property, Texas law required them to leave a copy of such search-

warrant at the [FRONTDOOR] while conthmh1g to execute such search. No such copy was left at the [FRONTDOOR], leading the plah1tiff to

immediately suspect that they, once-again, were acting in a malicious-and-predatory, unconstitutional-and-unlawful search of the plaintiffs
private-prope1ty. Both [WCCD-Harrell] and [WCCD-F] walk through deep h1side the plaintiffs [FRONTYARD] (also considered to be

curtilage) - with [WCCD-F] lookh1g into various private/concealed/cmtilage areas of the plaintiffs property. [WCCD-HaiTell] and [WCCD-F]

then walk around the plaintiffs [FRONTYARD] trees, in-order-to get to the plaintiffs 6-feet-tall-privacy-fence's fence-gate (located deep

within private/curtilage side-yard). Both h1 the process of approaching the plaintiffs 6-feet-tall-privacy-fence's fence-gate and in the process of

returning to the [DRIVEWAY] of the plaintift's private-property, [WCCD-Harrell] and/or [WCCD-F] repeatedly bend one-or-more of the

branches of the plaintiffs [FRONTY ARD]-tree, because again, according to the employees/officials of [WCLE], the plaintiff was not the

rightful owner of the property [788KLLTX7864 l], and so, even if the plaintiff did not want government intruders nonconscnsually touchh1g

any aspects of the plaintift's private-property (including such vegetation), such strong-preferences of the plah1tiff did not concern them.

[WCCD-Ha1rnll] approaches the plaintift's 6-feet-tall-privacy-fence's fence-gate and peeks through a very-small-hole in such fence-gate in-

ordcr-to search and/or seize-evidence-about (ush1g a body-worn-camera) the plaintiffs private/conccaled/curtilage [BACKYARD]. [WCCD-F]

stands back closer to the plaintiffs private/concealed/curtilage [FRONTPORCH], as if to play lookout for the plaintiff. Both, while approaching

the plaintiffs 6-feet-tall-privacy-fence's fence-gate and after departnlg the plail1tiffs 6-feet-tall-privacy-fence's fence-gate, [WCCD-Harrell)

looks h1to the plah1tift's private/concealed/curtilage [FRONTPORCH]. As [WCCD-Hairnll] and [WCCD-F] are performh1g this malicious-and-

predatmy, unconstitutional-and-unlawful search of the plaintiffs private-property, far-right-wing-extremist, racketeer co-defendant [RSR] -

who played the role of the "kingpin" in such racketeering-enterprise against the plaintiff- opens her garage door, and appears to emerge from
her house. [RSR] appears to check the control-panel of her automatic-sprinkler-system, then walk towards an unidentified White-American

male, [UWAM-8] - either a contractor-of or a resident-of property [800KLLTX7864 I] - asking for his assistance with some aspect of such

automatic-spril1kler-system. On their way to such control-panel, both [RSR] and [UWAM-8] briefly glance at these two [WCCD]s as such

 [WCCD]s are executing such clearly unconstitutional-and-unlawful search of the plah1tiffs private-property. [RSR] even motions her hand at

 least one time towards such [WCCD]s - once again, revealing that she was hell-bent on engaging in her usual, relentlessly-racist propaganda

 against the plaintiff in-order-to engender more racial-animus against the plaintiff in as many White-American residents of the subdivision as she

 could. Durh1g most of the thne that [RSR] is outdoors durh1g this incident, [RSR]'s large dog, [L], is roamh1g freely across the street,

 unleashed, even sniffing at the tips of the plah1tiffs private-property - because once agah1, accordh1g to the [HOA], [WCLE] and [RSR], the

 restrictive-covenants of the subdivision do not apply to [RSR] - the "kingpin" of such racketeeril1g-enterprise against the plah1tiff. As [WCCD-

 Harrell] and [WCCD-F] walk away from the plaintift's 6-feet-tall-privacy-fence's fence-gate and return to the front of the plah1tiffs

 [FRONTY ARD]-political-yard-signs, [WCCD-F] once agah1 looks into the plaintiffs [FRONTY ARD]-political-yard-signs with anger and

 contempt. [WCCD-Harrell] and [WCCD-F] then walk towards the 6-feet-tall-privacy-fence at other side of the plail1tiffs side-yard, apparently

 hell-bent on trampling roughshod on the plah1tiff s rights - with complete disregard of the fact that the plah1tiff has never wanted such

 government intruders anywhere within the plaintiffs private-property (or "castle'1. The plaintiff also notices far-right-wing-extremist, racketeer

 co-defendant [KAP] - who played the role of the '~vecond-in-command" in such racketeering-ente1prisc against the plaintiff - in her backyard,
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excitedly looks-at and hears such [WCCD]s that are acting on her command and the command of racketeer co-defendant [RSR] in such

brazenly oppressive manner against the plaintiff - by continuing-to-execute such clearly unconstitutional-and-unlawful search of the plaintiff's

private/concealed/curtilage [BACKYARD]. [WCCD-Hanell] peaks through a very-small-hole and/or slightly-tilted-picket in the plaintiff's 6-

feet-tall-privacy-fence in-order-to search and/or seize-evidence-about (using a body-worn-camera) the plaintiff's private/concealed/curtilage

[BACKYARD]. However, both [WCCO-Harrell] and [KAP] fully know that any items scattered near this particular area of the plaintiff's

private/concealed/curtilage [BACKYARD] have been maliciously dumped at such location by [KAP]'s husband, [JSP], during [JSP]'s brazen

vandalism of the plaintiff's private-property on-or-about the date of {2020-03-24}. After inspecting such area, and one-or-more of the

plaintiff's companion-t01toises (o ) that happen to be walking around in such area, [WCCD-Harrell] then takes a step back and instructs

[WCCD-F] to follow along and similarly look into the plaintiff's private/concealed/curtilage [BACKYARD] through such very-small-hole and/or

slightly-tilted-picket. It appeared to the plaintiff that [WCCD-Harrell] was in a supervisory role with respect to [WCCD-F] - that [WCCD-FJ

was below the rank of [WCCD-Harrell] and that [WCCD-FJ was following the commands of [WCCD-Harrell]. ff this suspicion by the plaintiff

is confirmed to be true, then it would appear to suggest that [WCLEJ truly operates in a brazenly-unlawful manner not always due to the

malicious actions of lowest-ranking-members, acting out of their own abuse-of-official-capacity, but rather, that such lowest-ranking-members

are actually instructed to act in such brazenly-unlawful manner by higher-ranking-members. Again, if such suspicion by the plaintiff is

confim1ed to be true, then [WCLE]'s pattern of abuse-of-official-capacity against the plaintiff that the plaintiff seeks to expose is not limited to

such lowest-ranking-members, but rather to some of the brass and perhaps, even the top-level-leadership. [WCCD-Harrell] and [WCCD-F]

appear to speak to each-other, with [WCCD-F] speaking loudly. As soon as [WCCD-F] indicates that he is done searching the plaintiff's

private/concealed/curtilage [BACKYARD], and as soon as [WCCD-F] and [WCCD-Harrell] motion to leave such side-yard area, [KAP] -

upon realizing that the plaintiff is not going to nonconsensually-allow such government intruders into the plaintiff's [BACKYARD] again, and

upon hearing that such [WCCD]s are done executing such unconstitutional-and-unlawful search/seizure of the plaintiff's

private/concealed/curtilage [BACKYARD], immediately and rapidly walks back inside her house on her way way to walk tlu·ough the front-

door of her house, so that she can meet with such (WCCD]s at the street in front of the plaintiff's property. The plaintiff notices that [KAP]

does not walk through her side-yard and through her fence-fate - which would have been the shortest path, the fastest path and the most

convenient path to meet with such [WCCD]s - but instead, [KAP] enters back into her house and emerges through her front-door. However,

 [KAP] does not inunediately approach such [WCCD]s, instead waiting a minute or more to see if the plaintiff emerges from within the

plaintiff's [HOUSE]. It would have been absolutely disastrous for [KAP] to walk towards such [WCCD]s only to notice that the plaintiff was

doing the same - as [KAP] wanted to keep all aspects of her conspiracy against the plaintiff as secretive and inconspicuous as possible. As soon

 as [WCCD-Harrell] and [WCCD-F] walk back towards the street, [RSR]'s large dog, [L], rnns towards them, even crossing the street, and

 [WCCD-Harrell] bends down to pet such dog, while [WCCD-F] playfully watches along. [RSR]'s dog, [L], then runs past such [WCCD]s and

starts sniffing at a border of the plaintiff's private-property. [RSR] then approaches such [WCCD]s, pretending as if she is retrieving her dog,

when what she really intended to do was to maliciously-predatorily-and-secretly conspire/collude/strategize against the plaintiff with such

 [WCCD]s. Both [WCCD]s speak vety affectionately towards [RSRJ, who clearly deserves the utmost reverence, as the "kingpin" of such

 racketeering-enterprise against the plaintiff. Almost every aspect of [WCLE]'s crin1inally-abusive interactions with the plaintiff and [WCLE]'s

 criminally-abusive actions against the plaintiff in-and-around the plaintiff's private-prope1ty were meant to additionally convey to the plaintiff

 that the plaintiffs far-right-wing-extremist, White-American neighbors were free to violate the restrictive-covenants as they pleased, and

 instead, it was only the plaintiff, the immigrant-of-color/indigenous-person (and political-activist), that [WCLEJ was predatorily after - if not by

 placing the plaintiff's property under foreclosure (which was the defendants' ultimate goal), then, at the ve1y least, by driving the plaintiff out of


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such White neighborhood via such decade of racial-oppression and racketeering-activity. Both [WCCD-HaITell] and [WCCD-F] then move

closer to [RSR]'s property, with [WCCD-F] issuing some final statements to [WCCD-Harrell]. [WCCD-F] bids [WCCD-Han-ell] farewell,

enters into his [WCCO] police-vehicle. [WCCD-Harrell] then begins to approach [RSR] at [RSR]'s property, [789KLLTX78641], and bends

down to pet [RSR]'s large-dog, [L], one more tinie. At this point in tin1c, [KAP] feels fully confident that the plaintiff was not going to

approach [WCCD-Harrell] and [KAP] also feels more-free to maliciously-predatorily-and-secretly conspire/collude/strateg\ze aga\Ilst lhe

plaintiff with co-racketeers [WCCD-Harrell],[RSR] at such greater-distance from the plaintiffs numerous security-cameras. [KAP] begins to

walk towards co-racketeers [WCCD-Harrell],(RSR], but once-again, in a round-about path to avoid the plaintiffs numerous security-cameras -

even crossing the street at the earliest point to avoid the plaintiffs numerous security-cameras. It became abundantly clear to the plaintiff that

[KAP] was avoiding the plaintiffs numerous security-cameras at all costs, and in particular, [KAP] wanted to be as far as possible from the

plaintiffs security-cameras' audio-recording-capabilities when she walked towards such co-racketeers [WCCD-Han-ell],[RSR] in-order-to

maliciously-predatorily-and-secretly conspire/collude/strategize against the plaintiff. [WCCD-Harrell] approaches [RSR]'s property,

(789KLLTX78641], across the street and further away from the plaintiff's property, [788KLLTX78641], in such manner because, as a lower-

ranking racketeer in such racketeering-enterprise against the plaintiff, [WCCD-Harrell] must also avoid the plaintiffs security-cameras at all
costs - and in paiticular, all of such racketeers must be as far away as possible from the audio-recording-capabilities of the plaintiffs numerous

security-cameras - as they maliciously-predatorily-and-secretly conspire/collude/strategize against the plaintiff. The plaintiff must reiterate, once

again, that since (RSR] lived diagonally and across-the-street from the plaintiff, with the two houses separated by approximately 110 feet of

open-space, [RSR] had absolutely no legal clahn to any goh1gs-on withh1 the confines of the plah1tiffs private-property. But such facts are

simply irrelevant to such racketeers, as such racketeers have almost-always, if not always, felt a brazen sense of impunity when the victim of

their predatory conspiracy is only the lowly plaintiff - whom they had always considered to be a powerless, "lmv-IQ", sub-human animal ( ~ ) .

As [WCCD-Harrell] is tallch1g to [RSR] at the sidewalk in front of (RSR]'s street with [UWAM-8] hearing/witnessing just a few feet away, on

one-or-more occasions, [WCCD-Harrell] even points at the plaintiffs property. [WCCD-F], drivh1g h1sidc of his [WCCO] police-vehicle drives

towards [WCCD-Harrell], pauses in front of (RSR] and (WCCD-Harrell], making some playful statements - because after all, it was only the

lowly plaintiffs rights that they were all predatorily violalnlg- before bidding his fmal farewell to all of these individuals and driving away in

such police-vehicle. [WCCD-Harrell] then continues communicating with [RSR] with [UWAM-8] hearh1g/witnessing all of such h1itial

consph·atorial/colludh1g dialogue between the such racketeers against the plah1tiff. The plaintiff asserts that since neither [RSR] nor [UWAM-8]

are either valid witness(s) or valid complaining-party(s) to any of the alleged complaint regarding private/concealecl/curtilage areas of the

plaintiffs private-property, [WCCD-Harrell] is once again, committh1gyet another count of the Texas crimes ofMisuse-Of-Official-

Information, Abuse-Of-Official-Capacity and Official-Oppression (along with the associated federal crhnes of [l 8-USC-Pl-Cl3-§242], [l 8-

USC-PI-Cl3-§241]) against the plaintiff, by communicating alleged private/confidential details about private/concealecl/curtilage areas of the

plaintiffs private-property to unauthorized thfrd-parties - in complete violation of the plahlliffs rights. Furthermore, all of [WCCD-Harrell]'s

crimes against the plaintiff are retaliat01y crimes - thus making them felonies under Texas law and racketeering-acts under federal law. (Such is

also obviously also tme for all of the crhnes against the plaintiff committed by racketeer co-defendants [JSP&KAP],[RSR] sh1ce the month of

 {2011-08} - but the plaintiff tries to highlight the egregious government misconduct h1 this lawsuit, because the plah1tiff considers such

egregious government-misconduct to be far more unacceptable both - to the plaintiff and the general-public - than the overt racketeering-acts of

private-citizen, far-right-wing-extremist racketeer co-defendants [JSP&KAP],[RSR].) As [WCCD-Harrell] and [RSR] appear to be in such

conspiratorial/colluding dialogue with each other, [RSR]'s large-dog, [L], begh1s running at full-pace towards [KAP] who is crossh1g the street

to meet with (WCCD-Harrell] and [RSR]. As [KAP] approaches closer, [UWAM-8] starts to hesitantly walk away from the scene. As [KAP]


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approaches even closer, [UWAM-8] then raises his hand to bid farewell to [RSR], while both [RSR] and/or [WCCD-Harrell] raise their hand

to bid farewell to [UW AM-8], after which point, [UWAM-8] turns his back and starts walking back across the street in the other direction

towards either his prope1ty or the property he was initially hired as a contractor for. The plaintiff cannot confirm this particular assertion

without reviewing [WCCD-Harrell]'s body-worn-camera footage, but it appeared to the plaintiff, that [UWAM-8] felt uncomfortable being a

party to such conspiratorial/colluding conversation against the plaintiff, especially since numerous of the plaintiff's security-cameras are

recording such malicious-predatory-and-secret conspiracy/collusion between a White-American police-officer (who is pmi of a overwhelmingly-

majority-White-government located in the overwhchningly-majority-White-American County-of-Williamson) and two other White-American

private-citizens ([KAP] and [RSR]). [WCCD-Harrell] turns to [KAP] and it appears to the plaintiff that [KAP] offers to, by herself, execute an

unconstitutional-and-unlawful search/seizure of the plaintiffs private/concealed/curtilage [BACKYARD] - as an "agent of the government" -

with any "evidence" seized from such search to be used in a purely-retaliatory prosecution against the plaintiff. [WCCD-Harrell] approves of

[KAP]'s offer - unlawfully deputizing White-American private-citizen racketeer co-defendant [KAP] to execute such unconstitutional-and-

unlawful search/seizure of such private-areas of the plaintiffs private-property - with [WCCD-Harrell] even making the hand-gesture of point-

and-click - unlawfully deputizing [KAP] to act as an "agent qf the government", authorizing [KAP] to take photographs/videos of such private

areas of the plaintiffs private-property. [KAP] turns around and walks back across the street - once again, taking the most round-about path to

achieve this goal, in-order-to avoid the plaintiff's security-cameras at all costs. In the meantime, [WCCD-Harrell] and [RSR] continue to

maliciously-prcdatorily-and-secretly conspire/collude/strategize against the plaintiff, with [RSR] angrily gesturing and pointing (multiple times)

towards the plaintiffs private-prope11y - almost as ifto indicate that she has been demanding this (purely-retaliat01y) prosecution against the

plaintiff for approximately a decade at this point - especially since the plaintiff had the "audacity" to continue to rep011 her (and her co-

conspirators [JJB]'s,[JSP]'s) racially-motivated hate-crimes agaiust the plaintiff to [WCLE] dating all the way back to month of {2011-08).

[WCCD-Harrell] appears to nod and/or respond-in-the-affirmative, even pointing at the plaintiffs private-propc11y one-or-more times,

appearing to acknowledge the outrageousness of the "audacity" originating from such a lowly immigrant-of-color/indigenous-person that has no

right to own private-property within "their" (exclusive-and-pure) White neighborhood. Rather than entering into her backyard via her fence-
gate, which would have a much shorter and more convenient path towards achieving this goal, [KAP] actually enters into the more-distantly-

located front-hallway of her property, then entering into the interior of her house (througl1 her front-door), and then, emerges into her backyard

from the backdoor of her house, in-order-to execute such unconstitutional-and-unlawful search/seizure of private/concealed/curtilage areas of

 the plaintiff's private-property. Once again, all of these deliberate actions by [KAP] to avoid the plaintiffs security-cameras fully demonstrate

 [KAP]'s "consciousness-of-guilt" - that she fully-knows that what she and her co-racketeers [WCCD-HmTell],[RSR] are doing against the

 plaintiff is illegal, that she fully-knows that what she and her co-racketeers [WCCD-Harrell],[RSR] are doing is egregiously-violative of the

 plaintiffs rights. [KAP] extends her hands over the plaintiffs 6-feet-tall-privacy-fencc and holds up her camera-phone over such 6-feet-tall-

 privacy-fencc in-order-to take photograph(s)/vidco(s) of the items stored above ground-level at the middle of the plaintiff's

 private/concealed/curtilage [BACKYARD]- far away from the borders with [KAP]'s property. As previously detailed, the plaintiff had

 transported over 90% of items initially stored in the plaintiffs privatc/concealed/curtilagc [BACKYARD] - during [WCLE]'s previous

 unconstitutional-and-unlawful search/seizure of the plaintiff's privatc/concealed/curtilage [BACKYARD] on-or-about the date of {2020-04-28}

 - over to the plaintiffs agricultural-private-property - a fact that all of the defendants (who acted in such corrupt-malicious-prcdatory-and-

 retaliatory conspiracy against the plaintiff) were fully aware of. Clearly, any items stored at the middle of the plaintiffs

 privatc/concealed/curtilagc [BACKYARD] cannot possibly constitute any public-nuisance, since such items arc located at such great distance

 from the borders of the plaintiffs private-property - and in particular, ve1y far away from [JSP&KAP]'s private-property. Additionally, the


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overwhehning majority of such items that are stored at the middle of the plaintiff's private/concealed/cmiilage [BACKYARD] are stored (at

least 12 inches or higher) above ground-level - meaning that there is, once again, no possibility of any public-nuisance arising from any such

items - and the plaintiff was even advised by an employee of the [WCCHD] - [WCCHDTL-SG] - to store such items in such maimer - so that

they would could not constitute a public-nuisance (see above). Additionally, according to the Texas Public Nuisance Law, the only items stored

in a potentially unsafe manner that could potentially be considered to be a public nuisance are such items that are of one of two types of

"waste" that are defined under such law: "garbage", "refuse". Even ''garbage" and "refi1se" stored within a person's private-property are not

considered to be a public-nuisance if such items are stored in "closed receptac/e(v) ". While the p laintiff did not have any compost within the

plaintiff's private/concealed/curtilage [BACKYARD] at this particular moment in time, the plaintiff would also like to make clear that

organic/biodegradable compost - including all organic/biodegradable items deliberately maintained within composting containers/piles/heaps - are

never to be considered "waste" - as compost has "value" to the owner's of such compost - and such compost is intentionally generated for use

to enrich the soil on a person's private-property. The plaintiff had strongly-maintained (in the past) and continued to maintain that of any-and-

a ll of the items stored in the plaintiff's private/concealed/curtilage [BACKYARD] were not "waste" of any type - and that all of such items

were considered by the plaintiff to be private-property items "of value" to the plaintiff. The plaintiff had (and continues to have) multiple

companion-tortoises ( o ) - actively, excitedly and eagerly patroling through almost-all, if not all, of the ground-level areas of the plaintiff's

private/concealed/curtilage [BACKYARD]. Although completely out of the plaintiff's control, several residents of the subdivision (including,

but not limited to, [RSR]) were illegally - in violation of the resh·ictive-covenants of the neighborhood - allowing their (large, adult) cats to roam

freely in the neighborhood, and the plaintiff would notice (and to this day, continues-to-notice) multiple of such large cats jump into the

plaintiff's private/concealed/curtilage [BACKYARD] numerous times per week - if not on a daily basis - effectively patroling all areas of the

plaintiff's private/concealed/curtilage [BACKYARD]. (On the same day of this incident, {2020-10-12}, the plaintiff had noticed one-or-more

large-cats patroling multiple regions around the plaintiff's [HOUSE].) (On the following morning of {2020- I0-13}, the plaintiff had noticed a

large-cat or medium-sized-dog approach from behind the plaintiff's outdoor-air-conditioner-unit and patrol other areas around the plaintiffs

[HOUSE], indicating that such animals that naturally prey upon rodents were almost constantly patroling around the plaintiff's [HOUSE].) As

all parties involved in this case know folly-well, cats are carnivorous animals whose natural prey is rodents and cats have, at the very least,

hundreds-of-thousands of years of evolutionary-skills and natural-instincts to detect (including smell) and hunt rodents. In addition to such large

cats ensuring that the plaintiff's private/concealed/curtilage [BACKYARD] was free of rodents, there simply was no feline hunting of rodents in

the plaintiff's private/concealed/curtilage [BACKYARD] for the very simple reason that the plaintiff's private/concealed/curtilage

[BACKYARD] never served as harborage for any rodents. Since the middle of the year {2020}, the plaintiff had also noticed numerous giant

lizards - approximately I feet long, 2-inches thick - (and numerous other chameleons) residing directly around the plaintiff's [HOUSE]

including, but not lin1ited to, the plaintiff's private/concealed/curtilage [BACKYARD] - and such giant lizards (and numerous other chameleons)

were keeping the insect population around the plaintiff's [HOUSE] in check. In almost all of the warm months during which the plaintiff has

 resided at [788KLLTX7864 I], the plaintiff noticed (and continues to notice) numerous frogs/toads residing directly around the plaintiff's

[HOUSE] - and such frogs/toads were keeping the insect population around the plaintiff's [HOUSE] in check. ln almost all of the warm

 months during which the plaintiff has resided at [788KLLTX7864 I], the plaintiff has had one-or-more (active-and-undisturbed} wasp-nests

around the plaintiff's [HOUSE] w here such wasps were keeping the insect population around the plaintiff's [HOUSE] in check. For all of, but

 not limited to, these reasons, there was simply no possibility for any rodent-harborage, vermin-harborage, pest-harborage or even mosquito-

 harborage (since the plaintiff also did not have any containers with standing water) of any kind - anywhere within the plaintiff's

 private/concealed/curtilage [BACKYARD] - meaning that there was no possibility of any public-nuisance in the plaintiff's [BACKYARD]. The


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plaintiff immediately-realized, even at the middle of [KAP]'s unconstitutional-and-unlawful search of the plaintiffs private/concealed/curtilage

[BACKYARD], that all of these co-conspirator racketeers against the plaintiff - [JSP&KAP],[RSR] and [WCCD-Harrell] - had fully read the

public-nuisance law, but despite of their full-knowledge of such public-nuisance law, were deliberately mis-interpreting, weaponizing and

maliciously-exploiting such law against the plaintiff, fully-abusing their authority and the legal-process, while at the same-time, executing such

clearly unconstitutional-and-unlawful searches-and-seizures of private/concealed/curtilage areas of the plaintiffs private-property - purely in-

order-to retaliate against the plaintiff. The plaintiff was truly shocked by what the plaintiff witnessed immediately after this point in time. [KAP]

once again, extends her hands over the plaintiffs 6-feet-tall-privacy-fence and holds up her camera-phone in-order-to take

photograph(s)/video(s) of items that her husband, [JSP], had maliciously dumped into the plaintiffs private/concealed/curtilage [BACKYARD]

on the previous date of {2020-03-24} - and included such unconstitutionally-and-unlawfully seized fabricated-evidence as part of her purely-

retaliatory public-nuisance criminal complaint - along with co-conspirator racketeers (RSR],(WCCD-Harrell] - against the plaintiff. The plaintiff

had, for a very long time, known [KAP] to be a malicious racketeer in such racketeering-enterprise against the plaintiff, but the plaintiff did not

believe that [KAP] was brazen-enough to engage in such an exh·eme level of egregious racketeering-activity against the plaintiff. After having

unconstitutionally-and-unlawfully seized such fraudulent/misleading,'invalid evidence and fabricated-evidence against the plaintiff, [KAP] then

enters back into her house through her backdoor, emerges from the front-door of her house, and takes approximately the same roui1d-about

path, in-order-to deliberately avoid the plaintiffs security-cameras, on her way to submit such unconstitutionally-and-unlawfully seized

fraudulent/misleadingliiwalid evidence and fabricated-evidence to her co-conspii"ator racketeers [WCCD-Harrell] and [RSR). As [KAP) is

talking with [WCCD-Harrell] (who is standing next to [RSR]) and showiI1g [WCCD-Harrell] such unconstitutionally-and-unlawfully seized

 fraudulent/misleading,'iiwalid evidence and fabricated-evidence on her camera-phone, another unidentified White-American woman, [UWAW-

 9) (accompanied by some miI10r children), approaches [RSR] and greets [RSR] and initiates a short conversation with [RSR] as they pet

[RSR]'s large-dog - which is still roaming freely onto the street and surroundiI1g areas. Therefore, [UWAW-9] wimessed at least part of such

 corrupt-111alicious-predat01y-and-retaliat01y dialogue (agaiI1st the plaiI1tiff) between the co-conspiI·ator racketeers [KAP], [WCCD-Harrell] and

 [RSR]. Also, it appears to the plaiI1tiffthat [RSR] may have started to badmouth the plaiI1tiffto [UWAW-9] as [UWAW-9] appears to poiill in

 the direction of the plaintiff's private-property and/or briefly look back toward the plaintiff's private-property, as [RSR] engages in such

 badmouthiI1g against the plaintiff; however, the plaintiff cannot currently verify this assertion, without proper noise-canceUation on the

 plaiI1tifrs security-camera recordiI1gs, and without also reviewing [WCCD-Harrell]'s body-worn-camera recordings - which, due to being iI1

 much-closer proxin1ity to such conversation - would have picked up such audio without any issues (I-<) . AgaiI1, the plaintiff would like to

 reiterate that the only reason that such co-conspii"ator racketeers against the plaiI1tiff - [KAP], [RSR] and [WCCD-Harrell] - are talking at

 [RSR]'s property (diagonally and across-the-street from the plaintiff) is because they deliberately wanted to be out of range of any audio-

 recording-capabilities of the plaintiffs security-cameras - so that they could corruptly-maliciously-predatorily-and-retaliatorily conspire agaiI1st

 the plaintiff without the audio-evidence of such corrupt-malicious-predato1y-and-retaliatory conspiracy being recorded on the plaintiff's

 security-cameras. Approximately a miimte later, [UWAW-9] would leave the scene with her minor children. Co-conspirator racketeers [KAP],

 [RSR] and [WCCD-Harrell] engage iI1 such corrupt-malicious-predato1y-and-retaliatory conspiI·atorial/colluding,'strategizing dialogue against the

 plaintiff for a period of time in excess of 15 minutes. At one poiI1t in time, both [RSR] and [KAP] wave at a White-American couple driving a

 golf-cart up the street - once agaiI1, showing the mafia-godfather-like power that such racketeers wielded over the plaintiff - and once-agaiI1

 showiI1g that all of these co-conspirator racketeers were hell-bent on predatorily fully-exploitiI1g the overwhelmingly White-American racial-

 majority of such White neighborhood against the plaintiff. [WCCD-Harrell] finally starts to back away from her co-conspiI·ators [KAP] and

 [RSR] - departing while giving such co-conspii"ators some final words regarding the predatory course-of-action(s) that the [WCCO], the


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(WCCHD] and the (WCSO] would need to initiate, regarding their filing of Class-C-Misdemeanor-Public-Nuisance criminal-charge against the

plaintiff. While the (WCSO] is noticeably absent at this incident, the (WCSO] would play a crucial role (of Obstrnction-Of-Justice/Evidence-

Concealrnent) in hiding from the (WC] prosecutors - the decade of racially-motivated hate-crimes/racketeering-acts/civil-rights-

violations/abuses that [RSR],[JSP] and some of its own employees had engaged in against the plaintiff - during a period of time spanning

ahnost a decade at this point in time. [WCCD-HarreU) then waves goodbye to her co-conspirator racketeern [KAP) and [RSR1 - wa\k\l1g back

to the driver's seat of her [WCCO] police-vehicle, driving up the street and away from the plaintiffs private-property. (KAP] and (RSR]

continue to joyfully conspire/collude/strategize against the plaintiff for a period of approximately l more minute, knowing fully well, at this

point in time, that all of such private-citizen co-conspirator racketeers - [JSP], [KAP], [RSR] - have effectively been granted immunity from

prosecution, thanks to (WCLE]'s active-participation in such obstructive-and-retaliatory, blackmailing-and-defrauding racketeering-enterprise

against the plaintiff. (KAP] walks back towards her property with a malicious smile on her face. Throughout this incident, [JSP&KAP] had

illegally parked a boat at the curbside of the street - just as it had been for prolonged periods of time on countless occasions spanning from the

yearn {2019) through {2022} - covering at least part of the street directly in front of the plaintiffs private-property - in complete violation of

the restrictive-covenants of the neighborhood. Both [WCCD-Harrell] and [WCCD-F] were fully aware of this violation, but took no

enforcement action despite of their knowledge of this clear and overt violation - fully-visible from the public street. At a minimum, and in this

particular incident alone, [KAP] had already committed additional counts of the crimes of [ 18-USC-PI-C 13-§242] and [ 18-USC-PI-Cl 3-§24 l]

and [l 8-USC-PI-C43-§913] and/or [TPeC-T8-C37-§37. l l] against the plaintiff. At a minimum, and in this particular incident alone, [RSR],

[WCCD-Harrcll] had _already committed additional counts of the crimes of (l 8-USC-PI-C 13-§242], [ 18-USC-PI-C 13-§24 l] against the

plaintiff, while [WCCD-F] committed his fast count of the crimes of [l 8-USC-Pl-Cl 3-§242], [ 18-USC-Pl-Cl 3-§24 l] against the plaintiff. It is

indisputable that both [WCCD-Harrell] and [WCCD-F] committed the Texas crimes of Abuse-of-Official-Capacity and Official-Oppression

agah1st the plah1tiff. It is h1disputable that [WCCD-Harrell] committed another count of the Texas crime of Misuse-Of-Official-Information

against the plaintiff. It is h1disputable that all of the aforementioned crimes against the plaintiff arc retaliatmy in nature - thus felonious under

Texas law and racketeering-acts under federal law. A little over one hour after [KAP] and (WCCD-Harrell] leave the scene of her property,

[RSR] walks down the street, this time with her large-dog on leash, crosses the street to enter into the side of the street on which the plaintiff

resides, and continues to walk around the neighborhood-block in the direction towards the properties directly behind the plaintiffs private-

property - [525LSLTX7864 l] (which shares a border with the plaintiffs private-property) and (52 lLSLTX7864 l] (back-of and diagonal-to

 the plaintiffs private-property) - so that she can conspire/colludc/strategize and coordinate with these White-American prope11y-owners - the

fraudulent/misleading/ir,valid narrative(s) and course-of-action(s) that they and [WCLE] would all be prcdatorily engaging ir1 such upcoming

 purely-retaliatmy, Class-C-Misdcmeanor-Public-Nuisance prosecution agair1st the plair1tiff. In so doing, (RSR] has committed yet further

 actions of witness-tampering against the plaintiff. However, without conducting a thorough investigation, Discove1y and Depositions - which

 includes a thorough review of all social-media-postings and private-messages regarding the plaintiff and/or plaintiffs private-property between

such co-conspirators - the plaintiff will not, as of the moment of filing of this lawsuit (h1eluding any amended complaints), be able to specify the

 full range and scope of the enth·c campaign of retaliatory witness-tampcrir1g that [RSR],[KAP], and [JSP] engaged in agair1st the plaintiff -

 dating back to the year {2016) in the lead-up to the then-[HOA]'s predatory lawsuit against the plaintiff - which was also fully-instigated by

 ve1y-same defendants [RSR],[JSP&KAP] and their cronies/co-conspirators (such as [DMP]). Approxhnatcly a half hour after [RSR] initiatir1g

 such walk, [RSR] returns walking from the opposite side of the street (apparently havir1g circled the neighborhood-block) - with her large-dog

 unleashed and roamir1g freely - enters in [JSP&KAP]'s front-yard to move a hose, and then stares menacingly/angrily for approxhnately 5

 seconds into one-or-more areas of the plaintiffs private-property, as ifto signal to the plair1tiffthat she has, once-again, succeeded in fully-


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abusing the legal process and the justice system in-order-to retaliatorily entangle-and-ensnare the plaintiff in yet another legal battle, this tin1e -

directly with [WCLE). As traumatizing as this incident was (and still is) to the plaintiff, this predatory incident would be just one of numerous

predato1y incidents (documented in this lawsuit) involving the defendants [RSR], [KAP] (and/or [JSP]), and [WCLE] - a~nost always

involving White-American police-officers/government-employees of defendant [WC] - against the plaintiff in which all of such defendants acted

in a shamelessly (and overtly) racist and predatory manner against the plaintiff - as if they were not even in the least bit ashamed or concerned

that they would be accused of modern-day-Jim-Crow predato1y-racism by the plaintiff - as if proudly wearing and flaunting their modern-day-

Jim-Crow predatory-racism against the plaintiff as a badge-of-honor, that they will never apologize for.



<JISSO
On or about the date and approximate time of {2020-10-20 20:30} (at nighttime), the plaintiff approaches the plaintiffs chest-freezer located

inside of [GARAGE] in-order-to obtain some food items. As the plaintiff is walking towards such chest-freezer, [JSP], at that moment in time

using a hose to water the grass on the front-yard of [784KLLTX7864 l ], starts yelling overtly-racist tlueats against the plaintiff, reminiscent of

the old Jim-Crow era, where malicious White-Americans with racial-animus would routinely summon law-enforcement to violate the rights of

person(s)-of-color. These particular brazenly-racist threats are clearly referencing the aforedescribed purely-retaliato1y frame-job that

[JSP&KAP],[RSR] had recently initiated (in conspiracy with [WCLE], particularly [WCCD-Harrell]) against the plaintiff, show ing that

[JSP&KAP],[RSR] and [WCLE] will brazenly resort to the most vicious forms of obstruction-of-justice in-order-to retaliate against the

plaintiff, for the plaintiffs "audacity" to report racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses against these

defendants, and the plaintiffs "audacity" to capture [WCLE]'s police-misconduct (and other government-misconduct) on-the-record (via

security-cameras, body-worn-camera, and previously, audio-recorder). By "TAKE CARE OF YOUR BUSINESS!", [JSP] is clearly ordering the

 plaintiff to answer to the outrageously-retaliat01y Class-C-Misdemeanor-Public-Nuisance charge resulting from the remarkable frame-job that

 [JSP&K.AP] ,[RSR] and [WCLE], specifically [WCCD-Harrell], had orchestrated against the plaintiff, thus forcing the plaintiff to have to hire

an attorney to fight a legal-battle against the defendants to expose such fraud (see subsequent incidents in the year {2021} below):
  •      l!!XXlalED RI\CIST, ABUSIVE, rnA1.11lOU211', ~ llR> RETALIA1'0IIY RANT m::11 [JSPJ '1'0 'DIE PLAJNTIFF(~) •   (2020- 10- 20 20:30) (-)

  •      ( l'RIVll'£ URL LINK TO BE SUll!lTl'ED IN OISCX7Jl:R¥ )




   [ JSP]                    HEI' SID- COPS CAME BY[???] LOOKJNG FOR YOU!


      IT PLAINTIFF OOES NOT RESPOND AND CONTINUES WALKING Ta-lARDS CHEST- FREEZER . l

      [ JSP]                 I KNOW YOU WERE HOME! WHY DIDN'T YOU ANSWER THE DOOR?!


      IT PLAINTIFF OPENS CHES'f-FREEZER AND CONTINUES TO IGNORE IJSP] .                           D
      [JSP]                  l'M GOING TO CALL EM NEXT TIME - AND NEXT TIME, [???} l'M GOING TO TELL THEM! I'M BOUT TO CALL EM RIGHT NOW AND LET

                             EM KNOW YOU'RE HERE!


      it PLAINTIFF' CONTINUES 'l'O OBTAIN E'OOD-ITEMS FR0.'1 CHEST-FREEZER AND CONTINUES TO IGNORE [JSP]. D
      [JSP]                  YEAH - Al/UGHT'! ! ... {???} ... {???] ... [???]


       IT PLAINTIFF CONTINUES TO OBTAIN FOOD-ITEMS FRCM CHEST-FREEZER AND CONTINUES TO IGNORE [JSP) .                                     iJ
      [JSP]                  TAKE CARE OF !'OUR BUSINESS! ... 'NATURE BOY'! ... {??~/ ... {???} ... {???]


       « PLAINTIFF CONTINUES TO IGNORE [JSP] , CLOSES CHEST-FREEZER AND WALKS BACK 1'0':lARDS [FRONTDOOR] . iJ
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 [JSP]             I'll TEll/NG EM SID! - I'M TEll/NG EM YOU'RE HERE!


  ~ PLAINTI FF CONTINUES TO IGNORE [JSP) AND ENTERS BACI< INTO [HOUSE] . D




1551
On or about the date and approximate time of {2020- 10-31 11:30}, [JSP] uses some yard-equipment to cut not only the front-yard grass of

[784KLLTX7864 I), but also unlawfully, at least some of the "no-mow" grass that the plaintiff took enormous amount of time, back-breaking

labor, and money (including litigation expenses) to install. In addition to the fact that the plaintiff never did authorize such activity, [JSP] knows

that such "no-mow"grass is was never intended to be mowed using such yard-equipment, and so, [JSP] has repeatedly engaged in such

unlawful action against the plaintiff solely to destroy at least some, if not all, of the plaintiff's hard-work. At some point in time during this

incident, (JSP] looks menacingly/angrily at parts of the plaintiff's (YARD] and/or security-cameras, and illegally dumps one-or-more item(s) of

his prope1ty - including a large hose - onto the plaintiffs side-yard. [JSP)'s unauthorized dumping of such property onto the plaintiffs side-yard

would remain unabated for period of several days, if not weeks, once again, showing that [JSP] did not believe the plaintiff to be the rightful

owner of (788KLLTX7864 l ], and that furthermore, he could continue-to-use the plaintiff's private-property as he saw fit.




1552
On or about the date of {2020-11-03}, the plaintiff is manually (by-hand) picking and/or cutting so-called "weeds" in [FRONTYARD]. As the

plaintiff is walking across the [DRTVEWAY], [JSP] located at the driveway of his property [784KLLTX7864 l ], yells at the plaintiff, as if to

startle the plaintiff, "BOO!". (It should be noted that "BOO!" is a known expression of the far-right-wing-extremist "boogaloo boys", although

the plaintiff has no proof that (JSP] is a member of such far-right-wing-extremist group.) [JSP], in the presence of his son [NP], then continues

fo intimidate the plaintiff with threatening words that included, "YOU CAN'T HIDE FROM THE LONG ARM OF THE LAW!", once again, in
modern-day-Jim-Crow manner, clearly and predatorily referencing the aforedescribed purely-retaliatory frame-job that [JSP&KAP],[RSR] had

recently initiated (in conspiracy with (WCLE], particularly [WCCD-Harrell]) against the plaintiff. Shortly thereafter, [JSP] enters into his

pickup truck with son [NP] in the front-passenger seat (with passenger window open), drive on the street, pause in front of the plaintiff's

property, in-order-to intimidate the plaintiff and/or mock the plaintiffs political yard-signs.




<JJ:553
On or about the approximate date and approximate time of {2020-11-19 05:00}, the plaintiff is starting to unload some items attached to the

roof-rails of the plaintiffs vehicle, parked in the [DRIVEWAY]. Prior to unloading such items, the plaintiff takes photograph(s) of such items

as the plaintiff almost-always documents such activity to catch any signs of damage to such items, whenever such potential damage become

fast known to the plaintiff. As the plaintiff is taking these photographs from multiple angles, [JSP], then standing in the front-yard of

[784KLLTX7864 l ], approaches the plaintiff, stops near the border of the plaintiff's property, and once again, starts to intimidate the plaintiff,

stating: "HOW'S IT LOOKING?!" The plaintiff, once again, ignores [JSP], and continues to work on the aforementioned tasks. (JSP), realizing

again that he cannot expect a response back from the plaintiff, issues one-or-more racist insult(s) at the plaintiff, "PERVERT!". The plaintiff,

once again, ignores (JSP]. After approximately ten seconds, (JSP], realizing again that he cannot expect a response back from the plaintiff,

 walks back towards his pickup-truck, enters the truck and drives away in such vehicle, shortly thereafter.

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i554
On or about the approximate date of {2020-11-24} , the plaintiff notices two pink slips of paper, indicating certified-mail-return-receipt-

requested [CMRRR], within the stack of mail recently-collected from the plaintiff's [USPS] mailbox. Normally, since the plaintiff had received

multiple such pink slips from the [HOA] in the prior decade, the plaintiff knew that such pink slips along with the actual [CMRRR] are

supposed to be hand-delivered by the mail-delivery-person to the recipient(s) at the front-door, in order for such mail-delivery-person to obtain

the required signature of the recipient(s). However, the plaintiff had noticed that, at least on some occasions, there would be no attempt at

hand-delivering such pink slip(s), and instead, the mail-delivery-person would simply leave the copy of such pink slip(s) in the plaintiff's

mailbox (located approximately I mile away from the plaintiff's [HOUSE]). Since the plaintiff was only checking the plaintiff's mailbox at a

frequency of once-eve1y-three-weeks at that particular moment in time, the deadline dates on both of the pink-slips had expired, thus, making

the possibility of re-delivery impossible (since such [CMRRR] was already redirected back to the sender). As noted on the pink slips, the

sender of the [CMRRR] was the [WCCO], making it abundantly clear to the plaintiff that this particular article(s) of mail delivered via the

[USPS] involved the fraudulent Class-C-Misdemeanor-Public-Nuisance charge that [WCLE] (and specifically [WCCD-Harrell]), acting in

conspiracy with [JSP&KAP],[RSR], had predatorily orchestrated against the plaintiff, again, as part of their larger scheme to drive the plaintiff,

an immigrant-of-color/indigenous-person out of the White neighborhood, thus defrauding the plaintiff of private-property-ownership within

such White neighborhood. Even though the plaintiff did not receive the physical hard-copy of this mail, the plaintiff still has the two associated

pink slips, and the plaintiff further asserts that the mailing of this article(s) is at least one count of the racketeering-act of "mai /-fraud"

committed by [WCLE],[JSP&KAP],[RSR] against the plaintiff - especially since the entire Class-C-Misdemeanor-Public-Nuisance charge

against the plaintiff was done purely in retaliation against the plaintiff, and such charge also involved the use of one-or-more piece(s) of

fabricated-evidence along with fraudulent/misleading testimony against the plaintiff from [JSP&KAP],[RSR] and [WCCD-Harrell] - all with the

ultimate goal to drive the plaintiff, an immigrant-of-color/ indigenous-person out of what they considered to be "their" (exclusive-and-pw·e)

White neighborhood, thus in a brazen conspiracy/scheme to defraud the plaintiff out of private-property-ownership within such White

ne ighborhood.
  •   Mi\IlrF!Wll EXHmIT 13: [OIIUUI) lHlELIVEREO TO PLAlN'l'UF ~ CUISS-C-MISDDIENDHIIIBLIC- l«IISllll:Z OW!G£ MaINST PLAIN'l'UF•
  •   [l«XO) , [l«X:HD) , [l«:SO) , (JSP'1W') , [RSR) •   (2020- 11- 09) (Dllm OF MllLlHl VIA [IJSPS))




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          PS Fo~m 3849, October 2019




i555
Given the outrageous sequence of malicious incidents against the plaintiff involving defendants [JSP&KAP],[RSR] and [WCLE] that unfolded

in almost-all of the months of the year {2020}, the plaintiff felt the strong need to install more secmity-cameras around key-areas of the

plaintiff's property to more easily catch such illegal conspiracy on the record. During one-or-more day(s) at the end of the month of {2020-

1 l}, the plaintiff installed such additional security-cameras in such key-areas. The plaintiff notices on the plaintifrs security-camera-system-

monitor that, as soon as [JSP] realizes that the plaintiff has installed additional security-cameras at such additional locations, [JSP] angrily yells-


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out into one-or-more of such sccurity-camera(s), continuing to demonstrate his anger that the plaintiff was increasingly recording the egregious

racketeering-activities of the conspiracy and racketeering-enterprise against the plaintiff involving [JSP&KAP],[RSR] and [WCLE]. One-or-

more of these additional security-cameras would be future targets of the [JSP]'s criminal vandalism, with [JSP] actually entering into the

plaintiffs property in-order-to break one-or-more of such additional security-cameras (see below).



'.1[556
On or about the date and approxinrnte time of {2020-12-05 17:08}, racketeer co-defendant [KAP] walks from her property,

[784KLLTX78641], towards racketeer co-defendant [RSR]'s front-door, one of several meetings in which racketeer co-defendants [KAP],

[RSR] maliciously-predatorily-and-secretly conspire/collude/strategize against the plaintiff - in particular, in-order-to fully-plan the ah'cady-

initiated, purely-retaliatory Class-C-Misdemeanor-Public-Nuisance charge against the plaintiff. On her way to [RSR]'s property, [KAP]

interrupts [785KL-2018-1 ], who was performing some maintenance-work on the street, and speaks with [785KL-2018-1 ], once-again ttying to

manipulatively cuny-favor-with such relatively-new-resident, with [KAP]'s ultimate goal being to recruit [785KL-2018-l] to play the role of

another adversarial witness against the plaintiff. This brief interaction between [KAP] and [785KL-2018-l] stands in-sharp-contrast to [785KL-

2018-1 ]'s confronting of [KAP]'s husband, [JSP], as [JSP] was maliciously vandalizing the plaintiffs [HOUSE] along with his ahnost-adult

son, [NP], approximately two months after this incident (see below).



'.1[557
On or about the date and approximate time of {2020-12-06 14: I 0), racketeer co-defendant [KAP] walks from her property,

 [784KLLTX78641], towards racketeer co-defendant [RSR]'s front-door, one of several meetings in which racketeer co-defendants [KAP],

 [RSR] maliciously-predatorily-and-secretly conspire/collude/strategize against the plaintiff - in particular, in-order-to fully-plan the ah'eady-

 initiated, purely-retaliatory Class-C-Misdemeanor-Public-Nuisance charge against the plaintiff.



 '.1[558
 On or about the date and approximate time of {2020-12-17 20:00\, [RSR]'s unleashed large-dog, [L], barks loudly and uncontrollably on or

 near [RSR]'s frontyard - a recurring noise-nuisance-violation that the plaintiff had noticed on countless occasions from [RSR]'s property,

 [789KLLTX7864 l).



 '.1[559
 On or about the approximate date and approximate time of {2020-12-20 14:25}, the plah1tiffnotices that [RSR]'s unleashed large-dog, [L], has

 crossed the street and is roamh1g freely onto the sidewalk h1 front of the plah1tiffs property.



 '.1[560
 On or about the approxhnate date and approxhnate time of {2020-12-21 13:29}, the plaintiff notices that [RSR]'s unleashed large-dog, [L], is,

 during one-or-more times during this day, roaming freely on the street.


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CJ{561
On or about the date and approximate time of {2020-12-22 23:00} (near-midnight), [JSPJ is using very-loud-yard-equipment late at night for at

least half-an-hour or more - a recurring noise-nuisance-violation that the plaintiff had noticed on countless occasions from [JSP]'s property,

especially at nighttime.



CJ{562
On or about the date and approximate time of {2021-01-01 18:56} (nighttime), [JSPJ shines his torch-light at one-or-more of the plaintiffs

security-cameras, menacingly/angrily issues the obscene/vulgar gesture of the middle-finger raised to such security-cameras, and angrily states,

"FUCK YOU!" towards such security-cameras.



CJ{563
On or about the date and approximate time-period of {2021-01-02 22:00} through {2021-01-02 23:00}, [JSPJ and [NP] illegally light

extremely-loud fireworks as they have done on multiple occasions of almost every single year (if not every year) on the street directly in front

of their residence at (784KLLTX78641 ], undoubtedly disturbing the sleep-schedules and/or work-schedules of neighboring resident(s)

(including the plaintiff). Again, the lighting of loud fireworks (especially late at night) in such residential subdivisions is not only a violation of

the subdivision's restrictive-covenants (under civil contract law), and not only a violation of County-wide burn-ban(s) (whenever such burn-

ban(s) are in effect), but also, and at a minimum, a violation of the Texas criminal law, Disorderly-Conduct (TPeC-T9-C42-§42.01(5)].




CJI564
During the night immediately following the {2021-01-06) United-States-Capitol-Insurrection, at approximately {2021-01-06 20:00}, the

plaintiff notices on the plaintiffs security-camera-system-monitor, that [JSP], who has repeatedly demonstrated far-right-wing-extremist

political-animus against the plaintiff, further emboldened by the far-right-wing-extremists that had violently stormed and infiltrated the United-

States-Capitol building on this particular day, approaches some of the plaintiffs security-cameras in-order-to engage in further acts of racial-

 intimidation, criminal-mischief and disorderly-conduct against the plaintiff. [JSP] uses one-or-more bright torch-lights to shine-onto and/or

 flash-on-and-off-onto the lens of more-than-one of the plaintiffs security-cameras, again, in-order-to permanently "blind" (or

 disable/damage/destroy) such security-cameras 1 lens and/or internal circuihy - particularly, such security-cameras 1 night-vision circuitry.

 Although [JSP] has used a torch-light in-order-to ''blind" the plaintiffs security-cameras on numerous previous occasions dating back to

 {2019), the plaintiff notices that [JSP] is trying to use various strategies and/or techniques to achieve this goal. In this particular occasion,

 [JSP] is deliberately flashing the bright light onto and then off-of such security-cameras rapidly and for long period(s) of time, so that such

 security-cameras' night-vision is triggered on-and-off rapidly; in other words, [JSP] was hying to overload the circuitry and/or software of such

 security-cameras by tampering in this manner with such security-cameras' infrared night-vision capabilities. On one-or-more occasions, [JSP]

 actually stomps into the plaintiffs property - thus, within the plaintift's property - while engaging in this criminal activity against the plaintiff. On

 one-or-more occasions, [JSP] menacingly/angrily issues the obscene/vulgar gesture of the middle-finger raised to the plaintiffs security-

 camcras. On one-or-more occasions, [JSP] menacingly/angrily yells into one-or-more of the plaintiffs security-cameras and spits into the

 plaintiffs property - all as additional act(s) of racial-intimidation, criminal-mischief and disorderly-conduct against the plaintiff. The plaintiff
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asserts that when large-ceU(s) of far-right-wing-extremists are allowed to engage in egregious, extremely-high-profile, nationally-televised acts of

brazen lawlessness, as was the case with the {2021-01-06} United-States-Capitol-Insurrection, such extremely-high-profile acts of lawlessness

only emboldens smaller-cell(s) or even single-ceU(s) of far-right-wing-extremists around the United States - such as, but not lin1ited to

[JSP&KAP],[RSR] - to ratchet-up their criminal activities.



CJ[565
On or about the date and approximate time of {202 1-01-21 16: 14}, the plaintiff sends an "URGENT" fo llowup email to [WCSDet-WP]

providing the [WCSO] with one (of the many dozens ot) critical piece of evidence of [JSP &KAP]'s hate-crimes against the plaintiff. In this

followup email, the plaintiff makes it clear to the [WCLE] that the plaintiff expects these appropriate initial charges to be filed against [JSP] -

with the plaintiff ready to submit more evidence after those initial charges have been filed. This email also includes a copy of the previous

email-correspondence between the plaintiff and [WCLE] concerning this matter. In this email, the plaintiff also makes clear that although the

plaintifrs seeks to press-charges under state law, especially since, but not only since, the crimes committed against the plaintiff by the

perpetrators were racially-motivated, such crin1es are also federal hate-crimes and/or federal civil-rights-violations. Also, in this email and the

previous email, since the plaintiff specified a pattern of criminal activity that either fall under the category of obstruction-of-justice and/or

retaliation, the plaintiff had provided sufficient information to indicate that those crimes are, likewise, not only felony crimes under state law,

but also racketeering-acts under federal law. Since the plaintiff did not receive a speedy response, the plaintiff also forwarded a copy of this

"URGENT" email to the general Criminal-Investigations-Division [WCSO-CID] of the [WCSO] on or about the date and appropriate time of

 {202 1-01 -22 07:27}:
  •   1!H1IL E101 PUuNTIFF ro [K:Sllet-tlP) , {lCSO-CID)   (CX:'D ro [)Dl'IIER) , [F1alm\)) wrm 1 au:rAL Pll!x:I!! OF EVIllfH2 OF ~ CXMilT1El BY [JSP) MiAlNST PIAINl'IlT(r) •

  •   CIUG!Nl'L (2021- 01- 21 16: U) , F<RW1DED (2021- 01- 22 07 :27) M •     [ PRIVATE INFCHIM'IQI IN EHW. CMITn!J)/REDM:'l'fD TO PR)m:T PRI\lllCY J


  PLAINTIFF              Hello Detective Passailaigue,




                         We are "Siddhmth Kode and******* Kade" - pmpe,ty 011111e1~· of "788 Kingfisher Laue. Leauder. TX 78641."


                         As a follo1111p to 011.- previous co11ve1~·atio11, I have assemt,/ed 11111d1 (but 110/ all) of the evidence for the pe11di11g hate-crimes charges, but I ueed iuilial
                         charges to be filed}<,r I particular piece of evidence as soon as possible - i11 esse11ce, immediately - Jo.- I particular incident that took place 011 2019-01-

                         22.


                          This piece of video evidence that I have uploaded to a secu.-e, private cloud-storage ll"ebsire:




                         Siuce ii 111ill be 2 yem~for that date tomonmv. it is impera/ive !hat this particula.-piece of evideuce be revie,red immediately, and that ass11111i11g the
                          chmges are valid, that these initial charges be.filed immediately - in essence, preferably loday, but 110 la/er thau by lomrmv1111110111i11g - agaimt "Joseph

                          Pargi11" of "784 Kingfisher Lane".


                          These iuitia/ charges re.fleet the fact that these are hate crimes - so I level up for Misdemeanors - I'll explain that and more iu a sepamte email that

                          includes all of the extracted evidence (thus fm):


                          Mufliple Counl(s) <!f Class A Misdemeanor "A.~vault" h1tp.1·://1exas.1iublic.lall'lstat11tes/ter._JJe11al_cade...:1·ection_22.lil



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Multiple Count(.~) of Clas.I' A Misdemeanor "Tenmistic Threat" ht1ps://texas.puhlic.lall'lstat11tes/tex.JJe1wf_code~1-eclio11_22.07


Multiple Cmmt(s_) <?f C/a.~s A Misdemeanor "lllfimidation or Jnte~ference" https:/llexas.p11blic. lall'lstat11tes/tex. JJmp. _code...:1·ectio11_301 .171


Multiple Co1111t(s) of Class A Misdemeanor "Haras.1·111e11t" h1tps://texas.p11blic.law/..1·taflltes/tex.JJe11a/_code_§ecti011_42.07


Multiple Cmmt(s) qf Class B Misdemeanor "Disorderly Co11d11ct" https://texas.p11blic.law/stat11tesltex.JJe11al_code_sectio11_42.01




A FEW MORE NOTE&



[ 1J Of course, these are not the most serious chaiges that we wish to file .. as 1 have evidence of.felonies bei11g committed agaimt us and our pmpel~)' ..
much more 011 that in that subsequent email that hopefully 1 should have ready by Friday (or Monday at the latest).


/2/ We are only requesting charges to befiledfor this incident within the 2 year deadline ... as a matfer qf'precaution .. lwweve,·, we do realize that if a
climhwl issue is ongoing for many years .. then, the statute qf' limitations does not really apply due to the co11timti11g nature ,if the crime (which is the case

in our case~ as our evidence ove1whe/111i11gfy shows).


[3} 1 have kept this email as brie./lconcise lll·possible and have .wn,ed all of the details.for tlwt s11bseq11e11t email that i11cl11des much more of the evidence.



[ 4] The total numher of pieces ,if evidence is approximate~)' 50 or more.


 {5] As 1 will explain i11f111ther detail in that subsequellf email, due to the substantial amount of evidence that we have, and the severity of crimes being
 committed. we still reserve the right to pursue Federal hate climes charges against the suspects in this case. So, please also confirm that by pressing
 charges at the state//ocal !e11el, Jhal this does not pre1 e11t usjivm alw pursuing the federal hate crimes charges as well.
                                                           1




 B11tfor now, please contact me m soon as possible (or ff'you prefe1; please have a Deputy contact me to process these charges llS soon as possible), so that

 these more urgent dwrges can be filed as ,\'OOII av possible.




 Respectfully submitted,
 Siddhmth Kode and******* Kode.




 Wayne Passailaigue:
 > Sir

 >

 > For any eme1ge11cy that you feel nee,fr immediate re.\1m11se please calf 911 and repmt the incident. {f'you have the evidence/mm the original criminal

 miscl,i<f case feel.free to ca/I and hal'e a deputy pick up the e1 1ide11ce who will then submit the widence, you t·an also mail the video footage to the
 Williamson Coun(v Sher1J.fy Q[fice ifJ'OII prefer that; please place "ATTN: DET. PASSAlLAJGUE" 011 the lei/er head as well lll' the case 1111111be1: {f' there
 is a new qffense (other than the Criminal Mischil;{ complaint) that you would like to report, please contact the 11011-emergency line for our Williamson
 County Co1111111111icatio11s who will then dispatch a deputy to take the initial i1ifonnatio11 andfi/e the ojfense under the pmper off'ense title. This will help
 speed up the process as the case ll'ill then he assigned directly to a detective within a unit that inl'esligates that certain offense or se1 erity qf' ,?ffense.
                                                                                                                                                 1




  >
  > Thank Yon,

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>

> Deleclil'e W Passailai1,,rue #13122

> Criminal /11vestigatio11 Division

> Willimnwm C01111(1' Sheriff's Q[fice
> 508 S. Rock St. George/own, TX 78626

> Q[f/Ce: 512-943-5274
>

> This mes.mge co11fai11s i11for111atio11 which may he conjk/ential and plivileged. Unless you are the addres.\'ee (or authorized to receive for the addressee),
you may 110! use, copy or disclose to anyone /he message or any i11fon11atio11 contained in the message. Jfyo11 have received the me.1:w1ge in en'O/; please

advise the sender by rep()' e-mail and delete the message.
>

> -----Oliginal Message-----
> From: ***********"'****** <******************>

> Sent: Monday, J1111e 22, 2020 8:44 AM
> To: Wayne Pas.mi!aigue <*************@ll'ilco.mg>

> Cc: Loli M11171hy <***********@wilco.mg>; **********************; **********@splcel/le1:org

> Suliject: Hate Oimes Continue Unabated; Re: Evidence for criminal mischief and threatening c01111111111icatio11s

>
> Hello Detective Passailaigue,

>

>

> This is Sid Kade, homeowner al "788 Kingfisher Lane".

>

> I hcwe 3 questions/comments. as a follow-up to 011rpre1 1io11s cmwer:mlion:

>
 >

 > (})

 > I continue to receive death threats, other te1mristic threats, other refere11ces to b111tal violence, i11timidtJtio11/retaliatio11 for the repmting <?l their crimes,

racial/xenophobic/homophobic slurs, other hate-.']Jeech and psycho/ogically-almsive-.v1eech (and not to forget, public sla11derldefamatio11) fmm the s/l.\71ect

- again, "Joseph Pargin" of
 > "784 Kingfisher Lane".
 >

    > The sm11ect co111im1es to tamper-with or II)' to disable/damage 110' security cameras by .']Jl'<O'illg them with waler and by shining bright-light direc//y illfo

 them for long period\' of time.
    >
    > The s11.,11ect also co11ti1111es to step wel/-illfo my prope1ty to mow the ve1y-low-growi11g "no-mow" grass (a gmss that is 110! intended to be

    > mowed) which 1 installed - in one case, mowing the entire side of the front-yard during the 111id1·t qf a11 intense summer dmught - forcing me lo flood the

 mowed area with water in the hopes that it will recover.
    >
    > U1!for11111ate/y, there is pen11a11e11tlhrecoverabfe damage/death to a large area<?( this "no-mow" grass that he mowed last year during the midft of the

    summer dmught (I triedflooding the area to the best of my ability but it was "loo lilfle, too late" since I was not at the prope,tyf(w more than 3 days after

    the mowing took place) - while that same 11110-mow"
    > gras.,~ if Jeff 1mmowed, s11111ives the Texas summe,· droughts just fine,

    >

    > Again, the smpecf i.v \\'ell aware that this is a "110-mow" grass that is 1101 intended to be 11101,wf, and did so (and continues to do .w) despite qf this

    knowledge.
    >

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> In particular, the atl,er side of thefro11t-yard that is fully u11der 111)' co11tro/ has 1101 bee11111011-ed i11 3 yea,;,, (it has n11/y been m(m1wlly-lt'eeded by me 011 a

regular basis) - a11d as a result of this i11tellige11/ mai11te11a11ce, is i11 pe1fect ca11ditionlappearm1c-e.
>

> The S/1.\]Ject i.1· also mmre of the fact that thei-e is 110 spri11kler ~J•stem 011 tbe prope11y (since the gra.<v, ll'hen left um1w11·ed. 1-eally does 110/ 11eed wateri11g

even during the summer droughts except in certain small areas ll'here it !,as 110/Ji1lly established yet a11dlor where the water i11 the soil te11d1· to ~•vapomte

faste1; for example, due to higher elevatio11).
>
> 011 at least 011e occasion, the suspect poked at and damaged the political yard signs 011 my property.

>

> I ll'0S hopi11g that your i11te1vie111 ll'ilh the suspect mm/d se,ve to deter a11d stop this violent/abusive criminal beha,•ior. hut w,Jm1u11ately, the s11.1pecl has

110/ show11 any i11dicatio11 of cha11ge, and to the co11tm1y, might 011/y have bee11 e111bolde11etl.
>

> I still do have all of tl,e p1-evious(y-me11tio11ed evide11ce, and new evidence of tl,e above i11cide11ts - with the most recent i11cide11t being at approximately

2020-06-16 01/:00.
>
> And so, I wanted to cm,fim1 the po.t1·ible charges associated wit/, .1·uch criminal conduct:

> (*) felony te1mristic threats (i11cludi11g death threats)
 > (*) felony obstruction ofjustice (lamperi11g/disabli11gldamaging of cameras; 1/11-eatsfor reparti11g of crimes)

 > (*) fe/011y i11timidatio11 of 11•it11ess a11d relaliatio11 agai11sl wit11ess

 > (*) felony vandalism a11d crimi11a/ mischief (more than $1500 in damages

 > - for damage to grass a11d security ca11teralj

 >

 > Again. I do have eve1y reason to believe and that the el'idence I have does clearly shall' that these crimes are based 011 racial/xenophobic hatred and

 homophobic hall-eel. and as such, should be c/ass/fied as hate crimes.
 >
 > A/so, as afo1111er student at the Univei,·ity of Texas al Austin, I 1ms 1-egi.vlered as a student wit/, disabilities, having a cognitive disability
 > - which the suspect is fully a1m1-e of. but despite knoll'ledge of this. maliciously chooses to e.,ploit.

 >

 > Asa minor side-110/e to the above, the suspect also co11ti11ue.f to light fireworks eve,y year (multiple lime.f per ye(II) - a we/1-knmm violation of HOA
 111/es - 011 act that remains ve,y dcmgemus cine lo the close proximity ,if housesls1111cture.vl/J-ees/bushes/etc. and due to the great public nuisance that suc/1
 loudfire,mrks muse (especially during the middle of the night), and 1101 to forget, the resulting air pol/utio11/debris.
 >

 >

 >
 >

 > (2)

 > /11 an i.~1·ue that is slightly unrelated to the above - the pmperty owner of "71/9 Kingfisher Lane" - Rebecca Sue Robertson - has trespassed 011 my

 property at approximately {2020-06-04 17:49} - I do l,m•e l'ideo evidence of this as 11-ell.
 >

    > Since this individual also lhreatened me back in 2010120/ I al my doorstep, there was a crimi11a/-trespa.~v-wami11g issued lo /his individual 011 August

 20/ I by the Williamson Co,mt_v Sheriffs Depar/me111
    > - a 1rami11g that she re./iised to sign, but that the WCSD DepUly assured me that it is still valid - in fact, the1-e 11'e1'f! 2 trespass 1mmings i.~med to this

 individual 011 that same day (oneji"Oln another neighboring pmpe11y owner as 11-el/).
    >
    > This individunl has repeatedly l,arcmed me over the cow:ve of the I I yea,~ that I have lived hei-e - in some case.1; kicki11g and throwing tantrums agni11st

    my prope11y and afro, nfe,ring to me m1 .wme occa.1"iom; using racial/.,·enopl,obiclhomopl,obic s/w,·, and also commilling sla11derldefamatio11/libe/ against

    me in multiple public selfings.
    >

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> She also leaves her large dog unleashed 011 a daily basis - the dog is never m, leash (which is also a violalion of HOA mies) and occasionally does hark

WI)' loudly - this dog occasionally does step ll'ill into my fro111yan:i.

>

> So, please co1tjl/111 that you do have this crimi11al-trespass-1m111i11g 011 file, so that we can begin processing dwrges against this individual as well.

>

>

>

> /3)
>Asa re/alively minor side-note to the ahove, / ,1•'1011/d also point out that neither of the.1·e i11d11,;dua/s are practicing .1·ocial distancing. and are 11e1,er
11-earingface 111asks in e11co1111leri11g me while I'm al 111y prope11y.

>
> I am the only one wearing a face mask, and they also ridicule/shame me for doing so - they even sneeze/cough am1111d me without wearing a nl(Jsk.

leading me to ll'Ollder tr they are doing it 011 puqJOse.
>

> They are surely aware that people are :,,preading the disease without showing .\ymptoms of it - (in other 1mrd~. ca,riers not s1![fere1"J) - and that people qf

color (.rnch as myse(I) are pa,'ficularly vulnerable to the letlwl disease.
>

>
>

>

>NOTE:
 >

 > I do want to p111:\"lle pressing charges against these i11di1 1iduals, but I do need to stress that I will need police protection - these individuals (especially

 ''Joseph Pargi11 11) have shown themselves to he capable of violence (in.fact, brutal violence), and there are countless cases where v11/11erable victims of
 hate crimes that hmie rep011ed crimes hm e been retaliated against - and ht some cases, severely injured or e11e11 murdered.
                                              1




 >

 > So, it takes significant courage.for a persoll like me (of my racial

 > profile) and <?r my physical stature (1 weigh about JOO pound:,,~ to be able to report these hate crimes, against the possibility<?( violent retaliationfimn
people more than twice my size, and in all likelihoml, are armed with lethal weapons.
 >

 > Ill fact, the suspects' tenvrizing behavior tm1•<11tls me has intentionally served to instill fear/terror in me, so that I will remain quiet and allow such

 injustice to continue (which I have done 1111til this point).
 >

 >

 >

 >

 >

 > I will be compiling lhe video e1 1ide11ce and I should have most of it 011 an SD card within tll'o weeks from 11011' (.\·ince \lideo.files are too big to tran.~fer

 0l'er email).
    >

    > Please cm1//1111 ff/when yo11 are availahlefor meeting me at the property

    > (" 788 Kingfisher lane") sometime during the weeks q{June-29thl.July-6th, so that I can provide you with this e1 1ide11ce - I will send a J0l/ow-11p email

 cmifi1111i11g the exact date/time.
    >

    >

    >

    >
    > Thanks,

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> Sid Kade.

>
>

>

>

>
> On 10//6/2019 8:36 AM, Wayne Pa.uailaigue 11rote:

>> Sir.
»
>> I hm•e received your email and it has been added to this ca.1·efile (Case No. 2019-09-00561). Both cases that )'OIi had filed with through the Sheriff's

Office are heing 11Yn*ed under this case 1111111/Jer. I have conducted an i11te111iew with the sm])eCI in this case and have an idea of what'.v going on. The
physical ei,idence (digital recordings) is pam11101111t in this case and I will be waili11gforyo11r re.11xmse to go f1111'1er in this case. If you hm1e any questions

please fee/Ji'l'e to l'l'ad1 m1t by email or phone.
»
>> Thank You,
»

>> Deteclii1e     w: Passailaigue #13122
>> Oiminal J11vestigatio11 Division

>> Williamso11 County Sheriff's Office

>> 508 S. Rock St. Georgetmm, TX 78626

>> Q[fice: 512-943-5274

»
>> This message contains i11fon11atio11 which may be c011fide11tial a11d p1ivileged. Unless you are the addressee (or authorized to receil'efor the addressee),

you may not use, copy or disclose to Wl)'Olle the message or any i11fon11atio11 co11lai11ed in the mevsage. {{you have receil'ed the message in en'OI; please

adi,ise the sender by reply e-mail and delete the meuage.
»
 >> -----Original Message-----

 >> From: ****>1<************* <******************>

 >> Sent: Wednesday, October 9, 20/9 8:05 AM

 >> To: Wayne Pa.1:milaig11e <*************@wifco.org>

 >> S11llject: Evidence/Or criminal mischif.;{ and threatening c01111111111icatio11s
 »
 >> EXTERNAL email: Exercise caution when opening.
 »
        --------------
 »

 >> Hello Detective Pa.1·sai/aig11e,

 »
 »
 >> This is Sid Kode {property owner of "788 King(isher Lane, Lea11de1; TX 78641"), re.17Jo11ding lo your l'oicemails about the criminal mi.w.:hir.f and
 threatening c01111111111ications tlwt ll'e're experiencing at our propel1y Jivm the s/1.\JJect (next-door neighbor that lives at "784 Kingfisher Lane, Leander, TX

    78641").
 »
 >> 1 do still have the footage stm'l'd 011 our security camera system'.1· DVR hmd-drives, but 1 have 1wt yet figured out how to fl'(m.~fer the data onto an

 e.tlemal hard-drive.
    »
    >> U1!fort1111alely, as of late, 1 hm'e not had the time lo figure this 011!, but hopefully 1 .~/1011/d be able to get ii done .mmetime this month.

    »

    >> Once 1 hm1e this done, I will let you know so that you can obtain that e11 ide11ce.

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                 >>

                 >>

                 >> So, to briefly .1w11111arize the sequence of i11cide11ts:

                 >>

                 >> (1) ltJ approximately October 20/7, I received tbefi,~·/ tbreate11i11g co1111111111icatio11fro111 tl,e s11spect.

                 >>
                 >> (2) In approximalely Februa,y 2018, I received tl,e second tbreate11i11g cm111111micatio11fm111 /he smpect (I still /,ave to find //,efoolagefar 1/,i,1).

                 >>

                 >> (3) /11 approxi111ately.la1111a1y 2019, I received tbe lhird threa/e11i11g co1111111111icalio11ji-0111 tbe .mspect.

                 >>

                 >> (4) /11 approximalely Februa1y 2019, I received thefo11rtl, 1hrea/e11i11g co1111111mica1io11fro111 the s11specl.

                 >>

                 >> (5) ltJ approximately May 2019, I receii•ed //,efiftl, threale11i11g co1111111111icatia11fro111 tl,e suspect (I still !,ave lo fi11d !he footage.for !bi.I).

                 >>

                 >> (6) 111 approximately .!1111e 2019, I received tbe sixth 1brea/e11i11g co1111111111icalio11from //,e s11.1pect (/ still have 1ofi11d tbefoolagefor tl,is).

                 >>

                 >> (7) On July 3rd 2019, tl,e suspect shot into one of our cameras damaging cmd breaking thefmlll gta.~, and IR ill11111i11ators so tbat the JR night vision

                 110 longer \\YJrks.
                 >>

                  >> (8) 011 August 23rd 2019, tbe suspect stepped 011/0 our ya,d wit/, a law11moll'er and moll'ed 0111· landvcape ll'hicl, we had spec/fical~)I designed 1101 la be

                  moll'ed. th11s damaging the plants and needing it to be repeatedly \\'a/ered (floodeclj 1111/i/ mos/ of ii recovered - bml'eve,: some of 1/,e /a,l(lvcape did die due
                  to the severe summer bea//dmught and the damage already done. 011 appmximately September 2017, I hadjiledfor approval and received app1vl'al from
                  our HOA for this "110-mow". drougbt-to/eronl landvcape, and I bad installed this Ja,ul,cape 011 October 2017 and diligently watered ii regular~)' 1111/i/ it

                  took I year to establish.
                  >>

                  >> (9) On September ?? 2019, at night time, the S/1.\]Ject shined bisflash-light directly onto 011e of of 011r camems, then kicked an object (JR il/11111i11atm)

                  placed m1 0111· i<md,cape a/011g the.fence.
                  >>

                  >> (10) On September 14th 2019, the suspect shot into a second camera damaging and breaking tbejivlll glass - tbe JR still tecbnically \\Vrks. but tbe

                  sbattered glass makes the camera'.v image bluny, especially at night.
                  >>

                  >>

                  >> Tbese are the incidents that I can recollect as ofrighl now. I'm sure there were otl,er i11cide111.1· that have escaped my memmy.

                  >>

                  >>

                  >> As soon as I have acc111111,lated all of the footage onto the po11able ha1d-drive, I will let )'OU know - I still also bave lofi11d mucl, <?{ it since they are

                  stored 011 11111/tip/e different hard-drives.
                  >>

                  >>

                  >> 111011ks,

                  >> SidKode.
                  >>




1566
Since the plaintiff had not received a rapid email response from the [WCSDet-WP],[WCSO-CID], the plaintiff also made a phonecall to the

[WCSO-CID] on or about the date and approximate time of {2021-01-22 08:00}, notifying them about the evidence in the email. On or about

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the date and approximate time of {2021-01-22 12:00}, the plaintiff received a phonecaU back from another Detective of the [WCSO],

[WCSDet-JD-23). [WCSDet-JD-23) infom1ed the plaintiff that he had not seen the plaintiff's email, but instead, shifted the blame to the

plaintiff, questioning the plaintiff as to why it was taking so long for the plaintiff to submit all of such evidence. In other words, [WCSDet-JD-

23] was focusing on the fact that the plaintiff had a large volume of evidence that was yet to be submitted, but yet completely ignoring at least

the two pieces of evidence ( representing two different racially-motivated hate-crimes committed by (JSP] againllt the plaintiff) that the plaintiff

had _already submitted to the [WCSO). He stated that he and/or the [WCSO] would review the plaintiff's email and get back to the plaintiff.

[WCSDet-JD-23] asked the plaintiff, in a manner that was very suspicious to the plaintiff, whether-or-not the plaintiffs security-cameras

recorded audio, and the plaintiff responded that such security-cameras did record audio. The plaintiff immediately suspected that [WCSDet-

JD-23] was not asking this question for any reason beneficial to the plaintiff, but quite to the contrary, [WCSDet-JD-23] was asking this

question because he wanted to determine whether the plaintiff's security-cameras captured all (or any) of the audio of the corrupt-111alicious-

predato1y-and-retaliatory conspiracy and racketeering-enterprise that [WCLE] was engaged in and had been engaging in - in conspiracy with

the very same malicious racketeers - [JSP&KAP],[RSR] - that had committed the hate-crimes/racketeering-acts/civil-rights-violations/abuses of

which the plaintiff was tiying to press-charges about. Not once during this phonecaU did [WCSDet-JD-23) reveal to the plaintiff that the

plaintiff had already been charged in such fraudulent and purely-retaliatory manner with Class-C-Misdemeanor-Public-Nuisance by the ve1y

same persons - racketeer co-defendants [JSP &KAP],[RSR] (acting in furtherance of such corrupt-malicious-predat01y-and-retaliat01y

conspiracy with [WCLE] against the plai.nti(f) - that the plaintiff has long since-intended to press charges (including felony charges) against (see

all of the relevant incidents dating back to {2009} above).



9(567
On or about the date and approximate time of {2021-01-22 14: 11 }, the plaintiff received the following email response from [WCSDet-WP].

Nowhere in this email to the plaintiff, did [WCSDet-WP] reveal to the plaintiff that the plaintiff had already been charged in such fraudulent

and purely-retaliato1y manner with C lass-C-Misdemeanor-Public-Nui.sance by the very same persons - racketeer co-de fendants [JSP&KAP],

[RSR] (acting in furtherance of such corrupt-malicious-predatmy-and-retaliatory conspiracy with [WCLE] against the plaintiff) - that the

plaintiff had long since-intended to press charges (including felony charges) against (see aU of the relevant incidents dating back to {2009}

above). Furthermore, [WCSDet-WP] does not provide any explanation to the plaintiff as to why the initial charge of criminal-mischief (for

which, the plaintiff had already provided one crucial piece of evidence) could not proceed to begin with - as, charges can always be upgraded

 and/or modified at any future point in time after law-enforcement continues to receive more evidence of the larger pattern-of-criminal-activity:
  •     EMIUL KESPCllSE FR'.I! (lCSl)et- llPl TO PLAINTXW(~) •

  •      (2021- 01- 22 14 : 11 l H •   ( PRIVllm INFCRWl'lal IN D!ML QIITJED/llEIYCD!D TO moTECT mIYllCY J

      [WCSDet - WP)           I a//emp!ed lo view this video evidence you have using multiple d/!fere11/ bo11'!<e1:1" and received 011 e1rnr 011 all of them. If you ,multi like I cm, come by

                              yow· residence and you can place the video 011 a hard drive f or me.


                               Thank You,


                               Detective IV. Passailaigue Ill 3 I 22
                              Criminal /1111estigatio11 Division
                               IVilliamson County Sheriffs Of/tee
                               508 S. Rock St. Georgetown. TX 78626


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may not use, copy or disclose lo anyone the message or any i11fo111wtio11 contained in the message. I/you have reeeived !he message in enm; please ad1 1ise

fhe sender by reply e-mail cmd delete the message.


-----Original Message-----

From: *********11<******** <*****************~
Sent: Thw:wlay, .Ja1111m)' 21, 2021 4: 14 PM
To: Wayne Passai/aigue <*************@wifco.org>

Cc: *******,!<**************; **************************
Subjeet: URGENT: Re: Hale Crimes Continue Unabated; Re: Evide11ceforcrimi11al mischiffa11d threatening com1111111ications



Hello Detective Passailaigue,




We are "Siddhmth Kade and******* Kode" - pmpe1ty ow11e1:s qf "788 Kingfisher lane, Leander, TX 78641. 11




As a follo1nip lo our previous co1wersatio11, I have assembled much (bu/ not all) ~l the evidence for the pending hate-crimes charges, but I need initial
charges to be filed for l pmtiC11lar piece of evidence as soon as possible - in essence, immediately- for 1 pai1ic11/ar incident that took place 011 2019-01-

22.


 This piece of l'ideo evidence that I hal'e uploaded to a secure, private do11d-storage website:




https:/lgcc02.sq/"eli11ks.protectio11.outlook.coml?url=********************************************************************************

 &data=********************************************************************************************************************
 *****>l<****************************************************************************************>1<*********************&sdata
 =**** ******** ** ****** *** ** ****** *** ** ** *** *** *** *& rese11,ed=0



 Since ii will be 2 yeai~ for that date tomonvw, it is imperative that this pmticular 11ieee of el'idence be reviewed immediately, and that assuming the
 dwrge~ are valid, that these initial charges be filed immediately- in essence, preferably today, hut 110 later than by tomorrow moming- against ".Joseph

 Pargin" rif "784 Kingfisher lane".


 These initial charges reflect thefacl that these are hate crimes - so I le1 1el up for Misdemeanors - I'll explain thal and more in a separate email that

 includes all of the extracted evidenee (thus far):



 Multiple Cmmt(s) of Class A Misdemeanor "Assault"
 hltps:llgcc02.saj"e/inks.protection. outlook. coml?url=https%3A '½JPYalFtexas.public. !cm%2Fstatutes%2 Ftex. _]Jena/_code...:~ectio11_22. 0 J&data=

 *******************>I<*********************************************************************************************************
 ***************************************,i,******************"'**********************"'*************************&sdafa""***********
 *************************************&reserved=O


 Multiple CountM t?l Class A Misdemeanor "Te1roristic Threat"
 https:llgcc02. safe/i11h pmtectio11. 011l/ook. co111/?111f=https%JA 'Ya2P'/fi2Ftexas. public. law'YrilFstatutes%2Ftex. _11e11al_code_section_22. 07&data=

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Multiple Count(.\') of Class A Misdemeanor "lntimida1io11 or lnte1fere11ce"
https:llgccO 2. safelinks.pmtection. outlook. coml?url =https'Yu3A Yo2F¾.2Ftexas.puhlic. I m1 1½.2Fstat11les'Yo2Ftex. JJrop. _code-'m:I im1_3() I. I 7I & data=

******************************************************************************************************************************
**********************************************************************************************************&sdata==*************
***********************************&rese111ed=O


Multiple Count(.\') of Class A Misdemeanor "Harassmel1f"
hllps://gcc02.safeli11ks. protection. 011tlook. com/?11rl=https%3A ¾.2F'Yo2Ftexas. p11blic. lm1fYolFslat11tes3/'o2Ftex. JJenal_code-'1·ection_42. 07&data=

******************************************************************************************************************************
*************************************************"'********************************"'***********************&sdata""*************
** ** **** ** ***** ** ** ** ** *** *** *"'* *& 1'eserved"""O

Multiple Cotmt(s) of Class B Misdemeanor "Disorderly Conduct"
https://gccO2. sqfelinks.protection. outlook. £.'0111/? 1111 =https¾JA '.1/o2 F'½,2Ftexas.puMic. la113/n2E<:latules%2Ftex. JJenal_code_:<:eclirm_42. 0 I &data=

 ******************************************************************************************************************************
 **********************************************************************************************************&sdala""'*************
*********************************&1-ese1ved:e:e{)




A FEW MORE NOTES:


{/] Of course, these are 110I the most serious charges that we wish tof1/e ~ as I have evidence <iffelonies being committed against us and our property -

 much more 011 that in that subsequent email that lrope/itlly I slrou/d haFe ready by Friday (or Monday at tire latest).


 {2] We are only requesting charges to be filed for this incidellt within the 2 year deadline - as a mattenif preca11tio11 - however, we do realize that if' a

 criminal issue is 011goi11gfor many years - then, the slat11te (if limitations does not really app(J' due to the conti1111i11g 11a111re <if the crime (which is the case

 in our £.'ase - as 011r evidence ove1whefmi11gly shows).


 [3] 1 have kepi this email as bri<tf/concise as possible and have saved all of the details/or that subsequent email that includes much more c!f' the evidence.



 [4] The total number of pieces of evidence is appro.r:imately 50 or more.


 [5] As I ll'ill explain infi111her detail in that subsequent email, due to the substantial amount of e1,ide11ce that 1m have. and the seve1i(v of crimes being
 committed, we still re.seive the right to pw:me Federal hate crimes charges against the sw,7Jects in thi.\' case. So, please also cm!fi1111 that by pressing charges
 at the state/local level, that this doe.1· not prevent us from also pursuing the federal hate climes charges as well.




 But/or 11011~ please contact me m soon a.\' possible (or if you prefer, please have a Deputy colllact me lo process these charges as srwn as possible), so that

 these more urgent charges can be filed as soon as possible.




 Re,\pec(fully submitted,

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Siddharth Kode and******* Kode.




Wayne Passai/aigue:
> Sir
>

> For any emergency that you.feel needs immediate re.\p011se please call 911 and report lhe incident. {f you have the evidencejhm, the original criminal

mischief case feel free to call and have a deputy pick up the evidence who will then submit the evidence, J'Olf can also mail lhe video footage to the
Williamson Counly Sheriff's Office if ym1 prefer that; please place "ATTN: DET. PASSAJLAJGUE" 011 the lefter head as well av the case numhe1: {l there
is a new offense (other than the Criminal Mischief complaint) that yo11 would like to repmt, please contact the 11011-emergency line for mw Williamson
Cotm(v Co1111111111ications who will then di,1patch a deputy to take the initial i11fo111mtim1 and file the 1if.j"e11se under the pmper offense title. This will help
~peed 11p the process as the case will then be assigned directly too detective within a unit that i111 estigates that certain q/fense or severity qf qffense.
                                                                                                         1




>

> Thank You,

>
> Detective W: Possai/aigue #/3122

> Criminal Investigation Division
> Williamson Coullfy Sheriff\' Q/fice

> 508 S. Rock St. Georgetmm, TX 78626

> Qffice: 512-943-5274

 >
 > This message cm1taim i11formatio11 which may be co11fide11tial and privileged Unless you are the addressee (or authorized to receive for the addressee),
you may not use, copy or disclose to a113'011e the me.1:1"Crge or any i11/01111atio11 contained in the mersage. {f you hm1e recefred the me.1·.mge in error, please

advise the sender hy reply e-mail and delete the message.
 >
 > -----Odginaf Message-----

 > From: ****************** <******************>
 > Sent: Monday, June 22, 2020 8:44 AM

 > To: Wayne Possailaigue <*************@wilco.01g>
 > Cc: Lori Mwphy <***********@wifco.mg>; **********************;
 > \tY:bco11tact@vJ/ce11te1: org
 > Suliject: Hate Crimes Co11ti1111e Unabated; Re: Evidence/or criminal

 > mischief and threatening c01111111111icatio11s

 >
 > Hello Detective Passailaigue,
 >

 >

 > This is Sid Kode, homeo11'/1er at "788 Kingfisher Lane".

 >

    > I hm•e 3 questio11skommellfs, as a follow-up to our previous conversation:

 >

    >



    > I continue to receive death threat.,~ other ten'Oristic threats, other
    > references lo h111tal violence, inti111idatio11/retaliatio11for the

    > reporting of their crimes, raciallxenophobicl/10111ophobic slurs, other

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> hate-.\71eech and p.\J'c/10/ogieaffy-almsive-speech (and not to forget,
> public sla11derld~fa111atio11) Ji'0/11 the smpect - again, "Joseph Pargin"
> qf

> "784 Kingfisher lane".

>

> The sm11ect continues to lamper-with or l1y to disable/damage my security cameras by .'7Jrayi11g them wilh water and by shining bright-light directly illlo
them for long period\· of time.
>
> The smpect also co11ti1111es to step well-into my propel1y to mow the

> 1•e1J1-loll'-growi11g "110-mow" grtl.'iS (a grm:~ that is not intended to be
> mowed) which 1 installed .. in one case, mowing the entire side qf the Jinnt-yard during the midYI of an intense summer drought - forcing me to flood the

11101\'ed area with water in the hopes that it will recover.
>
> Unfortunately, there is pe1111a11ent!i11"ecoverable damage/death to a large area of this "no-mow" grass thal he 1110\\'ed last year during the mid~t of the

summer droughl (I tried flooding the area to the best of my ability /mt it \\'as "too liflle, too !ale" since I \\'as not at the property for more than 3 days after

the mowing took place) - while Iha! same "no-mow"
> gra.1:\', if l<j't tmmowed, survives the Texas s11111111er dmughtsj11stfi11e.
>
 > Again, the smpect is well awam that this is a "110-mow" grass that is not i111e11ded to be mowed, and did so (and co111i11ues to do so) de.171ite of this

knowledge.
 >

 > fo pm1icular, the othe1 side qf' thejinnt-yard that i,1".fully under my co11lrol has not been 11101\'ed in 3 years (it has only been manually-weeded by me on a

 regular basis) .. and as a result of this intelligent 111ai11te11a11ce, is in pet.feet condition/appearance.
 >

 > The suspect is also a1tt1n' of the.fact that there is no splink/er SJ'.rlem 011 the propel1y (,;i11ce the grass, when left unmowed, really does not need wate1i11g
even during the summer droughts except in ce11ai11 small areas where ii has not fully established yet and/or where the \L'aler in the soil tend,; to evaporate

fasle1; .for example, due to higher elevalio11).
 >

 > On at /east one occasion, the smpecl poked al and damaged the political yard signs 011 my property.
 >

 > I \\'as hoping that )'0111' interview wilh the smpecl \1'011/d sen'e to deter and slop this violent/abusive criminal behavim; but 1111fm11111ately, !he suspect has
 not shown any indication of change, and to the contrmy, might only have been emboldened.
 >
 > J .\'(ill do hm>e all of the previously-mentioned evidence, and new evidence <?f the above incidents - with the most recent incident being at approximately

 202/M/6-16 08:00.

 >

    > And so, I wanted lo cm1fim1 the possible charges associated with such criminal co11d11cl:
    > (*) felony ten-orislic threals (i11cl11di11g death threats)

    > (*) j'efmo• obsrruetion ofjustice (ta111peri11gldisabli11glda111agi11g qf

    > cameras; threats for repm1ing of climes)

    > (*) j'elony i11timida1io11 of witness and retalialion against wil/1£~1-s
    > (*) felony l'a1tdalis111 and criminal mischief (more than $150() in

    > damages

    > - for damage lo grass and security cameras)

    >
    > Again, I do have e1•e1J' reason to believe and Iha! the evidence I have does clearly show !hat lhese crimes are based 011 raciallxe11ophobic hatred and

    homophobic haired, and as such. should be classijJed a.1· hate l'l'imes.
    >

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> Also, as afmmer studellf al the U11ive1:1·ity qf Texas at Austin, 1 was

> registered as a student ll'ith disabilities, having a cognitive

> disahili(JI

> - which the smpect is j/11/y aware<?/; but despite kno\\'ledge of this, ma/icio11sly chooses to e.,7Jloil.

>

>Asa minor side-note to the above, the suspect also continues to lightfiremJrks eve,y year (multiple times per yea,j - a well-k11own violation of HOA
111/es - an act that remains ve1y dangerous due to the close pmximity of ho11seslst111ct11res/trees/bushes/etc. and due to the great public 1111isa11ce that such

loudflrewm*s cause (rnpecially during the middle of the night), and not to forget, the resulting air pollution/debris.

>
>
>

>

> (2)

> In an issue that is slightly 1mrela1ed lo the above - the pmpe1ty owner qf "789 King/isher Lane" - Rebecca Sue Robe1tso11 - has /IY!.1passed on my
properly al appmximately [2020-06-04 17:49] - 1 do hm'e video e1 ide11ce ,if this as \\'ell.
                                                                           1




>

> Since this individual al.\'O threatened me hack in 2010/2011 at my

> do01:\·tep, there was a c1imi11al-tre.1pass-1m111illg issued to this
> individual 011 August 201 I by the Williamson County Sher{fj's

 > Depmtment

 > - a waming that she refused to sign, hut Iha! the WCSD Deputy assured me that it is slill valid - in.fact, !here were 2 tre.11mss warnings is.\'1/ed lo this
individual 011 that same day (one from another neighboring prope11y owner as well).
 >
 > This individual has 1Y!peatedly harassed me over the course of the 11 years that 1 ho11e lived here - in some case.1~ kicking and throwing tantrums against

 my prope11y and also, refening to me mt some occosiom; using racial/xe11ophobiclhomophobic slun,~ and al\'O committing sla11derldefamalio11/libel againsl

 me in multiple public settings.
 >

 > She also lem,es her large dog 1111leashed 011 a daily ba.1·is - !he dog is 11e11er 011 leash (whid1 i.~ also a violation of HOA 111le.1) and occasionally does hmk

 ve1y loudly - this dog occasio11ally does step will into 11wfro11tyard.
 >

 > So, please confi1111 that )'OIi do hal'e this crimina/-lre.,pass-waming 011file, so that \l'e can begin processing charges against this individual as \\'ell.

 >

 >

 >

    > (3)

    > As a relatively minor side-note to the above, 1 should also point out that neilher of these individuals are practicing social distancing, and are 11e11 er

    wearing face masks in encmmtering me while l'm at my prope1ty.
    >

    > I am the only one wearing a face mask, and they also ridicule/shame me for doing so - they even s11eezelco11gh around me willtout wearing a mask,
 leading me lo wonder !f they are doing it ml pwpose.
    >

    > They are surely a\\'are that people are spreading the disem·e without showing symptoms of it - (in other words, cmriers not sufferers) - and that people of

 color (.md1 as myse!f) are pa,1icu/ar/y vulnerable to the lethal disease.

    >
    >

    >

    >

    >NOTE:

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>
> 1 do want lo punme pressing cliarges against these individuals, but I do need lo stress that I ll'ill need police protection~ these individuals (especially

"Joseph Pargin") have shown themselves lo he capable of violence (in.fact, /J111ta/ violence), and there are countless cases where vulnerahle victims C?l

hate crimes !hat hm1e reported crimes hm1e been retaliated against - and in some ('Oses, se11erefy injured or even murdered

>
> So, it takes significanl courage for a person like me (of my racial
> pmfile) and <?f my physical stature (I weigh about JOO pounds) to be able to repm1 these hate crimes, against the possibility of violent retaliation from

people more than twice my size, and in all likelihood, are a1111ed with lethal \\'eapons.

>

> In.fact, the suspects' teirorizing behavior towards me has i11te11fio11alfy se111ed lo i11sti/lfearltermr in me, so that I will remain quiet and allow such

i11j11slice lo continue (which I have done until this point).

>

>
>

>

>
> I will be compiling the video evidence and I should lta\!e most of it 011 an SD ca,d within t\l'o ll'eeks.fmm now (.,·ince video.files are too big to lran:'ffer

over email).

 >

> Please confim, {f!when JYm are cll'ailable for meeting me at the

> pmpe11y
 > (" 788 Kingfisher Lane") sometime during the \\'eeks <if .hme-29th/July-6th, .l'O that I can pnwide you with this evidence - I will send a follow-up email

 co1!fi1111i11g the exact date/time.

 >

 >

 >

 >

 > Thanks,

 > SidKode.
 >

 >

 >

 >

 >
    > On /0//6/20/9 8:36AM, Wayne Pas.milaigue wrote:

    >> Sir.
    »
    >> I have recei\iedyour email and it has been added to this case file (Case No. 2019-09-00561). Both cases that J'Ot1 lwdfi/ed with through the Sher![f's
    Qlfice are {Jeing worked under this case 1111111be1: I ha11e conducted an i11le1view with the suspect in this case and hal'e m1 idea qf what's going on. The

 physical el'ide11ce (digital recordings) is paramount i11 tliis case and 1 will be waiti11gforyo11r response to gof1111her in this case. /j)'Olt hm 1e any questions

 pleasefee{.fi'ee to reach out by email or pl1011e.

    »

    >> Thank You,
    »

    >> Detective ft'. Passailaigue #/3122

    >> Criminal Investigation Division

    >> Williamson County SherffFs Qfficc

    >> 508 S. Rock St. Georgetmm, TX 78626

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>> Q[fice: 512-943-5274
»
>> This message co11tai11s i1!fmmatio11 ll'hich may be co11fidential and privileged. Unless you are the addressee (or authorized to receiliefor the addre.uee),
you may not me, copy or disclose to anyone the message or any iiifom10tim1 l'm1tai11ed in the message. lf you have received the message i11 en-or, please

advise the sender by reply e-mail and delete the message.
»
>> -----Original Message-----
>> From: ****************** <******************>

>> Sent: Wednesday, October 9, 2019 8:05 AM
>> To: Wayne Passailaigue <*************@wilco.org>

>> Suhjecf.• Evidence for crimi11al mischief and threatening
>> comm1111icatio11s
»

>> EXTERNAL email: Exercise caution when opening.
>> ______________

»

>> Hello Delective Passailaigue,
»
»
 >> This is Sid Kode (properly owner of "788 Kingfisher Lane, lea11de1; TX 78641"), responding lo your voicemails about the criminal mischief and
threatening co1111111111ications that we're experiencing at 011r pmpe11yfrom /he suspect (next-door neighbor that lives at "784 Kingfisher Lane, Leander, TX

 78641").

 »
 >> 1 do slill have the footage stored on m1r security camera .\)'Stem's DVR hard-drives, but I have not yet figured out how to tran.rf"er the data 01110 an

 extemal lran:l-d111'e.
 »
 >> U1!fortwwtely, as of /ale, I have not had the time to figure this 0111, but lwpt:;{111/y I should be able to get it done sometime this 111011th.
 »
 >> Once I have this done, 1 will let you know so that yo11 can obtain that el'idencc.
 »

 »
    >> So, lo briefly summarize the sequence qf incident.\':
    »
    >> (1) 111 approximately October 2017, I received thefl1:~t threatening co1111111111icatio11ji-om the S/1.\]Ject.
    »
    >> (2) In appmximately Febmmy 2018, 1 received the second threa/e11i11g comm1111icatio11}im11 the smpecl (I still hal'e to j]nd the footage for thi.\).

    »
    >> (3) /11 approxi111ate6 1 JanuaJJ' 2019, l receil•ed lite third threatening cm111111111icalio11/rom the suspect.
    »
    >> (4) ht approximately Febma,y 2019, I recei1 ed the/011rth threatening ,·01111111micatio11}i'Ol11 the suspecl.
                                                         1




    »
    >> (5) ln approximately May 2019, I receil'ed the fifth threale11i11g co1111111111icatio11/rom the s11spect (I still have to.find the footage/or this).
    »
    >> (6) In approximate~v.hme 2019, l received /he sixth threatening l'Olllllllll1icationji-om the suspect (1 still have to find thefootagefor this).
    »
    >> (7) 011 July 3rd 2019, the suspect shol into 011e of our cameras damaging and breaking the.front glass and JR il/11111i11ators so that the IR night vision

    ,m longer mnks.
    »

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                   >> (8) On A11g11s/ 23nl 2019, the s11.1pec/ .l"lepped 011/0 011r yon/ ll'ith a lmr11111011Y!r and 1110,red 0111· /a,ulvcape 1111ich IIY! had specij,cally designed 1101 to be

                  mmred, thus damaging the p/011/s and 11eedi11g it to be repeatedly watemd (flooded) 1111/i/ most of ii 1r?cove1Y!d - ho1mver, some of the laudscape did die d11e
                   10 /he sevem .1·11111111er heatldrougl,t 011d //,e damage already done. Ou appmximalely September 20 l 7. l hadfiled for approval and 1r?ceived app,rwal fimu
                   our HOA jt,r 1/,is "1w-111ow", dro11gl,1-to/em111 /011dvcape, and I l,od installed 1/,is /a11dvcape 011 October 2017 and dilige111/y 11·a temd ii regularly 1111/i/ ii

                   look I year lo es/ah/isl,.
                   >>
                   >> (9) 011 September?? 2019, at nigh/ time, the suspect shined 1,isjlash-light dilY!ctly 011/0 one of of our cameras, 1he11 kicked cm object (IR ill11111i110t01j

                   placed 011 011r landscape along the f ence.
                   >>

                   >> (JO) On September 14th 2019. the suspect shot inlo a second camera damaging and breaking lhef,v nt glass - the JR still teclmically 11·orks, b111 the

                   sl,a11e1r?d glass makes the camera's image b/ur,y, especially at night.
                   >>

                   >>

                   >> These am the i11cide11/s Iha/ I can recollect as of rig/,/ 11011•. 1'111 sum //,ere were other i11cide111s 1/1111 /,ave escaped my 111e11101y.

                   >>

                   >>

                   >> As soon as l have accumulated all of theji,olage 01110 the portable hmrl-drive, I 1rill lel you knoll' - I still also have to find 1111,d, of ii since they are

                   stmr?d 01111111//iple dif(e,ml /111rd-drives.
                   >>

                   >>

                    >> Thanks.

                    >> Sid Kode.
                    >>




S[568
On or about the date and approximate time of {202 1-02-17 15: 15}, [JSP] and his almost-adult son, [NP], maliciously capitalize on the

unprecedented week- long winter-freeze (which took out electricity for most people in Central Texas for ve1y-long periods of time) in-order-to

engage in the felony-crime/racketeering-act of evidence-tampering and continue their felony-crime of criminal-mischief against the plaintiff. (It

should be noted that at this point in time, [NP], although still a minor, is within a year or two of reaching the age of eighteen - thus, very close

to adult age.) This act of malicious criminal-mischief against the plaintiff is considered to be a felonious act because the total accumu lated value

of destrnction/damage to the plaintiff's properly has already exceeded $2,500. Both [JSP] and [NP] knew that electricity would be out for long

periods of time in all houses (including the plaintiffs [HOUSE]) due to such unprecedented winter-freeze. Both [JSP] and [NP] mistakenly

suspected that since electricity would be out for long periods of time at the plaintiffs [HOUSE], that the plaintiffs security-camera(s) were not

powered-up to record their criminal activities. With this mistaken knowledge, [JSPJ and [NP), for a period of approximately l O minutes,

maliciously throw large chunks of hard-ice at the plaintiffs security-cameras not only to destroy/damage the cameras' recording capabilities, but

more importantly, to destroy/damage any incriminating evidence of prior crimes that they had committed against the plaintiff. Both [JSP] and

[NP] committed this evidence-tampering felony-crime/racketeering-act against the plaintiff with the knowledge that the plaintiff had already

reported some of [JSP]'s prior crimes of criminal-mischief against the plaintiff - for which [WCSDet-WP] had already claimed to have

interviewed [JSP] about. This criminal action is also considered to be felony/racketeering-act evidence-tampering because [JSP] had already

shot a projectile into one of these cameras, shattering the front-glass of the camera, and damaging/destroying the infrared/nightvision of this

camera. Both [JSP] and [NP] knew that the plaintiff had already reported this particular component of the criminal-mischief to the [WCLE].


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Thus, with this knowledge, both [JSP] and [NP] sought to exploit the widespread electric-power-outage to completely, yet ''.\·ecretfy", destroy

the evidence of prior damage to the plaintiff's private-property so that such incriminating evidence could not be used against them. Therefore,

[JSP] cannot deny the indisputable fact that both [JSP] and [NP] were deliberately trying to destroy evidence of previous crimes that [JSP] had

committed against the plaintiff in-order-to avoid criminal-liability for such crime(s) - the ve1y definition of felony/racketeering-act evidence-

tampering ([TPeC-T8-C37-§37.09], [18-USC-Pl-C73-§ 1519], [18-USC-Pl-C73-§l S 12]). Also, both [JSP) and (NP] wanted to eliminate the

possibility of these camera(s) recording future hate-crimes/civil-rights-violations/racketeering-acts/abuses that both [JSP&KAP] and [NP]

undoubtedly planned to commit against the plaintiff (as the record would continue to show). Most importantly, both [JSP] and [NP] committed

these felony-crimes/racketeering-act because they were under the mistaken impression that the cameras were not recording due to the long-

periods of power-outage. Fortunately for the plaintiff, since the plaintiff had an Uninterruptible-Power-Supply [UPS] system installed dedicated

for the security-camera system, both the system and cameras did record the entire 12-minute incident, which was only cut-short because a

neighboring resident confronted them and took out her camera-phone to record the last minutes of such crimes (see below). The incident

begins with both [JSP] and [NP] deliberately walking to the side-yard border of [784KLLTX7864 I] and [788KLLTX7864 I] - and actually

crossing the border into the plaintifrs property - in-order-to commit these crimes. Then, [NP] uses a camera-phone to photograph/record what

the plaintifrs cameras looked Like prior to their egregious acts of felony-evidence-tamperingfelony-criminal-mischief that they would soon be

engaging in - because they wanted to have both before-and-after "trophy" photographs of their felony-crimes/racketeering-acts. Then, [JSP]

makes the obscene/vulgar gesture of using both of his hands to point to his genitals directed directly towards two-or-more of the plaintiffs

security-cameras. Both [JSP] and [NP], expressing pure pleasure/joy ( q> ) , then being to pickup large chunks of hard-ice and violently throw

 such hard-ice at full-speed (like a pro-baseball-pitcher throwing baseballs) onto the plaintiffs security-cameras and sunounding

 fascia/soffit/rafter/gutter area of the [HOUSE]. As they are performing these egregious actions of felony-evidence-tamperingfelony-criminal-

 mischief against the plaintiff, [JSP] and [NP] continue to cheerfully talk with each other as they rejoice in the tlui.11 of their criminal

 actions ( q> ) . It should be noted that these felony/racketeering-act criminal actions not only damaged the plaintiff's security-cameras, but also

 damaged the [HOUSE]-fascia/soffit/rafter/gutter around which the plaintiff's security-cameras are installed, and/or the area of the [HOUSE]-

 roof ve1y-close to such security-cameras. It should also be noted that during much of this incident, [JSP] had actually crossed the property-

 boundary and was actually on the plaintiffs property [788KLLTX7864 l] while he was committing these felony-crimes/racketeering-acts

 against the plaintiff. After approximately IO minutes of violently throwing large chunks of hard-ice onto the plaintiffs security-cameras, much

 of such hard-ice also damaging that part of the [HOUSE]-fascia/soffit/rafter/gutter and/or [HOUSE]-roof, [785KL-2018-1] arrives back in her

 vehicle with her other young children family-members. It is also important to note that the last few minutes of these felony-crimes/racketeering-

 acts were also witnessed by those young children. (Normally, when crimes by adults are committed with the knowledge that the crimes are

 being witnessed by children, the sentencing for such crimes is enhanced due to this aggravating factor - as this exposure is very damaging to the

 children whose minds are not mature-enough to handle such criminally-abusive actions.) [785KL-2018-l] almost inunediately notices that both

 [JSP] and [NP] are vandalizing the plaintiffs [HOUSE]. She confronts them by yelling out to them from across the street, and as this incident

 reveals, [JSP] even brazenly engages in felonious witness-intimidation against [785KL-2018- 1] - while her young children family-members,

 [785KL-2018-CHILDREN], are also witnessing both the initial crimes and such witness-intimidation:
  •    SEOI\ITr-c»EW. REXXR>IJ«; OF (JSPJ ' S , [NP] ' S n:I.Cllr CRIIES : EVIDENCB- TllMPERil«./OUMINlllrMISCHIBF-= PLAINrIFF, lfITNl!SS-INl'DIIDM'ICII IIGAJHST ( 7851!Ir2018 - l ] (~)

  •     (2021- 02 - 11 16:24 ) M
  •    ( PIIIVME ORL LINK TO BB SUl!MITl'Dl DI DISCOVERY ]




      ~ AITER SPENDING 8 MINUTES VANDALIZING PLAINTIFF ' S [HOUSE) ,                         [JSP) TELLS [NP) THAT IT WILL ONLY TAKE A FEvl l"DRE THROvlS OF

   HARD-ICE-~

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 11 -TO BREAK/DISLODGE EITHER PLAINTIFF ' S SECURITY-CAMERAS OR THE ENTIRE                            [HOUSE]-FASCIA/SOFFIT/RAFTER/GUTTER-STRUCTURE ONTO

WIIICH- )I
 11 -SUCH SECURITY-CAMERAS WERE MOUNTED: D


[JSP)                  A~l' ha11d is so dam11 cold! We gel this, jml ane more lime- I thi11k, we got to keep going! Until that middle{???){???)!... One more shot! We gotto get 011

                       it!



 [ [JSP] BENDS DOWN TO PICK UP MORE HARD-ICE BUT IS INTERRUPTED BY [785KL-2018-1] . D
 11 [785KL-2018-1] - vlITNESSING [JSP] ' S, [NP ] ' S VANDALISM FOR APPROXIMATELY 30 Sl!:CONDS OR MORE - YELLS OUT 'J'O [JSP) , [NP) : )I



[785KL- 2018-1J        HEY. WHY ARE YOU GUYS THROWING STUFF AT HIS HOUSE?!


 11 [JSP) , \·/HO WAS BENDING OVER TO PICKUP AN01'HER LARGE CHUNK OF HARD-ICE , IS STARTLED AND LOOKS UP AT [785KL-2018-1] : )I



 [ JSP]                WHAT?! BECAUSE I DON'T LIKE HIS CAMERA ON MY )'ARD!




 [785KL- 2018- l]      BUT, THAT{???]!


  11 [JSP) AGAIN SHOWS HIS BRAZEN DISREGARD FOR SUCH l'lITNESS AND THE PLAINTIFF ' S RIGHTS, JOYFULLY SHOUTING : )I



 [JSP]                  I CAN DO WHATEVER I WANNA DO!


  11 [JSP] TRIES TO SHO'tl THAT HE IS NOT FAZED EVEN-ONE-BIT BY OTHERS WITNESSING IIIS CRIME . j}
  11 HOWEVER,   [JSP] DOES FUMBLE ICl!:-CHUNK IN HIS HAND, WHICH PLA1NTIIT ASSl!:RTS IS SHELL-SHOCK . AS AN UNQUESTIONED !".OB-BOSS- )I
  11 -[JSP] HAD BEEN COMMITTING CRIMES AGAINST PLAINTIFF FOR SO LONG THAT HE DID NOT EXPECT TO BE CHALLENGED BY OTHERS : )I



 [785KL-2018 - 1J       IVELL NO. BECAUSE... OK, WELL YOU KNOW WHAT I CAN DO?!




 (JSPJ                  YOU DO IVHATEVER )'OU WANNA DO! ... YOU DO WHATEVER YOU G01TA DO!


  [[ [785KL-2018-1] PULLS OUT HER CAMERA- PHONE AND STARTS RECORDING [JSP] : D


 [785KL- 2018- l]       {??~/


  11 IJSP) PICKS UP ANOTHER CHUCK OF HARD-ICE, EMBARRASSED 'fHAT HE HAD FUMBLED THE PREVIOUS ONE . )I

  11 REALIZING THAT THIS SITUA1'ION IS NOT LOOKING GOOD FOR HIM, [JSP] TRIES TO JUSTIFY HIS CRIMINAL ACTIONS- D

  11 -ENGAGING IN E'URTHER E'ELONIOUS ACT(S) OE' WITNESS-INTIMIDATION AGAINST [785KL-20l8-1] : )I



  [ JSP)                HEY, ! 'VE LIVED NEXT TO Tf-JIS GUY FOR /0 YEA/IS! OK?!


  ~ [785KL-2018-1] , WITH PHOt\JE RECORDING, DARES [JSP] TO CONTINUE HIS CRIMINAL ACTION SO THAT SHE COULD RECORD IT : Y



  [785KL- 2 018- l J     Do ii!


   11 [JSP] CONTINUES TO ENGAGE IN FURTHER FELONIOUS ACT(S) OF ,•HTNESS-INTIMIDATION AGAINST [785KL-2018-lj : Y


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[ JSP]                 TRUST ME, YOU DON'T HAVE TO LIVE BY HIM! HAVE YOU SEEN /-LIS BACKYAIW?!


 1£ [785KL-2018-l] 1 WITH PHOt'JE RECORDING, AGAIN TRJES TO GET [JSP] TO CON1'INUE HIS CRIMINAL ACTION SO TIIA'l' SHE COULD RECORD IT :




[785KL- 2018- 1]        DO IT AGAIN!




[JSPJ                   OK!


 [1 ONE OF [785KL-2018-1 ] ' S CHILDREN FAMILY MEMBERS TURNS AROUND TO LOOK AT [ JSP] .                             iJ
 [1 YET [ JSP] IS COt.'1PLETELY UNFAZED THAT OTHER PEOPLES ' CHI LDREN ARE WITNESSING BIS CRIMES AGAINST PLAINTIFF . iJ

 KIN AN UNBELIEVABLE ACTION OF BRAZENNESS, [JSP] SOLIDIFIES HIS GRIP OF THE LARGE-CHUNK OF HARD-ICE . i)
 { [JSP] THEN THRO\vS THE LARGE-CHUNK OF HARD- ICE LIKE A PRO- PITCHER \·/OULD TIIRO'rl "fl BASEBALL VIOLENTLY ONTO SECURITY-cJ\MERA .                                         il
 g [JSP] THEN CELEBRA'l'ES THE FACT TIIAT THE HARD-ICE HIT THE SECURITY- CllMERA RIGHT-ON-TARGET BY DOING A LITTLE DANCE . iJ
 [1 [JSP] EVEN BRAZENLY TAUNTS [785KL-2018- l l, MAKING SURE THAT SHE PROPERLY RECORDED SUCH CRIME, AS IF HER RECORDING OF- :                                             iJ
 [1 - [JSP) ' S CRIMES IS FUTILE , DUE TO [JSP] ' S UNQUESTI ONED STATUS AS A MOB- BOSS OF THE NEIGHBORHOOD :                               iJ


 [JSP]                  THAT ONE GOOD?! DID YOU GET ME?!


     1£ (785KL-2018-1 ], \'JITH PHONE RECORDING, 'l'RIES TO GET [JSP] TO IDENTI FY IIIMSELF : i)



 [785KL-2018-1)          IV/-IAT JS YOUR NAME?!




 [JSP)                   Of-I MY NAME'S JOEY PARGIN!...




 [785KL- 2018-1)         {???]


     [1 BOTH [JSP] AND [ NP] , RE"/\LIZING THAT THEY ARE IN SERIOUS LEGAL TROUBLE, DECIDE TO CALL IT QUITS .                               iJ
     [1 (JSP) STI LL MAKES AN ASTONISHING FIN"/\L STATEMENT AS THEY 00TH FLEE SCENE BY EN'l'ERING BACK INTO (781JKLLTX78641] HOUSE : iJ



 [JSP)                   YEAH, I'M SURE THEY HAVE MUCH MORE SERIOUS PROBLEMS THAN ME THROWING SNOWBALLS {AT THEIR HOUSE]!




i569
[78SKL-2018-1 ], despite witnessing only the last 2 minutes of this incident, within an hour of this incident, submits the video that she had

recorded in an email to the plaintiff:
        "lllUSE VNIW.ISM' •     ~ HO! [7851ar2018- 1J TO PIAINl'IFI' <XH:ERmll [JSPJ , (NP) n:LGlff ClUMES OF BVIDEl«:B-TJIMl'l!RING/W- IH1'lMIDM'Ial/CIUMINlU,-ffISO!ll:F(~)
 •     (2021- 02-17 16:00} M     [ PR1VME INF<RIM'IW I N ~ <MlTJ'ED/REDIICTED TO l'KIDC.'T 'l"IIE PRIVllCY OF S1HZR [7851a,-2018- 1) J


 [785KL-2018-l )




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                   I-Ii Sid I ca11gl,1 your neigl,bor throwing ice al your camera so I confi-onted 1,im and got him 011 video telling me !,is name and ll'hat 1101.
                   I asked him 11'/,at 1,e ,ms doing and l,e told me 1rl,atever 1,e 11·tmts and let me video l,im doing it.


                   If you 11'011/d like lo call the police I'm more 1he11 happy to l,e/p, cause tl,at 's 1101 righl.




                   785 Kingfisher lane


                    **** ••••••••••••



1570
The plaintiff does not consider these three felony crimes of evidence-tampering/witness-intimidation/criminal-mischief committed by [JSP] and

[NP] to be the most shocking aspect of this incident. Instead, the plaintiff considers [JSP]'s statements during this incident to a third-party

witness to be the most-shocking and most-revealing aspects of this incident. Of these shocking statements, the least shocking statement is, "/

CAN DO WHATEVER I WANNA DO!" This statement, which is very-shocking to an uninformed third-party observer, is not very shocking

to the plaintiff. The plaintiff had already suffered many dozens of hate-crimes/civil-rights-violations/racketeering-acts/abuses motivated by

extreme-racial-animus and homophobic-animus from [JSP&KAP] for 10 years, and yet, none of those hate-crirnes/civil-rights-

violations/racketeering-acts/abuses had even been charged, let alone prosecuted, by [WCLE] despite of the plaintiff reporting such hate-

crimes/civil-rights-violations/racketeering-acts/abuses to [WCLE], thanks to the obstructive-and-retaliatory, blackmailing-and-defrauding

racketeering-enterprise documented in tl1is lawsuit involving [WCLE], and both [JSP&KAP]'s,[RSR]'s statuses as the unofficial mob-bosses of

the ne ighborhood. So, the fact that [JSP] and [NP] feel an absolute sense of impunity for [JSP&KAP]'s crimes against the plaintiff does not

shock the plaintiff, as both [JSP&KAP], their son [NP], and their co-conspirator [RSR], have been deliberately protected from prosecution by

[WCLE] for over 10 years, by virtue of this racketeering-enterprise. As another vei·y-revealing statement, [JSP) brazenly admits that

[JSP&KAP],[RSR] and [WCLE] had been predatorily targeting the plaintiff purely based upon the nonaesthetic and cosmetic appearance of

the plaintiffs private [BACKYARD], and thus, not based upon any actual health-and-safety violation causing any actual harm to such

neighbors, angrily shouting to [785KL-20 I 8-1 ], "... HA VE YOU SEEN HIS BACKYARD?I". However, as revealing as those statements

may be, the plaintiff instead considers the most shocking statement and the most revealing statement to be [JSP]'s final statement during this

incident, " YEAH, I 'M SURE THEY HAVE MUCH MORE SERIOUS PROBLEMS THAN ME THROWING SNOWBALLS [AT TIIEIR

HOUSE/ ! ". It should be noted that both [JSP&KAP] and [RSR] had recently initiated a remarkable and purely-retaliatory frame-job against

the plaintiff with the help of the [WCLE], pmticularly [WCCD-HarreU], framing the plaintiff for the Class-C-Misdemeanor-Public-Nuisance

crime that the plaintiff clearly did not commit using one-or-more piece(s) of fabricated/planted evidence (another violation of

felony/racketeering-act [TPeC-T8-C36-§36.06],[ l8-USC-PI-C73-§l513]) along with fraudulent/misleading testimony (possibly including in

sworn-statements), and in the process, egregiously violating the plaintifrs fourth-amendment and fifth-amendment rights by executing an

unconstitutional-and-unlawful search/seizure of the plaintiffs private-property, also in violation of the plaintiffs due-process right-to-privacy. At

this moment in tin1e, this Class-C-Misdemeanor-Public-Nuisance charge had not yet been served to the plaintiff, but [JSP&KAP) were

obviously fuUy aware of such charge, and that such charge would soon be served by [WCLE] onto the plaintiff. So, by making this statement,

[JSP] reveals his brazen thought-process to the plaintiff - that not only would [JSP&KAP] and [NP] be fully protected/inununized by [WCLE],
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but furthermore, that it is only the plaintiff that would have to suffer the legal consequences of both the predatmy frame-job and the

unconstitutional-and-unlawful search/seizure that [JSP&KAP],[RSR][WCLE] had predatorily orchestrated against the plaintiff.




CJI571
On or about the date and approximate time of {2021-02-19 13:16), [RSR]'s unleashed large-dog, [L], barks loudly and uncontrollably on or

near [RSR]'s frontyard - a recurring noise-nuisance-violation that the plaintiff had noticed on countless occasions from [RSR]'s property,

[789KLLTX7864 l ].



CJIS 7 2
In their previous felonious actions against the plaintiff, neither [JSP] nor [NP] could verify that the p11intiffs security-cameras had been

damaged/destroyed since sch security-cameras' infrared/nightvision light were not on, due to the fact that these crimes were committed in

broad-daylight (and such infrarcd/nightvision light only turns on at dark). Thus, on or about the nighttime of {2021-02-19 21:30}, [JSP]

approaches these security-cameras to inspect and verify that they had been damaged/destroyed as they had intended, only to realize that one-

or-more of such security-camera(s) infrared/nightvision light is lit-up indicating that they seem to continue functioning. [JSP], who does not

 seem to be fazed even-one-bit from his felony-crimes being witnessed and recorded by neighboring residents, raises his hands laterally as a

 form of threatening intimidation towards one-or-more of the plaintiffs security-camcra(s). [JSP] looks around to see if anyone is watching,

 then bends down in-order-to pick-up another chunk of hard-ice (since the ice on the yard still had not melted at that point in time), and

 violently hurls such hard-ice towards one of the plaintiffs other security-camera(s), with such hard-ice hitting a side of the plaintiffs [HOUSE].

 It is important to reiterate that none of [JSP&KAP]'s nor [RSR]'s numerous, substantial, numerous and repeated criminal actions against the

 plaintiff would have been possible, if not for [WCLE]'s decade-long obsttuctive-and-retaliatory, blackmailing-and-defrauding racketeering-

 enterprise agah1st the plaintiff, that has very-effectively served to protect/in1munize [JSP&KAP],[RSR] (and all of the involved

 employees/agencies of [WCLE]) from the substantial crimes that they aggregately committed against the plaintiff - over the period of

 approximately a decade (at this point h1 tune).



 CJ1573
 On or about the late-nightthne of {2021-02-19 23:21}, the plahitiffnotices on the plaintiffs security-camera-system-monitor, what appeared to

 be a police-ctuiser-vehicle of defendant [WCLE] drive up the street, with the bright spotlight of such cruiser deliberately and/or maliciously

 shining into the frontal regions of the plaintiffs (unlit) property - as if to conduct illegal surveillance of the plah1tiffs prope11y/[HOUSE], and/or

 to inthnidate the plaintiff - an unlawful practice of surveillance and/or inthnidation that plaintiff had noticed on multiple occasions dating back to

 as early as the beginning of the year {2020} (see above).



  CJIS 7 4
 On or about the date of {2021-02-24}, [WCLE] and/or a Justice-Court of defendant [WC], [WC] Precinct 2 Justice-of-the-Peace Court

  [WCP2JotPC], in which [WCLE] filed charge against the plaintiff mailed a document form (see attached below) via the [USPS] to the plah1tiff

  at [788KLLTX7864 I] establishing that [WCLE] - hi particu11r, the [WCCO], [WCCHD] and the [WCSO] - had, h1deed, charged the plaintiff

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for Class-C-Misdemeanor-Public-Nuisance. The form indicated that the plaintiff should make a choice between "Not Guilty", ' Guilty" and 'Wo

Contest". The form included the threat to the plau1tiff, that if the plaintiff failed to respond with one of those three choices by the stated 28-day

deadline (from the date of mailing of such document form), that the planltiffwould face additional criminal-charge(s) and/or suffer other

penalties (such as, but not limited to, the suspension of the plaintiffs drivers-license) and/or a warrant for the plaintiffs arrest. The form
                                                                                                                             11
included a demand that the plaintiff pay a fine amount of approximately $13 l, if the plaintiff made the choice of 11Guilty or "No Contest"

(''Nola Contendere'1, [n this form, there is also a very ominous warning that it is a felony-crime to "h?fluence or coerce a witness to test(fj, or

to elude legal process 11 along with the additional ominous warning that it is a felony-crime to "harm or threaten to harm a witness in

retaliation.for or on account qf'the serve of the person as a witness or to prevent or delay the person's service as a witness to a crime." It

stating these two ominous warnings, [WCLE] was fraudulently insinuating that the plaintiff is likely to engage in such felony-crimes, when in

fact, it was the complaining witnesses of this particular fraudulent Class-C-Misdemeanor-Public-NuL-,ance charge against the plaintiff that had
repeatedly engaged in those vety same felony-crimes (and racketeering-acts) agau1st the plaintiff (but not only against the plaintiff) - dating all

the way back to the month of {2011-08} (see above), and as the plaintiff had also reported to [WCLE] in prior phonecalls/emails during the

months of (2019-07}, (2019-09}, (2019-10}, (2020-06}, (2021-01} (see above). It is indisputable, that by mailing, or by causing to be mailed,

via the [USPS], this document form to defraud the plaintiff, [WCLE] committed an egregious violation of the plaintiffs due-process rights. At

no point in time, was the planltiff provided with any evidence from [WCLEJ - let alone all exculpatory/mitigating/impeachment information

(pursuant to ((BRADY V. MARYLAND» and its progeny) - of the alleged crime. Therefore, [WCLE] was demanding that the plaintiff make a

plea without showing any inculpatory evidence or exculpatory evidence of the alleged crime - an violative tactic that is commonly refencd to as

"trial by ambush". In fact, [WCLE] deliberately declined to provide any evidence to the plaintiff precisely because such evidence would be

clear u1dication of both a retaliat01y frame-job and an unconstitutional-and-unlawful search/seizure that was committed by [JSP&KAP],[RSR],

[WCLE] against the plaintiff, and all of these racketeer co-defendants - [JSP&KAP],[RSR],[WCLE] - wanted to avoid all liability/fallout from

these civil-rights-violations/racketeeru1g-acts against the plaintiff. At the ve1y least, [WCLE] did not provide any evidence to the plaintiff

because they wanted to avoid naming any complaining witnesses along with the accusation(s) of such complaining witnesses, in direct violation

of the plaintiffs sixth-amendment rights - both the plaintiffs right to notice-of-accusation, and the plaintiffs right to know/confront the

witnesses. At this point in time, [WCLE] already knew that the three prin1a1y complaining witnesses - [JSP&KAP],[RSR] - had already

aggregately committed many dozen count of hate-crimes/civil-rights-violations/racketeering-acts/abuses (including felonious-crimes) against the

plaintiff prior to this incident. So, providing the plair1tiffwith any evidence that reveals these witnesses would only be a huge-liability-for and

 very-damaging-to [WCLE], and in particular, ve1y revealing of such obstructive-and-retaliat01y, blackmailing-and-defrauding racketeering-

 enterprise against the plair1tiff. This document form also did not specify under what specific text or line-item(s) of the vast Public-Nuisance law

 that the planlliff was charged under. Due to this complete lack of infonnation that provided no details of the criminal-complairll filed agair1St the

 plair1tiff, the planltifflooked up the online (publicly-available) Court records of the [WCP2JotPC], and found out that the plairlliffhad been

 charged under "Chapter 343" of the [THaSC] - despite of the fact that, during the prior u1cident of {2020-04-28}, the plau1tiff was provided a

 Warning-Citation that did not even state "Chapter 343" - let alone, the specific text or line-item(s) in "Chapter 343"that the plaintiff was

 alleged to have violated. It is indisputable, that by mailing, or by causu1g to be mailed, via the [USPS], this document form to defraud the

 plaintiff, defendant [WC] and its law-enforcement agencies ([WCLE]), as a municipal corporation (person), and also in particular, the four co-

 conspirator racketeers 01 such racketeerir1g-enterprise against the plaintiff - [KAP], [RSR], [JSP] and [WCCD-Harrell] - not only committed

 the racketeering-acts of "mail-fraud" and "blackmail/extortion" against the plaintiff but also the felony/racketeering-act of

 obstruction/retaliation against the plaintiff - as the elapsed events at this point in time have already revealed but as the upcoming events in

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{2021 } would continue-to-confirm. Despite initiating this retaliatory frame-job on the plaintiff in conspiracy with [RSR] and [WCLE]

(particularly, [WCCD-Harrell]), throughout much of the rest of the year {2021} and most of the following year of {2022} , [JSP &KAP], and

in some cases, their son [NP], would continue to engage in more retaliatory crimes of

intimidation/ interference/blackmaiVharassment/stalking/criminal-mischief against the plaintiff. In multiple docmnented incidents during the year

{2021} , [ JSP &KAP} would aL<;o continue to retaliatorily engage in the same never-ending campaign of l"elentless\y-racist propaganda against

the plaintiff, in-order-to engender more racial-aninms ab>ai11st the plai11tiff i11 the White neighborhood's other residents, especially now that they

have proof to show such residents that they got [WCLE] to (fraudulently) charge the plail1tiff with Class-C-Misdemeanor-Public-Nuisance.

[JSP&KAP] - acting in conspiracy with [RSR] and [WCLE] (particularly, [WCCD-Harrell]) - continued to engage in this pattern of malicious

and crilninal activity against the plaintiff during the years {2021 }/ {2022}, in substantial part, i11-order-to deter the plail1tiff from continuing-to-

report and/or provide-evidence-for the large count of hate-crimes/civil-rights-violations/racketeering-acts/abuses that they had already

aggregately committed against the plaintiff (in conspiracy with [RSR] and [WCLE]) - during the previous decade. However, this part of

[JSP&KAP]'s plan was truly unnecessary and actually overkill, because as soon as [WCLE], acting i11 conspiracy with [JSP&KAP],[RSR] ,

charged the plaintiff with Class-C-Misdemeanor-Public-Nuisance and followed-through on such purely-retaliatory charge by mailing the

aforedescribed charge/plea document to the plaintiff, [WCLE] had not only ii-reversibly locked themselves i11to an adversarial role with the

plaintiff, but [WC LE] had also provided the plaillliff with a mountail1 of evidence - almost a decade's worth (and counting) ofextremely-

incriminati11g evidence - of racial-oppression and pattern-of-racketeering-activity. At numerous points in tune during the previous decade, the

plai11tiff provided [WCLE] with ample opportunity to make amends, only to repeatedly realize that [WCLE] was silnply hellbent on acti11g

predatorily, retaliatorily - in conspiracy with [JSP&KAP],[RSR] (and initially [JIB]) - against the plaintiff, in-order-to deprive the plaintiff of

the plaintiffs rights and defraud the plaintiff, an irnmigrant-of-color/il1digenous-person, out of the private-property-ownership within such

White neighborhood (by such brazen attempts to evict the plaintiff out of such White neighborhood). In other words, at this point il1 time,

[WCLE] had made this lawsuit truly unavoidable - with the legal threshold for "exha11stio11" far exceeded - and any further actions of retaliation

against the plaintiff - as the contilrnation of the purely-retaliatory Class-C-Misdemeanor-Public-Nuisance prosecution against the plaintiff in the

year {2021} would continue-to-demonstrate - simply deepened already irreparable, core wounds, that could only be remedied by the plai11tift's

[FHA], [KKKA] and [RlaCOA] lawsuit against all of the defendants.
  ~   MIUL-liWD ElOIIBIT IC : CIASS-C-MISIJlil4IW«lR-POBLIC-NOISANOl OWQ MllUNST P'LIWll'IFF, Pll'A FCR!•

  ~   (lt(XX)J, (llCCHI)), (llCSO) , [JSP£DP) , (RSR] •   (2021- 02-24} (llM'B OF MIULlNG VIA [USPS!)




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1lonorable Edna Staudt                                                                                                                                     350 Discovery Olvd ., Suite 204
Justice of the Peace                                                                                                                                            Cedar Park, Texas 786 13
Williamson County PrecincLTwo                                                                                                                          512-260-42 10 Fax 512-260-4215




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                                                                                 DOCKET# 2CR-20-01434
            THE STATE OF TEXAS
             vs
             Siddharth Choudhary Kotle
             788 Kingfisher Lane
             Leander TX 78641
You are hereby NOTIFIED TO APPEAR before the Justice Court, Pct. 2, of Williamson Coun ty, Texas on or before 3:00 P.M. on
MARCH 23, 2021 to !hen and !here answer to the State of Texas for an Offense against the laws of the Slate, to wil:

             Offense:                      PUBLIC NUISANCE
             Offense Date:                 10/ 12/2020
             Fine:                        $ 13 1.00

      FAILURE TO APPEAR MAY RESULT IN ADDITIONAL CHARGES, DRIVER LICENSE SUSPENSION, AND/OR
                                  A WARRANT FOR YOUR ARREST.
You may dispose of these charges by appearing in person or by counsel al the address above, or you may dispose of these charges by
forwarding the following to the address above:

PLEA
              I enter a plea of NOT GUILTY, and request a trial.

              I enter a plea of GU ILTY, and enclose $13 1.00. No Personal or Business checks accepted. Online pay al
              www.wilco.org/payJ P2.

              I enter a plea of GULLTY, and request a Standard Payment Plan of 30 days to pay the fine of $13 1.00. (Please fi ll out, sign,
              and retum the application enclosed.)

              l do not admit Guilt; however, I do not wish to contc~l the charge. Therefore, l enter a plea ofNOLO CONTEND ERE
              (No Contest) and enclose $ 131.00. No Personal or Business Checks Acccplcd. Online pay at www.wilco.org/payJP2.

              I enter a plea of NOLO CONTEND ERE and request a Standard Payment Plan or 30 days lo pay the fin e or $ 131 .00. (Please
              fi ll out, sign, and return !he application enclosed.)

       I F YOU ARE UNABLE TO PAY TI IE AMOUNT OWE[) IN FULL, l'LEASP. CONTACT T HE COURT FOR AI .TERNATI VF. OPTIONS AVA II .ARJ.F..


I FURT HER UNDERSTAND that all future con espondenee from the court will be sent to the address provided below my signature.


Signature                                                                                                                        Date

Address                                                                                                                          City, Slate                                    Zip

 Phone Number

 NOTICE l'I m s 1JANT TO ARTICLE 23.02 CODE OF CRIMINAi. l' ROC!iDUlt E. Ii is an offense rnr a pcrs1111 10 i111c111ic111ally influ ence or coerce a wiincss 10 1cs1iry or 10 clurlc legal
 process. It is i1lso \t felony offen~c 10 harm or threaten to hann a witness or prospcclive witncs~ in re1aliation for {u· on c1ci.:01111t uf the serve ol' lh\! p~rson a:t a witne~:t tH lO p1~velll or delay tli C'
 pcr~on 's service as n wuncss to a crime.
 Es una ofcnsn quc unnl persona mnc de influir intcnsionnlmcnlu o cwrcor a un 1cs1igo quc de folso tcstimonio o quc huyn cl proccso legal. Tambicn es un crimen dnnnr a un rcsligo o o un
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SJ:575
On or about the date and approximate time of {2021-02-27 12:03}, racketeer co-defendant [RSRJ and her now-adult son, [BR], walk towards

[KAP]'s property, [784KLLTX7864 l ], and they speak with racketeer co-defendant [KAP] near the sidewalk in front of [784KLLTX7864 l J -

one of several meetings in which racketeer co-defendants [KAPJ,[RSRJ maliciously-predatorily-and-seeretly conspire/collude/strategize against

the plaintiff - in particular, in-order-to fully-plan the already-h1itiated, purely-retaliatory Class-C-Misdemeanor-Public-Nuisance charge against

the plah1tiff. Durh1g such incident, [RSR]'s unleashed large-dog, [L], is roaming freely on or near the street and/or sidewalk h1 front of the

plaintiffs prope1iy.



SJ:576
On or about the nightthne of {2021-02-27 19:00}, the plaintiff notices on the plaintiffs security-camera-system-monitor, that [JSP] approaches

the side-yard area, near the fence-gate of [784KLLTX78641 ], and spends approxhnately ten-or-more second(s) staring at the plaintiffs

security-camera(s). [JSPJ walks away from the side-yard area, and a few moments later, [JSP] walks back into the same side-yard area with

two bright lights. [JSPJ raises his hand to angrily issue the obscene/vulgar gesture of his middlc-fmger to one-or-more of the plah1tiffs security-

camera(s). Then, [JSPJ uses such two bright lights - one handheld spot-light and another cap-mounted light - to shine such lights directly onto

two-or-more of the plaintiffs security-cameras at the same time - even rotating the direction of such lights and/or moving such lights onto-and-

off-of such security-camera(s), so as ifto overload the infrared/nightvision mechanisms of the plaintiff's security-camera-system- a malicious

practice that [JSP) has engaged in, on numerous occasions, dath1g all the way back to the year {2015). On one-or-more occasion(s) [JSPJ

even laughs-out-loud/taunts into such security-camera(s). After more than a minute of engaging in this malicious activity, [JSP] then resumes

other work around the fence-gate area.



SJ:577
On or about the afternoon/evening hours of the date of {2021-03-03}, there are many interactions between [RSR], [KAP], [JSP] and [NP], as

[KAPJ,[JSPJ and/or [NP] assist h1 [RSR]'s movh1g-items-out of her then-house located at [789KLLTX7864 l], in preparation for [RSR]'s

upcoming relocation out of the neighborhood, with these individuals walking back-and-fmth, multiple times between their respective-properties,

 [789KLLTX7864l] and [784KLLTX78641]. During a significant fraction of this time, [RSRJ's large unleashed large-dog, [L], is also roamh1g

 freely and wildly, even crossing the street onto the sidewalk directly in front of the plaintiffs property. There are also similar interactions

 between these individuals, named as co-consph·ators in this lawsuit, in the subsequent days of the month of {2021-03-03} - what appeared to

 be, [RSR]'s fnial month ofproperty-owne1~hip and residence at [789KLLTX78641].



 S[578
 On or about a morning of the date of {2021-03-07), [JSP&KAP] converse with certain White-American guests at the front-yard of their

 property [784KLLTX7864 l ]. During at least some part of this conversation, [JSP] leads one of his guests (a White male, approximately l 90

 pounds, approximately 6-feet-tall) towards the border area of the two properties, points such guest at the plaintiffs newly-installed corner

 security-cameras and expresses his outrage at the plaintiff's installation of such additional security-camera(s). (Later on in the same year, (JSP]

 would end up entering into the plah1tiffs prope11y to break one-or-more of such security-camera(s) that [JSPJ points his guest at- see below.)

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[JSP] then mocks the fact that they - meaning [JSP&KAP],[RSR] - coerced the [HOA] to sue the plaintiff in prior years ( {2017}, {2018} ),

coercing the plaintiff, through no choice of the plaintiirs own, to install a 11110-mow" grass and that all of such burdensome work and litigation

cost the plaintiffs finnily in excess of $17,000 (when in actuality, all of the expenses to the plaintiff actually totaled to well-over $20,000). This

incident reveals that even during a casual and friendly get-together with known acquaintance(s), [JSP] manages to make the plaintiff a target of

his vitriol, even if the such acquaintance(s) never brought up the issue of the plaintiff to begin with.




<_[5 7 9
On or about the date and approximate time of {2021-03-08 04:36} (early-morning), [JSP] intentionally beeps the loud trnek-lock on his

pickup-tmck 11-or-more times consecutively (for no justifiable reason), and then blares the loud horn on his pickup-buck one-or-more times

(for no justifiable reason) - at a time during which most residents (including the plaintiff) would, more-likely-than-not, be sleeping.




<_[5 8 0
On or about the date and approximate time of {2021-03-14 01:10} (early-morning), [JSP] intentionally beeps the loud truek-lock on his

pickup-truck 6-or-more times consecutively (for no justifrable reason) - at a time during which most residents (including tl1e plaintiff) would,

more-likely-than-not, be sleeping.



 <_[581
On or about the date and approximate time of {2021-03-21 01:17} (early-morning), [JSP] uses his pickup-truck to illegally park his boat onto

the curbside of the street. In the process, [NP] and [JSP] yell at each other to coordinate the illegal parking of such boat. [JSP] and/or [NP]

then make very-loud hammering noises in-order-to detach such boat from the pickup-truck - with all of these very-loud noises occurring at a

time during which most residents (including the plaintiff) would, more-likely-than-not, be sleeping.



 <_[582
 During the several points in the month of {2021-03} [RSR] hires hauling-contractor(s) (and/or contacts personal friends who happen to be

 hauling-contraetor(s)) in-order-to haul item(s) out of her house/garage, in preparation for [RSR]'s upcoming relocation out of the neighborhood.

 The plaintiff would notice that these hauling-contractor(s) would, more-often-than-not, drive their vehicle(s) into the plaintiffs [DRIVEWAY]

 while they were in the process of parking on the street or exiting the neighborhood. By sharp contrast, during the end of the month of {2017-

 10}, when a grass-sod delivery-driver delivering 11110-mow" grass-sod to the plaintiffs property, momentarily paused his semi-truck on the

 (public) road near the plaintiffs property (without even entering into any aspect of[RSR]'s property), [RSR] angrily yells at such delive1y-

 driver to move his vehicle away from her property - once again, showing her, mafia-godfather-like attitude to all of those that are even merely

 assisting the plaintiff (see previous incident above).



 <J[5 8 3
 During the month of {2021-03}, he plaintiff hires and retains [ATTORNEY-TK] to represent the plaintiff in such Class-C-Misdemeanor-

 Public-Nuisance case. On or about the approximate date of {2021-03-22}, [ATTORNEY-TK] submits a letter ofrepresentation, affo-ming her
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law-film's representation of the plaintiff, to the aforementioned Justice-Comt, [WCP2JotPC], of defendant [WC]. On or about the approximate

date of {2021-03-22), [ATTORNEY-TK), acting as the plaintiffs attorney, submits a plea of "Not Guilty" and specifies a jmy-trial-demand,

on behalf of the plaintiff.



i584
On or about the date and approximate time of {2021-04-17 21:13} (nighttime), the plaintiff is perfonning some work in the plaintiffs

private/concealed [FRONTPORCH), which is not visible from the street - obstrncted from view by trees in the front/side along with a motor-

vehicle on the other side. As he walks towards the fence-gate of [784KLLTX7864 l) and back towards the border-area between the two-

properties, [JSP) stops and stares, angrily and intimidatingly, at the plaintiff for a period of ahnost half-a-minute, angrily mumbling some words

as he walks away from the plaintiff. As the plaintiff is in such private/concealed [FRONTPORCH) area continuing to perform such work,

[JSP) from deep-inside the frontyard and/or sideyard of his property, [784KLLTX78641], shines his torch-light at the plaintiff and one-or-

more of the plaintiffs security-camera(s). As he is shining such bright light, [JSP) yells or mutters some vulgar obsccnity(s) at the plaintiff

and/or one-or-more of the plaintiffs security-camera(s)- with words that also included, "CRAZY!", "PERVERT!".



i585
On or about the date and approximate time of {2021-04-20 09:00) (morning), the plaintiff is picking so-called "weed," from the plaintiffs

[FRONTYARD], noticing an ever-increasing quantity of such so-called "weeds" in the former area of no-mow-grass fully-damaged and/or

destroyed by [JSP]'s repeated, malicious acts of vandalism against the plaintiff. As the plaintiff is spending over half-an-hour performing this

task (primarily in the fully-damaged area), [JSP) reverses his pickup-truck from his driveway, and as he passes the plaintiff on the road,

maliciously blares the loud horn of such pickup-ltuck, so as if to scare/startle and intimidate/interfere-with the plaintiff.




 i586
 On or about the date and approximate time of {2021-04-23 01 :21) (late-nighttime), [JSP) arrives back to his property in his pickup-ltuck,

 blaring loud-music on such pickup-truck1 s speaker system as he has repeatedly-done on numerous other occasions, while the restrictive-

 covenants of the subdivision strictly prohibit any noise-nuisance at any time of day, but particularly during the traditional sleeping hours of

 10PM to 6AM. This pmticular type of noise-nuisance-violation complaint has been lodged by one-or-more other resident(s) of the

 neighborhood (for example, at [HOA) Board-Meetings) who believe that the [HOA) and/or [WCLE) should be taking at least some type of
                                                                                                                                  1
 enforcement-action(s) against such activity, as it may not only be a noise-nuisance-violation, but also, at least in some cases, 'age-

 inappropriate" (especially with young-children in such residential neighborhood).




 i587
 On or about the date and approximate time of {2021-04-23 20:51} (nighttime), [JSP) intentionally beeps the loud truck-lock on his pickup-

 truck 16-or-more times consecutively (for no justifiable reason) within an approximately 20 second period of time - a type ofnoisc-nuisance-

 violation at nighttime that [JSPJ has repeatedly engaged in for multiple years at this point in tune.


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c_n:5 8 8
On or about the date and approximate tune of {2021-04-24 18:30} (evenir1g), [KAP] attaches a canister filled with liquid pesticide(s) to the

garden-hose in the side-yard of [784KLLTX7864 l] near the two-properties, and uses such spray-attachment and hose to spray highly-toxic

pesticides not only around the side of their· house but also on part of the fence bordering the plaintift's property. One-or-more court(s) in this

country have mled that some of the most widely-used pesticide(s) are known cause(s) of cancer, Parkinsons-Disease, organ-failure, poisoning,

etc. The plaintiff, just like most environmentalists and almost-all indigenous-peoples, assert that such pesticides cause extreme damage not only

to human-health, but also to environmental-health. While (KAP] and her-conspirator defendants [JSP],[RSR], and [WCLE] - especially

[WCCD-Harrell] - fraudulently ir1itiated a Class-C-Misdemeanor-Public-Nuisance charge agair1st the plaintiff, fraudulently citing biological

health-and-safety violation(s), using one-or-more piece(s) of fabricated/planted evidence and multiple misleading statements - without even

reading all of the terms-and-conditions of the Texas Public-Nuisance-Law that regulates such property-maintenance - even the fraudulent

biological health-and-safety violation(s) that they fraudulently accused the plaintiff of, are trivial compared to the exponentially-larger harm

caused by the chemical health-and-safety violation(s) of[JSP&KAP] asserted by the plaintiff in this lawsuit. While the human body has at least

hundreds-of-thousands-of-years of evolutionary defense mechanisms and/or immunity (particularly, the human immune-system) substantially-

protecting both the human body from ordinary biological nuisances, the human body has little-to-no defense mechanisms and/or immunity,
from the ai1ificial, extremely-toxic, manufactured chemicals that are used in such pesticide(s). In most, if not all, cases when there exists

biological pest(s) that are a threat to the overall envir-onmental-health, there also exist predators of such pest(s) that naturally cousume and/or

kill such pest(s), thus eventually mitigating, if not eliminating the threat posed to the environment by such biological pest(s). For these reasons,

the plaintiff, like most environmentalists and indigenous-peoples, assert that any-and-all use of such pesticides is clearly a case where the so-

called ''.mlution" is exponentially-worse than the original 'j;roblem".



 '1[58 9
On or about the date and approximate time of {2021-04-26 15:00}, the plaintiff is securing a shallow enclosure in the plaintiffs side-yard

 borderir1g [JSP&KAP]'s property [784KLLTX7864 l ]. The plaintiff periodically walks inside and outside of the [HOUSE] to get

 supplies/equipment needed to complete this task. The plair1tiff notices that when the plaintiff is temporarily inside of [HOUSE], [KAP)

 approaches that area of the plaintiff's side-yard with a camera-phone in hand, and with a malicious smile on her face, holding up such camera-

 phone to record the plaintiffs side-yard area. (It is important to note that [KAP) was only notified about this enclosure by her son, [NP], who,

 moments earlier, while walking near the border of the plaintiffs property, clearly noticed such enclosure.) [KAP] then opens her fence-gate (of

 property (784KLL TX7864 l ]), and while hiding behind such fence-gate, continues to more-secretly record the plaintiffs side-yard area. The

 plaintiff walks back outside the [HOUSE] and back into the plaintift's side-yard with more supplies/equipment in hand. The plaintiff kneels

 down onto the grass, and continues to work of securing such enclosure on the plaintiffs side-yard. [KAP] suddenly re-opens her fence-gate,

 and walks out of her backyard in-order-to ambush and/or accost the plaintiff - which is at least the second time that (KAP] has accosted the

 plaintiff (the first occurrence being on-or-about the date of {2017-10-31} ). (It should be noted that [NP] is also partially behind the partially-

 opened fence-gate of [784KLLTX7864 I], not only hearing and witnessing all of [KAP]'s harassment/stalking of the plaintiff, but also, since

 [NP] is significantly larger in physical size - both height and weight - than the plaintiff, [NP] plays the role of the intirnidating enforcer/muscle

 of such racketeerir1g-enterprise.) This incident is most shocking due to its context: [KAP], on or about the date of {2020-10-12}, acting in

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conspiracy with [RSR],[JSP],[WCLE] (specifically [WCCD-Harrell]), had masterfully used one-or-more piece(s) of fabricated-evidence along

with fraudulent/misleading statements in-order-to frame the plaintiff for the crime of Class-C-Misdemeanor-Public-Nuisance that the plaintiff

did not commit. As previously indicated, the plaintiff had already retained [ATTORNEY-TK] (in the previous month) and demanded a jury-

trial for this fraudulent charge that was predatorily initiated by [JSP&KAP],[RSR], which also would not have been possible if not for the

predatory maliciousness of (WCLE], and specifically [WCCD-Harrell] (see above). The plaintiff had since that incident in {2020- l 0- l 2)

suffered several additional crimes from [JSP], [NP]. But apparently, none of these egregious injustices that [JSP&KAP], their son, [NP], their

co-conspirator [RSR], and their government co-conspirator [WCLE], perpetrated against the plaintiff were good enough, and [KAP] still feels

the strong need to continue to torment and harass/stalk the plaintiff, adding substantial injuty to the plaintiffs already-deep wounds. It should

also be noted that, in the prior year of {2020} , the plaintiff had also secured a similar, if not identical, shallow enclosure on the opposite side of

the plaintiffs [HOUSE], bordering the property of [792KLLTX7864 I]. However, the plaintiff never received any such complaint or

harassment from those (relatively-new) property owners of property [792KLLTX7864 l]. These facts further reveal and illustrate that the

behaviors/actions of [JSP&KAP], [RSR] and [WCLE] were not merely unreasonable, illogical and irrational, but instead, purely predatory,

malicious and retaliatmy - that all of the defendants' references to property-maintenance-laws were merely just a pretext under which the

defendants could, via the modern-day-Jim-Crow interpretation and enforcement of such laws, engage in a virtually-limitless stream of racial-

oppression and racketeering-activity against the plaintiff. Throughout much of [KAP]'s accosting and harassment/stalking of the plaintiff,

[KAP] tries to incite/elicit/instigate an angiy-response from the plaintiff, while she is recording the plaintiff with the camera-phone. [KAP]

engages in these deliberate acts of incitement against the plaintiff, especially because she has formally (and publicly) filed the aforementioned

C lass-C-Misdemeanor-Public-Nuisance criminal-complaint against the plaintiff (in conspiracy with her co-conspirators [RSR],[JSP] and

 [WCLE] - specifically [WCCD-Harrell]), and the aforementioned Class-C-Misdemeanor-Public-Nuisance plea-form had warned the plaintiff

that, under Texas law, it is a felony crime to engage in any type of witness-intimidation. So, in other words, (KAP] was tiying to further

exploit, further capitalize-upon, and further build-upon, her fraudulent and purely-retaliatory Class-C-Misdemeanor-P ublic-Nuisance crimina l-

complaint that she had filed against the plaintiff (in conspiracy with her co-conspirators [RSR],[JSP] and [WCLE] - specifically [WCCD-

 Harrell]) - hoping that any angry response that she incites from the plaintiff could then be maliciously used by her co-conspirator, [WCLE], to

 charge/prosecute the plaintiff with felony willless-intirnidation. [KAP]'s malicious act of entrapping,'baiting the plaintiff is particularly egregious,

 given that all of these co-conspirators - [JSP],[KAP], [RSR] along with some employees of [WCLE] (such as [WCCD-Harrell] and [WCSD-

 PP]) - had aggi·egately committed not only multiple acts of witness-intimidation against the plaintiff, but far more egregiously, countless

 criminal-acts ofretaliation-against-witness against the plaintiff. As this incident reveals, the plaintiff does not take [KAP]'s bait, does not, in any

 manner, respond to [KAP]'s verbal-battering of the plaintiff, and instead, the plaintiff continues kneeling-down on the grass, while completing

 such work:
  •        SECUU'l'r-c»l!M Rl!XXlttlING, BCDY- KRl-c»EIU\ REO:R>ING OE (111\PJ HIIAASSING/STlWCII«., 'nlREMDIDC PLAINl'IFF(~)   (2021- 0&- 26 15: 00) ( ~)

  •        [ l'RIVM'E URL LD1K TO BE SUBIIITl'ED IN Dl.SCO,'ERY )




      g PU\INTiff IS KNEELING-Dai/N ON GRASS , WORKING IN SIDE-YARD, LOOKING 00\-JN AT SUCH l•JORK BEING CONF: . D
      ff   !KAP] OPENS FENCE-GATE AND ACCOSTS PLAINTIFr AND Il"l'lEDIATELY BEGINS TO 'l'HREATEN THE PLAINTIFF : ~



      [KAP]                   SO EXACTLY. WHAT MAKES YOU THINK TH,IT'S ACCEPTABLE?!



      g [ KAP) STARES MF:NACINGLY AT PLAINTIFF,                     AND WAITS FOR RESPONSE FROM PLAINTIFF .             D
      [ PLA.INTIFF, SHOCKED, BRIEFLY LOOKS UP AT [KAP) , COES NOT RESPOND, AND LOOKS BACK COWN TO CONTINUE l'.DRKING .                                       D
      ff [KAP] CONTINUES TO INTIMIDATE, BLACKMAIL AND DEMAND A RESPONSE FROM PLAINTIFF : D
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[KAP ]                HAVE YOU DECIDED IV/TH THE (HOA} THAT THAT'S ACCEPTABLE, SID?! ...



 I{ [KAP] CONTINUE:S TO PAUSE & DEMAND RESPONSE E'ROM PLAINTIFF . PLAHITIFF WHILE KNF.El,ING O.'I GRASS, DOES NOT RESPOND, CON'I'INUING

TO WORK :    D


[KAP]                 HA VE YOU?!!! ...



 fI [KAP] MAKES AN ABSURD COMPARISON BETl'JEEN AN UNSIGHTLY,           FILLED (OFTEN SMELLING) GARl3AGE:-CI\N VERSUS PLAIN'rIFF ' S SHALLO't/ SIDE-

YARD ENCLOSURE :      D
 fI    [KAP] CONTINUES 'l'O PAUSE & DEMAND RESPONSE E'ROM PLAINTH'F . PL.ZIINTIFF WHILE KNEELING O.\l GRASS , DOES NOT RESPOND, CONTINUING

TO WORK :    D


[KAP]                 IV£ CAN'T EVEN LEAVE OUR TRASH-CAN UP FRONT!(???] ...



 fI [!<AP] CONTINUES TO PAUSE & DEMAND RESPONSE E'R0.'1 PLAINTIFF . PLAINTIFF WllTLE KNEELING ON GMSS, DOES NOT RESPOND, CONTINUING
TO 1voRK :   D


[KAP]                 SO, YOU'RE NOT GOING TO RESPOND TO ME?! ...


 fI (KAP] CONTINUES TO PAUSE & DE:MAND RESPONSE FROM PLAINTIFF . PL.Z\INTI FF WHILE KNE:ELING ON GRASS,            OOES NOT RESPOND, CONTINU ING

TO WORK :    D


 [KAP]                f'M NOT TRYING TO BE RUDE! I'M JUST [??(l ...



 ~     (KAP] CONTINUES TO PAUSE & DEMAND RESPONSE FROM PLAINTIFF . PL.Z\INTIFF l·1HILE KNEE:LING ON GRASS, DOES NOT RESPOND, CONTINUING

TO ~/ORK :   D


 [KAP)                SO, I CilN'T EVEN ASK YOU A SIMPLE QUESTION. AND GET A RESPONSE?! ...



  ~ [KAP] \'JAITS I\ FE\'I SECONDS LONGER FOR PLAINTIFF TO RESPOND . PLAINTIFF DOES NOT RESPOND,           CONTINUING TO KNEEL '111-\ll..E, ~:ORKING ill\

ENCLOSURE .      D
  fI [KAP] , SEElNG THAT PLAINTIFF IS NOT RESPONDING, WALKS BACK TOWARDS FRONT OF HE:R HOUSE . D
  fI PLAINTIFF CONTINUES KNEELING WHILE ~IORKING ON ENCLOSURE IN SIDE-YARD . D
  a ABOUT /I MINUTE LATER,         [KAP] WALKS BACK FROM FRONT OF HER HOUSE TOWARDS HER FENCE-GATE, \'/HILE PLAINTIFF IS CONTINUING \'lORK .

D
  a (KAP] STATES HER FINAL HYPOCRITICAL WORDS OF ANGER ABOUT THIS ISSUE TO PLAINTIFF, ADDING FURTHER INSULT TO INJURY : lJ


 [KAP)                 VERY NE/GliBORL I' OF YOU!



  ff PLAINTIFF REMAINS INDIGNANT AT (KAP) ' S FELONY STALKING OF PLAINTIFF & AT [KAP] ' S TOTALLY HYPOCRITICAL SPEECH ,                 BUT, AS

 USUAL, PLAINTIFF- lJ

      ~ -CAN DO NOTHING BUT REMAIN SILE:NT & SUFFER HAZARDS OF CHOOSING TO LIVE IN A \'/HITE NEIGHBORHOOD, WHERE: SUCH WHITE-SUPREMACY

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During the night of the same date, at approximately {2021-04-26 21 :00}, the plaintiff notices on the plaintiff's security-camera-system-monitor

that [JSP] approaches the newly secured enclosure in the side-yard of the plaintiff's property closest to [JSP&KAP]'s property, shining his

torch-light at such enclosure, and angrily shouting into one-or-more of the plaintiff's security-camera(s), "HAVE YOU LOST YOUR FUCKIN

MIND! ARE YOU CRAZY[???]?!". [JSP] even walks within a feet or so of such enclosure and shines his torch-light, at such close proximity,

directly al such enclosure to further inspect/search it al close-range. (JSP) shines his torch-light at various aspects of this enclosme, and then

shines such torch-light directly into two-or-more of the plaintiff's security-cameras. After spending a minute or so intimidating/interfering-with

the plaintiff in this manner, the plaintiff then notices [JSP] walk along the border of the two-properties, but facing towards the front of the

plaintiff's [HOUSE]. [JSP] then shines his torch-light into the interior of the plaintiff's open, but unlit, [GARAGE] and [FRONT PORCH],

again, in total violation of the plaintiff's rights. [JSP] then walks away and resumes other activity. It should be noted that [JSP] was not present

at his property during daylight hours during which the plaintiff was securing such enclosure, and [JSP] had only a1Tived back at his property at

night-time, when such enclosw·e is clearly not visible, due to that area of the plaintiff's [HOUSE] being completely unlit at night-time. For this

reason, it is clear that [KAP] had informed [JSP] of this newly secured enclosure, and/or, as the second-in-command of such racketeering-

enterprise against the plaintiff, instructed [JSP], the chief-enforcer/muscle of such racketeering-enterprise, to intimidate/interfere-with the

plaintiff in such manner. The plaintiff also hears loud, almost uncontrolled, laughter from [KAP] in the background, further illustrating that all

of[JSP&KAP]'s intimidation/ interfere-with the plaintiff, and other violations of the plaintiff's rights, was simply a 'Jun sport" ( ~) , that their

family took great pleasure/enjoyment out of - along with their co-conspirators [RSR] and [WCLE].



«][591
On or about the date of {2021-05-04 I 0:20}, the plaintiff is sitting on a chair located in the plaintiffs (DRIVEWAY], working on a laptop.

[JSP], originally walking towards his pickup-truck parked in the driveway of [784KLLTX7864 l ], notices the plaintiff on the plaintiff's

[DRIVEWAY], approaches closer to the plaintiff with a camera-phone in hand, and as he holds up the camera-phone to take photograph/video

of the plaintiff sitting on such chair with such laptop near one of the plaintiff's companion-tortoises (which on the [YARD]), angrily yells out

 some additional words of intimidation (some of which is inaudible in the plaintiff's recordings): "HOPE YOU DON'T GET THAT[???] MAN!

 [???} ... "[JSP) then walks backs towards his pickup-truck, enters back into his pickup-truck, and from inside his pickup-truck, angrily yells

 out at the plaintiff, "... THE REST OF US HAVE TO GOTO WORK!" [JSP] then reverses his pickup-truck out of the driveway of

 [784KLLTX7864 l ], passes the plaintiff on the street, and with the passenger windows of such pickup-truck open, angrily yells out some

 additional words of intimidation towards the plaintiff. Within a week after this incident, the plaintiff receives a notice in the regular-mail (via the

 [USPS], but not by [CMRRR]) from the [HOA] dated the same date of {2021-05-04} - once again, parroting [JSP&KAP]'s fraudulent cla im

 that the plaintiff's timid, shy, quiet and extremely-docile companion-tortoises were a violation of the restrictive-covenants of the subdivision -

 even requesting the plaintiff to remove such companion-tortoises from the plaintiff's property. Approximately a month after this incident, the

 plaintiff would receive a second notice in the regular-mail (via the [USPS], but not by [CMRRR]) from the [HOA] - once again, parroting

 [JSP&KAP]'s fraudulent claim that the plaintiff's timid, shy, quiet and extremely-docile companion-tortoises were a violation of the restrictive-

 covenants of the subdivision - even requesting the plaintiff to remove such companion-tortoises from the plaintiff's property. The plaintiff had

 owned these companion-tortoises on the plaintiff's private-property since the year of {20 I4}, and the [HOA] along with all of the defendants,

 knew about the plaintiff's companion-tortoises on the plaintiff's property since the month of {2015-06}. The plaintiff had always strongly-

 denied that such companion-tortoises were a violation of the restrictive-covenants of the subdivision, and in any case, the plaintiff had made a

 fmn decision back in the month of {2015-06} to fight the [HOA] in Court if necessary - if any of these parties threatened to deprive the
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plaintiff of the plaintift's right to have companion-tortoises on the plaintifrs property ( ) .



':1[5 92
On or about the date and approximate time of {2021-05-06 21:57} (late-nighttime), [JSP] arrives back to his property in his pickup-truck,

blaring loud-music on such pickup-truck's speaker system as he has repeatedly-done on numerous other occasions, while the restrictive-

covenants of the subdivision strictly prohibit any noise-nuisance at any time of day, but particularly during the traditional sleeping hours of

10PM to 6AM. This particular type of noise-nuisance-violation complaint has been lodged by one-or-more other resident(s) of the

neighborhood (for example, at [HOA] Board-Meetings) who believe that the [HOA] and/or [WCLE] should be taking at least some type of

enforcement-action(s) against such activity, as it may not only be a noise-nuisance-violation, but also, at least in some cases, "age-

inappropriate" (especially with young-children in such residential neighborhood).



':1[593
On or about the date of {2021-05-15 08:57), the plaintiff is inside of[HOUSE]. The plaintiff notices on the plaintiffs security-camera-system-

monitor that [JSP], with a heavy-duty gasoline-powered string-trimmer in hand, approaches one of the plaintift's companion-tortoises, ahnost

as ifto scare such tortoise, and/or intimidate into the seeurity-camera(s) attached to the plaintift's [HOUSE] that is monitoring such hostile

activity. Then, as he is still watching such tortoise, (JSP] starts angrily walking away with such string-trimmer in hand. On or about the same

 date, but later time of {2021-05-15 09:29), the plaintiff notices, on the plaintift's security-camera-system-monitor, that [JSP] approaches one

 of the plaintiffs security-cameras with the end ofa hose running water in his hand, and while near the border of the two properties, angrily

 yells out into such camera, "WHAT THE HELL ARE YOU POINTING THAT IN MY YARD FOR, YOU DICKHEAD! ... pervert! ... NICE,

 THAT'S GORGEOUS OUT HERE! NICE GIGANTIC, FRICK/NG TURTLE-TURDS! GOOD-STUFF BUDDY! ... [???] ... THEY STINK

 TOO! ... [???] ... DAMN! ... SHIT! ... FRICK-ING-TURTLES! ... [???] HE AIN'T ALL THERE! ... AIN'T ALL THERE! ... AIN'T RIGHT!

 ... "[JSP] then closes the tap, starts to place the hose onto the mount, continuing to mutter angry words about the plaintiff. [JSP] then angr·ily

 walks back towards the front of [784KLLTX7864 I], and resumes other activity over in that area. On or about the same date, but later

 approximate time of {2021-05-15 10:30}, the plaintiff notices, on the plaintiffs security-camera-system-monitor, a semi-trnck loudly deliver

 what appeared to be an empty shipping-container onto the driveway of [784KLL TX7864l]. At various points in time during thcs day, [JSP]

 and his other family members start to transfer items from their backyard into such originally-empty shipping-container, at least on some

 occasions, recklessly making very-loud-noise (for no justifiable reason). Amongst the materials were various pieces of construction-materials,

 brush, and at least some other types of items that [JSP&KAP],[RSR] had repeatedly and fraudulently complained to [WCLE] and/or the

 [HOA] that the plaintiff was "illegally" storing in the plaintift's [BACKYARD]. To the best of the plaintiffs knowledge, at no point in time

 during the over 13 years of thefr residence at [784KLLTX7864 l] did [WCLE] ever execute any type of search of [JSP &KAP]'s property, and

 [WCLE] would always initiate, over the decade, numerous unconstitntional-and-unlawful (and clearly racially-discriminatoty)

 search(s)/seizure(s) of private areas of the plaintiffs private-property- often for alleged items stored in the plaintiffs [BACKYARD], all the

 while ignoring all of these items stored in [JSP&KAP]'s backyard, or for that matter, any of the other White-neighborhood-residents'

 backyards. On or about the same date, but later approximate time of {2021-05-15 20:10}, the plaintiff notices, on the plaintift's security-

 eamcra-system-monitor, that [JSP] while using a lawnmower to mow the sideyard-grass of [784KLLTX7864 I], uses such lawnmower to also

 mow parts of the plaintiffs 11110-mow" grass and other wildflowers that the plaintiff was intentionally growing in the sideyard of the plaintiff's

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property. After the end of this activity, [JSP] approaches near the border of the two-properties with a torch in hand, and shines such torch-light

at an area in the plaintiffs sideyard, again, to scare the plaintiffs companion-tortoise(s). Shortly thereafter, while operating a hose with running
water near the border of the two-properties, [JSP] asks his wife, [KAP], as if to continue intin1idating the plaintiff, "HA VE YOU SEEN THE

SIZE OF THE TURDS THESE TURTLES ARE LAYING?!" [KAP] responds, "Yeah!" [JSP] angrily responds, ''JESUS CHRIST MAN! AND

THEY STINK TOO! AND I CAN SEE THAT, AS USUAL, OUR [HOA] IS GOING TO[???], BUT YOU KNOW WHAT! I'M ABOUT TO

CALL THEM AND GIVE THEM A REAL, REAL PIECE OF MY MIND! ... AND THEN, I'M GOING TO TELL THEM WHAT I'M GOING

TO DO TO THEM! ... DUDE, HONESTLY, ALL THAT MONEY YOU SPENT ON/???/ - OH MY GOD! WORTHLESS-ABSOLUTELY

WORTHLESS! ... THE MONEY THAT THEY MADE, THAT THEY'RE MAKING OFF OF SID? WHAT ARE THEY DOING WITH
THAT MONEY'!! THEY SHOULD BE GIVING IT TO US! ... WHAT THE HELL YOU[???], YOU DUMBASS!" Such statement reveals
that (JSP] conspired-to or attempted-to extort money out of the plaintiff, by collecting on alleged fines/fees and/or other sum(s)-of-money paid

by the plaintiff to the [HOA]. After wrapping the hose back onto the mount, (JSP] starts to walk away from the plaintiffs security-camera(s),

angrily and sarcastically yelling, ''AND THIS LADY OVER [ACROSS THE STREET] IS YELLING AT US, BECAUSE WE WERE THROWING

SNOWBALLS [AT HIS HOUSE]!" This final piece of dialogue further reveals crucial aspects of the plaintitfs claims, as presented in this

lawsuit:


® [JSP] repeatedly denied having any involvement in the predatory lawsuit filed by the [HOA] against the plaintiff in the previous years of
 {2017)/{2018), but these statements strongly indicate, as the plaintiff had always known, that the then [HOA] under [f-HOA-BoD]s [SPOA-

P-BC],[SPOA-VP-AH] were predatorily acting against the plaintiff, almost-exclusively, if not exclusively, based upon the predatory blackmail

of [JSP&KAP] (and [RSR]).



® Clearly, as this dialogue reveals, [JSP&KAP] were not happy-enough that the plaintiff had to spend huge amounts of money in the
plaintiffs fight for installing a 11110-m01v'1 grass, while involuntarily engaging in the risky/burdensome/unpleasant/stressful work of litigation to

 figl1t to secure such rigl1t.



 © Instead, [JSP&KAP] were still hellbent upon b>etting the [HOA], and more-recently, [WCLE], to engage in fmther predatory actions against
 the plaintiff, in-order-to achieve their actual ultimate goals: evict the plaintiff out of the White neighborhood, and thus defraud the plaintiff out

 of private-property-ownership within such White neighborhood.



 @ The derogatory manner in which [JSP] refers to the [HOA] also shows that [JSP&KAP] (along with [RSR]) wielded extreme and undue
 influence over the [HOA), at the very least, on any matter involving the plaintiff - with [JSP&KAP] acting like a mob-boss over the [HOA].



 ® [JSP] dialogue shows that he is aware that the [HOA] made money off of the plaintiff; via litigation and/or fmcs/fees - yet another indication
 that [JSP] has inappropriate access to private/confidential information between the [HOA] and the plaintiff, thanks, at least in part, to [DMP]'s

 direct involvement as a temporary Board-Member of the then-[HOA].



 ® [JSP] dialogue shows that any-and-all money paid by the plaintiff to the [HOA] should be instead directed towards [JSP&KAP] - once
 again, like a mob-boss that expects the entire-pie, and not even just a slice-of-the-pie.

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@ [JSP], who was given free reign by both [WCLE] and the [HOA] to commit a virtually-limitless stream of hate-crimes/civil-rights-

violations/racketeering-acts/abuses against the plaintiff for over a decade, once again, expresses his disdain that a neighbor from across the

street actually confronted him and his son [NP] about only one of such numerous hate-crimes/civil-rights-violations/racketeering-acts/abuses

against the plaintiff - and once again, revealing [JSP)'s mob-boss mentality of absolute impunity.




c_n: s 94

On or about the date and approximate time of {2021-05-20 09:30}, [KAP] invite guest(s) onto their frontyard. While [KAP] and such guest(s)

are in their frontyard, a huge dog of such guest(s) - easily weighing over 80 pow1ds - roams freely around their sideyard, and makes its way to

the plaintiffs [DRIVEWAY] AND [GARAGE]-area (on multiple occasions), almost entering into the plaintiffs (open) [GARAGE] before being

loudly called-back by such guest(s). Both [JSP&KAP] and [RSR] had many years prior (in the years {2015} / {201 6} ), maliciously complained

to the [HOA] and/or [WCLE] about the plaintiffs companion-tortoise(s):



® with a member of [WCLE], [WCCD-DM], even illegally entering into the plaintiffs private/curtilage-area side-yard, using a camera-phone
over the plaintiffs 6-feet-tall-privacy-fence to illegally take photograph/video of such tortoise(s) in the plaintiffs private/concealed

[BACKYARD], which he then illegally submitted to the [HOA]- all in total violation of the plaintiffs rights; AN D



@ with [RSR] fraudulently claiming in one-or-more social-media-posting(s) that the plaintiffs tortoise(s) were a "dangerous situation"; AND



© despite the fact that, many homeowners within the Central-Texas area - most of whom also live within ve1y-similar deed-restricted
neighborhoods - owning companion-tortoise(s) within their private-properties (as even widely-reported by the local news media).



For at least over 6 years, [RSR] routinely left her large dog, [L], to bark loudly in the front of her house, and roam freely across the street,

numerous times, onto the plaintiffs [FRONTY ARD]. However, just like every other act of racist hypocrisy by [JSP&KAP],[RSR], these

 particular hypocritical actions, once-again, demonstrate that [JSP&KAP],[RSR], as privileged White-Americans of "their" (exclusive-and-pure)

 White neighborhood, are free to violate as many rules of the neighborhood as they saw fit, while the plaintiff, an immigrant-of-

 color/indigenous-person, is not allowed to have/own companion-tortoise(s) on the plaintiffs property (o ) .



 c_n:s 95

 On or about the date and approximate time of {2021-05-26 2 1:15} (nighttime to late-nighttime), (JSP] starts to operate a very-loud gasoline-

 powered heavy-duty string-trin1mer to cut grass along the edges of their property, while during this process, also cutting at least some of the

 plaintiffs "no-mow" grass. (JSP] continues with this ve1y-loud work past 22:30 (late-nighttime), despite of the fact that the neighborhood's

 restrictive-covenants prohibit any type of noise-nuisance-violation - especially during the traditional sleeping hours of I0PM-to-6AM.




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1596
On or about the date and approximate time of {2021-06-13 19:45}, [JSP] is using his lawnmower near the border area of the two-properties.

The plaintiff notices, on the plaintiffs security-camera-system-monitor, that [JSP] while using a lawrnnower to mow the sideyard-grass of

[784KLLTX7864 l ], violently rams such lawnmower, one-or-more times, into a side of the shallow-enclosure in the plaintiffs side-yard that

the plaintiff had secured in the previous month of {2021-04}, ahnost as if to dislodge, or at least damage, such enclosure. [JSP] looks

menacingly/angrily into the plaintiffs security-camera(s), as if to indicate his dissatisfaction of such shallow-enclosure. At one-or-more points

during this activity, [JSP] kicks-debris-onto and/or picks-up-and-throws-such-debris-onto the sideyard of plaintiffs property, once again,

staring menacingly/angrily at the plaintiff securily-camera(s), while also muttering some angry words at such security-camera(s). Later on that

same night, at about the time of {2021-06-13 23:52} (late-nighttime), as [JSP] is moving the lawnmower from side-yard to back-yard, and as

[JSP] walks away from the side-yard back onto the front-yard, [JSP] (twice) raises his hand to angrily issue the obscene/vulgar gesture of his

middle-finger to two-or-more of the plaintiffs security-camera(s).



1597
On or about the date and approximate time of {2021-06-18 20:00}, the plaintiff was working in the plaintiffs [GARAGE]/[DRIVEWAY]. The

White-SUV driven by [KAP] enters into to the driveway of [784KLLTX7864 I]. [JSP] exits the vehicle from the front-passenger side, and

approaches the plaintiff. [JSP] is approximately 20 feet away from the plaintiff when he yells, with [KAP] near the [784KLLTX78641]

driveway/front-hall wi111essing/hearing most of [JSP]'s abusive yelling:
 •         RECXKIID RllCIST , ABUSIVE , f1Wll0Inff, GIISl;IGHl'ING ~ ASSAllL'l'IVE RANI' FIOI (JSPJ TO TllE PIAINTDT(~) •      (2021- 06- 18 20 :00) (-)
  •        [ PIIIVl\TE URL LINK TO BE SOIIMITIED JN DISOOYERY )




      [ JSP)                  HE!' DICKHEAD!


      ff PI.I\IN'l'IFF TURNS TO LOOK AT (JSP] . iJ
      0C   (JSP] POINTS AT THE CORNER OF THE PLAINTIFF ' S SIDEYARD NEAR THE AC-UNI'!' .                             iJ


      [ JSP)                  DUDE. THAT STINKS LIKE ASS. MAN! ... YOU NEED TO DO SOMETHING ABOUTTI-/AT SHIT! ... IT'S AWFUL! ... IT'S COMING INTO Ml'
                              HOUSE! ... YEAH! ... ARE YOU THAT MUCH OF AN ASSHOLE THAT YOU CAN JUST DO THAT?! ... THAT YOU CAN JUST DO THAT TO
                              PEOPLE. THAT IT DOESN'T BOTHER YOU?! ... IV/TH THE STENCH COMING FROM THERE IS GETTING INTO MY HOUSE?! ... YEAH, LOOK
                              AT ME! WHY DON'T YOU IVALK OVER HERE AND LOOK AT ME LIKE THAT! ... IVHY DON'T YOU COME ON OVER HERE AND LOOK AT ME

                              LIKE THAT. TOUGH GUY. COME-ON!


       ~ PLAINTIFF WALKS 'l'O\·IARDS [JSP] l'IITII C/\11.C:ORDER RECORDING AND WALKS INTO THE PLAINTIFF ' S SIDEYARD .                                     iJ


      [J SP]                  COME ON. BAB!' - STEP RIGHT OVER HERE!


       K PLAINTIFF STOPS ABOU'l' 4 FEET AWAY FR0.'1 (JSP] WHO IS RIGHT AT THE BORDER OF (784KLLTX78641] AND [788KLLTX78641] . iJ


      [ JSPJ                  I IV/LL KNOCK YOU OUT BOY! LOOKING THERE, SITTING THERE WITH YOUR STUPID CAMERA!


       I[ [JSP] ATTEMPTS/GESTURES TO THROW A PUNCH (',) AT PLAINTIFF, IN VIOLATION OF [18-USC- PI-C96-§1959J, [42-USC-C45-SII-§3631]- iJ

       I[ -[18-USC-PI-C13-§249], [18-USC-PJ-C13-§242 ], BUT PLAINTIFF IS RARELY OU'l'- OF-R?INGE AT APPROXIMATELY 4 l"EET AWAY . ~


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(JSP)             DO YOU KNOW HOW MUCH OF A BITCH YOU ARE! ... YOU INCONSIDERATE PIECE OF SHIT! ... WHY DON'T YOU- YOU THINK YOU'RE
                  GOING TO STEP IN HERE AND GET TOUGH?! ... YOU WANT TO GO AT IT?! ... WHY DON'T YOU TAKE THOSE OFF. AND LET'S GO! ... I'll
                  GO AT IT - l'M 51 YEARS OLD! LET'S GO! ... LET'S GO! ... l'OU'RE SUCH AN INCONSIDERATE SACK OF SHIT! ... DO YOU KNOW HOW BAD
                  THAT SHIT SMELLS! ... I KNOW THAT l'OU'RE USED TO THE STENCH! ... BUT, THE REST OF US AREN'T! ... THAT'S JUST FUCKING RUDE
                  MAN! ... GOT ANYTHING TO SAY FOR. ABOUT THAT?! ...


« [JSP] GESTURES AS IF HE DEMANDS AN ANS~IER FROM PLAINTIFF; WHEN PLAINTIFF REMAINS SILENT, (JSP] CONTINUES WITH RACIST- D
« -ABUSIVE, FRl\UDULENT, GASLIGHTING AND ASSAULTIVE RANT AGAINST PLAINTIFF . D

(JSP]             YOU DON'T MIND BEING RUDE, DO YOU?! ... YOU DON'T CARE - YOU WORRY ABOUT SID! ... IT'S ALL ABOUT SID! ... JUST AS LONG AS
                  EVERYTHING'S GOOD FOR SID! ... l'M GOOD! ... THE WORLD DOESN'T REVOLVE AROUND SID! ... YOU GOT TO CONSIDER OTHER
                  PEOPLE! ... YOU REALLY SHOULD! ... IVHAT-1 GUESS YOUR PARENTS, YOUR PARENTS - THEY'RE IDIOTS! I KNOIV THAT MUCH, THAT'S
                  FOR SURE! ... THEI' RAISED YOU. I KNOW YOUR BROTHER TURNED OUT GOOD THOUGH! ... HE SEEMS LIKE A GOOD, WELL ADJUSTED
                  GUY! ... WITH A FAMILY, ACTS NORMAL ... ACTUALLY HAD SOME PUSSY, HOIVABOUTTHAT! ... MAl'BE SOME DAY ... NAH!!


 [   [JSP] THEN POINTS TO THE GRl\SS .   D


(JSP)              AND YOUR GRASS LOOKS FANTASTIC TOO! ... COULD THAT LOOK MORE LIKE SHIT, ALSO?! ... YOU'RE UNBELIEVABLE! ... HOW DID
                   THEY LET YOU GET A/VAY WITH THIS?! ... THIS IS OUTRAGEOUS! ... WHAT ARE YOU GOING TO DOABOUT71-IE STENCH?! ... I MEAN,
                   I'll HAVE THE HEALTH DEPARTMENT OVER HERE REAL QUICK IF YOU DON'T HANDLE THAT SOON! ... THEY'LL BE UP YOUR
                   BUTT! ... I'LL HAVE THE POLICE UP YOUR BUTT! ... I'll HAVE EVERYBODY UP YOUR BUTT! ... AND I KNOW YOU DON'T LIKE
                   PEOPLE UP YOUR BUTT! ... SO, YOU BETTER GET A HANDLE! ... /'VE TAKEN PICTURES OF All OF THIS! - /'VE TOOK PICTURES OF
                   YOUR BACJ(YARD WITH THE WEEDS UP TO HERE! ... YOU KNOW ... MMMMM!


 ~ (JSP] MAKES SUDDEN LUNGING ACTION TOWARDS PLAINTIFF, THREATENING/GESTURING TO THRO'✓/ ANOTHER PUNCH (',,) AT PLAINTIFF . D


(JSP)              l'OU KNOW IT LOOKS LIKE COMPLETE DOGSH/T! ... I MEAN DUDE WHAT IS WRONG IV/TH YOU! ... DO YOU CA RE ABOUT ANl'BODY IN
                   THE WORLD EXCEPT !'OURSELF! ... ARE l'OU THE ONLI' PERSON IN YOUR WORLD! I GUESS YOU ARE! ... THAT'S RIDICULOUS! IVE
                   SHOUl, DN'T HA VE TO SMELL THAT SHIT!


 [   (KAP] SAYS S0t1ETHING (INAUDIBLE] IN THE BACKGROUND .        [JSPJ LOOKS BACK AT (KAP] . D



 (JSP]




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                IT STINKS! ... I KNOW YOU CAN'T SMELL IT BUT IT STINKS TO THE REST OF US! ... WHAT ARE YOU GOING TO DO, GET COVID! ... LOOK
                AT THAT DIRTY THING YOU'RE WEARING! ... YOU'RE GOING TO GET SOMETHING ELSE FROM WEARING THAT DAMN THING! ... SID, I
                JUST WANT YOU TO BE- TAKE CARE OF YOUR BUSINESS, MANI-JUST KEEP THINGS FROM STINKING! ... /'VE GOT NO, I WON'T HAVE
                 NO PROBLEMS IV/TH YOU, IF YOU JUST MAKE THINGS DECENT! ... THAT'S All I WANT! ... BUT IT MAKES ME ANGRY WHEN YOU DON'T!
                ... YOU KNOW! ... YOU'VE GOT TURTLES OUT HERE! ... TURTLES! THAT TAKE GIANT SHJTS THJS BIG! ... IN 11-IE FRONTYARD! ... AND IT
                 STINKS! ... GOT ANYTHING TO SAY?! CAN YOU SAY ANYTHING?/ I KNOW l'OU CAN TALK/ /'VE HEARD YOU SPEAK BEFORE/ ... THAT DOES

                 NOT BOTHER YOU, THAT ITGETS INTO MY HOUSE - THE SMELL! ... IS THAT FAIR ?! ... JS THAT FAIR?! ... I MEAN REALLY, SHOULD 1
                 HAVE TO SMELL YOUR TURTLE'S POOP IN MY HOUSE?! ... DOES IT SEEM FAIR?! ... I DON'T DO THAT TO YOU! ... I DON'T PUT ANY
                 STINK IN YOUR HOUSE! ... NOT VERY FAIR, IS IT?! ... DOESN'T MATTEI/ TO YOU. DOES Ii?! ... CAUSE YOU'RE A PUNK! ... YOU'RE
                 INCONSIDERATE, MAN! ... I MEAN, OUT OF, AFTER EVERYTHING IS SA ID AND DONE, YOU'RE JUST AN INCONSIDERATE SHIT! ... AND
                 YOU'RE OBVIOUSLY, ONLY- ONLY WORRIED ABOUT SIDI ... I WOULD THINK, MAYBE YOU MIGHT, 'MR. GREEN GUY' WOULD CARE
                 ABOUT OTHER PEOPLE TOO! BUT I GUESS YOU ONLY CARE ABOUT TREES AND PLANTS- IS THAT IT! ... PEOPLE DON'T COUNT?! ... I
                 MEAN, DO YOU. DOES IT, DO YOU EVER THINK ABOUT HOW YOU AFFECT OTHER PEOPLE?! DOES IT BOTHER l'OU AT All?! ... YOU
                 DON'T REALLY CARE! ... YOU.JUST WANT TO DOSID- YOU WANT TODO YOUR THING AND IT DOESN'T MATTER! ... DOES IT BOTHER
                 YOU THAT YOU LIVE OFF YOUR PARENTS! ... YOU DON'T WORK! YOU CAN'T SUPPORT YOURSELF! ... AND H11Y ARE YOU EVEN
                 ALLOWED TO LIVE BY YOURSELF, BLOJ1'S J\1Y MINDI ... BECAUSE, I KNOW YOUR PARENTS SUPPORT YOU, OBVIOUSLY! ... DOESN'T
                 THAT EMBARRASS YOU! ... THAT WOULD EMBARRASS THE SH/TOUT OF ME! ... A GROWN MAN! JS SUPPORTED BY THEIR PARENTS! ...
                 THAT'S GOT TO BE EMBARRASS/NG! ... NOTHING AFFECTS YOU! YOU'RE NOT EVEN EMBARRASSED THAT YOUR PARENTS SUPPORT
                 YOU! ... YOU DON'T EVENTRYTO WORK! ... THAT'SAIVFUL! ... YOU SHOULD BE ASHAMED OF YOURSELF! ... ASHAMED! THAT YOU
                 CAN'T SUPPORT YOURSELF! ... AND THEY GIVE YOU EVERYTHING! ...


~ [JSP] LAUGHS OUT LOUD . j]



(JSP]             YOU OUGHT TO BE EMBARRASSED! ... BUT THAT DOESN'T MEAN THAT YOU GET TO DO WHATEVER YOU WANT TO DO, AND MAKE
                 OTHER PEOPLE SUFFER FOR IT! ... CAUSE I GUARANTEE YOU! WHEN I GET THE HEALTH DEPARTMENT IN HERE, THEY'RE GOING
                  TOBE SO FAR UP YOUR BUn'! ... THAT YOU'RE GOING TOBE VERY UNCOMFORTABLE! ... ANDI KNOW YOU DON'T LIKE BEING
                 UNCOMFORTABLE! ... SO, WHY DON'T YOU JUST MAKE THIS GO AWA YI ... MAKE THIS GO A WA Y, AND I'll BE HAPPY! ... AND GOD, DID
                  YOU BREAK YOUR GARAGE-DOOR, IS THAT WHY YOU CAN'T SHUT IT!! ... JS THE CHAIN NOT WORKING! ... CAN YOU NOT SHUT IT· IS
                  THAT WHY IT'S NOT DOWN! ... l 'MJUST ASKING?! ... IS THAT WHY YOU CAN'T ... I KNOW YOU'D WANT TO SHUT IT! ... JS IT BROKEN?! ... IS
                 IT BROKEN?! ... CAN YOU NOT TALK ANYMORE?! ... IS IT BROKEN?! ... I MIGHT BE ABLE TO FIX IT FOR YOU! ... CAUSE YOU WANT TO
                  GET THAT . I WOULD LOVE FOR YOU TO BE ABLE TO SHUT IT! ... I WOULD BE MORE THAN HAPPY TO SEE THAT DOOR SHUT! ... I
                  IVOULDABSOLUTELY HELP YOU FIX IT! ... IF THAT'S WHAT THE PROBLEM IS! ... YOU GOT STUFF STACKED REAL HIGH-NEXT-TO-
                  THAT, SITTING DOOR - LOOKS REAL BENT· SO, IT'S BROKEN, AIN'T IT?! ...


 ~ ( JSP] NODS IN SCORN . jJ



(JSP]




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                     Sid! ... I Mean ... I really do11'! ask for muc!tjivm you, man! ... ljusl don'! ll'a/1/ the .1·ti11kfrom gelling iuto my house! ... It's yours, if you deal with that,
                     thal'.vflue! ... We sho11ld11't have to deal with ii! ... Yo11 k11ow, \l'e just sho11ld11't! ... Yo11 sho11/d have enough co1111esy j11s/ to, so \l'e do11'1 have to deal ll'ilh
                     the smell! ... /t'sjust dece111! ... l!'sj11st bei11g pure dece11t! ... A little dece11cy abo11I yo11, 1hal'.I' ii! ... That'.1· all ,re care about! ... A11dj11st, get thal garage
                     door shut, that'd be nice m well! ... That'd he be great! ... I rean,, do11't have a11ythi11g. personally agai11st you, Sid! ... I don't! I just ask for a f ew minor
                     things, just to have a f ew things looks things dece11I - a11d ye/, I do11'! have to smell 1,ig gia11I turtle poops! ... I sl1011ld11'1! ... Not in my ow11 da11111 house! ...
                     Reolly c/011 't ask fm· too 11111c/1! ... A11d /01y/ kuows you ,/ou 'I lwve t/,e fmmesl life in tl,e worlcl, obviously! ... I just osk "few tliings, 1110,1 I ... Just to! ...

                     And I've got 1101fti11g agai11st your turlles - You're turtles are cool! ... I 1hi11k lhey're cool! ... But, i111ftefromya1tl! ... No! ... Not so cool! ... A11d 1'111 s111e
                     yo11've got a lot of crap i11 the back, that'.\' pmbably thal's i1y11ri11g wfte1e lhey 're livi11g.' ... And I k11ow yo11 brought em up here lo II)' to eat your grass up -
                     a11d !'111 s11re yo11 did that! Which isj,11e, I don't have a prob/e111 with !hat eilher! ... B111 I ca11'1 - ca11 you smell !hat! ... Yo11 don't s111ell ii anymore do yo11!
                      ... Even if yo11 have that 111ask 011! ... lord, Sid - you got lo gel a new mask, Iha/ lhing is travhed - I 111ea11, tha!'.1- doing yo11 more ham, titan it co11/d be
                      doing cmy good! ... You 1111de1:\'ta11d !Ital, right? ... fl'.v di11y as hell! ... That's really badforyou! ... But, ii jus/ .,mells a11f11/, 111011! ... II smells m~f11/! ...

                      Yo11 don'! care - do yon?.' ... Does11'1 <iffecl yo11 at all, ft11h?! ...


~        [JSP) NODS IN SCORN, THEN LAUGHS . n


[JSP)                 People nv nder ll'h)' - this is 1rhy I talk to ym, the ll'a)' I do, Sid! Because, you don't care! Yo11j11st don't care!


l! [JSP) WALKS ALONG THE BORDER OF [784KLLTX78641] and [788KLLTX78641] TO SEE THE AREA NEAR THE PLAINTiff ' S AC- UNIT . D
l! PLAINTIFF WALKS ON !!IS PROPERTY ABOUT 4-FEET-AWAY ALONG THE BORDER OF [788KLL'l'X78641] AND [784KLLTX78641] . jJ
l! PLAINTIFF l•JALKS AND ONTO THE AREA NEAR THE AC-UNIT AND FACES [JSP] . D


[ JSP)                Yo11'1e steppi11g 011 poop, too. tlmt'.v nasty! ... WHAT ARE YOU DOING, YOU'RE GUARDING SOMETHING?! ... YOU'RE GOING TO GUARD ME
                      FROM GETTING ONTO YOUR PROPERTY?! ... I'M NOT COMING OVER THERE SID. YOU DORK! ...


0C       [JSP] MAKES AN AGGRESSIVE/THREATENING PHYSICAL GESTURE TOWARDS THE PLAINTIFF. D
 ~ [.JSP] THEN WALKS TOl'IARDS FENCE TO SEE THE AREA BEHIND THE PLAINTIFF ' S AC-UNIT.                                            D
& PLl\INTif'F WALKS FURTHER ON HIS PROPERTY ABOUT 4-FEET- AWAY ALONG THE BORDER OF (788KLLTX78641] AND [784KLL1'X78641) . D
[[ PLAINTIFF WALKS ONTO THE AREA BEIIIND THE AC-UNIT AND FACES (JSP] . D
 [[ [JSPJ ISSUES AT LEAST HIS FIFTH THREAT-OP-MURDER TO PLAINTIFF : n


[JSP]                  YOU- FIRST, SHOULD KNOW MORE THAN ANYBODY THAT, )'OUR SCRAWNY ASS COULDN'T STOP ME FROM ANYTHING! l'OU COULDN'T
                      STOP THIS ONE HAND FROM DOING ANYTHING! ... TRUST ME, I COULD CHOKE YOU OFF Wl/'H MY ONE urnE Bl/'T}' HAND! ...

                       PROBABLY ONLY TAKE ABOUT TWO FINGERS! ... You Idiot!


 [[ [JSP) THEN l•JALKS BACK Tai/ARDS THE FRONT OF [784KLLTX78641 J AND STOPS AGAIN, POINTING AT THE GRASS . jJ


[ JSP]                 LOOK AT THAT! ... SEE LOOK AT MY - !'VE GOT MY GRASS, LOOKS NICE, THIS LOOKS All NICE, LOOKS GOOD! ... WHA T DOES THIS

                       LOOK l!KE?! IT LOOKS l/KE TOTAL-


    ~ [.JSP] THEN AGGRESSIVELY/THREATENINGLY GESTURES TOWARDS PIJ\INTIFF AS IF TO POUNCE-ON/PUNCH ('>) THE PLAINTIFF. D

    l\ [JSP] YELLS OUT EXTREMELY LOUDLY SO THAT EVEN PEOPLE SEVERAL HOUSES DO';JN THE STREET COULD EASILY HEAR: n


[JSP)
                       -DOGSHITTT!!!

    0C   [JSP] THEN STARES AGGRESSIVELY /THREATENINGLY AT Tl-IE PLAINTIFF FOR 5➔ SECONDS . n
    l\ [JSP] THEN WALKS TOWARDS THE FRONTHALL OF [784KLLTX7864l j . D

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  ~ PLAINTIFF' WILKS BACK INTO THE PLAINTiff ' S GARAGE .     D
  ~ PLAINTIFF TflEN WALKS BACK INTO THE [HOUSE] TRAUMATIZED BY 1'HE INCIDENT .             D




i598
Towards the end of the same day, at the approximate time of {2021-06-18 21:15}, the plaintiff notices, on the plaintiff's security-camera-

system-monitor, that a tow-truck is towing [JSP]'s then pickup-truck back onto the driveway of [784KLLTX7864 l]. (As revealed in the

previous paragraph, the plaintiff had noticed that [JSP] arrived back to [784KLLTX78641] approximately 2 hours earlier as a passenger in his

wife [KAP]'s vehicle.) During such activity, [JSP] walks up and down the sidewalk in front of the plaintiffs property, providing instruction to

the tow-truck-driver while on one-or-more occasion(s), staring menacingly/angrily at the plaintiffs security-camera(s), as if to indicate, that

[JSP] did not want any information about [JSP]'s potentially wrongful and/or reckless activities to be captured on such security-camera-

recordings.



i599
On or about the date and approximate time of {2021-06-2 l I0:00}, [KAPJ, once-again, sprays extremely-toxic pesticide(s) over the side-yard

area and/or the area around the house and fence of[784KLLTX78641] that is closest to the plaintiff's property.



i600
On or about the date and approximate time of {2021-06-22 19:30} , for a period of almost 2 minutes, [JSP] places what appears to be a can of

pesticide and a towel on top of the shallow-enclosure of the plaintiff's property, once again, treating the plaintiffs property as if it was his own.

[JSP] also steps well-into the plaintiff s property (as he has done on numerous occasions prior to this date and after this date) for a period of

approximately 20 seconds, in-order-to look-at the roof of his house at [784KLLTX7864 I] from such location on the plaintiffs property.




 i601
 On or about the approximate date and approximate time of {2021-06-24 19:00}, the plaintiff is in the [DRIVEWAY], once again, unbox.ing

 and/or photographing previously unopened package(s). [JSP], while using a hose to water the grass in the front-yard of [784KLLTX7864 I],

 angrily yells at the plaintiff, demanding the plaintiff to take the plaintiffs political yard-signs down, claiming that such "stupid" and "ridiculous"

 yard-signs have been up for more than 2 years. In refe1Ting to [AOC] - the United-States-Congresswoman and person-of-color depicted in the

 plaintiffs yard-signs - [JSP] loudly yells with extreme-racial-animus, sexism and misogyny to the plaintiff, "SHE'S AN IDIOT! ... SHE

 DIDN'T WIN ... TAKE THOSE STUPID SIGJ\'S DOWN, DUMBASS! ... SUCH AN IDIOT! " Dur ing this incident, it appears that [JSP]'s
 wife, [KAP], is also in the background not mere ly witnessing, but actually, in full support of her husband [JSP]'s racist, sexist, misogynistic and

 abusive rhetoric against the plaintiff. This incident not only follows a long pattern of extreme-racial-animus, far-right-wing-exh·emist political-

 animus and deliberate-deprivation-of-political-speech by [JSP &KAP] (and [RSR]) against the plaintiff, but also further reveals ve1y clearly to

 the plaintiff that the decade-long racketeering-enterprise and criminal-conspiracy against the plaintiff - with the conspiracy consisting at least of

 [JSP&KAP], [RSR] and [WCLE] - also includes substantial far-right-wing-extremist political-animus and not just simply extreme-racial-

 ani.mns. These are the same yard-signs that [JSP] had vandalized (by poking violently with a long stick) in the month of {2020-03}, and these

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are also the same yard-signs that [RSR] has also repeatedly referenced in her multiple racist rants against the plaintiff - even demanding that the

[HOA] force, via intimidating legal-action(s) if necessary, the plaintiff to remove such political yard-signs. Whenever there is a crime

committed, the victim(s)/witness(s) of such clime are not supposed to modify the crime-scene and/or items-of-evidence in any way. When

[JSP] demands plaintiff to remove such piece-of-evidence, [JSP] is, thus, engaging in Witness-Tampering against the plaintiff. [JSP)'s

threatening statements also further reveal to the plaintiff that [JSP] engages in the similar malicio\\s, fra\\dulenl and defamatory (@) narrative

that many far-right-wing-extremists in the United States have spread about [AOC) and the democratic-socialist movement initially led by

United-States-Senator Bernie Sanders. The racism and misogyny in [JSP]'s far-right-wing-extremist characterization of[AOC) as "stupid" lies

in the fact that [AOC) graduated "cum faude" with a Bachelor-of-Alis Degree from (Boston University) - ranked in the top-50 universities

nationally - and amon~t the "most selective" universities in the United States. (The (Massachusetts Institute of Technology Lincoln

Laboratory) also named a small asteroid after (AOC) because of [AOC)'s academic excellence and/or research.) The fraud in [JSP)'s far-right-

wing-extremist statements lie in the facts behind [AOC)'s unprecedented success, not only in [AOC)'s electoral victories but also in [AOC)'s

strong and principled policy-advocacy of democratic-socialist positions: Not only did [AOC] win her initial insurgent primary-election-campaign

in {2018} raising only approximately $83,000 - beating the overwhelmingly and seemingly-insurmountable odds by taking down a long-time,

moneyed Democratic-party incumbent (who raised approximately$ l .5 million) that was fully-endorsed and heavily-backed by the dominant,

moneyed, corporate-wing of the Democratic-party - but [AOC) won her general-election and re-election campaigns in {20 18}, {2020}, {2022}

by an approximately three-to-one (or better) margin, winning more than 70% of the total vote in each of those elections - um1sual for most

high-profile elections that tend to be much closer - signifying ve1y-clearly that the democratic-socialist policy positions strongly-advocated and

fought-for by [AOC) are overwhelmingly popular. This unprecedented success is particularly remarkable given that extremely powerful and

moneyed political-action-committee(s) - almost entirely funded by large corporations and the wealthy - spend untold sums of political-

advertising money and other resources to publicly smear/character-assassinate (@) democratic-socialist candidates such as [AOC], while far-

right-wing individuals and groups do the so-called "troffing" work of smearing/character-assassinating such democratic-socialist candidates,

particularly on social-media. The same unprecedented success of [AOC] has also been replicated in many areas across the United States

(including Central-Texas) with democratic-socialist candidates, who lack both corporate-funding and funding from the wealthy (especially when

compared to their competitors), overcoming overwhelming odds, fighting an uphill-battle and surprisingly, winning their elections, all due to

 their exh·emely-popular, egalitmian positions and the so-called "army" of grassroots-democracy volunteers (including the plaintiff) dedicated to

 fighting for democracy and social-justice (in all of its forms). (For example, former Austin City Council member Greg Casar, a Central-Texas-

 based democratic-socialist candidate for the United States House of Representatives won his first federal election campaign by a similar three-

 to-one margin.) Throughout most of the last centmy of A111erican hist01y in particular, social-justice movements consisting almost-entirely of

 grassroots-democracy volunteers/activists including, most recently and ctu-rently, the large democratic-socialist movement initially led by

 United-States-Senator Bernie Sanders, have sought to move the United States, and, by extension, the entire world, in the direction towards the

 egalitarian ideal of greater democracy, greater equality, greater freedom, greater independence, greater equity, greater solidarity, while through

 much of that same period of time, group-narcissistic-and-misanthropic far-right-wing-extremist individuals and groups have maliciously sought

 to subvert and reverse even those limited gains made by many decades of such social-justice movements. The plaintiff, just an exh·emely-

 minute part of such social-justice movement, has been viciously targeted by the far-right-wing defendants, not only due to the plaintiffs own

 racial-profile, but also because of the "dangerous" ideals of democracy and social-justice that the plaintiff represents - especially, since such

 "dangerous" ideals of democracy and social-justice would benefit, to the greatest extent, people-of-color throughout the United States (see

 section above concerning far-right-wing-exh·emism in the United States).

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1602
On or about the date and morning of {2021-06-25}, [JSP&KAP] hire (White-American) contractors to inspect the roof of

[784KLLTX7864l]. With (KAP] outdoors, supervish1g and/or instructing such contractors, such contractor(s) walk-on/through the plaintiffs

[YARD] on multiple occasions, even haulh1g equipment through the plah1tiffs (YARD], despite of the fact that there was no reason for such

contractor(s) to enter onto the plaintiffs property. In sharp contrast, when the plaintiff hired landscaping contractors to re-landscape the

plaintiffs [FRONTYARD] with a "no-mow" grass on-or-about the date of {2017-10-25}, both the plaintiff and the plah1tiffs (Hispanic)

contractors, also persons-of-color, were viciously yelled-at, harassed and intimidated/interfered-with by [RSR], acting in conspiracy with
(JSP&KAP], not to step onto even the border-edge of [JSP&KAP]'s prope1ty - particularly egregious harassment, given that such landscapers

needed to install border-edging on the property border, in-order-to prevent the different species of grass from growing into each other (sce-

abovc).



1603
On or about the date and approximate tune of {2021-06-26 19·.00J, tl1e plaintiff is on or near the [DRJVEWAY] area. [JSP] approaches the

tap in the side-yard of [784KLL TX78641 ], and after noticing the plah1tiff near the [DRIVEWAY] area, abusively shouts at the plaintiff in-

order-to get the plaintiffs attention, pointing to a few-small-pieces-of-debris in the side-yard of (784KLLTX7864 l ], with statements that

h1cluded, "DUDE, GET ALL THESE- HEY! HEY! HEY! HEY! HEY, GET ALL YOUR LITTLE THINGS OUT OF MY YARD, DUDE! GET

ALL THESE PEANUTS OUT OF MY YARD! I WANT THIS TRASH OUT OF MY YARD, SID! YOU BETTER PICK IT UP, TOO! I KNOW

IT'S YOURS! ... " Since [JSP] does not get a response from the plah1tiff, [JSP] then walks away angrily, continuing to yell statements regarding

the aforementioned few-small-pieces-of-debris, "GET THESE PEANUTS OUT OF[???}! ... [???}![???]!I KNOW THOSE ARE YOUR

PEANUTS- YOU BETTER TAKE CARE OF IT!" [JSP] then enters into his pickup-truck located in the driveway of[784KLLTX78641]. [JSP]

reverses his pickup-buck onto the street, and as [JSP] drives down the street with passenger-window half-open, abusively yells some other
threateninwn1tin1idating words towards the plaintiff, "YOU NEED TO GET THAT TRASH OUT OF MY YARD!" - so that even other residents

several houses away could easily overhear. Approximately 12 minutes later, [JSPJ arrives back in his pickup-truck, parking such pickup-truck

back in the driveway of [784KLLTX78641 ], exits such pickup-truck, walks towards the plaintiff (still on or near [DRJVEW AY] area), and

upon noticing that the aforementioned few-small-pieces-of-debris have not been picked-up by the plaintiff, continues to point at such debris
 and abusively shouts at the plaintiff, "SID, GET THIS TRASH OUT OF MY YARD, MAN! YOU KNOW THAT'S YOUR TRASH! I EXPECT IT

 TO BE GONE WHEN I COME BACK AND LOOK AT IT! ... YOU NEED TO PICK THAT TRASH UP!". [JSP] then walks away as he

 notices that the plaintiff is not responding to such abusive statements.



 1604
 On or about the date and approximate tune of {2021-06-30 I 0:00), the plaintiff begins to pick so-called "weeds" in the [FRONTYARD], oncc-

 again, noticing an ever-increasing quantity of such so-called "weeds" in the former area of no-mow-grass fully-damaged and/or destroyed by
 [JSPJ's repeated, malicious acts of vandalism against the plah1tiff. AB the plaintiff is performing this work, [JSP] stm1s to use a ve1y-loud

 gasolh1e-powered string-trimmer to cut grass on his yard. Once [JSP] enters near the border-of the two-prope11ies, [JSP] extends such very-


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loud gasoline-powered string-trimmer up to 3-feet into the plaintiffs [YARD), and begins to cut such vegetation on the plaintiffs [YARD) (as

he has done in numerous occasions prior to this date, and on at least some other occasions after this date). After [JSP] notices the same few-

small-pieces-of-debris from the previous incident (see above), [JSP) starts to abusively yells further fraudulent and gaslighting statements at the

plaintiff that are ve1y reminiscent of the abusive statements made by White-Supremacists/White-Nationalists in the [SBPDL) blog (see section

below): "HEY[???]! GET ALL THIS TRASH IN MY YARD![???]! IF YOU DON'T GET ALL YOUR[???],{???]! I'MA TAKE A

PICTURE OF ALL OF IT, CALL YOU IN TO ALL YOUR BUDDIES, THAT THINK YOU'RE 'GREEN'! YOU'RE ACTUALLY 'BLACK'!

STUPID[???] FUCKER! LITTERING SON-OF-A-BITCH! YOU KNOW HOW BAD THESE ARE FOR THE ENVIRONMENT, SID?!

THESE PEANUTS! YOU DON'T CARE! YOU DON'T CARE ABOUT NOTHING, FOOL! YOU AIN'T NOTHIN BUT A LIAR! YOU'RE A-

YOU'RE A POSER! POSER WANNA BE A 'GREEN' GUY! YOU AIN'T REAL. REAL DON'T HAVE THESE! THEY SURE DON'T LITTER

IN PEOPLES' YARDS! FUCKER!" [JSP] bends down multiple times picking up such few-small-pieces-of-debris, walks towards the plaintiffs

side-yard and throws such debris deep into the plaintiffs side-yard area, while continuing to yell abusive statements, "GOD SID, COME-ON

MAN! YOU'RE NOTHING BUT A[???] FUCK! ASS-HOLE![???][???][???] "[JSPJ then approaches his very-loud gasoline-powered

string-trimmer while shouting at the plaintiff, "GETTIN IN THERE, PULLIN THE TOPS OFF TRYING TO MAKE IT LOOK LIKE YOU'VE

DONE SOMETHIN! I'M WARNING YOU[???][???]!" [JSP) then powers up his ve1y-loud gasoline-powered string-trimmer and continues to

operate such equipment to cut more grass around other areas of his yard. [JSP] then powers up his very-loud gasoline-powered lawnmower

and continues to operate such equipment to cut more grass around other areas of his yard, at least at one point in time, raises his hand to

angrily issue the obscene/vulgar gesture of his middle-fmger to one-or-more of the plaintiffs security-camera(s). Shortly after [JSP] fmishes

such work, [JSP) enters into his pickup-truck in the driveway of[784KLLTX7864I), reverses such pickup-trnck out onto the street, while the

plaintiff continues to pick so-called "weed\·" in the so-called "curbside-grass-area" in front of the public-side-walk area. While [KAP] is

speaking with one-or-more White-American contractor(s) and/or guest(s) in their frontyard, [JSP) passes the plaintiff in his pickup-truck on the

street, blaring the loud-horn of such pickup-buck in-order-to scare/stmtle the plaintiff, as he has intimidatingly done on numerous occasions

prior to this date, It is important to note that during at least some, if not most of the time documented in this incident, [JSP)'s son, [NP], and

[JSP]'s wife, [KAP] are also outdoors in the area, listening-to and in full support of [JSP)'s abusive rants and actions against the plaintiff.



 1605
 On or about an evening in the end of the month of {2021-06), the plaintiff is unboxing a package of hard-disk-drives on the driveway of the

 plaintiffs property [788KLLTX78641). Each of the hard-disk-drives had been individually wrapped by the seller in a thick layer of

 foam/bubble-wrap in-order-to ensure that the hard-disk-drives would not be damaged durh1g delivery. As the plah1tiff is unboxh1gunwrapping

 the package and photographh1g each wrapped hard-disk-drive, [JSP), who had apparently been stalkh1g the plah1tiff as he had done on

 countless occasions, yells out to the plaintiff, "JS TlJAT COCAINE?!", as if threatening to report the plaintiffs unboxingunwrapping of such

 packages to local and/or federal law-enforcement. The plaintiff does not respond in any way and instead continues to unbox/unwrap and

 photograph the wrapped hard-disk-drives. According to [JSP], if a person-of-color such as the plaintiff handles such wrapped packages, and

 those wrapped packages have a white color, then the item(s) must be illegal narcotics of some kind. As this lawsuit tries to document, this

 h1cident is clearly not the first time that [JSP] uses racist stereotypes in racist rl1etoric/threats against tl1e plaintiff while in a public setting in-

 order-to intin1idate/interfere-with/dehumanize/humiliate the plaintiff.




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91606
On or about the date of {2021-07-0 I}, the then Community-Manager of the [HOA] Property-Management-Company, [SPOA-CM-JH], sends

the following email message (see below) to all residents of the subdivision, ahead of July-Fourth, reminding all residents that the lighting of

fireworks is illegal within the subdivision. The plaintiff asserts that such repeated emails from the [HOA] are truly disingenuous because neither

the [HOA] nor [WCLE] truly-and-seriously intended to enforce the fireworks-ban restrictive-covenant (and the Texas law of Disorderly-

Conduct) within the neighborhood. As a result of this lack-of-enforcement, the rampant lighting of faeworks in the neighborhood by countless

residents of the neighborhood (including [JSP],[NP]) continued through this year and following years (as evidenced by numerous social-media-

postings by numerous residents complaining about such issue).
         • s.-rlyn : Rl!MDIJER - F.i.r9 llorlc" ,    EMIUL nu! [SPO'--Qhlll]      ( S.-lynl        RESIDlll'rS CXlO!Rlmll "F.IRDltll1(S BAN"    (2021- 07- 01 12 :34 ) (~)

 •   [    PRIVA7E lNEa'HM'IOtl IN EMIUL CMI'ITl!D/Rl!IW:'l'l!ll TO monx:"l' PIUVllC't J


  [SPOA-CM-JH)              With the Fourth of July only a fe111 days al\'ay, I wanted to remind eve1yo11e that the association'., docnments strictly prohibit the use offirt'll'Orks within the
                            S11111mer(1'11 POA co111m1111i()1.


                            Specifically, this language can befo1111d in Section 3. 4 (/) of CC& Rs of the Declaration qf Cove11a11ts, Conditions, a11d Restrictions.


                            Yo11 may review Wil/iam.1·011 Co1111ty firell'orks rules and safety lips at:
                            https://1,~•~v. 11•ilco.org/1vi/lia1mo11-c01111ty-fire-111arshals-offlce-ojfe1-s-fire11·0rks'.safer_1~rips-ahead-of-the-holidays


                            Residents can also check the co1111/y map with theflrel\'orksfree b1ifler zone area lo find 0111 whereflre11v1k, are allowed by visiting:
                            hllps://gis. wilco.01glmaps/?vie11-e1=co11111y111ap


                            ifyou believe that there may be afire and/or medical eme1ge11cy 1-elated to the use offlreu-orks, please call 91 I and request the local Fire Dep011111e11/.


                            I hope eve1yo11e has a safe and enjoyable lndepe11de11ce Day!


                            Regards,


                             Comm1111ity Manager
                             Spectrum A.~1·ociatio11 Ma11ageme111
                             IMPORTANT NOTE: This email is 1101111011it01-ed Do 110/ reply.
                             Pa11-ered by CJNC Co1111111111ily A.~mciatio11 Ma11oge111e11t Saft ,mre




 i607
On or about the date and approximate time-period of {2021 -07-02 02:48} (early morning-tin1e), [JSP ], after using a hose to water parts of the

side-yard area of his property, faces one-or-more of the plaintiffs security-camera(s), and with both of his hands held up high, angrily issues

the obscene/vulgar gesture of the middle-fingers raised to each of these security-camera(s).



 91608
On or about the date and approximate time-period of {2021-07-04 22:30} through {2021-07-05 00:00}, [JSP], [NP] (and/or [KAP]) illegally

 light ve1y-loud fireworks as they have done on multiple occasions of almost every single year (if not eve1y year) on the street directly in front
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of their residence at [784KLLTX7864 I], undoubtedly disturbing the sleep-schedules and/or work-schedules of neighboring resident(s)

(including the plaintiff). On the morning of the following day ( {2021-07-05} 07:30), the plaintiff notices a large pile of the debris and other

waste-products from these fireworks on the street directly in front of the [JSP&KAP)'s prope1ty [784KLLTX7864 I]. Again, the lighting of

loud fu-eworks (especially late at night) in such deed-restricted residential subdivisions is not only a violation of the subdivision's restrictive-

covenants (under civil contract law), and not only a violation of County-wide burn-ban(s) (whenever such burn-ban(s) are in effect), but at a

minimum, also a violation of the Texas criminal law Disorderly-Conduct [TPeC-T9-C42-§42.0 1(5)].



1609
On or about the date and approximate time of {2021-07-05 07:00}, the plaintiff takes a walk on some of the public sidewalks of the

ne ighborhood. On the way to and from the mailbox, the plaintiff holds a camera to record evidence of the debris from the illegal lighting of

fireworks left on the road/sidewalk/other-public-property. The plaintiff notices what the plaintiff would later find out to be [WCSD-O-Neil)'s

police-vehicle drive past the plaintiff on one street. Right before the plaintiff reaches the mailbox on another street, the plaintiff notices

[WCSD-O-Neil] drive up to the plaintiff again, stopping the plaintiff on the road in-order-to question the plaintiff. [WCSD-O-Neil] infom1s the

plaintiff that he had not seen the plaintiff around in this neighborhood, and asked the plaintiff if the plaintiff lived in the neighborhood. The

plaintiff responded that the plaintiff was a resident of the neighborhood, although the plaintiff failed to inform [WCSD-O-Neil] that the plaintiff

was, at-that-moment-in-time, a more-than-12-year resident of the neighborhood. [WCSD-O-Neil] questions the plaintiff as to why the plaintiff

was holding a camera, and the plaintiff explained to [WCSD-O-Neil] that the lighting fireworks was/is against the rules of the subdivision (and

also a violation of Texas law, Disorderly-Conduct [TPeC-T9-C42-§42.01(5)]), and that the plaintiff was merely recording further evidence of

such violations left on the road and other public-property. After [WCSD-O-Neil] determined that the plaintiff was only acting lawfully,

(WCSD-O-Neil] returned to his vehicle and drove his vehicle away from the plaintiff. On the plaintiff's way back to the plaintiff's prope11y, the

plaintiff noticed a large pile of debris and other waste-products on the road in front of [784KLLTX7864 l ], from the fu-eworks, illegally lit the

 night before by [JSP], [NP] (and/or [KAP]). According to the plaintiff's recorded-footage, [WCSD-O-Neil] did have a body-worn-camera -

 and as such, such body-worn-camera should have been recording all aspects of this Unconstitutional-And-Unlawful

 search/seizure/interrogation/detention of the plaintiff - unless, [WCSD-O-Neil] deliberately turned-off such body-worn-camera (at any point in

 time) in-order-to Obstrnct Justice against the plaintiff.



 1610
 On or about the approximate date and approximate time of {2021 -07-09 19:00}, [JSPJ walks from the driveway area of [784KLLTX78641] to

 the side-yard area of[784KLLTX7864 l] to open the tap and handle a hose. [JSP] has always vandalized the plaintiff's security cameras, not

 only to destroy evidence/recording-equipment of (JSP&KAP)'s numerous racially-motivated hate-crin1es/civil-rights-violations/racketeering-

 acts/abuses against the plaintiff, but also to prevent the plaintiff from recording the numerous/constant, and completely-unptmished, violations

 of restrictive-covenants that [JSP&KAP] had committed while residing at [784KLLTX7864IJ:
  •    Rl!XX'RlE%l MCIST, ABUSIVE, ~ , ~ JIM) VMlll\LIZDll lWIT FIOI [.JSl?J ro PUUNl'IFF (~) •   (2021-07- 09 18: 00) (~)
  •    [ PIUVM1l URL LINK ro Ill! SIBCITffD m DlSCXM!RY I




      « [JSP] \·li\LKS FROM [784KLLTX78641] DRIVEWAY TO [784KLLTX78641] SIDE- YARD TO OPEN TAP Af,10 IIANDLE A HOSE . D

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[JSP)               Stupid do11che/10g!


 0C    PLAINTIFF ENTERS INTO [FRONTPORCH] , l\ND /IS SOON AS (JSP] SEES PL/1.INTIFF, STAATS TO YELL OBSCENITIES AT PLAINTIFF: D


[JSP)                HEY DOUC/-IEBAG- YOU THJNK YOU CAN JUST LEAVE YOUR TURTLES HERE. HUH?!


 0C    [JSP] ANGRILY MlJ'ITERS SOME OTHER INAUDIBLE WORDS . D


[JSP)                F11cki11 douche-ball! ... [???] ... {???} shit!


 a [JSP] USES HOSE TO SPRAY/DOUSE 5 CORNER SECURITY- CAMERAS l'IITH WATER, AS HE HAS DONE MULTIPLE TIMES IN PAST . D
 ~     PLAINTIFF HAS ALREADY REPORTED [JSP] ' S VANDALISM OF SUCH C/\MER/\S TO [WCLE] ; SO, THIS ACT IS ALSO ANOTHER OF MANY COUNTS OF

EVIDENCE-TAMPERING . D
 t [JSPJ ANGRILY RAISES HIS HAND TO ISSUE OBSCENE/VULGAR GESTURE OF HIS MIDDLE: FINGER AT ONE-OR-t-'.ORE SEClJRI1'Y CAMERAS . D
 0C    [JSP] THEN STARTS SHOUTING A RACIST, ABUSIVE, FRAUDULENT, AND THREATE:NING RANT TO PLAINTIFF ' S SECURITY CAMERAS . D


 [JSP)               'PEEPJNG TOM'! YOU'RE A 'PEEPING TOM'! ... DIRTY BASTARD! ... FRICK/NG 'PEEPING TOM'!


  a [JSP] ABUSIVELY LAUGHS, MOCKS AND CONTINUES TO YELL OBSCENITIES AT PLAINTIFF: D

 [JSP)               YOU'RE A 'PEEPING{???}'! A.\vho/e!


  ~ [JSP] THEN YELLS OUT JN A MANNER SO THJ\T EVEN PERSON(S) MANY RESIDENCES AWAY COULD EASILY OVERHEAR: D



 [JSP )
                     FREAK-Of ... YOU'RE A FREAK!/???/ DAMN/???/! YOU AREA FREAK TO BE ABLE TO LWE BY YOURSELF! FUCKING
                      WEIRDO! {???]!{???]! {???] shit!{!!!]!


      [ [JSP] CONTINUES TO MUTTER OTHER ANGRY WORDS AT PLAINTIFF. D
      ~ [JSPJ CONTINUES TO ANGRILY STARE AT ONE-OR-~XJRE OF PLAINTIFF ' S SECURITY-CAMERAS . D
      ff [JSP] USES HOSE TO SPRAY/DOUSE 3 ADDITIONAL SECURITY-CAMERAS ~llTH WATER, AS HE HAS DONE MULTIPLE Tll-IBS IN PAST . )\
      a AT LEAST 5 OF SUCH SECURITY CAMERAS HAVE BEEN DAf.1AGED IF NOT BY THIS l\CTTON, BY NUMEROUS CUMULA'I'IVE ACTS OF VANDALISM BY
 [JSP] . D
      ~ [JSP] THEN CIDSES THE TAP, WRAPS THE HOSE BACK UP ON THE t✓.OUNT, AND \~/ILKS AWAY FROl1 THE PLAINTIFF . jJ




1611
On or about the day and approximate time of {2021-07-15 10:30}, the plaintiff notices a light-brown-pickup-truck drive up and down the street

multiple times, each time pausing on the road in front of the plaintiffs propetty [788KLLTX7864 I]. The truck seems to eventually park near

[784KLLTX7864 l ], and the occupants of this truck, which appeared to be an Unidentified White-man and Unidentified White-American

woman (UWAW-4), exit the truck and enter into the exterior-front-hallway of [JSP&KAP)'s property [784KLLTX7864 l]. Approximately 30

minutes later, these individuals exit the house of [784KLLTX7864 l] and initially walk back towards the truck. [UWAW-4) walks down the

sidewalk in front of the plaintiffs property [788KLLTX7864 I] and takes approximately 20 seconds to look-at/read the plaintiff's political yard-

signs. [UWAW-4) then stares at the [GARAGE]/exterior-front-hallway area of the plaintiffs property for a few more seconds, and then walks

back towards the light-brown-pickup-truck. The light-brown-pickup-truck d1ives away shortly thereafter. If this Court grants the plaintiff the
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opportunity to litigate this case, the plaintiff would seek to depose and/or cross-examine this particular witness, [UWAW-4].




1612
On or about the day and approximate time of {2021-07-15 14:00}, the plaintiff notices a "For Sale" yard-sign newly installed on the frontyard

of[JSP&KAP]'s property [784KLLTX78641].



CJ[ 613
On or about the day and approximate time of {2021-07-15 14:00}, the plaintiff notices that certain guests of [784KLLTX78641], park their

vehicle at the curbside directly in front of the plaintiffs property [788KLLTX78641]. The plaintiff notices that at least one of these guests, an

Unidentified White-American man, [UWAM-3], approximately 200 pounds, approximately 5-feet-10-inches-tall, takes IO seconds or more to

look-at/read the plah1tiffs political yard-signs. These !,'llests - all of the White/Caucasian/American color/race/nationality- appear to walk to the

front-door area of [JSP&KAP]'s property [784KLLTX78641]. Then, approxhnately half an hour later, the same guests exit from the house of

[784KLLTX7864 l ], and approach their vehicle, which is still parked at the curbside directly in front of the plaintiffs property. [UWAM-3],

walks onto the driveway of the plaintiffs property [788KLLTX7864\], without wearing a face-mask as a safety precaution against COVlD-19,

and is h1itially told/signaled by one of the other guests not to enter h1to the plah1tiffs property. [UWAM-3] looks back at them, makes hand

gestures towards them to calm them down, and then continues to walk towards the [FRONTDOOR]. [UWAM-3] has a photographer's camera

 (not a camera-phone) on his chest which is strapped around his neck. [UWAM-3] briefly looks into the plaintiffs garage which is open at that

 time. [UWAM-3] enters h1to the exterior-front-hallway of the plah1tiffs property [788KLLTX78641] and rings the front-doorbell of the

 [HOUSE]. [UWAM-3] continues to look-around/observe various items stored on/around the plaintiffs front-porch and garage. After [UWAM-

 3] waits without any response in the exterior-front-hallway area of[788KLLTX78641], for about 30 seconds, [UWAM-3] walks back toward

 the sidewalk, makh1g one last cursmy inspection of the plah1tiffs garage before he walks out of the [DRIVEWAY]. [UWAM-3] makes some

 comments about what he observed to the other guests near the vehicle, and then, all of these guests enter back into the vehicle, and drive away

 from the plah1tiffs property within a few minutes of such time. If this Court grants the plamtiffthe opportunity to litigate this case, the plaintiff

 would seek to depose and/or cross-examine this paiiicular witness, [UWAM-3].



 1614
 On or about the day and approxinmte time of {2021-07-15 19:30}, the plamtiff is in the plaintiffs [DRIVEWAY] unboxing and photographing

 some new package(s). [JSP] drives up the street in his pickup-truck and parks the vehicle h1 the driveway of[784KLLTX7864l]. Shortly after

 that point, [JSP] approaches the plaintiff as the plah1tiff is still unboxing and taking photographs of such package(s). Then, [JSP] yells some

 words at the plah1tiff so as if to get the plaintiff to identify the items that the plaintiff is unboxing. The plaintiff does not respond and does not

 look up at [JSP]. (JSP] continues to stare and h1timidate the plaintiff for more than a minute as the plaintiff continues to work. (NP], then

 pushes a lawn-mower from the backyard of[784KLLTX78641] into the front-yard of[784KLLTX78641]. This action from [NP] distracts

 [JSP] from [JSP]'s act of mthnidationiinterference/harassment/stalkmg agamst the plamtiff. [JSP] eventually walks away from the plaintiff,

 while the plaintiff shnply conthrnes to work in the [DRIVEWAY].




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On or about the day and approximate time of {2021-07-16 20:00}, the plaintiff is working in the plaintiffs front-porch area. [JSP] drives up

the street in his pickup-truck and parks the vehicle in the driveway of [784KLLTX78641]. Almost immediately thereafter, [JSP] approaches

the plaintiff, angrily and aggressively, and beings an abusive and threatening rant against the plaintiff:
 •             mxRlED RM::lST, SJSIVE, 'l'IIREM'li2llN ».i ASSAIILTIVB IWff no« (JSP) TO '1'1111 PL\INl'UT(~) •     {2021- 07- 16 20: 00) M
 •             [ PIUVM\!l tlllL LINK TO BB SIBC'1Tl!D m DIS0:11/ERY J




     ff [JSP] WALKS AGGRESSIVELY/ANGRILY 'frn1ARDS PLAINTIFF S'l'OPPING NEAR THE BORDER OF [784KLLTX78641] : il
     [JSP]                        HEY SHIT-FOR-BRAIN! YOU THINK YOU COULD SHUT YOUR DAMN, YOUR GARAGE-DOOR! SO WHEN PEOPLE COME BY, IT DOESN'T

                                  LOOK LIKE SUCH A PIECE OF SHIT!


      [ PLAINTIFF OOES NOT LOOK-AT NOR RESPOND-TO [JSP) .                            il


     [JSP]                         YOU HEAR ME, DICK-WEED! SHUT YOUR GOD-DAMN GARAGE-DOOR, l'OU ASS-HOLE!


      a PLAINTIFF COES NOT LOOK- AT OR RESPOND-TO [JSP] . [JSP] TEMPORARILY WALKS AWAY FROM THE PLAINTIFF . il
      1£ PU,INTU'F CONTINUES 'l'G \•KlRK IN/AROUND [FRO~ITPORCH] AREA OF [788KLLTX78641] . il
      a Ml\NY MINUTES LATER, [JSP] \'IALKS BACK TOWARDS PLAINTIFF, THIS TIME APPROACHING THE SIDE SIDE-TAP OF [784KLLTI<78641] HOUSE .

      ff [JSP] OPENS THE TAP TO WATER THE [784KLLTX78641] YARD .                               [JSP] SPRAYS WATER ON [784KLLTX786411 YARD . iJ

          a PlAINTiff BRIEFLY LOOKS IN THE DIRECTION OF [JSP) ~-o SEE IF (JSP] IS SPRAYING WATER ONTO PLAINTIFF ' S SECURITY-CAMERA(S) . il
          ff [JSP] MAKES EYE-CONTACT nITH THE PLAINTIFF, AND AGGRESSIVELY/ANGRILY/VULGARLY HOLDS UP HIS MIDDLE-FINGER TO PLAINTIFF . ii
          ff [JSPI, \!IITH HOSE IN HAND,              CONTINUES WATERING YARD OF [784KLLTI<78641) PERIODICALLY LOOKING MENACINGLY/ANGRILY AT PLAINTIFF .

     il
          0C    (,JSP], AFTER A MINUTE OF WATERING YARD OF [ 784KLLTX78641] vlALKS TO t'.ORE-EASILY LOOK-AT/YELL-A'!' PLAINTIFF .                        ii
          0C [JSP] MAKES AN ANGRY GESTURE \·lITH HIS HAND W.·ll\RDS THE PLAINTIFE' AND STARTS 'l'O MUTTER OBSCENE/VULGAR !·/ORDS . D

          a [JSP] LOOKS DIRECTLY INTO ONE OF PLAINTIFF ' S SECURITY- CAMERAS AND AGGRESSIVELY/ANGRILY/VULGARLY HOLDS UP HIS MIDDLE-FINGER.

          (1 [JSP] CONTINUES TO WATER [784KLLTX78641] YARD, AND PERIODICALLY LOOKS-AT/YELLS-AT BACK AT THE PLAINTIFF .                                  ll
          (1 [JSPJ THEN MAKES GROSSLY-UNINFORl•lED STATEMENTS ABOUT THE COVID-19 PANDEMIC WIDELY REPORTED IN FAR-RIGHT-WING MEDIA :                                   ii


      [JSP]                        Guara11teeyou, {???] ... WHAT ARE YOU, GOING TO GETCOVID, MAN?!! WHAT THE HELL YOU WEARING THAT FOR, YOU DUMBASS! ...
                                    WHO.THE HELL YOU GOING TO GET IT FROM?! AIN'T NO-ONE COMIN BY YOU, YOU DUMBASS! ... ARE YOU REALLY THAT DUMB?! .. .

                                    CAN'T GET COVID LIKE THAT, YA MORON! ...



          (1 [JSPJ CONTINUES TO WATER [784KLLTX78641] YARD, AND PERIODICALLY LOOKS-A'r/YELLS-1\T BACK AT THE PLAINTIFF- ll

          ~ -vJHILE CONTINUING TO MAKE ANGRY THREAT (S) OF BLACKMAIL/RETi\Lll\TION AGAINST THE PLAINTIFF . ll



      [JSP]                         NEY DUDE! SHUT l'OUR GOD-DAMN GA IUGE, MANI IT LOOKS LIKE ASS! ... l'OU BETTER SHUT IT, OR l'M GONNA! ... YOU CAN TAKE
                                    THAT TO THE BANK, DOG! ... I IV/LL COME OVER THERE, AND I Will SHUT IT! ... I GOT TO FIX IT! BECAUSE l'M SURE IT'S BROKEN! ...
                                    THAT DOOR'S GETTIN SHUT! ... IT'S BAD ENOUGH THAT YOUR PLACE LOOKS LIKE A PILE OF SHIT! ... You 11101he1:(ucker! ... You know whar,
                                    Sid?! We're going to play{???], ifyou're going to ploy{???]!{???} I'm{???] to BRING IT DOWN ON YOUR ASS![???) ...


           ff [JSPJ CONTINUES TO ~!ATER [784KLLTX78641] YARD, AND IN DOING SO,                                 TEMPORARILY TURNS HIS BACK TOWARDS PLAINTIFF .   ll
           11 [JSP] , l•/HILE 1°/ATERING YARD, CONTINUES TO PERIODICALLY LOOK-MENACINGLY-BACK-AT PLAINTIFF .                                  ii

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 K [JSP] , WHILE WA'fERING YARD, NOTICES A PIECE-OF- PLASTIC ON T!IE BORDER OF [784KLLTX78641] . ii
 [     [JS P] UNLA~lFULLY EN'l'E:RS INTO PLAINTIFF ' S [YARD] , BENDS OOWN TO PICK UP SUC!I PIECls-OF-PLASTIC, ANGRILY THRO'i!S- j]

 a -IT INTO PL/\IN'l'IFF ' S [YARD] , ANGRILY YELLING : ii

 [JSP]               [???][???]CRAP OUT OF MY YARD/[???]!


  1£   PLAINTIFF DOES NOT RESPOND IN !\NY MANNER . iJ

  1£   (JSP] CONTINUES TO t'DVE AND WA'l'ER OTHER AREAS OF [7841<LLTX78641] FRONT-Yi\RD GRASS .        ii
  ~ AFTER (JSP] FINISHES SUCH WATERING, AND CLOSES THE '!'AP,          [JSP] PICKS UP Tl.;Q-OR-t✓,ORE PIECES OF DEBRIS ON TIIE YARD OF- ii

  [ - (784KLLTX78641] l\ND HURLS SUCH DEBRIS ONTO OR IN THE DIRECTION OF THE PLAINTIFF ' S PROPERTY [788KLLTX78641] .            ii
  1£   [JSP] THEN \·/ALKS AWAY AND TO':lARDS THE FRONT OF [ 784KLLTX78641] .      ii




1616
On or about the date and approximate nighttime of {2021-07-24 21 :30} (nighttime), [JSP] is near his boat parked illegally on the street (in clear

violation of the neighborhood's restrictive covenants). Another unidentified White-American woman [UWAW-2] walks her dog up the sidewalk

and encounters [JSP] near his boat. [UWAW-2] notices the ''For Safe" yard-sig11 on [JSP &KAP]'s property [784KLLTX7864 l] and starts a

conversation with [JSP] about the sale of their property. The conversation quickly switches to focus on the plaintiff and plaintiffs property,

with [UWAW-2] clearly showing her shameless support of [JSP], despite of [JSP]'s admissions of committing felony crimes against the

plaintiff (for which [JSP] was even confronted by a resident of [785KLLTX78641] - see above): If this Court grants the plaintiff the

opportunity to litigate this case, the plaintiff would seek to depose and/or cross-examine this particular witness, [UWAW-2]. The most

important aspects of this extremely-revealing and abusive conversation is that:



® In his casual dialogue with [UWAW-2], [JSP] clearly expresses his extreme anger that another neighbor, [785KL-20 18- 1], actually
confronted and questioned [JSP] about [JSP]'s engagement in such felonious criminal actions of retaliation, vandalism and evidence-tampering

against the plaintiff, once again, revealing that [JSP] clearly considered himself to be the unquestioned mob-boss of the neighborhood - to quote

the conventional expression: "The godfather does not tolerate disobedience [or disloyalty]."



@ As [UWAW-2] and [JSP] were talking, if not loudly, still at a sufficiently-high volume for people across the street to hear, the residents of
[785KLLTX7864 l ], including [785KL-2018-1] appeared to be within or near the open-garage area of [785KL-2018- 1], which means that they

could have overheard such brazen words of impunity from [JSP] and his co-conspirator, [UWAW-2], once again, indicating that [JSP], acting

like the mob-boss of the neighborhood, truly did not care that his continuing pattern of criminal actions (along with his absurd justification(s)

for those criminal actions) against the plaintiff were being witnessed by multiple of the neighborhood's residents, solely due to the

''powerlessness" of the plaintiff, which in turn was the direct result of the plaintiffs racial-profile (   e ).

© One of the many absurd (but also clearly fraudulent) justifications that [JSP] provides for vandalizing the plaintiffs property is that,
according to [JSP], "a//" of the plaintiffs security-cameras are only pointed at [JSP]'s property, when both [JSP] and [UWAW-2] know fully-

wel~ that the security-cameras on the plaintiffs property are evenly distributed throughout the plaintiffs property, with the sum of all such

security-cameras pointed at all directions, comprehensively covering all areas surrounding the plaintiffs [HOUSE], and thus, clearly not only

pointed towards [JSP]'s property; this statement clearly shows the brazen narcissism of [JSP], that according to [JSP], [JSP] belongs to a
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unique, specialized-class of unanswerable-and-unaccountable mob-boss(s) whose criminal behaviors/actions cannot be recorded, even by such

lawfully installed security-cameras.



@Even though [UWAW-2) does not know that [JSP]'s admission of such vandalism simply represented only one of the many dozen counts

of mostly-retaliatory (thus mostly-felonious) hate-crimes/civil-rights-violations/racketeering-acts/abuses that [JSP&KAPJ (and their co-

conspirator [RSR)) had aggregately committed against the plaintiff during a period spanning more than a decade, [UWAW-2) still, nonetheless,

actually warns [JSP) that [JSP)'s (single act of) vandalism of the plaintiffs property could be used against [JSP) at some later point in time, to

which [JSP) responds, "I don't care!" and words-to-the-effect that the plaintiff is powerless - even laughing out loud along with [UWAW-2),

essentially acknowledging that he gets to commit racially-motivated hate-crimes/civil-rlghts-violations/racketeering-acts/abuses against the

plaintiff with absolute impunity, thanks to the obsh·uctive-and-retaliatmy, blackmailing-and-defrauding racketeering-enterprise enabled-by and

involving government defendant [WCLE).



® Even though [UW AW-2) issues this warning to [JSP), at no point h1 time did [JSP) actually reveal to [UWAW-2) the full-extent of the ten
mhmtes worth of malicious vandalism that [JSP) and [NP] had engaged h1 on that particular day, with significant damage caused not only to

such security-camera(s) but also to the surrounding surfaces of the plah1tiffs [HOUSE) onto which such security-camera(s) were mounted, or

for that matter, that (JSPJ actually issued a vulgar-and-sexist gesture by ush1g both of his hands to point to his genitals directed towards such

security-camera(s).



® [UWAW-2) states that she had thought that the plaintiff once wore or used to wear a "dress-shirt and a tie", showing the type of "ultra-
conservative" and/or far-right-wing neighborhood that the plaintiff is living in. In other words, the plaintiff could just-as-easily have had the

most distinguished Doctorate degree from an Ivy-League University, but as long as the plah1tiff is dressed in rags and/or ethnic clothh1g of any

kh1d, with long/uncut hair/beard, at least some fraction of such neighbors would continue to treat the plaintiff as if the plaintiff was a low-IQ,

powerless, subhuman anin1al. (At least part of the injunctive-relief that the plaintiff seeks - see below - seeks to ensure that no person-of-color

can be, in any way, intimidated, interfered-with, or otherwise-pressured-to dress/groom according to any White-American standards in-order-to

 own and/or reside-in private-property located within a White neighborhood.)



 @ (JSP), very-revealingly, admits that neither he nor his family ever saw the plah1tiff dumping/burying human faeces h1 the plah1tift's [YARD]
 at any poh1t h1 thne, but this is precisely what [JSP) and his wife [KAP) have on more-than-one occasion fraudulently complained to law-

 enforcement-agencies about - first to the [TCEQJ in the incident that occurred on-or-about {2017-05-28} (see above), and then also to

 [WCLE], at least in the years {2020} / {2021}. Therefore, both [JSP) and [KAP] knowingly made multiple fraudulent statements about the

 plaintiff on multiple occasions to all of these law-enforcement agencies, thereby committing several counts of the crime of "False-Report"

 against the plaintiff, which even prompted both of these agencies - the [TCEQ) and [WCLE) to execute egregiously unconstihltional-and-

 unlawful searches/seizures of private areas of the plaintiffs property - thus, further count(s) of retaliatory (thus felonious) crhnes and racially-

 motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff - as all of these crimes against the plaintiff were
 committed both due to [JSP&KAP)'s extreme-racial-animus agah1st the plaintiff, and due to then· strong desire to retaliate against the plah1tiff

 for the plaintiffs (video-)recording and reporth1g of their hate-crimes/civil-rights-violations/racketeerh1g-acts/abuses against the plaintiff.



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® [JSP], just like co-defendants [RSR] and [WCLE], deliberately uses the term "trash" in referring to item(s) stored in the plaintiffs
[BACKYARD], when none of the [THaSC] defines this term. Instead, the [THaSC] has defmed the terms, "garbage", "r~fi1se" and "rubbish"

all with specific meaning (along with examples of each) - but not "trash". The plaintiff has always maintained that there is absolutely no waste

material of any kind stored in the plaintiffs [BACKYARD]. Thus, none of the item(s) stored into the plaintiffs [BACKYARD] have fallen into

those aforementioned categories. Furthermore, the government does not have the authmity to determine what iten\.(s) have value, and what
                                                                                                                             11
item(s) are waste, as this determination can only be made by the owner(s) of such item(s) - with the conventional idiom, One man's 'trash' is

another man's treasure". Nonetheless, the law regulating "rubbish" (exclusively non-decayable waste) is substantially different from the law

regulating "garbage/refuse" (which includes decayable waste) and even "garbage/refi1se" is legally allowed to be stored in "closed
                                                                                                                                       1
receptacle{.!i)", while none of the material(s) used for "composting"fall into any of the aforementioned categories. The defendants deliberate

avoidance of use of the proper legal-terminology was always to circumvent the law and violate the plaintiffs rights. A common theme
expressed in this lawsuit is that the defondants did not bother to even read the State/Local law(s)/covenant(s) that they were, for over a decade,

fraudulently accusing the plaintiff of violating - once again, revealing to any reasonable observer that the defendants were acting solely under

the fraudulent pretext of law-enforcement, maliciously mi.,;;;-interpreting and predatorily enforcing property-maintenance-laws, for the sole
purpose of defrauding the plaintiff, an immigrant-of-color/indigenous-person, out of the plaintiffs right to private-property-ownership within

such White neighborhood.



(D [JSP] states lo [UWAW-2] that the plaintiff has had so-called "weeds" growing "up to almost the roof' in the [BACKYARD], when the
Texas law does not properly/sufficiently defme the culturally-insensitive/religiously-insensitive and ethnocentric tenn "weed!i" (see section

below), and furthennore, this particular issue of the intentional growing of wild-vegetation (unjustly deemed to be so-called "weed!i') is known

to be a Constitutionally-protected first-amendment practice (see section below) under Freedom-of-Religion, Freedom-of-Expression, Art, and

 Political-Speech - even ignoring the numerous benefits - including both to humans and to the environment - of intentionally growing such wild

 vegetation entirely within the confines of a person's own private backyard.


 Q) [JSP] states that the "[HOA] has done nothing about it!" which is both a fraudulent statement and a misleading statement. Such statement
 is brazenly fraudulent because both [JSP&KAP] and [RSR] relentlessly, aggressively and successfully blackmailed the [HOA] in-order-to get

 the [HOA] to sue the plaintiff back in the years {2016}/{2017}/{2018}, which even [JSP] shockingly admits h1 previous incident(s), cost the

 plaintiff well in excess of $20,000 when factoring the litigation-related expenses, while the [HOA] never sued either [JSP&KAP] nor [RSR] for

 their numerous and repeated violation(s) of the covenants - as ah"eady sufficiently documented in this lawsuit. Such statement is misleading

 because, as all of the defendants are fully-aware, unless the [HOA] can prove in Court that it is n1Specting every property-owner's backyard,

 the [HOA] has absolutely no authority to inspect the plaintiffs [BACKYARD], because such practice would be "arbitrmy. capricious, or

 discriminato,y" in violation of the [TPrC] in addition to being a violation of the [FHA]/[TFHA] with respect to the plaintiff. (The [HOA] has
 personally admitted to the plaintiff that they do not inspect backyards, and has even admitted h1 one-or-more Board-Meetings that they arc not

 allowed even to enter into any part of any property-owner's private-property.)


 ® [UWAW-2] remh1ds [JSP] that the plah1tiff had grass and so-called "weeds" growing onto the sidewalk two years prior (which actually was
 four years prior), all the while completely ignorh1g that [JSP]'s tree had been, in an approximately 10-feet long area, constantly (for at least 5

 years) blockh1g half of the width of sidewalk, preventh1g two-or-more people from walking side-by-side, and often prompting even single


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persons (walking alone) to walk off the sidewalk onto the street in order to avoid such obstructive tree - which was not originally planted by the

builder of the subdivision, but rather, was planted by [JSP&KAP] without seeking prior-approval from the plaintiff (since such tree also

extends into the plaintiffs property), and more-likely-than-not, without even seeking prior-approval from the [HOA]. Residents walking on the

sidewalk (on a daily basis) routinely have to cross onto the "curbside-grass-area" or onto the street in-order-to avoid such obstructive tree. A
                                                                                                                                            11           11
child riding a scooter on the sidewalk was also recently injured, tl-ying to avoid colliding into such obstructive tree. (To be clear, as a t10-mow

activist, the plaintiff is not advocating against the planting of trees, nor that such trees should be cut, but is simply highlighting such extremely-

racist hypocrisy that both [JSP] and his While-American co-conspirators so-freely subscribe to.)



(I) [UWAW-2] complains to [JSP] that the [HOA] did nothing about the plaintiffs grass and/or so-called ''weeds" growing onto the sidewalk
two years prior (which actually was four years prior), and [JSP] does not in any way inform [UWAW-2] that the then-[HOA] had actually

sued the plaintiff due to the relentlessly-racist blackmail that [JSP&KAP],[RSR] engaged in against the then-[HOA], not only coercing the

then-[HOA] to sue the plaintiff, but also to issue a subsequent threat of a Court-Ordered [TRO] to stop all landscaping-related work - thus

leaving the plaintiff with no choice but to allow such incomplete landscaping alone. Clearly, according to [UW AW-2], [JSP] and [JSP]'s other

White-American co-conspirators within such White neighborhood, it was not good enough that the [HOA] sued the plaintiff over such

 immature, petty nonsense, and instead, what [JSP&KAP],[RSR] and their other White-American co-conspirators really demanded of such

 institutions-of-power (in particular, the [HOA] and [WCLE]) is that the plaintiff, an immigrant-of-color/indigenous-person, be forcefully evicted

 from what they consider to be "their" (exclusive-and-pure) White neighborhood.


 (f;l) While [UWAW-2] and [JSP] fraudulently complain about the plaintiffs so-called "weed," growing onto the sidewalk four years prior, and

 how the [HOA] did "nothing" about it, [JSP] has been illegally parking his boat on the street for many years - including at this particular

 moment in time - but clearly, according to both [UWAW-2] and [JSP], [JSP], as a White-American man, has free-license to brazenly and

 openly violate the mies of the subdivision.


 ® While [UWAW-2] and (JSP] fraudulently complain about one-or-more pallets of "no-mow" grass (weighing in excess of 2500 pounds)
 delivered to the plaintiff via a tractor-fork-lift onto the sidewalk by sod-farmers (which the plaintiff clearly was not culpable for), thus

 temporarily blocking such area of sidewalk many years ago in front of the plaintiffs property, on numerous occasions, [JSP], [KAP] and/or

 their teenage-children have intentionally and illegally parked their vehicle(s) in such a manner that substantially or fully blocks the sidewalk for

 a period of half-a-day or more - for no good reason, other than the fact that they believe that they can use the public-sidewalk as they saw fit.

 Additionally, the tree that (JSP&KAP] intentionally planted near the sidewalk - to the best of the plaintiffs limited knowledge, without seeking

 approval from the [HOA] nor the plaintiff - has been blocking at least half of the sidewalk and extending into the plaintiffs property for a

 period of 4 or more years (at this particular moment in time). The plaintiff has never knowingly nor intentionally blocked the sidewalk for any

 period of time durh1g the plah1tiffs entire residence at [788KLLTX7864I]. So, once-agah1, the brazen and racist hypocrisy of such speech

 would be immediately apparent to any reasonable observer that has witnessed what the plaintiff has witnessed in such neighborhood for over a

 decade.


 @ Throughout most of this dialogue, [JSP] engages in the same pattern of relentlessly-racist propaganda and gas lighting - even stating "He

 ain't all there!" as if to indicate that the plaintiff is crazy and/or mentally-disabled - in-order-to further indoctrinate [UWAW-2] and in-order-lo


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further engender more racial-animus against the plaintiff in [UWAW-2] - the very same pattern of relentlessly-racist propaganda and gaslighting

that [JSP&KAP],[RSR] had been engaging in against the plaintiff for over a decade, as part of their predatory racketeering-enterprise against

the plaintiff, ultimately focused on evicting the plaintiff, an immigrant-of-color/indigenous-person, out of "their" (exclusive-and-pure) White

neighborhood, thus in a conspiracy and scheme to defraud the plaintiff out of private-property-ownership within such White neighborhood.



® A primaiy purpose of this rather casual conversation done, ve1y deliberately, right in front of the plaintiff's security-camera(s) was to
intimidate, gaslight, blackmail and coerce the plaintiff to submit-to - that is, plead guilty (or 'Wolo Contendere'1 to - the pending and fraudulent

Class-C-Misdemeanor-Public-Nuisance charge and prosecution that [JSP&KAP),[RSR) and [WCLE) were continuing to predatorily

orchestrate against the plaintiff since the final quarter of the previous year.



@ A prirna1y purpose of this rather casual conversation done, ve1y deliberately, right in front of the plaintiff's security-camera(s) was to

intimidate, gaslight, blackmail and coerce the plaintiff to abandon any plan to expose the predat01y racketeering-enterprise of the defendants

against the plaintiff, because any such exposure by the plaintiff would lead to further acts of predatory retaliation against the plaintiff.



® In other words, [JSP] (and his co-conspirators [RSR] ,[KAP]) are acting with such incredible impunity and brazenness in the numerous
incidents documented in this lawsuit, thanks in no-small-part to the toxic enviromnent of racist-lawlessness created by [WCLE] (and to a

smaller degree, the [HOA) under [f-HOA-BoD]s [SPOA-P-BC],[SPOA-VP-AH]), that they truly believe, in their twisted minds, that engaging

 in these brazen act(s) of intin1idation/i.nte1ference, gaslighting and blackmail - over property-maintenance-laws of all things - will somehow save

 them from facing the consequences of their numerous, felonious hate-crimes and predatory racketeering-acts aggregately conunitted against the

 plaintiff during the period of over a decade. By sharp contrast, most other criminals, including hardened criminals would not dare to so-

 brazenly brag to other witness(s) about their felony crime(s) committed right in front of the actively-recording, recording-device(s) of their

 victim(s).



 ® This casual conversation once-again reveals a common theme expressed in this lawsuit, about the ongoing hazards for a person-of-color
 living his/her natural lifestyle within a White-neighborhood - that such person-of-color could easily be predatorily targeted with the most vicious

 forms of racial-oppression and/or racketeering-activity by even less than a handful of far-right-wing-extremist and/or White-supremacist

 neighboring residents, while at the same time, at least some significant fraction of the rest of such White neighborhood - whether knowingly or

 unknowingly - provides at least tacit, if not overt, support of such criminally-abusive and predatory actions.
  •       RECCRlF.I) IW:IST,   ABUSIVE , JN\ll\SIYE AID INmlJSIYE IWrr m:nG1EII [JSP] ,       [Ullllll--2] (1-) •    (2021- 07- 2• 21 : 30) (-)

  •       ( PIUVA'lE URL L.INX TO BE SOIHlTff.D m DISCOl'EICt ]




      ~ IJSP} , [UWAW-2] INI'l'IALLY TALK ABOUT " FOR Si\LE" YARD-SIGN ON [784KLLTX78641] , BUT CONVERSATION SHIF'l'S TOPIC TO PL/\IN"rIFF. D

      [   [JSP] MOTIONS AND/OR POINTS TCY:IARDS PLAINTIFF ' S SIDE-YARD AREA :                                       D


      [JSP]                    [???]. He's got his 11111/es right here - i11 thejirmt-yard.




      [UWAW- 2]                 I've seen them! I've-


      a [JSP] THEN WALKS TO':lARDS PLAINTIFF ' S SIDE-YARD mTH [Ul'IAW-2] FOLLOWING [JSP] ALONG BORDER OF [784KLLTX78641] CONTINUING TO-

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     g -Rl\NT /\BOUT PLI\INTIFF . BOTH (JSPl, [tJI-IAl·l-2] SHINE THEIR RESPECTIVE TORCH LIGHTS urro VARTOUS AREAS OF PLAINTIFF'S PROPERTY, -
il
 « -IN 'l'OTAL VIOU\TION OF THE PLAINTIFF ' S RIGHTS . [JSP] CONTINUES 'l'O POlNT/SHINE-I.IGI-IT '1'0'11!\RDS PLAINTIFF ' S SIDE-YARD : i)

[JSP]                  Yeah. he keeps em 1ig/1t over there. He keeps em in there. You see that (???] hack there?




[UWAW- 2]              Yeah - Yeah




[ JSP]                 They stay iu there. {???] He keeps em in the/mu/, over here. ... He's got some kiud of coutai11er that he's put somethiug over here. And{???], f 11·atched
                       him pull em 0111 of




 [UWAW- 2]             {???] They all dig{???]




[JSP]                  Yeah - yeah, you see that it'.< all dug 0111 - Really [???]. But he's got some kind ofcautai11er here 11pfivu/ - l,e keeps em - I've{???] - I've ,mtcl,ed him-
                       l,e reaches over there and picks em up and pulls em 0 11/ aud briugs tl,em over !,ere. And he lets tl,em ll'alk am1111d aud eat the gl'(m.


     « [JSP] , [UWAW-2] CONTINUE TO SHINE LIGHT 1NTO PRIVATE/CURTIIJ\GE AREAS OF PLAINTIFF ' S PROPERTY IN 'l'OTAL VIOLATION OF
PIJ\1N1'TFF ' S RIGHTS . i)



 [UWAW- 2]             Yeah, I was just{???]- Aud I j ust saw em moving- and I was like - Hui,! What in the hell i.1· that?




[JSP]                  He'.< got 5 of em- Yeah. and they{???]. Aud tl,en. here you've got this, 111iforllmately got{???]. {???] We ll'ere over here{???] day, when it 11vs
                       suowiug. {???} t/11oll'i11g snow balls at these camerns, because tl,cy're all poiutecl at my pmperty. S!,e stw1s yelling at 11s - she slm1s yelling at me aud 111y
                       sou!-


     « [U\'/A~l-2] LAUGHS OUT LOUD - I\NCJI'I-IER IIAZARD OF INDIGENOUS-PERSON (S) LIVING IN WHITE-NEIGHBORHOOD WHERE l'IHITE-SUPREMACY
IXX•UNATES . )

     « [JSP) CONTINUES 'l'O JUSTIFY HIS FELONY CRIME (S) AGAil-1ST PLAINTIFF - AND HIS BELIEF THAT HE IS /I.ROVE-THE-LA\·/ REGARDING
PLAINTIFF : i)



[ JSP]                 "YOU GOTTA KNOWTHATT/iAT'S PRIVATE PROPERTY!" Aud / 11•a.dike, "Wl,at!" You /,ave 110 idea what'.< going 011 up here! You c/011'1 need to be
                       stepping in here! Not - you do 1101 have a clue what 11e've been dealing with for so /011g! {???]


     « [UWIW- 2] mrns TO WARN [JSP) THAT PLAINTIFF, [ /85KL-2018-l] COULD USE SUCH INCRIMINATING EVIDENCE AGAINST [JSP] : D

[UWAW- 2]              Yeah. ... But[???]{???}


     0C   [JSP] CONTINUES TO SHO'I/ HIS BRAZEN LAWLESS BEHAVIOR AGAINST PLAINTIFF, BECAUSE HE PERCEIVES PLAINTIFF TO BE POWERLESS :                                                  D




[JSPJ                  I don't care! I don't care! He'.1· {???]


 K [JSPJ LAUGHS OUT LOUD .            [~IAW-2) LAUGHS UNCOMFORTABLY, RECOGNIZING [JSP] ' S BEHAVIOR 'l'O BE BRAZENLY LAWLESS . i)

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0C    [JSP] CONTINUES TO PERIODICALLY SHINE LIGHT INTO PLIIINTIFF' S CAMER/\.S, CURTILAGE AREAS . D



[JSP]              Jesus Christi 8111 yeah - they have absolutely 110 idea, ll'hat'.,· goi11g 011 here - So yeah. totally- it'.v awful. I think lhal'.v why{???]-




[UWAW-:Z ]          {???} I fig11.-ed. He did11'111,c lo C1fW<1)" do 1/,at! He wo.s a/way., - 1-co//y [???], /Jc wo11/d /1m•c el'e1y1/1i11g ,mm-eel down.



~ [JSP) CONTINUBS TO PERIODICALLY SHINE LIG!l'J' INTO PLAINTIFF ' S CURTILAGE & ABUSIVELY CQ'MENT ON ITEMS STORED IN CURTILAGE : D


[JSP)               Yeah, II i.v! /l's 1111believable! [???] {???} He'.v cooki11 di1111er- tlwt's his microwave there- That'.,· haw you see[???]![???] That's 011 his patio! Yeah! -
                    Yep! - He ain't all there! - It should 110/ even ma/fer[???}. He hm 110 job! His pareuts are still s11pp011 him completely!-




[UWAW-2)            Oh,{???}




[JSP]               He doesn't work! He doesn't!-




[UWAW-2 ]           He used ro mHk?




[JSP]                No! - No! - No!




[UWAW-2 ]            I used lo see him! He would come home, and he would be ,.-earing like a dress-shil1 and a tie!




 [JSP)               Yeah, that must be the - ll'moo11g home!


     ~ [JSPJ LAUGHS OUT LOUD: ~



 [UWAW-2 ]           I've only[???}-




 [JSP]               I've been - We've watched him[???} We've ll'alched him [???][???}




 [UWAW-2)            {???}




     [JSP]           [???]




     [UWAW- 2]       {???)




     [JSP]            {???] Yeah - He doesn't work! He doesn't{???}, a11d he's 30 yem:v old!
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[UWAW- 2]           {???]




[JSP]               No, he doesn't do a11ytl,i11g! [???]


ff    (JSP) AND [lJ\'lAW-2] LAUGHS OUT LOUD :             »

[UWAW- 2]           Are ) 'OIi shocked by th(I/?


 ff [JSP] REVEALS SINISTER PLAN : WISIIES FOR [PARENTS] TO DIE/RUN-OUT-OF-t-KlNEY, SO THAT HE CAN UNLEASH REVENGE ONTO PLAIN'l'IFI" :

D


[JSP]               No, 1101 ol all! 8111 I'm telli11g {???], J'OII know some day[???] - 11'i1e11 eve1ythi11g~· [???] [???][???]And- 11-e do!




(UWAW-2]            [???]


 rr [ JSPJ POINTS TO THE PLAINTIFF ' S AIR-CONDITIONTNG/HEATING UNIT : »


[JSPJ                And as you can also see, that does 1101 nvrk - does 1101 wo,k - he doesn't have ce11trol-oir.




[UWAW- 2]            8111 the[???]




[JSPJ                And .. {???] No - ,w that's the thing - l,e doesn't hal'e 110 water either![???] He 011/y has electricity. {???] 8111 he still has ,w [???]. He'.~ doing the-




 [UWAW- 2]           [???] He digging it and b111yi11g ii 011t in the back?




 [JSP]                  Yeah, or in the ho11se - somewhe1-e in the house. B11I we've w(l/c/,ed the back, and l\'e don't see him doing that, or a11ytl,i11g like that going 011, /mt, the
                        back's got trosh all over it, and[???][???][???} - and it's usually gmw11 up to obo11/ almost the roqfsome/imes - and //,e [HOA} has done 11othi11g

                        abo11I it!




 [UWAW- 2]              They do 11othi11g! I hate them!




 [JSP]                  [???] Yeah, they'l'l' mn1h/ess!


     ff [UWAW-2] FRAUDULENTLY SAYS [HOA] DOES NOTHil\'G TO PLAINTIFF, WHEN (HOA] SUED PlllINTIFF BASED ON PREDATORY BLACKMAIL OF
 (,JSP&KAP) , [RSR] -    D
     ff - BACK IN {2017} WHILE NONE OF [lJWAW-2 ], (JSP&KAPJ, (RSR] HAVE EVER BEEN SUED BY [HOA] . l\PPAREN1'LY , PREDATORY \·n!ITE PEOPLE

 LIKE-)
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 ~ -[JSP&KAP], [UWAW-2] WILL TOLERATE NOTHING LESS THAN INDIGENOUS-PERSON(S)                                  ( SUCII AS PLAINTIFF) TO BE KICKED-OUT OF l'lHITE-

NEIGHOORHOOD-   D
 K-FOR SUCH INDIGENOUS-PERSON(S} ' AUDACITY TO EXERCISE THEIR RIGHTS, AND FOR DARING TO QUESTION WHITE- SUPREMACY : D

[UWAW- 2]            Yeoh, they are! I get sa mad because- you kuow, Re111e111be1; 11111 2 yew s ago - ll'hen he got his grass, mu/ he /~ft the pallets blocking the .,idewalk-


 1£ BOTH [JSP], [\J\"IA\·l-2] TALK ABOUT PLAINTIFF ' S VEGETATION THAT WAS TEMPORARILY CREEPING ONTO SIDEWALK Bl\CK IN (2017) , WHEN

[JSP&I<l\P] ' S- D
 1£ -UNAPPROVED TREE HAS BEEN CONSTANTLY OBSTRUCTING Iv.ORE THAN HALF OF THE PUBLIC-SIDE~lALK SINCE AT LEAST (2018) .                                                 [ll\'IA~l-2] l\LSO

DOES- D

 1£ -NOT MEN'l'ION [JSP] ' S BOAT ILLEGALLY PARKED ON THE STREET - ALSO IN TOTAL VIOLATION OF THE RULES OF THE SUBDIVISION :                                                  D


[JSPJ                Yep!


 a BOTII [JSP] and [UWA~l-2] START TO \-17\LK AWAY FROM THE PLAINTIFF ' S SIDE-YARD AREA AND BACK TOWARDS THE SIDEWALK : D

 [UWAW- 2]           And they did nothi11g! And they fwd the ne,ve to send me a violation notice [abo/11 the grass}[???]! I went up to thei,- {???}and[???]!




 [JSP]               l'ou gotta be kicklin me! [???} !




 [UWAW- 2]           I ll'OS like, 'What!' ... I nm so {pi.~,ed off]! I could not believe ii, and at the time, that was when I had tom my ankle - I jammed ii. I, let me tell yau! I ran

                     up the,-e {???] and ll'alked in there, and I told them! [???] you can see I'm a IiIlle handicapped ,-ight now, and you',-e talking about grass that'.1· tall -

                     [???} - a,-e you kidding?! ... [???} [???]




 [ JSP]              Oh, god! ... {???] ... Take care!


  ff [UWAl'l-2] EVENTUALLY DEPARTS [JSP) , CONTINUING TO WALK UP THE SIDEWALK . D




<_[61 7
On or about a day in the last week of {2021-07}, the plaintiff notices that the "For Sale" yard-sign on [JSP&KAP)'s property

[784KLLTX7864 l] has been replaced with a "Contract Pending" or "Under Contract" yard-sign. On or about a day in the following month of

{2021-08}, the plaintiff notices that, according to public appraisal records from [WCAD], the ownership of[784KLLTX7864 l] has been

transferred from [JSP&KAP] to an incorporated-business-entity during the first two weeks of the month of {2021-08}. Based on the plaintiffs

limited knowledge and online research, it does not appear to the plaintiff that [JSP&KAP] own any share and/or stake in such incorporated-

business-entity, which if true, means that the property [784KLLTX78641] is no longer owned by [JSP&KAP] as of the month of {2021-08} .

This incident is extremely significant because both [JSP &KAP],[RSR] each committed several dozens of hate-crimes/civil-rights-

violations/racketeering-acts/abuses against the plaintiff under the fraudulent guise of ''protecting property values", even fraudulently alleging

that the plaintiff was the sole reason that they were not able to sell their respective properties. Within two weeks, [JSP&KAP] were able to sell

their property [784KLLTX78641] to another private party - meaning that there was absolutely no delay in [JSP&KAP)'s ability to sell such

property. Most importantly, such events reveal the outrageous, massive, racist fraud that both [JSP&K.AP],[RSR] orchestrated against the
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plaintiff for over 10 years: Nobody, in their right mind, who is genuinely concerned about "protecting property values" would sell their

property located in this highly-sought area of Central-Texas - especially when the value of such property in this highly-sought area of Central-

Texas is rising shail)Jy in recent years due to many socio-economic factors. People who are genuinely concerned about "protecting property
values" would continue-to-maintain ownership of their highly-sought prope11y, so that the value of such highly-sought property would continue

to rise sharply, and so that they could either profit much-more-greatly from a sale of such highly-sought property at a later stage in their life, or

transfer ownership of such highly-valuable,highly-sought property onto their children. For example, in the single tax year transition from

{2021} to {2022), the appraised prope11y-values of most, if not all, homes in the subdivision rose by more than 40% or more than $100,000;

yet, both [JSP&KAP],[RSR] sold their respective properties in the year {2021} prior to this sky-rocketing increase in appraised property-

values. Both [RSR],[JSP&KAP], on numerous occasions, even threatened to sue the plaintiff back in {2017),{2019} - and even blackmailed

the [HOA] to sue the plaintiff - over what they fraudulently claimed to be a $15,000 devaluation of their respective properties caused by what

they alleged to be the plaintiffs failure and/or "inability" to maintain the plaintiff's private-property according to their (hypocritically-enforced)

White-American standards. That fraudulent $15,000 figure claimed by [RSR] and/or [JSP&KAP] has not only been rendered totally

meaningless and totally foolish by such sky-rocketing appraisal values, but it also fully demonstrates the massively racist fraud that both

[JSP&KAP],[RSR] perpetrated against the plaintiff with the substantial help of the [WCLE],[f-HOA-BoD]s. Even more surprisingly, and as

the following record will show, [JSP&KAP] would continue to remain as tenants of [784KLLTX7864 l] for a year after the sale of this

property to the new owners (an incorporated-business-entity), despite transferring ownership of this property to such new owners. This fact

clearly shows that [JSP&KAP] did not sell their property [784KLLTX78641] to move away from the plaintiff due to any of the many

outrageously fraudulent, racist claims that they had made against the plaintiff for over 10 years - but instead, they chose to remain as tenant-

residents of their fonner private-property. [f-HOA-BoD]s [SPOA-P-BC],[SPOA-VP-AH],[DMP] are substantially liable but [WCLE] is fully

liable for this massively racist fraud that they all perpetrated against the plaintiff, because they fraudulently legitimized [JSP&KAP]'s,[RSR]'s

fraudulent claims about ''protecting property values" - claims that both [f-HOA-BoD]s [SPOA-P-BC],[SPOA-VP-AH],[DMP] and [WCLE]

 knew were part of a massively racist fraud against the plaintiff - and used this massively racist fraud to justify their many predatory

 enforcement actions against the plaintiff for over a decade, on behalf of the plaintiffs predatory neighbors [JSP&KAP],[RSR] - including the

 then [HOA]'s outrageously frivolous/trivial/petty/spiteful lawsuit against the plaintiff in {2017}, and [WCLE]'s fraudulent and purely-retaliatory

 Class-C-Misdemeanor-Public-Nuisance charge against the plaintiff from {2020) through almost-all of the year {2021}. The plaintiff continues

 to be extremely indignant that the plaintiff was a target of many vicious, predato1y enforcement actions of the then [HOA] (nm by [f-HOA-

 BoD]s [SPOA-P-BC],[SPOA-VP-AH],[DMP]) and [WCLE] over the course of over a decade - both of whom predatorily targeted the plaintiff

 based on what they fully-knew to be massively racist fraud by [JSP&KAP],[RSR] - predatory actions that the plaintiff can only accurately

 describe as egregious institutional-racism, racial-oppression and racketeering-activity, as part ofa pattern of modern-day-Jim-Crow

 enforcement of White-supremacy. Both of these institutions - the then [HOA] (under the [f-HOA-BoD]s) and [WCLE] - knew about the many

 dozens of hate-crimes/civil-rights-violations/racketeering-acts/abuses that [JSP&KAP],[RSR] committed against the plaintiff, because the

 plaintiff had :informed both of these institutions on numerous occasions about such hate-crimes/civil-rights-violations/racketeering-acts/abuses

 and extreme-racial-animus during the course of over a decade - and yet, to this date, neither [JSP&KAP],[RSR] nor those [f-HOA-BoD]s nor

 [WCLE] have faced any legal consequences for any of those hate-crimes/civil-rights-violations/racketeering-acts/abuses that they maliciously

 committed against the plaintiff. Both [JSP&KAP] and [RSR] committed several dozens of hate-crimes/civil-rights-violations/racketeering-

 acts/abuses against the plaintiff in-order-to illegally (in egregious violation of the [FHA]/[TFHA]) and forcefully kick the plaintiff out-of

 (through the process of foreclosure) or, alternatively, in-order-to drive the plaintiff out-of such White neighborhood via such racial-oppression

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and racketeering-activity-despite the fact that neither [JSP&KAP] nor [RSR] ever planned to continue-to-maintain ownership of their

respective [Summcrlyn] properties. In other words, both [JSP&KAP]'s and [RSR]'s brazenly malicious mindset was that, if neither

[JSP&KAP] nor [RSR] could continue-to-maintain ownership of (and thus continue-to-profit from) their respective [Summerlyn] properties

in the long-run, then they were, at the very least, going to inflict maximum damage onto the plaintiff and commit these many dozens of hate-
cdmes/civil-rights-violations/rncketeering-acts/abuses against the plaintiff in-m-der-to, and at the very least, ensure that the pla\ntiff would also

not remain as property-owner within the same White neighborhood. In addition to illegally kicking the plaintiff out of "their" (cxclusive-and-

pure) White neighborhood (in egregious violation of the [FHA]/[TFHA]), both [JSP&KAP] and [RSR] wanted to also ensure that the plaintiff,

due to the plaintiffs racial profile, would not, in any way, profit/benefit from such sky-rocketing property-values of the subdivision, with (real-

property) private-property-ownership being a substantial component of a family's (and/or an individual's) wealth creation. Therefore, the

massively-racist fraud that both [JSP&KAP] and [RSRJ maliciously perpetrated - with substantial help and coordination from the [f-HOA-

BoD]s,[WCLE] - against the plaintiff over the course of over a decade cannot be understated.



1618
On or about the approximate date and approximate time of {2021-07-29 11:00}, [JSP], without authorization or permission from the plaintiff,

drives his heavy pickup-truck (of half-ton or three-quai1er-ton rating) into the plaintiffs [DRIVEWAY] and parks on the [DRIVEWAY] with

such truck running for approximately IO minutes. [JSP] is inside the driver's seat of such truck the whole time while such truck is illegally

parked (and running) on the [DRIVEWAY] - thus, [JSP] is physically within the plaintiffs property for a period of approximately 10 minutes.

This incident shows, yet again, that [JSP] has operated as if the private-property [788KLLTX7864 l] did not belong to the plaintiff, and as if

he could use the plaintiffs private-prope11y [788KLLTX7864 l J at any moment in time, and as he saw fit.



 1619
On or about the approximate date and approximate time period of {2021-07-31 07:00} to {2021-07-31 15:00}, roofing-contractors that seem

 to be hired either by [JSP&KAP] or the new-owners of [784KLLTX7864 l] perfmm repair and/or replacement of the roof of

 [784KLLTX7864 l ]. During this time period, the plaintiff notices that at least some of debris from such work falls into the plaintiffs yard, and

 a tarp that such contractors have spread-out at ground level is also extending into the side-yard of plaintiffs property [788KLLTX78641]. The

 plaintiff notices that these roofing-contractors walk, on numerous occasions, deeply into-and-out-of the plaintiffs
 [FRONTYARD]/[DR!VEWAYJ, even though there was absolutely no reason for such contractors to step into-and-out-of any part of the

 plaintiffs property. In sharp contrast, when the plaintiff hired landscaping contractors to re-landscape the plaintiffs [FRONTYARD] with a

 "no-mow" grass on-or-about the date of {2017-10-25}, both the plaintiff and the plaintiffs (Hispanic) contractors, also persons-of-color, were

 viciously yelled-at and harassed by [RSR], acting in conspiracy with [JSP&KAPJ, not to step onto even the border-edge of [JSP&KAP]'s

 property - particularly egregious harassment, given that such landscapers needed to install border-edging on the property border, in-order-to

 prevent the different species of grass from growing into each other (see previous incident above).



 1620
 During the month of (2021-07} or {2021-08}, [JSP&KAP] purchase a pickup truck, as an apparent replacement for their older pickup truck.

 The plaintiff notices that initially, within the first week(s) or so, such pickup truck does not have a loud noise, However before the end of the
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month of {2021-08), the plaintiff notices that such pickup truck has been made louder by some type of artificial loudening mechanism.

Therefore, eve1y time that [JSP &KAP) would drive this pickup trnck after such date, including and in particular, late at nighttime, such truck

would continue to make such (artificially) loud noise. The restrictive covenants of the neighborhood strictly prohibit any type ofnoise-

nuisance-violation (any type of activity considered to be an "annoyance or nuisance'?. and furthennore, all of the defendants - [JSP&KAP],
[RSR],[WCLE) - had repeatedly over the course of a decade, just like the White-Supremacists/White-Nationalists in the [SBPDL) blog (see

section below). accused the plaintiff of being "inconsiderate", solely due to the plaintiffs alleged failure and/or "inability" to maintain the
plaintiffs property according to their (hypocritically-enforced) White-American standards - and at all times, entirely within the confmes of the

plaintiffs private-property. This minor example is just one of numerous examples of the dcfendants1 modern-day-Jim-Crow inte1vretation

and/or enforcement of the property-maintenance-laws against the plaintiff.



1621
On or about the date and approximate time of {2021-08-13 14:00}, an Unidentified White-American Package Delivery Person [UWAPDP-1)

(White male, approximately 180 pounds, approximately 6-feet-tall, wearing a bandana on his head), approaches the [FRONTDOOR) to deliver

package(s) to the [FRONTDOOR). [UWAPDP-1) looks suspiciously at multiple packages at [FRONTDOOR). [UWAPDP-1) walks back

towards his delive1y-trnck. Approximately 30 seconds later, [UWAPDP-1) walks back towards the [FRONTDOOR], rings the door bell and/or

loudly calls-out towards the door, in-order-to get someone from inside the plah1tiffs [HOUSE) to respond. The plaintiff does not respond as

the plah1tiff is takh1g a nap at this moment in time. The plaintiff is however awakened by the noise of the incident. By this tune, [UWAPDP-1)

appears to be back h1 his delivery-trnck making a phonecall to someone. Shortly thereafter, [UW APDP-1) drives away h1 his delivery-trnck.



1622
On or about the midnight of {2021-08-14 00:00}, [WCSD-JD-9) parks his [WCSO) police-vehicle on the opposite-cmbside dh·ectly across the

street from the plaintiff. [WCSD-JD-9) enters into the plah1tiffs property without a search warrant, without even wearing a face-mask as a

safety precaution against COVID-19, and starts to execute a clearly unconstitutional-and-unlawful search/seizure of the plaintiffs property

[788KLLTX7864 l) with various aspects of such clearly unconstitutional-and-unlawful search/seizure of the plaintiffs property documented as

 follows. [WCSD-JD-9] shh1es his torch-light into the wh1dows of the plah1tifl's vehicle h1-order-to view the h1terior content(s) of the plaintift's

 unlit vehicle. [WCSD-JD-9) shines his torch-light directly into the plaintiffs private-curtilage-area [GARAGE] (which was completely unlit at

 the time) in-order-to view the interior content(s) of the plaintiffs unlit [GARAGE). [WCSD-JD-9] shh1es his torch-light into the plaintiffs

 private-curtilage-area front-porch (which was completely unlit at the tune), in-order-to view the content(s) of the plaintiffs unlit

 [FRONTPORCH). [WCSD-JD-9] loudly knocks on the plaintiffs [FRONTDOORJ at least 7 tunes. After determh1ing that no-one is answerh1g

 the [FRONTDOOR), approxin1ately 30 seconds later, [WCSD-JD-9) walks back towards the front of the plaintiffs vehicle, shines his torch-

 light onto the plaintiffs vehicle-license-plate and radios back to [WCSO) headquarters the plaintiffs vehicle-license-plate-number and/or other

 vehicle identification information, in-order-to run a background check on such vehicle and/or the registered driver(s) of such vehicle. [WCSD-
 JD-9] knocks two-or-more times at the plaintift's [GARAGE)-door which was open at that time, and loudly yells, "Hello", in the middle of the

 night when others in nearby homes could easily overhear, but without providing any identification information (as is typically required by

 policy). [WCSD-JD-9) then walks into the plaintiff's private-curtilage-area side-yard and shh1es his torch light deep into the plaintiffs private-

 curtilage-area side-yard - such as, but not limited to, behind the plaintiffs outdoor-air-conditioner-unit - in-order-to sec these particular areas of

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the plaintiffs unlit private-curtilage. [WCSD-JD-9) then walks back towards the plaintiffs [FRONTPORCH], once-again, shining his torch-

light into the unlit areas of the plaintiffs (FRONTPORCH) and/or [GARAGE). When [WCSD-JD-9) determines that he is not getting a

response from the plaintiff, (WCSD-JD-9) continues to walk back to his vehicle parked across the street. The plaintiff, who was initially asleep,

was awakened and alarmed by (WCSD-JD-9)'s clearly intrnsive and invasive unconstitutional-and-unlawful search of the plaintiffs private

prnperty - including the loud knocks on the [FRONTDOOR], the [GARAGE]-door, and the loud yelling. The plaintiff finally walks \o \he

[DRIVEWAY] to respond to [WCSD-JD-9) with a hand-held camera/camcorder. The plaintiff announces the plaintiffs presence to (WCSD-

JD-9) and signals with one hand held up high above the plaintiffs head to [WCSD-JD-9) in-order-to inquire regarding the search/seizure of the

plaintiffs prope11y. [WCSD-JD-9) walks towards the plaintiff with his torch-light shining towards the plaintiff. [WCSD-JD-9) stops

approximately mid-way and asks the plaintiff regarding what the plaintiff is holding in the plaintiffs hand - and the plaintiff traumatically

responds that it is only a (handheld) camera/camcorder. The plaintiff, under duress, opens up the camera/camcorder's LCD display to convince

[WCSD-JD-9) that it is only a camera/camcorder so as to avoid any possibility of misinterpretation. [WCSD-JD-9) continues to walk towards

the plaintiff, enters deep into the plaintiffs [DRIVEWAY], and informs the plaintiff that the [WCSO) had received a complaint and/or

suspicious-rep011 from [UWAPDP-1) regarding the plaintiffs open-garage-door and/or multiple unopened packages lei\ in front of the

(FRONTDOOR). [WCSD-JD-9) asks the plaintiff regarding what the plaintiff had strapped onto the plaintiffs chest, and the plaintiff explained

that it was the holder for a USB-battery-bank that was in tum attached to the plaintiffs recording body-worn-camera (so that such body-worn-

camera could receive power from such external USB-battery-bank). [WCSD-JD-9) then starts to ask inappropriately private-questions

concerning the plaintiff and/or plaintiff's prope11y - also making an inappropriate and suspicious comment regarding what he alleged to be the

large number of security-cameras on the plaintiffs property - even periodically shining such torch-light into one-or-more of the plaintiffs

security-cameras. The plaintiff responds to [WCSD-JD-9) that the plaintiff has suffered many crimes at the plaintiffs prope11y. At no point in

time does [WCSD-JD-9) inquire about such crimes, or attempt to ftle report(s) on behalf of the plaintiff about such crimes (although the

plaintiff had akeady provided ample inf01mation about such crimes to the [WCSO) in multiple prior incidents involving the (WCSO) - dating

back to {2011) ). [WCSD-JD-9) asked for the plaintiffs identification card - again, despite the fact that [WCSD-JD-9) had akeady admitted

that the plaintiff was not a suspect in any crime - not that even being a suspect in any crime would automatically allow a police-officer to

demand photo-identification at such suspect's private-property. The plaintiff responds that such identification card is inside the (HOUSE).

 [WCSD-JD-9) asks for the plaintiffs last-name, and the plaintiff, under duress, unwilling provides the plaintiffs last-name. [WCSD-JD-9) asks

for the plaintiffs first-name along with the spelling of the plaintiffs first-name, and the plaintiff, under duress, unwilling spells the plaintiffs

 first-name. [WCSD-JD-9) asks for the plaintiffs date-of-birth, and the plaintiff, under duress, unwilling whispers the plaintiffs date-of-birth (as

 this is private information that is not available in public-records). [WCSD-JD-9) radios back to [WCSOJ headqumters, the exact spelling of the

 plaintiffs name along with the plaintiffs date-of-birth, so as if to, once-again, run a background-check on the plaintiff, despite of the fact that

 [WCSD-JD-9] has akeady admitted that the plaintiff was not a suspect in any crime - not that even being a suspect in any crime would

 automatically allow a police-officer to demand to know such suspect's name, especially when such suspect is within the confines of such
 suspcct's private-property. [WCSD-JD-9) asks for the plaintiffs phone-number, justifying the need for such private/sensitive information, by

 stating that the same delivery-driver or a different delivery-driver could complain again regarding the plaintiff, and that a phonecall to the

 plaintiff would be more expedient (instead of such intrusive night-search). The plaintiff declined to provide the plaintiffs phone-number since

 the plaintiff felt ve1y violated with [WCSD-JD-9]'s unconstitutional-and-unlawful search of the plaintiffs property and his subsequent

 interrogation of the plaintiff, along with the potential for inappropriate use of the plaintiffs private infomrntion (as the plaintiff had repeatedly

 suffered h1 the preceding decade). Even ignoring all of the predatory abuse that the plah1tiff has suffered from [WC) police-officers and and


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other [WCLE] employees for over a decade, the plaintiff asserts that it is entirely inappropriate for a police-officer to ask any private-citizen -

especially a private-citizen who is not a suspect in any crime - for their private phone-number, because such private-citizen can suspect that the

police is requesting such private information for some sinister purpose such as unlawful phone-location-tracking,'surveillance and/or unlawful

eavesdroppi.ng,'wi.retapping of private conversations. [WCSD-JD-9] then agrees to leave the plaintiff alone, once again, shining his torch-light

into the windows of the plaintiff's vehicle. The plaintiff confirms with (WCSD-JD-9) that it was only [UWAPDP-l 1that had con1plained about

the plaintiff on this particular occasion. The plaintiff, purely as a matter of reflexive habit and courtesy, then thanks [WCSD-JD-9] for the end

of such unconstitutional-and-unlawful search/interrogation and walks back inside the [HOUSE], as [WCSD-JD-9] continues to walk back

towards his vehicle parked across the street. [WCSD-JD-9] then drives away in such vehicle. Needless to state, the plaintiff felt extremely-

violated, humiliated and at least partly traumatized by this experience. In one-or-more precedent-setting cases (see section below), the

[SCOTUS] had not only ruled against such unconstitutional-and-unlawful searches of private-curtilage-areas of private-property but also

strongly ruled against any warrantless-and-nonconsensual night visits - deeming warrantless-and-nonconsensual night visits to be particularly

egregious civil-rights-violations. The plaintiff had suspected, but could not initially prove, that [JSP&KAP] were somehow involved in

instigating this unconstitutional-and-unlawful search of the plaintiff's property, but a subsequent incident did provide the plaintiff with such

indication (see below). The plaintiff realized that this was simply one additional malicious incident of [WCLE]'s intimidation against the

plaintiff, in-order-to coerce, by way of such intimidation, the plaintiff to submit-to the (still pending) Class-C-Misdemeanor-Public-Nuisance

charge against the plaintiff. At the very least, and even disregarding the decade of malicious and predatory actions of [WCLE] against the

plaintiff, all of the unconstitutional-and-unlawful search(s)/seizure(s) that the plaintiff had suffered from [WCLE], almost-always, if not always,

acting on the malicious complaints of predatory neighbors [JSP&KAP],[RSR], clearly show that defendant [WC] and its law-enforcement-

agencies, [WCLE], have acted for at least a decade, based upon government policy(s) and/or practice(s) that allow for such civil-rights-

violations - not only in violation of Constitutional law (fourth-amendment, fifth-amendment, fourteenth-amendment ( * ) ), but a lso in violation

of the [FHA]/[T FHA] and other state laws banning racial-discrimination and racial-profiling by police-officer(s)/government-employee(s) (see

section above). Upon analysis of this incident in retrospect, the plaintiff is painfully reminded of the closing arguments of the recent high-profile

trial of ((TEXAS V. AARON DEAN)), during which, even a prosecutor of such case - a top-ranking member of law-enforcement - scathingly

rebuked police-officer Dean's (eerily-similar) unconstitutional-and-unlawful search of Ms. Jefferson's home, ultimately leading to Ms.

Jefferson's death at the hands of Mr. Dean (see section below). The plaintiff asserts that a primary purpose of the aforecited [SCOTUS]

ruling.,; against such tmconstitutional-and-unlawful searches/seizures of private/cmtilage areas of private-prope1ty along w ith the [SCOTUS]'s

prohibition on such unwarranted night-visits is not only to protect private-citizen(s)' Constitutional rights, but also to protect all parties involved

 (including the police) from all of the potential consequences of such unauthorized use-of-force, including, but not lin1ited to, the possibility of

 police- involved shooting(s). According to the plaintiffs recorded-footage, [WCSD-JD-9] did have a body-worn-camera - and as such, such

 body-worn-camera should have been recording all aspects of this unconstitutional-and-unlawful search/seizure/interrogation/detention of the

 plaintiff and the plaintifrs private-property - unless, [WCSD-JD-9] deliberately turned-off such body-worn-camera (at any point in time) in-

 order-to Obstrnct Justice against the plaintiff.



 1623
 On multiple subsequent occasions in months of {2021-08},{2021-09}, [UWAPDP- 1], while delivering packages to neighboring properties,

 walks towards the [FRONTDOOR] area to check on the packages left at the [FRONT DOOR] and/or inspect the plaintiffs [GARAGE]. Each

 time after conducting such unauthorized search of the plaintiffs prope1ty, [UWAP DP-I] would then approach back into his delivery-truck to
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continue his work. In particular, on or about the approximate date and approximate time of {2021-08-18 15:45}, [UWAPDP-1] walks towards

the [FRONTDOOR] area to check on the packages left at the [FRONTDOOR]. [UWAPDP-1] then approaches back into his delive,y-truck

parked at the opposite-curbside across the street from [784KLLTX7864 l]. [JSP], noticing [UWAPDP-1] depart from the plaintiffs

[FRONTDOOR], drives his vehicle towards [UWAPDP-1 ]'s delive1y-truck and pauses his vehicle in-order-to speak to (UWAPDP-1] - on this

occasions, to spread his usual racist-propaganda and fraudulent-narratives about the plaintiff to [UW APDP-1). [UW APDP-1) even responds

by saying to [JSP], "I'm 1101 smwised. ", indicating to the plaintiff that [JSP] has successfully engendered such hatred against the plaintiff in

[UWAPDP-1]. After approximately 2-minutes-worth ofa dialogue with [UWAPDP-1] that, at the ve1y least, substantially-involved

smearing'character-assassinating (@) the plaintiff, [JSP] then continues to drive away in his new, artificially-loudened pickup-truck, while

[UWAPDP-1] continues with his work.



91:624
On or about the approximate date and approximate time of {2021-09-08 14:00}, [UWAPDP- 1] walks on the sidewalk in front of the plaintiffs

property [788KLLTX78641] to, once again, take a look towards the plaintiffs [FRONTDOOR] area. [UWAPDP-1] then walks back towards

his delive1y-truck and drives a little further up the street, stopping across the street from the plaintiffs property. Since the plaintiff had noticed

[UWAPDP-1], on numerous previous occasions, walk towards the [FRONTDOOR] in-order-to check-up on the [FRONTDOOR] area,

without even wearing a face-mask as a safety precaution against COVID-19, the plaintiff feels aggravated/annoyed/alarmed and thus decides to

confront [UW APDP-1] about this privacy-invading and unabated harassment activity. [UWAPDP-1] was walking back from the front-door of

the property [781 KLLTX7864 I] across the street, when the plaintiff (while on the street) courteously announces the plaintiffs presence to

[UWAPDP-1]. The plaintiff informs [UWAPDP-1] that the plaintiff noticed [UWAPDP-1] had, on multiple occasions, visited the

[FRONTDOOR] just to inspect items at the [FRONTDOOR] area and/or call-out to the plaintiff. The plaintiff courteously questions

[UWAPDP-1] as to the reason for such (unauthorized) activity. [UWAPDP-1] informs the plaintiff that he was concerned that he had always

noticed the plaintiffs garage-door-open, and that he had always noticed multiple packages left at the [FRONTDOOR] area. The plaintiff

informs [UW AP DP- I] that the plaintiff was questioned by [WCSD-JD-9] regarding an alleged complaint that the [WCSO] had received from

[UWAPDP-1]. [UWAPDP-1] denies that it was a complaint, and instead, informs the plaintiff that it was merely a genuine concern for

whomever was living inside of the residence. [UW APDP-1] further explains that he was not intending to harnss the plaintiff by such activity,

and that he would stop such activity from this point forwards. The plaintiff comteously thanks [UWAPDP-1] and walks back into the

[HOUSE], while [UWAPDP- 1] continues on with his work. If this Court grants the plaintiff the opportunity to litigate this case, the plaintiff

would seek to depose and/or cross-examine this particular witness, [UWAPDP-1].



 91:625
Despite the fact that the plaintiffs attorney [ATTORNEY-TK] had requested Discove1y from [WCLE] on or about the date of {2021-07-01} ,

the plaintiff had not received any Discovery (or any evidence for that matter) on or about the approximate date and approximate time of

 {2021-09-15 13:00} - the date and approximate time of the first pre-trial hearing for the alleged Class-C-Misdemeanor-Public-Nuisance against

the plaintiff. Since [WCLE] had not provided the plaintiff with any evidence - at best, hying to execute trial-by-ambush against the plaintiff (in

 total violation of the plaintiffs due-process rights), and at worst, hying to cover-up a decade of egregious police-misconduct (and health-

district-misconduct) committed against the plaintiff - [ATTORNEY -TK] was forced to file 2 motions on behalf of the plaintiff with such

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Justice-Court, [WCP2JotPC] - one motion-to-suppress - to suppress any alleged evidence that was illegally seized ofprivate/curtilage (or other

fourth-amendment-protected) areas of the plaintiffs property and/or to assert other affinnative-defenses such as entrapment, statute-of-

limitations, exceptions-to-form-or-substance-of-the-charge and/or facial-insufficiency - and another motion-to-compel - to compel [WCLE] to

tum-over to the plaintiff, all exculpatmy/mitigatin!e'impeachrnent evidence as requh-ed by both State and Federal law, including, but not limited

to:



® all recorded h1fonnation from any of the plaintiffs accusers/cornplah1ants (past and present) dathlg back to {2009);


@ all complaints, allegations and records of police-misconduct, health-district-misconduct, prosecutorial-misconduct and other government-

employee-misconduct from anyone (employee/officer/official) from [WCLEJ that h1teracted with the plaintiff and/or handled any case-work

about the plah1tiffsh1ce the year {2009) (the initial year of the plaintiffs private-propeity-ownership within the County of Williamson);



© historical statistics/demographics regarding those charged with Public-Nuisance (and/or other property-mah1tenance-laws) within the county;
etc.


(Although both federal-law and state-law did/does requh-e [WC] prosecutors to tum over to the plaintiff all exculpatmy/mitigath1!e'hnpeachment

evidence regardless of whether the plaintiff explicitly requested it, state-law did requh-e the plaintiff to explicitly file one-or-more of the

aforementioned motions prior to the pre-trial hearing in-order-to protect the plaintiffs rights and assert some of those applicable affirmative-

defenses.) Despite the fact that the plaintiff had already entered a plea of "Not Guilty" on or about the date of {2021-03-23), [WCCAOP-CW]

demanded at this pre-trial conference, almost 6 months later, that the plaintiff plead guilty to the charge without providh1g any evidence to the

plaintiff, and without, in any way, addressing the plaintiffs motions. The Judge of such Justice-Court rnled that the plaintiff is entitled to

Discovery, and planned to reschedule the pre-trial hearing to approximately one month later.



 1626
On or about the date and approximate tune of {2021-09-16 20:00}, [JSPJ while using a loud gasoline-powered string-trhnmer late at nigl1ttime

 to cut grass, deliberately enters h1to the plaintiffs property to kick one of the plah1tiffs corner security cameras breaking the base of the camera

 which even exposed the internal wiring of the camera. According to the plaintiffs recollection, the plaintiff had purchased such high-
 defmition/2K infrared/nightvision camera for approximately $75 on-or-about the prior year of {2015) or {2016). The total value of damage to

 the plaintiffs property caused by [JSPJ had already exceeded $2,500 prior to this incident. Therefore, this particular crhne does not change the

 fact that [JSPJ has ah'eady committed the crime of felony criminal-mischief against the plaintiff even prior to this point h1 tune. It is also

 important to emphasize that all of [JSP]'s crhninal-mischief crhnes agahtst the plaintiff are not only hate-crinies agah1st the plah1tiff based upon

 [JSPrs extreme-racial-animus and homophobic-animus against the plaintiff, but also based upon [JSP]'s far-right-wing-extremist political-

 animus against the plaintiff(as documented by one-or-more of the relevant studies of far-right-wing-extremists in the United States - see

 section above). This was at least the sixth of the plaintift's security cameras (a total of 4 ultra-high-defmition/4K cameras purchased at

 approxhnately $150 plus sales-tax each, and total of 2 high-definition/2K cameras purchased at approximately $75 plus sales-tax each) that

 [JSPJ had damaged/destroyed and at least the thit1eenth of the plaintiffs security cameras that [JSPJ had attempted to damage/destroy. The

 amounts in damages to the actual security-cameras also does not include the added/accumulated expenses to the recording-equipment
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(specifically hard-disk-drive expenses) as a result of faulty/defective/damaged cameras recording faulty recordings consuming significantly

larger amounts of hard-disk-space. The amounts in damages does to the actual security-cameras also does not include any-and-all damages to

the [HOUSE]-fascia/soffit/rafter/gutter-structure or other mount-points for such security-cameras. The amounts in damages stated are also

conservative-estimates (on the lower end - the absolute minimum in damages) due to [JSP]'s multiple attempts to damage/destroy such

security-cameras, associated infrastructure, and additional expenses to the recording-equipment.



<jI 62 7
On or about the date and approximate time of {2021-09-26 16:23}, as [JSP] is in the side-yard of[784KLLTX78641], [JSP] looks directly at

one-or-more of the plaintiffs security-camera(s) using both of his hands held up high, angrily issues the obscene/vulgar gesture of the middle-

fingers raised to each of these security-camera(s). [JSP] continues walking towards the front-yard of[784KLLTX7864 l], and while looking

directly at one-or-more of the plaintiffs other security-camera(s), uses both of his hands held up high, angrily issuing the obscene/vulgar

gesture of the middle-fingers raised to each of these additional security-camera(s).



<j{628
On or about the date and approximate time of {2021-10-10 12:00} - one day before the plaintiff, an indigenous-person, celebrates "Indigenous

Peoples' Day" - while the plaintiff was on the plaintiff's [FRONTYARD], near the border of the two-properties, [JSP], while on the frontyard
of [784KLLTX7864 l ], approximately 30 feet away from the plaintiff, angrily states to the plaintiff that the plaintiffs tortoise is too close to his

property, demanding to the plaintiff that the plaintiff should remove the tortoise. It is important to note that at this point in time, the [WCAD]

property appraisal records indicate that [JSP&KAP] are no longer the owners of [784KLLTX78641]; so, [JSP] was clearly making a

fraudulent statement to the plaintiff. [JSP] then makes racist, abusive and derogatoty statements about the plaintiff's indigenous

appearance/grooming by yelling sarcastically, "WHY DON'T YOU JUST WEAR A RAG! THAT WOULD BE MORE APROPOS! ... LIKE

 TARZAN! "     0C   MIMICS THE SOUND OF THE TARZAN YELL, AND THEN LAUGHS OUT LOUD ~ . The plaintiff does not

 respond, entering back into the plaintiffs [DRIVEWAY] to continue working. [JSP] then yells out to that plaintiff, " WHY DON'T YOU GET

 THOSE CAMERAS OFF MY PROPERTY! ... "                 0C   [JSP] PICKS UP A LARGE ROCK FROM [784KLLTX78641] AND

 THROWS IT TOWARDS ONE OF THE PLAINTIFF ' S CORNER SECURITY CAMERAS . THE LARGE ROCK LANDS ON THE

 PLAINTIFF'S [YARD] UNDERNEATH THOSE SECURITY CAMERAS. ~ In addition to committing yet another act of the hate-

 crimes of criminal-mischief/illegal-dumping and intimidation/inte1ference/disorderly-conduct/harassment/stalking against the plaintiff, this was

 also [JSP]'s second fraudulent statement to the plaintiff during this incident. ( o) This incident documents only one indication of countless

 indications of the purely-racist fraud perpetrated by the co-conspirators - [JSP&KAP],[RSR],[WCLE] - against the plaintiff for more than a

 decade.



 <jI 62 9
 On or about the date and approximate time of {2021- 10-27 13:00}, the second pre-trial hearing regarding the Class-C-Misdemeanor-Public-

 Nuisance charge against the plaintiff commences with [WCLE], again, failing to provide the plaintiff with any evidence. During the hearing,

 [WCCAOP-CW] tells the plaintiff and [ATTORNEY-TK], "We're not going to be to be wasting anymore ofy mll' time. We 're going to be


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dismissing this charge... ". It was clear from [WCCAOP-CW]'s statement made directly to the plaintiff - that he was trying to distance himself

from what he knew to be the decade of racial-oppression and racketeering-activity committed by [WCLE] against the plaintiff. The fraudulent

and purely-retaliatmy Class-C-Misdemeanor-Public-Nuisance charge against the plaintiff was formally dismissed by the [WC] prosecutors on a

following date shortly thereafter ( {2021-11-01} ). It is exh·emely revealing to the plaintiff that the plaintiff was not provided with any evidence

regarding this Class-C-Misdemeanor-Public-Nuisance criminal charge against the plaintiff. At the very least, [WCLE)'s \'efusa\ to provide any

evidence to the plaintiff shows the plaintiff that whatever the [WCLE] did against the plaintiff (and plaintiff's private-property) - in conspiracy

with co-conspirators [JSP &KAP],[RSR] - was such an egregious act of police-misconduct, health-district-misconduct and prosecutorial-

misconduct that [WCLE] did not want to provide any information to the plaintiff to fm1her-implicate themselves in that misconduct.

Fortunately for the plaintiff, all of the relevant incidents regarding this fraudulent and purely-retaliato1y criminal-charge against the plaintiff were

captured by the plaintiffs secmity cameras and/or body-worn-camera. In this security-camera footage, the plaintiff also noticed that the [WC]

police were wearing Body-Worn-Cameras (while they were on/around the plaintiffs property) - the evidence of which should, if not

maliciously destroyed/tampered-with, also undoubtedly reveal further insight into the [WCLE]'s malicious, obsh·uctive-and-retaliatory,

blackmailing-and-defrauding racketeering-enterprise (along with co-conspirators [JSP&KAP],[RSR]) against the plaintiff.




1630
On or about the date of {2021-11-0 I} , the aforementioned Justice-Cotu-t, [WCP2JotPC], issued a formal order of dismissal for the Class-C-

Misdemeanor-Public-Nuisance charge against the plaintiff, thus terminating [WCLE]'s fraudulent and purely-retaliatory Class-C-Misdemeanor-

Public-Nuisance prosecution of the plaintiff. At this point in time, the plaintiff is made substantially-aware (although not completely-aware) that

 [WCLE] engaged in this fraudulent, purely-retaliatory, Class-C-Misdemeanor-Public-Nuisance prosecution of the plaintiff not only to:



® punish the plaintiff, for the plaintiff's "audacity" to report and/or record racially-motivated hate-crimes/civil-rights-violations/racketeering-
 acts/abuses aggregately committed by the defendants (including [WCLE]) against the plaintiff (for over a decade) ; AND not only to



 ® obstruct justice for such serious crimes that the plaintiff had suffered from the defendants (for over a decade); AND not only to


 © publicly-humiliate and defame/discredit/character-assassinate the plaintiff, both an immigrant-of-color/indigenous-person and political-
 activist, by smearing (@ ) the plaintiff with such fraudulent Class-C-Misdemeanor-Public-Nuisance charge along with exposing, to the public,

 private aspects of the plaintiff's exh·emely-private life and/or lifestyle ; AND not only to



 @ tiy to extort a relatively small amount of money ($131) from the plaintiff; BUT, far more importantly, in-order-to


 ® drive the plaintiff, an in1migrant-of-color/indigenous-person, out of a White neighborhood, (as part of modern-day-Jim-Crow racial-
 segregation); AND thus



 ® ultimately in a conspiracy and scheme to defraud the plaintiff out of (relatively-profitable) private-property-ownership within such White
 neighborhood.


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The defendants knew that anti-discrimination laws (particularly, the [FHA]/[THFA] and the fourteenth-amendment               ) to the United States

Constitution) strongly-prohibit any overtly-racist actions to evict person(s)-of-color from White neighborhoods, and so, they determined that

the quickest and surest way to circumvent such anti-discrimination laws and evict the plaintiff, an immigrant-of-color/indigenous-person, from

such White neighborhood was through the alternative channel(s) of repeatedly and collectively engaging in the aforedescribed pattern of

modem-day-Jim-Crow racial-oppression and racketeering-activity against the plaintiff, the culmination of which, was such Class-C-

Misdcmeanor-Public-Nucsance charge and prosecution of the plaintiff. In addition to the common goals listed above of the decade ofpurely-

retaliatmy prosecution against the plaintiff that were shared by all of the defendants, private-citizen racketeer co-defendants [JSP&KAP],

[RSR] had the additional private goals of wanting to tin1her extort money from the plaintiff by piggybacking their own private civil lawsuit(s)

against the plaintiff on top of such purely-retaliatory prosecution of the plaintiff, by fraudulently claiming in such prospective civil lawsuit(s)

that the plaintiff had harmed them through such Class-C-Misdemeanor-Public-Nuisance. As multiple previous incidents documented above

ah-eady show, private-citizen racketeer co-defendants [JSP&KAP],[RSR] had repeatedly made dircctly-exto11ive and malicious threats to sue

the plaintiff on those multiple previous occasions - sec above. It was only the plaintifrs successful legal-battle against the defendants fought in-

order-to dismiss the defendants' fraudulent criminal complaint against the plaintiff that put an end to any plan by racketeer co-defendants

[JSP&KAP],[RSR] to follow-through on such private civil lawsuit(s). (It is a well established fact that, at least in some cases nationwide, one-

or-more civil lawsuit(s) accompany fraudulent criminal complaint(s) where malicious accusers try to further exploit such fraudulent criminal

complaint(s) by extorting money from their innocent accused victim(s) in such piggybacked civil-lawsuit(s).) Since the laws of the State of

Texas affords victims of crimes, both restitution and victims-compensation for such crimes committed against such victims, the plaintiff further

asserts that racketeer co-defendants - [JSP&KAP],[RSR] - intended to further-profit from such potential Class-C-Misdemeanor-Public-

Nuisance criminal conviction against the plaintiff - once-again, by egregiously abusing the legal/justice system in such predatory manner against

the plaintiff. On the other side of the equation, the law-enforcement officials of the [WCCO], the [WCCHD] and the [WCSO] - who, acting in

 furtherance of such conupt-malicious-predat01y-and-retaliato1y conspiracy with racketeer co-defendants [JSP&KAP],[RSR], against the

 plaintiff, had criminally-abused the plaintiff with absolute impunity for over a decade, even flaunting themselves as untouchable racketeers

 towards the plaintiff - instead, found themselves, during most of the time period of their fraudulent and purely-retaliatory Class-C-

 Misdemeanor-Public-Nuisance charge and prosecution against the plaintiff, in the uncomfortable position of hying to hide their decade-long

 pattern-of-racketeering-activity and racial-oppression against the plaintiff from the [WC] prosecutors, who ended up dismissing such fraudulent

 and purely-rctaliatmy charge against the plaintiff. Specifically, the [WCCO], the [WCCHD] and the [WCSO] refused to submit to the plaintiff

 any evidence - inculpatory or exculpatmy/mitigating/impeachment - of the "crime'' that they accused the plaintiff of when they initially charged

 the plaintiff with Class-C-Misdemeanor-Public-Nuisance on-or-about the date of {2020-10-22}. The [WCCO], the [WCCHD] and the

 [WCSO] refused to submit any of evidence to the plaintiff, specifically because all of the evidence that [WCCO], [WCCHD] and the [WCSO]

 had captured and/or obtained about the plaintiff - in conspiracy with racketeer co-defendants [JSP&KAP],[RSR] - was highly incriminating

 against the defendants - of such conspiracy and associated racketeering-enterprise against the plaintiff. In particular, [WCCO], the [WCCHD]

 and the [WCSO] refused to submit any evidence to the plaintiff because such evidence could be used as pai1 of federal criminal investigation(s)

 into these law-enforcement agencies, and because some employees/officers/officials of these law-enforcement agencies could face federal
 criminal investigation and/or federal criminal charges, for so-actively participating in this criminal conspiracy and associated racketeering-

 enterprise - along with racketeer co-defendants [JSP&KAP],[RSR] - against the plaintiff. ln other words, [WCCO], [WCCHD] and the

 [WCSO] overtly and actively obstructed justice ([18-USC-Pl-C73-§l 503]) by failing to turn over to the plaintiff such highly-incriminating

 evidence ([l8-USC-Pl-C73-§l5 l 9]) - again, not for any reason having to do with the plaintiff and/or the plaintifrs privatc-prope11y - but
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instead, for every reason of protecting themselves from facing federal criminal investigation and/or federal criminal charges. As the record will

show, although the [WC] prosecutor's offices - the [WCCAO] and the [WCDAO], who were fully aware of almost-all, if not all, of the decade

of [WCLE]'s racial-oppression and racketeering-activity against the plaintiff - deliberately decided not to investigate and uncover - as they are

legally-bound to do, by the Texas law that states Prosecutor's "primmJ' duty" is "to see that justice is done" - instead, not only deliberately

turning a blind-eye to the decade of (WCLE]'s racial-oppression and racketeering-activity against the plaintiff, b\\t even mon~ egregio\\sly,

actively working to cover-up/conceal and/or deny the existence of the decade of [WCLE)'s racial-oppression and racketeering-activity - in

conspiracy with racketeer co-defendants [JSP&KAP],[RSR] - against the plaintiff. The plaintiff has thus been forced, by no choice of the

plaintiffs own, to include the [WCCAO] and the [WCDAO] as secondary-defendants to this lawsuit - if nothing else, pure ly for the sake of

declaratory-relief and injunctive-relief against these secondary-defendants (see sections concerning requested-relief below). To be clear,

[WCLE] and racketeer co-defendants [JSP&KAP),(RSRJ - egregiously violated and continued-to-violate the [FHA] against the plaintiff - a

complaining patty in numerous fair-housing-complaints and/or fair-housing-investigations dating back to {2011-08} - by engaging in the decade

of such purely-retaliatory actions (including, but not limited to such purely-retaliatory prosecution) against the plaintiff, even abusing (and

conspiring-to-abuse) the virtually-unlimited taxpayer-funded resources of defendant [WC] in-order-to engage in the decade of such purely-

retaliatory actions (including, but not limited to such purely-retaliatmy prosecution) against the plaintiff. To be clear, [WCLE] and racketeer co-

defendants [JSP&KAP],[RSR] - also egregiously violated and continued-to-violate the [FHA] against the plaintiff by unlawfully "coercing,

intimidating, threatening, and inte1feri11g-with" the plaintiff's "exercise or enjoyment of, or on account of (plaintiffs ) having exercised or

enjoyed, or on account of (numerous persons) having aided or encouraged (the plaintiff) in the exercise or enjoyment of, any right "
guaranteed under the [FHA]. To be clear, [WCLE] and racketeer co-defendants [JSP&KAP],[RSR] - also egregiously continued to violate the

[FHA], the [TFHA] and the [KKKA):§1983 (the plaintiff's fourteenth-amendment <* ) right to equal-protection under the law) against the

plaintiff in such decade-long, egregiously racially-discriminato1y housing practices (including, but not limited to, a decade of the defendants

Constitutional rights violations against the plaintiff) and egregiously racially-discriminato1y interpretation and enforcement of the laws of the

State of Texas and egregiously racially-discriminatory interpretation and enforcement of the restrictive-covenants of the subdivision - including,

but not lirnited to, the egregiously racially-discriminatory "cheny-picking" of the enforcement of the resh·ictive-covenants of the subdivision in-

order-to advantage/favor White-American residents (such as, but not limited to, [JSP&KAP],[RSR]) and to disadvantage/disfavor at least some

 immigrant(s)-of-color/indigenous-person(s) (such as, but not limited to, the plaintiff) - with all of such egregiously discriminato1y housing

 practices meant to intimidate/interfere-with/harass/threaten/blackmail/retaliate-against the plaintiff, w ith the defendants' ultimate goal being to

 drive the plaintiff out of what they considered to be "their" (exclusive-and-pure) White neighborhood - the most egregious type of

 [FHA]/[TFHA] violation. To be clear, [WCLE] and racketeer co-defendants [JSP&KAP],[RSR] - egregiously violated both the

 [KKKA] :§1985 and the [RJaCOA) against the plaintiff by further obsh·ucting-justice (and further conspiring to obstrnct-justice) via such

 retaliation - intimidating-with and retaliating-aga inst the plaintiff - acting in the capacity of a wih1ess to the decade of such egregious acts of

 racial-oppression and racketeering-activity against the plaintiff - none of the many-dozen crin1inal-acts (including racketeering-acts) of which

 were even charged, let alone prosecuted, by [WCLE], acting in such obshuctive-and-retaliatory, blackmailing-and-defrauding racketeering-

 enterprise against the plaintiff with racketeer co-defendants [JSP&KAP],[RSR] - all occurring in furtherance of the defendants' ultimate

 conspiracy and scheme to deprive the plaintiff of the plaintiffs rights and defraud the plaintiff, an immigrant-of-color/indigenous-person, out of

 both, the plaintiffs money and the plaintiff's private-property-ownership within such White neighborhood - as aforestated, the most egregious

 violation of the [FHA) and the [TFHA].




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1631
On or about the date and approximate time of {2021-12-15 19:45} (nighttime), [JSP] is on his then rental-property, [784KLLTX78641],

assembling and/or putting-together holiday-lighting on various areas of such rental-property. When the plaintiff is outside for brief moments in

time, [JSP], on at least one occasion, would angrily shout at the plaintiff, although, due to the distance, it is either, unclear to the plaintiff, the

exact abusive words that [JSP] is yelling at the plaintiff on this particular occasion, or the plaintiff has not had the time to review the plaintiffs

security-camera-footage in-order-to carefully transcribe [JSP]'s abusive words shouted towards the plaintiff.



1632
On or about the date and approximate time of {2022-01-0 I 19:30} (nighttime), [UWAW-2], accompanied by another Unidentified While-

American woman, [UWAW-7], enter into the plaintiffs property and into the plaintiffs [FRONTPORCH], with [UWAW-7] shining her torch-

light into the plaintiffs open (but unlit) [GARAGE], and into the more private-areas of the plaintiffs unlit [FRONTPORCH]. [UWAW-2]

knocks on the plaintiffs [FRONTDOOR] and/or rings the plaintiffs [FRONTDOOR]-bell. Since the plaintiff had noticed that [UWAW-2]

engaged in the aforedescribed malicious, conspiratorial and racist conversation against the plaintiff with the plaintiffs malicious neighbor (and

defendant) [JSP], the plaintiff did not feel comfortable opening the [FRONTDOORJ and speakingwirh these individuals. It is unclear to the

plaintiff what these individuals wanted from the plaintiff, but based upon their dialogue recorded on the plaintiffs security-camera-footage, it

appeared as if they intended to interrogate the plaintiff about the plaintiffs companion-tortoises. [UWAW-2] and/or [UWAW-7] also make

inappropriate and/or suspicious commcnt(s) about the plaintiffs numerous security-cameras. After about 2 minutes at the plaintiffs

[FRONTDOOR] and recognizing that no-one is openh1g such [FRONTDOOR], both [UWAW-2] and [UWAW-7] walk away from the

plaintitfs [FRONTDOOR], apparently disappoh1ted that the plaintiff was unwillh1g to speak to them, with [UWAW-7] shining her torch-light

one-or-more additional tunes into the plah1tiffs open (but unlit) [GARAGE]. The plaintiff asserts that the plaintiff would not have faced these

additional incidences of harassment and invasions-of-privacy (especially at nighttime) if not for the aforedescribed malicious and racist

propaganda spread against the plah1tiffby [JSP] during the night of {2021-07-24).



1633
On or about the date and approximate tune of {2022-01-25 13:00), the plaintiff takes photographs from multiple angles on the street of the

plaintiffs [FRONTY ARD] - a regular activity that the plah1tiffperforms at least once a month (and often twice a month) in-order-lo protect the

plah1tiff from fraudulent elahns made by the [HOA],[WCLE], who, h1 the past, have clearly acted predatorily agah1st the plah1tiff based upon

 the predatory demands of the plaintifrs predatmy, malicious neighbors [JSP&KAP],[RSR). As the plaintiff is at the edge of the street closest to

 the sidewalk opposite of the [HOUSE], [JSP] drivh1g his very-loud pickup-buck drives up to the plaintiff, and stops right in front of the

 plaintiff - essentially hh1dering the plaintiff from taking the current photograph. The plaintiff is shell-shocked as the plah1tiff does not know

 what [JSP] is intending to do - especially given [JSP]'s extreme-racial-anhnus, homophobie-anhnus and violent tendencies towards the plaintiff.

 Both the plaintiff and the truck remah1 relatively motionless (but with the truck still loud from running) for approximately 20 seconds, and

 approximately 20 seconds later, [JSP] loudly and suddenly accelerates such ve1y-loud pickup-buck up the street, further startling and

 traumatizing the plaintiff; and then eonthrnes to park such very-loud pickup-buck in the driveway of [784KLLTX78641].




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«][634
On or about the date and approximate time of {2022-02-19 14:22} , [NP] arrives as a back-seat passenger in a dark-grey-or-black-pickup-

truck, then exits the numing (but paused) dark-grey-or-black-pickup-truck with what appears to be a rifle and/or shotgun of some type. [NP]

runs towards the front-door of [784KLLTX7864 l ], then a few minutes later, walks back towards the running (but paused) dark-grey-or-black-

pickup-truck (which the driver and/or other passengers still in the vehicle) and enters back into the back-seat. Then as the dark-grey-or-black-

pickup-truck is slowly driving-away, [NP] lowers the back-seat passenger window, and yells out to the plaintiff and plaintiff's security-cameras,

"FUCK YOU, SIDI". This fact also shows that the driver and other passengers of that vehicle (whether they are friends/relatives/associations
of [NP]) are, at the very least, fully-approving of the extreme-racial-animus of [NP] against the plaintiff, further signifying the culture of racist

lawlessness that the plaintiff has been suffering for more than 10 years, thanks to defendant [WC]'s actions/inactions (o) .



«J[ 635

On or about the date and approximate time of {2022-02-22 19:04}, [JSP] looks into one of the plaintiff's security-cameras located in the

plaintiffs side-yard, and then aggressively invokes the obscene/vulgar gesture of the middle-finger pointed directly to the plaintiff's security-

camera, while mumbling words of anger that are too inaudible for the plaintiff's security-cameras to pickup (at least, without any

enhancement) (o) .



«][636
On or about the date and approximate time of {2022-03-22 19:46}, [JSP] drags a step-ladder close to the fence bordering [788KLLTX7864 I]

and [784KLLTX78641 ]. [JSP] extends the step-ladder and then steps onto the step-ladder in-order-to view the contents of the plaintiff's

private [BACKYARD] - thus, in total violation of the plaintiff's rights. [JSP] spends a total of approximately 2 (or more) minutes on the step-

ladder, shaking his head with disapproval, and pointing to items in the [BACKYARD] while mumbling words that are too inaudible for the

plaintiff's security-cameras to pickup (at least, without any amplification/enhancement) ( o) .



 9(637
On or about the date and approximate time of {2022-07-18 13:00}, an employee (and/or contractor) of defendant [WC] - White male,

 approximately 6-feet-tall, approximately 250 pounds - looks for several seconds into the plaintiff's [FRONTYARD] political yard-signs on his

 way to the plaintiff's [FRONTPORCH], without wearing a face-mask as a safety precaution against COVID-19, where he attaches a road-

 repair notice onto a bin stored on the plaintiff's [FRONTPORCH]. The employee would then walk onto the plaintiff's sideyard on his way to

 the neighboring property [784KLLTX7864 I].



 «][638
 On or about the date and approximate time of {2022-07-20 08:00}, several employees (and/or contractors) of defendant [WC] begin their

 road-repair of the road in front of the plaintiffs property. Throughout this entire day, [JSP]'s boat is illegally parked on the road obstructing the

 road-repair work despite of the fact that both [JSP&KAP] were given ample notice by defendant [WC] of this road-repair work. The [WC]

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employees (and/or contractors) driving several types of contractor trucks (with the logo of defendant [WC] painted onto them) have to

maneuver around the obstruction caused by [JSP)'s boat. Such road-repair work continues for several hours, and at a later point in time during

the day, a [WC] employee (or contractor) drives up to [JSP]'s boat, and places another notice ofrepair-work onto the trailer-hitch of[JSP]'s

boat.



i639
On or about the date and approximate time of {2022-07-20 23:30}, [JSP] drives his loud-pickup-truck in front of his boat parked on the road.

[JSP] attaches the boat to his truck, and leaves the loud-pickup-truck running for approximately I hour. At approximately {2022-07-21 00:30}

(past midnight), drives his attached boat away in hLs loud-pickup-truck. This sequence of incidents is not only an example of [JSP] ignoring

notices sent by the local government, but is also just one of many examples of [JSP] being inconsiderate of all of the nearby neighbors, by

causing large amounts of noise in the middle of the night. These facts are particularly relevant to this case because for a period of over 10
years, defendants [JSP&KAP],[RSR] and [WCLE] fraudulently, and in the most racist manner, accused the plaintiff of being "inconsiderate",

solely due to what they alleged to be the plaintill's failure and/or "inability" to maintain the plaintiffs private-property according to their

(hypocritically-enforced) White-American standards ..



i640
On or about the date and approximate time of {2022-07-21 08:00), several White-male employees (and/or contractors) of defendant [WC]

resume road-repair work in front of the [HOUSE] - now concentrating on the area of the road, that they could not previously work on due to

[JSP]'s boat obstructing their work on the previous day. One of the [WC] employees (and/or contractors), walking on the sidewalk in front of

the [HOUSE], stops and stares for approximately 30 seconds at the plaintiffs political yard-signs, and then continues to walk down the

sidewalk, also looking into one of the plaintiffs security-cameras. A very-shm1 amount of time later, the same [WC] employee (and/or

contractor) would then point the other [WC] employees (and/or contractors) at the plaintiffs yard-signs (including the [AOC] yard-sign),

sarcastically yelling out to them, "VOTE HER FOR PRESIDENT!". Approximately half an hour later, several of those [WC] employees

(and/or contractors) gather in front of the plaintiffs political yard-signs discussing the yard-signs and what they allege to be the large number of

 security-cameras on the plaintifl's property. While this lawsuit seeks to focus attention on the decade-long abuse that tl1e plaintiff has suffered

 from [WCLE], the plaintiff also documents this incident since it shows a general culture of abusive, right-wing political-animus and racial-

 animus that seems to be shared even by some non-law-enforcement agencies of defendant [WC]. The plaintiff is also constantly amazed of the
 Orwellian irony of the situation - that there exists so much political-animus by what appears to be members of defendant [WC]'s working-class

 employees (and/or contractors) against the one segment of American politics that most-strongly advocates for genuine working~class (and

 union) values - namely, democratic-socialists. The plaintiff is unaware for the reason why such heavy road-repair needed to occur in the first
 place, as the plaintiff did not notice any significant disrepair of such roads prior to such road-repair. Additionally, as a result of the ve1y-darker-

 gray (almost black) colored roads caused by such road-repair, such roads store (and thus radiate) significantly more heat during summer time,

 then when the roads used to be very-light-gray (almost white), prior to such road-repair. It is estimated that a significant amount of harmful,

 man-made global-warming is caused by artificially dark surfaces such as newly constructed/repaired blacktop roads. It is also an established

 fact that excessive heat causes greater long-term wear-and-tear on tires and/or hazardous conditions for such tires. Therefore, by engaging in

 such unnecessary road-repair, defendant [WC] is also passing further hidden cost(s) of such road-repair onto the drivers of vehicles, whose

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tires will wear-out at a faster rate and/or become compromised at a faster rate - all due to the greater heat stored on such "repaired" roads.

Finally, a significant amount of the rock-hard debris from this road-repair still remains (even a year after such road-repair) along the sidewalks

of the neighborhood. The plaintiff ahnost always walks barefoot as a deeply held religious/cultural practice. Thus, the rock-hard debris on the

side of the sidewalk causes at least some amount of pain/discomfort when the plaintiff walks barefoot over such area (for example, when
irrigation sprinklers cause the sidewalk to become wet). If it W. trne that such road-repair occuned since defendant (WC1 obtained federal funds

for road-repair, then this fact docs not necessarily mean that such federal money should be spent needlessly without actual necessity, with

resources being needlessly consumed. The plaintiff asserts that the plaintiff is a democratic-socialist, but like most democratic-socialists, the

plaintiff is strongly against unnecessary government spending and unnecessary waste of resources (material, equipment and labor). The plaintiff

asserts that, at a minimum, defendant [WC] should have sent a questionnaire to the residents of the neigl1borhood (also informing residents

about the aforementioned facts concerning roads), asking of every resident if such resident deems road-repair necessa1y, and only if a majority

of residents voted in-favor-of such road-repair, should defendant [WC] have opted to proceed with such road-repair.



1641
On or about the date of {2022-07-31} - the fmal day of [JSP&KAP]'s residence and/or lease of [784KLLTX78641] that is known to the

plaintiff - [JSP] dumps many items from the backyard of [784KLLTX7864 l] onto the sideyard area of [784KLLTX7864 I] (in the process of

loading such items onto a trailer) with at least some of the items/debris from these dumpings falling into the sideyard area of the plaintiffs

property [788KLLTX7864 l ]. For example, the plaintiff discovers that [JSP&KAP] had stored a large amount of brush - yard-cuttings from the

trees/bushes - stored in the backyard of [784KLLTX78641] that [JSP] Ls only now removing from the backyard of [784KLL TX78641 ]; this

fact is also important because for over 9 years, [JSP&KAP] and/or [RSR] hypocritically demanded that the [WCLE] and the [HOA] force the

plaintiff to remove any-and-all items from [BACKYARD], including cut vegetation (as evidenced by the audio-recordings and email messages

that the plaintiff has in the plaintiffs possession). During much of this day that [JSP] spends emptying the backyard of [784KLLTX7864 l ],

[JSP] periodically stares into the plaintiffs security-cameras, mumbling, expressing anger, presumably because neither he nor his co-

conspirators [KAP],(RSR],[WCLE] and former co-conspirators [f-HOA-BoD]s(SPOA-P-BC],(SPOA-VP-AH], despite resorting to all of the

many types of racial-oppression and racketeering-activity substantially documented in this lawsuit, were successfully able to evict the plaintiff

out of what they had always considered to be "their" (exclusive-and-pure) White neighborhood.



 1642
 As one of the fmal social-media-postings by (KAP] onto the ':facebook.com" social-media-platform's [Summerlyn) group, [KAP] makes

 many extremely-revealing statements about her family's 1113+ 11 years of residence within the [Summerlyn] subdivision. Although many

 statements made by [KAP] in such social-media-posting arc extremely-revealing, the plaintiff will dissect such statements in the order of least-

 revealing to most-revealing. [KAP] states that when [JSP&KAP]'s family first moved into [Summerlyn] , they could "hear the cows, goats,

 roosters" - all of which are animals that, according to the restrictive-covenants of the [Summerlyn] subdivision, no resident of the

  [Summerlyn) subdivision is allowed to have. [KAP] fmiher states that, upon moving out of [Summerlyn) , and moving into her new

 residence in Belton (also located in Central-Texas), she hears "roosters, goats and pass by horses, donkeys and cows", further explaining that

 hearing such animals "makes (her) soul better. "Yet, [JSP &KAP], along with their racketeer co-defendant [RSR], repeatedly complained to

 the [HOA] and/or [WCLE] about the timid, shy, quiet and extremely-docile hens (not roosters) that the plaintiff had on the plaintiffs property

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for a ve1y short amount of time during the years {2014}, {2015} - only to trial-run what it takes to raise poultty for agricultural purposes (since

the plaintiff had recently purchased the plaintiffs agricultural-private-property during the month of {2015-03} ). Additionally, [JSP&KAP],

along with the ir racketeer co-defendant [RSR], repeatedly complained to the [HOA] and/or (WCLE] about the timid, shy, quiet and extremly-

docile companion-tortoises that the plaintiff had on the plaintiffs private-property since the year {2014} - despite the fact that no mle in the

 [Summerlyn) subdivision's restrictive-covenants explicitly forbids [Summer\ynl residents from having companion-tortoises, and despite

of the fact that many other residents of the [Surnmerlyn] subdivision did have companion-tortoises, and despite of the fact that countless,

similarly-situated residents within ve1y-similarly-deed-restricted subdivisions throughout the Austin-area did have companion-tortoises on their

residential properties for at least a decade (o ) . One-or-more of [KAP]'s statements reveal that both [JSP&KAP] are deeply-religious people of

the Christian faith, making the religion-aspect of the plaintiffs discrimination complaint against the defendants even clearer. Far more

importantly, it becomes abundantly clear to the plaintiff that [JSP&KAP] fully-justified their decade of racial-oppression and racketeering-

activity against the plaintiff - in conspiracy with their co-defendant racketeers [RSR],[WCLE] - based upon their strong religious convictions - a

pattern of abuse of religion that is clearly evidenced by:



® countless far-right-wing-extremist criminals, for example: Anders Behring Breivik, Timothy McVeigh, David Koresh, Frank Silva Roque,
Dylann Roof, Phillip Skipper, Daniel Peny, Lori Vallow Daybell, Warren Jeffs, countless Ku-Klux-Klan members, countless Christian-

Identity-Movement members, many of the far-right-wing-extremists that participated in the {2021-01-06} United-States-Capitol-Insurrection,

etc.; AND



@ numerous cult-leader criminals, for example: Keith Raniere, Jim Jones, Charles Manson, etc.; AND


© countless other individuals that commit crimes under the protection of religion, for example: Danny Masterson, Fred Neulander.


(KAP] reveals that the true reason for [JSP&KAP] to sell the ir [Sumrnerlyn] property, [784KLLT X78641], was not, in-order-to get away

from the plaintiff - as all of [JSP &KAP]'s decade of predat01y racial-oppression and racketeering-activity against the plaintiff would lead any

reasonable observer to believe - but rather, in-order-to "take advantage ofa (extremely-profitable real-estate ) market that was making

headlines and would give (them) an opportunity that (they) might not have othenvise been able to have." For a decade, [JSP&KAP] -
acting in conspiracy with co-defendant racketeers [RSR],[WCLE] - had repeatedly made numerous fraudulent complaints against the plaintiff -

 both to the [HOA] and to [WCLE] - and which even lead to the [HOA]'s {2017} predat01y lawsuit against the plaintiff and [WCLE]'s purely-

 retaliatory Class-C-Misdemeanor-Public-Nuisance prosecution against the plaintiff - that the plaintiffs private-property was driving down not

 only their private-property's value, but also the values of all of the private-properties smTotmding the pla intiffs private-property; yet, this

 statement clearly reveals that [JSP&KAP] made a huge profit in selling their [Summerlyn] property, [784KLLTX78641]. [KAP] admits

 that even after selling the ir [Summerlyn] property, [784KLLTX7864 l ], on-or-about the month of {2021-08}, they continued to rent such

 property for a year after such moment-in-time - continuing to "make some final memories in the home (they)'ve lovedfor so long." In

 numerous statements, [KAP] expresses her euphoric joy and strong gratitude of the (fond) "memories in the home" that [JSP&KAP]'s family

 has "known and loved for so long " - having lived in such home, [784KLLTX78641], located within the [Summerlyn] subdivision for over

 13 years - further stating that such home was a ''great place to live" for that entire time-period - that such home, neighborhood and city "will

 hold a ve,y special place in (their) hearts." [KAP] states that she had, on numerous occasions, cried over the thought of moving out of such

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home - filled with fond memories - and that she "cried (again) and had to pull over numerous times to bawl as (.1·he) l~/i one last time." All

of these extremely-revealing statements made by [KAP] stand in sharp contrast to the extremely-fraudulent-narratives that racketeer co-

defendants [JSP&KAP],[RSR] and [WCLE] had been making against the plaintiff for over a decade. For over a decade, [JSP&KAP],[RSR]

and [WCLE] fully exploited and capitalized-upon such extremely-fraudulent-narratives against the plaintiff, thereby using such extremely-

fraudulent-narrntives against the plaintiff as a frnud\1\ent pretext to justify their decade of raciat-oppression and rncketeering-activity against the

plaintiff - with the ultimate goal of all such predatory actions undertaken against the plaintiff being, not only to cause untold amounts of

permanent, irreparable harm (deep-psychological-trauma, extreme-mental-anguish, etc.) onto the plaintiff, but also to drive the plaintiff - an

immigrant-of-color/indigenous-person - out of "their" (exclusive-and-pure) White neighborhood, thus defrauding the plaintiff out of private-

property-ownership within such White neighborhood. Of equal importance, such final social-media-posting by [KAP] also reveals the deeply

respectful, gracious and hospitable manner in which [JSP&KAP] treated the other residents of the ove1whelmingly-White-American

neighborhood, versus the extremely malicious and predatory manner in which [JSP&KAP] treated the plaintiff(due to the plaintiffs minority-

of-one racial-profile) - for over a decade. Most i.mp01tantly, it brings in1mense pain and mental-anguish (resulting in permanent psychological

trauma) to the plaintiff for the plaintiff to reveal to this Comt that [JSP&KAP] thoroughly enjoyed violating the plaintiff's rights for over a

decade - even having (fond) memories (as indiciated in this social-media-posting) during which they rejoiced in the violation of the plaintiffs

rights - which they clearly regarded as a fun sport in which all of the defendants could joyfully participate in. The plaintiff asserts that, until the

plaintiff discovers this social-media-posting in the following year ( {2023} ), the full range and scope of the plaintiff's injury caused by the

defendants had not been made fully aware to the plaintiff.
     •• ,   FIN11L SOCL\IrHEDrA- POSTING BY (ltl\PJ CII "hoabooi:. ocm" ( Slmar.lyn)   GRlOP•   (IOU') ,    (2022-08-01) ,




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          Kimberly Ingalls Pargin ► Summerlyn in Leander                                                                             •••
          August 1, 2022 · 8

 Warning - long post...feel free to skip.               I think I'm putting this out there more for my benefit and
 peace of mind.
 Hi folks ... l don't personally know any of you (we're 'home bodies' ... not too social anftmore), but through
 this page, I've come to know more about the f4•ii@fflffl■@•mij@■jkiju4,IH\mffl\l. I've also obtained
   ara e door re air, mechanic re air, dump removal and received great suggestions for other services.
                                            and I appreciate the pride that so many have in their properties -
 homeowners and renters alike.
 That said,                                                                        . Our kids were 8 & 5
 when we moved in - they went to Jim Plain Elementary, Wiley Middle and my daughter went her
 freshman year at Rouse, then moved to the "new cool high school in the area", Glenn, for the remainder
 of her high schooling - graduated in the inaugural class of 2019. She since went to UT-Austin and
 graduated a year early.. just 6 da s before m son raduated from Glenn too, in Ma of this ear. I could
 go on and on about how                       • • •                             •        • •
 §,h,fo@Gfj, -   I'm sure it would resonate with many of you. A LOT has changed over those 13 years in the
 community as well, which is why we felt it was time to move on. When we first moved 'out' to
 Summerlyn - you could see and hear the                               and coyotes. The stars were brighter and
 there were more of them. I had originally told our realtor I didn't want to look past Crystal Falls for our
 first home - but fell in love with how far out, but still close we would be here. And the house was perfect
 for what we were looking for. Ski ahead 12 years and the city was uickl establishing itself around us
 with SO much more to come. e decided to sell and t ake adva ntage of a market that was making
 headlii1es and would g·ive.~1~ an o ppo rtunity that we might not have otherwise been able to have.
    • • • • • • • • • • • lo ng t enii': lease back and make some final memories in the ho me we've known
 i ,1Cl loved for so  IBf-f~ rtfe?U6fd1Gi~~Ji1u s w ith good timing t o st a1t the next book of our lives -
 daughter has moved to San Antonio area for first 'big girl' job, son about to move to Waco to               to                lo
 TSTC. .. so we're all in transition at the same time. We built a beautiful                           iit¥1it•mt411Nudi-Si,i
                                                                                                          j.ffi(c.j.j so
 we'll be closer to my husband's family, but still close enough for him to drive to Austin for work if
  needed. On the outskirts of town ... l hear roosters, goat s and pass by horses, donkeys and cows ... and it
  makes my soul better. I'm sure the 'growth' will probably follow us again, but for now, we'll be working
  on the new memories of these next phases of our lives.
           • •     THANK YOU - thank you for being a great g roup of folks that w ill carry Summerly n for
  many more yea rs as an overall great place t o live. This neig hborhood, and Leander, will hold a very
  special place in our hearts. As I handed the keys over to the new owner yest erday, I cried (again) and had
   o pull over numerous times t o bawl as I left o ne last time• - if you saw a crying lady in a white vehicle out
  front of your house yesterday... sorry. · ·
  Adios, au revoir, sayonara, arrivederci ... see ya later alligator. Take care of Summerlyn for us!



i643

On or about the date and approximate time of {2022-10-15 13:00} , an unidentified package-delivery-person, [UWAPDP-2) - White-American

female, approximately 5-feet-6-inches-taU, approximately 170 pounds - rings the plaintiffs [FRONTDOOR] beU. When the plaintiff answers


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the [FRONT DOOR], [UWAPDP-2) states to the plaintiff that she has a package to deliver to the plaintiff requiring the plaintiff's signature.

The plaintiff uses the plaintifrs finger to electronically-sign for the package, and apologizes if the signature didn't register properly. [UWAPDP-

2) says that the signature was fine, hand-delivers the package to the plaintiff and then leaves. The plaintiff did not notice any unusual event or

occurrence, other than the minor fact that [UWAPDP-2) noticed multiple packages in the plaintifrs front-porch area, and picked an additional

package already delivered on a previous occasion to hand-deliver to the plaintiff. Within an hour of this incident, the plaintiff notices that

[WCSD-0-Neil] parks his vehicle on the road in front of the plaintifrs property, walks into the plaintiff's property without wearing a face-mask

as a safety precaution against COVID-19, knocks on the plaintiffs [FRONTDOOR] and/or rings the plaintiff's [FRONTDOOR] bell. [WCSD-

0-Neil] said that he received a complaint from [UWAPDP-2) that she heard loud/screaming noises and/or voices-of-distress from inside and/or

around the plaintiff's [HOUSE]. The plaintiff explained to [WCSD-0-Neil] that the plaintiff was the only person inside of [HOUSE) on that

particular day, and furthermore, that the plaintiff had been living alone at such residence for the ove1whelming majority of the almost 14 years

that the plaintiff was owner of such property. [WCSD-0-Neil] asked if the plaintiff had any companion-animal whose name starting with the

letter 'H', because according to him, the complainant said that someone was screaming the distress-signal of "HELP!", or somebody whose

name started with the letter 'H'. The plaintiff says that the plaintiff does have companion-tortoises, that such companion-tortoises live outside

of [HOUSE], but none with a name starting with the letter 'H'. [WCSD-0-Neil] is satisfied with the plaintiff's response, and upon reviewing

that nobody is in distress within the plaintifrs property, informs the plaintiff that he would be leaving the property. As a matter of reflexive

habit and courtesy, the plaintiff thanks [WCSD-0 -Neil] and closes the [FRONT DOOR]. This incident, once again, reveals that [WC LE] has,

for over a decade, been laser-focused on any allegation - even if without any merit, even if without any shred of evidence - of hann that the

plaintiff is alleged to have caused onto other person(s), but during that same period of time, [WCLE] has shown little-to-no concern to the

decade of racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses that the plaintiff suffered from the plaintifrs former

predato1y neighbors [JSP&KAP],[RSR], and some other members of [WCLE] that acted in conspiracy with those predato1y former neighbors

- despite of the fact that the plaintiff had amassed a motmtain of evidence of those racially-motivated hate-crimes/civil-rights-

violations/racketeering-acts/abuses suffered by the plaintiff. According to the plaintifrs recorded-footage, [WCSD-0-Neil] did have a body-

worn-camera - and as such, such body-worn-camera should have been recording all aspects of this Unconstitutional-And-Unlawful

search/seizure/inte1rngation/detention of the plaintiff and the plaintifrs private-property - unless, [WCSD-0-Neil] deliberately turned-off such

 body-worn-camera (at any point in time) in-order-to Obstmct Justice against the plaintiff. It should also be noted that this incident takes place

 during "Indigenous Peoples' Week" - the second week of October (as declared by the ~Texas Legislatu re~ ) - a weeklong event which the

 plaintiff, an indigenous person, celebrates.



 i644
 At the {PRESENT-DAY}, and to the best of the plaintiffs knowledge, none of the racketeer defendants directly-involved in the decade-long,

 obstructive-and-retaliatory, blackmailing-and-defrauding racketeering-enterprise - ultimately meant to defraud the plaintiff out of the plaintifrs

 right to private-property-ownership - against the plaintiff have faced justice for those criminally-abusive and predat01y actions against the

 plaintiff. [n particular, and to the best of the plaintiff's knowledge, none of such racketeer defendants that directly-engaged in egregious acts of

 racial-oppression against the plaintiff within the context of this decade-long, obstructive-and-retaliato1y, blackmailing-and-defrauding

 racketeering-enterprise (ultimately meant to defraud the plaintiff) against the plaintiff have faced justice for those criminally-abusive and

 predato1y actions against the plaintiff. The [WC) Prosecutors of the [WCDAO] and the [WCCAO] - the same prosecutors who are legally-

 bound by Texas law to see that "Justice is done " - and the same prosecutors who are at least substantially-aware, if not full-aware, of the
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defendants' decade of racial-oppression and racketeering-enterprise against tl1e plaintiff, not only deliberately turned a blind-eye to all such

racial-oppression and pattern-of-racketeering-activity against the plaintiff, but even more egregiously, actively worked to cover-up/conceal such

racial-oppression and pattern-of-racketeering-activity - despite of the fact that most, if not almost-all, of such racial-oppression and pattern-of-

racketeering-activity has been captured by [WCLE]'s own recorded-evidence (Body-Worn-Camera, Dash-Camera, emails, phone-calls, voice-

mails, sworn-statements, interviews, verbal-statements, social-media-messages, online-form-submissions, physicaVelectronic

documents/images/forms, etc). In so doing, such [WC] Prosecutors of the [WCDAO],[WCCAO] have, at an absolute minimum, violated

[TCoCP-T 1-C2-A2.0 I], [TDRoPC-ffi-Rule-3.09], [TDRoPC-YTIT-Rule-8.04], [TDRoPC-VIll-Rule-8.03] against the plaintiff - by not only

retaliating-against the plaintiff (in conspiracy with the other defendants), but also actively obstructingjustice against the plaintiff - causing untold

amounts of severe-emotional-distress/psychological-trauma/mental-anguish - extreme pain-and-suffering spanning almost 3 years (in addition to

the 9 years of extreme and irreparable harm caused by the other defendants acting in conspiracy against the plaintiff). Therefore, the plaintiff

has been left with no choice but to, at a minimum, include the [WC] Prosecutors offices - the [WCDAO] and the [WCCAO] - as secondaty-

defendants in this lawsuit - only for the sole purpose of much-needed declarat01y-relief and injunctive-relief (see sections below). [WC]

District-Attorney Shawn Dick ("[WCDA-SD]") also has (or had) the following mission statement posted onto defendant [WC]'s website, which

the plaintiff can only interpret as extremely disingenuous with respect to the plaintiff (see below). However, in fairness to [WCDA-SD], the

plaintiff also partly suffered some of the racial-oppression and pattern-of-racketeering-activity documented in this lawsuit under [WCDA-SD]'s

predecessor, former [WC] District-Attorney Jana Duty (now deceased).
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  Ari. 2. OJ. DUTIES OF DISTRICT ATTORNEYS. Each dislricl allomey shall represent the Slate in all criminal ca.l'es in !he district courts of his districl and i11 appeals
  therefrom, ercepl in cases ll'here he has been, before his e/eclio11, employed ad1•e1:l'ely. When any criminal proceeding is had before 011 emmi11i11g court i11 hi.1· dislrict or before a
 judge upon habeas c01p11s, and he i.l' 110/ified of !he same, and is al the lime within his dislricl, he shall represenl the Slate therein, 1111less preve111ed by olher official d11ties. D
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     The prosecutor i11 a criminal cm·e shall:


     (11) reji'{li11 from prosec11/i11g or 1hrea/e11i11g lo prosecute a charge that the prosec11/or k11om1· is 1101 s11pported by probable ca11se;


     (b) refrain fmm co11d11cli11g or assisling in a custodial i11/e1rngalio11 of an accused unless !he pro.1·ec11tor has made reasonable e:fforts lo be a.~\'1/red that !he accused has been
     advised of any right lo, a11d the procedurefor obtai11i11g, counsel and has been given reasonable oppo111111i1y lo oblai11 co1111se/;


     (c) 110/ initia/e or encourage efforts lo oblain from an 11111ep1ese11/ed accused a 1miver of imporfmlf pre-lrial, trial or posl-lrial rights;


     (d) make time~)' disclosure lo the defense of all evidence or i1!fo1111alio11 k11m111 to !he prosecu/or thm lendf lo negate 1he g11ill of !he acc11sed or miligale.1' the offense, and. in
     cmmeclio11 wilh se11/e11ci11g. disclose 111 the d,;fe11se and lo !he lrib1111a/ all unprivileged mitigating i1!formalio11 known lo /he prosec11/or, ercepl when /he pmsec11tor is relieved qf
     this respomibilily by a proleclive mder qf !he lrilnmal; and


     (e) exercise reasonable care to prevent persons employed or co11trolled 1,y the prosecu/or in a criminal cal'eJ,vm making an e.rlraj11dicia/ sta1eme11/ thal !he prosecutor 1m11/d be

     prohibitedJ,vm making 1111der Rule 3. 07.


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I. A prosecutor has the responl'ibility to see that justice is done, a11d ,wt simply to be <Ill adl'oca/e. 71,is responsibilily cairies 1.-i//, ii a 1111111ber ofspec/fic obligations. A111011g
these is to see Iha/ 110 person is lhreate11e1I 11ith or s11bjected lo tire rigon, ofa climi11a/ proseculio11 11itl11ml good ca11,\'e. See paragraph (a). /11 addition a prosecutor should 110I

i11iliale or exp/oil any violation of a suspect 's right to co1111sel, 11or .\'lto11ltl he i11itiale or e11ammge ejfoT1,I' lo obt11i11 11ni1't!n. ofimpoT1tml pre-1ti11I, trial, or p1~1'f-lti<1l 1igltts
from 1111represeJttt!lf pel'Slm.1: See paragraphs (/J) and (c). /11 addition, a prosecutor Is ollllged 10 see that tire 1lefe11d1111t is accorded pmced11rt1/ jm1ice, Jllf/1 the tlefe11d1111t's guilt
is decided 11po11 the b(J.11,\' of.mj]icie111 f!\Ytle11ce, mu/ tftal any se11/CJ1Ci! imposed is b(J.1-et/ m1 al/ 1111pri11itegt!ll i11fomwtim1 k11011fl lo the p1vsec11for. See paragraph (d). Finally,

a prosecu/or is obliged by this rule to take reasonable measures to see thal pe1:m11s employed or controlled by him r<!fi-ain.fiwn making e.rtrtifudicial statemenls that are
prejudicial Jo Jhe accused. See paragraph (e) and Rule 3.07. See also Rule 3.03(a)(3), governing er parte proceedings, a111011g which gra11dj111y proceedings are i11c/11ded.
Applicable 10111 may require olher me<1s1tre.\' by /he prosecutor a11d k110111i11g disregard af those obligations or a systematic abuse ofprosecutorial discretion could constilute a

violation af Rule 8. 04. ...


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Rule 8. 03 Repo1ti11g Professional Misco11duct


 (a) Excepl a.\' pe1111i11ed in paragmphs (c) or (d), a lm,,w having k11owledge that another /a11, •er has committed a violation of applicable mies ofprqfessional conduct thal
 raises a s11bsta11lial q11e.l'tio11 as to that /a11, ,ers honesty, 11·11stm1rthi11ess or.fitness as a la11, •er in other respects. shall i11f01111 tl1e appropriate disciplinmy authority. ...


 Rule 8.04 Misconduct


 (a) A lmvyer shall 1101:


 (I) violate these 111/es. k11owi11g(J1 a.~l'ist or induce a1101her to do so, ar do ,\'o through the acts of a1101he1; whether or not such violation occ111red in the com~·e of a die11t-la11,1er

 relationship;


    (2) commit a serious crime or commit any other criminal act tlwt r(!flects adversely 011 the /a11,-e1:1· hones~)!. t111st11vrthi11ess orfit11e.~, as a lm,,,er in other re.1pects;


    (3) engage ill comlucf il1110M11g ,1is/w11e:,·ty, /mud, deceit or 111isreprese11tafio11;


    ( 4) eugage i11 co11d11cl COll.\tit11ti11g ob.1tmctio11 ofju.l'fice;


    (5) slate or iuyJ/y <Ill ability to i11flue11ce improper(J' a govemme11t agency or o.fjkial;


    (6) k11owi11gly assist a judge or judicial officer in conduct that is a violation of applicable rules ofj udicial conduct or other law;


    ( 7) violate any disciplinmy or disability order orj11dgme111;


    (8) fail to timely furnish to the Chief Discipli11my Counsels office or a district grievance commillee a response or ather i1!formatio11 as required by the Te.ms Rules of
    Discipli11a1y P1vcedure, 1111/ess he or s/1e in goodfaith ti111e(1• a.~5ert.l' a privilege or other legal gro1mdforfailure to do so;


    (9) engage i11 conduct that constitutes ba1ra/Jy as defined 1,y the law of this state;


    (10) fail to comply ll'ith scclio11 13. OJ of the Te.ms Rules of Discipli11a1y Procedure relating Jo 110Jiflcatio11 of 011 attomeys cessation afpractice:


    (//) engage in the practice of / 0111 when the /m,, •er is 011 i11active status, e.Icept as permitted by sec/ion 81.053 of the Gove111111e11t Code and Article XIII of /he Slate Bar Rules,
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or when the lawye,:r right to practice ha., been suspended or terminated, i11c/11di11g but 1101 limited to situations 1111ere a lmvye1:, right to pmclice has been admi11islmtively
suspendedforfailure 10 lime/y pay J'(!q1tiredfees or asse.,w11e11/s orforfai/1,re to comply with Article XII of the Stale Bar Rules relating to Ma11dat0t}' Co111i1111i11g legal

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I am honored to lead lhe District Allomey's Office i11 1he p111,·11il ,ifjuslice and tof11(fil/ the mcmdale lo keep 1Villia111so11 C011111y safe.


Govem111e11/ is buill 011 a system of laws, by a11df01· the people. IV/te11ever we a/loll' egos, personal agendas. or polilics lo qffec/ the outcome q( a criminal case, ll'e erode the
public's co11fide11ce in our system of 1011~·- IVe mus/ hold those guilty of ha1111i11g our society accountable, b11t do so fairly, honestly, and openly or 11'<! risk fi·act11ri11g /he public's




 My ojjlce 1Vi// presetve the integrity of the cri11(i11al justice sys/em with a stciff rif professional and experienced prosecutors. The District Allomey's Office ll'ill restore 1Villia111so11

County'., p1v11d /radition of integrity in justice. I believe that our citizens dese1ve nothing le.tr.




                                                                                                §XXI

            DEEP-SEATED CULTURE OF RACISM, SEXISM, CORRUPTION,

                      HYPOCRISY AND IMPUNITY FOSTERED BY TOP-LEVEL

                                                     LEADERSHIP OF DEFENDANT [WC]




During the plaintiffs residence at [788KLLTX7864 l] (located within the County of Williamson), the plaintiff has received a few indications

(for example, reputable media reports) that the racial-oppression and racketeering-activity that the plaintiff has repeatedly suffered from

[WCLE] (as substantially documented in this lawsuit) is part of larger pattern and culture of institutional-racism (and sexism), corruption,

hypocrisy and impunity that is at least tacitly supported by some of the top-level leadership of defendant [WC]:
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        August 01, 2019                                                                                                                                                  by Kathryn Casteel




                      Stories about law enforcement officers disciplined for
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increasingly popping up in the news.
This story contains images that may be upsetting to some viewers.



In early July, a secret Facebook grouR was discovered where border patrol agents joked about the deaths of

migrants and posted lewd comments about members of Congress. 11iree weeks later, two Louis iana police

officers were fired after one of them wrote that U.S. Rep. Alexandria Ocasio-Co1tez was a "vile idiot" and

"needs around."



But in one Central Texas county just outside ofAustin, the local sheriff- a lottery-winning millionaire

whose department is featured on the popular A&E network show "Live PD" - has resisted calls to publicly

address com >laints abotll racist. ,ex i;;r and \'iolent i111a!!es JO,tt·d b\' a hi Q.h-ra.11king oOicer in hi s

&MMihdh•

Images found on the now-deleted Facebook page of Commander Steve Deaton, who oversees the patrol

division of the William son County Sheriff's Deprutment, include posts that make light of rape and murder.

Some ofthem include photographs of scenes created with Barbi es and Elf on the Shelf dolls.



One image, dated Nov. 28, 2017, de iic1 ~ a black football >lnvtr bei112 di,m t"lllhm.,d al Iht kne<::-: bv an elf

\\'Ith a clrniusaw. A.11 Amcricm1 fla~ 1s in the backc:round. The >o~t. n >,nrentlv \\tilten b,· Dt-atou. SU\'~:

 'And hert" \ th1: ~tart .. Our Pntriotic elf !"!re,,..· ruu!rier all ~ea»on. I-fr ti11all v ,na i ied ruHI decidc:d lo ,how

the NfL hO\Y he goc·s about rnkin~ kne<:::; for not ;;tan dine during onr nnt ionnl ru1th1."m ."



Other posts show scenes in which the Elf dolls are alluding to sexually assau lting Barbies.




                              Steve Deaton added a new photo.
      <                       November 28, 2017 · 0
                                                                                                                    •••

    And here's the start. .....Our patriotic elf grew angrier all
    season. He finally snapped and decided to s11ow the NFL
    how he goes about taking knees for not standing during our
    national anthem. #thankavet

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        Steve Deaton
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Some residents of this county just north of Austin, including some fo1mer department employees, find the

images deeply distmbing, especially coming from one ofthe county's top law enforcement officers. Yet, no

one knows where to tum for accountability. Appeals to SheriffRobe1t Chody have gone nowhere, according

to messages and emails reviewed by the SPLC.



And because Chody is an elected official who hires his own employees, the county's Commissioners Comt

appears to be powerless.



A woman who survived being raped on New Year's Eve - by two male acquaintances when she was in high

school 30 years ago - said she felt violated all over again when she saw the images.



During the holidays, "Sarah" (her real nan1e is being withheld to protect her privacy) stumbled upon the

images shared on Facebook by Commander Deaton. One of them depicts an elf holding the hair of a Barbie

that appears to have vomit on its face. TI1e caption reads: "Sticking to etiquette om· elf holds the hair of his

date to the pruty while she pukes. Silently though he wonders whether the roofie he slipped her eru·lier will

still be effective."



Earlier this yeru·, Deaton was reprimanded for sexual hru-assment, though not for his Facebook posts.



According to a grievance filed by other officers, Deaton told about 20 officers during a shift briefing that it

was his goal for one of them to have sex with a female producer of"Live PD ," which began airing shows

featuring the deprutment last November.



In response, Sheriff Chody ordered a "verbal reprimand" of Deaton. In an interview with a local news
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station in Austin, Chody said the depru1ment has "zero tolerance policy" for that type of conduct ru1d that he

was reaching out to "coqrnrate human resources" for sensitivity training for his officers, as well as for

himself



Some residents believe the ,herill. \\ho 1111:- ~;u11e1ed n lnr)a!t social 111ediu to llo,,ine. i~ more co11ce111ed

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"The more I saw, the murder scene, the date rape, I kept thinking to myself, this takes a lot of effmt to

make," Sarah said. "He's making outfits for them. He's thinking these thoughts and he's putting them

down. It's almost like h<.>'s taki11c c1ime~ a~rnim-1 >eo >le mid makin~ a joke about it.



In one post from November 2018, an elf is shown with a ransom note while a Barbie lies nearby 1,vrapped in

tape. The caption reads: "Our elf is searching for just the right words to convince Ted he wasn't fooling

around ru1d to pay the ransom. While he didn't mind burying ru1other body, it was time to get paid."



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,0111eone usi1H: Shtriff Choclv's >e1;;011al Face book account as \\·ell a~ that of Co1111tv Judge BilI Grnvell.

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A spokesperson for the sheriff's department said in an email to the SPLC that the department would have

no comment for this story.




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                                 ound and to pay the ransom.
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                  December 13, 2017 · 0
          After Santa began providing free
          healthcare to all his workers, everyone
          was able to get their annual physical,
          including a Elf- smear. #thismaybecold
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into a "t ull nd son" hold that caused the teen to lrn,·e a ~<.-izure. According to The Austm C:Juomde. the

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For Rhonda Gilchrist, a licensed counselor who previously worked as the victims assistant directorunder

the fmmer sheriff, enough was enough when repot1s surfaced ofChody's lax discipline of Deaton following

the incident with the "Live PD" producer in April.



"I get it," she said. "I understand cops have a macabre sense of hum 01: I understand that. But there's a

disturbing difference between a bad joke and going through the detailed pain of setting up some of those

scenarios."



Around the same t.ime as the reprimand ofDeaton, Chody fired two other officers for text messages on their

private cell phones. Aaron Skinner, one of the deputies fired, said the private text thread was a place where

K9 officers discussed what was going on in the depru·tment.



"A lot of those text messages were venting against the chain of command, and about what was going on,"

Skinner told the SPLC.



A complaint affidavit regarding Skinner's dismissal, reviewed by the SPLC, states that it was "alleged that

on or before March 12, 2019, Deputy Aaron Skinne1~ sent electronic messages to other employees criticizing

The Williams County Sheriff's Office." Iftrne, the affidavit states, this would be in violation of the

department's policy regarding "Restrictions on Behavior."



"That's all it said on my complaint affidavit," Skinner said. "I actually asked, where's the message? What
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message are you talking about? I'll tell you this, as far as making any racial or any type of slurs that would

offend the general public, no, we didn't direct any messages like that, like [Chody] insisted we did when he

was interviewed."



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·emain;; employed for ou1wanlly raci~1 m,cl ~e:-.ist co111111en1s aud post:-:.



Messages reviewed by the SPLC show that Gilchrist contacted the sheriff through Facebook on April 17 and

said she was disappointed in his decision to only reprimand Deaton. "Have you ever seen his Facebook post

which was open to the public, h<: has a very di,pnragith! Yit·w orwomc:n mid some of his posl wt-r<:

di ~turbi111< nud offr:u~iY ." her message reads.



Chody responded that he would like to discuss the matter further but that Gilchrist "seemed to have made a

decision without all the facts already" and he hoped he tmsted him as her sheriff. Gilchrist continued to

send images of Deaton 's posts, but Chody stopped responding.




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                                 Robert Chody
                                 JUL 13, 2016 AT 10:19 PM

                         Say hi to your new Facebook friend,
                                        Robert.

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                       APR 17 AT /:37 PM


         I would love to discuss
         further but you seemed to
         have made a decision
         without all the facts already.
         I would've hoped for your
         trust as your sheriff.
         Sometimes we are uanable
         to give the full account, in
         this case we gave a great
         deal of information and still
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         it did not air.


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The next day, Gilchrist said, D eaton 's Facebook page was deleted entirely.



Sarah also decided to come fmward to other public officials about the images. She emailed members of the
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Commissioners Court on April 18 after the news about Deaton 's reprimand smfaced and asked that his

Facebook posts be taken more seriously. "Deaton took painstaking measures to create Elf on a Shelf

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~cc-nruios to demcru1 womc-11 ," she wrote.



Only one member of the Commissioner 's Court responded. Teny Cook wrote that she was also

disappointed about the sheii:ff's response to Deaton's comments regarding the "Live PD" producer. "I

thought the County could dismiss this employee of the Sheriff's dept based on our employee policy manual.

But I leamed on Tuesday that as a hire by an elected official, we can do nothing." Cook added, "I'm

honified that he is in a leadership position."




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In response to an inquiry from the SPLC, Cook sajd in an email that, while the Commissioners Court has
authority over the sheriff's budget, under Texas law "l11e sheriff, as an elected official, controls who to hire

and who to te1minate under his 'sphere of control."'



"At tJ1e end of the day, I don 't want to min this guy's life," Sarah told the SPLC. "I don't want to get him

fired. He needs training, he needs som ething so tJ1is behavior stops. But I don 't know that it ever wi ll. I

don't know that Chody will ever hold people accountable for behavior that be doesn't want them to be

accountable for."
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One criminology expe1t said Deaton 's posts had the potential to undmninc public 1111:-t in law

t/t@IG§hdhi

"This is a veiy specific case that I'm kind ofjust shocked and honified by, and that really takes a lot at this

point for me," said Erin Keams, an assistant professor in the Department of Criminology and Criminal

Justice at the University of Alabama. "Posting those so1ts of things, I would imagine,                         d
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As more scenarios regarding disparaging posts from law enforcement come to light, researchers are starting

to find ways to collect and document each occmTence. The Plain View Project, established in 2017,

identifies rncc·book po:-t;: from Clltl'tnt ru1d fotmer ofticers thnt conrnin offcn ~ive ~1me111en1s rt~nrdin_g rncc.

 di!!io11 and ncceptabtlity of,iol1:11t policin_.z. and collects them in a publicly accessible database.



"To be cleru; our concern is not whether these posts ru1d comments ru·e protected by the First Amendment,"

the project's website states. "Rather, we b elieve that itcau ~e faimes~. t·qual trrntment. and i111<:2,rity ru·c

e~~tnl ial to 1he lc·giti111ncy of po lie in~ these posts and comments should be pmt of a national dialogue

about police."



But the Williamson County Sheriff's Depaiiment ah·eady lives in plain v iew on "Live PD," which has

turned some of the depm1ment's figures into social media stars.



 SheriffChody, who often tweets about the department's presence on "Live PD" and holds watch pruties for

 the show, has amao;sed more than 38,000 followers on Twitter. Lt. Grayson Kennedy, one of the most

 frequently featured officers on the show, has more than 27,000.



"I think it does influence tl1e public," said Gilchrist. "I don't think the public knows really what the
 dynamics are at the sheriff's deprutment. I think they just see what's on the show and ru--e like 'yeah, look

 howtough they are.'They don't know one side of policing is to also care about your community."



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 ;omt co111111i~sio11 t1 s about tht risks ru,d liability for !ht- co1111ty.



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S 1ow~    ·c "Live PlJ' ruH "l'ops- rnve c-en otten cr11tc1zt< tor tru·£:etme. nnc c-xp ottuH: peop tot co or

mflkiltiidMI

In July, Williamson County commissioners heard allegations that some ofChody's deputies used excessive

force in a traffic stop and runst in June tl1at was featured on "Live PD." Video from the affest shows the

man pinned to the ground, being Tasered and hit by the deputies' fists, and saying he can't breathe. He is

also shown unresponsive and lying in a pool of blood, according to theAustin Ame1ican-Statesman. The

man's lawyer told the newspaper that his client "suffered serious injuries for the sake ofreality TV" and

" had to see multiple medical specialists while in cu~1ody."
In an interview about the contract renewal with "Live PD," Sheriff Chody said, "Linbility is liabili1y 110

11nt1 u wirnt, no 11rnlll-r wht1her 1hi:re 's a cmntrn pre~ent or 1101.•·



Photo by iStoclc




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From:
Sent: Thursday, April 18, 2019 2:31 PM
To: commissionerl@wilco.org <commissionerl@wilco.org>
Subject: Williamson County Sheriff Department - Steve Deaton


Dear Commissioner Cook,

I am emailing you as a concerned resident of Williamson County. As I am sure, you are very
well aware of the media surrounding the Williamson County Sheriff's Department and
Commander Deaton. I took the opportunity last night to reach out in a private message to
Sheriff Chody to which he has yet to reply.
               I am horrified at the photographs that Cmdr. Deaton created and posted on his
Facebook account - which has since been deleted. I saved some of the photos when I originally
viewed them, so I will be more than happy to provide if needed. Cmdr. Deaton took
painstaking measures to create Elf on a Shelf depictions of gang rape, domestic abuse, murder,
kidnapping, ISIS references, drug usage and many other scenarios to demean women. -




                                                       I am not on a witch hunt here, I was hoping
that after Sheriff Chody read my message he would have given me the courtesy of a response,
but he has shown me that my concerns are not his.
Sheriff Chody is/was his friend on now deleted social media account, so each post that was
made, he saw it and chose not to address the postings. There are many concerns now
regarding the decision making process of the Sheriff's Department, especially since Commander
Deaton only received a "verbal" reprimand for his "Live PD" behavior. I am fully aware of what
a verbal reprimand is and it is nothing more than a slap on the wrist. To have Sheriff Chody go
on the news yesterday and say that the department "won't tolerate" this behavior, provide a
slap on the wrist and then blatantly ignore the disgusting images that one of their officers
proudly parades on his social media account with not even an acknowledgement to a
concerned citizen is sad and disturbing on too many levels. Is Commander Deaton the type of
leader that we as tax paying residents of Williamson County deserve? I would almost bet with
all certainty that if the residents were fully aware of the images depicted there would be more
 people complaining. I am sure that Sheriff Chody is hoping that the removal of his social media
 happened quickly enough yesterday that people were not able to see his
 images. Unfortunately I was one that did see them.
 Again, I am not looking to ruin lives, I would just like to see some accountability on behalf of
Sheriff Chody and Commander Deaton and maybe some remorse for this horrible behavior and
 lack of integrity!
Thank you for your time and your service to Williamson County. If there are any questions or
 you would like to see some of the photos, please advise and I will forward.
 Sincerely,




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From: Terry Cook <terry.cook@wilco.org>
Sent: Thursday, April 18, 2019 2:45 PM
To:
Subject: Sheriff Dept Issues



I'm with you 100%. I too was disappointed with the apparent response of Chody to the incident.
Now, sending this to the press ahead of an Internal Affairs investigation is an issue with this lawyer.

I thought the County could dismiss this employee of the Sheriff's dept based on our employee policy
manual.
But I learned on Tuesday that as a hire by an elected officia l, we can do nothing.

I'm horrified that he is in a leadership position. One other commissioner is also angry about him.
I am planning a meeting with Chody in near future; would love
IA investigation to be completed, although this is not the only thing we wi ll be discussing.

Be patient, let's see how this plays out. Socia\ media could rule in the end if the public shames.

Sincerely,




                       Terry Cook
                       Commissioner Precinct 1
                       Jester Annex
                       1801 E. Old Settlers Blvd, Suite 110
                       Round Rock, TX 78664
                       512-244-8610




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From:
Sent: Thursday, April 18, 2019 3:18 PM
To: Terry Cook <terry.cook@wilco.org>
Subject: Re: Sheriff Dept Issues

Dear Commissioner Cook,

Thank you for taking the time out of your busy schedule to read my email and respond. It is
refreshing to know that somebody truly listens!
knowing people in the Sheriff's Department in Williamson County, I am very aware of the
umbrella of shelter that comes with Sheriff Chody's hires, etc. I Also, wanted to let you know
that I did send the same email to the other Commisioner's as well under separate emails. I just
wanted to be heard and you have given me that piece of mind. I will rest on my latest emails
and say my prayers that in the end what is just and right will occur.

Thank you again and Happy Easter to you and your family.




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From:
Sent: Tuesday, April 23, 2019 5:12 PM
To: Terry Cook <ten:y.cook@wilco.org >
Subject: Re: Sheriff Dept Issues



                       EXTERNAL email: Exercise caution when opening.




Dear Commissioner Cook,

 I hope that you and your family had a blessed Easter. I have been spending too much
time thinking about this issue with Chody and Deaton and become more and more
frustrated with the situation.

                                I have spoken with quite a few Williamson County
residents and they like us are shocked that nothing has and probably will be done. It is
a repeated belief that the reason Deaton did not get in any more trouble about the Live
PD issue is because Chody told his higher ups to do "whatever needed t o be done" to
make sure that the department was shown on the show. Because the law enforcement
world is pretty tight knit and people talk, some of the information comes from inside his
own department, but because he fires people there simply because he does not like
them, people are afraid to speak up. I would like to think that I could be the voice of
some of them and help out, but I know my hands are tied. I wanted to send you a few
of the photos that were taken from Deaton's Facebook before he took it down (in case
you hadn't see them) and then l promise l will let this go and let the lord handle it in His
way. I really do appreciate your time and comments in this and know that you are doing
what you can to help rectify any negative behavior that is going on in the department as
well as the County. The first two photos depict a disgusting sexual act that involves
feces and other demeaning acts for a woman. I had to have them both explained to me
and again I was appalled. The first photo - he took the time to put a dark brown color
 under Barbie's nose to mimic the feces. He is a very disturbed individual and the fact
that Chody saw each of these posts and never had him take them down until this issue
 came up makes me think the same of him.

 Again, thank you for your time!
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On Apr 23, 2019, at 5:29 PM, Terry Cook <terry.cook@wilco.org > wrote:

Disturbing.
After conferring with 2 lawyers, we can't (as a Court) do anything until that first lawsuit shows up.
Judge has talked with Chody and Chody claims they are following their process. We' re stuck for now.

Nothing like feeling totally helpless.

<image00S.jpg>Terry Cook
Commissioner Precinct 1
Jester Annex
1801 E. Old Settlers Blvd, Suite 110
Round Rock, TX 78664
512-244-8610




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1646
The plaintiff asserts that former [WCS] Robert Chody's [WCS-RC] Facebook-liking of the extremely-offensive, racist, sexist Facebook

postings by former [WCSO] Commander Steve Deaton [WCSC-SD] should not surprise any reasonable observer (see below). But the plaintiff

finds Chief County-Commissioner Bill Gravell's Facebook-liking of this extremely-offensive, racist, sexist posting to be tmly-informative and

truly-revealing as to the underlying culture of institutional-racism and sexism fostered by some of even the top-level leadership of [WC].




1647
The media-report states that defendant [WC]'s "Commissioner's Court voted 3-2 to retain the contract with Big Fish Entertainment to

continue shooting "live PD, "despite the concerns ofsome commissioners about the risks and liability for the county                                                  In an
interview about the contract renewal with "live PD," SherijfChody said, "Liability is liability no matter what, no matter whether there's

a camera present or not. " ". The plaintiff asserts that these truthful and very-revealing statements further indicate at least 2 crucial aspects

about the thought-processes of the leadership of defendant [WC] concerning "liability":



@ If there is a television-crew broadcasting (live) at least some of [WC) police operations to the public, then such (live) broadcasting could

pose serious liability because [WC] police-officers, at least some of whom tend-to-operate in a not-so-legal manner, would be caught acting

unlawfully on live public video;



@ In making such decision, the leadership of defendant [WC] has also clearly disregarded the taxpayers of the County of Williamson, who

would be the ones paying for all of the legal consequences (either directly or indirectly) that result from defendant [WC)'s government-

misconduct - which did happen as a result of defendant [WC]'s involvement with ''Live PD" (see below).



 1648
 Remarkably, former [WCSC-SD]'s hotTifying and abusive behaviors/actions documented in the aforementioned media-report was not the only

controversy that former [WCSC-SD] was allegedly directly-involved in:
  •     "Officara . _ - for woe of forca with ateal<houR g;l.ft c:uda , foxmer Willia>lon County Deputiea aa,j' •         (Austin Amorican- stata.smn> •   Tcrly Plohetaki•     (2020- 09-

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  •    https: / /www. a t a -.caJl/• tory/,.,./crilm/2020/09/17 /offioan- -           - for--......-of- force--,dth-a~t- carda-fomar--willianson-daputiea- aay/ 114052044/

  Williamson Cormly sheriff's office /eade"· rell'orded deputies ll'ho used force 011 tire job with steakhouse gift cards, acconling to 111·0 former employees, one of whom made the:

  admission to Texas Rangers investigating the agency's aggressive tactics.




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 1649
 Remarkably, former [WCSC-SD] was not fired by [WC] due to any of the above, but instead, former [WCSC-SD] retired from the

 department, thereby fully-preserving any pension/benefits that he might not have been prese1ved if he was fu-ed. Perhaps even more

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remarkably, former [WCSC-SD] was not the only person of questionable integrity, hired under former [WCS-RC]:
 •        •will.1-on County Sheriff llcbut Oiody'• hiato,cy of doplty huu : !low Slwrl.ff llcbut 0iody -         , prca,t«I doplt.lea with tamiahad ~
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91650
The plaintiff asserts that the record of, to put it mildly, extremely-controversial hi.ring/promotion practices by former [WCS-RC] should not

surprise any reasonable person that looks into former [WCS-RC]'s own history, for example, w ith his previous employer - the ~Austin

Police Department➔ , [APD]:
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                                     IN TllE UNlTEP STA.TES DISTRICT COURT
                                      FOR THE WESTERN DISTRICT OF TEXAS
                                                 AUSTIN :OlVISlON


              CHOYCE PERIONS, individnaUy nnd                     §
              11s nert friend of MARCUS DEWAYNE                   §
              FRANK, a minor cbild,                               §
                                 Plaiutiff                        §
                                                                  §
              vs.                                                 §           NO. A 00 CA 474 SS
                                                                  §
              OFFlCEll ROBERT CB.ODY, In bis                      §
              official and individual capacity, 11u.d             §
              OFFICER JERRY SULLIVAN, in bis                      §
              officio! and individual capacity,                   §
                                  Defendants                      §

                                                              ORDER
                      UJis action is brought pursuant to 42 U.S.C. § 1983 by plaintiff Choyce Perkins and her

              minor son, Mnrcus DeW11yne Frank, to redress the alleged deprivation of constitutional rights by

              defendants Robert Chody and Jerry Sullivn:o, two officers of the Austin Police Department.

           CPlaintiffs allege U1ey wore assa\1lled aud struck without probable cause by U1e officers and were
           ~ured by the use of excessive for~urthennore, p;aintiff Prilllk alleges be wo.s :alsely arrested,


                                                                 ---~~----
               subjected to malicious prosecution, subjected lo an illegal search and seizure by defendants without

              probable cause. Defeudants Chody and Sullivan filed a Motion fo1 Sumn).ary Judgment based 011

               the defense of qualified immunity, while plaintiffs contend genuine issues of material fact remain

               that render summary judgment inappropriate. After consid~ri:ng tl\e case file, the applicable law, and

               the arguments of the parties, the Co\llt enters the following order and opiruon. ·

              l. Background

                       On August 30, 1998, plaintiff Frank, a fifteen-year-old black male, was walking home ftoro

               a neighbor's house in the 6300 block of Thurgood Avenue, in Austin, Travis County, Texas. Al




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            l 0:34 p.tn. that evening, the 911 emergency center received a call reporting a fight between a young

            black mule and young black female in the vicinity of 6316 Thurgood. The caller stated the

            comba1ants had left in a green car, but had returned and resumed tlghtiug. Responding to the 911

             caU, defendant Chody was dispatched to the area, and saw a young black male and ymmg black

             female standing in the middle of the road. See Defendant's Motion for S11111mary•J11dg111e11t, Exhibit

             8, AJ)1davit ofRobert Clrody. At 10:40 p.m., Chody reported he was on the scene, and then radioed

             he had found a suspect,.which made him the primary officer.

                     The parties offer widely differing views as to what occurred next. According to Chody, it

             see1ned to him that the bfack femalepoi\,ted to the blackmale, later idel\tilied as ?hUl)t\{fF1001"\(, who

             began to walk away. Chody contends he requested Frank to "come here", but Frank continued to

             walk :.w1ay. At one point, Frank turned around facing Chody and "£!.ailed !us anns jn the air", staling

             he didnot do anythlng. Id. Cbody lb.en proceeding to grab Fra:nk's arm, and a snuggle ensued, with

             Chody placing Frank in a full-nelson hold. ·while lloldingFtartk: in this manner, Chody contends he

             walked Frank approximately 30 feet back to the patrol cat, and put him face down over the hood.

             F.-.mk, on the othe( haud,°contends he did not see a police car and did not hear anyone teUhim (to

             "comebere"), and thus his first indication hewas being pursued byChodywas wb.enhewns grabbed

             in a bear hug by Chody. See Plaintiff's Response, Exhibit 1, Deposition ofMarcus DeWayne Frank.

             Theo, Frank contends he was lifted up by Cbody, held in a full•nelson·hold, aud slammed onto the
                                                                             -------... ·--·~                ·------.
             hood of the cru:. Frank further contends tbnt Chody did not speak to him prior to being placed in a
                                                                                              ...... ,.. -~·.. .. -···~... ......_. :
             full nelson, and the first indication be l1nd that he was a1tacked by a police officer was when he was
              .. ··----
             sJanimed onto the hood of the police vehicle. Id.




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                     Approximately one minute late(, WI a crowd of onlookers had congregated. Chody enl!,aged

              his emerge1\cy button, and an Officer Needs Assistance ("ONA'') dispatch was sent to other units.

              lt is undisputed ihat, around this time, a black female told Chody "that's not him." and that Chody

              responded with a statement, "that ain't him(?J"(orwords lo that effect) tltat inclicaled he had heard
                                    •      •1   •


              the black female. llrl!]lk also e>q,ressed his opinion that Chody had mistaken him for somebody else, •·

              and tried to break ftee from the full-nelson hold".(uter another struggle that spilled over onto the

              adjacent yard, Chody was on one knee, ,0th Frank ~n both knees and still iu C11odfs gras~~;At this ..
                                                                                                          f ,t   .


              point, Frank asked someone in the crowd to get his mother, plaintiff Perkins.

                     When Perkins arri.ved, she heard Frank calling fm: her and he.ard Cliody instn.1ct her io s\ay

              back or get down. Plainciffs' Respo11se, Exhibit 4, Deposition of Choyce Petkins; see also

              Defendants' Motion, Exhibit 8. There is no indication she sa.id anything to Chody, but rntber

              instructed Frank 1o do what Chody told him to do. At that point, Frank relaxed a little, but began

              to convulse and shake. Perkins then infonned Cbody that her son was having a seizure, which he

              prone to do when in a stressful situation such as the one he was in. Plai11tiffs 'Response, Exhibit 4.

              Chody theo (eleased Frank from the full-nelson hold but continued to hold Frank down, in part due

              to the suspicion that Frank may be bluffing a seizure in order to be released from Cho~y• s grasp.

              Defendant's Motion, Exhibit 8.

                     Right after :Perkins had approached tbe sce.ne1 defendant Sullivan was the first bac.lcup unit

              to an-ive. Chody reported to Sullivan th.at Frank was having a seizure. Perkins Gtates she was

              standing more than seven feet away from Cltody- and did not approach closerthao. lhis at any time.

              In contra.st, Sullivan coo.tends he snw Perkins standing within clo&e proximity ofChody, and tha.t her

              JJ.IJ.nds were six inches to twelve inches from Officer Chody' s gun. Defendants• Motion, Exhibit 7.


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              At this time, however, Sullivan states he was at least 30 feet away .from the scene. Id. Based Qt\his

              observation ofPerkins near Cbody, ru,d that he WB.{i responding to an ONA dispatch, Sullivan states

               he believed Chody was in danger from Perkins and quickly approached, although Petkimi bad not

               moved in this time. Plai11fijf's Response, Exhibit 5, Deposition ofJeremiah Sulliva11.

                      Without further investigation upon arriving at the scene, Sullivan struckPerltinswithhis Sl,.

               20 flashlight in the right buttock/thigh area and then pushed her to the gronnd with his left hand.

               Defendant's Moh'on, Exhibit 7. C11ody, who observed Perkins getting knocked to the ground, but

               did not actually see Sullivan strike Perldns, told Sullivan, "Not her. !he crowd." indicating to him

               that Perkins was not a source of dai,1ger. Id. 'Perk.ins SWf.ars she was unaware of :my officers at the

               sceue (otl1er than Chody), any sirens, or flashing lighls, and that Sullivan said nothing to her before

               striking her. See Plaintiffs' Response, Exliibic 4. 'When she asked Sullivan why he atn>.ck her,

               Perkins contends she heard Chody tell him "sl\e's not doing anything.'' Id.

                       Defendants then called EMS to the scene, and issued a "Code 4,'' indicating lo other officers

                that they were no longer needed and the situation was under contc:ol. See Defendaut's Motion,

               Exhibit 4. Plainli(fs refused transport to the hospital, but were treated for il1juries by EMS. After

                speaking with his ~upet-visor and an arrest review detective, Chody arrested Frallk for the offense of

                evading arrest. Frank contel'l.ds he suffered bruised ribs and severe psychological problems as a

                result ofdefendants' actions, whiciJ1 have forced himto see a psychiatrist and negatively affected his

                nbility to sleep at night. Furthennore, upon his onest, Ftan.k was taken to Gardner Betts Juvenile

                Detentlon Center by defendants Chody aod Sullivan, and was forced to defend himselfin Juvenile

                Court, though Uiat charge was subsequently dropped by Christopher Duggan, an assistant district

                attorney for Ti-nvis County.


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              U. SnniUlary Judgment Standard

                  . Sununary judgment may be appropriate if the moving party shows there is no genuine issue

              ofmaterial fact, aud itis entitled to judg1J1enl as amatter oflaw. See FED. ll. C1v. P. 56(c); A11der8011

              v. Liberty Lobby, Inc., 477 U.S. 242 (1986). When consideriug a summary judgment motion, the

              Comi should "construe all facts and inferences in the light most favorable to tlte norunoving party. 11

              Hart v. O'Brien, 127 F.3d 424, 435 (5th Cir. 1997), cert. denied, 525 U.S. 1103 (1999). Summary

              judgment is not appropriate if there is a genuine fachial dispute, i.e., when a rcosonable jury could

              return a verdict for the nonmovaut based on the record evidence before 11\e Court. Crowe v. Henry,

              l l 5 F.3d 294,296 (5th Cir. 1991); ~ee also James v. Sadl~r, 909 F.2d 834, 837 (51h Cir. 1990).

                      Botl1 the movant illld the nomuoving party bear burdens of produciug evidence in the

              sununaxy judgment process. Celotex Corp. v. Gatrell, 477 U.S. 317 (1986). First, the movant must

              show that "if U1e evidentiary material ofrccord were reduced to admissible evidence in court, it

              would be insufficient to perm.it the nomuoving parly to carry its burden ofproof. " Hart, 127 F.3d

              at 435, citing Celotex, 475 U.S. at 325. At Ulot point, the burden sh.ifts to 1he nonmoving party to

              establish ''specific facts showing a genuine issue for trial and ma.ynot rest upon the mere allegations

              or denials ofils pleadings." Jd.; see FEP. R. CIV. P. 56(e); Anderson, 477 U.S. al 250. However,

              "[n)either cooclusory allegations nor unsubstantiated asserlions will satisfythe nomnovant's buxden."

              Wallace v. Texas Tech U11iv., 80 F.3d 1042, 10/47 (5<11 Cir. 1996).

              IU. Discussion

              A. Qun)ifled lrunmoHy

                      Defendants have moved for summary judgment on the grounds defendants Chody and

              Sullivan, both officers of the Austin PollceDepro.tmentactiog within theseope oftheir employment,


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              are entitled to qualified in:unu~\tty. ThedQctrineofqualifiedmununity shields a go'lttorPent officia)

              from civil liability fox damages based upon theperfonnance ofdiscretionary functions ifthe offici111's

               nets We(e objectively,ea.sonable iu light ofclearly established law at that time. Harlowv. Fitzgerald,

               457 U.S. 800 (1982); see Tliomson v. Upshur Co., 2001 WL 258032 (5"" Cir., March 15, 2001).

               When, as in lb.is case, the defendnnts plead qualified i.mm\Jruty nnd show employment in nposition

               involving 0,e exercise of discretion, U1e burden is on the plaiutiff(orplaintiffs) to rebut the defense

              .by e&tablisbu1g the officials' allegedly wrongful condu.ct violated "clearly established law." Pierce

               v. Smith, 117 P.3d 866, 871-72 (51h Cir. 1997); see also Salas v. C01penier, 980 P.2d 299 (511, Cir.

               1992).

                        The Court ~mst analyze the affirnJative defense ofqualifted immwtlty using the two-prong

               test as outlined by the Supreme Court in Siegertv. Gilley. 500 U.S. 226 (1991). In the first prong,

               the Court must deten:ninewhetherplaintiffs have alleged the violation of a clearly established federal

               constitutional or statutory right. Hare v. City ofCorinth, 135 F.3d 320, 325 (511, Cir.1998). lf so, Uie

               Cou.rt then must determine whether the defendant's (or defendants') conduct was objec.tively

               reasonable in light of clearly established law. ld. tit 326. "Clearly established" is defined in this

               Circu.it that the constitutional or statutory right must be sufficiently clell.r so that a reasonable official

               understands that h.is action violates tbnt right. See Anderson 1 Creighton, 483 U.S. 635 (1987).
                                                                                      1•




               Because the focus of qualified immunity analysis is on the objective reasonableness of the

               defendant'$ acts, a particulll.\' defendant's 6ubjeclive state of mind is not relevaut. Thomson v.

               Up.rhur Co., 2001 WL 258032 .nt *5. Therefore, "[e]ven law enforcement officials who 'reasonably

               but mistakenly [conunita constitutional violation)' nre entitled to immunity." Hunter v. B,ya111, 502

               U.S. 21,4 (1991); see Goodson v. City of Corpus ChriJli, 202 F.3d 730 (51~ Cir. 2000).


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               l. Officer Sullivan

                      In Urn defendants' motion for summary judgment, Sullivan argues he is entitled to qualified

               hlununily frorn plaintiffPe1kins' allegations ofexcessive force. Also, he argues anyco.uses ofaction

               brought by plaintiff Frank against him should be dismissed, o.s there is no evidence in the record tliat

               would subs1antiate Frank's claims of fal&e arrest, malicious prosecution, illegal search a11d seizure,

               or excessive force against him. The Court agrees with Sullivan to the extent that therecot'd does not

               conta~ any evidence to s,1p.po1t Pran_k's.claims against him, The Cou.rt disagi:ees with Sullivan,

               however) by holdil)g that Sullivan is not entitled to qualified immlllllty from plaintiff Perkins'

               allegations of excessive force because several genuine iS?.ues or material fact remain Iha\ -ptec1ude

               summary judgment.

                       '.ro succeed on a claim ofexcessive force, U\c plalutiffbears the burden of showing an injury

               which resulled directly OOJ.d only from tb.o use offorce ll1at was clearly excessive to the need, and that

                the force used was objectively unreasonable." Goodso11 v. City of Coi-p11s Christi, 202 F.3d 730,

                740; see also Williams v. Bramer, 180 F.3d 699, 703 (5o, Cir. 1999). hl this case, it is undisputed

                that Perl<ins suffered an iujury when she was struck in the 1lligh/buttock area by Sullivan and was

                knocked to the ground. Sullivan contends the force applied was not clearly excessive to the need,

                and lha\ h was not objectively unreasonable based on the clrcu.01stnnces as he saw tl1ero - i.e.,

                responding to an ONA call, observing defendant Chody grappling with Prauk, sud seeing Perkins

                in proximity lo Cl1ody.

                        The Court finds that genuine issues of material fact remain as to the excessiveness of force

                applied by Sulliva.n, and whether tbe use of such force was objectively unreasonnble. Sullivan

                coute11cls he observed Perkins to be within six. to twelve inches of Chody's firearm, bul this


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              observation was made when Sullivan was almost 30 feet away from the scene. Both Perkins and

              Cbody, however, attest that Perkins was either seven Ol',eight feet away from Chody, and all parties

              agree she did not n10ve toward Chody. Furthenuore, it is undisputed that Sullivan did not say

              anything to Perkins or investigate before swinging-and striking- Perkins with the flashlight and

              lotock.lng her to U1e ground. The testimony in 1he record from defeodant Chody indicates he was not

              concerned about Perkins at all, and did not realize Sullivan was on the scene until he saw Perkins

              hit the ground, at which lime he infonned Sullivan that Perldns was no1 a threat. As it is indeed

              plaustble for a reasonable fact fillder to find for plaintiffs on Perkins' excessive force cloim based

              on the record, this Court denir,s defendants' motioo. for w:o.macy judgment on th.is is.sue.

              2. Officer Chody

                      There are no allegations or causes of action 0..5serted by plaintiir:Perl<lns in her individual

              capacity agaiust defendant Chody; instead, all of the claims against Chody arise fTom his actions

              towards plaintiff Frank, Perkins' minor child. The· asserted causes of action are false arrest,

              malicious prosecution, \l.nreasonab)e search and seizure, and excessive force. Chody asserts he is

              entitled 16 qualified immunity from these claims, and moves for summary judgment. The Court

              disagrees, and finds instead that genuine issues of material fact remain that require a denial of

              sutnmruy judgment.

                      Because 1he facts sunounding the claims of false airest, malicious prosecution, and

               umeasonable search and seizure Bl'e inte1twined, the Court addresses these issues together. it is

               undisputed tltat Chody was responding to a 911 call reporting a fight between a yow,g black male

               end young black female, and that Frank, a fifteeu-yen(•old black male, was in the vicinity of where

               the fight bad allegedly occurred. Chody contends these facts by themselves created a valid


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            rellSonable suspicion that Frank was either a suspect or could provide infonnation tega,ding 1he

            fight. When Chody. approached the area1 he spotted Frank and a young black female in the street,

            and it appeared to l1im that the latter gestured towards Frank. ht his deposition testimony, however,

            Chody states he saw only a "ieal quick faint point'' by the female from nearly 100 feet away, and tb.c

            female stated later that she was gesturing to Chody to have him approach her, not Frank.

                    Chody also staies he observed Frank walking in "nonnal fashiou," and that his only response

            to Cl,ody was to raise bis honds in.the air. See Plaintiff's Response. ExMbit 2. \¥bile Chody claims

            he verbally instructed Frank to "come here" and that Frank saw the police car (Md Chody's

             unifonu), both of these ai;sertionz are disputed by Frank. Indeed, "Ftsnl, SWt 'MS he did not hear

             Chody, and first became aware Chody was a police officer when Chody had him in a full-nelson and

             p)ar,ed his head on the police car. After Chody bad Frank in a submissive posture, i.e., the full-

             nelson, he admits he was told by bystanders that Fnuuc was not the individual Chody was ~eeking

             in relation to tlle 911 call, and that Chody responded by asking "not him?". It is undisputed,

             however, that Chody continued to wrestle Frank to tl,e ground, a!ld did not release Frank from the

             full-nelson until Frank began suffering from a seizure; even then, Chody did not let Frank go fully

             but rather only relaxed the grip on him.

                     The record clearly indicates Frllllk was arrested by defendants Chody and Snllivan and tal<en

             in custody to th.e juvem1e detention facility for evading detention. Also, thei:ecord contains the ordec

              of dismissnl from the state court proceeding against Frank. Plai11tijf';s Re.spans<:, Exhibit 3. There

              remains a.material dispute ns to whether Frank was evading detention, as Frank's testimony indicates

              he wns unaware of Chody's presence until he was apprehended. Furthermore, 1he record is

              ambiguous as to whether Cbody had probable cattse to arrest Frank, especially given tl1e foct Chody


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             was aware during - if not before - the struggle withFranktbat be was not a.suspect to the 911 call.

             hldeed, Chody admits there was a question in his mind, and.in the mind of bis supervisor, as to

             whetherthere was probable cause to an·estFrank.. P/ai11tiff's Response, Exhibit 4.

                      Finally, the CoUrl considers the excessive force claim against defendant Chody. Chody

              argues l:liat even if tJ1e plaintiffs' descriptions of the fa.els are accurate, he i.s entitled to qualified

              intmunttybecause the force he applied was notexcessiveto the need and was objectively reasounble.

              The Court disagrees for several reasons. First of all, there is a material dispute os to whether F.i:nnk

              was even aware of Chody' s pnisenoo until Chody had grabbed.him, and as to the force applied by

              Chody wnen 11e pushed Frank onto 111e po1ice car. Furthenn01:e, the record reflects a aispute as to

              whether Frank flver resisted arrest - at most, he attempted to escape after Chody was mfonned by

              otl1ers U1at he had mistaken Ftank for someone else - or did anything to wan-ant the continuous use

              of a fuU nelson hold until he suffered a seizure.

                      For the foregoing reasons, the Court enters the following order;

                      ltlS ORDERED that Defendants' Motion for Summary Judgment[ff14] is DENIED, subject

              to being x:easserted as a Rule 50 motion at the appropriate time during trial.
                                              -q;
                       SIGNED this the..29 day of March 2001.




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The fact that former [WCS-RC] was hired by defendant [WC] as a [WC]-Police-Officer (approximately 2 decades ago) after the a lleged

[APD] police-brutality incident directly-involving former [WCS-RC] - with the alleged victim of such incident being an African-American

teenager - is also truly-informative and truly-revealing not only regarding the hiring policies/practices of defendant (WC], but also regarding the

culture of policing at [WCLE]. The then-[WC]-Police-Officer would run for and win election for [WC]-Constable-Precinct- 1, serving in that

position from {2009} through {2016} (according to publicly available information). The then [WC]-Constable-Precinct-1 would then nm for

[WC]-Sheriff, win the election, serve as [WCS] from {2017} through {2020}, and then lose his subsequent {2020} re-election campaign, with

at least some media report(s) attributing his election-loss mainly to all of the fallout from the death of African-American man Javier Ambler at

the hands of [WCSD]s - much (or all) of which was allegedly video-recorded during the taping of the police reality television show ((Live PD)).

[WCS-RC] was charged with felony evidence-tampering, a type of racketeering-act, for allegedly participating-in and/or ordering the

destruction of one-or-more pieces evidence of the aforementioned incident. [WCS-RC] was photographed smiling in the mugshot taken for

such felony evidence-tampering charge. ln addition to such alleged evidence-destruction, the [WCSO] has also allegedly refused to release

body-worn-camera-recording:; of multiple incidents involving alleged excessive-use-of-force. The plaintiff asserts that former [WCS-RC]

would, more-likely-than-not, never have become [WC]-Constable-Precinct-1 or [WC]-Sheriff if he was not initially hired by defendant [WC]

as a [WC]-Police-Officer approximately 2 decades ago (following the aforedescribed [APO] police-brutality incident):
 •    "Texu sheriff and fODDOr county attomay indicted on avidol>c::9 ~ charge.s in Javier -.J.er'• dMth, a Blaclt man who dad during a.nut" •
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To reiterate, according to publicly available information, after his resignation from the [APO] (following the aforementioned police-brutality

incident over 2 decades ago), [WCS-RC] was employed as a:

® [WC]-Police-Officer from the years {2004} through {2008} ; AND
@ [WC]-Constable-Precinct-1 (elected official) from the years {2009} through {2016} ; AND
© [WC]-Sheriff(elected official) from the years {2017} through {2020} .


Over the course of those 16 years from {2004} through {2020}, [WCS-RC] donated at least $ 109,654 - although more-likely-than-not, far

more than that amount (since the records posted below are, more-likely-than-not, to be incomplete) - of publicly-disclosed political-donations

exclusively to (either local, state or federal):

® Republican Party ; AND/OR
@ Republican Party Candidates; AND/OR

© Republican Party Political-Action-Committee(s).


According to such publicly-disclosed political-donation records, despite being a regular public-donor to such Republican Party causes, [WCS-

RC] stopped publicly-donating to such Republican Party causes approximately around the same time he was charged with the felony of

Evidence-Tampering on-or-about the month of {2020-09} :
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                       CEDARPAAI( n(786)0
                                                    W ILLIAMSON COUNTY       COMSTABLE                             08-18 -2014      15,000      CARTER PAC IR)                        Fed eral




I   Moneyto
    candidates
                       Cf< ODY. BEV ERLV & ROBERT
                       CEDAR PAA!( n< 78630
                                                    W ILLIAMSON COUNTY       PEACE OFFICER                         08-15-2014       S.5,000     ABBOTT. GREG 01)                      n<



I   Money to
    candidates
                       Cf<OOY. ROBERT
                       CEDAR PAA!( n<:78630
                                                    W ILLIAMSON COUNTY       CONSTABLE                             08-02-2014       $1,000      DALE.TOMYIRl




I   Money to Pa1Ue1-   CHODV. ROBERT JOf<N MR
                       CEDARPAAI( n<78630
                                                                                                                   05-30-2014       $5.000      National Republican Congressional
                                                                                                                                                Crnte 01)
                                                                                                                                                                                      Federal




I   Moneyl o
    Candidates
                       Cf<OOY. ROBERT JOHN MR
                       CEDAR PAA!<. n< 78630
                                                    WILLIAMSON COUNTY        CONSTABLE                             05-05-2014       $2,600      John ca rter IRl                      Federal




I   Moneyto
    candidates
                       Cf<ODY. BEVERLV & ROBERT
                       CEDAR PAR!<. n< 78630
                                                    WILLIAMSON COUNTY        PEACE OFFICER                         12-16-2013       S.1,000     ABBOTT. GREG 1R)                      n<



I   t-.1oneyto
    candidates
                       Cf<OD'I'. ROBERT JOHN MR
                       CEDAR PARK. n< 78630
                                                    WILLIAMSON COUNTY        CONSTABLE                             u-22-20 13       $2.500      John carter iro                       Fede,al




I   Moneyto
    candidates
                       CHODY. ROBERT
                       CEDAR PAR!<. n< 78630
                                                    W ILLIAMSON COUNTY
                                                    PCT l
                                                                                                                   11-19-20 13      $500        GONZALES. LARRY (R)                   TX




I   Money to
    candidates
                       Cf<ODY. ROBERT
                       ROUND ROCK TX 7866,i
                                                    W ILLIAMSON COUNTY       CONSTABLE                             og-24-2013       1500        SCf<WERTNEA. CH ARLES J (R)           TX




I   Moneyto
    candidates
                       Cf<ODV. ROBERT
                       . 00000
                                                    WILLIAMSON COUNTY        COl~STABLE                            06-27-2013       $250        DALE. TONY 1R)                        n<



I   Moneyto
    candidates
                       CH OD'I'. ROBERT
                       AUSTIN. TX78717
                                                    W ILLIAMSON COUNTY       ELECTED LAW ENFORCEMENT
                                                                             OFFICIAL
                                                                                                                    JO•J9·2012      $1,000      Mitt Romney {R)                       Federal




I   Moneyto
    candidates
                       ROBERT. CH ODY
                       AUSTIN. n<:78717
                                                    WILLIAMSON COUNTY        CONSTAB LE PCT l                      09-20-2012       $500        SCHWERn~ER. Cf<Alll.ES J 1ro          n<



I   Moneyto
    candidates
                       Cf<ODY. ROBERT
                       CEOAR PARK. n< 78630
                                                    W ILLIAMSON COUNTY       CONSTABLE                             09-20-2012       $ 1.000     DALE. TONY {R)                        TX




I   Moneyto
    candidates
                       CH ODY. ROBERT JOf< N MR
                       CEDAR PARK n< 78630
                                                    W ILLIAMSON COUNTY       CONSTABLE                             03•08-2012       S2.500      John Garter IR)                       Fede1al




I   Money to
    Candidates
                       Cf<ODY. ROBERT JOf<N
                       CEDAR PARK n< 78630
                                                    W ILLIAMSON COUNTY       PEACE OFFICER                          02·27·2012      $500         SCf<WERTivER. Cf<Alll.ES J (R)        n,:




I   Moneyto
    candidates
                       Cf<ODY. ROBERT J MR
                       CEDAR PARK. n<:78630
                                                    W ILLIAMSON COUI-ITV     CONSTABLE                              10-31-2011       $2.soo      John Boehne, rm                       Federal




I   Moneyto
    candid3tes
                       Cf< OOf. ROBERT J MR
                       CEDAR PARI( n<:78630
                                                    WILLIAMSON COUNTY        CONSTABLE                              J0-)1·20H        $2.500      John Boehner (R)                      Federal




I   Money to
    candidates
                       CH ODY. ROBERT
                       CEDAR PAA!( n<78630
                                                                                                                    09-13-2011       $250        DALE. TONY IR)                        n,:




I   Moneyto
    candidates
                       Cf<ODY. ROBERT JOf<N MR
                       CEDARPAAK. n<:78630
                                                    W ILLIAMSON COUNTY       CONSTABLE                              06-17-2011       $2.5,00     John Carte, IA)                       Fede,al




I   Moneyto
    candidates
                       CH ODY. ROBERT
                       CEDAR PAA!<. TX78630
                                                    WILLIAMSON COUI-ITV      EL ECTED CONSTABLE                     08-12-20 10      $2.000      PERRY. JAMES RICf<ARO!AfCKl IRl       TX




I   Moneyto
    Candidates
                       Cf<ODY. ROBERT
                       CEDARPARI<. n<:78630
                                                    RETIRED                  RETIRED                                07-28-2010       S..2.400    Dennis Ross (R)                       Federal




I   Money to
    candidates
                       CHODY. ROBERT
                       CEDARPARI<. n<:78630
                                                                             INFORMATION REQUESTED                  07-23-2010       S.2.400     Andyf<arrlslRl                        Fede,a\




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 IMoney to Candidates        CHODV, ROBERT J MR
                             CEllA.fl PARK, "IX 76630
                                                        REllRED                  REllRED                     07-23-2010         $2ACO         Allen B West IRJ                                Fede,al




 I Money to Candidates       CHOIJV, ROBERT J HON
                             CEDAR PARK. TX 76630
                                                        WILLIAMSON COUNTY        CONSTABLE                   09-23-2009         $250          Midmel\Y/il!iams <Rl                            Federal




 I Money to Candidates       CHODV, ROBERT
                             CEDAR PARK. "IX 76630
                                                        WILLIAMSON COUNTY                                    og-19-2coO         $2,oco        ll/\NIEL, BRYAN (RI                             lX




 I Monoy to Candidates       CHODV, ROBERT J MR
                             CEDAR P/\RK,lX 76630
                                                        RETIRED                  RETIRED                     09-15 -2000        $2300         John Mccain (RI                                 Fede1'i1l




 I Moocy to Parties          CHODY, 110BERT
                             CEDAR PN!K. TX 78613
                                                        WILLIAMSON COUNTY        CONSTABLE                   09·09·2000         $2,500        nepub'.lcan P.3rty of Williamsen County (Rl     Federal




 I Monoy to Ci!ndldates      CHODV, ROBEITT
                             AUSTIN.TX 78717
                                                                                                             OJ•OJ · 2000       $ 1,0CO       SULLIVAN,VIVIAN (Rl                             TX




 I Money to Candidates       CHODY, ROBERT
                             CEIJ/\R PARK, TX 78630
                                                        SELF EMPLOYED            L/\W ENFORCEMENT            12 · 07-2007       $1.500        DEWHURST 111, DAVID H (RI                       TX




 I Money to Candidates       CHODY, ROBERT J
                             ROUND ROCK, TX 70681
                                                        WILLIAMSON COUNTY        PEACE OFFICER               09-13 -2007        $ 1-500       John Carter mi                                  Federat




 I Monc-y to ~ndidatos       CHODV. ROBERT
                             ROUND ROCK, TX 78681
                                                                                 WILLIJ\MSON COUNTY          10-05-2004         $500          Jim Bu11n1ng (n)                                Fede,at




 I Money to Candidates       CHODV, ROBERT
                             ROUND ROCK. TX 78681
                                                        WILLIAMSON COUNTY        PEACE OFFICER               JO·Ol-2004         $500          llandy Neugebauer Clll                          Fedaral




 I Money to Ciin<.lidates     CHODV, ROBERT
                              ROUND ROCK. TX 78681
                                                                                 WILLIAMSON COUNTY            J0-01-2004            $500       Lisa Mu1kowski (R)                             Fe<le,at




 I Money to Pa1ties           CHODV. ROBERT J MR
                              ROUND ROCK. TX 78001
                                                        WILLIAMSON COUNTY        PEACE OFFICER                10 ·0 1- 2004         $2,000     Republican National Cmte (RJ                    Fede@!




 I   Money to ca11diOOtes     CHODV, ROBEITT
                              ROUND ROCK. TX 78000
                                                                                  BUSINESS MAN                09-29-2004            $500       BRISTER. SCOTT (RI                             TX




  I  Money to Candk1ates      CHODY, ROBERT
                              ROUND ROCK. TX 78681
                                                        WILLIAMSON COUNTY         PEACE OFFICER               09·29· 2004           $500       Allene \'11ohtgemuth (Rl                        Federal




  I  Money to Candidates      CHODY, ROBERT
                              ROUND ROCK, TX 78681
                                                                                  WILLIAMSON COUNTY TX        09-28-2004            $500       Richa, d &11r (RI                               Federal




  I  Money to Candidates      CHODY, ROBERTJ
                              ROUND ROCK, TX 78681
                                                        WILLIAMSON COUNTY         PEACE OFFICER               09· 28-2004           $500       James'WDeMint (R)                               Federal




  I  Money to Cancftdates     CHODY, ROBERT
                              ROUND ROCK,TX 78681
                                                                                  WILLIAMSON COUNTY           09-28-2004            $ 1.oco    Jol111l hune(R)                                 Federal




  I  Mcnay lo Candidates      CHODV. ROBERT
                              ROUND ROCK, TX 70081
                                                         INFORMATION REQUESTED    INFORMATION REQUESTED       09-27-2004            $500        Pete Sessions (Ri                              Federal




  I  Money to Cancfldates     CHOIJV, ROBERT J
                              ROUND ROCK, TX 78601
                                                         WILLIAMSON COUNTY        PEACE OFFICER               09-27-2004            $500        John Carter (Rl                                Federal




  I  Money to Cmdidales       CHODY, ROBERT
                              ROUND ROCK, TX 786B1
                                                         WILLIAMSON COUNTY        PEACE OFFICER               09-2 7·.W04           $500       Ted Poe (RI                                     Fede,al




  I  M0t1ey to C:1ndidates    CHODY, ROBERT
                              ROUND ROCK, TX 78601
                                                                                  WILLIAMSON COUl-lTY         og-27-2004            $500        Peter Coo, s (RI                               Federnl




  I   Money to candidates     CHODY, ROBERT
                              ROUND ROCK, TX 78681
                                                         WILLIAMSON COUNTY        PEACE OFFICER               09·27·?.004           $500        Mel Ma1tinez (A)                               Feoe,at




<JI 653
On or about the date of {2020- 11-24}, [WC] Commissioner Bill Gravell, the Chief Commissioner that presides over [WC] Commissioners'

Court, plead guilty to violating his own Stay-At-Home order on or about the date of {2020-04-07} . As a result of this incident, Commissioner
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Gravell was initially charged with "Official Oppression" [TPeC-T8-C39-§39.03] and "Abuse of O.fjicial Capacity" [TPeC-T8-C39-§39.02],

but these charges were dropped as a result of the plea agreement. It is important to note that Commissioner Gravell did not act alone in

committing these alleged criminal offenses, but instead, did act with the help of other employees of defendant [WC]/[WCLE]. Even though the

citizen-journalist's Facebook-posting photographs appear to show Commissioner Gravell in public areas and/or publicly-visible areas of private-

property, Commissioner Gravell is alleged to have,® "sent the account a private message asking.for the post to be taken down" and,@

"contact (ed) the district attorney to contact an al/orney to ask to have the post removed." Based on the seriousness of the allegations, the

plaintiff asserts that a substantial fraction of the citizens of the County of Williamson are entirely unsatisfied and/or completely disappointed

that the fully-appropriate initial charges of "Official Oppression" and "Abuse of Official Capacity" against Conunissioner Gravell were

dropped. The plaintiff asserts that, in this particular case, Commissioner Gravell did not sin1ply receive preferential treatment from the

[WCDAO]/[WCCAO] led by [WC] District-Attorney Shawn Dick ("[WCDA-SD]"), but rather, Commissioner Gravell was h·eated as if he was

part of a political royalty that was impervious from prosecution for those serious crin1es (and abuse-of-authority-and-power) that he conunitted.

The plaintiff further asserts that, by deliberately failing to prosecute [WC] Commissioner Gravell for the aforementioned Abuse-of-Office

crimes, [WCLE] and specifically, [WCDA-SD], have sent and are continuing to send a powerful message, loud-and-clear, to all government

employees/officials of defendant [WC] that they are free to abuse their authority and power as government employees/officials with absolute

impunity - without facing actual consequences:
          "rnvutigaticn OJ:dHw! into Willumocn <:ounty juc!ga for violating hi• own ■tay at bcome onlar' ,
 •       (IOOIN Auatin) ,    JodoJ Barr•     {2020- 04- 101 •
 •       http,: / 1 -. llxAn . oaa,/inw■ t.igaticna/investigation-ordand-int.o-willianaon-ocunty-judge-for-violating-hia-o,m-stay-at-hcna-ordar/


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          "Willimeon COunty juc!ga paada guilty for violating hi■ own ■tay-at-hma order, will pay $1 , 000 f.i.na •                       In ax.changa for the
  •         guilty pl.ea, two chaxgea NlAllod to the inci.dlont - abuN of off1c1&1. .,_city and official Cff>XU.Oion - ar■ b e i n g ~.• •
  •      ( The Taxu Trlbuna> •       Dan RosmmMig-Ziff•          (2020- 11- 24} •
  •      http,: / /ww, taxaatribune . org/2020/ll/24/wilU---taxaa-g,:anc!,oon-bl.rt:hday-atay-at-hcBa/

     1Villia111.1·m1 Co1111/y Judge Bill Grm,ell pleaded guilly lo a misdemeanor Tuesday for violating !tis own sla;~a1-lto111e order I/tis spring and will pay a $1,000flue, co1111 docu111e11/s

  sltow.


     During tlte s/ay-at-ltome 01rler in April, Gravell was caugltt 011 camera going to /tis gra11dso11 •s bir!ltday pm1J• weari11gfirefighti11g equipme11/.(rom lite co1111ly, 011 act for which a

  fire cltief /a/er apologized because lte provided a snit to the judge tltat lte co11/d ..1101 provide eve1J>o11e. ··


      The order, iswe,;/ in Marclt, ceased all pnhlic and privole gatlteri11gs au/side a household or apartment 1111il, closed all 11011esse11/ial businesses and a.vked residellls 110/ to travel
     011 public tra11sp011atio11 1111/ess ii was for essential activities. Reside11tsfaced threats ofjail time orfines if !hey left their lto111e.1for a11ytlti11g otlter than essential business.


      Tlte i11cide111 prompted the appoi11t111e11I cif a special prosec111or, Milam Co1111ty Dislrict Allomey Bill Tom,y, and an i11vestigatio11 by the Texas Rangers.


      Tol1'ey 's ojjice said it could 110/ co111111e11I 011 tlte care since it ll'as 11111r, solved. Bill Hines. Gmvell 's /m,,•e1; said that Gravell is tlte 011/y pe1:1·011 in lite co1111ty lo be prnsecu!edfor

      violating the slay-at-ltome orde1:


      ..He does accepl re.1po11sibility. " Hines said ··He made a mistake as a gm11clfathe1: He's paying the 111a.ri11111111 penaltyJiw that. "


      /11 exchange for the guilty plea, tlte special pro.veculor is dropping /ll'o atlter clwrge.r related lo the incident of abuse of official capacity and official oppre.~rio11.



      Wi/lia111so11 Co1111ty, localed north of Austin, has hadj11st over I, JOO COVID-19 cases in the last /11'0 1reeks.




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 "While I cany the heavy public h111den of guiding the policies that best p1vtect our citizens, I am also a l111shc111d. father and gmndfather. " Gravell said in a stateme/11. "It 11-as
 /11 this role that I visited my 5-yea1°old graudso11 011 his birthday. Panpml' Bill made a11 emir in j udgement that Cmmty Judge Gmve/1 deeply regrets. "




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On or about the day of {2021 -12- 14} , the [WC] Commissioners voted 4-to- l to withhold federal (CARES-Act) funding from the ~Rou nd

Rock Independent School District➔ , [RRISD], and [LISD] allegedly because most of the [WC] Commissioners were opposed to the

school districts allegedly allowing books about "critical race theotJ'" ("[CRT]") or books that they would consider "X-rated" in their libraries.

(The one [WC] commissioner who voted against this resolution voted against the resolution not because he was opposed to the censorship, but

instead, only voted against it because he believed that such decisions of censorship should be left to the individual school districts.) The plaintiff

asserts that the top-level leadership of defendant [WC] is sending the public message that, it is not good enough that most, if not all, people-of-

color have to continue to suffer the cumulative effects of institutional-racism/White-Supremacy/racial-oppression/modern-day-Jim-Crow, but to

add further-insult on top of substantial-injury (and substantial-handicap), the youngest residents of the County of Williamson are not supposed

to know anything about the continuing and cumulative effects of such institutional-racism/White-Supremacy/racial-oppression/modem-day-Jim-

Crow (such as that documented in this lawsuit). The plaintiff asserts that a co1mnon feature of most totalitarian states is to censor/suppress

facts/information that are uncomfortable/damaging,'incriminating to the state - as a substantial component of a larger system of state-

indoctrination and state-propaganda - in-order-to control the population, justify abusive/oppressive/intrusive/invasive state actions, while

remaining in power. The plaintiff highlights two crucial aspects of this censorship - ® the fact that [WC] Commissioners censor some types of

literature (but not others) in total violation of both the first-amendment and the fourteenth-amendment, and@ the fact that [WC]

Commissioners equated literature documenting institutional-racism/ White-Supremacy/racial-oppression/modem-day-Jim-Crow ([CRT]) with

"X-rated" literature - with both apparently being equally worthy of censorship, and with both apparently considered by such [WC]

Commissioner(s) to be "smut". The plaintiff further asserts that, while there may be ample justification for banning books of sexually-explicit

nature in children's libraiy, there is absolutely no justification to ban (or even censor) any (non-sexually-explicit) books about [LGBTQIA+] or

institutional-racism/ White-Supremacy/racial-oppression/ modern-day-Jim-Crow ([CRT]) - or for that matter, books that are anti-capitalist and/or

pro-socialist - as none of those topics is "age inappropriate". As such, the plaintiff asserts that any efforts by the leadership of [WC]

undertaken in this type of censorship to unduly influence young minds are simply clear indications of Orwellian indoctrination, cunning

manipulation, fraud, hypocrisy, corruption, abuse-of-authority and political-repression (in clear violation of both the first-amendment and

fourteenth-amendment):
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 •    ( 1111r Radio) •          IUlyaon Ort.egorl •      {2021- 12- 14) •
 •    htq,e: / /_,, .kut.org/<dJCAtion/2021- 12- 14/..u.u-on- oounty-,,ithholds-caru- funds- f....-""""'1- rodc- and- lMndar-achool-diatricta- -                                                                      - r•t:ed-bool<a



     Williamson county comm issioners decicled to wit11t10I d federal money fmrn tt1e Leander ISO IJecause of IJooks in schools
     that t11ey deem inappmpri ate.



             Williamson County commissioners voted to withhold federal funds from the Round Rock
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ana Leanaer scnooI msmc1s oecause or meIr reaamg oooK seIec11ons.

The county has leftover CARES Act money to distribut e within the next two w eeks. At
th e court's meeting Tuesday, County Treasurer Scott Heselmeyer suggested $14 million
go toward school districts.

But Commissioner Valerie Covey said she would not agree with sending the money to
schools '1hat put smut in the rooms of the kids."

"I'm not OK with giving money to school districts that teach critical race theory or that
allow books in their library ... books that we would consider X-rated," she said.

Covey w as referring to the controversy surrounding books in Leander's high school
English classes. Each year, high school ers can sel ect books from a list for book clubs
and peer reading groups.

Parents began protesting some of the books on the list last year, arguing they contained
depicti ons of graphic vi olence, inappropriate language and sexual content. The books
were put under review by a group of staff, parents and community members called the
Community Curri culum Advi sory Committee .

As of last month, 11 books were removed from classroom s and libraries. Other books in
question w ere returned to shelves after the review.

But some parents and organizations have advocated for all of the books to be allowed,
arguing the titles offer diverse voices and experiences.

PEN America, a nonprofit that promotes literature and free expression, has repeatedly
called on Leander ISO to allow these books to remain in schools. The organization says
their removal is "an unwarranted exercise in censorship."

On Tuesday, Commissioner Cynthia Long echoed Covey's views and said she beli eved
th e books w ere also avail able at Round Rock schools.

She suggested the November LI SD bond election, which largely failed, showed the
community had lost confi dence in the school board.

 1 think the voters of Leander ISO spoke very loudly, not so much th at they w ere against
11



building schools, but it was their only opportunity to say, 'We don't agree with what
you're doing,111 she said.


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        in a 4-·1 vo1e, me coun approv ea giving runas 10 au me omer aismc1 s, mcIuamg
        Georgetown , Hutto, Liberty Hill and Taylor.

        Commissioner Terry Cook w as the dissenting voice in that vote .

        ·we are outside of our lane IT we try to micromanage the ISDs," cook said. "We can
        use the bully pulpit to stress what we think is important, but it's ultimately the school
        boards and the administration that makes those decisions."

        William son County comm issioners said they plan to meet with RRISD and LISD leaders
        to discuss the issue before the court's meeting next week, at which tim e they may
        choose to distribut e the money.

        USO released a statement saying it would coordinate those discussions.

        "The CARES Act was intended to help fund economic reli ef during the pandem ic,
        including offsetting the costs incurred by school districts to keep classrooms open for in-
        person instruction and to provide remote learning opportunities for students," the
        statement said. "Our teachers and staff have worked tirelessly to go above and beyond
        for students during this time, and we hope to minim ize the financial impact and improve
        the long-term stability of our di strict with tools such as the CARES funding."

        RRISO spokesperson Jenny LaCoste-Caputo shared a statement saying the district
        was "disappointed" by the exclusion, but hopeful and happy to address concerns with
        the commissioners. The district already met with Commissioner Russ Boles to discuss
        the book selection process .

        "All parents and members of the public in Round Rock ISO have complete access to the
        entirety of our school library catal ogue," the statement said. "Parents always have the
        right to determ ine what books their students are able to access. Round Rock ISO has
        an established process for addressing parental objections to instructional resources."

        The two districts could receive about $9 million combined. The distri cts did receive
        money from a previous round of funding from the CARES Act.



<JI: 655

The "Cm?f'ederate Soldiers and Sailors Mo1111111e11t", [CSaSM], is an outdoor Confederate memorial installed outside the [WC] Court located in

Georgetown, Texas. Currently, another plaque sits outside the courthouse referring to African-Americans as "pioneer sefllers" allegedly during

the years {1850} through { 1860}, which if the allegation is true, is a clearly false depiction. An anti-racism group, (Courageous
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Conversations), wanted to 'inti a plaque next to the statue addressing slavery as part of the Civil War. Members say the statue, in its current

state, represents slave1J1. "On or about the date of {2017-1 1-14}, the [WC] Commissioners voted 4-1 not to allow the aforementioned plaque

sought by "Courageous Conversations" (source: ((KXAN Austin)), "Confederate monument plaque voted down by Williamson County

commissioners" ). One-or-more federal civil-rights lawsuits (in the past or present) filed against defendant [WC], have argued that such statute

clearly violates the federal civil rights of Black residents. On or about the date of {2022-09-02}, in response to questions regarding this issue

from the ((Austin American-Statesman)), two [WC] Cotmnissioners "declined to discuss the Confederate statue because of the pending

lawsuit", whereas two other [WC] Commissioners "did not respond to a request.for comment about whether they would agree to a discussion

in court about the statue." Over the last decade or so, social-justice protesters throughout many areas of the U nited States have vigorously

campaigned and/or protested to have any-and-all Confederate monuments removed, as such monuments indisputably represent White-

Supremacy and the institution of (race-based) slavery. The plaintiff strongly asserts that the utter hypocrisy of the actions by the leadership of

defendant [WC] should not be lost of the reasonable observer. Here, the leadership of defendant [WC] is telling not only all of the citizens of

the County of Williamson, but also all of the people of the world, that it deems books about so-called [CRT] to be "age inappropriate", but

that same leadership of defendant [WC] deems such Confederate monument(s) - which is, indisputably, a glorification of White-Supremacy

and (race-based) slavety - as "age appropriate".
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'.[656
The plaintiff asserts that the relatively-small number of media reports cited in this lawsuit reveal only some (but not all) of the deep-seated

culture of racism, sexism, conuption, hypocrisy and impunity fostered by even some of the top-level leadership of defendant [WC]. The

 plaintiff emphasizes that the information posted above depict the manner in which some of the top-level [WC] officials act in public settings,

 and as such, any reasonable observer can leave it to their own imagination, how such officials conduct themselves in private settings, such as in

 private/off-the-record conversations/meetings. The plaintiff further asserts that this deep-seated cultw·e of racism, sex.ism, co1Tuption, hypocrisy

 and impunity would, at best, serve to desensitize/demoralize rank-and-file/lower-ranking members of [WCLE], but at worst, embolden such

 members to act in a brazenly racist, sexist, conupt and/or hypocritical manner that would not have been possible if not for this deep-seated

 culture of racism, sexism, corruption, hypocrisy and in1punity. The plaintiff would like to emphasize that this is the type of public-image and

 reputation that at least some of the top-level leadership of defendant [WC] stands behind, without any apparent intentions to change that

 public-image and reputation. The plaintiff asserts that, in response to this publicly-disseminated information about defendant [WC], any

 reasonable observer would pose the conunon-sense question: What type of message is the leadership of defendant [WC] sending to the

 residents of the County of Williamson - in pm1icular, the County of Williamson's people-of-color residents - by these behaviors/actions?




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i 65 7
Most importantly, the plaintiff asserts that when there exists a deep-seated culture of racism, conuption, hypocrisy and impunity in any local-

law-enforcement and/or government-administration, and this deep-seated culture of racism, conuption, hypocrisy and impunity is even
reported by the media, then, as even explained and/or hinted-to by some of the publications cited in this lawsuit, it follows from basic logic and

reasoning that:
01.    at least some person(s)-of-color will, at best, deeply-distrust, and at worst, expect-maliciousness-from that local-law-

       enforcement/government-administration.
02.    at least some person(s)-of-color will be very-unlikely-to report racially-motivated hate-crime(s) to that local-law-enforcement, regardless

       of the seriousness/severity of the crime(s) committed against them because such person(s)-of-color will rightfully believe, at best, that

       their reports will not be taken seriously, and at worst, that they will be retaliated against - if not by the local-law-

       enforcement/govemment-administration, then by the persons(s) who connnitted the hate-crime(s).

03.    White-Supremacists and other predatory White-American people will feel at least some level of emboldenment and protection from

       local-law-enforcement/government-administration, making it more likely for such people to act in hypocritical, abusive and/or criminal

       manner towards at least some person(s)-of-color.

04.    due to the well-known, well-documented and impenetrable Blue-Wall-Of-Silence, even well-meaning poliee-officers/government-

       employees that do not harbor racial-animus and that do recognize racist/hypocritical misconduct will be unwilling to report such

       misconduct to superiors/internal-affairs.

05.    the local-law-enforcement's/government-administration's public messages of "tough-on-crime 11/"law-and-order 11 are, in actuality,

       hypocritical and racist dog-whistles for (metaphorically-speaking) bringing-down-the-hammer-on at least some person(s)-of-color - for

       example, via the abusive/oppressive/intrusive/invasive modern-day-Jim-Crow interpretation/enforcement of laws - while turning-a-blind-

       eye-to the misconduct/abuses/crimes of government official(s)/employee(s), White-Supremacists and other predatoty people, especially

       when the victims of the misconduct/abuses/crimes are person(s)-of-color.

06 •   at least some substantial segments of the local-population (not limited to racial-minorities) will rightfully question the legitimacy and

       integrity of the entire justice-system, leading to more cynical attitudes towards law-enforcement/government and, in general, other

       institutions-of-power.




i658
Finally, the plaintiff asserts that all of the six aforementioned listed-items, not surprisingly, hold-hue and corroborates-with the plaintiffs own

traumatizing experiences in dealing with [WCLE], acting in conspiracy with the plaintiffs predato1y White-American, far-right-wing-exn·emist

neighbors [JSP&KAP],[RSRJ for over 10 years (and also the plaintiffs predatmy White-American neigl1bor [JJBJ for a period ofover 3

years), as substantially documented in this lawsuit.



i659
Although no part of the plaintiffs claims against the defendants relies-upon, rests-upon or hinges-upon this particular assertion, the plaintiff


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asserts that this deep-seated culture of racism, corruption, hypocrisy and impunity fostered by some of the top-level leadership of defendant

[WC] has not only made possible, but actually encouraged, the decade of racial-oppression and racketeering-activity that the plaintiff has

suffered from [WCLE], acting in conspiracy with the plaintiff's predatory White-American, far-right-wing-extremist neighbors [JSP&KAP],

[RSR] for over IO years (and also the plaintiffs predato1y White-American neighbor [JJB] for a period of over 3 years), as substantially

documented in this lawsuit.




                                                                       §XXII

        SHRINKING FAR-RIGHT CONTINUES TO EXERT EXTREMELY-

         UNDUE POWER, INFLUENCE AND CONTROL OVER [WC] AND

    OTHER LOCAL INSTITUTIONS WITHIN COUNTY OF WILLIAMSON


S[660
Defendant [WC] and its law-enforcement-agencies, [WCLE], are also fully-aware of the extremely-undue power-influence-and-control that the

shrinking, yet hostile, disproportionately-vocal and unrepresentative 'Jar-right" continues to exert over [WC] and several local institutions

([RRISD] School-Board, ~City of Hutto ➔ , ~City of Liberty HilH , ~Thrall Police Department ➔ , etc.) within the County of

Williamson - despite of the fact that the political demographics of the County of Williamson has changed in the last decade, from being more-

fully '.'far-right" (a decade ago) to being more-moderately "center-right" (currently):



S[661
Despite the fact that [WC] officials declared that there were no known cases of voter-fraud in the {2020-11-03} general election, Lori

Gallagher - founder of the far-right group and/or political-action-committee, (Texas Constitutionalists), who spoke during the public conunent

portion of a [WC] Commissioners-Court meeting immediately following such election - requested [WC] to "do an audit of its electoral

process, citing allegations ofthe casting o.ffraudulenl ballots." Ms. Gallagher contjnued to state, without providing any actual evidence,

 "There's enough national evidence that's in the public sphere right 110111 that could show that there is a possibility for not only.fi'aud locally,

but statewide and across the counfly. " According to Ms. Gallagher, the [WC] elections office informed Ms. Gallagher that she would need to

file lawsuit against [WC] in-order-to prove her, then unsubstantiated, claim of alleged voter-fraud. According to election data, [WC] "reported

its highest voter tumout in histo1J1, al about 75%" (source: ((Community Impact Newspaper)), "Officials: No known cases of voter fraud in

Williamson County" ). Despite continuing-not-to-present any actual evidence of voter fraud, Ms. Gallagher and/or her far-right organization,

(Texas Constitutionalists), continued to vigorously campaign in the year {2021} - posting many messages onto social-media - urging other

residents of the County of Williamson to protest at [WC] Commissioners-Court meetings for their lack of an election-audit and/or for not doing


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enough to overturn the {2020-1 1-03} election results and/or for the Republican Party leadership of [WC] allegedly ''.velling out" the

Republican voting-base ( • ) . For example, in one of her numerous social media postings in the year {2021}, Ms. Gallagher posted, with a

[NAUSEATED-FACE-EMOJl]:

     "Williamson County Judge Gravell accepted "ZuckBucks". Honorable Judge Gravell must RESIGN OR be primaried out. You want to

    know something you can do ? Are yo11feeling helpless? Do not know where to start? Tell everyone you know about the County

    Commissioners Court and tell them eve,y single one ofthem must be pushed 011/ o.fprimaries, or pressured to resign. Your Republican

    leadership accepted $265/c+ from Mark Zuckerberg. Judge Gravell Ctyjudge@wilco.org Precinct 2 Commissioner Long

     Clong@wilco.org Precinct I Commissioner Cook Tcook@wilco.org Precinct 3 Commissioner Valerie Covey Vcovey@wilco.org

    Precinct 4 Commissioner Russ Bowles. Rbowles@wilco.org GOP Chairman Steve Armbruster Democrat Chairman Kim Gilby County

     CLERK Nancy Rister These are your Republican Party elected officials that sold your vote lo Mark Zuckerberg. Our Republican party

     and leadership sold us out for Zuckbucks. We must unite and take OUR Party back through the primaries. Join us□□

     Txconstitutionalists. com".
T he plaintiff asserts that this particular posting by Ms. Gallagher is very indiciative of the extremely-undue power-influence-and-control that the

shrinking, yet hostile, disproportionately-vocal and unrepresentative far-right continues-to-exert over [WC] and/or other local institutions within

the County of Williamson - unduly pushing the already-right-wing politics of the County of Williamson and the government of [WC], even

further to the far-right. In clear violation of the "Separation o.f Church and State", Ms. Gallagher is further quoted to having stated the mission

of her far-right organization, (Texas Constitutionalists), w hich even some of the mainstream-media describe as a "voter suppression"

organization, as follows:

     "I believe that the divine hand o_fprovidence was present when our constitutional cmdfounding documents were.formed ... I believe

     that's the divine intersection between voting rights. The people's voice- that comes.from God. Yow·ji-eedom comes from God. Liberty

     comes ji·om God. "
While many people demonstrated "on the statehouse ground1·" opposing the "voter suppression" legislation enacted in the {2021} Texas-

Legislature Legislative-Session, Ms. Gallagher, "of Williamson County, Texas, was there to show her support " of such "voter suppression"

 legislation (source: ((Vox)), "How the Cluistian right embraced voter suppression" ). The plaintiff asserts that a ll of such efforts by the

 shrinking, yet hostile, dispropmtionately-vocal and unrepresentative far-right within the County of Williamson, are thinly-veiled, yet successful,

 actions by the far-right to subvert democracy by overlly-suppressing the vote, while at the same time, intimidating the large political opposition

 to the far-right from voting - along with other forms of voter-intimidation. The plaintiff asserts that no municipal-corporation that is genuinely

 concerned about democracy would entertain-baseless-arguments-from and/or sympathize-with those person(s) and/or political-group(s) (such

 as far-right political-groups) that are actively conspiring to suppress the vote, under the fraudulent pretext of combatting "voterji-aud".



 <][662
 During the peak of the COVJD- 19 pandemic, a relatively-small group of '.'far-right" residents of Round Rock (located within the County of

 Williamson), while '.'fi,riously protesting the mask mandate ordered by the ([RRJSD]) district's recently hired superintendent, (Dr.) Hafedl,

 Azaiez" - who, out of no coincidence, happens to be an immigrant-of-color - "were campaigning to overturn the ([RR/SD]) district's mask

 mandate, fire Azaiez, ban books (about so-called [CRT]), and, generally, bring Christian Nationalist values to the district. " As further

 reported by the ((The Austin Chronicle)), "the.far-right candidates were trounced in the November ({2022) ) election and an even more

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progressive ([RRJSDJ) board was seated" - once again, fully demonstrating the extremely-undue power-influence-and-control that tbe

shrinking, yet hostile, disproportionately-vocal and unrepresentative 'Jar-right" continues to exert over local institutions within the County of

Williamson - despite the changing political demographics of the County of Williamson. These sequence of events also demonstrate that, while

the [WC] Commissioners - almost all of the Republican Party - are actively punishing and/or coercing School-Districts such as [RRISD] for

allowing books in the library about [CRT) and/or [LGBTQlA+1, the voters in those specific districts of the CO\mty of Williamson are going in

the opposite direction by electing increasingly "more progressive" School-Boards.



SJ:663
During a {2023} •city of Hut to ➔ City-Council meeting, a resident of Hutto, a once [HOA]-President, and a former candidate for City-

Council-member in the ,tcity of Hutto ➔, Nicole Calderone, was allowed by the Hutto Mayor, Mike Snyder, to make racist statements with

references to "bananas" and "monkeys" - with Ms. Calderone making one-or-more social-media-posting<; also deemed to be racist. Additionally,

a federal-court ruling in the month of {2023-05} authorized $12.5 million in damages assessed to the <fCi ty of Hutto ➔ stemming from

racially-discriminato1y conduct attributed largerly to Mayor Snyder (source: ((CBS Austin News)), "Hutto Mayor Under Fire After Racial

Innuendo During City Council Meeting" ). During a •city of Hutto ➔ City-Council meeting, Onnesha Williams, founder of (Black

Families of Hutto), rightfully stated with anger to Mayor Snyder,

     "In what world do I live in where I can cost this city, as a black woman, $12.5 million.for being discri111inato1J1, and still keep my job?

    in what world could I say the things that you say, Mr. Mayor, and sti II keep my job? ... Ifyou 're a leader, you should be held

     accountable and you should hold yourself accountable. Please resign ... We have a systemic problem with racism in this town, We have

     a systemic problem ofunderrepresented people in this town. We are not represented on the dais, and we are not represented by our

     mayor ... It's clear that Mr. Snyder is not a leader of integrity. He has consistently violated civil rights laws against Black people and

     )IIOmen and I think it's clear he need~ to.fo1.feit his seat ... I've been harmed by his racism and misogyny. It's a horrible.feeling. You

     live i11 this town and have to keep living in this town pretending. Its kind of being a cancer in the place that you love."       (source:

     ((Taylor Press)).    ''Huffo mayor.faces community backlash")

Ms. Williams continued to state,

     "It's haunting. It's Taunting. It's Harassing. It's the same as going to work and having a noose hanging at your desk. Having bananas

     and a monkey siffing where you reside to do the work. A Black ma11 nor a Black woman nor any other citizen should be subjected to

     that."



SJ:664
During a {2023} •City of Liberty Hill ► City-Council meeting, the Mayor of the •city of Liberty Hill ► officially declared the

month of {June} "Pride Month", at least in part, in support of a Liberty Hill resident, ''Amanda Crossland, who lost her son Jaycee to suicide

shortly after he came out as gay." Ms. Crossland, who coordinated with the Mayor over this proclamation, stated, "I promised him ajfer he

died I would do eve,ything I can to make sure this doesn't happen to someone else ... To make sure people like him know they have

support. "The proclamation reads as follows:




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    "Whereas, liberty Hill is a Loving, Wholesome and Family-centered community,: and Whereas, liberty Hill is an inclusive and

    supportive co1111111111ity; and Whereas, We value all of our citizens because of the unique and precious nature ofall of God's children;

    and Whereas, We oppose hate, abuse, discrimination or bullying of any person, Now There.fore, I, Liz Branigan, as Mayor, do proclaim
                                                                                                                      11
    the month ofJune as Pride Month in liberty Hill, in harmony with the larger community of the United States.

To the best of the plaintiff's understanding, such proclamation was not substantively different than similar "Pride" proclamations made by at

least some other Cities across the United States. However, such meeting was met with vigorous hostility by residents of the far-right, with the

meeting-room, ''packed with people participating in public comment to oppose the proclamation", and "as the mayor read it, many residents

booed while others clapped." Ms. Crossland ''.vtood in front of" the mostly hostile far-right crowd "with two others as the mayor read the

proclamation." Ms. Crossland stated with considerable disappointment, having just lost her son to suicide as a result of societal homophobia,

    "This was supposed to be a day ofacceptance but it's not even a celebration because it's a fight ... I didn't expect when I showed up

    today that there would be a huge amount ofhatred. 11

Due to the extremely-undue power-influence-and-control, exterted by the shrinking, yet hostile, disproportionately-vocal and unrepresentative

far-right in Liberty Hill, at least one member of the iCi ty of Liberty Hill ➔ City-Council, ''Angela Jones, :,poke at the beginning of the

meeting in opposition to" such proclamation.        (source: ((KXAN Austin)), "Liberty Hill Pride proclamation met with boos" )



i665
A police-officer of the ~Thrall Police Department ► [TPD] (located within the County of Williamson), recently posted onto a social-

media-posting, a celebratory selfie-photograph with Kyle Rittenhouse - the young White-American man appearing at one-or-more far-right-

wiug-extremist gatherings and/or rallies, who has been photographed celebrating with members. of the far-right-wing-extremist "Proud Boys",

that, despite shooting three persons resulting in the deaths of two persons, was acquitted by an almost all-White Wisconsin jmy in

«WISCONSIN V. KYLE HOWARD RITTENHOUSE)) of all charges including, "First degree intentional homicide", "First degree reckless

homicide", ''Attemptedjirst degree intentional homicide", "First degree recklessly endangering safety (2 counts)" (source: ((The New York

Times)), "Kyle Rittenhouse and the New Era of Political Violence" ). Despite the fact that Mr. Rittenhouse has been characterized by some

members of the mainstream-media, and tbe then-candidate-now-President of the United States, as either 'Jar-right" or "White-supremacist",

and despite the fact that there were large nationwide social-justice protests in the United States immediately-following and in-response-to Mr.

 Rittenhouse's acquittal, and despite of the fact that such social-media-posting by the [TPD] garnered much backlash and outrage, according to

 some journalist-media, neither such police-officer of tbe [TPD], nor the [TPD] will apologize for such conduct (source: ((Snopes)), ((San

 Antonio Express-News)), ((Washington Examiner))). Some of the social-media-postings of indignation expressed over [TPD]'s conduct included

 the following:

      "ls this a joke? You're welcoming a known killer into our state? This is completely disgusting."

                                                  - Phoenix Woods

      "Sick you are making him out as a hero ... Shame on your officer and this department."

                                                  - Kari Ashpaugh




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             "What a joke of a police department."
                                                                                  - Nai Roberts

             "Get puffed over for a trq[f,c violation, get a selfie taken instead. Is that service extended to eve,yone?"

                                                                                  -[UNKNOWN]
The last cited social-media response, in particular, highlights at least some of such police-departments' (located within the County-of-

Williamson) deferential treatment afforded to even the most scandalous persons associated with the 'far-right", as opposed to the relatively-

poor treatement of most members of society, and the sometimes vicious treatment of social-justice-activists and racial-minorities.
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      United States presidential election results for Williamson County, Texasl 30l
                                                                                      [hide]

                                              Republican                                        Democratic                                Third party
          Year
                                      No.                        %                     No.                        %                 No.               %

         2020                        139,729              48.15%                   143,795                      49.56%              6,644          2.29%
                    --                                                                                -                                       -..--
         2016                        104,175               50.90%                  84,468                       41 .27%             16,016            7.83%
     -                           -                   - ---                  -                                                                                    -
         2012                        97,006                59.22%                  61,875                       37.77%               4,923            3.01%
                                                 -
         2008                        88,323                55.49%                   67,691                      42.53%               3,152            1.98%
                                                                                                                                                                     ·-
         2004                        83,284                64.97%                   43,117                      33.63%               1,797            1.40%
                                                                                                                                                                 -
         2000                        65,041                67.80%                   26,591                      27.72%               4,303            4.49%
                                                                             -                  --                                                        -          -
         1996                        36,836                55.37%                   24,175                      36.34%               5,511            8.28%

         1992
     ----1988 --
                                     26,208

                                     27,322
                                                           42.79%

                                                            57.85%
                                                                                    19,437

                                                                                    19,589
                                                                                                                31.73%

                                                                                                                41.48%
                                                                                                                          -   c--
                                                                                                                                    15,609

                                                                                                                                      319
                                                                                                                                               -   25.48%
                                                                                                                                                       --
                                                                                                                                                      0.68%

         1984                        25,774                 72.03%                  9,911                       27.70%                99              0.28%

         1980                        15,035                 56.39%                  10,408                      39.04%               1,218            4.57%




                                                                                    §XXIII

     TOTALITARIAN/FASCIST TENDENCIES WITHIN FREE SOCIETIES

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1666
George Orwell's "Animal Farm" is often popularly cited in the so-called '.'fi·ee societies" (including Westem-European-society and American-

socicty) for the typical demonization of the totalitarian enemy: for example, the fonner Soviet Union, or today's Russia. However, almost all

people are unaware of the fact that 01well wrote an introduction (essay) to ''Animal Fann"that remained unpublished even after his death. In

this essay, which he addresses to the people of England, Orwell warns the people of England that they should not feel too self-tighteous,

because even in England (and other so-called ':free societies'1, unpopular ideas can be suppressed/censored without the use of force. Orwell

further provides at least two major reasons to explain why and how unpopular ideas can be suppressed/censored without the use of force:


    I. Orwell explai11s that the press - his day's equivalent of today's big-media corporations - is owned by wealthy men who have every (self-

       preserving and status-quo-preserving) reason not to want certain ideas to be expressed.

    2. 01well explains that when people are raised through the educational system - even the elite educational system of elite Universities - this

       process internalizes their understanding that there are certain things that one must not say (or even think). It is a type of self-censorship

       that is created through indoctrination.




1667
The plaintiff raises this issue, because certain aspects of the property-maintenance-laws - especially, the requirement(s) to cut vegetation - are

typical of this totalitarian, ll.Tational and unreasonable mindset of absolute conformity - which most people are unable to even question due to

the systems of power and indoctrination mentioned above. When people allow governments (or other institutions-of-power) the power to

enforce this totalitarian, irrational and unreasonable mindset of absolute conformity - for no justifiable reason, whatsoever - governments (or

other institutions-of-power) will inevitably abuse that power, with the end result being a slippery-slope to totalitarianism/fascism, even within

so-called '.'free societies".




                                                                     §XXIV

        PROPERTY-MAINTENANCE-LAWS AND MODERN-DAY-JIM-CROW


1668
The plaintiff focuses this lawsuit on the racial-oppression and pattern-of-racketeering-activity that the plaintiff has suffered as substantially

documented in this lawsuit, and so, the plaintiff does not focus too much attention onto the property-maintenance-laws. However, the

defendants' malicious mis-interpretation and predatory enforcement of these prope1ty-maintenance-laws against the plaintiff have se1ved to

allow the defendants' racial-oppression and racketeering-activity against the plaintiff to continue unchecked for a period of over IO yeai~, and


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has even allowed the defendants to blackmail, retaliate-against, humiliate and obstrnct-justice against the plaintiff, in-order-to keep the plaintiff

silent about all of defendants' racial-oppression and racketeering-activity against the plaintiff. Therefore, the plaintiff must, in the interest-of-

justice, be allowed to at least minimally address the L~sue of the property-maintenance-laws, or at the very least, how such laws are being

abusively weaponized (both as a ''sword and shield') as modern-day-Jim-Crow law against the plaintiff. The plaintiff has consulted with

multiple attorneys that have admitted to the plaintiff that the selective interpretation and enforcement of these property-maintenance-laws

coercively impose White-American/White-European standards onto everybody including people-of-color, whether or not this is was the original

intention of the ~Texas Legislature ➔ and/or the lawyers (representing the builders' industiy and/or the [HOA] industiy) that wrote the

original [HOA] restrictive-covenant contracts. In fact, one attorney even explained to the plaintiff that many [HOA]s expected bushes to be

trimmed according to the British style or the French style, even if there were no rule(s) that explicitly specified such standards (limiting height,

width, depth and/or shape of such bushes). Another attorney explained to the plaintiff that [HOAJs expect all residents to maintain their

property, the manner in which an "old White lady" would want such prope1ty to look. Based on the plaintiff's own suffering experiences at the

hands of the defendants for over a decade, the plaintiff strongly agrees with these assessments.




1669
The most indisputable example of this White-ethnocentrism is the viewpoint towards growth of vegetation. It is indisputable that the mowed

lawn (and bushes trimmed to specific shapes) are a White-American construct and originally a White-European construct - thus, a typical

example of White-ethnocentrism within North-America, Europe, Australia and the rest of the so-called ''Ang/osphere". In medieval Europe,

wealthy White-European landowners used to force their servants to cut their grass (and trim their bushes into specific shapes) as a status

symbol to show-off their wealth. That rather destructive and wasteful White-European tradition transferred over onto White-American society

and clearly still exists to this day. As akeady documented in some of the academic/legal literature (see section below), people of at least some

Eastern religions/cultures and many, if not most, indigenous-peoples are strongly against the artificial cutting of vegetation - including any-and-

all wild vegetation, especially for aesthetic/cosmetic reasons. Furthermore, in at least some countries where indigenous-peoples are the

 majority, such countries have even codified into law what is known as ''Rights a/Nature" or "Rights of Mother Earth" - wherein Nature has

 inalienable rights that humans cannot infringe upon. The plaintiff asserts that the artificial-cutting of vegetation (especially for an

 aesthetic/cosmetic reasons) is an egregious violation of such "Rights of Nature". So, if it is true that the mowed-lawn (and trimmed bushes) is a

 White-European/White-American construct, then the plaintiff asks a very simple question: Why is it acceptable in the year {2023} (or, for that

 matter, any of the years documented in this lawsuit) for White-Americans (and institutions-of-power such as the [HOA] and the local-

 government) to impose such White-American/White-European standards onto person(s)-of-color, and in particular, immigrant(s)-of-

 color/indigenous-person(s) - especially those that are religiously/culturally opposed to such standards? Furthennore, as early as the year

 {2013}, the plaintiff was even advised by a (White-American) "Master Gardener" that "unless you are willing to go to court to defend your

 beli~fv then you are at the mercy of the HOA" - which is exactly what the plaintiff has suffered throughout most of the plaintiff's residence at

 [788KLLTX7864 IJ, but especially during the intial years {2009} through {2020} - thanks to the then [HOA)'s predatory lawsuit against the

 plaintiff, driven in substantial part by the predatory demands and/or blackmail of malicious neighbors [JSP&KAP],[RSR],[DMP] and co-

 conspirator [WCLE]. So, the plaintiff asks a very simple second question: Why is it necessary for at least some person(s)-of-color (such as the

 plaintift) to be forced into the risky/burdensome/unpleasant/expensive task of litigation to fight for the most basic/common-sense homeowner

 rigl1ts that every similarly-situated person-of-color should be automatically (or by default) entitled to?


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i670
Over 60 years ago, prior to the enachnent of the Fair-Housing laws, restrictive covenants explicitly prohibited person(s)-of-color from residing

within White neighborhoods. It would appear to the plaintiff that the only difference between that previous era and the current era, is that now,

person(s)-of-color are allowed to reside within White neighborhoods, but only if such person(s)-of-color maintain their private-property sh·ictly

according to White-American/White-European standards. The plaintiff asserts that this coercion is neither a meaningful nor substantive

improvement from that previous era, as such coercion is still a modern-day manifestation of White-supremacy, and would at least in some

cases, serve to reinforce modern-day racial segregation (and/or political segregation - see below). When considering the American

neighborhood/subdivision, the question to be asked is: ls law-enforcement/ local-government (and [HOA]s) adopting the so-called "melting-pot"

model of White-supremacy wherein people-of-color are forced (by no choice of their own) to assimilate into White-American culture, or is law-

enforcement/local-govemment (and [HOA]s) adopting the so-called "salad-bowl" model of multiculturalism wherein people-of-color are

allowed to freely express and maintain their cultural/religious h·aditions/values without coercion, while still co-existing within majority-White

society? The plaintiff asse1ts that even within the framework of existing laws and contracts, there is a lawful method, namely "variances", to

accommodate those immigrant(s)-of-color/indigenous-person(s) that do not, due to Constitutionally-protected religious-practice(s), conform

their lifestyle and/or property-maintenance to White-American standards. For example, both the Texas Public-Nuisance-Law and the

restrictive-covenant contracts of most [HOA]s allow the granting of so-called "variances" to allow, in the interest of justice, for such

accommodation.



 i671
The plaintiff asserts that if White-Americans are allowed to maintain their private-properties according their subjective White-American

 cultural/religious standards, then people-of-color should likewise, be equally allowed to maintain their private-properties according to their

 subjective people-of-color cultural/religious standards. The plaintiff further asserts that, at the ve1y least, if people-of-color are not imposing

 their subjective people-of-color cultural/religious standards of property-maintenance onto White-Americans, then White-Americans should not

 have any right to impose their subjective White-American standards of property-maintenance onto any person-of-color. The plaintiff asserts

 that this basic "live and let live" philosophy is the actual and truthful application of the ''golden rule" as it applies to peoples of different

 cultures: "Treat others in the way that you would like to be treated". The plaintiff asserts that this basic "live and let live" philosophy is the

 actual and truthful application of the fourteenth ('A' ) amendment's guarantee to "equal protection of the laws" and ''fi·eedom from

 discrimination" as it applies to peoples of different cultures. The plaintiff asse1ts that this basic "live and let live" philosophy is the actual and

 truthful application of the first amendment's guarantee to freedom-of-religion and freedom-of-expression, as it applies to peoples of different

 cultures.



 i672
 It is ah'eady well-established and well-documented that at least some significant percentage of White-Americans strongly oppose the notions of
 multiculturalism and race-mixing, and much of the strong anti-immigrant sentiment (especially in the States bordering Mexico including Texas)

 is indicative of these oppositions. The predatory, abusive interpretation/enforcement of these property-maintenance laws not only serves to

 deter at least some people-of-color from moving into White neigl1borhoods and/or remaining within White neigl1borhoods (and thus serves as a


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significant obstacle to multiculturalism and racially integrated neighborhoods), but also serves to ensure that such neighborhoods are hospitable

only to the people-of-color that most-eonfmm to White-American standards and that fully-accept White-supremacy as the norm. The end

result is that such neighborhoods turn out to be neither racially-diverse (in essence, not multicultural) nor politically-diverse, because it creates a

toxic enviromnent in which such neighborhoods are only hospitable to a small-fraction of people-of-color - the most-right-wing (the most-

conforming) of people-of-color. The plaintiff asse11s that these tendencies undoubtedly ha,m society by making society, as a whole,

significantly less pluralistic, significantly less democratic, significantly more polarized, significantly more stratified, significantly more

fragmented, and significantly more divided by both race and polities.




1673
Another, and perhaps more significant, motive for the prevention of racially-diverse neighborhoods is an economic one. There is ah'eady a well-
documented pattern of so-called "White-j/ight"wherein large fractions of White-Americans move out of neighborhoods within the big-city (or

closer to the big-city) that are becoming more-racially diverse and into outer suburb/exurb neighborhoods that are more-exclusively White. This

move is also a profitable investment strategy since property outside of the big-city is much less expensive, and more-importantly, tends to
rapidly increase in value as the big-city expands and as the population in the larger metropolitan-area increases. Even with inflation, cost-of-

living and the value-of-the-dollar taken into account, property values in the outer suburb/exurb neighborhoods (that tend to be White

neighborhoods) located around the top metropolitan areas often increase in value by over 100% in just a decade, while at the same time,

property-tax increases are capped at IO% per year by Texas homestead law. Even much-older houses and houses that are in need of repair

 located with the big-city sell at a much higher prices than comparable (similar square-footage, similar building-materials, etc.) newer modern

 houses (built to the latest safety/structural building codes, and built with, generally-speaking, better-quality construction materials) located in the

 outer suburbs/exurbs - and the Austin-metropolitan-area is definitely not an exception. So, the obvious investment strategy that large fractions

 of White-Americans benefit from is to purchase property in such outer suburb/exurb neighborhoods and simply wait for it to rapidly increase in

 value. By weaponizing/abus.inglexploiting such property-maintenance-laws in-order-to prevent at least some persons-of-color from purchasing

 property in such White neighborhoods and/or intimidating at least some persons-of-color in-order-to drive such persons-of-color out of such

 White neighborhoods, some predatory White-Americans - and local-law-enforcement (and/or [HOA)s) that act in a predat01y/abusive manner

 on their behalf - are maliciously depriving and defrauding such persons-of-color from this profitable investment and wealth-creation. This

 malicious deprivation is particularly egregious, given the huge wealth gap between the average White-American family and the average person-

 of-color family in the United States.



 1674
 In addition to the significant percentage of White-American people that are opposed to the ideals of racially-diverse, culturally-diverse,

 religiously-diverse neighborhoods~ there are also powerful-economic-forces that, although such powerful-economic-forces do not play a direct

 role in the enforcement of modem-day-Jim-Crow, do financially benefit from the enforcement of modem-day-Jim-Crow. For example, both

 the attorneys/law-firms and the management-companies that represent [HOA)s could easily be exploiting and profiteering-out-of conflicts

 between neighbors: whenever neighbors have conflicts/disputes regarding restrictive covenants, then the big-business industry of lawycrs/law-

 firms representing [HOA]s and the big-business industry of management-companies representing [HOA]s may step in to exploit and profiteer-

 out-of such conflicts/disputes between neighbors. Whenever multiple/large-number-of neighbors gang-up on one particular neighbor especially

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due to any type(s) of animus (not limited to racial-animus), then this exploitation/profiteering should be considered to be predatory.

Additionally, the big-business lawn-care industry exploits and profiteers out of writing, preserving and enforcing [HOA] restrictive covenants

and other property-maintenance-laws that require White/Caucasian standards of vegetation-maintenance to secure the current and future profits

of their big-business industry. One of the plaintiffs attorneys even advised the plaintiff that at least some [HOA]s are known to pay police

officers overtime for the enforcement of certain restrictive covenants, which if llue, would mean that even public officials could easily be

exploiting and profiteering-out-of the enforcement of modern-day-Jim-Crow.



<.[675
Other subtle forms of racial discrimination are now, just of recent, being prohibited by law. For example, the [Uni ted s tates Creating

a Respectful and Open World for Natural Hair Act of 2 022] ("[CROWN] Act"), has only recently passed - in the year

{2022} - by the ~United States House of Representatives ➔ • Since the original [create a Respectful and Open

workplace for Natu ral Hair Act] was adopted in the State of California in the year {2019}, numerous similar statutes have passed

by twenty-or-more states (including the State of Texas), and thirty-or-more cities. Legislatures at all of such levels of government have passed

such much-needed legislation to prohibit any-and-all discrimination based of hair-style and/or hair-texture - finally allowing a ll people-of-color

to maintain their natural hair-styles without having to conform their hair-styles according to White-American standards. An uninformed and

neutral third-party observer may rightfully question: If there were already multiple existing civil-rights laws that prohibit discrimination, the n,

why is the [CROWN]-Act needed? Clearly, the [CROWN]-Act was/is needed because at least some persons of the dominant-majority

 White/Caucasian/American color/race/nationality were/are able to circumvent such civil-rights laws, by exploiting hair-style and/or hair-texture

 as their preferred form of discrimination, even though they knew fully-well that a person's hair-style and/or hair-texture is intricately-tied-to

 such person's racial-profile and racial-identity. (Not coincidentally, both defendants [JSP] and [RSR] have made racist statements and/or racial

 slurs about the plaintiffs natural, ethnic/cultural/indigenous hair-style and/or hair-texture - with [JSP] even demanding the plaintiff to cut the

 plaintiffs hair.) The plaintiff asserts that the same type of protection from discrimination should also apply to the interpretation/enforcement of

 these property-maintenance-laws, for reasons already specified above. Towards this end, at least some of the injunctive-relief that the plaintiff

 seeks, seeks to prohibit the predato1y, abusive and/or racist interpretation/enforcement of these property-maintenance-laws.




 <.[676
 Even if eve1y single one of the defendants' allegations regarding property-maintenance of the plaintiffs property were true - which the plaintiff

 vehemently denies - then, a ll of the plaintiffs clain1s of the defendants' hate-crimes/civil-rights-violations/racketeering-acts/abuses against the

 plaintiff would still hold true. T he defendants had absolutely no right to repeatedly - and for over a decade - single-out, blackmail,

 intin1idate/interfere-with, invade-the-privacy-of, abuse, oppress, humiliate, harass/stalk, predatorily-target, retaliate-against, obstruct-justice-

 against and defraud the plaintiff in the malicious-and-predatory manner that they did - and for over 10 years. The plaintiff has painfully

 discovered through over-a-decade of the plaintiffs suffering at the hands of the defendants', the untold truth behind living in an [HOA]

 subdivision: that neither [HOA] rules enforcement nor the enforcement of other property-maintenance-law (such as the public-nuisance-law) is

 based upon fair, unbiased, non-discrimi.nat01y, application of the rules/law. Instead, the enforcement of such property-maintenance-laws - and

 specifically, the escalation of enforcement action into legal action - is more-often-than-not - driven by the demands of malicious, predatory

 neighbors rather than by fair, unbiased, non-discriminato1y application of law to curb harmful conditions - with any legal action taken for

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alleged aesthetic/cosmetic issues being the most egregious, since such alleged aesthetic/cosmetic issues, even if true, never caused any hann to

anyone. Whenever and wherever these malicious, predatory, discriminatory behaviors/actions are driven by any type of racial-bias (not limited

to racial-animus) or homophobic-bias (not limited to homophobic-animus), the resulting violations of the fair-housing-laws are clear and

indisputable. Whenever and wherever these malicious, predatory, discriminatory behaviors/actions are driven by any type of political-bias (not

limited to political-animus), the resulting violations of the "equal protection clause" are clear and indisputable.




                                                                          §XXV

                                                      THE GRASS DILEMMA



 ':II 67 7
The plaintiff focuses this lawsuit on the racial-oppression and pattern-of-racketeering-activity that the plaintiff has suffered at the hands of the

defendants, as substantially documented in this lawsuit, and so, the plaintiff does not focus too much attention onto the topic of grass.

 However, the plaintiff needs to address the issue not only of the plaintiffs general religious opposition to the artificial-cutting of any-and-all

 vegetation, but also more specifically, the issue of the attitudes towards grass and other native/naturalized vegetation.



 ':[678
 As already explained in multiple sections above and below, the plaintiff is a part-time permaculture gardener/farmer that, for example, uses the

 ecological technique of "sheet-mulching" to clear a patch of land for planting new vegetation. More importantly, the plaintiff is a "grass

 farmer" - a subcategory ofpcnnaculture farmers that grows grass (and associated native/naturalized vegetation) to keep soil fertile. There is no

 other type of vegetation - other than grass - that keeps more soil consistently fertile, maintains such consistent soil-fe1tility, and enhances such

 consistent soil-fe1tility in the long-mn - to the same high-degree as native/naturalized landscapes of grasses - particularly prairie grasses,

 native/nah1ralized grasses and other native/naturalized vegetation growing amongst such grasses. The former prairie grasslands of central North-

 .America including the "black/and prairie 11 region of Central Texas - a central region that spans from Cenh·al-Canada to Central-Texas (east of

 Interstate-Highway 1-35) - has been determined to having housed some of the most fettile soil in the world, with much of the fertile soil in Iowa

 being more than IO feet deep as little as 75 years ago - altltaugh much of that original soil fertility has now been depleted due to conventional

 big-business factory-fanning methods (especially, after the highly industrialized agriculture following the advent of synthetic fertilizers and

 pesticides). The reasons for this exceptional soil-fe1tility and deep-soil are a combination of the prairie grasses - including buffalo grass,

 switchgrass, bluestem grasses, grama grasses - along with several "keystone species" including the American bison, that grazed on such grasses

 or whose food-web revolved around such grasses, thus, contributing greatly to the long-tenn soil-fe1tility, soil-stmcture and soil-depth. Grazing

 animals like the bison, the buffalo, the zebra, the pronghorn, the deer and even the t01toise, can serve to enhance soil-fertility especially if they

 migrate from one geographical location to another and/or if they are intelligently rotated (by fanncrs/ranchers/wildlife-management) from one

 pasture of grass to another (allowing grazed areas of grass to recover by adequate rainfall). Due to the deep and dense roots ofunmowed grass,

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with some prairie grasses having roots 5 to 15 feet deep, such unmowed grasses are a superior store of Carbon - with unmowed prairie-
grasslands being second only to dense, pristine rainforests - in terms of total carbon sequestered per unit of land - thus combating, or at least

mitigating, the hannful effects of man-made climate-change.



'.1[679
Because of the fact that the plaintiff is a permaculture-fanner and a grass-farmer, for over 6 years, the plaintiff has received multiple

unsolicited offers by farmers that are willing to pay the plaintiff to cut the wild/native vegetation on the plaintiffs agricultural-private-property

for hay production, but the plaintiff has always either denied and/or ignored such offers despite of the fact that the plaintiff could easily make

much more money with such hay production, while expending no effort in maintaining such agricultural-private-property. The plaintiff has

instead chosen the more expensive - both in terms of monetary expenses and personal labor cost - option of beekeeping and native-pasture on

the plaintiffs agricultural-private-property as such operation is fully consistent with the plaintiffs strong religious views/values. The plaintiff

asserts that, to the best of the plaintiffs knowledge and publicly-available information, the previous land-owner of the plaintiffs agricultural-

private-property repeatedly and/or aggressively and/or excessively extracted hay on such property, thus depleting such land of its fertility and

resulting in less-than-average growth of grass and associated pasture. For these reasons, the plaintiff has undertaken to restore the plaintiffs

agricultural-private-property to pristine pasture, with beekeeping being the closest agricultural activity that would accommodate such

restoration.



 '.1[680
 Because of the plaintiffs knowledge as both a permaculture-fanner and a grass-farmer, and because of the plaintiffs strong religious

 views/values, the plaintiff has wanted to ''.grow" grass - not "mow" grass - on the plaintiffs residential property, because growing grass
 preserves and enhances soil-fertility, especially in the long-run, whereas mowing grass depletes soil fertility - both in the short-run and the long-

 run. Defendants [JSP&KAP),[RSRJ and [WCLE) have acted "under color of law" exploiting both the Texas Public-Nuisance-Law and certain

 antiquated and/or obsolete restrictive covenants requiring the cutting of grass and/or other vegetation, at least from the years {2009} through

 {2017}, in a malicious and predato,y conspiracy to deprive the plaintiff, of the plaintiffs fundamental frrst-amendment right to grow grass,

 without the wasteful-and-destructive practice of cutting grass, especially for aesthetic reasons. Even though this paiticular issue became a non-

 issue when the plaintiff was forced, by no choice of the plaintiffs own, to install a "no-mow" grass in the [FRONTYARD) during the year

 {2017}, both ofracketeer co-defendants [RSR),[JSP&KAP) continued-to-demand that the [HOA) take legal-action against the plaintiff for the

 plaintiffs refusal to mow the "no-mow" grass installed in [FRONTYARD) - as documented some of the incidents above. A,,, documented in the

 incidents above, [JSP] maliciously destroyed a large fraction of the plaintiffs "no-mow" grass by mowing over such grass at what appears to be

 the lowest-height-setting of the lawn-mower during the peak of the {2019} summer-drought - one of the hottest and driest summers in Central-

 Texas history - despite of [JSP)'s knowledge that the plaintiff did not have an automatic sprinkler system to irrigate such grass (as a result of

 removing the sprinkler system during the re-landscaping process in {2017}) - thus fully parching and desh·oying a significant area of grass that

 the plaintiff spent a huge amount of time, money and back-breaking effort to install. [RSR) even once demanded that if the plaintiff did not

 plan on mowing the grass on the plaintiffs frontyard, that the plaintiff should replace all of such grass with a landscape of stones, once again,

 depriving the plaintiff of the plaintiff's fundamental fn-st-amendment-right to cultivate and grow grass (and/or or other native/naturalized

 vegetation). The plaintiff strongly asserts that no persons, including the plaintiff, should be deprived of their fundamental first-amendment-
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rights - their environmentalist/naturalist ideals, their religious/cultural practices, their political-expression, their art - in-order-to satisfy the rigidly-

confonning aesthetic requirements of an ethnocentric, intolerant society that wastefully and destructively sees grass as nothing other than a

manicured carpet.




                                                                            §XXVI

         SIMILARITIES TO OTHER NATIONAL HIGH-PROFILE CASES



1681
Eve1y case is veiy unique and nuanced. As such, the plaintiff does not seek to, in any way, trivialize or lessen-the-significance-of any of the

other national high-profile cases cited in this section. However, the plaintiffs case does present at least some similarities to some national high-

profile cases of racial-oppression and/or political-repression and/or racketeering-activity and/or abuse of authority/power. The plaintiff presents

 these cases not only to document the similarities but also to provide crucial context and/or supplemental justification concerning the filing of this

 lawsuit.



 1682
 (LOUISIANA V. PHILLIP SKIPPER) ; (LOUISIANA V. JOHNNY HOYT) ; (LOUISIANA V. LISA HOYT) ; (LOUISIANA V.

 JOHN BAILLIO) : Murder of Genore Guillory:
 Jane Nora "Genore" Guillory was an African-American woman that resided alone at her residence in the town of Clinton, Louisiana, after her

 husband died. Following the death of her husband, Ms. Guillory was warned by those closest to her that it was not safe for an African-

 American woman to be living alone in a house located within the Old-Jim-Crow-South. Ms. Guillmy ignored those warnings, even allowing a

 neighboring White family - the Skippers - to stay with her at her residence while providing for them financially. Ms. Guillmy did not, at at any

 moment in time, suspect that the Skippers were actually, in secret, a White-supremacist gang that was simply manipulating her, pretending to

 be cordial to her, and taking full advantage of her generosity. In fact, since the Skippers were living on the fmancial-edge of society, Ms.

 Guillory was even generous enough to add the Skippers as beneficiaries to her life-insurance policy. When a dog owned by Ms. Guillory

 allegedly ended up either killing or injuring a goat owned by the Skippers, a strong disagreement between Ms. Guillory and the Skippers

 developed, and as a result of this disagreement, the Skippers had to move out of Ms. Guillory's house. Shortly after this incident, the Skippers,

 perhaps fearing that Ms. Guillmy would remove them as beneficiaries of her life-insurance policy, would eventually break into Ms. Guillory's

 house in the middle of the night, and brutally kill her in one of the most savage manners. Prior to moving into the [Summerlyn] subdivision,

 the plaintiff was similarly warned by those closest to the plaintiff that it would not be wise for the plaintiff to reside alone at a property in an

 area lacking in racial-diversity within the Old-Jim-Crow-South, for fairly obvious reasons involving both race and politics. (When the plaintiff

  initially moved into the [Summerlyn] subdivision, and during the fast few years of the plaintiffs residence at the [SummerlynJ

  subdivision, the plaintiff did notice at least one large Confederate-Flag flying high above a property located along the highway extremely-close

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to the [Summerlyn] subdivision.) The plaintiff ignored those warnings because the plaintiff, perhaps foolishly but certainly naively, gave

every person the benefit-of-the-doubt. The plaintiff was instead very attracted to the low cost of housing further outside of the City-of-Austin

[CoA], relative to high cost of housing located within and directly-around the [CoA]. (Even after moving h1to the [SummerlynD subdivision,

the plaintiff was infonned by at least one other person-of-color that 'People can be pretty narro1v-minded up here".) At various points of the

plaintiffs residence at [788KLLTX7864 l ], [PARENT SJ have repeatedly advised tl1e plaintiff to cut the plaintiffs (uncut) facial hah- and beard,

but obviously not because they didn't like the appearance of such uncut hair. Instead, they have, on multiple occasions, warned the plaintiff

that at least some White-supremacists in the United States have viciously harmed and, in some cases, even murdered person(s) who are

perceived to be of the Muslim religion, even when such person(s) arc not of the Muslim religion (for example, person(s) of the Sikh religion).

Additionally, most Muslim people and most of those who look like Muslim people also continue to face racism (lslamophobic-animus) and

discrimination even from institutions within American society - especially, in areas of the United States lacking in racial-diversity. It was only

after ignoring all of these warnings that the plahltiff began to realize the true cost that the plaintiff would suffer as a result of ignorh1g such

crucial warnings. The end result of ignoring these crucial warnings is documented, at least to a certain extent, in this lawsuit. It would appear to

the plaintiff that the crucial mistake that both the plaintiff and Ms. Guillmy made was placing blind-trust in people with extrerne-racial-anhnus

that are truly malicious. Although the plah1tiffhas not (yet) been killed like Ms. Guillory was, the plaintiffs sufferh1g at the hands of the

defendants is even more extreme in at least two crucial aspects:



® In the case of Ms. Guillmy, local-law-enforcement never did conspire nor act with the Skippers against her, whereas, in the case of the
plah1tiff, local-law-enforcement ([WCLE]) did maliciously conspire and did predatorily act with perpetrators of serious crimes against the

plaintiff - primarily, defendants [JSP&KAP],[RSR] - to viciously and egregiously violate the plaintiffs rights, repeatedly and on numerous

occasions, over the course of over a decade - all in a concerted, premeditated, and orchestrated effort to inflict great pain-and-suffering onto

the plah1tiff and, with the ultimate goal beh1g, to drive the plah1tiff out of the White neighborhood.

® The plah1tiff has suffered over a decade of hate-crinles/civil-rights-violations/racketeering-acts/abuses by the defendants whereas, to the best
 of the plah1tiffs knowledge, Ms. Guillmy suffered one horrific and brutal h1cident from the predators that ended her life.




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 (COLORADO V. NATHAN WOODYARD} ; (COLORADO V. RANDY ROEDEMA) ; (COLORADO V. JASON ROSENBLATT)

 ; (COLORADO V. JEREMY COOPER) ; (COLORADO V. PETER CICHUNIEC}:
 Elijah McClain was a 23-year-old African-American man walking home with a face-mask after shopping at a local store. Some person(s) called

 the Aurora police on Mr. McCL,in clainling that he was acth1g suspiciously, perhaps due to his face-mask, as fuis incident occurred in {2019}

 prior to the COVID-19 pandemic. Two-or-more White-American Aurora police-officers stopped Mr. McClah1 while he was walking home on

 the sidewalk, with one police-officer ordering him, "I HAVE A RIGHT TO STOP YOU, BECAUSE YOU'RE ACTING SUSPICIOUS!" Mr.

 McClain apparently did not like any person invading his private-space by approaching close to him and pleaded with the police as they

 apprehended him, "I'm just d(fferent. I'm just dijfi?rent, that's all. That's all I was doing. I'm so sony. I have no gun. I don't do that stz{ff. I
                                                                                                                                               11
 don't do anyj}ghting. Why were you attacking me? I don't do guns. I don't even kill flies. I don't eat meat. ... I am a vegetarian ...             Within a

 matter of a mhmte, the police-officers had Mr. McClain pinned-down to the ground, causing Mr. McClain to even vomit, most likely due to

 extreme-fear and/or and/or extreme-stress and/or inability to breathe properly. One of the police-officers, even acted angrily demonstrating

 substantial racial-animus towards Mr. McClain vomiting, ordering him not to vomit on the police. The police-officers would end up calling in

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Aurora Fire Rescue paramedics, at least two of whom, ended up injecting Mr. McClain with what they all surely knew (especially due to Mr.

McClain's weight) to be a fatal dose of ketamine. The one striking similarity that the plaintiff shares with Mr. McClain is Mr. McClain's

desperate admission that he was "differenl" and an "in/rover!" and a "vegelarian" - that he felt violated when others invaded into his private-

space. It would appear to the plaintiff that the real ''crime" that both the plaintiff and Mr. McClain committed was not any actual violation of

the law, but rather, the "crime" of being "d([ferenl", the "crime" of being "eccenlric", the "crime" of being "inlroverled", the "crime" of being

a "vegetarian", and the "crime" of being a non-conforming person-of-color - at least in the plaintift's case, living within a White neighborhood.

Exclusively in the plaintift's case, the worst and unforgivable "crime" that the plaintiff ever committed was the plaintift's "audacity" to report

racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses committed against the plaintiff by far-right-wing-extremist,

racketeer co-defendants (JSP &KAP],(RSR], and for recording extremely-incriminating information about [WCLE] (and some of its most

abusive employees/officials). It should also be noted that most (if not all) totalitarian/Orwellian and/or far-right-wing-extremist and/or fascist

governments criminalize truly-innocent characteristics - like being "different", being "eccentric", being "unusual", being "introverted", being an

"educated intellectual", being an "aclivisl", being "non-co,?formanl", being [LGBTQIA+], being a person-of-color, etc. - and that no truly-

free-society criminalizes those truly-innocent characteristics. Again, while the plaintiff did not (yet) end up being killed by any of the

defendants, the plaintiff's suffering is even more extreme in at least two crucial aspects:



® In the case of Mr. McClain, Mr. McC lain was walking home on a public sidewalk which was located some distance away from his home,
whereas, the plaintiff's rights have been viciously, and on numerous occasions, egregiously violated by the defendants while the plaintiff was

within the confines of the plaintift's own private-property - in many cases, while the plaintiff was within the comfort of [HOUSE] - the most

sacred of private space that is even protected by both the "castle-doctrine" and "stand-your-ground" - within one's own private sanctuary.

@ The plaintiff has suffered over a decade of (non-lethal) hate-crin1es/civil-rights-violations/racketeering-acts/abuses by the defendants
whereas, to the best of the plaintiff's knowledge, Mr. McClain suffered one horrific, lethal incident from the predators that ended his life.




 1684
 (UNITED STATES V. TRAVIS MCMICHAEL, GREGORY MCMICHAEL, AND WILLAM "RODDIE" BRYAN):

 Both the brutal murder of Ahmaud Arbery at the hands offmmer-law-enforcement White-Supremacists Travis McMichael and Grego1y

 McMichael, and ~ Glynn-County-Law-Enforcement ►'s ([GCLE]'s) subsequent cover-up of this egregious hate-crime are, at least in some

 aspects, eerily similar to the hate-crimes/civil-rights-violations/racketeering-acts/abuses suffered by plaintiff at the hands of the defendants.

 While Mr. Arbe1y was lying on the street, unconscious and bleeding-to-death, many White (GCLE] police-officers are observed on their own

 body-worn-camera-recordings consoling Mr. Arbery's killers, treating the killers as if the killers were the victims of Mr. Arbery. Despite of the

 fact that the (GCLE] police had full access to the cell-phone-video of the hate-crime recorded by co-conspirator William Bryan even on the

 day of the murder, not only were the killers not arrested and not held-in-jail, but (GCLE] police fraudulently accepted the killer's self-defense

 claims on brazenly-racist grounds. While Mr. Arbe1y's mother repeatedly demanded more information and justice for her son's death - (GCLE]

 (including the [GCDA]) deliberately conspired and acted (for several months) to deprive the Arbety family of justice for their family member's

 death. It was only after this cell-phone-video was released onto social-media and public outcry became unstoppable that [GCLE] was forced to

 react, by no choice of their own, to arrest and prosecute the perpetrators of this vicious hate-crime. Thus, even with this cell-phone-video, the

 Arbery family, people-of-color and activists had to fight tooth-and-nail to ensure that both the racist criminals and some of those within

 [GCLE] (including the [GCDA] Jackie Johnson) that aided the criminals in the cover-up were brought to justice. It is obvious to any reasonable
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person that if there was no cell-phone-video, not only would there have been no justice, but rather, the racist criminals would have been
paraded with the same racist fraud: that these racist criminal'i were the "heroes" that were '~rnving their White-neighborhood" from the Black-
male that was committing the real "crime" - by entering into ''their" (exclusive-and-pure) White neighborhood. Marcus Arbery, the father of
Ahmaud Arbery, has made the allegation even on national television, that the African-American community in Glynn County has been suffering

the racism of the (GCLE] for a long time. Despite the fact that the plaintiff has suffered the many hate-crimes/civil-rights-

violations/racketeering-acts/abuses from racketeer co-defendants (JSP&KAP],[RSR] (and former neighbor (JJB]), as substantially documented

in this lawsuit, and despite the fact that the plaintiff is significantly smaller in physical-size than [JSP],[KAP],[RSR],[JJB] (with the plaintiff

being less than half the physical-size of defendants (JSP],[RSR]), [WCLE] has fraudulently conspired and acted with defendants [JSP&KAP],

[RSR] to portray defendants [JSP&KAP],[RSR] as victims of the plaintiff• on brazenly-racist grounds· purely under the fraudulent pretext

that the plaintiff did not maintain the plaintiffs private-property according their (hypocritically-enforced) White-American standards. For over

l O years and at every occasion when the plaintiff has reported hate-crimes/civil-rights-violations/racketeering-acts/abuses suffered by the

plaintiff at the hands of [JSP&KAP],[RSR], initial-neighbor (JJB], and some members of [WCLE], [WCLE] has not only conspired and acted

to cover-up these hate-crimes/civil-rights-violations/racketeering-acts/abuses, but even more egregiously, [WCLE] has conspired and acted with

co-conspirators [JSP&KAP],[RSR] to blackmail, defraud, humiliate and retaliate-against the plaintiff, in-order-to silence the plaintiff and in-

order-to punish the plaintiff for the plaintiffs "audacity" to gather all of this highly incriminating evidence against co-conspirators [JSP&KAP],

[RSR] and [WCLE]. Therefore, while nothing in more unjust than the violent murder of innocent person(s), the huge amount of injustice that

the plaintiff has suffered from the defendants (over the course ofover 10 years) is even more extreme compared to [GCLE]'s deprivation of

the Arbe1y family's rights in at least 3 crucial aspects:



 ® According to the plaintiffs limited knowledge, while (GCLE] did clearly obstruct the Arbery family from justice, it does not appear to the
 plaintiff that [GCLE] blackmailed, retaliated-against or publicly-humiliated the Arbe1y family in-order-to silence the Arbe1y family;

 ® According to the plaintiffs limited knowledge, the Arbery family suffered one extreme act of injustice and the aftermath coverup of that
 injustice (spanning several months), whereas the plaintiff has suffered over 10 years ofhate-crimes/civil-rights-violations/racketeering-

 acts/abuses from the defendants that aggregately conspired and acted to deprive the plaintiff of the plaintiffs rights.

 © In the case of Mr. Arbe1y, Mr. Arbery was jogging on public streets that were located some distance away from his home when he was
 viciously hunted down by the racist predators that ended his life, whereas, the plaintiffs rights have been viciously, and on countless occasions,
 egregiously violated by the defendants while the plaintiff was within the confmes of the plaintiff's own private-property - in many cases, while

 the plaintiff was within the comfort of the plaintiffs own [HOUSE] - the most sacred of private space that is even protected by the "cast/e-

 doctrine" and 1~\·ta11d-your-ground11 - within one's own private-castle (or private-sanctuary).



 i685
 (ARIWNA V. FRANK SILVA ROQUE}:
 Balbir Singh Sodhi was an Arizona business-owner that was part of a North-Indian-immigrant family, of the Sikh religion. Mr. Sodhi, a devout

 member of the Sikh religion, would wear the Sikh turban in accordance with his family's Sikh faith. Because of his appearance as a middle-

 eastern Muslim, Mr. Sodhi, was bruttally gunned-down by White-Supremacist Frank Silva Roque on or about the date of {2001-09-15} • a

 few days after the {2001-09-11} attacks. Mr. Roque also shot his gun at a Lebanese-American clerk from his truck but missed his target. Mr.

 Roque then drove to his former residence, which was purchased by an Afghan (Muslim) immigrant, and fired multiple rounds from his gun at
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that house. At that moment in tin1e, these racially-motivated and religiously-motivated brutal hate-crimes following the {2001-09-11} attacks

were just one the many high-profile hate-crimes targeted at Muslim immigrants and those that look like Muslim immigrants. The jury in the trial

of «ARIZONA V. ROQUE» convicted Mr. Roque of first-degree murder and sentenced Mr. Roque to death, which, according to at least some

member(s) of the Sodhi family, was not the penalty that the Sodhi family was seeking, since those member(s) of the Sodhi family said that

thefr Sikh religion is opposed to the death-penalty. Right before the bmtal-murder of Mr. Sodhi, Mr. Sodhi was discussing with his family

whether he should go to work following the {2001-09-11) attacks, due to the substantial anti-Muslim (Jslamophobic) animus that had swept

across the United States, especially at that pmticular moment in time, but aiso the aftermath. At least some member(s) of the Sodhi family

warned Mr. Sodhi against going to work, but Mr. Sodhi insisted to go to work. Mr. Sodhi's decision to go to work, which he had every right to

do, ultimately resulted in his death. The plaintiff has a middle-eastern-Muslim appearance similar to Mr. Sodhi - long-uncut-hair-and-beard,

strong middle-eastern/Indian accent - although originating from South-India, the plaintiff has a much darker skin color than Mr. Sodhi. The

plaintiff was similarly warned by those closest to the plaintiff not to move into a White neighborhood lacking in racial-diversity, especially due

to the plaintiffs racial-profile and the plaintiffs political-proftle. Both the plaintiff and the plaintiffs senior-citizen [PARENTS] were attracted

to purchasing property further away from the big-city ([CoA]) due to lower property prices, not realizing all of the other tmh1tended negative

consequences that might follow from that naive decision. Even during the plaintiffs initial months living within [788KLLTX7864 l] in early-

(2009}, the plaintiff gave all of the plaintiffs White-American neighbors the benefit-of-the-doubt and placed blind-trust in all of the plaintiffs

neighbors. However, as even the initial incidents in {2009}, as substantially documented in this lawsuit reveal, this trust was viciously broken in
a ve1y-sh01t amount of tune, and it became apparent to the plah1tiff that the plah1tiff was living in a hostile neighborhood, grossly outnumbered

by the dominant-White-Caucasian-racial-majority of the neighborhood, in which some of its most predatory residents with extreme racial
animus - [JSP&K.AP],[RSR],[JJB] in particular - and the predatory institutions that exclusively-represent them - the then-[HOA] under Board

members [SPOA-P-BC],[SPOA-VP-AH] and [WCLE] - were all hellbent on predatorily targeth1g the plaintiff, acth1g under-color-of-law, ush1g

the property-maintenance-laws, of all things, as their favorite tool of predation against the plaintiff. Tlms, while no crime against a victim is
worse than such victim that suffers the hate-crime ofbmtal-murder, the plaintiff did suffer many-dozen counts of, uncharged and
 unprosecuted, hate-crhnes/civil-rights-violations/racketeering-acts/abuses aggregately committed by the defendants against the plaintiff during

 the years {2009} through {2022} - almost all, if not all, were the dfrect result of extreme-racial-animus (and/or homophobic-anhnus) against

 the plaintiff. On several occasions during which the plaintiff has resided in this [Summerlyn] neighborhood, the plah1tiff has been similarly

 advised/warned by those closest to the plaintiff, to move out of the this White neighborhood - for no other reason but to escape that extreme-

 racial-animus (and/or homophobic-animus) of the defendants. The plaintiff has always responded that if the plaintiff gave-in-to the predatory

 actions and demands of the defendants, then the plaintiff would be allowing such predators to achieve their goals of creating/maintaining a

 pure-White-neighborhood with residents that strictly and exclusively live-and-maintain-private-property-accordh1g-to their (hypocritically-

 enforced) White-American standards. In other words, the plaintiff responded that if the plaintiff gave-hHo to the predatmy actions and

 demands of the defendants, then the plah1tiffwould be doing an extreme injustice not only to the plaintiff, but to the overall goals of the civil-

 rights-movements, and in particular - to all those persons-of-color sin1ilarly-situated as the plaintiff that could just-as-easily be predatorily
 targeted due to extreme-racial-animus (and/or homophobic-anhnus). There Ls an expression voiced by many peoples (including Americans) that
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 are targeted by acts of terrorism. The plaintiff loosely paraphrases the expression as follows: Iflve change the way we live in response to acts

 of terrorism, then the terrorists will have ·won, because the terrorists will have achieved their goals o.f changing our lifestyle, which is what

 the terrorists sought to do. "The plaintiff follows the same logic: If the plaintiff caves-into or submits-to White-Supremacist tyranny, terror (or

 any other abusive acts of White-Supremacy) - for example, by moving out of an ovmwhehning White neighborhood in response to such White-

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Supremacist tyranny, terror (or any other abusive acts of White-Supremacy) - then the White-Supremacists will have won, and the plaintiff will

have done an extreme injustice not only to the plaintiff, but to all those people-of-color and social-justice-activists who have fought many

centuries to secure the rights that people-of-color have today.



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Unlawful an·est of Professor Henry Louis Gates, Jr.:
Dr. Gates is a highly-esteemed and internationally-renowned African-American Harvard University professor who was, during an infamous

incident in {2009), arrested at his own property because local-law-enforcement falsely accused him of attempting to burglarize into a house

that they alleged that he was not the rightful owner of. The plaintiffs suffering is even more extreme in at least two crucial aspects:



® In the case of Professor Gates, local-law-enforcement - for obviously racist reasons - did not believe Dr. Gates to be the lawful owner of
the house that he was trying to enter into, and thus arrested him, whereas in most of the incidents documented in this lawsuit - and with a few

major exceptions - [WCLE] did know fully-well that the plaintiff was the lawful resident and owner of the plaintiffs property, but despite of

this knowledge, deliberately and maliciously chose to violate the plaintiffs rights.

@The plaintiff has suffered over a decade of abuse by the primary defendants whereas, to the best of the plaintiff's knowledge, Dr. Gates

suffered one abusive and humiliating incident from the predators that falsely arrested him.



 '1(687
 (FLORIDA V. COUR1NEYCLENNEY):
 As some attorneys have pointed out, in cases of White-On-Black/White-On-Brown crimes, the White perpetrators are sometimes able to get

 away with the crimes that they committed against their Black/Brown victin1s because law-enforcement is either much more likely to believe the

 White perpetrators rather than the Black/Brown victims or much more likely to ignore the Black/Brown victims because of their perception that

 Black/Brown people have ve,y-little power within society - in either case, resulting from well-known and well-documented racial biases of

 many law-enforcement departments across the United States - especially law-enforcement departments in areas of the United States lacking in

 racial diversity. As some attorneys have pointed out, due to these well-known and well-documented racial biases, even when there are

 competing domestic-violence allegations regarding an interracial couple, law-enforcement arc much more likely to side-with the White woman

 rather than the Black/Brown man. As some attorneys have pointed out, due to this reason, many Black/Brown domestic-violence victin1S of

 White perpetrators do not even bother to contact the police because they know that they will not only, not be taken-seriously by law-

 enforcement, but far-more importantly, suffer further injustice by such law-enforcement. See for example, the recent high-profile case of

 «FLORIDA V. CLENNEY» which involves the alleged stabbing death of a Black man, Christian Tobechukwu Obumseli, where both the

 police and prosecutors were initially (for several months - approximately 128 days) unwilling to charge Ms. Clenney, a ve,y-wealthy White

 woman, until after the family of Mr. Obumseli applied enough pressure onto them to act. The plaintiff has been well aware of these racial

 biases that exist within law-enforcement, but despite of this knowledge, did report, for over a decade, to [WCLE] many of the crimes

 committed against the plaintiff by [JSP&KAP],[RSR],[JJB] and even some members of [WCLE]. Again, while the plaintiff did not suffer

 death, the plaintiffs case is still more egregious than the unjust death and delayed justice of «FLORIDA V. CLENNEY» for at least two crucial

 reasons:
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® It is not llue that the [WCLE] did not believe the plaintiff, but rather, [WCLE] knew the plaintiff to be speaking the truth regarding the
crin1es committed against the plaintiff, even from the initial incidents dating back to {2011}, and despite of this knowledge, [WCLE]

maliciously conspired-with and acted-with the perpetrators of such crimes - primarily [JSP&KAP],[RSR] (and initially [JJB]) - to aggregately

commit many of the hate-crimes/civil-rights-violations/racketeering-acts/abuses substantially documented in this lawsuit - as retaliation against

the plaintiff for the plaintiffs "audacity" to gather such highly incriminating evidence against [WCLE] and for the plaintiffs "audacity" to

report such hate-crimes/civil-rights-violations/racketeering-acts/abuses committed by White-American perpetrators.

® To this date. not even one of the many dozen counts of racially-motivated hate-crimes/civil-rights-violations/racketeering-acts committed
against the plaintiff by the defendants have even been charged, let alone prosecuted, again, due to the racial profile of the plaintiff, and the

racial proftle of the defendants.



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(JOE PETITO & NICHOLE SCHMIDT V. CHRISTOPHER & ROBERTA LAUNDRIE, STEVEN BERTOLINO):

The huge amount of national attention, law-enforcement resources and manhours dedictated to the national high-profile domestic-violence,

missing-person and eventual murder case involving Gabrielle Petito, also brought some of the national focus to the exh·emely dispropm1ionate

amount of national attention and resources provided to just one missing-person - who happened, out of no coincidence, to be

White/Caucasian/American, blonde and blue-eyed - commonly referred to as the "Missing White Woman Syndrome". While so much of the

national mainstream-media's attention and the federal-state-and-local law-enforcement's resources was directed towards this one missing-

person, a significant fraction of people who were genuinely concerned about justice in the United States began to loudly question such

 disproportionate amount of attention and resources that were dedicated to this one missing-person, when there were countless missing persons-

 of-color who never got and continue not-to-get any attention by the national mainstream-media and all-levels of law-enforcement - with some

 of such people accusing both the mainstream-media and/or law-enforcement of racism and/or racial-discrimination (which was als;o reported by

 some of such mainstream-media). If such allegations of racism and/or racial-discrimination are valid, then the plaintiffs allegations of the

 defendants' racist treatment of the plaintiff have exponentially-more merit - for all of the reasons that are abundantly-documented in this

 lawsuit. While the mainstream-media's lack-of-attention and law-enforcement's lack-of-resources dedicated towards missing persons-of-color

 are deliberate acts of omission - instead, the defendants' decade of racial-oppression and racketeering-activity against the plaintiff were clearly

 predatory acts of commission - which, in and of itself, caused severe, iffeparable harm against the plaintiff. Furthermore, such decade of

 prcdato1y acts were ultimately in furtherance of the defendants' conupt-malicious-predatory-and-retaliat01y conspiracy and scheme to defraud

 the plaintiff out of both the plaintiffs money and the plaintiffs private-property within one-or-more such White neighborhood(s)- again, one of

 the most egregious acts of commission.




 ~689
 (SOUTH CAROLINA V. RICHARD ALEXANDER MURDAUGH); (UNITED STATES V. RICHARD ALEXANDER

 MURDAUGH) ; (SOUTH CAROLINA V. CORY HOWERTON FLEMING) ; (UNITED STATES V. CORY HOWERTON

 FLEMING):
 Richard Alexander Murdaugh was one of South Carolina Low-Counlly's most powerful lawyers, with Mr. Murdaugh being born into a family

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of ve1y-powerful lawyers and judges - dating back over a centmy. Mr. Murdaugh was one of the most highly paid lawyers in that area of

South Carolina with Mr. Murdaugh earning substantial amounts of money in legitimate work. However, despite Mr. Murdaugh earning

substantial amounts of money in legitimate work, and despite Mr. Murdaugh owning thousands of acres of property, for a period of

approximately ten years, Mr. Murdaugh also stole large sums of money from clients and/or the law-firm that bore the Murdaugh family name.

It was only after his son Paul's boating accident resulting in the death of at least one person, that Mr. Murdaugh's many crimes begin to
become unraveled, culminating in the murders of his wife and son Paul - the double-murder trial in which Mr. Murdaugh was convicted.

Despite «SOUTH CAROLINA V. MURDAUGH» being a double-murder tria~ much of such murder trial was focused upon Mr. Murdaugh's

alleged financial crimes as such alleged fmancial crimes were perceived as the motive for Mr. Murdaugh's alleged murder crimes. To most

reasonable observers, the most shocking aspect about Mr. Murdaugh's financial crimes was that he was able to get away with committing those

serious fmancial crimes for approximately ten years, despite of the fact that victims of those serious financial crimes were fully-aware that Mr.

Murdaugh was the perpetrator of such crimes. When the average person steals even a relatively small amount of money and/or property - for

example, by shoplifting - such person is almost-always immediately apprehended and the full weight of the law hammers down upoi1 them. So,

the only reasonable explanation that explains how Mr. Murdaugh was able to steal such large amounts of money, for such a large amount of

time, from victims who knew that he was the perpetrator, is that Mr. Murdaugh was an extremely-powerful and wealthy White-American

attorney from an extremely-powerful and wealthy family of lawyers and judges - that, because of his enonnous wealth and power, all of his

victims could not, figuratively-speaking, touch him. It was only after his son Paul's boating accident, resulting in a death, did Mr. Murdaugh's

"house ofcards" become unraveled and collapsed. Prior to the collapse of the Murdaugh dynasty, the Murdaugh family wielded extreme power

and control over the Justice-System in that area of South Carolina - even detennining who would be prosecuted and who would not be

prosecuted. A close attorney associate of Mr. Murdaugh, Mr. Fleming also pleaded guilty to all state and federal charges stemming from his

conspiracy (with Mr. Murdaugh) to steal such large sums of money from clients. One-or-more attorneys has commented on national-television

that, if Mr. Murdaugh had never been charged and convicted for the aforementioned double-murder, Mr. Fleming would have never been

charged and prosecuted for his crimes. The purpose of the plaintiffs lawsuit is, thus, to uncover and unrave l over a decade of racial-oppression

and pattern-of-racketeering-activity that the plaintiff has suffered from the defendants, by virtue of the defendants extreme power, and extreme

 abuse of such power, over the powerless, lowly plaintiff ( & ) .



 1690
 (UTAH V. KOURI RICHINS):
 Kouri Richins was a real-estate agent that engaged in the extremely-risky business of 'Jlipping" very expensive properties. She was maITied to

 a man, Eric, who built a ve1y successful and profitable masonry business - a man that was, thus, the real bread-winner for the family.

 According to the allegations made by the State of Utah, Kouri became increasingly angiy that Eric would not continue to fund her failed,

 extremely-risky and extremely-expensive enterprise. Eric began to lose tmst in Kouri due to one-or-more occasions in which he suffered food-

 poisoning, all the while, suspecting that his wife was ttying to poison him to death - even warning at least some of his other adult family

 members of these suspicions. Eric began shifting the assets of his business so that such assets were out of Kouri's reach, and also shifted the

 beneficiaries of his business and/or estate and/or life-insurance-policies to his siblings and/or children. According to the allegations made by the

 State of Utah, Kouri was eventually successful in obtaining, fentanyL an extremely letJrnl drug, to poison Eric to death, but in an achmlly-failed

 attempt to profit from his business assets and/or estate assets and/or life-insurance-policies. Kouri was even alleged to having physically

 assaulted Eric's sister, Amy, after Amy showed up at a party at the property that Kouri was hosting one or two days after her husband Eric's
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death, even though Amy was then the rightful owner of such property (due to Eric's death). Shortly thereafter, Kouri brazenly filed a lawsuit
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against one-or-more of the Richins family and/or estate, claiming that Kouri was the rightful beneficiary of Eric s business assets and/or estate

assets and/or life-insurance-policies. Approximately a year after the death of Eric, Kouri publishes a children's book, fraudulently promoting it

as a tool to help children grieve the loss ofparent(s). Kouri then appears on one-or-more local television programs promoting her new book 1

but also fraudulently pretending to be a victim of tragedy - her husband Eric's death. All of Eric's other family members had to suffer over a

year of Kouri's outrageous conduct as she painted herself to the entire world as the victim, when, as the State of Utah now alleges, she actually

murdered her husband for profit. Assuming that all of the allegations and overwhehningly incriminating evidence gathered by State of Utah

against Kouri is hue, without in any way downplaying Kouri's shockingly brazen behavior/actions that resulted in the death of her husband

Eric, at least some of this shocking brazenness is similar to what the plaintiff has suffered, for over a decade, from the defendants. For over a

decade, the plaintiff has recorded what the plaintiff considers to be a 11mountain 11 of highly incriminating evidence against the defendants -

including the agencies of [WCLE] named in this lawsuit. At not one point in time during that over decade-long period of time was the plaintiff

ever provided an opportunity to present this "mountain" of highly incriminating evidence, showing what clearly appears to be the defendants'

brazen racketeering-enterprise against the plaintiff - a racketeering-enterprise that engaged in a seemingly endless stream of racial-oppression

and racketeering-activity against the plaintiff. During that same period of time, one-or-more of the defendants (along with their co-conspirators)

publicly paraded themselves as the higl1-IQ, vigilante-rightdoers, all the while, racistly painting the plaintiff as the low-IQ, subhuman-

wrongdoer. The plaintiff has had to suffer througl1 over a decade of mostly retaliato1y (thus felonious) hate-crimes, civil-rigl1ts-violations and/or

racketeering-acts from the defendants, all the while, the defendants (and one-or-more of the defendants' co-conspirators) were fraudulently (in-

order-to retaliate and obstruct-justice), accusing the plaintiff, an immigrant-of-color/indigenous-person, of failing to maintain the plaintiffs

private-prope11y according to their (hypocritically-enforced) White-American standards - which even by in the defendants' twisted and

 fraudulent logic was, at best, an alleged civil breach-of-contract (only if the enforcement was proven to be non-capricious, non-arbitrary and

 non-discriminatory), and at worst, an alleged Class-C-Misdemeanor-Public-Nuisance (only if the defendants could prove the plaintiffs "Mens

 rea" along with all the elements of the so-called "crime'). The plaintiff does not have sufficient words to describe the extreme and ever-
 increasing mental anguish of the plaintiff having to suffer such ever-escalath1g injustice that was directly caused by the defendants' decade-long

 obstructive-and-retaliatory, blackmailing-and-defrauding racketeering-enterprise against the plaintiff.



 CJ[691
 (NEW YORK V. HARVEY WEINSTEIN} ; (CALIFORNIA V. HARVEY WEINSTEIN) ; (CALIFORNIA V. DANIEL PETER

 MASTERSON)
 The relatively-recent high-profile trials of both Mr. Weinstein and Mr. Masterson revealed to the world, in much greater detail, that both Mr.

 Weinstein and Mr. Masterson were allegedly protected, for a substantial period of time, from facing justice for the crimes that they committed.

 Mr. Weinstein, who once had an alleged net-worth of as much as approximately $300 million, is alleged to have been protected by "a powerful

 indus/Jy" - the Hollywood industry - in which Mr. Weinstein played the role of a top Hollywood boss. Due to such protection, Mr. Weinstein

 was able to continue the same (or similar) pattem of his crimes with many more victims - for a substantially longer period of time - than any

 other criminal (who does not have the power and wealth of Mr. Weinstein) would have been allowed to get away with. Mr. Masterson, a once

 higl1ly-regarded Hollywood actor who once had an alleged net-worth of as much as approximately $25 million, is alleged to have been

 protected by the Church of Scientology, which for over a decade, allegedly played a ve1y powerful role in shielding Mr. Masterson from facing

 justice for serious rape allegations from Mr. Masterson1 s rape victims. At Mr. Mastcrson's sentencing hearing, one-or-more of Mr. Masterson's
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rape vicitms expressed their extreme anguish that they were denied justice for almost two decades - having to live with that extreme pain-and-

suffering for that extraordinarily-long amount of time. Leah Remini, an actress engaged in a civil lawsuit against the Church of Scientology,

stated, in part, about the Church of Scientology,

     "This is just one of many cases that Scientology has been involved in - in attempting to obstruct justice - and Mike could also speak to

     that, but it's the absolute policy of Scientology. And um, I think they should be held accountable, which is some ofthe basis of- part of

     the basis of111y lawsuit, so that people can comefo1ward, victims can come forward. People are allowed to report crimes concerning

     Scientologists, Sea-Org members and as well as civilian scientologists - people should not be in fear of retaliation from a multi-billio11-

     dollar organization calling itself a church, for fear of what they do to people - when they do. And that was, ve1J1 much came out in this

     trial and it is not the first ti111e - Scientology has a histmy of doing this as part of their policy - it's part oftheir practices ... and so, it's

     not just about me. People have a right. We live here in America. We have rights. We should be able to report crimes - we should be able

     to report stories - do welfare checks without fear that a multi-billio11-dollar organization is going to use all o.f its resources to destroy

     yourfU'e."
While both the Hollywood-Industry and the Church-of-Scientology are not government institutions, it brings immense pain and mental-anguish

(resulting in permanent psychological trauma) to the plaintiff for the plaintiff to reveal to this Comt that private-citizen racketeer co-defendants

[JSP&KAP],[RSR] were protected for the decade of racial-oppression and racketeering-activity that they committed against the plaintiff by a

municipal-corporation government - defendant [WC] - and specifically such municipal-corporation's law-enforcement agencies - [WCLE] -

which acted in-conspiracy-with and in-concert-with such racketeers, in furtherance of their corrupt-malicious-predatory-and-retaliatory

conspiracy against the plaintiff, not only to obstruct-justice against the plaintiff, and not only to inflict immense amount of irreparable harm

onto the plaintiff, but more importantly, to (fully) defraud the plaintiff out of the plaintiff's money and private-property-ownership within one-

 or-more White neighborhood(s). Thus, in the plaintiff's particular case, the 11111ulti-billion-dollar organization" that Ms. Remini refers to is not

 a private-organization Church, but rather a public-municipal-corporation-government - namely, defendant [WC], and specifically defendant

 [WC]'s law-enforcement-agencies, [WCLE]. Unlike Mr. Masterson who was allegedly protected by the Church-of-Scientology due to both Mr.

 Masterson's wealth and Mr. Masterson's high-ranking-membership-status in such Church, both private-citizen racketeer co-defendants

 [JSP &KAP] and [RSR] - acting in-concert-with [WCLE] in furtherance of their malicious-and-predatory conspriracy against the plaintiff -

 were protected by [WCLE] by virtue of their dominant racial-profile - White/Caucasian/American/Cluistian - from the decade of racial-

 oppression and racketeering-activity that they committed against a 11/ow-IQ", powerless immigrant-of-color/indigenous-person, namely the

 plaintiff ( e ) .



 1692
 {2023} Tennessee House of Representatives expulsions of Black lawmakers:
 On or about the date of {2023-04-06}, the overwhelmingly Republican-Party dominated Tennessee House of Representatives voted on

 resolutions to expel three of its Democratic-Party lawmakers, two of whom were Black, one of whom was White - because these lawmakers

 were alleged to have engaged in ''protests for gun reform" on the House floor ( • ) . The votes resulted in only the two Black lawmakers being

 expelled, while one of these Black lawmakers expressed indignation that some of the real crimes committed by past White-American Tennessee

 lawmakers did not result in such expulsion. The plaintiff asserts that this type of racial oppression can only happen when the people-in-power -

 in this particular case, the Tennessee lawmakers - think that the world is not watching the injustice that such people-in-power are perpetrating.


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It was only after this incident became a national high-profile story did Tennessee lawmakers rightfully face the well-deserved ridicule and

outrage of the majority of the American public. The plaintiffasse11s that most successful (unrighted) injustice remains successful (and

unrighted) because such successful injustice happens "in the dark": "Power remains strong when it remains in the dark; exposed to the
sunlight, it begins to evaporate." A primary purpose of the plaintift's lawsuit is, thus, to expose into sunlight, the defendants decade ofracial-

oppression and racketeering-activity against the plaintiff, with ''.rnnlight being the best disinfectant."



«_[693
{TEXAS V. DANIEL PERRY): Texas Governor's intentions to pardon convicted murderer and far-right-wing-extremist Daniel

Perry:
Former United States Army Sergeant Daniel Perry was accused of willfully attending a [BLM] protest in Austin, and when confronted by a

[BLM] protester, Garrett Foster, Mr. Perry fired multiple bullets from his gun towards Mr. Foster, thus killing Mr. Foster. For these actions,

Mr. Perry was convicted by a Texas jury of the crime of murder. Prior to these actions, Mr. Perry had posted onto social-media, what even
local media organizations have described as racist and/or far-right-wing-extremist messages about [BLM], with Mr. Peny even referring to
[BLM] protesters using the racial-slur, "monkeys". Despite of Mr. Perry's conviction on perhaps one of the worst felony crimes that a person
can commit in the State-of-Texas, and despite of passionate victim-impact statements from the victim's family in support of such conviction,
the Governor of Texas has announced his intentions to pardon Mr. Perry - a move that one-or-more seasoned criminal-defense/civil-rights
attorneys have deemed to be an unprecedented overriding of "rule qf law", and a move that a juror on such case described as a "travesty". In a
public statement, the Texas Governor proclaimed, "Texas has one q.f the strongest 'Stand Your Ground' laws qf self-d~fense that cannot be
nul/Uied by ajwy or a progressive District Attorney." It is under these oppressive conditions for both rule-of-law and civil-rights within the

 State-of-Texas, and the clear favoritism towards far-right-wing-extremism shown by the State-of-Texas, that the plaintiff has filed this civil-

rights lawsuit in Federal District Court. The plaintiff asserts that despite of the fact that the plaintiff has suffered not only racial-oppression (and

racketeering-activity), but also crimes of far-right-wing-extremism by the defendants (including local government defendant [WC]), the plaintiff

 cannot turn even to the State-of-Texas (for example, the Texas-Rangers) for any justice for such racially-motivated crimes (including

 racketeering-activity) committed against the plaintiff - due to the State-of-Texas's clear intentions and/or other indications of where the State-
 of-Texas stands on these particular issues. Thus, by filing this federal lawsuit, the plaintiff can only tum to federal authorities, in the hopes that

 the plaintiff can seek justice from the only remaining system of justice known to the plaintiff - the United States Federal system of justice.



 «_[694
 {Summer-2020} social-justice-protests VERSUS {2021-01-06} Far-Right-Wing-Extremist violent insurrection:

 There have been multiple prominent examples in the recent decades that document how law-enforcement treats an ahnost-exclusivcly
 White/Caucasian/American group of violent far-right-wing-extremists in one manner, while treating a racially-diverse-group of non-violent
 social-justice activists in a radically different manner. The nationwide {Summer-2020} social-justice-protests versus the {2021-01-06} far-

 right-wing-extremist violent insurrection at the United States Capitol are simply a very-recent example of this truism. Here, the social-justice-
 protests were primarily done on public streets - where social-justice-activists have eve1y right to peacefully protest. But the response to such
 overwhelmingly peaceful social-justice-protests on public streets by local-law-enforcement, state-law-enforcement (and in at least some cases,
 even federal-law-enforcement) was absolutely vicious, especially, in the extremely heavy-handed use-of-force. By sharp contrast, there was

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not a sufficiently heavy response by law-enforcement to combat the huge group of far-right-wing-extremists that successfully infiltrated and

vandalized the United States Capitol, resulting in numerous deaths and a large amount of serious injuries. Furthermore, it is clear to any

reasonable observer that the federal prosecutorial response in the aftermath of the {2021-01-06} far-right-wing-extremists' violent insurrection

at the United States Capitol, was primarily driven by the huge pressures of the extreme, and fully-justified, public outrage that law-enforcement

!reals the aforementioned different racial and/or political groups in such a radically different manner. Even the extremely-successful,

professional-basketball head-coach, Doc Rivers, stated a rhetorical question on the minds of most (if not all) of those that are genuinely

interested in living in a racially-just world: "Could you imagine ... if those were all Black p eople storming the Capitol?" It is that sentiment

expressed by even an extremely-successful, professional-basketball head-coach that truly conveys the ve1y legitimate and fully-justified deep-

distrust that most people-of-color (including the plaintiff) have in institutions of power (including but not limited-to, the government).




91695
(WALLER V. BUTKOVICH): "The Greensboro Massacre":

A more distant example of how law-enforcement h·eats the aforementioned political groups "differently" includes the massacre of the

(Communist Workers Party) ("[CWP]") by the (Ku Klux Klan) ("[KKK]") and the (American Nazi Party) ("[ANP]") that left 5 people dead

and more than 12 injured on the date of {1979-11-03} in the ~City of Greensboro, North Carolinat . Among the dead/injured

[CWP] members were highly-educated (Duke University) graduate(s), multiple doctors and a (Harvard University) graduate who were

humbly working to organize mostly-Black textile workers to collectively (as a union) fight for their rights. The ~Greensboro Police

Department➔ , [GPD], had an informant within the [KKK]/(ANP] group who notified the [GPD] that these violent far-right-wing-exh·emist

groups were prepared for armed violence. It would appear from the sequence of events that unfolded that the [GPD] not only deliberately

allowed, but even encouraged/egged-on the violence that resulted in these deaths/injuries - while being deliberately absent at the scene of such

violence. A civil lawsuit in Federal Dish·ict Court filed by an b1stitute that represented members of the [CWP] resulted favorably for those

 petitioners. The ~City of Greensboro, North Carolina t has since issued a ''.~tatement of regret" and a formal apology for the

 incident. While the plaintiffs more-than-a-decade-long suffering at the hands of the defendants did not result in the plaintiffs death, the plaintiff

 suffering has been more egregious in a few crucial aspects:



 ® The plaintiff has suffered alone, the malicious and predatory actions of the defendants, AND
 @ [WCLE] actively and maliciously conspired with the defendants [JSP&KAP],[RSR] (and other co-conspirators) to violate the plaintiff's

 rights, AND
 © All of the defendants, including non-law-enforcement racketeer co-defendants [JSP&KAP),[RSR], acted not only in conspiracy with one-
 another, but even more egregiously, "under color of law", to maliciously and predatorily violate the plaintiff's rights, AND

 @ The plaintiff is a single immigrant-of-color/indigenous-person that has suffered some of the hate-crimes/civil-rights-violations/rncketeering-
 acts/abuses of White/Caucasian/Americans [JSP&KAP],[RSR] and majority-White angency of law-enforcement, [WCLE], although the

 plaintiffs senior-citizen [PARENTS] have also suffered a much smaller number of such hate-crimes/civil-rights-violations/racketeering-

 acts/abuses from defendants [JSP],[RSR].



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(CERVIN] ET AL V. STAPP ET AL):
The pending federal lawsuit filed in this Federal District Court involves the now infamous "highway co,?fi·ontation between a Biden bus and

Trump supporters" that "made national news in the final days of the heated 2020 presidential campaign. The incident involved at least one

minor collision a1_1d led to Texas Democrats canceling three scheduled campaign events" (source: ((The Texas Tribune)), "Texas "Trump

Train" highway skirmish lawsuit says police dismissed danger" ). The lawsuit alleges that the ~San Marcos Police Department ► ("

[SMPD]") not only refused to help the alleged victims in their moments of distTess, but with allegations that [SMPD] officers "privately

laughed ... joked about the victims and their distress.". Without in any way downplaying the alleged injustice suffered by the alleged victims

in that particular lawsuit, even if all of the allegations made in that lawsuit are true to the fullest extent, then the plaintiff still asserts that the

plaintiffs more-than-a-decade-long suffering at the hands of the defendants has been more egregious in at least a few crucial aspects:



® The plaintiff asserts that the defendant [WC]'s law-enforcement, [WCLE], did not merely deliberate-fail-to and/or refuse-to to fully-
investigate, charge and prosecute any of the racially-motivated hate-crimes/civil-rights-violations/racketeering-acts/abuses committed against the

plaintiff by [JSP&KAP],[RSR),[JJB) and some of its own employees - over the course of over 10 years - but far-more-egregiously, [WCLE)

actually conspired with those individuals - [JSP&KAP),[RSR),[JJB) (and their co-conspirators) - in the decade-long, obstrnctive-and-

retaliatory, blackmailing-and-defrauding racketeering-enterprise substantially documented in this lawsuit.



@ Additionally, the plaintiff is not aware of any racial-discrimination and/or racial-oppression component/claims of that particular lawsuit; on

the other hand, the plaintiff has primarily filed the plaintiff's lawsuit as a racial-discrimination, racial-oppression and anti-retaliation lawsuit

under the [FHA)/[TFHA).



Without in any way commenting on the merits of that particular lawsuit's claims, at least on surface level, the one similarity between the two

 lawsuits is that both lawsuits allege violation(s) of the [KKKA], with the plaintiff's lawsuit filing claims under both [KKKA]:§1983 and

 [KKKA):§1985.



 1697
 (UNITED STATES V. HENRY "ENRIQUE" TARRIO)
 The federal prosecution of the leader of the far-right-wing-extremist organization ''Proud Boys", Henry "Enrique" Tarrio, resulted in Mr. Tarrio

 not only being convicted of Seditious-Conspiracy, but being sentenced to longest sentence (yet) - 22 years - stemming from the {2021-01-06}

 United-States-Capitol-Insurrection. Mr. Tarrio's crin1inal actions leading up to that particular day have been captured on one-or-more videos,

 showing Mr. TatTio proudly and "zealously" acting, with supreme-confidence and extreme-recalcitrance, as one of the brazen leaders and/or

 planners of such {2021-01-06} United-States-Capitol-lnsurrection. While Mr. Tarrio showed extreme-pride, "zeal", supreme-confidence and

 extreme-recalcitrance in his actions leading up to that particular day, at his sentencing hearing, Mr. Tarrio asked for mercy of the Federal Court

 in which he was prosecuted, fully admitting that the {2021-01-06} United-States-Capitol-Insurrection was a "national embarrassment". Similar

 statements of regret were also issued by at least some other prosecuted participants of the {2021-01-06} United-States-Capitol-Insurrection -

 who acted with extreme-pride, "zeal", supreme-confidence and exh·eme-recalcitrance on that particular day. Thus, the plaintiff asserts that due

 to the extreme-pride, ''zeal", supreme-confidence and extreme-recalcitrance that most, if not ahnost-all, far-right-wing-extremists criminals have

 and operate-under, unless such far-right-wing-extremist criminals - more so than any other type of criminal - are made to answer for their
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criminal actions before this Court, they will not only never admit to their wrongdoing, but even worse, they will continue in such pattern of

criminally-abusive conduct without facing justice. The plaintiff asserts that the plaintiff has a moral and ethical duty and responsibility, as a

citizen-journalL<,t, to expose the extreme-pride, "zea/ 11, supreme-confidence and extreme-recalcitrance in which the defendants - especially,

racketeer co-defendants [JSP&KAP],[RSR] - engaged in their decade of racial-oppression and racketeering-activity against the plaintiff - in the

hopes that such exposure will:
® result in the defendants fmally facing justice for such decade of their criminally-abusive actions committed against the plaintiff.
® deter other far-right-wing-extremists from engdging in any type of oppression or racketeering-activity - especially in conspiracy with a
municipal-corporation government - against any other potential victims. However, as this lawsuit clearly documents, the aforementioned

recalcitrance is not limited to the far-right-wing-extremist racketeer co-defendants [JSP&KAPJ, and [RSRJ. [WCLE]'s decade ofracial-

oppression and pattern-of-racketeering-activity against the plaintiff has demonstrated the remarkable recalcitrance of [WCLEJ - that [WCLEJ

firmly believes, with supreme-confidence, that the anti-discrimination laws, the civil-rights laws, the abuse-of-office laws, and the anti-

racketeering-activity laws of both the United States and the State of Texas do not apply to them and they are free to violate such laws with
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absolute impunity- at the very least, in cases where the victim(s) of such violations are perceived to be 11powerless ', such as the plaintiff(~).

Thus, the plaintiff asserts that due to [WCLE]'s remarkable recalcitrance, unless [WCLEJ is made to answer for their decade of criminal and

othetwise unlawful conduct - in conspir'&cy with racketeer co-defendants [JSP&KAPJ,[RSR] - against the plaintiff before this Comt, they will

not only never admit to their wrongdoing, but even worse, they will continue in such pattern of criminally-abusive conduct without facing

justice.




                                                                    §XXVII

                  COMPARISON TO OTHER NOTEWORTHY LOCAL CASES


 ':1[698
 The case(s) cited in this section may not be as high-profile as those cited in the previous section, but the plaintiff asserts that they further

 indicate, and/or put-into-context, the sheer amount of exh·eme racial-oppression and racketeering-activity that the plaintiff has suffered from the

 defendants.



 ':1[699
 Widely reported {2023) County of Hays Public-Nuisance Complaint(s):
 As reported by one-or-more local news-media organizations, a private-property in the County of Hays (also located in the Westem-District-of-

 Texas) was the subject of one-or-more public-nuisance complaints, not against the property-owner(s) of such private-property, but rather,

 against one-or-more person(s) illegally squatting and illegally-dumping materials all over the propet1y, including even, but not limited to, the

 front-yard of such property. For many months, such property was constantly-and-continuously documented (including one-or-more video-
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recording(s)) to have some combination of garbage and/or refuse and/or rubbish and/or faeces and/or dead-animals (including dead-rats)

littered, over almost-all surfaces of the property - including the front-yard of such property - with complainant(s) reporting that person(s) could

not even walk through such property without stepping on such litter. A neighbor of such property worked with the prior property-owner of the

property to purchase the prope1ty and clean it up. To the best of the plaintiffs knowledge, no criminal charge of public-nuisance was filed

against the prior propetty-owner. The plaintiff asserts that this case truly highlights the decade of racial-oppression and racketeering-activity

committed by the defendants against the plaintiff. Since the approxitnate date of {2009-03-06), the plaintiff has always been, not merely the

lawful resident, but the actual propetty-owner of [788KLLTX7864 l ]. Similar to, but also more egregiously compared to, the aforedescribed

case in the County of Hays, the plaintiff had suffered direct acts of both - malicious vandalism against the plaintiffs private-property and

malicious intimidation/interference/disorderly-conduct/harassment/stalking/blackmail/etc. - by initial neighbor [JJB] and defendants

[JSP&KAP],[RSR] - but not only were these malicious conspirators and perpetrators not punished for any of their crimes aggregately

committed against the plaintiff, but more importantly, the government of[WC], specifically [WCLE], repeatedly conspired with most of these

very same perpetrators to viciously retaliate abrainst the plaintiff for the plaintiffs "audacity" to report and/or record most, if not all, of the

decade of the defendants' acts of racial-oppression and racketeeting-activity against the plaintiff. The defendants, thus, abusively weaponized
(both as a '~-;word and shield') the property-maintenance-laws as modern-day-Jin1-Crow against the plaintiff, either for tempora1y conditions

on the plaintiffs [BACKYARD] (not even visible from the sn·eet) or for the plaintiffs Constitutionally protected religious practices - specifically
                                                                                                                                     11
the plaintiff's Constitutionally-protected zero-waste lifestyle (including but not limited to ''no-mow" landscapes and/or 11no-dig gardening), the

plaintiffs Constitutionally-protected off-grid lifestyle - all lawfully practiced fully within the confines of the plaintiffs private-property, and

furthermore, secured by a 6-feet-tall-privacy-fenee - unlike the aforedescribed property in the County of Hays which, to the best of the

plaintiffs knowledge, did not have any such tall privacy-fence. Unlike the aforedescribed Public-Nuisance complaint(s) in the County of Hays

in which the prior property-owner was not charged, the defendants did knowingly conspire with each other, and did knowingly act with each

other - using a combination of one-or-more pieces of fraudulent and/or misleading testimony, one-or-more pieces of fabricated-evidence, and

one-or-more pieces of evidence obtained from numerous unconstitutional-and-unlawful searches/seizures of the plaintiff and plaintiffs property

- to criminally-charge the plaintiff for Class-C-Misdemeanor-Publie-Nuisance, in pure retaliation against the plaintiff for the plaintiffs

 "audacity" to repo11 and/or record most, if not al~ of the decade of the defendants' acts of racially-motivated (including felonious) hate-

crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff. Furthermore, the malicious conspirators and perpetrators against the

plaintiff - malicious White-American private-citizen defendants [RSR],[JSP&KAP], the plaintiffs initial neighbor [JJB], and the

overwhelmingly majority-White government of [WC], specifically the agencies of [WCLE] - all acting with extreme-racial-animus against the

 plaintiff, engaged in the aforedescribed pattern of numerous criminally-abusive acts of racial-oppression and racketeering-activity against the
 plaintiff, an itnmigrant-of-eolor/indigenous-person, precisely in-order-to deprive and defraud the plaintiffout of the plaintiffs right to private-

 property within the overwhehnh1gly White neighborhood in which [788KLLTX7864 l] is located, by driving the plah1tiff out of such White

 neigl1borhood, thus in violation of both the [FHA] and [RlaCOA]. The plaintiff asserts that the comparison between these two cases is,

 figuratively-speaking, '1night-and-day 11, and truly epitomizes modern-day-Jim-Crow and the extreme abuse of the criminal justice system - all

 done in order to obstruct-justice by protecth1g the perpetrators of the racially-motivated (including felonious) hate-critnes/civil-rights-

 violations/racketecring-acts/abuses (and conspiracy thereof) committed against the plaintiff.




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                                                                                         §XXVIII

             TEXAS PUBLIC NUISANCE LAW, (FLORIDA V. JARDINES),

                   (COLLINS V. VIRGINIA) AND THE FOURTH AMENDMENT

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        https : / /.,.,.,. law. cx,mall . edil/oonatit:utic,n/ fourth_
                                                                             IV. SM.rd\ and Seizum (1791)




 The Fourth A111e11d111e11/ originally e,iforced !he 11otio11 Iha/ "each 111011 's home is his castle", secure/mm 1111reaso11ab/e searches and seiwres ofproperly by the gavem111e111. //
 protects againsl arbillwy arresls, and is the basis of !he law regarding search \l'(//'IYl/1/s, slop-and-frisk, safely i11spectio11s, ll'irelaps, and olherforms ofs111veilla11ce, as well as

 being ce11/ra/ to many other cri111i11al law topics and to privacy fall'.


    "The right of the people lo be secure in !heir persons, houses, papei:,, and effec/s, agai11s/ 1111reaso11able searches and seiwres, shall 110/ he vio/aled. and 110 11•arra11/s .,hall issue,
 but upon pmba/J/e cause, supported by oath or <iffir111atio11, and particularly describing the place to be searched, and the persons or things to be seized "




i700
The relationship of the Texas Public-Nuisance Law to the Fourth Amendment of the United States Constitution prohibiting "unreasonable

searches and seizures" is revealed in [ Texas Heal th and Safety Code ,                                             Title 5 . Sanitation and Environmental

Quality•                Subtitle A . Sanitation,                          Chapter 343. Abatement of Public Nuisances•                                       Sec. 343 . 024 .

AUTHORITY TO ENTER PREMISES . ]                                    [THaSC-T5-SA-C343-SC-§343.024], but it is crucial to note that this section was authored/amended

in the years { 1989}/{ 1991}, and since that time, the [SCOTUS] has made some crucial rulings concerning the Fom1h Amendment. However,

even at the time that this law was authored back in { 1989} / { 1991}, the ~Texas Legislature ➔ ensured to word the law in careful manner

such that if the owner(s)/occupant(s)/manager(s)/appropriate-person(s) were not available to view the identification exhibited by the county

officiaVagent/employee, then the county officiaVagent/employee is not authorized to enter the "premises" - and premises is defmed as any part

of the private property including all of the outdoor areas. Since the plaintiff, in addition to owning, maintaining and residing-in residential-

property, also owns and maintains agricultural-private-prope11y (or "farm"), for the purposes of this lawsuit, it is also crucial to note that the

Texas Public-Nuisance law does not apply to "agricultural land":
    •    TelUl8 lw&lth and Suety Coda•            Title 5 . Sanitation and Envl.xor-,t:&l Quality•   Smtitle A. Smitatic,n•       Ow,pter ~3 . llba--.t of Public tt.d.aanoe8
    •    httpe: / /at:&tutes . capitol . taxu .gov/Doca/HS/hl:n\/HS . 343 . htm


    Sec. 343.002. DEFINITIONS.
    111 this chapter: ...


        (6) "Premises" 111ea11s all privately oll'ned property. iuc/uding vacant land or a building desigued or used/or residential, commercial, busine.~,. i11dnstrial, or religious
    p111poses. The 1e1111 i11ch,des a yard, ground, ,m/k, dri11e1my, fence, pore!,, sleps, or other st111c/ure appurlenant lo the proper(11• •••


    Sec. 343.011. PUBLIC NUISANCE.


    {a) T//i.1· sectio11 applies 011/y lo t//e 1111i11c01porated mm of a co1111/y. ...


    (d} This sectio11 does not apply to: ...
        (2) agricult11ral laud. ...



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(e) In Subsection (d), "agricultural land" means land that qualifies for Im appraisal under Subclwpter C or D, Chapter 23, Tm Code. ...


Sec. 343.024. A UTHOR1TY TO ENTER PREMJSES.


 (a) A county official, agent, or employee charged with the e11force111e11t of health, environmental, s<!fety, orfire laws may enter any premises in the 1111i11c01porated area of the

county at a reasonable time to i11.1pecf, investigate, or abate a 1111i.m11ce or to e1!force this chapter.


 /b) Before e11teri11g the premises, the ofjici((/, "gent, or employee 11111st exhibit pmper ide11tifimtio11 to the occ11pt111t, mmwger, or other "JIJJmpri"te pe1~·011. ...




i701
While the law quoted above only applies to "1111inco1porated area of the county", most city ordinances including the ~City of Austin~

have statutes to the same effect. In other words, a Health-Inspector or Code-Compliance-Officer is free to inspect (using his/her own unaided

eyes) a private property from the public street or sidewalk - anything that is in "plain view" - but is not authorized to enter into any part of

private property before obtaining consent from the owner(s)/occupant(s)/manager(s)/appropriate-person(s), or at the very least, before

"exhibiding) proper identification" to the owner(s)/occupant(s)/manager(s)/appropriate-person(s). Any violation of this "exhibit proper

identification" protocol specified in [THaSC-T5-SA-C343-SC-§343.024(b)] is a violation of[CEL].




i702
A police-officer (and/or Constable-Deputy and/or Sheriff-Deputy) is a little less resb·icted in terms of what he/she is licensed to do, but only

marginally so. In (FLORIDA V. JARD INES», the [SCOTUS] ruled ( {2013-03-26}) that police-officers have a license to "knock and talk" (or

"knock and a111101111ce'') - sometimes referred to as a "trick-or-treaters" license to approach a private-property's front-door - but only in a

"baseball path" or shortest path from the nearest public property (for example, sidewalk) to the front-door - and only during daylight hours

(never at night). Upon approaching the front-door, the police-officer is free to ring-the-door-bell or (gently) knock-on-the-door in-order-to ask

the owner(s)/occupant(s)/manager(s)/appropriate-person(s) for consent to inspect/search any part of the private-property. While outside the

front-door, the police officer is free to announce his/her presence, but in a non-intrusive manner - and in a manner that does not violate the

privacy of the owner(s)/occupant(s)/manager(s)/appropriate-person(s). In terms of privacy, for example, the

owner(s)/occupant(s)/manager{s)/appropriate-person(s) might not want neighboring person(s) to know that a police officer is visiting their front

door and/or announcing his/her presence - so, the police officer needs to do this in a inconspicuous, private manner, as only the property's

owner(s)/occupant(s)/manager(s)/appropriate-person(s) need to know about the police officer's presence. If there is no response or if the

owner(s)/occupant(s)/manager(s)/appropriate-person(s) refuses, then the police-officer must assume that no consent was authorized, and so,

the police-officer must then walk back to the nearest public property following the same "baseball path". Most importantly, the police-officer

cannot go outside of the "baseball path" and/or snoop-into/inspect/search any areas that are not in "plain view". Additionally, even when

walking along this "baseball path", if items located/stored within/along this "baseball path" are covered/concealed, for examples, by a tarp,

vegetation or other shielding/material(s), then police-officers are not allowed to uncover or look-behind/look-underneath the covering as this act

of uncovering is considered an inspection/search, in violation of the fourth-amendment. In other words, while walking along this "baseball

path", police-officers are allowed to observe (using the ir own unaided eyes) but are not allowed to touch. The [SCOTUS] ruled that while


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police-officers do have this license to "knock and talk", this license does not pennit them to conduct an inspection/search even while staying on

this "baseball path" to-and-from the property's front-door. The purpose of the [SCOTUS] ruling in ((FLORIDA V. JARDIN ES» was to re-
                                                                                                                                                11
affirm the Fmu1h Amendment protection from inspection(s)/search(es)/seizure(s) to the "c11rtilage                                                    -   with courts across the United States

ruling that porches, garages, carports, car patios, backyards, all areas "immediately surrounding and associated with the home" - even

"partially covered" parts of a front-driveway are all considered to be "curtilage":
 •       1soorus1 ,   State of Florida, .....uuonar v . Joella Jaxdinu, Aupcndont•               Dacidad 12013- 03- 26)
        htt:pa:/ / - -~              .gov/cp1nl.0N1/l.2pdf/ll- 564_5426.pdf

 OPINION OF THE COURT ...


 The Fourth Ame11dme11I provides i11 relevalll pm1 thal the "rig/// of the people to he secure in !heir persons, ho11..-e,, papers, and effects, against 1m1-easo11al,/e searches and
 seizures, shall 1101 be violated. " The Ame11dme111 establishes a simple baseline, one that for much ofour hislOIJ' fo1111ed the exclusive ba.1·isfor ifs protections: lf'l,e11 "tl,e
 Govemme111 obtains i11formalio11 by pi,ysically i111111di11g" 011 perso11.1; ho11.1·es, pape1~; or effecls, "a 'search' witl,;11 the original meaning of the Fourth Ame11dme111" has
     "1111do11b1edly occ111red. " Uniled Stales v, Jones, 565 U. S. __, _ , 11. 3 (2012) (.,lip op., at 6, 11. 3). By reason of our decision i11 Katz,,. United States, 389 U. S. 347 (1967),
 pmpe11y rigl,ts "are 110/ Jhe sole meas111-e of Four//, Ame11d111e111 vio/atio11s, "Soldal v. Cook Co11111y, 506 U. S. 56, 64 (1992)---bul though Katz may add 10 tl,e baseline, ii does
 110/ sublracl 011ytl,i11gfro111 //,e Amendment's pmlectiom "wl,e11 the Govemmenl does engage in [a] pi,Ji.-ical i11h·mio11 of a co11slit11tia11ally protected area, " United States v.
     Knolls, 460 U. S. 276, 286 ( 1983) (Bre1111a11, J., co11c111ri11g in the j 11dg111e11I). That principle re11de,,. this case a slraightfomard one. The ofjice,,. llt'l'I! gathering i11for111atio11 i11

     a11 m-ea be/011gi11g to Jarrli11es mu/ i11111mlialely .mrro11mli11g hi.~ /1011se-i11 the cmtilage ofthe house, which nt1 hmoe held enjoys protection as pm1 of the home itself. And

     they gathered that il!fomwtion by physically entering and occupying the area to engage in conduct 1101 e,p/icitly or implicitly pennilled by the ho111eom1er. ...


     11'11e11 it comes to /he Fourth A111e11d111e11I, !he home is first a11w11g equals. Al //,e Amendment's "ve,y c01-e" stand~ "the righl of a 111011 lo 1-e/reat info his 011n home and tbe1-e be
 f1-eeji'{)/1111111mso11able gove111111e111a/ i111111sio11. "Silven11a11 v. United Stales, 365 U. S. 505, 51 I (/961). This righl 11Ymld be of Iii/le practical value if the State's agenls could
     .wand in a home's porch or side garden and trawl for evidence will, impunity; Jl,e right to 1-etreat mJ11ld be signijicautly diminished if !he police could enter a 111011 's properly to
     obse1ve /d.1· 1-epose from just ou/side /he jiYJ11I window. We therefore regard the area "imme,Jiately s111ro11111/i11g a11d a.._.;ociate,I with the l10111e"--11{111t 0111· aL1·es call the
     c1111il11gl!-(1s '1mrl ofthe lwme itselffor Fo1111h A111e11d111e11t p111710ses." Oliver, s11pra, 111 180. That principle has a11cie11I 011d durable roofs. Just 0 .1· the disti11ctio11 be111-ee11 the
     home and the open fie/di· is "as old as the co111111011 law, "Hester, supra, al 59, so too is /he identify of home and what Blacks/011e called the "curtifage or homesta/1, " for the
     "house pmtec/s and privileges all ils bm11ches and app1111e11a11/s." 4 JV. B/acks/011e, Co111111e11/aries 011 the la11~· <!l England 223, 225 (1769). Thi.~ area aro1111d !he home is
     "inlima/e/y linked to tl,e home, bolh physically and psychologically, "and is where "privacy erpeclations m-e most heightened. " Ca/ifomia v. Ciraolo, 476 U. S. 207, 213
     (/986). While the boundaries of the c1111i/age are generally "clearly marked, " the "co11cep1io11 d1fi11i11g Jhe curlilage" is at any role.familiar e11011gh Iha/ ii is "easily 1111derstood
     /mm our daily erperience." Olive,; 466 U. S., of 182, 11. 12. Here /here is 110 doubt thal the <!fficers entered ii: The front porch is the cltL~1ic exemplar of a11 area adjace11t to

     tlte !tome a11tl "to 11{1ich tlte actMty ofl111111e life exte111l~ "Ibid. ...


     s1are1· the general 111/e clearly: "{O}11r law hold.- !he pmpe11y of eve1y man so sacred, that 110 111011 co11 set his foot upon his 11eighbour',1· close without his leave. "2 Wits. K. B. ,

     al 291, 95 Eng. Rep., at 817. ...


      /Ve have accordingly 1-ecog11ized that ·•1t,e knocker m, /he fm11/ door is treated as an i11vilalia11 or license lo a//empl 011 ell//)', j11s/ijj1i11g i11gre.~, to the home by so/ici/01,-, hawkers
     a11d peddle,;~ a.fall ki11ds." Breard v. Alera11dria, 341 U.S. 622, 626 (1951). This i111{1licit /ice11se typically permits tire visitor to aJIJlroach the lro111e by tlre.fi-011/ Jlallr. k11ock
     promptly, wail briefly lo be 1-eceivecl, and then (abse11t invitatio11 to linger longer) leave. Co111plyi11g wilh the tenns of that traditional i11vitotio11 does 1101 req11ire.fi11e-gmi11ed
     legal knowledge; it is generally 111a11aged witho11/ i11cide111 by the Na/ion's Girl Sco11ts and trick-or-trealers.(2) Thus, a police officer 1101 an11ed with a 11-0,rnn/ 111ay approach a
     lwme a11d knock, precisely beca11se that is "110 11101-e tha11 any private citizen might do." Ke11111cky v. King, 563 U.S. __,_ (201I) (.vlip op. , al 16). ...


      To find a visitor k11ocki11g a11 the door is rollli11e (even !f someti111e, 111111-elcome); to spot that same visitor e1p/ori11g tire fra111path with a me/a/ deteclor, or marching his
      b/oodhou11d into the garden before saying hello and asking pem,r~,ion, wo11/d i11.1pire most of us 10-11-ell, call Jhe police. Tlte scope of(I /ice11.1·1~-e.xprt.."i!>· or implie,l-is li111ile1/

      11111 only to a pmticulm· m-ea hut lllso to a S{Jecijic pmpose. ...


      Here, tlte b"ckgromul .,·oci"I 110nm tltat im-ite a vi.,ilor to tlte Jro11t ,toor ,lo 1101 imile ltim tltere 111 co11d11L,t a search. (4) ...


      He1-e, ho11-eve1; the question before the co1,r/ is p1-ecisely ll'hether the ojJicer's co11d11cl was 011 objectively 1-ea.wnable search. As 11-e have described, thar depe11d1· 11po11 ll'hether
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the officers had 011 implied lice11se to e11ter the porch, ll'hic/, i11 111111 depend, upon the p11171osefor which they ell/ered Here. their helu111ior objectirely 1-e1-eals a p11171ose lo

com/11ct fl .W<ll'Ch, whid, is not what a11JY111e 11'011/tl thi11k he hml license to do. ...


Just /ml Term, we considered ,111 a1g11111enl 11111ch like tl,is. Jones held //,at /racking au 011/omobile 's whereabouts using a physica/(1>-11101111/ed GPS receiver is a Fourth
A me11dme11/ search. The Govemme11/ mgued that the Katz sta11danf "s/10111[ed] that 110 search occum:d, " as the defe11da11/ had "110 'reaso11ahle expec/alio11 of privacy··• in his
whe1-eabo11/s 011 the public road,, Jones, 565 U. S.. at _           (slip op., at 5)----<1 pmpositio11 with at least as much support in our case lmv as the one the State 111,11:,J,a/s here. See,
e.g., United States v. K110/ls, 460 U. S. 276, 278 (/983). But because the GPS receiver had bee11 physically mmmted m, the defe11da11I 's automobile (thus i11trndi11g 011 his
"q/Ject.v''), 11-e held that tracking the vehicle's 111ove111e11/s 1ms a sean·/,: a pe1~-o,1 ·., "Fom1h Ame11d111e11t rig/,/s do 1101 rise orfa/1 wit/, the Katzfo111111/otio11. ".Jones, supra, al
_    (slip op.. at 5). The Katz reaso11ab/e-e.1pectalio11s test "/,as been added to, 1101 substitutedfor, " the tradilional property-based 1111de1~·/011di11g of the Fomth Ame11d111e11t, and
so is mmecessmy to consider when the govem111e11t gai11s evidence by physically intruding on constitutionally protel'led areas. Jones. supra, at _                            (slip op.• at 8). Tims, 11-e need
110/ decide whether the officers' investigatio11 of Ja1~/i11es • home violated his e.1pectalion of privacy 1111der Katz. O11e virtue of the Fom1/1 A111e11d111enl 's property-rights baseli11e is
that ii keeps emy cases easy. Tlmt tire officer.; lennre,l 111/rat tlrey leanred only l1y 11/ry.;ically i11trmli11g 011 JmTlines' pmperly to g"tlrer e11frle11ce is euorrg/r to e~1"f1/is/1 tlmt "

search l/cc11n-etl For a related reaso11 ll'e fl11d i1Televa111 the State's argument (echoed by the dissent} that forensic dogs have been co111111011/y used by police for ce11/11ries. This
argument is apparently directed to our holding in Ky/Jo v. United Stales, 533 U. S. 27 (2001). that .mn'<!illm,ce ofthe home i.H/ search whe1-e "the Gm•emme11I uses fl device

tlu,1 is ,wt i11 ge11em/ p11blic 11se" to "e.-..plore details a/the lwme that 1m11lcl previomily Jmve hee111111k1101mble 11ithm1I physiml i11lmsio11. "Id.. at 40 (emphasis added). 8111
the implicatio11 oft/wt slflle111e11I (i11cl11.1io 1111i11.1· esl excl11sio alteri11s) i.~ that ll'lie11 the gm-em111e11t uses" phJ~-ica/ i1111·11.1io11 to e.171/ore tlet<1i/s ofthe home (i11cl11tli11g its
c1111i/(lge), the m1tiq11ity ofthe tools that they bring a/011g is in-elem11t. The govemment 's use of trained police dogs to investigate the home and its immediate s111·ro1111di11gs is a

 "search" withi11 the 111ea11i11g of !he Fow1h A111e11d111e111. The j11dg111e11I of the Supreme Cow·/ of Florida is therefore qffi1111ed ...


II is 110/ the dog that is the pmblem, but the behavior that here involved use of the dog. We thi11k a fJ11ic"J person 11'l/11/tlji11tl it " 'a m11sefor great (l/m-m' " (the kind of
1-e<1ctio11 the di1,.w11I q11ite ,ightly 1-e/ies 11po11 to j11stijj, its 110-11ight-1·isits rule, JIC1.11, <1I 5) to jimf a strtmger s11oopi11g alHml hi.~ fro11t porch 11ith or ll'ilho11t " ,log. The tli.\,·e11t
 mmld let the police ,Jo ll'halt!IY!r they 11vm1 by ,my ofg"theri11g t!l•ideuce s,1 /011g {IS they st"Y 011 the bttse-plllh, to use" hrLfeba/1 ""atow-·o long as they "ltick to the path
that is fJpically 11setl to "JIJlroac/1 a front dom; such flS "p(IIV!rl m,//omy. "Jbitl From tlmt m11tage point they £'(111 p1'CS1111wbly peer into the lw11se through bi11oc11lflrs 11itl,

imp1111ity. Timi is not the fall\ <LS t!IY!II the State co11cedes. See T,: of Oral Arg. 6. ...


 The dissent argues, citing King. that "gathering evide11ce--eve11 damning evidence-is a la11f11/ activity that falls within the scope of the license to approach. " Post, at 7. That is
 a false ge11eralizatio11. Whal King establishes is thal ii is 110/ a Fourth Amendment sean·h lo approach the home in aider to speak wit/, the occupant, because all are im•ited lo do
 that. The 111e1-e "pu111ose of discovering i,ifomwtion, " post, <1/ 8, in the com~·e ofengaging in !hat permil/ed conduct does not cause it to violate the Fomth Amendment. But 110

 011e is implietlly i11vitetl to enter the protectetl premises ,,J the lwme i11 ortler to do 11othi11g hut comlucJ a search. ...


 No,; as" ge11eml lll(ll/e1; lllflY a visitor CY/Ute to t/,efiv11t dool' i11 the mir/dfe ofthe night 11itlw11t ,,,, expra'i i111>itatio11. See State v. Cada, /29 Idaho 224, 233, 923 P. 2d 469,

 478 (App. /996) ("Furtive i11/rusio11 /ale at night 01· in the predmm ham~· is 110/ conduct thal is e.tpectedfrom ordinmy visilm~·. Indeed. if obse,ved by a resident<,( the premises,
 it could be a cause for great ala1111 'J. Simi/orly, " 1•isitor lllfl)' ,wt linger al the front ,lool'fl/r "" e.1·tell(/etl peliotl See 9 So. 3d I, I I (Fla. App. 2008) (case be/011') (Cope, .I.,
 concurring in pm1 and dissenting in pm1} ("[1Jhere is 110 such thing m squaller's righls 011 ajiv nt porch. A stranger may 110/ plop down 1111inviled to spend the aftemoon in the
jivnt porch 1vcki11g chai,: or throw down a sleeping bag to spend the night. 01· /wk 0111/,efrom porch, looking in the 11•i,u/om1· '1- The Jiceuse is limited to the amount of lime it
 would customari!J• take lo app,vach the clam·. pause long enough to see if someone is home, and (if 1101 e.1pressly invited to stay Jonge,j. leave. ...


 Detective Bartell did 1101 exceed the scope of the license to app,vach respondent 'sf,vnt door. He adhered to the c11.1·1ommy path; he did 110/ appmach in the middle of the night;
 and he remained al thefi-0111 doorfor 011/y a ve,y short period (la-.. tlum ti 111i1111te or hm}. ...




1703

Any violation of this "knock and talk" protocol specified by the [SCOTUS] rnling in ((FLORIDA V. JARDINES)) (which reaffirmed the

curtilage protection) is a violation of [CEL]. The [SCOTUS] ruled that while engaging in this already-intrusive "knock and talk" protocol, the

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government is forbidden from using any "device that is not in general public use", and is also forbidden from conducting an inspection/search

of any kind. The only pmvose of police-officers engaging in this "knock and talk" protocol is to hy to contact the owner(s)/occupant(s) in-

order-to seek consent to inspection/search any part of the private property. This means that they must use only their own unaided eyes, and

cannot, for example (but not limited to):

01.     use binoculars or any other tools/technologies to aid in observation.

02.      shine a torch-light into areas of the curtilage, or even worse, into the interior of the house.

03 .     use a selfie-stick or any similar device.

04.      use a ladder or any other stepping-tool.

05.      use a metal-detector or any other detection tool.

O6 .     use dogs or other animals of any kind for inspection/search/detection purposes.

07.      use their hands, feet or any body-part to uncover/move-aside/look-behind any object(s) that may be shielding their view.

08.      crouch, lean or jump in-order-to observe/view something that would otherwise not have been visible.




~704
In ((COLLINS V. VIRGrNIA)) {2018-05-29), the [SCOTUS] further strengthened the curtilage protection by nullifying the "Motor Vehicle

Exception" for vehicles parked within a private-property - including the front-driveway - prohibiting law-enforcement from entering into any
part of a private-prope1ty (even including the front-driveway) to inspect/search any part of vehicle without a search-wmwnt. Before this

[SCOTUS] ruling, the motor-vehicle-exception had lowered the probable-cause threshold for law-enforcement to lawfully search a motor-

vehicle without a search-warrant:
       (SOO'l'US),   Ryan Austin COlliml, l'Oltitionar v . Virginia, ~ t •              Decidod (2018- 05- 29) •
  ►    httpe://www. ~             .gov/opin1ons/l7pdf/l6-l027_7lio.pdf


  SYLLABUS .. .


  Held: The au/omobi/e exceptio11 does 1101 pe1111il the ll'atmnlless enllJ' ,if o home or ifs curtilage in order lo search a vehicle therein. Pp. 3- J4.


  (a) This case arises al the i11te1:rectio11 of /11'0 compo11e111s of /he Cour/ 's Fourth Amendmentj11dspmde11ce: the au/omobile exceplion lo lhe ll'arra/11 require111e11I 011d the
  /J1'0/eclio11 e.rlended lo the curlilage of a home. /11 <1111101111ci11g each of the a111omobile e.rceplion 'sj11st/ficaliom-i.e., the "ready mobilily of the au/omobile " and "1he pe1vasive
  reg11/a1io11 of vehicles capable <if traveling 011 the public highways, " Cali.fomia v. Camey. 471 U. S. 386. 390, 392-lhe Cou/1 emphasized i/101 /he rolio110/e., applied 011/y to
  oulomobi/es and 1101 lo house.1·, and lherefore suppo11ed /heir di.fferenl /realment as a conslilutio11a/ 111al/e1: Wlte11 1hesejus1i.ficalio11s are prese11/, officers may search <Ill
  automobile wilhoul a wmm111 so long os they have proba/,/e cause. Cw1iloge--"lhe area 'i111111ediotely .wmrmnding and associaled wilh /he home' "-is considered " 'par/ of lhe
  home ilseljfor Fourlh Amendment pu17JOses. • "Florida v. Jardine.,, 569 U.S. I, 6. Thus, 1111e11 011 officer physically i11l111des 011 /he curliloge lo galher evidence, a Four//,

  A111e11dme111 semr:h has occmred and is presumptively 1111reo.w11ahle obsenl a 11Y111ant. Pp. 3-6.


  (b) As a11 inilio/ 111011e1; the port of /he drive,my where Col/i11s ' 1110/orcycle ll'OS parked and subseque111/y searched is curlilage. H11e11 Officer Rhodes semd1ed /he 1110/orcycle, ii
  was parked i11side a pmtially e11clased top porli011 oftire drfreuuy t/rof abuts tire l1011.'il!. ./11.11 like tire f ro11t porch, si<le gartle11, m· area "outside tire fm11t 11im/0111" that
  e11clo.mre comtitutes "a11 area ruljocent to tire /rome mu/ 'to 111f1ic/1 tire rtdit•ity ofhome life e..\1eml'i.' "Jardines, 569 U. S., al 6, 7. Because the scope of /he ou/omobile
  e.rception e.,1e11ds 110 fwther 1/um 1he automobile itself. ii <lid 1101 jusli.fy Officer Rhodes· invasion of /he curliloge. Nothing in lhis Courl 's case low sugge.1·1s Iha/ the a,1/m11ohile
  e.rceprio11 gives <Ill ojjicer the rig/II lo en/er a home or ifs cwtilage to access a vehicle wilhout a 1m11Y111/. Such 011 e.rpa11sio11 1!'011/d bolh 1111de1volue the core Fourlh Ame11d111e111
  p1vleclio11 qfforded lo /he home and ifs curliloge and" '1111/elher' "/he e.rccplion " 'from 1hejusrijkotio11s 1111derlyi11g' "ii. Riley v. Coli.fomia, 573 U. S. ~                _ . This Co1111
  hos similarly declined to e.171a11d /he scope of other e.rceplions lo lhe 11vnv111 requirement. Tims. just as <Ill a/fleer 11111st have a /011ful rig/II of access lo any co111mba11d he
  discovern in plain view in order lo seize ii wilholll a 11·a11·011l--see Hor/011 v. Cali.fomia, 496 U. S. 128, 136-137-<mdjusl as an officer 11111sl have a la11ful righl of'1Cces.1· in

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oiYler to arresl a pe,~·O11 in his hom-.1-ec, Pay/on v. New York. 445 U. S. 573, 587- 590- .m, too, 011 officer must have a la11f11/ righl of access to a vehicle i11 order to search ii
p111-s11a111 to the automobile exceptio11. To allow othe,wise 11'011/d 111111,oor the exceptio11 from its j11stificnlio11.1·, re11der hollow the core Fourth A111e11dme11t proteclio11 !he
Conitilutio11 ex/ell{l1· to the house a11d its curtilage, a11d tra11sjim11 1Vha1 ll'as mea11t lo be a11 exceptio11 i11to a tool ll'ilh Jar broader applicatio11. Pp. 6-1 /.


 (c) Co11tra1y to Virgi11ia 's claim, the automobile exceptio11 is 1101 a categorical O11e that pen11its the wa,nmt/e,~ search of a vehicle a11ytime, a11J~vhere, i11cludi11g i11 a home or
cwtilage. Scher v. U11i1ed States, 305 U. S. 25/; Pe1m.1J1/va11ia v. labro11, 518 U. S. 938, disli11guished. Al1·0 1111pe1~·uasive is Virgi11ia 's proposed brighl line 111/efor cm
automohile erceptio11 that 1rould 1101 pem,it wmnmt/e,v e1111y only of the house ilself or a11otherfixed s/111cture, e.g., a garage, inside the curtilage. This Court has /011g bee11
clear that curtilage is qffmiled cons/i/lltio11al protectio11, a11d creati11g a ca1veollf for certai11 types of curfi/age seems more likely lo create c01ifi1sia11 tha11 does uniform
 opp/icatio11 of the Coun 's doclrine. Virginia's mle also rests 011 a mistaken premise, for the ability lo obse1ve inside cmtifoge.from a /a11ful vantage poi11t is 1101 the same as !he
 right lo e11ter cnrtilage wit/10111 a wa,ra11t to semd, for i1if'omwtim11101 othenvise accessible. Finally, Virginia's 111le automatically would grant coustit11tio11al rig/11.1· 10 those
 persons ll'ilh theji11ancial me,ms to aj]'onl residences ll'ith garage,· but deprive !hose pe10'0/1s ll'ithout such 1-esomt·es of any i11divid11alized convideralio11 as to whether !he areas i11

 which !hey sto1-e their vehicles qualify as curtilage. Pp. 11- 14. ...




Furthermore, if a property has sign(s) posted forbidding trespassing - sometimes referred to as ''posted property" - then, law-enforcement must

take even more precautions to ensure that they do not infringe upon the private-property/privacy rights of owner(s)/occupant(s) - as the

owner(s)/occupant(s) have made it abundantly-clear (through such posting) that they take their property/privacy rights seriously. In particular,

such "no trespassing" signs on a private property are considered to be an indication to all person(s) - including law-enforcement - that the

owner(s)/occupant(s) have asserted their "expectation ofprivacy" to eve1y part of that private property.




1706
Law-enforcement cannot take-advantage-of or exploit disaster situations to invade the privacy of owner(s)/occupant(s). So, for example, if a

hurricane, tornado and/or extremely-strong-winds blow-down a privacy-fence on a property (which was originally-installed to provide

backyard-privacy to the owner(s)/occupant{s)), then this does not mean that law-enforcement can exploit this situation to immediately take

photographs of the otherwise-concealed backyard for prosecution purposes, especially if the owner(s)/occupant(s) took reasonable steps to

remedy the tempormy breach-of-privacy. The key issue here is again, whether or not, the owner(s)/occupant(s) had a "reasonable expectation

ofprivacy" in a concealed backyard, and in making this determination, it is not reasonable to expect owner(s)/occupant(s) to take such

unexpected and temporary disaster situations into account.




1707
Additionally, the govermnent employee(s) must take every precaµtion to ensure that consent to an inspection/search/seizure has been lawfully

obtained - and that consent is maintained "at all times". Consent to an inspection/search/seizure must be given by an owner or person-in-legal-

dominion-over or control-of the premises - and it must be given "knowingly, fi'eely and voluntarily" - "without duress or coercion, express or

implied" - "prior" to the inspection/search/seizure being initiated. Needless to state, if government employee(s) initiate an

inspection/search/seizure without first obtaining consent - and then, as the inspection/search/seizure is already in progress, are confronted by

the owner(s)/occupant(s) and have to explain the actions that they are taking, then clearly, consent cannot be said to have been made


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voluntarily - "withoul duress or coercion, express or implied" - because the owner(s)/occupant(s) are pressured into accepting the already-

initiated inspection/search/seizure as if it were lawful and legitimate:
 •       • ~ Suapicion•                 Relying on Rafusal• to ~ r t Teny Stopa" •                 Chl.VU11ity of Chicago L&w 11.evift, 62 (3),    1161- 1185•    Rachel Kann Luer, (1995) •

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 ... The Supreme Court has held that "{w]he11 a prosecutor seeks to rely 11po11 consent lo justify the /a11f11/11e~s of a sea1d1, he has the burden ofproving that the co11se11I was, in
 fact, jirx/y and vol,mtmi/y given. "(/6) Consent, lo be valid, "11111st be unequivocal, specific and inte//igenlly given, 1111can1a111i11aled by any dure.1:1· or coe1r:ion. "(17) ...


 Ill additiou, whether the suspect \l'0s advised of the right to refuse co11se11t is "highly relevant" and may result in a determi11atio11 that couse11t ll'0S 110I vol11111my. although it does

 1101 preclude afi11di11g of vohmtariness. (21) When a pe1l·o11 has been 1111constitutional/y seized prior to giving co11se11I, any coment given thereafter is geneml/y considered

 1ai11ted, a11d thus i11vohmtary. (22) ...


          "Knock and Tal.u" ,      Al-■da County Diatrict Attomay'a Offiaa,          lftJtchin •      (2006-09- 27) •
 •       httpa: //a.al.coda. orq/publications/fil.. /lQfJCKandrl\LK .pdf

     ... after hu11dred~ of yea1:< of knocking and /a/king, office1:< i11 America decided the tactic needed a catchy 11ame---1hus, "knock and talk. "2 Ironically, by this time the phrase 110
     longer accurately described the office,:,·' prima1y objective which had ,11'itcl,ed jivm "talking" with the suspect lo obtaining his co11se11t to .~eorch his house. 3



     THEY'RE LEGAL, BUT . ..


     There is, of course, 11othi11g inherently 1111/a11:f11/ about knock and talks.4 /nfact, they have been dCTcribed as "a reasonable investigative tool," and a "legitimate method of
     i11vevtigalio11. "5 Still, many courts are lee1y of them.6 Here's why. First, any wa1m11tlevs e11hy into a 1mide11ce by officers 11at11ral/y causes heightened co11cer11. 7 Second, because
     knock and talks occur in private, there are 110 11e11tral obse1ve1l·. As the Niuth Circuit pointed 011/, "[T]he 11011p11blic selling s11bsta11tially increave[s} the coercive nature of the
     e11co11111er. "8 Third. judges may view knock and talks as <Ill al/empt to obtain the suspect 's come111 through the deliberate use offear and .1wprise. This seems to be the view of
     the Washi11gto11 Supreme Court ,.,hich ob.ve111ed, "{A}ny knock and Jalk is inhereutly coercive to some degree. "9 Fo1111h, there is legitimate concem that knock and talks may
     take 011 the character of the "dreaded knock 011 the door" that is a.~vociated with police states. Just consider how most people 11v 1,!d probably feel when, upon 011s11Y.?ri11g the door
     (maybe late at 11igh1) they see several strangers 011 the porch (knock and talks are never l'011d11cted by a /one oj]Jce1). To make molters ,mrse, many of tl,ese people (maybe all)
     are dm~1·ed in plain clothes, sometimes the shabby garb of the dmg culture. All{/, even though they identify themselves and seem friendly, ii quickly becam~ apparent that they
     11·011/ something. Eve11tual/y it comes out: they wa11/ to come in 011d seon·h the house. Co111me11/i11g 011 situations such as these, the court in U11ile<I Stales v. Morgan poiuted 0111,

      "The right of officers to th111st themselves into a home is a grove co11cem, 110/ 011~)' to the individual but to society which chooses to dn·ell in reawmable security mu/freedom
     jivm swveillcmce. "/0 Co11seq11e11tly, when the co1111s are called upon to e11al11ate the la11ful11ess ofkuock and talks they tend to cwY.?fully sc111ti11ize eve1ythi11g the office1:< said
     and did, looking closely for any evidence of coercion. It is therefore important that office1:v who conduct knock and talks appreciate the sensitive 11at11re of these 1111dertaki11gs.
     To put it another way, it is a job best suitedfor office1:< who hm•e e,perience, soundjudgment, and a good 1111de1sta11di11g what they can and cn1111ot do. As HY! will ci,plai11 in this
     article, there are /1\'o legal requiremenls. First, the encounter be/lree11 the office,~· and the occupants 11111st lwve been cou.1¥!11.1·1111/ "' "II limCT, at least until the i11crimi11ati11g

     evidence ll'(IS discovered. If. 011 the other hand, a court finds that the oJ]icers co11ducted tltemselvCT i11 a mmmer that reaso11ably indicated that the occ11pa11/s were uot ji-ee to
      r'!fi1.m their 1-eq11ests, the e11cou11ter will be deemed au illegal seiwre; i.e., a de facto dete11tio11 or a,rest. If this happens, evidence that wav deemed the "fmil" ofthe illegal
     seizure will be suppre.~\'ed. Second, the occupant's co11se11t to enter and ,\'e111rh must hai•e bee11 vol1111ta1y. Altltough these are tec/mically sepamte issue,·, it all boil, dom1 to this:
      Did the office,~· make it clear that tltey \l'ere seeking tlte occupant's vo/u11ta,y co11se11t a11d coopemtio11? If so, the evidence should be admissible. 011 tlte other hand, if the
      oj]ice1:v co11d11cted themselves in a \l'ay tltot reasonably indicated they 11-ere a.~ve11i11g their 011/horil)'--if they behaved ill a11 "officious 011d authoritative" ma1111erl 1---lhe co11se11t

      will be invalid 011d any seized evidence will be suppressed. ...




 1708
 Again, it is important to note that, if any part of a property inspection/search/seizure is defective or unlawful in any way, not only can any

 evidence/testimony gathered by those defective parts not be used in any Court proceeding (as per the "exc/usionwy rule"), but aU

 evidence/testimony gathered after the defective paits - even if otherwise lawful - cannot be used, since the entire inspection/search/seizure after

 the defective part(s) has been "tainted". Most importantly, the unlawful inspection/search/seizure is a violation of the accused's Fourth

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Amendment Rights and Due Process Rights - addressable by a civil lawsuit for damages under both State Law ([TCPaRC-T5-CJ0J),

[TCPaRC-T5-CI06]) and Federal law ([42-USC-C2 1-SI-§1983), [42-USC-C45-SI-§3613]) - in which case, the involved government

employee(s), the involved government(s) (for example, city/county and/or its offices/departments/agencies/bureaus/divisions/distTicts) and any

other involved non-governmental person(s) (such as neighbors) are all liable:
 •       "Walking the Fina Lina •       OOde l!nfor.-it and the Fourth - t : " ,                 l&lnicipJ. Lnyex-- flle Journal of Local _ , , _ , t Law, J.,-. hi> 2019, Vol 60, No . 01 •
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 Illegal searches under the Fourth A111e11d111e11I can be one of the bigge.~t risks for a code e11force111e111 officer. ...


 Fi1l·/, i11spectio11s call be da11ge1vus. ...


 Second, i11spections ca11 be legaffy complicated. The Fom1h Ame11dme111, 1111d lo a le.~fer exle11I the S11bsla11tive D11e Proce.~f provisio11 r!f the Fo1111ee11lh Ame11dme11t, provide
 arca11e limits upon the code i11spectio11 process. State constitutio11s, statutes, and even local regulatio11s ofte11 impa,\'e additio11al limitations upo11 inspections. K110111i11g whether cm
     i11spectio11 is required or appropriate, where the code e1!f'orce111ent officer may be located when viewing a viola/ion, whether co1JSe11/ is required or effective, whelher a 11mm111 is

     needed orj11stified, a11d whether the evidence ca11 be used i11 011 e11force111e/ll case--<11-e all examples of the legal complexity of i11spectio11s.


     Third. if w1v11g(11/, i11spectio11s can have major adverse co11seque11ces.


     For the case--Evide11ce gained by a defective i11speclion ca1111ot be admilled or considerecl


     For the govem111e11t--A /a11~·uit alleging deprivation q( civil rights under 42 U.S. C. Sec. 1983 call be b1vug/rt for violation offedeml c:011s1i1111ional or statut01y pmhibi1io11s.
     States have similar causes of action for 11ro11gful i11Spections. A civil lights suit against the city or comlly will claim existence of a policy or pmctice of alloll'ing illegal searches,

     deli/Jemie indifference lo //,e rights of citizens, I orfail11re to tmi11 or s11pe1,,i.1·e proper~v. Co111pe11sat01y damages and attomeys 'fees ca11 be mmrded.


     For the code e1iforce111e11t offker--A civil rights ac/io11 agai11sl the 1m111icipalily will 110111,al/y i11c/11de a claim agai11st !he code e1iforceme/ll officer individ11ally, based 11po11 !he
     act11al illegal i11spectio11. The officer will likely have q11alified i1111111111ity, /,1111h01 could be /osl if the i11.171ectio11 1\'as clearly 1111lawful.2 /11 the 11'01:st-case scenario, /he code
     e11(orceme11I officer can be s11/,jec1 to i11divid11al liability for damages, i11cludi11g co111pe11sato1y and even p1111itive da111ages--p/11s allomeys 'fees ...


     Casile Doctri11e--The legal co11cept q( the home bei11g one's "castle" was a11alyzed in E11glond at least as /011g aga as 1604. "The house of eve,y one is to him as his caslle a11d

     fortress as well as for his defence against i1,j111y and viole11ce as for hi.1· repose. "3 ...


     C11rtilage has e.~1·e11tially the same level ofp,v/ectio11 firm, searches a11d i/1.\pectiom as the "l,011se" itself. "Cr1r1ilage" 0/' "lwmestall" is the a,-ea immediately su/1'0t111di11g and
     associated with the home a11d is considered pa/1 of the home for Fo1111/, Ame11dme11I pwposes. For //,e l,011se a11d c11rtilage, the properly ow11er has the right lo delem1i11e ,rho is
     alloll'ed upon the property a11d to gm11t or withhold conse11I to tlw.w: the mmer wishes to erclude. i11cludi11g govemme11t "i11t111de1:s. " Tims. the "cwtilage" protection ("No mall
     may sel his fool 11po11 his 11eighb01·"s close witl,011/ his pen11issio11 ") ha.1· pem,eated comt decisiom i11 E11gla11dfrom at least 1765 to U.S. S11preme Cow-/ case law as of May 29.
     20/8.6 Without co11se111 (or 011 erceptio11), the govemme11/ 11111st obtain a search ll'<l/1Y111/ or i11spectio11 ll'<l/1'<1111. The ide11/ily of home and 11•/,at Blacks/one called the "c1111i/age or
      /romesta/1, " tlwreby ''p,vtects and privileges a// its bm11c/1es and appwtencmts. "7 This mw, wvmul the home is " inlimate/y linked lo the home, both physically and
     psychologically, "and is where "privacy expectatio11s are most !,eighte11ed. "8 A1-ea.1· thal have been deemed by co11rts to be "cm1ilage" i11c/11de: porches, gamges, ca1p011s, car
     palios, back JY1rtl'i-{llllf t?l>efl a thfre-,my 11e.\1 to a house where the code viola1io11 11'{1.\' pm1ially covered. /11 Florida v. Jardi11e.1·, a 20/ 3 Supreme Co111t case,9 the Court

      determined that a police officer \\'ho was 011 the/rout porch ostensihly to ask pe1111issi011 to search, lmt \l'as accompanied by a drug-s11if(i11g dog, needed consent or a ll'arm11t to
      sew~·h Jhe house. /0 /11 the mos/ rece11t case, in 2018, the Court i11validated a search for a .1·/o/e11 motorcycle thal ,ms covered with a 111hile Imp, localed at //re lop of the
      drive,my, in a pm1/y enclosed car patio. The officer had received a tip that the motorcycle mighl be at thal location; ll'hen J/,e officer lifted the Imp lo verify !he Vehicle
      Jde11Jificalio11 Number and license p/a/es 011 /he 1110/orcycle, the search 11vs held lo be illegal. Code e1iforceme11/ office,~· mulinely do !he J'<IJJJe thing in onter lo ide11/ify

      inoperable vehicles. It is 110111 clear !hat !his ca11110t be done wilho11t couse11I or a wa11·a111. IJ ...


      Is a Code E1iforr:eme11/ J11spectio11 a Search? Yes. in the seminal cases of Camam v. Municipal Com·/ of Cily & County of San Francisco/? and See v. Seal/le 18 the Supreme
      Court held !hat civil code e1!f'orceme11/ inspections are a type of "semd," ll'ilhi11 the meaning of the Fourth A111e11d111e11/. ...


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i709
If non-governmental actor(s) - including, but not limited to, neighboring property owner(s)/occupant(s)/manager(s) - conduct an

inspection/search of private parts of a private property (not accessible or viewable by law-enforcement), and submits such evidence/testimony

to the Government, such evidence/testimony cannot be used in any Court proceeding because such actor(s) are considered to be "agents of the

govemment" - also deemed to be a violation of the Fourth Amendment. Such actors would also be liable (for damages) to the accused not only

under civil "invasion ofprivacy" laws, but more importantly, under [42-USC-C2 l-SI-§l 983], the [FHA]/[TFHA], and the [RlaCOA] - all of

which also applies to non-governmental person(s):
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 2. 111ml ,toes "muter color oflmv" 111ea11? ...


 011 the other hand, people who do not 1rork for the govem111e11I can still act under color of law. This can happen if they co11.17,ire will, govem111e111 officials to deprive someone of

 //,cir civil rights. ...




i710
These Constitutional and Statutory rights protect those suspected/accused of the most heinous of violent charged-crimes - such as mass murder

- and those that are suspected/accused of the lowest of non-violent charged-crimes - such as Class-C-Misdemeanor-Public-Nuisance. But

clearly, it is particularly egregious if these Constitutional/Statutory rights were violated for the lowest-level of questionable, non-violent charged-

crimes (such as an alleged Class-C-Misdemeanor), and even more so, if these rights-violation(s) and/or fraudulent-charge(s) were motivated by

predatory/retaliatory intentions and racial/religious/xenophobic/homophobic/political animus.




                                                                                      §XXIX

     TEXAS PUBLIC-NUISANCE LAW DIFFERS SUBSTANTIALLY FROM

             OTHER LAWS THAT REQUIRE USE OF SEARCH WARRANT(S)


 i711
 All laws that involve an inspection/search on private property require lawfully-obtained and lawfully-executed search-warrant(s), but even so,

 Texas's Public-Nuisance law is substantially different from most of these laws in many crucial respects. ln particular, unlike Texas's Public-

 Nuisance law, most of these laws meet aU of the following criteria:

 01.      are bina1y or black-or-white in nature - in other words, the interpretation/enforcement of the law is not subjective and there is no grey-

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       area

02 .   do not need to meet a time-element or time-threshold

03 .   do not need to meet a quantity-element or quantity-threshold

04 .   do not need to meet a quality-element or quality-threshold

05.    do not require law-enforcement to prove either culpable-mental-state (malicious-intent OR recklessness), or in the absence of culpable-
       mental-state. criminal-negligence.

06.    do not require application of the reasonable-person-standard

07.    can be enforced throughout the year (including the winter months)

08 .   if allegedly violated, are considered to be felonies, not Class-C-Misdemeanors.

0 9.   if allegedly violated, have potentially widespread negative/harmful hnpact on the community - the quantitative harm is potentially great.

10.    if allegedly violated, have potentially lethal impact on h1dividuals (including very-vulnerable individuals) of the community- the

       qualitative harm is potentially great.

11.    if there is sufficient probable-cause, a search may, under certain exceptional circumstances, be conducted without a search-warrant -
       such as 11h01 pursuit", "special needr;;", and "exigent circumstances          11.




12.    do not require law-enforcement to issue warning-citation(s) prior to initiating a criminal-charge.

13.    residents' privacy-fence or residents' erecting of a privacy-fence, for example, to conceal illegal activity does not change the fact that
       such laws are violated.

14.    do not cut-into or sacrifice core Constitutional/Statutory rights.

15.    external surveillance on a private property (in particular, a private residence), although always controversial, may under certain extreme
       cases be justified.




9(712
For example, consider the case of the unlawful act of growing/storing illegal narcotics on a private property:

01.    There is no grey-area regardh1g the growing/storing of illegal narcotics on a private property: Such activity is strictly illegal and if such

       activity is lawfully observed by the police from a public vantage poh1t - even from a large distance, then such lawful observation could

       be used as a valid-basis for law-enforcement to lawfully obtain and execute a search waITant to confirm their suspicions about the
       clearly-illegal activity.

02.    There is no tune-element: A newly-planted or newly-sowed narcotics plant is illegal just as a fully-grown narcotics plant is illegal.

       Narcotics that has just been transferred/h1troduced into a private-property is illegal just as narcotics that has been stored at such private-

       property for many years. There is no tin1e-threshold to overcome in such case.

03 .   There is no quantity-element: I newly-planted or newly-sowed narcotics plant is illegal just as a fully-established large farm of fully-

       grown narcotics plants is illegal. I gram offentanyl stored at a private-property is illegaljust as thousands of kilograms offentanyl stored

       at such private-property is illegal. There is no quantity-threshold to overcome in such case.

04 .   There is no quality-element: I poorly-growing or failing narcotics plant is illegal just as a thriving, fully-established large farm of fully-

       grown narcotics plants is illegal. Inefficient, leaky or messy storage of illegal narcotics at a private-prope1ty is illegal just as neat-and-


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       efficient storage of such illegal narcotics at a private-property. There is no quality-threshold to overcome in such case.

05.    There is no need to prove culpable-mental-state - malicious-intent OR recklessness: Even people with good intentions (and with no

       intentions to cause harm) who grow such narcotics plants are guilty of violating the anti-narcotics laws. Even people who knowingly and

       deliberately gift/donate (free-of-charge) l00% of thei.r illegal painkilling narcotics to victims of acute/ch.ronic pain (in-order-to help such

       victims aUeviate such pain) are guilty of violating the anti-narcotics laws.

06.    There is no need for the Police/Prosecutor/Judge/Juty to evaluate what a "reasonable person" would have done is the same

       circumstance, as would be the case in alleged crimes of negligence and/or recklessness and/or endangerment - growing,'storing of illegal

       narcotics is an intentional act that any "reasonable person" (of any race/culture/religion/politics) knows is unlawful in eve1y

       circumstance (whether-or-not they agree with the law).

07 .   The growing,'storing of narcotics on private-property is illegal at any time of the year.

08.    Depending upon the amount of narcotics grown/stored, the charge could be a high-level felony.

0 9.   Large amounts of Narcotics could be efficiently stored/grown - for the prospective sale/distribution and consumption of millions of

       people - in a relatively-small residential lot. So, the quantitative aspect of harm caused could be great.

10.    Narcotics could be sold/distributed to minors. Consumption of even extremely-small amounts of certain types of narcotics (such as

       Fentanyl) can be lethal. Consumption of even less-lethal narcotics can have otherwise negative/haimful impact(s) on community/society

       due to the various intoxication effects of such substances (such as driving a vehicle while intoxicated). Consumption of

       methamphetamines could cause unpredictable, violent behavior/action. Therefore, it could be argued - especially in te1ms of the

       qualitative aspect of the hatm - that anti-narcotics laws do, at least in theory ( ◊ ) , serve a valid societal purpose, as long as they are not

       being interpreted and enforced in a discriminatory manner, and as long as the law is itself not discriminatory (for example, the

       discriminat01y crack-cocaine versus powder-cocaine laws).

11.    When there is sufficient probable-cause, a search/seizure may, under certain exceptional circumstances such as "hot pursuit", "special

       needs" and "exigent circumstances", be conducted without law-enforcement lawfully obtaining and executing search-warrant(s). If a

       suspect tries to escape a law-enforcement officer who is trying to question him/her, then the "hot pursuit" exception applies, and any

       illegal narcotics discovered as a result of this "hot pursuit" may be lawfully used for prosecution purposes. If a property is suddenly-

       suspected to house violent activity such as someone repeatedly screaming "Help!" from a property's enclosed backyard, law-

       enforcement officer(s) may lawfully enter into the backyard without a search-warrant to investigate, and, if during this investigation, the

       officer(s) notices illegal narcotics, then the appropriate person(s) can be prosecuted for those illegal narcotics (in addition to any other

       violent crimes) due to this particular "exigent circumstances" exception. A "special needs" exception to obtaining a search-warrant,

       based upon nationa~ homeland or domestic security, may be applicable when law-enforcement receives brand-new information that

       substantial immediate violent threat(s) are originating from a property which, when searched, also happens to house illegal narcotics. In

       all of these exceptional cases, the government will argue that the observed substantial immediate threats override the government's need

       to fill-out-pape1work, present the evidence of sufficient probable-cause under oath to the Judge, and then upon Judge's approval,

       lawfully-execute-the-search-wmTant - all of which introduce delays that may result in substantial immediate harm to people. But even in

       such exceptional cases, if a defendant files a motion to suppress evidence based upon the lack of search-warrant(s), then the government

       would still need to present valid justification to the appropriate Judge for the exceptional warrantless search/seizure, and it would be the

       exact circumstances of a particular situation that determines whether-or-not the government was justified in conducting the exceptional


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       warrantless search/seizure, and whether-or-not all/particular pieces of searched/seized evidence may, or may not, need to be suppressed

       at trial. Obviously, if any warrantless raid on a private-property results in unnecessary property-damage, mental-anguish, bodily-injmy or

       death of any of the owner(s)/occupant(s)/guest(s), then that law-enforcement and/or government would be even-more liable - if not

       under criminal-law, then certainly under civil-law - to the injured (or to the family of the deceased), than they would have been if they

       had lawfully-executed a lawfully-obtained search-warrant.

12 .   Law-Enforcement does not need to issue a warning-citation for possession, growth and/or distribution of illegal narcotics - such acts are

       instantaneous crimes.

13.    The growth and/or storage of illegal narcotics on private-property is clearly-illegal whether or not the perpetrator has erected a privacy-

       fence to conceal and confme the clearly-illegal activity.

14.    A resident does not have a Constitutional/Statutory right to grow/store (or even consume) of illegal narcotics - especially dangerous/lethal

       narcotics - on private-property, and especially if it can be shown that such resident's activity causes harm onto others.

15.    When extremely-dangerous and/or lethal narcotics (such as c,ystal-mcth or fentanyl) that are being trafficked is suspected to be

       stashed/stored at a particular private residence, law-enforcement may be justified in using at least some limited forms of pre-search-

       warrant external surveillance of the property in-order-to confinn their suspicions. If this short-term external surveillance then produces

       sufficient probable cause of serious crimc(s) being committed, then law-enforcement can obtain and execute search-warrant(s).

       However, in «CARPENTER V. UNITED ST ATES» for example, the [SCOTUS] ruled that "Government acquisition of cell-site
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       record\' is a Fourth Amendment search, and, thus, generally requires a warrant. Since that {2018-06-22} [SCOTUS] ruling, lower

       comis have expanded the ruling to include any type of long-term (external) government surveillance of private property even from public

       areas (such as streets/sidewalks), strongly indicating that any long-tenn (external) government surveillance ofa private residence does

       infringe upon person(s) fourth-amendment rights, and therefore does require law-enforcement to lawfully obtain search warrant(s) prior

       to engaging in such surveillance.




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However, Texas1s Public-Nuisance-Law does not meet any of the aforementioned criteria, and the wording, interpretation and enforcement of

this law requires law-enforcement to, ® conduct a lawful, prolonged observation of the property in question AND, ® make several attempts

to contact the owner(s)/occupant(s) in-order-to further-investigate/resolve the issue without scarchin!}'chargin!}'prosecution AND,© as the last

resort, perform a lawful up-close inspection/search - using a lawfully-obtained search warrant - prior to even issuing a warning citation for such

alleged public-nuisance. In comparison:

01.    The law is not binaiy or black-or-white in nature, and to the contrary, the law is intending to regulate one big grey-area with many

       contradictions, much irrationality, much arbitrariness, and much capriciousness (sec the next section). The law's wording is rather vague

       - even unconstitutionally vague as the plaintiff argues (see the next section)- the interpretation of the law is extremely-subjective and

       open-to diverging opinions/interpretations - especially to those of differing racial/cultural/religious/political backgrounds. Furthermore,

        law-enforcement may be able to lawfully-observe (from a public vantage point) objects or conditions on a private property that might

       constitute a public-nuisance, but without making several attempts to question the owner(s)/occupant(s) about this issue and, if possible,

       consensually inspecting/searching at least some of the objects/conditions up~close, they would not even have sufficient probable-cause to

       obtain a search warrant to verify the alleged public-nuisance - let alone, proceed with issuing a warning citation.
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02 .   There is a time-element or time-threshold - generally speaking, a public-nuisance takes time to develop and cannot be detennined by one

       snapshot in time. Additionally, a public-nuisance involves a prolonged-dumping-of-specific-types-of-objects and/or other prolonged

       conditions on a private property that could constitute harm to neighboring owner(s)/occupant(s) - with the length of time usually

       explicitly specified by the law - for example, 'Jor JO days or more" - see [THaSC-TS-SA-C343-SB-§343.0 l I (c)(2)]. Thus, at a

       minimum, law-enforcement would need to lawfully observe (again, from a public vantage point) these alleged conditions for a period of

       "JO days or more" - prior to questioning the owner(s)/occupant(s) about this issue and, as a last resort, lawfully obtaining-and-executing

       a search warrant to confmn their suspicions - and even a warning citation cannot be issued until, at a minimum, after their suspicions

       have been confirmed.

03.    There is a quantity-element or quantity-threshold - for the dumping-of-objects or other-conditions on a private-property to be considered

       a public-nuisance, the quantity of items dumped must be large-enough and/or the conditions must be so severe so as to be considered

       unsafe/ hazardous to neighboring owner(s)/occupant(s). Again, this criteria cannot be confmned without law-enforcement lawfully

       questioning the owner(s)/occupant(s) about this issue and, as a last resort, performing an up-close lawful inspection/search.

04 .   There is a quality-element or quality-threshold - purely-aesthetic or purely-cosmetic issues are not to be considered a public-nuisance - if

       a part of private property "looks ugly" or is an "eye sore" to some people, then that subjective opinion alone clearly cannot be

       considered a public nuisance, and governments have absolutely no authority over purely-aesthetic or purely-cosmetic issues of a private

       property ( e ) . Again, without an up-close inspection/search and/or questioning the owner(s)/occupant(s) about this issue, there would be

       no way for law-enforcement to determine if an issue on a private property is a purely-cosmetic/purely-aesthetic issue or an issue that

       could be a public-nuisance (in essence, a legitimate health/safety issue).

05.    More importantly, there is a need for law-enforcement to prove either culpable-mental-state (malicious-intent OR recklessness) or in the

       absence of culpable-mental-state, criminal-negligence. Owner(s)/Occupant(s) that willfully maintain their property in a certain manner -

       but without any malicious intent - cannot be charged with violating the public-nuisance law - especially if their property maintenance is

       closely tied to their constitutionally-protected racial/cultural/religious/political practice(s)/speech (see the next section). If the

       owner(s)/occupant(s) are in disagreement with law-enforcement - denying that conditions on their property constitute a public-nuisance -

       then, at a minimum, those owner(s)/occupant(s) must be afforded, at a minimum, a due-process right to a formal hearing, as is

       guaranteed by [THaSC-TS-SA-C343-SC-§343.022] ("ABATEMENT PROCEDURES''). The only way in which owner(s)/occupant(s)

       can be criminally-negligent when it comes to the public-nuisance law is if they, through their actions(s)/inaction(s), allowed their property

       to develop conditions so severe so as to be unsafe/harmful to the neighboring owner(s)/occupant(s). But in any case, if the

       owner(s)/occupant(s) are perpetually living,'residing at the property in question, then it would be ve1y-difficult, if not impossible, for law-

       enforcement to prove either malicious-intent or recklessness or criminal-negligence since the owner(s)/occupant(s) themselves would be

       suffering the same (or worse) harmful effects of the allegedly harmful conditions on the property as the neighboring

       owner(s)/occupant(s). One of the major differences between some types of public-nuisance (certain types of objects dumped on one's

       own property/land/residence) and littering,'illegal-dumping/criminal-mischief (any objects dumped on another's property/land/residence) is

       that only the former requires law-enforcement to prove either culpable-mental-state (either malicious-intent OR recklessness) or in the

       absence of culpable-mental-state, criminal-negligence.

06 .   In alleged crimes of negligence and/or recklessness and/or endangerment, where a person does not intend to commit a crime, the

       Police/Prosecutor/Judge/Jmy is required to evaluate what a reasonable-person would have done in the same circumstance. In a case of

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      property-maintenance/sanitation standards such as the public-nuisance law, since people of different races/cultures/religions/politics have

      substantially different standards of property-maintenance/sanitation and diverging opinions of what constitutes a public-nuisance (see the

      next section), the Police/Prosecutor/Judge/Jury would be required to evaluate what a "reasonable person of the same

      race/culture/religion/politics" as the accused would have done in the same circumstance - and in particular, whether-or-not that person

      would-have-considered or should-have-considered the conditions on their property/residence to be unlawful.

07.   During the Winter months and early-Spring months (beginning-of-November through the beginning-of-April in Central-Texas), there is

      no possibility of a Public-Nuisance. The Public-Nuisance law involves the potential harm caused by "mosquitoes, rodents, vermin, or

      other disease-can:ving pests" - and none of these potentially harmful elements are active and/or hatmful during these relatively-cold

      months. Most vegetation considered to be '\veeds" do not survive the onset of the winter. Also, public-nuisances take time (usually

      several weeks) to develop - they do not happen overnight.

08.   The charge for an alleged violation of the Public-Nuisance law is ahnost always a Class-C-Misdemeanor - which, even with a conviction,

      is punishable only by up to a $500 fme - and is rarely a higher-level Misdemeanor (for repeat offenders). Especially given the other

      factors mentioned above, it is totally unreasonable and entirely unfair for law'-enforcement to be able to obtain and execute a search-

      warrant - to violate one's privacy - in search of a Class-C-Misdemeanor rather than what search warrants are primarily intended for:

      felonies such as narcotics, financial fraud, robbery, racketeering-acts, major property crimes, violent crimes, etc.

09.   Even if an alleged violation appears to be true, a Public-Nuisance only potentially affects, at best, certain immediate neighbors. So, due

      to the manner in which most residential subdivisions are designed - a valid Public-Nuisance allegation could potentially impact 1 to, at

      most, 3 neighboring property owners. Furthermore, in neighborhoods where each property's backyard is enclosed by a privacy-fence,

      rodents and vermin would have to crawl and/or jump over the tall fence to get to neighboring property, making it difficult, if not

      impossible, for law-enforcement to prove that there were any actual victim(s) in the alleged crime. Therefore, the quantitative hann of a

      valid Public-Nuisance allegation is trivial/minute compared to most other laws that require lawful use of search-warrants.

10.   Even if an alleged violation appears to be true, a Public-Nuisance only causes, at best, an annoyance and/or discomfort to certain

      immediate neighbors. Therefore, the qualitative harm is as low as can possibly be as far as criminal laws are concerned. So, even the

      decision for obtaining a search-warrant to investigate an alleged Public-Nuisance must be reserved to the most severe alleged violations

      that pose severe health-and-safety hazards.

11.   Even when an alleged violation is confmned to be true by law-enforcement conducting a lawful up-close inspection/search. law-

      enforcement is required by law to give the owner(s)/occupant(s) JO-business-days (a minimum of2 weeks) to 30-days to abate the

      alleged Public-Nuisance in-order-to avoid prosecution (see [THaSC-T5-SA-C343-SC-§343.022)). So clearly, in the case ofa Public-

      Nuisance, there is never an immediate threat to any person(s), and thus, there is no "exigent circumstance" that law-enforcement can

      claim to execute a nonconsensual warrantless inspection/search/seizure solely for the purpose of investigating an alleged Public-

      Nuisance.

12.   Law-Enforcement does need to issue a warning-citation to an accused-party for an alleged Public-Nuisance prior to initiating a criminal-

      charge against that accused-party - Public-Nuisance is not an instantaneous crime. Also. in no way does the issuing of a Public-Nuisance

      citation signify the guilt of the accused pat1y. If the accused party rectifies the alleged issue within the deadline, then the case is closed,

      and any subsequent allegation of Public-Nuisance would need to re-start the warning-citation procedure again from a blank-slate.

13.   A resident can eliminate the possibility of an alleged public-nuisance violation by erecting a (6-feet-tall-or-taller) closed privacy-fence


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       within or directly-on the property-boundary, thereby, not only confming any items/conditions exclusively within the confines of of such

       private-property, but also concealing any items/conditions from being visible from a public street. In other words, the erection of such

       privacy-fence confers builtin protection against public-nuisance allegations.

14.    At least some parts of the Public-Nuisance law - or at least the abusive interpretation/enforcement of this law - cuts into core

       Constitutional/Statutory rights, depriving at least some resident(s) of such resident(s)' legitimate uses of his/her own private-property,

       and as as more-verbosely documented in the following section.

15 .   Due to all of the reasons specified above, a government that engages in any type of external surveillance - with or without a search

       warrant, either long-term or sh011-tenn - to determine alleged Public-Nuisance violations is completely unjustified because it egregiously

       infringes upon owner(s)/occupant(s) fundamental right-to-privacy and fundamental right-to-be-free-from-unreasonable-search-and-

       seizure over the grey-area issue of sanitation.




i714
Moreover, as alluded-to above, an up-close inspection/search is required to confirm whether or not a Public-Nuisance exists, due to the manner

in which the law defines various objects/conditions, for example:

01 .   Even if plants growing on private property are alleged by neighbors/law-enforcement to be "rank and uncultivated" - which is disputable

       (see the next section concerning Constitutional rights) - whether or not these arc "weecl\' 11 depends, at a minimum, upon if they exceed

       36-inches in height - the only way for law enforcement to confmn this is to visit the plants up-close and take height measurement(s). If a

       private property contains elevated soil - for example, in a raised-bed garden and/or large/tall pots - then, clearly some plants may appear

       taller than they actually are - especially when lawfully-observed from a public vantage point.

02.    Scrap-materials are re-usable, repurposable and/or recyclable 11nondecayable'1 materials left over from product manufacturing and

       consumption. Scrap-materials have monetmy value and are not considered to be "waste" of any kind; thus, scrap materials can be

       legally stored by the owner(s)/occupant(s) in any part of a private prope1ty. For example, many types of plastic can be melted and

       molded into new objects to serve various new functions, and machines do exist to melt and mold plastics into, for example, plastic

       lumber for landscaping use. Glass and ceramics can be crushed into fine particles and used as the sand ingredient/substitute in concrete

       mix - especially important since the sand used in concrete mix is a very-limited/scarce resource. Larger pieces of glass and ceramics can

       also be used as a gravel/stone substitute especially in cases where gravel/stones are buried underground for drainage purposes; for

       example, a few inches of graveVstones are used at the bottom of postholes, so that fence-posts that are made of wood do not rot from

       the bottom, and so that fence-posts that are made of steel do not rust from the bottom. Re-using such scrap materials for these purposes

       is not only an environmentally-friendly practice that reduces consumption of materials/energy-resources, but such practice is also a

       Constitutionally protected form of religious practice, political speech and art (see the next section concerning other Constitutional rights).

       Therefore, government cannot regulate/restrict the storage of scrap materials anywhere on private prope11y as long as the person(s)

       doing the storage are owner(s) of the property - see for example [THaSC-T5-SB-C365-SB-§365.012(1)].

03.    As defmed in [THaSC-T5-SB-C365-SB-§365.0l 1(6)] and [TI-laSC-T5-SA-C343-SB-§343.0l l(c:2)], "rubbish" is "nondecayable"

       waste - including plastics, metals, glass, rubber, wood, and even paper products such as cardboard - but only if the owner(s)/occupant(s)

       agree/admit that such materials are "waste 11• According to Texas law, Rubbish may be legally stored in an enclosed building or in any


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      area above ground level (for example, on shelves) that "is not visible from the street". "Garbage" is defmed as "decayable" waste -

      including "vegetable, animal, and fish offal and animal and fish carcasses". According to Texas law, Garbage must be stored in a

      "closed receptacle", where "receptacle" is defined as: "container that is composed of durable material and designed to prevent the

      discharge of its contents and to make its contents inaccessible to animals, vermin, or other pests." According to Texas law, "Re.fuse"

      is simply an unsorted/uncategorized/unseparated mixture of Rubbish and Garbage, and since Refuse contains Garbage, Refuse must also

      be stored in a "closed receptacle". Especially when considering materials of the "nondecayable" type, governments do not have the

      authority to arbitrarily-determine what constitutes waste (Rubbish) and what is not waste (including, but not limited to, Scrap) - as that

      determination is exclusively made by the owner(s)/occupant(s). Archivists/collectors archive/preserve/collect large amounts of materials

      (physical and/or digital) for archiving/preservation/antique/collectible/political purposes (,) . (The idiom - "One man's trash is another

      man's treasure" - comes to mind.) Even if law-enforcement lawfully observes objects stored/deposited/dumped on a private property

      that could potentially be considered a violation of the Public-Nuisance law, the only way for such law-enforcement to verify that there is

      a violation is to make several attempts to question the owner(s)/occupant(s) and, only if unsuccessful at contacting the

      owner(s)/occupant(s) (only as a last resort), lawfully obtain and execute a search-warrant to look-at-up-close, uncover, open and/or

      unbag such items.

04.   If owner(s)/occupant(s) are using either sheets-of-cardboard/sheets-of-newspaper for the permacultural landscaping technique of sheet-

      mulching on their surrounding landscapes, or sheets-of-black-plastic/sheets-of-clear-plastic for the technique of solarization on their

      surrounding landscapes, then clearly law-enforcement cannot consider the use of such legitimate, intentional landscaping

      materials/techniques to be a Public-Nuisance of any kind (n) .

05.   In the State of Texas, it is not unlawful for residential owner(s)/occupant(s) to harvest rainwater in improvised containers including, but

      not limited to: buckets and barrels. Indeed, even local public television programs such as ((Cenh·al Texas Gardener)) document cases in

      which residential owner(s)/occupant(s) use such improvised containers for rainwater hatvesting. Therefore, rainwater collected in such

      containers cannot be blindly assumed by law-enforcement to be stagnant-water likely to "harbor mosquitoes". First, mosquitoes emerge

      from water after a week, sometimes many weeks (based upon average temperature) - not immediately after rainwater has accumulated.

      Second, residential owner(s)/occupant(s) could have installed mosquito-dunks in such containers in-order-to eliminate the possibility of

      mosquitoes. Third, the owner(s)/occupant(s) may be utilizing each collected batch of hmvested rainwater after a set amount of time (for

      example, a week) from the most-recent significant rainfall (It is pointless to water plants immediately after it has just rained). Again, the

      only way for law-enforcement to confirm if such containers actually "harbor mosquitoes" is to (lawfully) inspect them up-close to verify

      the existence of mosquito larvae. Improvised containers are the cheapest and least-expensive tools for rainwater harvesting - and law-

      enforcement cannot

      arbitrarily/discriminatorily/capriciously/retaliatorily/predatorily/hypocritically/abusively/oppressively/selectively/biasedly target/penalize

      owner(s)/occupant(s) of limited income/wealth, who do not have the finances for professional rainwater-harvesting installations (which

      can easily cost in excess of $20,000). Even in terms of pure logistics, it is almost-impossible for the typical small-lot residential private-

      property to be the source of mosquito breeding/harborage given that there are much larger public sources: storm-drains, street-gutters,

      and all other low-lying areas where exponentially larger amounts of rainwater easily accumulates (and even persists) after a substantial

      rain.

06.   As of {2013-09-01}, the Texas Property Code, [TPrC], allows owner(s)/occupant(s) to compost by preventing [HOA]s from


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      prohibiting/restricting solid-waste composting of materials that may otherwL<;e be considered to be "decayab/e waste". Therefore, the

      existence-of and even the visibility-of what appears to be "decayable waste" - outside of "closed receptacle(\)" - does not automatically

      mean that an owner(s)/occupant(s) arc guilty of violating the Public-Nuisance law concerning garbage ("decayable waste") - since,

      technically, such materials could be composting material(s) and not "garbage" (in essence, not "waste'?. Furthcnnore, if a residential

      property owner also owns additional agricultural-private-property (which is true in the case of the plaintifl), then clearly such property-

      owner is fully-entitled to collect and temporarily-store composting materials (and any other fa1ming-related materials) at the residential

      property, so that such materials can be transported-to and used at the agricultural-private-property. Finally, the practice of composting is,

      to many racial/religious minorities, a fmm of Constitutionally-protected religious practice - for example, as part of larger religious practice

      of leading a ''zero-waste" lifestyle - thereby barring the Govemment's regulation/restriction of such practice (see the next section

      concerning other Constitutional rights).




~715
Due to the substantial differences in all of these crucially-important criteria, the inte1pretation and enforcement of Texas's Public-Nuisance law

is substantially-more-restricted and substantially-more-controversial than most other laws that also require lawful

inspection(s)/search(cs)/seizure(s) - and so, law-enforcement must take every precaution to avoid infringing upon civil rights by, at a minimum,

fully taking-into-account all of the substantive legal issues raised in this lawsuit.




                                                                           §XXX

              TEXAS PUBLIC-NUISANCE LAW VIOLATES THE FIRST-

     AMENDMENT, DUE-PROCESS AND EQUAL-PROTECTION CLAUSES


1716
The term "unsanitat'.}' condition(<;.) likely to attract m· hai-bor mosquitoes, rodents, vei-min, or other disease-carrying pests" mentioned in

several places of Texas's Public-Nuisance-law is extremely vague (in violation of the due process clause). extremely subjective, extremely

hypocritical and open to diverging interpretations - especially to those of differing racial/cultural/religious/political backgrounds. Additionally, it

is a fact that 11rodents 11 and "vermin" arc attracted to high-calorie sources of food rather than the undefined term "unsanitary condition(\)" (see

excerpt below). So, for example, a "neatly-maintained" (or "sanitarily-maintained'? and "aesthetically-beauttfitl" backyard containing an

abundance of high-calorie fruit plants (like blueberry, blackberry, strawbeny, grapes, peaches), high-calorie vegetable plants (like potato,

sweet-potato), higl1-calorie nut/seed plants (like sunflower, peanuts, pecans, corn, beans) is far more likely to attract rodents and vermin than

"unsanitary condition(.v) ". So, it makes absolutely no sense that only the latter is penalized and not the former - and, without question, a
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majority of Americans would be strongly-opposed to penalizing the former. (In fact, many people that grow a large amount of food in their

backyard often resort to using traps or electric zappers to trap or deter such aninrnls.) The plaintiff has noticed one-or-more mice (see below) at

a significantly greater frequency at the plaintiffs [PARENTS]' property, than at the plaintiffs property - all due to the greater number of fruit

trees/bushes in the plaintiffs [PARENTS]' backyard. Also, there are many widely-used landscaping plants/trees/shrubs - like the Elaeagnus in

the [FRONTYARD] - that produce fruit that arc sweet/edible to both rodents/vem1in and humans.




'.1[717
Since rodents and vermin require high-calorie sources of food, rodents and vermin can also survive on the faeces of dogs/cats that eat high-

calorie food. In many, if not most, residential subdivisions, owner(s)/occupant(s) are allowed to have up to 4 dogs and/or cats. In the case of 4

large dogs, for example, not only is the amount (volume/mass) of dog faeces going to be large, but if these dogs are being fed outdoors, then

there is inevitably going to be residue/crumbs or even sizable chunks of the dog food scattered where rodents and vermin can access such food

at night. The plaintiff is unaware of any Government in Texas inspecting peoples' backyards for the existence of dog/cat faeces and/or dog

food and prosecuting such peoples for this rodent/vermin attractant. Furthe1more, there do exist small-lot (densely-populated) residential

subdivisions in Texas where residents are legally allowed to own poultry - particularly hens. It is abundantly clear that chicken-coops and any

other location where chicken-feed is stored or dispensed is often patroled, if not raided, by rodents/vennin that thrive on such high-calorie food

sources. Since domesticated chicken eat a high-calorie, grain/seed-based diet, even chicken faeces are a valuable food source for

rodents/vermin. The plaintiff is unaware of any Government in Texas inspecting peoples' backyards and chicken-coops for the existence of

chicken-feed and/or chicken-faeces and prosecuting such peoples for these rodent/vennin attractants.




'.1[718
Law-enforcement's interpretation and enforcement of what constitutes rodent/vermin harborage is also yet another example of

arbitrary/capricious/discriminatory/retaliat01y/predatory/hypocritical/abusive/oppressive/selective/biased enforcement - for example, rodents can
easily live under any structure or object stored on one's yard - and can also live inside or underneath sheds. The plaintiff is unaware of any

Government in Texas thoroughly inspecting frontyards or backyards for any-and-all stmctures/objects that could be rodent/vermin harborage.

Again, even in the case ofharborage, it is not 11unsanit01y condition(s)"that harbor rodents/vermin, but rather any stmctures/objects/medium

in-which or under-which rodents/vermin can live/hide/burrow.




'.1[719
The use of the term "rodent"is also extremely hypocritical, as the plaintiff is unaware of any prosecution of any owner(s)/occupant(s) for

attracting and harboring squirrels onto their property. There is undoubtedly an abundance of Oak trees generating enough acorns to attract large
amounts of squineL,;; onto the frontyards and backyards of residential properties - in fact, large amounts of squirrels live in such trees situated in

countless residential properties in Texas. So, at a minimum, the law is hypocritically interpreted and enforced in this regard as well.




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<_[7 2 0
Also, there is a substantive difference between "rats" and "mice" - mice are substantially smaller in size and considered to be ubiquitous, even

in the most "neatly-maintained" of "care.fitlly-manicured" lawns. Indeed, there are television advertisements for products/services to keep

mice from entering into the house. The surest way to eliminate (or at least minimize) any possibility of even mice on one's property is to

simply get rid of all soil and vegetation - and simply install a surrounding landscape of 100% gravel/stones/concrete. But it is more-likely-than-

not true that most White-American homeowners, in particular, prefer a "lawn". The idiom - "You can't have your cake and eat it too" - comes

to mind. With soil, comes all of the living species that live in/on soil. So, if certain owner(s)/occupant(s) were so concerned about

rodents/vermin that they fraudulently claim are only originating from another neighbor's property, then such people would be much-better-off

converting their own yard into 100% gravel/stones/concrete - and daily picking-up every single bit of dog/cat faeces/food - instead of

fraudulently complaining about their neighbor to law-enforcement. Alternatively, the builders of such residential subdivisions could easily

provide home-buyers with the option to install a landscape of gravel/stones/concrete instead of "lawn" - thus eliminating the need for any

conversion.




<_[721
Along those same lines, the complaining owner(s)/occupant(s) could, instead of fraudulently complaining to law-enforcement about their

ne ighbor, also easily and at minimal/marginal expense, install motion-activated LED lighting comprehensively covering all surrounding areas of

their home including backyard. Such motion-activated LED lighting is not only inexpensive, but also, has minimal/marginal operating costs and

high durability/longevity due to being motion-activated. Rodents/Vennin will not enter into any areas that are adequately lit-up by such motion-

activated LED lighting. Thus, the responsibility for deterring such anin1als from their residence lies with both the accusing party and the

accused party. If the accusing party is not taking such minimal/necessary precautions, then they are not entitled to make complaints about the

accused party to law-enforcement. Almost all, if not all, of the Texas-Public-Nuisance-Law was written/updated in {1989}/{199I} , but in the

many decades since those years, there have been many innovations in inexpensive technology that, when such inexpensive technology is

effectively used, sin1plifies the attainment of the original goals of the Texas-Public-Nuisance-Law, without resorting to legal action; in other

words, a person should never be fraudulently charged and prosecuted for violating the Texas-Public-Nuisance-law, when such inexpensive

technology could easily be utilized by the complaining residents to eliminate any-and-all alleged public-nuisances from their property.




~722
Privacy-fences (6-feet-tall or taller) are not a feature of many, if not most, residential subdivisions in Texas - and the Public-Nuisance-Law

applies to all residential subdivisions - those with and without such privacy-fences. When the ~Texas Legisl atu re ➔ wrote the Public-

Nuisance-Law, they were writing such law with the impression of unenclosed/open backyards where the item(s)/condition(s) of one property

could spill-over onto neighboring property due to the lack of such privacy-fences. So, residential subdivisions that do have such privacy-fences

offer some built-in protection from alleged public-nuisances since, while rodents and vennin, can climb/jump-over such privacy-fence, such

animals are not likely to do this often since it expends limited-energy of such animals. So, even if the accusing party accuses a neighboring

property owner of maintaining property in a manner that could constitute an alleged public-nuisance, then the existence of such privacy-fence


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will, to a great extent, render the accusations to be illegitimate or overly-exaggerated. As mentioned above, such animals are only likely to climb

and cross the fence if they detect a food source on the other side of the fence; so, again, the responsibility for deterring such animals lies with

both the accusing party and the accused party.




<.[7 2 3
If it is the case that residents allow their domestic cats to roam freely at nighttime, as is the case in many residential subdivisions (often in

violation of such subdivisions' restrictive covenants), then these cats inevitably jump into other residents' backyards. It goes without saying that

a backyard that is regularly patroled (during both daytime and nighttime) by a neighborhood's freely-roaming domestic cats cannot possibly be

considered to be a public-nuisance as such cats have hundreds-of-thousands-of-years of evolutionary skills to detect, hunt and chase rodents -

and such rodents are the natural prey of such cats.




<.[724
Finally, it is widely known, at least amongst diverse, educated and open-minded circles, that rodents, including rats, are also not perceived in

the same manner across peoples of different races/cultures/religions/politics. While White-American (and White-European) cultures generally

consider the rat as an unwanted pest, Asian cultures and religions, in paiticular, tend to have a diametrically-opposite view. For example, many

peoples of South Asia - including South India where the plaintiff is originally-from - worship the rat as a religiously-sacred animal, and even

feed milk and grains to wild rats. In many cultures, wild rats are even caught for food, and domesticated rats are even fanned for food. Many

wild rodents (including mice) are known to prey-upon other unwanted pests such as cockroaches; so, again, if residents want a chemical-free

solution to eliminate cockroaches and other unwanted insects around their house, then the only way is do so (other than replacing all soil and

vegetation from the property with deep-layers of stone/concrete) is to allow habitat on the property for the natural predators of cockroaches -

including mice, frogs and large-lizards (lizards that are I foot or longer and that are approximately 2-inches thick - see below).




<.[725
Since the crucial term "11nsa11ita1J1condition(.~)" is totally undefined, it is open to very-diverging interpretations and is prone to extremely

arbitrary/capricious/discriminatory/retaliatory/predatory/hypocritical/abusive/oppressive/selective/biased enforcement by law-enforcement. For

example, consider the (non-hypothetical) scenario of a family with 4 babies. Such family would have a garbage-bin substantially-filled with

dirty-diapers (thus human faeces) from each of those babies. In this scenario, suppose that the garbage pickup service only picks up garbage

once a week. Since garbage bins (and garbage bags) are not sealed/airtight containers, such human faeces will undoubtedly attract flies/other-

insects and is also likely to generate a substantial amount of maggots (especially during the sum.mer months). Such garbage bins might easily

attract large vennin - such as raccoons, possums, etc. - that are capable of rununaging through this unsanitary waste in search of food. The

plaintiff is unaware of any Goverrunent in Texas inspecting garbage bins and/or criminalizing people for such unsanitary storage and/or disposal

of hmmm faeces:
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Sec. 341.0JI. NUISANCE.

 Each of the following is a public health nuisance:
    ( /) a co11ditio11 or place that is a breeding placeforflies and that is in a populous area: ...


    (5) sewage, human excreta, wastewate1; garbage, or ather organic wastes deposile<l stored, discharged, or exposed in such a way as to be a potential i11s/111me11/ or medium in
 disease tm11s111issio11 Jo a person or betll'een persons; ...


 Sec. 34/.0/4. DISPOSAL OF HUMAN EXCRETA.


    (a) J-111111011 excreta in a populous area shall be di.111osed of tlmmgh properly managed se,rcm,. lreat111e11t tanks, chemical toilets, or privies co11st111cred and 111ai11tai11ed in
 cmifom1ity with the depar/111e11t'.r ~11ecificalio11s. ar by other methodv approved by the depm1111e11/. The disposal sJ<@m shall be sufficient to preveut the pol/11tio11 of swface soil,
 1/,e conrm11i11atio11 of a drinking wafer supply. tlw i1ifectio11 offlies or cockroacl,es, or //,e creation of WI)' o//,er public /waif/, nuisance....


    (e) Marerial and /11111w11 ercreta removedfrom a privy vault orfrom any other place shall be handled in a 111a1111er that does 110/ create a public health nuisance. The material
 and /111111011 ercreta may 110/ be depo.l"ited within 300 feel of a higl11my unle.~v buried or treated in accordance with the i11st111ctio11s of the local hea/tl, au1/10rity or the depam11e11I.




9(726
Food preferences of peoples of differing races/cultures also highlight differences in standards of sanitation and disgust. For example, best-selling

author, journalist and University of California-Berkeley Graduate School Professor Michael Pollan points out that almost every culture

considers some food-choice(s) of another culture to be disgusting. Many peoples of Asia consider ''stinky cheese" (including cheddar) to be

disgusting- yet, many peoples of Western cultures (including White-Americans) joyfully consume "stinky cheese". Lobsters are sometin1es

referred to as "cockroaches of the sea" - yet, many peoples of Western cultures (including White-Americans) consume them, while still

considering the consumption of insects by many other ethnic cultures around the world to be disgusting. The plaintiff personally considers

oysters, clams and snails to be disgusting- yet, many peoples of Western cultures handle and consume them - in some cases, even raw.

(Additionally, seawater contains at least trace amounts of the excreta of all the animals living in the sea/ocean and when oysters are consumed

raw, some amount of that animal-excreta is ingested.) The cmcial difference is that the plaintiff - 1md all other people who follow the ''golden

rule" - are not imposing their subjective opinions/standards about standards of sanitation (or disgust) onto other people who have eve1y right to

handle and consume such food. The same differences also apply to the manner in which "11nsanita1J1" is interpreted and enforced by law-

enforcement people, especially of one race/culture/religion, cannot rightfully impose their own subjective opinions/standards of sanitation on

other people, especially of a different race/culture/religion, and this is particularly-true if the complaining-party(s) are all of the

dominant/majority race/culture/religion and the accused-party is of a minority race/culture/religion.



9(727
Even disregarding the fact that differing races/cultures have differing standards of sanitation and/or disgust, such standards of sanitation and/or

disgust even vary from individual person to person (including such persons of the same race/culture). For example, as a policy of personal

sanitation and hygiene, the plaintiff does-not and will-never - unless the plaintiffs swvival requires it - enter into swimming pools or into other

bodies of water (lake, stream, river, pond, sea, ocean, etc.) because such bodies of water contain, at the very least, trace amounts of human

faecal-matter/urine and/or other-animal faecal-matter/urine; yet, people all around the world enter into such bodies of water. Swin1ming pools
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are almost-always chemically treated with large amounts of toxic chemicals like chlorine - and the plaintiff will never knowingly expose the

plaintiff to such toxic chemicals. Untreated bodies of water (lake, stream, river, pond, sea, ocean, etc.) are also a major source of many water-

borne diseases and infections usually caused by harmful microbes, and the plaintiff will never knowingly increase the plaintiffs exposure to

such harmful water-borne pathogens. (Water, including moisture/droplets in the air, is the primary medium by which pathogens, diseases and

vimses arc spread.) The plaintiffneverowned a pet-dog or a pet-cat, and so, the plaintiff never had the need to pickup dog-faeces/cat-faeces,

althougl1 the plaintiff considers such pickup to be disgusting and unsanitary. The plaintiff considers the use of diapers - both infant diapers and

adult diapers - to be very disgusting and unsanitary, because, frrstly, the faeces and urine actually stick to the human-skin (or remain in very-

close-proximity to human-skin) for a significant period of time. Secondly, the plaintiff considers the cleanup associated with the use of diapers

to be another disgusting and unsanitary practice. Both the (unsustainable) manufacture of new diapers and the disposal of dirty diapers into

landfills causes huge costs/damages to the environment and the climate - due to the emissions caused by such human waste. So, even

disregarding the real issue of racial/religious/cultural differences when it comes to standards of hygiene, sanitation and disgust, even imposing

one pcrson1s subjective standard of hygiene, sanitation and/or disgust onto another accused-person (such as the plaintiff) is, simply-put:

inational, arbitra1y, capricious, discriminatmy, hypocritical, authoritarian, unjust and unreasonable - all in violation of such accused-person's

fundamental Constitutional rights. When a legislature writes (often-vague) laws concerning sanitation that do not represent a world-view

(especially when it comes to different races/religions/cultures), or even worse, when the executive-branch of government

irrationally/arbitrarily/discrirninatorily/capriciously/hypocritically/abusively/oppressively/selectively/biasedly/unreasonably interprets and

enforces such poorly-written and/or ethnocentric/culturally-insensitive sanitation laws, then these are significant Constitutional rights violations:

"Irrational in Violation of the Equal Protection Clause", "Unreasonable in Violation of the Common Law'', "Vague in violation of the Due-

Process-Clause11 (sec below) - and in cases where a person1s private-property/personal-space and/or home ("castle') is searched and/or seized

as pa11 of the unreasonable enforcement of such law: "Unreasonable search and/or seizure in violation of the Fourth-Amendment, 11/nvasion

of Privacy in violation of the Due-Process-Clause", "Deprivation ofProcedural-Due-Process in violation of the Due-Process-Clause".




i728
During the beginning of the COVID-19 pandemic, fonner United States Health and Human Services Secretary Alex Azar told lawmakers

and/or one-or-more media organization(s) that immigrant workers' lifestyles exacerbated the spread of the of the disease inside meat-packing

plants, while the spokesperson for Smithfield-Foods told one-or-more media Ofh'lmization(s) that the COVID-19 outbreak in its Sioux Falls

pork-processing plant was so severe as it was, in part because, among the plant's many immigrant workers, "living circumstances ill certain

cultures are dijfl!rent titan they are with your traditimwl Americau fami{J' ". It was only after the statement was widely reported in the

mainstream media that the company denied that it blamed the burst of cases on national-origin/race/ethnicity. For over two years, many

politicians around the United States have, according to media reports and/or according to their own political-campaign advertisements, peddled

the same racist dog-whistle that immigrants-of-color are to blame for the spread of the disease. While many politicians have also irresponsibly

blamed China as the origin of the disease, some even going so far as to caU it the "China virus", racial-animus and hate-crimes against Asian-

immigrants and Asian-Americans have drastically increased. Dming the closing arguments of the recent higl1-profile trial of ((GEORGIA V.

TRAVIS MCMICHAEL, GREGORY MCMICHAEL AND WILLIAM BRYAN», a White-American attorney for White-American defendant

Gregory McMichael described the deceased victim of such brutal hate-crime, African-American male Ahmaud Arbery, as having 11/ong d;rty

toenaUs", in a trial in which recorded evidence also showed a White-American witness describing Mr. Arbety as having "curly, messed-up
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hair". During the recent high-profile trial of «TEXAS V. AARON DEAN», White-American (former) Fort Worth police officer defendant

Aaron Dean testified that, upon approaching 28-year-old African-American woman Atatiana Jefferson1s home during the middle of the night, he

saw trash scattered at various areas of the prope11y, and used that claim to determine that such house was being burglarized. Based, at least

partly, upon this determination, Mr. Dean then shot lo death, the first person he saw inside the house, Ms. Jefferson - the legal resident of the

property. In other words, Mr. Dean, in substantial patt, blamed the victim of his crimes, Ms. Jefferson - a highly-educated pre-medical

graduate student - for not maintaining her own home according to his White-American standards. The jmy convicted Mr. Dean of

manslaughter and sentenced Mr. Dean to almost 12 years in prison, while the family of Ms. Jefferson was indignant that Mr. Dean did not get

convicted on the top-charge of murder, especially since, as a prosecutor on the case noted, Mr. Dean conducted a clearly unconstitutional-and-

unlawful search of the private-property. In response to Mr. Dean's racist justification of his crimes, a Haitian-American attorney scathingly

refuted Mr. Dean's claim, stating that Ms. Jefferson was living her "ethnic lifestyle" within that private-property which was entirely 11her right"

as it was her home. In the documentary, "Born Behind Bars", documenting female inmates in an unusual program that allows such inmates to

raise babies in prison, one-or-more of the White-American inmates complained that an African-American inmate was not taking showers and

was not cleaning up like all the White-American inmates were, and lodged that abusive complaint as justification that such inmate should not be

allowed to touch "their" children. Recently, one-or-more local-media organization(s) reported that one-or-more White-American(s) complained

that a historic Black cemete1y just outside of the City of La Grange, in the Texas County of Fayette has essentially been "abandoned", claiming

it to be "unkempt", further elaborating that it contained "rickety, rusted chain link.fence, and just trees and brush eve,ywhere. 11 The City of

Baltimore, Mmyland was recently (in the year {2023}) ranked the "Dirties City in America", while it is not lost on any knowledgable person

that the racial-demographics of the City of Baltimore is over 70% people-of-color - leading to at least some persons-of-color (such as the

plaintiff) to raise their eyebrows, questioning whether such rankings are motivated, at least in part, by racism. The aforementioned cases are

just a minute fraction of countless similar examples, but in general, such dehumanization, inccndiaiy rhetoric and fraudulent justifications

regarding first-amendment-protected lifestyle-choices and private-property-maintenance-choices - all arising from a strong sense of racial

superiority - only fuel already-racist tendencies amongst certain segments of the population, and even worse, allows/encourages majority-White

Jaw-enforcement agencies to engage in egregious acts of racial-oppression, and furthermore,

irrational/arbitrary/capricious/discriminat01y/retaliatory/predatory/hypocritical/abusive/oppressive/selectivc/biased/unreasonable enforcement of

law(s), in general, but in particular, those law(s) dealing with health, sanitation and private-property-maintenance.




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As the record does show, it is unfortunately not uncommon for, at least some, predat01y White-Americans with racial-animus to

abuse/weaponize/manipulate property-maintenance-laws as a powerful tool of

discrimination/predation/oppression/subjugation/obstruction/retaliation to eliminate or at least deter at least some person(s)-of-color from

residing within White neighborhoods and/or target at least some person(s)-of-color living in historically colored neighborhoods. The

abusive/oppressive language that far-right-wing-extremists and White-supremacists often use is clearly just a small part of a larger pattern of

predatory behavior(s)/action(s) that seeks to, for example, abuse/weaponize/manipulate these property-maintenance-laws - as a new form of

modern-day-Jim-Crow law - so as to cause severe harm to people of color, allowing such predatory people to do what they could not ordinarily

do in the post-civil-rights-era (due to anti-discrimination laws such as the fair-housing-laws). Such abusive/oppressive language also fu11her

illustrates a sharp-divide and/or substantial-difference in standards of property-maintenance between White-Americans and people-of-color -

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especially when one considers people-of-color residing outside of the United States. The plaintiff is not, in any way, suggesting that any

particular standard is superior to any other, but rather that person(s) of one race/culture - especially the dominant/majority race/culture - cannot

rightly impose their subjective standards of property-maintenance on person(s) of another race/culture - especially any minority race/culture. (A

perfect example of where indigenous-peoples, generally-speaking, have a higher and/or safer standard of health and sanitation than White-

people is the use of pesticides - see below). So, as long as residents - of a ll races/cultures - conduct their own private affairs in good faith while

sticking within their own property boundaries, there is no harm done. Therefore, law-enforcement (and other institutions-of-power such as the

[HOA]) cannot, in the interest of justice, act upon the outrageously abusive/oppressive/coercive/violative/intrusive/invasive/humiliative

demands of such predat01y White-Americans with racial-animus in-order-to violate the rights of any person(s)-of-color. For example, the

[SBPDL] blog is (or was) a well-known White-Supremacist/ White-Nationalist blog in which such White-Supremacists/White-Nationalists

dedicated at least some time and effort, targeting person(s)-of-color for failing to live a lifestyle according to, and/or for failing to maintain

property according to their White-American standards. The plaintiff only posts these extremely offensive and racist messages in-order-to

directly compare the defendants' predatory conduct (and statements) against the plaintiff to such racist messages posted by White-

Supremacists/White-Nationalists:
         • ' A Richer Life' - - the ~ t o £ llouaing and Cll:bln ~ t wnt.a you to 'Live l.U• in                                   =        col.or' "1th diwx-.ity'   (SBPDLJ ( 1) blog OCllllalt•
 •       "Stull '!bat Bl.ack Pllople Don ' t Li.loo•      (SBPDLJ ( 1) blog•      (.Anonymous) poster•       (2013- 08-19 04 :571'M) •
 •       htq,a : / / atuffl>' ■clipecpl adontllloo. blogopot. CCOll20l3/0B/a-richar--l.ila-d■pa.rt:mnt-ot-houaing-and . html


 ... You have 110 idea how these via/ell/, da11gero11.I' pigs live. Aud they havefo1111d yow· hiding places.


  I have so many stories that make me sick to !hi.I' day. They lfre like filthy tmim(l/s. One day a shilly /'//.\'led pickup 1111ck will drive onto the Imm next door and a mob of poor

  blacks will start unloading pei_,-.,11,i11ed 11wttresses, broken f11mit11IT!, dirty chiltlll!II m11l /111111/reil~ ofblllck plmtic trash bags.


 A.111/ you 111'.111 'I know wltom to mil. No 011e ll'ill tell ) ¥111 ""JThi11g. Not the police, 110I the lmullorrf, 1101 the mayor, 110 011e.




  They are all'ake all 11igl,t a11d sleep all day. Tl,ey fuck a11dfight. laudly. They consume mu/ destroy, yell. rai.l'e hell, mp, rape, a11d roam aro1111d. They 11e1-er 11m'k.


     Their tmsl, rots, they //(ll'e ro"ches mu/ mis. The l1'ee1l~ gmw higher mul higher.


     They m't! jillly jimtletl, e11litfetl, yet 1111.mpervise,I, 1111d1ecketl, 1111tlerreporfetl, 111111CL'ot111l11ble, tlll(ICC01111tetlfm:


  TJ,ey take wlwt t/1ey wa111 BY FORCE.


     You will NEVER HAVE PEACE AND QUIET AGA IN.
     You will awake11 011e momi11g and all of tl,e slliffyou ll'Ol'ked so l,wrlfor will be GONE. POOF! Just like tl,at. Your wife will c,y l,erse/f ro sleep. Your life will rum upside

  d01m.


     They will break down your doors a11d wi11dows while you are af ,mrk to Wllil for yo11, or take your sll//j; or hurt you.


     You will fear/or your chi/dre11's lives a11d safety. You will e..\71erie11ce PTSDjust from living 11ear them. You will NEVEi/ BE THE SAME AGAIN. // is over.


     Wam )¥1111' loved ones NOW. Start 111oki11g pious lo fig/,f for your life. ...


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... A11m1. 8:58.. Right 011 ! No televisio11 show,storiesfmm those ll'ho have seeufirsthmul.11ews artic/e,etc. can begin to describe the abso/11/e slw£·k,re1//ll.1io11,m11/ tlisgust tlwl /11~1'

U11ile per./(//111j// experience living 1111J~1f1ere 11e11r ****.II is tn,ly s111real,1111believable.lo11d,tlirly,111de,dis/1011es1,spitef11/,a11g1y{?), vai11,i11cm1sitlemle,sl11pitl people.O11e ***
fi1111ily ruin.I" //re nfwle tly1111111ic of a11y 11eig/rbor/rootl. Thew fi1d,s 11j// keep JVJ/1 llfJ all 11ig/rt111ot giving I/re s/ig/rle1t tl11mght ofJ,Vm lmvi11g /tJ 11'Urk t/re 11e,11/aJ\ Yo,w s111[f

will come up 111issi11g. Creep.1· will peep i11 ytmr windows. GtJd help you ifyou /rave yo1111g da11ghte1:1·. S11on your 0IIC:t7cll!lm .11reel ll'ill be /ilte,wl wilh malt liquor boll/es, empty
cigarelle packs,cigarelle b11t1s,/1alf-eate11fast food and wrappers.you name it.S1tiff that ca11 be directly /meed to them. They will laugh al )'OIi as you clean ii 11p.Eve1y other ,mrd
you hear will be 'M-F' and •••••••. U.md condoms ll'ill stmt appearing. They 1m11't cut their Imm.or if they do they will 110/ bag the clippings. {if they are feeling e11e1getic they

will rake them into the street for 'someone else' to deal ll'ilh). They 1m11'I pai11t,tri111 bushes,.rn•eep sidell'alks,ortlo t111yt/ri11g lo improve their s111ro11111/i11g.1· i111111y imy. The
di.rf1111ctio11.lnd11ru.'i1 Se11se ofe11lille111e11l,elc.lms 110 limil-1/rey ham 110 slmme.As I said earlie1;111osl people will 1101 believe this.or dismiss it as emggemtio11. That is the

pmblem. We,lhe White poople 11fw k11oiv beller,1m11t to JIIYM!llf the rmt if the m1111lry from he£·0111i11g Detroit.A lot of needlers disaster could be avoided if eve,y **•••• lover

had to .1pe11d a week housing andfeeding a ••• family in their 011'11 house. U11fo1t1111ately ,{at this mte) by the time the mojority of Whites ll'ake up, it may be too
/ate.Somehow,some ,my,avemge White, need to /eam the t111th.ll is plain as day,almost impo.~,ib/e to avoid to me ...


•       "The "s.ll.ay _         .. at 4600 Labadia A - in North St. Louia•                For $45 , 000, You can o..n Jlmarica'o ruture•         [SIIPDLJ ( ti blog cc,r,-,t,
•       "Stuff 'lbat Bladt Plloplll Don ' t Lil<e"      [SIIPDLJ ( ti blog•    [Anonymous) poster•        (2014- 08-29 06:54lllll •
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... Do homemmer's a.~wciations keep ""' blacks for, sro~ ji11i11g them $200 if they keep the gamge 1/tJor open longer than II halfhour?
So.... i should 110/ chafe al ridiculous co,iformisl demands of a homeo\\'ner'., associatio11.
 The rules ~-fzou/tl he 1/e111m11l, that call ftJr fi11t1re time tJrie11latio11 ttJ keep blacks 0111.

Let'.1· see...
 I. S11ggestiomf11rft11t11¥! i111pro1Y!111e11/l' mmt be s11b111itted by resitle11/.1· /J1jce a JY!ar 11r $500fine.
2. Trash cons must be put all'ay ll'ithi11 20 minutes of trash pick -up (they ll'Ould have 10 look ahead and hire someone to do it) or $200 fine.

3. Each home 11111st have f/011,er boxes under the windows with ce1toi11 colorflowers healthy and i11 bloom at all times like luceme .1witzerk111d.
4. Foul language or pant., 1111demeath bull crack $200 fine.
5. Zero IIY!etl"- Gm:..,· alimys I. 5 inches w/1.

Anybody else gol it/e1L1· lo cl'Cl1te reqricJim cm't!mmt.1· lhro11gh m/e1·? ...


•        "The Duth of Pllblic Housing ('Die Law o f = - ~)•                                  [SBPDLJ ( 11 blog cc,r,-,t,
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•       httpe: / / a b •Ffb]ac~l edontllbt.blogspot. <Xlll/2012/07 /death-of-public-housing-law-of. html


 ... I have /fret/ 11~1 door lo thew m11cl1er hlackl'. They are alll'ay, loud-111011/hed 1m111e11 with terrible kids.


 They all "e11te1tai11" violent black males.


    They get their uew place, decorate, put Sl'Oob;cDoo sheets up iu the wi11doll's and the/1111 begins. The kicl, get new bike, and tra111poli11es, RTO de/ive1y, satellite dish TV, a ne111
 pit-bull puppy that they fmget to feed and 0110111 to bark all night, pot smoking 011 the porch, basketball goal i11 the .,treets, bo;frie11d1· and pa1tie.1·, 11e 111 visito1l' eve1y day,
 miscellaneous people slaying over.. the11 it all .rtwts lo crack andfall apart. It is the black ll'ay.


 B111 these blacks ca11 1101 keep a household going. Not e1•e11 with a voucher.


 Soon, I/re gmss gets high, tm.,h pile, 11p, the repo man come, to take back the re11tal.1; ca,~· and bikes, I/re police mri1Y!, a shooting or lll'o, inoperable 1•ehides 011 t/1e /011111, the
 dome,tic violence and yelling stwts, child abuse, 11tililies sh11I off. desperate far money, pmstit11tio11 and tlmg ,le111i11g. sto/~11 good1·, CPS a11d .1·11d11/ 1mrker 11i.11ts, black 11vme11
 screa111i11g andfighting 011 the lall'11, and then, they /oat/ up tfle black lmsh b11gs and disappear info the night, let111illg the h1111se f,1/1 ofrolli11g g1111}(/ge mu/ c/tJggetl toilets.


    ·w1tite /111111/on/ or property 111,11u1ge111e11I company ('(}Ille!,' ll'eek.~ /11/er lo dean ii 011I 1111tl 1/0 lite same t/11111b thing 11g11i11. Neigl,bors suffer.


    Whal is 11ro11g ll'ilh 1rhile people????? ...


I•       "Dou Mil-ul<M llaVII _.,i ca'a Morot B1Ack Pq,ul&tion?"                [Slll'DL] ( i ) blog - , t •

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        [ <l'll!RI' RJICIAL SWRS RmllCmD l


... A11011y111011s al 9:21 0111. Yon referenced a tree pla11/i11g in De/mil and 110/ a h/ackfoce in sigl,t. Tl,is l,appe11s eve,y lime //,ere is any kind of cleanup project in Detroit. Gm.~,;

culling, filter pidmp, tree pla11ti11g, it'.,· always s11b11rba11 11•/,ites. Blacks u;Jf literol/y ,,;if 011 theirfrrmt porches 1mtchi11g whitey clean lip /heir me:,.,;, Ami belie1>e me it is a
HUGE mess. Now afewfl11e block 111e11 of //,e clot/, have zemed ill 011 'kid m ck'. They want l,i111 lo slop 11si11g //,e co1ifederalef/og during !,is conceits. The reverend soid . that

if tl,e flags 110/ gone , 1,e 011d other black cl,wr:I, leaders in De/mil will slop driving Cadillacs. I kid you 1101! I guess General Mo/01:v is a spo11sor of //,e co11cerls. My head spins
fmm this 11011sense. Hey rev.... Stop wonyi11g about the flag, and stmt clea11i11g up your 40 year ••••• ,mt i11 Detroit. Next ti111e your 0111 ma1r:l,i11g to protest some dee111ed
i11j11slice, bend over a11d pick up some of the cmp all over tl,e streets, alleyv, and roadways. Your people are" bunch of slobs!!!! ...


         "Sony Killai:y Clinton, White -.-I.ca i.. on the Va:,ge of Tun.1.ng Out African -.:icanll"                   [SBPDLJ ( 1) blog ~ t •
•        "Stuff n>at Black llaople Don' t Ll.ka"       [SBPDL]( 1) blog•       [Anonym:,ua] poatu•        (2016-07- 09 Ol :261'M} •
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... M,~·. C/in/011, if)'OIi really wan/ lo lisle11 to black people move your en/ire family into a11 all black 11eigl,borl,ood. T/,a/ 1m11ld include your /11'0 grandchildren a11d J'Oltr
daugl,ter and so11 in law. Reme111berJ'01111111st al.vo sendyour gra11dcl,i/dre11 to 011 i1111er city pu/,/ic scl,ool. No 111ore private ed11catio11 or i111mac11/ate houses in upscale areas. I'm
sure you will gel 011 ea1f11I, Mrs Clin/011. Filthy la11g11age, rap crap 11111sic, gun s/,o/s, screaming, loud lalki11g, screeching tires al 2:00am. TJ,e11 lo top ii off. you will also be able
to see. U11111011>ed Imm.,~ litter by the ton, abandoned cars, abandoned dogs, abandoned kids. E,y·oy your new s111101111di11gs M1:1·. Cli11ton. I am sure you're going lo love the

    vibrancy and diversity. Also sure it will be your ve1yfim time. Idiot! .. ,


         "Fne 9pNch ian ' t Gatting ~           •   Growing Nlm»r of -cans fired, sw,panded, Forced tx, Auign for Crl.tl.cidng Black LI.vu Mattei"                            [SBl'DLJ ( 1) blog ~ t•
•        "Stuff n>at Black l.'leq>l.e Don' t Like"     [SBPDLJ ( 1) blog•      [J\nonylllDUs] poa1:ar•    (2016-08-01 01 :161'M} •
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... A ireek long clean up, ofanother De/loil neighborhood by while peoplefl'Om tl,e suburbs. It's amazing to see, gm...s being mmral, litter bei11g picket/ 11/J, streets .rn-epl,

f/oll'ers planted, 11bm11/011ed /rouses being boarded up, ofco11ixe, t/rey n~re 11bam/011ed by bl"cks. I'm waili11g f or the optics of this endeavor, so I ca11 co1111/ ( 011 one lw11d) //,e
    black De/miters that pitcl,ed in. Sip that gmpe koolaid while you ll'll/c/, ll'hitey clean up J'Oltr mess. Al leas/ ll'l,e11 you change" babies diape,; or clean //,e .,pit up, yo11 know that
    ii doesn't go 011 forever. In the case of clea11i11g 111, cities, after they've been decimated by blacks, I'm afraid tl,al's a never e11di11g wulertakiug. Ca11y au wl,itey ...


•        "Affimatiw Action for Mu.ta Athletes i n ~ Foot.ball and llut.etball; 'special lldniNion ' intx, Coll- for Rlaclt Athlete• :
•               llty ia ltic:haxd Lapchick ().ilAt on IIBCl1 Football Graduation Ra-?" [SBPDLJ (II blog ~ t:
         "Sblff n>at Black l'llopla llan' t Li.ka"     (SBl'llLJ ( 1) blog•    [Manymoua] poa1:ar•        (2011- 06- 17 04 : 331'M) •
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    ... Please, by all means, find your nearest black neighbor, 1i11g his/her doorbell, and, ll'he11 l,e/she opens tl,e door, say lo !hem eractly w/,a/ you say 011 this site.


    How far mus/ 011e pl,ysically be in pmximily lo be con.videred 11 11eig/rbor?


    I ,mut to t/{I what JY/11 sail/ but 1111forl1111ately for me I Jim in a uice IJ11ite ueig/rbodwo,l The grrt'iS is mon~tf. cl,i/dre11 play outside qfter scl,ool, and people g,-eet eacl, otl,e,:


    011 seco11d thought why 1m11/d I take the time to drive lo a11 urban shit hole, lo step over a dead crack addict, lo bang 011 tl,e door of a section 8 house answered by a welfare
    q11ee11 ll'i/1, 4 kid1· by three diffe1-e111 daddies to tell her she sucks?


    QI,, gue~\' your //,ml/I 11'011ld be for me to speak lo a male? Well visiting !,0 111:I' at the local Federal Priso11 are over ...



            "fihy an, the tllu.tast Stat.N ao liWloa.!'ul?"   [SBPDL] ( 1) blog OOllllmlta •
    •       "Sblff n>at Rlaclt h0ple Don't Ll.lte"     [SBPDL] ( l ) blog•      [Manymoua] poatua•          (2012-09-17 04 :02l'M) (2016-08-22 11:1 8AM) •
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    ... I 0111 53 years old 1111d l,1111e !tad some /i11e erperie11cel' rltat might sited some ligltt 011 this debate. I be/ie11e tire problem is cttll11ro/ rather 1/,011 a matter of i11tellect. I /,a11e been
    in ,mrk related trai11i11g wit/, black people a11dfou11d //,em lo be ofequal i11te/lige11ce. B111 /,ere is ll'ere 11-e differ. At //,at lime I lived in a mixed 11eigl,borlwod,mostly
    hispa11ics,bu1 wl,iles and blacks also. So One day ii ll'as mining and I brought my Gen11au sl,epl,erd dog inside ovemig!,1fm111111yfe11ced in yard. My new bike ll'as gone i11 tl,e
    1110111i11g. Al 1101* and I ,ms told that I dese1ved to /,ave my bike stolen since l 11·as stupid e11011gl, lo lake ll!Ydog in and 110/ my bike
    also.

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                                                                                            V.                                                                                                      1 69690_7<;90

I c111re11tly lil'e i11 the Mid West(1111ite)andfor 3 yea,:-, 3 bikes and 110 fence or dogs and mi11 or shine ll'e slill hal'e our bikes.
When I ,ms a child 11-e movedfrom the Midll'esl to La P11e11le, CA. We bought a nell'ly built /11m.1·e i11 a beaut/{,,/ 11eighbor/10od. Yem:1· pa.,1·ed and then so111e P11e1to Ric1111.1·

111m-e1/ i11 011 our block. My dad 1ight a1my 11111 the house IIJI for sale. Us kid, protested. Why would 11-e leave aur bea111/f11/ Imme. Myfafl,er responded b1 5 ye111-s I 11ill bri11g
JYJII back here a11d show JYJII 1n'1y. So he dill All the Whites luul 111m-ed 11111. The gm.~"i 11ns gone. Thej1011-er bl!ll1· 1m-e 1/e.1tmye1l The gamge mu/ il'.1· door 11-e1'/! .11111-e in from

a car cra.111. Our ho11se mu/ the whole neighborhood 111ere tra.,hl!ll Thal ,ms11'1from poor. That ,ms/mm lrttshJ\ /Ve learned a big le.,mn that day. During the discussion that

ensued ourfather told us about the Japanese, who iu lflW2 were pu/ info co11ce11/ratio11 campsfor years. All their l\'ealth and properly we1'/! confiscated by !he U. S. Govt. After the
war !hey were released wilh 1101hi11g. They didn't co111p/ai11 or make any demcmd,. They jus/ go! lo 11'01*. l11.1pile of !he prejudice and dis/ms/ of all Asians al Iha/ time,
they prospered and gained respect.
Thi., disc1mio11 b,;11gs to mind the TV program 1rhere Oprahfi11ds her roots i11 Africa and sees the squalor and Sl!fferi11g of her cmcestra/ co11sim.511e didn't say it bu! ii ll'as
obviom she cried because that should have been her/ate. That caused me to remember a doc11111e11/a1y I once saw ll'here kid,from 11,e U.S. raised 111011ey lo go lo Africa to dig
ll'ells 10 make life easierfor tribal people. What made ii seem ridiculous 1m.1· that the ll'ells they 11-ere digging ll'ere being d11gj11st wilh the use of ropes and shovels. They didn't
see the irony of se11di11g a b1111ch ofkid\" over seas to dig holesfor people that ll'ere able ta cony 1mter 011 their headl"for miles, but; were 1101 capable of digging their ow11 11·ell.
/11sa11e ...


... Tha11k-yo11J<1r your concise, simple, and accurate stale111e11/. I am 62 011d have lived all aver the world. I never even knew a black person 1111/il abo11/ 15 yea,:v ago. Most
places I lived therejusl 1t'l!re11't any. It 11Y1s11'1a molter of racism or avoiding them, there just weren't any ar01111d. One of the places I lived i11 the '60s a11d '70s was Lo11do11 - 011d
there were few black people.Ica11 't belil!IV! 11{mt I see there 1w1v - it brl!llk~ my he1111. IJIT1y tlo they hm-e to 11reck em1y11{1ere they go? Jt'.1· ll/1110.1111s ifthey WANT to 1/e.1tmy
1111d tlru]lolic anything t/1111 i., civilized anti lm-efJ1 ff they 1m11/ to lfre their 011,i ,my-ji11e, but wl,y spoil om/ 1/e!,11vy other people's e1ll'iro11111e11t am/ 11ny oflife? h's
disgmting. I am 110I mcist, lj11.1t 1/011'! like ho,v tlll'y li•V! mu/ the ghettos they l'ret1te.l am the 011/y white pe1:m11 i11 a black 11eighbol110od, so, yes, I ca11 ;11eak from the tre11che.1".

I moved here from 0110/her stale 011d didn't know there ll'OS a large black pop11/atio11 here. It is a s11b11rba11 area, so 011 the swface looks kind of nice - older tum of the ce111111y
/muses on large lots, trees, etc. The /1011se1· are mostly mmed and have been i11 thefamiliesfor ge11eratio11s. They basically keep !he grass cut but - et'e/J,fhing isjml sh11bby-
rmty clu1i11-li11kfencing, lifter blo11i11g aromul, stai11e1f, nasty maf/r(!j,ws am/ broken f11mit11re 1/11111petl along the roarl Ami - wlwt thefriggi11 i.1· it 11itl1 black poople mu/ the
fmme,I shopping earls?! They are eve1)'1rhere! Not 011e single flmreri11g tree m\)111•he1'/! i11 the ;pri11gti111e. No flowers anywhere. No one 011/ ga1de11i11g i11 the s11111111e1: A IAmlute/y

zem desire to make a pleasant e11viro11111e111 to live i11. You don't have to have 111011ey or a college ed11calio11 to 11'0111 a nice e111•iro11111e111 to live i11, a11dfor your children to grow
up i11. There'.1-jmt" big piece oftheir bmi11s 111is.1ing tht1t they lun,e l!IYJ/ve,t 11itlwllf.Bec1111se IIV! 11n11l lo lfre m11ong other people 11{w share the .w1111efmulr1111e11t11/ ml11e

system tloesn 't make 11s "mci;ts. " ...


•     "Lawsuit: Florida Parente Partner with IJ to Shut ll<Ml Dyatopian "Predictiva l'ollcing" Progr..r
      "InsUtuta for J'usUoa l a w s u i t ~ that Pa-,,,, polioa harau and                 fina-. to -                   their "llvu IIWJCllbla until they""""' or sue. " Today, they ..-1.• •
•    Inatituta for JuaUoa •          J , JI.lat.in IIU-.•     Sanior Director of Camlmicetiona•             (2021-03-11 } •
     httpe: / /ij . org/-•·mlMN/1-suit · florida-paNnta--pubwr-with·ij- to-ahut-dolm-dystopian-prw;lictiv.--policing-p,:og:nm/


Pasco Co1111/y, Florida'sf11ture policing program is as dystopia11 as it is 1111co11stit11tio11al. Under the guise of "predictive policing, "for the last IO yea,:. tl,e Pasco Cm1111y
sher//f'.1· depa11111e11/ /,as used a cmde computer algoritl,111 to identify and target supposed 'J11t11re cri111i11als. " Once identified, tl,ese supposed "prolific ojfe11de1:-, "-many of
 wl,0111 are 111i11ors--01-e re/e111/e.,sly swveilled and harassed As a Tampa Bay Times in-depf/, investigation 1111covered, pa/ice regularly show up at their homes 1111a111101111ced a11d
demand e11/ly. ff they or their pare11/s don't coopera/e, police ll'rite tickets for peJty 11iol11tions, like 111is.si11g house 1111111be1:-, or having gm.~ thot is too 11111. As 011ef01111er Pasco
 Cmmly deputy put it, 1/,ey me1-e 1111der orde,~· to "111t1ke their lb~· misemble 1111til they motY! or sue. "


After weatl,eri11g yea,~· of 111ise1y. today a group of Pasco reside11/s par111e1'l!d with the /11stitute for Justice-a 11011profit public i11/e1-esl law firm- to .we the co1111ty and put 011 end
 10 ifs predictive policing pmgram once a/Ill.for all. The lmHmit, which nm·filed in federal co1111, argues tho! the co11111y violated reside11/s ' Fil~·/, Fourth and Fo1111ee111h
A111e11d111e11/ rigl,ts.


 "Pasco 's program seems like it ll'as ripped.from the pages of ti dystapia11 sci-Ji novel and 110/ a 11101111al 011 '!ffeclive police stmtegies, "said Institute/or Justice Altomey Ari
 Bargil. "This pmgram is11 't just 1111ethica/, ii 's pate111/y u11co11slil11tio11al to use a crude co111p11ter calc11/atio11 to tmget, l1t1rt1.~"i, ji11e, mu/ el'en arrt!.!,1 citizens 111/0 hm'i! iloue

11otlti11g 11rrmg. "



 Rober/ Janes, a plai11tiff i11 the lawsuit, k11011~· the cmelties of Pasco 's progra111fi1:-,t/rand. ill 20 I 5, Rober! 's teenage so11 had a 1111111ber of nm-ins wit/, tl,e law. That /a11iled /,is
so11 on Pasco 's "prolific ,~[fender" li.r!. Shortly the1-e,!fier dep11tie., s/a,1ed lo conduct "prolific offender checks. " These wmm11t/ess "c/1e,*s" involved repeatecl. 1111t1111101111ced
 visits to Robert's home al all l,0111:v of tl,e day. Rober/ grew tired of the harass111e11/ 011d stopped cooperali11g ll'ill, police. That 011/y made 111al/e1x urm·e.

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Code e11.forceme11t is a common tactic to compel cooperatio11. One deputy said they 11vuld "literally go out there and take a tape meamre and meJ1.mre tfte grti~~ ifsomebm{y
tlid11 't 11r111t to caopemte 11ith 11s. " 111 Robe11 's case, deputies dted him for tall gm.\.'i, but failed to notify him of the citation. Then, 11•he11 he failed to appear/or a heariug that

he was never told ,ms happe11i11g. they mrested himforfailure to appear.


All told, Robe,1 was am!sledfive limes by Pasco deputies. Although the bogus charges 11el'er stuck-they were all dropped-the har<mme11/ accomplished its goal: Robert
 ultimate{\' moved his family 011/ of Pasco Comrty to escape the co11s/a11/ hara.m11e11t fmm the Sheriff's Office.


 "/ lived through a living hell because a computer pmgram said my family did11 't belong i11 PCL\-co, "said Robert ./011es. "I only thought this kind of thing happened in movies,
 1101 in America. We've got rights. Aud /'111 going to stand up for them a11dsl1111this program donn."


 Predictive policing gained pro111i11e11ce ilr the late W00s as a way for police to use data to better allocate reso,irces. Cities i11c/11di11g Los Angeles and Chicago e171eri111e11ted with
 predictive polici11g but have s11bset111e11tly scrapped their programs because ofcivil rights and effectiveness co11cems. 111 most cases, police departme/1/s used data to ide11t/fj-
 geographic areas in need of additional resources. But Pasco took it one step.fi111her by u.<ing data lo target .1peciflc individuals.


 "Pasco defends its p,vgram a.,· a crime.fighting tool," said /11.l'titutefor Justice Attomey Robe11 ./oh11so11. "But in America, there is 110 such thing as 'i1111oce11t until predicted
 guilty.' The govemment ca1111ot harass people at their homes just because it thinks they might commit some rmspecifledf11/11re crime. "


 Robert isjoi11ed i11 the lawsuit by Tammy Heilman, Dalanea Taylor, and Dolly Deegan. like Robert, theirfamilies have all s1!ffered r111co11scio11able lrarassment by the Pasco
 deputies. Their lawsuit alleges that the co1111ty 's pmliflc offender check.I' violate tire plaintiffs' co11stit11tio11al right to be protected/mm 111rreaso11able searches and seizures.
 Be_1v11d that. it argues that tire due-p,vcess and eq11al-p1vteclio11 guarantees of tire Fo1111ee11th Ame11dme11t guanl against arbi/ra1y or irratio11al govemment actions. In this case,
 law e11fim:e111e11I officials ca1111ot use a legitimate law, like code e1ifo1t·eme11I, lo achie,•e 011 illegitimate p11171ose, like harassing audforci11g prof/fie offe11de1~· and their.families

 to "cooperate" during pmli.f,c o./fender checks.


 For nearly three decades, the Institute fol' Justice has 1'epl'ese11ted lwmeomrers and others lo .11a11d up fol' their co11stil111io11al rights. Em·lic?· this 111011/h, for instance, J.J filed a
 lmm'llit against the city of la11ta11a, Florida, after it fined a homeowner more than $100,000 fol' padd11g violations. /11 Pagedale. Missouri, I./ wo11 a class action lawsuit and
 shut dawn the city'.1·pmgmm of 11.1i11gji11es 0111/fee~ for trfrial i.~·11es to raise reve1111efor the dty. Aud in Dunedin, Florida, I./ filed a lawsuit 011 behalf af homeowner who was

 1(1fre11 into foredos11re after the cityji11etf him nearly $30,000 for /r11vi11g gm.~ t/r11f nus too IIJ11g.




9£730
Property-maintenance laws such as Texas's Public-Nuisance law, or at the very least, the abusive/oppressive interpretation and enforcement of

such law, are at least one component of the modem-day-Jim-Crow version of "redlining" that is documented in this lawsuit and that is simply

a more-subtle and inconspicuous form of the former, more-prominent version of "red Ii ning" (originating in the l 930s) and that is, for example,

briefly documented in the Public-Television documentary ((Independent Lens: Decade of Fire)):
 ►   U:ndopondont Lalli : Dacaclo of Fire) ,      (2019- 11- 04)
     httpe://www .pbo.org/vidoo/..,,_-of- fi.re-uotyld/




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                         Ourfamilies were .felling roots down here- our 11eighborhood.1· 11Y!m being targeted by govemment policies, based 011 mce ... It stmted with "redlining".



 [EXPERT-1]              Redlining: thisj)rst .,·ta,1,1' in the 1930s. Any 11eighlmd10od that hasfive, ten percent Black or Puerto-Rican pop11/atio11 is .l'een as a declining

                         neighborhood.




 •
 •
 •
 [WHI TE- wa.mN- 1] / think they have to team lo live the ll'ay ll'e do - and take cmY! of things.




 •
 •
 •

 [REPORTER- 1]            But what about some of those criticisms that the ••••• is diltJ• - that the •••0 i.l' more violent? Therefore, the ***.. doesn't make as good a neighbor?


 [BLACK- wa.mN- 1 ] Well, that's because they have never given the***** the chance...




 •
 •
 •


~731
Other parts of the Public-Nuisance-law are also

arbitrarily/discriminatorily/capriciously/retaliatorily/predatorily/hypocritically/abusive ly/oppressively/selectively/biasedly interpreted and

enforced. For example, Chapter 341 - the other chapter of the [THaSC] concerning public nuisances - contains the following text:
 •   Taxaa Health and Safety Coda •         Title 5 . Sanitation and ~ t a l Quality•           SUbtitle A. Sanl.t:Ation•
 •   O>aptar 341 . Ml.niauD St&nd&ala of Sanl.t:ation and Health Protection -
 •   http,;/ /at:Atutu .oopilx>l.. texAa .gov/lloca/llS/ht,-/IIS . 341. htm.


 Sec. 341.0/ I. NUISANCE.
 Each of thefo/lowing is a public health 1111isa11ce: ...


 ( 12) an object, place, or condition that i.1· a po.~l'ib/e and proboh/e medium of disease tm11smissio11 to or bet11Y!e11 humans.




~732
In one-or-more precedent-setting cases, court(s) in the United States have ruled that exposure to certain widely-used pesticides is a

known/probable cause(s) of cancer(s), Parkinson's disease (and other neurological diseases), organ failure, birth defects, fetal death, altered

fetal growth, impaired fertility, and/or other serious long-term, debilitating and potentially life-threatening injuries/diseases. (In addition to the


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long-tenn/chronic conditions stated above, such exposure al•:m causes acute health problems such as: abdominal pain, dizziness, headaches,
nausea, vomiting.. as well as skin and eye problems. Some chemicals commonly used in common insecticides, can cause a potentially deadly

condition in humans if breathed in, while in general, exposure to pesticides is known to cause poisoning in humans, in numerous cases, even

resulting in death.) Such court(s) have awarded relatively-large amounts of money in damages to those who have suffered exposure to such

chemicals. Yet, law-enforcement continues to aUow residential owner(s)/occupant(s) (living in densely-populated subdivisions) to spray and/or

broadcast such toxic, disease-causing chemicals onto their yards - exposing their neighbors - many, if not most, of whom do not want to be

exposed for veiy obvious reasons - to such chemicals. In Europe, governments have codified and enforced the ''precautionary principle"

when it comes to such chemicals - manufacturers have to prove that the chemicals are safe before they are allowed to even enter into the

market - and many chemicals widely-used in the United States have already been banned in Europe. Indigenous peoples of color around the

world (including the plaintifl) - at least those that are allowed to maintain their indigenous traditions/values - never use such chemicals, and

generally-speaking, are strongly-opposed to the use of such chemicals due to the harm that such use of chemicals causes to the environment

and to any peoples living in/around the area of application. In the United States, approximately half of all males and approximately a third of all

females contracts some fonn of cancer at some stage in their life - a shocking statistic that is largely attributed to Americans' exh·emely-large
exposure to toxic chemicals including, but not limited to, pesticides. Meanwhile, studies of indigenous-peoples have shown that indigenous-

peoples that are allowed to live then- traditional/indigenous (chemical-free) lifestyles - ve1y-rarely get any of the so-called "Diseases of Western

CivWzation": cancer, heart-disease, stroke, obesity, diabetes, hypertension, dementia, dental caries, etc. By sharp contrast, indigenous-peoples

that are forced to assimilate into White-Western culture (extremely-high exposure to chemicals, non-traditional White-American diet, non-

traditional sedentary lifestyle) get those very same "Diseases of Western Civilization" at a much-faster and much-higher rate than even non-

indigenous peoples. It has been theorized that when an indigenous population that has lived their natural lifestyle is forced to assimilate into an

unnatural (for example, White-American) lifestyle, such population gets those ve1y-same lifestyle-related diseases at a much-faster and much-

higher rate because their bodies have ve1y little genetic resistance to such lifestyle-related diseases. (By analogy, a large fraction of the Native-

American population died from the highly infectious diseases from Europe that the invading White-European population forced onto them -

again, since this indigenous population had very little genetic resistance to such diseases that their bodies had never been exposed to.)




1733
Additionally, during the COVID-19 pandemic, any reasonable person would assume, and indeed demand, that local governments would be

enforcing strict adherence to the COVID-19 safety protocols - "wearing afacemask 11 and ''practicing social-distancing" - so as to minimize
spread of the disease - especially, since this is precisely what [THaSC-T5-SA-C341-SB-§341.0l l(l2)] requires local governments to do.

However, law-enforcement throughout many areas of Texas had allowed residents of their Counties (including the County of Williamson) to

completely violate those safety protocols - leading to unnecessary hospitalizations and death - raising even fm1her, valid clain1s of
arbitrary/capricious/discriminat01y/retaliat01y/predatory/hypocriticaVabusive/oppressive/selective/biased enforcement of laws concerning health

and sanitation.




 1734
According to the Texas Public-Nuisance law, the term "weeds" is defmed as "all rank and uncultivated vegetable growth or matter that has

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grown to more than 36 inches in height". However, the verb "cultivate" is defined as "to grow plants" and/or "to nurture(foster/tend"; so,

owner{s)/occupant(s) might notice many wild plant(s) sprouting in their backyards and might intentionally/willfully choose to "cultivate"

(grow/nurture) them for a variety of reasons that could include racial/cultural/religious/political practices; therefore, such plants cannot legally

be considered to be "weeds" (see excerpt below). More importantly, the word "rank" is defined as "Strong in growth; growing with vigour or

rapidity, hence, coarse or gross", but that defmition does not specify any particular - or minimum threshold of - growth-speed of such

vegetation. Furthermore, the use of the term "rank" is also very vague because "rank" does not adequately specify whether such term means

only vertical-growth, only horizontal-growth, or a combination of vertical-growth and horizontal-growth. Also, the law does not provide any

rational explanation or justification as to why property owner(s)/occupant(s) are allowed to grow other vegetation (including trees, bushes,

hedges, slm1bs, vines, etc.) to any height (and/or width and/or depth), but not so-called "weeds". The definition of "weedv" is thus

unreasonable, arbitra1y, capricious and irrational ("Irrational in Violation of the Equal Protection Clause and Unreasonable in Violation of

the Common Law"• see excerpt below), while both of the terms "uncultivated" and "rank" are thus vague and insufficiently-defined, in

violation of the fifth-amendment Constitutional prohibition on Unconstitutionally vague laws:
 •     • - Lendacaping: ~ (t) •                         1he John Narahall L a w -• Vol1ma 26, Slmnar 1993 , 11\nbar 4 •                 B r a t t ~. J . D. •

 •    Ropw,luhad by the ~United               States Environmental Protection Agency~ ("IUS-EPAJ " l ,
 •    httpe://archiva . -. gov✓--/web/html/jmlr . html

 •    httpe : / /archlva .-.gov/-/web/html/jmlnp,clx .html

                   A thi11g is 1igltt whe11 it teml~ to p,-esen'<! tlte i11teg1ity, ~1llhility, mu/ bem1ty ofthe biotic co1111111111ity. lJ is 11ro11g 11{1e11 it te/1/l\· othemise.
                                                                                                           -- The Land Ethic


 I. INTRODUCTION ...


 Na/um/ lt111drcapi11g - The praclice of cultivaliug p/a11/s which are 11a1ive to the bioregio11 wit/um/ resor/ to arlificial methods ofpla111i11g aud care such as chemical fe,tilizer,
 mowiug. 1mteri11g olher lha11 by through 1m1111vl processes (rain), with the goal of harmonizing the !t111d,cape with !he larger biotic com1111111i~)' and ecosystem of /he immediate
 and surro1111diug bioregio11. 8 ...


 Weed law - Any federal, state, county and local, sta//1/e, regulatiou or ordinauce 111,ich limill' /he 1Ji1e or size of vegelatio11 ll'hich gmrns or is cultivated 011 land wilhi11 /he
 j111isdictio11. I2 ...



 IV. THE REASONS FOR AND RESPONSE TO THE NATURAL LANDSCAPE MOVEMENT


 A. The Movement Officially Takes Root


 Cook Cmmly and Chicago are uot the 011/y govem111e11/s embraciug ualuml la1ul,capi11g- interest in /he pmclice is global.103 In 1he lo11do11 borough of Richmond upon
 Thome.1; for e.mmple, Ihere i.s a sproll'ling "hay meadow" relJJ/e11de111 ll'ilh such wildjlo11-e1~· as bul/ercups and red clover. I 04


 /11 1990, Congress ma11da1ed that 25% of all fuuds spent 011 hig!mYJy la11cl,capi11g projec/s be med lo plant native wilqf/ollYm; along the easements and rights-of-11Y1y qf the

 Nation's highll'ays. 105 The Cli111011 Depmtme111 of /11/erior is 1rorki11g with /he Na/we Co11se111aucy and state and local govemmeuls to ,es/ore a11cie111 American !tmdscape.1·
 inc/udiug lhe Pmk Savanna in !he Midll'esl. the coastal sage scmb ecosystem in Sou/hem Califomia and lhe Hill Cmm/Jy 1egio11 la11cli-cape in Texas. 106


 Remm*ably, even 1/,e co11se111a1ive. m11i-e11vim11111e111 Busl, Admiui.,tmtio11 strongly advocated naluml landscaping- 111,icl, ii called "ll1e New American Ganie,, Style." 107
 Acco,r!iug lo the U11iled Stales Depmtmeut ofAgricu//Jlre Director of /he National Arbore/Jlm:




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     In the past, wildlife was thought <?fas the enemy of gardening and agriculture. Eve1yone has stories of destruclim1 and r11i11 (lj valued plants a11d crops. These cm1cems nr,,
     longer have to be reasons why wild/NC cannot be welcomed back into our living .vwce. A new gardening .,·ty/e, first designed by Oehme and Van 5\i•eden, lam/scape
     architects of Washington D.C., 11m created or, the grmmds of the U.S National Arboretum as the New American Garden Style. The design, the phmls, the prepamlion of t//e
     site, the maintenance schedule and the year-round dfaplay all wm* together to reclaim a disturbed sire and restore it as to habitat where wild/tit' and h11111am· cmi
      coexist. /08


According to the Bush Administrntion, a homeowner with a New American Ga1tle11 should "overseed the entire area with 11ati1 e wi/dflo11'ers. "/09
                                                                                                                                        1




Canada has (if(icially embraced natural Ja11d1·capi11g. 111e Ouawa City Council, for example, has approved plans to let nature take its course by redaimi11g the city~\· 56 parks
with 11at11ra/ lamfrcaping. The idea is to 11at11ra/ize the public parks by planting trees, creating \\'ood/ots and plowing 11p existing grass to replant selected wi/djloll'f.'/'S and native
gmsses. I JO


The actions of national, state, and local govemmellfs demonstrate that 11al/1ral landscaping and the goal of hmmonizing our yard with Nature and a/fmcting backyard wildlife
hm officially taken hold. Natural landw:aping is even te1111ed "fashionable." JI I The actions of govemments and the acceptance of natural la11dfcapi11g is not without cau.l'e,
There are good reasons for this trend.



B. Why the Movement Is Taking Root


Prairie ecologist Neil Diboll, a natural landscaping advocate and e.,pe11for neady hm decades, cites three primmy reasons for the rapidly growing acceptance qf natural
lmulfcaping: {/) ecologic; (2) economic; and (3) .1pirit11af. I /2


Ecologicaffr there is 110 doubt that natural landRupes are preferable pmticularfy when compared to traditional suburban exotic lawns. Since natural land~capes do 1101 require
pesticides, herbicides orfeitilizers, the ha111if11! ~(/'ects of these chemical~ are eliminaled. / / 3 In light of waler shortages and problems with 11011-point source Pollution, 11at11ra/
/a11dw·api11g has prqf01111dly positive ecologic effects. Xeriscaping, the practice qf pla11ti11g native /ow-water-consuming plants, is the law in mmw cities and one of the most
compelling ecological basesf0r natuml /a11d1·capi11g.l/4


The positive economic consequences of 11at11ral la11dvcapi11g are twqfold. Fi1:,'I, there are the direct costs. Natural la11d1Tapes are less cost(v to maintain llwn a traditional exotic
/aim or e.rotic landscape. Once estab/ishe<I. 11atwnl la11d1wpes al'e 110( 1110wcul, ferti/ir,ed, ll'et1ted witIt pesticides or herbici1/es, am/ they do 110I ueetf 1mleri11g. I I 5 For the

homeowner or office building manager, direct costs are s11bsta111ial/y reduced.116


State depmtmellls of transportation acmss the nation are some of the st,rmgest ad1 1ocates of natural /aml~caping. They recognize the bent[fits of natural lamlfcaping and plant
native plants on 1vad~ides and rights of ll'a)' thro11gho11/ theirjurisdictions. I 17 The Mi1111esola DOT is perfwps the most notable in its ((_/JOit.\'. The MDOT Wiklflmt-er Pmgram is
inl'olved in prese1vi11g and planting prairie wifr{/lo1mrs at many rest areas and along road~ides throughout the state. In addition to beautification cf the .1·/ale, a tourist
a1tmctin11, the MDOT cites many discemable benefits/mm its program. I I 8


Natural laml1·capi11g also reduces the cos/,\' ofpol/11tio11 cleanup. For example, waler po/111/io,1 in inland lakes and rivers could he reduced when those living within the watershed
m1t11ral(v landscape the it yard. The re.mll wo11/d be red11ced nm-off and a reduction in non-poinl source polf111fon tlllributed to f erlilizers and herMcide.~ med for mainlenance cf
1110110-culture lawns. I /9


The second economic argument f m· 11at11ral la11d~capi11g is the doctrine of dimi11ishi11g marginal value - the less of an asset that remains the more valuable it becomes. As
suburban sprawl continues to con.~ume open space, the elements qf Nature that remain aud can be prese11'ed increase in value. Accordingly, many developers are citing to the
natural la11d1·capes retained in their developments as a positive asset. Prices of homes ill such sub-dl\'isions often cost more than similar homes iu areas without natural
/a11d\rnpi11g. I 20


The.final reason for the movement towardv natural /a11dw:api11g - the manifestation qf the Laud Ethic thm11gh our yardv - is .,piritual. Dibo/1'.v argument is that insofar as we
view mm,·elves as e,xtemal amt. the1~fore, 110/ a pmt <?f Nar11re, we do 1101 share the 1111iversa/ energy and soul <if the "Great Spilit" whether the ~pilit be God, in the Judeo-
Cl11islia11 view, or some other metaphysical being. n1is disco1111ectio11fmm the life qf the planet aud universe deprives humankind of the security qf belonging to the big picture.
The res11/ta11t "insecurity" or lack q( connection cbives h11ma11ki11d to seek otherfonns of security, such as financial security, in an at/empt lo insulate ourselves Ji-om the chaos of
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eve1)'day fife.


To achieve financial security, h11ma11ki11d despoils the Em1h by converting natural resources illfo capital - an 111111at11ra/ concept. In the pmcess, /11111,am hm e become
                                                                                                                                                                   1




u11ba/011ced, and are willing to damage the ve,y systems upon which they rely for sustenance. This devastation transcendv economic models, fmm capitalism to c01mm111is111 to
tribalism. It is not so much a problem of systems as it is a pmblem of ,wirit and culture.


Ultimately, eco11omic1· dril'es culture and religion. H11111a11ki11d can 110 longer pursue a pattem of destroying the Earth; this is now u11eco110111icaf. No organism can swvive in a
medium    ,~r ifs 01m waste. Therefore, we mm/ develop ,\])iritual systems that rej1ect this new reality and reward better nature in 1w11-eco11omic tem,s, i.e., spiritual gmwlh rather
Ihm, monelmJ' growth. Spiritual developme/11 will be a growth maitet of the future - that wirituality is the land Ethic and is manifested by l10meo1mers through 11a111ral
fmul1·capi11g. I 2 I ...



V. SOME VILLAGES STILL DON'T GET IT- WHAT TO DO IF YOUR VILLAGE JS ENFORCING ITS WEED LAW AGAINST YOUR

NATURAL LANDSCAPE


The type.~ of old weed laws used by municipalities to prosecute natural la11d1·capers generally sujferjiwn a variety of legal flaws. These flaws can be e.\ploited by natural
land~capers who are targeted for prosecution in order to win his or her case, or hopefully, co11vi11ce his or her village that the weed law should not be applied lo natural
landscapes. The flaws are co11slit11tio11al, practical and eddentiaJJ'.



A. Natural Gardening as a Fundamental Right.


I. La11d1rnpillg as Speech and A,t


Natural gardening can be cm1stit11tionaffy protected .17Jeech and, therefore, any weed law must he closely related to a compelling state interest. if11i/e not aff natural lw1d1·capes
are obvious to even a casual viewer, many are. Indeed this is often the real "pmblem." Symbolic speech is as protected as oral speech. One of the best ways a person can
announce his or her concemfor what humankind has done, and is doing, to the environment is to restore a pmtion of the environment to its natural sft1/e. Re.1·toring natural
vegetation cm1, therefore, be a fom, ,if speech and, a.1· such, is entitled to the same protection that .17wech receil'es under the Fil:1'/ A111e11dme111. I 29


 The attempt made by natural landscapers to politically expres.1· themselves through the cultivation of wild plal11s is one that parallels histmical and traditional precedents.130 The
political use a/flowers as .\Jimbo!.~ is as important today as it has been in the past. The red rose is the symbol of the Socialist Party in France and the British Arbor Pal1y. In the

 War of the RoseJ; opposing sides took mses of diff'erent colors as their symbols.131


Natural lm1d1·caping can also be m1istic e.,pression protected by the First A111e11dmen1. 132 State law recognizes the beauty, w1istic e.rpl'ession and vi1·t11e of la11d~cape
gardening.133 land'if.:ape a1t"l1itect11re is defined as "the mt and science of mmnging land together with the spaces and objects upon it, for the p11qmse of creating a sqfe,
~f.lkie11t, healthjitl, and aesthetically pleasing physical e11vim11111ent for human use a11d enjoyment." 134 A weed law, as applied lo natural landvcapers, denies the laml~cape1:~•
ability to e.i;press themselves, thmugh an activity statutorily recognized as (111.


 Neighbors and govemment off/cial.1· need not concur that the natural land'il·ape is "art" before Fil:~t Amendment protection allache.1". Ill i11te171reti11g art as speech protected by
 the First Amendment, the court in Piarowski V. Illinois Co1111111111ity College /35 statetl, "{t]hefreedom of speech a11d of the press protected by the First Amendment has been
 i11teq1reted to embrace purely a11fatic a.1· well as political e.,pression (a11d e11/e11ai11111e11t that fa/ls shmt of anyone's idea or art ... ) .. "/36


 One of the most spectacular e.mmples of natural landscaping as mt lies in the heart qf Chicago'.5 Grant Park. The Wild Floll'er Works II is the creation of C11icago artist
 C11apma11 Kelly. I 37 Kelly sees his garden qf wildflowers, legumes and other natfre plants 11ot merely as di11 and flowers, but rather a giant ca111 as 011 which he does his "most
                                                                                                                                                             1




spectacular mnk. "I 38 The ecological paillling is a socio-political 11v1k that symbolizes the proper role of humankind within Nature.


 Ju 1988, when the Pa,k District sought to have the Wild Flower Works ploll'ed unde1; Kelly went to cowt and obtained a tempora1y restraining order arguing his Fil:\·/
 Amendment rights. The lawsuit was later settled by alloll'ing the Wild Floll'er Works lo remain in Grant Park and the P(II* Districl to receive regular repmts on its maintenance.
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"Gardening is the art that usesflo\\'ers and plants as pai11t a11d the soil a11d air as the canvas - w01ki11g with nature provide.1' the technique." 139 More remm*able examples of
gardening as a/1 are the eJ]<wts of the French lmpre.t\'ionist, Claude Monet, Following the death of his w[f'e, Monet 11/(J\'ed to Givenu•, France in 1883. There he planted the
gardens that were lhe s11liject of his most famous paintings. Focming on color relationships and the effect.\" cf lighl, Monet carefully mmnged pure co/ors in the abstract form of
flowe1i11g plants to "create richly pattemed textures and mood by contrasting or homonizing color relationships." /40 in the late,; and most productive part <?f his career, Monet
used hisflo\\'el' and water gardens at Givemy as a lil'ing studio. "With the lii-ing, growing and changing plants, always sul?iect to light and weather, Monet created an organized
cm1cenlraled color emiironmenl where he could fii,e, breathe, ohse,ve and walk, /oJ'e) 1er hal'ing his pain/er'.\· eye challenged by the '{[/eels qf lighl. "I 4/ Many of /he plants
.lvfonet employell, and much of the layout of the ga1de11s, are the same or similar to many of today'.\' natural laml1·capes.


Enf<mxment of a weed law denies the wtist the tools qf" her art, Nature. A city'.1· weed /aw enforcement is a1· devmtating to a natural la11d1·caper as declaring music a nuisance
would be to a musician. A bselll a sholl'illg of some compelling 1111111icipal interest, a city does 1101 have the power to restrain a natural la11d1·mper'.'i freedom of expression. The
1111imtffied restraint qffreedom of e.\1)/'ession consitutes a violation of the First Amendment.


2. Land,;caping as Religion


Natural /a11d1·capi11g, for some, can be a co11stil11tio11ally pmtectedfo1111 of religiom practice. Co1111s esse11tially recognize religious practices sulljectively, the only test being
whether the individual asserts his belief in goodfaith and that beli,f could arguably be religiou.v.142 Therefore, not only would the established Natfre Amerit:011 religitms/43

and Eastern re/igio11.\·/44 which preach the onene.\'s of h11111a11ki11d and Nature be entitled lo First Amendment protection for 11a/11ml kmd~caping, but those who hold
 "11011/ratlilional" religious heliefli/ would also he entitled lo such protection. Ce1tai11/y, the adherents of Deep Ecologyl45 would be entitled to Fil:\·/ Ame11d111e111 protection for

natural la11d'icapi11g practices.


Beyond Firnt Ameudmell/ protection to these less-co111111011 religions, the f1mdame11tal teachings of the Bible a11d J11deo-Christia11 theology encourage a stewanAhip approach to
l111111a11ki11d~~ interaction with Nature.146 Vice President Gm-e 11a11m1w the focus and strongly suppm1s the premise that traditional Judeo-Christian n:digions counsel for a
ham1011ic relationship betm?ell lwmankind and Nature 147


E1iforceme11t of weed laws can be an impediment lo the free exercise of these religions. IJ11atel'er protection the Co11s1ilutio11 afford~ that free exercise \\'011/d apply to the practice
of natural /and,;capingfor those indil>iduals engaged in it as a result of or in furtherance qf their religion. I 48



B. Weed Laws as Unconstitutionally Vague


 Even if 110/ a constitutionally protected fundamental right, natural /a11d1·capi11g can escape attack from out-dated weed Jaws because such laws generally do not define the tem1
 "ll'eed" and are, then.fore, 1111constit11tio11ally vague. The Chicago O1di11a11ce, like many, merely outlaws "weed~" or an accu11111/atio11 of weed'i.149 As such, the.\·e lm1,~ provide a
sulijective and relative standa,rf, which viof<tles the Due Process Clause.


A law is voidfor vagueness where it does no/ deady dtjll1e what it prohibits.150 A law is void 011 its face if it is "pe1fectly vague"; to sustain the challenge the statute must be
 one which pml'ide.~ 110 "ascertainable standard for inclusion or exclusio11. "15/ Weed laws that.fail to define "weed" s1if.ferfmm such a co11stit11tio11al i11fi1111ity.152


 The lerm "weed," where 1101 statulmily dt;flned, mus/ be ti.mibed its dil1ionwy definition. But "wl,a/ is a weed?" is a vague and subjel1ive delerminalion. J1s metming w11ie.~
 depending 011 who is applying the dq_finifion and where the subject plant is located in relation to other "desired" plants. Thus a "weed" to afa1111er may be a rose or iris growing
                                                                                                                                                                 11
 in his com or ll'heatfield But a mse or iris is not a "weed" to the conventio11al garde11e1; who would cite com or wheal gmwing in hisf7o11'er bed as \\'eed1·. "153 As Juslice
 Douglas wmte: 11 Words which are vague andJluid may be as much a Imp for the innocent as the ancient laws of Caligula. "154 Weed laws can clearly be such a Imp.


 In Newm* V. Gmfield Del'elopment Co1p., 155 one cowt ad-dressed the issue directly. In that case, the co1111 stmck down an ordinance that stated "all areas shall be kept.fi·ee

fivm weeds or plant growth which are noxious or detrimemal lo public health and welfare or a public 1111isa11ce defined in a11icle 2." A,ticle 2 dr.fined public 1111isa11ce a.\' "any
premises which are 1111sanitmy, or littered with 111bbish or garbage, or which has an 1111controlled growth of wee,ll'. 11 The co111t held:
       That which appears to be contained without exception in all weed contml legislation but which is lacking ill the ordinance in q11estio11 is the definition of the pm1ic11lar
       vegewtio11 ll'hich is sought to be controlled or a mechanism by which the parlicular vegetation is designated to he noxious and ther4ore s11f?iect to gove111111e11t co11tml. 156




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The co1111 s11mmarized //,e reason for 1/,e 111/i11g asfolloll's:
      {/]I seems clear 10 thi., cowt lo be 111/erly repug11a111 to 011r .1J•slem of law to punish a person fo r m1 act, the criminality of which depend, 1101 011 any s/a11da1d erected by the
      law which could be k11011n to the defendant in advance, but one erected by a judge orjwy ajier the trial has been completed 157


Even if weed onli1w11ces are 110/ void 011 /heir/ace, /hey can often be vag11e-as-applied lo those who engage in 11at11ral la11d1·capi11g. Across the 11atio11, al/ levels of gove111me11/s
are ac/ively p111~·11i11g 110111ml la11cl,capi11g. J58 The most remm*able, and pedwps ironic, emmple of a g01•e111me111 110111ml Ja11dscapi11g is Chicago's prairie 011 lhe southside at
the David R. lee Animal Control Center. The cily planted /11111dred, of pounds of wile/flower, 11ali11e grass and leg11mes seed, al the site. Marie Wojciecholl'ski, ll'ho is being
prosecuted by Chicago for violating its l\'eed onli11a11ce, galhered seeds from !he cily'., prairie gmde11 and grew plcmlsji'Om those seecl1· 011 her pmperly.159 She even received a
/ellerf,vm a city landscape architect asking her to call //'she needed a11yf1111her msista11ce or i11/01111atio11 about the pmirie. I 60 M,. IVojciecholl'ski now defend, herself in a

aimi11al case brought by the city for groll'ing the offspri11g of the city'., own plants.


Witho11t 011 e mct defi11ilio11 of what type of vegetation is prohibited, \\'eed /all's violate d11e process beca11se they allow law e1iforceme11/ off'icials andj11dge.1· to rely 011 their own
11otio11s of what is right om/ what is 11ro11g. /61 The primmy thmsl of the void-for-vag11e11ess doctrine is:
       The req11ireme11t that a legislature m11st establish guidelines to govem law e1ifon-e111e111.... Where a legislaturefaif.1· to provide s11ch minimal guidelines, a criminal stotllle
       may permit a sta11da1dle.~1· s\\'eep that allows policemen, prosecu/01~· andj11ries lo pursue their personal predilections. 162


Weed laws create such a res11lt. Absent g11ideli11es witl,i11 /he le.rt of the weed lmv itse(f' as lo what plant species are prohibited, 011 e1iforce111e11t officer isfree to decide, strictly 011
his own, whether the p/011/ complai11ed of in a given situation is illegal. Since \\'eed i11Spec101~· have 110 guidelines lo determine !la homeowner violates the ll'eed law, this is

111!/'air and u11co11stilutio11al.


C. Weed la11~· os b mtional in Violatio11 of the £quo/ Protection C/ame and V11reaso11able in Violatia11 of the Common law


(l 11atural ganle11i11g is 110! a f u11da111e11tal right and the ll'eed law is 110I vag11e, the pm'ly charged with violati11g a ,reed law moy 11e1•e11hele.1:, challenge the ralio11ale for a ll'eed
law. A11 onli11a11ce 11111st 1101 011/y be rational to swvive co11Slitutio11al scmtiuy under the Eq110/ Protection Clause, 163 b11I under the co111111011 law, municipal ordi11a11ces 11111st pass
a more emcting standard of reaso11able-11e.~1'. l 64 Nnt11r11I gorc/cncrs lim•c s11ccc.~ef111/y pm1•cn tliat loco/ weed laws arc i>rntionol ond um"CasotJOblc as applied to natural

landscapes. I 65


 Nat11m/ /mulm,pes are atlmclive mu/ t!tey do not tle£'1'etL1·e p1vperty 1-Y1l11cs. More tlil'ectly, 11at11ml /1mtll'C11JJes 1/0 11ot create a ltf!ldt/1 l111mrd, as tr1.1·es ltave p1v1V!11. Some
 1111itifon11ed govemmelll officials a11d citize11s believe that 11at11ral landscope.s cause problems with polle11, fire hazards, rats, and mosquitoes. These mistaken belief, are all
 soundly 1'Cfuted by tel'limany and st11dies. /11 fact, 110/ural landscapes reduce many of the vet)' hazmd, /hat ll'eed laws are intended lo preve111.


 I . Fire


 O11e of the most common wg11me11ts asse1ted infovor oflocal ll'eed 01di11a11ces fa·fire preve11tio11. As lo 11a/um l la11cl1·cape.s Ihis argume11/ is predicated 011 the u11prove11
 co11/e11/io11 that loll gmss a11dforb stems, com111011/y pla11ted as pa11 ofa pmirie or meadow, co11slitute afire hazard. Thi., is 110/, in fact, tme. I,, NL'II' Bedin v. Donald C
 Hagar, 166 United Stoles Fores/ Se1vice expert David Seaberg testified that a grrmfi1'C can s11stai11 high heat for 011/y /11rnty .,eco1ul1·. Ju order lo ignile 11vod a11d.w,stai11 afire
 pote11lially damaging to a /tome, a grass fire must b11m within fowfeet of the home/or seven and a half mi1111tes. J11dge Gramling <,greed. finding 110 ralional btLl'i.,j'or the claim

 that natural la11cl,cape.v create afire ltazard. 167


 Acco1di11g to John Dieke/ma1111, a noted landscape orchitel'I and p/011/ eco/ogi.1·1, most prairie or meadow p/011ti11gs co11tai11 a large portion ~l green leqfy material al gro1111d level
 d111i11g mo.vi sea.vans and do 110/ sustain j)re.168 /11 ,-horl, restoring an area as prairie does 110/ create afire hazard. Moreover, if.fire prevention were lite Jllll]J0,1·e, a mlio110/
 ordinance 11·011/d pmhibit the accumulatio11 of biomass i11 a given area based 011 some index ofjlm11mability, 1101 merely 1111defi11ed 11eecl1.


 2. /le1111i11


 A second common a1g11111e11/ mis<!ll i11 defense of local ,reed lm,w fa· that 11atumlly vegelal<!ll orea.1· .mslai11 mis and other ve1111i11. Rats and other 011i111als commonly regarded as
 ve1111i11 require. a steady j'ood s11pply. Natuml vegetation in yarclv doe.< 110/ provide 1/te IJJJe and q11a11tity ojjood req11ired to sustain a pop11/atio11 of rats and other c1'Caf111•es

 regarded a.1· vermin. I 69

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In short, the 111a11-111adefood supply of the sort often provided by structures, e.111ecially hams or garbage dumps, is what sustains mis and other ver111i11, Thus, a,1 ordinance aimed
al limiting rats and other ve1111i11 should 1101 be targeted al "ireed," but rather should prol,ibit the food 111ass-gro1m and openly stored 011 propeny.



3. Mosquitoes


A third defense of local ll'eed onli11a11ces is the as.mmption that ll'eed-covered areas provide a breeding place for mosquitoes. /11/act, holl'eve1; 111osquitoes require standing water
to breed Even thefastest gmll'ing mosquitoesfmmd in the upper Mid11·est need standing 1mterfi1r ten days to complete their life cycle. Since pmirie and 111eado111 areas tend to
absod, ,mter quickly, they are le,s likely tlw11freque11tly ll'alered /a1111s to co11trib11te to the presence of 111osquitoe,. If mosquitoes are the pmb/e111, it is standing 11Y1ter and 110/

weeds that shonld be pmhibited.170


4. Pollen


A Jo1111hjustiflcatio11 for local weed laws i,, the belief that ll'eed, produce pollen which co11trib111e, lo /he suff ering ofpeople ll'ith allergies. As with /he olher defenses of out-
dated local weed lam,, this is also 111istake11, Herbaceous p/0111.1· responsible for pollen allerge11sfall into /Im general tn1es: (/) plants such a.1· mgu-eeds ll'hich cl,aracrerize
e11vi,vn111e11ts subjecl lo repealed di.,11irba11ce, such as erosiou or cu//iva1io11, and (2) areas characterized by a pe111w11e11t cover of 11011-i11dig e11ous 1111/ and pas/111¥! gra.,se,· such

as bluegrass, pem1111ial 1ye, and limothy.171


Traditional /011111 and land,cape 111ai11te11a11ce procedures in urban and suburban areas of the United States, which are ojie11 the antithesis of 11at11ral la11d,capi11g and u111d Ethic,
a,¥! 11wm likely to be a sig11!fica11t source of cmum,mity health pmblems than /aud,capes most ofte11 ciled for "weed" law vio/atious 172


11,is i.~we 11m at the ce111er of the /itigalio11 that led to the Faiifat Couuty, Virgiuia "Weed Lm,," finding that the /all' 11'(1s 1111c011stilutio11al in 1976 in Board of Supe1visors of
Fai1far County, Virgiuia v. Wills a11d Va11 Meire, Inc. 173 The decision 11Y1s based in large mea.mre 011 the testimm1y of D,: Stam,,,11 Shetler, 1,ow the A.tsistanl Director of the
National Museum of Nat11ral Histmy a/ the Smirhso11ia11 lustilule. D,: Shetler testified that wind-home pollen may trm,el lumdred.s of miles so that a local IIY!ed mrlincmce has
vil111ally 110 effecf in 1wluci11g allergy c{l11si11g pol/c11s. In his decision, Judge Richard J. Jamb01~ky found:
      Shetler'., testimony [regardiug pollen allergies 011d some other ass11111ptio11s about ll'eeds} challenges and ref111es some of the old 110/io11s about ll'eeds aud 1111isa11ces
      e111111ciated 73 J'Ca1:,; ago in City of St. Louis V. Galt. /11 the absence of a showing that its tracts m¥! a hea//h hazard, the dcfe11da11/ should be permilled to mai11/ai11 the

      meadows. 174


 Similarly, in New Berli11 V. Haga,; 175 Judge Gramli11gfou11d thot a city's weed ordi11"11ce applied lo 11alllral landscapes lacks a rational basis/or the elimi11atio11 of allergenic,

 wind-bome pollen //,at affects people with haY.fever aud other al/e,gies. / 76


 5. E1!forceme11t of Weed mdi11a11ces Against Natuml Landscapes Increases Wind-Bom e Alle1ge11ic Pollen and Other Health Hazards


 The prima,y cause ()f ha;fever is rag11¥Ied 177 Ragweetl, WY! a pioneer species in the 110111ml co111:,;e ofpla11/ ,w,1x:e.~vio11 that thrive i11 disturbed soil.fou11d in recently developed
 or degraded areas.178 In the 11011110/ co111:,;e ofplaut succe.tsio11, ,.-eec(J, pioueer plants would, if the soil muwin.v undisturbed by c11t1i11g or other ac/ivity, be succeeded by grasses
 and herbaceous plants. All planls produce po/Im, but perennial 11aTive plants and native grasses, the pri111a1y compo11e11/s of natural landscapes, am generally 110/ p1vclucers of
 wi11cl-bome, al/e1ge11ic pollen. Alloll'i11g these p/011/s to grail', operates to cro11d out the ll'ee1(>, pioneer specie s that create /he hea//h hazard. Based 011 lhesefacts, Judge

 Gramling co11c/11ded that the ll'eed ordinance, as applied to 11atuml land,capes, was cm111te171roducli11e. /79


 Even 111ore ominous than the health proble111s associa/ed with some wiud-bome pollens, is the likelihood that the che111icals used lo establish a11d maintain 11w110-t111fyanls pose a
 serious health risk to the e11viro11me11t a11d lo people and their pet.,; 1101to me11tio11 ll'hatever ll'ildlife remains in the area. Homemmers app~l' more lha,1 67,000,000 p01111d1· of
 aclive Imm chemicals each yea,; more po1mcl1· per ac1¥! than am applied by farme1:,. 180


 The damage to h11ma11 health al/e11da11/ to such /a11d,capi11g praclices is 11'Cl/-docume11tecl For example in Fail/ax Co1111ty, Vi1gi11ia officials blame the high levels of phosphorus
 i11 s//¥!0111., 011 lmrnfertilizer 11111-off /81 The United Stales E11viro11me11ta/ Protectio11 Age11cyfo1111d pote11tially ham!f11/ levels of nitrate in mom than half the drinking ll'ater
 u·ells tested 11atio11wide. High nitrate levels can cause "blue baby" .,yndrome, a potentially fatal o.,yge11-deprivi11g disorder in ii!fcmts./82 Finally, researchers at the National
 Ca11cer Institute have li11kedji-eq11e11t c/1emical-lm111 llwtments lo 011 increased i11cide11ce ofdeadly caucer in dogs and suggest a link be/11'ee11 the 11-eed kil/e1; 2, 4-D. a11d ca11cer

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ill humans. 183



By prosecuting 11at11ml landvcapers, and either implicitly or expressly promoting exotic 1110110-tmf yards, vilkiges increasingly harm the public health. The connection between the

prosec11lio11 of natural landscapers under weed laws and enhancing public health, safety and welfare is not well:fmmded. Prosecuror claims rest 011 convenient assumptions that
have not withstood judicial or scientf(ic scmtiny. Even more Ji·ightening is the likelihood that !he cmrelalion is inverse----that these weed laws are, fl 110! mandating. ce11ab1()•
encouraging twf grass lawns e.1·tah/ished and maintained with chemicals that serio11.1·/y endanger the public health, safety, and weffare.


6. Aesthetics


The final recmrenl criticism <if 11at11ral landvcapes is that such yards simply "don't look nice." Neighbors wish to live next door lo neighbors who have yards of "beauty." To
some, natural /cmdw.:apes look 1111attended and "mes.I)'." Such shaf/owargume1/ls demonstrate the tmdedying molil'atio11 that some feel to cont,vf the actions ~l those who dare to
he different.


"What bea11ty is 1 know not, but if dependeth upon many things." 184 Although some be/ie1'e that beauty is l'isual, the Land Ethic teaches that beauty is dete1111i11ed by how an
activity, plant or species fits within the natural ,mrld. 185 Humankind must confo1111 its yanll· with nature, 1101 some mtf(lcial model. Natural lm1d1'capes conform to nature and
are things of beaury.


On a perceptual level, a yard ablaze with colmful wildflowers and maje.~ticflowing 11ati11e grasses impresses rhe viewer and alfracfs positive re.1po11sesfm111 passersby. For
example, C11icago'.i Gmnt Pm*. contains the two-acre "The Wilc!flower Wm*s. "186 The Chicago Pm* District is planting 1,afive conef/owers and day lilies along the 4½ mile-
long median of Lake Shore D1fre, Chicago's mostfamom street. The program is considered the first of its kind in the nation and if the planting proves succesiful, the Chicago
Pm* District plans to natumlly /a11dvcape other major streets in the city. 187 The State of Illinois ripped 011/ the tulip e11d rose garden on the gro1111d1· of the State Capitol end
replaced it with 11ati1>e Illinois prahie plants. ll/i11ois believes the aesthetic appeal of native landscapes is more pleasing then traditional e.wtic landvcapes end with respect to the
claim that natural landw:apes are ugly and decrease neighboring pmpe1ty values, the opposite appears to be /me. 188


These aesthetic q11afitie.v of natural landscapes have been emlwaced 1,y co11,mnte America. Seai-s, Roebuck & Company is pfrmfing a landscape qf prailie grns.ves cmdfoi-be.v
around its new headqumters in Hoffman Estates, Jllinois. 189 Not 011/y does Sears view the 11se qf a natural Ja11d~cape as en ecologic end eco110111ic benefit, but Sears plans lo use
the natural /a11dw:api11g as a mm*eti11g fool to alfract other COl]JOrate qffice users to the 786 acre site. Sears' plans ha11e been called a "landmm*" in the natural lamil'capi11g
movement.190 Otherco17Jorations, h11-ge and small, utilize 11at11ra/ /a1ul\'capi11g at their cmporate headqumtersJOr ecologic, economic and aesthetic reamns. These include:
McDonald'.,· i11 Oak Brook, Illinois; Wes/bend Mutual Insurance in Westbend, Wisconsin; Schneider Tracking in Greenbay, Wisconsin; and Promega C01poratio11, a biotec/1
company in Madison, Wisconsin. 19/


Ultimale~J', the aesthelic arg11111e11/ against 11at11ral landvcaping is illogical. One ma11'.1· \\'eed is another man~<: rose.192 To some, pink plasticjlamingoes, polka-dolled bloomered
cardbord ladies, hviding plastic s111,jlowe1-s, astro-tw.f-covered front stoop.1~ end pedectly sm/pted evergreens look simply ridiculous; but to others, such landscaping is beautiful.
People have a right to astro-t111f-co1>ered stoops, c/m;e/y cropped evergreens, end spinning plastic s1111j7011"er:s ill their yardv. That is the American way. But individuals also hm1e
the right to a 11at11ral stone walkway, freeflowillg native shrub.\' and forbs, end real s1111f/oll'ers reaching to the sky in a blaze of gold ...




COLLEGE STATION, TEXAS PROPOSED NATURAL LANDSCAPE ORDINANCE ...


Section 3. Managed Natural Landscaping:


It shall be lwef11l to grow 11athie amt 11at11raliutlplant.,; to a11y height\; i11d11di11gfeml; nilt(/lmwn,, gra.<;;fes} forb.\; slrmhs, tmd 11-ees ..


Staleme11ts of intent:


 I. {la complaint is filed by a citizen or the city against a piece of proper(\', the burden or prof?( lies with the co111p/ai11a11t to estabhl"11 that a health or safety hazard in fact exists.


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Nat11ml lm11lm1pes shall be a.\ ,·11111/!JI to be llfln11/e.\, ; 1111ti/ pro1Y!l1 othemjse.
2. The cily sl,a/11101acl 11po11 a11011y111ous complai11ls. The properly oll'11er sho/1 have 1/,e right lo face the accuser.
3. This and //,e 111111,ai,aged vegelatio11 ordinance shall be proactively and 1111ifo1111ly enforced, and shall apply lo all properly 1101 .1pecifically exempled within the city limits.
4. Aest/Jelicjudg111e11/s s/Jall ,wl be a co11sidemtio11 nor play any m le i11 de1e1111i11i11g 11011-complia11ce or compliance will, 1l1e ardi11a11ce.

5. The cily shall notify //,e properly m111er of their rights of appeal.
6. fl shall 110/ be the policy of the city lo e11/er 11po11 p rivate laud a11d to destroy properly 1hereo11 without due p roces.1· of law. ...


     •Hem, SU.t:ainabl •    (and Beautiful) Altamatives bo a Grua i.wrf' ( •) ,                (NPl)CJ ,    Maxy Talbot•   (2016-09- 30) ,
•   httpa ://.,.,..,nnlc,org/ aborl.u/mo""-ouat&l.nobla-and-beautitul- altamatives-grau-1.awn




    More Sustainable (and
    Beautiful) Alternatives to a
    Grass Lawn
    Manicured turf grass lawns cover up to 50 million acres of land in
    America. But a new, no-mow movement is challenging this
    conformity-and helping the environment.

    SepternlJer 30 , 20 ·16                              Marv Ta lbot




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A.darns County PA Ma ster Ga rdener, BBG Grad uate , and I\JRDC Member, Audrey Hillman


In a case of takin g "the grass is alvvays greener" a bit too literally, American
r,omeov-m ers r,ave Ion g strived to make U1 eir lavvns brighter, lusher, and more velvet\/
than th eir neighbors'. But all th at competition has a devastating envimnmental
impact. Everv year· across tr, e country, lavvns consume nearly 3 trillion gallon s of
water a year, 200 million gallons of gas (for all tt1 at mowing ), and 70 mil lion pou nds of
pesticides.



You rna\t also know th at tutf grass. however welcoming it looks for our· bare feet.
provides vittu all'i no habitat for pollin atot·s and other animals and plants that make up
a l1e altt1y, diverse ecos~rstern . In fact, tl1ese lavvn::. can do substantial 1·,arrn to the
en\.,ironment and to both vertebrates and in sects. Birds , for instance . mav ingest
berri es and seeds that have absorbed pesticides from the ground . Likewise,
rainvvater runoff from lavvn s can carrv pesticides and fertilizers into rivers, lakes,
streams, and oceans via tt1e se-,,ver s~1stern. Thi s ca n poi son fish ancJ oth er· aquatic
animals and harm t1urn ans who swim, surf, and eat seafood tt1at rnav be
contamin ated ..And tl1 en. of course , lav·m mowers can pollute tl1 e air.



Lu ckily-, today more Ameri cans are ready for a cl1ange. "VVe're on the cusp of a
transition tl1at wi ll likely take place over tt1 e next 10 to -15 years. away from tr1 e
conformitv of mowed tu rf," says Ed Osann , sen ior policy analyst and ·,Nater efficiencv
project director vvith NRDC's \/\later program. He adds that eradi cation of all grass
isn't th e goal. "\IVe're not declaring war on turf or suggesting that lNe remove every
square fo ot of it. But vve vvant to encou rnge people to think about wh eth er th ere am
places in U1 eir varcls U-1at can be converted to allovv for a more diverse and
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The No-Mow Movement
A gro1.r.,1ing number of homeov·mers are converting part or all of th eir lav,n-,s to a less
tt1 irsty form of landscape. Th ese no-mmN yards fall into fou r categories: 1) naturalized
or un'rr',owed turf_grass th~t is left to Girovv wild; 2) lmN-grovving turf grasses that
r·equire little groomin g (most are a blend of fescues); 3) native or naturalized
landscapes vvt1ere turf is replaced with native plants as well as noninvasive, climate-
f rien clly on es th at can th rive in local condition s; and 4) yards v11here ecli ble plants
- veg,3tables and fruit-bearing trees and shrubs- replace a portion of turf. (.Accordin g
to the National Gardening Association , one in three fam ilies novv grovvs some portion
of the food th ey consume.)



Making the Ch an ge
A successfu I lawn co nversion depends on clim ate, terrain, an d of course individual
taste. Of the four main no-mow strateg ies , Osann says, native or· natun3Iized
landscapin g is likel~t your best option. It's adaptable to an~/ part of the country and
offers gardeners an infinite ran ge of design possibilities. If you 'i.Nant to join the no-
movv movement , here are some pointers to get you started:



           Get expert advice. Beg in by talking 'Nitt, a landscaper vvho has experi ence vvitt,
           lawn conversions , or even a n eighbo t· wh o has n atural'1 zed all or part of t1is yard .
           .A landscaper can help re move existin g grass and recomrnend native plants to
           use in its place. Depending on water and weather, a I0,N-grovving turf lavvn 'Nill
          "green up" about two weeks after seed ing. A.nother altern ative is a wildflower
           garden gro11vn from seed. (,Just make sure ~i"ou choose a \NilcJflovver mix that fits
          your climate , an d weed out existin g vegetation that vvould compete for moisture
           and sun.) Afte r t11 e seeds germi nate and the flovvers bl oom (in 6 to 12 weeks),
          tt, ev don't reauire vvaterin a un less there's a orolonaed drouaht.
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Do your weeding. Invasive plants like ragweed , thistle, and burdock can crovvd
out th eir native neighbors and may run afoul of local ordinances (as noted
below). For rnost no-rnow advocates, the payoff in natural beauty and habitat
are \Nell vvo1tr1 tt1 e effort.

Check for incentives. t\Jot surpri sin glv, ~\,estern states such as Arizona and
Californ ia, \Nh ict1 t1 ave been in u-1e th roes of extreme drougr1t for more than four·
years, have taken th e lead in spu rrin9 h omeowners to do lavvn conversion::;.
California, in fact, launched a turf replacement initiative that off ers rebates of up
to $500 per yard for r1omeown ers V\/h o convert turf Ia-vvn s to native , drou g l1t-
resi stant xeriscaping . On a morn grass-roots level, organization s li ke the
Sutfrider·s Foundation, a national environmental grou p mad e up of surfing
aficionados, t1 ave r1 elped tran sform turf lavvns in South ern California parks and
t1 ornes into ocean-friendly gardens, using succul ents ancl other indi genou s
plants along with l1 ardscape materials like rocks and gravel th at in er-ease
filtration, conserve water, and reduce run off.

Check the rule books. The n o-mow movement may soun d idyllic, but some
practitioners have fac ed a surprisin g stumbling block: the lavv. In one exampl e,
Sarah Baker, a homeowner and scion of a family of r1 otticu lturalists in St. Albans
Tovvnst-1ip, Ohio, decided to let her turf grass yard grow vvild. Last year, she was
forced to mow vvt1 en authorities from t1e1· town ship deemed r1er garclen, \Nhict-1
t1 ad become an aturalized but ~vell-tended landscape, a nui sance . Sandra
Christos of Stone Harbor, Nev\i Je.rsev, says that after she replaced turf grass
·,Nith native plants, she \Nas cleligl1ted tt1 at corm orants , ni ght t-1erons, and
kingfishers made themselves at home alongside "ever._/ kind of butterfly vou can
imagine." But sin ce receiving a letter from tr1 e tovvn clerk, Christos has had to
tam e the mallow, bayberry, clethra, ancl rosa ru gosa along her vvalkvvay-or pay
a fin e.


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         I




Sarah 8 aker in her ya rd

Arna nda tv1 ae Taylor


\Nr1ile local ordinances or homeovvn er association bans have emerged- mo:;tlv out of
concern civer fire safet\l, rodent 1:ontrol, and noxious vveed'.=, - they take on aesthetic
concerns too , ofte n proscribing grass over eigl1t inches tall, vegetable garclens
{especial!~/ in plan ned communiti es), or any kind of Ian dscapin g tt1at deviates from
clipp eel tu r·f.



A recent wh ite paper b~/ students from Yale's forestry and lav11schools, in
collaboration 1,vitr1 NRDC , surveved
                                  .     - obstacles to various forms of no-mow and
                                      leaal
concluded tl1at, for· sustainable landscapinq to acl1ieve wider ar:ioption, some
rnun1c1pal1ties \Nill need to ad1ust tr1 eir-pol1e1es .



Th at change can happen if residents push for· it. Montgomerv Count\,, Ma ryland, for
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   example. amended its nuisance laws-Io allow for naturalized lawns after locals made
   he case that their \Nild gardens improved air and soil quality and reduced stonnwater

  idiiil

   lvloving away from vvater-guzzli ng and chemical-h ung rv Iavvn s and cultivating \lards
   th at are diverse and self-reguIatin g is a matter of mountin g urgen cv worth\/ of tl1 at
   kind of community organizing. As global temperatures rise and droughts drag on, U1 e
   dernands of tu rf grass are likely to become untenable.



   "Our existin g lawns are goin g to get th ir-stier and their water req uirements \Nil l
   increase ," Osann says. Fortunately, ·,Nitti an evolving toolkit of susta in able
   Ian ds ca ping strategies, 11 ome gardeners can avoid suct1 effects and help nurtu re the
   health of the planet-right in th eir ovvn backy-ards .



1735
A perfect example of the irrational and abusive interpretation of the tenn "weed~", as defined in the Texas-Public-Nuisance-Law, is the bamboo

plant. Bamboo, classified as a species of grass, is one of the fastest growing species of plants; there are some cultivars of bamboo that grow up

to 3 feet (up to 36 inches) per day. If one were to abusively mis-interepret bamboo as a "weed" according to the Texas-Public-Nuisance-Law,

then a resident of a property growing such bamboo could be in violation of this law, potentially every one or two days, and would be required,

at least during some times of the year, to cut such bamboo evety one or two days. The plaintiff is fully-confident that this not what the

•Texas Legislature➔ intended when they wrote this law, but even if it was, at least some peoples-of-color and most indigenous-peoples

would be strongly opposed to abusing the Texas-Public-Nuisance-Law to prohibit the growth of bamboo on private-property, as bamboo, even

when growing densely, is totally harmless to human habitation, and serves many useful functions. Again, given that the •Texas

Legislature~ did not defme the terms "ranlc" and "uncultivated", the only reasonable interpretation of this law is to limit the definition of

"weed1·" to a ve1y minute fraction of vegetation that actually does cause demonstrable ham1 (health or safety hazard) to human habitation.

However, by default, as the law-review-article above states, "ii shall be lawful lo grow native and naturalized plants to any heights,

including fems, wildflowers, grasses, .forbs, shmbs, and trees" and ''Natural landvcapes shall be assumed to be harmless, until proven

otherwise."




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i736
A resident could be intentionally/willfully growing vegetation (including, but not limited to, wild-vegetation) in the enclosed/private backyard for

feeding such vegetation to companion animal<;/pets - particularly, animals whose native diet is such grasses/wild-vegetation such as tortoises. A

resident could also be intentionally/willfully growing vegetation (including, but not limited to, wild-vegetation) for harvesting such vegetation as

a crop when such vegetation has reached a certain tall height - such as bamboo and/or hay. Therefore, in addition to unjustly depriving a

resident's other first-amendment-protected uses of their private-property to grow such vegetation (see above), the public-nuisance law is also

unjustly depriving a resident's legitimate use of their private-property for these other purposes.



i737
Property owner(s)/occupant(s) could be intentionally/willfitlly growing vegetation (including, but not limited to, wild-vegetation) in the

enclosed/private backyard which is part of a larger pollinator-garden and/or vegetable-garden and/or wildlife-habitat and/or veb>etation that

serves as wind-breaks (to miti1:,rate damage to fence/building stmchtres from high winds) and/or vegetation that serves as flood-control (since

most vegetation absorb large amounts of water from the soil during floods) and/or vegetation that serves to provide more privacy. There are

are some vegetables that grow very-rapidly to tall-heights like so-called "weed,"; for example, the okra plant grows very-rapidly and densely up

to 8-feet-tall and large amounts of okra plants, can even looks like a tall, dense "weeds" - see relevant incident below; the fruit, seeds and

leaves of the okra plant are all not only edible but nutritious. Without fully-investigating and questioning the owner(s)/occupant(s) about the

vegetation alleged to be 11weeds 11, and, at a minimum, without providing the owner(s)/occupant(s) an opportunity for a hearing on this issue,

law-enforcement would not even have sufficient probable-cause to obtain a search-waITant, let alone charge a person for violating the Public-

Nuisance law for this particular issue. At least with a hearing, the "commissioners court or any board, commission, or official designated!~)'

the commissione,~s court" may, after hearing the owner(s)/occupant(s) on this issue, rule that an alleged violation is not an actual violation, ·or

may choose to grant a "Special Exception or Variance to Public Nuisance Classification" [THaSC-T5-SA-C343-SB-§343.0l l l]. So, in

addition to the fact this particular aspect of this law is Unconstihttionally vague, when there is a disagreement between the

owner(s)/occupant(s) and law-enforcement, denying such person(s) their minimal right to a hearing (and proceeding with a search warrant

and/or criminal charge) is also a clear and additional violation of Due-Process rights.



i738
Yards with wild ve1:,retation that are alleged to be "weeds" also have much-greater forensic value during criminal investigations than a mowed

grass lawn. Forensic scientists sometimes study the vegetation in/around a crime scene for clues concerning the crime(s), and a

meadow/prairie/wildlife garden with such wild vegetation provides much more forensic information (clues) to be able to solve serious crime(s) -

especially violent crime(s). So, the alleged "compelling state interest" to stop/control the growth of wild vegetation on private-property (for no

reasonable/rational purpose) is laughable when one considers that there is a much-more-significant 11compelling state interest" to solve serious

crime(s).



i739
It is widely known that many, if not most, homeowners (and [HOA]s) use chemical means (pesticides) to reduce/eliminate so-called "weeds"

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on property. The application of such toxic chemicals, although causing extreme harm as already explained above, also reduces the physical

workload for homeowners, since the use of such chemicals is much less labor-intensive (and much less ti.me-consuming) than the manual

cutting/pulling of so-called "weedr" - especially in the cumulative long-term. If it is the case that people of certain minority

races/cultures/religions (especially immigrants-of-color/indigenous-persons) are more-inclined not use pesticides (due to raciaVculturaVreligious

views/practices) relative to the White-American majority, then it could easily be argued that the enforcement of such "weed" laws puts undue

and discriminatory burden(s) on people of those minority races/cultures/religions, who due to their strongly held religious/cultural

views/practices, have to expend more time and effort in manually picking so-called "weeds" compared to White-American homeowners that

much-more-easily broadcast/spray pesticides.



1740
There is at least some evidence that suggests that the mowing of grass (or cutting of other vegetation), especially for aesthetic reasons, is seen

as a patriotic (thus, political) act, especially since the institution of lawn-mowing has its roots in White-American culture (and prior to White-

American culture, White-European culture). If the evidence is conclusive that the mowing of grass (or cutting of other vegetation), especially

for aesthetic reasons, is a patriotic (thus, political) act, then any peoples - for example, those people of a counterculture movement - who are

politically opposed to demonstrating any form of patriotism, should be, in the interest of justice, allowed to refrain from demonstrating any

such form of patriotism, as a fundamental first-amendment-protected right.



1741
In the United States, there is now a national-movement of people advocating for what is known as "No-Mow May" - replicating similar

movements and efforts in Europe. This national-movement taking place in recent years would have been inconceivable just ten years ago -

when the plaintiff, out of the plaintiff's own deeply-held religious/cultural views/practices, began to start advocating for such lack of mowing.

Ten years ago, if the plaintiff asserted the right not-to-mow the plaintiffs [FRONTYARD) to the [HOA), the [HOA) would have laughed at the

plaintiff, claiming that the plaintiff had no such right. The situation today is clearly not as clear-cut as it used to be, with younger-generations in

particular, rightfully questioning the legitimacy of such antiquated laws/covenants that are driven more by powerful-and-highly-profitable

industries (the lawn-care industty, the property-management industty, the law-firms that represent [HOA)s, etc.), White-American-Ideals and

Christian-Conservative-Orthodoxy - all concerned with maintaining a certain image or aesthetics/cosmetics, rather than any actual, genuine

concern for health-and-safety.



1742
If it can be demonstrated that at least some (minority) immigrants-of-color (of "Eastern religions" mentioned in the law-review-article above)

and/or indigenous peoples are more likely to cultivate wild vegetation due to religious/cultural practices than the majority non-immigrant/non-

 indigenous-peoples population, then not only would parts of the Public-Nuisance law concerning "weeds" be a violation of such peoples first-

amendment rights, but also a violation of such peoples Fourteenth-Amendment "equal protection" (* ) rights and Due-Process rights

protecting "discrete and insula,· minorities" who do not have sufficient numbers to change the law through the political process (see

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OPINION OF THE COURT ...


A municipal ordinance to regulate ... ll'ithin the limits <!f the m1111icipality violates the provisions <!f the Comlilution of the United Stales, if ii cm1/e1:f 11po11 the mu11icipal
011/horities arbilra1y pmrer, at /heir 0ll'II will, and wilho11I regard lo discrelion i11 !he legal se11se of the /em,, to give or withhold conse111 as lo pe1:w11s or places, without rega,r/
la J/,e compele11cy of J/,e persons applyi11g, or //,e praprfoly of J/,e place seleclerl. for !he canyi11g 011 of //,e b11si11e.u.


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ii makes arbitra1)1and 1111jus/ discrimi11atio11s, fo,mded 011 differences <!I' race, between peiwns olhe11rise i11 similar cinw11s/a11ce1·.


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47 S.Ct. 641, 647, 649, 71 L.Ed. /095; Hemc/0111•. Lo111y, 301 U.S. 242, 57 S.CI. 732, 8/ L.Ed. /066: and see Holmes, J .. in Gitlo"' 1•. Ne\\/ Yark, 268 U.S. 652, 673, 45 S.Ct.
625, 69 L.Ed. I 138; as to prol,ibitio11 ofpeacenblea.~'i/!111blJ\ see DeJonge v. Oregon, 299 U.S. 353, 365, 57 S.Ct. 255, 260, 81 L.Ed. 278.


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69 L.Ed. 1070, 39 A.L.R. 468, onwtiom1/, Meyer v. Nebimka, 262 U.S. 390, 43 S.Ct. 625, 67 L.Ed. 1042, 29 A.L.R. 1446; Bw1els v. 1mm, 262 U.S. 404, 43 S.CI. 628, 67

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1743
One-or-more very-recent {2023} study(s) published by researchers from (Tel Aviv University), (Massachusetts Institute of Technology), and

(Harvard University) found that ''plants let out an ultrasonic scream when their leaves are cut". Although the researchers stopped short of

claiming that plants 'feel pain" from being cut, the fact still remains that plants emit a stress response after experiencing such stress. Thus, even

ignoring a person's constitutionally-protected religious opposition to the artificial cutting of vegetation, even persons who are aware of such

science and who follow the "Hippocratic oath" - "FIRST, DO NO HARM" - should not be coerced to violate such Hippocratic-oath.



<JJ:744
Regarding the property-maintenance laws - both the Texas-Public-Nuisance-Law and restrictive-covenants - the statute-of-limitations applies to

object(s) and/or condition(s) of a private-property. So, if object(s) have existed on a private-property for a period of private-property for over 2

years in the case of Texas-Public-Nuisance-Law, or over 3 years in the case of restrictive-covenants, then the government is barred by the

statute-of-limitations from pursuing any public-nuisance prosecution as a result of such object(s), and the [HOA] is barred by the statute-of-

limitations from pursuing any breach-of-contract lawsuit as a result of such object(s), respectively. Similarly, if condition(s), including but not

limited to - uncut vegetation, have existed on a private-property for a period of over 2 years in the case of Texas-Public-Nuisance-Law, or over

3 years in the case of restrictive-covenants, then the government is barred by the statute-of-limitations from pursuing any public-nuisance

prosecution as a result of such condition(s), and the [HOA] is barred by the statute-of-limitations from pursuing any breach-of-contract lawsuit

as a result of such condition(s), respectively. So, for example, when handling public-nuisance complaints, government agencies/employees must

first inquire whether the alleged object(s) and/or condition(s) have existed for a period of over 2 years; if the answer to this question is yes,

then that fact alone short-circuits any further inspection/enforcement action(s). It is incumbent upon the complaining party to ensure that they

are raising the complaint within the statute-of-limitations.



1745
Short of having sufficient probable-cause necessary to lawfully obtain and execute a search-warrant, law-enforcement cannot inspect/search

any individual property without being able to prove (in Court) that they are equally inspecting/searching all properties - as this would be an

egregious violation of the "Equal Protection" clause (in essence, the Constitutional right to "Freedom from Discrimination'), and if applicable,

the [FHA)/[TFHA] that strictly prohibits any-and-all discriminatory practices against any member(s) of the protected minority classes. The

 ''Equal Protection" clause would also guarantee that if White-American people are allowed to maintain their properties under their subjective

 White-American standards, then person(s)-of-color, in particular immigrant(s)-of-color/indigenous-person(s), should be equally allowed to

maintain their property under their subjective person(s)-of-color standard. As documented in the exce1pts above, this is especially true for the

manner in which vegetation is grown and maintained on private-property, but it also applies to pennacultural and/or indigenous gardening

 techniques ( n ) , as well as off-grid and/or zero-waste lifestyle(s).

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'1[7 4 6
Even disregarding the substantial racial/cultural/religious/political differences in property-maintenance partially described above, the public-

nuisance-law is also "Irrational in Violation of the Equal Protection Clause and Unreasonable in Violation of the Common Law" for at least
some people that arc not in any of the following protected categories: racial-minorities, environmentalists/naturalists, political libertarians. For

example, even without irrigation, wild-vegetation grows from some combination of favorable circumstances for life present on planet-earth:
fertile-soil, rainwater, temperature, atmospheric-pressure, pollinators (both living and nonliving), atmospheric-composition (carbon-dioxide,

nitrogen, oxygen, etc.), and sunlight - summarized by the term "nature". To punish a property-owner for what "nature" does (naturally) on
his/her private-propetty is extremely irrational and unreasonable in violation of such person's Constitutional rights. For example, a physically-
disabled property-owner living alone at his/her private-properly may not even have the physically-capability to cut vegetation on his/her private-

property: ls the local/state government going to criminalize that physically-disabled person for the wild-vegetation that is growing outside of

his/her house? ls the local/state government going to force that physically-disabled person to hire another capable person to cut the wild-

vegetation that is growing outside of his/her house? Is the local/state government going to forcefully enter into the private-property of that

physically-disabled person to nonconsensually cut the wild-vegetation that is growing outside of his/her house? Whether or not a person is

physically-disabled and incapable of cutting vegetation is actually irrelevant to the much-larger, fundamental issues of extreme irrationality and

unreasonableness.



'1[7 4 7
The constitutionality of a law is sometimes detem1ined by an evidentia1y-standard test. If the evidentiary-standard tl1at accompanies a law is

consistently or inherently too low to be considered to be reliable/demonstrable/provable - for example, consistently below the "beyond any-and-

all reasonable doubt" standard required of criminal law - then such law can be challenged as being unconstitutional on this basis. For example,

the result(s) of a polygraph test arc not admissible in Court because they are considered to be too unreliable and polygraph-testing is not an

exact science - considered by many lawyers to be ~'iunk science". A coerced confession is often not admissible in Court because the confession
was made under duress and thus, there is at least some significant possibility (causing reasonable doubt) that the confession was false. Evidence

from jailhouse bragging is sometimes not admissible in Court because, on at least some occasions, defendants brag to other inmates that they
committed such-and-such crime(s) solely in-order-to boost their power/status/fame/etc within the social circles of the jail/prison. Evidence from

contaminated crime-scene-investigations is sometimes not admissible in Court when law-enforcement makes missteps/accidents that
contaminate the crime-scene with faulty/misleading evidence. The Texas Public-Nuisance-Law uses certain terms such as "rank and
uncultivated", "unsanitary condition(s)", "likely to attract or harbor mosquitoes, rodents, vermin, or other disease-canJ1ing pests" that are

not only vague/undefined (in violation of the Due-Process-clause), but also do not meet the minimal threshold of evidentiary-standard required

of criminal-law ( "beyond any-and-all reasonable doubt~ to be considered Constitutional. For example, without thorough scientific testing of
every property in a residential-subdivision and also all public-property located within and directly-around such residential-subdivision and also

all (unoccupied) vacant-land within and surrounding such residential-subdivision, it would be impossible to reasonably detennine, "beyond any-
and-a/1 reasonable doubt", which property(s) (if any) are actually causing legitimate public-nuisance(s). Furthermore it could very easily be the

case that the greatest amount of public-nuisance is achmlly ori!:,'lnating from public-property (stonn-drains, street-gutters, etc.), or on
(unoccupied) vacant-land within or surrounding such residential-subdivision, which could easily, for example, be housing exponentially-larger

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amounts of stagnant water within low-lying areas that serves as an unmitigated breeding-ground and harborage for mosquitoes. So, in this

particular case, it is entirely unreasonable and unjust to punish (fine and/or charge/prosecute) a resident for conditions within their private- .

prope1ty that might look like it could potentially be a public-nuisance, when in fact, the actual public-nuisance is predominantly originating from

outside of that resident's property. The Public-Nuisance law can thus easily be considered to be Unconstitutional by its consistent/inherent
                                                                                                                            11
failure to meet the minimum evidentiary standard required of criminal law: "beyond any-and-a// reasonable doub/ •



<J[7 4 8
The actual terminology used in the naming of this law itself is also legally problematic to say the least. The word ''public" in the term ''public

nuisance" implies that a person has caused at least some harm, disturbance or annoyance to a significant fraction of the entire public. This
means one of two things, or a combination of these two things:® Either the ~Texas Legislature ► have used inappropriate terminology to

define this law - this law should really be called ''private nuisance" rather than 'imblic nuisance" AND/OR@ At least some Law-Enforcement

is weaponizing/abusing/exploiting or at least misinterpreting this law even when the harm, disturbance or annoyance is alleged to be against less

than a handful of neighboring residents. If® is not-true - in other words, if the ~Texas Legislature ► fully intended this terminology -

then the Public-Nuisance law can only be enforced were harm has been caused to significant fraction of the public, like when the "unsanitwy

condition(~) 11 of a private-property causes harm to many hundreds (if not thousands) of people. However, if® is not true, then, given the

manner in which many, if not most, residential-subdivisions are designed and conshucted (with privacy-fences along much of the property

borders), it is impossible for a person to violate this law by harming that large amount of people unless, for example, such property has a large

pond (or other large body) of untreated water that is an open and unmitigated breeding ground for millions of rampant mosquitoes. If® is trne,

then the Texas-Public-Nuisance-Law is also clearly Unconstitutional (in addition to other reasons specified in this lawsuit) because it violates a

person(s) fifth-amendment right to due-process by making a false/misleading/fraudulent accusation against such person using an inappropriately

worded law. When a person is criminally-charged w ith "Public nuisance", the reasonable third-party observer that has not read this law (and

thus has no understanding or knowledge of this law) has to infer that such person is alleged to having caused harm, disturbance or annoyance

to a significant fraction of the public - which would be a fraudulent accusation if the harm, disturbance or annoyance is actually alleged to have

occurred against less than a handful of neighboring residents. The law is thus also unjust in its very name.



<J[7 4 9
Disregarding the unjust use of the word ''public" in the term ''public nuisance", even the use of the word "nuisance" is legally problematic.

The use of the word "nuisance" implies that some person(s), through their willful, deliberate and direct action(s), is/are a lleged to have caused

harm, disturbance or annoyance onto other person(s). When a resident is alleged to have failed-to-maintain their residential property according

to certain standards, in most (if not almost-all) cases, that is neither a willful nor deliberate nor direct action but rather, at best (even if the

allegation is true), an act of omission. Generally speaking, criminal laws are meant to punish people for commission (their willfu l, deliberate and

direct actions), not omission. The only cases under which criminal law does reasonably punish omission is when the omission causes significant

 harm to other person(s) or harm to vub1erable/helpless persons such as child-neglect that causes harm to the child. An omission of this type

 (property-maintenance on the standard residential lot with a privacy fence) - even if true - is only reasonably punished by a civil penalty - like a

 fine for a parking violation - that does not appear on a person's criminal record, but rather is only a relatively-minor financial penalty. The

actual "nuisance" is directly caused by rampant mosquitoes, rodents, vermin or other forces of nature, and thus, neither by the willful nor

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direct nor deliberate action(s) of the accused person(s). Punishing a person using criminal law for what nature does naturally is extremely

irrational, unreasonable and thus unjust in violation of such person's Constitutional rights. Regarding property-maintenance, a more appropriate

measure for a government would be to issue a ticket (like a parking violation ticket) and handle the issue as a minor civil issue, not a criminal

issue.



1750
In order to further establish the irrationality, unreasonableness, unfairness and discriminatory-nature of the Texas-Public-Nuisance-Law, it is

also impmtant to put-into-context and compare the Texas-Public-Nuisance-Law to other laws enacted by the •Texas Legislature ► . For

example, the •Texas Legislature ► have recently enacted into law the right/freedom of citizens to openly cany guns in public areas within

Texas without a pennit or training- a move that is supported primarily by the far-right-wing in both the State of T exas and the United States,

but is even opposed by most police groups/associations (which are also of the right-wing). So, in this particular example, the •Texas

Legislature ► have enacted into law a right/freedom that is primarily supported by a relatively small and far-right-wing-extremist fringe

minority in the State of Texas and the United States. The statistics have consistently-shown (for many decades) that when the United States is

compared to most other developed countries (where there is no "second amendment'), deaths and serious injuries caused by guns in the United

States far-exceeds levels in those most of other developed countries. Other crimes are committed by some gun owners who threaten others

w ith guns. For decades, many lawmakers of the right-wing (not limited to Texas) have peddled this fraudulent nanative that the only way to

mitigate gun-violence (and other crimes) from the so-called "bad guys" is to enable the so-called "good guys" to carry guns: a fraudulent

narrative that is not only unproven and completely unsupported-by-the-evidence, but that would be laughable if it did not lead to so much tragic

harm. Today, most second-amendment supporters (including lawmakers) justify the second-amendment almost-exclusively for individual-

libe1ty/self-defense purposes. However, the framers of the Constitution justified the second-amendment not merely on individual-liberty/self-

defense purposes, but rather, for the more extremist and radical purposes of citizen-militia(s) holding government-power in check (the militia-

threat of insurrection thereby preventing government-tyrmmy) and also to maintain the institution of chattel-slavery (with slaves needing to be

controlled by guns). Today, very few, if any, second-amendment supporters will publicly justify the second-amendment using the framers'

more extreme and radical purposes, because it would be far-too-controversial to do so in today's society: ® In today's society, most people

rightfully have a negative-stigma and fear against violent-insurrections, violent-revolutions and/or violent-overthrowing-of-governments ; @

most of today's society (and all of today's civilized-society) has long since renounced chattel-slavery ; © most state/ local governments and the

federal government would consider any citizen-militia to be akin to a violent-extremist-group, if not a terrorist organization. Clearly,

perceptions, justifications and public support regarding at least some laws - including whether such laws are rational reasonable, fair and non-

discriminato1y - tend-to-change radically as time passes. So, even ignoring the fundamental issues of racial/religious differences regarding

standards of property-maintenance raised in this lawsuit, and to further judge the irrationality, unreasonableness, unfairness and/or

discriminatory-nature of the Texas-Public-Nuisance-Law by putting this law into perspective and context, it would appear to the plaintiff that

the ~Texas Legi slature ► (as a whole body and institution) wants to, for example, deprive Texas residents of their fundamental

Constitutional right to grow certain types of (non-narcotics-related) vegetation on their own private-property, but at the same time, that same

•Texas Legislature ► (as a whole body and institution) wants to allow citizens the unmjtigated right to openly-carry firearms even in

public settings within Texas, despite of the already alarming and far-wuivaled statistics concerning gun-violence (and other crin1es involving

firearms) - both, in State of Texas and in the United States.


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i751
In summation, the law leaves several crucial terms/phrases - such as "unsanita1y conditions", "unsanitWJ' condition likely to" - completely

undefined or very-ambiguously/vaguely defined - such as "weed" - or hypocritically-'defined - such as "rodent". The law also makes false

assumptions for which there is no scientific evidence - such as "weed,;" being a food-source and/or harborage for rodents/vermin/mosquitoes.

The result is that a reasonable person - of any race/religion/color/national-origin - accused of a violation of this law - despite having full

knowledge of this law - might strongly-and-rightfully deny that any violation ever occmTed. Due to this disagreement with law-enforcement,

putting such a reasonable person through the rigors of a criminal trial using such a poorly-worded, outdated, draconian law as the basis, and

allowing a Judge and/or Jury (at trial) to fully-define and determine what those terms actually mean to any particular circumstance - according

to their own subjective opinions/standards/predilections/preferences/whims and according to their own unique racial/cultural/religious/political

backgrounds/practices - is entirely unfair, unreasonable and totally in violation of such person's "due process" rights, Jirst amendment" rights

and "equal protection" rights. Multiple aspects of the public-nuisance-law not only infringe on the fundamental rights of at least certain classes

of property-owner (as documented above), but also, as is already illustrated by some the legal arguments above, diverge from the most basic

notions of equity and morality, in particular, the "golden rule": a person should treat others in the same manner that such person would like to

be treated.




i752
Furthennore, when the public-nuisance-law leaves such crucial terms/phrases undefined or poorly-defined, then this opens the door wide-open

to many types of arbia·ary/capricious/discriminat01y/retaliatory/predat01y/hypocritical/abusive/oppressive/selective/biased actions by law-

enforcement (health-district-inspectors, code-compliance-officers, police-officers and prosecutors), that are, at least on at least some occasions,

acting on behalf of malicious neighbors with hidden animus unrelated to property-maintenance. In general, the public-nuisance law cannot be

abused by law-enforcement to impose arbitrary or whimsical standards of property-maintenance on any person, especially if the enforcement is

driven by the predatory demands of predatmy/malicious neighbors. And in particular, the public-nuisance law cannot be abused by law-

enforcement to impose White-American standards of property-maintenance on any person(s)-of-color, especially if such person(s)-of-color are

asserting their first-amendment rights, due-process rights and equal-protection rights on their own private-property. As legal-commentators have

pointed-out, we, collectively, as individual humans and as a society living in the 21st-century, cannot allow and must not tolerate antiquated

and/or insensitive and/or :itTational laws and, in particular, culturally/racially discr:itninatmy/predatory/abusive/oppressive

interpretation/enforcement of such laws.




 i753
If any type of nuisance law is to fall under the categmy of criminal law, then the :it1tent of such law must be to el:itninate (or at least m:it1llnize)

hann caused by a person - to other people or to the environment. If it is the case that any aspects of such law that, instead of targeting harmful

conditions (where harm must be proven), only targets purely aesthetic/cosmetic issues of a private-property and not actual harmful conditions,

then at the very least, those aspects of such criminal law are Unconstitutional, especially since issues of pure aesthetics/cosmetics are hannless 1

subjective and Constitutionally-protected. The plaintiff asserts that, at the very least, the pmt of the public-nuisance law prohibiting so-called

 "weeds" is Unconstitutional because it is prohibiting a purely aesthetic/cosmetic, and thus harmless, condition within private-property.


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Furthermore, the corrective action required by this law - the cutting of so-called "weeds" - is harmful to the environment which is why many (if

not most) eastern/indigenous religions are stTictly against the cutting of vegetation for aesthetic/cosmetic reasons (see "rights ofnature" in
                                                                                                   11
section below). So, the plaintiff asserts that at least this aspect of the law concerning so-called weed1·" is actually requiring citizens to cause

harm rather than eliminate/reduce ham1 (see section below for the benefits of uncut vegetation).



1754
Despite the fact that the plaintiff asserts several aspects of the Texas Public Nuisance law to be Unconstitutional, and to the credit of the

~Texas Legislature ►, the ~Texas Legislature ► did also have the common-sense to incorporate the "Special Exception or Variance

to Public Nuisance Classification" [THaSC-T5-SA-C343-SB-§343.0I I I] into the law. This common-sense aspect of the Texas Public

Nuisance law illustrates the ~Texas Legislature ►'s libertarian notion that private-property-maintenance should, in the interest of justice,

not be governed by a "one-size-fits-all" absolute-drive-to-conformity mindset, but rather, a more open-minded framework wherein people of

certain minority races/ethnicities/cultures/religions/backgrounds, people of certain professions (for example - pe1maculture fanners), certain

political dissidents, and certain artists should not be forced to conform the maintenance of their private-prope1y to the dominant/majority

culture and/or politics. Whenever a public-nuisance allegation is made, local-governments should, at the very least, utilize this feature of the

public-nuisance-law and, in the interest of justice, grant such exception(s)/variance(s) to those residents that legitimately, and in good faith,

assert their Constitutional-rights entirely and exclusively within the confines of their private-property, thereby saving all patties the rigors and

burdens of a trial.




                                                                      §XXXI

           ABUSIVE INTERPRETATION/ENFORCEMENT OF PROPERTY-

           MAINTENANCE-LAWS CAUSES SUBSTANTIAL HARM TO THE

        ENVIRONMENT AND DEPRIVES PERSON(S) OF FUNDAMENTAL

                                                                    RIGHTS


 1755
 "REDUCE, REUSE, RECYCLE" (in that order): This oath is meant to guide a person regarding the order-of-operations a person must

 follow in-order-to live an environmentally-responsible, minimal-carbon-footprint and harmless-life. It is the environmentalists' and indigenous-

 peoples' version of the doctor's Hippocratic oath: "FIRST, DO NO HARM".




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1756
The greatest priority in that order-of-operations is "REDUCE". With the exception of the first year of the plaintiff's residence at the plaintiff's

property, and as long as the plaintiff has lived alone at the property, the plaintiff, living in conformance-to the plaintiff's zero-waste lifestyle and

religious/cultural practices, has not had (nor used) garbage service at the plaintiff's property. (There was no recycling service offered by the

utility provider for almost five years after the plaintiff initially moved into the property.) In other words, since at least the year {2010}, the

plaintiff has never sent any items into the landfill or to any recycling-center. The plaintiff is able to live in this manner primarily because the

plaintiff consumes less than 11100th of the (non-food-and-drink) material resources than the average American. According to at least some

studies from the United States, if all of the people of planet-earth consumed the same amount of resources as Americans, then S planet-earths

would be needed to sustain that level of consumption. According to at least some studies from the United States, if all of the people of planet-

earth consumed the same amount of resources as Europeans, then 3 planet-earths would be needed to sustain that level of consumption. So,

according to such studies, on average, the European way-of-life is only marginally more-sustainable than the American way-of-life (~) .



1757
The second priority in that order-of-operations is "REUSE". This term is meant to signify that, from the items already

manufactured/produced/purchased, when the initial use(s) of those items has already occurred, then, one must continue to reuse and/or

repurpose those items for other legitimate harmless use(s) - and continue this pattern of reuse for as long as possible - in-order-to live an

environmentally-responsible, minimal-carbon-footprint and hatmless-life.



1758
The final priority in that order-of-operations is ''RECYCLE". This term is meant to signify that, only after a person has exhausted all

possibilities of "REUSE" of material(s), can such person consider the last-resort choice of sending such material(s) to the recycling center.

However, it should be noted that, for example, only 9% of plastics sent to the recycling-center is actually recycled (with over 90% of such

plastics being redirected to the landfill). So, most Americans have a false-sense-of-satisfaction when they blindly send increasingly-more

materials to the recycling center, failing to realize that the overwhelming-majority of such materials are not being recycled.



1759
The cutting of vegetation not only generates huge amounts of emissions from lawnmowers (which are much less regulated compared to

vehicles), but also generates huge amounts of methane gas from the dead-and-decomposing cut vegetation - with methane being an extremely

potent greenhouse-gas that is over 20 times more harmful to the environment than Carbon-Dioxide._Throwing unnecessaiy organic matter into

the landfill - including, but not limited-to, yard-clippings and food-waste - generates even larger amounts of methane emissions. The cutting of

vegetation - especially grasses - also necessitates the watering of such vegetation in-order-to keep such vegetation alive - whereas leaving that

same vegetation uncut allows for such vegetation to survive both extreme droughts (during both summer and winter) and prolonged frosts

(dw-ing winter) - not only since the greater plant biomass stores greater amounts of water but also because that greater biomass insulates both

the plants and the soil from extreme temperatures (both extreme heat and extreme cold). Conversely, leaving vegetation uncut provides

enormous benefits to both the environment and to human-habitation with the larger biomass of such uncut vegetation sequestering much more

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Carbon, thus cooling the planet that has been rapidly increasing in average global temperatures due to man-made clin1ate-change. In addition to

the rapid-increase in global temperatures fully-attributed to man-made activity, large population centers such as major-cities are also known to

suffer from the so-called "11rba11-heat-island-ejfect" due to the fact that such cities are full of artificial, non-living landscapes that both absorb

and radiate heat such as, but not limited to, asphalt, concrete, and stone surfaces. Conversely, if residents, businesses, governments and other

organizations simply allowed for natural-landscapes (within such cities) filled with uncut plants, such uncut plants (with greater biomass) would

absorb such heat, without radiating as much heat, and cool the planet through the natural biological processes of photosynthesis and

evapotranspiration (~ ) . Leaving vegetation uncut also allows such vegetation to absorb larger amounts of water during floods, thus mitigating

flood damage. Leaving vegetation uncut also allows for such vegetation to serve as windbreaks to protect property from damage, with such

vegetation absorbing a larger fraction of impact of high winds. Leaving vegetation uncut also detoxifies the environment, and improves air

quality, with the greater biomass absorbing a larger amount of environmental pollutants - both above ground and below ground. Leaving

vegetation uncut, in many cases, also allows residents to enjoy better privacy on their private property. Leaving vegetation uncut, in many

cases, also allows residents to benefit from free passive cooling during summer - with the interior of homes getting greater shade, and thus

lesser heat from solar radiation. Leaving vegetation uncut also eliminates the prolonged loud-noises and noise-pollution that is created by the

loud yard-equipment: gasoline/diesel powered (ride-on and push) lawnmowers, string-trimmers, edgers, etc. (It is well-documented that

neighboring persons' sleep and work are unjustly disturbed by the prolonged ru1ming of such loud yard-equipment.) Leaving vegetation uncut

also eliminates the possibilities of any fires caused by use of such equipment on parched vegetation: in extremely hot-and-d1y environments (for

example during an extremely-long sununer drought), the cutting of vegetation has been, at least in some cases, known to spark a fire that then

rages uncontrollably - burning up to many hundreds (if not thousands) of acres that is covered with such parched vegetation. For example, the

Austin area recently suffered a large uncontrollable fire that was caused by spark(s) lit by lawn-mowing equipment during the extreme summer-

drought of {2022}. Not coincidentally, the Austin area ve1y-recently suffered a large uncontrollable fire that was caused by spark(s) from a

person operating a saw during the extreme summer-drought of {2023-07}. It is often falsely alleged that uncut vegetation is a prima1y cause of

uncontrolled fires, but not only is there no evidence to substantiate this false claim, but also to the contra1y, there is ample evidence to

substantiate that most uncontrolled fires are caused by accidental, reckless or malicious human activity - the only known exception (natural-

cause) being lightning striking dead trees and/or other flammable object(s). As documented in the law-review-article above, the greater moisture

content within uncut vegetation prevents/hinders fires, whereas cut vegetation almost immediately loses its moisture, greatly heightening the

possibility of fu·e. Leaving vegetation uncut also eliminates not only the huge amount of environmentally-destructive em.issions but also the

 harmful fumes caused by the rumli.ng of gasoline/diesel powered lawn-mowing equipment, again, since there is no significant law regulating the

emissions/fumes from lawn-mowing equipment like there are law(s) that do regulate the emissions/fumes from vehicles. These hannful fumes

are known to cause certain types of cancer (such as lung cancer), and any person(s) who are around such nmning lawn-mowing equipment

 (including the operator(s)) are unwillingly forced (through no choice of their own) to inhale all of those toxic fumes released from such lawn-

 mowing equipment. Leaving vegetation uncut enhances soil-structure, due to the lack of people and heavy lawnmowing-equipment harmfully

 compacting such soil. Leaving vegetation uncut enhances both soil-fertility and soil-depth, since the roots of uncut vegetation occupy greater

 biomass extending more-densely and more-deeply (into the deeper-levels) within the soil Leaving vegetation uncut also provides much-needed

 habitat for wildlife - especially endangered wildlife - with man-made-species-extinction reaching levels of global disasters - with humans now

 responsible for almost as much percentage species extinction as the massive asteroid(s) (and/or massive volcanic activity) that ended the reign

 of the dinosaurs: a massive-extinction-event which is estimated to have extincted approximately 75% of species on earth at that moment in

 time. The text above is an extremely-brief and simplified sununary of the rationale and science behind advocating for (umnowed) native-and-

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naturalized-landscapes and zero-waste-lifestyles, but one does not need to understand any of the science to do good. (For example, one does

not need to know any of the nutritional science that explains why consuming apples, carrots, spinach and other unprocessed, natural foods are
good for human health, in order to benefit from consuming such beneficial unprocessed, natural foods.) So, in addition to the plaintiffs own
religious/cultural opposition to the cutting of vegetation, the plaintiff wrote and submitted to both the [HOA] and to [WCLE], a much more-

thorough [HOA] architectural-approval document (which one of the plaintiff's then-lawyers jokingly described as a "doctoral dissertation'~

(original exhibit available) documenting why it is wasteful, destructive, immoral, illogical, impractical, uneconomical and unjust to cut vegetation
- especially for alleged aesthetic/cosmetic reasons.



i760

Nowhere in the aforementioned oath is it permitted to send any materials to the landftll. It is clearly possible for all persons to live an

environmentally-responsible, minimal-carbon-footprint, zero-waste and harmless-life - but this requires more time, effort and thought from

such persons, and this requires such persons to give-up the consumerist lifestyle. It has been fraudulently alleged (for example, by the

defendants and by White-Supremacists/White-Nationalists - see above) that those (for example, the plaintiff) who live a zero-waste/minimalist

lifestyle are living such lifestyle as a form of "laziness" or inconsiderate-ness", but as ah-eady explained, nothing could be further from the
                                                             11




truth. Persons who live such zero-waste/minimalist lifestyle have to put-more-thought and work-harder (than those who live the

wasteful/destructive consumerist lifestyle) in-order-to make such lifestyle work, and such persons are doing so, not only for the benefit of all

current-and-future generations of life on earth, but also in-solidarity-with all those indigent people throughout the world who do not even have

the financial means to live a consumerist lifestyle. If the plaintiff was truly lazy, then the plaintiff would have simply purchased a robotic

mower to cut the grass on [YARD] in a fully automated manner. (To the best of the plaintiffs knowledge robotic mowers have been available

for approximately ten years - during most of the incidents alleged in this lawsuit.) Instead, as the plaintiff has always maintained, this issue of

refusal to cut vegetation has absolutely nothing to do with laziness, and the plaintiff, like many environmentalists and/or indigenous-peoples, is

morally/religiously/culturally opposed to the artificial-cutting of any-and-all veb>etation, especially for alleged aesthetie/cosmetie reasons.

Person(s) who engage in this environmentally-responsible, minimal-carbon-footprint and harmless-lifestyle, should not be punished, or in any

way penalized, by predatory/abusive/oppressive govemment(s) that abuse/weaponize and/or deliberately-misinterpret poorly-worded

(Unconstitutionally-Vague or othe1wise Unconstitutional) property-maintenance-laws (such as the Texas-Public-Nuisance-Law). It is

indisputable that a government's punishing or penalizing a person's zero-waste/minimalist lifestyle is not only a clear violation of such person's
Constitutionally-protected first-amendmenH·ights, but is also a morally-obscene action because such action incentivizes/rewards wasteful and

destructive behavior, and most-importantly, as this lawsuit tries to document, this moraUy-obscene action opens-the-door-wide-open for
predatory people (for example, malicious neighbors) to victimize those person(s) (environmentalists, indigenous-peoples, etc.) who live a zero-

waste/minimalist lifestyle.




                                                                    §XX.XII

         MARION STOKES: A POLITICAL ARCHIVIST , NOT A SO-
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                                                      CALLED "HOARDER"


9[761
In this lawsuit, the plaintiff will not use the abusive term "hoarding", because firstly, this term reflects a rather ethnocentric, culturally-

insensitive view, and at the very least, does not represent a world-view. Secondly, the use of such term abusively implies that those person(s)

who engage in practice(s) of so-called "hoarding" are abnormal, weird, strange or suspicious. ln any case, a government cannot criminalize so-

called "hoarding" - a fast-amendment-protected activity - and no part of any law(s) of the State of Texas (including the property-maintenance-

laws) criminalize (or in any way penalize) so-called "hoarding", especially within the confines ofa person's fourth-amendment-protected

residence( s).



9[762
More importantly, at least some person(s) who are abusively accused of so-called "hoarding", are Ill-actuality, "archiving". The plaintiff, an

archivist, does not 11hoard 11 materials, but rather, makes the best attempt within the plaintiffs limited resources (time, effort, money, etc.) to

 archive 11 (preserve) at least some types of materials, including but not limited to so-called :'lunk mail", as a political and documentary act for
11




future generations of humans to benefit-from. By '1archiving" materials, a person is, at least to some degree, preserving a snapshot of the

current moment in time, for future generations to study and analyze. Clearly, this study and analysis by future generations is not possible when

items get sent to the landfill and/or recycling-center.



9[763
Many items 11archived11 may very-well become valuable antiques in the future. So, the government cannot, in any way. deprive citizens from

"archiving" any material(s) for future business/re-sale purposes ('Tortious inte,ference", "Restraint qftrade'}



1764
Not only is "Archiving" a first-amendment-right and political-act, but also of equal importance, the material(s) being archived within private-

property are subject to fourth-amendment-protections from unreasonable-search-and-seizure, and fundamental due-process privacy-

protections. Once a person puts item(s) into the garbage-bin or recycle-bin and moves such bin(s) onto the public-curb, the item(s) thrown into

those bin(s) are no longer the private-propery of such person, and such item(s) become part of the public-domain. This means that any

malicious-third-party can rummage through those item(s) to research/study/analyze private and sensitive information stored in those item(s)

thrown away by such person(s). So, every person should be ve1y cautious as to what information they are potentially revealing to malicious-

third-party(s) by throwing such item(s) away into the public-domain. Additionally, governments do not even need a search warrant to

search/seize anything that a person throws away into the public-domain. Therefore, political-activists, political-dissidents, persecuted-rcligious-

minorities, persecuted-racial-minorities and other persecuted-minorities, in particular - if such persons are, even in the least bit, concerned about

their privacy and safety - should be very-cautious about all of the information they are putting into the public-domain because malicious


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government(s) and/or malicious private-parties can easily conduct surveillance for malicious reasons by searching/seizing item(s) in this manner.

As the record does show, malicious government(s) do search/seize such item(s) to conduct such malicious surveillance of hated political-

enemies (including non-violent political-activists).



':![765
Marion Stokes was an African-American, Philadelphia access-television producer, civil rights demonstrator, political-activist (democratic-

socialist), librarian, and prolific archivist that archived ( "hoarded') large amounts of materials at one-or-more of her properties for political

purposes. A recent public-television documentary documenting her life, showed not only that she lived a relatively private, almost secretive,

life, but also that she rarely threw anything away, again, for political/archivist reasons.



i766
Other items that are intentionally/willfully stored on private-property, that do not fall into the category of archiving, may be stored/preserved

for their reuse and/or monetmy value. Even private citizens can accumulate plastics, which most Americans might consider to be "trash", that

can be melted and molded into shaped items to be used for other purposes. Scrap glass and scrap metal are raw-materials have monetary value

to at least some persons accumulating such materials even if governments and/or neighbors consider such items to be "trash". Cardboard, a

natural product, can be used for permacultural gardening purposes (as documented above), and as such, is not "trash". ("One man's trash is

another man's treasure. '1



i767
Thus, a government that abusively interprets and/or enforces any law, including but not limited to the property-maintenance-laws, to force

citizen(s) to unwillingly throw-away/dispose (into the public-domain) any-such material(s) stored within private-property is egregiously violating

several fundamental Constitutional rights of such citizen(s).




                                                                      §XXXIII

          ORIGINAL DATE OF FILING: INDIGENOUS PEOPLES' DAY


 i768
 "Indigenous Peoples' Day" has just recently - since the year {2021} - been recognized as a federal holiday by the President of the ~United

 States ► .




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i769
The ~Texas Legislature ➔ has just recently - since the year {202 1} - recognized "Indigenous Peoples' Day", with the second week of

October being deemed "Indigenous Peoples' Week".



i770
The plaintiff, an indigenous person, has filed the ve1y first version of this complaint to coincide w ith "Indigenous Peoples' Day" and

"Indigenous Peoples' Week".




                                                                  §XXXIV

                                                               ENDNOTES
   (',) This lawsuit documents many dozens of hate-crimes, racketeering-acts and other abusive/oppressive actions i ncluding, but
        not limited to : racial/ethnic intimidation/interference, homophobic intimidation/interference, witness-intimidation,
        wi tness-tampering, evidence-tampering, fabricated-evidence, obstruction/retaliation, threat (including terroristic-threat
        and threats-of-murder) , assault, blackmail/extortion, harassment, stalking, criminal-conspiracy, mail-fraud, wi re-fraud,
        Texas-Fraud, false-report , disorderly-conduct , criminal-mischief, illegal-dumping, and criminal-trespass . This lawsuit
        a l so documents several civil-rights-violations, abuses-of-office corrrnitted by government-employees including: abuse-of-
        official-capacity, official-oppression, misuse-of-official-information, discrimination . Therefore, it is crucial to
        consider the rel ative physical sizes - heights, weight s - of the perpetrators versus the victims . In almost all cases, the
        stated heights/weights are only approximate - to the best of the plaintiff ' s estimates - and, in some cases (especially
        for the initial years of (2009) through {2014} ), the stated physical characteristics are to the best of the plaintiff ' s
        recollection . The plaintiff' s senior-citizen [MOTHER] - who was a senior-citizen through almost- all of the incidents
        documented in this lawsuit - and who has been a victim (along with the plaintiff ) of three-or-more crimes corrmitted, is
        approximately 4-feet-11-inches-tall and weighs approximately 120 pounds . The plaintiff ' s senior-citizen [FATHER] - who was
        a senior-citizen through all of the incidents documented in this l awsui t - and who has been a victim (along with the
        plaintiff) of one-or-more crimes corrmitted, is approximately 5-feet-6-inches- tall and weighs approximately 150 pounds .


   (f) This l awsuit documents several incidents during which malicious police-officers and/or other government-employees (for
        exampl e , health-district employees) of [WCLE] have expressed great pleasure/joy/euphoria (smiling, laughing-out-loud,
        etc .) while-violating or right-after-violating or right-before-vi olating the plaintiff' s rights - adding further insult to
        already substantial injury, by way of further humiliating and traumatizing t he plaintiff. These extremely-painful
        experiences that the plaintiff has suffered from [WCLE ] employees remind the plaintiff of other national high-profile
        cases . The closest national-profile case/incident that the plaintiff can cooipare this euphoria to, is the euphoric
        statements by then-[LAPD]-Officer Laurence M. Powell as he was recorded (both audio and video) brutally-beating African-
        American man Rodney King and stating: "Oops . . . I haven' t beaten anyone this bad in a long time ." Similarly, after the
        recent high-profile criminal case of (MINNESOI'A V. KIMBERLY ANN POTTER) that resulted i n the first-degree manslaughter
        conviction of former Police-Officer Kimberly Ann Potter for causing the death of 20-year-old African-American man Daunte
        ~lright, Mrs . Pot ter is seen smili ng in her mugshot - causing further pain-and-suffering to Mr . Wright ' s family and to
        political-activists that beleived Mrs. Potter was also awarded an unusually light sentence after the jury convicted her


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         both first-degree and second-degree manslaughter in such case. Not surprisingly, the plaintiff has noticed the same (or
         similar) euphoria during/after/before many of [RSR] ' s , [JSP] ' s , [KAP] ' s abusive actions against the plaintiff - since they
         too thoroughly-enjoyed violating the plaintiff ' s rights in many of t he incidents spanning over 10 years . In every such
         case, both the intentions and motives of these abusive persons ( [RSR] , [JSP&KAP] , [WCLE]) is clear : They knew they were
         t argeting a defenseless and "powerless " victim in the plaintiff (due t o the plaintiff ' s racial-profi le and the plaintiff ' s
         political-profile ) , and they knew t hat t hey were going to get away with t he hate-cr imes/racketeering-acts/civil-rights-
         violations/ abuses that they were conmitting against the plaintiff, thanks in large part, due to the toxic-environment of
         modern-day-Jim-Crow racist-l awlessness surrounding the plaintiff that was created and fostered by [WCLE] as early as the
         month of {2011- 08) . As part of t hei r decade-long predatory conspiracy against the pl aintiff and t heir predatory actions
         taken against t he plaintiff in furtherance of t hat conspiracy, t he defendants expertly - not much unl ike extremel y
         skilled-and-intelligent con-artists - weaponized t he property-maint enance-laws and/or other property-laws both as modern-
         day-Jim-Crow l aw and as fraudulent pretext under whi ch t hey could not onl y freely , collaborativel y and rejoicefully engage
         i n the " f un sport " of the vir tually endless stream of hat e-crimes/civil-right s-viol ations/racketeering-acts/abuses against
         the plaint iff, but more importantly, with the ultimate goal of such conspiracy being to depri ve a nd def r aud t he plaintiff
         out of the plaintiff ' s money and (relatively-profitable) private-pr operty-ownershi p within one-or-more Whit e
         neighborhood (s ) .


( 1)     (St uff That Black People Don ' t Like) [SBPDL] (ht tps : //stuffbl ackpeopledontlike . blogspot . com/) is a well-known White-
         Nationalist, Whit e-Supremaci st blog website . The plaintiff onl y refers to some of the extremel y of fensive and racist
         messages posted onto [SBPDL] in-order-to compare the defendants ' outrageous and predatory conduct (including statements )
         against t he plaintiff t o such racist messages posted by such White-Supremacists/White-Nationalist s on [SBPDL] (and/or
         other Whit e-Supremacist/Whit e-Nationalist websit es).


(:II.)   The plaintiff humbly requests t his Court to - in each documented case of hate-crime, racketeering-act, civil-ri ghts-
         violation, a nd/or other predatory/abusive action - conduct a simple t hought -experiment to evaluate how the incident would
         have been int erpr eted, evaluated, and responded-to i f the perpet rator (s ) were invnigrant( s )-of-color and t he victim(s )
         where Whit e/Caucasian/American - in other words , if the roles were reversed . The same t hought-experiment has at least been
         contemplated, for example, for the {2021-01-06} far-right-wing-extremist United-States-Capitol-I nsurrection (see section
         below) .


(*)       Pe r son( s ) name (s ) and physical -descript i on(s) used i n this l awsuit are based on plaintiff ' s best knowledge , understanding
          and/or recollect ion .


<* l Under t he standard claim of fourteenth-amendment-violation to "equal protection " (freedom-from-discriminati on), the
          plaintiff asserts that:


          ® plaintiff is a member of a "protected class" based upon pl aintiff ' s r acial-profile ; AND
          ® plaint i ff was treated differently than another simil arly situated person not belonging to that protected-class; AND
          © the difference i n treatment was due to plaintiff ' s membership of that prot ected-class .


          However, although the plaintiff fully asserts that the defendants ' egregiously discriminatory housing practice (s ) against
          the pl aintiff were precisely due to the plaintiff ' s racial-profile , under t he plaintiff ' s fourteenth-amendment (1t') right
          to freedom-from-discrimi nation, t he plaintiff also addit ionally assert s the "cl ass of one" theory of "equal protection"
          under which, the pl aintiff does not have to be a member of a ny such protected-class, but i nstead, that the defendants
          singled-out the plaintiff for discriminatory trea tment on an "irrational and wholly arbitrary" basis, and that t he
          defendants ' conduct was motivated by a "spiteful effort to get ( the plaintiff) for reasons wholly unrelated to any
          legitimate state objective. " Furthermore, in (YICK WO V. HOPKINS, SHERIFF) , the [SCOTUS) ruled that raci ally

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       discriminatory application of a racially neutral statute also violates the "equal protection " clause of the Fourteenth-
       l\mendment. Thus, the plaintiff additionally asserts that the defendants ' racially discriminatory application against the
       plaintiff of what the defendants (fraudulently) claimed to be a racially neutral statute, also violated the plaintiff ' s
       fourteenth-amendment "equal protection" rights. Finally, and most importantly, in (CITY OF CLEBURNE, TEXAS, ET AL . V.
       CLEBURNE LIVING CENTER, ET AL. ) , the [SCOTUS] ruled that it is a violation of equal protection for government officials to
       take action against people with disabilities (or people of any other protected-class) based on pre judice t hat the
       c itizenry may harbor agains t them .



(~ )   The plaintiff has made a best attempt to decipher the conversation(s) in the audio-recorded incidents - also based upon
       the plaintiff' s recollection of such incidents and/or notes about such incidents - but due to the variable quality of the
       audio, background noise (such as wind) , etc ., some parts of the conversation are are either inaudible or harder to
       decipher without audio-enhancement, noise-cancellation, etc. Whenever and wherever the plaintiff is unable to decipher or
       hear such relatively small segments of audio, the plaintiff indicates so by inserting the text : [INDECIPHERABLE) OR
       [INJI.UDIBLE) OR " [???] ".


(* ) "No-moi," landscapes, sometimes referred to as "natural" or "naturalized" landscapes , and their associated legal arguments,
       are described in, amongst other publications,               "More Sustainable (and Beautiful) Alternatives to a Grass Lawn"      by the
       (Natural Resources Defense Council) (" [NROC] " ) , and "Green Landscaping : Greenacres"          by Brett Rappaport, J . D. ,
       republished by the ~United States Environmental. Protection Agency ► (" [US-EPA] ") .



(Q )   Most drought-tolerant t urf-grasses that are well-adapted for Central-Texas only need to be watered from installation to
       establishment. Once established (in essence, once the turf-grasses ' roots have reached a certain depth throughout), such
       turf-grasses can survive on their own with one-time/case-by-case/as-necessary irrigation during periods of extreme
       drought, as long as the maintainer does not cut the turf-grass , especially to a low-height . Morever, such established
       turf-grasses , when left completely uncut/unmowed (to grow to a maximum height of approximately 12-inches), will survive
       even the most extreme Central-Texas droughts without any irrigation whatsoever ( * ) . Shaggy-grass is dense grass that is
       either trirrrned once or twice per year or left-unmowed (and, if necessary, only weeded for aesthetics) , so as to insulate
       the soil and prevent evaporation from the soil in times of extreme drought - serving to protect the grass both during the
       intense surrmer heat and prolonged winter freezes . (Lack of soil moisture can kill grass even during prolonged winter
       freezes . )


(f )   Since (2013-09-01) - [TPrC-Tll-C202-§202 . 007(a) (4) ] , [TPrC-Tll-C202-§202 . 007(d) (5)] - prohibits a [HOA] from requiring a
       homeowner to water/irrigate vegetation , and as described in ( * ) (Q) , turfgrasses that are mowed are not capable of
       surviving prolonged droughts (especially in conditions of extreme summer heat and extreme winter frosts) without
       substantial-supplement al-irrigation.


(~)    Unless otherwise specified, all dates and/or times cited in this lawsuit should be assumed to be approximate and not
       exact .


( ~)    [ORV] is short for (alleged) Deed-Restriction-Violation - an (alleged) violation of a restrictive-covenant . A [ORV] is
       only alleged by an accusing-party, and not actual, unless admitted-to by the accused-party, or deemed to be a violation by
       the final verdict of tl1e relevant Civil Courts - including any-and-all higher-level appeals Courts - and onl y if the
       accusing-party timel y files lawsuit against the accused- party within the statute-of-l imitations (for actionable breach-of-
       contract) regarding such alleged [ORV] after following the proper legal procedure/timelines and exhausting all other non-
       litigation options . According to Texas law, i n-order-for a particular, val id (and non-discriminatory) breach-of-contract
       claim regarding a restrict ive-covenant to be actionable, such valid (arid non-discriminatory) breach-of-contract claim
       regarding such restrictive-covenant must be filed in the appropriate Court by the accusing-party(s) - after following all
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        of the other necessary legal procedures and timelines such as proper and precise notification of such alleged restrictive-
        covenant-violation by [CMRRR] - against the accused-party within 3 years of when the actual breach-of-contract is alleged
        to have first-occurred . If the accusing-party(s) fai l to timely file such valid (and non-discriminatory) breach-of-
        contract claim regarding such restrictive-covenant against the accused-party(s) within such time period, the accusing-
        party(s) are permanentl y barred by the statute-of-limitations from filing such alleged breach-of-contract claim regarding
        such restrictive-covenant against such accused-party(s) .


(@) As a social-justice-activist - belongi ng to the class of all social-justice-activists - and as an indigenous-person -
        belonging to the class of all indigenous-persons - and as an immigrant-of-color - belonging to the class of all
        inmigrants-of-color - the plaintiff has always been extremely conscientious about the plaintiff' s reputation-and-image as
        a member of all of those classes of people . The plaintiff strongly believes that powerful institutions in American society
        - governments , mainstream-media-corporations, etc . - often unjustly smear the reputation-and-image of those classes of
        people. As a member of those classes of people, the plaintiff does not want to perform and, for the entire duration of
        time-period documented in this lawsuit, has never has wanted to perform any behavior/act ion that could sully the
        reputation-and-image of such classes of people . For example, as a social -justice-activist and as an indigenous-person, the
        pl aintiff has very-strong political views and very- strong religious views (respectively) that both actively and passively
        advocates for peace and nonviolence. There are countless i njustices corrrnitted against the plaintiff by the defendants - as
        subst antiall y documented in this lawsuit - that completely-destroyed and/or attempted-to-completely-destroy and/or
        conspired-to-completely-destroy the plaintiff' s peaceful and nonviolent reputation-and-image - and by extention, such
        reputation-and-image of those aforementioned classes of people that the plaintiff belongs to.


( l5)   This hypocrisy and extreme selfishness is demonstrated by the mentality of most, if not almost-all, far-right-wing-
        extremists . Many far-right-wing-extremists vigorously demand to get "government off ( their) backs" and selfishly demand
        "i ndividual liberty" when it comes to, for example, the issues of taxation, environmental-regulations , or their rights to
        bear even the most dangerous types of firearms . However , those same far-right-wing-extremists demand that the government
        acts oppressively when it comes to other issues that do not affect themselves . For example, they demand that government
        ban people-of-certain-races (in particular, Black/Brown peopl e) or people-of-certain-religions (in particular, Muslim
        people) from entering into the United States (even building a border- wall if that is what it takes) and they demand that
        government completely-deny a woman ' s fundamental right-to-chose how she handles an unexpected-and-unwanted pregnancy (even
        if such pregnancy was caused by rape or incest) .


(.I\)   The plaintiff was-born-in and emigrated-from a country of people-of- col or, India , that suffered what economist and
        philosopher Adam Smith called "the savage injustice of the Europeans ... ruinous and destructive to several of those
        unfortimate eotmtries." In this statement, Smith is referring, in part, to the extreme looting (estimated at $45-trillion
        in today ' s dollars), oppression, subjugation and enslavement of the Indian people by the (now-former) British empire,
        turning India - formerly one of the major economic power s and co!Tll\ercial centers of the world - into a country of extreme
        poverty .


(,s)    A [HOA] so-called "election" cannot truthfully be considered to be an actual "el ection" in the democratic sense, because
        in the majority of such "elections", approximately 25% or less of eligible voters (property-owners ) actually vote to
        "elect" [HOA] Board-Of-Directors. When the turnout for such an "election" is so low, the outcome of the "election" is
        l ikely to skew heavily towards an extremist end of the actual electorate - for example, with the most far-right-wing
        residents "electing" the most authoritarian/iron-fisted/oppressive/abusive resi dents into such positions solely to fulfill
        t heir mm ulterior/pr edatory agendas . Also, the property-management-company that is contracted to represent the [HOA]
        typically "counts" the votes - with the residents having little-to-no oversight whether the votes are actually being
        counted correctly . While governments and their officials are, generally-speaking, required by law and/or the court of
        public-opinion, to be more-inclusive, more-participatory, more-democratic, more-transparent, more-heavily-scrutinized,
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       more-accountable and respectful-of-civil-rights, [HOA]s in general, and [HOA] Boards in particular, are, generally-
       speaking, more-exclusive , more-undemocratic , more-opaque, more-shielded-from-scrutiny, more-unaccountable and not
       required-by-law (with the exception of anti-SI.APP law and some other religious exceptions) to be fully-respectful of
       civil-rights . While governments are , generally-speaking, required by law to be fully-respectful of minority rights -
       especially the rights of racial/religious/sexual/national minorities - the current law regulating [HOA]s (with the
       excepti on of the [FHA]/[TFHA] ) does not require [HOA]s to be fully-respectful of such minority rights . While many, if not
       most, local governments offer yearly referendums where the voters vote to make key decisions of government/policy/law by
       direct-democracy, [HOA]s, generally-speaking, never offer referendums where the residents make such key decisions by
       direct-democracy. For these reasons and other reasons, [HOA]s are, general ly-speaking and as at least some l egal
       corrmentator(s) have pointed out, not considered to be actual democracies, although, both in-theory and in-practice, [HOA]s
       could potentially and very-easily function as democracies - especially if the l aw regulating [HOA]s were amended to
       require them to act as democracies . Universit y of Illinois at Chicago Professor Evan McKenzie ' s book, lliPrivatopia :
       Homeowner Associations and the Rise of Residential Private Government•, more-fully-and-thoroughly, and i n great detail ,
       scholarly documents the undemocratic and ant i-civil-rights nature of [HOA]s.



(, )   For example , Marion Stokes 1•1as a Philadelphia, Pennsylvania, access television producer, civil rights demonstrator,
       activist, librarian, and prolific archivist that archived and "hoarded" l arge amounts of materials at one-or-more of her
       properti es for poli tical purposes.



(0 )   In order for a property-owner to be in violation of t he restrictive-covenant of the subdivision concerning prohibited
       animal (s) , such animal (s ):


       ® must be not considered t o be "other household pets", AND
       ® must be explicitly l isted in the list of prohibited animals; OR
       © are threatening the "quietude, health or safety of the conmunity".

       However, condition® was never applicable to the plaintiff' s companion-tortoises, and the plaintiff additionally asserts
       that condition® never held true either, since "tortoise" is not explicitly listed. Regardless of the applicability of
       condition®, the inapplicability of condition® short-circuits any further evaluation of condition® · The plaintiff
       further asserts that t he true reason behind (or "spirit of") this restrictive-covenant is to disallow residents of the
       subdivision from quartering any type of conrnercial animals in the subdivision, any breeding-operation within the
       subdivision, or any other animals (including at least some "dogs , cats ") that could threaten the "quietude, health or
        safety of the community" - which is why drafters of the [DCCR] s allowed for "other household pets". Once again, a
        resident ' s quartering of such companion-tortoises is neither a violation of the actual sprit of such restrictive-covenant
        nor the actual l etter of such restrictive-covenant. Given the plaintiff ' s disability/handicap, the plaintiff has found
       such companion-tortoises to be the most appropriate type of companion-animal to help manage and mitigate the plaintiff's
       disability/handicap . The plaintiff was 100% confident in the year {2015) - the first year of the plaintiff' s recei pt of
        notice of [ORV] regarding such companion-tortoises - and remains 100% confident that no impartial Judge nor impartial Jury
        would consider timid, shy, quiet and extremely-docile companion-tortoises be a threat to the "quietude, health or safety
        of the community", especially since there exist residents ' dogs and cats in the subdivision that do, in fact , threaten the
        "quietude, health or safety of the community" . For example, it was reported in the local television news media during a
       day in the surrmer of {2019) that a tortoise in the Benbrook-Ranch [BBR] subdivision - another neighboring [HOA]
        subdivision in Leander, Texas - was lost and roaming freely on public property - and that this tortoise was finally
        returned to the owner - with the [BBR] subdivision having restri ctive-covenants very-similar-to, if not almost-identical-
        t o , the restrictive covenants of the        ( Surmierlyn]      subdivision . Additionally, since the first year ({2014)) of the
        plaintiff' s ownership of companion-tortoises on the plaintiff ' s property, the plaintiff has documented evidence that one-
        or-more other resident (s ) of t he    [Surmierlyn]          subdivision also owning s uch tortoise (s) on their (Surrrrerlyn]   property(s) .


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    Additionally, since the first year {{2014}) of the plaintiff's o~mership of companion-tortoises on the pl aintiff ' s
    property, the plaintiff has documented evidence that one-or-more other resident(s) of the                        [Surrmerlyn)   subdivision also
     owning some other animals that could potentially be in violation of condition®, such as : rabbits . Therefore , since the
     year ({2015}), not once did the plaintiff even consider the possibility of parting with the plaintiff ' s companion-
     tortoises, and at that moment in time , the plaintiff made a firm determination that if the [HOA} took any legal action
     against the plaintiff over the issue of the plaintiff ' s companion-tortoises, then the plaintiff vowed to vigorously fight
     a legal-battle in Court to defend/secure the plaintiff ' s right to maintain the plaintiff ' s companion- tort oises on the
     plaintiff ' s property - a right that many White-American homeowners residing within [HOA) subdivisions - at least some of
     which have almost identical rules to the ( Surrmerl yn)             subdivision - within Central-Texas already enjoy and have enjoyed
     for at least a decade. Since the year {2014} , many of the subdivision ' s residents have taken a liking to the plaintiff ' s
     companion-tortoises, contributing to the ire of racketeer co-defendants [RSRJ , [JSP&KAP) - who have not only wanted a
     monopoly of their malicious and racist thoughts against the plaintiff over the rest of the subdivision ' s residents , but
     who have a l so always wanted to portray the plaintiff in the most unfavorable, defamatory (lil) and racist light to the rest
     of the subdivision ' s residents . Despite of the fact that the pl aintiff has always strongly denied that owning companion-
     tortoises within the [ Sunrnerl yn)    subdivision is a violation of t he               (Surrrnerlyn)   subdivision ' s restrictive-covenants, as
     the record does show, [JSP&KAP) (and/or [RSR)) continued to complain to the [HOA) and/or [WCLE) about the plaintiff' s
     companion-tortoises even well past the statute-of-limitations for any pot ential breach-of-contract claim regarding such
     companion-tortoises (~) .


(~ ) This lawsuit primarily documents the racial-oppression and pattern-of-racketeering-activity committed by the defendants
     against the plaintiff. However, it is also important to note one relatively-minor and tertiary-aspect of the fraud
     committed by racketeer co-defendants [JSP&KAP) , [RSRJ against the plaintiff - and that i s their denial of man-rnade-climate-
     change, or at the very least, their absolute refusal to accomodate necessary changes (or, at the very least, the necessary
     granting of variances) to the property-maintenance-laws (or the harmful/abusive interpretation/enforcement of such
     property-maintenance-l aws ) that would serve to mitigate man-made-climate-change. All three of racketeer co-defendants
      [JSP&KAP], [RSR) are non-immigrants of an older generation than the plaintiff - more-likely-than-not, having lived in the
     State of Texas for a considerably longer period-of-time than the plaintiff. Therefore, [JSP&KAP) , [RSR) are all surely
     aware that average surrmer temperatures in Central Texas are significantly greater today then they used to be just as
     recently as two decades ago . As miserable as the extreme-heat-and-drought of {Surrmer-2011 } was , there was at least some
     talk (at least amongst those who continue-to-deny man-made-climate-change) about {Summer-2011} being a once-in-a-hundred-
     year unusual sunrner that Central-Texas was unlikely to experience again . {Summer-2011) in Central-Texas was particularly
     unique in that ther e were at least 90 days during which temperatures in Central -Texas exceeded 100-degrees-fahrenheit .
     However, the extreme-heat-and-drought of {Summer-2011} has now, just twelve years later, been surpassed by {Summer-2023},
     at the very least, in terms of the average-temperature . The overwhelming majority of the approximately-eighty so-called
      " triple-digit-days" of {Summer-2023} actually e xceeded 105-degrees-fahrenheit, which cannot be stated about the then-
     miserable {Summer-2011}. The c hart that documents the average summer temperatures in Texas over the last five decades
      shows a s i gnifi cant increase in such average summer temperatures with each passing decade . Older and longer-term residents
      of the State of Texas - including but not limited to [JSP&KAP) , [RSR) - cannot righfully continue-to-deny that such
      increasing average summer temperatures must be immediately dealt with appropriate changes to many aspects of the status-
      quo, business-as-usual, American way-of-life, including, but not limited to, changes to the property-maintenance-laws,
      and/or the harmful/abusive interpretation/enforcement of such property-maintenance-laws - wherever such harmful/abusive
      interpretation/enforcement of such property-maintenance-laws exacerbates man-made-climate-change. The same logic of man-
      made-clirnat e-change also appl ies to extreme winters in Central-Texas. The extreme-and-prolonged winter-freeze of
      {February-2021} was described by the Texas Governor as a once-in-a-hundred-year occurrence . However, that characterization
      by the Texas Governor is unlikely to be true due to the s imple reason that both temperature extremes are driven by man-
      made-clirnate-change - for which, there does not appear to be any end in sight. Due to both of these temperature extremes ,
      the electric-grid of Texas - managed-by and/or overseen-by ~Electric Reliability Council of Texas ➔ , [ERCoT) -
      is , at least i n some crucial cases, not able to meet the "unexpected" demand - leading to incr easing-number-of and/or
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       length-of power outage(s ) during those particular extreme period(s )-of-time when people are in most need of such grid-
       electricity . In recent years, during one-or-more occurrences per year, [ERCoT) has advised residents of Texas to
       voluntarily conserve in usage of the electric-grid due to the electric-grid not-able-to (or struggling to) meet the
       demand . Such temperature eKtremes caused by man-made-climate-change are also devastating to Texas agriculture - wit h Texas
       farmers unable to keep their crops and/or livestock alive - causing billions-of-dollars in losses to Texas agriculture (as
       a whole). The most-vulnerable and/or hardest- hit Texas farmers are those farmers that have long-term investments such as
       orchards and/or other perennial crops and/or long-living livestock .


(= )   Since {20161, the (College Board) changed the manner in which the scores on the Scholastic-Aptitude-Test (" [SAT) " ) were
       cal~ulated - resulting in an inflated [SAT) score in the ("new" ) {post-2016) [SAT) relative to the ("old" ) {pre-2016)
       [SAT) . According to a reputable \{The Washington Post) news-article titled        "Why your ne,., SAT score is not as strong as you
       think it isn , the result of this change is summarized as follows (quoted verbatim):
           A ne,., 1200 corresponds to an old 1130.
           A ne11 1300 corresponds t o an old 1230.
           A ne i'I 1400 corresponds   t o an old 1340.
           A ne,1 1500 corresponds     to an old 1460.
           But a ne,1 1600 is just as perfect as an old 1600.



<* > The plaintiff asserts that none of the huge volume of hate-crimes/civil-rights-violations/racketeering-acts/abuses
       committed against the plaintiff (for over a decade) both by far-right-wing-extremist racketeer co-defendants [JSP&KAP) ,
       [RSR) nor any of those individual members of [WCLE) were even charged, let alone prosecuted, precisely because the
       Republican Party leadership of defendant [WC) has an implicit policy and/or practice of denying and/or ignoring and/or
       circumventing the enforcement of the hate-crimes laws , the civil-rights laws, the abuse-of-office laws of the State of
       Texas - at the very least, in cases where the victim{s) of such crimes are perceived by defendant [WC) to be "po11erless",
       such as the plaintiff (e ) . The plaintiff further asserts that the reason that the Republican Party leadership of defendant
        [WC) has acted in this brazenly unlawful manner (for over a decade) against the plaintiff is because they believe that, by
       virtue of being elected into office, they have been given some type of implicit mandate from the Republican Party voting-
       base - not to enforce those particular laws - at the very least , in cases where :
       ®   the perpetrators of such crimes are White-American ; AND
       ®   the victim(s ) of such crimes are perceived to be "powerless" and are :
           (D   person (s)-of-color     AND/OR
           ® irrrnigrant (s ); AND/OR
           @    [LGBTQIA+J ( "actual or perceived"); AND/OR
           @    member (s) of the (opposition) left-wing .


        Finally, the plaintiff asserts that, not only did the Republican Party leadership of defendant [WC) fully-authorize, or at
        the very least f ully-all ow, such denial and/or ignorement and/or circumvention of the enforcement of those particular laws
        to the extreme detriment of the plaintiff, but also, even more egregiously, the Republican Party leadership of defendant
        [WC) fully-authorized, or at the very least fully-allowed, [WCLE] ' s brazen acts of retaliation against the plaintiff for
        the plaintiff ' s reporting of those hate-crirnes/civil-rights-violations/racketeering-acts/abuses committed against the
       plaintiff. Therefore, for all of these reasons , at least part of both the declaratory-relief and injunctive-relief that
        the plaintiff seeks from this Court is to ensure that :
       ®    No-matter-what political party is in those positions of power of municipal-corporation defendant [WC] - the Sheriff,
        the Constables, the District-Attorney, the County-Corrmissioners - that [WCLE] is fully responsible for fully enforcing all
        of the laws of the State of Texas - and that includes the hate-crimes laws, the civil-rights laws , and the abuse-of-office
        laws of the State of Texas .



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     ®   A declaration that : "Justice Delayed is Justice Denied" - even if justice is delayed until after the crime-victim is
     forced to take legal-action against defendant [WC] for such egregiously discriminatory enforcement (or lack thereof) .


     © Every single act of retaliation against a crime-victim who has reported such crime is a serious :


         (i)    f elony-crime under Texas law, and a racketeering-act if the crime was a federa l-crime; AND
         ®      civil-rights vi olation (under fourteenth-amendment) and fair-housing violation if the crime was a hate-crime          AND
         @      conspiracy-to-interfere-with-civil -rights and obstruction-of-justice


     - whether such act of retaliation is corrrnitted by any private-citizen (s ) or any employee (s )/offic ial(s) o f any g overnmen t .


( ~ ) In additi on to t he numerous s ubclaims that the pl aintiff asserts against the defendants, the plaintiff also asserts that
     the defendants operated under two fundmanental abusive, oppressive and predatory guiding-principles or maxims against the
     plaintiff :


     ® First, the defendants operated under the Maxim-of-Thucydides against the plaintiff. Ancient Athenian historian and
     general Thucydides states :
           '" Right', as the 11orld goes, is only in question bet11een equals in po1·1er, 11hile the strong do what they can and the
           weak suffer what they must . "
      Such statement by then Athenian general Thucydides is better-explained by internationally-renowned economist and professor
      Yanis Varoufakis :
               "And even the original expression comes from Thucydides in the History of the Peloponnesian War, 1,hen he recounts as
           an Athenian-remember, Thucydides is an Athenian historian and soldier and general 1vho is recounting the story of 11hen
           Athens sent a fleet 11ith troops, the marines, the Athenian marines, to the island of Melos to crash the local society,
               the local city-state. Why? Because Melos refused to take sides in the cold war, or actually the hot war at the time,
           bet11een Athens and Sparta. And Athens had its Olm NATO in the archipelago of the Aegean and it 11as very 11orried that
           if the Melians were al1011ed to be independent, then the rest might get ideas that they 11ant to exit NATO, the NATO of
               the time, so they sent the troops to crush them. And there is this interesting meeting when t he Athenian generals meet
               the Melian representatives, delegates to announce to them, but you kno1v, your life is over, surrender quietly and 1ve
               will sell you as slaves. I f you resist, 1ve are going to crush you. And the Melians gave them a Kantian argument that
               you should never treat human beings as a means to an end, you should treat them as an ends in themselves. Not exactly
           but more or less this . .. it 11as more or less that kind of Kantian argument. You should treat those in a position of
               11eakness in the same 1vay you 1vould 11ant to be treated in a position of 1veakness, because one day you 11ill be in a
               position of weakness, as of course the Athenians of course did become .. . Shortly afterivards when they lost the 1var to
               Sparta, and the Athenian general responded, no, you've got it just 1vrong: 721e strong do what they can, and the weak
               suffer what they must. But Thucydides is telling us this story in order to al101·1 us to criticize it. "

      Then Athenian general Thucydides is essentially informing the Melians that the Melians are not entitled to j ustice,
      because the Melians are a losing party in such war, and as such a losing party, the Melians are not "equals i n po1ver" with
      t he Athenians , and furthermore, due to such inequalit y in power, "the strong do what they can and the weak suffer what
      they must" . The plaintiff asserts that this Maxim-of-Thucydides very-t horoughly explains all of the defendants ' abusive,

      oppressive and predatory conduct towards the plaintiff - over a decade of the defendants ' racial-oppression a nd pattern-
      of-racketeering-activity against the p l aintiff .


      ® Secondly, although the plaintiff was "powerless" to the defendants ' decade of abusive, oppressive and pr edatory actions
      against the plaintiff, t he plainti ff a l so asserts that the defendants operated under a second, more modern, principle or
      adage :
               "The best defense is a good offense. "
      Such adage is generally made regarding a conflict between "equals in po1ver" - while due to the plaintiff ' s "po1verlessness"
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        against the defendants , the plaintiff was never an "equal in po1•1er" with any of the defendants. However, the general idea
        behind such adage is that: Premptive attacks, "proactivity (a strong offensive action) instead of a passive attitude 1•1ill
        preoccupy the opposition and ultimately hinder its ability to mount an opposing counterattack, leading to a strategic
        advantage . " So, instead of following such adage that applies to "equals in po1·1er", since the defendants always regarded
        the plaintiff as "poi,erless" against them, the plaintiff asserts that the defendants resorted to sheer, brute-force
        against the plaintiff - aggregatel y and repeatedly flooding (or i nundating) the plai ntiff with a virtually e ndless stream
        of hate-crimes/civil-rights-violations/racketeering-acts/abuses that they aggregately committed against the plaintiff over
        the course of over a decade, so that the plaintiff would have little-to-no chance at any legal recourse - due to the sheer
        and overwhelming volume of the defendants ' decade of hate-crimes/civil-rights-violations/racketeering-acts/abuses
        aggregately committed against the plaintiff.


 ( O)   Since the plaintiff ' s private-housing, [788KLLTX78641 1, did "receive federal financial assistance", each-and-every-count
        of crimes-of-violence that was aggregately corrmitted by the defendants against the plaintiff in relation to the
        plaintiff ' s private-housing - and in particular, on account of the plaintiff ' s enjoyment of the rights , privileges and
        benefits of such private-housing - is asserted to be a separate-and-distinct-count of the defendants ' crime of
        "Interference-wit/J-Federally-Protected-Activi ties " ( [18-USC-PI-Cl3-§245) ) against the plaintiff .




                                                                       §XXXV

    COMPLAINT SIGNIFICANTLY INCOMPLETE AND TO BE AMENDED

             BY PLAINTIFF , MAXIMUM TIME FOR SERVICE SOUGHT


'1[7 71
Unlike most civil-rights lawsuits that typically document only one, two or less than a handful of incident(s), this lawsuit attempts to substantially

document over a decade of hate-crimes/civil-rights-violations/racketeering-acts/abuses (abbreviated as "racial-oppression and paltern-of-

racketeeri ng-acli vi ty') that the plaintiff has suffered from the defendants, specifically, over a decade of the defendants':

® [FHA]/[TFHA] housing-discrimination violations; AND
@ [RiaCOA] pattern-of-racketeering-activity violations ; AND
© [KKKA]:§1983 deprivation-of-rights violations; AND @(KKKA]:§1985 conspiracy-to-interfere-with-civil-rights violations ; AND
® [CRAo I 866]:§ 1982 property-rights-of-citizens violations ; AND
® [CRAol866]:§1981 equal-rights-under-the-law violations; AND
@ [CRAo l 964]:§2000d discrimination-under-federally-assisted-programs violations -

- all against the plaintiff.




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i772
Unlike most civil-rights lawsuits that typically document only one, two or less than a handful of individuals that committed those violation(s),

this lawsuit attempts to substantially document over a decade of numerous White-American private citizens - [JSP&KAP],[RSR] - conspiring
                                                                                                                                                   1
with one-another while attempting to summon the collective power of the overwhelmingly-large White-American racial-majority of "their'

municipal-corporation local-government, "their"residential-subdivision, and "theiru [HOA] to all predatorily participate in the violation of the

plaintiffs rights, due to the plaintiffs minority-of-one racial-proftle.




i773
So, despite the fact that the plaintiff has expended an excruciating amount of time and effort along with substantial amount(s) of money in

compiling, drafting and filing this complaint, this complaint is still very incomplete as the plaintiff still has not yet completely-specified all of the

incidents of hate-crimes/civil-rights-violations/racketeering-acts/abuses - especially due to the overwhehning volume of such incidents that the

plaintiff has suffered from the primary-defendants over the course of more than a decade. The

harassment/stalkinglintimidation/intcrference/disorderly-conduct/criminal-mischief incidents, in particular, are only briefly-summarized and/or

alluded-to in the cun-ent version of this complaint especially since defendants [JSP],[RSR], in particular, have committed

harassment/stalking/intimidation/interference/disorderly-conduct/criminal-mischief against the plaintiff during different incidents, so numerous

(and even countless), so as to make it ve1y-difficult, time-consuming, onerous and ove1whehning for the plaintiff to fully-detail each-and-every

single, such harassment/stalking/intimidation/interference/disorderly-conduct/criminal-mischief incident. As the plaintiff has ah-eady stated

above, the defendants deliberately engaged in such malicious strategy/tactic of ':flooding" against the plaintiff - inundating the plaintiff with this

long-term pattern of racial-oppression and racketeering-activity (during the course of over a decade) against the plaintiff in-order-to make it

ve1y-difficult, time-consuming, onerous, and ove1whehning for the plaintiff to be able to meaningfully file these claims against the defendants,

especially within the relatively short amount of time provided for by all of the relevant statute-of-limitations.




 i774
As this Court is fully aware, most [RlaCOA] prosecutions and, at least some [FHA]/[TFHA] prosecutions, take an enormous amount of time

to research, investigate, compile and draft - due to the usually large volume of evidence spanning the usually lengthy period of time during

which the pattern of racketeering-activity and discrimination (respectively) take place. The private-citizen petitioners of these particular types of

 lawsuits have to play the same role of a full-time prosecutorial team composed of numerous highly-experienced prosecutors, except for the fact

 that only the latter has the virtually-unlimited, taxpayer-funded resources - including the vast investigative resources along with the substantial

 search/seizure powers - of the government. Thus, not only is the plaintiffs lawsuit not an exception in this sense, but also, the plaintiff has been

 forced to single-handedly play the role of an entire prosecutorial team (along with their investigative team(s)) - without any outside help,

 without any outside funding without any search/seizure power, without any other governmental powers - in researching, investigating,

 compiling and drafting this necessarily-lengthy lawsuit documenting over a decade of the defendants' racial-oppression and pattern-of-
 racketeering-activity against the plaintiff. This lawsuit is truly the result of more than 2 years of the plaintiffs research and substantial (but yet,

 seriously incomplete) investigation into the defendants' decade of racial-oppression and pattern-of-racketeering-activity against the plaintiff. The

 plaintiff has necessarily needed to spend an extraordinary amount of tune and effort in compiling all of the evidence - figurh1g-out and putting-


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together an enormous amount of puzzle-pieces in a massive jigsaw puzzle - into drafting this initial version of this complaint.



'.[775
Due to the sheer, ove1whelrning-volume of evidence that the plaintiff has gathered against the defendants, the plaintiff has also not had

sufficient time to review at least some of such overwhehning volume of evidence - including but not limited to, all of the plaintiffs relevant

security-camera-recordings, and all of the plaintiffs relevant body-worn-camera-recordings, all of the email,;; and social-media-postings - in-
order-to fully document, in this :initial version of this complaint, eve1y single incident of hate-crimes/civil-rights-violations/racketeering-
acts/abuses that the defendants aggregately perpetrated against the plaintiff as part of their decade-long obstructive-and-retaliatory,

blackmailing-and-defrauding racketeering-ente1prise against the plaintiff. In pm1icular, the plaintiff has yet to fully-review and document many

ancillaty pieces of evidence necessary to more-thoroughly (or more-completely) prove the plaintiffs racial-discrin1ination and pattern-of-

racketeering-activity claims against the defendants. The plaintiff has also not yet reviewed most of the even-larger volume of the plaintiffs

additional security-camera-recordings and/or body-worn-camera-recordings to determine the number of additional incidents of currently-
undetected hate-crimes/civil-rights-violations/racketeering-acts/abuses that the plaintiff has suffered from the defendants. Of secondmy

importance, while the plaintiff has an enormous volume of evidence of the racially-discrin1inat01y enforcement of the property-maintenance-

laws (including the racially-discriminat01y enforcement of restrictive-covenants) within the neighborhood, such racially-discriminat01y

enforcement is only minimally documented and/or alluded-to in this initial version of this complaint - as the plaintiff has only, thus far, focused
the ove1whehning volume of the text of this initial version of this complaint on the defendants' long-tenn pattern of racial-oppression and

racketeering-activity against the plaintiff. For all of these additional reasons, the plaintiff will more-likely-than-not, and at a minimum, need to

append-to and/or amend the:

@ "SEQUENCE OF RELEVANT INCIDENTS" section with more-detailed incidents and information; AND

@ "PRAYER FOR RELIEF" and/or the "REQUESTED RELIEF" sections with more-detailed and/or additional relief requested

- in amended version(s) of this complaint.



 '.[7 7 6
The plaintiff asserts that this lawsuit is not limited to the subclaims/requested-relief stated in this pa11icular version of the complaint. The

plaintiff asserts that additional subclain1s/rcquested-relief may need to be filed and/or existing subclaims/rcquested-relief may need to be

 amended, especially based upon Discovery/Depositions (and/or other investigations) executed as part of this lawsuit. The plaintiff asse11s that

 although the plaintiff has additional potential subclaims against one-or-more of the defendants, those additional potential subclaims cannot be

 properly asserted until such time that the plaintiff has more evidence (resulting from Discovery/Depositions/investigations) to fully-prove such

 additional subclaims.



 '.[777
 After the initial filing of this complaint, the plaintiff seeks to ensure from this Court that the plaintiff is granted the full-maximum of 90 days to

 serve all of the defendants with this complaint. The purpose of this tin1e is to ensure not only that the plaintiff can use this needed time to

 amend this complaint as necessary, but also so that the plaintiff can extract and make-available all of the evidence required to prove the
 plaintiff's multiple claims, again, with the facts/circumstances surrounding this lawsuit being much-more-complex (arguably, even
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extraordinarily-complex) and much-larger-in-scale (by the sheer volume of evidence) compared to most other civil-rights-violation(s) lawsuits

and/or [RlaCOA) lawsuits.



1778
The plaintiff humbly and respectfully seeks forgiveness from this Court for any spelling-errors, typographical errors, grammatical e1rnrs, or any

other errors of the English language that are present in this particular version of the complaint, as the plaintiff has made the best attempt to fix

any-and-all of such errors and to the best of the plaintiffs abilities - especially, given the substantial length of this lawsuit




                                                                      §XXXVI

                                                      PRAYER FOR RELIEF


1779
WHEREFORE, the plaintiff requests that this Court enter an ORDER that:



 1780
 Declares that Defendants' cumulative-and-aggregate actions, conducts, behaviors, policies and practices against the plaintiff from the years of

 {2009} through {2023) egregiously violated the [FHA], the [TFHAJ, the [KKKA):§1983, the [KKKA):§1985, the [RlaCOAJ, the

 [CRAol866):§1982, the [CRAol866):§l98l, and the [CRAol964]:§2000d against the plaintiff, as substantially detailed in this complaint




 1781
 Declares that the majority of peoples-of-color (including the overwhehning-majority of indigenous-peoples) around the world do not live

 (lifestyles) according to White-American standards, and do not maintain their land according to White-American standards, and as a result of

 such difference in racial/cultural/religious/ethnic/national standards, person(s) of the White/Caucasian/American color/race/nationality cannot

 reasonably impose and/or coerce their ethnocentric/culturally-insensitive way-of-life/lifestyle and/or private-property-maintenance standards

 onto any such person(s)-of-color that innocently fail to confonn to such White-American standards, as such unjust imposition and/or coercion

 is a direct violation of such person(s)-of-color's first-amendment-rights, fourteenth-amendment-rights and fafr-housing-rights.



 1782
 Declares that any person(s)-of-color's innocent failure and/or "inability" to maintain such person(s)-of-color's private-propeiiy according to
 White-American standards is never a crime. especially if suc11 private-property-maintenance practice(s) of such person(s)~of-color is genuinely,

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knowingly and deliberately asserted by such person(s)-of-eolor as part of one-or-more Constitutionally-or-Statutorily-protected religious/cultural

practice(s) and/or lifestyle(s) and/or other fn-st-amendment-right and/or fair-housing-right of such person(s)-of-color.



i783
Declares that, ifit can be proven by 11clear and convincing" evidence that people-of-color within any paiticular neighborhood located within

the United States are not imposing their ethnocentric standards of lifestyle and/or private-property-maintenance onto any White-Americans,

then no White-American person(s) within such neighborhood can reasonably impose and/or coerce their White-American standards of lifestyle

and/or private-property-maintenance onto any such person(s)-of-color, as such unjust imposition and/or coercion is a direct violation of such

person(s)-of-color's fair-housing-rights and fourteenth-amendment-rights guaranteeing "equal protection of the laws".



i784
Declares that any municipal-corporation's "cherry-picking" of which restrictive-covenants/laws to enforce in any manner that such "cherry-
picking" favors White resident(s)/property-owner(s) and/or disfavors any person-of-color resident(s)/property-owner(s) is an egregiously

discriminatory housing practice, in clear violation of the [FHA], the [TFHA], and the fourteenth-amendment.



i785
Declares that any municipal-corporation's "cheny-picking 11 of which restrictive-covenants/laws to enforce in any manner that such "cheny-

picking" favors non-immigrant resident(s)/property-owner(s) and/or disfavors any immigrant resident(s)/property-owner(s) is an egregiously

discriminatory housing practice, in clear violation of the [FHA], the [TFHA], and the fourteenth-amendment.



i786
Declares that any municipal-corporation's "chenJ1-picking 11 of which restrictive-covenants/laws to enforce in any manner that such 11cheny-

picking" favors non-disabled/non-handicapped resident(s)/property-owner(s) and/or disfavors any disabled/handicapped resident(s)/property-

owner(s) is an egregiously discriminatmy housing practice, in clear violation of the [FHA], the [TFHA], and the fourteenth-amendment.



1787
Declares that any municipal-corporation's "cheny-picking" of which restrictive-covenants/laws to enforce in any manner that such "cheny-

picking" favors heterosexual resident(s)/property-owner(s) and/or disfavors any ("actual or perceived'~ [LGBTQIA+] resident(s)/property-

owner(s) is an egregiously discrin1inatory housing practice, in clear violation of the [FHA], the (TFHA], and the fourteenth-amendment.



 i788
 Declares that any municipal-corporation1s selective interpretation and/or enforcement of restrictive-covenants/laws in any manner that such

 selective interpretation/enforcement favors White resident(s)/propet1y-owner(s) and/or disfavors any person-of-color resident(s)/property-

 owner(s) is an egregiously discriminatmy housing practice, in clear violation of the [FHA], the [TFHA], and the fourteenth-amendment.
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'.![789
Declares that any municipal-corporation's selective interpretation and/or enforcement of restrictive-covenants/laws in any manner that such
selective interpretation/enforcement favors non-immigrant resident(s)/property-owner(s) and/or disfavors any immigrant resident(s)/property-

owner(s) is an egregiously discrimhiatmy housing practice, in clear violation of the [FHA], the [TFHA], and the fourteenth-amendment.



'.![790
Declares that any municipal-corporation1s selective interpretation and/or enforcement of restrictive-covenants/laws in any manner that such

selective interpretation/enforcement favors non-disabled/non-handicapped resident(s)/property-owner(s) and/or disfavors any
disabled/handicapped resident(s)/property-owner(s) is an egregiously discrhnhiatory housing practice, in clear violation of the [FHA], the

[TFHA], and the fourteenth-amendment.



'.![791
Declares that any municipal-corporation's selective interpretation and/or enforcement of restrictive-covenants/laws in any manner that such
selective interpretation/enforcement favors heterosexual resident(s)/property-owner(s) and/or disfavors any ("actual or perceived'1

[LGBTQIA+] resident(s)/property-owner(s) is an egregiously discriminatmy housing practice, h1 clear violation of the [FHA], the [TFHA], and

the fourteenth-amendment.



'.![792
Declares that any municipal-corporation's adverse action taken against any person-of-color resident(s)/property-owner(s) that is based even

partly upon the racial animus/prejudice/bias of any White resident(s)/property-owner(s) is an egregiously discriminatory housing practice, in

clear violation of the [FHA], the [TFHA], and the fourteenth-amendment.



'.![793
Declares that any municipal-corporation's adverse action taken against any immigrant resident(s)/property-owner(s) that is based even partly

upon the anti-hnmigrant animus/prejudice/bias of any non-immigrant resident(s)/property-owner(s) is an egregiously discrin1hrntory housh1g

 practice, in clear violation of the [FHA], the [TFHA], and the fourteenth-amendment.



 '.![794
 Declares that any municipal-corporation's adverse action taken against any disabled/handicapped resident(s)/property-owner(s) that is based

 even partly upon the ableist animus/prejudice/bias of any non-disabled/non-handicapped resident(s)/property-owner(s) is an egregiously

 discrhninatmy housing practice, in clear violation of the [FHA], the [THIA], and the fourteenth-amendment.




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1795
Declares that any municipal-corporation's adverse action taken against any ("actual or perceived') [LGBTQIA+] resident(s)/property-owner(s)

that is based even partly upon the anti-[LGBTQIA+] animus/prejudice/bias of any heterosexual resident(s)/property-owner(s) is an egregiously

discriminatory housing practice, in clear violation of the [FHA], the [TFHA], and the fourteenth-amendment.



1796
Declares that Defendants [WCLE]'s deliberate failure, with respect to the plaintiff, to enforce the Hate-Crime laws, the Abuse-of-Office laws,

the Bribeiy-and-Corrupt-Influence laws, the Perjury-and-Other-Falsification laws, the Fraud laws, the Government-Discrimination laws, and

the Racial-Profiling laws of the State of Texas not only repeatedly and egregiously violated the plaintiffs rights, but that such deliberate lack of

enforcement, at least, with respect to the plaintiff, is an egregiously discriminatory housing practice, thus in clear violation of the [FHA], the
[TFHA], and the fourteenth-amendment - which directly resulted in the plaintiff suffering numerous dozen counts of additional retaliatoty

crimes above-and-beyond what the plaintiff would have suffered had those initial crimes been prosecuted to the fullest extent of the law - for

example, in the initial years of {2011 } / { 2012} ,



1797
Declares that no law-enforcement agency of defendant [WC] has the authority/power to deny and/or ignore and/or circumvent the full-

investigation and full-enforcement of the hate-crimes laws, the civil-rights laws, the abuse-of-office laws, the bribery-and-conupt-influence
laws, the pe1jury-and-other-falsification laws, the fraud laws, the govenunent-discrimination laws, and the racial-profiling laws of the State of

Texas.



 1798
 Declares that the use of the word '\veed," as it is used within [THaSC-T5-SA-C343] does not apply to any "vegetable growth or matter" that

 is intentionally-grown (thus, "cultivated') by resident(s) exclusively within the confines of such resident(s)' private-property ('i1remises') as

 part of any harmless:

 ® "drought-resistant landscaping"; AND/OR
 @ constitutionally-or-statutorily-protected religious/cultural practice(s) ; AND/OR

 © other first-amendment-right; AND/OR
 @ other statutory-right



 1799
 Declares that the harm caused by the widespread use of landscaping chemicals within (human-inhabited) private-properties in any residential-

 subdivision, including, but not limited to, pesticides and synthetic/chemical fertilizers - to human health, to wildlife and to environmental health
 (including air, water and land pollution) - is exponentially-more than any alleged or actual harm caused by the relatively small number of

 "mosquitoes, rodents, vermin, or other disease-canying pests" originath1g from within such (human-inhabited) private-properties.


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<_[800
Declares that the potential-for-harm - and in some cases, the actual hann - caused by the rampant-and-illegal lighting of faeworks, the rampant-

and-illegal speeding vehicles, and the illegally-unleashed large-dogs and large-cats (roaming freely onto public-property and/or others' private-

property) in any residential-subdivision is exponentially-more than the potential-for-harm of any alleged or actual public-nuisance violation that

is entirely within the confines of a single (human-inhabited) private-property.



<J[801
Enjoins Defendants, their agents, employees, assigns, successors, and all other persons and entities in active concert or participation with

Defendants - by way of any direct or indirect action, conduct, behavior, policy or practice - either individually or in a conspiracy - and in any

manner, shape or form - from:
01.     Harassing any person because of race and/or color and/or religion and/or disability and/or national origin; AND

02 .    Denying housing, or othe1wise making housing unavailable to any person because of race and/or color and/or religion and/or disability

        and/or national origin; AND
03.     Evicting any person or any person's guest because of race and/or color and/or religion and/or disability and/or national origin; AND

04.     Providing any person different housing services or facilities because of race and/or color and/or religion and/or disability and/or national

        origin; AND
05.     Failing or delaying any service(s) lo any person because of race and/or color and/or religion and/or disability and/or national origin; AND

06 .    Discouraging or deterring any person from the purchase or rental of housing because of race and/or color and/or religion and/or disability

        and/or national origin; AND
07 .    Discouraging, deterring any person from (or punishing any person for) continued residence at housing because of race and/or color

        and/or religion and/or disability and/or national origin; AND

 08 .   Assigning any person to a pm1icular building or neighborhood or section of a building or neigl1borhood, because of race and/or color

        and/or religion and/or disability and/or national origin; AND

 09 .   Retaliating against any person who has filed any type of fair-housing-complaint (including, but not limited to, hate-crime-repott) or

        assisted in any type of fair-housing-investigation (including, but not limited to, hate-crime-investigation); AND

 10.    Denying, depriving or otherwise limiting any person of minority race and/or religion and/or national origin from such person's protected

        racial, religious and/or national practice(s) and/or lifestyle(s) and/or clothing and/or grooming; AND

 11.    Vandalizing and/or attempting to vandalize and/or pm1icipating in any conspiracy to vandalize any part of a person 1s private-property

        because of race and/or color and/or religion and/or disability and/or national origin.

 12.    Engaging in any crime against any person and/or person's private-property because of race and/or color and/or religion and/or disability

        and/or national origin.
 13 .   Denying, depriving or otherwise limiting reasonable accommodations and/or reasonable modifications that may be necessary to allow

        any person with disabilities to enjoy their housing; AND

 14.    Making, printing or publishing any notice, statement or advertisement with respect to housing that indicates any preference, limitation or


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       discrimination because of race and/or color and/or religion and/or disability and/or national origin; AND

15.    Imposing different costs, benefits or burdens with respect to housing because of race and/or color and/or religion and/or disability and/or

       national origin; AND

16.    Using different qualification criteria with respect to housing services because of race and/or color and/or religion and/or disability and/or

       national origin; AND
17 .   Limiting terms, conditions, privileges and/or services with respect to housing because of race and/or color and/or religion and/or disability

       and/or national origin; AND
18.    Discriminating in the terms, conditions, or privileges of housing and/or housing-services and/or housing-facilities in connection therewith,

       because of race and/or color and/or religion and/or disability and/or national origin; AND
19.    For profit, persuading, or hying to persuade, homeowners to sell their homes by suggesting that people of a particular protected

       characteristic are about to move into the neighborhood ("blockbusting'); AND

20.    Coercing, intimidating, threatening, or interfering with any person in the exercise or enjoyment of, or on account of her having exercised

       or enjoyed, or on account of her having aided or encouraged any other person in the exercise or enjoyment of, any fair housing right

       granted or protected by [42-USC-C45-Sl-§3603),[42-USC-C45-Sl-§3604),[42-USC-C45-Sl-§3605),[42-USC-C45-Sl-§3606]; AND

21.    Violating any aspect(s) of the aforestated Court-ordered declaratmy-relief; AND

22 .   Failing or refusing to take such affinnative steps as may be necessary to prevent the recurrence of any discriminatmy or otherwise

       unlawful conduct in the future and to eliminate, to the extent practicable, the effects of Defendants 1 discriminatory or othe1wise unlawful

       conduct.




i802
Enjoins Defendants [WCCO), [WCSO), and [WCCHD) - and their agents, employees, assigns, successors, and all other persons and entities in

active concert or participation with Defendants [WCCO), [WCSO], and [WCCHD) - by way of all direct and indirect actions, conducts,

behaviors, policies and practices - and in all manners, shapes and fonns - to:
01.     Make any-and-all necessary modifications to such Defendants' policies, practices, and procedures to comply with any-and-all aspects of

        the [FHA),[TFHA], other related anti-discrimination/anti-racial-profiling laws of the State of Texas, all of the civil-rights-laws of the

        United States and/or the State of Texas, along with any-and-all of the aforestated Court-ordered declaratoty-relief; AND

02 .    Fully-Train any-and-all of such Defendants' current and/or future employees and/or agents with responsibilities related to the design,

        implementation, and operation of such Defendants' housing-related services on the [FHA),[TFHAJ, along with any-and-all of the Court-

        ordered declarat01y-relief; AND

03.     Fully-Train any-and-all of such Defendants' current and/or future employees and/or agents to fully-understand and to fully-respect the

        civil-rights-laws of the United States and the State of Texas -to the maximum extent that such laws fully-protect and equally-protect the

        civil-rights of all private-citizens of the United States and the State of Texas: AND

 04.    Fully-Allow federal-law-enforcement's monitoring (see below) of such Defendants' policies, practices and procedures for a period of at

        least IO years to ensure future compliance with the [FHA],[TFHAJ, other related anti-discrimination/anti-racial-profiling laws of the

        State-of-Texas, all civil-rights-laws of the United States and the State of Texas, along with any-and-all of the aforestated Court-ordered


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       declaratory-relief ; AND

05.    Meticulously document, maintain, retain and preserve, in pristine and original condition, any-and-all fully-detailed records that fully

       allows for the aforestated compliance-monitoring (see below) by federal-law-enforcement.




<j[803
Orders Federal-Law-Enforcement to monitor (as alluded-to above), for a period of at least IO years, Defendants [WCCO], [WCSO), and

[WCCHD] - including their agents, employees, assigns, successors, and all other persons and entities in active concert or participation with

Defendants [WCCO], [WCSO], and [WCCHD] - in-order-to e nsure that such parties are fully complying with all of the terms-and-conditions

of the [FHA],[TFHA], other related anti-discrimination/anti-racial-profiling laws of the State of Texas, all of the civil-rights-laws of the United-

States and the State of Texas, along with all the aforestated Court-ordered declaratory-relief.



<j[804
Orders Federal-Law-Enforcement to fully-investigate Defendants [WCCO], [WCSO], and [WCCHD] - and their agents, employees, assigns,

successors, and all other persons and entities in active concert or participation with Defendants [WCCO], [WCSO], and [WCCHD] - with the

same type of thorough-federal-investigation done for the ~Lou isville Metro Police Department► and the iMinneapolis Police

Department ► .




<j[805
Requires such action by Defendants as may be necessary to restore the plaintiff - harmed by the Defendants' egregiously-violative, cumulative-

and-aggregate actions, conducts, behaviors, polices and practices - to the position the plaintiff would have occupied but for the Defendants'

egregiously-violative, cumulative-and-aggregate actions, conducts, behaviors, polices and practices against the plaintiff, including but not limited

to:
01.     Requiring Defendants to issue a public letter-of-apology to plaintiff, in which the defendants fully and publicly:

       ® admit to all of the plaintiffs allegations, clain1s and subclaims against the defendants, as substantially presented in this complaint ;
       AND
       ® accept the truthfulness, legitimacy and necessity of all of the aforestated Cou1t-ordered declarato1y-relicf as sought by the plaintiff.
02.     Requiring Defendants to, after privately (and securely) submitting any-and-all of such information to the plaintiff during the processes of

        Discove1y/Depositions of this case, permanently expunge any-and-all records-of and/or information-of and/or related-to, any aspect of

        the Defendants' fraudulent and purely-retaliatory enforcement actions taken against the plaintiff - including, but not limited to, the

        fraudulent Class-C-Misdemeanor-Public-Nuisance charge and purely-retaliatmy prosecution against the plaintiff - from the years of

        {2009} through {2022}.

03.     Requiring Defendants to restore all of the plaintiffs multiple businesses to origiml and/or undamaged condition prior to the plaintiff being

        injured in such businesses by the defendants' egregiously-violative, cumulative-and-aggregate actions, conducts, behav iors, polices and

        practices.

04 .    Requiring Defendants to restore all of the plaintift's private-property to original and/or undamaged condition prior to the plaintiff being
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       injured in such private-property by the defendants' egregiously-violative, cumulative-and-aggregate actions, conducts, behaviors, polices

       and practices.

05.




~806
Enjoins Defendants, their agents, employees, assigns, successors, and all other persons and entities in active concert or participation with
Defendants - by way of any direct or indirect action, conduct, behavior, policy or practice - either individually or in a conspiracy - and in any
manner, shape or form - from participating (or conspiring-to-participate or attempting-to-participate) in any racketeering-enterprise ([18-USC-

PI-C96-§ 1961 ],[l 8-USC-PI-C96-§ 1962]) and/or committing (or conspiring-to-commit or attempting-to-commit) any racketeering-act(s) (as

specified in [18-USC-PI-C96-§1961]) against any person, including, but not limited to:

01.    Obstruction-of-Justice, and particularly, the Omnibus-Clause, [18-USC-PI-C73-§1503]; AND

02.    Retaliating-against-Witness, [l 8-USC-PI-C73-§1513],[TPeC-T8-C36-§36.06] ; AND

03.    Wire-Fraud, [18-USC-Pl-C63-§1343]; AND

04.    Mail-Fraud, [18-USC-PI-C63-§1341]; AND

05 .   Witness-Tampering, [ l 8-USC-PI-C73-§ l 512],[TPeC-T8-C36-§36.05] ; AND

06.    Witness-Intimidation, [18-USC-PI-C73-§1512],[TPeC-T8-C36-§36.05]; AND

07.    Evidence-Tampering and/or Evidence-Destruction and/or Fabricated-Evidence, [18-USC-PI-C73-§1503],[18-USC-PI-C73-§1512],[18-

       USC-Pl-C73-§ 15 l 9],[TPeC-T8-C37-§37 .09],[TPeC-T7-C32-§32.47] ; AND

08.    Blackmail/Extortion, [18-USC-PI-C41-§873]; AND

09.    Interfere-with-Commerce-by-Threats-or-Violence, [18-USC-PI-C95-§195 l],[18-USC-PI-C96-§I 959] ; AND

10.    Threat(s)-Involving-Murder, [18-USC-PI-C96-§1961],[l 8-USC-PI-C96-§1959] ; AND

11.

12.




~807
Enjoins Defendants, their agents, employees, assigns, successors, and all other persons and entities in active conceit or participation with
Defendants - by way of any direct or indirect action, conduct, behavior, policy or practice - either individually or in a conspiracy - and in any
manner, shape or form - from violating the following federal laws protecting the rights of any-and-all person(s) of the United States, including

but not limited to, the plaintiff:

01.     Deprivation ofrights under color of law, [18-USC-Pl-Cl3-§242] ; AND

02.     Conspiracy against rights, [18-USC-PI-Cl3-§241]; AND

03 .    Interference, coercion, or inthnidation, [42-USC-C45-SI-§3617],[42-USC-C45-SJJ-§363 l ],[TPrC-T l 5-C301-SI-§301.17 I],[ l 8-USC-PI-

        C 13-§245]




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':[808
Enjoins Defendants [WCCOJ,[WCCHD],[WCSO),[WCCAO],[WCDAO] - and their agents, employees, assigns, successors, and all other

persons and entities in active concert or participation with Defendants - to:
01 .   Fully enforce, without exception, and to the fullest extent of the law, all of the Hate-Crime laws of the State of Texas, including but not

       limited to: [TPrC-Tl 5-C30 l-Sl-§301.171 ),[TPeC-T3-C 12-SD-§ 12.47],(TCoCP-TI-C42-A42.014] ; AND

02 .   Fully enforce, without exception, and to the fullest extent of the law, all of the Harassment/Stalking/Disorderly-Conduct laws of the State

       of Texas, including but not limited to: [TPeC-T9-C42-§42.07),[TPeC-T9-C42-§42.072),[TPeC-T9-C42-§42.0l); AND

03 •   Fully enforce, without exception, and to the fullest extent of the law, all of the Abuse-of-Office laws of the State of Texas, codified in

       (TPeC-T8-C39], including but not limited to: [TPeC-T8-C39-§39.03],[TPeC-T8-C39-§39.02],[TPeC-T8-C39-§39.06] ; AND

04.    Fully enforce, without exception, and to the fullest extent of the law, all of the Bribery-and-Corrnpt-lnfluence laws of the State of Texas,

       codified in [TPeC-T8-C36], including but not limited to: [TPeC-T8-C36-§36.05],[TPeC-T8-C36-§36.06); AND

05.    Fully enforce, without exception, and to the fullest extent of the law, all of the Perjury-and-Other-Falsification laws of the Stale of

       Texas, codified in (TPeC-T8-C37], including but not limited to: [TPeC-T8-C37-§37.09); AND

06.    Fully enforce, without exception, and to the fullest extent of the law, all of the Fraud laws of the State of Texas, codified in [TPeC-T7-

       C32], including but not limited to: [TPeC-T7-C32-§32.46], [TPeC-T7-C32-§32.47], [TPeC-T7-C32-§32.51] and [TPeC-T7-C32-

       §32.32] ; AND

07.    Fully enforce, without exception, and to the fullest extent of the law, the Government-Discrimination laws of the State of Texas, codified

       in [TCPaRC-T5-Cl06], including but not limited to: [TCPaRC-T5-Cl06-§106.001]; AND

08.    Fully enforce, without exception, and to the fullest extent of the law, the Racial-Profiling law of the State of Texas, codified in [TCoCP-

       Tl-C2-A2.13 l]; AND

09.    Fully prioritize, to the highest level of priority, the investigation, charging and prosecution of: felony-crimes (includh1g all retaliatory

       crimes), violent-crimes/assaultive-crimes, hate-crimes, burglary-crimes, bribery-and-cormpt-influence-crimes, pe1jury-and-other-

       falsification-crimes, racketeering-acts, robbery/theft-crimes, harassment/stalking/disorderly-conduct crimes, abuse-of-office-crimes,

       government-discrimination-crimes, civil-rights-violations, criminal-mischief-crimes, fraud-crimes; AND

10.    Fully deprioritize, to the lowest level of priority, the investigation, chargh1g and prosecution of, alleged private-property-maintenance-

       violations (of any kh1d), while only focusing on such alleged private-property-maintenance-violations that actually cause harm and where

       the accused-person(s) have been known to act maliciously or recklessly.

11.    Fully and timely release (within a reasonable amount of time) to the local-news-media and/or local-civil-rights-organizations - Body-

       Worn-Camera-Recordings and/or Dash-Camera-Recordings and/or other documentary-evidence, documenting acts of [WC] police-

       mLsconduct and/or other [WC) law-enforcement-misconduct and/or other [WC] government-misconduct - as the interest-of-justice

       demands that the general-public - and, in particular, the county taxpayers - have the right to be fully-aware of such govemmcnt-

        misconduct.




 ':[8 0 9
 Enjoins Defendants (WCCO),[WCCHD],(WCSO],(WCCAO],[WCDAOJ - and theh- agents, employees, assigns, successors, and all other
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persons and entities in active concert or participation with Defendants - by way of any direct or indirect action, conduct, behavior, policy or

practice - either individually or in a conspiracy - and in any manner, shape or form - from:
01.    Misinterpreting and/or abusively enforcing any aspect of the private-property-maintenance-laws in any manner that discrin1inatorily

       and/or disprop011ionately targets any person(s)-of-color - especially, those person(s)-of-color residing within White neighborhoods.

02.    Criminalizing any person(s)-of-color - especially, those person(s)-of-color residing within White neighborhoods - for such person(s)-of-

       color's innocent failure and/or "inability" to maintain such person(s)-of-color's private-property according to any White-American

       standard(s).

03.    Acting upon anonymous complaint(s) alleging private-property-maintenance-violations.

04.    Acting upon any private-property-maintenance-complaint(s) from any accuser-person - h1cluding, but not !united to a [HOA], a [HOA-

       BoD], a [HOA] property-management-company, a [HOA] prope11y-management-company-employee - that has not dfrectly witnessed

       such alleged private-property-maintenance-violation.

05 .   Upon investigating any alleged complaint of private-property-mah1tenance-violation, failing to hmnediately-disclose to such accused-

       person(s) accused of an alleged private-property-maintenance-violation, the full names and addresses of the accuser-person(s).

06.    Ifah1g any prospective employee/official/officer (police-officer, health-district-sanitarian, prosecutor, etc.) with even one (or more),

       verified/authenticated/substantiated prior h1cidence of misconduct (of any type or form) - whether official misconduct, off-duty crfrninal-

       offense or lawsuit indicating misconduct (of any type or form).

07.    Hirh1g any prospective employee/official/officer (police-officer, health-district-sanitarian, prosecutor, etc.) with any (current or fo1mer)

       ties to far-right-wing-extremist and/or White-Supremacist group(s)/movement(s) such as, but not limited to: the "Proud Boys", the

       "Boogaloo Movement', the "Sovereign Citizen Movement", the "QAnon Movement", the "Oath Keepers Movement", the "Ku Klux

       Klan", the Neo-Nazis, the Skinheads, any Militia-Movement(s), any Christian-Identity-Movement(s).

08.    Hh·ing any prospective employee/official/officer (police-officer, health-district-sanitarian, prosecutor, etc.) that has made any favorable

       and/or sympathetic social-media-posting (or w1ith1gs/messages of any kh1d) about any far-right-wing-extremist and/or White-Supremacist

       group(s)/movement(s), including, but not limited to: the "Proud Boys", the "Boogaloo Movement", the "Sovereign Citizen Movement",

       the "QAnon Movement", the "Oath Keepers Movement", the "Ku Klux Klan", the Neo-Nazis, the Skinheads, any Militia-Movement(s),

       any Christian-Identity-Movement(s),




 '][810
Enjoins Defendants [WCCHD],[WCCO],[WCSO] - and their agents, employees, assigns, successors, and all other persons and entities in

active concert or participation with Defendants [WCCHD],[WCCO],[WCSO] - from:

01.    Creath1g any public-health policy that violates any harmless Constitutional-or-Statutory right(s) (h1cluding religious practice(s)) of any

       person exercising and/or enjoying such right(s) exclusively within the confines of such person's private-property - especially, the exercise

       and/or enjoyment of such right(s) within the interior of such person's residential-building ("house 11 ).

 02.   Implementing and/or Enforcing any public-health policy (h1cluding any existh1g policy) that violates any harmless Constitutional-or-

       Statutmy right(s) (including religious practice(s)) of any person exercising and/or enjoyh1g such right(s) exclusively within the confines of

       such person's private-property - especially, the exercise and/or enjoyment of such right(s) within the interior of such person's house.

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03.    Creating any public-health policy that regulates, restricts or prohibits any hannless conditions (including purely-aesthetic or purely-

       cosmetic conditions) within a person's private-property.

04.    Implementing and/or Enforcing any public-health policy (including any existing policy) that regulates, restricts or prohibits any harmless

       conditions (including purely-aesthetic or purely-cosmetic conditions) within a person's private-property.

05.    Misinterpreting and/or Abusively-Enforcing any part or text of the [THaSC], including, but not limited to, the Texas-Public-Nuisance-

       Law.

06.    Executing any search/seizure of any private-area(s) (including curtilage-area(s)) of a person's private-property - especially, any area(s) of

       a person's private-property that are not visible from the public street - without a valid search-warrant lawfully obtained with sufficient

       probable-cause for a crime "already having been committed", unless there exists one-or-more of those "exigent circumstances"

       specifically-recognized by the Federal-Courts that allows law-enforcement to lawfully execute an exceptional search/ seizure without such

       search-warrant.
07 .   Executing any search-warrant in any unlawful manner - that is, any manner that does not lawfully follow the legal procedure prescribed

       by both State-Law and Federal-Law.




1811
Enjoins Defendants [WCCAO],[WCDAO] - and their agents, employees, assigns, successors, and all other persons and entities in active

concert or participation with Defendants [WCCAO],[WCDAO] - to:

O1 .   Fully investigate any-and-all cases, without exception, of suspected [WC] police-misconduct, any other suspected [WC] law-

       enforcement-misconduct, or any other [WC] government-misconduct, whenever, wherever and as-soon-as such prosecutor's offices

       become-aware-of and/or suspect such misconduct, and furthermore, wherever the evidence resulting from such investigation warrants

       criminal prosecution, prosecute such [WC] police-officer(s) and/or such [WC) law-enforcement-employee(s) and/or such [WC]

       govermnent-employee(s) for such substantiated misconduct - and to the fullest extent of the law.

02 .




1812
Enjoins Defendants [WCCAO],[WCDAO] - and their agents, employees, assigns, successors, and all other persons and entities in active

concert or participation with Defendants [WCCAO],[WCDAO] - from:
01.     Violating any aspect or text of: (Texas Code of Crimina l Procedure•                  Title 1. Code Of Criminal Procedure ,

        Chap t er 2 . General Duties of Officers ,                Art . 2 . 01 . Duties of District Attorneys] ([TCoCP-T 1-C2-

        A2.0l]).
02.     Violatinganyruleofthe (Texas Disciplinary Rules of Professional Conduct,                              III . Advocate . :       Rule 3 . 09

        Special Responsibilities of a Prosecutor] , but specifically, rules: [TDRoPC-Ill-Rule-3.09], [TDRoPC-VIII-Rule-8.04],

        and [TDRoPC-VIII-Rule-8.03).




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<JI813
Enjoins Defendant [WC] and/or Defendant [WC]'s applicable department(s), bureau(s), board(s), commission(s), office(s), agency(s),

council(s), and/or commissioners-com1(s) to grant "SPECIAL EXCEPTION OR VARIANCE TO PUBLIC NUISANCE CLASSIFICATION"

([THaSC-T5-SA-C343-SB-§343.0l 11]) to any resident within the County of Williamson that legitimately, genuinely and harmlessly maintains

his/her private-property in such manner that:

01.      is required by such resident's Constitutionally-or-Statutorily-protected religious/cultural view(s)/practice(s); OR

02.      is protected by such resident's Constitutionally-or-Statutorily-protected other first-amendment-rights (under the freedom-of-expression

         and/or political-speech and/or art); OR

03.      othetwise "promotesjustice".




<JI814
Enjoins Defendant [WC] and/or Defendant [WC)'s applicable department(s), bureau(s), board(s), commission(s), office(s), agency(s),

council(s), and/or commissioners-court(s) to require the execution of a affidavit (made "under penalty of pe,_jury") of any accuser-person(s)

(including, but not limited to, any member of law-enforcement) seeking to file a complaint of (civil or criminal) private-property ("c urable'?

Public-Nuisance-violation (a private-property violation under Texas law [THaSC-T5-SA-C343] or [THaSC-T5-SA-C34 1]) and/or (civil)

private-property ("curable'? restrictive-covenant-violation (a private-property violation under civil contract law) against any accused-person(s).

Defendant [WC] shall prescribe a standardized fo1111 for such affidavit to be availabile for online download at Defendant [WC]'s website, and

Defendant [WC] shall also provide physical copies of such standardized affidavit form to any-and-all accuser-person(s) seeking to file such

complaint. The contents of such standardized affidavit form shall include all of the following, in which such accuser-person(s) - the affiant(s) -

shall fully-affirm to all of the following:

  01.     such accuser-person(s) have never committed nor conspired-to-commit any crime, civil-rights-violation or otherwise abusive-action

           against such accused-person(s) or the private-property(s) owned by such accusecl-person(s).

  02.      such accuser-person(s) have never demonstrated - through actions, conducts, behaviors, policies or practices - any type of animus,

           hostility and/or abuse against such accused-person(s).

  03.      such accuser-person(s) are not involved and have never been involved in any conspiracy-to-interfere-with-civil-rights (whether with

           or without law-enforcement, whether with or without [HOA]) of the accused-person(s).

  04.      such accuser-person(s) have never provided any bit of false-information or misleading-information regarding such accused-person(s)

           or the private-property(s) owned by such accused-person(s) to any other person and/or organization (as a form of will1ess-

           tampering or as part of a conspiracy/collusion) or to any of Defendant [WC]'s deparhnent(s), bureau(s), board(s), commission(s),

           office(s), agency(s), council(s), and/or commissioners-court(s).

  05.      such accuser-person(s) have never, "under color of law" or otherwise, conducted any unlawful and/or unconstitutional search

           and/or seizure of the accused-person(s) private-property, including but not limited to, the unauthorized/nonconsensual

           sharing/dissemination of photograph(s)/video(s) of private/curtilage areas of the accused-person(s) private-property to any other

           person(s) and/or organization(s).

  O6 .     such accuser-person(s) have fully-read and fully-understand all of the text of the [FHA] (codified under [42-USC-C45]), all of the

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      text of the [TFHA] (codified under [TPrC-T I 5-C301 ]), all of the text of the Public-Nuisance-law (codified under [THaSC-T5-SA-

      C343],[THaSC-T5-SA-C34 l ],[THaSC-T5-SB-C365]), all of the text of the Texas law governing restrictive-covenants (codified

      under [TPrC-T 11 ]), and particularly, all of the text of the Texas law goveming property-owners' rights (codified under [TPrC-T l l-

      C202] and [TPrC-T l l-C209]).

07.   such accuser-person(s) are making a completely truthful, accurate and legitimate complaint about the alleged Public-Nuisance-

      violation and/or alleged restrictive-covenant-violation of accused-person(s), that is fully-compliant-with and also not in violation of

      any of the aforementioned laws/rights, and without acting in any discrin1inatory or fraudulent manner, whatsoever, towards the

      accused-person(s).

08.   such accuser-person(s) are making a completely truthful, accurate and legitiniate complaint about the alleged Public-Nuisance-

      violation and/or alleged restrictive-covenant-violation of accused-person(s) within the appropriate statute-of-limitations - as any

      object(s) and/or condition(s) on the accuscd-person(s)' private-prope11y that has existed for a period of two-or-more years in the

      case of alleged Public-Nuisance-violation or for a period of three-or-more years in the case of restrictive-covenant-violation is

      beyond the statute-of-limitations, and thus, unactionable, due to the expiration of such statute-of-limitations. Furthem10re, it is

      incumbent upon the accuser-person(s) to prove by "clear and convincing" evidence that the accuser-person(s) is timely raising such

      legitimate complaint within the appropriate statute-of-limitations.

09.   such accused-person(s), of such alleged Public-Nuisance-violation and/or alleged restrictive-covenant-violation, in committing such

      alleged violation, have acted either with deliberate malice or with deliberate recklessness or or in a brazenly negligent manner

      against the accuser-person(s).

10.   such accused-person(s) have caused demonstrable harm(*) (by "clear and convincing" evidence) or are highly-likely to cause

      harm(*) (by "clear and convincing" evidence), onto such accuser-person(s) by such alleged Public-Nuisance-violation and/or

      alleged restrictive-covenant-violation.


       (*) Any baseless or unsubstantiated allegation by the accuser-person(s) of "reduction ofproperty value(.,)" allegedly caused by the

      accuscd-person(s) and/or the accused-person(s)' private-prope1ty is never to be considered "harm".



       (*) Any baseless or unsubstantiated allegation by the accuser-person(s) that the accuser-person(s) is not able to sell or lease his/her

       private-property because of the accused-person(s) and/or the accused-person(s)' private-property is never to be considered "harm".



       (*) Any allegation by the accuser-person(s) regarding purely aesthetic/cosmetic (thus harmless) violation(s), such as alleged

       ''unsightly condition(s)", especially within private areas of private-property (such as the concealed backyard or the concealed front-

       porch). is never to be considered "harm".


       (*) If there exists an opaque-privacy-fence (of 6-feet-tall or taller) separating any private-or-confined-area of the private-properties

       of the accused-person(s) and the accuser-person(s), and the alleged Public-Nuisance-violation and/or alleged restrictive-covenant-

       violation occurs within such private-or-confined-area confined by such opaque-privacy-fence, then the accuser-person(s) still has

       indisputable proof of such demonstrable harm or the high-likelihood of such harm spreading and/or spilling under, over or through


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       such opaque-privacy-fence from the accused-person(s) private-property and onto the accuser-person(s) private-property.

11 .   This affidavit only applies to alleged, "curable" violations, as defined by [TPrC-T l l-C209], such as:

       ® any parking violation
       @ any maintenance violation
       © any failure to construct improvements or modifications in accordance with approved plans and specifications
       @ any ongoing noise violation such as a barking dog
12 .   Thus, this affidavit does not apply to alleged "uncurable" and/or one-time and/or sporadic and/or randomly-occtming violation(s),

       as defined by [TPrC-T l l-C209], such as, but not limited to:

       ® shooting fireworks
       @ any act constituting a (inunediate) threat to health or safety

       © any noise violation that is not ongoing
       @ property damage, including the removal or alteration of landscape
       ® holding a garage sale or other event prohibited by a dedicato1y instrument
13.    A verbatim copy of this affidavit by the accuser-person(s) shall be delivered both by certified-mail-return-receipt-requested and by

       regular-mail to the accused-person(s), at least 30 days prior to the accuser-person(s) proceeding in filing such official complaint of

       Public-Nuisance-violation and/or resh·ictive-covenant-vio\ation, with the accuser-person(s) providing the accused-person(s) with

       such 30-day-time-period for such accused-person(s) to either cure/abate the alleged violation and/or for such accused-person(s) to

        provide other written-response directly-addressing and/or denying such alleged violation by both certified-mail-return-receipt-

        requested and by regular-mail both to the accuser-person(s).

 14.   If, after having "clear and convincing" evidence that the accused-person(s) has not provided any such adequate written-response

        directly-addressing such alleged violation (in such affidavit) and that the accused-person(s) maliciously, recklessly or negligently

        failed to cure/abate the alleged harmful violation at the end of the 30-day-period, the accuser-person(s) fails to file a complaint

        against the accused-person(s), in the case of an alleged Public-Nuisance-violation, within 2 years after the termination of the

        aforementioned 30-day-period or, in the case of an alleged restrictive-covenant-violation, within 3 years after the termination of the

        aforementioned 30-day-period, the accused-person(s) pennanently waives his/her right to file such complaint, at the very least, on

        that originally-raised allegation, as a result of the expiration of the statute-of-limitations.




<.11815
Awards appropriate fees, costs and monetary damages - as specified in the following section(s) - to the plaintiff that was harmed by the

Defendants' egregiously-violative, cumulative and aggregate actions, conducts, behaviors, policies and practices against the plaintiff from the

years of {2009} through {2023} (detailed in this complaint), as authorized by [42-USC-C45-Sl-§36 l 3] and [TPrC-Tl 5-C30l-SH-§301.153)

and [18-USC-PI-C96-§l964] and [42-USC-C2l-SI-§1983] and [42-USC-C21-SI-§1985] and [42-USC-C21-SI-§l988).




1816
Granting the preliminaty ex-parte gag order, and the preliminary ex-parte protective orders sought by the plaintiff - as fully detailed in a

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following section (see section below).



i817

Granting plaintiff such additional and further relief as the interest-of-justice may require.




                                                                    §XXXVII

                   REQUESTED RELIEF: DAMAGES, FEES AND COSTS


i818
The plaintiff seeks any-and-all reasonable attorneys' fees, any-and-all expert-wih1ess fees, and any-and-all costs associated with all aspects of

the filing and litigation of this lawsuit from all of the defendants, as per:

01.     [42-USC-C45-SJ-§3613(c)(2)],[TPrC-T15-C301-§301.153(2,3)] concerning defendants' numerous [FHA],[TFHA] violations against

        plaintiff; AND
02 .    [42-USC-C21-Sl-§ I 988(b)] concerning defendants' numerous deprivation-of-rights-under-color-of-law violations against plaintiff under

        the [KKKA]:§1983 ; AND

03.     [42-USC-C21-Sl-§l 988(b)] concerning defendants' numerous conspiracy-to-interfere-with-civil-rights violations against plaintiff under

        the [KKKA]:§1985; AND

 04.    [l8-USC-PI-C96-§1964(c)] concerning defendants' numerous [RlaCOA] violations ab>ainst plaintiff; AND

 05 .   [42-USC-C2 l-SI-§ l 988(b)] concerning defendants' numerous violations of plaintift's property-rights-of-citizens under the

        [CRAol866]:§1982; AND

 06.    [42-USC-C21-SI-§1988(b,c)] concerning defendants' numerous violations of plaintiffs equal-rights-under-the-law under the

        [CRAol866]:§1981 ; AND

 07.    [42-USC-C21-SV-§2000d-7] concerning defendants' numerous discrimination-under-federally-assisted-programs violations against

        plaintift's under [42-USC-C2 l-SV-§2000d].




 i819
 The plaintiff asse11s that the prin1ary-defendants - [WC], [JSP&KAP], [RSR], [WCCO], [WCSO], and [WCCHD] - are jointly and severally

 liable lo the plaintiff for the primary-defendants' violations of federal laws, stale laws and the common-law against the plaintiff because these

 defendants acted "in concert with" each other in-order-to:


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® violate the plaintiffs rights ; AND
® deprive the plaintiff of the plaintiffs rights ; AND
© conpsire to interfere with the plaintiffs rights ; AND
@ directly injure the plaintiff; AND
® conspire to injure the plaintiff; AND
® injure the plaintiff in the plaintiffs businesses ; AND
@ consph-e to injure the plaintiff in the plaintiffs businesses; AND
<Bl injure the plaintiff in the plaintiffs properties ; AND
CD consph-e to injure the plaintiff in the plaintiffs properties -


- under those laws.



<[820
From defendant [WC], the plaintiff seeks:



®       punitive damages for defendant [WC]'s numerous violations of the [FHA] and [TFHA] against the plaintiff as authorized by [42-USC-

C45-SJ-§3613( e)(l )] and [TPrC-Tl5-C301-§301.153(1)] (respectively)- with the specific amount(s) awarded in punitive damages to be

determined by the Jmy in this case.



®       compensatmy damages of $2,097,152 for defendant [WC]'s:

 01 .    numerous violations of the [FHA],[TFHA] against the plaintiff as per [42-USC-C45-SJ-§3613(c)(I )],[TPrC-Tl 5-C301-§301.153( I)].

02.      numerous violations of the [KKKA]:§1983 (Deprivation-Of-Rights-Under-Color-of-Law) against the plaintiff as per [42-USC-C21-Sl-

         §1983],[42-USC-C21-SI-§l988] and [18-USC-PI-Cl3-§242].

 03.     numerous violations of the [KKKA]:§1985 (Conspiracy-To-Interfere-With-Civil-Rights) against the plaintiff as per [42-USC-C21-SI-

         §1985],[42-USC-C21-SI-§1988] and [18-USC-Pl-Cl3-§241 ].

 04.     numerous violations of the [RlaCOA] against the plaintiff as per [18-USC-PI-C96-§1964].

 05 .    numerous violations of the [CRAo l 866]:§1982 (Property-Rights-Of-Citizens) against the plaintiff as per [42-USC-C21-SI-§l 982],[42-

         USC-C2 l-SI-§ I 988].

 06.     numerous violations of the [CRAol866]:§1981 (Equal-Rights-Under-The-Law) against the plaintiff as per [42-USC-C21-Sl-§1981],[42-

         USC-C21-Sl-§ 1988].

 07.     numerous violations of the [CRAol964]:§2000d (Discrimination-under-Federally-Assisted-Programs) against the plaintiff as per [42-

         USC-C21-SV-§2000d],[42-USC-C21-SV-§2000d-7].

 08.     numerous violations against the plaintiff of the Intimidation/Interference law specified in [42-USC-C45-SI-§3617],[42-USC-C45-S11-

          §363 I ],[TPrC-Tl 5-C30l-SI-§301.171 ].

 09.      numerous violations against the plaintiff of the Discrimination law specified in [TCPaRC-T5-Cl 06].

 10 .     numerous violations against the plaintiff of the Racial-Profiling law specified in [TCoCP-T l-C2-A2.13 l].

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11 .   numerous violations against the plaintiff of the Disorderly-Conduct/Harassment/Stalking law specified in [TPeC-T9-C42-§42.0 I],

       [TPeC-T9-C42-§42.07],[TPeC-T9-C42-§42.072).

12.    numerous violations against the plaintiff of the Obstrnction/Retaliation law specified in [l 8-USC-PI-C73-§l 503),[ I 8-USC-Pl -C73-

       § I 513],[TPeC-T8-C36-§36.06).
13 .   numerous vio lations against the plaintiff of the Witness-Intimidation/Witness-Tampering law specified in [ 18-USC-P I-C73-§ 15 12),

       [TPeC-T8-C36-§36.05].

14 .   one-or-more violations against the plaintiff of the Fabricated-Evidence law specified in [ I 8-USC-PI-C73-§ 1503),[ I 8-USC-PI-C73-

       §1519],[TPeC-T8-C37-§37 .09].

15.    numerous violations against the plaintiff of the Fraud law specified in [18-USC-PI-C63-§1341),[18-USC-PI-C63-§1343],[TPeC-T7-

       C32].

16 .   numerous violations against the plaintiffof the Blackmail/Extortion law specified in [ l 8-USC-PI-C4 l -§873],[TPeC-T7-C3 I].

17 .   numerous violations against the plaintiff of the Interference-with-Commerce-by-Threats-or-Violence law specified in [ l 8-USC-Pl-C95-

       § l 951 ],[l 8-USC-PI-C95-§ 1959).

18.    numerous violations against the plaintiff of the Interference-with-Federally-Protected-Activities law specified in [ I 8-USC-PI-Cl3-

       §245] (0) .

19.    numerous vio lations against the plaintiff of the Abuse-of-Office law specified in [TPeC-T8-C39-§39.03],[TPeC-T8-C39-§39.02),

       [TPeC-T8-C39-§39.06].

2 O.   numerous violations against the plaintiff of the Criminal-Conspiracy law specified in [TPeC-T4-C 15-§ 15.02].

21 .   numerous violations against the plaintiff of the Obstruction-of-Justice law specified in [ 18-USC-P I-C73-§ 1503].

22.    infliction-of-severe-emotional-distress/psychological-trauma/mental-anguish (extreme pain-and-suffering spanning over 12 years),

       negligent-infliction-of-severe-emotional-distress/psychological-trauma/mental-anguish (extreme pain-and-suffering spanning over 12

       years), loss-of-enjoyment-of-life, fraud, false-imprisonment/detention, breach-of-duty, malfeasance, malpractice, defamation,

        trespassing, invasion-of-privacy, intrusion-upon-physical-solitude, public-disclosure-of-private-facts, breach-of-confidence, abuse-of-

        process, abuse-of-position-of-tmst, selective-enforcement, tortious-interference, restraints-on-trade, conspiracy/collusion - all, against the

        plaintiff.




 1821
 From defendants [JSP&KAP], the plaintiff seeks:



 ®     punitive damages for defendants [JSP&KAP]'s numerous violations of the [FHA] and [TFHA] against the plaintiff as authorized by [42-

 USC-C45-SI-§3613(c)( l )] and [TPrC-Tl5-C301-§30l.l53(1)] (respectively) - with the specific amount(s) awarded in punitive damages to be

 determined by the Jury in this case.



 ®     compensatory damages of $4, 194,304 for defendants [JSP&KAP]'s:

 01.    numerous violations of the [FHA],[TFHA] against the plaintiff as per [42-USC-C45-SJ-§3613(c)( l)],[TPrC-Tl5-C301 -§30 1.1 53(1 )].


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02 .    numerous violations of the [KKKA]:§1983 (Deprivation-Of-Rights-Under-Color-of-Law) against the plaintiff as per [42-USC-C2 1-Sl-

        § I 983],[42-USC-C21-SI-§l 988] and [ 18-USC-Pl-C 13-§242].

03.     numerous violations of the [KKKA]:§1985 (Conspiracy-To-Interfere-With-Civil-Rights) against the plaintiff as per [42-USC-C21-Sl-

        §1985],[42-USC-C21-SI-§1988] and [18-USC-PI-C13-§24 I].

04 .    numerous violations of the [RlaCOA] against the plaintiff as per [ 18-USC-Pl-C96-§ 1964].

05 .    numerous violations of the [CRAo I 866]:§ 1982 (Property-Rights-Of-Citizens) against the plaintiff as per [42-USC-C21-SI-§ 1982],[42-

        USC-C2 l-SI-§ 1988].

06.     numerous violations of the [CRAo I 866]:§1981 (Equal-Rights-Under-The-Law) against the plaintiff as per [42-USC-C21-SI-§I 98 l],[42-

        USC-C21-SI-§ 1988].

07.     numerous violations of the [CRAo1964]:§2000d (Discrimination-under-Federally-Assisted-Programs) against the plaintiff as per [42-

        USC-C2 1-SV-§2000d],[42-USC-C2 I-SV-§2000d-7].

08.     multiple violations of the [HCPA] against the plaintiff as per [18-USC-PI-Cl3-§249].

O9 .    numerous violations of the [CHCA] against the plaintiff as per [ I 35-USSaL-265].

10 .    numerous violations against the plaintiff of the Intimidation/Interference law specified in [42-USC-C45-SI-§3617],[42-USC-C45-SII-

        §3631 ],[TPrC-T I 5-C30l-Sl-§301.171].

11.     numerous violations against the plaintiff of the Disorderly-Conduct/Harassment/Stalking law specified in [TPeC-T9-C42-§42.0l],

        [TPeC-T9-C42-§42.07],[TPeC-T9-C42-§42.072].

12.     numerous violations against the plaintiff of the Assault/Te1rnristic-Threats law specified in [TPeC-T5-C22-§22.01],[TPeC-T5-C22-

        §22.07].

13 .    numerous violations against the plaintiff of the Criminal-Mischief law specified in [TPeC-T7-C28-§28.03].

14 .    numerous violations against the plaintiff of the Obstruction/Retaliation law specified in [ I 8-USC-PI-C73-§ 1503],[ 18-USC-P I-C73-

        §1513],[TPeC-T8-C36-§36.06].

 15 .   numerous violations against the plaintiff of the Witness-Intimidation/Witness-Tampering law specified in [ I 8-USC-PI-C73-§ 15 12],

         [TPeC-T8-C36-§36. 05].

 16 .   numerous violations against the plaintiff of the Evidence-Tampering/Fabricated-Evidence law specified in [ I 8-USC-PI-C73-§ I 503],[ 18-

        USC-P I-C73-§ I 519],[TPeC-T8-C37-§37 .09].

 17 .   multiple violations against the plaintiff of the Fraud law specified in [ I 8-USC-PI-C63-§J34 l],[ I 8-USC-Pl-C63-§ I 343],[TPeC-T7-C32].

 18 .    numerous violations against the plaintiff of the Blackmail/Extortion law specified in [ I 8-USC-PI-C41-§873],[TPeC-T7-C31].

 19.     numerous violations against the plaintiff of the Interference-with-Conunerce-by-Threats-or-Violence law specified in [ 18-USC-PI-C95-

         §l 951 ],[ I 8-USC-Pl-C95-§l 959].

 20 .    numerous violations against the plaintiff of the Interference-with-Federally-Protected-Activities law specified in [ I 8-USC-PI-C 13-

         §245] (0) .
 21.     numerous violations against the plaintiff of the Impersonator-Making-Arrest-or-Search and/or Impersonating-Public-Servant law

         specified in [18-USC-Pl-C43-§9 13],[TPeC-T8-C37-§37. l I].

 22.     nmnerous violations against the plaintiff of the Criminal-Conspiracy law specified in [TPeC-T4-C15-§15.02].

 23.     numerous vio lation s against the plaintiff of the Obstruction-of-Justice law specified in [18-USC-Pl-C73-§1503].

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24.     infliction-of-severe-emotional-distress/psychological-trauma/mental-anguish (extreme pain-and-suffering spanning over 13 years),

        negligent-infliction-of-severe-emotional-distress/psychological-trauma/mental-anguish (extreme pain-and-suffering spanning over 13

        years), loss-of-enjoyment-of-life, fraud, false-imprisonment/detention, defamation, trespassing, invasion-of-privacy, intrnsion-upon-

        physical-solitude, public-disclosure-of-private-facts, breach-of-confidence abuse-of-process, tortious-inte1ference, restraints-on-trade,
                                                                                      1




         conspiracy/collusion - all, against the plaintiff.




'][822
From defendant [RSR], the plaintiff seeks:



®       punitive damages for defendant [RSR]'s numerous violations of the [FHA] and [TFHA] against the plaintiff as authorized by [42-USC-

C45-SI-§3613(c)(I)] and [TPrC-TI5-C301-§30l.153(1)] (respectively) - with the specific amount(s) awarded in punitive damages to be

determined by the Jury in this case.



@       compensatory damages of$3,145,728 for defendant [RSR]'s:
01 ,     numerous violations of the [FHA],[TFHA] against the plaintiff as per [42-USC-C45-SI-§36 I 3( c)( I )],[TPrC-TI 5-C301-§30 l.153( I)].

02,      numerous violations of the [KKKA]:§1983 (Deprivation-Of-Rights-Under-Color-ot~Law) against the plaintiff as per [42-USC-C21-SI-

         §1983],[42-USC-C21-SI-§1988] and [18-USC-PI-C13-§242].

03.      numerous violations of the (KKKA]:§1985 (Conspiracy-To-Interfere-With-Civil-Rights) against the plaintiff as per [42-USC-C21-Sl-

         §1985],[42-USC-C21-SI-§1988] and [18-USC-PI-CI3-§241].

04.      numerous violations of the [RlaCOA] against the plaintiff as per [18-USC-PI-C96-§1964].

05.      numerous violations of the [CRAo1866]:§1982 (Property-Rights-Of-Citizens) against the plaintiff as per [42-USC-C21-SI-§1982],[42-

         USC-C21-SI-§ 1988].

06.      numerous violations of the [CRAol866]:§1981 (Equal-Rights-Under-The-Law) against the plaintiff as per [42-USC-C21-SI-§1981],[42-

         USC-C21-SI-§1988].

07.      numerous violations of the [CRAol964]:§2000d (Discrin1ination-under-Federally-Assisted-Programs) against the plaintiff as per [42-

         USC-C21-SV-§2000d],[42-USC-C2 l-SV-§2000d-7].

O8 .      numerous violations against the plaintiff of the Intimidation/Interference law specified in [42-USC-C45-SI-§3617],[42-USC-C45-Sll-

          §363 l ],[TPrC-T l 5-C301-SI-§30 I. 171 ].

 09 .     numerous violations against the plaintiff of the Disorderly-Conduct/Harassment/Stalking law specified in (TPeC-T9-C42-§42.0 I],

          [TP eC-T9-C42-§42. 07],[TP eC-T9-C42-§42. 072].

 10.      one-or-more violations against the plaintiff of the Assault/Terroristic-Threats law specified in (TPeC-T5-C22-§22.01],[TPeC-T5-C22-

          §22.07].

 11.      one-or-more violations against the plaintiff of the Criminal-Mischief law specified in [TPeC-T7-C28-§28.03].

 12.      numerous violations against the plaintiff of the Obstruction/Retaliation law specified in (18-USC-PI-C73-§1503],(18-USC-PI-C73-

          §1513],[TPeC-T8-C36-§36.06].


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13.     numerous violations against the plaintiff of the Witness-Intimidation/Witness-Tampering law specified in [ 18-USC-P I-C73-§ 1512],

        [TPeC-T8-C36-§36.05J.

14.     numerous violations against the plaintiff of the Evidence-Tampering law specified in [18-USC-PI-C73-§1503],[18-USC-Pl-C73-§l 519],

        [TPeC-T8-C37-§37.09J.
15.     numerous violations against the plaintiff of the Fraud law specified in [l 8-USC-PI-C63-§1341],[l 8-USC-PI-C63-§ I 343],[TPeC-T7-

        C32].

16 .    numerous violations against the plaintiff of the Blackmail/Extortion law specified in [18-USC-PI-C4 l-§873],[TPeC-T7-C3 I].

17 .    numerous violations against the plaintiff of the lnterference-with-Commerce-by-Threats-or-Violence law specified in [ l8-USC-PI-C95-

        §l 951 ],[ I 8-USC-PI-C95-§1959].

18.     numerous violations against the plaintiff of the Interference-with-Federally-Protected-Activities law specified in [I 8-USC-PI-Cl3-

        §245) (0) .

19.     multiple violations against the plaintiff of the Impersonator-Making-Arrest-or-Search and/or Impersonating-Public-Servant law specified

        in [ 18-USC-PI-C43-§913),[TPeC-T8-C37-§37. l I).

20.     numerous violations against the plaintiff of the Criminal-Conspiracy law specified in [TPeC-T4-Cl5-§15.02].

21.     numerous violations against the plaintiff of the Obstruction-of-Justice law specified in [18-USC-PI-C73-§1503).

22.     infliction-of-severe-emotional-distress/psychological-trauma/mental-anguish (extreme pain-and-suffering spanning over 14 years),

        negligent-infliction-of-severe-emotional-distress/psychological-trauma/mental-anguish (extreme pain-and-suffering spanning over 14

        years), loss-of-enjoyment-of-life, fraud, false-imprisonment/detention, defamation, trespassing, invasion-of-privacy, intrusion-upon-

         physical-solitude, public-disclosure-of-private-facts, breach-of-confidence, abuse-of-process, tortious-interference, restraints-on-trade,

         conspiracy/collusion - all, against the plaintiff.




i823
From defendant [WCCO), the plaintiff seeks:



®       punitive damages for defendant [WCCO]'s numerous violations of the [FHA] and [TFHA] against the plaintiff as authorized by [42-USC-

C45-Sl-§3613(c)( I)] and [TPrC-Tl5-C301-§301.153(1 )] (respectively) - with the specific amount(s) awarded in punitive damages to be

determined by the Jmy in this case.



®       compensato1y damages of $1,048,576 for defendant [WCCO]'s:

 01.     numerous violations of the [FHA],[TFHA] against the plaintiff as per [42-USC-C45-SI-§36 I 3(c)(l)),[TPrC-T 15-C301-§301. I 53(1)).

 02 .    numerous violations of the [KKK.A]:§ I 983 (Deprivation-Of-Rights-Under-Color-of-Law) against the plaintiff as per [42-USC-C21-SI-

         § 1983],[42-USC-C2 I-SI-§l 988] and [ 18-USC-PI-CI 3-§242).

 03.     numerous violations of the [KKKA]:§ 1985 (Conspiracy-To-Interfere-With-Civil-Rights) against the plaintiff as per [42-USC-C21-Sl-

         §l 985],[42-USC-C21-Sl-§ J988] and [I 8-USC-PI-CJ3-§24 l).

 04.     numerous violations of the [RlaCOA] against the plaintiff as per [l8-USC-PI-C96-§1964).


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05.    numerous violations of the [CRAol 866]:§1982 (Property-Rights-Of-Citizens) against the plaintiff as per [42-USC-C2 l-Sl-§ I982],[42-

       USC-C2 l-SI-§ 1988].
O6.    numerous violations of the [CRAo 1866]:§ I 981 (Equal-Rights-Under-The-Law) against the plaintiff as per [42-USC-C2 I-SI-§ 1981 ],[42-

       USC-C2 I-SI-§ 1988].
07 .   numerous violations of the [CRAo l 964]:§2000d (Discrimination-under-Federally-Assisted-Programs) against the plaintiff as per [42-

       USC-C2 l-SV-§2000d],[42-USC-C21-SV-§2000d- 7].

08.    numerous violations against the plaintiffof the Intimidation/Interference law specified in [42-USC-C45-Sl-§3617],[42-USC-C45-Sll-

       §363 I ],[TPrC-TI 5-C301-Sl-§301. l 71].

09 .   numerous violations against the plaintiff of the Discrimination law specified in [TCP aRC-T 5-C 106].

10 .   numerous violations against the plaintiff of the Racial-Profiling law specified in [TCoCP-T l-C2-A2. I 3 l].

11 .   numerous violations against the plaintiff of the Disorderly-Conduct/Harassment/Stalking law specified in [TPeC-T9-C42-§42.0 l],

       [TPeC-T9-C42-§42.07],[T PeC-T9-C42-§42.072].

12 .   numerous violations against the plaintiff of the Obstruction/Retaliation law specified in [ l 8-USC-Pl-C73-§ I 503],[ l 8-USC-PI-C73-

       § l 5 I 3],[TPeC-T8-C36-§36.06].
13 .   numerous violations against the plaintiff of the Witness-Intimidation/Witness-Tampering law specified in [ 18-USC-P I-C73-§ 1512],

       [TPeC-T8-C36-§36.05].

14.    one-or-more violations against the plaintiffofthe Fabricated-Evidence law specified in [18-USC-PI-C73-§1503],[18-USC-PI-C73-

       §1519],[TPeC-T8-C37-§37.09].

15.    numerous violations against the plaintiff of the Fraud law specified in [18-USC-Pl-C63-§1341],[18-USC-Pl-C63-§1343],[TPeC-T7-

       C32].
16 .    numerous violations against the plaintiff of the Blackmail/Extortion law specified in [18-USC-PI-C4 l-§873],[TPeC-T7-C3 l].

17.     numerous violations against the plaintiff of the Interference-with-Commerce-by-Threats-or-Violence law specified in [18-USC-Pl-C95-

        §1951],[18-USC-PI-C95-§1959].

18 .    numerous violations against the plaintiff of the Interference-with-Federally-Protected-Activities law specified in [ 18-USC-PI-C 13-

        §245] (0) .
19.     numerous violations against the plaintiff of the Abuse-of-Office law specified in [TPeC-T8-C39-§39.03],[TPeC-T8-C39-§39.02],

        [TPeC-T8-C39-§39.06].

 20.    numerous violations against the plaintiff of the Criminal-Conspiracy law specified in [TPeC-T4-Cl5-§15.02].

 21.    numerous violations against the plaintiff of the Obstruction-of-Justice law specified in [18-USC-Pl-C73-§1503].

 22.    infliction-of-severe-emotional-dish·ess/psychological-trauma/mental-anguish (exh·eme pain-and-suffering spanning over 8 years),

        negligent-infliction-of-severe-emotional-distress/psychological-trauma/mental-anguish (extreme pain-and-suffering spanning over 12

        years), loss-of-enjoyment-of-life, fraud, false-imprisonment/detention, breach-of-duty, malfeasance, malpractice, defamation,

        trespassing, invasion-of-privacy, intrusion-upon-physical-solitude, public-disclosure-of-private-facts, breach-of-confidence, abuse-of-

        process, abuse-of-position-of-trnst, selective-enforcement, tortious-interference, restraints-on-trade, conspiracy/collusion - all, against the

        plaintiff.



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1824
From defendant [WCCHD], the plaintiff seeks:



®      punitive damages for defendant [WCCHD)'s numerous violations of the [FHA] and [TFHA] against the plaintiff as authorized by [42-

USC-C45-SI-§3613(c)(l )] and [TPrC-Tl5-C301-§301.153(1)] (respectively) -with the specific amount(s) awarded in punitive damages to be

determined by the Jmy in this case.



@      compensatory damages of $1,048,576 for defendant [WCCHD]'s:
01 .    numerous violations of the [FHA],[TFHA] against the plaintiff as per [42-USC-C45-SI-§36 l 3(c)( l )],[TPrC-T l 5-C301-§301.153(1 )].

02.     numerous violations of the [KKKA]:§1983 (Deprivation-Of-Rights-Under-Color-of-Law) against the plaintiff as per [42-USC-C21-SI-

        §1983],[42-USC-C21-SI-§1988] and [18-USC-PI-CI3-§242].

03.     numerous violations of the [KKKA]:§1985 (Conspiracy-To-Inte1fere-With-Civil-Rights) against the plaintiff as per [42-USC-C21-SI-

        §1985],[42-USC-C21-SI-§1988] and [18-USC-PI-CI3-§241].

04.     numerous violations of the [RlaCOA] against the plaintiff as per [18-USC-PI-C96-§1964].

05.     numerous violations of the [CRAol866]:§1982 (Property-Rights-Of-Citizens) against the plaintiff as per [42-USC-C21-SI-§1982],[42-

        USC-C21-SI-§ 1988].

06.     numerous violations of the (CRAol866]:§1981 (Equal-Rights-Under-The-Law) against the plaintiff as per [42-USC-C21-SI-§1981],[42-

        USC-C21-SI-§1988].

07 .    numerous violations of the [CRAo 1964]:§2000d (Discrimination-under-Federally-Assisted-Programs) against the plaintiff as per [42-

        USC-C21-SV-§2000d],[42-USC-C21-SV-§2000d-7].

08.     numerous violations against the plaintiff of the Intimidation/Interference law specified in [42-USC-C45-Sl-§3617],[42-USC-C45-SII-

         §3631 ],[TPrC-Tl 5-C301-SI-§301.171].

09.      numerous violations against the plaintiff of the Discrimination law specified in (TCPaRC-T5-Cl06].

l O • numerous violations against the plaintiff of the Racial-Profiling law specified in [TCoCP-T l -C2-A2.13 l ].
ll .     numerous violations against the plaintiff of the Disorderly-Conduct/Harassment/Stalking law specified in [TPeC-T9-C42-§42.01 ],

         [TP eC-T9-C42-§42.07],[TPeC-T9-C42-§42.072].

12.      numerous violations against the plaintiff of the Obstruction/Retaliation law specified in [18-USC-Pl-C73-§1503],(18-USC-PI-C73-

         §1513],(TPeC-T8-C36-§36.06].

 13.     numerous violations against the plaintiff of the Witness-Intimidation/Witness-Tampering law specified in [18-USC-PI-C73-§1512],

         [TPeC-T8-C36-§36.05].

 14.     numerous violations against the plaintiffofthe Fraud law specified in [18-USC-PI-C63-§1341],[18-USC-PI-C63-§1343],[TPeC-T7-

         C32].
 15.     numerous violations against the plaintiff of the Blackmail/Extortion law specified in [18-USC-PI-C41-§873],[TPeC-T7-C3 l].

16.      multiple violations against the plaintiff of the Interference-with-Commerce-by-Threats-or-Violence law specified in [18-USC-PI-C95-

         §195I ],[! 8-USC-PI-C95-§ I 959].

 17.     multiple violations against the plaintiff of the Interference-with-Federally-Protected-Activities law specified in (18-USC-PI-CI3-
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       §245] (Cl).

18.    numerous violations against the plaintiff of the Abuse-of-Office law specified in [TPeC-T8-C39-§39.03],[TPeC-T8-C39-§39.02],

       [TPeC-T8-C39-§39.06].

19.    multiple violations against the plaintiff of the Criminal-Conspiracy law specified in [TPeC-T 4-C 15-§15.02].

20.    numerous violations against the plaintiff of the Obsnuction-of-Justice law specified in [18-USC-PI-C73-§1503].

21 .   infliction-of-severe-emotional-distress/psychological-trauma/mental-anguish (extreme pain-and-suffering spanning over 10 years),

       negligent-infliction-of-severe-emotional-dish·ess/psychological-trauma/mental-anguish (extreme pain-and-suffering spanning over I0

       years), loss-of-enjoyment-of-life, fraud, false-imprisonment/detention, breach-of-duty, malfeasance, malpractice, defamation,

        trespassing, invasion-of-privacy, inh·usion-upon-physical-solitude, public-disclosure-of-private-facts, breach-of-confidence, abuse-of-

        process, abuse-of-position-of-trust, selective-enforcement, tortious-interference, restraints-on-trade, conspiracy/collusion - all, against the

        plaintiff.




i825
From defendant [WCSO], the plaintiff seeks:



®      punitive damages for defendant [WCSOJ's numerous violations of the [FHA] and [TFHAJ against the plaintiff as authorized by [42-USC-

C45-SI-§3613(c)(l)J and [TPrC-Tl5-C30l-§301.153(1)] (respectively) -with the specific amount(s) awarded in punitive damages to be

determined by the Jury in this case.



®      compensatmy damages of$l,048,576 for defendant [WCSO]'s:

01 •    numerous violations of the [FHAJ,[TFHA] against the plaintiff as per [42-USC-C45-SI-§36 l 3(c)( l )],[TPrC-T l 5-C30 l-§30 l .153(! )].

02.     numerous violations of the [KKKAJ:§1983 (Deprivation-Of-Rights-Under-Color-of-Law) against the plaintiff as per [42-USC-C2!-SI-

        §I 983],[42-USC-C21-SI-§l 988] and [ l 8-USC-PI-Cl3-§242].

03.     numerous violations of the [KKKA]:§1985 (Conspiracy-To-Interfere-With-Civil-Rights) against the plaintiff as per [42-USC-C2l-SI-

        §l 985],[42-USC-C2l-SI-§l988] and [l8-USC-PI-C13-§24l].

04.     numerous violations of the [RlaCOA] against the plaintiff as per [l8-USC-PI-C96-§1964].

05.     numerous violations of the [CRAol866]:§l 982 (Prope11y-Rights-Of-Citizens) against the plaintiff as per [42-USC-C2l-SI-§1982],[42-

        USC-C2l-Sl-§l988].

06.     numerous violations of the [CRAo 1866]:§ 198 l (Equal-Rights-Under-The-Law) against the plaintiff as per [42-USC-C2 l-Sl-§l 98 l ],[42-

        USC-C2 l-SI-§l 988].

07.     numerous violations of the [CRAol964]:§2000d (Discrimination-under-Federally-Assisted-Programs) against the plaintiff as per [42-

        USC-C2l-SV-§2000d],[42-USC-C2 l -SV-§2000d-7].

08.     numerous violations against the plaintiff of the Intimidation/Interference law specified in [42-USC-C45-SI-§3617],[42-USC-C45-Sll-

        §363 l ],[TPrC-Tl 5-C30 l-SI-§30 l .17 l].

O9.     numerous violations against the plaintiff of the Discrimination law specified in [TCPaRC-T5-C l 06].


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10.    numerous violations against the plaintiff of the Racial-Profiling law specified in [TCoCP-T I-C2-A2. 13 I).

11 .   numerous violations against the plaintiff of the Disorderly-Conduct/Harassment/Stalking law specified in [TPeC-T9-C42-§42.0 I],

       [TPeC-T9-C42-§42.07],[TPeC-T9-C42-§42.072J.

12 .   numerous violations against the plaintiff of the Obstruction/Retaliation law specified in [ I 8-USC-PI-C73-§ I 503],[ I 8-USC-PI-C73-

       §15 l 3],[TPeC-T8-C36-§36.06).

13 .   numerous violations against the plaintiff of the Witness-Intimidation/Witness-Tampering law specified in [ l 8-USC-PI-C73-§ 1512],

       [TPeC-T8-C36-§36.05).

14 .   numerous violations against the plaintiff of the Fraud law specified in [l 8-USC-PI-C63-§1341],[l 8-USC-PI-C63-§ l 343],[TPeC-T7-

       C32).

15.    numerous violations against the plaintiff of the Blackmail/Extortion law spec ified in [18-USC-PI-C41-§873),[TPeC-T7-C31].

16 .   numerous violations against the plaintiff of the Interference-with-Conunerce-by-Threats-or-Yiolence law spec ified in [ l 8-USC-PI-C95-

       §1951 ],[ 18-USC-PI-C95-§ I 959).

17.    numerous violations against the plaintiff of the Interference-with-Federally-Protected-Activities law specified in [18-USC-Pl-C l3-

        §245] ( 0 ) .

18.     numerous violations against the plaintiff of the Abuse-of-Office law specified in [TPeC-T8-C39-§39.03],[TPeC-T8-C39-§39.02],

        [TPeC-T8-C39-§39.06].

19 .    numerous violations against the plaintiff of the Criminal-Conspiracy law specified in [TPeC-T4-C15-§15.02].

2 O.    numerous violations against the plaintiff of the Obstt·uction-of-Justice law specified in [ l 8-USC-PI-C73-§ 1503).

21 .    infliction-of-severe-emotional-dish·ess/psychological-trauma/mental-anguish (exh·eme pain-and-suffering spanning over 12 years),

        negligent-infliction-of-severe-emotional-distress/psychological-trauma/menta l-anguish (extreme pain-and-suffering spanning over 12

        years), loss-of-enjoyment-of-life, fraud, false-imprisonment/detention, breach-of-duty, malfeasance, malpractice, defamation,

        trespassing, invasion-of-privacy, intrusion-upon-physical-solitude, public-disclosure-of-private-facts, breach-of-confidence, abuse-of-

        process, abuse-of-position-of-llust, selective-enforcement, tortious-interference, restraints-on-trade, conspiracy/collusion - all, against the

        plaintiff.




                                                                     §XXXVIII

       REQUESTED RELIEF: PRELIMINARY EX-PARTE GAG ORDER AND

                        PRELIMINARY EX-PARTE PROTECTIVE ORDERS


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Pursuant to [42-USC-C45-SI-§3613(c)], ''Relief which may be granted", which states in part: "((the court.finds that a discriminato1J' housing

practice has occurred or is about to occur, the court ... may grant as relief, as the court deems appropriate, any permanent or tempora,J•

injunction, temporary restraining orde,~ or other order (including an order enjoining the defendant from engaging in such practice or

ordering such affirmative action as may be appropriate)", the plaintiff seeks the following preliminary ex-parte protective orders from this

Court:



1827
Due to the conupt, malicious, predatory, conspiratorial, discriminatory and retaliatory acts that the plaintiff alleges the defendants to have

engaged in against the plaintiff, and pursuant to (Federal Rules of Evidence :                            Rule 615 . Exclu ding Witnesses] ,

informally known as the "Rule ofSequestration", the plaintiff seeks a preliminary ex-parte gag order from this court, effective at the earliest

possible date, prohibiting any party - plaintiff or defendants - from all of the following acts:

® making any extrajudicial statement about any aspect of this case ; AND
® communicating-with - outside of the legally-permissible, supervised processes of discove1y/depositions/subpoenas/courtroom-testimony and
other legal-proceedings for this case - any non-party witnesses in this case in-order-to discuss any aspect of tl1is case.



The primmy purpose of this ex-parte gag order is to ensure that all parties - plaintiff and defendants - are prohibited from conspiring-to or

acting-to strategize and/or coordinating-their-course-of-action with any witness(s) or potential witness(s) in-order-to affect the outcome of this

case. Another purpose of this ex-parte gag order is to prohibit any party - plaintiff or defendants - from tampering with the jury pool, for

example, by making extrajudicial statement(s) about any aspect of this case. At a minimum, the plaintiff, the defendants and any non-party

witnesses that testify and/or produce records/information in this case should be able to swear under oath ("under penalty ofp e1:jwy'') during

discove1y/depositions/motions/trial/etc that they did not violate this gag order. The list of potential non-party witnesses includes, but is not

 limited to, all of the named witnesses listed in this complaint (even if identified only by their initials, in-order-to to protect their privacy), all of

 the parties listed in the "IMPLICATED NON-PARTIES" section (see above), all of the unidentified witnesses beginning with acronym "[U, as

 indiciated in the section(s) above, and all of the following:

01 .     Any current or former board member of the [SPOA].

 02.     Any current or.former [SPOA] property-management-company employee from any current or former [SPOA] property-management-

         company (including, but not limited to: [RealManage], [SAM]),

 03 .    Any current or former attorney, paralegal or other employee from the law-firm(s) representing the [SPOA].

 04 .    Any current or former resident of [521LSLTX78641).

 05.     Any current or former resident of [525LSLTX78641] .

 06.     Any current or former resident of[529LSLTX78641].

 07 .    Any current or former resident of [773KLLTX7864 l].

 08 .    Any ctment or former resident of [777KLLTX7864 l).

 09 .    Any current or former resident of [776KLLTX7864 l).

 10 .    Any current or former resident of [780KLLTX7864 l].

 11 .    Any current or former resident of [781 KLLTX7864 l].

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12 .    Any current or fonner resident of [785KLLTX7864 l ].

13.     Any current or fonner owner of [789KLLTX78641] that owned this property since the month of {2021-04}.

14.     Any current or fonner resident of [789KLLTX78641] that resided at this location since the month of {2021-04}.

15.     Any current or former owner of [784KLLTX78641] that owned this propc11y since the month of {2021-08).

16.     Any current or former resident of [784KLLTX78641] that resided at this location since the month of {2022-08).

17 .    Any current or former resident of [792KLLTX7864 l ].

18.     Any current or former resident of [793KLLTX78641].

19.     Any current or former resident of [797KLLTX78641].

20.     Any current or former resident of[796KLLTX78641].

21.     Any current or former resident of[800KLLTX78641].

22 .    Any current or fonner resident of the [Surnmerlyn] subdivision that is named or revealed in any aspect or execution of this lawsuit.

23 .    Any current or former resident of the [Summerlyn) subdivision that any of the defendants have spoken-to/written-to about the

        plaintiff/plaintiffs-properties - including, but not limited to, in: [SPOA] meetings, social-media, blog-postings, phone-calls, emails, and in-

        person conversations.
24.     Any current or former resident of the [Summerlyn] subdivision that has commented/thanked/liked on any social-media/blog posting

        documented in this lawsuit.

25.     Any moderator or administrator of the [Summerlyn] subdivision's current or former social-media/blog platforms including (but not

        limited to): nextdoor.com ("[Summerlyn Leander Nextdoor-Group]") (CURRENT), facebook.com ("[summerlynleander Facebook-

        Group]") (CURRENT), yahoo.com ("[SummerlynTx Yahoo-Group]") (FORMER), jabbster.com ("[Summerlyn Jabbster-Group]")

        (FORMER), eneighbors.com ("[Summerlyn eNeighbors-Neighborhood]") (FORMER).

2 6.    Any current or former employee/official of the [TCEQ].

27.     Any current or former employee/official of the [CoGUS] - the water-utility-service provider of the [Summerlyn] subdivision.

28.     Any family member of the plaintiff.

29.     Any former attorney of the plaintiff, including but not limited to: [ATTORNEY-PS], [ATTORNEY-DK], [ATTORNEY-TK]

30.     Any current or former attorney of the plaintiffs family members including but not limited to: [ATTORNEY-PS], [ATTORNEY-DK],

        [ATTORNEY-WO].

31.     Any delive1y-person delivering mail(s), package(s), or other object(s) to [788KLLTX78641] from the period of the years {2009)

        through {PRESENT-DAY}.

 32 .   Any contractor or workman summoned-by or hired-by the plaintiff from the period of the years {2009) through {PRESENT -DAY}.

 33.     Any contractor or workman summoned-by or hired-by [JSP&KAP] to appear at-or-directly-around prope11Y [784KLLTX78641] from

         the period of the years {2009) through {2022).

 34.     Any contractor or workman summoned-by or hired-by [RSR] to appear at-or-directly-around property [789KLLTX78641] from the

         period of the years {2009} through {2021 }.
 35.     Any fonner employee/official/officer of defendant [WC] that, in any manner, interacted-with or dealt-with the plaintiff and/or any

         casework involving the plaintiff/plaintiffs-properties (unless such former employee/official/officer named as a defendant).

 36.     Any individuals former employee/official/officer of defendant [WC] that, in any manner, interacted-with or dealt-with the plaintiff and/or

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      any casework involving the plaintiff/plaintiffs-properties (unless such former employee/official/officer named as a defendant).




'.[828
Since both of the plaintiffs former-neighbor defendants (RSRJ and [JSPJ have, in the past -



® threatened acts of violence (including terroristic-threats and/or threats-of-murder) against the plaintiff and/or the plaintiffs family-members ;
AND/OR

@ repeatedly trespassed onto the plaintiffs prope1ty ; AND/OR
© destroyed and/or attempted-to-destroy and/or threatened-to-destroy substantial and/or expensive parts of the plaintiffs property


- the plaintiff also seeks a permanent ex-parte protective order from this court, effective at the earliest possible date, against these 2 individual

defendants - prohibiting these 2 individual defendants from:



® confrontin!efapproachh1g-within-ten-feet-of the plaintiff or any other member of the plaintiffs extended-family anywhere,anythne ; AND
@entering nlto any of the plaintiffs properties or any propetiy owned by any of the plah1tiffs extended-family-members.



'.[82 9
Since defendant [JSPJ (and [NP]) have damaged/destroyed approximately $1,700 worth of the plah1tiffs security-cameras/recording-equipment

(and caused an additional approximately $500 worth of damages to the [HOUSE]-fascia/soffit/rafter/gutter-stmcture and/or [HOUSE]-roof-

area upon which most of such security-cameras are mounted), but more importantly, did so for the express purpose of destroying evidence and
destroying the recording capabilities of such security-cameras/recording-equipment, so that they and their co-conspirators could continue to

commit hate-crimes/civil-rights-violations/racketeering-acts/abuses against the plaintiff without such criminal actions being recorded, and since
defendants (JSP&KAP],[RSRJ and many employees/officials of defendant [WCLE] have made inappropriate/suspicious

questions/comments/complaints about the plaintiffs security-cameras, the plaintiff seeks a permanent ex-parte protective order from this court,
effective at the earliest possible date, preventing any of the defendants from, in any way, obstrncting and/or tampering with any of aspects of

the plaintifi's cameras/recording-equipment - body-worn-cameras, hand-held-cameras, and security-camera-system(s) - including the security-

cameras, the recording system(s), the cabling, and/or the electric-service and/or batteries needed to power such electrical system(s).



 '.[830
 Since the plaintiff has suffered numerous egregious, abusive/oppressive/coercive/violative/intrusi.ve/invasive/humiliative acts (including hatc-
 crimes/civil-rights-violations/racketeering-acts/abuses) of obstruction-of-justice, obstruction/retaliation, harassment/stalking, disorderly-conduct,
 intimidation/interference, blackmail/extortion/threats, official-oppression, abuse-of-official-capacity, misuse-of-official-infonnation, humiliation,

 invasion-of-privacy, discrimination, abuse-of-office, fraud from several members of [WCLE], the plaintiff also seeks a permanent ex-parte
 protective order from this court, effective at the earliest possible date, prohibiting any unauthorized or nonconsensual entty onto any of the

 plaintiff's properties by any membcr(s) of [WCLEJ, at any point h1 time.

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i831
Since the plaintiff has suffered numerous egregious, abusive/oppressive/coercive/violative/intrusive/invasive/humiliative acts (including hate-
crimes/civil-rights-violations/racketeering-acts/abuses) of obstrnction-of-justice, obstruction/retaliation, harassment/stalking, disorderly-conduct,
intimidation/interference, blackmail/extortion/threats, official-oppression, abuse-of-official-capacity, misuse-of-official-information, hwniliation,
invasion-of-privacy, discrimination, abuse-of-office, fraud from several members of [WCLE], the plaintiff also seeks a permanent ex-paite
protective order, effective at the earliest possible date, prohibiting any member of [WCLE] from engaging in any such act against the plaintiff -

at any place or at any point in time.



i832
The plaintiff also seeks an ex-parte protective order from this court, effective at the earliest possible date, prohibiting any conceahnent,
tampering, deletion and/or destruction of any evidence of hate-crimes/civil-rights-violations/racketeering-acts/abuses as documented in this
lawsuit. In particular, the plaintiff seeks to ensure that any-and-all of the following evidence, from the years {2009} through {2023}, regarding

any aspect of this particular case, the plaintiff and/or plaintiffs properties either created/recorded by defendants [WC],[WCLE] or

receive,1/gathered by defendants [WC],[WCLE] to be preserved originally (untampered, unremoved, unedited, unredacted) and in its entirety,

to be submitted to the plaintiff and/or one-or-more of the other defendants during Discovery, including, but not limited to:

01.    body-worn-camera footage (including transcripts)

02.    dash-camera footage (including n·anscripts)

03.    recorded-phone-calls (including transcripts)

04.    voice-mail (including transcripts)

05.    virtuaVonline teleconferencing meetings/hearings (including transcripts)

06.    in-person meetings/hearings (including transcripts)

07.    interviews (including transcripts)

08.    verbal statements (including transcripts)

09.    in-person and virtual/online conversations (including transcripts)

10.    written statements (including sworn-statements or affidavits)

11.    emails

12 .   SMS/text messages

13.    social-media/internet/blog postings/private-messages

14 .   electronic/online-form submissions

15.    online-chat-messages/instant-messages

16 .   electronic communications/media

17 .   printed/hardcopy materials




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i833
The plaintiff also seeks an ex-parte protective order from this court, effective at the earliest possible date, ensuring that any and all of the

following evidence relevant to this case from non-party [SPOA] - including, but not limited to, their current and former board members,

current and former management companies (fonnerly [RealManage], currently [SAM]) - to be preserved originally (untampered, unremoved,

unedited, unredacted) and h1 its entirety, and to be subpoenaed either by the plaintiff and/or any of the defendants during Discovery, includh1g

but not lhnited to:
01.    any documents/recordings related to [HOA] meetings (h1eluding, but not limited to: town-hall-meetings, board-meetings, annual

       meetings, executive sessions/meetings)

02.    recorded-phone-calls (h1cluding transcripts)

03.    voice-mail (h1cluding transcripts)

04.    virtuaVonline teleconferencing meetings/hearings (including transcripts)

05.    in-person meetings/hearings (including transcripts)

O6 •   h1terviews ( including transcripts)

07.    verbal statements (including transcripts)

08.    in-person and virtuaVonline conversations (including transcripts)

09.    written statements (including sworn-statements or affidavits)

10.    emails

11.    SMS/text messages

12 .   social-media/internet/blog postings/private-messages

13 .   electronic/online-fonn submissions

14.    online-chat-messages/instant-messages

15.    electronic communications/media

16 .   printed/hardcopy materials




i834
The plaintiff also seeks an ex-parte protective order from this court, effective at the earliest possible date, ensuring that any and all evidence
relevant to this case from non-party social-media-platforms (all of which are involved in interstate or foreign commerce) - nextdoor.com,
facebook.com, yahoo.com, jabbster.com, eneighbors.com - or any non-party moderator/administrator of any of the [SummerlynD
subdivision's (current or previous) social-media-platforms - including, but not lhnited to, [Summerlyn LeanderNextdoor-Group],

[summerlynleander Facebook-Group], [SummerlynTx Yahoo-Group], [Summerlyn Jabbster-Group], [Summerlyn eNeighbors-Neighborhood] -

to be preserved originally and pristinely (untampered, unremoved, unedited, unredacted) and hi its entirety, and to be subpoenaed by the

plah1tiff and/or any of the defendants durh1g Discovery.



1835
The plah1tiff seeks an ex-parte protective order from this court, effective at the earliest possible date, permanently-barring from public-
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disclosure - or to any another person except privately to the plaintiff and only dming the legally-permissible private processes of Discovery of

this case - any and all illegally-seized evidence (including interrogations/statements/testimony/documents/images/videos/etc.) concerning the

plaintiff and/or the plaintiffs property(s) - in other words, any evidence seized from unconstitutional-and-unlawful

detention(s)/inspection(s)/search(es)/intetTOgation(s) conducting within or directly-around the plaintiffs property(s) at any point in time. The

plaintiff seeks to ensure that if any party seeks to present such information, that such information be presented under seal, thus, not available to

the public.



1836
The plaintiff seeks an ex-parte protective order from this court, effective at the earliest possible date, permanently-preventing the defendants

and any witnesses from revealing in any public document (including unsealed motions/pleadings/etc.) or in any public Court proceeding or in

any publicly-released Depositions or in any public media or any other public setting, any private details (including any-and-all details from any-

and-aU illegally-seized evidence) about the plaintiffs private-life and/or plaintiffs private-property(s) - including, but not limited to, any aspects

of the plaintiffs [HOUSE] and any aspects of the private/curtilage areas of private-property [788KLLTX7864 I], which have the same fourth-

amendment protections as the interior-of-the-[HOUSE].



1837
The plaintiff seeks to present evidence that defendant [WC] - in particular, defendant [WC]'s law-enforcement agencies, [WCLE] - is either a

very-retaliatory organization (in general) - or, at the ve1y least, an organization that is very-retaliatory towards one-or-more persons that it

perceives to be "powerless" such as the plaintiff - that will not hesitate to further-retaliate against the plaintiff as a result of the plaintiff's filing

of this lawsuit against [WC] and [WCLE] ( & ) . The plaintiff seeks to present evidence that defendants [JSP&KAP],[RSR] are extremely

retaliatory private citizens that will not, even in the least bit, hesitate to further-retaliate against the plaintiff (and/or the plaintiff's family

members) as a result of the plaintiff's filing of this lawsuit against [JSP &KAP],[RSR]. The plaintiff additionally asserts that, in this initial

version of this complaint, the plaintiff has not stated all of the plaintiffs subclaims of defendants' acts of retaliation against the plaintiff, as the

plaintiff can only properly assert one-or-more of those additional subclaims after conducting Discovery/Depositions on all of the relevant

parties. Therefore, the plaintiff seeks any other ex-parte protective order(s) from this Court that this Court deems approximate to protect the

plaintiff (and/or the plaintiffs family members) from any current, pending and future acts of retaliation from the defendants.




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                                                                  §XXXIX

                                             DEMAND FOR JURY TRIAL


<.[838
All conditions precedent to the plaintiff's filing of this complaint have been performed or have occurred.



<.[839
The plaintiff hereby demands a trial by fair-and-impartial juiy of the plaintiffs peers of all issues so triable pursuant to [ Federal Rules of

Civil Procedure •         Rule 38 . Right to a Jury Trial ; Demand] , ("[FRoCP-R38]").




                                     RESPECTFULLY SUBMITTED ,

                                     BY PLAINTIFF .




                                     DATE OF SIGNING                                2023 - 10 - 09



                                     SIGNATURE OF PLAINTIFF

                                     PRINTED NAME OF PLAINTIFF                      Siddharth Kode

                                     ADDRESS OF PLAINTIFF                           788 Kingfisher Lane, Leander, TX 78641

                                     E-MAIL ADDRESS OF PLAINTIFF                    Siddharth.Choudha:cy.Kode@alumni . cs . utexas .edu

                                     TELEPHONE NUMBER OF PLAINTIFF                  (512) 869 9204




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                                                                         §XL

                                         CERTIFICATION AND CLOSING


9[840
Under (Federal Rules of Civil Procedure •                    Rule 11 . Signing Pleadings , Motions , and Other Papers ;

Rep re sen ta tions to the Court; Sanctions] , by signing below, plaintiff certifies to the best of plaintiffs knowledge, information,

and belief that this complaint:

01 .   is not being presented for an improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;

       AND

02.    is supported by ex.isling law or by a nonfrivolous argument for extending, modifying, or reversing existing law; AND

03.    the factual contentions have evidentia1y support or, if specifically so identified, will likely have evidentia1y support after a reasonable

       opportunity for further investigation or discovery; AND

04.    the complaint othe1wise complies with the requirements of (Federal Rules of Civil Procedure :                          Rule ll . Signing

       Pleadings, Motions, and Other Papers ; Representations to the Court ; Sanctions]




9[841
For Patties Without an Attorney:



Plaintiff agrees to provide the Clerk 's Office with any changes to plaintiffs address where case- related papers may be served. P laintiff

understands that plaintifrs failure to keep a current address on file with the Clerk's Office may result in the dismissal of plaintifrs case.

                                      DATE OF SIGNING                               2023 - 10 - 09



                                      SIGNATURE OF PLAINTIFF

                                      PRINTED NJIME OF PLAINTIFF                    Siddharth Koda

                                      ADDRESS OF PLAINTIFF                          788 Kingfisher Lane, Leander, TX 78641

                                      E-MAIL ADDRESS OF PLAINTIFF                   Siddharth .Choudhary .Kode@a1umni . cs . u texas .edu

                                      TELEPHONE NUMBER OF PLAINTIFF                 (512) 869 9204




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